       Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 1 of 276



                                     l
                                      !CorpusUnder28U.S.C.j2241
  AO 242(12/11)PetitïonforaWrilofHabeas

                                  U NITED STATES D ISTIUCT C OURT
                                                                   forthe                          FjjE()By
                                                                                                       .                 fM
                                                                                                                          '-(); ()c       .




                                                                                                           SE? 11 2220
  ., ,   r,
 L
 Q 4V39& i
   .     '
         reczce- a/
                  ,
                   C-? C   Q,
                           ,     Y  .y'-
                                    ?  C,
                                        ..-                                                                crD
                                                                                                           S pn1
                                                                                                               EF
                                                                                                                ut
                                                                                                                 Fl
                                                                                                                  kn
                                                                                                                  l
                                                                                                                  .q.o
                                                                                                                   . s
                                                                                                                     Mpi
                                                                                                                       tE
                                                                                                                       Az.
                                                                                                                        MI
                  '-
                   'e/'j'fiol't(.
                                !1'

         #
   '
, 4Ly
  ,
    ua;                                                                                                                       J               z
                                                                                                                                              ,
                                                                                                                 .            l               'r    x
                                                                                                                                                    .
                                                                                                  cat/d1v     g
                                                                                                              .
                                                                                                                -, .,
                                                                                                                    .-   c-,,.
                                                                                                                          .  yz1 v / a.
                                                                                                                                   .  k.yolz
                                                                                                  Cc.se -
                                                                                                        #                            ag.--.
                                                                                                                                          ---
                                                                                                  J 3ucar
                                                                                                   .
                                                                                                        ?-                        Rlê18          ,
                                                                                                                                                 -(j.
                                                                                                                                              l .2  o   -
                                                                                                  Motn lfp A 'zL'ca Fee pd $ O -
                                                                                                  Receipt #                - - --
                                                      A k.
                                                         =1.Ls.G't:11T-tL .
                                                                          LLLlt.''!.kl> k.teF!L
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 2 of 276




AO 242(l2/11) PetftionforaBrrftofHabeasCclpusUnder28U.S.C.j2241
                                           Decisien erActien Yeu A reC hallenging

        W hatareyou ehallenging in thispetition:
        E
        DHovv
            'yoursentenceisbeingcarriedout,calculated,orcrcditcdbyprison.
                                                                        :
                                                                        )1-paroleauthorities(forexai-
                                                                                                    nple,
           revocat:
                  ionGrcalculationofgoc,dtinaecredits)
        (7'Pretrialdetenticm
        m llnm igrationdetention
        ED Detainer




         Ffrsl:arlrqcaF
                      -

        V  1c').?ou aprea'
        x.?x
                         1t1
                           ke:1eCl
                                 'SiC)n,fl'
                                          tC agrl
                                                'CVCmCC,O1-SCCk an ad'1'
                                                                       lll
                                                                         .niStl
                                                                              -atl
                                                                                 1VCl
                                                                                    'elTlcdvV
                                                                                           ..
        (
        7$Yes                        -k'
                                       0
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 3 of 276




AO 242(l2/ll)PetitfonforaWri
                           tofHabeasCorpusUnder28U.S.C j2241




        f'
         b) 1f-)
        u p -- ,
                'ou ans-
                       hix
                         rel-ec
                              J.ûûN
                                  ,To,''eA-
                                          p-1ain -
                                          --
                                                 !à.
                                                   ?1
                                                    .'
                                                     !-
                                                      k?-
                                                      v
                                                        )/()t!didnot5-1
                                                                      .e a.ssctlnd a-ppea-
                                                                                         l:
       7N1.
          7L'z..e.         ,)
                            g.c'
                               ..     & /-
                                         .x          p' .L''
                                                           J...Jw..               P. Q-. -# /z,
                                                                                              .
                                                                                              / z/& f:<   t   '
                                                                                                              T.z.
                                                                                                                 >
           .
       Ayk.se. z'7 p<a,
           vi         '
                      4.Je-0,
                       .    ..
                             ,                ,          . (-..z,7-t'
        T!1ird appea-
                    1




                           R esult:


                     (6) lssuesraised'
                                     .




                                                                              .   .A cg
                                                                              ;x
                                                                               :2 r
                                                                                  Inz
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 4 of 276




AO 242(12/11)Petitionft
                      lraW ri!oîHabeasCorpusUnder28U.S.C.j2241




                 f
                 tjj v'ssuesl
                 . )i
                            .a'   e.
                              lsed,




                 HaveyoueverfiledamotioninaUnitedStatesCoul4ofAppealsunder23U.S.C.j2244(b)(3)(A),
                 seeking permission to f'
                                        ileasecond orsuccessive Section 2255motion to challengethiscgnvictiol:or
                 sentence?
                 n Yes                        # No




                                                                   w. G
                                                                      c.
                                                                       .
                                                                         qp > t
                                                                   IRRî
                                                                    <
                                                                    ...
                                                                      ==
                                                                       o
                                                                       -
                                                                   C .. .
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 5 of 276




AO 242(12/l2)PetitionforaWritofHabeasCorpusUnder28U.S.C.j2241




                 lr içNA            55          ..' 4
                 ll lL'25, )Jl'J%fltzc .




                 1k'1 y/<c>.s, '4'.-../i@-'N.aJ'!k/l1.
                 .                                   c.t
                                                       .wJ:a'.'




         (d)




                  (3)




                                                                  jj:jj
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 6 of 276



AO 242(12/1l)PetitïonforaWritofHabeasCorpusUnder25U S.C.j2241




                                      Groundsf0rYourChallenge in ThisPetition
        Stateevcryground(reason)thatsupportsyourclaim thatyouai
                                                              'ebeingheldinviolationoftheConstitution,
        laws,ortreatiesoftheUnited States.Attachadditionalpagesifyouhave morethan fourgrounds. Statethe
        factssupporting each ground.

      GROUND O NE:




                                                                                r !pj
                                                                                g
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 7 of 276




AO 242(12/11)PetitionforaWritofHabeasCorpusUnder28U.S.C.j'2241




      Y
      w
      Q kkk-
        -  wki-i
               .k-
                 7k'
                   i7v'  --;. .CC
                      ?tz;   ;  .-X-
                                   '
                                   -Z.X-
                                       K%
                                        *
                                        - /.
                                           ,
                                           g
                                           .é
                                            '.C
                                              X%...=X.
                                                     Z.Z.
                                                        Y'
                                                         -....




                                                                 Kx
                                                                  o *m
                                                                     m ym l
                                                                          o
                                                                 Q N mk < w
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 8 of 276



AO 242(l2/11)Petf
                tionforaWritofHabeasCorpusUnder28U.
                                                  S.C.j224I

      GROUND FOUR. .g'=-<.
                              .               ,''
                                                /r'
                                                  aw c-y ew           zw-zz.s -




                                                   ReguestfcrReiicf




                                                                                  1.        c
                                                                                  n MO Oo
                                                                                  c -
                                                                                  Ko
                                                                                   .-.o
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 9 of 276




2AO
.
      242(12/11) PetitionforaWritofHabeasCorpusUnder28U.S.C.j224I
  qLLL Z
    .. -.   --    --   .            .                .   .                      .                                    .
                                                                                                                                                          .             .

                                                                    Declaration UnderPenaltyOfPerjui-y
                 lfyou areincarcerated, on whatdatedid you placethispetition intheprison m ailsy
                 O $ C7.
                   .   S' ''
                           -
                           7                                                                                                                    stem:

1declareunderpenaltyofperjurythat1am thepetitioner, Ihaveread thispetition orhad itreadto me
infcnuation inthispetition istrueand correct                                                                                      , and t
                                                                                                                                        he
                                                                          .   îunderstandthata false statementcifaiuaterialfactm ay serv
forprosecutionforperjury                     .                                                                                                          easthebasis




            (1)q,of
                  l/scqtr                        -                                  -   S0 .w6/x'
                                                                                             -  rz,p /Jc>
                                                                                                 -   -
                                                                                                        ,
                                                                                                          r,.z s
                                                                                                          .                                                   -




stataof r'fl-rlz'lD.z      .

cxnNnff:.
        I,.
          eX-cy
             .
                               ..
                                             q yygso
Subscri
      ùedandswornto(0raff
                        irm:d)bgforemethi
                                        ô
            @' dayof C4:TJTM /4aGtW - QOl O
By =r'<'
       -,
        % #,.0.?14e
                  .
                  ete'/ .r..e              -
Per
  sonallyknown    ORprolucedi denti
                                  fi
                                   caticnrzre r--pA J'
                                                     .
                                                     '<1vc k:J-.D
Typeidenti
         ficationproduced G;-.er 1
                                 :
                                 .
                                 4$a
                                   - C-ZCb
                                         .
                                         kl'                              D&.
                                                                            p''
                                                                              j'8G ,Q.z-z &-.
                                                                                            c-
                                                                                             .
                                                                                             #-.
                                                                                               z>
                                                                                                z$,..
                                                                                                    -r
                                        ..       N
                                    /            .
                                                         slexp.ax puxic
                                             J
                                                                                           j-
                                                                                         2.t
                                                                                           .;
                                                                                            .(j
                                                                                              ,
                                                                                              .
                                                                                              1F
                                                                                               t..?
                                                                                                  qï
                                                                                                  Lb
                                                                                                   Lk .
                                                                                                      ..             (
                                                                                                                     :2l,
                                                                                                                        î1
                                                                                                                         (:
                                                                                                                          )'
                                                                                                                           tdk4
                                                                                                                              s
                                                                                                                              k
                                                                                                                              (:
                                                                                                                               1(.
                                                                                                                                 3lt.
                                                                                                                                    k
                                                                                                                                    ll
                                                                                                                                     k
                                                                                                                                     !;
                                                                                                                                      t
                                                                                            %      '.:, .--
                                                                                         i:              ).ë MYCCMMISSIQN#GQ97151
                                                                                         NY
                                                                                          %%
                                                                                           ' *;0**
                                                                                                 x
                                                                                                 02 ExpjqEs-
                                                                                                 8la.
                                                                                            '.rl,..2:..%
                                                                                                           -aj
                                                                                                             yj$,2:24
                                                                                                               a.=
                                                                                                              -.
                                                                                                                         N, ayj
                                                                                                                              .rw.. ..,




                                                                                                                                          l a
                                                                                                                                                        Page 10 of 10
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 10 of 276




                                          1

 13. Ground 1:

       Iam being held in violation ofthe D ue Process C lause ofthe Fifth
       AmendmentandtheEightAm endment(violation ofrighttoreasonable
       safety,and infliction ofcrueland unusualpunishment).
    a) lam detained attheGladesCountyDetentionCenter,butbeforelwas
       detained atK R O M E D .C .M .,B akers C .D .C .Jacksonville,W akulla C.D .C .
       Tallahassee.Since CO V ID -19 pandem ic started 1w as detained in the
       IQR O M E D .C .M .,and lw as never given m asks,gloves,orm aterialto learn
       aboutCO V 1D -19.W hen w e use to asks officers orm edicalstaffto give us
       m asks,they useto say thatthey don'thavethem ,and thatwe don'tneed
       m asks,and thatifother detainees see thatsom e detainees are w earing m asks
       there w ould be a panic.W hile Iw as being transported from one D etention
       centerto anotherw ith the bus,w e detaineesw ould eatin the bus,sitone
       nextto otherbecause there w as alw ays 15-25 ofusdetainees being
       transported atone tim e.W ith thatsaid there w asno socialdistancing,and no
       m asks w ere given to us detainees w hile being transported,also the busw as
       alw ays dirty w hen w e detaineesw ould getin.A sm uch as 1could see and
       notice the busw asnotcleaned w ith no chem icals,seatsw erenotcleaned or
       w hipped w ith chem icals,and the trash w as a11overthe tloors.ln Bakers
       C.D .C Jacksonville,and W akulla C.D.C.Tallahasseeofficersand nursesdid
       notw earm asks orgloves,and thatbrakes every CD C rules and guidelines
       (attachedfile1),in a11thedetentioncentersthat1wasandstillam.ln Glades
       County detention Center M oore H aven,chairs are plastic and since June 29,
       2020,chairs are notonce cleaned w ith w ater,alcoholw ipes,orsprayed w ith
       chem icals.G .C .D .C .officers are w alking fkom B 1 dorm to ourA 1 dorm
       withoutchanging uniform s,m asks,orgloves,and B 1 dorm isaquarantine
       unitin the G .C .D .C .B 1 dorm and A 1 dorm are colm ected w ith the door,and
       everyday m ore then 20-30 tim es in a day ofscers w alk in and outthrew
       those doors thatconnectsB 1 and A 1 dorm .D etaineesthatare in B 1 dorm
       thatisa quarantine unit,after7 days are being m oved to ourdorm A 1 and
       thatisa deliberate actofputting ourlivesin dangerby contracting COVID-
       19 andpossibly killing usdetainees,justasalreadyonedetaineefrom
       G lades C ounty D etention C enterdied from C OV ID -19.W ith thatsaid the
       offcersand m edicalstafffrom GladesC.D .C.,areneglecting CDC rulesand
       guidelines aboutprotecting usdetainees from C OV ID -19,as itcan be seen
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 11 of 276




       from the(PPR at7-14).Itiswellknown thatCO V1D -19 hasno vaccine,and
       itiskilling people al1overthe world,and hitsa1lagegroups.Thereisa 2-
       inch gap between doorsand tloor,and sometim esdoorsstay open for5-10
       m in,while oficersare doing theirrounds.W hen isbreakfast,lunch,and
       dirmertim e,ofticersand trustiesgo toB 1dorm to serve the food to the
       quarantinedetainees,and afterthey com eto ourdorm to serve food to us
       w ithoutchanging theiruniform s,glovesorm asks.And thatishow the
       COVID-19,isspread around,and itisagainstCDC and lCE guidelines(see
       attachedfilel).1am cohortedwithpeoplethathavehigh temperaturesand
       show ing sym ptom s of illness,thathave been tested for CO V ID -19,and l
       have notbeen tested yet.W hen 1ask foratest1am told no.Thereis
       absolutely no socialdistancing atthis facility I am in a cubicalw ith six
       people,and abouta footaw ay from halfofthem .1am in adorm w ith
       betw een 75-90 detainees, and we sit4 up 6 attable with peoplelessthan
       onefootaway,and som edetaineeseating on theirbeds.
          D etention centers are notisolated com m unities.Staff,visitors,
       contractors,and vendorscan bringinfectiousdiseasesinto facilities.(Greer
       Decl.9.)COVlD-19 hasalready startedto spreadinsideprisonsand
       detention centers across the U nited States.To date,there are over 3,596
       contirm ed CO VID 19 casesand 3 died am ong those detained in 1CE custody
       nation-w ide. A tG lades thel'e are 141confirm ed casesand one dead.
       M oreover,congregative setting such asdetention facilitieswherepeople
       share com m on dining areas,bathroom s,and othercom m on areasallow for
       rapid spreadofinfectiousdiseases.(GreerDecl.9-10;CastanoDecl.15.(see
       exhibitA)).Detention facilitiesareoften over-crowded,under-resourced,
       and ill-equipped in theeventofacontagion.(ShinDecl.14;GreerDecl.11.)
       Contrary to Castano DeclarationIhaveattachednotarizedstatement(please
       seeattached exhibitDl.Detaineesoftenhavetowaitseveraldaystoseea
       medicaldoctorforseriousmedicalconcem s.(GreerDecl.25.(seecxhibit
       C))Further,detention facilitiesoften lack onsitemedicalfacilitiesor24-
        hourm edicalcare,which can be crucialin indentifying and m anaging
        infectiousdisease.(GreerDecl.12-13.)Duringacontagion,staffmay falli11
        and failto attend w ork,w hich in turn increasesthe risk ofspread becauseof
        thereduced levelofcareprovided.(GreerDecl.15.)Thishappened at
        Gladeswhere som e ofthem edicalstaffgotsick orquitand therew ere
        eleven officercasesofCOVlD -19.Thus,the risk ofw ide-spread
        transm ission of CO V ID -19 in detention centers is Slsignificantly higher than
        in the com m unity.''(Shin Decl.13.  (seeexhibitB)).
            Guidelinescall  fordet enti
                                      on  facilitiesto avoid group cohortingjICE
        tlagrantly floutsitsownrulesonthesubjectandgroups asynp tom atic
                                             3
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 12 of 276




       detaineestogether. .Atthe June 25,2020 Hearing,1CE adm itted thatduring
       thependency ofthisaction,itdiscovered 58 COV ID-19 casesatGlades.
       Ratherthan indentifying and isolating individualsw ho have contracted the
       virus,lCE opted to cohortthe entire 320-person population atG ladesfor 14
       days. lCE arguesthatsuch cohorting isperm itted underthe CDC'S
       Guidelines,which statesispertinentpart,içlijfan entirehousingunitis
       underquarantine dueto contactwith a casefrom sam ehousing unit,the
       entire housing unitm ay need to betreated asacohortand quarantine in
       place.i<The C D C 'S lnterim Guidance on M anagem entofCoronavirus
       Disease2019 (COV1D-19)inCorrectionalandDetention Facilities(M arch
       23,2020)atp.19.Asthecou14haspreviouslynoted,theCDC'SGuidelines
       on the issue ofcohorting isclear-cohorting should be avoided and utilized
       only asalastresort,notasa prim ary preem ptivem easure.The CDC'S
       Guidelinesspecifically cautionthattigclohortingmultiplequarantinedclose
       contactsofCOVlD -19 case could transm itCOV lD-19 from those who are
       infected to those who are uninfected.Cohorting should only bepracticed if
       there are no otheravailable options.tlld.In the Court'sview ,had 1CE
       adhered to the CD C 'S G uidelinescautioning againstarbitrary transfers and
       com ingling sym ptom atic individuals w ith non-confirm ed C O V 1D -19 cases,
       the enorm ousCohortcreated atGladesm ay havebeen avoided.
            PetitionerassertthatGovernm entagenciesare required to follow their
       own nllesand regulationsand thatan agency which violatesitsown rules
       and regulations violatesthe A dm inistrative ProceduresA ctand the Fifth
       Am endm ent'sDue ProcessClause.PetitionerfurtherallegesthatICE has
       failed to follow the NationalDetention CenterG uidelines,which Petitioner
        argue require ICE to follow CDC Guidelines.lcE can m ake aconscious
        effortto addressdetention conditionsin lightofCOV1D-19.Forexam ple,at
        BTC,a11detainees overthe age of60 have been released and theoverall
       detention populationhasdecreasedby 35% .(ECF No.63at34).So,itis
       clearthat1CE fully understandsthebenefitofreducing the detainee
       population.Thus,to the extentthatlCE failsto com m itto addressing the
       conditionscom plained of,ICE hasdemonstrated deliberate indifference.
            (ThePRR callsfordetaineesto bequarantined for14 dayspriorto
        entering the generalpopulation.Id.at 14.N ew entrants are to be
        assessed foe fever and respiratory illnesses prior to entering the facility.
        (CastanoDecl.9.)PursuanttothePRR,ICE should ççconsidercohorting
        daily intakes;tw o days ofnew intakes,or m ultiple days on new intakes,
        in designated areas prior to placem entinto the generalpopulation.G Id.
        ICE'SPRR also statesalIfaciliticshousing lCE detaineesm ust:Ensure
        thataIIstaffand detaineeswearc10th facecovering(when protective
                                          4
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 13 of 276




       equipm entsupply isIim ited)to help slow thespread ofCOVID-
       lgiinstructstaffand detainees to w ear c10th face coverings w hen
       protective equipm entsupply is Iim ited;Provide staffand detaineesw ith
       no cost unlim ited access to supplies for hand cleansing,including Iiquid
       soap,w ater,paper tow els or dryers,and no-touch receptaclesilnstruct
       personnelthatçéIA1Ilstaffand detaineesshould maintain a distanceof
       six feetfrom one another,''and
       M ake efforts to reduce the population to approxim ately 75% of
       capacity,to prom ote socialdistancing.
             (PPR at7-144).
       Did you presentGround 1in a11appealsthatwere availableto you? No




       G round 2:

       lam being held in violation ofthe Due ProcessClause ofthe Fifth
       AmendmentandtheEightAmendment(violation ofrightto reasonable
       safety,and intliction ofcnlelandunusualpunishment).
        On theO ctober24,1976,lwasborn in the SocialFederation Reptlblicsof
       Yugoslavia(SFRY),in Communism,andthereweresixrepublics(Slovenia,
       Croatia,BosniaandHercegovina,M acedonia,M ontenegro,and Serbia).ln
       the 1990,civilwarstarted in SFRY on the Croatian territory,and itthattim e
       1was 13 yearsold.M y fam ily stayed in theCroatiathe whole tim eofthe
       war,from 1990 to 1996,and m y fatherw entto w arfrom day oneto protect
       hisfam ily.M y childhood wasunderthe govenunentw arcurfewshiding in
       the bunkers from plainsand bombarding,no lightsatnightand a1lthe
       w indow s had to be blacked out.
          Schoolwasm ostly in thebunkers-bom b shelters,there wasno food or
       jobs,lifewasdayby day andwasdependedon thehumanitarian help.The
       w arfrontw as m aybe 5 m iles aw ay from m y house,and when Iw as alm ost
       16 years old l w entw ith few ofm y friends in the w ar as underage kids,and
       beforethatldidn'thearany newsaboutm y fatherform orethan 7 m oths,if
       he is stillalive orgotkilled from the enem y.1w entto protectm y m other,
       sister,grandparentsand m y auntsand cousinseven lwasalso stillachild,
       butw ardoesn'task how old you are,and you have to grow up very fast.
       W hen lwentto warmy motherdidn'tletmejustlikenotonenormalmother
       would letherchild togO,butlrunaW aybecause ithasto be done,orother
                                          5
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 14 of 276




       solution wasto pack ourstuffand be arefugeesin som e foren countryjust
       like werethousandsofCroatian citizens.Lucky form e lcam e back to m y
       motherand tomy family alivejustasmyfatherdid.Lotofpeoplegotkilled
       in thewarand many ofmy friendsorbadly injured.1thoughtthatlwas
       luckythatIsurvivedjustasmy fatherdid,butwarleaveitsmarksonthe
       person forrestofitslife,thehorrorsthatyou see and you livethrew ,isthat
       to hide asa child in thebomb shelters,live with no lights,food,water,plans
       tlying overyourheadsdropping bom bson you.Being in thew aryou see 1ot
       ofdead people,som e ofthose corpsstayed forw eeksnotbeing buried in the
       ground and also anim als,and sm ellso bad thatyou w ould chokeon itfor
       days.lthoughtthew arwasthew orstthathappened to m euntillgotin the
       ICE custody.Since1am inthe1CE custody1gotbadly injuredinthebus
       while being transported back from court.Sincethathappened m orethan 9
       m onthsago lnevergotany properm edicalattention butpain m edication.l
       wasbeing moveda1laroundtheFloridajailsfornoreasonwithoutbeing
       tested forCOVlD -19,orbeing putin the isolation orquarantine for 14 days
       priorto thetransfersoraftertransfersand with thatm y lifeisputting in
       dangerto contractC O V lD -19.In bestcase scenario to have perm anent
       dam age from COV1D-19 asitcan be seen from the new sthathuge
       percentage ofpeoplethatgetsick havenervesdam ages,lungsdam ages,
       kidney and liverdam age,orthe worstcase scenario to die.lsurvived the
       w arand cam eback to my m otherand to m y fam ily,butthistim e Iam afraid
        thatw ith this C O V 1D -19,pandem ic 1w illnotsee m y M ather orFather
        again.Since day one Icomplied with ICE,they have m y Passport,lsigned
        allthepapers and docum entsthatthey gave m e.lCE Deportation Officer
        took photo ofm y face fortraveldocum entbutneversend it,and instead to
        provide m e w ith the traveldocum ents and honorthe Judge Christina M .
        M artyak orderofV oluntary D eparture,ICE on purpose m oved m e away and
        took my voluntary departure away from m e and now lam probably going to
        be deported.
            lbelievethat1CE did not1etm ego hom e on tim ebecause ofthe
        accident,andmy injuriesbecauselam notfitto travelw ith plane.1have
        chronicm igrainesthatfeelslike my head wantsto explode from the
        pressure,and w hen plane fliesatthe 35000-40000,feetin the airthe
        pressure atthatheight'sarehugeand lwould be in even w orse pain,and
        tlightto Europe from U .S.takes 12 hours.Asitcan beseen from thelibrary
        list(attached fileG),intheG.C.D.C.,wedetaineesaresharing common area
        asthe hallw ays,m edicalunitwherewe sitdown on theplastic chairs,touch
        m etaldoorsand doorknobs,in the library using the sam e com putersand
        typing on the sam e keyboards,sharing the sam e barberareaand barbertools,

                                          6
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 15 of 276




       w ith B 1 dorm thatis a quarantine dorm unitin the G .C .D .C .1also know that
       w e are sharing allthisunitsw ith fem ale detaineesthatare underthe
       quarantine.W ith al1thatm y life isputin dangerevery day here in the
       G .C.D .C.H ere can beseen whatCDC saysaboutspreading COV ID-19,
       quotefrom CDC (Transm ission ofC O V1D -19,coronavirusoccurs m uch
       m ore com m only through respiratory dropletsthan through objectsand
       surfaces,Iikedoorknobs,countertops,keyboards,plastic(chair,
       tabletops),etc.CurrentevidencesuggestthatSARS-COVZ may remain
       viable for hours to days on surfaces m ade from a variety ofm aterials.
       C leaning ofvisibly dirty surfaces follow ed by disinfection is a best
       practice m easure for prevention ofC O V ID -19,and other viral
       respiratory illnessesin household and comm unity settings).
         From theHarvard quote(a recentstudyfound thattheCOVlD-19,
       coronavirus can survive up to four hours on copper,up to 24 hours on
       cardboard (foam),and uptotwotothreedayson plasticand stainless
       steel.The researchers also found that thisvirus can hang outas droplets
       in the air for up to three hours before they fall).
           O n Friday June 31,2020,inspection cam eto check the GladesCounty
       D etention Center.Few daysbefore the inspection GladesC.D .C.staffstarted
       to do big cleaning in GladesC.D .C.,also hiring outsideprofessional
       cleaning service,forkitchen andetc.,(asitcan beseen from fileJ).Few
       days before the G lades County officers started taking outdetainees from our
       dorm ,and from otherdorm sand m oving them to BakerCounty D etention
       Centerin Jacksonville.3 daysafterinspection lefttheG .C.D .C .offcers
       broughtin ourdorm A 1,20 detaineesfrom B 1dorm thatisused as
       quarantine,and in B 1dorm leftonlyoneperson(don'tknow ifthatperson is
       adetaineeoracountyjailinmate).Twodaysafteron W ednesdaywe
       detaineeshave found outthatin dorm B 1now hasaround 40-50 detainees
       and Gladescounty inm ates-u .s.citizens.M ixing detaineesand county
        inmates(U.S.citizens)but1CE doesnotcareabouttheirown rulesandlike
        thatcan putdetainees life in dangerbecause county inm ates com e directly
        from the streets,and w ith thatcan spread COV ID-19 very easily to us
        detainees,and putourlivesin danger.
            D etainees thatare m oved from dorm B 1that is quarantine to ourdorm
        A 1,told us thatthey w ere only 7 days in the quarantine,and thatsom eof
        them cam e from KROM E D.C.M .,and other detainees from G .C .D .C .and
        also GladesCotm ty lnm atesand U .S.citizens.Before the inspection at
        G .C.D .C.officersused to wearm asksand gloves24/7,and they used to give
        m asksto us detainees tw ice a w eek w hen w as supply fortoiletpapers and
         sham poo.Since inspection leftofticersarewalking with no gloves,they take

                                           7
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 16 of 276




       ofthe m asks,and w e arenotgetting m asksany m ore on the regularsupply
       basses.ltisw ellknow n thatofficersaretheonethatbring COV 1D -19 virus
       in the facilities,because they are going outsidewherethe COV lD-19 is
       spreading m ore and m oreevery day.Iam in lCE custody m orethan 12
       m onthsand in thattim e COV lD -19,didn'teven exist,and w ith thatsaid the
       officersareneglecting CD C rulesand guidelinesaboutprotecting us
       detaineesfrom COVlD-19,asitcanbeseen from the(PPR at7-14)
           ThechiefofW orldHea1th Organization saidandthisisaquote(W HO
       chiefT edros A dhanom C hebreyesus has said thatcoronavirus
       pandem ic is içeasily the m ostsevere''globalhealth em ergency the
       organization has ever seen and thatthere m ay never be a vaccine or
       idsilverbullet''to defeatthevirus).Noteven theworld'stop doctorsor
       scientistthink thatthey w illfnd a cure forCOV ID-19,and they a1lsay that
       COV1D -19 pandem ic,willnotbe stopped any tim e soon.
       W ith a1lthissaid lam afraid form y lifeherein thedetention center,because
       the officersare braking a11the rulesand regulationsfrom CDC and also ICE
       guidelines.Since 1am in G .C.D .C.custody already onedetainee died from
       COV1D-19,theM exican im m igrantOnovalPerezM ontufadied ofCO VID-
       19 complication atthe age of51on Sunday July 11,2020,ofCOVID-19
       com plications,atLakesideM edicalCenterin Belle Glade.Onedetainee
       died in the 1CE custody in KROM E D .C.M .from COVlD -19 complications,
       hew as51yearsold Taiwaneseimm igrantKuah HuiLee.He died in ICE
       custody on August5,2020,in M iam ihospital,and hewasdetained in
       KROM E D etention CenterM iam i.Hehad tested positive forCOVlD -19,
       and died aftera çsm assiveintracranialhem orrhage''.ltisunclearwhetherhe
       had been tested forCOVID -19,in the KROM E D .C .M .Thom asJam esHill
       a 72 yearso1d Canadian imm igrantdied in lcA -Farm villeon August5,
       2020,and hehad tested positiveforCOVID -19.So farin ICE custody from
       COV1D-19,died 5 detainees,and how detention centersarebeing nm by
       ICE,thatnum berw illonly rise and lam afraid that1w illbe one ofthose
        victim ofCOV1D-19,andjustanothernumberinthestatisticthatlostlifein
        ICE custody from C O V 1D -l9.
          W ith allthissaid lam afraid form y life, especially because 1wason the
        hunger strike with no food and no waterfor 15 days.Since then lhaveto use
        asthmapump (and1neverhadasthmainmy life),so1cangetairinmy
        lungs,gotenem a and w aterin my lungs,waterretention in m y both legs,and
        thatis because m y kidneys are notw orking properly any m ore.H ave pain in
        m y kidneys.lcan'tgo to thebathroom fordaysand the m edicalstaffis
        giving m e m ilk m agnesium to help me with thatproblem .Stillsince the
        accidentldidn'tgetproperm edicalattention,and because ofthat1have

                                          8
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 17 of 276



       bone sticking outofm y foot,thatneed to be broken and putback in the
       place,myjaw outofalignmentandalsoneedtobeputsurgicallyback inthe
       place,two ofmy teeth broken andbecauseofmyjaw beingoutofalignment
       my teeth are being underthe constantpressure and startto hurt,and gum s
       bleeding and hurting.Because ofthat,1have chronicm igrainesand painsall
       around myjaw,head andneck,alsohavesomething wrongwith my spine
       since the restraining chain w entin m y spine in the busaccident.Forallthatl
       am getting lotofpain medicationsthatarejustmakingworsemykidney,
       liverand stom ach conditions,and my im mune system isgetting weaker
       m ore and m ore every day.Dentisttried to help m eto getoutto Hospitaland
       toseeifdentistcanhelp mewith myjaw andtotakepressureaway from my
       teeth.M yteeth and gumsarehurting andbleeding becausemyjaw isoutof
       itsplace-dislocated,and becauseofthatm y teeth areconstantly underthe
       pressure and 1have chronic m igrainesand head pain.1can'teatnorm aland
       ithurtsm e when 1chew food,and because ofallthatdentistfrom Glades
       C ounty D etentionmCent
                          edicala
                              eras
                                 ttked
                                   ention
                                       ICEatthat
                                             the isst
                                                 out at
                                                    si ioned
                                                      de     her
                                                         hospi  e.iOn
                                                              tal  n the
                                                                       theGladesD.
                                                                           Augus  C.,
                                                                                t23,
       t
       o getm
       2020,  Gl eades
                   proper
                       C.D .C.dentisttold m ethat1CE thatisstationed in theGlades
       C .D .C .told him that1need to talk w ith m ain 1CE office aboutthat,and that
       lam nottheirproblem (refening on Glades C.D.C.ICE).W iththatsaid 1
        willnevergetany m edicalattention whilelam in the1CE custody,
        especially itis already pastm orethan 9 m onthssincethe busaccidentunder
        the lCE custody occurred.N oteven person thatisresponsible form e while1
        am being detained D eportation ofscerM r.A ndre M olina w anted ortried to
        help m e,even 1senthim m any requeststhatcan be seen on thetabletatthe
        KROM E D .C .M .There every comm unicationsgo through thetabletand
        when lasked M r.Andre M olina fortheaccidentreport,m edicalhistory,and
         my courttranscripts1wasm oved allaround theFlorida.Instead forM r.
         A ndre M olina to getm e m y TravelD ocum ents so lcould leave on tim e to
         m y country and to honorJudgeChristinaM .M artyak orderofV oluntary
         D eparture.European Union doesnotexcepttravelersfrom United States
         because ofthe C O V ID -19.B ecause ofthat1can'ttly back to m y country
         Croatia.Croatia hasproxim ately 4,500,000 m illion citizens,and atthistim e
         hasaround 2500 sick people with COVlD -19,and around 150 thatdied from
         COVlD -19,atthe sam etim eUnited Stateshavem orethan 180,000 people
         died from COV lD -19,m ore than 6,100,000 million people sick with
         COVID -19,asisthem orethen population ofmy country Croatia.lfmy
         D .O .M r.Andre M olina did whathetold m e and send my paperwork on tim e
        tomy ConsulateIwouldbehome,Iwould took careofmy injuriesandmy
        lifew ould notbe in dangerofcontracting the deadliestvirusin the world at

                                           9
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 18 of 276



       thistim e CO V lD -l9.W hen Judge Christina M .M artyak gave m e order of
       Voluntary Departure, and even PresidentDonald J.Trum p closed the airport
       fortravelers from Europe on the M arch 14,2020,M iam iInternational
       A irportw as open forlntem ationaltlights outofthe U .S.A lso m y Consul
       w as w orking and ifm y D .O .M r.A ndre M olina sentm y travelD ocum entas
        hetold m e on the M arch 3,2020,Iw ould behom e already safewith m y
       fam ily.A 1thiscan be easily verifed by checking thevideo surveillances
       from every facility thatlwasand stillam ,and itcan beveritied by video
       surveillance in the busseswhile lwasbeing transported.Every time lwas
       being transported cam erasin thebusw ere recording,and also in every
       facility cam eras are recording 24/7,and that1know because w hen any kind
       ofincidenthasoccurred the officersw ould check the cam era to see what
       happened.A11ofm y requestsand questionsbetween m yselfand m y D .O .
       M r.A ndreM olinacan be seen on thetabletatKROM E Detention Center
       M iam i.On those requestscan be seen thatm y D .O .M T.lvan M olinanever
       tried to getm y TravelDocum entand keptm ehereto getsick and diefrom
       COVID -19,and a11thatbecatlse1wasinvolved in the busaccidentwhile
       underthe 1CE custody,and also m y requeststo m edicalstaffto help me get
       properm edicalattention,buta1lthatIQROM E D .C.M .m edicalstaffdid was
       givingmepainmedication.From allwhathagpenedtomeunderthe1CE
       custody 1believe thatlCE w illkeep m ehere lndefinitely,especially now
       becauseofthisCOV lD -19 pandem ic.Since COVlD-19 pandem ic isgetting
       worsem ore and m ore every day,and a11the countriesclosing donetheir
       bordersthereisno w ay form e to tly back to Croatia,especially because I
       need to go in transitthrough m inim um 3 differentcountries.How situation is
       going on now in the GladesCounty Detention CenterIwillgetsick with
       COVID -19,notone officeriswearing protective gear,gloves,orm asks,
       nursesdon'twearglovesand few daysago one ofthe nursesscratched m e
       w ith hernailw hile trying to do m y blood pressure.A s itcan be seen from
       Library thatstaffiseven m ixing A 1dorm and a quarantine B 1dorm
       togetheratsam etim e to be together.A sitcan be seen thatthere are also
        otherdorm sgoing to library aftertheB 1dorm thatisa quarantine dorm ,and
        itiswellltnow thatvirusstaysforhoursand dayson m etaland plastic
        surfaces,and in the airforseveralhours.English isnotm y frstlanguage,
        and Iam notan a attorney so please forgive for any m istakes lhave done
        whilewriting.Itried to do thebestthatIcan to representm yselfand to
        describe m y situation whiletmderthelCE custody to yourHonor.Ihope
        thatyou w illsee through allthispaperw ork thatIam really in a bad place,
        and that1CE didn'tdo anything to help m eto go hom e when 1wassupposed
        to go by Judge order,and to help me with m edicalcondition thathappened

                                          10
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 19 of 276




       inthebusaccidentmorethan9monthsajo.Evenwhendoctortriedtotalk
       w ith lCE to getm eproperm edicalattentlon,1CE told him thatitisnottheir
       problem .1feelhelplessin thissituation underthe 1CE custody,and forthat
       reason 1beg you yourHonorto help m e getoutofthisbad situation,to
       survivethishorrorunderthelCE custody and to seem y fam ily again.ldon't
       w antto be one ofthe statisticnum berthatdied from COVlD -19,and to be
       sentback to m y m om and dad in a coftsn.Form y fam ily and form yself
       pleaseY ourH onorhelp m e.Thank you very m uch foryourtim e in this
       m atter.

        ltisnotpossible to socialdistance the detainees atthis facility.People w ith
       confirm ed casesare deliberately cohorted w ith people w ith suspected cases,
       w hich show satotaldisregard foroursafety and w ellbeing.Thispractice
       also violated ICE A pril10,2020 COVlD-19Pandem ic Response
       Requirem ents.W e are congregated in groupsofm ore than ten people.1am
       currently in a dorm w ith abouttwenty fvepeoplethatcam efrom Krom e
       w ithin the lastthree weeksthatare confirm ed positive forCOV 1D-19 and
       are cohorted w ith peoplethatare asym ptom atic,orhavenotbeen tested at
       all,justlike1wasnotoncetested forCOVID-19,orputinthequarantinefor
       14 days,in al1m y 5 transferssince April22,2000,untilJune29,2020.
              1CE has failed in itsduty to protectthesafety and generalwell-being
       ofthePetition.AtGladesthebunk bedsare atpaltry 12 inchesapart,the
       distance between the upperbunk and the low erbunk is34 inches,and the
       chairs and benches w here detainees eatatG lades are only three feetapart,
       contrary to CDC guidelines.
              These failures have placed Petition ata heightened risk ofnotonly
       contracting CO V 1D -19,butalso succumbing to thefataleffectsofthevirus
       since lhave seriousunderlying m edicalillness
              A continued failure to provide detainees w ith bare m inim um
       necessitiesand suppliesto survivethe pandem ic isevidence ofdeliberate
       indifference to m edicalneeds,tantamounttothe intliction ofcrueland
       unusualpunishm entbecause itincreasesthe risk ofexposure to a lethaland
       highly-contagious disease.
               Thenum berofCOVlD -19casesw ithin each detention centeratissue
       hasrisen,especially w ith the aggressive utilization oftransfers-evidencethat
       theretruly isa heightened risk ofcontracting thediseasew ithin the detention
        centers.lCE doesnotarguethatCOVlD -19 posesseriousrisk to detainees.
        Rather,ICE assertsthatthe Courtshould respectitsunfettered authority to
        manageandmaintainthedetentioncenters.A jobtheyarefailingatterribly
        and putting ourlivesinjeopardy.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 20 of 276




       Beginning in 2004,Congresshasappropriated funding to ICE foran
       Alternativesto Detention program created to providesupervised release and
       enhancesmonitoring forasubsetofforeign nationalssubjectto removal
       whom ICE hasreleased into the United States.D etaineesm ay bereleased on
       parole,bond,hom e detention,etc.,through the A ltem ativesto D etention
       program .In fact,lCE hasreportedly utilized itsaltem ative detention
       program to release hundreds ofim m igrants in detention ascoronavirus
       spreadsin detention centers.
          (ThePRR callsfordetaineesto bequarantined for14 dayspriorto
       entering the generalpopulation.Id.at 14.N ew entrants are to be
       assessed foe fever and respiratory illnesses prior to entering the facility.
       (CastanoDecl.9.)Pursuantto thePRR,ICE should ççconsidercohorting
       daily intakes;tw o days ofnew intakes,or m ultiple days on new intakes,
       in designated areas prior to placem entinto the generalpopulation.G Id.
       ICE'SPRR also states aIIfacilitieshousing lCE detainees m ust:
       EnsurethataIIstaffand detaineeswearc10th facecovering (when
       protectiveequipmentsupply isIimited)tohelp slow thespread of
       C O V ID -19;
       Instructstaff and detainees to w ear c10th face coveringsw hen protective
       equipm ent supply is Iim ited;
       Provide staffand detainees w ith no costunlim ited access to supplies for
       hand cleansing,including liquid soap,w ater,paper tow els or dryers,
       and no-touch receptacles;
       lnstructpersonnelthatCCIAJIIstaffand detaineesshould maintain a
       distance ofsix feetfrom one another,''and
       M ake efforts to reduce the population to approxim ately 75% of
       capacity,to prom ote socialdistancing.
             (PPR at7-14.:.
       a) Didyou presentGround2 in a11appealsthatwereavailableto you? No
       Ground 3:
           lam being held in violation ofthe DueProcessClause ofthe Fifth
       Amendmentand theEightAmendment(violation ofrightto reasonable
       safety,and infliction ofclalelandunusualpunishment).
     a) On theNovember19,2020,between 9-10pm coming back from courtat
       K rom e D etention C enterM iam i,from Judge Jorge Pereira Iand another9
       detaineesgotin thebusaccidentwhile in 1CE custody.Thedrivernam e isJ.

                                         12
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 21 of 276




       Cedeno,who isworking forsecurity com pany A K IM A GLOBAL
       SERVICES L.L.C.(AGS)asadetaineeOfticer(notknowing iftheAGS
       security officershave CDL license fordrivingbi g busses).Thebuswas
       F5500,the biggest  bus t
                              hatin thei
                                       r tleet,and driverdetainee offcerJ.
       Cedenohitthepalm three(that'swhatthey saidbutIcouldnotseebecause
       the w indow s are blocked-covered so w e can'tsee outside and nobody can
       seeinsideofthebus).Accidenthappened in frontoftheM onroeCountyJail
       (M .C.J.)in KeyW est(ICE usedto rentthereD-dorm fordetainees).Upon
       anivalin theM .C.J.facility,D eputiescalled forK ey W estSheriff
       departm entto send officersto do the accidentreportand theM .C.J.Deputies
       putasin theholding celland told usthatwehaveto waitforParamedicsto
       comeand check usup forpossibleinjuries,(4transferdetaineesand 6ofus
       detaineescom ing from courtwhere separated and putin 2 differentholding
       cells).ltriedtoobtain accidentreportmultipletimesthrew my deportation
       OfficerM r.AndreM olina,butheneverresponded orgaveitto m e.After
       probably 45-60 m in M .C.J.Deputy cam e and took usto ourD -dorm with no
       check up from param edicsorfrom M .C.J.m edicalstaff.A ssoon aslgotto
       theD -Dorm ltold theD eputy thatIwasinvolved in busaccidentunderthe
       lCE custody com ing back from courtand thatm y t00th isbroken and one
       t00th chipped,dislocatedjaw,thatmyheadhurtsbecauselhitmyhead,my
       leftleg hurts,and also m y back and neck hurts.D eputy on duty called the
       m edicaland he told nurse and asked herwhy 1w asn'tchecked and cleared
        withparamedicsorinjailmedicalstuffbeforetaking mebacktohousing
        unittD-dorm).NursetoldtotheDeputythatshechecked4 detaineesthatare
        transferfrom KROM E DetentionCenterM iami,(whenthereisatransferof
        detaineesfrom onefacility to another,them edicalstaffneed to do am edical
        checkup on detainees),andthenDeputytold herthattherewas10detainees
        in thebusatthetim e ofthe accidentand thatshe forgetto check me and
        another5detainees,(becauseofusdetaineeswenttothecourt,when wegot
        back toM .C.J.m edicalstaffdoesnotdo acheckup onus).W henthey took
        m e to them edicalnursecheck m e up around lam and told m e thatdoctor
        w illsee m e in the m orning and gave m e pain m edication.
            Sincethe accidenthappened,lhavebeen trying to see a doctor orthe
        dentistbutthatdidn'thappen formorethan 280 days(ormorethen 9
        months).lwasputting sick in callsevery dayto getaM RIandCT headscan
        andtobeseen by adoctoranddentist(asseen in theattached fileA,thisare
        a partialm edicalrecords,and notfrom allfacilitiesthat1w asdetained,even
        ltried and send multiplerequeststoobtainmy medicaltiles).During that
        period lw as only seen by nurses and given pain m edications,even though l
        wasdizzy,hadblurryvision,headhurting andlostconscious.Myjaw hurts
                                          13
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 22 of 276




       w hen leatortalk because itisdislocated,gum sbleeding and hurting,m y
       left1eg broken (foot,bonestickingout),myback hurting because the chain
       from my restraintswentinsidem y spineand m y neck hurting.1also sent
       requeststo lCE to help m eto try to getproperm edicalattention butlnever
       gotany response back from them ,and also m y attorney sentthree letters to
       my Deportation Offcer(D.O.)M r.AndreM olina,butheneverrespondedto
       m y attorney orm e.On theJanuary 28,2020,around 8am 1lostconsciousin
       frontofthe M .C .J.D eputy Edw ards,thatw ould nothappened ifIgotproper
       m edicalattention from M .C.J.m edicalstaffand from lCE m y D.O .M r.
       A ndreM olina.On theFebruary 13,2020,SupervisorD etaineeDeportation
       Officer(S.D.D.O.)M rs.PerezcametotheM .C.J.in KeyW esttotalk with
       the detainees to see ifeverything is ok,ifthere are any problem s or
       complaints.ltold heraboutthebusaccidentthat1wasinvolved in on
       November19,2019,andthatlwasinjured andthatM .C.J.medicalstaffis
       notdoing anything tohelp withmy injuries,andto sentmetogetM RJand
       CT head scan.Ialso told herthat1sentmultiple requeststo lCE and thatm y
       attorney sentthree lettersto m y D .O .M r.Andre M olina butnevergotany
       respond orhelp from him . SDDO M rs.Pereztold m eto write down on the
       1CE requestform whathappened and whatkind ofm edicalhelp Ineed and
       to give itto herand she willpersonally help m e when shegetback to the
        lCE KROM E DetentionCenterM iami(ICE requestsareonly onesingle
        paper,don'thavecopy so forthatreason lcan'tattach copyoftherequest).
        To this day lnevergotany help and itsalready 9 m onthssince m y accident
        and al1l'm getting arepain medication.(1600mg oflbuprofen,and 1000mg
        ofTylenoladay),and lam stillin pain,andmypainisgettingonlyworse,
        and thosem edicationsare destroying my stom ach,and thatisnotway to
        treatmy injuries.lnM arch my building 11wentin quarantinefor14 days
        with around 100 detaineesin it.On theFriday April3 the lCE O fscercam e
        to the building 11and informed the detaineesaboutCOV ID-19 and that1CE
        willstop withbringingnew detaineesfrom thestreet,jail,andprisontothe
        KROM E detention Centerand in ourhotlsing units.A ssoon asthe 1CE
        O fûcerleftthatsam e nightw e gotin to ourbuilding 11,a few m ore
        detainees,and when we asked them where did 1CE arrested them ,they told
        usthatlCE picked them up on the street.The sam e thing happened thenext
        day and w e gota few m ore new D etainees,thatICE arrested from the streets
        and broughtthem in ourbuilding 11(building 11wasn'ttheonlyone,lCE
        broughtpeople to otherbuildingsalso,w ecould seenew detaineeswith
        standard bagsthatdetaineesgetinprocessing,clothes,etc).Sundaywegot
        in the second quarantine with 115 detaineeswhich putusovercapacity 15
        peopleand putin the building 11som ebedsforcamping.Then we asked to

                                          14
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 23 of 276



      talk to lCE because wecan'tbreathebecause theA C and ventilation isnot
      m ade for115 detaineesbut80 only detaineesand thatisw ritten inside ofthe
      building 11 on thew alls. W e could notgo outto getfresh airbecausewe
      were underquarantine,w ehad no m asks,and detaineesbreathing in each
      otherface,coughing and spreading germ s.W egotbreakfast,lunch and
      dinnerinsidethebuilding 11,and w ehad to eaton ourbedsbecause there
       are notenough seatsand tablesto sitdown and eat,and eating likethatfood
       fellson the bed and w eare notable to clean it,then only when was
       scheduled to w ash blanketonce aweek on Sunday.1CE Offcersdidn't
       com e to talk to useven where they are working everyday in theK ROM E
       D etention Center. On W ednesday April8,2020,therewasincidentwith
       A G S detainee O fscersin building 11 in K RO M E D etention Center M iam i.
       An incidenthappened becauseAGS D etaineeO ffcerstold to thetrusties
       (detaineesthatcleanthebuilding 11),thattherearetwoAGS Detainee
       Ofûcers sick with COV lD-19,and onedetainee 9om ourbuilding 11,and
       we asked to talk to lCE offcersbecause they are responsible forus,notthe
       AG S Com pany thattakesordersfrom ICE.Because thebuilding 11 was
       overcrow ded,w asnothygienicto live in 24 houra day,being second tim e in
       thequarantinejustafew daysaftergetting outfrom tirstquarantinetensions
       between detaineesand ofticersgotintense.A11thatcould be prevented if
       lCE cam e and talked to usdetaineesand find areasonable and hum an
       solution but1CE ignored any attemptofdetaineesand also from AG S
       Officersto com eto building 11 and try to resolve situation.Then one
       detainee gotattacked by AG S Officersand they started hitting him ,in that
       m om ent1and otherdetaineespullhim aw ay and asked AG S Ofscersnotto
       hithim because hedidn'tattack them ordid anything wrong tothem .ln
       about2-3 m in in building 11cam e around 40 AGS Detainee Officerscam e
        and startattacking usdetaineesand trying to puthandcuffson thedetainee
        JossaintFrerot.ln one m om ent,AGS D etaineeO fGcerputhandcuffsaround
        hisfistand hitdetainee JossaintFrerotin the face few tim es.A l1thatw as
        capturedon thevideosurveillance(attachedfileB),andaftertheytook him
        outside thebuilding and beathim really bad whilehewasrestrained with
        handcuffs,and with him anothertwo detainees.The sam e nightin the
        building 14 A lpha cam eofficersw ith rubberbulletguns,paintballbullet
        guns,and electro shockerguns,dressed asa swatteam and puta11the
        detaineeson the floor,and allthatbecausedetaineesalso asked forlCE
        offcersto com etalk to them and stop bringing new people in the dorm from
        thestreets,with no quarantineorCOV1D-19testing,justlikein ourbuilding
         11.Forthatincident,lreceived a reprim and and wastold notto interfere
        with staffduties(asitcanbeseen intheflethat1am attaching).
                                          15
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 24 of 276




            On the April22,2020,lwasm oved from KROM E D etention Center
       M iam ito the GladesCounty D etention CenterM oore Haven on 04/22/2020,
       and then on 05/01/2020,1w asm oved to theBakersdetention Center
       Jacksonville,then on 05/07/2020,Iwastransported to theW akullaCounty
       Detention Centerin Tallahassee.W akullaCounty detention Centerwasnot
       supposed to acceptany federalprisoners-lcE detainees since M ay 3,2020,
       butIwasaccepted atW akullaC.D.C.TallahasseeonM ay 7,2020,(see
       attachedfileE).From W akullacounty Jailin Tallahasseelwastransported
       on 06/12/2020,to K ROM E D etention CenterM iam iand on 06/16/2020 l
       wastaken to the M iam ilnternationalA irportand back to theKROM E
       D etention CenterM iam i,and on 06/29/2020,Iwastransported to the Glades
       county D etention CenterM ooreH aven.ln allthesetransfers1wasnever
       tasted forCOV 1D-19 and Iwasneverputin quarantineorisolation from
       otherdetainees(asitcanbeen seen from attached fileE,from transferdates
       thatare 9 days,6 days,lday,12 days,and housing unitsthatare general
       population).ln a1lthistransfers1andotherdetaineesweretransferredwith
       no socialdistancing sitting one nextto each otherin fullbus,and with no
       masks,orwith busbeingcleaned ordisinfected (trashwasalloverthe
       floors,dirtand dustalloverthebusand seats).On theFebruary 27th,atlztj,
       Judge Christina M .M artyak gavem etheorderofVoluntary departureby
       M arch 30,2020.O n the M arch 2nd,2020,ICE m oved m e from M .C.J.in
       Key W estto KROM E D etention CenterM iam i.O n theM arch 3,2020,m y
       Deportation Officercalled the Dorm 11where lwasin housing unitand told
       AG S security officerto bring m eto theDorm 1.ThereD .O .M r.Andre
       M olina took photo ofm y face and gavem epapersto t)11outon m y native
        language(Croatian),and toldmethatheissending a1lthattomy Consulthat
        sam e day.D .O.M r.A ndreM olinatook m y photo ofm y faceand had m e
        signTravelDocument(T.D),thatwasonmy nativelanguageCroatian.He
        told m e hewassending itofthatday,when lsaw him 7 dayslaterhetold
        m e thathe sentm y T.D .to m y consul,and w aiting for a response so Ican
        buy aplaneticket.AnotherD .O.M rlvan Aldo told m e aw eek afterthat
        they are stillw aiting formy consulto send back to lCE m y T.D .A herthat1
        neversaw D .O .M r.A ndre M olina orD .O .M r.lvan A ldo butonly contacted
        them trough thetabletsending m essages.
              W hen Ithoughtthat m y V oluntary D epartureexpired on 03/30/2020,l
        sentafew m essagesto the D .O .M r.AndreM olina asking whatisgoing on
        with m y paperw ork so lcan go back to my country Croatia.On April6,
         2020,D .O M r.Andre M olina answered m y question on the tabletsaying that
         he sentm y paperw ork and m y picture to Croatian Consulon April2,2020.
         A fterthatlsentanotherm essageasking why did he wait30 daysto sentmy

                                         16
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 25 of 276




      docum ents and picture thathe took and l signed on M arch 3,2020,and the
      answ erw asthatbecause ofCO V 1D -19,m any consulates are notw orking.ln
      a11thattim e and stillnow the Croatian consulw asand is stillw orking and l
      w as and 1stillis in contactw ith m y consul.Afterthatw ith no explanation l
      w asbeing transferred a11overthe FloridaJails-Detention Centerasitcan be
      seen,and in a11thattim e notknow ing whatis going on and w hatw illhappen
      to m e,even m y V oluntary departure w as stillvalid atthattim e,because 1
      wasa1lthattim e underthe 1CE custody,and Iwascomplying with
      everything m y D eportation Officerasked m e to do.On the April28,2020,in
      G lades County D etention C enterB 1 dorm w here Iw asdetained,detainees
      and lstarted ahungerstrikebecause ofCOV1D-19.Fourdaysafter1w as
      transferred to B.C .D .C.in Jacksonville wherelcontinued w ith hungerstrike
      w ith no food and no w ater,and then six daysafter1w astransferred to
       W .C.D .C.in Tallahasseewhere1continued hungerstrike with no food and
       no water untilM ay 12,2020.ln thatperiod of15 dayswith no food and no
       w ater1lost37 poundsand gotlotofmedicalcom plication,waterin my
       lungs,enem a in the lungs,w aterretention in the legs,kidney notworking
       properly any m ore,and starthaving hard tim ebreathing and dry coughing
       and asaresultofthatnow lhaveto useasthm apum p to getm oreairin my
       lungs,(asitcan been seenin attachedmedicalfileA).W hen 1wasasked
       why I'm on thehungerstrikeItold m edicalstaffthatI'm doing itso 1can be
        sentbacktoKROM E D.C.M .so 1canseemyjudgeand toseewhy Ihave
       been m oved 8 hoursaway from M iam iwhen lwascomplying w ith Judge
       orderand com plying with ICE,to go back hom eto m y country.In
        Tallahasseeiscompletelydifferentsystem,thereldidn'thaveajudgeand
        also couldn'tgetin touch with m y D eportation Ofscer.D etaineesthatare
        being m oved aw ay from (KROM E D .C.M .are detaineesthatsentappealand
        arew aiting foranswerfrom highercourt.Thatcan take up to six m onthsand
        that'swhy ICE m ovesthose detaineesto clearspace in KROM E D .C.M .1
        wasnoton appealand Ihad orderoftheJudge ChristinaM .M artyak for
        V .D .O n M ay 11,2020,S.D .D .O .M r.Thom asD ecker cam e w ith m edical
         staffin W .C.D .C.in Tallahassee and talked to m e,when lexplained him he
        told m e thathe isgoing to check up and letm eknow whatisgoing on.on
         M ay 12,2020,S.D .D .O .M r.Thom asDeckercam e again with m edicalstaff
         and told m ethathetalked to my D .O.M r.AndreM olina and thathetold
         him thathe sentm y T.D .on April2,2020,buton thewrong address,and
         then the W .C .D .C .D octor Psychiatrist asked w hy he didn'tsentitagain
         becausesince then pastalready 40 daysand he could have T.D .,and 1could
         beon thew ay hom e.S.D .D.O .Thom asDeckeron thatquestion didn'thave
         answ er,and then he inform ed m e thathe talked to m y Consuland thathe

                                         17
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 26 of 276




       willdo everythingtogetmeback homeinnext30 days,pleading formejust
       to starteating and drinking liquid again.Itold S.D .D .O .Thom asDeckerand
       the m edicalstaffwith D octorthatwherea11thetim ew ith us,thatassoon as
       1getm y V oluntary D eparture,ortalk to m y Judge Christina M .M artyak I
       willstarteating and drinking.Then S.D .D .O .Thom asD eckerleftand told
       m ethathe willextend m e m y V .D .After1hournurse cam eback to my
       holding cellw here lwasunderobservation and gavem e paperthatsaysmy
       V.D .hasbeen extendeduntilJune27 (asitcanbeseen from attached file
       C).Ifound outafterwhen IcamebacktoKROM E D.C.M .that1didnot
       need extention form y Voluntary Departure,because itw asvalid forfour
       m onths since Judge Christina M .M artyak granted one to m e.A fterthat,I
       starteating,drinking,and 3 daysafterlwasputback in generalpopulation.
       W eek afterS.D .D .O.Thom asDeckercam eto m y housing Unitand
       inform ed m e thatlcan callm y friend orfam ily and to buy planeticketuntil
       June27,2020.M y friend M ichaelJolm Serpico boughtplaneticketand sent
       confirmation totheS.D.D.O.ThomasDeckerontheemail(asitcan beseen
       f
       Wrom
          .C.Datt
                .C.
                 ached     M E.On
                       t5leD)
                   to KRO         the
                               D .C.MJune  12,2020,lw astransferred from
                                      iam i.
                                             lwasnottestedforCOV lD-19 orbeing
       in quarantine for 14 days.In KROM E D .C .M .1wasputin general
       population in POD 3.On theJune 16,2020,lwastaken to theM iam i
       lnternationalA irport,where AGS Officerwentto contlrm m y planeticket,
       while Deportation Ofticerthatisstationed in the M iam ilntem ational
       Airportstayed in the m inivan with m e.After45-60 m in A GS Ofticercam e
        back to the m inivan and told to D .O .thatm y tlightisnotaccepting m e
        because I'm notSpanish citizen.Butasitcan be seen from thepurchased
        ticket,thatlwasgoing through thetransitin Spain,and w ith thatsaid lwas
        notgoing through the Spain custom ,butdirectly to Turkey airplane,and also
        ticketwaspurchased w hileCOV1D-19 w asalready w ellspread in U .S.
        Europe,and id the world.Then they took me to the oftice in the M iam i
        lnternationalAirjortwherelwasuntil6pm,andthentheD.O.droveme
        outside the M iam llnternationalAirportand gave m eto AG S Detainee
        Offcersfrom IQROM E D .C.M .W hile1w asin theM iam ilnternational
        A irport1ceofice,D .O .and alsothe3 A GS Offcersw erenotwearing any
        m asksto covertheirm outh and nose,and in M iam iD ade itwasm andatory
        to w earm asksforprotection againstCOVID -19.W hen Igotback to
        KROM E D .C.M .from M iam ilnternationalAirportlw asnottested for
        COVlD-19,orputin the quarantine for 14 days,butinstead lwasputback
        inthesamebuildingPOT-3 (asitcanbeseen from fileE).Beforelwas
        taken to iheM iam ilntem ationalA irport1wasnottested forCOV lD -19 and
         1wasnotinquarantinefor14days,justasitcan been seen from my
                                          18
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 27 of 276




      transferring docum ents,and thatisagainstCD C and lCE regulations.On the
      June 18,2020,Italked overthephonew ith my D .O .M r.Ivan A ldo,because
      the D .O .since COV lD -19 outbreak didn'tcom e to talk w ith usdetaineesin
      person.Iasked D .O .M r.lvan A ldo if1can buy ticketforTuesday the
       com ing Tuesday and hetold m ethatbecauseoftheT.D .heneed m oretim e,
       so lasked iflcan buy ticketforTuesday theJune30,2020,and hetold m e
       to give him m y friends num ber so he can confil'm w ith him aboutplane
       ticketpurchase.Thatsam e day ltold D .O.M r.lvan A ldo thatm y Voluntary
       Departure extension expireson theJune27,2020,and thattheticketifis
       purchased isforJune 30,2020,and on thatD .O .told m ethathewillextend
       those three days and thatis nota problem .1 gave D .O .m y friendsphone
       numberand hisinfo,and thatsame day D .O.M r.Ivan A ldo called my friend
       M ichaelJohn Sem ico andthey talked aboutticketpurchase forJune 30,
       2020,andthathewillextendmyVoluntarydepartureforthreedaystlcould
       only buy plane ticketforoneday in thew eek,and thatisTuesday becauseof
       theCOV1D-19 pandemic,planeisonly tlying onceaweek).Afterthatday
       D .O.M r.lvan Aldo didn'tansw erto my friendsm essages,em ails,orphone
       calls,and on the Thursday, when istheonly day and only once in a week
       when lcould talk to theD .O .lasked M r.lvan Aldo w hatisgoing on with
       m y V .D . and why hedidn'tanswerto m y friend so he could by planeticket
       so 1can go back to m y country Croatia.The answ erfrom D .O .M r.lvan
       A ldo wasthat1wassupposed to leaveuntilJune 27,2020,w hile m y V .D.
       w asextended and thatnow l'm being deported.1told to D .O .M r.Ivan Aldo
       thathetold m e thathe willextend threedaysso thatIcan leaveU .S.and to
       go back to m y country Croatia,and thathetold thatalso to m y friend
       M ichaelJolm Sep ico,on thatD.O M r.Ivan Aldo told m ethathe neversaid
       that,notto m e orto m y friend and thatl'm lying.
             Few daysafter on the June 29,2020,w ith no explanation lw as
       transferred to the GladesCounty detention Centerin M oore H aven.H ere in
        G .C.D .C.there areno lCE OfficersorDeportation O fficersto talk to them
        and ask any question.lhave wrotedozen oftherequestforICE on the ICE
        form sand putthem in the lCE requestbox,butthatbox since lam here was
        neveropened oremptied and thatisalready m orethan 40 days.The
        detainees tellm e thatthatbox is notopened form ore than fourm onths,and
        thatICE officershaven'tbeen in the dorm for4-5 m onthsto talk to
        detainees.N ow Idon'tknow forhow long 1w illstay here in the G .C.D .C.,
        w illIbe m oved som ew here else like 1w asm oved before and also Idon't
        know whatm y statusisbecausenobody isgetting in touch w ith m efrom the
        ICE.One thing is forsurethatthey can'tdeportm eto m y country Croatia,
        because European U nion have puta ban and does notacceptany travelers

                                         19
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 28 of 276



      from U .S.,becauseoftheCOVlD -19 pandem ic,and U .S.isthe country w ith
      the m ostinfected people in the w orld.1'm already m ore than 12 m onthsin
      the lCE custody and been m oved 7 tim esthrough 5 differentICE D etention
      Centers.lwaspicked up by lCE on my lastday of2 yearsearly termination
      instead of3 years.ln those two yearsIwasnevertested positive on any kind
      ofcontrolled substancç,neverlate form y appointm entw ith probation
      officer,and wason regularbasesin touch overthephonew ith m y probation
       ofticer.Since Igotin the bus accidentunderthe IC E custody,Iw as never
       given achanceto getpropermedicalattention,andhelp formy injuries,and
       1havebeen putthrough extrem e inGiction ofpain,and crueland unusual
       punishm ent,thatEightA m endm entprohibits.W hen lgotorderofV .D .I
       complied with ICE,gave them m y passport,signed papersfrom m y Consul,
       repeatedly tried to buy planeticketsince Ifirsttim e1saw and talked to my
       D .O.M r.AndreM olinaon theM arch 3,2020. SinceApril22,2020 lwas
       m oved allaround Florida State Jails,asitcan be seen from datesofm y
       transfersand also from m y specialneedsaccom m odation in the dorm sfor
       my medicalconditions(asitcanbeseenfrom attached t5leE).M y lifewas
       and stillisputting trough tortureofexcruciating pain every day,and in
       dangerofcontracting and dying ofCOVID-19.In 52 daysIwastransferred
       5 tim esand notonce 1wasin quarantineortested forCOV lD-19,and then
       again since June l2,2020,lw asoutoftheKROM E D .C.M .to M iam i
       lntem ationalA im orton theJune 16,2020,and broughtback to KROM E
       D .C.M .thatsam e day,and then on the June 29,2020,1w asm oved to the
       GladesCounty Detention CenterM ooreHaven,and again 1w asnevertested
        forCOVID-19,orquarantined.On June 29,2020,atKROM E D .C.M .A GS
       D eportation Offcergave m eand told m eto sign paperthatlam being tested
        forCOVlD -19,priorto thetransferto GladesC.D .C.AtfirstIdid notwant
        to sign thatpaper, butthen he started to yelland intim idatem e,and in that
        m om entthey took anotherdetainee to separate holding cell,because he
        refused to sign theCOV1D-19testingpaperthatneverhappened (see
        attached fileE).W ith allthatiseasily seenthat1CE isbreaking theCDC
        guidelinesand rulesand isputting m y life in dangerto contractCOV lD-19.
        Especially because 1w asgranted voluntary departure and with thatlwasnot
        supposed to be m oved from KROM E Detention Centerin M iam ibecause l
        need to tly from M iam ilnternationalA im ort,asitcan be seen from m y
        plane ticket.lhavebeen m oved again from KROM E Detention Centerto
        GladesCounty Detention Centerforno reason becauseofthejudgeorderof
        V oluntary D eparture.W hen 1w as in K R OM E D etention C enterin M iam i
        Deportation Ofscerlvan Aldo overthephone told m e thatmy V .D .has
        expired and that1am now being deported.A fterthatlwastransferred to the

                                          20
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 29 of 276



      GladesCounty D etention Center,where1sentam otion forabondto m y
      judgeandtherelfoundoutthatmyV.D.isstillvalid,becauselwasa1lthis
      timeunderthe1CE custody (asitcan beseen from attached fileF).
          T he E ightA m endm ent prohibits the iniiction ofcrueland unusual
       punishment.Robinson v.California,370 U.S.660(1962).U nder that
       provision,the G overnm ent m ay notim pose punishm ents that shock the
       conscience,involve unnecessary and w anton infliction ofpain,offend
       evolving notions ofdecency,or are grossly disproportionate to the
       offense for w hich they are im posed.See Estelle v.G am ble,429 U .S 97,
       102-03 (1976)9Gregg v.Georgia,428U.S.153,173 (1976)9Tropv.
       Dulles,356 U.S.86,101(1958).Variousconditions''aloneorin
       com bination,m ay deprive inm ates ofthe m inim alcivilized m easure of
       Iife's necessities.Such conditions could be crueland unusualunder the
       contem porary standard ofdecency.ç$ Rhodes v.Chapm an,452 U.S.
       337,347(1981).On thatbasis,courtshaveheld thatgovernmentactors
       violate the EightA m endm entw hen they are deliberately indifferentto a
       detainee's serious m edicalneeds.See,e-g.Estelle,49 U .S.at106.
            Onthesubjectofcohorting ,the CDC'SGuidelinesadvise thatpeople
       exposed to COV lD-19 should beputin individual,notgroup,quarantine:
       ttFacilitiesshould m akeevery possibleeffortto quarantine closecontactsof
       COVlD-19 casesindividually.''Id.At15;19.Further,:lolnly individuals
       who are laboratory confirm ed COV1D -19 casesshould be placed under
       m edicalisolation cohort.D o notcohortconfirm ed cases w ith suspected
       casesorcase contacts.''ld at16. Cohortquarantine t'should only be
        practiced ifthereareno otheravailableoptions,''becauseSçlclohorting
        multiplequarantined close contactsofa COVlD -19 casecould transm it
        COV ID -19 from those who areinfected to those who are uninfected.''ld at
        15;19.lfcohorting ofil1detaineesisunavoidable,theCDC'SGuidelines
        recommend idmakling)a11possibleaccommodationsuntiltransferoccursto
        preventtransm ission ofotherinfectiousdiseasesto the higher-risk
        individuals(Forexample,allocatemorespaceforahigher-risk individual
        withinashared isolation rooml''ldatl7.Despitethefactthatitsown
        Guidelinescallfordetention facilitiesto avoid group cohorting ,lCE
        tlagrantly floutsitsownruleson thesubjectandgroupsasymptomatic
        detaineestogether.1CE adm itsthatitiscurrently cohorting 320 detaineesat
        G lades---the entire detainee population ---Sças a precautionary m easure;per
        the established protocol.çiOn June 3,2020,M r.B orgestestified thathe w as
        nottested forCO V1D-19 beforebeing transferred from BTC to Stewart
        Detention Centerin Georgia.H e also stated thathe wasalm ostim mediately

                                          21
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 30 of 276



      transferred back to BTC.He wasnottested beforehe wastransferred from
      Stewartback to BTC and wasnotprovided am ask during thetransfer
      process,M r.B orges w ore his used soiled tw o day old m ask when he w as
      transferring back to BTC,upon hisreturn hew asquarantined for14 days.
       D uring his quarantine he w astaken to recreation atthe sam e tim e as
       individualsknown to be sick w ith COVlD-19.The guardsthatescorted M r.
       Borgesto the Hearing w asnotdonning a m ask despitebeing seated am ere
       tw o feetaw ay from M r.Borges.Such behaviornotonly violatesthe spirit
       and theletteroftheTRO ,itam ountsto deliberate indifference because it
       dem onstratesa blam ew orthy disregard ofthe risk ofposed by COVlD -19
        by exponentially increasing the risk ofspreading thevirusto otherdetention
       centers---conductthatfarexceedsm ere negligenceand evidence ofreckless
        state ofm ind. Such practicessubstantially increase a detainee'sexposure to
       CO V ID -19.
              Severaldistrictcourts across the country have ordered the release of
       alien detaineesexplaining thatpressing health risk ofCOVlD -19 com bined
       with lCE detention necessitate release,TheAttorney GeneralW illiam Barr
       urging theFederalBureau ofPrisons ofthe prioritization ofhom e
       confinement,notingçdlwlehavetomovewith dispatch...to movevulnerable
       inm atesoutoftheseinstitutions.''lCE deliberate inaction putusa11ata great
       risk,thereisnovaccinefordeath,justlikeno vaccineforCOVlD-l9
       pandemic.Death isafnalorder,justnotthetinalorderwewantas
        detainees.Especially ifitcan beprevented by som e form ofaction,orsome
        form of alternative detention particularly for the
        people with underlying m edicalcondition.lpray thatthe decision m akesin
        W ashington,lm m igration and Custom sEnforcem ent,and the Judges
        presiding overusm ake adecision to release usbeforethisCOV1D -19
        pandem ic becom esourFinalOrderofRem oval.
               W hen the govem m enttakespeople into custody and detainsthem
        againsttheirw ill,theConstitution confersupon the Governm entaduty to
         assum eresponsibility forthose detainee'ssafety and generalwell-being.The
         Due ProcessClausesim ilarly im posesaduty on state actorsto protector
         care forcitizenswhen the state aftsrmatively placesa particularindividualin
         aposition ofdangerthe individtlalw ould nototherwisehave faced.
                The Governmentviolatesan individual'srightto due processwhen it
        (1)Sdaffrmatively placekslgtheqindividualin danger,''or(2)by S<acting with
        deliberateindifferenceto (ajknown orobviousdanger.(Constitutional
        rightsto protection by the stateexistwhen there isa showing thatthe victim
        facesaspecialdangerdistinguishablefrom thatofthepublicatlarge).

                                          22
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 31 of 276



            These failureshave placed Petitioners ata heightened risk ofnotonly
      contracting CO VID -19,butalso succum bing to the fataleffectsofthevirus1
      haveseriousunderlying medicalillness.(Recognizingthatenvironment
      conditionscan bethebasisforthestate-created dangerdoctrine.)

   a. Ihave enclosed m y m edicalrecordsto show m y m edicalissuesas
      supportingfacts(fileA)
    b. Did you presentG round 3 in a11appealsthatwere availableto you? No




       Ground 4:
              Iam being held in violation ofthe DueProcessClause ofthe Fifth
       AmendmentandtheEightAmendment(violation ofrightto reasonable
       safety,and intliction ofcrueland unusualpunishment).

        lwassentenced to 3 yearprobation with 2 yearearly term ination.l
       complied w ith allrulesand regulationsthatm y probation officertold m e.l
       w as alw ays on tim e for m onthly check w ith m y probation ofticer,and w as
       tested forcontrolled substances7-8 tim esrandom ly,and every tim etestwas
       negative.Iw asin touch with m y probation officeroverthe phone on the
       regularbasses.Because ldid evev thing by therulesand notoncebroke
       probation,lfinished 1yearearlier(2 yearsinstead of3 years).Onthe
       August18,2019,m y probation officercam e to check if1am stillliving on
       the sam e addressso she can givem e fnalpaperwork to go to theJudge and
       tinish with m y probation.W hen probation ofscercam eto m y place 710
       W ashington Ave,apt301 M iam iBeach 33139,Florida,1opened the door
        and letherin.with m y probation ofticerin m y apartm entcam e 7 m en
        dressed in civilcasualcivilclotheswith no badgesoridentifcations
        show ing.Afterm y probation ofscerchecked that,Ilive on the same address
        from the beginning ofm y probation she told m ethatIam all-good and then
        sheleft.ln allthattimethose7 men didnottalk,theywerejuststanding
        inside m y apartm ent,and lthoughtthey are w ith herasa probation officers
        forverifying ofm y living addressand confirm ation ofend ofmy probation.
        Assoon asm y probation offcerleftm y apartm entoneofthem en took out
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 32 of 276




      hisbadge and told m e thatthey are 1CE officersand to putm y handsbehind
      my back,and they handcuffed m e,noteven telling m ewhy lam being
      handcuffed. A fter Iw ashandcuffed lCE officers startto search m y w hole
      place with no warrantsorany kind ofpaperwork,when Iasked them what
      are they doing and ifthey havewarrantthey told m ethatthey are ICE
      (FederalGovernment)andthattheycan do asearchwith nowarrantor
      paperw ork.W hen they finish w ith search ofm y apartm entthose 7 officers
      took m e outside m y building and keptm e standing form ore then 30-40
      m inuteson the sun,while they w ere talking and laughing. A fterthatthey
      took m e to the IQROM E D .C.M .and therethey asked m e questionsand told
      m e w hy lam being arrested and gave m e som e papers.A fter lhave found
      outthat1CE offices can'tsearch apartm entorhouse,and thatthey can't
      even go inside and arrestperson.Those lCE ofscerscam e in my apartm ent
      underthe false pretend thatthey are probation offcers,and thatis
      unconstitutional. B ecause Iw ason the probation w hen lw asarrested by
      ICE,and notpicked up from prison orjail,1can'tbeandshouldnotbe
      undermandatory detention(asitcanbeseenfrom theBlA).lwasnevera
      tlightrisk because 1w asa1lmy tim e free on the streetsundertheprobation.

      Al1thislfound outwhile Iwasand stillam in the 1CE custody This
                                                                   .

      inform ation aboutm andatory detention told m e attorney from Pro B ono
      A m erican lm m igrantforJustice,and she sentm e thispaperwork about
      mandatory detention (asitcan beseenfrom fileH).

      IFormandatory detention toapply,thereleasemustbefrom actual,
      physicalcustody ofthestate.M atterofW est,22I&N Dec.1405 (BIA
      2000)(whereperson wassentenced to probation,hewasnotsubjectto
      m andatory detention because he w as notreleased from the physical
      custody ofthestatel.



14. I did notpresentthe grounds in m y appealbecause atthe tim e there w asnot
    a C OV lD -19 pandem ic thatw e are facing now ,thatis getting w orstday by
    day,and there isno possibility ofstopping thisdeadly virusCOVlD-19, in
    nearfuture




                                      24
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 33 of 276




 Request for R elief

      1w ould like the courtto release m e from ICE detention on the factthat1am
      being held in violation oftheDueProcessClause ofthe Fifth Am endm ent
      (violation ofdetention standards),becauseGladesCounty Detention Center
      thatlam being detained now ,and before in three otherD etention C enters
      (KROM E D.C.M iami.,BAKERS D.C.Jacksonville,andW akullaD.C.
      Tallahassee),deliberateindifferenceexposesmeto substantialrisk ofharm
      and thatconductviolatesm y constitutionalrights for conditions of
      coninem ent.1 am being held in violation ofThe D ue Process Clause ofthe
      FifthAmendment,andEightAmendment(violationofrighttoreasonable
      safety,cruelandunusualpunishment,andexcm ciating torture).Allfour
      D etention C enters that1w as and stillam since CO V ID -19 pandem ic started,
      have putm y life in deliberate dangerand big possibility oflosing m y life
      from COV1D -19,becausethere isno reasonable safety,socialdistancing and
      detainee facility staffoffcers,m edicalstaff,and lCE em ployees are not
      applying CD C rules and guidelines how to preventto expose detainees from
      CO V 1D -19.This practice also violatesICE ow n A pril 10,2020,C O V ID -19
      pandem ic response requirem ents.Since Iam underthe 1CE custody m y
      m edicalcondition from perfectw entto very bad,and stillgoing worst,based
      on alltheinform ation's supportingthose facts.GladesCounty D etention
      CenterD entisttried to talk with GladeslCE offcerto getm eoutto the
      hospitalto getpropermedicalattention becauseofmy head injury
      (dislocatedjaw,andtwobrokenteeth),but1CE toldtothedentistthatthatis
      nothisproblem,evenlwasinjured inbusaccidentwhiletransporting from
      courtback to M onroe C ounty JailD etention Center in the K ey W estunder
      the ICE custody and supervision.M onroe County JailD etention Center in
      Key W estisno longer1CE Detention Centerbecausetheconditionsthere
      w here extrem ely bad,food w asreally bad,m edicalstaffdid notdoing their
     job,phonesnotworking,andbecatlseofallthosethingsandmorethat
      facility did notm eetlCE standardsand wasshotdown.Because of
      dislocatedjaw myteeth areoutofalignmentandwhile1am sleepingteeth
      are gridding each otherand pressuring them and they are starting to m ove,
      and because ofa1lthatpressure Ihavebig head pains,chronicm igraines,
      and m y gum s are bleeding and hurting,m y teeth are m oving and they w ill
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 34 of 276




      startfalling out.Ialso think thatisnotcorrect from lce deportation O fficer
      to take aw ay m y V oluntary D eparture that1w as given by the Judge
      ChristinaM .M artyak and now to deportm e.Since day oneunderthe ICE
      custody lw as com plying w ith ICE,gave them m y passport,signed papers
      from m y consulate,m y D eportation O fficerM r.A ndre M olina took photo of
      m y face and gave m e to sign a11the paperw ork so he could sentitto m y
      consulate,and onM arch 3,2020,hetold methathesentitandthatheisjust
      waiting to getitback from m y consul.lasked him m ultipletim esaboutmy
      TravelD ocum ent,and alw ayshe gave m e sam e answ erthathe sentitand
      thathe isw aiting on m y consulto sentitback.O n the A pril6,2020,he told
      m e overthe TabletatK R O M E D .C .M iam i,thathe sentiton A pril2,2020,
      to m y consulate and on the M ay 11,2020 lfound outfrom Supervisor
      deportation D etainee O fscerThom as D ecker from W akulla County
      D etention C enter in Tallahassee thatD eportation O ffcerA ndre M olina have
      sentm y paperw ork to the w rong address and nevertried to resend itto right
      address ofm y consulate and to obtain m y TravelD ocum ents so lcould leave
      on tim e and honorm y V oluntary D eparture.lfm y D eportation O fficer M r.
      AndreM olinadid hisjob lwouldbealreadyhome,beforeeventheCOVID-
      19 pandem ic hasstarted,and m y lifew ould notbeputin dangerof
      contracting C O V lD -19.A lso lw ould notbe forced to go on the hunger
      strike with no food and no waterfor 15 days,so lcould getm y Voluntary
      D eparture back,thatw asallthattim e stillvalid.lbelieve thatallthis is
      happening to m e ,constanttransfers from one D etention Facility to another,
      notgetting proper m edicalattention,and taking aw ay m y V oluntary
      Departurebecause1wasinvolvedandgotinjuredinthebusaccidentwhile
      being in lCE custody and under1CE supervision.Since accidenthappened 1
      nevergotproperm edicalattention,D octorsrsttim e did am edicalcheck up
      on m e three m onths afteraccidenthappened and one m onth afterlpassed
      outand lostconscience in frontofthe M onroe County JailD eputy Edw ards
      in Detention Centerin Key W est.Untilthisday lm ustwalk on thebroken
      footwithbonesticking outofit,havetoeatandtalk with dislocatedjaw,
      tw o broken teeth,teeth hurting,gum s bleeding and hurting,m y head hurting
      24/7andback-spineinjured,andal1lam getting formorethanninemonths
      sinceaccidentand my injuriesoccurred areibuprofensand Tylenols,andmy
      condition is getting w orst.1believe that1should treatm y m edicalcondition
      hereintheU.S.,becauseIgotinjuredhere,andherearethebestdoctorsand
      m edicalequipmenttotixmy injuries,andalsoIbelievethatinmy country l
      willnotbeableto getpropermedicalhelp forallmy injuries,especiallyfor
      my dislocatedjaw.Also sincelwasin W akullaCounty Detention Centerin
      Tallahassee on the hungerstrike w ith no food and no w ater for 15 days,m y
                                        26
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 35 of 276




      organsgotdamaged (kidneys,liver,spleen,irregularheartbeats,waterand
      enemainmy lungs,waterretention in my legs),andsincethathavetouse
      asthm a pum p to getm ore air in m y lungs.W ith a1lthatl am very easy target
      to contractCOVlD-l9,especially because officersand m edicalstaffin
      detention centers don'tw ork and apply CD C guidelines forC OV 1D -19,and
      because ofthatl am afraid thatatthe end lcould very easily becom e a
      COVlD-19 victim .Thank you very much foryourtim e in thism atter.




                                        27
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 36 of 276




                       FILE A




                                                  #
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 37 of 276



 RADETIC, SEBASTIAN
 08-20-2019 Tue 03:05 :00 AM
 ENCO
      OHTER
      Dictation   RECEIVING SCREENI
                                    NG :
     Patient Name:    RADETIC
                              , SEBASTIAN
     Date of Birth : 10- 24-1976          ,
     Patient ID No : MCSO19MNI017466
    Today
    St     's Date:   08-20- 2019 Tue
        akus :       Adult
     Refusal of Admission until
                                                          medically cleared :
     Patient ZR cleared prior t
                                                         o adm ission :
    V IT
       -AL SIG-:.
                -
                1S :
    'zkoe a''.(
              .:
               ;1
                at :
             2 2o'- lb s
       . -.-- z,11 - . -. .-. -. . -- ..- ' .
    -
    2n7'/t.u
           .z-
             T-   z'n. ?'ox . epq
    z:.au.nrz ku4u & u '          ca.a.'
                                  .    o a.? . .= .a a
                                       .
    .'
     .D& - *-t i !7t.$r31)2-M ? ' .'ï d.C
    FRl tntncl p r'= = =:)v = ' 3 *?$1 /Q Ct
   Q.
   w1'u>J.u'a
            Tue
             = . tzXo
                    t'
   Rj :
      ,
      wxo
       ....P.J
             z..
               =-c
               . ..
                  tz
                   -a
                   u2w.
                      -.J
                        .
                        -
                        z..
                          . .
                            n
                            zc.
                            .u
   P'J1se O x'      àJ(
                      gep- : n
                             >7

   Emergency ContactT
     E                .
                        :            Yes
      mergency Contect bs .am e :
     Emergency Contact Relacionshi
     Emergency C                   p:
                 ontact Phone Number :
   PATIENT QUESTIOHNAIRE :
   l . H ave you ever or
                          are you currently being treated f
        Asthma, diabetes , seizure disorder                or :
        thyroid disorder, heart conditi      ,
        blood Pressurez bleedâng disorderon, high
                                            or
        kidney disease?
        Have
        f    you or are you currently being treated
         or any other illness or health p
       not listed above?                   roblem
       Are you currently taking                      No
       prescrib ed to you by a physicia
                                 any medication
       Are you                          n?
                allergic to any medicatio
       you have any othe                  ns
                         r allergies?
                  DUST
                                   PCN
       Have you been hospitalized b
       or psychiatrist?              y a physician
       Do you have current p ainful dental conditio No
       or dental complaint?                           n
       Heve you been exposed t                          No
       Hep atitis, venereal or o  or been diagnosed with
                                sexuall
       disease                         y transmitted
               , HIV/AIDS, or any other seri
      disease?                                ous
      Have you ever had a po sitive TD skin test        yo
      exposed to TB or dia                         , been
 country he was vaccinatedgnosed
                             for TBwith TB?             No patient states that
 10 . Do you currently have any ofas  th a child
      persistent cough                  ese symptoms:
                        , shortness of breakh
      of appetite, fatigue,   coughing up blood? loss
                                                 ,
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 38 of 276
   RADETIC , SEBASTIAN    #;MCSO1SMNIO17466
                                                1/28/2020 8:08:54 AM
               night sweaks or une
               A                   xplained weight loss?
                re you on a specific diet p
              physician?                     rescribed by a
               Do you use drugs not                            No
              physician?             prescribed by a
              Do you use alcohol?                              Vo
              Do you have a history of                         yo
              stopp                      withdrawal after you
                    ed using alcohol or dr
             Have you e                    ugs?               No
                         ver smoked cigarettes or u
             products?                               sed tobacco
             Have you ever received t                         Ho
             or alcoh                  reatment for substance
                       ol abuse?
             Are you in any pain?                             No
             Are you a veteran?                               No
                                                                 No




     >
                                                             No
     Does pat-ent
             j 4 ey..! .j .:
                       t           x.   . a. .
                       nloic characuirisulcs   o.c.
          Dotentiallv be-inc at risk            x
          -z kc  '   y
          VmC mm o zz x.on g
                                      .  for
                          .

    REMARKS :
         None at this time

           Yes: Education provided orally and in
 HEALTHCARE .                                         writing on ACCESS
         Yes: Education p
 AWARENESS .              rovided orally and in writinq on SEXOAL ASSAULT
                           '




            currently have Hea1th In
                                    surance?                No
   SUICIDE POTENTIAL SCREENING
    1. Arresting/Tr             :
                    ansporting officer beli
        may be a suicide risk.              eves subject
        Lacks close family/fri                           No
                               ends in community .
                                                                  No
           Worried about major problems othe
           legal situation .                 r than
          Family member/signtficant other hà
          or committed suicide                s attempted
          Has psychiatric hist .                                 No
          Holds position of respect
                               ory . i
                                                                 No
         alleged crime is sh          n community and/or
                             ocking in nature .
         Expresses feelings pf
         Expresses thoughts      embarrassment/shame.
                             about  killing self.                No
         Has a suicide plan                                      No
         in possession .     and/or suicide inskrument
         Has previous suicid                                     No
                             e attenpt
                                                                 No
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 39 of 276



           Expresses feelings there      nothing
           forward to in the future.
       11  Shows signs of depression .                                                                            No
       l2. Appea.r s overly anxious, afraid or angry                                                              No
       13  Appears to feel unusually embarrassed .                                                                No
                                                   or
           asham ed.
             Is acting and/or talking in a strange                                                                No
             Is apparently und                        manner .                                                    No
                               er the influence of alcohol
             or drugs .
             individual incoherent or showing signs of                                                            No
             withdrawal or mental illness?
             Individual 's first arrest .
             Detainee 's charqes include : Murde
             and/or S                            r, kidnapping,
                     exual Offense
                                                                                                                 No
             Historv of or cur rent u se o f. r3so      :, ech otrop--1c m ed s : h1o
             :? stor'!z of n sN/chia i-r5c ho sp ic
             z.JL
                '  -     G
                           -   ,
                              .=   2
                                      - -  -    - '.w
                                              & - '
                                                    =--
                                                      ) ..1A-a L
                                                               '
                                                               b
                                                               -ion s :           1)o.
                                                         -               .        '          '                    '




                                                 :v'
                                                   ;'. 7.u-zt.
                                                    1w u         :*     e
                                                                   u ov=*''-*.x*'txc-'z..u
                                                                 w,.


                                               v
                                               .uiz
                                               'q'
                                                   '
                                                   .
                                                   ->
                                                    .w
                                                     =:a
                                                       -.
                                                        -c
                                                         *.
                                                          'u
                                                           WaX.u.
                                                               ='*
                                                                 ''
      3.
                                    =.=.ii c-â.x = u L 0.qa .ubD- .u ,:.-%      .. w -x            L.w.-...%.. w.m w.
  clild?                                                                              -      ..-
                                                                                                                        . w L w.f1 u. L1
                   to
                   &
            Does the patient identify wikh
                                             ornon
             Eransgendwer ; incersex or gendez  perceaved as gay , lesbian . bisexual
                                                                                      ,
              t1o                            -confarmipc?
      5. Does the patient have a
  disability?                    physical disabil-ity or developmental delay

                                                 steture cr                                  physical build ?
                              answersr notify classifications and
                                                                                                               refer to MH to be
                              evaluation?


    CURRENT MZNTAL STATUS :
         Orientation :                  Alert . Oriented .
         Mood :                         Appropriate .
         Affect ;                       Appropriate .
           Activity/Behavior:           Appropriate .
           Thought Process:             Logical .
           Hallucinations ;             None .
           Speech:                      Appropriate .
   REFERRALS ;
         ROUTINZ Xiatory and Physical
   Order Type: Dental - Annual E      visit initiated .
   Instr                        xam Visit
        uctions: Dental - Annual Exa
   Duration ; 1 da                  m
                      y ls)

   PLACEMENT/HOUSING:
   Electronically signed by Lesll                   General Population (GP)
Nurse)                           e Gleescn on 08-20-2019 03:10:09 AM (Type
                                                             .             :
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 40 of 276
 RADETIC, SEBASTIAN   #:MCSOl9MNI0l7466 1/28/2020 8:08:54 AM

     Electronically signed by Kerry Moore, ARhIP on 08-21-2019 03:25:51 PM (Type;
 Provider)
 Weight : 225 lbs      Height : 6 ft 2 in   Blood Pressure : 126   89   Pulse: 88
 Respiration : 16
 Patient 's Condition is Related to
 Current Illness Date :
 lst Date Of Illness    :
 Unable to Work Dates
 Hospitilization Dates
 DIAGNOSES;

 PROCEDURES:

Attending Provider : Gleeson, Rb1           CCS
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 41 of 276



 RADETIC, SEBASTIAN
 09-02-2019 Mon 01 :24:00 PM
 ENCOUNTER
     Dictation : INITIAL MEDICAL HISTORY AND PHYSICAL ASSESSMENT :

     Patient Lqame :             SEBASTIAN RADETIC
     Date of Birth :             10-24-1976
     Patient ID No :             MCSO19MNI0l7466
     Social Sec Ho :
     Today 's Date:              09-02-2019 Mon

     YES ;               Receiving Screening Reviewed

     PROBLEMS :
     An
     n i:
        q$7lA'& ..


     ztJ...
     ..   y ).$q.j.;-m a :
               '
               sjo
     A A L nm a :
                   L9o
     Ba lan ce /Diz zirzess :
            Ho
     Bla ckout s :
                   No
     Blood '
           .
                   N.o
     Cough/spuEum :
             No
     D .T .s:
             No
     Diabetes:
           No
    False Teeth :
           No
    Gall Bladder:
        ' No
    Gonorrhea :
          No
    Hay Fever :
          No
    Headache :
          No
    Hearing '
            .
          No
    Heart:
          No
    Heartburn :
          No
    Hepatitia :
          No
    Hernia :
          No
    Hypertension :
          No
    Joint Problem ;
          No
    Kidney Disease :
          No
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 42 of 276
  RADETIC, SEBASTIAH # .'MC5Ol9MNI017466 1/28/2020 8
                                                                        :08:54 AM




                                        =-.-)2.
                                              -=w v
                                                  .o.
                                                  , wrw.'
                                                        bqz -
                                                            'a..=.. '
                                                         .J f
                                                            - Q          C1.
                                                                           '
                                                                           Q(.).
                                                                           w   r'ka
                                                                                  4-ve
                                                                                    >




   IMMSNIZATIOW STATUS
   Date of L           :
             ast Tetanus:
         Unknoks
               'n
   Other Inmunizations :
   PPD STATDS :
    i4o : History of p ast
         E                 positive
        xperiencing TB symptoms (un
                                   explained weight loss
            Fever or chillsr night sweats or ch          ,
            (lasting 3 weeks or l              ronic cough
  TB vaccine as a kid            onger/bloody sputuml)     N
  ALLERGI                 , chest xray neg for tb                                  o
         ES:
        DUST
        PCN

 VITAL SIGNS:
 Weight : 250 lbs
 Height : 6 ft . 2 in .
 BMI: 32 . 1
 5SA
 3SA (
     (Mosteller):
      D           2. 43
       uBois): 2.39
 Blood Pressure) 136/90
 Temperature : 98 . 7
 Pulse: 91
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 43 of 276



          Respiration; 14
          Pulse Oxygen : 1O0

         PHYSICAL EXAM :
         SKIN:
         Color :
          .
                Normalcondition
        Turgor :                :
                Normalcondition
               Norm al          :
        EYES :
        Pupils:
               Normalsclera ;
        Conjunctiva :
               Worma lSclera :
               Norma l




      b'OS E :
      Obstructions :
     Drai Normal . Drainage :
           nage:
               Normal
     HECK:            .
    Veins:
    Th        Normal . Mobility :
        yroid:
   Lymph NNormal . carotids:
               odes :
             N Normal , Mobility :
   C          ormal .
    arotids:
              Normal
  CHEST :             .
  Configuration :
           Normal a
 Respirations:Auseultation :
           Normal
 HEART :            .
Auscultatio
                  n H:
          Normal. Radlal Pulses
Apical Pulse :                     :
          Normal
                   .        Normal. Rhythm :
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 44 of 276


           Radial Pulses ' .

                  Hormal.
           Rhythm :
                    Norm al.
           EXTREMITIES:
           Pulse ;
                 Normal.Edema :
          Joints ;
                   Normal.Edema:
                 Normal .
          SPINE :
               Normal .
          ABDOMEN :
          Shape :
                lqorkual .Bowel Sounds
          Palpation :                  :
                  l
                  qorma-l.bnowel Sounds :
                      :.2
                        -z.).-.rnp 5
      BR2A o
           ,
           -T -
              .

      .
                        1/c'i'
                             . r.,.t
                                   %.i
                                     NL(.?
      .jQ-'6--.r...u.J.:.
      .j


             DF V' F=
                    ,.FtEèD
     T(2STIC L1LA R ;;T  I .
                        . A3w
                            J:
            Dc '
               Rgt
                 *E;A AED
     r
     w*T
       <N
        .1h
          &.#
            4h
             1.4
               24m  >.5epQ
                         . .
                 ..1LN & K
                        Zœ
                    ç.
                     1one at t 1
                               nA.s V..l.11te
     EDUCATIOHAL t
                 *3
                  AATERIALS PROVIDED
                    y'e s                             :

                HYG IENE IN STRUCTIO19S
                 Y ea                   PROVID:D :

    TREATHENT PLAN :

   Reviewed sick call
   Annual H&P schedul p rocess with patient.
                     ed electronicall
                                      y.
   WORKER MZDICAL CLEAR
                                             ANCE :
         Do you have any o
be seen?      14o          pen cuts or sores anywhere
        Are you presen tly expe                        on your body thak
                                                                            cannot
              Shortness of bre  riencing any of '
                                                th
              F                ath? No             e following sympt
                                                                     om s :
                ever / chills?       N
              Sore throat?            o
                        New/Frequent                  No
                 N             cough?   No
                   ausea/vomiting?      N
                 Diarrhea?               o
           Are you up t                 No
                         o date on TB Skin t
             Yes                            est or chest x -ray?
       Approved for Inm ate Worker Statu
       Approved for outsid               s?
      Approved f           e work?                                 YES
                  or kitchen work/food h                           YES
                                        andllng?
      CommGnts :      No                                           YES
                        ne at this time
 EXAMINER 'S SIGNATUR
                                        E:
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 45 of 276


                                                               AM

         SUïCIDE POTEHTIAL SCREENI
          1 . Have you ever attempt
                                  NG :
                   N                ed suicide?
                    o 2 . Have you rece
                   No                    ntly considered attempting suicide?
              Note circumstances th
                                   at increase suicide p
                   Nothing                               otential:


                                  psychotropic medicati
                                                     on?
                     of psychiatric hospit
                                          alizations?
                        outpatient mental he
                                            alth treatment?




                        cerebral krauma/sei
                                            aures?




                     (hignest grade c
                                     ompletedl)


                                ability to cope?

                   Oriented .


     Mood:
     Mood;
        Appropriate
 Sp eech :          .
 '
        Appropriate
 Appearance:        .

 Activity / Behavi
      Ap           or:
 T      propriate .
  hought Process :
 Thought Process
  Logical.       :

 SUMMARY :
       No mental bealth
      Approved for Ge   referral .
                     neral Population .
ALLERGIES:
     DUST
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 46 of 276
   RADSTIC, SEBASTIAN #';MCSO19MNI0l7
                                     166 1/28/2020 8:08:54 AM

            PCN

       SCREENED BY:
       DISPOSITION :
       Electronically Approved b
                                y Natalie Tyler on 09- 02-2019 01:27:06 PM
                                                                           .
       Electronically signed by Raul Canerr MD on 09
   Provider)                                           -
                                                           05-2019 02:53:25 PM (Type :
  Weight : 25O 1bs       H
   Pulse : 91    Respirati eight :              Dlood Pressure)
                                                                        90   Temp:
  Patie                   on : 14
        nt 's Condition is Relat
 Current Ill                      ed to <tqone Specified>
               ness Date ;
 lst Date Of Illness
 Unable ko Wozk Dates :   :
 Hospitilization Dates
 DI'AGZ
      qOSES :             :

 PROt
    -LDUREE ;




 End Gf Encounter .
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 47 of 276



  RADETIC, SEBASTIAN
  11-20-2019 Wed 01 :04:00 AM
  ENCOUNTER
      Dictation   NURSE PROTOCOL - MUSCULOSKELETAL :
       N am e :
                                                    SESASTIAN M DZTIC '
       TD#:                                         MCSOI9MNI0 17 166
      Date:                                         1 l-2()- 20l9 W ed
      Time :                                        O1 :05
      Date of Birth :                               lO-24-1976
      Gender :                                      Male
      Race :                                        W
      ALLERGIES :
           DUST
           PCN
      j.f.-
          ..,
            .......vl-
                     ..-..-i....f
                                .Aqa




                 1.1'-.
                      q-o
                        w.-.z
                            r()1c
                                p j.).
                                   - :-.j
                                        )6 n
                                        '    7$jg
                 1 l-'2 O'-20l0 ., 01 .'O 6 A. ),
                                                #
     7
     x
     1akiz1C V
     k       n.u'cn.
                   '
                   tc :
            liew Onset .

    M ed.
        2cal i'
              l.1stor &-.e
                tkone .

    Surgical History :
               Nane .

    So cia l Hist7ory :
         Non e .

   Symptom s:
              Pain rating -4/10 .
                           Location -
                           Dull .
  OBJZCTIVE:
  VITAL SIGNS :
  Blood Pressure
  Pulse                                       138/92
  Respirakion                                 75
  Pu lse Oxygen                               14
                                              l0O

  AV PU ;
         Alert
  Co lor )
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 48 of 276
  RADETIC , SEBAST TAN
                   -                              #:MCSO19MNT0l7d66 1/28/2020 9:08:54 AM


           Tisaue Perfusion !
                 > 2 sec .

          Nquro/vascular Exam :

          ROUTINE INTERVENTIONS :
               Required due to - pain
          CHARGES :

       S IG lqA T URE :
                       '
       E1e ct ron ?
                 Re ca'l ly A pp ro'       ved b y Den ise C ruz on l1
                       -
                                                                              - - 2 O-20 l9 Ol :2 5 :52 .A. M...
                    assu red p at 1e nt . T       -bup ro fen , 400 MG #10p S1g: Adm1n1ster l tablet '                    oy
rn
 ,o'a1-h 6 -ïu'J'
                .c!e a :ja'    z Po
                                  axN.
                                    w1
                                       n
                                     . =%'or S De ','s A cek aJ.
                                                               n.1nc.:3h, en ; Jr50 1 -.4
                                                                                       '
                                                                                        -G !
                                                                                           !1rh  S2
  '
  -                            a                   a                 1.                        '     -
                                                                                                  .1..
                                                                                                     D ;' D
                                                                                                          .drc..
                                                                                                               1n iste'c 1
  L:b .
   .   7
       -c-=L.s L-z
       k          'v- rnc;1
                          .J'k
                             c
                             ..h
                               l t:
                                  ,.
                                   ;-
                                    2i
                                     .ce .B r-.
                                              1
                                              .s-
                                                .z D
                                                   -.7t.
                                                       i.
                                                        1A
                                                        - =.o.
                                                             -
                                                             '
                                                             .
                                                             - 5 c'.,
                                                                    9.&
                                                                      .,
                                                                       .=
                                                                        .
                                                                                                                      -

                     Jn =!k'=..Q '
                                 fzQ.t J- c '.-'L!w
                                                  '.. t
                                                      '. 2. u,:.i z.!! c'.w' w .z...'-u t* A' !.'-,!-''. fIt'(' '.hzr:r-b-'fr <.. !'
                     ''*  J. .   '                                                                                                v
                     ' 1u)1 '>)C .. Not.) !.$.!.i.
                                                 ) T.7Y ù..'
                                                           1.. ...ë.d- 7
                      .                                                *
                                                                       j,z I...(=j-.t
                                                                                    '.'ac --e2 .>r' Q. rs= .= =

 uo.2 LJG u c 27r'l.> S ui.Z'l': . a.l o z > a'        .         v k2a.S t'
                                                                          b .' /w             i'x<-x= Q .'
                                                                                                         < .ual'
  '                                                                                                            L'à.Q)fk.
 r it't-1.e F:vw 'w
                  c, Iw
                      ''rh.ei-w
                           xr!rn-i mu .A-wrxta
                                            rn an wc &uxw
                                                       .= ut. =
                                                              ua v
                                                                 w<wsr
                                                                     .>
                                                                      -z v
                                                                         uew'x
.-,uza:z.= z$u a.a.1 j2= o u     o i-lo u.e         .
l,-t Da t.
  0          -. O =
                  .u I l1n ess    .
                                  '
I7r)-
    (
    ::b le to 7   .'
                   :
                   .c&rV
                   (   ,.
                        - Da teu
                               = ;
H OSp2Ei-
        '' 'iization
              - .          Dates ..
DIA GlN 1.O SES :

PD
 ,.OC.
     T>
      ..r.
         ;r
          .7
           .'
            P.P.Q '

A ttending Provider .' Cruzy LPIC Deniser Wellpath

              F'r3c'zn!7n i-.
                            ==
  Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 49 of 276



   RADETIC , SEBASTIAN
   12-27-2019 Fri Q9:10:00 AM
   ENCOUNTER
       Dictation : NURSE PROTOCOL         -
                                              MUSCULQSKELETAL :
        Name :
                                          SEBASTIAN M DETIC
        ID# .
            '                             MCSOI9MNI0l7 (66
       Date ;                             12-27-20 l9 Fri
       Time'.                             09 :23
       Da'
         te of Birth :                    10-28)-1976
       Gen der :                          Male
       Race :                             W
      ALLERGIES :
           DUST
           Pchl
      I.;. 'ïl. ' !Y l' ''



      <'i1k-' $!.1 '1 1''.
                         'î -
      %'kUâ!tk2 .'CD l ''t


      D.
       :
       A.t-'w
            g.
             s.
              /T   2-m..
                -. 2   = of On w
                       w       =e=
                                 L.'




     Medical Historhz: Fracture of râ
                                     ght arm as a child


     Sur'
        gica1 Hzistcr- -'
                     ./ .




                                       jaw 'rclicks'' occasionally when opening mouth and


             Arm Numbness - Right .     Pt states that he was in ''an
 my head on 11/19 and they forgot to check m e outn             accident and hit
 intermittent numbness epi                          .   Pt states that he has
                          sodes to the right arm      depe
the arm .                                                 nding on the position of

    Hote : Pt verbalized that he was in ''an accident and hit hi
on a bus transport from court''. Pt states that that ''I want s head on 11/19
whole body'' and ''I won tt tak                                an MRI of my
head''. supervisor notified . e any medicatien in case I have bleeding in my
confirmed with Supervisor .     No indication of nqed for emergent MRI,

   CHA RGES :
           Nurse sick Call

   SIGNATURE;
   Electronic Signature :
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 50 of 276



        Electronically Approved by Sheri Math
                                                   er on 12-27-2019 Q9:39:21 AM .


       OBJECTIVE:

       Symptoms :
       VITAL SIGNS :
       Weight
       Height
       BMI
       BSA (Mosteller)
       BSA (DuBois)
       Blood Pressure
       Temperature
       Pulse
       Respiration




      Tissue Perfusion :
           < 2 sec .
      24euro z
             /Vascu la r Elcam :
                                       Cranial nerve ex am ï41hlT.   !
                                                                     Lvm h
  s tead v gate . AA O x ( .                                             >.1-*..
                                                                       ...     1.atr
                                                                                   .fra
                                                                                      Ar T-7.
                                                                                            1tJ
                                                                                              %
     Ph
      --aszs-6c a-7 El(ar:t: .F
                              ,ïN1.,




     ROOTINE INTERVENTIONS;
          Required due to - Pain
    Reassure patient
    Acetaminophen 65O mg BID PRN
    Ad                           x 5 days
      vised reduction in ackivity but
    Instructed pt to return if symptoms
                                      not bed rest
                                        cha
    Patient verbalized unde                nge or worsen
 to return for follow up . rstanding of self-care, symptoms to teport and when
                           Pt stated understandlng .

Weight : 2O5 lbs       Height : 6 ft 2 in   Blood Pressur
  Pulse : 01   Respiration : 16                           e:               89       Temp : 98 . 0
Patient 's Condition is Related t
Current Ill                        o <None Specified>
             ness Date :
1st Date Of Illness     ;
Unable to Work Dates :
Hospitilization Dates :
DIAGNOSES :
                            Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 51 of 276
                                                                                                                                                                                                      )Q                 .   ;;
                                                                                                                                                                                                                         #aè,u.
               .        ,             .
           ,%a'     '
                                                                                                                                                                                                                              scE                           p
           #'           ' '
                                                                                                          HEALTHCARE REQUEST                                                                                       oate:
                                                           '
           C 0 R R E CT C A R E                                                                       SOLICITUD DE SERVICIO DE SALUD                                                                               lni
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                     tials:
           S O L U T I0 N S                                                                                                   .                                                                                    Tim
                                                                                                                                                                                                                         e:




          NarnetNombrel:..'  .                          --                                            -
                                                                                                                                                                DOB (Fecha de naoimiento):
          Io # (s-de iuenti
                          ficacîunlrz.-:<,,t-.x
                                              .z..z-
                                              .
                                              t    J -,r-:a ,
                                                            z' z'
                                                           v ...*        v
                                                                                 ,
                                                                                                                                                                                Jnit(Unidadl:1m
                                                                                                                                                                                              )                                     z oC'              --




         if
          :lMedical(Medico) E:IBehavioralHeaIth (Salud Ment:                                                                                                              lnial(Dental)                      (:1Other                                           .
         XatuceTf
                .Prf
                   zblem srRequesi(bespeciclc) Nattlraleza delproblemao soiiciiud (Seaespecifico)
           /r< V.'-a,5z                            . '*    x
                                ..v
                       --
                                            /,;,                             .' M.a.xa .a*s .e.
                           .d'
                             K.>t #J
                                                                         ,.-f  z .k.V. ,<.*.zt                              -                          .
                      ..
              z :-- .. ..z.e                                                                           .-.                                                                                ,.-                            ...a.
           #*w.            '..
                            ,.
                             r.n,'t
                                  '
                                  ..
                                   r'                                       k
                                                                            ...
                                                                              e
                                                                              .'
                                                                               . ,,
                                                                                  e
                                                                                  k.;
                                                                                    yr../'   ....,.e z ze.r. g
                                                                                         ..A '               -                            vz.
                                                                                                                                            ..-,..
                                                                                                                                                 ..-';..
                                                                                                                                                       .r
                                                                                                                                                        ee.ru véz z
                                                                                                                                                                  :...1
                                                                                                                                                                      iw
                                                                                                                                                                       -..zf
                                                                                                                                                                          -
                                                                                                                                                                          ...s
                                                                                                                                                                                           :
                                                                                                                                                                                          , .pJ..
                                                                                                                                                                                                e.
                                                                                                                                                                                                 O. .
                                                                                                                                                                                                    k.
                                                                                                                                                                                                     r
                                                                                                                                                                                                     .-
                                                                                                                                                                                                      ..'
                                                                                                                                                                                                        ,-   N         ;,(  ..,//
                                                                                                                                                                                                                         -...
                                                                                                                                                                                                                            . e
                                                                                                                                                                                                                                   ....
                                                                                                                                                                                                                                    c
                                                                                                                                                                                                                                .. .-.
                                                                                                                                                                                                                              . .
                                                                                                                                                                                                                                      >
                                                                                                                                                                                                                                    ...
                                                                                                                                                                                                                                           ...x.
                                                                                                                                                                                                                                               e-
                                                                                                                                                                                                                                                ak.o.
                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                .- :
                   ''                                                                                                                                                                                                                             .             .
                                             r     ..a
               ..           .                                        q               .                 r<                         &>'e'              -.                          -                      -                                       e

               w.                     '                                                                     z
                                                                                                            .
                        .
                            z'.            .. z .              pw
                                                                ..-z #' z ..@.
    '


        )CCIRSCIDI IQ D6 $.r&Zt ..6TQ.Gy
                                      E .1..I
                                          ; :Y21
                                               ).w
                                                 ..=I .
                                                      .- e.a. c:
                                                      w 2.w,w  .
                                                               y
                                                               .ZI.
                                                                  g.F'6 ..4
                                                                      .9:  t.
                                                                            j!.6 Ctfrlur-j1.j
                                                                                            .; a I*    jjPd. jurjysrst      .aso'tj.
                                                                                                                                   )attjja Ig.m.cl
            'ceo Fz
        Sefvi      rl2val a.y Ct
                        -rd    îeu .1i j.j
                                     l/u 4v
                                         ..IlD7'n1   771.
                                                        7aCCDQII  -II01 ! .* z!..! -,SQ wSBCF    w.                                              IiI
                                                                                                                                                   ;%
                                                                                                                                                    4-
                                                                                                                                                     g'rCCZ;  kt:
                                                                                                                                                                ;.
                                                                                                                                                                 F)a.     rre
                                                                                                                                                                           w f    ; 7'I  e forg.       :2r;
                                                                                                                                                                                                          <'aëc.1Y*u'1.*6$e
                                                                         .J1Ii7?  (
                                                                                  1,1S    LUC TBI
                                                                                                '
                                                                                                : E zrç
                                                                                                      .!
                                                                                                       2 #-j     j--hgS!'@ w'w
                                                                                                                             -?a 4
                                                                                                                                 .  î'
                                                                                                                                     llp
                                                                                                                                       a.;. '     ' ki
        -egardlessofmyabilrth/topay. 2
        i                                                                      x.                          -trf S  :
                                                                                                                   7'
                                                                                                                    J    .
                                                                                                                         n   r   j
                                                                                                                                 ac'        tunoe.     s.
                                                                                                                                                        t'aI.9o2Q
                                                                                                                                                                uk
                                                                                                                                                                 ller...:w. '..2.a*..:1.t.
                                                                                                                                                                                         ...eue
                                                                                                                                                                                             ... ?..'.'9 lQ.6'2rl
                                                                                                                                                                                                 .'             '4..
                                                                                                                                                                                                                   .G
                                                                                                                                                                                                                    .,1:3.r-6
                                                                                                                                                                                                                     '
        p..'
           q                                                                                                         '
         ugoj/ i
               'ril ccnsee
                         ..
                          vu
                           ii
                            rnieni
                                 -o par.a gertraiadc por e!personalde atencl      on de salud paru las condi
                                                                                  .,
                                                                                                             .cl
                                                                                                               .ones descn*z,as. r.'
                                                                                                                                   p tl
                                                                                                                                      .endo que ,
                                                                                                                                                ya
        instaiacfo'n me puede aobrarpor alcunos de esto: sefvi         cios y pueden o'
                                                                                      escontarlo Ke m
                                                                                                    , ica
                                                                                                        'en#                     cn
        Ensen
            t do aue voy c rec-                 'uye-dica independientement
                                  lbiratencio'n m                                                          *e- e'urmnte esta afuiuras ekanci
                                                                                                            >
                                                                                                                                           *   as.
                                                         j                  e de micapacidau
                                                                                           = o'
                                                                                              e pago.
    .
                                                                                                                                    ....
                                                                                                                                       .*G
        r'
        'atïentSi
                ornature (
                         .p
                          -..l
                             .rma oel
                                   . maci
                                     ... .enuu
                                             ue,                                                                                  6        e-.e.p                                                                                                e
                                                                                                                                                                                                                                            ,. .:.     : . .,
                                                                                                                                                                                                                                                            .,n . a s-.
                                                                                                 .)-
                                                                                                   .                                                                                                         Date ,
                                                                                                                                                                                                                  .Fecha <''vvf't (... a) * .- .
                                                                                                                                                                                                                  h.     k'
                                                                                                                                                                                                                        .?.'e .', L.  '-'- ueu' : J
                                                                                                                                                                                                                                             .
                    .        rhfsfsa consdent/a/documentand s'  hould only beplaced i
                                                                                    n a designated area, nwdicalbozzorghren (frac'
                   Este es Lllndocurnentoconffcf
                                               erlcfa/y s610 debe sercoloczdoenun ér                                              :y tornedicsl. S'
                                                                                      ea delignada, Gay'a médica oentragade directamente alperaW/ T
                                                                                                                                                rna/médico.

'
                                                                                                       DO NOT W RITE BELOW THIS LIHE

                                                                                                       (1-0 BEO MPLFFED BY-1RiAGING STAFF)
e7
 :'rr''s-..--..,=J<.  = -t7.
                  .,.w..x ,
                           <t.    oo.se.
                             ..zr..    rzm.âz
                                            1
                                            ..v .
                                                =p=. '
                                                     ..< =
                                                         .'*v'
                                                             v
prp':yz
     ',
       ôv
      %:'vz. %j+.
                .w.ur          .sy    = .W . e.w+,vçva'i:ws.=..t-      ..
                                                                        ,v. <'
                                                                             'f-o
                                                                          Q.Z'
                                                                          .     's.'s.'E.
                                                                                       L=.r..'*.'...>
                                                                                                    n-s.-'e.
                                                                                                           '             e '-rn a .x'- -. .ga
                                                                                                           twv.'....,z.ts<.                 qrzj.-..;.e
                                                                                                                                                      a:
                                                                                                                                                      t y t ,..'aaj -:J
                                                                                                                                                                    '                 #
 .L
 u'z losi..
      c        u s
                    .x
                   !i
                    .
                      X*
                     p=*' .
                           ..W.
                                   x   wmx. u .e'
                                                l    r  <j    a ? .  '.     e'  '      -  .     r%   Nj.q. . ora o
                                                                                                                          ....
                                                                                                                             0w.w .j.... zrswu
                                                                                                                                            p . > s.0 .m,jg..
                                                                                                                                                            ,
                                                                                                                                                           , . .., . . .
                                                                                                                                                                                 .                ,
V'  - '
      ,
      :?v.
         . e .w,
                    w.w-   ,.
                              -    -v
                                        s. i...
                                              .
                                               -
                                               .
                                               .
                                                ,
                                          .-.-....
                                                 q.
                                                 ,at.
                                                   s...
                                                     -...,.-.x--t, a.
                                                         .
     w...,..z..fr''sy..:k.'va..,.9..1...'A.Jz--.zw- ,.y.sz.7
                                                           .-
                                                            ...P.z1
                                                                          c
                                                                     '. '..
                                                                     .     .utt
                                                                              ='
                                                                                  u   l tw- .'-
                                                                                            -z;.v
                                                                                                '=.  x       '
                                                                                                             -
                                                                                                             4z'
                                                                                                               .- .  .? $
                                                                                                                        (-
                                                                                                                         ?
                                                                                                                         '  '
                                                                                                                            w-  .
                                                                                                                                - -. .x'
                                                                                                                                       ,
                                                                                                                                       <'
                                                                                                                                       ..t
                                                                                                                                        wk.
                                                                                                                                          z $
                                                                                                                                            .%a
                                                                                                                                         :a.....   ,
                                                                                                                                                 ,uo ,'
                                                                                                                                                      . j
                                                                                                                                                        t
                                                                                                                                                        '
                                                                                                                                                        .
                                                                                                                                                      o--l F'
                                                                                                                                                          tz?m
                                                                                                                                                             axy
                                                                                                                                                               e-
                                                                                                                                                              rk. '
                                                                                                                                                                  jw .
                                                                                                                                                                 wzx m  j
                                                                                                                                                                        r;oga Dm
                                                                                                                                                                               m .,
                                                                                                                                                                               xjg.
                                                                                                                                                                                  o
                                                                                                                                                                                  .        ;          jnj
                                                                                                                                                                                                        .jj
                                                                                                                                                                                                          ajw.
                                                                                                                                                                                                          o m.,                   yjm aa.
                                                                  . *'
                                                   ... ,         .       w   4g'
                                                                               .
                                                                               xu
                                                                                .-
                                                                                 n..z.
                                                                                     m,.
                                                                                       -
                                                                                       aN-
                                                                                        r .q.
                                                                                            ,
                                                                                            w
                                                                                            .S-
                                                                                              ...s-
                                                                                                  vu'
                                                                                                    w.-..==
                                                                                                    .    ,,.--.=.w'..
                                                                                                                    s..xM%-
                                                                                                                          ,u,
                                                                                                                            .a'                                          -                                                                                          ,
                                                                             N
                                                                                 %             ''               j                                                               ;
    IKITIAL;                               Q SickCall 1
                                                      Z1 l
                                                         '
                                                         se D HCP CIDenti
                                                                        st D 'Behavi
                                                                                   oralHeal
                                                                                          th ::1Eye Doctor (:lOther                                                                                                                       .'
                                                                                                                                                                                                                                          . .




                                                                                                ITO BECOMPLEFED RY HEALTHGARE STAFF)
               ::I Patyntseen(ifappi
                                   icabje)                                                                                  o patientottside offacility(hospital,courtetc
               D Responsesentt                                                                                                                                           .)
                                                                                                                                                                          ,rescheduleupon retum
               D P           opatient(i
                                      fappliœ ble)                                                                          CI Pati
                                                                                                                                  entreQsed, RefusalForm complëte
                                atientrel
                                        eased from custody
                                                                                                                    goecharge                           (: No                    Yes,Amount$                       '
                                                                                                                                           *
Rsspoqssvo pv Isxv/couussvs                                                                                                     ga cl'T,.      ,.
                                                                                                                                                                           ,

                                          NOTE: TreatmentJ
                                                         H/bnpaflorlshould nptbenotedabok!
                                                                                         ebz rshould bedocumentedan fàe a                                                                                   pdat
                                                                                                                                                                                                                 efreafmenéf6nn(s)

                               SiaffSignature                                                                                                                                                                                        D
                                                                                                                                                                                                                                            ttt'
                                                                                                                                                                                                                                               ?xltq
F                                                                                                                                                                                                                                         ate
 orm Number:SC001UN000ACCBI102413            z-
                                                                                                                                        par1 Form                                                                                          Pa
                                                                                                                                                                                                                                              ge 1 of1
         Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 52 of 276
                                          2019-(8-2625:24:55(GMX           185(8072523 From :DON STOKE
                                                  .
                                                                                                                   '
              )          - kxy..
                        oy    '

                         ,
                          ,       TE C H C AR E X -R AY , LL C
                                   106 W EST 5111AVENUE -TALLAHASSEE. FL 32303-61
                                           '                                     25          .            mR-TK4KA- RAY.
                                                                                                                       EOIW
                                     OFFICE:JJW 562-1656 .r''
                                                            tx'r8Jt? 562-n 09 '                           *'*M'''= ''> = R'Y'r:o'd

             1
                                                                             -
            i                                                 RADIOLOO REPORT        ,


             !       PATIENT NAME:            RADETIC, SEBASTIAN                                 PATIENTIDt017466
            !        FACILIR :                MONROE COUNW JAjL
                                                                                            DATE QF BIRTI;J10/24/1576
                    REFERRING PHYSICIAN: RAUL CANER                                       DATE OFSERVICE
                                             ,
                    Elf
                      w/
                       xlkfINAN ON:      CHFST 2hv/                                                     :08/26/2019
         î
         l          REL                                                                                                                      ,
         l            .<:
                        So y F'
                              C;R Ex-ztfe!:   RJO r'
                                                   R
         t:                                                                                                                                  $
         j                                                                                                                               ë.
                                                                                                                                             r
         à                                                                                                                               ;
                   INDZCATIUR : Rule outTB                                                                                               h.
                                                                                                                                         :
                   CH EST PA & LAT      - -




                   FZHDIH GS:
                   The cardiac siihouette m easu
        ;                                       res
                   structures appear unrem arkabl e. within norm allim its, The hiiarand m ediastinai
                   appear grossly jntact,             The lungs are clear, The osseous strud ures                                        ,




    .?
                  IM PRESSIO N:
    ,             No evidence ofacute cardiopui
                                              .



                  tuberculcsis      .
                                              m onary dtsease/com m unlcable dîsease or                                              :

    j

                                                                                                                                     '




                                                                                                     ï sf lq
                 ElectronlcallySigned
                 Datem m e Read:      by: SAINIRANJI
                                    8/26/2019 3:02:37 PM V KUM AR MD
                                                        ,
                                                                                                             fl
              American Board Certlfled û:(1î010g1st
              of
              C FLEX Teleradiology, The Joint
               om m lssion Accredited Organlzatlon
              www .iexteleraditilogy.com

                                ThankYou forallpw ing us t
                                                         o padicipat* infbe > re ofyourp
                  PERSON                                                                  atient
                        AL& CONFIDENTIALJlfyouhave
                                                  recekedthisi
                                                             nerror,pjeasecal(850)862-186:
                                              please deqtroythlsdocumentand/ordeletethl          ,orfax(850)562-7209,aôd
I                                   -
                                                                                     se-mall.
                                                                                                                 pvee jp.
                                                                                                                        tj
                      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 53 of 276



              #..                                                                                                                                                                                                          tQ
                                                                                                                                                                                                                            j ECE
                                                                                                                                                                                                                       -
              .                                                                                                                                                                                                        ,N                                             D
            gz.
            v                                                                                        HEALTHCARE REQUEST                                                                                                 .'


            0 0.R.R 60 Y 0f R 6.                                                                 ygkjgjygg gg ygqçjg jg gy ypkgg                                                                               na
                                                                                                                                                                                                               j
                                                                                                                                                                                                               sjty
                                                                                                                                                                                                                 ye
                                                                                                                                                                                                                  s:j
                                                                                                                                                                                                                    yy
            S D L U T !o N S                                                                                                                                                                                   '

                                                                                                                                                                                                               m m e:


          qame(xombrel..c
          i                ?'
                        ..L-rgd+'r
                            ..      D'
                                 ,.o' Nzy
                                        'z-
                                          z.                 .,                                            .'v-m
                                                                                                               ,- .
                                                                                                                  ')    -
                                                                                                                  - z-z t
                                                                                                                        -, ooB (Fecha de naoi       zmv .
                                                                                                                                                        : :' ,..KC+H
                                                                                                                                                                   kX
                                                                                                                                            mientol: ..
                                                                                                                                            .-
                                                                                                                                                           . . -,    w                                                             .                                              -
                                                                    -   zo z,
                                                                            .-, xzw-' <.                       -,e-                                                                            r
          ID # (NOde identïcaciönlr' J i..'
                 .               '        //'
                                            .
                                            '! <
                                               r' *
                                                  'w'
                                                    Q                                                                                            Lking Unit(Unidadl:                               ,                                         e-
                                                                                                                                                                                                                                              7 e.
                                                                                                                                                                                                                                                 z
                                        .                                                 '
                                                                                                                                                                                          -   /                            y
                                                                                                                                                                                                                                             ''
                                                                                                                                                                                                                                              - '-           k
                                                                                                                                                                                                                                                             z
                                                                                                                                                                                                                                                            x-
 '                                                                                                                                                                                    .                                                                                           -
                                                                                                                                                                                                                           e
         11
          *Medical(Medico) (   :JBehavioralHealth (S
                                                    alud Ment-al) D Dental(Dental) C1Other                                                       .
                                                                                                                                                                                                                                                                              .
         '! u '   -
         x auuro c'
                  r snroul
                         ercîorRequesttbc-spocif? tc-
                                                    /. z'.laturaleza o'elproblerrla o scë-
                                                                                         loitud
         :+'.z' t-ee:          ?' !      w.w   ; = 'ze'           -.'   , #' wlw
                                                                                                                                                                                                               '
                                                                                                                                                                                                                   lseaespecr
                                                                                                                                                                                                                            -rEco)
                                                                                        .. . w   ... eoa. z' e          ..:c
                                                                                                                                                     x.. .        p         zt
     '           -                                                                                                                                                                    ..      g.                   .
           , '        ..       .. >-      .                                                                                                                                                                                        .
                                     ... ,          a: .   oef
                                                             ..'' z. ,.            :e         . ...   #'                                                                                                                                               ..    ......   .
                                                                                              ,.. . /      >            z.ç*. ?
                                                                                                                              e#.
                                                                                                                                 '
                                                                                                                                          .J
                                                                                                                                                    1T'
                                                                                                                                           --.. ). 4* Ip .' .'
                  '
                           r             e'
                                          *          N.
                                                                                                                      .
                                                                                                                                                                       J i.
                                                                                                                                                                          ' J
                                                                                                                                                                          '  .7
                                                                                                                                                                          . .: ,''
                                                                                                                                                                                 .. :1
                                                                                                                                                                                     w.:#'             qtk.*;:....'' A                 ''                             *
                                                                   -e'
                                                                     J                                                         '     '
                                                                                                                                                                                                                       ,       .        .     :
                                                                                                                                                                                                                                                  ''   'Jl  , ; **e
                                                                                                                                                                                                                                                                  'Jiw*
                                                                                                                                                     y .              .,>   '

  lconserj tto be treatedbyHeal    th C
  Seriices and rnayQ'edtld ltT6 rt       are wotns forthe condi  tiond-ncribed. Iunderstandthatthefacl          -fî
                                                                                                                  '
                                                                                                                  z
                                                                                                                  k
                                                                                                                  -
                                                                                                                                 &
                                                                                                                   jJM ay chargeme forsom e ofthese
                                 3r1
                                 . 3 !3nN/actr unf Q'
                                                    .t1r
                                                       .i
                                                        ng'this cun   -e nè  c
                                                                             t
  reoardjess ofm v abilityt'o sav.                        -                   .rY!I iurestsws Inthe facil'
                                                                                                         s
                                                                                                         k'. 1understlnd thatlWilti'
                                           ,                                               J              4             .          ec:el
                                                                                                                                       'Ve5
                                                                                                                                          'eatth Clre
  Dow mi consenti  m iento para                                                                                                                 '

 instalacion  me puede    cobr a   ser  trat ado por   el personal      o'
                                                                         e   ai en
           e                    r por al gunos cle estos senicios k' cio'n o'e salud Dar           '
                                                                                                       a Ias condiaiones desc'r/tas.Entiendo que l  a
 tnT/enoo que voy a reclblratenclon m edl                                     pueden o'   escontarlo de m 'tcuenta du
                                               ca,lnoepeodi  entenhente oe i        nlcapaca                          rante esta o futuras estancias.
                                                                                             wau we pago.
 petientsi   .cnature IFin'na :elp                           x- - -r
                                        acientey.-          = - ...z..-..- x---...,- - -                                           z z 'A v .r
                                                                                                                    r,ate
                                                                                                                        ' (Fec- nal-              7k .1    r. Av
                                                                                                                                   . .
                                                                                                                                     î''- .
                                                                                                                                          :-'
                                                                                                                                            >. 'r--   -'''
                                                                                                                                                  .
                    This isa conûdentialdo                         r                                                                                           -'
                                                                                                                                                            . ..
            Este a'
                  sun o'ocwrr/snfchcloz     c umen  tand zhoul
                                                             d only bep/a(
                                                                         7&cf
                                                                            in .9designatedarea. msoe a/box orgf'
                                                                                                                                                    ..- . -

                                      nslel
                                          nc/a/?y ,
                                                  s'
                                                   J/0 debeaa/
                                                             -co/oead                                             e'
                                                                                                                   en Jf4
                                                                                                                        -
                                                                                                                        eet/ytomed/ca/staft
                                                                     o en un ârsa dssint
                                                                                       ebz:
                                                                                          dz, ak'
                                                                                                agzwedlca(;ent-egada(frpclannsnle&1Pdc
                                                                                                                                       ana/raz
                                                                                                                                             jdîco.
                                                                                              DO NOT'W RITE BELOW THIS LINE

                                                                                              (
                                                                                              7'0 BE COMPLETED BY TRIAGING
y %&
..: .V,-.-%
    ..
          .x.V ..     wo
                .o.-.,. '.C   ...'
                                 o'
                                  A %.W Z XP Q-                                                                                                STAFFI
                         x.x .   t
                                 , u   u,pr....
                                              i,
                                               .s .               xw.
                                                                   - 1 .zR@g.     %aw.%
                                                                                      .     X.&. W g&g# $u&&.>                   y s
F,
 t,a .'x!  ':'g u
                k
                K
                '
                -uN..                .
                                  -Y..2'.,;..'
                                          '               .        .
                                                                   s.
                                                                    .p   -   .
                                                                             g
                                                                             ,  +
                                                                                ..
                                                                                 sw,
                                                                                   .
                                                                                   y
                                                                                   ,. .
                                                                                      .
                                                                                      x - - -
                                                                                            y         7,-. -ggxr        xas. &
                                                                                                                             ' oe
                                                                                                                                x'zj .
                                                .'' *%<%'
                                                        g',e
                                                           ..--
                                                                  *.-.=.-,.w%-        . ' ''1-,-a..e!.j-.=1'--.k.e'.**                               g
                                                                             w.f
                                                                               /
                                                                               ;.Q.
                                                                                  t  .
                                                                           .
             X%'JuouA.e*='                                  M-.--u
                                                                 -:                                                   %' .
                                                                                                                         R  a
                                                                                                                            '   t             .
M          ...         >1=7'.-.rrraw                                                                                '
                                                                                                                    s
                                                                                                                    ?.
                                                                                                                     .p   ..     k- Tnage D'
                                                                                                                                 e
                                                                                                                                 '         à
                                     xzïcss. jw*---'.'  * -Xw.
                                                        ,                      M
                                                                               t<%i  V.--- .....œzW
                                                                                  %%.%                .
                                                                                                       q .r -,
                                                                                                                     .
                                                                                                                     ' * 7'
                                                                                                                          ,R.' .
                                                                                                                               .
                                                                                                                      . x'ph,,.,
                                                                                                                                 '
                                                                                                                               =.<''       .
                                                                                                                                           '
                                                                                                                                           '
                                                                                                                                             t
                                                                                                                                             q :
                                                                                                                                               .
                                                                                                                                               .
                                                                                                                                                  .(,                            .é.jy;jtjaja./
                                                                                                                                                                                  .                    .                   yjme.             .
                                                                                                                                                                                                                                                                          .
                                                                               '
NITIAL:                        D SickCall E1N                                                                                                                k!
                                                                                                                                                             ,                                             '
                                             u                                     HCP i
                                                                                       ::1Dent'
                                                                                              st E:IBehavi         . ê
                                                                                                         oralHeal
                                                                                                                th U Eye Dodor L1Oth                                                                               .

                                                                                                                                                                                                               er                           ','

                                                                                        (F0 BE O MPLETED BY HEALTHGARE S
         (:I P                                                                                                              TAFF)
         atientseen(-,fapplicable)                                                                 (ZI Patientouiside offacilit
     :1 Reaponsesenttopaiient(i  fap                                                                                                 y(hospital,coud,etc.),rescheduleupon return
     C) Patientreleasedfrom
                                    plicable)                                                                  I
                                                                                                               D Pati
                                                                                                                    entrefused,RefusalForm com ple'
                                                                                                                                                  te
                                                            custody                                     y
                                                                                                         ee charge                       D Ro D Ye
ESPONSETO PATIENT /COMMEN                                                                                                                         e,>-mount$                                               '
                                                                          TS                                                                                 ''




                           NOTE: Treatmentf
                                          nformaffon shotlld no
                                                              . tbenot
                                                                     ed aboee butgbould be documented on me appm
                                                                                                                                                                                      pdatetreaO er?
                                                                                                                                                                                                   ff
                                                                                                                                                                                                    6tm(s)

                               Staffsignature                                                                                                                                                                                                           .
rm Num ber:SC001UN000ACCBI102
                             413             2-PartForm                                                                                                                                                                        Date j-)
                                                                                                                                                                                                                                      jg
                                                                                                                                                                                                                                        Page 1 of1
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 54 of 276



                            i.-x
                               k(
                                ;tk                                                   HEALTH                                                                                       Q RCEIVED
       -t
        CY
         VZ'
           Y-    1'                                                                                      CARE REoussr                                                         nate: :
       C 0 RR EC% Câ R E                                                    SOLICITUD DE SERVICIO DE SALUD
       s o L U T lo N s                                                                                                                                                       Initial
                                                                                                                                                                                    s:
                                                                                                                                                                             'rime:. .              .       -   -.

                                                                                                                                                                                                                     j
     Ixianae(Nombre):                                                                                                    D
                                                                                                                             t
                                                                                                                             --
                                                                                                                              )B (Fechade nacinnientol:
     ID # (NOde identi
                     ficacio'n):                                               '                                         .            Unit(Un'
                                                                                                                                             ldadl:                                                '
    E:IMedï
          -cat(ftl
                 jodlco) 2:1Behakr-
                                  iora!Healtl
                                            n(salud lt
                                                     '
                                                     #yontal) i-
                                                               t...antalt
                                                                        'Dlntal)                                                                                    ID Other
    r'îcf'
         t-t2
            .
            ,1 c.
                f pr.
                    -'.ï'FI
                          .
                          f-.
                          : 70-r t
                                 >e -'(
    K*
     h 'w
        :                   %.JkwEt kk          wt V -(:-2.
                                                          t
                                                          'l
                                                          w 'bc.s'j
                                                                  '>
                                                                   n.::c-z
                                                                         Er
                                                                          z'
                                                                           kc' F-
                                                                             / traf
                                                                                X m'
                                                                                   tIrg.F
                                                                                        -'
                                                                                         :'zr 6:s!prciblc- n-ia c sc-!?c''
                                                                                                   .
                                                                                                                         ztuc!''
                                                                                                                       . -         -'Sp6c:'
                                                                                                                               gsa c      gft
                                                                                                                                            'c1.î.                                   .
                                                                                                                                                                  t         aj.                         j




   $ r eh    ex 2 ;
             .o G.e- tm - z.m:ed 1-&: l..'- .-I2.> 0% .
   :..
     ewI
       nq
        woC,ttw q.
                 g= :,eckuw= 1    .
                                  p)'it==,tflw1     3.t-c.
                                                        ah & *eh= z-t
                                                           xotrziiiw..4
                                                                      t.
                                                                       j'm
                                                                         w,oehe
                                                                           ww $.
                                                                               1A
                                                                                w1
                                                                                 ,y
                                                                                  k.'
                                                                                    4e
                                                                                     wwm
                                                                                       'lk-a1
                                                                                            oehtCk
                                                                                                 -'
                                                                                                  :
                                                                                                  I$eO
                                                                                                     vJ
                                                                                                      ..
   r'N .
   :-z'...i1;...I ...-...m. A:..' z
           J'!
             3.I.'te=!l>6,$tlllll=,Itt.tt            * :
                                         g= l=' >= ! tI= kJ vpIk)
                                        a.
                                                                        l               $!
                                                          ..a   !.pbo
                                                                    '*' '
                                                                        .Q
                                                                         ..1'
                                                                            r-l= (v           :îm.&kmî1C:Iwx 1tw
                                                                                  Q.$..z$io IGr                el=
                                                                                                                 eh > *I'uu
                                                                                                                    '%*
                                                                                                                      ol  'ed pol
                                                                                                                              ''** '*I1'
                                                                                                                                   ='  -'*%'
                                                                                                                                       0>  u*
                                                                                                                                            e-
                                                                                                                                             u%
                                                                                                                                              p*lvl:
                                                                                                                                               le  l**;u'-l*
                                                                                                                                                    wi         -**1*** '*%*-)* Q
                                                                                                                                                           l'k=#
                                                                                                                                                             eo um>wlItr:w.
   r
   ?
   -atë
      -entSignat'
                ure t
                    'e
                     -zt-t
                         ua det
                              'Facient'
                                      e):
                      Thi
                        si
                      saco/?fà
                             cfefprl'
                                    afo'
                                       oculnental  7o'shov3donl
                                                              k'bepiacedinadesignated area.medicaiboxorgiven directivto medicai
                                                                                                                                                                   Datè(Feczlia).
                                                                                                                                                                                '
        Esie estJlldocui
                       nentso cos/ 7le/pc5i
                                          a/y s61o debesel'colocao'
                                                                  c e/
                                                                     1&?)ét-
                                                                           ea a'
                                                                               esignada                                        sfa?
                                                                                                                                  r
                                                                                                                                  f
                                                                                                                              , ca.jaInédica()entregadao'
                                                                                                                                                        //-
                                                                                                                                                          ecfanp//llea/pel-
                                                                                                                                                                          sonalnléc/z/.
                                                                            DC NOT W,RITE RELOW THIS L9NE
  - - = = = = - =                = = - < = m = m = =
                                                     = - = = œ = - * - - - - * - * œ œ                                                       * = = > - œ = = = =
                                                                            f
                                                                            .TO BE COMPLETED BY TRIAGING STAFF)                                                                    > * * œ * = Y G =

  TRIAG E:                   (
                             :)Ernirgerlt EE)Urgsnt                                   (
                                                                                      ZIR
                                                                                         outlne                Triage Date:                                 initiahs'
                                                                                                                                                                    .              Tirne:
 j&tTiAL-
        '             EIsi
                         clcCall (:iNurse i
                                          ::iHCP D D
                                                    entist D BehavioraiHeaith D EyeDoctor D Oth
                                                                                                                                                                              er



      I
      ZI Patientseen (i
                      fappli
                           cable)                                                          C1 Patientoutside offacili
                                                                                                                    ty(hospi
                                                                                                                           tal,coud,etc.),reschedul
         Response sentto pati
                            ent(ifapplicable)                                                                                                     e upon return
                                                                                           (:l Patientrefused, RefusalForm complete
             Patientreleasedfrom custody


 RESPO NSE TO PATIENT /COMM EQTS                                                      :' ' '




                   NOTE'Treatmentinformation should notb
                                                        e noteddàoeebutshould be documented onth
                                                                                                                                                    eappropriatetreatmentîormls)


                                                                    StaffSignature
                                                                                                                                                                                    Date


Form Number:SC002UN000ACCBl100114(w/ofe
                                       es)                                                             3-partForm                                                                        Doev,tx % .-4 .,
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 55 of 276




           VVV9.
               '
               :     $ ' .                     '                                    HEALTHCARE REQUEST                                                    P EC E/V E D
          CORRECT     CARE
          S O L t) T l D N S
                                                                                SOLICITUD DE SERVICIO DE SALUD                                        Date:
                                                                                                                                                      lnitials:           .
                                                                                                                                                      Time:       '


        Ikame (Nombrel:                                                     -
                                                                                                                        DOB (Fechadenacimientol:
       ID # (N0deidentificacidn):
                                                             .                                                          Living Uni
                                                                                                                                 t(Unidadl:                           -


      I71Medical(M'
                  odiccj (:IBehavioraiHeaith (Saiud Mentai) E:ID
                                                                                                                           entaif'Dentall        (5 Cther
      !t<rV  .n
      k   ..'
            -Lt lC(b Q %
                       k* .
                          à,h     .-x
                               zC=,=k=r N,,,.w..ha cw r7?.,.. ,; o,
                                      .kkw)Lki=%t-Y'
                                                   w,k
                              .
                                                     f'$
                                                       Jg,
                                                         zC*c
                                                         ., w.
                                                             v-t
                                                             é 6.G.p
                                                                   i.
                                                                    C
                                                                    k?-e
                                                                     :k,h R%C<
                                                                        ) ;  ,
                                                                             .
                                                                             '.
                                                                             >*
                                                                              k';
                                                                                U(.
                                                                                  '
                                                                                  ot-
                                                                                  O ùG2.
                                                                                       o-'
                                                                                         e.Ux%C<(
                                                                                         o      V/
                                                                                                 # l
                                                                                                   eGB
                                                                                                     ;*t
                                                                                                       *6..G,%tm
                                                                                                               X Q>&.uQ'
                                                                                                                       rf -' - ? /
                                                                                                                       ib6 iVV.Q $S6=
                                                                                                                                    '' 6SMt. '''**
                                                                                                                                          .'
                                                                                                                                            'Ci1iC:Q'j



    lm
     w.
    $.'k..;r'ia
              wm
               =1>1j. z:i
                        :2'j
                           u.)m
                              w.'
                               .ïrm
                                  w,,
                                    p jwa.
                                         0@.
                                           h..
                                             t'cq
                                                f $e-.;.:,,j&c m.r.
                                    v
                                    .e.    .)   .-1     tIflv.'t:1.re Q
                                                                      wj
                                                                       .p
                                                                        .-kC
                                                                           1Ir
                                                                             l0ry
                                                                                b:
                                                                                 jlE'cw, *;.b'rj- al ooy;Iu,4
                                                                                       OnQ.L!J.tw.ew.-,,.2wu .
    t-erC1Jh'tIt(i
                 ..ztli!w t:li1t#i1!'..,
                                         ittt);)ci
                                                 .d2w.,..,
                                                         ..t1
                                                            z!QO l
                                                                 :)Orel(7er
                                                                          ,SO,
                                                                             Q.
                                                                              %..
                                                                                '!0...f ,
                                                                                        t.
                                                                                         D..
                                                                                           '......C(O$
                                                                                                     '7 C.
                                                                                                            w ..,..,.    j.ar.= =   1    c; uo    Itr.S.
    ;
    trputt
        ''l
          -
              ntwQ'
                  kc
                   w'
                    naiure (Firma ciein
                                      çacic-
                                           .              ntm .'à.-      .

                   Trlls /.!'t'
                              fdcolkfidentinlt-foct/me
                                                      /pfarto'xçhof-l/d onlj'bep/ececfl                                             Dats (Fecha'  .r
                                                                                                                                                   -
                                                                                                                                                   .
          Este es uno' oatlmenlo conîi     tiencialy sl/ ö debesercolocado e          '
                                                                                      rnectesignBts'
                                                                                                   etq,rez,meclicT!.bti'z.'o.'p';t'E;
                                                                                                                                .   '
                                                                                                                                    :dirsctt
                                                                                                                                           j!lc medicslsrdfr
                                                                                  nun Jre: o'
                                                                                            eslgnada, cajamid/caoentregad
                                                                                               '                              ,
                                                                                                                                   adirectamenteal
                                                                                                                                                    persona/médico.
                                                                            DO !4OT '
                                                                                    tVRI'
                                                                                        FE BELOA?THfS LfNE

                                                                            (TO BECOMPLETED EYTRIJ.C-I
                                                                                                     ??C STAFF)
  TRIAC-E'.
          '                       I
                                  Z1Eloergent EIU
                                                 rgent                              (5 Rcutine Triige Date;                             I
                                                                                                                                         nitials:           Tirre: '
  lRl)-lAL.'            D Sicl
                             çCall (Z1Nurse Q HCP I
                                                  ZID
                                                     enti
                                                        st D BehavioralHeal
                                                                          ih U E
                                                                                ye Doctor EZ Other


          Patientseen(ifapplicable)
       C1 Responsesentto patient(ifappli                                                C1 Patientoutside offacility (hospital,
      (ZI                              cable)                                           C2 Patientrefused                      court etc.
                                                                                                                                        ),reschedudeupon return
              Patientreleased from custody                                                               , kefusalForm complete

 RESPONSE TO PAN ENT /COMM ENT
                              S                                             '
                                                                            :             .
                                                                                          -   :
                                                                                              -         .                           .
                                                                                                                                                  .




                    NOT& Treatmontinformation sl
                                               lof
                                                 l/dnotbe noted above butshouldbedocumented on the app
                                                                                                                                        ropr/atetreatmentformls)


                                                                      Staffsignature
                                                                                                                                                            Date

Form Number:SC002UN000ACCBl100
                              114 fw/o feesl                                                      .
                                                                                                  '
                                                                                                  3-17prt çlnrm
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 56 of 276
              .       ..-w,.xn. '
               A vAkt
                    l't,'x.'.q
             ,
             ttm%.
            .;
             .        '%dbt   s.
                              .
          ...'h*            .. k
         1
         'u ,
         1
           ,
                                      o<j't
         !ëx t
           .o
           '           . .- g.
                                  i
                               Jhl'                                              U.S.Im migra'
                                                                                             tion and C ustcm sE nforcem ent
           ki
            .
            N
            p.
             .v
               *'
                z'         cQN,.    .x
                                     ./ .                                             K rom eSenriceProcessing C enter
              mNvxel/jr ï;N:,
                            .ar
                   gv-  oowx-

                                                                                          DETAINEE REQ UEST FORM                                                                                             +
                  .
                                                                                                            (Formulariocr/Soiici
                                                                                                                               tudes)                                                                              ' z'
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                      .t(.
                                                                                                                                                                                                                         7 .
                                                                                                                                                                                                                               ..



                                                                                                                                                                                Attsntjon:                         .
                                                                       (Atenciôn)
           Deportation Case Inquiry (Informacio-nrelacionadaasu caso de dapo
           PropertyDispositionRequest(Solicit                                        ltac/lf?)
      f l Mai!Relat                             uddeenfreg:de propiedad)
                     ed Inquiq'(Inforrhado'nreladonadaa suzorrespondencia)
           Refinious/Chaplain lnouifv (lnformaci6n J' e/ac/bsadaa religio*n c
           Commissary Inquiry(Comisarl   *a)                                   )acapellarles)                      '

     '
     r'    Payroil(Voluntary'tNosk)Reiateu s knoulry (int
                                                        'ormacio',0 o'e no-m ina re/ac/bnac'a a
        ':q(,
      2.-' l$-k.$:ï'lf--T :--2.-'
                                è.;?#-'f--ii,,:
                                     -.       j
                                              ë
                                              (,*
                                                -
                                                ;,
                                                ,::
                                                  '
                                                  tt
                                     .         //
     ht
     r'
      7
      .:
       4! t
       -
      tL  .-
           .,19;7
              u(.C-r (%
                      l.!  ,k-m
                        (:kr  . t
                                ec':icg$ih
                                         . Soeci
                                               Q '''(3/-8 s,
                                                           '
                                                           n     h..;A rz- ,- o-?it--''t-..4:.T.t-,-.e(),':'7'&l'e 1'
       .. ,.   . ( :.        ..n
                                           -   !,
                                                *'$
                                                  ' - J ..
                                                 ...       ,l'
                                                             t
                                                             -
                                                             t-e'ç
                                                      - '4.., .- .. .
                                                                      .                          ...                                   ,..
                                                   4,,                                                                                                                      t.           ..'-,u. g.
                                                                                                                                                     .        .        .
                                                                                                                                                                    . .
    z,P6.. w5 :
              .... .e.k=.k
                         '*-.*
                             u-
                                                (    '
                                                     -7
                                                v' # *    . 4.? =. c-
                                                         .' hue r.
                                                                    5
                                                                    'L.JeY'
                                                                          ,     '
                                                                                i...
                                                                                 t   r-..; .W.,'
                                                                          .. ...% N rU F.
                                                                                               a.
                                                                                                <
                                                                                                                               .




                                                 w
                            .Q-'z.%A'
                                   ,..-'z
                                        '
                                        u    z- çz
                              ,                        -
    DetaineeName:r -s(. -f/              .
                                         /r
                                          v.
                                           zv
                                            ''  1k.v ,p..r-,
                                                ,          .-
                                                            jwrs xjon#.  vw/.)z,ré
                                                                       .o d .a w , .,
                                                                                     g
                                                                                     ny; f,;.</
                                                                                             / k'-.v,
    '
    tNombt-e ds/Dst
                  enl
                 .-    û 'o)                   '      '          L
                                                                 'Nûm er    e Sxfran/ero)         (.:                                                                                                                          ....

                                       ya                  .       -
    DateArrived:#.,'kzrrrp..)-s'z, y                             Date ofRequest; cgw
                                                                                ..
                                                                                       aev zyy .  ,. ,.s o,
    (FechaLlegada)                                                                                                                                   (Fecha de Soli                 r                                                                  --
                 r
    lkatio'naîity:                              -' '
                                         Qu.él u@  '2=;f c,1,..
                                                  ,.   .       -
                                                                       .
                                                                       .
                                                                                                .
                                                                                                                                                     j,
                                                                                                                                                      .jous-
                                                                                                                                                           ino U nit: citud)
                                                                                                                                                                           XZ' ,.
                                                                                                                                                                               &$ -
                                                                                                                                                                                  - ?m $
                                                                                                        -                                                                                                    -.-
                                                                                                                                                             .
    (Nacionalidao'
                 )                                                                                                                                   (Unidad de Viv                          .
                                                                                                                                                                                                                - ,                . ..

                                                                                                                                                                      tendaj                                      -    -       -      -            -

                                                           $. ,
    Requ.
        est(solicituZdl:w/ v'-@..uC t,zzV ,;>O u
                            /.
                           C .'zwjgj - /% -
                                               oz'
                                                 g
                                                                                                                                                 ,
                                                                                                                                                                  g x-z y
                                                                                                                                                                  /z7      * 4'
                                                                                                                                                                            4'
                                                                                                                                                                                   :zg-,vy . jwy.
                                                                                                                                                                                                ga .v)y
                                                                                                                                                                    <t,-v-' pX.I/
                                                                                                                                                                       .
        Z *
    ./.4.. z., 7 -..       .                                                                                               .

                                                                                                               y, ej<- *r ypa                                                   mW/y
                                                                                                                                                                                   vp*u u- 5f-c?KW
                                                                                                                                                                                                -- 0-
                                                                                                                                                                                                    r    .
                                                                                                                                                                   .
    ''< o f0.fT' X zz'       p     #.z 6-z.-- / e<a -e' -     i /-'t+ ,  tr- /4t.''-4 72T / ,0 J*
   .. l-r.
         p'
          ?,
           ;3Jk-w
                /'. .      .
                           < < .   .!
                      F '.îJ u-/7 ù ,         :      .z
                                     r,'r- f C /h' 4z,e&/. -'r& .-j-           . , ... ,
                                                                                                                                                                                                                                               ,

                                                                                     R. - &?. e1..;,,
                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                           .             .
   C 8-..
        zv-r c-#.'g-u > t.> o -,                                          k,    .,@.                                                    .                                  ,,
                                  r
                                  7 l) -*  -()s.>'J c.
                                                     a- /%         .J./-''    ' p' -)4ip - '                                                                                                                                                   .


   (Continue on reverse)(Continuaren elreve/-
                                            so)                                                                                                           /                                                       c - i                                :z;> '


   qepartmentResp
                utons
                  -x ex(Re
                    -o    spuesvc
                         otAcx'taddeIDepadamento):a k.j .ooxo . ow j,x,w ..
                                                                          p-              .                                                                                                                                                                      ,Nx
   to             vao A                     t v'v ï                                                                                                                              .       M                    C:I                          G
                                                   a o.kAre.-c:l                                               .   =           u-usours-ssr )
                                                                                                                                            r                                                        -         s                          u .
                                                                                                                                                                                                                                      .




                                                                                                                                                                                     0
                                                                                                                                                                                     .


                                                                                                                                                                                  '                                                 #$ q
                                                                                                                                                                                     StaffSlgnature / itl


                                                                                                '
  ApprovalBy:'                                                             '
                                                                            .
                                                                                              a
                                                                                          Tltle:                       '
                                                                   -            .-- - .   - .
                                                                                                    @
                                                                                                               -       .
                                                                                                                       m
                                                                                                                                   -         -           --                       Date: -        -




RERevi
   CEIsed01/20J2
      vsnFEp182222tf
              Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 57 of 276




                   -
                   ,.
                    <
                    63.
                      1
                      it,-..                                                                  HEALTHCARE REQUEST                                                            RE CEIVED
                   CORRECT     CARE
                   S O L t) T l O N S                                             SOLICITUD DE SERVICIO DE SALU                                                        nate; . .                    :   ...
                                                                                                               D                                                      fnitials: .              '.


               lkame (Nombre):
                                                                                                            '                  DOB (Fechade nacinni
                                                                                                                                                  elntol:
               ID # (NQde identi
                               ficaciönl-       .     .

                                                                                                                               Living Unit(Unidadl:                 ..


              C)Medioai(Medico/ ::)Behavl
                                        oralHealth (Salud Mental/ E:lDental(D
              Naturicf         p rof:(c
                                      -rrfc'
                                                                             ental)                                                                            Q Gther
                                           .r Requsstk
                                                     'L7e speczf(c                            a.
                                                                                               ï Llaturaroaa delp,
     '
                                                                                                                                          t'Q(:lc-t-caQ.ecIlcltud (:eae       .
                                                                                                                                                                       spc-cr
                                                                                                                                                                            tf(c'
                                                                                                                                                                                1)


            )c
             -t
              onserc'tc'be '
                           trsateo'b
                                     y 1-î
                                         '
                                         611tl
                                             3C3re Stsfffc'rtl-
                                                              te conditi cn described.
           Doytnaiconserttinhienio
                                   para sertraiad'ofaoi'.
                                                        :1pei- soinal.o'e aiencèv
                                                                                zr!de sal
           ; w
           p                                                                            udparaJascondi
                                                                                                     c'
                     .p
           kattGritStcnat  .
                            urc- e *                                                                  toi-
                                                                                                         tes clescrI
                                                                                                                   tas.
                                    tFlrm a aetractelnt'
                                           fy e-  *     p
                                                            c-):
                                                            .  .
                                                                                     .
                           Tlîisisecon/f
                                       cë/ll/'
                                             a/docvment'ardcfshouldc)r1/$//Je                                                    ,     .'
                                                                                                                                                             D'ak
                                                                                                                                                                >e t
                                                                                                                                                                   zrt
                                                                                                                                                                    -z'
                                                                                                                                                                      tvaa;
                                                                                                                                                                        m  :
               Este6.s&/?o'
                          ocument                                  placecipp8 c/esklnaredereô
                                o conff
                                      or
                                       encfa/ys6io o'
                                                    ob                                          .r
                                                      e sercofocaob.elîtp21érea desi             necea/boXorWI
                                                                                    gl?ada, Ja.jamé           z'
                                                                                                               &?7dil'
                                                                                                                     ec?
                                                                                                                       lb
                                                                                                                        ff
                                                                                                   di
                                                                                                    zaoentregadaJteclarnerom/a'   //a/sïaîfk
                                                                                                                           ll%e &1psraon
                                                        DO NO,  T IVRITE BELOW T                                                          a/médico.
                                                                                                                                   HIS LINE
                                                                              f.7r eE COMPLETED eY '
                                                                                                   r
         TR                                                                                                             Ft!Ac-!h!c-STAFF)
              IAGE:             CIEm ero
                                       -'ent D UrcBot                                    I
                                                                                         DR
                                        .        *                                       '            oufin6 -
                                                                                                             1riage Date:                      '
                                                                                                                                                        initiais:         Yim e; ' .
         INITIAL:         I
                          D SickC
                                 all I
                                     ZINurse ClHCP D
                                                                                  Dentist D Behavi
                                                                                                 oralHeal
                                                                                                        th D Eye Doct
                                                                                                                    or D Other

                   PatientBeen (ifappli
                                      cable)
 '
               Response sentto p                                                             (3 Patientoutside
           (Zl P                atient(i
                                       fapplicabl
                                                e)                                                             offacili
                                                                                                                      ty(hospital,courtfetc.
                ati
                  entrel
                       easedfrom                                                             I
                                                                                             D Patientrefused                               l'rescheduleuponreturn
                                            custody                                                           , RefusalForm com plete

  RESPONSE TO PATIENT
                                         /COMMENTS                                           '.
                                                                                                                               ..
               k                                                                                                    .                     ,.
                                ; . .L
                                           <.                                                                                  C          ;q .     '
                                                      .                                                                                                              )%           ''..         .
                                                                                                        .                                                                     :          :   . '
                                                                                                                :          '        . .

                     NoTE: Treatmenti
                                    nf
                                      ormationa'
                                               hould notbe
                                                          noted abova butshouldb
                                                                                e documented on flle
                                                                                                                                                   appropr/atetreatmentfo
                                                          '                                                                                                               rmls)
                                                                   :.
                                                               .        . .
                                                                              .2 .
                                                                              ,  '       )
                                                                                         .        .    ..'( .
                                                                                                            q
                                                              m affsinatu'r#
                                                                                                                                                                          Date
Form Number:SC002U
                                  N000ACCBl100114(wX f
                                                                              ees)                     3-partForm
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 58 of 276
            $.-.-t.N..-jm .. 1
          u-j                j.
                              wJsa. . r..uc=%-
                                             j
                                             .
                  .



                                   *' .q>*
                                   '     ''. @a
                              /2u.q
                                  N*
                                   ..'      .e
                             .
                              .% < . . W 4-1
                            t.ae'
                                             ..t.%$
                                                 &
                                         . y,r- !-e.%
                                                                                                                                                                                                      TIL;'-X c'*
                                                                                                                                                                                                                1C
                                                                                                                                                                                                                 T.-
                           1.xw.;. .
                                  ( 1...
                                        -.
                                       ;.
                                        -.5 7. -t''
                                                    e.
                                                    .
                           1..e-
                               ne *
                               C   >*
                                   *&.*>      'es*erw*1.                                  U.S.lmm lgrationrtnclC tlstpms E nforce
                              ..e
                              w (e
                                 ' .            *w,
                                                  . .g
                                                                                               K                                 m enf
                             x%ë*.
                                  N . 4J > .e.
                                                C'e                                              romeServlceProcMsing C entcr



              '




                              DeDodatI
                                     -on Case lnqull (lnformacic'n rerec/bnado
                                                                             -asu'caso6*El'
                                                                                          gpo#a-//o-/J
                      t       ProDel 'Disp/silion Pv
                   e MailReiated lnqlwify (lnf
                                     l       eq
                                              ouest.t
                                                 ac  sol
                                                    /ön '
                                                        l
                                                        '
                                                        t
                                                        r
                                                        e-l
                                                          htaedona
                                                          l   ,/'dedee
                                                                     zf
                                                                      /recpo'e'propiedad)                                                        w.

                   , / Rell
                          gjous2Chxplalalnqulry (Irtfocnaclon ,eza/u -=--sucorrespondencia)
                      z-xC'i    * ouv $r1C,U.                                                                                         -re
                                                                                                                                        u/on-
                                                                                                                                            xge            a re .gtor.o a cap. a ,w
                  '
                  ;
                  *
                  '*! o
                      r    *tIr7
                               l1
                                S5=;; l     !T%tJrr b
                                                 w ..mt/.
                                                    '.      e.z
                                                        SRC/< ,
                    . . .&'.:tt
                              r:2'j
                                  ',!.J'
                                       v
                                       .;we,t.$t..2
                                                  :.  j. -qoe,j/!,p'
                                                         o               n  r#*   ip >)rf....
                                                                         w ..x,. . ..-,,.....       u..'..J,$r-r.iI-;jerkf ,G'
                 :. 1. :w..'R'e..: .-3 ..?                                                                    !
                                                                                                              .- .     ..       r?r
                                                                                                                                  ....r
                                                                                                                                      ..
                                                                                                                                       -
                                                                                                                                       .c%.rJ.o     ..' r.)o?         ng,r.   r:   t
                  &t.
                    'J
                     ..;
                       .uja
                          y'
                           .
                           .v.âY. k.L&
                                     .?-l;i.
                                           .1.=   ....T
                                              w.lJk. ;,.
                                                                                                                                                             .. q
                                                                                                                                                                . . .:         .,,5/:4t...t9J?4. ',..,w,2
                                                                                                                                                                                                        t0
                                                                                                                                                                                                         ,p.
                                                                                                                                                                                                           tz
                                                                                                                                                                                                            .gf.  ..
                                                                                                                                                                                                             .. . r,/.r!-
               ' '..  :
                    1 ' ;:
                         .F
                          : t.
                             *
                             .1
                              .... a;..
                              .. t!* .'u l
                                         . t ..(  .       ..    .
                                                                .            .      ..!f '' * e''Y......
                                            v' I!   ee.,l..sj,i:,.
                                                                 *r.a
                                                                    j g)>;
                      X ; ..                                                '-;y
                                                                                                                          '                 *
                                                                                 j.ket).v .t?=,.      t . 1....
                                                 .                                                                    r: : .'' ....
                                                                                                      . J '    -.'
                                                                                                                 ,.,....t&*
                                                                                                                 .         w.:.e4.>-... --.''.-',ê.'-..''*
                                                                                                                                                         ' *-.e'>*.'e..;'- - :**'''.-' - &'
                                                                                                                                                         . ..o o.
                      <.. -'.-* . -'r'7- * v..,:- . ' - ..,.m rr                                                          .,
                                                                                                                           .
                                                                                                                                                                 .        s.z...5 k,  'z,. .
                                              - .. :.      -........*...- L-i
                                                                            zsz--'a .i                  . ...- . .. ,. )
                                                                                          ..t
                                                                                      . ... ..-.......-.-z . -..*7.. .




         *=1...**&=    =             %         ,.
                                                    =                ,,--           .-- - .=-             .=      ..
         -        '.
                                                                                                                                  .   = * .= M        ..- -              .. '
                                 v' ''-w                                                                                                                                           -          '       '
         t.
          Jei
            -'
             l.
              't
               .nm1el
                    ntx ese oI. - t,i                                                                                                                                                                          .- .= w -             ..   =   ..
                                           e. e
                                              xs> '.
                                                   =qu.
                                                     osr.
                                                        nw.,'m
                                                             -sf=
                                                                - o'
                                                                   z JD s=,r.-.-vê'-- .
                                                                           .e=                                                                                             '
                                                                   -                -
                                                                                    '
                                                                                     zmi;=
                                                                                         -:
                                                                                          .-
                                                                                           :t
                                                                                            zc.)..                                              z ,.',-''
                                                                                                                                                        3-=' *W5 / Ly'.*>'t-'
                                                                                                                                                                .
                                                                                                                                                                              /r-'>               .
                                                                                                                                                                                                                              .
                                            z                z'
                                                              Jel..z/
                                                                    .
                                                                    g.v..r.
                                                                          .#
                                                                         'A                    u)ce#
                                                                                                   w '.
                                                                                                      .'
                                                                                                       'r''
                                                                                                          -- / .
                                                                                                               ..-            >                     ...-       -
                                                                                                                                         ....                       m                                     em
                                                                                                                                                                                                  ...- -...
                                                                                                   4                                   .,. u.
                                                                                                                                            wD'                     ,e=uz-'   .     .J    -
                                                                                                                                                                                                      z'
                                                                                                                                                                                                       cAe
                                                                                                                                                                                                                - .--.- ..''*-
                                                                                                                                                                                                                            <.
                                                                                                                                                                                                                             vw ..
                                               Ce
                                                .-e< w n z                              z'
                                                                                         Ve                                                                                                                         l
                      .                         '--                                      - rw '
                                                                                              -. 7-*
                                                                                                ,- .. -                                  '#''*.e A
                                                                                                                                        /.       ' e txv
                                                                                                                          -             ..-                     y-                                    ,,- -           ..> ...




                                                                                                                                                           W                                       yZJ'-L-J
                                                                                                                                                              Staffw
                                                                                                                                                                   œlgnature lT                                               -
                                                                                                                                                                               l
                                                                                                                                                                               'tle


                                                                                  -1lt
                                                                                     -''
                                                                                     - z
                                                                                       w,,'


     RevEsed 01,
               .20!2

RECElVED JAy27 222
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 59 of 276

                                      .ed4
                                         '' >Nj
                                              t/'*''**.$.,
                                    r.o .1J 1(t4d
                                    .
                                   ..                   ,
                              ..
                                   s.                 -,,...   sN.
                                                                 ,
                              l
                              !/u                     !p
                                                       ..,
                                                         0
                                                         .nj
                                                           !
                              j.g .. x . ...p x jj                                                   U.S.Imm igratioh and C tlstomsE nforc
                                  b
                                  îk
                                   .
                                   '
                                   W
                                   zP(' .' ckt4.V
                                                .'
                                                               &.                                         K rom e Sei
                                                                                                                    w iceProceasing C enterem enf
                                   '    .       -
                                   xNelA,p jg .t
                                            wv        z

                                                          '                                             DETAINEE REQ UEST FORM
                                                                                                                     Fornudario araSoticttudes

                                                                                                                                                                    Attentionk
                                                                                                                                                                             .$1,
                                                                                                                                                                                $:4 szw tau
                                                                                                                                                                    (Atenciön)                                        '
                                   DepodationCase Inqu'   Iry(Informacio'nr' e/ac/ol-
                                                                                    /add
                                  Propen' y D'
                                             lsposftionReq                              :su'caso deJepörfdc/ljr?    l
                                  MailRel                    uestlsoll '
                                                                       cl'
                                                                         tt1d(
                                                                             % entregadepropiedad)
                                          ated lnquiry (Inforrhacio-n relacionadaa su corr
                                  Reiigious/Chaplainlnquiry(Infonnacio-n/-e/ac/olnao'a aes   pondenc
                                                                                           re//'
                                                                                               p'
                                                                                                /'
                                                                                                        ia)
                                                                                                 (J/n o a cap6
                                  Commissary'lnqu-  lrv(Comisarl h)                                           //
                                                                                                               'a/ne&'                                                                             '

                                  PavrollrVcluntarv W ork)ReIated,
                    /,- b ;,.
                            'J..-1#'/pl'
                                       u                                           4          .                     (ngu1
                                                                                                                        .
                                                                                                                        r.
                                                                                                                         ,/
                                                                                                                          '(Informacio'n de no'ml'
                                                                                                                              .                  naralacionazla a
                   1
                   -
                   ).R.
                      ...
                        t
                        -
                        :
                        ',t7'tu...!'    a. t.
                                            z
                                            k'( a
                     < r-%./.t.h .. /, i .,. e.. J k
                                                                                                                                                                         '

       '
                   -j
                    .
                    c
                    t,
                     j.
                      p A:.e
                           .t1è1:l.    1-..iG...4v.,G.si;'$wC.e
                                  s,1 0i
                                                      .
                                                              r.' a...;.C;,y't'*'bé?-
                                                               . Q w.  .
                                                                          .-
                                                                                                                      r J'
                                                                                                                         J,-..'é.r..'..a'e
                                                                                                                                         - o.aclA *.'
                      e'   .
                       G .z.A o,'       .
                                ;..(.'.r'..F-'
                                               e-
                                             .k.
                                                                                    . -.  7..    ;..jp;
                                                                                                      zrw.,.ùx.6
                                                                                                               J.xS-.L .- '-
                                                                                                                 .                       - '- . . .   ...,a$...
                                                                                                                                                              ..
                                                                                                                                                               :
                                                                                                                                                               .
                                                                                                                                                               ...t
                                                                                                                                                                  .s
                                                                                                                                                                   ,(r
                                                                                                                                                                     ..
                                                                                                                                                                      jtuj
                                                                                                                                                                         .r.
                                                                                                                                                                          .rg,g'o
                                                                                                                                                                                nr'
                                                                                                                                                                                  .,,
                                                                                                                                                                                    .,
                                                                                                                                                                                     .cj'
                                                                                                                                                                                        ;.
                                                                                   /...ms7'
                                                                                    ..    ..we.w . t ...er y ,
                     ..                        # ..                                                                                                   - .-
                                                                                                                                                                                    ,.
                                                                                                                .
                                                                                                                .




             Detainee Name:C J
                                             ,-.     .
                                                     '
                                                     --.,zlp :p. q*.
                                                                   ,..
                                                                     '
                                                                     t'
                                                                      w.-.g,, .
                                                                              :.- Z'-
                                                                                    J
                                                                                    .,u,c. .;Fu.-                        z 5 . .œ 'o:.y.w #' -@ J*' .
             /Nombi                                                                             ,,
                                                                                                 v
                                                                                                 .
                                                                                                 ,7c.
                                                                                                    .r
                                                                                                     /4!ier:e   ,.                                                                                                        ...
                                                                                                              ., . 4  -  -  /
                                                                                                                            'u.C?-    *6,'s6,4 L'  f 7 .-e '
                                                                                                                         .
                     -edel'Dete-ni           -.
                                                  dc   )
            Dalee Arr.  fvecJ,..t:.&,-.:1pte'u.,'-;.$-.L. q;. y
                                                          -
                                                              - z'*
                                                              --k.-
                                                                  '
                                                                  -
                                                                   *':. .
                                                                   .x -w;
                                                                                                      /N'ssn1'e,
                                                                                                     .x z
                                                                                                                ro de f7
                                                                                                                r ..
                                                                                                                            - x-
                                                                                                                                 f'
                                                                                                                                  r a/#er   o) ..)-,r. .y
                                                                          .z.
                                                                                                     u gwg ojy.N   .gg(jag(       ,; ,u  .r,yj
                                                                                                                                        -y    0.:4
                                                                                                                                                 - . u g w..
                                                                                                                ..
            'Fec
            !     ha  L legau  - 'a  )                                                                    t                             ,       .
                                                                                                                                                           u.o oo. g.
                                                                                                                                                                                             .
                                                                                                                                                                                                                                    .

           N8&t'IOrl3l'I!
                        .
                         V .
                           .   wae'- '  /  'J'  . -;  z r
                                                        l. .v
                                                            .
                                                            T  ew.
                                                                 z-                                  /
                                                                                                     t
                                                                                                     Fec    /
                                                                                                            ? a  de  wo   oJ   r
                                                                                                                               a
                                                                                                                               '  z
                                                                                                                                  /
                                                                                                                   (r.j.;fu.. ud)                             '
                                             -  ..y
                                                  .   . p                                                                     ,   t
               .         4.                                  / ..                     .
                                                                                     . .
                                                                                                     yo. u!syrjo   I
           rNac/opa//.cfaWt                                           . e
                                                                                                        -   . -
                                                                                                               . .j                    Max. . C'
                                                                                                                                              -)    j-xab
                                            .                           tynl
                                                                           .
                                                                           yaotoe: g.y.kspl
                                                                                     /k  . 'lta)                                                                                                                                            .


                         , .
           Request(sollcltud) J ',        4
                                          zz,
                                            rtj'r''
                                                  --
                                                  fr
                                                   .
                                                   '
                                                   e. .. .KA
                                                   .       ./X2'
                                                               Xtz?'' .
                                                                      .    ' * t
                                                                               .
           6:)'
              *
              ZJ n
                 . >'
                    1 r 7.,.-7'nw .f       m> .,.t7>* : c.JJ 7 uq /.
                                                                   &r >     .-C-T C'  #/#
                                                                                     :-,-.,7j; :;A/fu.'
                                                                                                     ;(7'
                                                                                                        *l'A.,
                                                                                                             .l
                                                                                                 .          .            -
           .
           '
                              .    .
                                   -
                                   ,7, .
                                       -. t      .
                                                 ..                                                           '
                                                                                                                                          -    - -    -
                                                                                                                                                                                             . - - .. .                         .
                     /v ('/' ,
                             '..
                               =                              /3               w
                                                                                                                              .   N'.t
                                                                                                                                     ---f
                                                                                                                                        e'
                                                                                                                                        '.
                                                                                                                                         Q
                                                                                                                                         ,-'I,/''iq è,x.,e 0 &'                          .-v '/
                                                                                                                                                                                                                  .

                                                                                                                                                    z
                                                                                                                                                                                                       .       <A'
                                                                                                                                                                                                                 A -t
                                                                                                                                                                                                                    vul-'
                                                                                                                                                                                                                        --
                                                                               /                                                                                                                           .
                                                                                                                                                                    .


       (Contintleonreverse)(Continuaren elrev
                                             erso)                                                                                                        '

      DepadmentRespoqje(RespuestadeIDe
     okW q ku. (7<V r                 paxda
                                re têG7   cmontollo
                                                              '
                                                                                                                                                          V OW 7- 9u .
                                                                                                                                                                     a < .4t'$h                                       ..
                                                                                                                                                                                      x            $             '                      -
                                                                                                                                                                                                                                    x           Mxc

                                                                                                                              .
                                                                                                                                                                                                                      e




                                                                                                                                                                SiafiSignature?Tiuo


   AnnrovalBv:                                                                                 Titl
                                                                                                  e:                                                          Date:
   Revised 01/2012
                                                                                                                     .

                                                                                                                             qm.-a: .ù vy ,zoz
                                                                                                                                            -x.
                                                                                                                                              e.xu o. lïM A
                                                                                                                                                                                                               wA- .W -
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 60 of 276



                             '                                                             HEALTHC                                                                                      R E CETV ED
      --
       .
       :2$
         .
         7-*-                    '                                                                ARE REQUEST                                                                       nate;
      CO RRECT CABE                                                              sol-lclTuo DE sERvlclo DE SALUD                                                                   Initials:
      s o L u T lO N s
                                                                                                                                                                                   Time:                 .   .   '

                                                                                                                                                                                                                         1


    Name(Nombrel:                                                                          -
                                                                                                                               DOB(Fechadenacirnientol:                                                              .


    ID # (NOde identi
                    ficacibnl:                                                                 '                              Living Unit(Unid
                                                                                                                                              adl:                                                 .
   :D Medëca!(Medlcc) D BehavioralR'
                                   ealth (Salud Mentat) (:IDental(Dental)                                                                                                 C1Other
   r
   w'
    >
    xl
     .af
       k'
        L?
         .s
          .-m,
             'cf
               .'gv*
                   ,rc..
                       rA
                        -'!c
                           -lr'v
                               ''
                                t@
                                 JP.-c
                                     -.Q-
            .z                          ..Ue
                                           .St(!7'
                                                 .J
                                                  t
                                                  'S(7o
                                                      wC-
                                                        '(
                                                         -t
                                                          fl
                                                           kC!
                                                           ; j                                        EJ
                                                                                                      :'u
                                                                                                        R.f'Ur
                                                                                                             .8.
                                                                                                               '!C
                                                                                                                 -T>
                                                                                                                   -.dC-!(2.rC.
                                                                                                                              r.
                                                                                                                               3.
                                                                                                                                !m
                                                                                                                                 --m
                                                                                                                                   .f#
                                                                                                                                     .
                                                                                                                                     ,
                                                                                                                                     -C Sr
                                                                                                                                         -.
                                                                                                                                          '
                                                                                                                                          t
                                                                                                                                          r.F(
                                                                                                                                             w.
                                                                                                                                             .%;v
                                                                                                                                              .:*t*
                                                                                                                                                v
                                                                                                                                                .  *c'
                                                                                                                                                  p- r
                                                                                                                                                     .rc-Gc
                                                                                                                                                      &x,     wo(
                                                                                                                                                          -:c-. Tm.
                                                                                                                                                                  .
                                                                                                                                                                  -c'
                                                                                                                                                                    rf:*
                                                                                                                                                                       '&
                                                                                                                                                                        ...C!)
                                                                                                                                                                             1




  I's
  :1.rj!
       o<
        u.
         .eq
           .tt'o b=
                  w.f.r
                      ,mu.%
                          w.f
                            .4
                             wt
                              eCt
                                .B,
                                  hl
                                 ..
                                  ';V
                                    ..m
                                      hee
                                        C*.!l
                                            %B
                                             I!/w
                                                '
                                                Y
                                                ea.re Q
                                                      %.tE'
                                                          f-
                                                          .fj*
                                                             t
                                                             '
                                                             %r
                                                             w .?t'
                                                                  r
                                                                  .%$
                                                                    =
                                                                    we'
                                                                      k'
                                                                       h
                                                                       Or
                                                                       z ylv
                                                                           r?.
                                                                             1
                                                                             ,
                                                                             '1f
                                                                             u .
                                                                               3r,t>.
                                                                                   rl.rew'
                                                                                        Q'
                                                                                         C,rI
                                                                                            'ber3d'.
                                                                                               xe
  rl
   .'hblm ''or.yrqq.otaç.1m .
                            4c%e
                               .aie.sr.',>r> q.=v#v.o:'rs:1r
                                                           wx 4nr
                                                                wnr
                                                                  .o
                                                                   ..$
                                                                     ,erxo
                                                                         .rm'r3rwtzd1e4o =i=r.,-w;An ,4.o wq:wr..iu.
                                                                          .w w ...... ...w. .....,..w ,w I,w      II.A..e%o..
                                                                                                                        e.  r
                                                                                                                            .a 1
                                                                                                                               .o
                                                                                                                                v..e
                                                                                                                                   ..p'wme>'A
                                                                                                                                      ww.   ww;
                                                                                                                                              p'<'o
                                                                                                                                               w, .-..sI.o,we..-0-1wezwew'..
                                                                                                                                                                          hrk;vwue.-c,..

  (
  i5.r
     -4
      qu.*!/w
            r1
             7wuu
                c;
                 t'uvJ
                     ''-l
                       r.uevs
                            rK
                             e
                             cw f
                                to.3%r.t't
                                         e.-
                                           o,#u.
                                               e
                                               v-ftP-
                                                    :kci:t'
                                                    x     w.n+u
                                                              'G1
                                                                )a.                                                                            ftTt.
                                                                                                                                                   ''wjd='
                                                                                                                                                         */.e
               %e          *
                           '                                                                                                          r.
                                                                                                                                      tN.
                                                                                                                                        -t
                                                                                                                                       ee *t
                                                                                                                                           Kkm
                                                                                                                                             .k    p
                                                                                                                                                   .w
                mui
                /lJs /
                     '
                     s & co,
                           -
                           ';
                            ,5deii*
                                  &1&
                                    ,/o'occnsi
                                             slnl<-
                                                  9ilo's-ioulo;c4i/,)'/''is'
                                                                           'iILiz cez'/$';â dd.s/.1e7lat
                                                                                                       *ed&i'6.&,,
                                                                                                                 516.(
                                                                                                                     :
                                                                                                                     r/G'
                                                                                                                        a?
                                                                                                                         'bczà'oi'gtvt
                                                                                                                                     -
                                                                                                                                     kdiJ' l
                                                                                                                                           f'
                                                                                                                                            eçuh'yt'
                                                                                                                                                   O il-lef
                                                                                                                                                          ak'
                                                                                                                                                            caf
                                                                                                                                                              '3t
                                                                                                                                                                '
                                                                                                                                                                &l1-
        cs.% esun dccumentoccl  r/,
                                  f/'
                                    ci
                                     Yr/c.
                                         /a/yso'lcdebesercolocado :n un a'reatfe,Wgnaw                                                                             .
                                                                                                        -a,cq'a mld/cao a,nt   wregaddu'zô-eat*enpefltea/persol?aln7e-cl/co.

                                                                                DO NOT W RITE BELON THIS LiRE

                                                                                (TO BECOMPLETED aYTRIAGING STAFF)
 TRl>.oE:                     o Enaert
                                     aent E)u
                                            -,té-gent                                      I
                                                                                           D Routi
                                                                                                 -ne Triage Date:                                                 initisls:                .   7ln-te:

 INITIAL:             IZISick Call 'D Nurse D HCP I
                                                  ZIDentist D B
                                                               ehavioralHealth (ZlEye Doctof i::JGther



      I
      D Patientseen(ifapplicable)                                                                  I
                                                                                                   ZI Patientoutsideoffacili
                                                                                                                           ty(hospital,court,etc.),re:dhedul
      D Response sentto patient(i
                                fapplicable)                                                                                                               e uponreturn
                                                                                                 E:l Patientrefused, RefusalForm complete
     C) Pati
           entreleased from custody


RESPO NSE T.O PATIENT /COMM EHTS
                                                                                                                                                                                      -




                    NOTE: Treatmentinformatlbn should notbenoted aâok'e buto??o&/d be documented olltheappropdate treatmentf
                                                                                                                                                                                               ormls)


                                                                        Staffxsignature                                                                                                         D
                                                                                                                                                                                                 ate


Form Number:SC002UN000ACCBI100114 (w/ofees)                                                                 3 partForm
                                                                                                              -                                                                                    P
                                                                                                                                                                                                    age 1 of1
         Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 61 of 276


                                                                                                                                                                                                            R E C EIV E D
                                                                                                  HEALTHCARE R EQ UEST                                                                             Date:
     x'
      z
      r
      t'
       ):
        7'-
          ..                                                                           SO LICITUD DE SERVICIO DE SALUD                                                                             Initials:      -
     C0 R RECT C k RE                                                                                                                                                                              Time:
     s o t tl T I o r? s



    Nanne(Nombrel:                                               .                                                                         DOB (Fecha de nacimientol:
    ID # (NOdeidentiticaci6nl:                                                      '                                                      Li
                                                                                                                                            ving Unit(Unidadl:                                                    r
'

    IE)l'     t?k
               .'ik'.
                    '
                    z-
                     Ec=
                       -ë(rvrfidE-cc,) (:2BGhavloralHealth(Salud Mentaf) C1Dental(Dental) C1Other                                 -

    F.VFo
    v   '-v..ft
             .:.-r
               't-r
                  u-7
                    4
                    -r x
                       vfr
                         :ru
                         k
                              rr
                               k.
                                -
                                t
                                .r
                                 :.
                                  =
                                  v:r-
                                     7*
                                     ':
                                      ..7
                                        -.?
                                          .-Puc
                                              w.r
                                                z-
                                                 y
                                                  J.=
                                                    -w
                                                     ct'
                                                       Lbe c
                                                       N.
                                                           wr:a
                                                              fr
                                                               u-
                                                                Ef-
                                                                  r
                                                                  ko
                                                                   %.*'
                                                                      j' F
                                                                         2'
                                                                          -
                                                                          I.&tr
                                                                              -tr';
                                                                                  3-rer
                                                                                      .>
                                                                                       - d@.!p..rC.!
                                                                                                   7!(
                                                                                                     4.
                                                                                                      !n>
                                                                                                        -C,c
                                                                                                           wC!i
                                                                                                              kLï
                                                                                                                *
                                                                                                                -l
                                                                                                                 stU.d l
                                                                                                                       .q
                                                                                                                       x
                                                                                                                        w/
                                                                                                                         3&-n
                                                                                                                            -w
                                                                                                                            .'
                                                                                                                             Q'r
                                                                                                                               7
                                                                                                                               ,e-c.'
                                                                                                                                    !
                                                                                                                                    .l
                                                                                                                                     ?
                                                                                                                                     '-
                                                                                                                                      F
                                                                                                                                      .C;
                                                                                                                                        ,
                                                                                                                                        $
                                                                                                                                        .7)
                                                                                                                                          .




    '
    lu'n-.
         u-
          ..
           .-
            .I.
              :-
               >.c
                 w.,-
                    bz
                     tzu.
                       'w.
                         e>u.= J.
                                =  *.r
                                   2 .r
                                      -Jk
                                        .=r
                                          u-t)w
                                         w.   .n.k
                                                 'L.
                                                  .t,=
                                                     wd
                                                      - ):
                                                       r.''
                                                          Cirwx,c
                                                                ...z Qw>ur
                                                                  fJ     ..*
                                                                          -'**
                                                                           J1:O,@
                                                                               rr
                                                                                .hm
                                                                                  .e'
                                                                                    w
                                                                                    -
                                                                                    r' .8w.*Izt
                                                                                     Or5      -1
                                                                                               'r
                                                                                               .>.i   'w'
                                                                                                  n. w.
                                                                                                  .  ?
                                                                                                     '1=wQ.'..r'#!c6'wme,w.
                                                                                                           r*
                                                                                                           <             7$.
                                                                                                                         ,
                              ... k,
    rn...,ïi
           ..
            1-.
              I.
               );
                f,
                 oww...
                      l-I>.-u
                            w.
                             1..
                               I*t;
                                  9.
                                   I.1.vI;
                                         ito,.
                                             I-1*Nwm .
                                                     s..T
                                                        b.,
                                                          ,.r...
                                                               4Suc.t.
                                                                     1-wte
                                                                         te
                                                                          r.
                                                                           .#
                                                                            k%r.wweae
                                                                                    wx r
                                                                                       exe
                                                                                         w.kr 61
                                                                                               Ie
                                                                                                ya.o.
                                                                                                   wc
                                                                                                    1o
                                                                                                     wr
                                                                                                      w.e
                                                                                                        ..1p
                                                                                                           ww1
                                                                                                             Ie;ow o
                                                                                                              w.   .x# 2o
                                                                                                                     uC*w'
                                                                                                                         le
                                                                                                                          wx
                                                                                                                           'e
                                                                                                                            .x.A
                                                                                                                               w.t
                                                                                                                                 wutc
                                                                                                                                    w..p..i
                                                                                                                                          .,
                                                                                                                                           w@
                                                                                                                                            .rwl.e
                                                                                                                                                 ?h
                                                                                                                                                  ..e
                                                                                                                                                    =xr
                                                                                                                                                      .m
                                                                                                                                                       ...
                                                                                                                                                         1
                                                                                                                                                         .$
                                                                                                                                                          .>.e
                                                                                                                                                             .-ox.e
                                                                                                                                                                  wx.r
                                                                                                                                                                     .s
                                                                                                                                                                      .r
                                                                                                                                                                       ..j
                                                                                                                                                                         '
                                                                                                                                                                         .j
                                                                                                                                                                          .r
                                                                                                                                                                           w.;
                                                                                                                                                                             .e.xy
                                                                                                                                                                                 .a.ow.cwte
                                                                                                                                                                                          .x
                                                                                                                                                                                           .'
                                                                                                                                                                                            .o
                                                                                                                                                                                             .-e
                                                                                                                                                                                               .-o
                                                                                                                                                                                                 ..c
                                                                                                                                                                                                   ..
                                                                                                                                                                                                    1
                                                                                                                                                                                                    .#.p
                                                                                                                                                                                                       ..wc
                                                                                                                                                                                                          wt.

    D.=
      rk
       *.t
       .  .(w:t
         e'   zw
               Qt
                ,u
                 --
                 . .i=
                  '( e.#.,
                       tt;.
                          ;-
                           .
                           -.$
                           = #t
                              T-
                               j
                               *j-g
                                  5.
                                   --to'=
                                   kc   #..
                                          rR=
                                          t -k
                                             m-t
                                               fG.71
                                                   #.
                                                   t6,
                                                     ).                                                                                                                                      Uo
                                                                                                                                                                                              e:#Q
                                                                                                                                                                                               .<..(.
                                                                                                                                                                                                    Q' -e
                                                                                                                                                                                                     f)vjqd
                                                                                                                                                                                                          -/
                                                                                                                                                                                                           j,
                                                                                                                                                                                                            p
                          -!n
                            'isis acol'
                                      ttici
                                          elttiaicfoctt/-
                                                        lle/'
                                                            li
                                                             'a1.
                                                                16 sl
                                                                    '
                                                                    10t
                                                                      7lo'rz1l
                                                                             '
                                                                             y'o
                                                                               'epl
                                                                                  '
                                                                                  atle'
                                                                                      t.
                                                                                       i
                                                                                       'iiîa b
                                                                                             '
                                                                                             iesi
                                                                                                '
                                                                                                !
                                                                                                -'
                                                                                                ?/1ataa'a/-
                                                                                                          e,
                                                                                                           :
                                                                                                           'l, Iî-
                                                                                                                 èb
                                                                                                                  -
                                                                                                                  qt
                                                                                                                   k
                                                                                                                   -
                                                                                                                   i'
                                                                                                                    ib
                                                                                                                     -
                                                                                                                     :&/t
                                                                                                                        i
                                                                                                                        v
                                                                                                                        -!
                                                                                                                         a;;ot
                                                                                                                             '
                                                                                                                             -g'
                                                                                                                               /p'
                                                                                                                                 t3.
                                                                                                                                   t
                                                                                                                                   id/'-
                                                                                                                                       ecp'
                                                                                                                                          y.'t
                                                                                                                                             'Jl'
                                                                                                                                                îïGclib
                                                                                                                                                      zaIJt
                                                                                                                                                          -
                                                                                                                                                          '
                                                                                                                                                          ll-
                                                                                                                                                            '
                                                                                                                                                            =
                                                                                                                                                            t.
           E'
            st
             'ec
               -sufpztoczqîîelîtoc'
                                  o/lr/cl
                                        '
                                        eficl'
                                             a/yso-/odebesel
                                                           e
                                                           -coYcav
                                                                 '
                                                                 n
                                                                 -
                                                                 'o:,
                                                                    7uno
                                                                       ml
                                                                        -eadesignada cayamédica:)entregadatfrecra.
                                                                                                                 msnlea/personelrrlw
                                                                                                                                   lïso.

                                                                                          DO Kio-r
                                                                                                 'tftfRl-fE BELotftiTHiS Li@
                                                                                                                           :E
    = - = = < = = =                      = = = = = = = = = = < = = = = = = = = m = = c = = = = * = = = r X = = R = = = = =                                                                                               = = = X1c

                                                                                           (TO EECOMPLQTED :Y TRIAGING STAFFI
                                                                                                                            ,

    T.t
      -
      xtA c.
           -E.
             -                         I
                                       :q Emergent (:i(J.rgent                                            i
                                                                                                          :i Routine 7rla:e,D&ts'
                                                                                                                                ,                                                     fnitials'
                                                                                                                                                                                              -                 Time.
                                                                                                                                                                                                                    .

    iRi-fiAL'
            .                 L SickCali EiNurse L FIGP IE
                                                         :IDentist D BehavioralFlealth L Eye Doctor u
                                                                                                    o Otl
                                                                                                        -l
                                                                                                         er




           IZI Patientseen (i
                            fapplicable)                                                                        IEl Patientoutside offacility(hospital,c'oud,etc.),reschedule upon return
           C1 Response sentto patient(ifappli
                                            cable)                                                                 I
                                                                                                                   :I Patientrefused,RefusalForm complete
            E) Patientreleased from custody

                                                                                                                                                                                                  '
                                                                                                               .
    RESPONSE TO PATIENT /COM M ENTS
                                                                                                . .---   1.   ....-



                              NOT& Treatmentinformationshouldnotbenotedabovebutshouldbedocumentedontheappropriatetreatmentformls)



                                                                                      Stal Signature                                                                                                              Date



Form Number:SC002UN000ACCBl100114 (w/ofees)                                                                                    3-partForm                                                                               Page'1.of1
                           Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 62 of 276



                                                                                                                              )Q            g?
       ,
                                                                                                                                         a  k
                                                                                                                                            R EcEIvEo
 4
 .-                                                                      HEA LTHCARE REQUEST                                          Date:'
       ' .'
                                                                     SOLICITUD DE SERVICIO DE SALUD                                   l
                                                                                                                                      nkials:
C
S 0DRLRE
       tlC7TICoANR E
                   S                                                                                                                  Time:


                                                                                                                                                 '
                                                     .
Name(Nombre):9&>-m w.794 ,                                                 #> 'c                  a        ooa(Fechadenacimiento):zo '
                                                                                                                                     z ç.,,''y' V,
                                                                                                                                                 -.6'
ID#(Nodeiuenti
             ficaciönl:zqs/ //-/ i &'-''S'-               -     --                                 -   -
                                                                                                           uivingunit(unidad): z'            . ''
                                                                                                                                             ,
                                                                                                                                                Z-3
E
: Medical(Medico) (:1BehavioralHeaIth (Salud Mental) :; Dental(Den%I)                                                              (:1Otber                           .
Natureofproblem orRequest(bespecific) Naturalezade1problemao solicitud (seaespecifico)
têzuf. 19L'> #                                  CA /L W CG5/C 8-v z- rc2.- > t; 73
                                                                                 .z;Czk AD Emw
G ca c,'t.Z                                A -m D             2 >JzF' zt                               # e-*                y c z<           2        ' xvz
4.# J9                           /7 7               /T.
                                                      //                   'F                                       <                   wz
Iconsentto be treated byHeal
                           thCare Sta; forthe condi
                                                  :ondescribed. lunderstand thatthe facili
                                                                                         ty maychargeme forsome ofthese
sereA.
     qandmaydedud itfrom myaccountdurinqthiscurrentorftzturestaysinthefaci
                                                                         1'
                                                                          l
                                                                          ty.lunderstandthat$willrecei
                                                                                                     veheal
                                                                                                          thcare
re ardiess ofmy abil'
                    rty to pay.                                                                '
  9
      ni consentim i
                   ento pal' a ser tratado por elpersonalde atenciôn de salud para las eondici
                                                                                             ones descri
                                                                                                       tas. Entiendo que Ia
Doy
instair
      ac
      .
        iön me puede cobrarporalgunos de estos servicios y pueden desconî rlo de m icuenta durante esta o futur'
                                                                                                               as estanci
                                                                                                                        as.
 Entiendo gue voya recibiratenci6n médica,independientemente de micapacidad de pago.
                                                                                                           '                                                  T       <.       w.
 patientsiqnaturetFirmadelpaciente):
                 .
                                                                                . .
                                                                                      .
                                                                                                                                     oate(Fec:a):/./e             .
                            Thisi
                                s a conûdenûaldocumentand should only bep/acadin adesignatedarea,medi
                                                                                                    calbox org/en di
                                                                                                                   recny to mediea/staM
            S&teesundocumentoc'
                              on#derlc/a/ysllodebeseraol
                                                       otradoenunJreadesignada,cajamédicaoen% gadadio ctamentea/personalmét
                                                                                                                          fco.

                                                                         DO NOT W RITE BELOW THIS LINE

                                                                         (7'
                                                                           0 BE COMPLETED BYTRIAGING STAFF)
> k1                                                 ''                         '' '''
v '-
 .x  j. ,' '..       .-
                      ..
                                  .    .
                                            '
                                            :   ,             ''.    -                    .            Tn-ageDàti.
                                                                                                                 : t            ,nitials:            Time:                 .
                                                                                              '                 *
.L         . *       .-.    ..    ..
                                                                                                                    2
     INITIAL:                    I:
                                  Z Si
                                     ckCall E1Nu                     HCP Q Dentist (:1BehavioralHealth D Eye Dodor Q Other                              '.'                '




              CJ Pati
                    :ntseen(ifapplicable)                                                 CI Patientoutside offacili
                                                                                                                   ty(hospill,coud,etc),reschedule upon return
              E
              ZI Response sentto pati
                                    ent(ifapplic ble)                                     E:I Patientrefused,RefusalForm compi  ëte
              :! Patientreleasedfrom custody                                    yeecharge                  (:lNo D Yes,Amount$
     RESPONSE TO PAM ENT ICOMMENTS                                                                                      '



                                 NO7-
                                    8'Treatrnenti
                                                nformationshouldDpfbenotedabovebutsbbuidbedocumentedonlàeam rm #atetreaknent*cnl/l
                                                                                                                                                                  '

                                                                         Staffsi
                                                                               gnature                                                                  Date                   jq
     Form Num ber: SC001UN000ACCBl102413                                                          2-Par1Form                                                  Page 1 of1
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 63 of 276
  US 1CE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450

        AD>
                                                                                                                                                                          J
                                                                                                                                                                          '                                       '- '' --
                     ':V..e.
                           ï4-.
                             :%f ll)('
                               ...w.*1          vv            -.;-             ,                *                                         R A D ET IC , S E B A S T IA N
                   ..=m .-n'ealox.wx J.s.
                    ,i
                   '/#   *1 u        ). (.-7
                                      J .o .11.a..
                                                 .).J.Iv1lj
                                                      '    . n. ... .-.
                                                           -
                                                           :J
                                                            ..c.
                                                               :
                                                               tt1l o-tl
                  -.h NLgyaz>      ,Y,
                                     us 'IC..             u3                                                                                                         * 209214450 SubID:366450823
                  .
                  -
                  g
                  .s h w '
                        7..Tk
                          .
                            =-%
                              . p
                              b4v
                              ' ..
                                 j
                                :.
                                 '
                                 )
                                 'n.
                                  y t
                                      .
                                      RlqQt.,  s
                                               -x
                                              lw l-I.St()IR3.%-
                  f#j%k
                          . -
                      es... .z .
                         IK'.s 6            .                                                                                                                    Facilityoe :KO e ttsingA ea:11a
                   .
                   .. .
                    e.r.
                     ,          ../,vz
                                     '
                                     za<
                                       .-       ..$.-.a .. '.'w w. ..x...x...x,.. zx.sx. .y.                                                                            43Y old Male,(X)B:10/24/1976
                      /,
                      .x,
                        <*     n---
                         ,..5t..k
                                :.t:
                                   N            .=
                                                 y'
                                                  -I).
                                                     -j tp-
                                                          ?.j
                                                            -
                                                            watg.-
                                                                 jr.
                                                                   4.).w
                                                                   >   j--
                                                                         ,yj
                                                                           .
                                  .
                          q.,.
                                                                                                                                                                         O countNum - r:4001241657
                                                                                                                                                                18201 S.W .12m ST.,MIAMI,K -33194
                                                                                                                                                             D pointmentFacilit;c Krome NorthSPC
       @3/20/202@                                                                                                                         Appoinkm enk ProviderzK risly Pinder,R N

                                                                                 '
        ctzrrenl M edications                                                        Reason f'
                                                                                             oF Appointm ent
        Taking                                                                       1.SC
            . O et nm inophen 50O h.
                                   r Tablet1
               BID PRN,stop date 04/01/2020,                                         Hislenref Preserrk Ehhrross
                                                                                     l.
               RGF.*.:.
                      ,
                      :.Dlc!
                      .    g Gk
                              '
                              puliq'
                                   i.1,);
                                        '
                                        .
                                        'ku
                                          -
                                          ;uE,c;                                       ë;;z-.gf'
                                                                                               f,/,
                                                                                                  .:
                                                                                                   4'
               Phai
                  an-lack'                                                                 Dat
                                                                                           i len::.
                                                                                                  2aen in si-
                                                                                                            wF'kcai'
                                                                                                                   !rssuesït1nrcne''
                                                                                                                                   tt'.'r'
                                                                                                                                         .eu-'iL.;:
                                                                                                                                                  àt
                                                                                                                                                  ''io:.fu
                                                                                                                                                         ''tt
                                                                                                                                                            a:
                                                                                                                                                             !:l
                                                                                                                                                               ':
                                                                                                                                                                ':,F'
                                                                                                                                                                    a'
                                                                                                                                                                     ù'ei
                                                                                                                                                                        ','
                                                                                                                                                                          Ls'
                                                                                                                                                                            uates
                                                                                      1-!eCé!C.8,bO:''.l's-i8'l1'96 lhn (',kJiltx'1L.u tctb.;llk G061 .h.
                                                                                      n                                                                      3tl6t1.    .:
                                                                                                                                                                         .:/,1'1.Ez1i-7 j.-.'tr i7t',8 - J.'';:xt.'l-..
                                                                                     .>F*fTtDi'rq@L:7!eC Y!f1.    '.
                                                                                                                   *cJï...Ift.,'v
                                                                                                                                .tef-!r.
                                                                                                                                       .>.
                                                                                                                                         x!.,.ltt,1
                                                                                                                                                  -,
                                                                                                                                                   ,t,I!,?q. '..u.scslcz' !)te. 4,t'j.'
                                                                                                                                                                                      w,
                                                                                                                                                                                       ;'
                                                                                                                                                                                        k.
                                                                                                                                                                                         u-
                                                                                                                                                                                          p.-!t
                                                                                                                                                                                              4-
                                                                                                                                                                                               z!c.p.
                                                                                                                                                                                                    t3u4'
                                                                                                                                                                                                      L.'G.
        mas'
           t kdedkcakk-kksiokw                                                       Dafiqnf. lripnfifcpfion.'
          CHRONIC M GRANCES.                                                               oaw
                                                                                           1 k'
                                                                                              :aat1
                                                                                                  jk
                                                                                                   .4.le.
                                                                                                        i-
                                                                                                         I#;+i5dgaé
                                                                                                          kl      u.;
                                                                                                                    an
          BK K PA N.                                                                     Oatient''
                                                                                                 NCO/C-'?ty'idgrltife'
                                                                                                                     Xi-
                                                                                                                       SA?9 S:7LIl-(2es ipncitloing' . b/hr.
                                                                                                                                                           by?//lr bhbxi'Gt
                                                                                                                                                                          gnta'
                                                                                        Chaperone Presentg JMb
        A ëergies                                                                       1,
                                                                                         'ï
                                                                                          .
                                                                                          lI
                                                                                           nat1anoua
                                                                                                  w   oa
                                                                                                       w w  -'o)
                                                                                                               'ou speak'. ?=izha/
                                                                                                                                 w., '
                                                                                                                                     sz
                                                                                                                                      #)
        Penicillin G Sodi
                        um                                                              Interpretatonprou'ded? PatientspeaksEhc//s'              h quentlv
        Review of Syskem s                                                         Pain M sessment:
                                                                                      pain
       C-eneral/consti
                     tutonal:                                                           Are you.cyrrent'   v'1n oa1n? Ys. q
           Changeinappetitedeni es.                                                     -h
                                                                                         l e pain 1s loc-ated Use Jvoz  t'
                                                                                                                         tasSection l  'ta/ft
                                                                                                                                            '/oye,-'Ievnlai-
                                                                                                                                                           .lde.
       Chills deni
                 es.Fatiguedenies.     .z
                                        :.x0                                                 The see n'
                                                                                                      h/ofpainisratedat4/10
       Fee rdenies.Headache denies:M '                                                      The seœ n'tvofthe nain is mfl6 to .rnor-fe,rafe
       Lightheadednessdenies.Night                                                          T13e pain began other
       sweatsdenies.Sleep '-'<'.,1,.+                                                       Describe: startej 11/19/20- /9aféerhis Jtt  /-
                                                                                                                                         /'
                                                                                                                                          A accidenf.
       disturbancedenies.W eightgain denies.                                                The characterofthe pain is/kn//etw enf/   '
                                                                                                                                      s interm ittent/'
                                                                                                                                                      ssharp
       W eightIossdenies.                                                                   The associated symptoms are anklesx ////7g
       M asculoskelell:                                                                     R epai .nisao/
                                                                                                         0> araïz
                                                                                                                atedby anyphysicalacl     /tz/
                                                                                                                                             '
                                                                                                                                             fy
           Legcram psdenies.Painful                                                         R e pain is relieveo'by none
       joints adrnëts,thatis recument:thatis                                    Yrita!Signs
       moderate.Le: IowerIeg/ankle.Swollen
       jointsadm ëts,thatis mild.Tràumato                                       ;                                                                Temp                                                                     (
       anklets)admits,afectingtheleAàhkle,                                         98.6 F                                                         03/
                                                                                                                                                   e20/2020 07:57:19 70 US Kristypinder;
       thatis moderate,thatIimi
                              tsmobili
                                     ty.                                                                                                              unt inStandardTime        RN
                                                                                                                                                   HR                                  .

                                                                                 69/min                                                           03/20/202007:57:19AMUS Kristypinderj
                                                                                                                                                   e unl in Rfxndard Time       RN

                                                                                 122/81m m Hg                                                    03Q0/202007757:19> US Kristypinder'
                                                                                                                                                  e untain Stapdard Time    RN     '

                                                                                 17fm in                                                         03/20/202007:57:19AM US Kristypinder'
                                                                                                                                                   f
                                                                                                                                                   e untain StandardTime                                   RN             )
                                                                                                                                                  Wt                                  '
                                                                                235 lbs                                                          03/20/2020 07:57:19/ZIUS Kristypinder
                                                                                                          .
                                                                                                                                                  e untainSl
                                                                                                                                                        'è
                                                                                                                                                           .
                                                                                                                                                              ndard.Tim e      RN
                                                                                                                                                                                .



                                                                                74 i
                                                                                   n                                                            03/20/2020 07:57:19 ASIUS Kristypinder
                                                                                                                                                 e unl in Standard Tim e       RN



US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 64 of 276
 US ICE lPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450

       AD>

                     ;>4)I
                     .     f.
                            ,-
                             .:
                              &'
                               j..
                    *- .''-'-cw=w
                  ..w        - *
                                 1')'t1.
                                 m
                                 .
                                       '
                                   '--x t.
                                  .w u
                                          :
                                        -:c.
                                                -.
                                                 1- x- (-! mr.
                                                 J.o..1l-ll1l.l1u
                                                 'k
                                                                 vya.,
                                                                 .   tvc
                                                                          :
                                                                       - '-. n -.
                                                                       1ti(. p1-
                                                                              ...
                                                                                          .                 R A D ET IC N S E B A S T IA N
                -.:?ç   -IzI
                     . ilish %
                             *e. f- f-œ
                                tkl aIY-,'
                                r    r   $  .                   Q.
                                                                 '--%
                                                                    .+.r..v    .    ..q                                     X 209:14450 SubID:366450823
                *'
                 '
                .-  l.'-
                  -',$iL
                 ,z
                        .
                        4 -
                          .1: .r --1.:,e)..,.!,!,21Fx- a.
                               = -e ..
                         .plérlklr..u
                       -a.          .                   11.      -1.
                                                                   7
                                                                   -Q
                                                                    si-(3 I'
                                                                           1.
                                                                            R.%                                          Facility Code:KIO I* ts ingX ea:11a
                   z.
                 ...       ....,
                               4z
                               x..                                                                                              43 Y oId Male,rYm :10/24/1976
                     ....,
                         ;,.
                           ;. >''k'.
                            ,s'
                              J
                              .                 =).q'
                                                    r1-C1
                                                       ..qCxC
                                                            .r
                                                             ,
                                                             zw l-I
                                                              'F' .Uw
                                                                    ,
                                                                    ax.
                                                                      y'
                                                                       lju
                                                                         -.
                                                                          .                                                      e countNum Y r:1001241657
                                                                                                                        18201S.W .12m ST.    ,MIAMI,K -33194
                                                                                                                       Y poinimeniFaciiiY Kr%me'
                                                                                                                                               le rihSPC
      03/24,/2@2@                                                                                            A ppoinkm ent ProviderzK re= e Provider


       Ailergies
       Penicillin G Sodium '
                                                                              'wp.
                                                                                 pc,
                                                                                   !ntrnentProktpdc
                                                                                   -              -r:K-
                                                                                                      rom c-.e
                                                                                                             r-rc'
                                                                                                                 .'!c'eir




                                                                                                           K'om e ie rth SPC
                                                                                                          18201 E.tY.12m S-f.
                                                                                                            1.
                                                                                                             12/.M1,F= 33$:4
                                                                                                           711:305-207-2170
                                                                                                                  Pax:




             B'atleufa RlbsrkcvsEewsrlA.yl pcz)4c/z4.
                                                    /q:7'6' erosross uote;xroruio p'
                                                                                   roudor ca/zf/zeze
                                                  Notegenel'
                                                           atedbyeclinicalZ/or/fsFMPJPM q
                                                                                        sofhere(wnjnleclinicalWorks.com)




US ICE 1PatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 65 of 276
US 1CE lPatientName ;RADETIC,SEBASTIANlDOB :10/24/19761A:209214450




                  -k'., u s. Im ncigration
              bls'-r                                                     R A D ET IC , S EB A S T IA N
             1 f % and Custom s
             '                                                                  Facik
                                                                                    oo2r
                                                                                       0.9
                                                                                         r
                                                                                         v2-:
                                                                                           14x
                                                                                             45cs
                                                                                                uuaiœ36-e
                                                                                                o      645a0:8l2l3a
              î#
              '
                         #                                                              v ado le,rv..4ca4/1976
                  'favos'Aco
                           .e Enforcem ent                                             xc..,to -r:1cc42416s7
                                                                                   >    'd> d Faci
                                                                                                 l'
                                                                                                  e e - e hSPC
     *312412*2*                                                           A ppoinlm ent Providen Krom e Prpvider


      Allergies
      Penidll
            inG D dium
                                            Y pointmentProvider:Krome Provider

                                             Eectronically kgned by Krome Provideron 0&2*2020at* :26 MST
                                             Sign offkatua Pending




                                                                         e - O hSPC
                                                                        18201 S.
                                                                               W .12> ST.
                                                                          Mjnu R.aajgg
                                                                         Tel:305-207-2170
                                                                               Fax:




            Patient OADETIG SEBASTIAN DoB:ï@/2R @T6               Pm gx u Note:Kx me Px vider @3&A19025
                             NctegeneratedbyeclinicalWyksFZJ/R'
                                                              SA/k ftvere(- eclinicalWorks.com)




US ICE lPatientName :RADETIC,SEBASTIANlDOB ;10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 66 of 276
US 1CE IPatientName :M DETIC,SEBASTIANIDOB :10/24/19761A:209214450




                 ossk
                    -r
                     .tt,:
                         tu   ,-r e y..x..x.
                                           ...-..w..a .a                     R A D ET IG , S E B A ST IA N
             4 f'%
             u         ' u''k7'*'''''''KlGti'-'''t                                              x209214450suua366450823
             '
             # w tt and Custom s                                                            Facila
                                                                                                 ltr% :x o iœ-ea:lla
             VQx.rl<,(>e
                       . Enforcem ent                                                             Me Ycount
                                                                                                       ddMa%l
                                                                                                            e,%a. :001
                                                                                                                r:1jw241657
                                                                                                                       yaax
                                                                                         18201S.W .12> ST.,M* I,K 43194
                                                                                        +     '
                                                                                              < > M Facil'
                                                                                                         lty:e œnee hSPC
     05/28/2524                                                               Appoinlm enl PFoviden K rom e Provider


                                                Reason forA ppointm ent
                                                1.PE -M nual



                                                N pointmentProvider:Krome Provider

                                                Hedronically <gned by Krom e Provideron 0&2*2020 atM :26 MST
                                                Sign offm tusiPending




                                                                             e - e h SPC
                                                                            18201 S.W .12R ST.
                                                                              MIAU #n.aajgg
                                                                             TeI:305-207-2170
                                                                                   Fax:




            Palient OAnETIG SEBASTIAN           O B:4@/24/5976       Po geess Nole:Krome Povider @5c 8/2025
                                NoteTneratedbyeclinical*àksFR'
                                                             IR/J:
                                                                 A/M ft- rerp- etl//njca/kFcy'
                                                                                             kaconj




US ICE 1PatlentNam e :PVADETIC,SEBASTIAN lDOB :10/24/1976IA :209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 67 of 276
US ICE lPatientName :M DETIC,SEBASTIANlDOB :10/24/19761A:209214450




                  bî
                  '
                   àp-z
                     zrt;
                        ,. y-rc ym ..x-
                                      a...ow.
                                            ,a.                      R A D ET IC , S E B A S T IA N
             z
             . f'-     % U-k7-*'''''''&'u't*'-'**                                      A:2:9214450suua366450823
             ''
             L#        # and'Custom s                                              Facilwr
                                                                                        u-    :xo lep,*:xv-
                                                                                           v ad            irv-e
                                                                                                          .: 1w 4a:9l7la
                                                                                                                 /4    6
              s,,vo,>cle Enforcem ent                                                    xcx,,to -r:pccjcgt6sz
                                                                                18201 S.
                                                                                       W .12m ST.,MIR I,K 43194
                                                                               e      r- rQFacil'
                                                                                                e K'a        e hSPC
     04/28/2024                                                       Appoinlm ent Providen Krom e Provider

                                          Reason #or Appointm ent
      A llprgips                          1.M nualDentlEm m
      PenldllinG e di
                    um


                                          Appointm entProvider:Krom e Provider


                                           Eedronically kgned by Krom e Provideron 0&2*2020 at* :26 MST
                                          Sign of A tus:Pending




                                                                     e - O hSPC
                                                                    18201 S.W .12m ST.
                                                                      Mlau #R.33194
                                                                     TeI:305-207-21.
                                                                                   70
                                                                           Fax:




           Patient OADETIG SEBASTIAN DoB:40/24/4976           Peog- u Note:Kx me Pm vider @4/28/2@24
                            NofegeneratedbyeclinicalWkksFAJR/W k* re(w eciinicalWorkscom)




US 1CE lPatientNam e :RADETIC/SEBASTIANlDOB ;10/24/19761A:209214450
  e
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket
                                                          .
                                                               09/11/2020 Page 68 of 276
US ICE IPatientName :RADETIC/SEBASTIANlDOB :10/24/19761A:209214450
                                    '

                                                                                                 + 1
                                                                                                03/20/202007:57:197% US Kristypinder
                                         30.17 Inde:                                             e pntninStandard:gjme           RN     2
                                                                                             Oxygenzato                          '
                                                                                                                                        '         '
                                                                                                                ..
                                                                                                                t
                                         gao
                                           s                                                  ' 03/:20/202007:57: --.
                                                                                                                   197% US .KristypinderE
                                                                                                 e untéinStandardXm e            RN
                                                                                           RA/#uters02+a:
                                                                                                      03/20/202007:57:19Y US Krish/pinder
                                         RA                                                             e untainSt
                                                                                                                 andardXme            RN

                                        svam ination
                                        œ neralFm m ination:
                                             GENERA-AQPEA ICE:norm al,alert,in noacute distress.
                                             ENT:EYES.'-nonmal-NOSE'   .-nonmal.
                                             NOSE:narespatent.
                                             SKIN:nosuspicious leesions:normal:ierm and drv.
                                             H -1'norm a!,reoularrate el nd.
                                                                           rayt
                                                                            1 hl3n.
                                             u.jl
                                             .
                                               kz#
                                                 f.j
                                                   *D
                                                    %.>i
                                                       <T>.
                                                          .m
                                                           1lxa>l
                                                                -t1-I-
                                                                     wx.;
                                                                        lT>
                                                                          twmkow
                                                                              0.-bYa;
                                                                                    .m
                                                                                     1 oo
                                                                                       .lle
                                                                                          ww
                                                                                           e.Nrwy-v
                                                                                                  dp.
                                                                                                    Im.en&.
                                                                                                     w'   <.! .
                                             !.4 IQC!
                                             .î k ... I
                                                      L/k'NL-NI
                                                         .Ao  Z
                                                              :TF
                                                                L'
                                                                 LZ 'A;'=Ezt!=' f'ac a'
                                                                                      -w
                                                                                      r:i
                                                                                        r:i,
                                                                                           -' '
                                                                                              öct
                                                                                              t .
                                                                                                l
                                                                                                q%As'
                                                                                                  .A t-ï
                                                                                                       ':)'.
                                                                                                       u   -7
                                                                                                            '
                                                                                                            )w'
                                                                                                             z
                                                                                                             -x.
                                                                                                               he'
                                                                                                                 zn
                                                                                                                  .nel
                                                                                                                     .-
                                                                                                                      /< êi7l
                                                                                                                            -!
                                                                                                                             -''i-'e'
                                                                                                                                    u-
                                                                                                                                     1.Q,-
                                                                                                                                         '
                                                                                                                                         7'r'
                                                                                                                                        .v  G/
                                                                                                                                             :'
                                                                                                                                             '

                                        X=
                                         ...
                                           = c.=
                                               w s rrr(a'r t=
                                        keenz'uszIorgrsszCIOT;rx'f

                                        Y'roalm erpf
                                        $.Others
                                        Hotes:TeIencoui atersenttoprcs/
                                                                      .derrec
                                                                            wlirdlng patiel
                                                                                          ntl-eG,t16St.
                                        Clinic'
                                              alNotes:Per2008RN Guidelines'  .Encotlragepati  enttoutli D non-
                                        pharm acologicalm ethodssuchasdistractionforcontl  -o'ofm inorachesandpains.
                                        Educate pafentabouirelaxaù'onand stress im anagemnenttechniquesto ba used
                                        asanadiuncttomedicationsinthetreabnnentofpaini    mai  aaçjeiment.

                                        Procedure Codes
                                        T1OO1 NURSING M SESSW NT/EVALU/W I
                                                                         ON
                                        Notes:Vedication and TreatmentPlan Reïdevl/
                                                                                  ed,Patentadyàsed to i
                                                                                                      -eturn to sick
                                        calli
                                            fsr ptomsworsenpriortone#appointment,Pati    entïerbalim d
                                        understandingofalIinstrudions.Refjrto RN guidelines2008


                                        AppoëntmentProZder:i
                                                           o-it-rPinder;RN

                                        EledronicallydgnedbyKrio PinderRNon03/20/202010:58:51
                                        (LakernDaylightTime)
                                        Sign offm tus:Gompleted




                                                                                           Kron% œ rthSPC
                                                                                         18201 S.W .IZm ST.
                                                                                             MIR I,R-331:4
                                                                                           T:I:305-207-2170
                                                                                                      Fax:




           Patient:RR ETIG SEBASTIAN O B:45/24/5976                       Pr4pgY ss Note:Krisl Pindpr,RN 03/20/2020



US 1CE IPatientName :RADETIC,SqBASTIANIDOB :10/24/1976lA:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 69 of 276
 US 1Cë IPatientName :RADETJC,SEBASTJANIDOB :10/24/1976(A:209214450

                           NotegeneratedbyeclinicalhbrksF.A#/R/zM sof/l
                                                                      /
                                                                      ere(w- eclinicalWoïks.com)




US ICE lPatientName ;RADETIC,SEBASTIANlDOB :10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 70 of 276
  US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450



                     kz/-
                        s''z'
                         cs.zy
                    *k-/2*o:
                              zk
                               ?...
                                  tz u s,..
                                   . v
                               K.w ç  ,1
                                          ,.salaaa.j.
                                               .
                                                     y
                                                     us-tl
                                                         .e...s                                   R        ET IC ,SE B ST I
                                                                                                              A :209214450 Subm
                   -
                   .
                   7.i
                     fl
                      '.os
                      k  ,
                          %
                          '
                          ' j
                            '
                            Fgt
                            .  Sp
                   /.f.v.-g-'py.  lr'/. .
                                     andx,Custol
                                      l,-           .rl:                                               Fadlityc-e    :IGo   Housi:n366450
                                                                                                                                    gar ea:82
                                                                                                                                            1,3a
                   h.v. .< ..'$       '
                                      ,
                                      .j                                                                        y. ojd jy
                        :.,k.
                            a,
                            : '
                              cs-
                              ; ,ts
                                  .-.
                                    tz.'
                                     7nfrarcelaat
                                     l             uant                                                 zaao,4sgw .zavs asjT.
                                                                                                                 a
                                                                                                                           jtpoB.yojg4/l(
                                                                                                                                  w , yv
                                                                                                                             ,A4rA'
                                                                                                                                            )76
                                                                                                                                             .
                                                                                                                                       s aazq4
                                                                                                          .          provider:Bailey I'A,na1.1w
       Telephone
       Encounter

       Answerod.by               LeonPtN,Tania                                                                                Date;03/11/2020
                                                                                                                               Tim e:12:a5 PM

       Reason                     Consult




                    Patient:RADETIC,SEBASTM-N DOB:10/24/1976 Provider:Bailey PA,IfarlIV oa/l1/202o
                                            NotegenerafecfbyeC/,
                                                               p
                                                               '
                                                               r7
                                                                /ca/U/tr/fsZhveqotvlD /Fze/
                                                                                          -eq
                                                                                            'bwvkeclinicalvkbrkgcom)




IS 1CE lPatientName :RADETIC,SEBASTIANlDOB :10/24/1976IA:209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 71 of 276
 US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450




                                                        PatientVaccineAdministratioh Record

        $
        v'
         .
         )
         '
         .
         kw
          x Chj
              -z
              ; Fc6
                ' .1
                   !
                   t
                   ê
                   '-
                    .np
                    i I.
                      w,rr
                         .1
                          '
                          w.
                          -z;
                            r
                            .
                            ,
                            .'
                             v
                             k,
                              ;.
                              'n
                               J
                               .;
                                r'
                                 .w
                                 ic'
                                   -O




US 1C: lPatientName :RADETIC,SEBASTIANlDOB :10/24/1976lA;209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 72 of 276
US 1CE IPatientName :M DETIC,SEBASTIANIDOB :10/24/19761A:209214450


                                                                                                                                                                                                          r        '

                            '. 1
                           ',
                           .x
                               1.
                                ':It;;
                            2L.--...-....'lr
                                      .            ---' L'%-! -1.
                                                                --            e               .*                                        R A D E T IC , S E B A S T IA N
                   h',V'o
                       .
                        '
                         -kz-.-.k
                                - rC'.-
                                 ..
                        œ'tw.).... dc.n        ,
                                                   '''
                                                        .   b .1l'
                                                                 lR.1Y11<O
                                                                         N..
                                                                         ,
                                                                         .
                                                                             1-c
                                                                               '
                                                                               i
                                                                               -t'1()1-
                                                                                      1                                                                           k 209214450 SubID:366450823
                  -.  I Njlê
                           vo;,
                              t!y.z
                                  .'!*             .-                .... .-w'-.,..w.w e.
                       ?: ..P
                       '    7
                            .x
                             =.c, ,.jl
                                4-'  :
                                     -             t1(1.
                                                       -1.      L-
                                                                 !bLtl11.1N                                                                                   Facilitycoe ;KIO ie asing* ea)11a
                  -
                  '.z.,
                      p$r.k*
                           ;r PJ.(#g
                                   $c
                                    w.                                                                                                                               43Y oId Male,l
                                                                                                                                                                                  N3R:10/24/1976
                      v. * 1                                q
                       '
                       ).
                        ',
                         ..>
                           .îzjyxe
                         ' Il)
                                 X<:
                                 j
                                 f
                                 , '<
                                    ..  ,l
                                         .
                                          =''
                                                   V
                                                   ;u= l
                                                   -   ù
                                                       -
                                                       . -j
                                                        ll
                                                         t .(;ytx
                                                                mto
                                                                q .yyey.(
                                                                        .s
                                                                         .';
                                                                           r.
                                                                            j.z
                                                                              j
                                                                              -
                                                                              x                                                                                       X countNum - r:1001241657
                                                                                                                                                            18201S.W .12TH ST.,MIAMI
                                                                                                                                                                                   ,K 43194
                                                                                                                                                           JppointmentFacili
                                                                                                                                                                           ty:Krome NorthSPC

      03/44/2@2@                                                                                                                            A ppointm enk ProviderzTania LeonyRM


       fkrrent Mede ations                                                            Reason foF Appointm ent
       Taking                                                                     1.SICK CA-L
           o Acelm inophen 5O0 M 3-rablet1                                        H ist'onr
                                                                                          .ef bresenk EEhness
              BfD PRN,stopdate 04/01/2020:                                            ;xl;ck;-i-;;kf'E,77z-
              flb
                -rn 'T'
                      es Dl
                          'u(?
                             .3001
                                 '- .1.
                                      -1l-i
                                          outbe                                                L
                                                                                               ,'  15t ier' t
                                                                                                            .seen i
                                                                                                                  n E)Jct
                                                                                                                        .lcEif:lrscussi    kl
                                                                                                                                            nonsv%?r'.-
                                                                                                                                                      lsiicaivi
                                                                                                                                                              oj-tr
                                                                                                                                                                  1orpait
                                                                                                                                                                        -:.:
                                                                                                                                                                           ,Da'
                                                                                                                                                                              u'.
                                                                                                                                                                                a,
                                                                                                                                                                                 -:'
                                                                                                                                                                                   ts;'
                                                                                                                                                                                      c-i
                                                                                                                                                                                        .-es
               pharrrlacï,                                                                                                                    t.J
                                                                                      X.'DQ!C81.2On iwrl31:.f-le kS.Ci   vi
                                                                                                                          -rei-1r.k'
                                                                                                                          I        ?
                                                                                                                                   ; t
                                                                                                                                     '
                                                                                                                                     :6hx
                                                                                                                                        'l
                                                                                                                                         ;it
                                                                                                                                           g k
                                                                                                                                             .i ott
                                                                                                                                                  .$1
                                                                                                                                                    1
                                                                                                                                                    ./t
                                                                                                                                                      .ii
                                                                                                                                                        :.I
                                                                                                                                                          6 II-
                                                                                                                                                              I
                                                                                                                                                              iS  i
                                                                                                                                                                  6'l
                                                                                                                                                                    t;:
                                                                                                                                                                      $
                                                                                                                                                                      '
                                                                                                                                                                      pkî
                                                                                                                                                                        '
                                                                                                                                                                        ='f :6.
                                                                                                                                                                              /
                                                                                                                                                                              -/.
                                                                                                                                                                                L
                                                                                                                                                                                rj
                                                                                                                                                                                 '-:
                                                                                                                                                                                   ;J
                                                                                                                                                                                    o
                                                                                                                                                                                    ' q
                                                                                                                                                                                      % (-J..;k.
                                                                                                                                                                                         o
                                                                                      h.r
                                                                                        :'
                                                                                         5IIez-ttC191
                                                                                                    *
                                                                                                    7.!/.
                                                                                                    .
                                                                                                        :5C 3 r
                                                                                                              -t1'Coc''lJ.?rTT7eqw;.%BtIJ'C.?1.h!'-
                                                                                                              ..
                                                                                                                                                  ?,l!hJ..t-%<t!Jr:?lt,;'
                                                                                                                                                                        -ltIt-?I(
                                                                                                                                                                                v'uJ/'ltS;;f
                                                                                                                                                                                           nt=-ç'
                                                                                                                                                                                                j't'fs.
                                                                                                                 a          ...           ,
                                                                                      D=.f'iqnfIc.l
                                                                                                  42yo66cpfiot7'
       Pask Nsodic&bkZ kstoi-F                           Patlentl  denti f.c-atian
          CHRONIC HGM NCES.                                 Oakk
                                                            1  *'
                                                                Ien*
                                                                   tF
                                                                    oroperl)  't'identfievd.'
                                                                                            3y
                                                                                             ''9 - Sft -lrceE ixnci  :urii
                                                                                                                       w..nco,
                                                                                                                             '
                                                                                                                             .'tzir flei
                                                                                                                                 .etx. ..i
                                                                                                                                         j,, i
                                                                                                                                             ./i
                                                                                                                                               ./
                                                                                                                                                .h
                                                                                                                                                 .f
                                                                                                                                                  sf
                                                                                                                                                   --theno'
                                                                                                                                                      '
          BK KPAN.                                         Chaperone Present? N'          o
                                                           '
      Alergkes                                              t
                                                            vnatIanouooe clo jou soeak? Et            nalish
       Peni cillin G Sodium                                 l
                                                            nter mretat'onprou'ded? Pat       -ients'  pea/tsEnglish#uer?f/lz
                                                      Pain Jssessment:
      Review of system s                                 Pain
       œ neral   r onsti
                       tufonal:                             Are J,ou currentl  .y:1
                                                                                  n oa1*n? W,es
           Change inappetitedenies.                         lne 9aln IS IO(2aIeQ S& VOt&& %          JeCUOI   î/6.11IOUG/lt   '
                                                                                                                              9Jh&l 5 .
       Chillsdeni   es.Fatguedenies.                5      The sem ritvofpain is rated at4/tO
                                          *.- .H W -       7131 sever .ityofthe pain is m ,     lt
                                                                                                 ld to m o/arafe
      Fee rdenies..hleadache denies.-' .
      Li htheadednessdenies   H .x.Night .                 -l
                                                            rw
                                                             ne pain beoanw other
      sweatsdenies. Sleep ..        - ':,xt-f              Descn'be: stalled 11/19/2019 a'erhisft               //t/zttaccident.
                                                           -77
                                                            1 e charaderofthe pain is J        'rlfreat
                                                                                                      ;p  ernf,isintennitent.' I     '
                                                                                                                                     sshalp
      disturbance denies.Weightgaindenies.                 The associated symptoms are ankle svelling
      W eightIossdeni    es.                               Thepain;   'saggravated by anyphysicalacl                  /
                                                                                                                      v/ly
      M asculoskeletal:                                    -
                                                            1ne  pain is  reliev  ed by  none
           Leg cram ps denies.Painful
      jointéaclncltsothatis rc urrent,thatis          k'
                                                       ilaiSigns                                                                                                                                              '

      moderate.LeAlowerIeg/ankle.ïwoll
                                     en                                                                                   .
                                                                                                                                                  Temp
                                                                                                                                                    :                                                                  j
      jointsadm its,thatis mild.Traumato
      anklets)admit,afectingtheIeftankle,
                                                                                      979F.
                                                                                                                                                    03/11/2020 09:27:53 v gs
                                                                                                                                                      a untainsxndardmme
                                                                                                                                                                                                     Tania Leon
                                                                                                                                                                                                              RN
                                                                                                                                                                                                                       I
      thatis l
             moderate,thatlimi ts mobili
                                       ty.
                                                                                                                                                    HR      :
                                                                                                                                                    03/11/202009:27253R US                           Tania Leon
                                                                                      70pmin                                                          e unlinSlndard'
                                                                                                                                                                    Tim:                                      RN
                                                                                                                                                    &                                                                  ;
                                                                                       115,
                                                                                          /74 m m Hg
                                                                                                                                                    03/11/2020Où:27:53X US Tani
                                                                                                                                                     e untainstndardTime
                                                                                                                                                                              aLeon!
                                                                                                                                                                              RN
                                                                                                                               .
                                                                                                                                                     X
                                                                                                                                                     M                                                                 :
                                                                                                                                                    03/11/2020 09:27:53 AM US                        Tania Leon
                                                                                       17/rriin                                                      f
                                                                                                                                                     œ untain StandardXme                                RN
                                                                                                                                                    Wt
                                                                                                                                                    03/11/2020 09:27:53 /0 US                        Tania Leon
                                                                                      233Ibs                                                         e untinSlndardTime                                  RN r

                                                                                  !
                                                                                  .
                                                                                                                                                    0Ht3/11/202009:
                                                                                                                                                                  27:53Av1US TaniaLeon
                                                                                  j74i
                                                                                     n                                                               ount
                                                                                                                                                        ai
                                                                                                                                                         r
                                                                                                                                                         js/ndar
                                                                                                                                                               dTi
                                                                                                                                                                 me                                           RN j
US ICE IPatientName :PADETIC,SEBASTIANlDOB :10/24/19761A:209214450
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 73 of 276
US !CE IPatiëntName :M DETIC,SEBASTIANlDOB :10/24/1976IA:209214450

                                                                                        > 1

                                      129.
                                         91l
                                           ndex                                         0xu
                                                                                         3/11n
                                                                                             /
                                                                                             2
                                                                                             ta
                                                                                              0i
                                                                                               2
                                                                                               n0s0
                                                                                                  l9n
                                                                                                    :
                                                                                                    2
                                                                                                    d/
                                                                                                     a:
                                                                                                      5
                                                                                                      r
                                                                                                      d7T/
                                                                                                         i
                                                                                                         0
                                                                                                         meUS TanR
                                                                                                                 i
                                                                                                                 aN
                                                                                                                  Leon
                                                                                   OXygonSat%                      '
                                        98%                                             O3/i1/202009:772d3+ US TaniaLeon.
                                      ;                                                 e untainStandardTi
                                                                                                         me        RN
                                                                                 M /#uters02via:
                                      1P.A                                              03/11/i02009:27:53AM US TaniaLeon
                                      j                                                  VountainStandardTime       RN
                                      wv.am lnallon
                                      G neralFm m ination:
                                         GENERA-ADP              CE:normal,alert,in no acute distress.
                                             ENT:EYES. .-normal-NOSE'  .-normal.
                                             NOSE:nares patent.
                                             SKIN:no suspicious lesions,nonnnal,v.zam nand dq/.
                                             HEART:nolmqal.reaularrate anclrhvtlnnn.
                                             u.L,
                                                Ix:.
                                                   1 .kIw.:,!
                                                            :.
                                                             E,J'
                                                                CzlpwtJ.,!'l'
                                                                            w,.'
                                                                               E71!p
                                                                                   ,
                                                                                   E;!Ik..
                                             .s
                                             r?
                                              ;.J,
                                                 Q,
                                                  t7!
                                                    ./1(Rqrfri,
                                                              - LAî FGG. 16
                                                                          :.-; sl
                                                                                nr
                                                                                 ..
                                                                                  '2i
                                                                                    a, '
                                                                                       l
                                                                                       ee
                                                                                        rrr-,Ae-#.
                                                                                                 -t.
                                                                                                   --;
                                                                                                     :
                                                                                                     -:
                                                                                                      )/
                                                                                                       = -.
                                                                                                          ',
                                                                                                           +,-'
                                     iQ otrc-.c'
                                              u.&'rrrc
                                                     w.rbmy!'=
                                      1z'..-...!,1o.ob,..t2 # c&*',-v'
                                                                     .1

                                     -
                                     1.
                                      -reafrm ler?i'
                                     J.Csthers
                                     Hotes:7eiencountersentto pra'
                                                                 viderregarding patientrequest.
                                     Cliniœ lNotes:Per2008 RN Guidelines:Encourage patientto utl
                                                                                               .iz.
                                                                                                  e non-
                                     pharmacologiœ lmetnodssuchasdi   stracti
                                                                            onforcontrolofminorachesandpains.
                                     Educatepatentaboutreiaraionandstressmanagementtechniiuestobeusee
                                     as an adiunctto rnedications i
                                                                  .n the treatm entofcain raanagement.

                                     F'roce/ure Godes
                                     T1001 NURSING ASSESSG NT/EVA-LI       ATION
                                     Disposition:Detainee returned to dorm
                                     Notes:Patientadksed tc return to sickcal!i
                                                                              fsp nptom s worsen priortc nelt
                                     appointm ent,Patient* rbalized understanding ofaIIinstrudions


                                     Appcëntm entPrcvlder:Tanza Leon,2?14


                                     Eedronically WgnadbyTania LeonRN on03/11/202012:35:07 (G kern
                                     DaylightTime)
                                     Sign offA tus:Gom pleted




                                                                                Krom e Y l4h SPC
                                                                               18201 S.W .12TH ST.
                                                                                 MlR l,R-33194
                                                                                TeI:305-207-2170
                                                                                      Fax:




         Patient:OAnETIG SEBASTIAN   DOB:55/24/5976                       Progress Nqte:Tania Leon,RN 03/45/202@
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 74 of 276
  US ICE IPatientNam e :M DETIC,SEBASTIANIDOB ;10/24/1976lA:209214450

                            NofegeneratedbyeclinicalWorksEAJS/PA#Soffuare(w- eclinicalWorks.tom)




JS 1CE IPatientName :M DETIC,SEBASTIANIDOB :10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 75 of 276
  US 1CE IPatientName :M DETIC/SEBASTIANIDOB :10/24/19761A:209214450

        AD >
                      '
                                   . jl,&-r:-r-).r'(,.
                                 'dXA-w-,                 --       '+! 'r'    d
                            .
                             .

                            +.
                             t
                             %.
                             .J
                              a..l.-,
                              -     ni
                                     .zk..
                                     .   -
                                          ... x .
                                          g
                                         r)
                                          .,
                                           ?
                                               l
                                               j:.,ks
                                                   v.
                                                    t.il-ll  I4,).o
                                                          ..I'    (-
                                                                   eyy.
                                                                      wc
                                                                       e4
                                                                         . *
                                                                        vt.
                                                                          j.(-j.
                                                                               ,
                                                                               y'y
                                                                               u
                                                                                                .                          R A P ET IC N S E B A S T IA N
                                               .     ..

                          -
                          :
                          i;
                           'v..ar  .=    ï
                                         s
                                   .crt..r:?
                                           .   n
                                             - t.
                                                'la r
                                                    -
                                                t ,..) t
                                                     -. .u
                                                        -- ,
                                                           .
                                                           -s ro   n3  s                                                                    G k 209214450 Sublp:366450823
                           ',v..':K 1
                            N
                           CV       yl
                                     voqr
                                      y'
                                       e   ,
                                           '%
                                            z.
                                             . vn z?
                                                                   .                 .
                                                                                                                                             cilityr.rvo:KO G usi
                                                                                                                                                                ng> ea:11a
                                       ,z'v.
                                        <j ;               .                                                                                    43Y oId Male,r7m :10/24/1976
                                 nvnh.kn';.' =j-1'
                             'è,;.
                                 ,          . ..,
                                                 jgyy(
                                                     .g'-
                                                        j,'GxQ
                                                             e
                                                             .
                                                             >
                                                             --
                                                              j.
                                                              '-
                                                               .
                                                               j
                                                               --
                                                               ,1
                                                                e.t.
                                                                  ty=
                                                                    7.
                                                                     '
                                                                     jt
                                                                     -
                                                                                                                                                 X couniNum- r:4501241657
                                                                                                                                           18201S.W .12THST.,MI= l,& -33194
                                                                                                                                         Y x inimentPaciii
                                                                                                                                                         ty Krome l
                                                                                                                                                                  e rthSPc
                                                                                                                                                         7            ' '' ' '
       ö3I*4lZ%Z*                                                                                                             A ppoinlm en: Provider:KariBaiieyy PA

        Pask M edicaiH iskory                                                     Reason f&rA ppciettruorvl
             CHRONIC M GRM CES.                                                   1.PE -lni
                                                                                          ta!
             BK K PA N.                                                           H àstorjrefPresent klqrless
        Yurgùeattw
                 ttstcry                                                          ;
                                                                                  :7)-
                                                                                     f.
                                                                                      I
                                                                                      /:2'i --:z
                                                                                               .r
                                                                                                ,;:
                                                                                                  éq
                                                                                                   .
                                                                                                   x-
                                                                                                    &z
                                                                                                     .:-,
                                                                                                        -
                                                                                       11-,itimtILsF  sel?-F
                                                                                                           ?ç-ckerk
                                                                                                                  t
                                                                                           i!3L8i.teQw cr ez
                                                                                                           .:
                                                                                                            lr
                                                                                                            ! 3!nf
                                                                                                                 éj5
                                                                                                                   ./
                                                                                                                    ./
                                                                                                                     :S rfk
                                                                                                                          .(f.
                                                                                                                             %
                                                                                                                             .
                                                                                                                             Tel
                                                                                                                               .
                                                                                                                               Ltf
                                                                                                                               '
        F'
        ia n:
            'î-
              E('
                y
                ''1-::
                     -ek
                       l0.t
                          -z-                                                            L't'
                                                                                            î:-:::
                                                                                            :    '78ti-'-66;'-n'7(7:
                                                                                                                 ...:
        r.J-..G1... . llx
        1vw-atlIer'.J.I'vL                                                                 D'
                                                                                            :r)'zat'b':
                                                                                                      .
                                                                                                      7''z sr''s:icrnif'p
                                                                                                                        t
                                                                                                                        rfy'
                                                                                                                           atAer
                                                                                                                              x-   tt'r
                                                                                                                                      arol aler-ac.''
                                                                                                                                           '
                                                                                                                                                    /
                                                                                                                                                    '
                                                                                                                                                      l  - '' --
                                                                                                                                                      7o '     .
                                                                                                                                                               .
                                                                                                                                                               '-''
                                                                                                                                                                c
        Father:al1
                 *
                 t
                 ve                                                                        Dcg.kk'
                                                                                                 ;u l
                                                                                                    -la'
                                                                                                       ve aI3y
                                                                                                             ''da;  7.
                                                                                                                     =a1e'
                                                                                                                         -;-
                                                                                                                           czst) 5es;G'
                                                                                                                                      :',':a,'7a ..-
                                                                                         )dedicea1Histary'
         SoelalH istory                                                                   Dos?q
                                                                                              '
                                                                                              )u haye ,4% tnm a? Del-
                                                                                                                    lies
         Tobacco Use:                                                                     Dor un 'al
                                                                                                   ïe Cancer? Denies
        Tobaco Use                        ,                                               Do'/cLlha* Cardi  ,
                                                                                                            cvasculardisease? Deni      en
           Dop unow orhaœ p uevarused                                                    Do w u ha* Hp ert   ension? Denies
        tobacco produds? No                                                              Do you hava Hm erlipidem ia? Denies
        Druas//lcohol:                                                                   Do w u haïe Diabetes? Det   nies
       Drugs                                                                             Haœ vou had a stroke? Denies
           Ha< m uuseddrugsotherthanthose                                                Dosouhaye seizaredisorder? De/n/es
       form ediœ lreasons in the past12                                                  Do hou haœ heoatit'  s? Denies
       rrlonths? /No                                                                     Do m u haïe HlW Denies
       AcoholScreen                                                                      Do ïou now orhaïe hou eherl    nao'anvS7DS? Denies
          Do w u drinkalcohol? No          .                                             Hme p u e* rhad Chicken Pox? hI      o -' -- -
                                                                                                                                      '>-= 'F                    .
          Haœ p ue* rbeenconkdedfordrikng                                                Does the pat.lentha< a chronl   .
                                                                                                                          cm edl
                                                                                                                               .
                                                                                                                                œ lcondl tl
                                                                                                                                          on? No ,-- .%'.i-zj
                                                                                                                                         ..
                                                                                                                                                            :.:
                                                                                                                                                              -...
      underthe infuence ofalcohol? No                                                    Doesthepatienthavea pcsi     t'vaPPD orIGPxA(perrecord/t
      O use Hi  storv:                                                         No                                                                 ransfersumman    .97
                                                                                                                                                                     .
      Php icalAbuse                                                                 O ntalHeaI  thHistoq/
          Ha> w u ew rsucered from pho ical                                           get
      abuse? No                                                                       H ainee responseindicatesawareness ofICE detentionenkronment. b'è, sk
      Sem ale use                                                                      a< pue< rreceied counselingformentaihealthprobiems? Depies
                                                                                      Ha* p u e< rrecei e d m edice
                                                                                                                  ati
                                                                                                                    on form entalheàlth problems? Denies
          Ha* r u e* rbeen a qctim ofse= al                                           Ha* p ueverbeenhospitali   D dformenllheal  thproblems Dnnies
      abuse? No                                                                       Dom ueverhearr icesothersdonothear? Denies
      A llergies                                                                      Dop ue* rseethingsothersdonotsee? Denies
      Penicillin G Sodium                                                             Do m u belieœ som eone can controlm urmind? Denies
                                                                                     Ha* w u e< rhad racing thoughts form orethan one week? Denies
      Hospitalizalion/Majorpiagnoslic                                                In the pastweek, ha* m u felthöpeless? No
      ProcedoFe                                                                      Inthepastweek,haœ p ufeithelpless? No
      NOrW                                                                          Ha> p ue* rtriedtokillm urself Denies
                                                                                     Aremucurrentlythinking aboutkillingp ursel
                                                                                                                              f Denles
      Review of Syskem s                                                         Ha* p u eœ rtried to harm w ursel
                                                                                                                 f? Denies
      C-eneral
             r onsti
                   tutional:                                                     Are m ucurrentythinkng aboutharm ing m ursels Denies
         Chillsdenies.Fatiguedenies.          .
                                                                                 Dop uha* ahistot   yofphp iœ llyassauldngothers? Denies
     Fee rdenies. Headache denies. ..-'' 't
                                          ''-&'                                  Ha* m u suffered from excessie anketyorworryforo* rsixm onths?
     Oohthalm ologic:                                                        Den/es
         Dim inished ksualacuitydeniest- Pn. 'J                                  Haœ m u eœ rwitnessed oreo erienced orbeen confronted with an ew ntor
     l
     tchingand rednessdenies.                                                eentsthatinulledactualorthreateneddeathorseriousinjuv Denies u.
                                                                                                                                           --
     ENT:                                                                          I
                                                                                   s thepatentee ibifngsr ptoms ofaseri
                                                                                                                      ousm entldisorderorspmptom s
                                                                             ofcognitim im pairmeno No
         Oi
          mcultyswaflowing deni es. '- r                                     PatientIdentifiœ tion:
     Nosebleeddenies.Swollen                                                     PatientIdentifcaton


S ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 76 of 276
 US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450

                                                                                                                              '
        glandsdenies.                                       Patientproperlyident'fedby2sou'    rcesincluding'         .Z1  . :stRnnd,lD BadgelDate
        Endocrine'
                 .                                    (
                                                      # Bifth                                                                         .
             Coldintolerancedenies.Fyfnessiœ                Chaperone Present'  ? No
        thirstdenies.Heatintolerancedenies.                    atIanguagedop u speak? English
       Resoiratorv:                                         I
                                                            nterpretat'on prou'ded? Paû' entspeaksEnglish f/e/nf/y
           Chestpaindeni  es.Coughdenies.             Pain M sessment:
       Vm eeângdenies.                                   Pain
       Cardioïr
              ascular:                                      N e m ucurrentyin pain? Fes
           Ruid accum ulationinthe legsdenies.              The pain is loœ ted Ioverback pain W th bending -
       Palpilà'onsdeniees.Short nessof                      Theseœ n' hzofpai
                                                                      .-   '  nisratedat3/10 ,- x' ç'.yu     .,..,.,ea.--.--
                                                           Th
                                                           The  see ntyofthe pai. ni
                                                                                   sm   ild '--' (w
                                                                                                  '..,,
                                                                                                      '
                                                                                                      .'
                                                                                                      .>
       breathdenies.                                                                                   ' g'
                                                                                                          >t. e-u.'. v
                                                                                      .                .
                                                              e pain began G sm ond  œlsago         '-
       Gastrointestinal:                                   The characteroftne pain isinfrequent- c(tce -s'                  '
           Const'patondeniees.                             -71
                                                            1 e assoc  iated sr piom s are none - ' .., -                                    '<.e ' v'
       Heartburndenies.Vom it'ng denies.                          . .
                                                           The paln ls aggrae ted by other                 t--z--o,.?.a -..,.
                                                                                                         -''
                                                                                                                                            '
                                                                                                                                                - .2'-F                                                                 '
       M asculoskeletal:                                          F1CSC'r.iwhC'. ,.
                                                                                  h-C.s'
                                                                                     0w  r.
                                                                                       ./,lrf'- %--.G'+'vn'.*T '                                 --
                                                                                .   .       .                                     . .' .        .        h. z . .*...'
                                                                                                                                                                     .'
           Leg cram psdenies.Mascle                               The paln Is rell
                                                                                 eved by OFC lneàcaûon                                                            ;
                                                                                                                                                                  -- ;
                                                                                                                                                                     ,,.'.
                                                                                                                                                                         :
                                                                                                                                                                         -..z
                                                                   .                                                                                                      .'
       achesdenies.St
                    srollenjointsdenies.             tq.larratve.
       rw
        keuroIoo.ic:                                       .tJ.Q
                                                               w h 'io n7e;
                                                                 '..         .e c   :c'.
                                                                                       'n-.
                                                                                          'i   o,fron
                                                                                           . n.w     ,-':J'oother  .i.
                                                                                                                     c:ef   .mci  11t5/
                                                                                                                                 ..   ,I
                                                                                                                                       -1
                                                                                                                                        .x'jowerbacl       q;nain on ë$nG'aff
           uosso!uset,'ez
                        tùelh'
                             ttt,i
                                 -
                                 'lt
                                   '
                                   f
                                   ukles.            'F9?it',6 r7''Ltc 8(-'   ,1,kl
                                                                          ,;w''   .t
                                                                                   s;!p .?.N'.t)h ,:
                                                                                                 ?1.x7 .
                                                                                                       .<
                                                                                                        .I
                                                                                                         o':
                                                                                                           wz
                                                                                                            -'
                                                                                                             .tzr
                                                                                                                .-:
                                                                                                                  -7.
                                                                                                                    .'
                                                                                                                    1 .l
                                                                                                                     N!--.'
                                                                                                                          i.r(N:=
                                                                                                                              .'r. !
                                                                                                                                   e-
                                                                                                                                    -J
                                                                                                                                     .cr
                                                                                                                                      -m Uk
                                                                                                                                         0.0-x..l
                                                                                                                                                ..
                                                                                                                                                 me-!@k
                                                                                                                                                      m.4M:!
                                                                                                                                                      .J!  .9
                                                                                                                                                            tN
                                                                                                                                                             )%
                                                                                                                                                             :c.
                                                                                                                                                               z:tf?.t?r==I
                                                                                                                                                                        s.es;$
                                                                                                                                                                             x.w,
                                                                                                                                                                               r.?
                                                                                                                                                                                 N
                  .. eni
       Q'giz rres cl   eon                              ;:7@ç.2
                                                              'F.r.p.bt@.'
                                                                         )o.
                                                                           ':.*%.
                                                                                :Z7..
                                                                                    ?q;j
                                                                                       r$:'-)jv-l
                                                                                                'T
                                                                                                 Y.-!@!!-.
                                                                                                         wu
                                                                                                          ...;f.
                                                                                                               )6qj-:;
                                                                                                                     '.ï.
                                                                                                                        gj;!.;j-jX         ''(.;(.-,
                                                                                                                                 .hj-j(.q-j;
                                                                                                                                 q                 .0).J,
                                                                                                                                                        d.
                                                                                                                                                         'J;
                                                                                                                                                           Jr)Y j1(:
                                                                                                                                                                   b.ië
                                                                                                                                                                      *'
                                                                                                                                                                       j
                                                                                                                                                                       !u
                                                                                                                                                                       .'!
                                                                                                                                                                         N, ':
                                                                                                                                                                             Vt!
                                                                                                                                                                               :3 L
                                                                                                                                                                                  lw
                                                                                                                                                                                   '
                                                                                                                                                                                   Nv'
                                                                                                                                                                                     g'
                                                                                                                                                                                      i!
                                                                                                                                                                                       ;;
                                                                                                                                                                                        -
       Q.
        ?.'q/nhipfric'                               2
                                                     -;
                                                      a,
                                                       -'
                                                       'k'l'c,
                                                             o. ,.
                                                                 '-'zt-;3'
                                                                         :rfsaiii-  .',-,
                                                                                        ';a's hsr   -;
                                                                                                     *$xura'    ..
                                                                                                                 '.
                                                                                                                  n,raanth,s ar        eta
                                                                                                                                         -r B'   uli1hsv'1;'   Vrktl' l'
                                                                                                                                                                       ëk
                                                                                                                                                                        -
                                                                                                                                                                        allJ'L
                                                                                                                                                                             :'1
                                                                                                                                                                               ':
                                                                                                                                                                                '
                                                                                                                                                                                it1':
                                                                                                                                                                                    e
           Aaditorpkisualhaltucinatons denies.       ;-c-:
                                                         5;t.-itt.                                                  '             '
                                                                                          )k....< I..,A.;l-tk.A&p-lq-JI$-SL JqzI.-jk-.l.t!;-1$:.
                                                                                                                                               5k-.
                                                                                                                                                 -ew.-
                                                                                                                                                     11.*Q-l
                                                                                                                                                           .-IJ
                                                                                                                                                              K.
                                                                                                                                                               d-I.1Zk
                                                                                                                                                                     .=.
                                                                                                                                                                       u.Z;S(% -
                                                                                                                                                                               Iiw..Z
                                                                                                                                                                                    t7
                                                                                                                                                                                     j-pY#
                                                                                                                                                                                         l.
                                                                                                                                                                                          s-:
                                                                                                                                                                                            dIa1ga T
                                                                                                                                                                                                   17:
                                                                                                                                                                                                     ..
                                                                                                                                                                                                      .m..14
                                                             NM             '
       HomlcicalTncugnlsdeni
                           es.Suici
                                  dai                            .'!.!,-.a!8!!-!,.l.$!-.01.
                                                             u.()i
       thoughtsdenies.                               u
                                                     -
                                                       !:I
                                                         n2
                                                          $ed an'
                                                                y't'
                                                                   l$
                                                                    -1
                                                                     =.
                                                                     a!.
                                                                       Cnr  s:2en:2ati
                                                                           .,
                                                                          ,.         .o711
                                                                                         ,.
                                                                                          c lers
                                                                                              u aL
                                                                                                 nd hwac!
                                                                                                        .
                                                                                                        (do/
                                                                                                           .
                                                                                                           Ds !
                                                                                                              .
                                                                                                              3.f
                                                                                                                l/vradiEt'
                                                                                                                         :
                                                                                                                         y
                                                                                                                         .
       Tuberculosis'
                   .                                      Nofekel',chi .1
                                                                        .ln/hth ./aJu-li
                                                                                       zziness;6.7hI:DM C7kD,m entalillness orsuicidaj
           Feverdenies.Ni
                        ghtSweafs denies.            ideat1 on.                           .
                                                 '
       0                                                                                                        V
                                                                                                                '           Le .'
       . er
          sistentcoughdeniees.Sputum                 kqûarSëgrts
       productiondeni
                    es.
                                                     !                                                                            Temp                                                                              I
                                                     '
                                                                                                                                  03/04/2020O8:17:
                                                                                                                                                 38NAUS TlaTovmes l
                                                                                                                                                                  i
                                                     !98 7 F
                                                     I '
                                                     !                                                                                e unfmin Standard Time                                 .
                                                                                                                                                                                                    LPN
                                                                                                                                                                                                 . ...         ..
                                                                                                                                                                                                                    l
                                                                                                                                                                                                                    I
                                                                                                                                   FIR                                                                              j
                                                     1                                                                            03/04/202008:17:38.
                                                                                                                                                    ,
                                                                                                                                                    Nî.
                                                                                                                                                      éUS TiaToï
                                                                                                                                                               vnes!
                                                     168p'
                                                         min                                                                          MauntainSlndardTime                                           LPN             1
                                                     !
                                                     1
                                                                                                .                                  PP
                                                                                                                                                    '             ''                                                1
                                                                                                                                                                                                                    j
                                                     I
                                                     k
                                                      113/3mmHg                                                                   0v
                                                                                                                                   3o
                                                                                                                                    /
                                                                                                                                    0u
                                                                                                                                     4n
                                                                                                                                      /
                                                                                                                                      2
                                                                                                                                      ta
                                                                                                                                       0i
                                                                                                                                        2
                                                                                                                                        n0s0
                                                                                                                                           ta
                                                                                                                                            8n
                                                                                                                                             :
                                                                                                                                             1
                                                                                                                                             d7
                                                                                                                                              a:
                                                                                                                                               3
                                                                                                                                               r
                                                                                                                                               d8mRU
                                                                                                                                                  meS Ti
                                                                                                                                                       aT
                                                                                                                                                        LP
                                                                                                                                                         ow
                                                                                                                                                          Nnes)
                                                                                                                                                              I
                                                                                                                                  RR                                                                                !
                                                     j
                                                     l       '                                                                    03/04/202008:17:38AMUS TiaTownes1
                                                     l16/min                                                                       e untminSlndardTime      upx j
                                                                                                                                  Wt
                                                     1zaaIj
                                                          as                                                               /04/202008:17:38A$IUS TiaTownesJ
                                                                                                                                  03j.
                                                     !
                                                     l
                                                                                                                        . Htunlin.SMndardTime
                                                                                                                              .                     LPN j '
                                                                                                                                                          ,
                                                                                                                                                          1
                                                                                                                                                             ..




                                                     74i                                                                          03/04/202008:17:38AMUS TiaTownes
                                                       n                                                                           e unlinSlndard Tim e     LPN
                                                                                                                                  > 1
                                                     29                                                                           03/04/2020 08:17:3870 US TiaTownes
                                                         .91lndex                                                                     o untajnsundardmme                                          LPN
                                                                                                                             V sion
                                                     Leftem :20/2O,Rightem :20/4O,                                            ca/tg/x ga jo:sazas /. Lls                                    KarlBailey
                                                     Both ew s:20/2O,                                                          o untajn stmndard mm e                                           PA     g
                                                     Comm entsrW tnoutglasses
                                                                                                                  Oxygen sat%                               .
                                                     99 %                                       .                      03/04/2020 08:17:38R US Ria Townes
                                                                                                                        pvbunl in Standard Tit
                                                                                                                                             .l
                                                                                                                                              -le    LSN
                                                                                                                WA I#uters 02 via:
                                                                                                                      03/04/2020 08:17: 38 AM US Tia Townes


US IC: lPatlentName :M DETIC/SEBASTIANlDOB ;10/24/19761A1209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 77 of 276
 US 1CE lPatientName :M DETIC,SEBASTIANIDOB :10/24/1.9761A:209214450

                                         RA                                                                  e untain Standard Time                                  LPN

                                       Exam ination
                                       œ neralEc m ination:
                                          GENE ADP            CE:inno acutedistreessvwelldeïel
                                                                                             o ,well
                                       nounshed,
                                          H 'normocephalic.            .
                                             S'
                                              . Pupilsequal,round,reacti. tolightanda.ccomm
                                                                                          .'odatl
                                                                                                on.
                                                        S:normal,auditorycanalclear.
                                                 NOSE:no Iesi     ons,septum intact.
                                                 O jCAM W .       . no I  .ons,,'
                                                                       eesl       ' m01
                                                                                mucosa       .st
                                                                                               ..
                                                THROAT:nonmal.
                                                 NEC rl       m OID:norm al,neck supple,fullrange ofm otion.
                                                 H T:no murmurs,regularrate and rhythm,S1,52 normai.
                                                   wl
                                                f- l xIGS'
                                                     r      .cleartoauscultation bilaterallh
                                                                                           J? ' no1 v..
                                                                                                    . I
                                                                                                      neezes,rales,rhonc'hi.
                                                ABDOW N:bowelsounds present,soz,nontendeq nondistended.
                                                t>zwf
                                                 Qz  -hlz
                                                        u-.5
                                                           1.
                                                            Jllrangeofmotlon,nocostcqc-.   rtel-.
                                                                                                a.
                                                                                                 l-
                                                                                                  alanalu et
                                                                                                           efndennesslslcln
                                                                                                                          '6...v                                              .       -.
                                       '- -
                                        2 :-:tA;>nr
                                         ..-,         t wïe7i     .c '
                                                                  '    -/r:'.3gtC
                                                                       J     ..' ..  c-
                                                 h Jk.-1=q.,
                                                 .N.
                                                             -''
                                                            w' t$ l1t-NqI''
                                                                     .>.    h'r--1=7.:7.=,
                                                                                        ./ 4..'nacqqa'    ,aai: n:i.   Z:1.1':7'-:'%-':1.aE r..1'.'..
                                                                                                                                                    -:.l!n. ae o'e-enznh'Orë o')'')'''
                                       =..;u.l-=7
                                               .--.-..1!- .....4 .- r '-'g.<z. .. l!..
                                                  1IzullJ<$lw a       hisku.  :t
                                                                               x,i-g.,.  'uu1.,aii,.
                                                 rN'r't..i. t-guw   uzw-.nqt-..,ôy'c;tt-31tC'b'Lqt,$:.  51'tczuz.wlwlw' s.,J.,vw .'.'v'.wzxw.'.'; .,.w.w. w..:).,0-.,
                                       rt' 72
                                           .  '743,?!l    -I.Dr.lerpnc      -pI  .rnhAereytrem i         tieS:norm alStrencth              l
                                                                                                                                           '.Sensor!/exam iI3t8C(           '.
                                                 Du.
                                                 '  wxs,.'r'st..y'.
                                                          w'      .Clcll. '
                                                                          .J
                                                                           .aC':'I.y(e CD2'lï  w. ..%$.ycacoer
                                                                                                awq          e, al-;
                                                                                                                   i%.
                                                                                                                     .e 1u5.t
                                                                                                                            %'
                                                                                                                             .f
                                                                                                                              vh
                                                                                                                               :a,tj  ky
                                                                                                                                       .uj'
                                                                                                                                          tr
                                                                                                                                           .r'
                                                                                                                                             1
                                                                                                                                             .,i
                                                                                                                                               .lr-
                                                                                                                                                  -!ij!i if
                                                                                                                                                        -.--l
                                                                                                                                                            .i
                                                                                                                                                             .*
                                                                                                                                                              tni
                                                                                                                                                               -.-
                                                                                                                                                                 !
                                                                                                                                                                 a;.
                                                                                                                                                                   ôT
                                                                                                                                                                   -. h./Fj
                                                                                                                                                                          -1
                                                                                                                                                                           81
                                       l
                                       '
                                       -I
                                        a'
                                         Il
                                          'uciinations, s-c
                                                         j/ -
                                                            c
                                                            -ahcl
                                                                aarjthaa.gG
                                                                          ..
                                                                           tcontsntL'
                                                                                    ktl
                                                                                      .nIzu'
                                                                                           i
                                                                                           vst
                                                                                             -l
                                                                                              i
                                                                                              .ci
                                                                                                .r
                                                                                                 vi
                                                                                                  xai
                                                                                                    xi
                                                                                                     .c
                                                                                                      w.i
                                                                                                        eati
                                                                                                           ,on)
                                       Qe
                                        ljt
                                          .1SI
                                             'Oi.lS.                             .
                                       Assesam ents
                                       1.Low backpain -154.
                                                          5
                                       rroaknterkt
                                       1.Low back pain
                                       StadAcetaminophenTablet,50O M' G ,1,Orally,BID PRN,14 dap ,Refils 1,St'
                                                                                                             ad
                                       Date:03/04/2020,Stop Date:04/01/2020,KOP:Y  /es,Drug Source:In House
                                       Pharm acy
                                      2.G hers
                                      Notes:Pati entquestions answered andïerbaiized undersl nding.Disease ai  nd
                                      treatment/plan discussed wi
                                                                th patient.Discussed access to care.Patient
                                      verbalizesunderstanding.Patientreceie d stayinghealthbrochure,Pl np ical
                                       Fitnessrekewedandencouraged.Patientresponsibilitesinoe ral!care plan
                                      re%ewed.

                                      PreiFentëMe Mediclne                                                                                             b h1: 'C              '''...
                                      N utrition:                                                          k '       --'
                                                                                                                     s ?.. .'
                                         Eduœ ton prouded increasefrui  tintake,increase e gaiabies inlke. '  -'.x * KL   .
                                         Patentresponse anticipated compliance,good.                          .'            k<L-rl2
                                                                                                                             . i  ..-l
                                                                                                            ..;
                                                                                                            .      .
                                                                                                           ,     ..
                                      DisPosi  tion:o di
                                                       œ llyclearedforcustody                         ----'' '' -Q                   '
                                                                                                  ,,--           vfou
                                      Notes:RTC PRN                                                   .              A,,-s-7
                                                                                                                                                                                      C c'n
                                                                                                                                                                                         .X
                                                                                                                                                                                              C-A
                                      Appointm eniProvider:% riM iley,PA                                                                                                                        '

                                      Confirm atory <gn ofk
                                         Ortega51D,Luù A 03/06/20200829:34AM BaileyPA KrIW
                                      03/04/2020 1422:44 > p/e

                                      UedronicallyWgned by KarlO ileyPA oh 03/04/202014:22:19(Bakern
                                      SOndar81Time)


US lCE lPatientName :RADETIC,SEBASTIANIDOB ;10/24/19761A:209214450
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 78 of 276
US ICE IPatientName :RADETIC/SEBASTIANIDOB :10/24/19761A:209214450

                                                                      Eledronically coe gned by LuisOrtega MD pn 03/06/2020at08:29AM
                                                                      MDT
                                                                      Sign offA tus:Compleied




                                                                                                    Krom e œ rth SPC
                                                                                                   18201S.W.12m ST.
                                                                                                     M* i,R-33194
                                                                                                   TeI:305-207-2170
                                                                                                         F'ax:




           ?'-c tftr LtL.= 1NdlN..CA t- t (w'r <,
                                                .t-.ml<<u.w.Q tt'
                                                                x'
                                                                 .t   - w w v uw .a.k
                                                                                    .x -. .w J X




US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/1976IA:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 79 of 276
 US ICE 1
        . PatientName :RADETIC,SEBASTIAN!DOB :10/24,
                                                   /19761,
                                                         5..269214450

      AD>

                            I'&.
                               #(f.
                                  '
                       ..
                   4s:,:$.
                         t.-
                         :-<-r
                             .wJ
                           .1.
                             . :
                               .f
                                'xJ
                                  J,.''L.
                                        .
                                        e:    -f
                                               ?y'     '' --        -'        .                                          R A D ET IC , S E B A S T IA N
                  .u
                   .
                   j *       .                       .$<.-i
                                                          t-.
                                                            j.
                                                             -.
                                                              y
                                                              .
                                                              g..
                                                                !.
                                                                 'yy.
                                                                    $ c
                                                                      o-
                                                                       y1.
                                                                         +a:t'yr
                                                                               .-'
                                                                                 j1-)
                       .
                                                .
                  .   s. -              $,
                                         g,
                                          .                                                                                                      X 209214450 SubID:366450823
                  fl  ,
                      '
                      .
                      #w.
                    '$.
                         p
                         ;=t5 v*mn-
                             ..   '
                                  %kwz. #. bl.- ,CRa
                                        .           .tnz.- f v'
                                                              w-tLta-S.to p'.ls  -                                                             Facilityrn -le:KRO Fkpusing* ea:,,,
                   .
                      -kuv
                        ' w .6
                   .'-x .v.zt       '..#'e4.
                                           '
                                           , x
                                             '.
                                              -  4-n     !
                                                         :,.  a  r. . aaa
                   .a. .
                       ,i
                        x         .
                        ,.w..Jr7Yjxr
                        .
                                       . .
                                         ..'          x -      .
                                                                       x.uj
                                                                          .x
                                                                          u. y.
                                                                              -
                                                                              yju-                                                                43 Y oId Male,rFm :10/24/1976
                                   y,  k, -!
                                      . .
                                                 u-
                                                  =ilzj.(..). syg(;y .x.  u x                                                                        X countNum - r:1001241657
                                                                                                                                             18201S.W .12m 5T.,Ml   R !,K 43194
                                                                                                                                           Y pointmentR cili
                                                                                                                                                           ty:KromelerthSPC
      03/02/2025                                                                                                       Appoinlm onl Provider:Nelson ReyesrRN


       Past M edicalHistory                                              Histcry lf eresent klknesa
          CHRCPïlC M GPXANCES.                                           Intake:
          BACK PA N.                                                         initialJx    ssessment
                                                                               '% ;.v
                                                                                    i8Sr2.
                                                                                         -;.
                                                                                           ..:
                                                                                             8 777.
                                                                                                  :-S..
                                                                                                      ...-t
                                                                                                      u   F;F..$
                                                                                                               >.
                                                                                                                tJ.:7(;t..-.
                                                                                                                       Z'  ..;.:
                                                                                                                               ..!o   .J.....
                                                                                                                                            1--r  .=.    =..
                                                                                                                                                           .r.;
                                                                                                                                . GQQ :        =..:  %:.
                                                                                                                                                       'e     '%rr
                                                                                                                                                                 '$
                                                                                                                                                                  r
                                                                                                                                                                  -2
       Sur.gicatHzstory                                                         tf. pati,ent'   k
                                                                                                ,k
                                                                                                 '
                                                                                                 .
                                                                                                 as lraasfarreo fl         -c'r;  nanc-unerta:  aqlcrv'. oi c!a 'nneclrccltl-a:nsfers ::'-1-.$-,-:8 r..'
       i
       ''
        .
        lo iurnl
        '     C:J catl
                     '
                     k
                     tlstor
                          -s
                           ./
                            /.
                             loc'
                             '  amentee.                                 cswwDitlu'
                                                                                  ;i;il),tj16 j-lolle;l;'t iecg
                                                                                Zlt
                                                                                  .p),..
                                                                                       )t,'9;
                                                                                            :;
                                                                                             -t!r
                                                                                                z. n,
                                                                                                    .''
                                                                                                      rh
                                                                                                      . -.
                                                                                                         ''lih;:b
                                                                                                                tk
                                                                                                                . j'
                                                                                                                   .'res''
                                                                                                                         z'r '',.
                                                                                                                                'L.
                                                                                                                                  ,
       Aikergies                                                              I
                                                                              ï/eclioalScreeninr
       Perilcilll?
                 nG Sodiipim                                                    H/m' t'c!'
                                                                                         ay'
                                                                                         .  x'
                                                                                             2t-!fes!t' aday? .
                                                                                Dop ul    nah. e anycurrentarpastmedicalprcblarns? Uc                -.
                                                                                                                                                      cDetaineek  s-iko//
                                                                                                                                                                        kzi
                                                                                                                                                                          s.
                                                                                                                                                                           cr$'
                                                                                                                                                                              :
       Hospikalizatlon/M alorPiagn@stic                                  a ()a/-accidenï   'ct'
                                                                                              um' z
                                                                                                  r?g .
                                                                                                      Ib
                                                                                                       .
                                                                                                       R-E custody on ,    /Vt)0,19Jh12t;'tStHestates,  &?e had /7sac/s'  na'
      Procedure                                                         ,back J ,
                                                                                '7/u'-y.He states,
                                                                                     /                 te t àasb/,   3,
                                                                                                                      7 hab' ing ch/- k
                                                                                                                                      wp/c'I
                                                                                                                                           aeedaches apc/bac# ache s/      hce
      No Hospitali
                 D ùon History.                                          the accident.He hacfE?syncope ep/srcfc 1               ./18/20. He ,#)a(8a Crsca/non 2/28/20 et
                                                                        Jt//
                                                                           anroe count    y                                       .!
                                                                                                                                   ..w
                                                                                                                                     7:
                                                                                Haïe yaueterI
                                                                                            nadaheadinjuryorheadsurgerythatafectedr uractiotesef
                                                                        Cailyfi
                                                                              %lng'? l4o --.-' ..WG -
                                                                                                    -'           w .
                                                                             hlave youe* rhad selzures'? J'ço '-       -u.- -..
                                                                                                                           ..
                                                                             N e w u currentlyorha* w u eNertaken anymedi       o tion on a regularbasis,
                                                                        induding ovarthe counterand herbal? Fes .  v -tlcuicam 7.5mg c). :f .- .ce.,'
                                                                                                                                                    :..'
                                                                             Do p u ha< yourmedications v/thp u? /Vö
                                                                             Do yau ina. anyallergi
                                                                                                  es to include allergies to nqediœ tionorfood? hlo - *   '-,,-::-. '/
                                                                              A'eF)unow orha. m ueœ rbeentreated byadoctorforamedicalcondi     tiori'
                                                                       to includehospitaliDfons,surgeries,infectious.orcom m uniœ blediseases? No
                                                                              1I
                                                                               3the past2months,haïe puem eriencedanyofthefollowi    ngsymptorns
                                                                       contl nuouslyformore than 2 weeks? No
                                                                               A cough? /Vo
                                                                               Coughing up biood? No .  - 'u.'
                                                                                                             .
                                                                                                             .'
                                                                                                              ;r;.r.
                                                                                                                   -->'
                                                                               Chestpain'? No               : ''   -'-
                                                                               Fee r,ch'ills,ornightsweatsforno knowl   nreasonp. N o
                                                                               Loss ofappette? No
                                                                               Unem lained weightIoss? No
                                                                               Do p u habe preoous hxofTB9  . No                                              .
                                                                               Ha< w u had anyrecentacutechanges with m urïision orhearing? No -'
                                                                                                                                                - ..
                                                                                                                                                   >-'
                                                                                                                                                     sz---
                                                                                                                                                         , -.wt
                                                                               Do m u ha* anyspedfcdielryneeds? No
                                                                               N ep uTransgender? No .
                                                                               Ha* mueœrhadChickenPo@ NO '- <-z& '.jV
                                                                           Haœ pubeenincloseconlctwi      thapersbnwithIaboratolyconfrmed2019
                                                                      nom lcoronakrus ortheirrespiratorysecretions inthe past14 dap ? No
                                                                              Ha* m utraœledfrom orthroughgeographicareats)wi
                                                                                                                            thwidespread or
                                                                      sustained com m uni
                                                                                        tytransm ission in the pasttwo weeks? No
                                                                         OralScreening                                                                                   -.   -
                                                                              New uhaknganysigni
                                                                                               ficantdentlpioblems? .No -- VC'Tg
                                                                                                                               '
                                                                         o ntalHealthScreening                                   '
                                                                           Ha< p u eœ rreceiœ d counseling form entalhealth problems? No
                                                                          Ha< w u eœ rrecei< d m edicationform entlheal   th problems? No
                                                                          Ha* p u eœ rrecei œ d treatm entorhospitalim t'on form entalhealth
                                                                     problem s? blo                                                   ,
                                                                     '
                                                                          Ha* m u eœ rtried to ki11m urselo Dénies
                                                                          N ep ucurrentythinking aboutkillingp urself Denies
                                                                          Ha* m u eœ rtriedto harm m ursel f Denies


S ICE IPatientName :M DETIC,SEBASTIANlDOB :10/24/1976jA:209214450
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 80 of 276
US 1CE IPatientName :RADETIC,SEBASTIANlDOB :10/24/19761A:209214450                                   '
               .




                                           Nep ucurrentythinkingaboutharming p urselo Denies
                                            Dop uha* ahistoryofassaul  tingothers? No
                                            Dop ueœ rhearO i  cesthatother:donothear? No
                                            Dop ueœ rseethingsthatothersdonotsee? No
                                            Do w ubelieœ som eone can controlw urm ind? No
                                            Ha* p ubeenaidim ofphp iczlabuse? No
                                            Haœ p u been a ictim ofser alabusq? No
                                            Dom ufeelthatm uarecumentlyfndangerofbeingphp icallyorsem ally
                                       assaulted? No
                                            Haœ m ue* rsexaallyassaulted anyane? No
                                          Traum aScreening
                                                 Ha* you everwitnessed,em erienèed an eœ ntthatinr le d adualor
                                       threateneddeathorseriousinjuv No
                                           Learning/cultural/Religious M sessm ent
                                             lstnereane ingimpoM nttoknow aboutyourreli
                                                                                      giousorculturalbeliefsf
                                                                                                            hat
                                       ere ofccmcernto m u while in detention? No
                                            Have w u e* rhad diMculties Iearning'? No
                                            Dop tphaœ diffcul      tyreadingorwri      ting'?No
                                            l'
                                             igve vau evarhad diffculties understalnding vî        /ritten informati    on? /*
                                              l
                                              bA#t
                                                 :
                                                 z&''-z E-
                                                     wl
                                                         .
                                                         3.
                                                         ! -
                                                           .
                                                           '
                                                           c.kk2;::7:cri
                                                                       :
                                                                        7i
                                                                         .
                                                                          a-
                                                                           .
                                                                             -
                                                                             w.
                                                                                :Jc'
                                                                                   .
                                                                                    ei
                                                                                     .
                                                                                      opv: er.
                                                                                             ty'
                                                                                               .-'
                                                                                                 ..c..x2'.
                                                                                                         ;'
                                                                                                          .7
                                                                                                           6'
                                                                                                            ..
                                                                                                            .
                                                                                                              -,
                                                                                                               :'''.
                                                                                                                   '
                                                                                                                   z,
                                                                                                                    p;
                                                                                                                     .
                                                                                                                      .
                                                                                                                      '.
                                                                                                                       -:'
                                                                                                                         -d(.
                                                                                                                            .w
                                                                                                                             -'
                                                                                                                              fslat-
                                                                                                                                   ;'
                                                                                                                                    :'
                                                                                                                                    ..-
                                                                                                                                      1.-
                                                   .
                                       êvf..

                                               wuau.w vo..wewe w w w?'-* 'hiM = . '$,1ueqll'hIIue    ...
                                                                                                       a
                                                                           J-r
                                                                             :zjr.- .l.m.,
                                                                                         ,
                                                                                         u.
                                                                                          êr..'&
                                                                                               c ....
                                                 -    e' k
                                                 . g.x.
                                                 .        :-.' - - k
                                                       ., ' :.;) .
                                                                   'f
                                                                    i..g
                                                                       ...
                                                                         . :
                                                                         ,                          r.
                                                                                                     'w   .miwk.F*
                                                                                                      *kC.'      .!.xqm'
                                                                                                                       ano,
                                                                                                                          '.x .w.
                                                                                                                                '.'n.,je
                                                                                                                                       'oz.c .a
                                                                                                                                              ' :
                                                                                                                                                'j/
                                                                                                                                                  ya
                                                 T... ...I ...x .v, î..*..- ........m ....:-o,oIsa.1mmjaea@e) A.)a


                                   '

                                       W takslgns
                                       !                                                                  '
                                                                                                          Fen'
                                                                                                             jp                                                         t
                                       i                                                                 03/02/2020 J1:
                                                                                                                      33:38AM US Nelson Rejesj
                                                                                                                                             l
                                       197.8F                                                              hbuntainStandardmme                                     RN   l
                                                                                                             HR                          i
                                       ;.                                          .                                     .. ..           .
                                                                                                                                         :
                                       1aqjmjn                                                           03/02/2020j1:
                                                                                                                     33:38AMUS NelsonRews!
                                       ' -              .
                                                                                                          e unlinàtandardTinne      RN
                                       )                . . . . . . ..                                                        .            ..          .       .
                                       i
                                       j                                                                     BP
                                       1                                                                 03/0w202011:
                                                                                                                    3a:
                                                                                                                      38AMLIS I
                                                                                                                              kelsonRewsJ
                                                                                                                                        j
                                       i4c7,
                                           74ml
                                           '  m >l
                                                 g                                                         i
                                                                                                           vbunlinstandardmme                                      Rr
                                                                                                                                                                    q   j
                                                                                                                                                                        '
                                                                                                                                          v
                                       g                                                                 03/02/2020JJ:33:38AM US Nelson Re:es:
                                       I16/min
                                       j                                                                  e unlin StandardTime        RN     j
                                       ! '                                                               03t
                                                                                                           /'
                                                                                                            0t
                                                                                                             '
                                                                                                             t/202011:33:38AM US'NelsonReyesjj
                                                                                                             2                               I
                                                                                                                                                                        ''



                                       232 lbs                                                             MountainStandard Tim e                                  RN

                                                                                                         03/02/2020 11:33:38R US NelsonRems
                                       74 in                                                              e untainStandardm me       RN
                                                                                                            Y I
                                                                                                                                                                        2
                                                                                                         03/02/202011:33:38= US NelsonRews
                                       29.78 lndex                                                        e unlinSlndardTime        .RN                        '    .
                                                                                                                               ..            .             .

                                                                                                   X gensat%                                      .                     q
                                                                                                                                                                        r
                                                                                                                                                                        (
                                                                                                         03/02/
                                                                                                              2020 11:33:387% US NelsonRem s)
                                               oz
                                       99zo                                                                xuntainstandardmme                                      RN   j
                                                                                               M /#laters02 via:                       :
                                                                                                   03/02/2020 11733:38R US Nelson Rew s ;
                                                                                                     e untain Standard Tim e    RN

                                       mvam inalion
                                       lntakeScraenina:
                                           Intake Fm m
                                                  Pat'entappearstoha* normalphp fce
                                                                                  alcharacteristics? Fes



US ICE lPatientName :M DETIC,SEBASTIANIDOB :10/24/19761A:209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 81 of 276
 US 1CE IPatlentName :RADETIC,SEBASTJANlDOB :10/24,
                                                  /1976l
                                                       .A:209214450

                                             Patientappears to ha* norm alem otionalattributes? Fes
                                             Patientappears to ha* no barriersto com m uniœ tion? Fes
                                             Php icaldisabili
                                                            ties obsened:No
                                             Isthepatientorientedtoperson,place,tim eandsituati on'? Fes
                                             N pearstoberespondingtoauditoryorvisualhalluci
                                                                                          nations? No
                                             Disorganized thoughtsorbehaûors obseM d:No
                                             & itationobsened:No
                                             o lnourished appearance obseu d:No
                                             Low Vsion:No
                                             Hearing di
                                                      m culty/im pairm entobserved:No
                                             Dilcultyobselw d withform ing speech'.No
                                             Diffcul
                                                   tyobseM d withcomprehension:No
                                             Diffc
                                                 'ul
                                                   h/observadwithfocusorconcentrat'on:No
                                              Lackofresponse obsel                      w d when asked questions'        .JVo
                                              e bilityImpairm entobsened'                        .No
                                             Skfi   nBrokenoutinbum ps/rashcbsere d:Nc
                                             Eycessiœ sweatin                 . g obs    ened'    .No
                                            /.4-91-Iol-lrlaIbreatning r            tpersistentcoug.      h,hà/perventilat'o'nir
                                                                                                                              fiï
                                                                                                                                c;h
                                                                                                                                . ,obseo/
                                                                                                                                        .a
                                                                                                                                         ''
                                                                                                                                          -
                                                                                                                                          wI
                                                                                                                                           '
                                                                                                                                           ,l
                                                                                                                                           . ''
                                                                                                                                              u
                                                                                                                                              ?,
                                                                                                                                               L
                                                                                                                                               ?
                                             Cl  -'t:
                                                    B hrtri:..     ss igL.    '
                                                                              nc! ics.J   ,scicr n:.s7ce-.s''
                                                                                                            arîgt/ch'
                                                                                                                    z-!!
                                                                                                                       .
                                                                                                                       :
                                                                                                                       rc'
                                                                                                                         bs'e'
                                                                                                                             Aecl' rh/
                                                                                                                                     6.
                                             r'titz cr/zc*'''      z '1ce c'b:er-k       eu -' ?./' --
                                             g.1 -
                                                 ..3.jz
                                                      .l.mx
                                                          .,o
                                                            0e
                                                             J
                                                             #-.
                                                                z:lv..
                                                               ...q.  -.
                                                                       x..:.
                                                                           2 :-,1
                                                                                ,
                                                                                -
                                                                                .
                                                                                -.S6. -./'
                                                                                         .F.-'
                                                                                             ,.?
                                                                                               'hï'.-
                                             ;
                                             .x.
                                               ;:7:
                                                 .  .
                                                    ,tj.;e ' r
                                                             ..,
                                                               -rc
                                                                ,.. p.ï r -&k
                                                                            as.e,  ...
                                                                                     z.
                                                                                      y-c: JkI t
                                                                                               -
                                                                                               z
                                                                                               .
                                             Does t-l6;patiel            -lt'viai    -g'asses Jrc'     Jrdiactsf
                                                                                                               f ;v ':;
                                       Ass'&ssr'
                                               nin.
                                                  fs
                                       1..
                                         obnormalIntpke Screening;referred to mediczalorotider-00.
                                                                                                 zl
                                                                                                  .t
                                                                                                   'Pi
                                                                                                     innaryl
                                       rreat= crtt
                                        ï.Jbnorm alintake Screinëng,referred to m edicarprm idc.   r
                                       Notes:Php icaleyam saheduled forpat'ente cessto medical/dental       /m entalhealth
                                       c-are,grievance process eyp Iained tc pat'entpatientgiœ n tl
                                                                                                  ne h/bdica!Ctientat'on
                                       and Health int rmation Brochure and Dealing v/ith St-ess Brocbure based on tlne
                                       Ianguage spoken bythe patient.Patientïerbaiized understanding ofanyteaching
                                       orinstructon.patientvqas asked i fhe orshe had anyadditiona!qtlestions,and any
                                       questionsvàzere addressed.

                                       Dispositon:Vediœ llyclearedforcustody,foliow up Qsitscheduied
                                       Notes:& alhl iene ilnstrudionsgiven,Patientadksedtoretum tosickca11if
                                      symptoms vt/ orsen priorto ne2 appointm ent,PatientverbaliD d understnding ofalI
                                      instructions


                                      Appointm entProvider:Nelr n Reyel RN


                                      Eledronio lly <gned by NelK n Reyes RN on 03/032020 13:1 :25
                                      (FakernStandard Time)
                                      Sign offkatus:Cofnpleted




                                                                             Krom e e rth SPC
                                                                            18201 S.
                                                                                   W .12m ST.
                                                                              MIAMI,R-33194
                                                                              TeI:305-207-:1:0
                                                                                    Féx:




US 1Cë lPatientName :M DETIC,SEBASTIANIDOB :10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 82 of 276
 US ICE IPatientName :RADETIC,SEBASTIANIDOB ;10/24/19761A:209214459
                                                       .




            PalienlzRADETIG SEBASTIAM D@B::@/24/4976 Progress HotezNelson Reyes, RM                ûAIOZlZBZQ
                            NotegeneratedbyeclinicalWorksFZ/
                                                           /S/PN Soffware(w- eclinicalWorks.com)




5 ICE IPatientName 2RADETIC,SEBASTIANIDOB :10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 83 of 276
 US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450

       AD>
                                                                                                                                                .                 -7


                v& s.jl.
                 k?jai
                    .,
                     .e'y
                        j
                        .j.1
                           .
                           '
                           e,
                            %.
                             ,
                             .
                             l
                             .
                             tL'. -
                              J    j- 3 -k                                                                      R A D E T IC , S E B A S T IA N
                                     .S-z'.l-
                                            n nl.l*n         *
                            .

               q. 4         :J- '                  zr-œrû.t''l
                                                             '.-
                                                              r3!'1                                                                                  k 209214450 SubID:366450823
                (N*' J','
              -..               k
                                Q.
                            ltR.:                  Q.
                    .
                                S.x
                                  kp   .
                                       ap (u
                          r,iz- t4.-- j. r$
                It.
                  :.Ttgt'                 -.
                                           jyq-toy.
                                                  y.
                                                   ).c.y                                                                                         Facilitycode:lG o œ usingY ea:,,,
                        .
              r4
               -b
                 1              -, .. t.     u-   -
                hN'
                  à
                  iem wZJ
                       h.z'..
                            '
                            w. .                       ,                                                                                        43Y o1d Male,rYm :10/24/1976
                yt
                 .s
                  :z
                   :1:r)rt.iy
                       -s.
                    .. ,    ,:
                            .k. uj.
                                  saF1.j(.
                                         ;y.
                                           o.t.
                                              xT7.)6
                                                   :.
                                                    k
                                                    x
                                                    .a j                                                                                         Y countNumY r;1001241657
                                                                                                                                           j8264S.W .12m ST.,MIN;I,X -33194
                                                                                                                                        Y pointmentFacility Krome e rth SPC
      û31û212û2%                                                                                              Appokntm ent Provsden N &!s&n Reyes,RN


                                                     H ëstc ry of Present lllness
                                                     PatientIdentifcation:
                                                          atlentloentlncai
                                                                         don
                                                            rDEtu
                                                            ,   ij
                                                                 ier-lv
                                                                      iDrtlDfv;.ï,/.
                                                                            :.     iewMe'.
                                                                                         aY
                                                                                          .ulGi.s,.
                                                                                                  '-
                                                                                                   'i=
                                                                                                     ;-.
                                                                                                       x,.u'-% :.g'-wzr
                                                                                                                      .zs:
                                                                                                                         c r;a -,-a7-'-'-,<.;.-x.ce'jv.' .I.-.
                                                                                                                                                            D .J=D'.r.'.'--izr-g. k.Za.
                                                                                                                                                            '                         .'
                                                                                                                                                                                       -.-Q;jw.I.'.'L.'
                                                            ;' 'r'1r
                                                             w '. ! p/9!eT.
                                                                    z     .n.6 i
                                                                               ..-a.
                                                                                   .-fS.C'e
                                                                                          ..r
                                                                                            .!z. ,?.klCb
                                                           '
                                                            'Jt lac?*@;arn''57:
                                                                              =  .m. c..
                                                                                       -q
                                                                                        r-, . rnr,c.e  nr.rai-D = fn.
                                                                                                                    -r:'..
                                                                                                                         'nG
                                                                          .-      w.         e        .             &.
                                                            intqrsoratxt'.
                                                                         -.rh.l-i;n-.'.gh-$n$
                                                                                            -$,) ;-'.
                                                                                                    +5-I4:'I'.-f'.=;-;Q''i.=,'3f'.:15I.
                                                                                                                                      -,.=t,'m.;-.r''C.?
                                                                                                                                                       '3;=f'z
                                                                                                                                                             1$..
                                                                                                                                                                :L.l
                                                                                                                                                                   .T.F5<'
                                                                                                                                                                        '-v'li:J7oz-h<Q'
                                                     j-
                                                      .
                                                      l
                                                      x-v.ww
                                                          k
                                                          .
                                                          -
                                                           c'
                                                            -j
                                                             -eeair.
                                                                   j
                                                                   q
                                                                   -..
                                                                     j.
                                                         !-'!.6*.'
                                                                 a-nC.
                                                                     i.Q!f. i.!
                                                                          :i.
                                                           =IIk
                                                              3r
                                                               le :)z
                                                                    1/-
                                                                      lk-l.'.
                                                                           lab
                                                                            ' ru ')g.
                                                                                 .   ww
                                                                                     JrJ;
                                                           ï/t/
                                                              as the patienttransferredT       erom anoth
                                                                                                        ,erfacil'    !i
                                                                                                                      AD. '
                                                                                                                          rr
                                                                                                                           es
                                                           Did a m edicaitransfersum m arvaccom pacvthe oatient? jMs
                                                           W as the m ediœ lsum maryreu'ewed? '           YJ,  S
                                                           Doz %ouhabeacurrentill          nessorhealthproblem s? N        /es
                                                           ke yau talflng anym edicztisns? Fas
                                                           Ae
                                                           /e'  p u cul   -rent.
                                                                               I'
                                                                                y'I'n pal'C? t
                                                                                             hX '-' -u' '
                                                                                                        h>'
                                                                                                          #.-'
                                                                                                             w-.7'.>
                                                           N e auau afraid someone willhurtïou'? hl        o
                                                           Do yau wantto hurtyourself? No
                                                           W ere there anyconnnnuniœ tion barriersT I'           v'o
                                                    Ezc.arninatier
                                                    lnt/l
                                                        .te Screeninc:
                                                        Intake Pre-screening
                                                           l pearance:Normal
                                                           BehaGor:Nonpal
                                                           State ofConsciousness:Alell                                          .x
                                                           Ease ofhAnrement:No noticeable restrict
                                                                                                 ionsorJ/i
                                                                                                         %'cc/l,
                                                                                                               Ws -'-C ,-t.
                                                                                                                          7vu.
                                                                                                                             - - .,rj
                                                                                                                                    p* C
                                                           Breathing:Norm al
                                                           Skin:NO abnorm alitiesnoted

                                                    Disposi
                                                          ton:Pre-screening:PRl-2


                                                   AppointmentProvider:NelK n Reyes RN


                                                    Hectronically kgned by Nelx n Reyes RN on 03/012020 13:36:41
                                                    (G kernStandard Time)
                                                   Sign oH A tus:Com pleted




                                                                                                            Krome le rth SPC
                                                                                                           18201 S.
                                                                                                                  W .12m ST.
                                                                                                             MIAMI,Ft.33194



JS 1CE lPatientName :RADETIC/SEàASTIANlDOB :10/24/19761A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 84 of 276
 US ICE IPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450

                                                                        TeI:305-207-2170
                                                                              F'
                                                                               ax:




            Palient:M DETIG SEBASTIAM D0B::@/24/4976          Progress NotezNelson Reyes,RN 03/02/2929
                           NolegeneratedbyeclinicalWorksFN/R/PM So* re(w- eclinicalWorks.com)




JS 1CE IPatientName :M DETIC,SEBASTIANIDOB :10/24/1976jA:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 85 of 276
 US IçE lPatlentName :RADETIC,SEBASTIAN1DOB :10/24/19761A:20921/450


           lfa'
              onx N orth SPC
                                                                                                                                 N elson R eyes,ltN
           18201 S.W .12+H ST. M IAM I,FL 33194
           Tel:305-207-2170 Fax:
          W tidl#:                         RADSW C , SCZM TIAIV                                                                         03/24/2020
          DO B :                           10/24/1976, Sex:M ale
          Address:                         18201 S W .12'
                                                       . FH ST.,èv
                                                                 /
                                                                 ll/xM 1, FL 33194
          Phone:
          O M el'
                ed D ate:08/26/2019
           '
               SeSSn*!aàtS.
          *
           '
               a.
                j
                ao
                .g
      '
      r?'
        xt-1-i1 *
      x. n.
          .ow.  .

      ...
        -t.-w w.lx:Aw 1.3+
      x.....z,
             .l,s.s.u.'
                      O-k,. .t-si.>kJ.
      '
      $.'l
         '....-..-
      $NtStllr
                                             a z.'
     .t
      -
      ?
      x.c-sulL
             *.-                         1-
                                          7e-
                                            c
                                            swt  s'c
                                                   =.  -. . .
                                                    ; I,
                                                                   .
                                                        tbstinvo. ,-e..
                                                                       '
                                                                      a-rz
                                                                         ,''Jr
     .
     Q'ec6r
     =      1F,ed
     D ate'                              k
                                         ,
                                         7lq
                                           Qol
                                             1=
                                              7t
                                               ,:
                                                7
                                                '
                                                /z
                                                 '3e(?
                                                     kl
                                                      1I
                                                       >
                                                       h
     N otes.
                                                    Do
                                                    a,-=
                                                       -lC:
                                                       $  --
                                                           '+
                                                           zt(
                                                             j.
                                                              1.:
                                                                -r
                                                                 ;-
                                                                  nc,
                                                                 x-.n
                                                                    ..s
                                                                      ..
                                                                       .4
                                                                        .7
                                                                         J..
                                                                           't
                                                                            ''
                                                                             h
                                                                             iw-(.xw
                                                                           u-z   ktt
                                                                                   'm,<
                                                                                      w'
                                                                                       =-
                                                                                        =
                                                                                        .,-
                                                                                          t
                                                                                          x'
                                                                                           2.rso
                                                                                           .  z
                                                                                              '
                                                                                              .C'r
                                                                                                 J'
                                                                                                  r
                                                                                                  .'
                                                                                                   r/
                                                                                                   xr'7-j', '
                                                                                                     xl     -5=''G'-b'* 'm'
                                                                                                                          >*''
                                                                                 .
                                                                                                           1:
                                                                                                           .7.1tJ/.
                                                                                                                  J.4/1=
                                                                                                                       .7 /O




ICE IPatientName :RADETIC/SEBASTIAN$DOB :10/24/1976jA:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 86 of 276
 US IGE lPatlentName JPVADETTC/SEBASTIANlDOB :10/24/19761A:209214450

      Docua ntN al'
                  rr:2020.03.02,GeneralM edkalCorsentfonn ,Scatmed Date:03/09/2020

      N otes:




US ICE fPatlentName :RADETIC/SEBASTIANfDOB :10/24/19764A:209214450
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 87 of 276
  US !CE IPatientName TM DETIC,SEBASTIANIDOB :10/24/19761A:209214450
         $   es
                                                                  .   FesçtForm            Emaflyt
                                                                                                 lrrfl            FirintFo/m
                     g.1!
                     ,. 7Qi
                          hj U .s..1m m igration
                          :
                     h
                     !
                     j
                     *
                     ( /andcustoms
                      ..
                     '.
                      )
                      :a.
                        z
                        r7. g
                            jinj()rce.
                                     merlt                                 M ED ICA L CO NSENT FO RM
                     ICE,J-lealth SenriceCorps
                                                                                                                                                     .


                     Pati
                        eotpropor/pidentifiedby(check2sources):               erball
                                                                                 y C)Dateof8idh                     ' tst8and C)ID Badge D Pi
                                                                                                                                            cture
                                                                        (q)Other;
                   Chaperone Present?         o C)Yes lf , name:                                                                                         .
                   Whafl anguagedoyouspeak?           nglish (7)Spanish C()Other              .

                  lnterpreterProvîded? I  ZIYes lfyes,nameor#:                                         L
                      (JNo,proh rf
                                 derfluentinpatientsnativelanguage (! otAp                              anguape:
                     (Z)No lnterprefeàavaflableduri
                                                  ngvi
                                                     s it            C))No intppr
                                                                             erliceab
                                                                                   lel
                                                                                     eu.tp
                                                                                     r   i
                                                                                         lat
                                                                                          i
                                                                                          zientspeaksEnglish
                                                                                           ed
                    ((J NoInterpreterutilt
                                         zed,                                                   îxplain:    .

                 f                                 UrgentorEmergentcara ixplai
                                                                             n:
                                                                                                                                     .
                                                                                                                                                                 i


                                                     ''e
           'gzb
             1  -
                . coosenlf(),1,,.
                                t1'.
                                   ,,j,..1@;(1. - >. .ze
                                         .1
                                                       s- ,...
                                                             7-.,-
                                                                 ../
                                                                   :-.
                                                                     --,-.
                                                                         t-*
                                                                           v'u- ,
           yetermtne rnr',
                         Fmh' chll
                                 c f
                                   's  c'ur
                                          renthêlalth statusl othcrrnedioalevsiuaitions
                                                                                                         .tc'reciiv' a rr'ûci.,
                                                                                                                     ,        calscgeej',idtç'i ?1
                                                                                                                                                 .,:1metji  ca!ezarnlnatlnn
                            ,
                                                                                              ,( J
                                                                                                 iakfd
                                                                                                     osi i
                                                                                                         c  proce6ur  es    rou t
                                                                                                                                lne car e an  d  m  edi cal and.dentaftreatlm
           i
           ncfecfing anyimmtlnizations.whichthe medicasand professionalstalffofthe clini                                  I
                                                                                                      c'maycleem necessarv, aclvisable orapproprite
                                                                                                                                                                   .
                                                              '
          1also gfve consenlforme/nnvchild,            r     U,   .'   ;
                                                                         0
                                                                                  *
                                                                               w- #
                                                                         .         '-.                       ,(.'
                                                                                                               'lt-nenùa!health care screening and l          -r
         thatthemedicalar7tjprofessionalstaffofthecli            nicmeycleem necessary, advisable orapp          rcpriatc  -. Faryour
                                                                                                                                   .   chi  l
                                                                                                                                            d   thi s may   inc
                                                                                                                                                               jenta!healihci
         licnitecftokveel
                        tlvwell -childvisitsformentalhealthcarepurposesforthedtlrati               onofpourchild'sr:s.idlDnce althisfacilit.y ,                Iuc'esbuiis no
                                                                                                                                                      ,
                                                                                                                                                               j
         lauthorize disclosure ofm y/m ychild's m edicalrecorcls to a hospital                                                                    .
                                                                                        , i
                                                                                          f hos'
                                                                                               pifal
                                                                                                   ization is o'
                                                                                                               eer  ned   necessar  y                          ) iate bythe
         medicalorprofessionalstaffofthe clinic. lauthorfze disclosure ofmy                                                          . advi  sable orappr     dpr
                                                                                         /my child,smedicalrecords to a physical        and/    or  ment  '
                                                                                                                                                         al '1
                                                                                                                                                             7 !t
                                                                                                                                                              4a1 h careprovl
         who isnoian empioyec oftheclinic, ifthe medicalancjpccp               fessionalstaffofthe clkoic dee
         orappropriate.lauthorj
                              zethêdfsclosureofmy/cnychil
                                                        d'
                                                         snnedicalinformatiofnlofederalanc
                                                                                        m lcst
                                                                                            areeby
                                                                                              at   suchng
                                                                                                 repodiapagenci
                                                                                                          rovidertofobenecelsary,advisabli
                                                                                                                es
         suoze    ill
                    anceandcontrol.                                                                                                                rpurpol
                                                                                                                                                         esofJis:ase
                                                                                                                                                         1   ,

         This form has beenful ly explaiced to meI and lunderstand Jts contents
        regardicg tha rasults oftreptmentsorexaminaticnsdone in theclinicor.ou  lfurtherunderstant thatoo guarantees have been nhacselo rne
                                                                                 ltside thê clinic by healtthcare profeîsi
        referred,                                                                                                        onaisio whom I/mychjl
                                                                                                                                             d may
                                                                                                                               .
                                                                                                                                      i
                                                                                                          '                           l
                                                           N                                                                                                 j
                                                                                                                                                             %

                                                   zeP '       Signature ofPatient. ParentorGuardian
                                                                                                                3
                                                                                                                      Da'e

                                                                                                                           '

                                                            Pri
                                                              ntandSi            eofWitness                           Dae                +. w                q
                                                                                                                                                             '
                                                                                                                                    &      . s? J,  &        '
                                                                                                                                            z;,
                                                                                                                                              ,..û::;.1
                                                                                                                                                   ,. yg
                                                                                                                                                        )p?+
                                                                                                                                                    .   j.
                                                                                                                                                        ,
                                                                                                                                                          t.
                                                                                                                                                          ,.
                                                                                                                                                           %


       LastName:                                                                         Fi                                                                  !
                      l       t                                                             rsS
                                                                                              tName:
       A#:                                                                                      e-ox g-lnw m
                     o        o Sut                 o                                    Counêc
                                                                                             tofo
                                                                                                Ci
                                                                                                 w.
                                                                                                 t
                                                                                                 izew
                                                                                                    nshi
                                                                                                       p.
                                                                                                        :
      DateofArn
              ri
               vj:
                 e.xt         ..                                                         DOB:
      Fazilitv:                                                                         S jo
      YBOME                                                                              ex:
                                                                                        Male                                                                         v
     IHSC Form 793(1Olj9)                                                                                                                                '



US 1CE IPatientName :PADETIC,SEBASTIANlDOB :10/24/19761A:209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 88 of 276
 US 1CEIPatientName :RADETIC,SEBASTIANIDOB :10/24/19761A:209214450

       Docua ntN allr:2020.03.02,TrmasferStnmnnary, Scal
                                                       m ed Date:03/09/2020
      N otes:




S ICE IPatientName :M DETIC/SEBASTIANIDOB :10/24/1976lA:209214450
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 89 of 276
  US 1CE lPatièntNal'
                    me :RADETIC,SEBASTIANIDOB :10/24/19761A:?09214450
                                                                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                                                                                                                                     I

          U.S.DepartmentofJustice                                                                                                                                                               pre
                                                                                                                                                                                                  jsoner*
                                                                                                                                                                                                        1n Transit edicalSUm                                                                                                                              a
           United StatesM arshalsService
          . '
          -:.  ;.'1
            1!k'  .......:.'I1.F,
                  g             !
                                :
                                i
                                -
                                !
                                .j... )1...a.-....x!
                                    -..               l.tk..?.'
                                                  . ..J
                                                      .
                                                               ' ...f
                                                              . . .. zrj
                                                                     :  t
                                                                        sf
                                                                       fl;
                                                                         qF, .:. .....'i
                                                                                       .'-' ;; ,.2 . .. .: ..
                                                                                                         . . .. .                                        -,                  .'
                                                                                                                                                                    . .. . . . .. -..,
                                                                                                                                                                                     .;?                .
                                                                                                                                                                                                        ,:..
                                                                                                                                                                                                           ..- :' ;
                                                                                                                                                                                                             ...  :-.j.
                                                                                                                                                                                                                  @   .u
                                                                                                                                                                                                                       ,iElpvrl.
                                                                                                                                                                                                                               w.i
                                                                                                                                                                                                                                 n<m.qrpeozre/r.z..,'.1.: ,;;'.,..'i:.,...x....,...c.'x:j:..j.
                                                                                                                                                                                                                                      .            ..                         .
                                                                                                                                                                                                                                                                                    .                          . -
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                  .. ... .
                                                                                                                                                                                                                                                                                                                                                          .r
                                                                                                                                                                                                                                                                                                                                                            v
                                                                                                                                                                                                                                                                                                                                                           ..

          Name(Las'
                  t,First,MI):RADETIC,SEBASTIAN ,                                                                                                                                                                          uberculosisSkinTest'T5T PPD:
                                   Age:43 yearoId Gender'
                                                        .M        DO8: 10-24-1976                                                                                                                                      Date Pfaced:                                               Date Read:                                      Slze în m :
                                USM S # AlienNumber,    Depadure Date: 03-02-2020                                                                                                                                                                                                                                                 0                                7
                                        AXXXXXXXX
                         Departed Frora:M CDC                                                                                                                                                                              uberculosis Bl
                                                                                                                                                                                                                                        ood Test iGRA ifaoplicable :
                            DesignatedTo:A-rW                                                                                                                                                                          N/A                                                                    Date:
         Mode ofTransport:          Ground Ground Ground Ground Ground Ground
         Ground Ground
        :'
         :
         5bCU
            .    .!.     .. .lt= s   tk,
                                       h.p
                                         .
                                         s
                                         i.ti.-1,.,;r
                                                    ':;)'
                                                        ,...,
                                                            'i.r'/:;..:' .
                                                                      ... .Jï.'r..$
                                                                                  (
                                                                                  l-'
                                                                                    .
                                                                                    ,'-.(j
                                                                                         .  ''. - ' f:
                                                                                           .L
                                                                                         ... ; ... i. .-.:.;:: ..'..
                                                                                                                   ;:...
                                                                                                                       ,;''       '
                                                                                                                           ;.;.,' ....
                                                                                                                        ,. .                                                                                           Cines'tx-ra done within nas'
                                                                                                                                                                                                                                                  t ear ifindicated                                                                                               .
         NonE                                                                                                                                                                                                          Dats:08-26-2019        Resuits:Ne/ative                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                  .
         FEMALEPRISONERS:ispri   sonerpregnact?                                                                                                                                                                        Priscneriscleared f/rtransfer:                                                                                                             .
                              Sfvez,how many wceks?                                                                                                                                                                    YF'-C
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                       ,'-.
                                                                                                                                                                                                                       .   :i!(
                                                                                                                                                                                                                              ;.k
                                                                                                                                                                                                                                ëLk'
                                                                                                                                                                                                                                   ï:r
                                                                                                                                                                                                                                   - :L.!
                                                                                                                                                                                                                                        it
                                                                                                                                                                                                                                         ..''.
                                                                                                                                                                                                                                             2.
                                                                                                                                                                                                                                             t:..
                                                                                                                                                                                                                                                :!F
                                                                                                                                                                                                                                                  iig..
                                                                                                                                                                                                                                                      ,-
                                                                                                                                                                                                                                                       ',
                                                                                                                                                                                                                                                        .'.
                                                                                                                                                                                                                                                          -'I
                                                                                                                                                                                                                                                            pF;.'
                                                                                                                                                                                                                                                                !'
                                                                                                                                                                                                                                                                 -.I!
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 ;       .,
                                                                                                                                                                                                                                                                    ..lëpl
                                                                                                                                                                                                                                                                    q    r.t
                                                                                                                                                                                                                                                                           .-
                                                                                                                                                                                                                                                                            .-
                                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                              .-
                                                                                                                                                                                                                                                                               l'
                                                                                                                                                                                                                                                                               .-.
                                                                                                                                                                                                                                                                                 t'
                                                                                                                                                                                                                                                                                 r-'
                                                                                                                                                                                                                                                                                   .' -
                                                                                                                                                                                                                                                                                      q'-
                                                                                                                                                                                                                                                                                        .1r'I.
                                                                                                                                                                                                                                                                                             :?
                                                                                                                                                                                                                                                                                              :;t
                                                                                                                                                                                                                                                                                                r.-
                                                                                                                                                                                                                                                                                                  'r
                                                                                                                                                                                                                                                                                                   .'
                                                                                                                                                                                                                                                                                                    r;;r  .t-..ir' ''''''.'
                                                                                                                                                                                                                                                                                                       ::''                   ..
                                                                                                                                                                                                                                                                                                                                   ' '' .' . t...''-,
                                                                                                                                                                                                                                                                                                                                                    !:''7:.
                                                                                                                                                                                                                                                                                                                                                          '' ....'ï
                                                                                                                                                                                                                                                                                                                                                                  ,'
                                                                                                                                                                                                                   P'
                                                                                                                                                                                                                    rlsonerhasa hlstcrh?cf:
                                                                                                                                                                                                                   N:)Hictclry c.fDlseats:c'r-(-raî:
                                                                                                                                                                                                                   2:-i:r'scnsr1 ..asa'?trrucrc crtraqtLnr tr2- . Fv
                                                                                                                                                                                                                                                                   rer7r::-'rî-yn'r
                                                                                                                                                                                                                   hmr.rrt.fx7'FFlcklcCa!!Prrtrcrl    .atnd CleerFor:m l
        s..
          tw
           ...y.r
                x#f*e*
                     -
                     *'= '
                         'k
                          q
                          .r<.l-
                               .-
                                wt
                                 4eoew gw v            .                                                  . . 4             wfr)::,
                                                                                                                               .                  . .. .           ..                      ,- .
                                                                                                                                                                                                .
                                                                                                                                                                                                               .   beencnmnieTed?                                                                                                                4
        DUST,PCN                                                                                                                                                                                                   .
                                                                                                                                                                                                                   '   N/A                                               Attachclearanceto                                                       i
                                                                                                                                                                                                                                                                        transfersummanr                                                          1
                                                                                                                                                                                                                                                                                                                                                 l
          ....y...s :...z.A. ;t.
                            =.         :r
                                       . œe:
                                                                                  .r                             :              '!..rt..   J'. .j-.  ;.
                                                                                                                                                      ... ë.z:,.
                                                                                                                                                               .-'.:
                                                                                                                                                                   .t.E.;.'..6:: ..
                                                                                                                                                                                  : . rxo   , . q. - ..'....''
                                                                                                                                                                                                             -v    u !                                                        0 . '; . . :v,f('j.:..y.$i...:
                                           yy.-:f,:.(:.:.;,;?..;r..t-..#.;.t(7..?::;;.?',::..t.Pr.t!...R0B                   ,t.  ' r'
                                                                                                                                     .  '
                                                                                                                                        .'' t?    ..
                                                                                                                                                   ..,:. .:. :........:                         r.:D
                                                                                                                                                                                         .

       .?
        .L  -%i.;  :
                   .q
                    ,
                    j
                    ,.Jj,.
                         : r
                           ;
                           :
                           ?j
                            .,
                             j
                             ;
                             :.
                              !:
                               g
                               j
                               ;(
                                .
                                j-
                                 t
                                 :
                                 .
                                 :,
                                  .r,
                                   j.
                                    ,
                                    :
                                    j.
                                     ;
                                     L
                                     .j.
                                       --
                                        .r
                                         .
                                         ::.
                                           s                                                           -
                                                                                                       j.
                                                                                                        !
                                                                                                        )
                                                                                                        ..,
                                                                                                          )s.
                                                                                                           .:
                                                                                                            ,
                                                                                                            .y
                                                                                                             ..
                                                                                                              ;i
                                                                                                               j.
                                                                                                                j:
                                                                                                                 (
                                                                                                                 :j
                                                                                                                  ..
                                                                                                                   h
                                                                                                                   .;
                                                                                                                    f.,
                                                                                                                      .
                                                                                                                      :;
                                                                                                                       y'
                                                                                                                        .
                                                                                                                        .:...
                                                                                                                            ..?j
                                                                                                                               .r;.j ,
                                                                                                                                     .. '
                                                                                                                                        . )
                                                                                                                                          .
                                                                                                                                          t:
                                                                                                                                           y  ..
                                                                                                                                               #:.,
                                                                                                                                                  ;  . .
                                                                                                                                                       J:.  ;.          .
                                                                                                                                                                            -r
                                                                                                                                                                             y....,..:
                                                                                                                                                                                     ,,
                                                                                                                                                                                     r:
                                                                                                                                                                                     ..... .
                                                                                                                                                                                           :. :
                                                                                                                                                                                              '
                                                                                                                                                                                              .:
                                                                                                                                                                                               -,    . .. . .
                                                                                                                                                                                                   ..,
                                                                                                                                                                                                     .i.t,.'-.:;:.g.',;,3'...i....d,7.);.!.,.....3...z.k.....>..;-t.kkkgL.?.:.;.-..:!....r-),?(i.:':!!q...;.r,:
                                                                                                                                                                                                                .,
                                                                                                                                                                                                                 :                                                                                                       '',b3y
                                                                                                                                                                                                                                                                                                              ..t.'.'...,.    :!!.
                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                 /.
                                                                                                                                                                                                                                                                                                                                  k(
                                                                                                                                                                                                                                                                                                                                   jj
                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    r,
                                                                                                                                                                                                                                                                                                                                     ..zJ..-v
                                                                                                                                                                                                                                                                                                                                     )        ,,
                                                                                                                                                                                                                                                                                                                                               .
         .'
          .'t'. :;
                $'
                 :.
                  ...'. '
                        .
                        ).
                         ,!.
                           i
                           .:-
                          .p .
                             !
                             ,?
                              ,
                              .
                              :4.2
                               .
                               - .
                                 .
                                 -
                                 (.
                                  .q.
                                    ;'   .
                                     :..;.
                                         . ;..                                                           :u
                                                                                                          u:        >..   .. ..      ..
                                                                                                                                .... .
                                                                                                                                        . :
                                                                                                                                      .... . .;..:.,.:.  ..
                                                                                                                                                         .
                                                                                                                                                           tth, at
                                                                                                                                                                 .r.le.ea  ,.xxe,arvu lexxl. .. .' k), ..2x        o.
                                                                                                                                                                                                                   . aK+.     . .      >---- .,. . .e-œ.                                                .      ..
                                                                                                                                                                                                                                                                                                                w
                                                                                                                                                                                                                                                                                                                ..w,. ee...,. .,k=..c.yj    ...
        780.96 GENERALI
                      ZED PAIN                                                                                                      M edication OR Dosage OR Diredions       Requested Star't Requested End
                                                                                                                                            At-
                                                                                                                                              tending Provr
                                                                                                                                                          deloxlcanq7.5m gTab,7.SM G,TAKE O&.
                                                                                                                                   ORALLYASDIREC-FEDBYMD D2-21-2020 04-22-2020EYABLE                    Ra1(
                                                                                                                                                                                                           uS$
                                                                                                                                                                                                             )
                                                                                                                                   Canerl, M DTOTAL. S f1)                                                 l
       p x ... . ...... . ,.                                             - ''
       yt
       .!.s.
         J. .....J..,         ...    .#
                                                                                         .                                                      .                          - ''  ''
                                                                                                                                                                                         .
                                                                                                                                                                                     . '. J-
                                                                                                                                                                                                  . ..
                                                                                                                                                                                                 .. ' .
                                                                                                                                                                                                         yt . .
                                                                                                                                                                                                                                                                                                                                               fj,. .

       jjjjjk,
             ..          . ::                                  , ..                     .                         . ,,T
                                                                                              ;:.,...#. , ;:....; .... .
                                                                                                                       ..
                                                                                                                        ...C;t              r,r
                                                                                                                                              ...:.....J
                                                                                                                                                       ;?'....
                                                                                                                                                             t;..àf..(4.....s':. .;..'.:::
                                                                                                                                                                             .)          ..;.i..:..'
                                                                                                                                                                                                   .. .;
                                                                                                                                                                                                       >fd .
                                                                                                                                                                                                     .. .: ef;1k..
                                                                                                                                                                                                                 . .q
                                                                                                                                                                                                                    2k...,j;.:,;:.
                                                                                                                                                                                                                                 ;.;;...j
                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                         :,,gL......:);$.Jyy..r
                                                                                                                                                                                                                                                              -.,ï&,);t.,,,;:z....y,.j,.........j.;j, tj: . ...,.....,..,..;.? .:
                                                                                                                                                                                                                                                                                                                                .,,j ,
                                                                                                                                                                                                                                                                                                                                     s.à.
                                                                                                                                                                                                                                                                                                                                        ùj..(!..J.,.
                                                                                                                                                                                                                                                                                         ,g                                ..                      ,..
                                                                                                                                                                                                                                                                                                                                                     ,.
                                                                                                                                                                                                                                                                                                                                                      :.;.
                                                                                                                                                                                                    ..
                                                                                                                                                                                                    ,                                                                                               ...                     ..j

                                                                                                       THI.
                                                                                                          SPRISONER 5 M EDICALLF CLEARED FOR TRAVEL.
       Rarne (printl:JeremySades
                Signature'
                         .Jerem yEades                                                                                                                            Date: 03-01-2020                                                      Phone Ntlm ber:


                                                                                                                                                                                                                                                                                                                                             i




                                                                                                                                                                                                                                                                           N.'em x, .
                                                                                                                                                                                                                                                                          G.        qN

                                                                                                                                                                                                                                                                                     % J Jo
                                                                                                                                                                                                                                                                                                          Mv




                                                                                                                                                            Page1of2                                                                                                                                       Formushd-jlsBRev.o2/1s
                                                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                                                       i
;1CE(PatlentName:'MDETICSEBASTIANIDOB :10/24/19761A:209214450            ,                                '
                                                                                                                                                                                                                                                                                                                                      1
                                                                                    .                                                                                                                      .
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 90 of 276
   US 1CE IPatientName :RADETIC/SEBASTIANIDOB :10/24/19761A:209214450


         DoctmrntN allr:PE Adult2020 3-4 11:
                                    -
                                           48224,Scanned Date:03/04/2020
        N otes:EM R Fon'n
                   .




qICE IPatientName :RADETIC,SEBASTIAN)DOB :10/24/1QvGlA'Dncl'
                                                           D3:
                                                             43C'
                                                                n
        Case 1:20-cv-23783-MGC Document 1-..
                                           ,Entered    on
                                            .,v-'wta.itJ  FLSD
                                                       /z%j1:76IDocket 09/11/2020 Page 91 of 276
                                                                A;209214450

                   PatientNam e:RADETIC
                                                              ISEBASTIAN DOB:10/24/1976
                                                                                                                         EncounterDt:03/04/2020 2)01214
                               PatsentIdentification                                                            PhysicalExam :Adult                    4j0 SublD366450823 Ra1
                                *patientproperl  y identiti
                                r-verball   y rGDat       ed bg2 sourcesincluding:
                                                     e ofBidh Izt& ristBand
                               i'
                                C haperone Present?                            @ID Badge l'-picture f-other
                                c Yes (.   rNo
                              '
                              kkvhatI    anguage do
                              J-                     youspeak?
                                 ...- .-     rspaxsla v sngjsl
                             Bengaj s a                          n f-vaodarjn csnese
                                              urmese f   -grencs s'se                      j-punjabi I-portuguese I-A
                            lavanes sxanjobal f-.         x             rman ssujaratf f-Haiti    anCreole f-Hindi rb li
                                                                                                                        màaric I-Arabi c f-
                            polish c aussfan r-s            aonacj
                                                                 a    s !
                                                                        <,j
                                                                          cjl
                                                                            e , m sorsmy rMalavalam .r Mam
                                                                                          ,
                                                                                                             ' r-.M        an rQ apanese 1  -
                            *lnterpretationprovideq?omaj r-yam il s zesgU S--l-
                                                                                                                                                                                                  '
                                                                                                                                         .
                                                                                       haf I  --rurkish r-uk          arathi rori ya r/er  sian T
                            C . . .. . . cYeé j                                                             rainian r-urdu l N ietqam'ese Crther
                                                  nterpreterNa
                                                               me    cYes   I
                                                                            nter
                                                                               preterNu
                         ISnpeaks
                              itialAsSn   glishfl
                                        sassmentuently c No'fnterpreteralajl ableduringmber
                                                                                        vfsjt cProviderfluentin patient'snative.language s.paje
                         'Plnt  ake Screenjng                                                  CNointerpretertltiized               ..        .. nt
                                                 was reviewed?
                          f'
                           ;-Yes c No
                         pain
                            'A re youcurrentl            yi
                                                             npain?
                             (
                             '
                             ;-Yes cNo
                          '--rhe painis l           ocated
                           Iowerbackpainwith b
                                                                     ending '- . ''-1 zf-
                                                                                                   > t,. ,'- -. ...:
                                                                                                             '
                          Tl  ne severityofpain is rated at                                                                          ''
                                                                                                                                      z - j7 z-q 1.--
                          c0/10 r'1/10 r-2/1O
                                                                          (t-3/10                   c5/10
                        t-i-he severitgofthe pain is
                        '                                                                                                                                         c 9/10 c 10/10
                         cim proving rzmil                 d r
                                                                     -mild to moderate c minimal c moderat
                      severe cworsening                                                                                                    e cmoderate to cever
                      'The painbegan                                                                                                                                                    *DC Signifcantclqange
                      C.I-2 days ago r-z-a yays ago ra
                     ago cg-g weeksago c j.: m ontjs.ago                                     u (jaysago c'              4.-s yays agc t-y
                                                                                                    cg-                                               . r wsoks ago              r-z-a wzoksago
                    aga r-z-g yoars ago c a.ujyaars ago                                                    a monas ago r.a.g mos                          tjs   ago      rz 4                               (- ,,
                                                                                                                                                                                                                9.4.weaks
                    *-Flne characte                                                              (
                                                                                                 -4.5 ysars ago                                                               -
                                                                                                                                                                                smoujjago c j.z jysars
                    .
                                                 rof  th s  paj    n
                    1 I@ aGl11t1C1 I-;s constan/ r--iq:cl
                   l..-;4- f'  .I                                                     rnnfairavt                     f''ev1e..-I.  --* 1
                                                                                                     pl-k'igressi    1t    J UiU k.etllta l
                                                                                                                          ve               '-'
                                                                                                                                             œl
                                                                                                                                              '.1 j
                  )'=. fm. ew.-- a x', ' !
                          =   oooof
                                                                         ;o s i zidolotm
                                                                                           llk  l lS                                '             .r
                                                                                                                                                   !-J
                                                                                                                                                     .,x
                                                                                                                                                       .c
                                                                                                                                                        .aItj(l,
                                                                                                                                                               n.lx )v'éi
                                                                                                                                                                        .s i
                                                                                                                                                                           ,rlf1rtl(:L:tlr)#
                                                                                                                                                                                           q jr-: s(rltgyrpnA(tt:or,1
                     alI
                   r--d?PJ'':I'-
                                                  *
                                       wtr-lii.iltiF2''rr$f7f'-N'-'q=
                                                           . '       ..' ar S                                                         i
                                                                                                                                      s snar o      f-is shiftinf     g   r -i  s  slafll
                                                                                                                                                                                        ' l
                                                                                                                                                                                          en  ir
                                                                                                                                                                                               n
                                                                                                                                                                                                1
                                                                                                                                                                                                 '
                                                                                                                                                                                                 anc  !a? . .. .
                                ..er;.'ha.!.  - .r
                                                 c :.
                                                    ..   r-
                                                         , .c,... ,.l        .  . ..
                                             ,- .                ,x,q-j.s..  .
                                                                            ,,
                                                                             .?..,j,.,.
                 bi
                 '
                    .z-  yness l        - fssj
                                                                                                     -,..a,.'l?'''?'S0S'
                                                                                                                              '
                                                                                                                           ' '.
                '-'9: à$'
                      '   JaCDa F'-incraa           s h c,:    J-    f
                                                                     o  v a j
                                                                            -     mr  /sy,r
                                                                                          j?,aj-ayjj
                                                                                                   .
                                                                                                   ej                         lt .
                                                                                                                                 Jmtl
                                                                                                                        -''-v-1'.9--
                                                                                                                        '
                                                                                                                                    nf.ss I  - ccLl    gh i     -cjjaol
                                                                                                                                                                       ' no, -osës cdjsch        ''aa e
                                                        s au    ,A a;   i
                                                                        - g,o   , $
                                                                                  y j
                                                                                    ..)    -i(
                                                                                             -         ..-                        v.z72:? ,'-x,g'.'a,-r',- ..:s. r '
                nmlpitations j              m-paresqhesfas r- I                     aoo pjo  o hio    ?    i
                                                                                                           tcr  ly    ey    es      i-leg swe/   jng f-jgjjth      N
                                                                                                                                                                   j
                                                                                                                                                                   . .jo
                ofbreath csoftvofce s sorsi                                                                                                                              eadedness rnatsea c
               csange svomijng j                           -vwately evlofmjbiE;r-'
                                                                                 Ptalentnasaldischarge j
                                                                                                       -radjatjngpains
                                                                             tje'-2' ' 'par'D9 Ctenderto touch I-ti                                                                      redness ssjortness
               my tongue pnone f                         -otlaer - S f'-.Wah                   jerynasaldischarge s                              ngjng s unexpl              ained w       ejgu gain svopce
               -The pain fs aggra                                                                                                        weakness s wejgl                ntgaio s
                                                    vap ed by                                                                                                                             whe  ezng swste on
               C-alcohol f-anxi                   ety f-
              dimbing one Cightof anyphysicaladivity I-bendi                                                 ng rbi               oating f-bcwelm
                                                       stairs r-cl          imbing two Cightofstai            rs f-constf                                       ovements f-changes in weather
              exercise f-exedi                    on I-f
             beverages f-jumping I                          -oo lif dti r-glare f-gripping I-having bowel                              pation rdrinkingIiquids f-d
                                                                                                                                         move                                             riving I  -eating
             oncoming headlights r-ph ng f-light rlying down r-menses rmigr                                                                      m ents f-headache j
                                                                                                                                                   aines rnois
                                                                                                                                                                                        -h
                                                                                                                                                                                            eat    I- hot
             I-readi         ng f-rubbing e ysicalactivity l                                 -prem
                                                                                                     en  st r
                                                                                                            ua      l per       iod   j-pr olo                            y   en  v iron  men  t   I-n  one
            deprevation l               -spi ye r-runn'ing r-seasonalal                                   l:rgi      es          rsi tto sta    nged sitting f-prone p
                                                                                                                                                                                        oyition l   -reaching
                                                  cyfoods rsquating I                       -                                                nding mqvements J-sittj
            swalowing r-twisting r vdiding rwalkingstan                                           -ding r-stress r-sunexposure f-sunlight f- ng l-sleep
                                                                                                  E
            Describe:                                                                              walking onflatsurface f                     -walkipg uphil           ! lother      supjnépoàition




IS ICE IPatientNam e :RADETIC
                                                   , SEBASTTANIDOB :10/24/19
                                                                            761A:209214450
       Case 1:20-cv-23783-MGC   euDocument
                           .,-.,-                 1ANEntered
                                  .$iU.,CJC:O/àI;TI   IDOB :10on FLSD
                                                              /24/19761Docket
                                                                       A      09/11/2020 Page 92 of 276
                                                                        :209214450

                                bendjng
                               *The pain jsreje
                                                  ved by
                               I
                               -A dvair J  -nouterol r-arjficjajtear
                              codeine j-combf                           s satrovent s aextr
                                                     vent scoolafr sz
                             fresh afr I -heat sa
                                                       otcompr  ess fa    oolcompress sz a s ajokjng p yowejmovsmynt'scsj             sy
                            includfng suobf                                               arkened rooo c qt   y aîr ss n ssj   ovsu yrf  sx s.
                                                   c   sm o j
                                                            s taf
                                                                r s k
                                                                    'o  ce
                                                                        r    symproyj
                                                                                    x    skoepj                     y
                                                                                    aujzer c non                                         oov , m
                             o'oTC m edjcajon r-                         psne s xel            nge ayrs
                                                                                                      -syej
                                                                                                       on os
                                                                                                           po
                                                                                                            fjj
                                                                                                              ow yscoD9 COWO f-'medicatfon
                           stretching ssupino pajnrejefvx syrsscrjptfon sprone p                                                         jm '
                                                      posijon j-two pëjjo                     osition cyest csftt; yo m oso s o so s
                           MedicalHfsto
                                          ry                             w   sy yj
                                                                                 enoj  svjoa   s
                                                                                                  vojdyog swater r                p-,jsm yx rof
                                                                                                                    s)gozy-yyoyj y-           s:n
                           zoo XOu jjaveAsthma?                                                                           er
                           f-Admfts (roenies
                          *Do youhave Ca
                                              ncer?
                          cAdmits' G'Denies
                         *Doyouhave Cardi
                                                  ovasculardisease?
                         cAdmits mDenies
                        *Do you have Hype
                                                rtension?
                        cAdmits rzDenies
                       *Do youhave Hyperlipidemia?
                       rAdmits G'Denies
                     ''Do youhave Diab
                                              etes?
                      :-Admits t'     .
                                      -Denies
                    'Have youhad a st
                                             roke?
                     c'Admits rzDenies
                     Do you have seiz
                                           ure disorder?
                    r-Admits rrDenies
                   =Doyot?have hepatiti
                                              s?
                   cAdmits rzDenies
                  *Dc you havm H?../7
                  cAclmits rrDenies
                 *Do you now r       arh
                                        ave yf:! aeverhadTB?
                 f-Admits r        7Denies
               ''Do youorhaveyo
                                         uhad anySTDST
                r-Admits C        .-Deniss                  .


               J''!JMj'+ '
                         Js
                          df3i1lnt/JDfI'Ao/x 1 inIOQZLNM O
                                                             *.u%;
               z--Vms .q.h.I
                           fn ,
                              0llr5s'lr>




             f-Yes
             plenta1l'Iea;th History
             Have youaverhad
                                a headirju?yoi  'l
                                                 neadsur
             rAdmits c Denies                            gefy thataffected youractivities ofdail
                                                                                               yliving?
            Have you suffered f
                               rom memorylossthat
            rAdmits c Denies                          affectsyouractivities ofdail
                                                                                 yIiving?
            W hatdid youeatfo
                              ryou fastmeal?
            b
            -Don' tknow t' -Don' tremember r Oth
           Tellme whyyoua                            er
                            re in this building?

          Detainee response indicatesawarene
           (
           TYes cNo                          ssoflC E detentionenvironment,
          Have youeverrecei
                           ved counseling form
          cAdmits G'Denies                    entalhealthproblems?



5ICE IPatientName ;RADETIC
                                         ,SEBASTIANIDOB :10/24/19
                                                                 761A:209214450
         Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 93 of 276
   US ICEVIPatiehtName ;RADETIC,SEBASTIAN 1
                                          DOB ;10/24/19761/$:209214450                      ,




                  Have you everreceived medicatçonfo
                                                     rmentalhealthprobl   ems?
                    cAdmits G'Denies
                  Haveyoueverbeenhospitalized f
                                                 ormentalhealth problems
                  cAdm its G Denies                      '
                 Do youeverhearvoicesothersdo nothear?
                  cAdmits G'Denfes
                Do you eversee things others do notsee?
                 cAdmits GDenies
                Do you bel ieve someone can controlyourmind?
                 cAdmits G'Denies
               Have youeverhad racing thoughtsfor
                                                    more than one week?
                c'Admits ,  pDeni .es

               l
               n the pastweek,have youfel   thopel
                                                 ess?
               .,
                rNo ,
                '      '
                       -Sol -ne ofthe time z'
              j.. .                         -Mostofthe time . '.A.!ofthe tlrri:
              ..;.1
                  ...11:(':iF.F2.'
                                 1kF.#IDJDîz ...,:2x;.:
                                                      ;: .....?.:';,
                                                                   1q
                                                                    zr . .- .
                                                                     '.jxiijya)(-w.cyip&.
                                                                                        '
              '
                        ,                               , I(                            ,
               r,tNd:l .-sc-
                           l@Ie.c.ft
                                   .heI t'
                                         ia-'e                       'an'-stue-'F
                                                                                .ri-'r.'a ''
                                                                                          . -'     '-
                                                                                                    .''-'G=:- - r''
                                   ..
                                                                                             (ih    ...w.<.w.w;..i.

                                   %'Den1es
                                   ,
             /hr'
             ,.SlN
              -
                  a'lu currcw13*k1v
                                  ''t
                                    *'
                                     t-ld
                                        :i-It
                                            'kl:r' -i'ioou
                                                 ltj   ' ikiiiirlclh/otlrEelr''.z
               Ac;nnits z';
                          '0enies
            Have youevertried to harm yoa-   self?
             c'Adm its GDenies
            Are youcurrentl ythinking aboutharming yoursel  f'
                                                             ?
            .
             -Admits >-Denies                          '
           Do you have a historyofphysicpl  pj/assatlting otherc?
            k
            -Admits (   z-Denies
                        '
           Have you sulered from excessive anybetyorworryforoversix months?
           r'Admits î  TDenies
           Have youeverv/tnosssd orexperienced orbeenconfronted withanevento
           death()rserioucinjury?                                                                                     reventsthatinvolvedactualorthreatened
                                                                                                                                              '
           cAdmits rz  -Denies
           l
           sthe patientee ibiting symptoms ofaserious menta!disorderorsympt
           c Yes f;-No                                                    omsofcogniti
                                                                                     ve impairment?
          Prevent<tive/Scr*ening Medicine Histoi-y
          Have youhad a colonoscopy?
           f-Admits rDenies
          Haveyouhad a DRE?
          cAdmits c'Denie' s
          OB History
          Have youeverbeen pregnant?
          cYes-See OB History f-No
         Areyoupregnant?
         c'Yes-SeeOB Histow
         GYNHlsyory
         W henwas the firstdayofyourl
                                    astm
                                                        l
                                                                       enstrualcycle?(SeeGh'N History)
                             .a- lmm/dd/y?yyl     .

         Hasitbeenmorethan45 days since yourlastmenstrualcycle?
         cYes c.No
        DentaIScreening
        *Do you have any significantdentalproblems?
         @no rcavity f  -broken(00th r infection
        *Doyouhpveanydenta!prosthesis?                                                  r-brokenjaw r-other




CE IPatientName :M DETIC,SEBASTIAN lDOB :10/7a/1Q'7GlA.9nQDt
                                                            ,1,4C fn
          .wv
       Case  ,=,lk,.alIle :KADETIC, Document 1 Entered on FLSD Docket 09/11/2020 Page 94 of 276
            1:20-cv-23783-MGC      SEBASTIANIDOB ;10/24/197
                                                                               6IA:209214450

                 @none f-fullupper l-fulllower f-padiald
                Tobacco Use                              enture upper f-partialàentu
                *Do younow orha
                               ve you everused tobacco
                                                                                    relower Ubraces fr-retxaipet
                OYeS fk-No                             products?
                o'russ
                *Have youused dr
                               ugsotherthan those form edicafreasons inth
                cYes t  -
                        cNo                                              e pastj2 months?
               Jk(ccl'TojScreen
                 *Do youdrink al
                               coh
                                  ol?
                  cYes i-zNo
               'rhfave youeverbe
                                 en convicted fordriving und
               t-Yes rrNo                                            uence ofalcohol?
                                                            erthe infl
           Phy>;ica1Afause
           a
           lHave youeversuse
           c Yes t '
                   zNo      red from physicalabuse?
          f''
            a)r;-'L î.T.:7u:t:a




PatientName :M DETIC
                                  SEBASTIANlDOB :10/24/19
                                  ,
                                                         761A:209214450
  US 1Cq !Pat1:20-cv-23783-MGC
       Case  ieintName :M DETIC Document 1 Entered on FLSD Docket 09/11/2020 Page 95 of 276
                               ,SEBASTI
                                      ANIDOB :10/24/19761A
                                                                                                                   :209214450


                                                                                 eM A R R ecerd
           Nanp:                  SEBASTIAN RADETIC
          DOB:                    10/24/1976 S
          A:                      2                    ex:54                                                          Printed on:                03/24/2020 04
                                   09214450                                                                           Pri                                       :
                                                                                                                                                                29
          SublD:                  366450823                                                                           D nted by:                 M orales, Vi
                                                                                                                                                            oletàM
                                                                                                                          atemnge: (to)
                                                            M edicatiors Olfer'edfcrD
                                                                                                             ateRange:(to)
         # Older                  O rdered
          g at:                   By       M e/catien                 Sig
                                                                                                                             PRN DOT/KGP StartD
                                                                                                                                                                     ate End Date
              03/04/2020 -Baf
                            'e
                             . vPA Acetm'
                             . t-.
                                             nl'ophen
                                               n
                         ltarib,h1  - - - - --
                                   .3O' J Iv
                                           /l(J'     i ,-utïzu
                                                        .    sy u
                                                                am
                                                                  ,
                                                                  .j
                                                                   .
                                                                   s pp
                                                                      - -q
                                                                         .
                                                                         xy
                                                                          .oj.j4.(jap  .

                                                                                                                                                     f;D
                                                                                                                                                       -'1t
                                                                                                                                                          J217
                                                                                                                                                             ..(
                                                                                                                                                               '
                                                                                                                                                               -'
                                                                                                                                                           ... . .
                                                                                                                                                               w  '
                                                                                                                                                                  ?
                                                                                                                                                                 ...-.r
                                                                                                                                                                      wb,
                                                                                                                                                                        -1w-
                                                                                                                                                                        w  2l/w.Qç
                                                                                                                                                                                 ''l.n
                                                                                                                                                                                 ..
                                                                                                                                                                                       iq%'
                                                                                                                                                                                       '''
                                                                                                                                                                                     =.'w'
                                                                                                                                                                                      --
                                                                                                                                                                                           n

                                                              j%/u
                                                                 $r
                                                                  w;kr.1
                                                                       wrf
                                                                         .n.'
                                                                         '  +J    w6l)x .=u(.g w
                                                                             ..t.t'            :U..p.a!wv.l
                                                                                                          okx   u. ;j;u k-..t.akjt
                                                                                                            '.kku                y
          rN    .*

       z:t-ntu e.y.
       .p
                              '-hr-
                              C/  d''    z.j
                                    Crc-.u
        .p.
         .alr
            .e               Ry                -
                                               yï,
                                                 j.
                                                  (j0..canol
                                                         .. z ui .g
                                                               -kl
                                                                                                                          PRN DOT/KOP StartD
                                                                                                                                                                ate E'
                                                                                                                                                                     bdDate
       1 o-j/t
          .
             - .
              /4/zf2o pzas
                  -)
                     -    'b
                           t-
                            A?p
                             --
                                -az.
                                   s A ccfzzykaoplaen
   .
                     jx
                      .r-i
                         -
                         ii.
                           yxïjvr 50oI$4G             1Orally8:D J-
                                                                  T.N.foi.14.days                                                    F--OP         03/04/2020 03/31/202C)
   OueD'ate j
   l        DueTinw j
                    statàh
                         .
                                                        j
                                                        userm atex in'e                                     l
                                                                                                            jR easonW otes
                                                                                                                                             .                                         k
                                                                                                                                                                                       j
                                  PavientNam e; SEBASTM .
                                                             N RADE'
                                                                   DE f/3B:10/24/:175 9
                                                                                                              al'
                                                                                                                lEh 366450823 A
                                                              ..             '   '                  '                                        : 209214450
                                                                                                                 ''   '




!PatientName :RADETIC
                                       /SEBASTIANIDOB :10/24/1976lA
                                                                                              :209214450
                   Case 1:20-cv-23783-MGC4 Document 1 Entered on FLSD Docket
                                                                       1o
                                                                             09/11/2020 Page 96 of 276
                                                                                          .
                                                                                     .            .                                                                                        .        ..

                                                                                         .            .,                                                                                   .             A
                                                                                 '                     ,
                                                                                                                 or C orx ctionalHealthj                                                                 .,
                                                                                         e?k..-..,'                                                                                        '..C

                                                                                                                 SICK C A
                                                                                                                        ' LL REQ UEST
          FROM: (PLEASE PRIND
               -
                                                                                                                                                                     u..''
                                                                                                                                                                        .s..o. , é .r o..-z-
                                                                                                                                                                         )*--) .z7 .#y:ë
                         -
           b #-.o .4 j,,
                       >.'vzz' ))s s ,.s
                                      - u.                                                                                                                                                                        .

       tlninateNarne)
       (Nombre)(Non)                                                                                                                                             (ID #)
           4u,,.z 1 ,
          ..
                                               #$z'
                                               ,-
                                                  J
                                                  ,.<                                           .
                                                                                                Y.,
                                                                                                  z''/ .
                                                                                                       j''q                                                         g ,s
                                                                                                                                                                       7 o?
                                                                                                                                                                 (Fel a)
                                                                                                                                                                         cpr .
                                                                                                                                                                             '
                                                                                                                                                                             t)-u.p7
                                                                                                                                                                                   ..-o
                                                                                                                                                                                                                                                              '-i7- .
                                                                                                                                                                                                                                                                        r,
                                                                                                                                                                                                                                                                    '.-'.
                                                                                                                                                                                                                                                                         )
                                                                                                                                                                                                                                                                        ''
                                                                                                                                                                                                                                                                         S'
       (patvofsim l                                                                            (uosalidadll
                                                                                                          ',
.'
       (Faeade'm umi,nw)                                                                       (Lojman)                                                          (Day)
       (DatMesanspeonyea)                 ..        -
                                                                                               (Housingunwcelw)
                                                                                                             .                 .                                 (Date(Ti
                                                                                                                                                                        .
                                                                                                                                                                        Mi
                                                                                                                                                                        .s
                                                                                                                                                                         a
                                                                                                                                                                         r..)
                                                                                                                                                                            .:    ..
                                                                                                                               ). .'. .                                    - .. :      (   .
                                                                                                                                                                                               .                                                                                         . .

                                                                                                                                                                                 ..                                                                  . ,. ...
                                                                                                                                                                                                                                                            ... ,                 sk .         ,

      PRO BLEM, : (BE SPECIFIC)
      PRO BLEMA :
      I
      F
      :
      I'!
        I
        .
        !I
         .!
          I1:11
              .
              I
              EEII,,
                   .I
                    EEZ
                      'I
                       !.!
                         I'
                          , ,-l.h-n.-                                                                 .                             .             z
                                                                                                                                                  /
                                                                                                                                                  .-g
                                                                                                                                                    j .....           ,-. -,,          -                                 ,. . q..,-..,.:..-.j.. .,.y
                                                                                                                                                                                                                                                   .,..            ....     . . ....
                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                ....,..,.. ,j.-.y,-.
                                                                                                                                                                                                                      .,                                                        -. .,
                                                                                                      t:- -n
                                                                                                                                                                                ...    .                               .. z .                 ( .                   .-     ., ..-
                                                            lu''bp-.t./..
                                                                        J                             .u   .
                                                                                                                           .gvy y.x.              jyz..z..) yaj,
                                                                                                                                                               .z .                                                           .-                      -             .




           z,'
               '.- L.
                    7 .
                    , .
                     .        y                 J4 Iez'-z                    ,l ,
                                                                                ;
                                                                                - ,w - i-
                                                                                    rsz..,c,->'.zz-.
                                                                                                  .,
                                                                                                   6..(-..                                           l
                                                                                                                                                     k-.pz-...g',,.z-.u
                                                                                                                                                             .        .-
                                                                                                                                                                       .w.,. j <:   r z7' sy
                                                                                                                                                                                '- >'       ' .; 2
                                                                                                                                                                                           . -.,
                                                                                                                                                                                                   .?''-.
                                                                                                                                                                                                        1.'
                                                                                                                                                                                                          z. .'
                                                                                                                                                                                               ....xo. -. -
                                                                                                                                                                                                              1.                          ,
                                                                                                                                                                                                                                          .

                             T' .
                             .                                             '                           /'                                                                                                                                '.

       (-.z? ,
             4z ,'                                              ) z: f
                                                                     .-      f'
                                                                             =                              5 c.k- ./7                                   // /ob ,
                                                                                                                                                                V /$ c a t'-.
                                                                                                                                                                            w.',
                                                                                                                                                                               .
                                                                                                                                                                               -'(u.-
                                                                                                                                                                                    ,'
                                                                                                                                                                                     -e
                                                                                                                                                                                      g? fz,..--;(.-..                                                    -- - .
                                                                                                                                                                                                                                                                   ,..



                         .
      z*
       -It
         .;              -.       .   / /,
                                         ,.=.--
                                           'c
                                            .               t
                                                            p
                                                            ,           ,'
                                                                         -.
                                                                          l'
                                                                            zr.
                                                                           w,'A-,f '
                                                                                   k , K' t '
                                                                                                t- e--             ,a4p'-7 $
                                                                                                                                           y
                                                                                                                                           .'-/w-
                                                                                                                                           -       .>-f
                                                                                                                                                ''-'  ,
                                                                                                                                                      >-.
                                                                                                                                                      , -              /.-,zpe
                                                                                                                                                                             .u.
                                                                                                                                                                               /
                                                                                                                                                                               ..z,,
                                                                                                                                                                                   -
                                                                                                                                                                                   .-
                                                                                                                                                                                    t,
                                                                                                                                                                                     .t,--               .-
                                                                                                                                                                                                                      .
                                                                                                                                                                                                                      ,:
                                                                                                                                                                                                                      z)'z,
                                                                                                                                                                                                                       -
                                                                                                                                                                                                                       ,  ,
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                          y -,pJ-
                                                                                                                                                                                                                          ...   x. /-
                                                                                                                                                                                                                                    J'
                                                                                                                                                                                                                                     --'t,.
                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                          -z.
                                                                                                                                                                                                                                            t.-
                                                                                                                                                                                                                                              z-
                                                                                                                                                                                                                                               ;r
                                                                                                                                                                                                                                                .-..
                                                                                                                                                                                                                                                   e-.
                                                                                                                                                                                                                                                     .-.
                                                                                                                                                                                                                                                     J'
                     , '                                                                                   /#'                                !                                                                                  '                                                  .
                             ..            -%
                                            t.-e.z,s N.              wf.z:t-> .,...t '-.. ,?.                    . -) --u-                   i'.-
                                                                                                                                                ' p' r   k
                                                                                                                                                         t          ' y.
               .         JJ                ..
                                            r(';                     :
                                                                     -.=. >.                      r               .z.
                                                                                                                    aJ- h ,
                                                                                                                          .(>'1-X.,/.--
                                                                                                                                      rz k.ë'7 .
                                                                                                                                               ,

                                                                         $, -'î-/
                                                                             ,.. .4-                   .-pj                         hVg;/r.)
       '                                                                 ,' ,
                                                                            , '' z/'.                                  '                   z'                                                      -..                    -                               .

                     ' .tï..L     r                 !:':z               '
                                                                :) ...T; l'
                                                                          .1 , . ' 1                                       C
                                                                                                                           '       / .                                            . .'...'-
                                                                                                                                                                                          '. n
                                                                                                                                                                                             .. .:k''''
                                                                                                                                                                                                      :'
                                                                                                                                                                                                       .
                                                                                                                                                                                                       .'      ''''''':
                                                                                                                                                                                                        ''' ': '      .
                                                                                                                                                                                                                      ''
                                                                                                                                                                                                                       .
                                                                                                                                                                                                                       '
                                                                                                                                                                                                                       -.
                                                                                                                                                                                                                        '
                                                                                                                                                                                                                        tt-'':
                                                                                                                                                                                                                        à
                                                                                                                                                                                                                        .    ''




          q'                                        : ('            f            ' ;              '              ..'                                     '             '' '-''''''''''
     D ument:                                                                                                                                                        L RefertoBehavior
                                                                                                                                                                                    : .;
                                                                                                                                                                                        alHeal  th:
                                                                                                                                                                                           : /.'; .a.' ....,:....c        .                                                      ..
                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                '!J
                                                                                                                                                                                ..:
                                                                                                                                                                                  .. ..
                                                                                                                                                                                  .
                                                                                                                                                                                               .... ;j
                                                                                                                                                                                                  .T.
                                                                                                                                                                                                    . g.
                                                                                                                                                                                                       .'...
                                                                                                                                                                                                           v.z.
                                                                                                                                                                                                              ();).iè.Lk
                                                                                                                                                                                                              .
                                                                                                                                                                                                              t        :,z
                                                                                                                                                                                                                       . -....' .f...:.uy
                                                                                                                                                                                                                                        ..  ky
                                                                                                                                                                                                                                         :...t
                                                                                                                                                                                                                                             j'jy
                                                                                                                                                                                                                                             ,    g
                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                  ..'7
                                                                                                                                                                                                                                                ...  .:;2
                                                                                                                                                                                                                                                     '' ..'j
                                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                                           q
                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                           ....y
                                                                                                                                                                                                                                                               ..:...
                                                                                                                                                                                                                                                                    ;.).
                                                                                                                                                                                                                                                                    '      :
                                                                                                                                                                                                                                                                           tj
                                                                                                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                            -..'.:.
     D ReferraltoHcP:                                                                                                                                                L RefertoNurseSickcall:                                                                                        :
                  f(;:.;,L
                         -ir                                         L:.,..-'.       ''-.
                                                                                        ''
                                                                                         .':...             ''
'
      D Referto Dentak
      L callProviderw/Assessment:Temp                                                                                                     Pulse                  Resp                          BP                                >
      D other
     ' .




      .
                                                                                             r
       * -005                                                                    (WbRe Cœ #-lnmaieQedi
                                                                                                     célFil
                                                                                                          e Yellx Copy- lnmate)                                                                                                                Rek.ised09/29/0/

                                       #>
          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 97 of 276




                                                                                      Arm l/tr'bfze liuhàlM e jtli' Inc
                                                                                                                  .
                                                                                                                          .   .      .
                                                                                                                                         ..
                                                                                                                                         :           .
                                                                                                                                                          .




                                                                                                 SICK CALL R EQ UEST
                                                                         '
                                                                .
 .
     FRQM:fPLEASE'
                 PRINTI'' L..                                                ..


                                                                                                           'L
                                                                                                           .
                 au.
                  . '<.
                      & .+ î''êa
              .:,-
              kt .-..K
                     '!
                      -;
                       >..
                         -
                         >' ..-k-           .   :z)-'                         --
                                                                               ./
                                                                                .
                                                                                1
                                                                                ' .-'.
                                                                                ;''
                                                                                  .    .
                                                                                       '
                                                                                       ---/ k
                                                                                            :.--'
                                                                                              *
                                                                                               .
 (nv
 '
'.
   m
   rMart
       ee vam#
            v '.
               ).w..                                    ..-.
                                                           c...
                                                              ,
                                                              --..-.
                                                                   '
                                                                   -.;.
                                                                      '...
                                                                         -...
                                                                            --..----..
                                                                                     -.-z, .;
                                                                                           ,                          .
 (Nambre)fN ':oh)
              .                .                                                  .
                                                                                    %''
                                                                                      .;1'
                                                                                         1
                                                                                         Y -'
                                                                                       .xw.Tk          .
 .   v6. '.. -.     :. .#
 .<.j
    Cljf
                                                                                         4 zr.' &;ç'
                                                                                                   ua:
                                                                                                     .j.
                                                                                                       '
                                                                                                       '
                                                                                                       r'*?.
 .     .                                                    .
                          '                                                                                      .,
       .>4
         .;,
           '..
             2 .. .,
             %
                  .
                   p
                   .joz.ja.   -                                                        .;
                                                                                        ,
                                                                                        ej
                                                                                        . .wma
                                                                                          ,  ,g;
                                                                                               .
                                                                                               z
                                                                                               .;
                                                                                                jc.
                                                                                                  l.
                                                                                                   ,   .
                                                                                                       ;
                                                                                                       .y
 (DateofBirt  'h)       '                                                             (Loc'a 'ldadt
 (F.éd1
    'J;é:à :i'
         ..'
             ' bimie
             Na
             . .. .
                      nto)
                    r. .
                      .
                                                                                      (LoJ
                                                                                         'm' a'n
                                                                                           ..:k
                                                                                               ')
 (DatNesansPrtonyea)                                                                  (HouslngUni  trel#)

PR
 $.. -:
      0,.B,.LEM
      .
              .
               ;. .d;
              .. ' .
              .t       ..' ,BE SPECIFI      ' C                              .
PR D*B L    '''. M''p.'.-'.
                      .    -....'
                                .
                                -'.
                                  ---.
                                     ---v-
                                         ;,
                                          ..
                                           =.z.
                                              ws
                                               .w.-.....
P' .
   W
   '   D''B LE
  v.. .k.. .j ..
     . ' ,     'v
                    .
                    M
                .. . r
                  .' .
                <..TJ'''.
                         -
                         *             z
                                   # Z.., w .
                                   .   .   ..
                                            ..
                                                .
                                                x
                                                    '               ..       .'   .   .   '   eehhvo            . .
                                                                                                                      9. x --. .<                        . ,.,.. '.,
                                                                                                                                                                   y;m .
                                                                                                                                                                       7>.   .      ..., :.
                                                                                                                                                                                          ' ..
                                                                                                                      &Vz..
                                                                                                                          '
                                                                                                                          -.
                                                                                                                           r
                                                                                                                           aoNv-.w.e.
                                                                                                                                    -v. a
                                                                                                                                        ...
                                                                                                                                          *-.
                                                                                                                                            '
                                                                                                                                            e                    ''''e ''
                                                                                                                                                                        f        ''V 'Ri'/,
                                                                                                                                                                                          '*A1
                                                                                                                                                                                             '*We'
                                                                                                                                                                                                 J
                                                                                                                                                                                                 '*eeG'
                                                                                                                                                                                                      ee-*œ*'
                                                                                                                                                                                                            **'
                                                                                                                                                                                                              -''Y**W'


               e'                               a
                w0...'. ..        u'*%
                                   ..'..-
                                        1  .    <.
                                                      y'e--   e' 'A . . * .                                                         :
                                                                                                                                        .- ':
                                                                                                                                            t..=-.@.   . '
                                                                                                                                                             . '' -i    ....Z                         '       . w..w. ....
          -    -.     ,.e     u-..
                                 r
                                 .'r      ''
                                           .
                                           =-.
                                             f.-
                                               ..
                                               we.-.
                                                   -,.. . .zwf-
                                                              ...
                                                                fy
                                                                 ..-.
                                                                    ,
                                                                    +W-'..-.
                                                                           -. .+..
                                                                                 --,.
                                                                                    -                                             ..
                                                                                                                                   -.
                                                                                                                                    ...Z
                                                                                                                                    x
                                                                                                                                    A  Kn
                                                                                                                                        >   '
                                                                                                                                            .      '..
                                                                                                                                                     '-
                                                                                                                                                      e'
                                                                                                                                                       .-
                                                                                                                                                        '-
                                                                                                                                                         ''' '     : .
                                                                                                                                                                     '''-
                                                                                                                                                                        .w'   -'
                                                                                                                                                                               -. .*
                                                                                                                                                                                   -
                                                                                                                                                                                   V -s'vR
                                                                                                                                                                                   '''
                                                                                                                                                                                   .     x.,
                                                                                                                                                                                         ..
                                                                                                                                                                                         .
                                                                                                                                                                                           '4
                                                                                                                                                                                            '
                                                                                                                                                                                                      ,   .
                                                                                                                                                                                                              ''
                                                                                                                                                                                                               '
              z                                                                                                                                          K




L RefertoDental:                                            --'''-'- w.
                                                                      3
U'callProviderw/Assessment:Temp                                                                                       Pulse                   Resp              BP                 O
Z D.jjlsy.. ......-.-.....-...
                             m--.
        Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 98 of 276
                                                                            . 33'''h
                                                                                   sxE
                                                                                     .--
                                                                                       k;f)-'
                                                                                            k.t.
                                                                                               .,
                                                                                               ;..                                                                             r..
                                                                                                                                                                                   .';;?.Aaj
                                                                                                                                                                                           ;jy,.,j.,.
                                                                                                                                                                                                    ,....
                                                                                                                                                                                                     '.
                                                                         ..
                                                                              .                       ,
                                                                                                    . .
                                                                                                                                                                               .                        ;y
                                                                                                                                                                                                         j
                                                                     '..
                                                                                                       :tr:'                                                                   .
                                                                                                                                                                               L        .              z-
                                                                                                                                                                                                         '


                                                                     ' 'z                                '
                                                                                                        s.
                                                                                                             :$j
                                                                                                         2orcorx ctionalHealth,.. '                                                                    -.
                                                                                                                                                                                                       :.
        k I
                                                                     . ..
                                                                         A.<                         z'
                                                                                                                                                                                   $'             .p
                                                                                                                                                                                    js.t.        .Ak
                                                                              .   C.1'-.tz.N.llreJt'!>'r''                                                                             .I .
                                                                                                                                                                                          '..
                                                                                                                                                                                            '.:'
            *.                                                                           .
             *l1r,                                                                                                 sIcK C AL'
                                                                                                                            L REQ'U EST

FROM: (PLEASE PRINTI
        &-n .p-
              'c.
                -v.<              .            --                                                4,?.
                                                                                                    '
                                                                                                    =
                                                                                                    î.'
                                                                                                      z,;zu-'                                                     -7-c'
                                                                                                                                                                      bX l/o,z u
                                                                                                                                                                               ..           ,

(
(l
 nmatereNa
 Noe      men
        )(N@))                                                                                                                                                    (ID#)
zfo 2.%.zpyp,6  .
                                                                                                               ye u
                                                                                                               :
                                                                                                               ,  w7g
                                                                                                                  z                                                   yy.,gy,y.&.
                                                                                                                                                                   g, v                                                                       y,y;,.; .
(DAteof@i* )                                                                                     (laMlpdad).                                                  (Fe* )                                                                               .b
                                                                                                                                                                                                                                                    ',                           .
(Feoade'kaamient)                                                                                (Lojman)                                                     (Dat)
(DatNesa/ Peonyea)                                                                               (Housingunàtce lm
                                                                                                              'J2
                                                                                                                                                              (Date/Time
                                                                                                                                                                      ..
                                                                                                                                                                         )
                                                                                                                        .      .




PROBLEM,:(BE SPECIFI   C)
PR O BLEM.A :
            .

PW OBLEAM : . .e.-.--,.--
                        yeo                                          .                                         '
                                                                                                               -
                                                                                                               iw-
                                                                                                                 g.
                                                                                                                  y                 (--s<g.- .                            r -
                                                                                                                                                                            :.z.)pg
                                                                                                                                                                                  .,t,,
                                                                                                                                                                                      w: .
                                                                                                                                                                                         ,
                                                                                                                                                                                         ..,.c;,
                                                                                                                                                                                               t..
                                                                                                                                                                                                 j.., ,yy,..
                                                                                                                                                                                                           jy
                                                                                                                                                                                                            ...
                                                                                                                                                                                                              ,..,
                                                                                                                                                                                                                 t.)
                                                                                                                                                                                                                   - - . -- -
                     .....
                                                     s
                                                    .d
                                                     '   /y.
                                                           zc. s.
                                                               e-'
                                                                 iw-                                           jv                  .,
                                                                                                                                    a w.
                                                                                                                                       ,-w.                               q.x g :
                                                                                                                                                                                ..
                                                                                                                                                                                 e..,x.
                                                                                                                                                                                      w            .         -
                                                                                                                                                                                                                            ..                 . L:.g
                                                                                                                                                                                                                                             .. . ..)y
                                                                                                                                                                                                                                                     .yy,y;.m .
                                                                                                                                                                                                                                                     tk -k..::L
                                                                                                                                                                                                                                              .' .. :a        .=- nz .
                                                                                                                                                                                                                                                              L.'
                                                                                                                                                                                                                                              ; .,.!     n-:
                                                                                                                                                                                                                                                           'è.''''
                                                                                                                                                                                                                                                                 .ë'..Fwrn..
                                                                                                                                                                                                                                                                 i
                                                                                                                                                         .

                                                                                                                                                                      DN                          <                '        -                                           '* c
            =                . -. .   v             .-       . ..                    ..$1'                         -.   .-                       m cQ        w'
                                                                                                                                                                           m                <           yac                                                                 y w.o.
                                                                                                                                                                                                                                                                                 ,
    T- o z'
        ..
          ?- <.ze.z>'/(-.ar//O œ , .t
                              .
                                    r-l >
                                      .
                                                                                                                                                                                                &-y,
                                                                                                                                                                                                   .< /-uzz, . uz'
                                                                                                                                                                                                   <.        &ee                .      .                                '

                       ....                                                                )-
                                                                                      . -..k             . .



    u
    t-z
      n u'.$zyJv                                                                                                   /'C z/zl,z.;
                                                                                                                              ,
                                                                                                                              =- >
                                                                                                                                 t-c.
                                                                                                                                    vr'
                                                                                                                                      y ppz;                                                                                         .
                                                                                                               'U. -7              - .
                                                                                                                                         .         y'               t z'z.u .                                                                     . ..    ..       ..
                                                                                                                   f




                                                                                                                                                                                                                                                                   .             .
                                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                  ' ' ' ... '. .' .. l q.'
                                                                                                                                                                         .                                                                                     .        .. ,     ,
                             j: ....:g.;.t',r.y. q)...... q.J..'.' t ?'.$'$.' *. :kD                                    '           '   '..'C.77 7o7'tr '.' '    ' .'  .') '                .                            IJ' .. ;                                                      .
                .     .''..                .
                                             i' ?.          ..              ....                                                                 '' '                                                           ' . L:                                                               ''?.
    ,
        '                     .                         :
                                                     ;.. :   .                               ....                            2..r.: . ...a:r.czf'. t:,'J..,':ut.::j.
                                                                                                                                                 ..1               g..;:                                                   i*
                                                                                                                                                                                                                         ...rr
                                                                                                                                                                                                                             7
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                             u:..).t
                                                                                                                                                                                                                                   (è:
                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                     ?
                                                                                                                                                                                                                                     J!1
                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                       :.
                                                                                                                                                                                                                                        :(
                                                                                                                                                                                                                                         c..)
                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                            .'.
                                                                                                                                                                                                                                              '.
                                                                                                                                                                                                                                               T':'.:j.'.
                                                                                                                                                                                                                                                        k.
                                                                                                                                                                                                                                                        ,u'
                                          ..
TRIAGEJD EQI
    ': ' ' :S'
             ''I
               ..ON'
                   BkJYI
                      ' :,
                         N..URSI--..%'NG
                             '' .      . ...I
                                            ST
                                            '. 'AFF
                                                '.-. m
                                                     -. nl
                                                         y
                                                         --.p.A..éO
                                                                 L..-ADNE     ..bpx'
                                                                     -. . ... '   .c bel
                                                                                       ow)
                                                                                         -....-..                                                                                                            .....':...'. ,.- '
                                                                                                                                                                                                                              .L. '.-'.rz6'a'.'
            '
D urgent:       h
                                                                                                                                                                       D RefertoBehavioralHeal
                                                                                                                                                                                            t
                                                                                                                                                                                              th:. '                                                                        ' . -'
                                                                                                     7                                                                                 #. 'ë '.
                                                                                                                                                                                    . ..
                                                                                                                                                                                       '                            .
                                                                                                                                                                                                                        à ,..3
                                                                                                                                                                                                                        j
                                                                                                                                                                                                                        '    /..:..(
                                                                                                                                                                                                                                   '.
                                                                                                                                                                                                                                      .j;
                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                         1' '' .. '
                                                                                                                                                                                                                                                  .'
.

              cP;                                                                                                                                                      D RefertoNu/eSickCaIl:
L Referralto H T:                                   .
                                                         .
                                                                 :                           .
                                                                                                                                                                                                                                                                            -.
                                                                                                                                                                                                                                                                             .   .




    Q RefertoDental;         --
    Q callProviderw/Assessment:Temp                                                                                                      Pulse                     Resp                         BP                              M          . '       .
                                                                                                                                                                                                                                                     ,




    Q other




        PT-005                                                                          tWhii =ey- lnmateMeàl
                                                                                                            / l'
                                                                                                               File Yellow Lbpy- Inmate)                                                                                                   Revised09/2:/07
                 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 99 of 276




                                                                                  A rm ö/f
                                                                                         ''W*ie tiohàl,
                                                                                                      H éàlth,Inc

    '
                                                                                         @ICK GALL REQ UEST
                 '                              '
              .          ..:               J,                   .   ...
        FROM           . (
                       '
                             PLEASE PRIKD La-
        <:.-s.
            .
             .*,è4.,#/py.i .
                          .   )-
                               ,;my.
                                   4 gyz /).
                                      ,
                           g .'. v. . , .  Q' ...J.a.p (g.
                                             .y        . .. .       . .... . .u
                                                                                     .
                                                                                             .
        (lnmëeA.a1è)
            ..'' .. :..
                      -.-.                                :.
                                                           -.
                                                            --
                                                             .
                                                             u=.
                                                               ;-..-...
                                                                      - -. -.:-..,.j.-.y..y.     ..,. .
        (Nom%+)  (N0n)                                                            ' 'j,
    /.c?,
        >
        7i
         k'.4.,:
               4.$'J  '
                               .
                                                                                    T-
                                                                                   /-        #sy
                                                                                     4.tet,z/' 7
                                                                                               ,è
                                                                                                *
                                                                                                :'
                                                                                                 k
                                                                                                 '.'
                                                                                                   .
    (#
     D:J
       1:of.Bidh)                                                                 (Locylidad)
    (@ -ikà2:kù,b'
                 imi.nto)
                 .                                                                (Lojnph)
    (D#Jkesàn.hrtopye@)
                 . . . '' . .. '          .
                                                                                  (Housingunitrelw)

    PR, 0BLE.M:(     BE SPECI
                     '    '          '
                               ' ' ' .              RC).           ':  ,  '
    PR..O'BL M A-j.
                  i.N-.-....v...xt...,-.--.. '
                     .                       ......,o.......,.w..-,..v..,...-
                                                           .



    P D B L'E?M '
                p%'       .+g      ' >+'-      +....                - . >. - '           '         . .- .. , ...r
                                                                                                                .v   .- .-wx..:.- s .. .........*..eu>.w .-'
                                                                                                                                                           - - '& ...ew'wua.--*-.>'<'N.a- ..vx.
                                                                                                                                                                                              <.
                                                                                                                                                                                               '&e'''v..-''-**e<''>'az-rk''''='-=<

                  ..     # .   .(  :..A.hr'r    ve7 .
                                      . .j ...- .          . =*'     .
                                                                    -œQ'
                                                                       .      D    . ... .                   . .
                                                                                                           p ' ,              .         .                    -; 1 . .
                                                                                                                                                             .      - es' . w<           -
                                                                                                                                                                                         .           e . .t ; ltl.
             ''                              t*:':j..'
                                                     ie
                                                      g*..u..
                                              ..e' T w' ;   -%'.yX.
                                                                  :Vc. +x
                                                                        ./a.
                                                                           9u..
                                                                              :.
                                                                               w.'
                                                                                 -'.
                                                                                   '
                                                                                   ...u--/.'.
                                                                                            -.J.* .'----x. .
                                                                                                           v
                                                                                                           'f '.              V.
                                                                                                                               # .-7.
                                                                                                                                    '..-...'.
                                                                                                                                            -'
                                                                                                                                             .
                                                                                                                                             -z.
                                                                                                                                               Y
                                                                                                                                               '<.V
                                                                                                                                                  - .:
                                                                                                                                                     .
                                                                                                                                                     :
                                                                                                                                                     2ru-.
                                                                                                                                                         Cw-
                                                                                                                                                           e'
                                                                                                                                                           ..
                                                                                                                                                            --
                                                                                                                                                             e
                                                                                                                                                             .-.
                                                                                                                                                               œ-
                                                                                                                                                                ..<.
                                                                                                                                                                   v..''.'
                                                                                                                                                                         # .-.
                                                                                                                                                                             4.
                                                                                                                                                                              5#. -
                                                                                                                                                                                  '
                                                                                                                                                                                  .'
                                                                                                                                                                                   .
                                                                                                                                                                                   '
                                                                                                                                                                                   -'.
                                                                                                                                                                                     n.
        t.=
          . ..'w'. ' va...z...v4.<w .r....-..s
                                                                          '#




                                                                                                                                                                                         i '.w '-
.   U Rqferralto HcP:                                                                                                                         e-ferto urse Ic                             aII:
                                                                                                                                              ..'#'v... :   i6 4
                                                                                                                                                            . .7
                                                                                                                                                               ..*. .   7.... .t. %
                                                                                                                                                                             ;''Lr ..
                                                                                                                                                                        . ..y.      ï         TkV'
                                                                                                                                                                                              .;    ;.e1'.'
                                                                                                                                                                                                 %S.>     â-
                                                                                                                                                                                                           ' '*'q ''i.
                                                                                                                                                                                                                     ''I   .
    I
    D kefertoDemal:
            '
            .
        .


    z yajjProvi
              4erw/Assessment:Temp                                                                        Pulse          Resp                          BP                        >
    L -œ her
                Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 100 of 276




                                                                                         A rm or f orm ptionylH ealth,Inc

                                                                                                  SIC K CALL REQ UEST
            FROM: (PLEASEPRINT)                                                                                                                                                                                       ,. : ;;'
                                                                                                                                                                                                                . .       (.. '' . ''''
        5tD 5 T> 4 W 'fr :,.7>c                                                                                                                q czclJ' AG e >
        (inmqt#7
               N@m*)                                                                                                      .                     . ''
                                                                                                                                                   ! .. .:..                    ..                                   .j'
                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                        '
                                                                                                                                                                                                                        (
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                        y....cu.,
                                                                                                                                                                                                                                y.T
        tNotnb'
              fél'
                 (N*N)                                                                                                                        (1Dèj ' ,) .                                                            '''
    Zp .-?#'7f?/.
                f                                                                            -/...u6 7                                        , î',?-
                                                                                                                                                   C'r4
                                                                                                                                                      .''
                                                                                                                                                        ?-.
                                                                                                                                                          p,P o                                      ..,,-.
                                                                                                                                                                                                          ,'è.,...,
                                                                                                                                                                                                                  x.,
        (D<t:ofBi
                llhl                                                                     (Loialfdad)                                          (Fecha)
        (Fe1adeNgcimiento)
        '                                                                                (Lojman)                                             (Dat)
        (DatNesansPrizonyea)                                                             (HousingUnWcel'l                                     (Date/Time)

        PROBLEM;(BE SPECIFIC)
        P RO BLEM A-  '.
        PW:O BLE
              ' 'i'
                  ..
                   j'
                    :
                    M
                    7
                    ..
                     ':                                                                                 .-                       .

            '
                     '
                 . . ..    .....- ....k . ..          . .
                                                        $   ..
                                                                 + ,c.
                                                                  >-J
                                                               f. z
                                                                    T..
                                                                     ..
                                                                                  )x'- n =/c.Z'<' && ,&. /. J' 2t '.'Hy.
                                                                                     vL:
                                                                                       z
                                                                                       '                                   #..'wm ..(..< .
                                                                                                                      -o r#.
                                                                                                                           '             z ... x z''o
                                                                                                                                                   .                      .




            0.                                                                                                                                              &                       ..                         ...             .wj
                 '
                 .
                     -    -r''..
                               .,
                               0.n.u/
                          . .... .  -''..Q ..
                                     ZZ.    rq -J'
                                                 e
                                                 e,u('x
                                                ws    xca<z.a,l
                                                              .z,
                                                                .
                                                                &                                                        +,. .Xveyœ.
                                                                                                                      //r.       p
                                                                                                                                   rk.
                                                                                                                                     rp,
                                                                                                                                       z'
                                                                                                                                        7g
                                                                                                                                         .'pv
                                                                                                                                            '.(,ww.
                                                                                                                                                  -z,.
                                                                                                                                                     lw.
                                                                                                                                                       +7.
                                                                                                                                                         p.y
                                                                                                                                                         .                                               / .<-,.
                                                                                                                                                                                                               %..z
                                                                                                                                                                                                                  .ttw..
                                                                                                                                                                                                                       >'
    '
                                                                                                                                                                                                                                     z
        ( C.)..W ..&
            e
            -
                      p.y-p;:a..J
                     '-
                   w .,         :, r
                                .  ,vWn.. 4y.'
                                       ..    r'
                                             .-t/d s y..z=- t-'.1.@,J y zz.
                                                                          /,p/Q     ,z
                                                                                                                                              l
                                                                                                                                                                          .s'
                                                                                                                                                                            <,
                                                                                                                                                                             (:y.           $'..
                                                                                                                                                                                               w
                                                                                                                                                                                               D.yy@.a
                                                                                                                                                                                                     r
                                                                                                                                                                                                     c.
                                                                                                                                                                                                     :,'
                                                                                                                                                                                                       ..yj
        z
        r./$.-/l'f
                 s.  .- s. ...6T. / 'rt?.,
                  -:?j     .             t-J.wwQ                                                          ..-d
                                                                                                         r'  .l ..': '
                                                                                                                     z/
                                                                                                                      .eL 2
                                                                                                                          .,
                                                                                                                           4                                -z-;,
                                                                                                                                                            .   z  a.
                                                                                                                                                                az ' > zu- ' . .-
                                                                                                                                                                     ,                                                         .-
                                        tu
                                       -.
                                                 t
                                                                          .              -
                                                                                                                                                                                                          --          -        A
                                       >>..x .
        L ,2.1 &z? t rdY
                 .     . j-
                          .AjC%.Lx. -4
                               .
                                    j.jcsx./
                                       .
                                           y', g./-z'?
                                                     g zxza - w yzg qy                                                                    .
                                                                                                                                                       .
                                                                                                                                                                                '




                                                                              '     .
                                                             '       ,
                                                     L'
                                                      '
                                                      s
                                                      .!(
                                                        '
                                                        T
                                                        ',
                                                         .
                                                         J
                                                         t.
                                                          i
                                                          '
                                                          :
                                                          .
                                                          'i
                                                           . ,r,:j2
                                                           ;'!    .'ryj'..zj.
                                                                 ''
                                                                  j         .j'
                                                                            : );
                                                                               j,
                                                                                k(.
                                                                                  i
                                                                                  kg
                                                                                  . ... '
                                                                                        t.
                                                                                         o.
                                                                                          '.
                                                                                           !)
                                                                                            '
    TRIAGE bdclsloN *Y kURàING STAFF (OnlycbeckONEboxbelow)
    D urgent:. . :.
                  ,'
                  ';2(g'1'g                         'Z Referto'
                                                              Behavioral'
                                                                 .        ';
                                                                        Heé.i
                                                                            !th:
                                                                               .
                                                                               '.
        EE1ReferraltoHCP:                                                                                                                              L RefertoNurseSickCal
                                                                                                                                                                           .l
                                                                                                                                                                            q:.E
                                                                                                                                                                               .
                                                                                                                                                                               ,
                                                                                                                                                                               :

        L RefertoDental: '
        ID callProviderw/Assessment:Temp                                                                            Pulse                     Resp                     BP                    O
        Elother
'




            ' '            .                                         ......
                                                 A.r *'v..-.. ''.w-'>.    1..
                                                                            'o ..h.
                                                                                  vj'
                                                                                    ;l.-15'
                                                                                          ;1 ë'' 'Q.'r.:J= .-'
                                                                                                           ' J' ''';..= LA.*mr'WJci ' ''' '''1 !. 1.=.Z = 'M'
                                                                                                                                                            - 'S '. 'i ' :'l     '':' .     ' ' .ù       '.
                                             .                                        J     ï            %. . ..             r te        .           Jk'rt;.J' .     '    i. '='                          %               .
                                   .             - - .
                                                                           ...
                                                                             .-      . .           .... ;. - . .
                                                                                                                    i                  '  a'                    ' ' ..  .        .   . ..   :.       .                               ..
            TRIAGE
                .  .
                     AT.
                      .. . y
                            '1 E,
                               l..
                                   '
                                   :
                                   '
                                   .' .
                                      ,:
                                       .
                                       ','.
                                       w
                                          '
                                          :.'
                                            ..$-.'
                                                 ,.
                                                  ''
                                                   .
                                                   -
                                                   '
                                                   .i....r.'
                                                           .''.,
                                                         .'.
                                                               .'I U. E '
                                                               -        S IBN .
                                                                              ï:                      z
                                                                                                    . .
                                                                                                               .
                                                                                                                             . b
                                                                                                                          e'.1 ' .      ! ; W'.. M'
                                                                                                                                   ;k:J.'            .     i!'
                                                                                                                                                          %r
                                                                                                                                                             -.'
                                                                                                                                                               .,
                                                                                                                                                                .. .....'.' .'
                                                                                                                                                                  '
                                                                                                                                                                             -'''..
                                                                                                                                                                                  '.                                          . '
                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                .
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 101 of 276
                                                          '


                                                                          ' .
                                                                       ..    ;,:
                                                                        .; ' . 't:k..                                                                                ... :'i I
                                                                   .                     -;'.                                                                    .    . -'
                                                                                                                                                                                 ..
                                                               .4           ..                                                                                                    .
                                                          . .
                                                              ua
                                                                           y,z,2..             .T
                                                                                                i.                                                          ..       j.      . :t.
                                                           .7
                                                            2:                . ..
                                                                                     .
                                                                                              '
                                                                                              )..
                                                                                                2.9F g96a gjjopaj
                                                                                             :.r :              .
                                                                                                                  H gaj&,#
                                                                                                                         ''.'                                                  s
                                                                                                                                                                             s,;
                                                              .q .
                                                                                         .z,
                                                                                           .                                                                     e
                                                                       .             .;j:.
                                                                                         5                                                                           . ...;
                                                                                                                                                                          ;

                                                                                     .'.
                                                                                       ;.
                                                                                        y.
                                                                                      , .,
                                                                                          sjcKèC
                                                                                               cA'tt7-.
                                                                                                      'REQ'U
                                                                                                           q'
                                                                                                            :EST''i' ''
                                                                                                                                      i     ''        :   . .
FR0#:(PLR S; PRIND                                                                                                                   . F.   ..:'1 . o. E
                                                                                                                                                 .-
                                                                                                                                                       . ''
.                                                                                                                                                 7 . (.
                                                                                                                                                       '
                                                                                                                                                       .
                                                                                                                                                       -z
                                                                                                                                                        n
                                                                                                                                                        ,d djp -
                                                                                                                                                               :y
                                                                                                                                                                -;J-
** 7.Qo,V52:
           ..=* zz'                                                    z>
                                                                        'A a                                                                      >                                                                               -        .1 *.. '

(lnen-eNàe )
(Norriù4)(:vn)
Vy.gï&-.
       =;
        ggp
          .ag                                                                  -.- ,K .f,
                                                                                        ,g
(Da* 4 Bie)                                                                          (Lollldad);
                                                                                               i.1.
                                                                                                  -
                                                                                                  :';
(#e% uéàl mienio)
         ..                                                                          (Lp)mà:)
                                                                                          7
                                                                                          4          ..
(bktyew-p-i'#.... .
             pt+ *.
                                     .   .
                                                                                     Mgvi>..ipnjj
                                                                                     '
                                                                                     ,           t
                                                                                                 -
                                                                                                 .
                                                                                                  ;
                                                                                                  j,7r
                                                                                                    .
                                                                                                          .,z
                                                                                                         l#)
                                                                                                            ,

         .             s                                                                      y''=.Jjiy.
                                                                                                       '.:             .




PRD'BLEM: (BE SPECIFIC)
PROBLEMA',:
                                                                                                                                '<                #n. x              w-               + ..sc<.4,.o3   tx
                                                                                                                                                                                                  .+...*.xjl...
                                                                                                                                                                                                         <s    J'J'. w.u '
                                                                                                                                                                                                              !.         -ù-f4'   p>:r!'xm7''&'
                                                                                                                                                                                                                                  .           .'.:..% 1* '> ''
                           ... .a.           .   .                                                                          .
      .. .            .d
                      .




                       Cy                .J . /. ,,
                                                  L--
                                                    .
                                                    ,.-                                              .          .
                                                                                                                tz ,; .. ,
                                                                                                                         .                            ,u, z                                 .+. .,
                                                                                                                                                                                                 ...,,.
       Z ' ..>.'.
    .....
                '.=u-    v-.-,-.
                               v.
                                 .-a-.2-...
                                  v.      0..- .-. ..
                                                 --'.
                                                    e.v z.
                                                         ' ..
                                                         .-.
                                                           '-W'-.     -r- ..'. .
                                                                             m
                                                                             >r-<*
                                                                                 -''= -'
                                                                                       -''-'X-*. -..
                                                                                               U'-'-'--'---***'M-*.-'*-    '*'-j .
                                                                                                                              '' ''
                                                                                                                                  =<
                                                                                                                                   '
                                                                                                                                   -'''*'*- **''-*''**-ue'''*-' r- -u..r.wa-.w- .......wn.- - ..-v-- > .-.;.*..w.-z.-.-.-..-.
                                                                                                                                                                   ''          '' ' ' '                        ' ''
    j
    i
    *
    '#' x m''a-. - .
     '*
      b               I,                                       ,                                             al
                                                                                                              d!
                                                                                                               k
                                                                                                               ..      '       '                     . .k
                                                                                                                                                        ,
                                                                                                                                                        ..       .             -. '   .: ,j
                                                                                                                                                                                          ,
                                                                                                                                                                                          . . .'       <d
                                                                                                                                                                                                        *'
                                                                                                                                                                                                         >',
                                                                                                                                                                                                          * .
                                                                                                 .j
                                                                                                  L
                                                                                                  3Lib
                                                                                                     6
                                                                                                     ôL.,j
                                                                                                         (
                                                                                                         :r,                                        ie . . .a     jj
                                                                                                                                                                   ;
                                                                                                                                                                   .#
                                                                                                                                                                    .
                                                                                                                                                                    p'. ' .   J., u      . ...;.g'.'...... .p    .,,
                                                                                                                                                                                                                   . ,.
                                                                              '     '                                                                                          ..
                                                                                                                                                                                .,
                                                                                                                                                                                 .,
                                                                                                                                                                                  :,
                                                                                                                                                                                   .
                                                                                                                                                                                   ,,jj
                                                                                                                                                                                      ,..
         .    ..) ,i'1i....:... ,$,'... . .
                                             '
                                                      ..
                                                              .!j;.jjj;,,. .
                                                               j                 .                         .
                                                                                                            .F
                                                                                                             ' '  ..
                                                                                                                       .
                                                                                                                   ,j,,,            .   . , . .                                    .                                     ..

                              '             '                Z             . '             ' '.***  *.
                                                                                                     -,
                                                                                                      -4  '
                                                                                                          '
                                                                                                          e   -*
                                                                                                               H'' *'  '
                                                                                                                       '*
                                                                                                                        .'r
                                                                                                                          - *         '
                                                                                                                                      . .>-
                                                                                                                                          * =.e -e '
                                                                                                                                                   w'$
                                                                                                                                                     '
                                                                                                                                                     .
                                                                                                                                                     .--..
                                                                                                                                                         N*v.
                                                                                                                                                            -  .
                                                                                                                                                               A .
                                                                                                                                                                 '
                                                                                                                                                                 .
                                                                                                                                                                 ''
                                                                                                                                                                  't
                                                                                                                                                                   '
                                                                                                                                                                   <'   G
                                                                                                                                                                        ' eewvi
                                                                                                                                                                              m r
                                                                                                                                                                                .' '
                                                                                                                                                                                   x -'> '.
                                                                                                                                                                                          Av.   <'
                                                                                                                                                                                                 '>   > '
                                                                                                                                                                                                        v




D RefertoDent al  ;
            Jl6?J.'..m                               ).v.h-;L''L''..''
                                                                                     ,''.
    D callProviderw/Assessment:Temp                                                                                        Pulse                 Resp                        BP                          M ,. .'!
L other




     '                                                                                                          . '.   ;:    ' -''rr ?'
                                                                                                                                      -/-'' r';.                                                             ''''        ''''                  '                  '
    pruoas                                                                      ''
                                                         - ...... i* ..py- InmateMed'
                                                                                    lralFl
                                                                                         '
                                                                                         le '
                                                                                            Ye-li
                                                                                                - Cop#-'
                                                                                                       lnmate'
                                                                                                             l' - ''                                                                                .                  Remsed
                                                                                                                                                                                                                       '
                                                                                                                                                                                                                      . ., .,.,.09
                                                                                                                                                                                                                                ...29
                                                                                                                                                                                                                                   -.. /
                                                                                                                                                                                                                                       0
                                                                                                                                                                                                                                       .-.7
                                                                                                                                                                                                                                          ..                     ..'vq,.. ..z
                                                                                                                                                                                                                                                                       , ,.
                                                                                                                                                                                                                                                           ..... . e.. ,  ...
                                                                                                                                                                                                                                                                             ,

                                                                                                                                                                                                                                                                      . .X   .
        Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 102 of 276
                                                                                ..   t
                                                                                      :*
                                                                                       7:,>.                                                                                                         apu.
                                                                                                                                                                                                    kr  ...p;s        '
                                                                                                      ,..
                                                                                                                                                                                                                      :
                                                                                c.
                                                                               '                      '
                                                                                                            m orcorrectionalHeaIth,,                                                                .
                                                                                                                                                                                                         '$,
                                                                                                                                                                                                                      .

                                                                                                                                                                                                                  .
                                                                                ':             .t,!


                                                                                                            tSICK '
                                                                                                                  / ALQ'
                                                                                                                       .REQ UEST

     FROM: (PLEASE PRINT)
      q.ewy.'
           Z'''z
             r >
               ',w,.cyz>.
                       z ..p .z.x, jo(xp..
                                         yy zyk
                                              zp uu.
     . .k                                                     F
-.'
     tlnmateNa> )                                                                                                                                                  (ID#)
     (Nombre)(Non)                                     ;r-.                                                 h.    gwzq,-r d      ,.- '
                                                                                                                                            u?<                        e-               )
                                                                                                                                                                            LC'f,. ' .eV-! .
                                                                                                                                                                                                        ...:y
                                                                                                                                                                                                            u''
                                                                                                                                                                                           z.
                                                                                                                                                                                            ;
                                                                                                                                                                                            )
                                                                                                                                                                                            . -(,...':-j
                                                                                                                                                                                                 ' ' .
                                                                                                                                                                                                         .;
                                                                                                                                                                                                          y
                                                                                                                                                                                                          ,-k-.'.
                                       '                                                                                                 -.
                                   .                                                                             .                                                                                       z
                                                                                                                                                                                                         &      -;
                                                                                                                                                                                                                 ' ..                           .-            ,
                                                                                                                                                                                                                                                              .....'
                                                                                                                                                                                                                                                                   ..'
                                                                                                                                                                                                                                                                     -'
                                                                                                                                                                                                                                                                      .. - ..- '
     /
     8
     .y,.:
         j.L.tn ..
                 /a y,
                     6                                                                                ,
                                                                                                      %. <j
                                                                                                          zg J: j                                                  (Fetha)
                                                                                                                                                                               ..

                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                              <                           .
     (DateofBim l                                                                               (foM lidad)
     (Fp1adeMyeimiento)                                                                         (LoJman)                                                           (Dat)
     (DaiNesarisPr tonye-:)                                                                     (HousingUn itrallg)                                                (Date/Time')                                                                               '                           .:.
                                                                                                                                                                                                                                                                '..        .' ' .
                                                                                                                                                                                                                                                                          .'
                2....'   '..-.-..                                                                 . ..   .                                                                              ...
                                                                                                                                                                                           ..
                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                          .j        . ..x.$,
                                                                                                                                                                                                                                                     ' . '.           .             .     .
                                                                                                                                                                                                                                                             ). :.2 . '        ..     L .';


     FBMMLM#;tBEspeclFlc)
     #Rué$k4yl:
                   &.   *                                                                                       -'
                                                                                                                 -                                > --.                   &.                 k                        w- u.....a.., ... > -..ï j..r                             . ...
     ewèàps'k:     &                                        .
                                                            '%
                                                                                                                 r
                                                                                                                   z'
                                                                                                                ,t/'
                                                                                                                   .
                                                                                                                                  //***0-
                                                                                                                                   Lx' v œ                                         (..;)-- V'j$z.
                                                                                                                                                                           za---:r z,. -
                                                                                                                                                                   , zl7A'>*                .
                                                                                                                                                                                                w-jtIu
                                                                                                                                                                                                    ..-j... .,
                                                                                                                                                                                                      u.
                                                                                                                                                                                                       :'
                                                                                                                                                                                                        .
                                                                                                                                                                                                        :. . . t..... -.u
                                                                                                                                                                                                              /. .      ,
                                                                                                                                                                                                                        zr
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                  CV ..;x
                                                                                                                                                                                                                  .      .
                                                                                                                                                                                                                        .,
                                                                                                                                                                                                                         .): .'r ..
                                                                                                                                                                                                                           -3..L
                                                                                                                                                                                                                               .,
                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                 ,;v
                                                                                                                                                                                                                                   .y..
                                                                                                                                                                                                                                  .,
     t*'                                        ('N z#-
                                                      x%
                                                      .e'                        .'
                                                                                  .                    .                   )/.'
                                                                                                                              x
                                                                                                                              .
                                                                                                                              A
                                                                                                                                    w
                                                                                                                                                               ' Cêz'# ZF'
                                                                                                                                                                         --. 'z
                                                                                                                                                                              -
                                                                                                                                                                              './
                                                                                                                                                                                .
                                                                                                                                                                                ,..
                                                                                                                                                                                  '.
                                                                                                                                                                                   2- ' /'
                                                                                                                                                                                   ,     '
                                                                                                                                                                                         c
                                                                                                                                                                                         .
                                                                                                                                                                                         -..
                                                                                                                                                                                           --                                                   e. .
                                                                                                                                                                                                                                                   :......s
                                                                                                                                                                                                                                                   -%.
                                                                                                                                                                                                                                               C .'> '
                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                     -;
                                                                                                                                                                                                                                                     '''
                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                       c
                                                                                                                                                                                                                                                       Q'-..
                                                                                                                                                                                                                                                         7'.
                                                                                                                                                                                                                                                           6,. ..-;
                                                                                                                                                                                                                                                           ry.
                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                           - -
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                             .-
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                              e7.
                                                                                                                                                                                                                                                              , ,.
                                                                                                                                                                                                                                                                 't'
                                                                                                                                                                                                                                                                   ?
     k -
       --      .- .
                                                   .   f                                                                                              V
          -v                                                                    se-.
                                                                                   j                             .
                                                                                                                 >                            a-.
                                                                                                                                                -         v                                     ,4                           ,..
                                                                                                                                                                                                                               - .-                  ,'- .
                                                                                                                                                                                                                                                         v us
          5 .,, C>                                                ,x1          A..z                         ?.p
                                                                                                              ' u%'w
                                                                                                                   e'
                                                                                                                    -
                                                                                                                    V .'
                                                                                                                       -
                                                                                                                       .
                                                                                                                       g.
                                                                                                                        'r' /-/,
                                                                                                                               .
                                                                                                                               ,'-*>'.
                                                                                                                                     >
                                                                                                                                     '-' .
                                                                                                                                         *./..=                                                 .                           z-g'4zx.
                                                                                                                                                                                                                                   v              .' /'w .-.-'z-.
                                                                                                                                                                                                                                                                r
          .;
           .     e
        ZQ                   ''                               X                                Z'                          d . çg                                      .-.. .                       .. .                      ew      . ..
                                                                                                                                                                                                                                         0                                         zr *'.'
                                                                                                                                                                                                                                                                                         t'-.-
      #r .e . ./..                                          z.+.y
                                                           ..                                  k.-.J
                                                                                                   ...z-M/,;'.a(,
                                                                                                                ;
                                                                                                                .
                                                                                                                .gcz/e.
                                                                                                                e'    4u.,.t.7                   '
                                                                                                                                                          ..!)
                                                                                                                                                          ,  y...rg.. y.w. , ....
                                                                                                                                                             .                  qI,.7   '
                                                                                                                                                                                                                            ,p
                                                                                                                                                                                                                             ..'
                                                                                                                                                                                                                               ja.
                                                                                                                                                                                                                                 u..y.. y,.z,. *-.y
                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                  ..= -......-..-z.z..z'yyy..
                                                                                                                                                                                                                                                          '.
                        ..                 '
      /               ..
                       ,-*-e--                                    K                  wzyjr                                          -*.--'                                 ..           ..                                                                                     .
        L-.
          -                                    N/ -- 1       z-/-z&'
                                                                   -,      '
                                                                           .
                                                                                                                                   l f-z''            .,/-/
                                                                                                                                                          '
                                                                                                                                                          e/>- (-'
                                                                                                                                                                 u'z    'q'
                                                                                                                                                                        -          ..
                                                                                                                                                                                    z'.   s'.,z'(-.
                                                                                                                                                                                                 ''
                                                                                                                                                                                                  --.
       jj                                      k/'.
                                                  '.
                                                  a
                                                    .. '.     .
                                                               .     -.                                                               ;kk;;..
                                                                                                                                         -....
                                                                                                                                                  ....            ..-;,k .!r. ..    . ,.. ..          - .,..
                                                                                                                                                                                                         .. 2...-....u...
      /-
       J'                                  t'O- ,     '
                                                   t..e   ze
                                                           z
                                                           ' (
                                                      z / ,1 .n      ?wt-
                                                                     ,
                                                                     '
                                                                     *  -7                                           . .
                                                                                                                                    ;
                                                                                                                                    , .?.
                                                                                                                                    r        -.-
                                                                                                                                               t
                                                                                                                                               r J
                                                                                                                                               . e'  -      r-p / <
                                                                                                                                                            t- w - î-'   i   /-
                                                                                                                                                                              ,z z
                                                                                                                                                                                 ,'
                                                                                                                                                                                  .,
                                                                                                                                                                                   .y'
                                                                                                                                                                                     -  -
                                                                                                                                                                                        2 C-
                                                                                                                                                                                           -'
                                                                                                                                                                                 ... . --. ..L .
                                                                                                                                                                                               -  .  J  k
                                                                                                                                                                                                        '
                                                                                                                                                                                                        '--z
                                                                                                                                                                                                 - -/-.-x . ---.
                                                                                                                                                                                                            .            -
                                                                                                            .

        '-
                                                                                               7- /< .z-? ,zee#. v.-sk- - N,y c: ,
                                                                                                            t,
                                                                                                            ,
                                                                                                                                 ux e
                       ..
               . ... .-.',
                                               ... .              ,                  .' . '
                                                                                                                                    .                ..        @4T
                                                                                                                                                                 7.
                                                                                                                                                          ..u.x: .                  -       . -
                                                                                                                                                                                              .s
                                                                                                                                                                                               ..-
                                                                                                                                                                                                 .).-
                                                                                                                                                                                                    ... .. .-.r
                                                                                                                                                                                                              œ
                                                                                                                                                                                                              ''.:
                                                                                                                                                                                                                 '-.â'-
                                                                                                                                                                                                                      ?..
                                                                                                                                                                                                                        '
                                                                                                                                                                                                                        .'.'N'
                                                                                                                                                                                                                             .:*
                                                                                                                                                                                                                               '-'''
                                                                                                                                                                                                                                   -'
                                                                                                                                                                                                                                    . '''E
                                                                                                                                                                                                                                         '''
                                                                                                                                                                                                                                           L
                                                                                                                                                                                                                                           .':'%'.
..r
  -'
   ..                        .
                             J..
                               '
                                y.
                                 J
                                 ....
                                    u
                                    .
                                    jy.44y(
                                          .:
                                           ''..'
                                               .''.
                                                  +:
                                                   m:
                                                    rj:
                                                      œ-
                                                       t
                                                       !!#J:.                                                    J. .                                .             '                                                         . .        '' -
      ....                                                                                                                                                                                                                                                                                      .



                                                       .     7                                                                                                                                                                                                                        -         .


        1                              '                              '
        .                                                         .   ..             .J'                                                  .                   . .                                                                       -. . . .d:y.             . . ' .'2(q.         ,' ...
                                                                                                                                                                                                                                      ...)k.,.j::.'
                                                                                                                                                                                                                                                  ::.'.1'f-.
        ' '.                                                                    ' '                                                   .:                                                                                               -                      ' ' -.
                                              ;   v        . . ..                .         .
                                                                                                ..
                                                                                                                 .          ..   r =.' .? ,:4.
                                                                                                                                             ....i.       ..z.j;-z.<.'..rf...                                                       .:.
     TRIAGE DECISIO'N'B Y N UR
                             ., SI
                              .. ,NG STAFF
                                     ,    lönla  , e kONE*
                                              #':b     ;u. w.r
                                                               Qx* eIoF)
                                                                    - .,.                                                                                  .
                                                                                                                                                               .          ..                    .
                                                                                                                                                                                                                                     ., '
                                                                                                                                                                                                                                        -,               '

                                                                                                                                                                                             ''
                                                                                                                                                                                              .         )2.           ''1
      L Referralto H CP:                                                                                                                                                            Z Referto Nurse SickCéll:                                                                   '''
                     L                                                     .

      U RefertoDental:             g-
      D callProviderw/Assessment:Temp                                                                                                    Pulse                         Resp                                       BP                       O

      D other

 '




                                                                                                                                                                                                '                                                    ;




                                                                                                                                                                                                                                                                                                    .2

                                                                                                                                                                                                                                                                                                    :.
          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 103 of 276




                                                                                                                    '
                                                                                                    .                         .-               .       ..       ,
                                                                                              A rm b'
                                                                                                    /dig.-ékkloùàlH èàltli,Inc

                                                                                                    SICS CALLREQUEST
                             - .....                              . .               .Z.
    F:ö#;(>'
           tM :E Fk1k1-)                                                                                    '   :$ ar''
                                                                                                                '     i'
                                                                                                                       J

    b..f.*'
        *
       J.'rr-   #,.J.z7 '9
            /7 gr    . . ..n,,
                     ......  '
                             A   ..                .                                      J,.
                                                                                            .7z.z> .
                                                                                            '      z.i - - J:'î
                                                                                                     -.. ''
                                                                                                              .
                                                                                                                             - ..
    (Ip'
       1àt,.N.'..1q)
                   ..
                    j---..--.-.--..-.
                                    -.-u'
                                        zL-.
                                           -
                                           .-
                                            ''
                                             ,.-.
                                                --..-
                                                    k--...-;.
                                                            r..-.
                                                               yj.a-. =.-
    (SO1Rj,U'j
       .'       o
                .
                u
                ..
                  'u
                  a.                                         yg.   jk
                                                                    .                                              ...

                 .
                     -myA
                        ,
                         n-u;
                          '
                                                                         u
                                                                        ..           .p           x s             <.,à.
                                                                                                                      =.
                                                                                                                       '
                                                                                                                       k
                                                                                                                       L
                '
       A);
       .
       t r.C.
            .;
           ...
             &.. CJ &...s
                 .
               e u      o                                                                         wy,
                                                                                                    y.p
                                                                                                      .r
                                                                                                       yr.(
                                                                                                          J'.
                                                                                                            J
                                                                                                            ,
                                                                                                            .,)
                                                                                                              ..j .- .
(Dqtvy'
      fBi4h) :                                                                                (Loàafdad)
(SpéiikqNaùimi4ntp)  .                                                                        tLpjrriarïl
(Da1Neéànshrizgnyea)                                                                          (Housirigunitr elw)

PR OBLE,   '          M:1    ,,BE'        SPECIFIC)'
                                              ' ' ..
PR .D'B L A .                 j
                              ,
                                ,
                                -..-
                                 '
                                    .J.
                                      w-...
                                          -.
                                           -...-w..
                                                  -
                                                  '
                                                  ...;
                                                     =.<s'..u-......
                                                                   -..
                                                                     m..-k
                                                                         .--.
                                                                            -..-. ..-..-...
                                                                                          -.....
                                                                                               -..
                                                                                                 -w.
    . . .'a;.: ' 1 :.
PW    n''n Im     .'#mM   '''.+'- ' ..                 ..                z                                                                                                              .. .
                                                                                                                                                                                           , .                     .t
                                                                                                                                                                                                                    '.
    -<= -.'z.=.*-.=--;':r.uu..
  -..
 M ' 'v         .
                         '

                                  ,
                                    - -. ..é
                                         .   .-
                                              '-z;'u..'.gc-
                                                   .       ht'.7.-.  -.â/... ,
                                                                             -.zG.v.
                                                                                   -.'.'.-...-...    ,
                                                                                                     ..
                                                                                                      -z..
                                                                                                         s..-,.                                                     'e...'..-.
                                                                                                                                                                             '-..
                                                                                                                                                                                -:s.....'.
                                                                                                                                                                                         z',
                                                                                                                                                                                           .
                                                                                                                                                                                           -.'
                                                                                                                                                                                             t.
                                                                                                                                                                                              -.
                                                                                                                                                                                               '--
                                                                                                                                                                                                 .
                                                                                                                                                                                                 '.c
                                                                                                                                                                                                   .'
                                                                                                                                                                                                    .-
                                                                                                                                                                                                     .'
                                                                                                                                                                                                     na ....
                                                                                                                                                                               '.                                          '    ''
                                                                                                                                                                                l       -               *..          .

      fC..
      .
         #y--.
      t--ï- -
             -'r'.
                 /-'.
                    .
                    +
                    ,,
                     -.
                      -..
                        j'..
                           =-
                            '
                            j.'.
                               /.
                                '.
                                 (':.
                                    ,-
                                    'Y-',:'
                                          wn,.-.
                                               /-V.
                                                  u.V..,
                                                       .-/#c
                                                           z...
                                                           C
                                                              w,.
                                                              u z'..
                                                                   &
                                                                   ...y'.a
                                                                         -'>.-..-'
                                                                                 ><-
                                                                                   .v.
                                                                                     k
                                                                                     '
                                                                                     ...
                                                                                       w-.
                                                                                         =nz .
                                                                                             f'0.
                                                                                                +-..-
                                                                                                    y
                                                                                                    k.
                                                                                                     -
                                                                                                     >.
                                                                                                      t
                                                                                                      >.'e
                                                                                                      ,r-kp
                                                                                                          ,w.
                                                                                                          - Q
                                                                                                            r-y..
                                                                                                                e'-
                                                                                                            . ' .
                                                                                                                  &'.
                                                                                                                    '.'J..''
                                                                                                                           : h-.'
                                                                                                                                .a'3-,z'
                                                                                                                                ' .
                                                                                                                                       Y           .
                                         kw Q'
                                         '   i.'j..                                                                                                                            '        .               .x              ':     .:
      J.                                     ...
                                                       1s.                   A            .             <                   .N     '                        '                          : .: 7'           N           . '.
    # .67-.
rr z 2
r
          4..'
             .=..-
             ..
              -
                 A#' .Y
                      xjV--..J.ur.
                      '          w.
                                  ,
                                  -
                                  .
                                  +w/'>j
                                      g -.
                                         a..w.w.,
                                                j..
                                                  z.....-.
                                                         y. p
                                                            .y
                                                             .e-.u....
                                                                     a
                                                                     ,...-
                                                                         ze,
                                                                           . ...u...Z>..p s-.
                                                                                            .y!
                                                                                              V.cyy ...<..
                                                                                                         g.-,
                                                                                                            .'
                                                                                                            w
                                                                                                            kT .c4
                                                                                                                 .j
                                                                                                                  >s.
                                                                                                                    ..
                                                                                                                     ..
                                                                                                                      ,
                                                                                                                      &.-'
                                                                                                                         ,-
                                                                                                                          .-...x
                                                                                                                               '
                                                                                                                               k
                                                                                                                               -
                                                                                                                               t...w..
                                                                                                                                     -                                                                         .         ---    -

                                             <                                      >. .                                     .             .                             - .                     .'           : ' x ..
                 '... -. - '' z .-
'
    67'?    .
                .-               -
                                  w -.
                                     z''
                                             /p
                                                                    '
                                                                    ...w -.
                                                                          -   ...
                                                                                 &.
                                                                                  e
                                                                                  '..-é'.=éw
                                                                                           .
                                                                                           -w..,..
                                                                                                 ye
                                                                                                  .'y..
                                                                                                      c%Izi
                                                                                                          -gv-
                                                                                                            .=---.-wp
                                                                                                                    ,?L.Y-.zg'*w.
                                                                                                                                p*-J
                                                                                                                                   .
                                                                                                                                   ,.
                                                                                                                                    'g..
                                                                                                                                       .
                                                                                                                                       *
                                                                                                                                       -.
                                                                                                                                       .-....w-.,:,-: 'k,.,'- --#'.-.-..
                                                                                                                                                                       Xt.t
                                                                                                                                                                          ..
                                                                                                                                                                          >'Q
                                                             '                                                                                                                                          .:
                                                                                                                                                                                                         ;
                                             C.              i.                     . ee <    '                                    '                                .n             W                  ''. -'
                                     .#.
                                       J
                                       .x..
                                          gu
                                           =I......W.(x..
                                                        l.
                                                         Q
                                                         y..
                                                           y..#.
                                                               ...
                                                                 0.'.
                                                                    Q.q-' ....
                                                                             w.<.
                                                                                ,
                                                                                -.&.-.Q
                                                                                      .Q.
                                                                                        --..-..-..,. ...,
                                                                                                        .
                                                                                                        z'
                                                                                                        .W..&..y.w..u$oy
                                                                                                                       z
                                                                                                                       ---r
                                                                                                                          .
                                                                                                                          : yw
                                                                                                                             .
                                                                                                                             v
                                                                                                                             M ..
                                                                                                                                r
                                                                                                                                >......& .--qv.,
                                                                                                                                               .




EZ RefertoDëiltà-l'
                  .
    L cailProviderw/Assessmeht:Temp                                                                                        Pulse           Resp                     BP                      Wt
    ED Othë'
           r-'-''-
          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 104 of 276




    FROM : (PLEASE PRINT)
                                                                                                       2o w p ,
                                                                                                              'AJ'z o
'
    ,x 'yWgas.gy4 ..
     ..      .     W                               /   ))yz,pgp c.                           - -
                                                                                                                                                                      J.' '
                                                                                                                                                                      :   ;:.''
 (Inmate Name)                                         '
 (Nombre).(Non)                                                          ,                             (1D#)                                                          'h
 ,Yt:7.7,ç./ JA4
..                                                             74
                                                              .'',Z Z *DY '
                                                                    .
                                                                          *-
                                                                          /                             7.'è.z/,2c.2&r.-@
 (Da* ofBi& )                                                 (LoO lû#ad).
                                                                         j'
                                                                          ,6.                      (Fèea)                        :                                            ;
 (Fe* adeN@cimiento)                                          tLojmail      ,t                     (D'1)                                                         t
    (DatNesansPrizonyea)                                      (HousiniUnitr et')                   t
                                                                                                   (D@@,
                                                                                                   r
                                                                                                   .   ?
                                                                                                       /Time). .
                                                                                                               :             .                                   .
                                                                                                                                                                 :
                                                                                                                                                                 '.'.''.
                                                                                                                                                                       t?.''cg.

    PROBLEM: (BE SPECIFIC)                                                                                                                                                jtt,!.
    P ROB    A:
          LEkM;                                                                                                                                                   s'
                                                                                                                                                                   q,;,
                                                                                                                                                                      ''
                                                                                                                                                                       .
                                                                                                                                                                       k(
                                                                                                                                                                        r.,
                                                                                                                                                                          .;
       :'BLe''             .     .
                                                                                                              -                   .- r- .-.                    (.
                                                                                                                                                                ;...
                                                                                                                                                                   ''
                                                                                                                                                                    .'.-è
                                                                                                                                                                    -   t
                                                                                                                                                                        '
                                                                                                                                                                        ,
                                                                                                                                                                        :
                                                                                                                                                                        ,?
                                                                                                                                                                         '
                                                                                                                                                                         .J.
                                                                                                                                                                          ,'
                                                                                                                                                                           , .. .
                                                                                                                                                                                 .

    PW                                             a.
                                                    ,
                                                    .
                                                    ,é
                                                     zg.vs.             ,
                                                                        ;vo              wr-s g..- >e > zg..
                                                                                                           j,z . .zv.
                                                                                                                    xy                                                    .
                               ,              ,z   ,


          C-
           :;
            7
            'tzz',e5 ,4 ZJ L.=
           - ---               .-    .   --   ..
                                                           g-/tzztz7r o   -.
                                                                                 #Wp     .
                                                                                                        z/
                                                                                                       ..
                                                                                                         z f t'
                                                                                                              A A # (z t:. ,8
                                                                                                            ., . ..         . v
                                                                                                                              .-- .>7
                                                                                                                                   ------..
                                                                                                                                   .      -.
                                                                                                                             ... . . . .. .   -----.
                                                                                                                                           ---.    .w6
                                                                                                                                                    .
                                                                                                                                                     .,q-
                                                                                                                                                    ,,  .p
                                                                                                                                                         ....-
                                                                                                                                                             .
      J 4 RA                         Ju /#ûzy'tz7 A z V/.'LW J/J.C- /f
                                                   .                 <               .
                                                                                                                      ',uc       . .
                                                                                                                                       pzu).z.o..c
                                                                                                                                        ... .. .
                                                                                                                                                  zy-pra
                                                                                                                                                 . ..;. ..
                                                                                                                                                              J> .
                                                                                                                                                         - ... .. . .
    ---- .. .      - .--       .-.



                                         m,
                                          7,'
                                            :/:7.
                                                > '/a.              'x-co (.
                                                                    t      x




                                       (0#!#iphpokoNEiboxl
    TRIAG E DECISIO N BY NURSING STAEF @                  belo# .,' L '. 'La'':, .   ,
                                                                                             r) :,
    L prgent. 's:nt n,.' :
                         '
                         ., .J..
                               : ..'                     Z RefertoBehav
                                                                     :2.-..-...i
                                                                               or
                                                                               . al
                                                                                  . Heal
                                                                                     .-...'-..nt
                                                                                         '.    a:h:
                                                                                               .  . .. ..
                                                                                                        '-
                                                                                                         x.z, '          -' -.          .....'
                                                                                                                                             -. -



    L aeferralto Hc.e.
                     .,,,w'f                                  . .., '                                        L RefertoNursesickcall: . . . .

     L Referto Dental: -   --   -
     D callProviderw/AssessmentTemp                                            Pulse                   Resp                      BP ,                    O   ,

     D other




          pvmas                                            twhl
                                                              tec. y-ùnmateMeuiealFij
                                                                                    e veglow.
                                                                                            yopyn Inmate)                                                    Reviseuzgqzlzz
              Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 105 of 276




     FROM:(PLM SE PRINN                                                                                                 e
                                                                                 .                              .
                                                                                                                                                                                           ''J .z). .- / e..-'-.. ...r
                                                                                                                                                                                          .. -
     CJ.Cy%..-
     ...
              o .,&'
             V.
              A   .4.=(-#p
                       ..-wZw'
                         X. .
                            ,,
                            vy
                             ..ru
                                *.e
                                  *.....-. .#
                                  v         ...z
                                            0  a
                                               .'
                                                s
                                                -r
                                               w'
                                               .r .
                                                  '
                                                 ..
                                                  w;
                                                   ,
                                                   '.
                                                    ./'
                                                     r.t-
                                                        -Jg
                                                          '-../
                                                          -
                                                          .   ..'
                                                                yu.
                                                                 e
                                                                s.
                                                                 A ...                                                                                         .....              .
                                                                                                                                                                                             u f'
                                                                                                                                                                                               .,L .'' a4
                                                                                                                                                                                                        .'.
                                                                                                                                                                                                          t.
                                                                                                                                                                                                           -. L..
                                                                                                                                                                                                                                                                                                      ';
                                                                                                                                                                                                                                                                                        . .            .'.   '
                                                                                                                                                                                                                                                                                                         . .. , 4j'#g. -   !v
     llnMatéName)
     (NoHW+)).
             (Non)                                                                                                                         ':'''':                                    (lD#)                                                                                                            '..
                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                         -:'
                                                                                                                                                                                                                                                                                                           .'
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                            -...%
                 ,    .                                                                                                                                                                                   .
                                                                                                                                                                                                                              r
       J I:.'                                                                                                                           ey (
                                                                                                                                           .
                                                                                                                                           g                   .
                                                                                                                                                               2                                                              G.
                                                                                                                                                                                                                               :, <                                        ..
                             .                                                                                                                                                                                        .. .
                            .=
                                                         zy uj .-
                                                                œx.                                             . .u.                  ..
                      .                                   .
       .                    -ë r                     .e  .       x. r                                              r                   ..  u                                                      #'          .#                  '                                            !
                                                                                                                                                                                                                                                                               '
       :
       (k
      ?'
      -
      , ap
         qï
          -
          ji?
          ' ----
               à32j
                  '.
                  iv-
                    .
                    r.
                     ;
                     j.
                      '.
                       oL
                        '
                        -
                        ...
                          J.
                           nt
                            '
                            -k..'
                                ,;é.-;
                                     1-
                                      ï
                                      .
                                      -
                                      b
                                      .'
                                       .r
                                        .x
                                         F
                                         r
                                         -
                                         s
                                         i)
                                          :,..,...-.
                                                   --                                                       -;
                                                                                                             ::
                                                                                                              ..-
                                                                                                                .-.v.T
                                                                                                                     -1..
                                                                                                                        j
                                                                                                                        .
                                                                                                                        ,:
                                                                                                                         .t.
                                                                                                                           q.
                                                                                                                            -...-.!r
                                                                                                                                   :!y
                                                                                                                                     . ..;
                                                                                                                                         -
                                                                                                                                         1
                                                                                                                                         -.. .,
                                                                                                                                              ..                                      .

     (Dà% ofBie ).
       .... .                  . . . ....                                                                   (LoY lidad)::
                                                                                                                    .    ... ..2*-'ff             ('
                                                                                                                                                  ,
                                                                                                                                                   F.B& a)
                                                                                                                                                      -
                                                                                                                                                           'Q.
                                                                                                                                                             w:.'
                                                                                                                                                                %.....
                                                                                                                                                                     -                                                                                                       c'.=
                                                                                                                                                                                                                                                                             t  .i
                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                  7 r' -'t .
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           .'':.'
                                                                                                                                                                                                                                                                                                .
     (FM hàà@Nae iae )                                                                                      (LoJ-maB) .t17'.        -
                                                                                                                                    t.
                                                                                                                                     L            (  .
                                                                                                                                                     a  )
                                                                                                                                                       ''
                                                                                                                                                        'v    a ...  .
                                                                                                                                                                     .;                    'w.
                                                                                                                                                                                           b                                                                       .'v....:s....- .C.r'v..
                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                         !..
                                                                                                                                                                                                                                                                                           -... .
     (DatNesàisPre nyéa)                                                                                    (Hauilbj-'    bàkDétm               -, '
                                                                                                                                                     ate#' Tlmel..-. .                ..
                                                                                                                                                                                                                                                                   u,..
                                                                                                                                                                                                                                                                      t.,t' ..'., '
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                  -.
                                                                                                                                                                                                                                                                                   z
                                                                                                                                                                                                                                                                                   -..-,.. ..
              ..               y,.'.:                         '.


     P.
      1.
       ROBLEM-
         '
       . .   ! (
               .BE SPECI
                       FIC)
                          ..                                                                                                                                                                                                        '''-''''
                                                                                                                                                                                                                                           -i'
                                                                                                                                                                                                                                             -.
                                                                                                                                                                                                                                              '-J
                                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                 .'
                                                                                                                                                                                                                                                  --
                                                                                                                                                                                                                                                  . i'
                                                                                                                                                                                                                                                     .=''
                                                                                                                                                                                                                                                        z '.
                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                           .-
                                                                                                                                                                                                                                                            .-:.-/.
                                                                                                                                                                                                                                                                  ,'..
                                                                                                                                                                                                                                                                     ';
                                                                                                                                                                                                                                                                      .        '.
     I:'
       !iI;l:4:7
               :..
              .. lEE1LE.. .-                                                                                                                                                                                                                                                       iutkq'.,
                                                                                                                                                                                                                                                                                   '      u,.
                                                                                                                                                                                                                                                                                          . .;
                                                                                                                                                                                                                                                                                             L
                                                                                                                                                                                                                                                                                             -0
                                                                                                                                                                                                                                                                                             -'.
                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                               i-ê
                                                                                                                                                                                                                                                                                                 :'s
                                                                                                                                                                                                                                                                                                   ,F
                                                                                                                                                                                                                                                                                                   'ï
                                                                                                                                                                                                                                                                                                    -t
                                                                                                                                                                                                                                                                                                     -
                               .
     IF:
       '
       C!il!il'd
               (:1
                 '
                 )i
                 -pIE!
                     1r
                      1
                      I
                      ..
                       -
                       7
                       '   1
                           ,
                        Ii!:
                           '
                           -
                           :11/11.
                                 ' .b
                                    ;.L--d-''-'
                                                                                                                                                          -......-..
                                                                                                                                                                                            ..
                                                                                                                                                                                             q -----           -'-----:
                                                                                                                                                                                                                      ' -.-t..-' ----- '        tr..
                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                   t!j
                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                     L.              --            ..
                                                                                                                                                                                                                                                                                   -,
                                                                                                                                                                                                                                                                                    i-.
                                                                                                                                                                                                                                                                                    - -.
                                                                                                                                                                                                                                                                                      'f
                                                                                                                                                                                                                                                                                       $
                                                                                                                                                                                                                                                                                       ;:
                                                                                                                                                                                                                                                                                       ' -;
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                          -  y.;
                                                                                                                                                                                                                                                                                          ècz'  .
                                                                                                                                                                                                                                                                                               ,-)
                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                 .-?
                                                                                                                                                                                                                                                                                                --
                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                 7 --.
                                                                                                                                                                                                                                                                                                   '  t
                                                                                                                                                                                                                                                                                                     --    .
                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                           t'i.,
                                                                                                                                                                                                                                                                                                      --.--'
                                                                                                                                                                                                                                                                                                      f    .   .t
                                                                                                                                                                       s3r3.3-             ,
                                                                                                                                                                                           ti.
                                                --?.'..
                                                                     ,.u,,.-,-o
          .                                                                 .                                                                                                                                 .)                           .    .                  ,-.
    ''
     ..-.,-....- .
                     ,'. ,,
                 -..-z-.       . s c u.,--v.-,.-,- --.....- --.,
                          :s-, #
                                      -v.-
                                         '
                                         -.--.-                -.-.--
                                                          - . .-...-. .-.-., -..-.
                                                                                     .                                  ,.

                                                                                                                                  .... ...
                                                                                                                                              .

                                                                                                                                         -...-. - -...
                                                                                                                                                     ..-.
                                                                                                                                                           .             .
                                                                                                                                                               . .- -.-s......
                                                                                                                                                                             s.   .
                                                                                                                                                                                                  .

                                                                                                                                                                                                  .
                                                                                                                                                                                                              ên / , tv< c.
                                                                                                                                                                                                                          -v, uu r.
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                 .       - ..-

                                                                                                                                                                                                                                                               '           '       ..                       .
                      '    .                                                                                                 ..               ..
                                                                z
                                                                           -.  .i,.'..
                                                                                     i,
                                                                                      '>.< i
                                                                                           ..ëx'.--
                                                                                                  ww
                                                                                                    .u.....'. ,
                                                                                                              a x zp , ze.x tu                                                                                                                                                                                  .
          , ,                       -    .         .w ,                                           .
      %--.
     ,'  %#'..'
              -..4
                 .
                 4.
                  ,,....z.
                  f      '
                         -
                         z'.,wM
                              ',
                               - .7..z-..,
                                     .
                                         r
                                         .
                                         '.-+-.
                                              éz''...
                                              ?     J.
                                                     '-...
                                                     -   -.
                                                          ,
                                                          :...,.-
                                                                .
                                                                ,
                                                                ..,
                                                                  ...
                                                                    '...,.
                                                                         ,.1..
                                                                             '-,                              ..-.
                                                                                                                 6 ...,''
                                                                                                                        .' A .                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                 . ..
                   fz     .. .               .
                                                 z7:..
                                                 *                                                    -.
                                                                                                       .                 .. .                                                                         .                            .
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                               '        .


.
      <
        f . ' e'c
       z -vW
                      m> %.
                .#'.*.u.
                      i   *
                          $. .'.
                           '..
                             $
                             ' '*r
                               * j
                                 ..z.....
                                  '.       j.,,..
                                        .-g:      :
                                                  X,
                                                W.>
                                                  '.  '.
                                                   X..>w-.
                                                         .=.--.j..X
                                                                  ' y..c..-......a)'
                                                                                   J.(*
                                                                                      .'..
                                                                                         kZ
                                                                                          **j
                                                                                            '
                                                                                            yy' X.g.r -r,
                                                                                            .           cV.'y
                                                                                                            .Cu
                                                                                                            . .gf
                                                                                                                 j .yhyW<W <y
                                                                                                                            +.&
                                                                                                                              .'y.
                                                                                                                                 .w'.
                                                                                                                                    Ayr
                                                                                                                                      Q.'
                                                                                                                                    W . -..#
                                                                                                                                        .  W
                                                     .




      l,?y...m .e..
                  w m7rww we.w'e=o''
                                   ZP.IM >G 'KrC*'JHy.'.v--4a1'A'*''
                                                                   m ;**'9't'''='N-
                                                                                  .>2t'.**m '* G=*=.*'J..
                                                                                                        I-*'*I''-''-1-'---''--''-'''''V' D-'''-' ' '                                          -           '                                                                .            .                                  w!'
                                                                                                                                                                                                                                                                                                                           .ik
                                                                                                                                                                                                                                                                                                                           -J.
                                                                                                                                                                                                                                                                                                                           .:   .
                                                                                                                                                                                                                                                                                                                            rr.
                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                              .k.
                                                                                                                                                                                                                                                                                                                              /..
                                                                                                                                                                                                                                    ..          . .                                                                  .      ln




                           .. .                  .    .                                                    7-                                         . ..:.. .w- .i                        . , a.=r< ..
                                                                                                                                                                                           .-          1'' *>'= ,.-
                                                                                                                                                                                                                  'e.< ' .
                                                                                                                                                                                                                         4Y .r'.1.v
                                                                                                                                                                                                                                  'm..r' < .
                                                                                                                                                                                                                                           t ''  c ;*'.tA- .E..'''.*0'.
                                                                                                                                                                                                                                              + 4.                    '*4Ch'' '+-7 N
                                                                                                                                                                                                                                                                                   *'
                                                                                                                                                                                                                                                                                    u - '>' ''e'œ
                  I                                  .l I .
                                                          N                          .. U              1.         ''-: aF
                                                                                                                        '''.
                                                                                                                           0. s >qr. ...
                                                                                                                            'nly' .
                                                                                                                                  '.-
                                                                                                                                   t.
                                                                                                                                    hee'     . .
                                                                                                                                         k NE'
                                                                                                                                             'box .elow 'L.,.u-tir-e'';',..u'r.'.r.-'..':>.-.--''/''-. dl'p''1.-:.e.:.i.:4'ë1-..-.'f.','-.a-'..'.',--'...-.a -' ,'' <.-=,''%.u.Q'+-'x''.'''.Q,*
                                                                                                                                              -                                                               .                                                                    .            ''-    .-


                   '.            .
                                                              ,.. . ' . ,
                                                                                              .
                                                                                                ,,
                                                                                                 es,...-, -rz                                                                                                     .                                                                      $
                                                                            j.       z. .- ,.-'.'     - . .. .
                                                                                                             ,.,
                                                                                                               .
                                                                                                               z-
                                                                                                                ,z
                                                                                                                .a
                                                                                                                 -v.
                                                                                                                 . ,.
                                                                                                                    i.
                                                                                                                     u.
                                                                                                                      -r'
                                                                                                                        ,                             f t e'                       haviora1HeaIth- '                                                           *e' a-.-a-   !.-  .
                                                                                                                                                                                                                                                                                 c!: '
                                                                                                                                                                                                                                                                                 '            .

           .x
                  Refer.
                       v
                       ra.
                         l.
                          to H(C-
                                ?'
                                 .x'
                                 P ''
                                   .,g.
                                      -'
                                       ''
                                        -
                                        o.
                                         ..-
                                           k.-
                                             r.
                                              j'
                                               k.I.
                                                  .-
                                                   .-
                                                    .c
                                                    '7.
                                                     'ji'.
                                                      s  r..
                                                           g.
                                                           '.1
                                                             ..y.
                                                             .  .-
                                                                 yy.
                                                                   ryF
                                                                     ''
                                                                      g'
                                                                       .
                                                                       '.z                                                                                                                                Ref erio Nuo
                                                                                                                                                                                                            %.... .
                                                                                                                                                                                                                       e Si=ck-
                                                                                                                                                                                                                     N -C   -*
                                                                                                                                                                                                                               '
                                                                                                                                                                                                                               C.
                                                                                                                                                                                                                                ca'''
                                                                                                                                                                                                                                    ll'
                                                                                                                                                                                                                                      !.
                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                       ',
                                                                                                                                                                                                                                        -1.
                                                                                                                                                                                                                                          -r'
                                                                                                                                                                                                                                            :.
                                                                                                                                                                                                                                             ,not.
                                                                                                                                                                                                                                                 '.
                                                                                                                                                                                                                                                  ':
                                                                                                                                                                                                                                                   #,
                                                                                                                                                                                                                                                    .'
                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                     è-
                                                                                                                                                                                                                                                     '3.
                                                                                                                                                                                                                                                       '  -<1'
                                                                                                                                                                                                                                                        :'-


      L RefertoDental:
              '
                     ''.        -               .              .            -,                             y; ' '' !e-''
      D callProviderw7Assessm entl/f
                                   T em p ''''
                                             fci-'
                                                 Pulse .
                                                       '    'i: R4Ap .'''''e Bp'
                                                       F-.-..                  t-.rcyi
                                                                                     --e,b'
                                                                                          .)7
                                                                                            .
                                                                                            '
                                                                                            M ''
                                                                                               :''t';'
                                                                                                     -)r'- ' u. .                                                                                                     -




      Q other



      1;<          m=u'
                      Nh'
                        4> Ac<=%W ' L'Q>*6.
                                          ' &*'''* N'Jwm 11' 'W' ' '' ' ' .                                                            1'*-                    -'       =-'               '                       '                        ''                                                                              '.%v




           PCXX
             ,
               c. ,
                  .                              .   z. . ; ,                                               I
                                                                                                            Y ZO... ,*
                                                                                                            .        .*
                                                                                                                      *jRmR.
                                                                                                                           uvxggjm.
                                                                                                                             .    jg
                                                                                                                                  ,..
                                                                                                                                    ju . ujjo
                                                                                                                                            ,wçopyajyjmajej'
                                                                                                                                                           .                                                                                                              Revised09Q'
                                                                                                                                                                                                                                                                                    .0
                                                                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                                                                     ''
                                                                                                                                                                                                                                                                                      D17
                                                                                                                                                                                                                                                                                        ,%
              Case 1:20-cv-23783-MGCk '' Document 1 Entered on FLSD Docket
                                                                     :.
                                                                     '
                                                                           09/11/2020 Page 106 of 276
                                                                                           .
                                                                                            ..a,., .o
                                                                                          ...                                                                                     z..sy :4..e..
                                                                                    j.p                           'i.
                                                                                                                    .
                                                                                                                    z
                                                                                                                  .. ..a                                                     ..
                                                                                                                                                                           2'&         ' '... '
                                                                                                                                                                                              't..
                                                                                                                                                                                              .
                                                                                    v           F'       '...      w.
                                                                                                                    i..                  .
                                                                                    ,.
                                                                                                                      ,orCorm cjjona
                                                                                                                                  . jg
                                                                                                                                     ., mjtN Ià.1i.
                                                                                                                                                 a'f
                                                                                                                                                   :.p,
                                                                                                                                                      .
                                                                                    x.,                           a
                                                                                                                  .
                                                                                                                   f
                                                                                                                   t                                                         .!u1... a x y-,.
                                                                                                A'
                                                                                                                        .    sjc K :
                                                                                                                                   cA LL'RE U ES T

        FROM:(PLEASE PRINT)
    A.
     Ln&/
        --5.,%
             ,
             .,...
                 y,q                                                                     I
                                                                                         j.z?gpz.:-7>.                                                             2 CJo,c)e 6z o-z
                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                              . .,'' .  )'.A . .... .
        (Inmate Name)                                                                                                                                             (lD #)                                                     . . ; ..
        (ND e œ)(Non)                                                                                                   i
    a
    e'
     YV    >-
      ' '1u &
            -a r 'fsk
                    z
                    zJ, rJ.
                            '
                                .                         .
                                                                                                               .
                                                                                                               .4 ./ jçz' 1:
                                                                                                                        .-.''
                                                                                                                            Qe                                     g.,
                                                                                                                                                                     z/J ,coc#'
                                                                                                                                                              (Fe* a)a.t.'7:y':                                          .;'
                                                                                                                                                                                                                           .
                                                                                                                                                                                                                           '
                                                                                                                                                                                                                           g
    '   (Da* ofBi@ )                                                                                          (Lo- li
                                                                                                                    da
                                                                                                                     r4) r                                         .
                                                                                                                                                                                                                           ..'..
                                                                                                                                                                                                                               ''-',,.
        (Fe> aiéqNacimi
                      ent)                                                                                    (Lojm!n)                                        (D:j)     ;::ï''          '
                                                                                                                                                                                        .     .                      r.(          .'
        (DatNesansPe onyea)                                                                                   (HousmiUnltr el')                               (Date#Tjmé).
                                                                                                                                                              .
                                                                                                                                                              .
                                                                                                                                                              ,                                                    '          : l' k.

        PROBLEM-
          E'
                        (BE SPECIFIC)
              .:.. rr. .,
                  . ..      .
                            . .. .,..
                                                                                                                                                                                                                              ,,
                                                                                                                                                                                                                              .'
                                                                                                                                                                                                                                -'.
                                                                                                                                                                                                                               ,i-L:
                                                                                                                                                                                                                                     î
                                                                                                                                                                                                                                   . y
                                                                                                                                                                                                                                      '''?
                                                                                                                                                                                                                                     ;: .
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                          :.        .       -..

        PRO:B,LEMA
               - ;n...   . ..
                                                                                                                                                                                                                             t
                                                                                                                                                                                                                             -..,t
                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                 ...
                                                                                                                                                                                                                                   :ok
                                                                                                                                                                                                                                     ):
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     ( ..
        PWOBLEM:                                           ''-.
                                                              v' .  .w                                                                   w.w          ,.
                                                                                                                                                       a.a--                                         ,.-0
                                                                                                                                                                                                        .z.z
                                                                                                                                                                                                           ,                 '
                                                                                                                                                                                                                             t.
                                                                                                                                                                                                                              7''
                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                r'
                                                                                                                                                                                                                                 .,.:?
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     '',''
                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                     t   '.
                                                                                                                                                                                                                                          ,7
                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                            ('

                      )-                   .
                                                          à
                                                          'b   tff
                                                               . ,
                                                                 ',/..;,... -j
                                                                 3-
                                                                  '
                                                                  *
                                                     .t''-.--,,,- .,
                                                          .
                                                                  -          i
                                                                             t
                                                                             :
                                                                             ;
                                                                             .,
                                                                              )
                                                                              ;)
                                                                               k
                                                                            .-...   .                             -
                                                                                                                  ;'
                                                                                                                   -
                                                                                                                   3
                                                                                                                   '
                                                                                                                   L
                                                                                                                   .
                                                                                                                   -ji
                                                                                                                     b
                                                                                                                     ï -
                                                                                                                       .1
                                                                                                                        5
                                                                                                                        (
                                                                                                                        ;
                                                                                                                        -4
                                                                                                                         :
                                                                                                                         ;.
                                                                                                                          --(
                                                                                                                            E
                                                                                                                            i
                                                                                                                            I
                                                                                                                            ;-
                                                                                                                             ,
                                                                                                                             . ,
                                                                                                                               -
                                                                                                                               j
                                                                                                                               ;
                                                                                                                               :,
                                                                                                                                -,
                                                                                                                                 !
                                                                                                                                 t
                                                                                                                                 k
                                                                                                                                 .,.!
                                                                                                                                    L
                                                                                                                                    -
                                                                                                                                    .
                                                                                                                                    ,
                                                                                                                                    -.,
                                                                                                                                      '
                                                                                                                                      .
                                                                                                                                      '
                                                                                                                                      î                                                     . /
                                                                                                                                                                                              - ..                      ,;ybt6t6?t''
                                                                                                                                                                                                                        .     ;........ L,
                                                                                                                                                                                                                              .                   .,. .
                                                                                                                                                                                                                                                        .




  J z-.
  z   ''
       -- ...P f.1
             ..   k
                  .   ?e'-u ,
                    ,,.     c-)/- . ... z'M >.. z,z.. . >f' .'* v .<>  r..   zm ,
                                                                             , utn-cezova     l .
                                                                                               z
                 '                  '
                                              #            w >
'/ //'.9.+ f. -t.- r wp+.
                       ..
                      .s. .e
                           :t
                            ,k
                             .ztpyt.a. c. zvy/'o gz.b.xree
                                        . .,   .
                                                         c'- '
                                                             A'
                                                              .' z'
                                                                  ;,z-.yo. .-,az
                                                                         -    ...-
                                                                                 ze..g.y
                                                                                       .,.+
                                                                                        .,.w
                                                                                           -
                                                                                           ,
                                                                                           . .. ...
                  4                                                          .                                               -. w                                                 .,          > .# .- z.-          ,                    .               e' w.-
          ,-      lvi; j.
                        7.
         e * ... . z ...1
                         t -t- ,J'.v'
                        2 ...
                                   ,z
                                    /              . .-                ..           .
                                                                                                         ô.v' -;'-z
                                                                                                         ..             .
                                                                                                                                             z'e.-rp a,4 w'
                                                                                                                                             wr .
                                                                                                                                                                                            z'..
                                                                                                                                                                                               ,,
                                                                                                                                                                                                k,.'
                                                                                                                                                                                                   .
                                                                                                                                                                                                   ,
                                                                                                                                                                                                   p             z,W               z
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                  ?-.,-
                                                                                                                                                                                                                                         '- '- ') .'
                                                                                                                                                                                                                                                   .
                                                                                                                                                     /.       #
                                                                                                                                             .   1                                                                      ..

    J.
        'c.''ca .4 u,'-                    .          .
                                                                                           zv2
                                                                                             ez
                                                                                              t, i,7ze LQ'&'
                                                                                                     '
                                                                                                           #-                                                     Ku'yw.
                                                                                                                                                                       '-
                                                                                                                                                                        z:.-,4f,+'''
                                                                                                                                                                                   & ''
                                                                                                                                                                                      Fvr-T
                                                                                                                                                                                          '-e
                                                                                                                                                                                            > ?z
                                                                                                                                                                                               ''N, '
                                                                                                          f                                                                             #                                                   -
                                                                            .
/?Kp'j>d& 4 r crr-te; ,'
.
         '
                        1
                       gi
                        J
                        ''
                       ''.
                     6'.  .'-.
                            '
                             .?4 /k! W. -lt'b'j'ç''''n
                             /
                  - . .. . ..-:    . ..: .....
                              ..ak,:                      .
                                                                                     ae' ' .a'
                                                                                                              ,         .t
                                                                                                                              ,' . . .
                                                                                                                                  ...
                                                                                                                                             .
                                                                                                                                             ,w-g    vvc
                                                                                                                                                       'J u
                                                                                                                                                          .'
                                                                                                                                                          .                                            ..   ..   ....        ..
                                                                                                                                                                                                                              u        .. ..,.... . ..
                                                                                                          r                                          f' .




        TRIAGE DECISIO N BY NURSING STAFF m hlyche ko NEt
                                                        boxbelöw)'.7:
                                                                    ,
                                                                    .
                                                                    7 L;
        Z -ument: ''SC                                                  èl,'i è''
                                                                                .'C7'''è'
                                                                                        ?. r                                                                           Z Refert9.B#havipralHeaIth:                                       z ,'
        Q Referrallo HCP'
                        .                                                                q-'r                      !,
                                                                                                                    '',':                                              Z Ref4rtoNpp:Ai
                                                                                                                                                                                     pk'
                                                                                                                                                                                       CàII: z'.: ,,
                                                                                                                                                                                                   .t '

.
        'L Referto Dental:
            L callProviderw/Assessment:Temp                                                                                                  '
                                                                                                                                             Pul
                                                                                                                                               se                 Resp                 ' BP            ': O             .,
                                                                                                                                                                                                                         :'
         L other




                  G -905                                                                             (wbi
                                                                                                        tecopy- lnmate MedicalFii
                                                                                                                                e Yellow Copy-lnmate)                                                               Reeised09/2(,
                                                                                                                                                                                                                                /()
                                                                                                                                                                                                                                  7
         Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 107 of 276
                                                                                               .   Q. .                                                                                                                            - .' .
                                                                                           ,                 b%      .                                                                                                               '.
                                                                                                                                                                                                                                      + .
                                                                                                   ;:Q.      ..   e j;'z5
                                                                                                                 ''                                                                                                            .- '
                                                                                                                                                                                                                                  ..' .2' ..'

                                                                                      .    ;
                                                                                                   'c'
                                                                                                   .t
                                                                                                     ,
                                                                                                    ,.
                                                                                                     , j
                                                                                                       t u o,r....OT.: 5D.0..
                                                                                                                            '.
                                                                                                                            n,al'
                                                                                                                                ,
                                                                                                                                .,Bajlnk'
                                                                                                                                o       à'.
                                                                                                                                          zxxx
                                                                                                                                             -
                                                                                                                                             '
                                                                                                                                             g
                                                                                                                                             'i
                                                                                                                                              /
                                                                                                                                              .
                                                                                                                                              ''..
                                                                                                                                              c  ; $.
                                                                                                              :- - . '                                                         '            .                             '               $ .2.
                                                                                                                                                                                                                                          '
                                                                                          ..                 gt...
                                                                                                             .
                                                                                                            .. .
                                                                                                                                                                                                                              ,. ;       -p:rkl
                                                                                                                                                                                                                                              .
                                                                                                                                     .',
                                                                                                                                       .             .              ' .y
                                                                                                                                                              .,' . .  r                    '         .        . ...
                                                                                                                            S)C. '='
                                                                                                                                   .=..rY
                                                                                                                                        '.' E
                                                                                                                                            :.. 'E T.c
                                                                                                                                                     ,
                                                                                                                                                     v
                                                                                                                                                     ;'   .




    FROM: (PLM SE PRIND
                                                                                                                                                                                                    zAT
                                                                                                                        '
                                                                 -<
                                                         J o           .       @
                                                                                '.<' .                                                                                                               -           .e                  '        . e                                      .
                                                                                                                                                 .

         '.-    ...w ..<.
                       >.w.           G.
                                                     .
                                                                        ' /'    .
                                                     . - A.. :. . ..... ... . r t.2 r
                                                                                      ' zzs  v 7,.
                                                                                         ,.u-- bm. we                                                                                       .w.
                                                                                                                                                                                                                      '                           g. z
                                                                                                                                                                                                                                                     '-'a
                                     ...
    4
    rI1r1*. 1%1   !1l
                    rl
                     r
                     'lliz
                         ,
                         .
                         2
                         )k                                                                                                                                                                                                                                                                        ':.: ..'
                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                           :1
                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                            ,z
                                                                                                                                                                                                                                                                                                             î
                                                                                                                                                                                                                                                                                                             .-':-..
                                                                                                                                                                                                                                                                                                                   r.-.)3,'t
    l
    rlil4:11,
            11
             j
             1:
              11
               œ
               *'1
                 )?
                  (q
                  . 1
                    l
                    b1
                     i4:1,
                         1
                         -
                         1k
                          1                                                                                                                          t
                                                                                                                                                     )
                                                                                                                                                     'J.'.                                          (:
                                                                                                                                                                                                     I1:
                                                                                                                                                                                                       2
                                                                                                                                                                                                       ..
                                                                                                                                                                                                       ),
                                                                                                                                                                                                        633
                                                                                                                                                                                                          ,3                                                                                       '.-.
                                                                                                                                                                                                                                                                                                      ?'.:f;.$
                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                             L.
                                                                                                                                                                                                                                                                                                              t'
                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                                                                ,.'
                                                                                                                                                                                                                                                                                                                  ;'
                                                                                                                                                                                                                                                                                                                   ...:;.4
                                                                                                                                                                                                                                                                                                                         -.'
                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                           y
                                                                                                                                                                                                                                                                               '                                 '.                  '
                                                                                                                                                                                                       ''
               ;>'-'
    . : o' Cw ---..:
                   :;
                   ,'
                    ;
                    .
                    ,
                    -
                    .-
                     z-..
                        -
                        i
                        :
                        .-
                         !
                         :
                         ;r
                          .
                          4
                          '
                          ..-'
                             ..,
                               .
                               -
                               .-.
                                 -.
                                  ;
                                  *
                                  7..-
                                  .  #-.-.
                                         :
                                         ëb.-..'.
                                                -
                                                '.....
                                                .    '.,
                                                       ',- .:
                                                            ?r..-. .
                                                                                                                         -
                                                                                                                          .
                                                                                                                                     '''         '       ''
                                                                                                                                                          .
                                                                                                                                                              ..
                                                                                                                                                               $, ;
                                                                                                                                                                  b     .
                                                                                                                                                                                        .
                                                                                                                                                                                        ..---.. .
                                                                                                                                                                                                    .....
                                                                                                                                                                                                       -,
                                                                                                                                                                                                             ;f; ;
                                                                                                                                                                                                               ..
                                                                                                                                                                                                                 !#@-
                                                                                                                                                                                                             . ....
                                                                                                                                                                                                                  -           --:;,.                  .-.'        -'           .
                                                                                                                                                                                                                                                                               .      .
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                       ).
                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                            à:Lt...:ïï'3'b
                                                                                                                                                                                                                                                           . ,. . ............. . ... . --.. ...   ..,...-....-..
                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                               j;-.jq.
                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                        ,..-.-.....,
                                                                                                                                                                                                                                                                                                                                   ..:.
    (o.0*' 0.'fBjy
                 x
                 l
                 --'
                   l                                 .
                                                       .
                                                                                                            (ko'% jz'ad
                                                                                                                      :js
                                                                                                                        .h,.
                                                                                                                           24.v.,
                                                                                                                                .r.u''7
                                                                                                                                            .
                                                                                                                                                          .   '                                  (F.e& ajœa
                                                                                                                                                                                                         '-ukt.;,
                                                                                                                                                                                                                ;r:
                                                                                                                                                                                                                ' .x..
                                                                                                                                                                                                                     -p u..
                                                                                                                                                                                                                          ?'                                                                -rtj-,?:
                                                                                                                                                                                                                                                                                            .      .k.
                                                                                                                                                                                                                                                                                                   z  'L.spjejrgj
                                                                                                                                                                                                                                                                                                       ;
    (Fac)'
         h.a..de'
          .      Nao.im-.l
                         ent)                                                                               (Lo-
                                                                                                               lman ) $
                                                                                                                   ..       r'.'
                                                                                                                               ..;
                                                                                                                                 '.
                                                                                                                                  ..
                                                                                                                                   ..,
                                                                                                                                     ;1                                                          (D:t) ..      ',
                                                                                                                                                                                                                .z'''' s'.
                                                                                                                                                                                                                         :
                                                                                                                                                                                                                         -.'-                                                 '.
                                                                                                                                                                                                                                                                               -.
                                                                                                                                                                                                                                                                                ib
                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                  -z'
                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                     .'
                                                                                                                                                                                                                                                                                      ..?..:vi't-   ,7
                                                                                                                                                                                                                                                                                                     .-
                                                                                                                                                                                                                                                                                                      .scf... '-.
                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                t:
                                                                                                                                                                                                                                                                                                                 ,
    (Da1Nesan.s'.  P.n?ZOnye a)                                                                             (Houslh-j'.
                                                                                                                      0'l
                                                                                                                        i-
                                                                                                                         It/0e . 1#)                                                            ''
                                                                                                                                                                                                 .
                                                                                                                                                                                                 (DaM l''T
                                                                                                                                                                                                         'z'm.e)  ..,,z..?w'                                                ,
                                                                                                                                                                                                                                                                            '-
                                                                                                                                                                                                                                                                             r-.
                                                                                                                                                                                                                                                                               c.xr:.C..,,'::-  .c'uiu...
                                                                                                                                                                                                                                                                                                        ,'
                                                                                                                                                                                                                                                                                                         -?ti.h'-
                                                                                                                                                                                                                                                                                                                .'
'


    PR .
    1:14
         4
         1
         :
       1>i
         I
         r
          :
          ,
          1
         ':
           .
           1
           '
           I
           E
          1*
          'p
           n
            i
            !
            1r
           '1
             l
             --
              .
              I
             -;
              F
               ii!
                 :
                 11
              ' II
                  11-
                  AA
                    'pl
                    -.
                    g
                      rI
                       E
                       IIL
                         IEE
                           ZIE
                             !
                             I
                             kI:
                               C
                               I'
                                iI
                                 Ei
                                  Sd
                                   l:)
                                     l11
                                       !
                                       :21d
                                          4:)(
                                             )
                                             d                                                                                                                                                                                                    -'-i
                                                                                                                                                                                                                                                  '  '---<
                                                                                                                                                                                                                                                      '' '.
                                                                                                                                                                                                                                                          ''-
                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                            ,'
                                                                                                                                                                                                                                                             -r-
                                                                                                                                                                                                                                                               t'-
                                                                                                                                                                                                                                                                 '-
                                                                                                                                                                                                                                                                  ''..
                                                                                                                                                                                                                                                                  '  -
                                                                                                                                                                                                                                                                     <-
                                                                                                                                                                                                                                                                      'ë
                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                       j--.
                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                         .='V'
                                                                                                                                                                                                                                                                             --
                                                                                                                                                                                                                                                                              ''
                                                                                                                                                                                                                                                                             ='.k.;Cz-t''
                                                                                                                                                                                                                                                                                        D
                                                                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                                                        C
                                                                                                                                                                                                                                                                                        a
                                                                                                                                                                                                                                                                                        E
                                                                                                                                                                                                                                                                                        u
                                                                                                                                                                                                                                                                                        c
                                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                                                                         c
                                                                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                           ''
                                                                                                                                                                                                                                                                                          tJ
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                             ;'
                                                                                                                                                                                                                                                                                             : 7
                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                            .' '
                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                $
                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                :
                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                 <
                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                 J
                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                 7
                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                  '5
                                                                                                                                                                                                                                                                                                 i'
                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                   v
                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                   è
                                                                                                                                                                                                                                                                                                   c
                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                    b
                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                   ''
                                                                                                                                                                                                                                                                                                   .z
                                                                                                                                                                                                                                                                                                     ''
                                                                                                                                                                                                                                                                                                    r'
                                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                      w
                                                                                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                                                                                      J
                                                                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                                         -m
                                                                                                                                                                                                                                                                                                      ''l%-
                                                                                                                                                                                                                                                                                                      z
                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                          z.-
                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                            .ht
                                                                                                                                                                                                                                                                                                              :                      .
                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                      . ,.

                                                                                                                                                                                                                                                                                                                   KG' U6'2     :'.
                                                                                                                                                                                                                                                                                                                                  '8
                                                                                                                                                                                                                                                                                                                                   'r
                                                                                                                                                                                                                                                                                                                                    '.
                                                                                                                                                                                                                                                                                                                                     I'<
                                                                                                                                                                                                                                                                                                                                       2-'''24:'
                                                                                                                                      J
                                                                                                                                      s
                                                                                                                                      y                                     d
                                                                                                                                                                            '
                                                                                                                                                                            ...- .
                                                                                                                                                                                 j
                                                                                                                                                                                 ....r
                                                                                                                                                                                     ,                      y;
                                                                                                                                                                                                             .''
                                                                                                                                                                                                               J.e
                                                                                                                                                                                                                 - .
                                                                                                                                                                                                                   '
                                                                                                                                                                                                                   e '''*
                                                                                                                                                                                                                        ....!
                                                                                                                                                                                                                            j.k
                                                                                                                                                                                                                              j ., ...                                                             '
                                                                                                                                                                                                                                                                                                   .X
                                                                                                                                                                                                                                                                                                    V*
                                                                                                                                                                                                                                                                                                    .W
                                                                                                                                                                                                                                                                                                     xm
                                                                                                                                                                                                                                                                                                      ''U
                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                        J   ;
                                                                                                                                                                                                                                                                                                            .J    'C'.'..i.x.5
                                                                                                                                                                                                                                                                                                             x...'L          :... . k
    111
      l
      h
      's:.
         113
           1
           ?1
            '
            S
            i:'QCp'
                  2'
             ' . '.
                '' 1
                   Jz
                   ;
                     i
                    ky !
                       1
                     vg.
                       j
                       '
                       .li.
                        ''
                         .
                          '
                          1
                          ,
                          p1
                           .1
                            Z11'
                             Mr1 .
                                 .
                                     . '
                                     , .
                                                 .
                                                                 ,jjp?   .k...yj
                                                                               lr
                                                                                l;... ..
                                                             .,.#>. ....>..'.zxp...
                                                                                                                   ..j
                                                                                                                   y,
                                                                                                                     .l
                                                                                                                      .....t.....
                                                                                                                      v'
                                                                                                                            .       ( .pv                           .        y..                            .
                                                                                                                                                                                                            j
                                                                                                                                                                                                            .
                                                                                                                                                                                                            4I y
                                                                                                                                                                                                               j
                                                                                                                                                                                                               :r . w.                                       .y
                                                                                                                                                                                                                                                              s
                                                                                                                                                                                                                                                              p
                                                                                                                                                                                                                                                              . .                   ..
                                                                                                                                                                                                                                                                               ..                                        !
                                                                                                   .

                                                                      '4 j / t .
                                                                      4        '                                   .GZ
               '2'
                ' r ..
                                     'R
                         u. œ.z'.., 't x ,
                                           **-
                                                         .                                 .           .,          /                         Z..g
                                                                                                                                                .'
                                                                                                                                                 . '
                                                                                                                                                   .
                                                                                                                                                   .r :
                                                                                                                                                   .  .
                                                                                                                                                      .                                     /.
                                                                                                                                                                                             z' 'e'' ..x.. j
                                                                                                                                                                                                           ''
                                                                                                                                                                                                           Cy.y, j '.
                                                                                                                                                                                                                    -
                                                                                                                                                                                                                    ,.
                                                                                                                                                                                                                     ,.'
                                                                                                                                                                                                                       '.' . ':G<.''
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                   .z
                                                                                                                                                                                                                                   z.. *
                                                                                                                                                                                                                                       N' '
                                                                                                                                                                                                                                          -.
                                                                                          *h                                                                                                     ..                                  F                                             :                       ..
                  .          .                   .           ..                            i.                                                                                                                                        r                                        .

    '         .-w.
                 -z.
                   -
                   v
                   h
                   -gy
                   w 't..
                        -...',x..'
                                 ..ar...
                                       ,
                                       kw.'' .?.
                                               1,
                                                'w.'.
                                                    -j.
                                                      z / A'.
                                                            &- 'j,e 6T ' /.'/-<'
                                                                               ..*
                                                                                 t'
                                                                                  -,
                                                                                   '
                                                                                   ,s./'
                                                                                      ''/V 'y'; ,,'.--,
                                                                                                      .'--- .--,
                                                                                                      e        ;
                                                                                                               .
                                                                                                               ,--..
                  ,.
                                 '
                                                                         >                                                         V .           x                                                                                       ,'                                                                                         ,
         '
    z. .. ...zr
         .    Lu
               '/''
               .: .
                             y,
                              y. u
                                 e ., ym).,
                                          zf
                                           'Z.,
                                              .
                                              r
                                              'z                                                                          .'
                                                                                                                           ;.....
                                                                                                                                g
                                                                                                                                ..
                                                                                                                                 ', z
                                                                                                                                    . ... z<
                                                                                                                                           ... ,
                                                                                                                                               . (a                                                                           y..-
                                                                                                                                                                                                                                 a
                                                                                                                                                                                                                                 ..zv.
                                                                                                                                                                                                                                     ,< fe,
                                                                                                                                                                                                                                          ..x.
                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                             .,.x,
                                                                                                                                                                                                                                                 .>w.
                                                                                                                                                                                                                                                    s.wzy .
                                                                                                                                                                                                                                                          p.
                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                            xu.......y.
                                                                                                                                                                                                                                                                      +
                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                       .. .
                                                                                                                                                                                                                                                                                                                                   .,
                                                                                                                                                                                                                                                                                                                                    .. ,...

                                                       .                        .                                                    v.                                       v .                                         .v                  .z             .;
                                                                                                                                                                                                                                                              .             ..               N
' .  .
  J'.'.
    .   y 'z                                 f J 4 k-
                                           . -.
                                                    y 'z .,
                                                      .
                                                          oez g.rZ
                                                                 /y
                                                                  '*.
                                     r- ..>..# ....gxz.. . ..>- ..z.e . .w..w...p                                                                                     l y'g
                                                                                                                                                                          .x'y.
                                                                                                                                                                              e' /
                                                                                                                                                                                 :e
                                                                                                                                                                                  .
                                                                                                                                                                                  '.''
                                                                                                                                                                                     .......v
                                                                                                                                                                                            .p
                                                                                                                                                                                             '' /
                                                                                                                                                                                                ..
                                                                                                                                                                                                 -.
                                                                                                                                                                                                  j
                                                                                                                                                                                                  .' y*
                                                                                                                                                                                                      .z<JIz
                                                                                                                                                                                                      '
                                                                                                                                                                                                      ,    ..
                                                                                                                                                                                                            ny ....
                                                                                                                                                                                                                  j
                                                                                                                                                                                                                  ,/-'
                                                                                                                                                                                                                     Z
                                                                                                                                                                                                                     . w
                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                        v. .
                                                                                                                                                                                                                           x,e
                                                                                                                                                                                                                             #.wN
                                                                                                                                                                                                                                (..s q                                                                                           s.. .....,.
-W '
   **'mx.4'.
           apz..z...%w.....-. & .r.s..
    -- .-                                         X /




    TRIAG E DEG.ISI N BY. NURSING
                                . .T
                                   '
                                   -..'
                                      F.d
                                        t.D'-
                                            n.3
                                              ,.
                                               *.'
                                                 i
                                                 o
                                                 .leekdD
                                                 .-    -'u
                                                       . N-E'
                                                            z
                                                            ebo.x-?'b''
                                                           -.         e.l
                                                                        .o
                                                                         .'w
                                                                           .'3,r
                                                                               '
                                                                               ,
                                                                               --
                                                                               -'V
                                                                                 .'
                                                                                  .L
                                                                                   ,7
                                                                                   .u-.n
                                                                                       -'
                                                                                       cq
                                                                                        .t
                                                                                        .'.ts.
                                                                                         -   -
                                                                                             >t
                                                                                              .''
                                                                                                .
                                                                                                '-Q
                                                                                                - '
                                                                                                  ,'
                                                                                                  ..:
                                                                                                   ,t
                                                                                                    'z
                                                                                                     .
                                                                                                     'x
                                                                                                     ,'
                                                                                                      .
                                                                                                      m
                                                                                                      %-t
                                                                                                      - -..
                                                                                                          -
                                                                                                          5.
                                                                                                           -7
                                                                                                           e'
                                                                                                            -3
                                                                                                            ',--
                                                                                                               4
                                                                                                               -
                                                                                                               c-
                                                                                                              ..
                                                                                                               .2..
                                                                                                                . 7
                                                                                                                  ''
                                                                                                                  -.
                                                                                                                   u-
                                                                                                                    .-7.1
                                                                                                                     i. 4t>-
                                                                                                                        ,  .%
                                                                                                                            .-
                                                                                                                             '
                                                                                                                             a.''
                                                                                                                            --
                                                                                                                             ,  .-
                                                                                                                                 .
                                                                                                                                 '
                                                                                                                                 ;-'
                                                                                                                                 '
                                                                                                                                 . -
                                                                                                                                   ,
               . ..                                      .

         '               .    f* .zc.
                                  .z
                                  r
                                    ,
                                    t
                                    .
                                    't
                                     g1p
                                       .
                                       .1-
                                         .
                                         .,
                                         z;
                                          z.
                                          . #!-
                                            !
                                            ' r.
                                              ,
                                              '
                                              xrw
                                                k..
                                                  w2
                                                  .>y
                                                    -:
                                                     c
                                                     4.
                                                     .pmy
                                                        .y
                                                        '.
                                                         -
                                                         y
                                                         ,z
                                                         ..-
                                                           g
                                                          x.
                                                           u
                                                           1.r
                                                             w.
                                                              ).
                                                               2
                                                               ..
                                                               - r.
                                                                 .s.xr
                                                                  w  a
                                                                     m...(
                                                                         .'
                                                                         .
                                                                         '.
                                                                          ,
                                                                          .                                                                                                                                           .
                                                                                                                                                                                                                      Rejajjo BehaviofalHea
                                                                                                                                                                                                                                          ..'1
                                                                                                                                                                                                                                             th
                                                                                                                                                                                                                                              ..*
                                                                                                                                                                                                                                                . .
                                                                                                                                                                                                                                                  .v
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                   aex.
                                                                                                                                                                                                                                                      a..
                                                                                                                                                                                                                                                        s..
                                                                                                                                                                                                                                                          0/l'
                                                                                                                                                                                                                                                             J'
                                                                                                                                                                                                                                                              .-
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                               ,

                                                                                                                                                                                                             L RefertoNurseSick.
                                                                                                                                                                                                                               Gpl.
                                                                                                                                                                                                                                  l-
                                                                                                                                                                                                                                   zl',....
                                                                                                                                                                                                                                          '...'.,.
                                                                                                                                                                                                                                                 cat
                                                                                                                                                                                                                                                   '.,.

        D Referto Dental'
                        .
        U callProviuerw /Ass@ssm phk -5.,pn;
                                           ,p ,',
                                                .
                                                fJt.
                                                   ;.Pglse
                                                        .    x
                                                                                                             -
                                                                                                              .
                                                                                                                                .                                              .
                                                                                                                                                                                   t.
                                                                                                                                                                                    z.-.ï   l::J''R##
                                                                                                                                                                                                  .. P. f
                                                                                                                                                                                                        =,''
                                                                                                                                                                                                           e':''
                                                                                                                                                                                                               1BP'
                                                                                                                                                                                                                  :'
                                                                                                                                                                                                                   =!<.
                                                                                                                                                                                                                   ,  d:
                                                                                                                                                                                                                       h.=1%Jr.M
                                                                                                                                                                                                                               , .
                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                 u'-''''.'-'




                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                   fb.
                                                                                                                                                                                                                                                                                                                                                     L
                                                                                                                                                                                                                                                                                                                                               r.'
                                                                                                                                                                                                                                                                                                                                               . è.é

                                                                                                                                                                                                                                                                                                              -                                    u+
                                                                                                                                            ..
                                                                                                                                                                                                                               *                  .                                                                                                .J
                                                                         .                     .       *.    .                  -.
         .



          PTe'n5
               'r.
                 -- ' ..''                                                                     (wh'
                                                                                                  jtec'
                                                                                                      oovwlnmateM'ediO!Fil
                                                                                                                         e'Yell
                                                                                                                              owçop-
                                                                                                                                   v-.
                                                                                                                                     lnmate-
                                                                                                                                           )'                                                                                                                                                Revi
                                                                                                                                                                                                                                                                                                sed0929.
                                                                                                                                                                                                                                                                                                       m'7.
                                                                                                                                                                                                                                                                                                          -.'
         Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 108 of 276




    FRoM: (PLEASE PRINT)
                                                                                                   v7 &-c)(>)
                                                                                                           . iyeô.,L.u
    5 J>-.t$45,74.
                 4/ &S,ZJz;7J-DU                                                                                                                             . .          z.''zs   '

    (lnmateNamé)                                                                                (ID #)                                                      . . ..
    (Nombre)(Non)
    z J&.
       ..                                                                                         w.-.>c . .'?, (.J tm
                                                                                                  #                  :.u.
                                                                                                                        7                                    .
    .   Z.ï.G. z u
        .        o:a g'                                             . 'K
                                                                       .      fk.
                                                                              >'-s
                                                                                               (Fee.hR).; z.
    (De of9i% )                                                    (Lol ida#)'' :è
    (Fee aiéNyoimientq)                                            (Lojman) .  :;:             (Da t)
                                                                                               (De*-i
                                                                                               '     '.  - .'
                                                                                                       Time) ,
                                                                                                             ...                       '...8..è...:
                                                                                                                                       .    ..
                                                                                                                                                  !' ..
                                                                                                                                                  '   :?
                                                                                                                                                       ....''--,'.'
    (DatNeéânsPri
                zonyea)                                            (HouKinàu
                                                                           . ni
                                                                              trél')

    PROBLEM:(BE SPEGIFIG)                                                                                                                                   , :f
                                                                                                                                                               ..'
                                                                                                                                                                 ,'':i''
    PRO B LEM A :                                                                                                                                           '.'L) '..'
                                                                                                                                                                     -
                                                                                                                                                                     '..
    PW OBLE'M '                                                                                                                                                  CL' '
                                                                                                                                                                   ''  i'
                                  .       K
.

           ..        .   '    :                         .
           #,
            .
            'r '',
                 .- -v                                 mj         .
                                                                  ms.           < j       (
                                                                                          'e x.. ..        z.c.yr w.
                                                            $.-.. . ,--.''      .                                  -        .. -             .        ..-    -     .--      - .    .
        z'-.                                                                                                                                     ..
    z           ..       ..      ---.-t---:7 -.
                              t-...                   ---



           / Fz ?..v.
              '-' :t
                    te.
                      .,al d z'
                     --.
                    'f m / y
                           '
                           s *- er3.kkN-- . , .(%
                            .'                    .-
                                                e'Z
           i             .
                                      .                     w.
                                                  Z




    TRIAGE DECISION BY NURSING STAFF 4
                                     ,onlyoheok:
                                               ONE boxlbélbë .ï,
                                                               ' :
                                                                 ',
                                                                  :                                                                        T .:
                                                                                                                                              t' :
        D urgent: ':',' Jt - 't                                                                        D Referto BehayigralHeMl
                                                                                                                              ,th'
                                                                                                                                 '                                       .
                                                                                                                                                                         :. ' .'
        Q .Referral4o.
                     Hc.
                       P: ':'                                                                          D RefvrtoNur.eSwipk'
                                                                                                                          CaIl: ., . ' '

        L RefertoDental:
        L callProviderw/Assessment:Temp                                              Pulse          Res.
                                                                                                       p        BP                 M         '

         L other




           PT-095                                                (WbiteCopy- inmaieMedicalFlie Yeli
                                                                                                  owfopy-Inmate)                             Revised09/23/07
        Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 109 of 276




FRok: (PLEASE PRINN
    -            'eQ<                                    .                ''                    T                                    --- ..
>z--'.-./-:-.'>o.--?-r.
V'           .-,
             ,        '7 >-- ,>-
                                -
                                                      ...
                                                 . -. .           ..               .. . . . ?cV
                                                                                              'u--..&-z.-2t-                             .


( .,.
(No
     .p-. ..' .. ,
    mbœ)     '.
              (*o n)                                                                                                                â. s'
                                                                                                                                        i
                                                                                                                                        ' '
                                                                                                                                          :.
                                                                                                                                           '
                                                                                                                                           ..hg
             .

       . ., ..  ,                                                                                                                   ..  .
                                                                                                                                        .

Z&.'L'zu-.-.--st
     .
       '
       '
           . '
              . '
              '
                  .


               V-= ..u-$ #.'G
                  '
                                        .

                                                      -
                                                      ....-. ......
                                                                  .. ..- ... ...
                                                                                       .    ., ....-         -
                                                                                                                       -.  1.
                                                                                                                           4,
                                                                                                                           ..
                                                                                                                             .'.
                                                                                                                               '.
                                                                                                                            . s.
                                                                                                                                'i
                                                                                                                                 '-
                                                                                                                                  ...                           S
            n.
         .---                           -

(D'-*-bfBic)                                      .
                                                                                                                 (LoOlidad)
                                                                                                                          .t-
                                                                                                                            /-
                                                                                                                             .
                                                                                                                             4:1)
(FechadeNacimienlo)                                                                                              (Lojman) (J:32.
                                                                                                                               '';
                                                                                                                                 '
(DatNe anspc onyea)                                                                                              (HousiNgonitrélm

PRO.BL
     'EM'-.
          fBE SPECIFIC)                                                                                                                                                                                                          fJ,
                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                   êi-
                                                                                                                                                                                                                                     47'
                                                                                                                                                                                                                                       1--.
                                                                                                                                                                                                                                          '*
                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                           f'
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                            'i
                                                                                                                                                                                                                                            -?'
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              -rv'
                                                                                                                                                                                                                                                 u
                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                 '-
                                                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                   i -,
                                                                                                                                                                                                                                                      %':---
                                                                                                                                                                                                                                                           /t'J'
                                                                                                                                                                                                                                                               c''-V'
                                                                                                                                                                                                                                                                    >'
                                                                                                                                                                                                                                                                    --
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     'z
              11.
                11k
                  i
                  l.
                   jk
                    ;'
                     ,
                     ;                                                                                                                                                                                                                                        '.
                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                               -'
                                                                                                                                                                                                                                                                -L
                                                                                                                                                                                                                                                                .--
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 t'*-v
                                                                                                                                                                                                                                                                  >  '
                                                                                                                                                                                                                                                                     *-
                                                                                                                                                                                                                                                                     .n,.
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      k ,
                                                                                                                                                                                                                                                                        ':
                                                                                                                                                                                                                                                                        z4
                                                                                                                                                                                                                                                                         VA
                                                                                                                                                                                                                                                                         T.k.
                                                                                                                                                                                                                                                                            k.
                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                             :.
                                                                                                                                                                                                                                                                             -'
                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                              v7H
                                                                                                                                                                                                                                                                                s#
                                                                                                                                                                                                                                                                                 ;'
                                                                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  :..
P.
 R'O4:
     1IE!
        1
        ;j
         Ik
         ' ll
          ,.
           r
            il
             i
             !     .       ..
                                    .
                                                                                                                                                                                                                                                                .- .txt
                                                                                                                                                                                                                                                                      ..'xm;
                                                                                                                                                                                                                                                                          e.,-.,>
                                                                                                                                                                                                                                                                                u r
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                a$.
                                                                                                                                                                                                                                                                                  ,1
                                                                                                                                                                                                                                                                                   %<
                                                                                                                                                                                                                                                                                   7t
                                                                                                                                                                                                                                                                                    7.. .
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                      4.:t
                                                                                                                                                                                                                                                                                        .ii%.
                                                                                                                                                                                                                                                                                         àk
                                                                                                                                                                                                                                                                                         .  1a.
P . 0.B.5 kE' '' .*' r    y.
                           . Nz è
                                wa' &
                       r-AIe4u .V...-   '
                                                                                              /IL
                                                                                             .F
                                                                                                 '...
                                                                                              ...'
                                                                                                     #-
                                                                                                    v.r.' .
                                                                                                                                                .L
                                                                                                                                              .' -
                                                                                                                                                  .*' $'.
                                                                                                                                                 ... .
                                                                                                                                                                                        /
                                                                                                                                                                                        -. '
                                                                                                                                                                                             -'J # & <f- -.- - -*.7
                                                                                                                                                                                                   .- *-
                                                                                                                                                                                                                    Lw*' I X    ' y
                                                                                                                                                                                                                  ..-'-- -- r. .' '
                                                                                                                                                                                                                                    '.é
                                                                                                                                                                                                                                      ',-*
                   ' . .. ..' .'                 '                                                                                                                              . . .                .                                                          .
                                                                               .                             .         .                                                                                                                                                                .
                                                              .                                              -                  .                           .               <      ,        -                   . -'                                                                    .
                                                                           *? .z-;. A.J  r .
                                                                                                -'* 1...      tew
                                                                                                                        -''
                        .

         L.#. .
              z-
               .- r
                  u ,. t t
                         .-
                          .
                          ). '. t . ' ')*-...-'
                                              1
                                              M tz' &e .'
                                                        v
                                                        *.-'#-*
                                                              x... Tz
                                                                    v'.
                                                                      Q
                                                                      '.'?'           #..
                                                                                        t
                                                                                        ..wi...
                                                                                              ./       xCv&:' ?2..
                                                                                                                 @< .
                                                                                                                    o,.:. ,
                                                                                                                          r
                                                                                                                          .k=
                                                                                                                            .
                                                                                                                            :%                                                                                                                                                                                              '
                          '         c                                     . .                                          '
                   .                                                     *e'                            ..                      .

 p. 3# .                                                                                               ...                                              #                         .                                                        .                                    .
                                   .

J? ILz   c-- r-       hfv'.....4...
     -,'-- x-.......6.:
                                  $*-.....
                                         o
                                         ,-/-y . z /
                                         . .... z '
                                                    ;w g-
                                                    r
                                                        c-- p.-kaxw-c (.-
                                                                        s':or-
                                                                             ,
                                                                             .
                                                                               o sx r.'p.
                                                                                        ;vw.
                                                                                        .
                                                                                           - a
                                                                                             r-.
                                                                                               .
                                                                                               z.u
                                                                                                 -.:.
                                                                                                    -z-,
         '       ..
                  x



 'lk                                        ...,#e-- = J-e.z ' 0->'
                                            ,
                                            U        -.   -
                                                                  *r7/r- >-/z,zgm t-.) X. zp Ap'e
                                                                      .
                                                                                                v- z-.- -
                                                                                                        /z>
                                                                                                          --4
                                                                                                            -                                                                                                                                   .                       .
                                                                                                                                                                                                                                                                                    '       .e
                                                                                                                                                                                                                                                                                                           zvt-       .zr


p'
 .s'.J
     '                                            w / z'n Av''
                                                  k          .-w
                                                             s f'
                                                                  ?-fv'zz . f                                                                                                   .12 &                           /-z
                                                                                                                                                                                                                  ' ' ê-
                                                                                                                                                                                                                       .- z'eW 0%zë
                                                                                                                                                                                                                                  x?.J..e-.r7 >'-'/;x.-
                                                                                                                                                                                                                                               ' -
                                                     #                                                                                                      p                                                                                                  .
 '
         ee'
        *. 5rggJs- p.œ 4t.
                         z
                         r 'k,                                                                                   !.i/6'jqf-',p1é!7--upz-t(.R
                                                                                                                                      .. .
                                                                                                                                                            f
                                                                                                                                                           .-
                                                                                                                                                            !
                                                                                                                                                               !
                                                                                                                                                               t-.
                                                                                                                                                                  p
                                                                                                                                                                 'L
                                                                                                                                                                   z'# u' i'
                                                                                                                                                                  i.
                                                                                                                                                                   - e.    ..
                                                                                                                                                                             x.#.er ' (.y
                                                                                                                                                                            'r. .-
                                                                                                                                                                                         zw-art,
                                                                                                                                                                                        -..
                                                                                                                                                                                               -',.c.k
                                                                                                                                                                                               .      ;
                                                                                                                                                                                                          (
                                                                                                                                                                                                          :
                                                                                                                                                                                                          s
                                                                                                                                                                                                        r -
                                                                                                                                                                                                             %.y
                                                                                                                                                                                                             y
                                                                                                                                                                                                           ' r.-%'..
                                                                                                                                                                                                                  r'
                                                                                                                                                                                                                       z
                                                                                                                                                                                                                       'y
                                                                                                                                                                                                                        . .v
                                                                                                                                                                                                                    .''->
                                                                                                                                                                                                                   x-
                                                                                                                                                                                                                           s.-''                      A,...s>..--.--...-..-..- ..-. ....-             -.
,
 t< *;...    d
             s.'
               --'
                 .-..---
                       z.
                        -!b>
                           xs..-
                               '
                               ..
                                -à'-.......-..>
                                              ....
                                                 ,--...
                                                      6
                                                      tî'                                       ...    , .             .         . .
                                                                                                                                     t                      %
                                                                                                                                                                                                                                           '   - ..

                                                     .
                                                      '                                '*                                                      Ge19 . . z7 I'''.
                                                                                                                                               -               '4# ' /r-    . /
                                                                                                                                                                              .N-*J-'
                                                                                                                                                                                    ?-   3R..D.4    .' k.
                                                                                                                                                                                                    .
                                                                                                                                                                                                        z.'.
                                                                                                                                                                                                           ..                '                  .        -.         ..
                                                                                                                                                                                                                                                                     -      -    -. .-- -- ...-
           *,4- e ''                                                                .-0 wu.
                                                                                          '
                                                                                          .b.
                                                                                            -*
                                                                                             . ',
                                                              '
                                                  sk .J
                                                      . ''-.
                                                      '                                                                                      ..                                     *                            .
                                                                                   Je
                                                                                    .
               .1
                *.3
                  -,' ..
             1                                                                                                                  ... .
             '-.
'
         ...,--  -, -                   ...-
                                           --    ''
                                             ..,.- . -- .... .-        .. . .               .                                            ..             '           .                   v       l                '       '             .; . ? '' . 5 .                      .'          ..
-----.
        A.'..-
             -         ,
                       -u.r-
                       .
                           ..
                            c3 .,
                                x.                                                                    .<.
                                                                                                        = .,' = ,
                                                                                                                c-z. ,.-
                                                                                                                .                                                                 ., ,z+
                                                                                                                                                                                       ..                                             > .,r)e'> .                                                     .
    .-                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                           k
                                                                                                                                                                                                                                                                                                           .L.
                                                                                                                                                                                                                                  '                                                                        f';1
                                                                                                                                                                                                                                                        .-.                 .                     .        o.k
                                                                                                                                                    .                                       .
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                 .         4.';)
                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                           ; 'r .. . *)                             .m .
                                                                                                                                                                                                                                                                                       :zjr . .
    a              --.:    .        -       ..            .       .       .                 .. :       .:. . .. .                        .      .       ...             :          .    .                   .        .       ..
             . .

 TRIAG.
      E'D EJISIO'.
                 N BY
                    . NURSING 3
                              , TA
                                 '
                                 r
                                 ''
                                  F#F.'l
                                       '
                                       .o.n,
                                           3.
                                            y'D.
                                               r''beak'
                                                      o
                                                      ..NEtf
                                                           box--
                                                               '
                                                               .
                                                               b'@-Io
                                                                    --
                                                                     w--),
                                                                         '
                                                                         --.
                                                                         z k
                                                                           ./c
                                                                             ''
                                                                              .k
                                                                               '.-.
                                                                               .  ,
                                                                                  '
                                                                                  -
                                                                                  .
                                                                                  :.
                                                                                   1t.
                                                                                     '
                                                                                     -f*.
                                                                                     :
                                                                                     .  7:':
                                                                                           .'
                                                                                           rt
                                                                                            .
                                                                                            -.
                                                                                             1.>
                                                                                               z.L
                                                                                                 !
                                                                                                 ,'
                                                                                                  ,7,
                                                                                                    't
                                                                                                    .=,.
                                                                                                       -k
                                                                                                        .
                                                                                                        ')-s-
                                                                                                            *
                                                                                                            '
                                                                                                            .
                                                                                                            -.r
                                                                                                            : '.
                                                                                                               t.
                                                                                                                '.
                                                                                                                 --
                                                                                                                  .
                                                                                                                  '.
                                                                                                                   /
                                                                                                                   .
                                                                                                                   -
                                                                                                                   .-
                                                                                                                    '
                                                                                                                    s.
                                                                                                                     -
                                                                                                                     g
                                                                                                                     .t,
                                                                                                                       ?-
                                                                                                                        ,
                                                                                                                        -
                                                                                                                        >,'s('
                                                                                                                                                                                                                                                                                                       '-'.>
                                                                                                                                                                                                                                       x                            .
    Dï-.
       U.lnenl:-..,.
                   >
                   .
                   fk.
                     -A
                      :..
                        4v
                        '1-
                          L.
                           -.z
                             z.)t
                                .'i''
                                    .-
                                     jc
                                      -.
                                       --
                                        :1
                                         .
                                         ..
                                          .-v.lg
                                          ;    ...
                                                 .,
                                                  .
                                                  ;.
                                                   :.
                                                   nu
                                                    :7:*-.
                                                         vR.
                                                        .- ';.t
                                                              c.-.La
                                                                   .'..o           q                               ,                                                                                D Referto BehavloralHealth, ?,--a,..
                                                                                                                                                                                                        .
                                                                                                                                                                                                                                       :
                                                                                                                                                                                                                                       a.
                                                                                                                                                                                                                                        k'
                                                                                                                                                                                                                                         .t.
                                                     :' ! a               . . ws (-.r.'. t;                       .'        -'
                                                                                                                                                                                                                Referto Nurse Sick C-
                                                                                                                                                                                                                                    'a'I
                                                                                                                                                                                                                                       ln,-c.
                                                                                                                                                                                                                                    ., .:
                                                                                                                                                                                                                                            -.f
                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                               tr=.
                                                                                                                                                                                                                                                  ncx:rnr
                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                        :âF
                                                                                                                                                                                                                                                          .'
                                                                                                                                                                                                                                                           --'
                                                                                                                                                                                                                                                           --,
         '
              R eferral-lo .
                           H.C'P..:'--
                                     4'
                                      .--'
                                         zf''-'''- '
                                                   -'' '-'-=
                                                           --u'-'.
                                                              -                                                             .




    D RefertoDental:             --.-
    D callProvlde.
                 rw/'
                    .A
                     ''ssessmen'tkl
                                  Temp ti
                                  '     .i,'
                                           :>Pplge v...3.'
                                                         .Rtsp ' ..BP- :,
                                                                        .w,
                                                                          ..
                                                                           zl',M .k''
                                                                           '        :,
                                                                                     oc:,
                                                                                        .
                                                                                        7',:- .,.'

        Q other



                                                                                                                                                                                                                                                                                                               . .L




             m uoo'
                  ,s
                   ':.:'.u' .                                                                                     Recw y.
                                                                                                                        .-tnmate>
                                                                                                                                'adiMlflle-'
                                                                                                                                           Yel
                                                                                                                                             bwq
                                                                                                                                               L'ppy.'
                                                                                                                                                     -lnmate)                                                                                                 Revised09Qû/D.7.
                                     '

     Case 1:20-cv-23783-MGC Document
                             z       1 Entered on FLSD Docketvl
                                                        .... :
                                                                .
                                                                4h
                                                                  09/11/2020 Page 110 of 276                                   .
                                                      .                                                                '
                                                -'-'J
                                                    ?,J;ï,.'
                                                           .$.                                                       ''I GJl':'#*
                                                                                                                                zI',
                                                                                                                                   e .,-...j..
                                               .' *          '..
                                          4 ). .                                                                     ..e
                                                                                                                       ..                    ..
                                                                                                                                              ..iJ'-:'
                                                             .
                                                               --     k..;.
                                                                                                                                              x.
                                          .
                                              .
                                                          :'           .J.1
                                                                                                                              '       '          Z@.J''
                                         :
                                         L
                                         ',
                                                  g(
                                                   :, .
                                                      ,
                                                      ..

                                                    ..:
                                                                 .         . 4'
                                                                              .
                                                                             or
                                                                           wr.-.
                                                                                 :
                                                                                 '.
                                                                                   or,
                                                                                     m,   œ
                                                                                        ctl
                                                                                        .
                                                                                             nal..ealth.,:',j>.
                                                                                           o'.                   j
                                                                                                                 ,
                                                                                                                 !
                                                                                                              :u :
                                                                                                                 1
                                                                                                                  ,                             2'
                                                                                                                                                .:...,
                                                                                                                                                ,
                                                                                                                                               ;.l...7
                                          )
                                          r1.
                                                          'FE.        ;'1
                                                                     !. g:
                                                                         ..                                               **'-..
                                                                                                                               -..'. zr,'?'Fle.
                                                                                                                                          ..'
                                                                                                                                            .'''.
                                                                      ..
                                                                       .

                                                  ,'
                                                   i..     *.
                                                                              SICK '
                                                                                   C '
                                                                                     Lt R'
                                                                                         E UEST

 FROM: (PLEASE PRINT)
                                                                                                    2.oo4 K 6z o
JE + + Jz7 ,
           #R                                                              a                                                                                       .    . .   .
                                                                                                                                                                              .
                                                                                                                                                                                  .'' .,,)
                                                                                                                                                                                         ,

 (Inmate Namv)                                                                                      (1D #)
 (Nombre)(Non)
 z/o.z q ,    #y
               ''> r                                                 z / .i;$                          V ,+ 6.z / z/
                                                                                                                 -.....           .
                                                                                                                                                                       z.... ... , ., :

 (baw of:Iql)    '                                               (Loxppéedlt'' : -                  (Feùha),
                                                                                                           >.'
                                                                                                             .
                                                                                                             ;'... .
                                                                                                             .
                                                                                                                                                                                  .L. ...
                                                                                                    (Daj)        :
                                                                                                                 .
                                                                                                                  .. .                                                 .. . .                          i'
                                                                                                                                                                                                        .'
 (FéeadéNa/miento)                                               (Lojman)              ,            (Datq,/Nmel .
                                                                                                    ê                                                                             .t'
                                                                                                                                                                                    .'.''.
 (DatNesansPeonyea)                                              (HousingUnitcll'l

 PR?@k;M2 (BE SPECIFIC)
 PeQBLVMA:
 PWOBL/W :                                                                                                                                                                                    ......


             . ..   .' '   .



      z
     ;*
          / 9 &z-y--/
                    -- cs-c. ,
                             ?w u > ;> + r.z .
                                             4.xao ,fw M o.
/' /? tlo'G l/ o $..'-
-#?                  1                                / t-
                                                      -#/                             = w , v''
                                                                                              Yœ         /5 4 c z+                                        k.:(zzz.iq z
                                                                                                                                                                     - ç ./x+--
                                                                                                                                                                              .-0
 * u.<.T4                      a,z.ero
                               .                          ,'rv rczn ,'
                                                                     >x-
                                                                       / A .- z>                                           A -W J- e zz,v -G G-0
                                                                                                                                               -mr
 ,
                                                                     /'
A/1,Z /71 .,4 .v6'
                 7 ?>ztJz-/ L .JI
                                6--> z7#,r.pm t;.''ç .x6.v-''0 z,lvr
                                                                   '
                                                                    z-- /D.4 /v                                                                                                   .
                                                                                                                                                                                      - -    - -



          /
 i &,
    Y rv /r- T i.L--c--z* 'lc
                           .N ,+ '/ % > L r,&> w, $.      . (-a,) (>




 TRIAGE DECISION BY NURSING STAEF'
                                 loNlykebeokoNEtboxsbel@w) :               .
                                                                           ''
 D urgent- a...- a-'. '.
                       l.w
                         t , :z:                   D RefertpBehavioralHe4jth: ,.. ..,
 Q ReferraltoHCP: .
                  'J .. .                                                  .'                               Z Ref#rtq Nurse SiokG4ll3..>

     Q RefertoDental:
     EZ callProviderw/Assessment:Temp                                                       Puise    Resp                                 BP              ,    M        '

     L other
                                                                                                                                                           1




          PT-oo5                                          (whi/ ce y-InmateMeuioalF)+ Yeljow copy-,
                                                                                                  ùnmatq)                                                              Revi
                                                                                                                                                                          sedQ9Qo/o7
             Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 111 of 276




'

    FROM: (PLEASE PRINT)
                                      q -z                                                                      u z c.                                                                                         p c)& . K,z f.7z.. '                                                                     T
          .t/
            .
            '
            ..
             +
             .'é.:
                 L
                 .ml.
    (l*;e
        .
         '
         'te'N   mé )r                                                            ,
                                                                                  . .-....w.!.....w..
                                                                                                    ,
                                                                                                    ..'
                                                                                                      Q ..-.....o:;- ... ....
                                                                                                                            -. .
                                                                                                                               ' -
                                                                                                                                 .
                                                                                                                                 -... ..v. .. ..                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                 .ai.'
                                                                                                                                                                                                                                                                                                     :0
                                                                                                                                                                                                                                                                                                      .J'.'
                                                                                                                                                                                                                                                                                                          r)..
                                                                                                                                                                                                                                                                                                            -'
                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                             k'
                                                                                                                                                                                                                                                                                                              .:.
                                                                                                                                                                                                                                                                                                                -.
                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                 :,
                                                                                                                                                                                                                                                                                                                  ;.
                                                                                                                                                                                                                                                                                                                   '...
                                                                                                                                                                                                                                                                                                                      J.
    (No1bë)1Non)                                                                                                                                         '%'.
                                                                                                                                                         .  ï:'                                            (lD#)                                                                                'E
                                                                                                                                                                                                                                                                                                .-c.'z
                                                                                                                                                                                                                                                                                                     v'
                                                                                                                                                                                                                                                                                                      t#t-u::,:
                                                                                                                                                                                                                                                                                                              z-.'
                                                                                                                                                                                                                                                                                                                 ,-.
                                                                                                                                                                                                                                                                                                                   t-''-
         X
         ''k....' -, .I-.e/m.                                                                                                                                                                                                 -- '''''>
                                                                                                                                                                                                                                                V % P'
                                                                                                                                                                                                                                                     .c 'ï.1t'. .-' . ' z'.
    (Da
    .. .
       * ùf,
           'i%..)
           B      L
                      .     WJ.-..-<
                                   -...-....-.k
                                      .,
                                       ..
                                         '
                                              .
                                              w-..
                                                 -....
                                                   -.--?
                                                       --' ,.'
                                                         .z. ..;',.q.,zJrg
                                                                 .
                                                                a:
                                                                .        '
                                                                              .                                         (Loelid@df                   .,
                                                                                                                                                                  - ...
                                                                                                                                                                 . , ..  ,
                                                                                                                                                                         '
                                                                                                                                                                                      -       .   su - ,
                                                                                                                                                                                                            (F.,
                                                                                                                                                                                                               e%a)
                                                                                                                                                                                                                       *.
                                                                                                                                                                                                                    .,.c
                                                                                                                                                                                                                       g.
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                        ;.
                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                         ,tlT
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            p.,
                                                                                                                                                                                                                               :..
                                                                                                                                                                                                                               cz:''w
                                                                                                                                                                                                                                          ,..
                                                                                                                                                                                                                                                                                         ,r,
                                                                                                                                                                                                                                                                                           l7
                                                                                                                                                                                                                                                                                            ,.)
                                                                                                                                                                                                                                                                                              :t,
                                                                                                                                                                                                                                                                                                t
                                                                                                                                                                                                                                                                                                i'
                                                                                                                                                                                                                                                                                                   -

                                                                                                                                                                                                                                                                                                 .t:.'r
                                                                                                                                                                                                                                                                                                      -'
                                                                                                                                                                                                                                                                                                             .

                                                                                                                                                                                                                                                                                                       7.s;':n,
                                                                                                                                                                                                                                                                                                                     . .         .., .



           :dè2Xadmi k o)                                                                                                  .man)            '
                                                                                                                                            j
                                                                                                                                            ëj
                                                                                                                                             kj                                                              D.
                                                                                                                                                                                                              .ajj
                                                                                                                                                                                                                 )
                                                                                                                                                                                                                 ;j. .   .x
                                                                                                                                                                                                                          .:y:
                                                                                                                                                                                                                             y.
                                                                                                                                                                                                                              r.a..
                                                                                                                                                                                                                                  );j
                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                    )                                       ;T:,,.'yr..;
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                       j.
                                                                                                                                                                                                                                                                                        ,j.
                                                                                                                                                                                                                                                                                          y;y
                                                                                                                                                                                                                                                                                            .., j
                                                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                                 L,
                                                                                                                                                                                                                                                                                                  u.
     #pdt,h
    (Da
           à
             .
                 ::' ' ent
          Nelj':ps Rrizoriye:'''a)    .'
                                                                                                                        (LoJ
                                                                                                                        (Houdi.h:gi
                                                                                                                                 ..:    i.
                                                                                                                                         ?>iL
                                                                                                                                    b'nlgoél .
                                                                                                                                             wl                                                           a.(
                                                                                                                                                                                                           <.D'à-%'/nme).
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                         m.:4,..
                                                                                                                                                                                                                                                                               ,F..r.:p:.):
                 :, ' 'y


    PROBLEM;
          111.111'
                 jI' k.(BE SPECI
                   !i'         FIC)             '
                                                                                                                                                                                                                                                                                                  ,t..'.j:'
                                                                                                                                                                                                                                                                                                 kl
                                                                                                                                                                                                                                                                                                  t       -.f  .5b
                                                                                                                                                                                                                                                                                                             ..'
                                                                                                                                                                                                                                                                                                            ..   .3 F.  't..,'.,.
                                                                                                                                                                                                                                                                                                                     r..-         ar''. --
                                                                                                                                                                                                                                                                                                                                     ,.,...r
    11'
      ::,11:'
            1.àt'%ï.
                   b6111:)..
                           11:
                           ' 11;:::.
     W 0-BLE
    e.   < . ''
              M. l*
                  .
                  '           .                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                ,* ît
                                                                                                                                                                                                                                                                                                 -.,
                                                                                                                                                                                                                                                                                                 . s-':
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                      =
                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                      . 't
                                                                                                                                                                                                                                                                                                      --.
                                                                                                                                                                                                                                                                                                        -.-
                                                                                                                                                                                                                                                                                                          '=
                                                                                                                                                                                                                                                                                                           -'
                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                            -'
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                            ,-t'
                                                                                                                                                                                                                                                                                                             . ;
                                                                                                                                                                                                                                                                                                               .'-
                                                                                                                                                                                                                                                                                                               , ''
                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                  .

                                                    <                                                   .           .                                %.
                                                                                                                                                                         y ,              -,..        .               # Wja.
                                                                                                                                                                                                                           v.
                                                                                                                                                                                                                            .V
                                                                                                                                                                                                                             ..F...             .'. <'..*v.&a                                          ..z, ...
             2
             .
             6
             3.,
               ;
               :'.
               . t-
                  '.:
                  . N. F
                    '
                 ' . ' .
                     '  %
                        .
                        s'.
                          '
                          z
                          ..'
                            '.;.
                               ..
                                t'
                                 ..
                                  r
                                  -
                                  ...,..
                                  .
                                       G'
                                        ....
                                           -'.
                                             :-
                                              q...
                                              '.
                                                 p
                                                 .
                                                 j:
                                                 b
                                                 ..
                                                  '..
                                                    ...
                                                    ' ax
                                                      ....'
                                                       -  w
                                                          .....
                                                              w
                                                              .- .U
                                                               ...
                                                               2
                                                               ; . k'.',I.. '.
                                                                            .';.
                                                                          ''.
                                                                            ,
                                                                            r  ï
                                                                               )
                                                                               . ..k
                                                                                   .
                                                                                   -
                                                                                   t
                                                                                   ..'.'..
                                                                                         :
                                                                                         ..J .. <'.                                                          .       .
                                                                                                                                                                                                                  kI
                                                                                                                                                                                                                   k
                                                                                                                                                                                                                   '
                                                                                                                                                                                                                   .
                                                                                                                                                                                                                   -..
                                                                                                                                                                                                                     q
                                                                                                                                                                                                                     .i
                                                                                                                                                                                                                     s l
                                                                                                                                                                                                                       r:.j!
                                                                                                                                                                                                                           l-D
                                                                                                                                                                                                                             >
                                                                                                                                                                                                                             .a..
                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                .'                    h: '
                                                                                                                                                                                                                                                         %&, ..
                                                                                                                                                                                                                                                              ç
                                                                                                                                                                                                                                                              .'..'
                                                                                                                                                                                                                                                                  ..' .,
                                                                                                                                                                                                                                                                       .'.
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                         . .)
                                                                                                                                                                                                                                                                            ...
                                                                                                                                                                                                                                                                            '
                       , z
                                                                                                                                                                                                                                           .
                                               ..                 .                                                 .     ,.
                                                                                                                                                                                      Z                                   l.
                                                                                                                                                                                                                                                               f         . 1                ' '              ' '
                                                                                                                                                                                                                                                                                                                 -.               .:
                                                                                                                                                                                                                                                                                                                                  '
                          J.               . .-                                    .                     '              . 'v                                               .
                 N.rt
                    . .-


                 .        '                         . ' J.. ;
                                                            '..                                       7-.
                                                                                                        -'.
                                                                                                          ':.
                                                                                                            '...
                                                                                                           ..  ,L
                                                                                                                .
                                                                                                                t.;.'
                                                                                                                 -?
                                                                                                                  o   --.''-...
                                                                                                                    -..
                                                                                                                      C
                                                                                                                      .       f/.l'
                                                                                                                                  ,
                                                                                                                                  y     /. ' G'.''.'. /.....''-.
                                                                                                                                   .-,...                      c; J'.q.ej' #' .,.
                                                                                                                                                                 ..             /''.,
                                                                                                                                                                                 ''  ..
                                                                                                                                                                                    .'    ..'
                                                                                                                                                                                      :-' . . .../..
                                                                                                                                                                                                   '.            '

                             .'-.. .'. --8..'-.,.z'u#t..-..--
                                                            .
                                                            M. /                                                                                                                                               . . ..
                     ''                                                                                                                                                          ..
                     f'.wz.../
                                                     '                                                                                                                       -
                                                                                                                                  '                             f        /
                                                                                                         .                                           #
    = ---....-w-alww-+v- d                                            .<-:w-v              . .''             zt a.l                                          '                   .                .       .'
                                                                                                                                                                                                          .-
                                                                                                                                                                                                                                                               C        '<      .                      Jf
                                                                                                                                                     -               .



                                               '        '
                                                            '''   '.
                                                                   ' ,' '- J-.
                                                                             '
                                                                             .'
                                                                              .
                                                                              -t--...
                                                                                    ,
                                                                                    --.:..
                                                                                         '.
                                                                                          '..
                                                                                            -L/...'-$'
                                                                                                     .
                                                                                                     '
                                                                                                     .  j'''y
                                                                                                     -.-,
                                                                                                        '   .-. ''''                         y
                                                                                                                                                                                                                              /.
                                                                                                                                                                                                                               X.'-'
                                                                                                                                                                                                                               .                 'a''
                                                                                                                                                                                                                                                 -  .'-11ny
                                                                                                                                                                                                                                                         '*. 'Ay->êl ,
                                                                                                                                                                                                                                                         .                          .
                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                . .
                                                                                                                                                                                                                                                                                                        '' '
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                  m
                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                  -....- -..

-        '

                                                                                           r                   .a# r                                   wa    /
                                                                                                                                                            J .,-     ,z . . ç                                                                                                 -
                 ,    :'                                               . . e .                                 .
                                                                                                               t           cX ;                             .j
                                                                                                                                                            g q. g.s . .    ..y       z.g.                                                                                    .. ..- .                                              .
                      r zre.t
         #r> .amAxearkl
                      e+k+d+'            = <'r=lr-a 4s
                              a.eveoxzrwe'           t'k<i' =:m'                                               ..                   W
                                                                                                                                w..'. = .-. ' '.. VW AV
                                                                                                                                                      . .:
                                                                                                                                                         1W ' .
                                                                                                                                                              '        .                                                                                        J'                              î                                         ....
         .                                                                                                                                                                                                                                                                              .                                                 . ,
                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                          .t
                                                                                                                                                                                                                                                                                                                                          - .*:is
                                                                                                                                                                                                                                                                                                                                           .Y t
                                                                                                                                                                                                                                                                                                                                          ;y
                                                                                                                                                                                                                                                                                                                                           -'.L(T
                                                                          .                     .




     TRIAGE DEGISION BY NURSING -                                            3T    '
                                                                                   iAF.F  ''fon-lyr
                                                                                                  '-. beokr,
                                                                                                  r gu .
                                                                                                           N      j-'.
                                                                                                           -E*o.x3@  '.+
                                                                                                                       44kpC
                                                                                                                         owr'
                                                                                                                            3.'#
                                                                                                                               'f
                                                                                                                                #
                                                                                                                                -'
                                                                                                                                 ,k>
                                                                                                                                 .  .::
                                                                                                                                      t
                                                                                                                                      f'
                                                                                                                                       :r
                                                                                                                                       t.$'
                                                                                                                                        - =
                                                                                                                                          't,
                                                                                                                                          . '
                                                                                                                                            t
                                                                                                                                            ;
                                                                                                                                            y
                                                                                                                                            .''-''
                                                                                                                                            s
                                                                                                                                            '.   .J
                                                                                                                                                 ,mykh-,,
                                                                                                                                                        ;t
                                                                                                                                                         .
                                                                                                                                                          .q-
                                                                                                                                                            !
                                                                                                                                                            at
                                                                                                                                                             ij,>.iê7's
                                                                                                                                                                .,    -
                                                                                                                                                                      '
                                                                                                                                                                      ..1'
                                                                                                                                                                      '
                                                                                                                                                                     , .
                                                                                                                                                                          ?'.-
                                                                                                                                                                             '
                                                                                                                                                                             u
                                                                                                                                                                             'j
                                                                                                                                                                              I
                                                                                                                                                                              .'
                                                                                                                                                                              . '.,
                                                                                                                                                                                  >
                                                                                                                                                                                  -
                                                                                                                                                                                  ..t',
                                                                                                                                                                                      '
                                                                                                                                                                                      .'.,.j.
                                                                                                                                                                                      '     A
                                                                                                                                                                                            .
                                                                                                                                                                                            =t.'''
                                                                                                                                                                                                 f
                                                                                                                                                                                                 '
                                                                                                                                                                                                 .
                                                                                                                                                                                                 -è-:v.
                                                                                                                                                                                                      -
                                                                                                                                                                                                      î'
                                                                                                                                                                                                      .
                                                                                                                                                                                                       .'tk.'..r
                                                                                                                                                                                                               .
                                                                                                                                                                                                               '';,
                                                                                                                                                                                                               = *1
                                                                                                                                                                                                              ''  .
                                                                                                                                                                                                                        *''



     Z: 4JJ.Nepjgvswx.
                 ..  ;&
                      :;;t;r
                       '.  .ktkc
                               -;?j
                                  îz..
                                     j:
                                      'k
                                       ii
                                        .:c'
                                          -%%
                                            ...
                                              j=
                                              .,Y'
                                                 r...
                                                    y.C
                                                    ' r.k
                                                        :l
                                                         .g
                                                         a'k
                                                          ,;w
                                                            'z
                                                             ')
                                                              z.
                                                               t:t:;1  tw
                                                                       '
                                                                    ;.-.
                                                                       w ?: j.
                                                                         -   ....à.
                                                                              .
                                                                                    :.t'v ;
                                                                                  .q.
                                                                                    .     '
                                                                                          -
                                                                                          .'
                                                                                          ..'
                                                                                            t                  ..
                                                                                                                 jq
                                                                                                                  yyjj
                                                                                                                    ''F;ly
                                                                                                                         Cj
                                                                                                                     . - '
                                                                                                                      ..
                                                                                                                            ls
                                                                                                                             j:
                                                                                                                             xj
                                                                                                                              j
                                                                                                                              x.
                                                                                                                              s
                                                                                                                              .s.j
                                                                                                                                 m:
                                                                                                                                  .j:.jj
                                                                                                                                       oj
                                                                                                                                      .s!
                                                                                                                                        mj
                                                                                                                                        s k
                                                                                                                                          (
                                                                                                                                          x
                                                                                                                                          .j
                                                                                                                                           rj
                                                                                                                                            j
                                                                                                                                            i
                                                                                                                                            .
                                                                                                                                            ;
                                                                                                                                            .q
                                                                                                                                             jI
                                                                                                                                             .
                                                                                                                                             x .j
                                                                                                                                                s'
                                                                                                                                                 y!k
                                                                                                                                                 .
                                                                                                                                                 . j
                                                                                                                                                   ,j
                                                                                                                                                    *
                                                                                                                                                    j
                                                                                                                                                    (:))
                                                                                                                                                     '  j
                                                                                                                                                        p
                                                                                                                                                        aj
                                                                                                                                                         .
                                                                                                                                                         .j j
                                                                                                                                                            .j
                                                                                                                                                            .,.j
                                                                                                                                                               .j.j.-(
                                                                                                                                                                     s!jI
                                                                                                                                                                      mo al
                                                                                                                                                                          sj
                                                                                                                                                                          r xl
                                                                                                                                                                             jl
                                                                                                                                                                              r
                                                                                                                                                                              j
                                                                                                                                                                              .w.
                                                                                                                                                                             x, j
                                                                                                                                                                                m.. .
                                                                                                                                                                                  r           :p
                                                                                                                                                                                               -;:
                                                                                                                                                                                                 .y.v.  v-s( .                                                      .
                                                                                                                                                                                                                                                                                                  ..    .
                                                                                                                                                                                                                                                                                                                 .n .*                   ..-s

                 .

     '
                      Refer,r.
                             alto.HCP.''t;.r. q'r.x ...Q , w.'t               ..       y        . .
                                                                                                                          h
                                                                                                                               '....    Z'-'
                                                                                                                                       tu.                                                                              Z Refer,
                                                                                                                                                                                                                               to NurseSl
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                        -=kc.
                                                                                                                                                                                                                                            'a'Il:
                                                                                                                                                                                                                                                 #.7i'r
                                                                                                                                                                                                                                                      ;:
                                                                                                                                                                                                                                                       -.-
                                                                                                                                                                                                                                                         .z.
                                                                                                                                                                                                                                                         , ?'.
                                                                                                                                                                                                                                                             o,'
                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                'y

         D RefertoDental:            .-                                  I
         L callProviderwp'
                         Assessmentp
                                   zT
                                    'em p .;,
                                            '.
                                             '
                                             :.Pulse -)'
                                                       ,:
                                                        tt''Re.s
                                                               .p '.
                                                                   ''!..BP'..'.,a:.'
                                                                                   E.
                                                                                    ;,'
                                                                                      o,>'
                                                                                         -t',
                                                                                            -,.
                                                                                              ,'ï.'.
                                                                                                   ''
                                                                                                    ,.'

         L other


                                                                                                                                                                                                                                                                                                                 '           '
                                                                                                                                                                                                                                      '     '          '   '       '''        ' '
             MrM..u#m=o':ik.vzv.>m''J+r= V ' .:'. .'-'v :.                                                          $1 . . ' '                                    ..           '
                                                                                                                                                                                                                                                                                                                                               ?.
                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                          .                                                                    .
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                          .     .                  ,     .
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                         .                      L
                                                                                           ..           -.                                               .




                     eT.n.s.
                           .,                                         ,.                                                 .
                                                                                                                         tecw y-ninma,eMeu,cx nie s
                                                                                                                                                  .iljowcopy-.inm=te).                                                                                                                      aewseàznnun: ,.
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 112 of 276




FROM:(PLEASE PRINTI
16x-0 ,77,V a,y                              /tA/4:)-#c                               -' '---       --
                                                                                                              'C & @J Z &'Z @                                                                                  .

(lnm te&a- )
'               .                       .               ..                                                               -                                           ''         '-' '.'.
                                                                                                                                                                                       r?
                                                                                                                                                                                        J'; 'y
(Nombre)(Non)
'                                                                                                            (ID#)                                                               ,.          .

(f
..œte.
 Da   7B4
     of-,
        ç),-4o 7.-:
        1
                     t                                 4 // 5 J
                                                   (ln'-     ,l' - :
                                                       mlidâd)
                                                                                                              A.VJ-JCJ'J/
                                                                                                     - (Fè>:)/'    '.',
                                                                                                                      -!
                                                                                                                       ''                                       ''         '                          ''
                                                                                                                                                                                                     2u       -- ' ''
                                                                                                                                                                                                                        .
                                                                                                                uL
                                                                                                                                                                                        .
                                                                                                               .'        .   . u'. .

(Fey adeNaamiento)                                 (Lojman)                                            (Da!) '* . ,.                                                   ..r,,
(DaiNesaniPrizonyea)                               (Housingunltrel')                                         ,
                                                                                                             @.te.
                                                                                                                 /Timej                                              ..@')r'.'' r*'.
                                                                                                                                                                                   ,',

PROBLEM: (BE SPECIFIC)                                                                                                                           't' .
                                                                                                                                                     ':
                                                                                                                                                      . ''k'>:
                                                                                                                                                             r
                                                                                                                                                             ' :ê,.i é 'L.L
                                                                                                                                                                          .
PROBi*k'A:                                                                                                                                                     ... Lr
                                                                                                                                                               k     ?;.,
                                                                                                                                                                        ..,:
pw ô:Lé;4:                                                        ---'                                                                                                                           ,ïv .,.
       '                        .   .
                                        /c  .-
                                             . .
                                                       T1x /  .   .   .       .   .   .. W U                   W    .. .               '    ''              '             '''. '' '                   '        g
                                                                                                     '                                               ?'('
                     .



    M v             J4 .v                    Is p/yztz/ v rz                                                        AJ&                              71v                        .
           !                                                                                                                                                '                 ''
                                                                                                                                                                                            --' ---       -     --
                                                                                                                                                 .              ..   . . ..   ... ...            .              .
                                                                      ..= .       .             .        .         . .        ,- - .

     L: v zff                 4 lz :-
                                                   .    .


                                                             u ux nv t) z/.G &                                                              % /m w. y.ax y.y .
                                                                                                                                            ,
                                ,




    TRIAGE DECISIO N BY NURSING STAFFïPn!yahvç#'
                                               ONE 4pxbvlow).
    Q urgeptk            ;.-,.,...,
                                  :. -,
                                      . -,?--- ' z                                                                   L RefertoBehayipplHealth;                                                       .,.
    Q Referralto H/.
                   .
                   P.
                    : . ... .:,
                              . '...''                                                                               Z RefertpNurseSickC'all:;.
                                                                                                                                              ,                                                                     '

    L Referto Dental:
    L callproviderw/M sessment:Temp                                           eulse                           Resp                     BP                       m

     D other




      G -005                                 (WbiteGopy- inmateMedi
                                                                  calFi+ Yefiaw Copy- lnmate)                                                                                 Reli
                                                                                                                                                                                 sed09/29/97
        Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 113 of 276




 FROM:(PLEASE PRINT)                                                                                                                                                                '
                                                                                                                                                                                    .:2.*'''' :
 C c.
   z-. . .w.
           6-zv'.            z:...o.ax.   r   . .-....-. .....-.-. .....,p-wra zn    J   ./'
                                                                                           ra t/ .,..               .
                                                                                                        ..'. ......, .. j... .jt.,.
                                                                                                                                                                                                                  .
 J ,
... . :       #
              '
              .
              --G. .-,..-.-.
                           -J.    I.
                                   '
                                   AU. ..-a
                                          %.
                                          .-.. ..--                     .
                                                                        =-......
                                                                               ufh
                                                                                 -.g
                                                                                   -,
                                                                                    ..
                                                                                     -+,.v
                                                                                         r..w'
                                                                                            ........ .'                                                                                                  .    .
                                                                                                                                                                                                                  ,

tln'
   lfiàt:Name)                                                               '                                     '
                                                                                                                   .t:'&' T'
                                                                                                                           .z lt
                                                                                                                               '
                                                                                                                               .nv >-y..
(Nombré)fNon'   )                                   ?''.
                                                    '                  (lD#)                                       'b'.v'è.
                                                                                                                          )'>Fn'
                                                                                                                               .
                                                                                                                               )$
                                                                                                                               ' -.;'-'
                                                                                                                                      .
                                                                                                                                      t-
                                                                                                                                       'ë
                    '                                                   2''7.     '               j!'                                      '' ''' .
                     . ':'                                       .
z/O-..
          .

     4.*..4..  -7...>s..- .é.-..--.....-...
            /-..
               6
               ,                .
                                           .
                                           ,                         .-.=
                                                                         .
                                                                        ,.
                                                                         -'
                                                                          .
                                                                          -
                                                                          .-...
                                                                              î'
                                                                               .
                                                                               ' o
                                                                                 ''
                                                                                  hv'   ...
                                                                                              .                             .
                                                                                                                                  7.-.4:,9-..
                                                                                                                                  .'

                                                                                                            ....- .- ....- .. ..........    !..
                                                                                                                                           .- %..
                                                                                                                                                ,.' &'P
                                                                                                                                                      ' .'
                                                                                                                                                         y..
                                                                                                                                                           ,.(..
                                                                                                                                                               ,
                                                                                                                                                               '.,'. .''.
(Da:ï
    'àofBidh)                                                          (IMa   lidadld1r-i  '
                                                                                           .:    j                              (Fec-ha)Tt:-..'
                                                                                                                                              :: . .                                                ,.,( . . -..q
(Fa*   deNa'c;pmiento)                                                    a:M a
                                                                       fLol     n) '-   9..:..''!.
                                                                                            '                                   (Dàt) f.s)L..a.-.'
                                                                                                                                                 --''                                    ..'
                                                                                                                                                                                           r't
                                                                                                                                                                                             -
                                                                                                                                                                                             z4:
                                                                                                                                                                                               ';'f''.
                                                                                                                                                                                                     z.''i''8
                                                                                                                                                                                                            -,r:
                                                                                                                                                                                                               'pî
                                                                                                                                                                                                                 '.,'''
                                                                                                                                                                                                                      .
(DatNeéénsP- onyea)
              .
                                                                       (HouèiiF1 g Uh=c+1       l#)                             é
                                                                                                                                ('
                                                                                                                                 DàOtè'p-
                                                                                                                                        TiM* .'L.''                                 ''-'''.
                                                                                                                                                                                          '--r'h)
                                                                                                                                                                                          .     z,-kp.
                                                                                                                                                                                                     ï.
                                                                                                                                                                                                      '.7ù.
                                                                                                                                                                                                          'Lr 1'




TRIAQEDiCl>4ON NY NURSIN9 ...:j
                              w.nly
                                  .
                                  -'c
                                    .J
                                     .:
                                      he
                                       ..o
                                         . . '
                                             b.
                                              '
                                              <
                                              o5x @
                                                  .1
                                                   .o. .w..
                                                          '''.=,
                                                               #r
                                                               r'+.-2
                                                                    ''.
                                                                      -..
                                                                        s,.
                                                                          j
                                                                          '
                                                                          .'
                                                                          ,,.7
                                                                             ,+
                                                                              7
                                                                              .
                                                                              -v'
                                                                              ' .'
                                                                                 x-
                                                                                 ï.
                                                                                  @;
                                                                                   '.-,..'
                                                                                         ..
                                                                                          e#
                                                                                          'A..
                                                                                           . x=-'-.
                                                                                                  rr
                                                                                                   o
                                                                                                   ..
                                                                                                    ''
    x                           .-'.
                                   p..;7t.m., .. T tI-.
                                                      r''1' w...t rR 'm+.w'srv..-                                                                                      *                                      t * Ir
     . - ,. .
             entx
                t-. .v$v
                  -.y.  2.1' .
                       .'
                         r,
                          -,',-7-.Q J-.-
                            -.         .. u'w-
                                       .'r
                                         a.,.
                                            k.v't
                                                .         '.- .J' -& $'-;
                                                s'u-w.,.'#-.....
                                                               a '.
                                                                  -'
                                                                   ?.
                                                                    's-i:                                                                       ' eferto e aV.
                                                                                                                                                             lo l. ea1
                                                                                                                                                                     th- .
                                                                                                                                                                         '1.'
                                                                                                                                                                            ;.
                                                                                                                                                                             '
                                                                                                                                                                             -*
                                                                                                                                                                             ,-'
                                                                                                                                                                               i.
                                                                                                                                                                                -,
                                                                                                                                                                                 .
                                                                                                                                                                                 -'
                                                                                                                                                                                  !r'..

                                                                                                                                                                 Ick Cal
                                                                                                                                           r--l Refento-N,urse.s-- .   ltï:':bï.'.-eJ
                                                                                                                                                                              . -   ''
                                                                                                                                                                                     t'
                                                                                                                                                                                      .
                                                                                                                                                                                      n''
                                                                                                                                                                                        .''..
 L RefertoDental:                                                  - --
  Z.CallProviderw/'
                  AtssessmentT-emp.
                                  -. ,
                                     .'-Pulse.iz
                                               -z'
                                                 .,-
                                                   ''l
                                                     Resp.t
                                                          -26
                                                            -,'d'B
                                                                 iP..''!'
                                                                        :.'.J
                                                                            F'
                                                                             ezam '
                                                                                  .u.
                                                                                    -,-'.@'
                                                                                          -'s7-.'.'
 L other                                                                                                                                                                                                 .3



   ,qG.:.v.r==..+-su.>;vlry-z--xaln:Myvsfv.ylive-zuc xxxeas-.sw-r'.. w<. --% .. A-
                                                                                 '.:              -J ' .,      -... . .          .                .   .. ,' ..' ..--   .- .         '.     '    '    '                '




     PTz0D5                                                           it
                                                                       e=              -'
                                                                                        lnma'
                                                                                            te'
                                                                                              Medmlni
                                                                                                    e Yellowf
                                                                                                            .=p#- Inmate)                                                                   Revl
                                                                                                                                                                                               sed09/20/07
                                                                                                                                                                                                         .
          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 114 of 276



#


                                                                                                     A rm or C orY ctionalH ealth,Inc

                                                                                                                       SICK CA LL REQ UEST
     FROM: (PLEASE PRIND
          ..                                         x-                                               y                          .
                                                                                                                                 -'--                                                                        .                            .< <
    ,.
               +-/7 z@ .):7                                                                                        &                                                                                              0 c)rrt-=
                                                                                                                                                                                                                  ,       ?o
    ïrnmateName)
    (Nombre)(Non)                                                                                                                                                                         (lD#)
         .
         Y'Z'''w
    .œ . ...   f
               .   .-..;, ,
               ,...>      ;z.,p
                          z                                                              .
                                                                                                        .y.
                                                                                                          s'z
                                                                                                            g z
                                                                                                              /.s.j     .,
                                                                                                                                                                                              y,.z
                                                                                                                                                                                                 ,u.a u z u
    (DptepfBi* )                                                                                      (Localidad) *-                                                                    (Fecha)
    (Fecha.deNacimiento)                                                                              (Lojman)                                                                          (Dat)
    (DatNesansPrizonyea)                                                                              (HousingUnitc ell)                                                                (Date /Time)

    PRQ.BLEM ;'
              IBE SPECIFIC)
    PRO LBLEM
          ).J' ' J.A
                   ''. :
                   .  .'

    PW OBLE'M:                                                              -                                                                                    .                         ,,                   ;r- ..
                                                                                                                                                                                                                                                   Jny--c...-. J-.-c s.
                                                                                                                                                                                                                                                                      .,eo
                                                                                                                                                                                                                                                 ,..
                                                                                                                                                                                                                                                 ,                                            .
                                                     .
                                                     '3;A c /''p
                                                      7
                                             ..- - - . ,
                                                       .       < yc..                                                              /, zr &.. v. >?                                                                     /
                                                                                                                                                                                                                       >
                                                                                                                                                                                                                       ,                .-                            .
                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                       -.
                                            è/.4
                                               .,u,
                                                  >-'-                        y-.
                                                                                7 ..-)Q.
                                                                                     '.-.'
                                                                                         X
                                                                                         r.T
                                                                                           .p
                                                                                            u''
                                                                                              prpie'
                                                                                                   p
                                                                                                   - g '
                                                                                                       -
                                                                                                       t-'w
                                                                                                          z..
                                                                                                            # ,..4                                                                                     .?.e-(''                     kA yyp jW
          t ?' .v
         'y.. M
         * .  #
              ,
              ./                                 ;L..                           .:  .
                                                                                    z'        .    0.  ,         /                                                                                     r .
                                                                                                                                                                                                                                                                                 ..- -----.   .                -                .
         v            ./                                                     -                                                               .




    '' z.-t..=,  2L.  '.ez'.w.>>.z.W.
                     'J              &..J.J
                                   -1=    *v'kwe.r
                                                 +>-'wh.-...%.
                                                            cx wu.a
                                                                  1zwah
                                                                      u-4.$.
                                                                           5.-
                                                                             'r.
                                                                               .m ':y'.
                                                                                .z;    <.
                                                                                        g.-,y.-
                                                                                            kye'x r-e<>.
                                                                                                ''t    .1*4.
                                                                                                      .r   '.X'y
                                                                                                               .var
                                                                                                                 u-.:G.
                                                                                                                     -
                                                                                                                     u4H:
                                                                                                                       :IQ. m.;
                                                                                                                           ..  .J.
                                                                                                                                 g.=-
                                                                                                                                 >k   ....
                                                                                                                                    .m.  Ia
                                                                                                                                          z.z
                                                                                                                                            .4='-.w  .%.r'.&
                                                                                                                                                  >u.'     '*r<vw
                                                                                                                                                                tn..
                                                                                                                                                                   av.='>a
                                                                                                                                                                   e'        I.e
                                                                                                                                                                         .1fuj ..
                                                                                                                                                                                v
                                                                                                                                                                                xvA#   +v*'
                                                                                                                                                                                     ''' v-:.*%.-xu.. .<**
                                                                                                                                                                                              :<**         w'.
                                                                                                                                                                                                       -xr.a =J .+l
                                                                                                                                                                                                              ;et
                                                                                                                                                                                                                ' un
                                                                                                                                                                                                                  . 'LAl:':.
                                                                                                                                                                                                                   JX      .uQyr
                                                                                                                                                                                                                               .=t.x 1.
                                                                                                                                                                                                                                   rm'
                                                                                                                                                                                                                                   '*tv'.
                                                                                                                                                                                                                                      WG '.eX. .$.'
                                                                                                                                                                                                                                           G'     .
                                                                                                                                                                                                                                                  D2
                                                                                                                                                                                                                                                  ' -
                                                                                                                                                                                                                                                    âr
                                                                                                                                                                                                                                                     Cg
                                                                                                                                                                                                                                                   I6.fy<''fW1
                                                                                                                                                                                                                                                       u-
                                                                                                                                                                                                                                                        r      -e
                                                                                                                                                                                                                                                             .W' .l'
                                                                                                                                                                                                                                                                .!
                                                                                                                                                                                                                                                                *  .'
                                                                                                                                                                                                                                                                    A=  Nw4<*rK.
                                                                                                                                                                                                                                                                      le'     =r-*z N'*-' Pt'>'
                                                                                                                                                                                                                                                                                  ='-         '..Xa
                                                                                                                                                                                                                                                                                                -''-1n'.;''
                                                                                                                                                                                                                                                                                                          ''
                                                                                                                                                                                                                                                                                                          .-'.'.
                                                                                                                                                                                                                                                                                                               -.-z'
                                                                                                                                                                                                                                                                                                                   u-a
                                                                                                                                                                                                                                                                                                                     loèa*v''-'. %
                                                                                                                                                                                                                                                                                                                        ra
       .z
        -x .x
             h>ç-a..w-
                     -r:%r'k='AXr. N'twZ.
                                        G' ;J    k'Wv''Ly-
                                             '.Te.       .=1
                                                           r.
                                                            .-
                                                             k..
                                                               =3.1-' ..
                                                                    .  --ra
                                                                          a ...
                                                                              M-. o.  'r  '*.-.6-.   Q'..e.f''
                                                                                                             N'cx=.L:.'
                                                                                                                      ).#*w
                                                                                                                          -...--<'vC.*'.
                                                                                                                             3â         re.#J't.
                                                                                                                                        .             zm.. '-uN'#.    r>
                                                                                                                                                                       *I.'.'...  *-ea- J
                                                                                                                                                                                D.-        .Wi. k A.  Nr
                                                                                                                                                                                                      ' * te.   :<e9.H b%.   mrw=-orA   -e  ef
                                                                                                                                                                                                                                            '.pw* -
                                                                                                                                                                                                                                                  .   -
                                                                                                                                                                                                                                                      w3ëW.ex
                                                                                                                                                                                                                                                       ;     œy
                                                                                                                                                                                                                                                              nw'y.'
                                                                                                                                                                                                                                                                   JI.R'-C   'Q*r .=.b  *'.YGS'-x..J.i.'
                                                                                                                                                                                                                                                                                                       ..''-..'.'.'*'
                                                                                                                                                                                                                                                                                                         .           w5*.,.'.4: .' -.-
         ..  rr-   u j
                     .
                     v r ,
                         ç iFI
                             n   d.N2
                                    1.)
                                      <.
                                      4..ol u
                                            S r
                                              't
                                               n
                                               .'
                                                -. t
                                                   'D*.
                                                      'Q=u.  >     -'
                                                                    m :
                                                                      =  ..e.
                                                                            % .  z  uve=Se -
                                                                                           . r
                                                                                             -f
                                                                                              X .i  e d
                                                                                                      .
                                                                                                      *  '
                                                                                                         w
                                                                                                         =W  c.
                                                                                                              -.
                                                                                                               =
                                                                                                               '
                                                                                                               %e
                                                                                                                K..
                                                                                                                  q'
                                                                                                                   C .*
                                                                                                                      .x
                                                                                                                       >>'
                                                                                                                         -
                                                                                                                         '<    W'ur
                                                                                                                                 N'V'
                                                                                                                                    .
                                                                                                                                    I1
                                                                                                                                     m7'
                                                                                                                                       wr
                                                                                                                                        .k l
                                                                                                                                           n
                                                                                                                                           .r=
                                                                                                                                             p
                                                                                                                                             *+'.- e.
                                                                                                                                                    %Q..
                                                                                                                                                       Ar
                                                                                                                                                       '   .
                                                                                                                                                           'A< er'
                                                                                                                                                                 W '
                                                                                                                                                                   *
                                                                                                                                                                   v.
                                                                                                                                                                    K  1
                                                                                                                                                                      W1- *'
                                                                                                                                                                         OM- - *'
                                                                                                                                                                                Q '-   -
                                                                                                                                                                                       '.m'
                                                                                                                                                                                          '
                                                                                                                                                                                          .
                                                                                                                                                                                          m .
                                                                                                                                                                                            *
                                                                                                                                                                                            .r'
                                                                                                                                                                                              '='  *J
                                                                                                                                                                                                   +
                                                                                                                                                                                                   '$ -Sej e
                                                                                                                                                                                                           R.-.
                                                                                                                                                                                                              zr=
                                                                                                                                                                                                                lar
                                                                                                                                                                                                                  t
                                                                                                                                                                                                                  Mvn
                                                                                                                                                                                                                    'Z*<1
                                                                                                                                                                                                                        >    . rr.'
                                                                                                                                                                                                                                  e'er
                                                                                                                                                                                                                                     a'
                                                                                                                                                                                                                                      KW+t Y -    .e
                                                                                                                                                                                                                                                   N'
                                                                                                                                                                                                                                                    â
                                                                                                                                                                                                                                                    r'
                                                                                                                                                                                                                                                     yx-
                                                                                                                                                                                                                                                       .cE
                                                                                                                                                                                                                                                         . na   .t<.     .     % V  .  %+.
                                                                                                                                                                                                                                                                                         I *
                                                                                                                                                                                                                                                                                           J
                                                                                                                                                                                                                                                                                           'çG
                                                                                                                                                                                                                                                                                             '  '','   ..
                                                                                                                                                                                                                                                                                                        '-     '
                                                                                                                                                                                                                                                                                                               *  ''
                                                                                                                                                                                                                                                                                                                   T
                                                                                                                                                                                                                                                                                                                   W      Jr1; '''
    . '%'An :=;x,r<'. .
                         >                                            ''nw ' :
                                                                                      ..u.e li.w.s-a .a#'..-.rî-a,..6y,.x..w.
                                                                                .-=s.'--...-
                                                                                           4v.W'.
                                                                                                >>ra.za=q
                                                                                                      -4 e.i;'ar..e.
                                                                                                                  .-e*.Lv
                                                                                                                      xKv..%aa.              -...t,:                         ..
                                                                                                                                                                              .ww.
                                                                                                                                                                                 -.r..-
                                                                                                                                                                                      em..
                                                                                                                                                                                         ap= '.
                                                                                                                                                                                              '=
                                                                                                                                                                                               =. .'-%'-'..' -..   -c>..x.-. .- 'ze ',.:..7=.v. .-uiw ,evvw-,g,s,wx-..$z...w-'''.'-rw:.*
                                                                                                                                                                                                                        w
                                                                                                                                                                                                                     ru.-a..
                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                       . =*
                                                                                                                                                                                                                                          %-   '.
                                                                                                                                                                                                                                                x %.
                                                                                                                                                                                                                           '=.<V.=%=:>.1+'r-*'--4% .    6F-.
                                                                                                                                                                                                                                                           D'
                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                            .'r:r.
                                                                                                                                                                                                                                                                   -        r#.p
                                                                                                                                                                                                                                                                               G
                                                                                                                                                                                                                                                                  Jm''''''=.4a'.I.
                                                                                                                                                                                                                                                                                   W
                                                                                                                                                                                                                                                                                   nI
                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                  -=
                                                                                                                                                                                                                                                                                    X.
                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                   .os.-
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                         ..,
                                                                                                                                                                                                                                                                                            ui  xY:'
                                                                                                                                                                                                                                                                                                   TS
                                                                                                                                                                                                                                                                                             n....'''J.
                                                                                                                                                                                                                                                                                                      >
                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                        'k' '' -t  't ê'.
                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                        .e  ..'''
                                                                                                                                                                                                                                                                                                                                .i..
               .                          .       .        . .
         c.'..-.c.
    -. . .
                 p.
                  l.cv.
                      ..-
                      y
                      ' jD.z-...-.:...a..m!.
                          -a
                           .               x,.x .;..e.
                                           .      ...
                                                     ''vwe-. )<e
                                                          w.r-
                                                             * .xz'
                                                                  -''F>
                                                                  e. 4.W=.v.--x
                                                                              .'   %> .r
                                                                               w.+eAr. 'o
                                                                                        *w..'v. =..ML
                                                                                                v  ..'.-.,-..,.-
                                                                                                               d..
                                                                                                                 >K
                                                                                                                 '  'e'
                                                                                                                    r
                                                                                                                 a .-%lwq.
                                                                                                                     Nw   .w
                                                                                                                          hqr'
                                                                                                                             >.,t .... -4
                                                                                                                                .v.      .-':..r=+x.,.dxQ''.-.>m..w+.'M.*--*1*..>.$r.
                                                                                                                                        +qa                                            .w
                                                                                                                                                                                    1z=-'-
                                                                                                                                                                                        .     W-.#
                                                                                                                                                                                         '.rm>y
                                                                                                                                                                                         .       l=W&G
                                                                                                                                                                                                   7e''-*NG'v.'-<.$tm &.
                                                                                                                                                                                                   A
                                                                                                                                                                                                   .                   '!-
                                                                                                                                                                                                                         '' --  >'...<..'*<% t'-
                                                                                                                                                                                                                                          1T$.
                                                                                                                                                                                                                                             = .mI:'<
                                                                                                                                                                                                                                                    'l
                                                                                                                                                                                                                                                     '-:m.
                                                                                                                                                                                                                                                        R zé..'or
                                                                                                                                                                                                                                                               x'$..        .e.kv
                                                                                                                                                                                                                                                                   4*J.'*.*.v-
                                                                                                                                                                                                                                                                   1             'â+
                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                '-J
                                                                                                                                                                                                                                                                                .     k-
                                                                                                                                                                                                                                                                                    ''.e>tz'.'.'..
                                                                                                                                                                                                                                                                                           .     ;o'1
                                                                                                                                                                                                                                                                                                    ..'>u


    TRIAGE DECISIO N BY NURSING STAFF (OnlycheckONE
                                                  - boxbelow)
    D Urgent:                                                                                                                                                                                         EE1RefertoBehavioralHealth:
    IEEIReferraltoHcP:                                                                                                                                                                               Z Referto NurseSickCall:
    E1Referto Dental:
    EEEqcallProviderw/Assessment:Temp                                                                                                              Pulse                                 Resp                                   BP                                    Wt
    L other




                           . .          .    .   .... ..           . .
                                                                       .-.          .
                                                                                     .
                                                                                         ..rj.
                                                                                             =.-(.. . ...
                                                                                                 ..4- 1
                                                                                                         .!.jw..1:
                                                                                                        1:.      1.k.:=.'n:.(...;C ..!.
                                                                                                                                      a....'....
                                                                                                                                               -.z- .--1j.x.i
                                                                                                                                                            .j1(.:t..
                                                                                                                                                                .
                                                                                                                                                                x.      .
                                                                                                                                                                        -..
                                                                                                                                                                    ..J..  '=... ' '. ..u ....
                                                                                                                                                                          . :                 .         ..,                                                                                   '...
                                                                                          ::' ' ' ''...J:.. l:uâ1'.Cr'1'':''.K..                  .             .      jJr''.*..''' .. ''.. .l' â* ' .
         TRIAGE DAT , IME.
                  .              .'                        ' j'           .' .:1. ' .t.' 9
                                                                          '
                                                                       ...b
                                                                     .- ..
                                                                          u- ... u. . ..:,;.-.  r-. -'.' .
                                                                                              :..         q,:..!.
                                                                                                   . ' .. . .' . I
                                                                                                                    ,.-'.?  ND
                                                                                                                           -r 2
                                                                                                                                .R .
                                                                                                                               : pz 7
                                                                                                                                            SIGN     .A.T'    .U'.. .v....' ,
                                                                                                                                                  è1 . ;N'r..e ' .. : . .
                                                                                                                                                                                  't'
                                                                                                                                                                                    -...,.. . .
                                                                                                                                                                                              ,..' . '. .
                                                                                                                                                                                                   ....
                                                                                                                                                                                                                                                                                                      '.            .
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                   i
                                                                   .                       . ..
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 115 of 276




                                                                       :'
                                                                  t..:..i ' ' J))6:'.!'
                                                                                      mckn.
                                                                                          r1
                                                                                           ''
                                                                  î'
                                                                  jà:
                                                                    ; $,;;
                                                                    ..2
                                                                      r  ,.,u...... l......t ..
                                                                                  jjj
                                                                                  y ;;i .
                                                              .   t
                                                                  '
                                                                  i.
                                                                   r
                                                                   t
                                                                   z,
                                                                    .q
                                                                     '
                                                                     z-r
                                                                       .?
                                                                       ; ) ...!: . rjry.#;.,.;:        .        .   :
                                                                    ?k
                                                                    .
                                                                     'r
                                                                        :       . :. ;;v.?r,,
                                                                        <ksr .z, .-..
                                                                                                           ,.   ,

                                                          ..
                                                           ,
                                                           -.-.   ç.t
                                                                   -   è-.y..t;jf;a'4.(j;(r2.,;.:$
                                                                        . .m .
                                                                                                 ï
                                                                                                 .
                                                                                                 .jq
                                                                                                  t
                                                                                                  ;'
                                                                                                   jp
                                                                                                    J. j
                                                                                                    y
                                                                                                   ..           4
                                                                                                                j
                                                   gj$ji
                                                       uqF
                                                         j.
                                                          (Cg i.
                                                               ;r'
                                                                 j;jj4i tjg.,
                                                                            njgjjjg



                                                 Southen'iCon-eotionalldedicine
                                                  ? 'f ''
                                                          lviedica1D epa ent               - --
                                                         .
                                                 A ccress.
                                                 phone:
                                                 R;l'Fqr-xr-




              z z'
                 1tznte.bt
                         '-'.r'ifbtbflt-Jftze
                           .
                                                                          .     .                               .
                           t'-l
                              .x
                               .l
                                .a-m : zc Wx.ea-
                                        a.w    lt.
                                                 b.w&ft
                                                      x.o'ci
                                                           l-
                                                            lr
                                                             27'r/t''-eel-kcle,S;A                                                              ...
             To releas %                  & J/J.2 -S A. .)
              '-'
                        e m y m edicalrecordsto inciude;HFV/A IDS,
                     -
             ù' oàrsnzum'cable/infectiousdisease diagnosis, prop essnotes, plan ofcare:
             i -' ..
             '
             tabolatol.y.repoy.ts,l
                                  *m agmg/
                                        * 'x-ray repons
                                                      ' and'm edl
                                                                -
                                                                '*cat.
                                                                     jon .
                                                                     -   k
                                                                         m-       *on f
                                                                           kNonnatC   ,                                                     .
             fhe Southenn CorrectioualldedicalD erar,tm   ent.
                                                                                      v
                                                                                       o

              IAuthorizeSouthena CorrectionallWedicine (    M edicalDepartm entand l't's
              em pleyeesto releasc any and ctllm edicalrecoru
             m edicalrecords,orexchange m edicalinform at-     'spelal m ing to n-
                                                                                 ze, my
                                                              ion including lab repor  ts
                         tes '
                             ----
             prop essrzo ,pliyslc ' ian ri
                                         otes, im aging/x-ray reports m ediation therapy ,
             m edication logs, sick callform s, m entalhealth inform ,ation HJV/A JD S ,
             inform ation,com m unicable disease inform ation, w ith w hom ever
             necessazy to appropn'ately provide forrny healtlkcareneeds                                                     .



             M edica.lRecords/Exchangeofinformation reieasewillstay into effbct
            untilwithdrawn in w riting by the inm ate by signing below 1have
            tauthorized foranotherH ealth CareA gency to release m y m edicalreoords
              o Southern CcrrtctionalM edicineOfficeM edicalDepartmentand1am
            alsoauthorizing Southern CozrectionalM edicineOfficeM edical
            D epartm entto releasem y m edicalrecords, orexchange m edical
            inform ation with the agencies1have initialed above.

            Iamate'sNamePrintedc rssw yze/
                                                                          zo.ee                                 ö-D.O,BA /W Z.
                                                                                                                             #N
            Inm ate'sNam e Si ed                                                                                    D .O.
                                                                                                                        BXX/        &j/ZFXJ
                                                                                                                                    .


                                   ,                                     g                                              q- c
                                                                                                                              v.
                       .
                                                p.y1,               /                                               oatzo /?J/-
                                                                                                                        -       -       -
            (Wit ssSigna r
            MR 6000-002(Cm R.
                            B 09/2017
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 116 of 276




                                                                    j                .                  .     '
                                                                    t
                                                                    b'
                                                                    '..t-
                                                                        7Lr
                                                                      . .
                                                                      .
                                                                        .
                                                                          t
                                                                          .
                                                                          6:.r
                                                                             -
                                                                          L ).y
                                                                            . '
                                                                                .
                                                                                . .., . . ..
                                                                                ..    -.-
                                                                                      .   ..
                                                                                               2   ..
                                                                                                              (
                                                                                                              '
                                                       Sct
                                                         lrHrksiùiqiciil
                                                                       kA:h4EnI:It
                                                                                 ks

                                            Authorization for Reiease of inform ation

                                  r    e           o
   patient'sName:%L$çN-'
                       >t.
                         J>-?7#.'r
                                 A ''
                                    o
                                    -* -                               c-                      Date ofBirth: rs' -z,az, A uw'e-
                                                                                                                             '
                                                                                                                             e'- '
                                                                                                                                 &




  I ....... o
  !.1l!d3.8!-
            j:;tFg
                 -j.
                   js
                    .-
                     p.jw
                        t:.$)..
                              j.
                               -t
                                a-,cI-
                                     q*j-j.u!
                                           t:1
                                             ..
                                              !v/t
                                                 ?,
                                                  v
                                                  t
                                                  .l
                                                   :x
                                                    t.' tR p
                                                      !r-  -y.(
                                                            ..y=,
                                                                ..i3w
                                                                    .w
                                                                    tu.0 4
                                                                         .jt.
                                                                         L  r.
                                                                             vt,
                                                                               .ru
                                                                               :  .
                                                                                  u
                                                                                  t,
                                                                                 ..e.y
                                                                                     a,.
                                                                                     I x
                                                                                       u4
                                                                                        u.ç
                                                                                          t.
                                                                                           i.
                                                                                            c.
                                                                                             t.
                                                                                              I
                                                                                              .4
                                                                                              tt.k
                                                                                                 3.n
                                                                                                 ' c:s
                                                                                                   ! px.
                                                                                                       l..
                                                                                                         o,
                                                                                                          .w
                                                                                                          uu.;
                                                                                                             y,
                                                                                                              ..
                                                                                                              u.m
                                                                                                                =.j
                                                                                                                  i.
                                                                                                                   s
                                                                                                                   1m
                                                                                                                    owo
                                                                                                                      ..waI
                                                                                                                        c te
                                                                                                                           ,.
                                                                                                                            .
                                                                                                                            >.
                                                                                                                            =o..
                                                                                                                               J
                                                                                                                               lq
                                                                                                                               t
                                                                                                                               .
                                                                                                                               av,>  ..Q
                                                                                                                                  ,4'o um
                                                                                                                                        e,w.1
                                                                                                                                            !;
                                                                                                                                             tSr
                                                                                                                                               wI
                                                                                                                                                iO.
                                                                                                                                                  c
                                                                                                                                                  oL!t
                                                                                                                                                     ,.e '
                                                                                                                                                         I;
                                                                                                                                                          .i
  ...-,
  !t
   :ijl
      ;o
       .
       %1
        .-'w
           ,
           .e A ka
                 's
                  .-
                   hw
                    '.
                     s1
                      ,
                      .
                      s
                      1'e.
                         Io.hy?e.h,
                                  e.'
                                    ;w
                                     ,
                                     ..i
                                       e.w
                                         e.w
                                           n1
                                            7Sen+  v.

  !g've m y consenttck!elease mï/meci.c3.3n(1/orD11llng 1n'
                                                          rorm atlon to tne )oklclwtng lncttk1aua,t
                                                                                                  ,$l:                                      .

  ât.                                                          Rejation2o Patierlt-
                                                                                  .                                                - .-

  2.                                                           RelationtoPatient' . '
  3.                                                           ReIatior;tc PBtient:


  Pat1ent'sS1gnature:                                                                          Date: t zJ ' -
                                                                                                            2-r'
                                                                                                              .w,
                                                                                                                '
                                                                                                                -
                                                                                                                /
                                           M N.
                                  ze
                                  p            '           t                               ,
                          z'..'            )8         ,,
                                                       .'t
                                                  , '' /
                                                         ' z            ; .z,i                              z----   . -.--   .r,
                                                .t. .y
  b
  lbi1tnesss-     /,
            1gnatur                       /    ? ? ,   ;    1    .     / ez
                                                                          z, z,,
                                                                            ., .
                                                                               .
                                                                               ,:
                                                                                7
                                                                                '                           t. i j
                                                                                                                 /uj - za(.
                                                                                                            z; - '        ,,
                                                                                                                           0
                                               .
                     :                 -.
                                        --: . i
                                              $.
                                               ,
                                               .
                                               1/ ,.  'pz? . .
                                                             -w'
                                                               d./x..'
                                                                     -:u?
                                                                        l , .     n
                                                                                  w'ate.
                                                                                       .                    '
                                                                                                            :
                                           .
                                                       J




 AuthorizationforReseaseoflnformation MR-6Q00-0Q3 (CN) REV10/2017
             Case 1:20-cv-23783-MGC
                                 COrEMRDocument   1 Entered
                                       -RADETIC,SEBASTI      on JBN00
                                                      AN-#WCSO20FLSD    Docket
                                                                     O629         09/11/2020
                                                                         (10-24-1976)::FullPati   Page
                                                                                                  storyIv5117
                                                                                              entHi         0 of 276
                                                                                                          .5.



                                  '
                                                                                                                         Sex:Male
            .         ..      .       ..
                                           lt
                                            J
                                            .
                                            jSEBASTIA N                                    DETIC H
                                                                                                 DOB '10
                                                                                                     .
                                                                                                  eight  /24
                                                                                                        6q  /1
                                                                                                           2in97
                                                                                                               6(Age43)
                                             1                                                                           W eight'
                                                                                                                                .216 Ibs
                                           .é
                                            ,                                                                            BMl:27.7
                                            '
                                                                                                                         Agency:lNS (AXXXXXXXX)
           :,f1)           .,:l',
                                'F,             #7fCSO20JBH000629                                                        Location:poos:Aa
                 .. t.4j)....,..i.f;' k,
           --t!r  è4:
                    ;-j
                      ':
                       s
                       '
                       ( )
                         .  :t ;
                               ï  ,.'Jj?
                                       .                                                                                 yj
                                                                                                                         uu:   gj
                                                                                                                                a
                                                                                                                                ja:
                                                                                                                                  swcso2oMNlotl1z32
           '
              ,.::t3j
           J'L1
                     J
                     .
                     p
                     rt
               . ... . h
                       j
                       rj
                        .)
                        q
                        -g
                         .
                         :
                         7
                         9-j
                           -,
                           :'
                            ..
                             r.
                             . .r
                               ;
                               ,
                               .
                               @.:
                                  .
                                  L.
                                   ..:s
                                     k ..j
                                       ..
                                                                                                                           jjer.   .
                                                                                                                                   .
                                                                                                                         PCN -unsurecatsand dogs
          Repods
          Ful
            lPatientHistory
          Cri
            ticalAccountRecoveryNoti
                                   ce:You havenotyetsetupyoursecuri
                                                                  tyquestion anda
          FuiiPatientHistory                                                                                                                                      nswer.

          Name:RADETiC,SEBASTIAN
          DOB:10-24-1976
          Sex:Male




      /Q:i
         1'
          Ifrgl
             .vtww.
                  .c
                   rwml.I-uinoui= oczk>ctil
                                          ta'uk
                                              'ptja




      intake Screenin
                    .g'Form.s
      '
      ;l
      , --wwi-itts t
                   .         ù
                   kafkltzek i
                             ; Ff                                                                                                                                                                                                                     $lnter't/ie't... 1;r
                                                                                                                                                                                                                                                                         ktorvlow 6
                                                                                                                                                                                                                                                      -
                                -zln-ltxalIlt.y -                                                                            Form ltem                                                              #           ltem Respcnse
      ,
      t                                              s                      j                                                     .                                                                 )
                                                                                                                                                                                                    :                                                 i
                                                                                                                                                                                                                                                      .              'erj
                                                                                                                                                                                                                                                                        . pate j
                                                                                                                                                                                                                                                                               .
      i
      1!NCSO2OJBNO0O629 i
                        'SCM -
                        1    .                                              i
                                                                            jD
                                                                             oc'
                                                                            'l nec,c th
                                                                                   1.eg:e7;
                                                                                          ct
                                                                                          e
                                                                                          aoinn
                                                                                             c.ts
                                                                                              ts-)
                                                                                                 pt
                                                                                                 '!:-
                                                                                                    .!
                                                                                                     $Englist
                                                                                                            n?(ifnoti
                                                                                                                    stprimary                                                                       2'.
                                                                                                                                                                                                      'ES(Croati
                                                                                                                                                                                                               an)                                    jT.'
                                                                                                                                                                                                                                                         Ts
                                                                                                                                                                                                                                                          w,tt
                                                                                                                                                                                                                                                          -  '
                                                                                                                                                                                                                                                             )E;k:, j-
                                                                                                                                                                                                                                                                     k)
                                                                                                                                                                                                                                                                      59,
                                                                                                                                                                                                                                                                        2-
                                                                                                                                                                                                                                                                         0:)7- t!;
                                                                                                                     -
   2                                             ,Recei'/ipq                r     -,                                                                                                                                                                  ,gwyoe(èëp r,r2-
                                                                                                                                                                                                                                                      ;
   ?                                             :Scrszi
                                                       nii cg               i                                                                                                                       ,                                                                          .
   '
   r-.
     -......------.-..
                     --.
                       .
                       -.
                        ----L...
                               -... -w--s.
                                         w.
                                          x..d                                         .    .    .. ..-. .. .- ...- .         .    ..     ..              ... ... .. .....- .- ....-----.           k      . ...-.-.. .....   . .. ... .   .   .. .
                                                                                                                                                                                                                                                      ç
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                          à7:4:,c'
                                                                                                                                                                                                                                                                                 c'
                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                  l,
   3
   !Ncso2OJBN0Oo629jScM-                                                    .
                                                                            !
                                                                            'Langua'gs!
                                                                                      -;
                                                                                       .-.zSzrrt:
                                                                                                ccstranslationsen/i
                                                                                                                  cesused?**l
                                                                                                                            fl''                                                                                                                                           . 5-
                                                                                                                                                                                                                                                                          '3  $37-
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                i
                                                                                                                              j'C)                                                                                                                    dMoigairl,
                                                                                                                                                                                                       .
   l                Recei
                        vi
                         ng                                                 ;hzEs,provi
                                                                            '         dereferencenumber                                                                                             u ..
                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                      'J                j
   j
   ;                 screening                                              g                                                                                                  .                !
                                                                                                                                                                                                -                                                     ruanetta y20 20   ,
                                                                                                                                                                                                                                                                        k
                                                                                                                                                                                                                                                                1:46prn h
                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                        .
   iwcsO20JBNO00629 ,SCM -                                                  fAnpbarrierstocommunicati
                                                                                                    oons
                                                                                                       n?(I
                                                                                                        wefreyepsro                                                                                                                                   p
                                                                                                                                                                                                .
                                                                                                                       ain innotes .N'
   d
   .                                                 Recei
                                                         vi
                                                          ng                2anölistvk
                                                                                     /l
                                                                                      nataccommoclati             , expl
                                                                                                                    vi
                                                                                                                     ued )         ?J                                                                                                                 jMorgan
                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                      l
                                                                                                                                                                                                                                                      'ulti      , j05-07- j
                                                                                                                                                                                                                                                          aaetty i2020   s
   :                                             '
                                                     screening              h
                                                                            j
                                                                            !                                                                                                                   (                                                     I          l1:46pm l
   ;WCSO20JBNO0O629 SCM -                                                                                                                                                                       '                                                     i
                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                      ,               .                     *
                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                            O:
   p                                             -                       jHowdoyouidenti
                                                                                       fyyourself?                                                                                              ;Male                                                 jMorgan, 05-07- )
   '                                             jReceivirIg             j                                                                                                                      k                                                     ùJuanetta 12020 ' k
                                                  screening              j                                                                                                                      j                                                     I         j1:46pm !
      ïA?CSO2OJBNOOO629 SCM -                                               RecentIncarceration? l
                                                                                                 fyes, W lnen andW here.
   j                                             Rec
                                                 Screeivin
                                                     eni ng
                                                          g
                                                                                                                                                                                                iBcDc)
                                                                                                                                                                                                1
                                                                                                                                                                                                .
                                                                                                                                                                                                 Yes(transferredfrom )Mua
                                                                                                                                                                                                                     lJ or
                                                                                                                                                                                                                         gatn
                                                                                                                                                                                                                         ne ta, 0
                                                                                                                                                                                                                                2
                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                 5-0
                                                                                                                                                                                                                                 0207- l                                   .
                                                                                                                                                                                                                                                                           .46 pm
      W CSO20JBN000629 SCM -                                                CurrentPhysici
                                                                                         an
                       Receiving                                                                                                                                                                    na                                                Mor
                                                                                                                                                                                                                                                      J  gan,
                                                                                                                                                                                                                                                       uane               05-07-
                              ing                                                                                                                                                                                                                          tta            2020
                                                 Screen                                                                                                                                         j                                                 l                       1:
                                                                                                                                                                                                                                                                           46pm i
   W CSO2OJBNOOO629 SCM -                                               ,   Pharmacy                                                                                                                na                                           !Morgan,
                    Recei
                        ving                                                                                                                                                                                                                                              05-07-
                                                 screenina                                                                                                                                   I
                                                                                                                                                                                             j                                                   IJuanetta 2020 l
                                                                                                                                                                                                                                                 '
  :WCSO2OJBNO0O629                               SCM -
                                                                ..               .... - .
                                                                            Urgent/EmergentMedi
                                                                                              calReferral
                                                                                                                                                                             .. ..N                               ...                            i
                                                                                                                                                                                                                                                 '                    iq.
                                                                                                                                                                                                                                                                        46pm i
                                                 Receiving                                                                                                                                           o Indication                                     Morgan,         05-07-
                                                 Screening                                                                                                                                                                                            Juanetta        2020
                                                                                                                                                                                                                                                                      1:46 pm
   WCSO20JBN000629 SCM -                                                    Responsiveness                                                                                                      Aled                                                  M organ,
                   Receiving                                                                                                                                                                                                                                          05-07-
                   :
                   !9t:
                      l
                      '-
                       (E'(!,'-'ir-',:                                                                                                                                                                                                           jJuanetta            2020
                       .. .., ,... .,(1,...                                                                                                                                                                                                                           -1..-tl(5;p.:)r.r,
                                      ,                          . . . .. .... . ..... .   .... ..,,   . .. . ...   ..,. . ,
                                                                                                                           ..     . ...    ..-.
                                                                                                                                              .......-.....-.-....,..,..-...-.............,... ...................                   . ,         j
                                                                                                                                                                                                                                                 ,,        .   ...   ,.
                                                                                                                                                                                                                                                                     .       .. .. . .. .   .
  jWCSO2OJBNO0O629 SCM -                                                 Ori
                                                                           entedtoPerscn, Place,and Time? Ifno, describe.                                                                       Yes                                               Morgan,
  l                                              Recei
                                                     vi
                                                      ng                                                                                                                                    .
                                                                                                                                                                                                                                                                      05-07-
                                                 Scre                                                                                                                                                                                             Juanetta            2020
                                                         eni
                                                           ng                                                                                                                               j                                                                         1:46pm
   WCSO2QJBN00Q629' Rec
                    SCMeiv-ing                                          Doesthepatientappeartobeundertheinfluenceof
                                                                        dr                                                                                                                 jNo                                                   Morgan               05-0
                                                                         ugs and/oralcohol?                                                                                                i                                                             ,
                                                                                                                                                                                                                                                  Juanetta            20207-
                                                                                                                                                                                           j                                                    '
wcso-medical
           /Modul
                es/chafhistol.php
                                                                                                                                                                                                                                                                                          1/70
         Case
    U/II/ZUZU                      1:20-cv-23783-MGC           Document
                                                 uztplculvlrx -I                 1 1'mEntered
                                                               -xmual- IIw ,wu-wgnw    lx wrv.ww w on   FLSD
                                                                                                   w-www.xwwwwuwDocket
                                                                                                                y.v - , .-.09/11/2020
                                                                                                                           -,.. . ..  Page
                                                                                                                                       v , 118 of 276
      I                                                          lscreening                                      I                                                                                                                                                      !
                                                                                                                                                                                                                                                                      P..--. .. .....; -..-....-. ...........--y.;-;.
                                                                                                                                                                                                                                                                                                                           j                             I1.
                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                           46pm j
                                                                                                                                                                                                                                                                                                                    -......-...x--.--...-.......4---u.....................
                                                                                                                                                                                                                                                                                                                                                                         -..
                                                                                                                                                                                                                                                                                                                                                                           -....e
      q.-..--......-.---.......u--x--.-..-..-..--.---s-z.- .-.-.-.:
      '                                                               ..... .... .
                                                                      .               ..cua................-.&...-...-.. .-........,...-..................,.-......,
                                                                                 --....                                                                            ...
                                                                                                                                                                     ,......-..........,:
                                                                                                                                                                                        w   Axuawuw. ......tyuo..-.....ga;aw ...
                                                                                                                                                                                                                               ,..........-..-.....................
                                                                                                                                                                                                                                                                  -=:

      jvvcsozo-laxoooezg1s
                         Rcvei-
                          ec  ving                                                                                   A
                                                                                                                     fon
                                                                                                                       ryotheedria
                                                                                                                        imm      acut
                                                                                                                                  teesdigin
                                                                                                                                    me    cas/
                                                                                                                                             lsytm
                                                                                                                                              in ep
                                                                                                                                                  wt
                                                                                                                                                   onmts
                                                                                                                                                   e   os
                                                                                                                                                       inugcgle
                                                                                                                                                         in   us
                                                                                                                                                               dt
                                                                                                                                                                i
                                                                                                                                                                nggsth
                                                                                                                                                                i
                                                                                                                                                                n    ee
                                                                                                                                                                      venr
                                                                                                                                                                         e
                                                                                                                                                                         eed 1
                                                                                                                                                                             iso                                                                                                                                           pMo
                                                                                                                                                                                                                                                                                                                           2Juar
                                                                                                                                                                                                                                                                                                                               geatn
                                                                                                                                                                                                                                                                                                                               n   ta, 0
                                                                                                                                                                                                                                                                                                                                       25
                                                                                                                                                                                                                                                                                                                                        o-
                                                                                                                                                                                                                                                                                                                                         20
                                                                                                                                                                                                                                                                                                                                          o7-
.                                                                screeni
                                                                       ng                                             pain,unsteadygait,unadèressedsignîficantpre-arrest 1                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                                           q                              1:46pm .
                                                                 t                                                   injuri
                                                                                                                          es,recentheadinjuq?wfthrossofconscfousness, 1  #                                                                                              .                                                  k
                                                                 j                                                   orpregnancy-relatedcomplaints?                                                                                                                     j
                                                                                                                                                                                                                                                                        '                                                  j
      WCSO20JBNO00629 SCM-                                                                                       1Disposi
                                                                                                                        ti
                                                                                                                         on                                                                                                                                             lContinueIntake
                                                                                                                                                                                                                                                                        p                                                  jMorgan, 05-07- j,
      j'
                     jRerceeeni
                      Sc      vi
                               n
                               ng
                               i
                               lg               .                ,
                                                                                                                 p
                                                                                                                 -
                                                                                                                 ;                                                                                                                                                      i
                                                                                                                                                                                                                                                                        4
                                                                                                                                                                                                                                                                        k                                                  j
                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                           àJu
                                                                                                                                                                                                                                                                                                                             a net
                                                                                                                                                                                                                                                                                                                                 ta 20 20
                                                                                                                                                                                                                                                                                                                                    1.46 pm ,
                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                 '
       W csO20JBNO0O529 'SCM -                                                                                       ki
                                                                                                                      ,
                                                                                                                       talSignsRechecki
                                                                                                                                      findi
                                                                                                                                          cated                                                                                                                         j
                                                                                                                                                                                                                                                                        j(blankl                                            Morgan, I05-07-
      ,                  Receiving                                                                                                                                                                                                                                      ?
                                                                                                                                                                                                                                                                        #                                                  IJuanetta 2020
      j                                                               Screening                                  '
                                                                                                                 j                                                                                                                                                     j                                                   i                              1:46prn
      #wcsozolBxcooezgiscM-                                                                                      :Alleoi
                                                                                                                       es                                                                                                                                               t
                                                                                                                                                                                                                                                                        D
                                                                                                                                                                                                                                                                          NxoA(pcN-unsure iuorgan, .
                                                                                                                                                                                                                                                                                                   '05-07- l
                                                                                                                 '
      j
      f
      .
                                                                     Receiving j
                                                                     screening t
                                                                                                                 ''
                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                         catsanddogs)                                      j
                                                                                                                                                                                                                                                                                                                           F
                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                            Juanett
                                                                                                                                                                                                                                                                                                                                  a '2
                                                                                                                                                                                                                                                                                                                                     y0
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                      z
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                       2,
                                                                                                                                                                                                                                                                                                                                       )0j
                                                                                                                                                                                                                                                                                                                                         am y
                                                                                                                                                                                                                                                                                                                                            k
      5t&csO2OJBNOOO6295.SCM-                                                                                    hsurgicalhistory(listyear)                                                                                                                             tNo                                                1
                                                                                                                                                                                                                                                                                                                           ,Morgan, 05-07- r
      )                pReceiving                                                                                )                                                                                                                                                      f
                                                                                                                                                                                                                                                                        '                                                  y
                                                                                                                                                                                                                                                                                                                           rJuanetta ,2020 )
      j                jscreening r
      lt&csO20JBN00c629#'SCM-
                                  j
                                  /RecentMedicalhospi
                                                    tafization(
                                                              within90days)
                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                        )
                                                                                                                                                                                                                                                                        )lN!o
                                                                                                                                                                                                                                                                                                                           t  .. . -...j1:
                                                                                                                                                                                                                                                                                                                                         4..
                                                                                                                                                                                                                                                                                                                                           6pm 4
                                                                                                                                                                                                                                                                                                                           1'Morgan, 05-07- l
                                                                 .                                               j                                                                                                                                                      k                                                  jJuanetta                     2cac                   j
                                                                                                                                                                                                                                                                                                                                                                                k
      ,
      k                                                          j
                                                                 -Rec
                                                                  screeen
                                                                       ivi
                                                                         n
                                                                         ng
                                                                         ig                                      t
                                                                                                                 .
                                                                                                                 ;
                                                                                                                 .                                                                                                                                                      j
                                                                                                                                                                                                                                                                        F                                                  ;
                                                                                                                                                                                                                                                                                                                           t
                                                                                                                                                                                                                                                                                                                           .                             i1:46pm p
                                                                 1                                                                                                                                                                                                      I .                           .....a....z
                                                                                                                                                                                                                                                                                                                u.s....   a......
                                                                                                                                                                                                                                                                                                                                #. .   m......j
      2'v-,'-  2,J-
            w .i    .v'r.
                  z.,
                    3   ..
                         'kc,w
                             -w
                              R,
                               '52?) L
                               .                                                                                                 ',- .'Li
                                                                                                                                        w:,;.
                                                                                                                                            p$o,ç,da'It
                                                                                                                                                      '.o.'oup'
                                                                                                                                                              iki,-.                                                                                                    )'-w,                                     2;v'
                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                     o,'tza'r. 70.  7
                                                                                                                                                                                                                                                                                                                                    .--
                                                                                                                                                                                                                                                                                                                                      37- '
      '
      ,
      ;                             )
                                     C3J;
                                      ascve
                                          ;s-
                                            vin;                                                                 '
                                                                                                                 )
                                                                                                                 .Je.1.e$'(
                                                                                                                 '
                                                                                                                 .        . I,
                                                                                                                             '=c'
                                                                                                                                f,                                                                                                                                      .
                                                                                                                                                                                                                                                                        .                                          E
                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                   'guanstta i   ,
                                                                                                                                                                                                                                                                                                                                  2:;'
                                                                                                                                                                                                                                                                                                                                     2t) :
                                                                                                                                                                                                                                                                                                                                       '      :
      r
      t                              L
                                     *Scr
                                        ee  n:nc
                                               -''                                                               f
                                                                                                                 e' ....                                       ..                                                                                                       .
                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                        d
                                                                                                                                                                                                                                                                        '                                         :.
                                                                                                                                                                                                                                                                                                                  i.             î
                                                                                                                                                                                                                                                                                                                                 ;.. .'. .j
                                                                                                                                                                                                                                                                                                                                  -1.
                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                    dit
                                                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                      ï
                                                                                                                                                                                                                                                                                                                                      . L
                                                                                                                                                                                                                                                                                                                                        'm
                                                                 @                                               )                                                                                                               .                                      '.                                                 :.                            ;                  -/
      i,vpt'
           rCSGI
               ZOJBI
                   .tOOCJ,
                         SZ: jSCM -                                                                              qPRE-A.DI/ISSIOISII
                                                                                                                                   VIEDJCA-I
                                                                                                                                           -IGIqS?l
                                                                                                                                                  Diov'
                                                                                                                                                      ioe:is
                                                                                                                                                           lari
                                                                                                                                                              le,                                                                                                       flktant
                                                                                                                                                                                                                                                                              1.                                           (l/l()l
                                                                                                                                                                                                                                                                                                                                 -gd
                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                   ifd. pG5-07- j
                                                                                                                                                                                                                                                                                                                                                k
      à?                                                                    '1'.t)
                                                                 ;r;Rec..ekv4                                    jDi
                                                                                                                   -
                                                                                                                   ps.
                                                                                                                     i
                                                                                                                     v-ra(t,!tt
                                                                                                                              ylh'14
                                                                                                                                   -'
                                                                                                                                    .;
                                                                                                                                     Z,
                                                                                                                                      '.
                                                                                                                                       c,r
                                                                                                                                         .
                                                                                                                                         ,tl.
                                                                                                                                            y''
                                                                                                                                              q:
                                                                                                                                               y                                                                                                                        t                                                  ;.,$1;
                                                                                                                                                                                                                                                                                                                                7,i
                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                  lir
                                                                                                                                                                                                                                                                                                                                    :
                                                                                                                                                                                                                                                                                                                                    ttli i2)ê
                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                            ;77;;                               t
                                                                  'Screening     -
                                                                                                               r . -- , .                                                                                                                                               j                                                  1
                                                                                                                                                                                                                                                                                                                           . .        j1:46prh
                                                                                                                                                                                                                                                                                                                                      d      nti.    .       .     .    . ...
                                                                 i           .                                 r           . .           ... .                   ,     .     .. .                                                                                           .         ......

      1Vk'CSO2OJBNO0O629 SCM -                                                                                 lDoyoudrinkal
                                                                                                                           cohol?                                                                                                                                       iHo                                                4Morgan, 05-07- j
      ;
      j                 lReceiving
                        j                                                                                      .
                                                                                                               !                                                                                                                                                        l
                                                                                                                                                                                                                                                                        ;                                                  tJblanetta 1
                                                                                                              'r                                                                                                                                                                                                           :          à2020    ;
                                                                                                                                                                                                                                                                                                                                               .
      k
      4. ...       ....                   ..                .1
                                                                 jScreen-ing                                     j
                                                                                                                 I
                                                                                                                                                                                                                                                                        I                   .                        ..
                                                                                                                                                                                                                                                                                                                           !...               .... .
                                                                                                                                                                                                                                                                                                                                                         )1:46pnn j
                                                                                                                                                                                                                                                                                                                                                                  .
      'wcsozo-lnc
      !         koooez:)
                       #s
                        Rc
                         ecuei
                             -
                             vinc                                                                                #
                                                                                                                 'Excossivedrinker?
                                                                                                                 !                                                                                                                                                      )
                                                                                                                                                                                                                                                                        .vlp-
                                                                                                                                                                                                                                                                        r                                                  )
                                                                                                                                                                                                                                                                                                                           1Mo
                                                                                                                                                                                                                                                                                                                           'Juarn
                                                                                                                                                                                                                                                                                                                                ge
                                                                                                                                                                                                                                                                                                                                 at
                                                                                                                                                                                                                                                                                                                                  n
                                                                                                                                                                                                                                                                                                                                  ta, j
                                                                                                                                                                                                                                                                                                                                      ,o
                                                                                                                                                                                                                                                                                                                                      h s-
                                                                                                                                                                                                                                                                                                                                       202o:p 1
                                                                                                                                                                                                                                                                                                                                              ;
      1                                                          :Screenicg                                      E                                                                                                                                                      )                                                  1
                                                                                                                                                                                                                                                                                                                           '                             2
                                                                                                                                                                                                                                                                                                                                                         -'
                                                                                                                                                                                                                                                                                                                                                          i'L'57- U
                                                                                                                                                                                                                                                                                                                                                                  y
      t                                                                                                                                                                                                                                                                                                                    p.xav.x,...-......P....   . ....-.. .- ... ..-....r
      #.
       -.--..... ...--...... . .--.-..                   ....ç                            .x....-.......         )
                                                                                                                 . . .. ... . . ......x..                .w..................u              az .s..:... .;v...................................-........................-...J.
                                                                                                                                                                             .z.u.......va...                                                                                   .       .             .
                                                             ,
      '
      *
      y
       WCSO20JBN000629jSCM-
                      bReceiving
                                                                                                                 )
                                                                                                                 .
                                                                                                                 '
                                                                                                                 !
                                                                                                                  Everhadal cothhosltwoi
                                                                                                                 'associatedwi
                                                                                                                                       thdrawajs,tremors,sei
                                                                                                                                       ppingalcchol?
                                                                                                                                                           zures.orDT's'
                                                                                                                                                                       ,
                                                                                                                                                                       '
                                                                                                                                                                        H/A                                                                                                                                                iMorgan, .'05-07- j
                                                                                                                                                                                                                                                                                                                           qJuanetta 2020 '  ;
      r                                                          Jscr
                                                                 '
                                                                 ù eeoing                                        t
                                                                                                                 t                                                                                                                                                      '
                                                                                                                                                                                                                                                                        .                                                  f
                                                                                                                                                                                                                                                                                                                           1..               -..-..r
                                                                                                                                                                                                                                                                                                                                                   ,-
                                                                                                                                                                                                                                                                                                                                                   kT'
                                                                                                                                                                                                                                                                                                                                                     'zs-pra...
                                                                                                                                                                                                                                                                                                                                                              -f
                                                                                                                                                                                                                                                                                                                                                               p
      9                                     .                .

      9t/t/cs(:h2O,JBI
      2              .?0o0629 1
                              .
                              #scfq-
                                   .                                                                                 /p. sc
                                                                                                                 !clvt
                                                                                                                 )        ore(Typebjlh.i
                                                                                                                                       fnotappl
                                                                                                                                              icable)                                                                                                                   -
                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                        'na                                                )Mo
                                                                                                                                                                                                                                                                                                                             .rgan, l..
                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                     k:
                                                                                                                                                                                                                                                                                                                                      -)5
                                                                                                                                                                                                                                                                                                                                        --t
                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                          a7- t
                                                                                                                                                                                                                                                                                                                                              )                                 .
      j                                                          hReceiv
                                                                       zing                                      )
                                                                                                                 r                                                                                                                                                      r
                                                                                                                                                                                                                                                                        '                                                  jwusnetta '=.u=               !1.
      r
      .                                                          'Screening                                      ,                                                                                                                                                                                                         L                               .46im j
                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                 (
      1
      jwcsozolBxcoosz:,s.cM-.-                                                                                   /ooyouuseàrugs?
                                                                                                                 -                                                                                                                                                      pxo
                                                                                                                                                                                                                                                                        -                                                  )
                                                                                                                                                                                                                                                                                                                           .I
                                                                                                                                                                                                                                                                                                                           j'a
                                                                                                                                                                                                                                                                                                                             y,or!ç
                                                                                                                                                                                                                                                                                                                               jy
                                                                                                                                                                                                                                                                                                                                ,  a
                                                                                                                                                                                                                                                                                                                                  .r
                                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                                                                                                                   z n
                                                                                                                                                                                                                                                                                                                                     g,
                                                                                                                                                                                                                                                                                                                                    Jty. y
                                                                                                                                                                                                                                                                                                                                         yo
                                                                                                                                                                                                                                                                                                                                          js
                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                          .(;-
                                                                                                                                                                                                                                                                                                                                             éo-v
                                                                                                                                                                                                                                                                                                                                              .,
                                                                                                                                                                                                                                                                                                                                               .,- / l
      f
      '
      i
      '               jR2e
                      h6  z
                          ee
                         c'
                          -
                          .:
                           Fi.
                             '
                             i
                             i
                             -
                             .i
                              ,g
                              i
                              >
                              :g:                                                                                s
                                                                                                                 '                                                                                                                                                      i
                                                                                                                                                                                                                                                                        f
                                                                                                                                                                                                                                                                        4                                                  ;
                                                                                                                                                                                                                                                                                                                           N
                                                                                                                                                                                                                                                                                                                            w -          11:;
                                                                                                                                                                                                                                                                                                                                            .(i'prr. g
                                                                                                                                                                                                                                                                                                                                                     j
                                                                                                                 #
      #WCSO20JBN000629j
                      'Sccf!
                       Re  /
                           l-
                           ei
                            ving                                                                                 g
                                                                                                                 #Her
                                                                                                                    oin:**jfYES,describeamountandIastuse,                                                                                                               j
                                                                                                                                                                                                                                                                        ;N0                                                k
                                                                                                                                                                                                                                                                                                                           h
                                                                                                                                                                                                                                                                                                                           'Mual
                                                                                                                                                                                                                                                                                                                           ;J orgatn
                                                                                                                                                                                                                                                                                                                                ne  , '0
                                                                                                                                                                                                                                                                                                                                   ta   5-07- j
                                                                                                                                                                                                                                                                                                                                       2020
      )                                                        112
                                                                 ;
                                                                 '
                                                                 :
                                                                 I'
                                                                  .
                                                                  eer
                                                                    -
                                                                    t
                                                                    i
                                                                    .
                                                                    r-
                                                                     .
                                                                     ,
                                                                     6
                                                                     ë
                                                                     .
                                                                     ,..
                                                                       -
                                                                       .... .-
                                                                             .......
                                                                                   ,.
                                                                                    -
                                                                                    .-
                                                                                     .....-,
                                                                                           ...,
                                                                                              ....
                                                                                                 ,
                                                                                                 ......,..................
                                                                                                                 '
                                                                                                                         y....-
                                                                                                                         t    .
                                                                                                                              ,
                                                                                                                              ...
                                                                                                                                ,
                                                                                                                                .....-
                                                                                                                                     .
                                                                                                                                     ,
                                                                                                                                     .,
                                                                                                                                      .
                                                                                                                                      ,
                                                                                                                                      ..
                                                                                                                                       ,
                                                                                                                                       -.,
                                                                                                                                         ...
                                                                                                                                           ,
                                                                                                                                           .
                                                                                                                                           ,
                                                                                                                                           ..
                                                                                                                                            ,
                                                                                                                                            k. ...)
                                                                                                                                            ;     .
                                                                                                                                                  -
                                                                                                                                                  .
                                                                                                                                                  1
                                                                                                                                                  -.
                                                                                                                                                   -
                                                                                                                                                   f
                                                                                                                                                   ,-
                                                                                                                                                    f
                                                                                                                                                    i
                                                                                                                                                    -
                                                                                                                                                    5-
                                                                                                                                                    .ç
                                                                                                                                                     L
                                                                                                                                                     $
                                                                                                                                                     .r
                                                                                                                                                      -
                                                                                                                                                      .
                                                                                                                                                      '..j
                                                                                                                                                         ;
          WCSO2OJBNOO0629 SGM -                                                                                  p I
                                                                                                                   '
                                                                                                                   ixofwithdrawal
                                                                                                                                ?                                                                                                                                       #K/,A                                              jMorgan,                      05-07- p
      '                                                               Receiving                                  B                                                                                                                                                      '
                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                        2                                                  C
                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                           .Juanetta                     2020 j
                                                                     Screeni
                                                                           ng                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                        .                                                  y                             1:
                                                                                                                                                                                                                                                                                                                                                          46pm r
                                                                                                                                              **              ES describe amountand I
                                                                                                                                                                                    astuse.                                                                             iNO                                                iMorgan,                      05-07-
      'WCs020,
             J9N000629 R
                       SCcMei
                        e   -ing
                            v
                       screening
                                                                                                                     Narcctics IfY ,                                                                                                                                                                                       lwluanetta 2020
                                                                                                                                                                                                                                                                                                                                      1:46 pm
      jwcs02oJBNoQo629 ScM -                                                                                         Hxofwithdrawal
                                                                                                                                  ?                                                                                                                                     pN/A                                               pMorgan,                      05-07-
      1                Receiving
                       screening
                                                                                                                 I
                                                                                                                 1
                                                                                                                 -
                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                           I
                                                                                                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                                                                                                            Juanetta                     2020
                                                                                                                                                                                                                                                                                                                                                         4.46pm ,
          W CSO20JBN0O0629 SCM -                                                                                     Benzodiazepines**IfYMS describeamountandlast iNQ                                                                                                                                                      'Morgan,                      05-07-                 ;
      '                    Receiving                                                                                 use.                                                                                                                                                                                                  xJuanetta                     2020
                                                                                                                                                                                                                                                                                                                           !                              ,4
                                                                                                                                                                                                                                                                                                                                                         1. 6pm 1
                           screening.                                                                                                                                                                                                                                                                                                                           y
          WCSO20JBNO00629 SCM -                                                                                      Hxckfwithdrawal
                                                                                                                                   ?                                                                                                                                        N/A                                             Morgan,                      05-07-
                           Receiving                                                                                                                                                                                                                                                                                         Juanetta                    2020
                           Screening                                                                                                                                                                                                                                                                                                                     1:46 pm
          W CSO2OJBN00O629 SCM -                                                                                      Methamphetamines? **IfYES,describeamountand                                                                                                           NO                                               Morgan,                     05-07-
                           Receiving                                                                                 lastuse.                                                                                                                                                                                                Juanetta                    2020
                                                                     Screening                                   j                                                                                                                                                     '                                                             1:46pm
          WCSO2OJBNOO0629 SCM -                                                                                  'Hxofwithdrawal
                                                                                                                               ?                                                                                                                                      'j
                                                                                                                                                                                                                                                                       pH/A                                                jMorgan,                      05-07-
      l                                                              Receiving
                                                                     Screening
                                                                                                                 j                                                                                                                                                     k
                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                                           jJuanetta 2020 i
                                                                                                                                                                                                                                                                                                                                     1.46pm
       W CSO2OJBN0O0629 SCM -                                                                                        Cocaine **IfYES,describeamountand lastuse.                                                                                                             NO                                               Morgan,                     05-07-
    wcso-medical
               /Modules/chafhi
                             stol.php                                                                                                                                                                                                                                                                                                                                    2/70
  '
      6/1Case
         1/2020 1:20-cv-23783-MGC
                               COrEMRDocument     1 Entered
                                      -RADETIC. SEBASTI      onOFLSD
                                                      AN -#WCSO2 JBNOOO6Docket
                                                                        29(10-24-109/11/2020       Page
                                                                                                    story1v119
                                                                                  976)::FullPatientHi         0 of 276
                                                                                                           5.5.
              I                                I
                                               jR
                                                sec
                                                  eeeiv
                                                 cr   nii
                                                        n
                                                        ngg                    l
                                                                               j
                                                                               '                                                                       j                           ;Juanetta j2020 j
                                                                                                                                                                                   .                  ,
              vvcsozoaBxooo6zg lscM                                            '
                                                                               j
                                                                               ,                                                                       ;                           4   .
                                                                                                                                                                                             j..-
                                                                                                                                                                                                I:
                                                                                                                                                                                                 46pm ;
                                                         -                     I-lxofwithdrawal                                                        1N/A
                                                                                                                                                       .                           1Morgan,
                                                                                                                                                                                   ,                     0s-tl7-               1
                                                  Recei
                                                      vinc                                                                                             l                           IJuanetta             2020
                                                  screenin-
                                                          g                                                                                            j
                                                                                                                                                       )                           )                     1:
                                                                                                                                                                                                          46pm
          1WCSO2OJBN000629 SCM -                                               Other:                                                                  lN/A                        Morgan,               05-07-
          '                                       S
                                                  Receiving                 j                                                                          ,
                                                                                                                                                       1                           jJuanetta 2020 j
                                                   creeni
                                                        ng                  ,                                                                          j                           '                     1.
                                                                                                                                                                                                          46pi
                                                                                                                                                                                                             h-.
          IWCSO20JBNOO0629 S
          j                 CMving
                           Recei
                                              '
                                                                           j
                                                                            jDoyou'usei
                                                                                      njectabl
                                                                                             edrugs?**IfYES,gpeci
                                                                                                                fy                                     i
                                                                                                                                                       j
                                                                                                                                                       i
                                                                                                                                                        NO                         ,
                                                                                                                                                                                   1Morgan, 05-07- j
                                                                                                                                                                                   jJuanetta j2020 #
                                                                                                                                                                                   '
          '   .a                              jScreening                                                                                               !
                                                                                                                                                       q                       l                    p1:46pm 1
                                                                                                                                                                                                            4
          j
          i.
           syo..s.o-yyyt
              ,    a   -
                       j
                       ,
                       =
                       .gm
                         az-
                           j.
                            s
                            j
                            a
                            .t
                            r y-y.j.
                                   y-.
                                     j
                                     i.
                                      ,
                                      .-0..
                                          y
                                          .
                                          y
                                          j.
                                           -.
                                            x-...                              soyoyjuysoyo-
                                                                                           jaxoyjjoyysojsa
                                                                                                         y..jjss, sy
                                                                                                                   xoj
                                                                                                                     stype, j.
                                                                                                                             'r
                                                                                                                              go
                                                                                                                              ,''
                                                                                                                                ***''-
                                                                                                                                     '
                                                                                                                                     -''                                       j
                                                                                                                                                                               'sos as                  ()5-07- t
          !                                   1s
                                               R;te
                                                  ..
                                                    ceiving
                                                   l. ino
                                                                           j
                                                                           s
                                                                            howcften,andlastused.                                                      j
                                                                                                                                                       '                       j
                                                                                                                                                                               .
                                                                                                                                                                                Juanetta
                                                                                                                                                                                       ' 2 020 j
                                                                                                                                                                                         .!.
                                                                                                                                                                                               i
          kwcsozolBNoco6zg lscM-                                           r
                                                                           'cowsscore(TypeN/Ai
                                                                                             fnotappli
                                                                                                     cable)                                       ''
                                                                                                                                                   ;na                         tMorgan,                 ()s-:)7-              ?
          f                                   iReceivino                   i '                                                                        k
                                                                                                                                                      .                        kduanetta
                                                                                                                                                                               t                        2020                  .
                                                                                                                                                                                                                              t
          r
          *                                   Iscreenin-
                                                       c
                                                       h-A
                                                                           -
                                                                           .
                                                                           r
                                                                                                                                                      ;
                                                                                                                                                      #
                                                                                                                                                      ;
                                                                                                                                                                               '                   1.6 nm r
                                                                                                                                                                                                  ' .4
                                . .   .   .          .       .. ....            ....                                                                                                                   ..*., . ..
          2w csozolBxoooez'9 scu -                                         r
                                                                           ,Haveyoueveri
                                                                                       nadhepati
                                                                                               ti
                                                                                                s?weIfvEs, whenwereyou !)so                                                    kMorgan,
                                                                                                                                                                                                 .
                                                                                                                                                                                                                              J
          l
          9                                   1
                                              , Recei
                                                    ving                   !
                                                                           #diagnosecl?                                                            ;                                                .   05-07- /
                                                                                                                                                                                                               k
          '                                                                                                                                                                    #Juanetta            '2c20                     4
          è
          *
          ,
                                              pscreeninn
                                              ;        ''                  l
                                                                           i                                                                       )
                                                                                                                                                   .                           :
                                                                                                                                                                               i                        1,
                                                                                                                                                                                                         46pm ,
                                                                                                                                                                                                              h
                                                                                                                                                                                                    ....- -............   .'
          kïr'.
              /c'sc'zr?-'Rq...i
                              .Oc,()62: 'sch.
                                            /i-                            t'oe yc.ucvrreratib,/l-leï/e arns'ro''/-,''1!-vqs, ï?'./p!s,s'rr)c;o -I.
                                                                                                                                                  -
                                                                                                                                                   lc.                         ?
                                                                                                                                                                               , uorgan,            ,o5-c7- i
                                                                                                                                                                                                    r       :

          '.-' -- :.   7::'--ytc-
                                zss-
                                   z:.
                                     rtscr-.
                                           -
                                           ,                               0zs.
                                                                              ,.auua..a'
                                                                                       ,'
                                                                                        ,t-,.i
                                                                                             c-
                                                                                              ,sctic.
                                                                                                    ,.c-
                                                                                                       ,,
                                                                                                        .'
                                                                                                         -:ss.
                                                                                                             -
                                                                                                             , -.- '-krus -
                                                                                                                     .    ....=
                                                                                                                          .   ..zc                 -f-i.--                     2r-.qc-rza..-, -i,c-,i-'-c',-'-- '.
                                          '
                                          p
                                          .
                                            Rec
                                              .
                                                eivin:                     k
                                                                           ',
                                                                            wefeyouciiagnosed?trv'
                                                                                                 i
                                                                                                 -latti
                                                                                                      '
                                                                                                      eaïlh-
                                                                                                           t!
                                                                                                            bi
                                                                                                             htareJfau                                                         i
                                                                                                                                                                               . Juanet   'u'a ik22J -2L'
      l                        :1
                              j.-:9ee!l
                                      iqt.
                                      .  )                             ,i-'
                                                                          ya
                                                                           -i
                                                                            hiv.
                                                                               i'
                                                                                d
                                                                                u
                                                                                -7                                                                :                            e
                                                                                                                                                                               ,                 7'
                                                                                                                                                                                                 j ;,z.e6 ,
                                                                                                                                                                                                   .         -
                                                                                                                                                                                                             ..
                                                                                                                                                                                                              -.
                                                                                                                                                                                                               -. j
      iSvcsaco-lar  -
                    tcocezt.l kscs z-                                  àoc ycucurreatlyhava Mnsn?                                                 i!.!6
                                                                                                                                                      :,                       l f
                                                                                                                                                                                 t/io rgan     =Pko5-c?7- ' r
      /
      .
      ;                       l
                              )Receivin:                               j
                                                                       )                                                                          /
                                                                                                                                                  :.                           r             ,                    r
      :                       t                                                                                                                                                yzuanett     a jy2222              r
      #                       eScreening                               :
                                                                       ,                                                                          ;
                                                                                                                                                  '                            j
                                                                                                                                                                               b                 t1:45 pm r
      l                      ? - ,,                                    y                                                                                                      jvorgan; p       j
                                                                                                                                                                                               ,
      ''
       v';'
          w
          -!.w
             -2w
               -JE)i'
                    t-
                     u;:w
                        '
                        -.
                         ,
                         5S.
                           S jSw.2,                                    iF1ave you had-
                                                                                     -riceIIa/Clnicken Pc):9,
                                                                                     Va                                                           js,                                  j05.07- '
      t
      l
      ,                                   i
                                          ,Receiving                   j
                                                                       .                                                                          j:,
                                                                                                                                                  ..as                        ;guanetta j202c                             y
                                                                                                                                                                                                                          t
                                                                                                                                                                                                                          '
      '                  r
                         iScreen.  ;ng                                 )
                                                                       '                                                      k                                 t                 yj.46pm                                 :
      i                  :  .                                                                                .                ''         .. . ...,. .....- -...,;...-.,----.. .wa= .                                      ,
      .ïA?csO2OJBNOO0629 pSC:r
      j                       '/I-                                     jkkoul
                                                                       .
                                                                             dease
                                                                               youii ketoreceivethehepati tisAvaccine?(i  s 'N/
                                                                                                                          I      AiCEdetainee                   '
                                                                                                                                                                iMorgai    .
                                                                                                                                                                           l. lj  t05-07-                                 '
                                                                                                                                                                                                                          i'
                         .
                         ,Rac  eiving                                  0yes, pl      documentthe Iot#,expirationdate, &sitecf                                  iJuanetta ,12020
                                                                                                                                                               l                                                          1:
      '                  'Frc-t
                              narlilag                                 :administration)                                      l
                                                                                                                             j                                 r                  11.
      i                  i '
      ihs/csozolaxooooa: kscha
                                                                       t                                                                          .                           t     ,
                                                                                                                                                                                                t, 46pm )                 .,
                                                                       k
      )
      r                  1                           -
                                                                       ;ooyoucurrentlytiaveuice/scabies?                                          '
                                                                                                                                                  . xo
                                                                                                                                                  -                           @
                                                                                                                                                                              1
                                                                                                                                                                              .
                                                                                                                                                                                Iuorgan,        'os-c'-
                                                                                                                                                                                                i     ?- d
      -
      k                                   /Receiving
                                          j                            t                                                                          q                           i
                                                                                                                                                                              ,viuai
                                                                                                                                                                                   nei
                                                                                                                                                                                     '
                                                                                                                                                                                     ie j2020                             l
                                          jScreening                   k                                                                          ,
                                                                                                                                                  j                           .
                                                                                                                                                                              .                 ,
                                                                                                                                                                                                11:46pm ,
                                                                                                                                                                                                à       .
                                                                                                                                                                                                '
      jwcsozczBlqoocez: 2scf
      f                  Rec:ei
                              -
                              vi
                               ng                                      .other:
                                                                       t
                                                                       h
                                                                       .
                                                                                                                                                  ?No
                                                                                                                                                  t                           #Morgan,
                                                                                                                                                                              1
                                                                                                                                                                              .         05-07- t
                                                                                                                                                                              rJuanetta 2020 j
      )
      j                                   jscl.eer
                                          e       ,
                                                  iI.g;
                                                 - -
                                                                       ;                                                                          )
                                                                                                                                                  j                           :                 .j.4s pm j
                                                                                                                                                                    .
                                                                                                                                                                              ;,                ; ..
      !
      'wcsoaolBxoooszgj
                      -scu-                                            8
                                                                       -
                                                                       tHavsvoue.rer
                                                                        ' s I'istclate
                                                                                       .testedposi
                                                                                                 tf
                                                                                                  vefortubercul
                                                                                                              osis?**If                            N'c.                       1Morgan,
                                                                                                                                                                              ,                i
                                                                                                                                                                                               h05-07- i
      ,
      t                                       Receivioc                jhE ,               .                                                  ;                               -
                                                                                                                                                                              r
                                                                                                                                                                              .Juanei
                                                                                                                                                                              t     ta r
                                                                                                                                                                                       72o20                              ;
                                              Screed.1i.1:             j                                                                      L                           u                             ,
                                                                                                                                                                                               ;1..46pm ;
                                                                                                                                                                        - .
      '
      $ï/VCSO20JPhJOOO629 SCM -
      .
      .
                                                                       k
                                                                       .
                                                                           Nanle c'
                                                                                  fhJedicaticn
                                                                                               .
                                                                                                                                              3h?Jâ
                                                                                                                                              i
                                                                                                                                              ,   .                       lMorgan,
                                                                                                                                                                              k                 .05-07- l                 .
      j                   Receiving                                    p                                                                      j                               jJuanetta          2020
                          Screenin;                                    '                                                                      j                               h                  1.
                                                                                                                                                                                                  46pm
          wcsO2OJBNOOO629 R
                          SCM-
                           ecei
                              ving                                     'Durati
                                                                       j     onofTherapy                                                      j
                                                                                                                                              kI
                                                                                                                                               q,
                                                                                                                                                ?
                                                                                                                                                A                             j
                                                                                                                                                                              4Mo rgan
                                                                                                                                                                               Juanetta, 05-07- j
                                                                                                                                                                                         2020   ,
                                          Screeni
                                                ng                                                                                            1                                                  1:46pm
          WCSO20JBNO00629 SCM -                                         Haveyoueverrecei
                                                                                       vedtreatmentforactl
                                                                                                         i
                                                                                                         ve                                       No                          jMorgan,           05-07-                   '
                                          Rerceeen
                                          Sc     i
                                                 vi
                                                  n
                                                  ng
                                                  ig                   j
                                                                       .t
                                                                       4ubercul
                                                                              osis?IfyesIistdateandIocationinnotes                            %
                                                                                                                                              I
                                                                                                                                              j                               j
                                                                                                                                                                              jJuanet
                                                                                                                                                                                    ta 2
                                                                                                                                                                                       j0
                                                                                                                                                                                        42
                                                                                                                                                                                        .g0pm I      .
                                                                                                                                                                                              j
      wcsO2OJBN00o629 SC
                      Rc
                      S M
                       er
                        c -
                        eei
                          ving
                          n                                            j
                                                                       kTherapyCompl
                                                                       '           eted?                                                      )N/A
                                                                                                                                              k                           i
                                                                                                                                                                          I
                                                                                                                                                                          jJ
                                                                                                                                                                           Muoargatn
                                                                                                                                                                                ne  ,j
                                                                                                                                                                                   ta j0
                                                                                                                                                                                       25
                                                                                                                                                                                        0 -
                                                                                                                                                                                          20
                                                                                                                                                                                           07-
                                                                                                                                              :                           k            J'
                                                                                                                                                                                        .46 pm
      WCSO2OJBN000629 SCM -                                            TBSkinTest(foraIIwhoanswered''
                                                                                                    no'to#1or#2,                                  N/A                         Morgan,           05-07-
                       Receiving                                       exceptifthey have documentation.                                                                       Juanetta          2020
                       Screening                                                                                                                                                                1..46pm
      W CSO2OJBNO0O629 SCM -                                           Dateancltime admini
                                                                                         stered                                                   08/26/2019 1200             Morgan,           05-07-
                       Receiving                                                                                                                                              Juanetta          2020
                                          Screening                j                                                                          -                           I                     1:
                                                                                                                                                                                                 46pm
  1WCSO2OJBN000629 SCM -                                               Si
                                                                        teofadministration(ppdO.1mI)                                           chestxraypertransfer Morgan,                    05-07-
  1
  l
  .                 Receiving
                    Screeni                                                                                                                   :
                                                                                                                                              jsumm arywas negative Juanetta                   2020    !
                                                                                                                                                                                                       .
  .                        ng                                      .
                                                                                                                                              k
                                                                                                                                              !
                                                                                                                                                                                               1.'46pm j
    WCSO2OJBN000629 SCM -                                              Listl
                                                                           otnumberand expi
                                                                                          ration                                               na                             Morgan,          05-07-
                                          Recei
                                              ving                                                                                            j                               Juanetta         2020
wcso-medical/Modules/chafhistow.php                                                                                                                                                                              3/70
 '
 d
        Case
     6/11/
         2020               1:20-cv-23783-MGC
                                           COCEMRDocument    1 Entered
                                                  -RADETIC,SEBASTI      on 0J
                                                                 AN -#WCSO2FLSD    Docket
                                                                             BN0û0629(10-24-109/11/2020
                                                                                             976)::FullPati  Page
                                                                                                              storyjv120
                                                                                                          entHi      5.5.0 of 276
             l
             j                                 1screening                     j                                                                          j                                                  l                     y1:46pm I
                                                                              #
             vt
              /csozo-lBslooo6z: ,scM -                                        dBorninthetysA?(ifno,I
                                                                                                   istcouctryofbi
                                                                                                                dhandhôw                                 kNo(croati
                                                                                                                                                         .        a)                                        )
                                                                                                                                                                                                            'Morgan,              05-07-
                                                 Recei
                                                     vi
                                                      ng                      r
                                                                              'manyyearsintheuni
                                                                                               tedstatesinnotes)                                         /
                                                                                                                                                         .                                                  -Juanetta ,2020
                                                                                                                                                                                                            i                                     .
                                                 screening                    j
                                                                              )Bco vaccine?                                                              ,ves
                                                                                                                                                                                                            j                     1:46pm
         'W CSO20JBN0O0629 SCM -                                                                                                                                                                            ?Morgan,              os-o'
                                                                                                                                                                                                                                      ?-
                                                 Receiving                    1                                                                          j
                                                                                                                                                         i                                                  /Juanett
         p
         j                                       screeninu                                                                                               '
                                                                                                                                                         d                                                  j
                                                                                                                                                                                                            k
                                                                                                                                                                                                            r
                                                                                                                                                                                                                   a              20
                                                                                                                                                                                                                                  4.
                                                                                                                                                                                                                                    20
                                                                                                                                                                                                                                   46 pm
         iWCSO2OJBN0O0629 SCM -                                               ,Uni
                                                                                 ntentionalWei
                                                                                             ghtIoss> 10IbSinonemonth?                                  3
                                                                                                                                                        âYes                                                1
                                                                                                                                                                                                            kMorgan,              05-07-          ,
         ;                                       Recei
                                                     ving                     .                                                                         j                                                   /Juanetta             2020
         p                                       Screenil
                                                        ag                                                                                              )                                                   j                     -1:
                                                                                                                                                                                                                                    46pm
          t/vcsozolBNooo6zg jscM -                                            'Ni
                                                                                ghtsweats                                                               r
                                                                                                                                                        !
                                                                                                                                                        -I
                                                                                                                                                         ko                                               4Morga
                                                                                                                                                                                                          i
         '                  1n                                                                                                                                                                                       n, o5-c7-
         !                  jS
                             -
                               eceiving                                                                                                                1
                                                                                                                                                       t                                                  pJl  -lanette .2020
         l                  1 cl'eei
                                   nict
                                      fj                                      ?                                 .   .       .
                                                                                                                                                       j
                                                                                                                                                       D
                                                                                                                                    .. ...... . ...-..--... .- ..- ---       .       ..   . ..
                                                                                                                                                                                                          ?,-.-..
                                                                                                                                                                                                 .--..-- -t
                                                                                                                                                                                                                        .1:
                                                                                                                                                                                                                          46pm
         i
         ,
          tUCSO2OJBNOO0629 1
                           !
                            SCM                          -                 Fever                           -'                                          1No                                               ' ,
                                                                                                                                                                                                           .r-
                                                                                                                                                                                                         lMo g,
                                                                                                                                                                                                              --., .. 05-07- :
                                                                                                                                                                                                              an
         j                                      r.n      ::               ?                                                                            ,                                                 l
                                                                                                                                                                                                         t
         F                                     #S
                                               irq
                                                 kC
                                                  ecel
                                                     t/lll?               p                                                                            ;                                                 jJuanetta                2020            )
                         g ;reenin(?                                      j                                                                            j
                                                                                                                                                       $                                                 j. ..y..... ,..,...mj.1..:46
                                                                                                                                                                                                         l                            pm.. ..s1.
                                                                                                                                                                                                                                    ....,
         tWCSO2QJBNO00629 S
         r                 CM-
                          Receivinp
                                                                          l
                                                                          F
                                                                           Persistentcougl
                                                                                         a>2weeks                                                      f
                                                                                                                                                       i
                                                                                                                                                       )
                                                                                                                                                        i
                                                                                                                                                        '
                                                                                                                                                        kc                                               j
                                                                                                                                                                                                         L M o rg  an ,
                                                                                                                                                                                                         jJuanetta 202c
                                                                                                                                                                                                                             ' 0 5  -
                                                                                                                                                                                                                                    07 - b    '
                                                                                                                                                                                                                                              ë
         .                  9
                            iscr
                               eening                                     k
                                                                          ;                                                                            :                                                 k                        1:46pm
         '                                                                                                                                                                                              /j
                                                                                                                                                                                                         '-h/i  . .
                                                                                                                                                                                                   z. ..,
         #   ,
         , VvCSO2OJBl
                            r
                    4OO0629 1SCM -                                        y
                                                                          .Coughingblood                                                               !
                                                                                                                                                       'I
                                                                                                                                                        'ko                                              j   argan, à05-07-                       #
                                                                                                                                                                                                                                                  j
         è                                     -     ,in-
                                               :Recsfr
                                                     -  s                 l
                                                                          y                                                                            :
                                                                                                                                                       g                                                 kg  l
                                                                                                                                                                                                             -lsnetts r202:1                      ,
                                                                                                                                                                                                                                                  ;
                                        :  St;le(.)!':;!'!(?              >
                                                                          .                                                                                                                                                   . , .to
                                                                                                                                                                                                                                -' '    ---
                                                                                                                                              - y
         .                                                                                                                                                                                                                          -
         :                              j                                 g                      .
                                                                                                 - .
                                                                                                   -                    -                     . :' '                                                .  uir                ,..
                                                                                                                                                                                                                            u%
                                                                                                                                                                                                                             (-.-..
                                                                                                                                                                                                                             '    ,.u..-
                                                                                                                                                                                                                                       ,..
                                                                                                                                                                                                                                         ,y
                                                                                                                                                                                                                                          ,
          i'ï'k,&UJi(;c1E)i'N!k-?UG-u
                                    l22 j,%k-uIb?'   l-                   jr'vec.p.t'tII.c)w.                                                            ;ui
                                                                                                                                                           '
                                                                                                                                                           ,
                                                                                                                                                           .                                             .v( z.'.a.w
                                                                                                                                                                                                                   '-..-,, f:)Z.'- J'7. '
                                        !77-t'iiq';lc.i;k.I'-,tz-.
                                        '                                 ;                                                                                                                             b-;'-':'tnei;.Tj' l
                                                                                                                                                                                                                    .         .1
                                                                                                                                                                                                                               ?.
                                                                                                                                                                                                                               .7):
                                                                                                                                                                                                                                  ?O
                                               jScreening                 4                                                                                                                             à                     '---
                                                                                                                                                                                                                              d  i:4t!pi  7. '
         t...                                                                                                                                            '                           ''                                                      .,.?
                                                                                                                                                                                                                                  .- .-.- .= .
                      56Gê j                                              , .sposi                                                                                                                                                      .
     .t?vC,.
           îO.
             à.
             ;OJBfN!'
                    ;t
                     Tr
                      ,    .SGgv:-                                        hDI    ii
                                                                                  c,,
                                                                                    .1                                                                 ,r
                                                                                                                                                        .t
                                                                                                                                                         /                                                                   kv
                                                                                                                                                                                                                              -j.v
                                                                                                                                                                                                                                 -v-              ?
                                                                                                                                                         d ,t..p:rjas                                   ï
                                                                                                                                                                                                        jNjcrgan,
                                                                                                                                                          ,
     '                     iReceiving                                    i                                                                                                                                                   r - .                ,
     à                     j                                             #                                                                             . acumentaf   ti
                                                                                                                                                                      cnc'fTB                           j
                                                                                                                                                                                                        8,wiuanette          ,
                                                                                                                                                                                                                             N2020                r
     ;                     tScreening                                    r                                                                             !clearynce                                       r
                                                                                                                                                                                                        k                    1
                                                                                                                                                                                                                             ,'
                                                                                                                                                                                                                              i:4Spm              î
     .'
     2tft
        /
        zcsoz,z
              '
              .
              llBf
                 k oC h
                      t
                      i6zâ '
                           pscR/:-                                       l
                                                                         ,
                                                                         '
                                                                         $Do you have
                                                                         j          . Astlanaa? +el.;vEs.vtflaeo bwasyourlast                          i
                                                                                                                                                       . No
                                                                                                                                                       k                                                r
                                                                                                                                                                                                        jMcwan,         .
                                                                                                                                                                                                                        r    k05-07-
     1
     l
     .                                       kR
                                             j acsivii
                                                     -.l
                                              scrsening
                                                                         t
                                                                         :
                                                                         7
                                                                          epi
                                                                            sodecfshortl
                                                                                       nesssfbreatl
                                                                                                  h?                                                   I
                                                                                                                                                       i
                                                                                                                                                                                                        àJuanettg j
                                                                                                                                                                                                        .
                                                                                                                                                                                                                  r2020 j
                                                                          .                                                                            j.                                               j                    j1:46pm )
                                                                                                                                                                                                                                     ,
     >'
     '
     i.
      $
      A.
       'cs(E;2()JBl
                  -k():p:$
                         62gi
                            js cf;-ng,
                             F?ecelrrl.
                                                                         )
                                                                         I
                                                                          .
                                                                          '
                                                                          -.o.
                                                                             sj
                                                                              .,'
                                                                              - .'
                                                                                 s,
                                                                                  ',
                                                                                   '
                                                                                   ka.'
                                                                                      .cp,-
                                                                                          ,rejateztoAsthrnaintl
                                                                                                              cel
                                                                                                                astyoar?                               !
                                                                                                                                                       t
                                                                                                                                                        htc                                             j
                                                                                                                                                                                                        èMorgan, kh
                                                                                                                                                                                                        !Juanetta q
                                                                                                                                                                                                                   05-07
                                                                                                                                                                                                                       ,- r
                                                                                                                                                                                                                  :2c20 j
                                                                                                                                                                                                                          '
     p
     j
     '
                                             kscreeniaq                  d
                                                                         ,
                                                                         '                                                                             ?                                                -
                                                                                                                                                                                                        ,                    j1.46pm .
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                     ë
     ?Tn/()î?/2().18rNI0()()62? t
                                bS
                                 PCfs/l-                                 Cçrisfcrrj,nf1,nïp(lnation? Z/hen?                                             N(:t                                            lit/lorçan.
     ,
                                                                                                                                                                                                                             )05-07- 1,
     !
     '                                      xsece;
                                                 ''ip
                                                    -,
                                                     t
                                                     .
                                                     -
                                                     ;                                                                                                                                                  pJuanetta! j2O2O
                                                                                                                                                                                                        ?                            i
                                                                                                                                                                                                                                     .
     t                    craaniap                                                                                                                                                                      j
                                                                                                                                                                                                        '                    ;-
                                                                                                                                                                                                                              1.
                                                                                                                                                                                                                               46 pm )        .

     :w csO2OJBNOOO629 ' Sch
                       iRecei!                                           7
                                                                         ,Hi
                                                                           story ofCOPD orEmphysema'
                                                                                                   ?                                                                                                    l'
                                                                                                                                                                                                         . Morgan
                                                                                                                                                                                                                ta,
                              ving                                       11                                                                          r-                                                1.Juanet              /
                                                                                                                                                                                                                             .05-07- f
     l
     r
     !                 Ii
                        -                                                1                                                                                                                             1!                    '2020      h
     #                 rScreening                                        r(
                                                                          i
                                                                          -                                                                         i1
                                                                                                                                                     ë.
                                                                                                                                                      -
                                                                                                                                                      .                                                j
                                                                                                                                                                                                       r,:                    1...46 pm j
                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                        :
     d                  .                                                11                                                                         ''                                                 '                     ',
     7h&C.SO2OJBN0OO629 SCM
     '                    R -                 eceiving                t
                                                                      i
                                                                         IOxygen clependent?
                                                                                                                                                    ?
                                                                                                                                                       No                                              'Morgan,
                                                                                                                                                                                                       tJuanettà             f
                                                                                                                                                                                                                             t,0
                                                                                                                                                                                                                               250-2007- t   f
     r
     .W                                     -Screening
                                            1                        y'                                                                             k
                                                                                                                                                    p                                                  p
                                                                                                                                                                                                       i
                                                                                                                                                                                                       '
                                                                                                                                                                                                       . ....,-.-       -.
                                                                                                                                                                                                                             7 1 :4 6
                                                                                                                                                                                                                             r.......,
                                                                                                                                                                                                                                     ..p
                                                                                                                                                                                                                                       m    -!
                                                                                                                                                                                                                                      -......)
                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                             .
             csO2oJBNOO0629 SCM -                                        )Angina(chestpain)                                                         1No                                                  Morgan,
     p
     5                                      iRecai
                                                 vi
                                                  ag j                                                                                              ;                                                  )jyranetfa 1
                                                                                                                                                                                                       r- .       Cz
                                                                                                                                                                                                                   0t
                                                                                                                                                                                                                    5
                                                                                                                                                                                                                    li
                                                                                                                                                                                                                     -
                                                                                                                                                                                                                     ?0o7- t
                                            1screening                   k
                                                                         j                                                                          s
                                                                                                                                                    j                                                  (                 k1:
                                                                                                                                                                                                                           46pm t
                                                                                                                                                                                                                                l
     gW CSO2OJSNOOO629 SCM -                                              Stents                                                                    ;No                                                jMorgan,          105-07- i
     l                                       S
                                             Rc
                                              erc
                                                eeei
                                                   vin
                                                   n  g
                                                     ng
                                                                                                                                                    j
                                                                                                                                                    .
                                                                                                                                                    '
                                                                                                                                                    d
                                                                                                                                                                                                    jJuanetta 12020 l
                                                                                                                                                                                                               1:46pm j
     W CSO2OJBN0O0629 SCM -                                               HeaftAttack                                                               No                                              .Morgan,                 Q5-W -
                      Receiving                                                                                                                    '                                                 Juanetta                2020
                      Screening                                                                                                                    '
                                                                                                                                                   1
                                                                                                                                                   .                                                                         1:46 pm
     /WCSO20JBN00O629 SCM -                                              qBypass                                                                   lNo
                                                                                                                                                   i                                                1Morgan,
     ,
     !
                      R
                      s
                       eceiving                                                                                                                    i                                                .
                                                                                                                                                                                                    !
                                                                                                                                                                                                    ,J
                                                                                                                                                                                                              105-07- j
                                                                                                                                                                                                              8
                                                                                                                                                                                                      uanetta ,2020 j
     i                                     i   creani
                                                    ng.                                                                                            l                                                ;
                                                                                                                                                                                                    1                    i
                                                                                                                                                                                                                         y
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                          1.
                                                                                                                                                                                                                           46pm ;;
     WCSO20JBNO00629 SCM -                                               CongestiveHeartFai
                                                                                          lure                                                     lNo                                              !Morgan,                 05-07-
                     Receiving
                     Screening
                                                                                                                                                   -
                                                                                                                                                   1
                                                                                                                                                   I
                                                                                                                                                                                                    1
                                                                                                                                                                                                    ,
                                                                                                                                                                                                    1
                                                                                                                                                                                                     Juanetta                2020
                                                                                                                                                                                                                             1:46 pm
                                                                                                                                                   f                                  .   .         ,    .

     W CSO20JBNOO0629 SCM -                                              DeepVei
                                                                               n Thrombosi
                                                                                         s/pul
                                                                                             m onar
                                                                                                  'y Fmbolism                                         No                                                Morgan,              05-07-
  '                                         Receiving                                                                                              j                                                    Juanetta             2020
  I...-.
       --
        ..       ........
                                            Screening                                                                                             !                                                .
                                                                                                                                                                                                   1                         1:46nm
                                                                                                                                .        .                          .    .       .

     WCSO20JBN000629 SCM -                                               HeadVal
                                                                               veRepl
                                                                                    acement                                                       4
                                                                                                                                                  jNo                                              jMorgan,
                                                                                                                                                                                                   .
                                                                                                                                                                                                                             05-07-
                     Receiving                                                                                                                    l                                                jJuanetta                 2020
                                            Screening                '
                                                                     j                                                                            j                                                p                         1:
                                                                                                                                                                                                                              46pm j
     W CSO20JBNO0O629 SCM -                                          '
                                                                         AtrialFibrillation                                                       .No                                              .Morgan,
                                                                                                                                                                                                   1                     05-07-
                                            Rcreceeni
                                            S     ei
                                                   ving
                                                     ng
                                                                                                                                                  I
                                                                                                                                                 81                                                ,
                                                                                                                                                                                                       Juanetta 2020
                                                                                                                                                                                                                1:46 pm
wcs> medi
        cal/Modules/chafhistow.
                              php                                                                                                                                                                                                       4/70
     Case
 6/11/
     2020     1:20-cv-23783-MGCCOrSMRDocument    1 Entered
                                      -RADETIC,SE8ASTI       on0JBN0
                                                     AN -#WCSO2 FLSD    Docket
                                                                    00629         09/11/2020
                                                                         (10-24-1976)::FullPati   Page
                                                                                              entHi       121
                                                                                                  story(v5.5.0 of 276
  '
                                                                                                             '
       IWCsO20JBNO0O629 jSCM -      :Pacemaker
                                    j                                          :No                    jMorgan, 05-07-
                                                                                                      .
                                                                                                      d
       l
       !                                                     iReceiving                                                                                                                                                                                                          1
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                    jJuanetta 2020
                                                              Screening                                                                                                                                                                                                          j                                                                  y         j.
                                                                                                                                                                                                                                                                                                                                                               46pm
       jv
        vcsozoaosoooea:,sccuei-
                        ne    ving                                                                         ,i
                                                                                                           ;nternalnefibri
                                                                                                                         Ilator                                                                                                                                                  i
                                                                                                                                                                                                                                                                                 :so                                                                .
                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                    'uo
                                                                                                                                                                                                                                                                                                                                                     Juar
                                                                                                                                                                                                                                                                                                                                                        gatn
                                                                                                                                                                                                                                                                                                                                                        ne  , l'o
                                                                                                                                                                                                                                                                                                                                                           ta   as-op '
                                                                                                                                                                                                                                                                                                                                                                 oao
       I                                                     screening                                     j                                                                    .-                                                                                        -j                                                                        !                                  ,.
                                                                                                                                                                                                                                                                                                                                                                                        46pm ,
       lwcsozo-lBNoooezg R
                         scM                                                                               ,Endocarditis                                                                                                                                                         'No
                                                                                                                                                                                                                                                                                 k                                                                  .Morgan, 05-07-
                            Seceiving                                                                      j                                                                                                                                                                     1.                  'Juanetta 2o2o
                             creening                                                            .         )
                                                                                                           .                                                                                                                  .      .. . . ..,.           ..... ... ........    1.,....-.
                                                                                                                                                                                                                                                                                         ,...
                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                            -,.
                                                                                                                                                                                                                                                                                              - .. . ;         1:46pm .
           wcsozo-lBxoooea: scM                                                                            pHi
                                                                                                             stcryofHigl
                                                                                                                       nBl
                                                                                                                         oodpressura?                                                                                                                                            lNo                 jMorgan, 05-07-
                                                             Receiving                                                                                                                                                                                                           t                                                                  iJuanetta
                                                                                                                                                                                                                                                                                                                                                    j                                 2020               .
                                                                                                                                                                                                                                                                                                                                                                                      1.46 pm
                       lsclu-                                                                             !currentlytalingmedicati
                                                                                                                                 onsforhypertension?                                                                                                                             iso
                                                                                                                                                                                                                                                                                 ,                                                                  ,Morgan,
       dWCSO2OJBN000629kRecei
                            ving                                                                          1                                                                                                                                                                      k                                                                   Juanetta                         0
                                                                                                                                                                                                                                                                                                                                                                                      25
                                                                                                                                                                                                                                                                                                                                                                                       0-07-
                                                                                                                                                                                                                                                                                                                                                                                        20
       y                                                     screeoing                               '
                                                                                                          k
                                                                                                          j                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                 r                                                                  ;                                 j,
                                                                                                                                                                                                                                                                                                                                                                                       .y6p. g
                                                                                                                                                                                                                                                                                                                                                                                             y
      l 'csozclBxoooezg '
                        yscu                                                                              pHistoryofHyperlipidenaia                                                                                                                                              :xc                                                                L
      J
      k
      '
       IA                                                   ;Receiviop
                                                                             -
                                                                                                          j
                                                                                                          j
                                                                                                                                                                                                                                                                                 g
                                                                                                                                                                                                                                                                                 à
                                                                                                                                                                                                                                                                                                                                                  l
                                                                                                                                                                                                                                                                                                                                                  .Morgan, j.05-6
                                                                                                                                                                                                                                                                                                                                                                :,
                                                                                                                                                                                                                                                                                                                                                  ;Juanetta ë2020
                                                                                                                                                                                                                                                                                                                                                                 7- ' j
      i      . .       . h
                          9Screen
                              .
                                  inc.                                                                    ,l
                                                                                                          ,                                                           ...                                                                                                        j
                                                                                                                                                                                                                                                                                 '                       .      .         . -       ...         .!.         p
                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                             1.46 oc
                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                    n j...        -             .. .


      kw csozo-lBNoooez: h
      r
      F                  iscM -                                                                          4
                                                                                                         ,currentlytakingmedicationsforqyperl
                                                                                                                                            ipi
                                                                                                                                              dernia                                                                                                                             ù
                                                                                                                                                                                                                                                                                 #No                                                             k
                                                                                                                                                                                                                                                                                                                                                 dMcr
                                                                                                                                                                                                                                                                                                                                                 I  gan.,                             05-07- '
      ;                  l;Receiving                     k                                               l
                                                                                                          '                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                 ..Juanetta
                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                        ''2020
                                                                                                                                                                                                                                                                                                                                                                        1. j   .4 . 6     p  o a
                                                                                                                                                                                                                                                                                                                                                                                                      ;:
                                                                                                                                                                                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                                                                                                                                                                                      è
      .                                                  .. scr
                                                              cansr;g                                                                                                                                                                                                                                                                            .                             .
                                                          *
                                                    -- ..-. -...---.-.                                                                                                                                                                                                                                                                                              '-'1 ,..
                                                                                                                                                                                                                                                                                                                                                                         1 2..v.'
                                                                                                                                                                                                                                                                                                                                                                                ..'.u'%z--.'....v'
                                                                                                                                                                                                                                                                                                                                                                                                 .-.'-'
       ' . . .---. .-...
      .t/t
         /c64                       ;)                                                                       3-1istory::17C.$,.>.lSîr'clltk'?L..., v:,ES .3..o.b.                                                                                                                     1..N,t;                                                         1,sil:)77a:7. )  ;;Ltj.v       -jy.  - k        '
      . .   .-
            ,
             -;2$3..1BI'JOte.ItJi62:
                                   .: jSC)hl-                                                                                              :'                   i.icz,ec..8te 8r-;:l                                                                                                                                                                                                                  r
                                                         ?i
                                                          keceis
                                                               ?i
                                                                !-
                                                                .
                                                                  ,g!                                    1l-
                                                                                                           kospliaik/
                                                                                                                    vk
                                                                                                                     '
                                                                                                                     lt
                                                                                                                      ucrt
                                                                                                                         -
                                                                                                                         i(ieatet
                                                                                                                                -
                                                                                                                                j.                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                 .owaki
                                                                                                                                                                                                                                                                                                                                                 .    el
                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                       i;Luo. ju ''
                                                                                                                                                                                                                                                                                                                                                                  .c
                                                                                                                                                                                                                                                                                                                                                                   w
                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                     zw
                                                         CSwlq
                                                             sei,.?',Ip                                  r                                                                                                                                                                                                                                       :            , .1.t
                                                                                                                                                                                                                                                                                                                                                              1       6 pm
                                                                                                                                                                                                                                                                                                                                                                     .. ..
        ..'- :
      -l,    j..
               -'
                .'
                 n-jg,..
                       jk
                        !.-.gg.
                              '
                              -
                              ;g kgg7
                                    ,.,
                                      -
                                      j                                                                   =,!a                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                  .?or-g.-                        @()5.07- '
      r:&w. w..,w. 1             :      ;                                                                1 ...                                                                                                                                                                                                                                   t! . umjjm                       lgnan              j

                                                                                                                                                                                                                                                                                                                                                                                  f
      lta
        '/CSO2OJBI<OOO629 LScft/
                               i-                                                                        iHi                                           70! ihlo
                                                                                                            stcrvcfdiabetesorhigh blood sugar? --!fYES (                                                                                                                                                                                        BMorgan,
                                                                                                                                                                                                                                                                                                                                                ;                                 j05-07- t
                                                                                                                                                                                                                                                                                                                                                                                          '
      :
      ;                   j
                          lReceiving                                                                     kong?.
                                                                                                         rI                                           , .:, ,                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                                                )                                 #       ,
      !
      .
      r                                        ;  Screeniog
                                                         '
                                                                                                1                                                                                                                                                                                                                                               1Juanatty                         j202
                                                                                                                                                                                                                                                                                                                                                                                  L1: 0
                                                                                                                                                                                                                                                                                                                                                                                    46prn 1
      L
      ;7                                       1.....-............ou...........-......... .., .!.?.......x......
             -' .-..-.---------........x.......i                                                                                   .              . -.....-.--.-.------..--.--..-.......---.....-.-..-.-- ......-.-.-.w.....-...........-.....-..-................v. . .                     .           .-..                                   ,
                                                                                                                                                                                                                                                                                                                                                 . -.       4lu.x...xu...gx..a.axp.ua..xoa.4:
                                                                                                                                                                                                                                                                                                                                                    ....,-..<..,..... .ka-w-.xr..u.
        vvcsozolBsoooea:                       k,scu                                            y:.,-..                                                                                                                                                                                                                                         .
      l
      t
      '
      !                                                  'Recei
                                                         !    vio:                                               ,
                                                                                                                 .evoosurrentlytakingmedsfordi
                                                                                                                                             abetes                                                                                                                           !
                                                                                                                                                                                                                                                                              i                                                                 ;:t,
                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                l       -., ka5-a7- ;!
                                                                                                                                                                                                                                                                                                                                                   :oC:a.
                                                                                                                                                                                                                                                                                                                                                !Juanetta .
                                                                                                                                                                                                                                                                                                                                                          12o2o                                      ;
                                                                                                                                                                                                                                                                                                                                                                                  .
      r                                                  1Screenino                                      1'                                                                                                                                                                   i                                                                 i                                     'i.G.6 pl-ri
                                                         f                       A-'xr..-...-..........-..t............. ..... ......................................................-...-...-..-.-............-..........-...-.-.-......-........---..-.-......---..---..--..--.I.                           - .. -...- ...-.-....- --.-..,.-,.--1
                                                                                                                                                                                                                                                                                                   . .-..- - -.                                       ..... . .... ... '' ,.. . . -.. ..
       h/csO20JBN00O629 jSC)l
                            t'
                             q-'                                                                         1
                                                                                                         j
                                                                                                         ./4'
                                                                                                            .
                                                                                                            epoucorrentlytakinginsul
                                                                                                                                   in                                                                                                                                             No                                                            jr
                                                                                                                                                                                                                                                                                                                                                 zorpan, os-o7- !
                                                                                                                                                                                                                                                                                                                                                                i
      r
      h                                                 iReceiving                                       t
                                                                                                         '
                                                                                                         .                                                                                                                                                                                                                                      1         . .l
                                                                                                                                                                                                                                                                                                                                                             tpaoetla                 2020           ,
      k
      !!
                                                        j
                                                        '
                                                          screening                                      y                                                                         1
                                                                                                                                                                                   .                                                                                                                                                                                             :j.
                                                                                                                                                                                                                                                                                                                                                                                 j .
                                                                                                                                                                                                                                                                                                                                                                                    46pm q
                                                                                                                                                                                                                                                                                                                                                                                         ;
                   .                  ..    . .     . .- .............. .. ..... . .                    ,i
                                                                                                      ...                                       . .. ... .. ... .- .-....... ......i
                                                                                                                                                                                   ,                                                                                                                     .,..,,............,,.-...........................;
                                                                                                                                                                                                                                                                                                                                                          . .. ....
      yh:l'
          gsvxr'olr
                  ohf'
                     achrwr
                          -
                          pm,t
                             y ksrxq,-
                             .
                                                                                                         ;u'-s-i
                                                                                                               ya-fj
                                                                                                                   vsgis.
                                                                                                                        --:
                                                                                                                          plsse
                                                                                                                              g,
                                                                                                                               -l.-.cli
                                                                                                                                      abetesinthelpstyear?**lf i                   .l
                                                                                                                                                                                    Nit
                                                                                                                                                                                      n                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                                                                                ,ih/i
                                                                                                                                                                                                                                                                                                                                                    orgara                        05-07- .
      k
      :                                                 !R                                               k i,
                                                          eceit'i'ng                                         :, '
                                                                                                         ?YEE'  rhern'?                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                                                                                                .,JtIanetts                       2020 j
  i''- - - - - 2 t
  '                       #Screeni  ng                                   . . .. .                        t
                                                                                                         l
                                                                                                         -. .        ..                . .           .. .,         ù
                                                                                                                                                                   i         . ..                                             ..                                    .        a              .,. ......                                          l
                                                                                                                                                                                                                                                                                                                                                1'          1:
                                                                                                                                                                                                                                                                                                                                                             46pm j :
                          'Eclb/'l
  lt'b
  !  ,k>.
        !-'
          w.2L;.ili.
                   ët
                    a'
                     3k
                      a62 .                                              -                               )
                                                                                                         'Fzi-l.
                                                                                                               psr(
                                                                                                                  l:icl' .BEu
                                                                                                                            o
                                                                                                                            sa
                                                                                                                             ltithseaf
                                                                                                                                     g
                                                                                                                                     oall
                                                                                                                                        l
                                                                                                                                        '(
                                                                                                                                         wrx1
                                                                                                                                            /Ag.i
                                                                                                                                                fnotapplicabl
                                                                                                                                                            e)**!f !
                                                                                                                                                                   rna                                                                                                                                                                          l
                                                                                                                                                                                                                                                                                                                                                jMo
                                                                                                                                                                                                                                                                                                                                                 Juarn
                                                                                                                                                                                                                                                                                                                                                     ge
                                                                                                                                                                                                                                                                                                                                                      at
                                                                                                                                                                                                                                                                                                                                                       n
                                                                                                                                                                                                                                                                                                                                                       ta, .0
                                                                                                                                                                                                                                                                                                                                                            25
                                                                                                                                                                                                                                                                                                                                                             0-
                                                                                                                                                                                                                                                                                                                                                              2007- '
                           Peceivzi'np                                                                   1cest.lfs7-3fJ,() a
                                                                                                         .                              o   i
                                                                                                                                            n ,                    l                                                                                                                                                                                                1                                ,
  '
  t                                                     !screer'
                                                        .      ing                                       l
                                                                                                         ;
                                                                                                         '                                                                                                                                                                   f
                                                                                                                                                                                                                                                                             ,                                                                  1
                                                                                                                                                                                                                                                                                                                                                $                                     1:46pm )
  iwcsozogBr
           qoooezg rschz-                               -                                                Chlausea                                                                                                                                                            ;No
                                                                                                                                                                                                                                                                             k                                                                  lMorgan, 05-07-
  l
  i
                                                       /Receiving
                                                       iscreening
                                                                                                         j
                                                                                                         k                                                                                                                                                                   r
                                                                                                                                                                                                                                                                             #
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                                                                                                                                             iJuanetta 2
                                                                                                                                                                                                                                                                                                                                             8
                                                                                                                                                                                                                                                                                                                                            u .
                                                                                                                                                                                                                                                                                                                                                        o426opm
                                                                                                                                                                                                                                                                                                                                                       1,                              ,
                                                                                                                                                                                                                                                                                                                                                                                                     ,
  !WCSO2OJBN9OO629 ne-ei
                   SCM- -i--,
                                                                                                          vomitina                                                                                                                                                           l
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                                              .,.
                                                                                                                                                                                                                                                                                :,                                                             rvorgan,
                                                                                                                                                                                                                                                                                                                                                     los-oz- l
                                                                                                                                                                                                                                                                                                                                               '
  .
  j                Screening                                                                             j
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                            )
                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                               i
                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                               k
                                                                                                                                                                                                                                                                                                                                                ua
                                                                                                                                                                                                                                                                                                                                                 -et
                                                                                                                                                                                                                                                                                                                                                   t
                                                                                                                                                                                                                                                                                                                                                   a p2o426opm j.
                                                                                                                                                                                                                                                                                                                                                      1:
                                                                                                                                                                                                                                                                                                                                                                ;                ,

                                                                                                                                                                                                                                                                                                                                               P
       WCSO20JBN0O0629 SCM -                                                                             ExcessiveThirst                                                                                                                                                         NO                                                            jMorgan, 05-07-
                                                            Receiving                                                                                                                                                                                                                                                                               Juanetta                      2020
                                                            Screening                                                                                                                                                                                                                                                                                                             1:46 pm
  1 ,csozcasscoooz: scv -                                                                                 uri
                                                                                                            neuatones                                                                                                                                                       I
                                                                                                                                                                                                                                                                            ks/A                                                               d
                                                                                                                                                                                                                                                                                                                                               yvorgan,                           os-o-
                                                                                                                                                                                                                                                                                                                                                                                      ,-
                                                            Receiving                                                                                                                                                                                                       1                                                                  jJuanetta                          2020
                                                            screening                                 i
                                                                                                                                                                                                                                                                            j                                                                                                     1:
                                                                                                                                                                                                                                                                                                                                                                                   46pm
  .à&cs02OJBN00O629 SCM -
       .                                                                                              aU1'ine Glucose                                                                                                                                                       rN/A
                                                                                                                                                                                                                                                                            ;                                                                 iMorgan, ..05-07-
                                                         Receiving                                                                                                                                                                                                                                                                            iJuanetta                           2020
                      screening                                                                                                                                                                                                                                                                                                                                                   1:46pm
      WCSO2OJBN000629 SCM                                                                                Historyofa seizure orconvulsion'?**lfYES,whenwas                                                                                                                        No                                                              Morgan,                          05-07-
                      Receiving                                                                          Iastseizure?                                                                                                                                                                                                                            Juanetta                         2020
                      Screening                                                                                                                                                                                                                                                                                                                                                   1:46 pm
      ïA/cSO2OJBN0OO629 SCM                                                                              Frequencygreaterthanonceamonth?                                                                                                                                    h1,p.
                                                                                                                                                                                                                                                                           ! l                                                                dMorgan,                            05-07- 1
                                                         Receiving                                                                                                                                                                                                                                                                            .Juanetta                           2020
                                                         Screening                                                                                                                                                                                                                                                                                                                1:46 pm
                                                                                                                                                                                                                                                                                                                                                                                                     j
  1wcsozoasxoooozg scu
  .                Recei-vlng                                                                            currentlytakin,medi
                                                                                                                           cationsforseizures?                                                                                                                             #
                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                            so                                                                  uorgan, os-o-
                                                                                                                                                                                                                                                                                                                                                Juanetëa 2020
                                                                                                                                                                                                                                                                                                                                                             ,- j
                                                         screeni
                                                               ng                                                                                                                                                                                                          I                                                                                                      1:46pm.... .
wcso-medical/Modules/chaf histolaphp                                                                                                                                                                                                                                                                                                                                                           5/70
'
d


               Case
             6/11/2020 1:20-cv-23783-MGC   Document
                                      COrEMR        C, 1 Entered on FLSD Docket 09/11/2020 Page 122 of 276
                                             - RADETI
                                                                                                             SEBASTI AN -#WCSO2OJBNOOO629(10-24-1976)::FullPatientHi
                                                                                                                                                                   stcr
                  l?/csO2OJBNOOO629 SCM                            -
                                                                                                IHistofyofvomitinobl
                                                                                                                   ood?**lfYES,when waslast                           yIv5.5.0
                  :                 Recei
                                        ving                                                    lepisode?How oft-endoesi
                                                                                                                       toccur?                 1
                                                                                                                                               INO                    êMorgan,                                                                                                                                                           C 05-07-
                  2
                  )                                     Screening                               j                                                                     -
                                                                                                                                                                                                                                i                                                                            -Juanetta j2020
                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                         -

                  .
                  W. . JBNOO0629 .
                    CSO20          .
                                 SCM                               -
                                                                               .. q                                                                                                                                            j
                                                                                                                                                                                                                               .                                                                         )   . -. .
                                                                                                                                                                                                                                                                                                                  -.-...     ...-.   .
                                                                                                                                                                                                                                                                                                                                           1..46pm
                                                                                                                                                                                                                                                                                                                                           .             --..

                                     Receiving                                                Hi
                                                                                               seto
                                                                                             .wl
                                                                                               n  nr
                                                                                                   ?yofdar
                                                                                                         k/blackstoolsfrombleeding?**lfYES                                                                                     l
                                                                                                                                                                                                                               ïNo                                                                      'Morgan, 05-07-
                                                                                                                                                                                                                                                                                                         .
                  -.
                  1                  screening                                                                                                                                                                                 I                                                                        pJuanetta j
                                                                                                                                                                                                                                                                                                        j         j2
                                                                                                                                                                                                                                                                                                                   102
                                                                                                                                                                                                                                                                                                                    .460pm !
                                                                                                                                                                                                                                                                                                                    ,
                  '
                    w csO20JBN00O629 SCM -                                                  .   Historyofcirrhosis
                                                                                                                                                                                                                               ..


               (
               P
               ï
               j
                                                    Receiving
                                                  'screening
                                                                                                                                                                                                                            jNo-                                                                        j
                                                                                                                                                                                                                                                                                                        1Morgan, 05-07- l
                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                         Juanetta 2020
                                                                                                                                                                                                                           k                                                                            :
                                                                                                                                                                                                                                                                                                        '                                 1:46 pm '
              I
              8
               vVCSO20JBN000629 1Rec
                                 SCM
                                    eiving
                                                               -

                                                                                            .
                                                                                                OtherG1histol'
                                                                                                             y                                                                                                             i
                                                                                                                                                                                                                           y1N!0                                                                       k'Morgal
                                                                                                                                                                                                                                                                                                              n,                         05-07-
              p                                                                                                                                                                                                            '                                                                           à
              4
              ,.
               -
                                                   Screening                                                                                                                                                               '
                                                                                                                                                                                                                           !                                                                           #Juanetta                         2020                    !
              @'.-.
                  --..
                     -
                     .--                .       .---.
                                                    -..
                                                      -..- .                       .
                                                                                    ----jk
                                                                                                                                                                                                                           j                                                         j                                                   1:
                                                                                                                                                                                                                                                                                                                                          46pm                   .

              ./;csô2OJBNO0O629 SCM -
              j                                                                          3-jDoyoucurl-'e.nt
                                                                                          .-...          ----.....-........-......................-..............-...............-....................................-..........-.
                                                                                                             lyI   naveCancer?**IfYES,whattypeof y'No                                                                                 ........ ...........-..........-.......... ........................-
                                                                                                                                                                                                                            -- .-- --..                                                  .. .
                                                                                                                                                                                                                                                                                    6'Morgan,
                                                                                                                                                                                                                                                                                    f
                                                                                                                                                                                                                                                                                              .                                                              .

              j                                 jRecei  vil
                                                          ag Jcancer?Areyoucurrentlybeingtreated?                                                                                                                                                    )                              i                                                    05-07-
                                                àis
                                                  pt
                                                   E
                                                   ir
                                                    'e(
                                                      E,r
                                                        -'
                                                         .i
                                                          r
                                                          -!6.ï,,,...,.....-..-....,..,..-....--.............................................. ,............... ........... ........... ............. .....                                         r
                                                                                                                                                                                                                                                                                      Juanetta                                           '2020
                                                                       .                                                       ....         ......      ..........                                                                                  y
                                                                                                                                                                                                                                                    --
                                                                                                                                                                                                                                          ,......-..îr-
                                                                                                                                                                                                                                                      ... ---..-
                                                                                                                                                                                                                                                               ...
                                                                                                                                                                                                                                                               , -
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                 -.
                                                                                                                                                                                                                                                                  --
                                                                                                                                                                                                                                                                   ......-,,
                                                                                                                                                                                                                                                                           -.-,
                                                                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                -.-.?
                                                                                                                                                                                                                                                                                    ) . .. . ,.,.
                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                    '                                                    -2.-:.3t
                                                                                                                                                                                                                                                                                                                                                i5f:)F-i-'
              tWCSO2OJBN0O0629 5CM-
              '                                                                            !cmurrentlyonDi
                                                                                                         atysis?**lfYESwhathtype? How many                           ,
                                                                                                                                                                                                          ,...-.....-........,.---.,.......
                                                                                                                                                                                                          -
                                                                                                                                                                                                                           k!
                                                                                                                                                                                                                            N!'
                                                                                                                                                                                                                              a                                                                      1
                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                      Morgan,
                                                                                                                                                                                                                                                                                                                                      .-.-.-.-. ...,..
                                                                                                                                                                                                                                                                                                                                         002
                                                                                                                                                                                                                                                                                                                                           5-0
                                                                                                                                                                                                                                                                                                                                                                 .


              I                                 tRecfiving                                 1ti esperweekand onwhatdays ?W    en                                                        wereycu(
                                                                                                                                                                                              aît '                                                                                                  ,J
                                                                                                                                                                                                                                                                                                     C uanet
                                                                                                                                                                                                                                                                                                           ta                            2   27. ,t
             t
             j                 j
             2Z/CSO20JBNO00629 /
                               7Screening
                               ,SCM -
                                                                                        j
                                                                                        'di
                                                                                          alyzedg?nificantMedicalCc
                                                                                       .6Othersi
                                                                                                                                                                                                                        t                                                                            l                                   1:46 pm ?d
             5                                  FReceiving                             .
                                                                                       #                                                                 nditions:                                                      '
                                                                                                                                                                                                                        y na                                                                        i Morgan,
             k                                  ;screening                             k                                                                                                                                '                                                                           #
                                                                                                                                                                                                                                                                                                    b
                                                                                                                                                                                                                                                                                                    yJaanetta
                                                                                                                                                                                                                                                                                                                                      05-
                                                                                                                                                                                                                                                                                                                                      202007- !
                                                                                                                                                                                                                                                                                                                                              l
             ;                                  t                                                                                                                                                                                                                                                                                    :
               hrt'( -.$6'
                         .dç).!'...pîxk'1,$
                                          'Itazsaz yfb1hl'
                                                                                       j
                                                                                       rfélo 'l.
                                                                                                                                                                                                                        )'                                                                           q
                                                                                                                                                                                                                                                                                                    r.
                                                                                                                                                                                                                                                                                                                                     i1.
                                                                                                                                                                                                                                                                                                                                     b 46pm l
                                                                                                                                                                                                                                                                                                                                          ,   r
                                                                        'p:ri-e'.   'e a.!c:s-z.e''  .''-ra
                                                                                                      .                                                                                                                    !N'-
                                            lReqTqfiï/pi-l r.                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                        Ijcr-a-       !05-O-'
             ë                              f 6
                                              .27
                                                '-
                                                 '
                                                 t!
                                                  --
                                                   E
                                                   :.
                                                    Ei
                                                     i-
                                                      !i
                                                       t -,                                                                                                                                                                                                                                   t..,.ly'rnG-fg t        /7C  .,7' R
                                              --.- =.=,-.,zk
                                                           ='
                                                            s; :
                                                           .
                     .. ...      ---- ..-.=  ..
             àk'ï/'csozll-iFs/gt-loizi6zg '
                                                            -
                                            psclté- --- -- - ,k.-. - ,-,- ---,.- -,.-.--..- . .--..,-,.-.-....
                                                                                                             - ...
                                                                                                                                                                                                                           .- -- .- .                                          .-.- ,-...- -.-,----.-
                                                                                                                                                                                                                                                                                                    --..-,            f 'i :
                                                                                                                                                                                                                                                                                                         ..-.------=--r-..-.z
                                                                                                                                                                                                                                                                                                                            :i
                                                                                                                                                                                                                                                                                                                             :15 ;2,
                                                                                                                                                                                                                                                                                                                           --.--.-.-2
                                                                                                                                                                                                                                                                                                                                    --7
                                                                                                                                                                                                                                                                                                                                    . ..';
                                                                                                                                                                                                                                                                                                                                         ,-..-.-è
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                .
                                                                 Havevoubeen ri              aqnosed with                                                                                                                           - ...-..-

             )                              ?Recslvlng         t                                                   schi
                                                                                                                      zooi
                                                                                                                         arenia?                                                                                        ;hjo                                                                  k
                                                                                                                                                                                                                                                                                              ;.Morgan.               F05-07-
             !                                :Screeniag                            !                                                                                                                                                                                                              /Juanettm ,2:20 7
             ,                                ,                                     i                                                                                                                                  r                                                                           h              ;pri
                                                                                                                                                                                                                                                                                                             )1:4t-  -i !
             .'
             1tA/CSO2OJB!
                        kOOO629lscl
                                  bi-                                               1                                                                                                                                  j                                                                           f
                                                                                                                                                                                                                                                                                                   s         q
                                                                                                                                                                                                                                                                                                             !         i,
          1                                   @
                                              ;Recai
                                                   ving                            kpïak'
                                                                                   )
                                                                                       .s you bdendiagnosed as bipol
                                                                                                                   sr?                                                                                                 iNo                                                                         :!''.'t:.'-
                                                                                                                                                                                                                                                                                                             s y-                    l
                                                                                                                                                                                                                                                                                                                                     t05-07-                 k
                                                                                                                                                                                                                                                                                                 i           l
                                                                                                                                                                                                                                                                                                             t
          f
          r                                   !Screening                           ;                                                                                                                                                                                                             !lli
                                                                                                                                                                                                                                                                                                 ,x
                                                                                                                                                                                                                                                                                                    griettc, #
                                                                                                                                                                                                                                                                                                             :2020 t,
         I
         wcsozotsslocoez:1
         i               !
                          scu;                                                     ,savevou been diagnoseu withmaiordepression?
                                                                                   t                  .                                                                                                             1
                                                                                                                                                                                                                    ,lsio                                                                       l            ) 5-c7- (
                                                                                                                                                                                                                                                                                                                     F
                                                                                                                                                                                                                                                                                                                                     1:46nm ,
         :                                                                         u
                                                                                                                                                                                                                                                                                                jIvqowao, f( ,
                                             lR  :
                                                 12:):).
                                                       ,, .
                                                       .1 )
                                                          .. q.                    t                                                                                     '                                                                                                                                   .
         !                                   r.  ;,.rca.I,).,g.
                                              F:t,                                 !.                                                                                                                                                                                                           yx.l.,
                                                                                                                                                                                                                                                                                                     ?
                                                                                                                                                                                                                                                                                                     .,
                                                                                                                                                                                                                                                                                                      -,
                                                                                                                                                                                                                                                                                                       stu
                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                         ? h2  O2O   t
                                                                                                                                                                                                                                                                                                ku         #.,..,: r
                                                                                                                                                                                                                                                                                                                .(   j
                                                                                                                                                                                                                                                                                                                     .
         '
         j'
          t?
           ?cso2oJBN():o629j
           $               '
                           jscu-                                                  )'yisLoryofsuicideattempts?**i
                                                                                                               fh'Es,whenwasI
                                                                                                                            ast )
                                                                                                                                ;Iio                                                                                       '
                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                -k/     a, ?05-:7- 7
                                                                                                                                                                                                                                                                                                   iocgai            1
         ë                                   iR.
                                               a'
                                                J,E)h
                                                    '
                                                    .
                                                    /ii
                                                      -,>
                                                        -                         :atLzmpt?
                                                                                  ,                                                                                                                                ',
                                                                                                                                                                                                                                                                                                ''                                   j                   j
                           S'cceaait
                                   ng                                            (,                                                                                                                                                                                                            ?w uônaïua j2020                                          !
         lWCSO2DJBN0O0629 rEsC)rk'
                                 ;                                               '
                                                                                 j ;
                                                                                   -aelI
                                                                                       aopelessorhel
                                                                                                   pless?
                                                                                                                                                                                                                   ;                                                                           ,            j1.
                                                                                                                                                                                                                                                                                                              '46pm                                      )
         p
         j
                          p
                         jReceiving                                              ,
                                                                                 ,
                                                                                 .                                                                                                                                 :
                                                                                                                                                                                                                   ,is
                                                                                                                                                                                                                   . lo                                                                        t
                                                                                                                                                                                                                                                                                               ;Iïl()ika
                                                                                                                                                                                                                                                                                                            J
                                                                                                                                                                                                                                                                                                            !05-07-
                                                                                                                                                                                                                                                                                                      - rt, gv.g(;
                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                         j
         t.             .-    ,. .   .. - . .
                                              S(
                                               ;keen1i
                                                     aç? - . . . '                                                                                                                                                 q                                                                           jJua!l
                                                                                                                                                                                                                                                                                                    ettl                        r
                                                                                                                                                                                                                                                                                                                                .
         rhJ,/i
              -.t
                Ft?.7'
                     ?r).
                        ;BI
                          .I
                           r
                           )()I
                              7i62'
                                                                                                                                      . .                                                                         ;!                                                                           !
                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                               -                                ;-
                                                                                                                                                                                                                                                                                                                                 1:
                                                                                                                                                                                                                                                                                                                                ..q.
                                                                                                                                                                                                                                                                                                                                   (!pn-
                                                                                                                                                                                                                                                                                                                                       l(
                                  .? ScM -                                       t'
                                                                                  i-l
                                                                                    aictlringabouthur
                                                                                                    -
                                                                                                    tingyoursel
                                                                                                              f?                                                                                                  C
                                                                                                                                                                                                                  .l<o                                                                        ëftézrg'an                        105-:7-
         ;
         !'                                  Receeen
                                                   ivi                                                                                                                                                                                                                                                                                                   t
         j
         7                                   Scr     in
                                                      ng
                                                       g                        j
                                                                                ;                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                                              jJtt
                                                                                                                                                                                                                                                                                                 anelps                              2G20                i
                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                         .


         B
         iWCSO2OJBNOO0629 SCM                           -                       -                                                                                                                                                                                                             (                                ù'12
                                                                                                                                                                                                                                                                                                                                  46pm i
                                             Receiving                          rTl
                                                                                  noughtsofsuici
                                                                                ;plan,?        denow?h*I
                                                                                                       fYES'doyouhavea                                                                                           tNo                                                                          ;Morgan                            05- 07-
         ë
         j                                   Screening                          j                                                                                                                                ;
                                                                                                                                                                                                                 k
                                                                                                                                                                                                                                                                                              )Juanetta
                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                 2oac
                                                                                                                                                                                                                                                                                                                                 q.,
         i                                                                                                                                                                                                       ,                                                                            8                                    4,0pna .
         j
         @WCSO20JBN0Q0629 jSCM -                                                  FamiTyhi
                                                                                         storyofsuici
                                                                                                    de?                                                                                                          kNo                                                                        .Morgan,
                                                                                                                                                                                                                                                                                            p                                    05-07- j
     )                                       Rec
                                             screei
                                                 ev
                                                  ni
                                                   n
                                                   ing
                                                     g                                                                                                                                                          j
                                                                                                                                                                                                                '
                                                                                                                                                                                                                ;                                                                           i
                                                                                                                                                                                                                                                                                                Juanetta 1
                                                                                                                                                                                                                                                                                                         ,2020                                       j
         WCSO2OJBNOOO629 îSCM -                                                  Recentsignificantloss?                                                                                                         ''                                                                          ,)
                                                                                                                                                                                                                                                                                             '                                )1.46pm '
                                                                                                                                                                                                                                                                                                                                      j
                          Receiving                                                                                                                                                                               Yes                                                                       'Morgan,                            05-07-
                          Screening                                                                                                                                                                                                                                                          Juanetta                           2020
         W CsO2OJBNOOO629 SCM -                                                                                                                                                                                                                                                                                                 1:46 pm
                                                                                Areyouthinking ofharming others? **lfYES,
    j                                       Receiving                         Ihaveaplan?                                                                                               doyou                  j
                                                                                                                                                                                                               1No                                                                        éMorgan
                                                                                                                                                                                                                                                                                          'J                         ,
                                                                                                                                                                                                                                                                                                                                05-07-
    1
    d                    .                  Screenil
                                                   ng                         4
                                                                              6                                                                                                                                !
                                                                                                                                                                                                               j                                                                          ' uanetta
                                                                                                                                                                                                                                                                                          '                                    20
                                                                                                                                                                                                                                                                                                                                4260pm (
                                                                                                                                                                                                                                                                                                                               1:      j
    ;t?2:2502:).J:N000629 5CM -
    1
    :
    !
    ..
                                                                             1
                                                                             ;
                                                                                l
                                                                                -ligtoryofPsychhospitalizations?**lfYES
                                                                             :when                                                                                                 specify                    jI
                                                                                                                                                                                                               ûo                                                                         kMorfjai
                                                                                                                                                                                                                                                                                                 -),
                        Receiving                                                                                                                                              ,
                                                                                                                                                                                                                                                                                         ii
                                                                                                                                                                                                                                                                                          '                                   05-07- #
                        Screenfng                                                                                                                                                                             ,                                                                               Juanetta                        2020
     t/k/CSO2OJBNOO0629 SCM                                                                                                                                                                                                                                                                                                   1:46pm
                                                                               Histofyofpsyhchotropicmedi
                                                                                                        cati
                                                                                                           onsts)                                                                                             !No                                                                           Morgan,                           05
                                          Rc
                                          Ser
                                            ceeein
                                                 ving                        '                                                                                                                                1                                                                             Juanetta                          20-2007-
     WCSO2OJBN00O629 SCM                                                                                                                                                                                     j                                                                                                                1:
                                                                                                                                                                                                                                                                                                                               46pm
                                                    -
                                                                              Histol
                                                                                   '
                                                                                   yofsexuaivicti
                                                                                                mization? **1fYES, specifywhen i
                                                                                                                               .N0                                                                                                                                                         Morgan,
                     Recesving                                                                                                 '                                                                                                                                                                                             0:-(J7-               '
                                                                                                                               .
                     Screening                                                                                                                                                                                                                                                             Juanetta                          2020
    77cs020281
             9000629 SCM -                                                                                                                                                                                                                                                                                                   1:
                                                                                                                                                                                                                                                                                                                              46pm
                                                                             Aistoryofl
                                                                                      nospitali
                                                                                              zationforhead irauma? **IfYES,                                                                                lNo                                                                         %Morgan,
                     Receiving                                               W hen andwhatHospital?                                                                                                         k                                                                                                                05-07- j
                                                                                                                                                                                                                                                                                            luanetta                         2020                 k
                                          Screening                                                                          j                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                             1:46pm
   WC:O2OJBNOOO629 SCM                                                       HistoryofauditoryorVisualhallucinations?
wcso-medical
           /Modules/chaihi
                         stol .php                                                                                   **I
                                                                                                                       fYES, 1No                                                                                                                                                          Morgan                 ,           05-07-
                                                                                                                                                                                                                                                                                                                                               - '- -
'   6/11/
        2020
       Case               1:20-cv-23783-MGC COCEMRDocument     1 Entered
                                                   -RADETIC,SEBASTI      on0J
                                                                  AN -#WCSO2FLSD   Docket
                                                                             BN00O629(10-24-109/11/2020
                                                                                             976)::Ful       Page
                                                                                                              storyIv123
                                                                                                     lPatientHi      5.5.0 of 276
             I                     IRecei
                                        ving     Ispeci
                                                      fywhich.
             '                         jscreening                               ,
                                                                                j
                                                                                9
                                                                                .                                                                                                                                               j
                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                y
                                                                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                                                   )Juanetta j
                                                                                                                                                                                                                                                                                                   -         j2
                                                                                                                                                                                                                                                                                                              10
                                                                                                                                                                                                                                                                                                               .4260pna !
                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                        R
             '
                 W CSO2OJBNO0O629 SCM -                                         lDemoqstrati
                                                                                           ng vi
                                                                                               olentbehavi
                                                                                                         or?                                                                                                                    1No
                   .              R                                                                                                                                                                                                                                                                )lMorgan,                             05-07-
                                  Secei
                                      ving                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                   . Juanet
                                                                                                                                                                                                                                                                                                          ta                             2020
                                            creening                           j                                                                                                                                                                                                                   g                                     1:
                                                                                                                                                                                                                                                                                                                                          46pm
                 W CSO20JBNO00629 SCM -                                        jHistoryofr
                                                                                         uentalRetardation?                                                                                                                     jNo                                                                1Morgan,
            I                              Re
                                           S c
                                             eeei
                                            cr  v
                                                ni
                                                 n
                                                 ng
                                                 ig 4
                                                    j                                                                                                                                                                           ?
                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                .                                                                  jJuanetta 0
                                                                                                                                                                                                                                                                                                             25
                                                                                                                                                                                                                                                                                                              0-20
                                                                                                                                                                                                                                                                                                                 07-
                                                                                                                                                                                                                                                                                                   !         1.46 pln)



         lï&CSO20JBNOO0629 SCM -                                               pLearningdi
                                                                                         sabili
                                                                                              ty?                                                                                                                            4hlo                                                                     .

         4  .                              Rerceeei
                                           Sc     vi
                                                   n
                                                   ng
                                                  nig y
                                                      ,
                                                      j                                                                                                                                                                      !
                                                                                                                                                                                                                             i                                                                     iwjuanetta j
                                                                                                                                                                                                                                                                                                   j          i.2
                                                                                                                                                                                                                                                                                                              , jc
                                                                                                                                                                                                                                                                                                                 4:
                                                                                                                                                                                                                                                                                                                 ,2
                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                  (
                                                                                                                                                                                                                                                                                                                  y0yjm yj4
                                                                                                                                                                                                                                                                                                j                                    j.
         !ïA/cso2OJB1&oO0629.S
                             RCM -
                              ecei
                                 ving                                          ?
                                                                               dSADscore(lk/Aifnotapplicable)
                                                                               !                                                                                                                                            )na
                                                                                                                                                                                                                            #                                                                   LMorgan,                                 05-07- 1
         r                            )screening                               ;
                                                                               '                                                                                                                             ,              t.                                                                  1
                                                                                                                                                                                                                                                                                                ;
                                                                                                                                                                                                                                                                                                p
                                                                                                                                                                                                                                                                                                u
                                                                                                                                                                                                                                                                                                 Juanetta :2
                                                                                                                                                                                                                                                                                                           10 20pm ))
                                                                                                                                                                                                                                                                                                            :46
        i                                                                                                                                                                                                                   I                                                                                                                                   ;
        ;tA/csO2OJBNOO0629 lSCM
                            R -                                                /Urgent/EmergentMentalHeal
                                                                                                        th Referra!for'
        ,
                                                                                                                      .                                                                                                     iN/A                                                                i
                                                                                                                                                                                                                                                                                                . Mor
                                                                                                                                                                                                                                                                                                    gan,                             405-07-
                                         eceiving                              i                                                                                                                                            k                                                                   kJuanetta                          '.
        #                             i
                                      'sc reenin,                              :
                                                                                                                                                                                                                                                           92,0t2e0.p..m..t',
        2
         '
        !'
         ç/
          h,/csoac'wIossooo6a:
                                 .    rt   .

                                       ,scs..r-
                                                     .             .           # .... . . . . . . ...
                                                                               Loenere!.s.rar
                                                                                                                                       .        .      .          - -...... .....-.-- ....-. - ..... .                      t
                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                            r
                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                              ...         . . .  j
                                                                                                                                                                                                                            .wo sonereofoistress -
                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                 ,fslorgao '
                                                                                                                                                                                                                                                            ., ..- .- . .. .... ..-... . . .
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                              .., . . ..
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                               .

        ,                                                                                   aeeraece                                                                                                                        .                                                                                           .
                                                                                                                                                                                                                                                                                                                                   ,os-cr- t
                                                                                                                                                                                                                                                                                                                                   j.      .
        ,
        h                              )
                                       rReceihzi:,o-                                                                                                                                                                                                                      p-,-,.,
                                                                                                                                                                                                                                                                                z--,            îJw
                                                                                                                                                                                                                                                                                                  '.
                                                                                                                                                                                                                                                                                                   'a-
                                                                                                                                                                                                                                                                                                     ..zt-z         s                     -


                                       !Screenio;r                                                                                                                                                                                                                        7                     r
                                                                                                                                                                                                                                                                            .i'
                                      )                                                                                                                                                                                                                                   ! 46r'm
                                                                                                                                                                                                                                                                              .                 :                                                              i
        i'
         .''
           .
           '
           &:,.
              :;,
                :2,2:u'.3l4:l:l:;w
                                 'N2S; -.3C;2v1-                            :
                                                                            yJ;.&.
                                                                                 , Ccrc             .- . .
                                                                                                  z,,.,;..)                                                                                                               ..,--.:j;s., j
                                                                                                                                                                                                                          /            .j-
                                                                                                                                                                                                                                         .,.zsp:
                                                                                                                                                                                                                                               r
                                                                                                                                                                                                                                               :cjr
                                                                                                                                                                                                                                                  i-
                                                                                                                                                                                                                                                   .zt.
                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                      k  .j.,j,
                                                                                                                                                                                                                                                      t -1    ..
                                                                                                                                                                                                                                                               ?rgstq, --7. a.                                                                                 :
                                                                                                                                                                                                                                                                            -ï
                                                                                                ,
                                                                                                                                                                                                                                                                                .;y,v. -                                                                       ,
        k                             kReceivilag                           4                                                                                                                                             ybiolsen teetla, :cisckec; !   ,Juanetta -                                                                                           ,.
        p                             dScreeninq                            y                                                                                                                                                                            (                k
                                                                                                                                                                                                                                                                          . 2-
                                                                                                                                                                                                                                                                          .  ul.22                                                                             h
        )                             '                                     ?                                                                                                                                             1
                                                                                                                                                                                                                          ,toot   'l'
                                                                                                                                                                                                                                    i;o'siouyte.
                                                                                                                                                                                                                                               :zu
                                                                                                                                                                                                                                                 '1avv k c                ?'.:4S -   l'r-''                                                                    r
        2                             F                                    r                                                                                                                                              'occurred17/19/19tr'
                                                                                                                                                                                                                                             am :                                                                                 r                            h
        1 . . .'   .   .. . ..        l
                                      im
                                       .-
                                       -            .:..--....-.-....-.. .*
                                        ... v . . ...                      t
                                                                          ..
                                                                           ...... .
                                                                                  cxxo.yur..--....uxu .w-w
                                                                                                                                                                                                                          jiCEtranspollacciùent) i
                                                                                                                ...bxuv.cvx ..i/xu-.. .. .. ...... . .. .......... .................-.-......................-....M............-.-.-.....-.-- ..--.---..--.-.......-..0---......-.-.-..-.--.---aR
                                                                                                             xaau
                                                                                                                                                                                                                                                                                                                                  ?
                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                .u-......-.-x....-........-.. ..-...x*......
                                                                                                                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                                                                                                             ...b
                                                                                                                                                                                                                                                                                                                                               .... . ........  d
        t
        4t'
          -
          v/
           '
           cs,
             ozolBFdooo6z: ,
                           1,scu -                                         à
                                                                           yski
                                                                              l
                                                                              n                                                                                                                                           trnremarkable                                                       ;Mcrgan,                            ;05-07-                     2
                                                                                                                                                                                                                          ;                                                                   ;
    $                                j
                                     'Recei
                                          ving                             ;
                                                                           .                                                                                                                                              2
                                                                                                                                                                                                                          '                                                                   )Juanetta ;
                                                                                                                                                                                                                                                                                                        ;                                                     ;
        i                            jScreeni
                                     '      ng                             j
                                                                           '                                                                                                                                              )                                                                   l.
                                                                                                                                                                                                                                                                                                        ;20
                                                                                                                                                                                                                                                                                                         1'20                            d6prn '
                                                                                                                                                                                                                                                                                                                                         ..    e
                                                                                                                                                                                                                                                                                                                                                              j
    r
    tt/ï/CSO20JBNOOO629 l
                        ISch/l-                                            1
                                                                           2Mobility Restrictions                                                                                                                         1Other-NoteSpeci   fi
                                                                                                                                                                                                                                              cs(pt rFMorgan,                                                                    t05-û7- '
    ,                   ;S
                         Receiving                                         ;:                                                                                                                                             i
    '                   l                                                                                                                                                                                                 .
                                                                                                                                                                                                                            states hungerstrikez .iO ;
                                                                                                                                                                                                                                                     ;. Juaneita                                                                 k'2020
                                                                                                                                                                                                                                                                                                                                 !                           è
                                                                                                                                                                                                                                                                                                                                                             l
                                                                                                                                                                                                                                                                                                                                                             ;
                          creaning                                         ?
                                                                           )                                                                                                                                                daysand hast  rotlble                                             I                                 f'-!'.
                                                                                                                                                                                                                                                                                                                                     J6r-m                   i
    l
    h
                                     j
                                     j
                                                                           :
                                                                           f
                                                                           ;
                                                                           /
                                                                           .
                                                                                                                                                                                                                          r*qBjj
                                                                                                                                                                                                                          r    qi
                                                                                                                                                                                                                                r-
                                                                                                                                                                                                                                 jj
                                                                                                                                                                                                                                  g(
                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                          )weakness)
                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                    joo to                                                    r
                                                                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                              k
                                                                                                                                                                                                                                                                                                                                j '
                                                                                                                                                                                                                                                                                                                                k
                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                             p
                                                                                                                                                                                                                                                                                                                                                             l
                                                                                                                                                                                                                                                                                                                                j                            j
    t'n/cso2OJBNOôô629 'sc7,:-                                             $
                                                                           ,'PhysicalAi
                                                                            ;
                                                                           -,
                                                                                      ds                                                                                                                                  1 rtane                                                            @f
                                                                                                                                                                                                                                                                                              viorgan,                          b
                                                                                                                                                                                                                                                                                                                                #
                                                                                                                                                                                                                                                                                                                                  05-07-                     @
    l
    '
    .                 jl
                      . -tecal
                             vlng                                          1
                                                                           .J                                                                                                                                             ,
                                                                                                                                                                                                                          g                                                                  g
                                                                                                                                                                                                                                                                                             jJuanetta                          j
                                                                                                                                                                                                                                                                                                                                )2020                        j
    j                                jScreeni
                                            ng                             #                                                                                                                                            #                                                                    8                                  ''
                                                                                                                                                                                                                                                                                                                                ji:46pm j
                                                                                                                                                                                                                                                                                                                                        !
    htA/(:;s(2820JBN0cO629 FSCM
                            rpecai-h/icq                                   'Deaf
                                                                           1
                                                                           .
                                                                                                                                                                                                                        ti
                                                                                                                                                                                                                        -
                                                                                                                                                                                                                         qlo                                                                 4Morgan, 05-07- 1
                                                                                                                                                                                                                                                                                             lJuanetta
    ;
    ?
    .                                ë
                                     )  -eeaila:
                                     .sc1                                  j
                                                                           j                                                                                                                                            j                                                                    i                                   2
                                                                                                                                                                                                                                                                                                                                 (0
                                                                                                                                                                                                                                                                                                                                ,p 20 J '
    )vvcsozoaBsloooozg yscfk -                                             2Bj
                                                                             ind/vi
                                                                                  sionimpaire:
                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                            j                                   j..
                                                                                                                                                                                                                                                                                                                                  .46pm (
    '                                                                                                                                                                                                                   ,i
                                                                                                                                                                                                                         sjo                                                                !Morgan,                            1os-o'p                     i
    ë
    '                                IReceivi ng                        r  r
                                                                                                                                                                                                                       :                                                                    rJuanetta .2o2o ,(
                                                                                                                                                                                                                                                                                            ;
    ç
    .
                                      screel
                                           .,inq                        1                                                                                                                                              5
                                                                                                                                                                                                                       :                                                                    i         k1:
                                                                                                                                                                                                                                                                                                        46pm k
    iWCSO2OJBN0OO629 'SCI
                        Q-                                              ù
                                                                        .Pl
                                                                          acement                                                                                                                                      yOEi
                                                                                                                                                                                                                       j  ael'              u                                                                                            ,
    l                                Receiving                          j                                                                                                                                              !      tï'
                                                                                                                                                                                                                                î
                                                                                                                                                                                                                                pillt'
                                                                                                                                                                                                                                     Ji
                                                                                                                                                                                                                                      scuss
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                            jMorgan,                                                                              05-07- j
    1                                S ing                                                                                                                                                                              housingwithHSAduetojJuanetta                                                                              2020 y
                                       Creen                                                                                                                                                                           jhungerstrike)                                                      !                                   l1:46pm j
    W CSO20JBN0OO629 SCM -                                                 Referral**Please i
                                                                                            ndicatereason forreferralinbox.
                                     Recei
                                         ving
                                                                                                                                                                                                                          InitialHealth
                                                                                                                                                                                                                          Assessment(W ithin14 1Juanetta
                                                                                                                                                                                                                                                                                           lMorgan, '05-07-
                                                                                                                                                                                                                                                                                                     2020
                                     Screening                                                                                                                                                                            days)                I                                                                                  j,.
                                                                                                                                                                                                                                                                                                                                    46pm
    W CSO2OJBN000629 SCM -                                                 Referral**Please indi
                                                                                               cate reasonforreferralin box.                                                                                              Provider-Routine                                                    Morgan,                            05-07-
    1                                Receivi
                                           ng                          l                                                                                                                                               l                                                                   'Juanetta                             2020                      1
                                     Screening                         #                                                                                                                                              '                                                                   j                                      1:46pm j
    W CSO2OJBN000629 SCM -                                                 Referral**Please i
                                                                                            ndicate reason forreferralinbox.                                                                                          jMentalHealth-Routine i
                                                                                                                                                                                                                                            jMorgan,
    I                                ,Receiving t                      .                                                                                                                                              k
                                                                                                                                                                                                                      ,                                                                   ;
                                                                                                                                                                                                                                                                                             Juanetta 2
                                                                                                                                                                                                                                                                                                      00
                                                                                                                                                                                                                                                                                                       52
                                                                                                                                                                                                                                                                                                        -007- j
                                     Screening                         j                                                                                                                                                                                                                                                         146 pm l
                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                     .


    WCSO20JBN000629 R
                    Se
                     Cc
                      Meiving                                              Notifications                                                                                                                             j    lmmedi
                                                                                                                                                                                                                               ateSupel
                                                                                                                                                                                                                                      wisor !
                                                                                                                                                                                                                                            ëM organ
                                                                                                                                                                                                                                             Juanetta, 2020
                                                                                                                                                                                                                                                       05-07-
                                     Screening                                                                                                                                                                       j                                                                                                          1:
                                                                                                                                                                                                                                                                                                                                 46pm
    WCSO2OJBNO0O629 R
                    SCM -
                     ecei
                        ving
                                                                           Noti
                                                                              fications                                                                                                                                 OnCalProvi
                                                                                                                                                                                                                                 der                                                     )Morgan, 05-07-
                                                                                                                                                                                                                                                                                         IJuanetta 2020
                    Screening                                          '                                                                                                                                             l                                                                   l                                      146 pm
                                                                                                                                                                                                                                                                                                                                   .

    WCSO20JBN00O629 SCM .                                               OrdersGiven                                                                                                                                  1N/A                                                                jMorgan,
                                     Receiving                         4
                                                                       t                                                                                                                                             ,
                                                                                                                                                                                                                     ,                                                                   jJuanetta 2
                                                                                                                                                                                                                                                                                                   0:
                                                                                                                                                                                                                                                                                                    5/
                                                                                                                                                                                                                                                                                                     -0:7-
                                     screening                         ;                                                                                                                                            .                                                                    )                                  '1:46 pm ,y
                                                                                                                                                                                                                                                                                                                            t
    W CSO20JBN000629 SCM -                                              NurseAppointmentReferral                                                                                                                       None                                                                M organ,                            05-07-
                                                                                                                                                                                                                                                                                         i
wcso-medical/Modul
                 es/chafhi
                         stol.php                                                                                                                                                                                                                                                                                                                    7/70
         olICase  u 1:20-cv-23783-MGC
            l/z-wz.                JOrHMRDocument
                                   (
                                   .                1ASTI
                                         -RADETIC,SEB  Entered on0J
                                                        AN -#WCSO2FLSD
                                                                   BNOO06Docket
                                                                         29(10-24-109/11/2020        Page
                                                                                   976)::FullPatientHistoryIv124
                                                                                                             5. of 276
            j                                                    jRecei
                                                                      ving                                j
                                                                                                          '                                                                                                                              p                                                         j 5.0
            ;
            ;-... -.. -              jsc.r.e
                         . ... . , .,. .
                                             ening                             i...,........,.,. . ....................,...,......,-.
                                                                               s
                                           ....... ......... ................../ .
                                                                                                                                    ............-.,...-....-... .... ...................
                                                                                                                                                                                       ..-........-......
                                                                                                                                                                                                                                        (
                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                  ,.....X
                                                                                                                                                                                                        .-. ...............,... ...
                                                                                                                                                                                                                                                                                                   p
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                     Juanetta 20
                                                                                                                                                                                                                                                                                                               42
                                                                                                                                                                                                                                                                                                              1.60
                                                                                                                                                                                                                                                                                                                 pm j         .
                                                                                                                                                                                                                                                                                                                                          .
            h
            '                                                                                                                                                                                                                           .   .   ............................................       r
                                                                                                                                                                                                                                                                                                   n
                                                                                                                                                                                                                                                                                                   .       . . ..... ......l ..
                                                                                                                                                                                                                                                                                                                              ......,                      . .
              W CSO2OJBNO00629 Mentall-lealth                                   GO'       . Doe       sarrestingoffi                        cerbelieveindi                             vi dua!maybea l1                                   :10                                                      '
                                                                                                                                                                                                                                                                                                       Morgan,
                                      Screening                                                                                                                                                                                                                                                                                        105-07-                  .
'                                                                               suicide risk?                                                                                                                                           1
                                                                                                                                                                                                                                        j                                                              Juanetta                           2020
                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                        '                                                                                                 1:50 pm '
           j
           'WCSO2
           l
                0JBNOOO629 SMCerntanilH
                                ee     eath '
                                      ng     GO:I
                                            :stabit
                                            4
                                                   sthe
                                                  izati
                                                        indi
                                                           vidual
                                                      onhospital
                                                                directl
                                                                      ycomingfromaIocalcri
                                                                                         sisf t
                                                                ?(i.e.BakerAct,5150,M2,TDO i
                                                                                              '
                                                                                              t
                                                                                               No                                                                                                                                                                                               jMorgan
                                                                                                                                                                                                                                                                                                'Juanetta               ,              ,05-07-
                                                                                                                                                                                                                                                                                                                                          2020                  '
           '                                                    j                                      jyes,obtainROIi
                                                                                                                     fnodi
                                                                                                                         schargepaperi
                                                                                                                                     sprovi
                                                                                                                                          ded)                                                                                       j
                                                                                                                                                                                                                                     p                                                          p
                                                                                                                                                                                                                                                                                                ''                                    '
                                                                                                                                                                                                                                                                                                                                          1:50pm
           #vt/csozo-lBl
                       qocoezg MentalHeal
                                        tl
                                         a                                                              G0..I
                                                                                                            stheindividualrepodingand/ordisplayi ng      ixo                                                                                                                                    4Morgan,                              '
          I                                                    -    screeni
                                                                          ng                           rsymptonasofactivepsychosls?(i.e.disorientedtoti
                                                                                                                                                      me k
                                                                                                                                                         /                                                                                                                                                                                oso'
                                                                                                                                                                                                                                                                                                                                             ?- j
          i
                                                                                                                                                                                                                                                                                                jJuaootta .2105O
                                                                                                                                                                                                                                                                                                               20 i F
                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                     .                                                          .

          #
                                                                .
                                                                                                      (
                                                                                                      jp er
                                                                                                       focsonpl ace
                                                                                                          usattenti
                                                                                                                   ,showssymp
                                                                                                                  on dueto acti
                                                                                                                               toms
                                                                                                                              ves
                                                                                                                                     ofparanno
                                                                                                                                 y respondi
                                                                                                                                              ia,unableto j
                                                                                                                                             gtointernal                                                                                                                                                         pm j                         .

          ,I                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                     j                                                          l                   .
                                                                                                                                                                                                                                                                                                                    ;
                                         ylstimuli/hal
                                                     lucinati
                                                            onslti
                                                                 fyes, providespeci                   .
                                                                                  ficdetails)                                                                                                                                        1
                                                                                                                                                                                                                                     .                                                    p
                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                            j
          ttA/
             CSO20JBh
                    JOO0629 Me nt
                                al Heal
                                      th  1DE  . Ar
                                                  e you current
                                                              ly t
                                                                 hinki
                                                                     ng of kil
                                                                             li
                                                                              ngorhurti
                                                                                      ng                                                                                                                                             ?
                                                                                                                                                                                                                                     ,No                                                ''
                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                         lkMorgan.
                                               '
          '
          l                 Screening      yotlrself?                                                                                                                                                                                l                                                                                                 05-07-               '
                                                                                                                                                                                                                                                                                                                                                            .
         r
         i                  .
                                           :                                                 r                                                                                                                                                                                                  jJuanetta                              2020                 ç
                                                                                                                                                                                                                                                                                                                                        .
         *                                                                                   r                                                                                                                                                                                                 i                                       1.50 pf
                                                                                                                                                                                                                                                                                                                                             m !
                                                                                                                                                                                                                                                                                                                                               S
         :tA.
         j  /C502t
                 '
                 ):81
                    k0t
                      )0629 l
                            jMentalHealth j
                                          ;
                                          lDE:Doyoucurrentlyfael1l1
                                                                  çsgivingtlponlife because 7. NO                                                                                                                                                                                              lMorgal
                                                                                                                                                                                                                                                                                                     n.                                05-07-
         i
         j
         p                  jScreening    jthei
                                              -
                                              eisi
                                                 aott
                                                    ail
                                                      a:youcal-sdoi
                                                               f   -s
                                                                    oworwi lleverbeabl eto i       #
                                                                                                   'ciotomyllethingsbetterfc'rl/ogrselforcurrent                                                                                     ;                                                         t
                                                                                                                                                                                                                                                                                               ,Juanetta                               2020
                                                                                                                                                                                                                                     1
         j
         k                      t
                                '
                                #              jsituation?
          -..--.-...-.--.-......-.......-.. ......
                                                 .. .......... .. . ... .. . ... . . , .   ..    ..                                                                           .
                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                                               j              j1:50pm ,
                                                                                                                                                                                                                                                                                                                      j
         7'
          t
          ,
          f1.
            't
             -S.t32Ou;Bi
                  ,.   .
                       '
                       .i
                        0C)O$
                            529 'Mental1
                                       -1ea1th rDE:t/t/itl
                                                         nin t1
                                                              7e Iast31 dayi t
                                                                             nak                                                                                                                                                     y                        .                                : .. -.-
                                                                                                                                                                                                                                                                                                      .-
                                                                                                                                                                                                                                                                                                       .-
                                                                                                                                                                                                                                                                                                        .x-..        .s
                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                      ,
         i.-
         k                      j
                                k
                                L
                                 Scr
                                   e e?
                                      aj
                                       l
                                       n p     !
                                               ,co nsiclered  ki
                                                               li
                                                                r !
                                                                  ;tc'
                                                                     rhtlGi
                                                                          np  c?tz
                                                                             ''  'e yofu
                                                                                  'se! ?t
                                                                                        tei
                                                                                          'i
                                                                                           susky'                                                    -            .
                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                     'i
                                                                                                                                                                                                                                      'lc;                                                     C
                                                                                                                                                                                                                                                                                               yMo   r
                                                                                                                                                                                                                                                                                                     g L
                                                                                                                                                                                                                                                                                               àJt'anettan,   j05 -
                                                                                                                                                                                                                                                                                                                  0
                                                                                                                                                                                                                                                                                                               2020
                                                                                                                                                                                                                                                                                                                   7- f
                                                                                                                                                                                                                                                                                                                      r
                                                                                                                                                                                                                                                                                                                      .
                                                                                                   .                                                                                                                                                                                                                              i
                                     ..                                                            L                                                                              .
                                                                                                                                                                                  p                                                                                                            t       .                           ,
                                                                                                                                                                                                                                                                                                                                   .lg,ur.   .-b!t. ..
         ' '
           '.- -'
                - -'-,w'w.
                        -'''-- ---z  èI#'o.'s.;.    'sa.'k
                                                         ...                                     -7.-E2 '
                                                                                                  ) La ',--;e ..     ,o-u,-..io...t;y s. '..a..se-,'..,,.,
         : $ w..
               v.
                w.<.
                   <      p
                          '<w
                            'v/www. j   l .,-                                                     :                                                                                                                                                                                                                                'w'  s- .--
                                                                                                                                                                                                                                                                                                                                             .-
         .                          -N
                                    :t62::-
                                          .-.
                                            ':.l;;-,r-:                                                                                                  .-..v-...,-.-,--twjjq;=,
                                                                                                                                                                                . '
                                                                                                                                                                                  ) .q.
                                                                                                                                                                                      -                                                                                                        ',$
                                                                                                                                                                                                                                                                                                 .-,.,,s-.
                                                                                                                                                                                                                                                                                                    ,       .       .              ,'
                                                                                                                                                                                                                                                                                                                                  j. m
         -                                                                                        y::::;l:k1Z:::.-v--Z :7.:;j,.'z.       z....;..-;J,? r
                                                                                                                                 71Ckr,; .             ,j
                                                                                                                                                        .3.rkTu7,3d,;., &:.,j.    j                                                                                                            j.gy.jg;.yoty
                                                                                                                                                                                                                                                                                                           ,s                        ,.xg;jyu
                                                                                                                                                                                                                                                                                                                                            g        g
                                                                                                                                                                                                                                                                                                                                                     ,.
         $                          i                                                             kt'fkGiestati     cart,i'
                                                                                                                          ape,arùofs, clcuettyto a ci-àijù,ifueitvto an è.                                                                                                                     r
                                                                                                                                                                                                                                                                                               '                                  .
                                                                                                                                                                                                                                                                                                                                  ë'i*.5Gk')i3'I j
         ,h
          n/csozo-
                 /ahtooot
                        -
                        la: :Menta!ssalth                                                        kc-o:Doas the indi
                                                                                                                  viàuslshatkvsignscr
                                                                                                                                    .intalIeatual                                                                                ivc                 '                                     #
         1
         '''
         -
         .                  s
                            pscreenin:
                            u                                                                    1
                                                                                                 rdei
                                                                                                    ri
                                                                                                     citsordeveiopmentaidisability?                                                                                              ?                                                         :Mocgan,
                                                                                                                                                                                                                                                                                           1                                      .
                                                                                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                                                                                  1cr-cr-                  8
                                                                                                                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                           2
         ;                  r                                                                    j                                                                                                                               j                                                         )
                                                                                                                                                                                                                                                                                           ;Juanetta                              !
                                                                                                                                                                                                                                                                                                                                  k2
                                                                                                                                                                                                                                                                                                                                   jt
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                    .12û                   i
                                                                                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                                                                                                           .
     1
     '
                        ;               9
                                        :                                                                                                                                                                                        ;                                                         u                                      1. '
                                                                                                                                                                                                                                                                                                                                          sc j
                                                                                                                                                                                                                                                                                                                                          .  ?r
                                                                                                                                                                                                                                                                                                                                              .a )
                                                                                                                                                                                                                                                                                                                                                 ,
     't?
       v'
        CSOZCJB(
               :1000629 ;scr
                         Men ta!Heal
                                   tln )''
                                         :2G'
                                            .:sL',,
                                                  s;c
                                                    'a'
                                                      ::E.''
                                                           ,
                                                           c!k
                                                             -alcurrei
                                                                     ntlyrefurni
                                                                               ngfrom astate                                                                                                                                     '
                                                                                                                                                                                                                                     ;-'u                                                  iiviolpalI,
                            eening     1.uespitalorzor:.tcrueredcompetency rest                                                                                                                                                  .                                                         j                                      .05-07-
                                                                                                                                                                                                                                                                                                                                  '                        k
     r
     i
     t
     :
                                                            1
                                                            t
                                                            1
                                                                                                 '
                                                                                                 b.
                                                                                                 jemotionalstabilizati
                                                                                                                                       orationor k
                                                                                                                     on?(ifyes,obtainmedicationordersi
                                                                                                                                                                                                                                                                                           r
                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                            Juanetta )2c2c l
                                                                                                                                                                                                                                                                                                     '1:50pm r
                                                                                                                                                                                                                                                                                                     y
     .                                                     w
                                                            :
                                                            ,                                    !forcontinuitv cfcare)
                                                                                                 :                                                                                                                                                                                         î
                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                              i                            l
                                                                                                 ,.                                                                                                                          q.                                                            j.
     C
     7!VCSO2OJBN00O629j
     !
     1
     .                .Me
                      !  n
                         et
                       Screan
                            li
                             HeaIth j,G
                             ng        G
                                       e)s
                                      3i
                                       - .s
                                         *rn
                                           nctt
                                              ii
                                               vg
                                               ni
                                                c
                                                ;la
                                                  u'
                                                   a
                                                   sl#
                                                     '
                                                     s f
                                                       ir
                                                     -?'
                                                       l
                                                       ?c
                                                        Ets
                                                        'Jti
                                                           nn
                                                           c
                                                           ::: i
                                                               'naj
                                                             la.  1yi
                                                                    l
                                                                   ,i
                                                                    -
                                                                    .X:
                                                                    ,.
                                                                     atl
                                                                      nfD
                                                                       v
                                                                       ,  thzl
                                                                        ry'
                                                                          l      n.
                                                                                  sll'.
                                                                                      /idtt
                                                                                          ali: ! .Nc                                                                                                                                                                                       j(
                                                                                                                                                                                                                                                                                            Nl
                                                                                                                                                                                                                                                                                            'organ. j  .
                                                                                                                                                                                                                                                                                                        05-07- 1j
                                                                                                                                                                                                                                                                                                                .
                                                                           '-1g asq,                                                                                                                                                                                                        !,                  .
                                                                                                                                                                                                                                                                                                                ,
     .                j       .     j.                                               ranssixaal? t                                                                                .
                                                                                                                                                                                                                                                                                             1F'v7.1;
                                                                                                                                                                                                                                                                                               . .  F' .2020
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                             j.   )pna
                                                                                                                                                                                                                                                                                                                              !.s,.                        à
     j'th.                                                ;                                      j                                                                                                                                                                                         jt                                ,.
                                                                                                                                                                                                                                                                                                                            ,..
                                                                                                                                                                                                                                                                                                                                      . ,                  j
     '
           /C*O2OJBNO0O629 ,MentalHealth EDE:Indi
                                                vidual'sfirstti
                                                              meinjai!and<18or7*54.                                                                                                                                                                                                     j.
     /                                                    $                                      9                                                                                                    ?                      j
                                                                                                                                                                                                                             ;Ne
                                                                                                                                                                                                                             .                                                          j!Morgleatn
     k
     9                                                     ùScreening                            '
                                                                                                 1
                                                                                                 :                                                                                                                           1
                                                                                                                                                                                                                             !                                                          )
                                                                                                                                                                                                                                                                                        f:Juar    ta, .j
                                                                                                                                                                                                                                                                                                       05
                                                                                                                                                                                                                                                                                                       20-
                                                                                                                                                                                                                                                                                                         20
                                                                                                                                                                                                                                                                                                          07
                                                                                                                                                                                                                                                                                                           - ,j
                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                              j
     s--                                                  ki ---. .                              i                                                                                                                           à                                                          1ê                                   11'SO pk-.'' :
     tVt/CSO2OJBN0O0629rMelntall-laal                                                y-
                                    th lDE:Haveyouevercomnnittedsexualassaolttowards !No                                                                                                                                                                                               ?
                                                                                                                                                                                                                                                                                       yMor                                  j                             (?
     i
     j
     ,
                       :   '  -  '     r
                       lsclee!1,t!g) r.y!aof
                                           her
                                             ?                                       J                                                                                                                                       '                                                             ge
                                                                                                                                                                                                                                                                                       lJuan
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                            at
                                                                                                                                                                                                                                                                                             n
                                                                                                                                                                                                                                                                                             ta, ),05-
                                                                                                                                                                                                                                                                                                   2,
                                                                                                                                                                                                                                                                                                    22097- j
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           j
                                                          -
     :V;CSO2OJBNO0O629 MentalHeaIth j                                                                                                                                                                                        j
                                                                                                                                                                                                                             ,                                                         ,
                                                                                                                                                                                                                                                                                       j                                     i.gcjpk-a j
                                                                                                                                                                                                                                                                                                                            j.         '
                                                                                                                                                                                                                                                                                                                                       '
     @                              hDE:Have you everbeenidentifiedto bave violent                                                                                                                                           tNc                                                       pMorgat
                                                                                                                                                                                                                                                                                             n,                                   05-07-
                                                                    .
                                                              ScIeel.ii1f/- -                   ybe1
                                                                                                ;  -
                                                                                                    Iat/ioliovï
                                                                                                              falc1so(l1
                                                                                                                       et.s
                                                                                                                          p                                                                                                  )                                                         t:                  (ka                    gtuc
     '
     t
     jw                                                  lx-x,....-..-- ---. ...#k                    .-
                                                                                                                                                      .

                                                                                                                                                                                   .      .              .
                                                                                                                                                                                                                             )
                                                                                                                                                                                                                             :
                                                                                                                                                                                                                             ,       .   .      .                          .
                                                                                                                                                                                                                                                                                       rwuane
                                                                                                                                                                                                                                                                                       i                                          'so pm
                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                   q

    ?
    !
    '
    l
     !&CSO20JBN00O629t Meniaii-
                              nl
                     j*Screenil
                               ealël
                               g   np*D
                                      viE
                                        ct:
                                          il-Wi thinihepast120hours(5dayshl naveyoubeenat
                                             l)ofsexualassauliorphysicalabuse?
                                                                                        j
                                                                                        ;
                                                                                         No                                                                                                                                                                                            p?Morgan
                                                                                                                                                                                                                                                                                       j?Juaneita               ,            05
                                                                                                                                                                                                                                                                                                                             2020-07-
                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                           ;
    l                                                                                                                                                                                                                      ë                                                           !
         ,.          . . .. . ....' . .                                                                                                                                                                                    >                    .                      .         .
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                       *                    .
                                                                                                                                                                                                                                                                                                                             1'.50.pnl
    1WCSO20JBNOOO629 MentaiHealih DE:W i  thinthe pasttwo weeks, includi
                      Screening    youexperi  encedthoughtsthati  tisunlnikgt
                                                                            yoda
                                                                           el   y'wi
                                                                              you have
                                                                                   ll                                                                                                                                     I
                                                                                                                                                                                                                          1No                                                          '
                                                                                                                                                                                                                                                                                       k
                                                                                                                                                                                                                                                                                       4Mo rget
                                                                                                                                                                                                                                                                                        Juan an
                                                                                                                                                                                                                                                                                              ta.                            05-
                                                                                                                                                                                                                                                                                                                             20207-
                                                                                                                                                                                                                                                                                                                                  0
                                   experience realsatisfaction inthe future?                                                                                                                                                                                                           '                                     1:50 pm
     W CSO2OJBN000629 MentaiHealth DE:Are you aci  ty/county publi
                                                                 coffici
                                                          Screenin                                                               al,highprofile                                                                           jNo                                                        jMcrgan,                                05-07-
    l                                                             g                              communityleader,orIaw enforcementofficer?                                                                                ;                                                          jJuanetta                               2020
                                                                                                                                                                                                                          j                                                          ?                                       1.
    'W CSO2OJBNO00629 MentalHealth                                                              GO:Doesindividualshow acti
                                                                                                                         ve sym                                                                                                                                                      j                                      j .5o pm
    K                                                   .Screening .depression?(lfyesprovidedetails)ptomsof                             ,                                                                                l
                                                                                                                                                                                                                         ùh
                                                                                                                                                                                                                         I !o                                                        '
                                                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                                                     JM
                                                                                                                                                                                                                                                                                      Ju3
                                                                                                                                                                                                                                                                                        ar
                                                                                                                                                                                                                                                                                         geatn
                                                                                                                                                                                                                                                                                         n    , k205
                                                                                                                                                                                                                                                                                             ta    0-
                                                                                                                                                                                                                                                                                                    20
                                                                                                                                                                                                                                                                                                     07
                                                                                                                                                                                                                                                                                                      -t
    1W CSO2OJB'
              N000629 MentalHealth                                                              DE:Have youeverreceived menta!healthtreatmentfor                                                                                                                                     j                                       1:60pm
    j                                                    Screening                              p
                                                                                                as
                                                                                                 nychii
                                                                                                  Wh  agtrsi
                                                                                                      n    cimi
                                                                                                              ll
                                                                                                               n
                                                                                                               iers
                                                                                                               la ?s,
                                                                                                                    (ideepsrepsrs
                                                                                                                      fy        oi
                                                                                                                                 o
                                                                                                                                 vn
                                                                                                                                  d,
                                                                                                                                  iee
                                                                                                                                    moti
                                                                                                                                    d  onalprobl
                                                                                                                                               emsor jNo                                                     ,
                                                                                                                                                                                                                         >
                                                                                                                                                                                                                                                                                     lMuoar
                                                                                                                                                                                                                                                                                     jJ   geatn
                                                                                                                                                                                                                                                                                          n    , 205
                                                                                                                                                                                                                                                                                              ta   0-
                                                                                                                                                                                                                                                                                                    20
                                                                                                                                                                                                                                                                                                     07- '
                                                                                                                                                                      etail
                                                                                                                                                                          s:when,where,
    1lA?
       C SO20JDN000629 MentalH
                                                                                                historyofselfrepoddiagnosi
                                                                                                                         s)                                                                                              '
                                                                                                                                                                                                                         I                                                         ,
                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                            1:50pm
     VV                                                                      ealth              DE'
                                                                                                  .AreyouCURRENTLY prescribedpsychiatric                                                                                 'No                                                       1Morgan,                                 05-07- l
                                                        Screening                               medications?(ifyes,providedetai
                                                                                                                              ls.listm edications,                        '
                                                                                                                                                                                                                                                                                   !Juanetta                                2020
                                                                                                obtainROInameofprescriberand/ornameof                                                                                   #                                                          j                                        150 pm
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              .
                                                                                                pharmacy)                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                  p                                                                .
    WCSO2OJBN000629 MentalHeaI
                             th                                                                 DE.' Tellus aboutanypastsuici
                                                                                                                            dalthoughtsorattempts.
                                                        Screening                                fthereisahistoryprovidedetai
                                                                                                (l                                ewresponseto l
                                                                                                                            ls,revi            !No                                                                                                                                j
                                                                                                                                                                                                                                                                                  jMo
                                                                                                                                                                                                                                                                                   Juarn
                                                                                                                                                                                                                                                                                       gan
                                                                                                                                                                                                                                                                                         ta, 0
                                                                                                                                                                                                                                                                                        et   25
                                                                                                                                                                                                                                                                                              0-
                                                                                                                                                                                                                                                                                               2007-
wcso-medical/Modutes/chaëhi
                          stow.php
                                                                                                                                                                                                                                                                                                                                                  8/70
     '



       'Case
     w,I     w 1:20-cv-23783-MGC
        I,.w..                taortl xDocument
                                   vll -I
                                        dAI
                                          JI     1 Entered
                                           ZIIC,SEBASTI      on OFLSD
                                                      AN -#WCSO2 JBN00O6Docket
                                                                        29(10-24-109/11/2020  entiPage
                                                                                  976) FullPati   iistory)v125
                                                                                                           5.5.0 of 276
          vvc                                    j                               -//5forconsjstency)
                                                                                 1                                 ...       .    .... .   ...   .       .       ..       j                                                   l                              j1.50pm j
         !
         1
           sozolBxoooezg s
                         Mc
                          ern
                            et
                             e
                             an
                              li
                               s
                               ng
                                ealth jorEb.eHl
                                              aavveioy
                                                     ra
                                                      ol
                                                       uce
                                                         ov
                                                          necr
                                                             er
                                                              bn
                                                               e?
                                                                en
                                                                 ri
                                                                  fhy
                                                                    oe
                                                                     ss
                                                                      pi
                                                                       t
                                                                       al
                                                                       pri
                                                                         zede
                                                                        ovidfodet
                                                                               raaimls.e.nwhen
                                                                                          talheal
                                                                                                thj
                                                                                                  No
                                                                                                  I                      .                                   ,
                                                                                                                                                                                                                              jMorgan, 0
                                                                                                                                                                                                                              '         5-07-
                                                                                                                                                                                                                                    yJcanetta
                                                                                                                                                                                                                                       2o2o
                                                                                  wbere,wily-, how. ran
                                                                                                      .yt'
                                                                                                         imes,mostreccnt) .....,.,.............,.,,,,.....
          ..         .. ...     ...... .. . . . . .

          W CSO2OJBN0OO629 MentalHealth
                                                                      . . .         -
                                                                                 'DE'Do you have othermentalhealthconcernsthat                           ?             .,
                                                                                                                                                                       j        ......................,........
                                                                                                                                                                                                                            ........j
                                                                                                                                                                                                              ........,,,...,       y ..    ... .                1.j?
                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                     pm '
                                                                                                                                                         #No                                                                  rMorgao,                       '05-07-
                                                 Screening j
                                                           4n
                                                            Pe
                                                             roe
                                                               d
                                                               est
                                                               f o be
                                                                 sionaa
                                                                      ld
                                                                       (d
                                                                        fr
                                                                        ieesss,epdrobvyidaeBde
                                                                         y       .           eh
                                                                                              ta
                                                                                               av
                                                                                                ii
                                                                                                 o)ralHeal
                                                                                                ls       th                                                            1
                                                                                                                                                                       t                                                     /
                                                                                                                                                                                                                             'Juanetta 2
                                                                                                                                                                                                                             j          020
                                                                                                                                                                                                                                       1:50pm
                                                                                                                                                                                                                                 ....... .... . -..........- .- . . . .
                                                                                                                                                                                                                                                                      ...   ... .. .,
          W CSO20JBN0O0629 MentalHealth                     DE                        '

         j                                       Screening                        Profe
                                                                                      Wo
                                                                                      .
                                                                                       ssi
                                                                                         uol
                                                                                           dayioau
                                                                                           n     bo
                                                                                                  liketospeaktoaBehavioralI
                                                                                                                          -lealth                                      JNo
                                                                                                                                                                       I                                                     jMorgan, 05-07- l
                                                                                 .
                                                                                 i                    utpastsexualabuse?                         .
                                                                                                                                                                       i
                                                                                                                                                                       ,
                                                                                                                                                                       1
                                                                                                                                                                                                                           p
                                                                                                                                                                                                                           'Juanetta 2
                                                                                                                                                                                                                             ,       ,0
                                                                                                                                                                                                                                      .s2
                                                                                                                                                                                                                                        o0p. j
                                                                                                                                                                                                                                             y                   '
                                                                                                                                                                          .                              . ..                    . - ..      .. ... - .
         twcsozo-laNoooezg MentalI-lesltl
                                        a k
                                          'DE Hl                                      .                                                                                                                                                                      - ... .. . .       - .

         i                 screening imant      kaasv?e(lyoosussoxfpjoebri,elnoss
                                                                               ceàarnajoi
                                                                                      .
                                                                                           .Iosswi tl
                                                                                                    aintlel
                                                                                  ofrelationship, deat hof
                                                                                                          ast6 .'h'es(grandfatherabouta j
                                                                                                               1
                                                                                                                                        'Mcrgan,                                                                             '       05-07- (
         ?
         '                                'rel
                                             ative)                                                            ,yearago) .              à
                                                                                                                                        ,Juanetta                                                                          f
                                                                                                                                                                                                                                                           2020 )
                                                                                                                                                                                                                                                             '1.
         '
         lwcsozolaxoooez:
         7              -                        MentalHealtla                   'os:Hasa                                                                                                                                                                 i055
                                                                                                                                                                                                                                                             -0
                                                                                                                                                                                                                                                              07p
                                                                                                                                                                                                                                                               .

                                                                                                                                                                                                                                                                -m 1
                                                                                                                                                                                                                                                                   k
                                                                                               nyoneinyourfamilyorclosefriendattempted iNo                                                                                pMorgan,
         ù
         F                                    j
                                              /
                                               screening h1
                                                          )sui
                                                             cide?                                                                                                    ?
                                                                                                                                                                      #
                                                                                                                                                                      !
                                                                                                                                                                      .
                                                                                                                                                                      -
                                                                                                                                                                                                                          p
                                                                                                                                                                                                                          F
                                                                                                                                                                                                                          ù
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                           Juanetta F
                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                    !20
                                                                                                                                                                                                                                    h1'
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                       20:1i'n kr
                                                                                                                                                                                                                                      50r
                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                '
         rwcso2oJBNOOO62:I
                         4Mel
                            n
                            et
                             ean
                               liHealth u
                                        1
                                        !DE:Doyouhaveapl
                                                       -
                                                       oblemwi
                                                             tl
                                                              nal
                                                                col
                                                                  -l
                                                                   olordruguse? lr'
                                                                                  .l
                                                                                   o                                                                                                                                     )i
                                                                                                                                                                                                                          '/
                                                                                                                                                                                                                           iorg/ai
                                                                                                                                                                                                                                 n                           '
         i                scr    ng     g                                    .  F
                                                                                j                                                                                                                                        'Juaneiëa 2020 '
                                                                                                                                                                                                                         f                     r
                                                                                                                                                                                                                                                ,            05-07- !
      i                   k                                                 '
                                                                            y                                                                                         ,                                                  #            j
                                                                                                                                                                                                                                      -.1.
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                         50pnn t
                                                                                                                                                                                                                                               h
      't
       r/kzsozo-lBr
                  --
                   l
                   ooo6zg iMsnta!Heal
                                    th                                      q
                                                                            'DE.
      (                  kScreeni
                         t       ng                                         # . Have ycu been to pisoc?                                                               #
                                                                                                                                                                      yrqlc.                                             Fr..rs..-u -
                                                                                                                                                                                                                         ; z
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                      ( cs
                                                                                                                                                                                                                                      t -  c7- ?
                                                                                                                                                                                                                                               ;
      .
      1                                      -
                                             ;                              ,
                                                                            .                                                                                                                                            ;
                                                                                                                                                                                                                         . Juanet
                                                                                                                                                                                                                                ta          ;20    20     y
                                                                                                                                                                                                                                            ' ., ;
'
                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                               CU.'R'... .
               c,-'
                  :,.' :::;.tr..'::-!c,,:0 't.l.f?9-.,,;;-..
                                                           c.,a;-.n         '. ....
                                                                                  .j.
                                                                                    :.,
                                                                                      -:9,
                                                                                         -;-    --.-'
                                                                                                    t
                                                                                                    -...nsp,,-,F.
                                                                                                                iy,,
                                                                                                                   - -.
                                                                                                                      ?.:.
                                                                                                                         -.
                                                                                                                          -p0.
                                                                                                                             -.-yî ,
                                                                                                                                   .
                                                                                                                                   -,'.
                                                                                                                                      ?.;- :                                                                              )r?.e.-:t:, -     I
                                                                                                                                                                                                                                            '
      i
      ,
                                             l
                                             e
                                               scrocniaç                    '.
                                                                            :.:pcnoot.'?                                                                                                                                 r. . =             fns-
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                            l    .
                                                                                                                                                                                                                                                    r'ne.
                                                                                                                                                                                                                             t;.;m;
                                                                                                                                                                                                                                  -im:'r,'
                                                                                                                                                                                                                                         r.   lkll'7'r;
      t                                      ù                              k
                                                                            '                                                                                                                                            t
                                                                                                                                                                                                                         k                  j
                                                                                                                                                                                                                                            @
                                                                                                                                                                                                                                            .. -. .-
                                                                                                                                                                                                                                               !.
                                                                                                                                                                                                                                                '5'-;'...
     !7k,'C8r7;.?0-t81-4000629 ylvlei-jtalF'lep11'1-, rDE. F.!l!'h'eyt?'.)'r'h?,
                                                                               :.!,st.,f
                                                                                       'i'efet.1f,t'',,?;
                                                                                                        azrra,irat!s'3e!:'r.lir,;t,rr
     .                         ,Screq                 r                                                                                                           y
                                                                                                                                                                  :b''esr
                                                                                                                                                                        .;r!ef-rqri/-ler,1. ley4lzrcn;
                                                                                                                                                                                                     .?r;
                                                                                                                                                                                                        ?.r
                                                                                                                                                                                                          .v
                                                                                                                                                                                                           !vrger:,
     r                         y        -
                                        iinii
                                            hp        jo1,cerebraltrauma?(i           faclplicabie, oiease n-lake sur'          e all                             -anciinitInis I-lead1                 . wl
                                                                                                                                                                                                           uanetta                                       2
                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                         î.0520
                                                                                                                                                                                                                                                           20-C,
                                                                                                                                                                                                                                                               5
                                                                                                                                                                                                                                                               J- .
                                                                                                                                                                                                                                                                  /
                                                                                                                                                                                                                                                                  )
                                                                                                                                                                                                                                                                  .
     z                         g
                               4                      l'e1ey'anttreatmentinteo.'enticnsare im pIementedtc                                                         j
                                                                                                                                                                  !                        .
                                                                                                                                                                                                        j
                                                                                                                                                                                                        j                                                t
                                                                                                                                                                                                                                                         j(1.     :
                                                                                                                                                                                                                                                                 5Opm
                                                                                                                                                                                                                                                                 .


     ivvcso2o?BNooo629 lMentalHeplth 1
                                     :o
     ,
     i                 ;
                       àScreening    1 es
                                     .scr
                                     j   pi
                                        eetenc
                                          ni  omp
                                             g,ther
                                                  ehdein
                                                  in    s
                                                        di
                                                       vivelqct
                                                         ua   les
                                                              ur ti
                                                                reotnlyspr
                                                                  n     an
                                                                         es
                                                                          swer
                                                                           ente
                                                                              s:on
                                                                               as thi
                                                                                 an s                                                                             i
                                                                                                                                                                  'No
                                                                                                                                                                  ,                                                    #
                                                                                                                                                                                                                       .Mo
                                                                                                                                                                                                                       I
                                                                                                                                                                                                                       jJrgan, #
                                                                                                                                                                                                                               .05-07
                                                                                                                                                                                                                                    ,- ! p.
     '
     k
                                             '
                                             :
                                                                           #innmediatesafetyriskai
                                                                                                 adwould benefitfFonaasafety                                                                                           '
                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                         u
                                                                                                                                                                                                                         a n
                                                                                                                                                                                                                           ett
                                                                                                                                                                                                                             a (
                                                                                                                                                                                                                               120 20    /
                                                                                                                                                                                                                               k1.60prck 0
                                                                                                                                                                                                                               '         1
     )                                       i                            qprecaution i
                                                                          is          nterderition and urgentba/isvioral/10a1
                                                                                                                            th                                                                                         :
                                                                                                                                                                                                                       '                                 2.                     s
                                             ;                            ' ervices(i
                                                                                    fyes,providespeci
                                                                                                    ficclini
                                                                                                           caldetailstojustify                                                                                         à                                 ?
                                                                                                                                                                                                                                                         '                      $
     f
     j                                                                    /suchdisposi
                                                                                     ti
                                                                                      on Pleasenotei
                                                                                                  .
                                                                                                   findividualspresentation                                                                                            )                                 l                      j
                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                1
     t                                                                    fis potentiallyrelated to alcoholordr                                                                                                                                                                 ,
     r                                       ;                            1
                                                                          :                                      ug                                                                                                    '                                 !                      '
                                                                                                                                                                                                                                                                                ;
     ?                                       .
                                             ,
                                             F                            yil
                                                                            ntoxication/b.t
                                                                                          /itl
                                                                                             hdrav'
                                                                                                  .
                                                                                                  /alallmeclicalinterventi
                                                                                                                         onsordeled ,                .                                                                 1
                                                                                                                                                                                                                       j'
                                                                                                                                                                                                                        ,                                j
                                                                                                                                                                                                                                                         ,                      !
                                                                                                                                                                                                                                                                                k
     j
     ;                                    l
                                          1
                                     ;safeenvironment)
                                                                          ;
                                                                          1
                                                                          'inconjunctiontoasafetyprecautiol
                                                                                                          )tohel
                                                                                                               pensurea i
                                                                                                                        y
                                                                                                                        ;
                                                                                                                                                                                                                       1
                                                                                                                                                                                                                       j                                 j                      j
                                                                                                                                                                                                                                                                                ;
    E
    ?                  - al'-
                       '    l--                                                                                                                                                                                        q                              4                         r
    jl'
      cSO2OJBNO00629 Menk     lealth j
    i                screeninq jI'blank.l
                                     '                                                                                                                           INoReferralto
                                                                                                                                                                 -                                                    l
                                                                                                                                                                                                                      tMo
                                                                                                                                                                                                                        rgan, .05-07- t
    1                                ,                                                                                                                           l
                                                                                                                                                                 tBehavioralheal th,No                                ëJuanetta                      '2020
    t               :
                    !                j
                                     .                                                                                                                           !
                                                                                                                                                                 'Repoded c)rObseried                                 f                               1:
                                                                                                                                                                                                                                                       50pm y
    '               à
                    ,                !                                                                                                                           ,
                                                                                                                                                                 !Con diti
                                                                                                                                                                         o                                            ;                              L
                                                                                                                                                                         . n,Appropr
                                                                                                                                                                                   sai
                                                                                                                                                                                     ta
                                                                                                                                                                                      ote                                                            l      j
                                     .
    t               r                t                                                                                                                           $forGen eral Popu    i n,                            ;                                     .
     '
     ï
     r
     s                                   1
                                         t
                                         &
                                         .
                                                                       f
                                                                       i
                                                                       '
                                                                       k
                                                                                                                                                                 )
                                                                                                                                                                 :Ecluoatedonsickcal 9
                                                                                                                                                                 $p
                                                                                                                                                                                     g                                                               j                          j
     .                                   j                             '
                                                                       .
                                                                       ;                                                                                         ; rocaes
                                                                                                                                                                 tBeh    srto
                                                                                                                                                                       vio    Acl
                                                                                                                                                                            Hea ces
                                                                                                                                                                                th  stl
                                                                                                                                                                                   in    7
                                                                                                                                                                                      ne ;                                                                                      '
    1.                                   1
                                         -                            #                                                                                           f                      .

    1                                    l                            ;
                                                                      p                                                                                          i
                                                                                                                                                                 '
                                                                                                                                                                 -cu
                                                                                                                                                                   tunreshoul
                                                                                                                                                                            ddi
                                                                                                                                                                              sposition2                                               ,
                                                                                                                                                                 j n
                                                                                                                                                                   l
                                                                                                                                                                   .
                                                                                                                                                                   xa  ge              r                             /Morgan, i1
                                                                          ..--                                                   .-        - .       -
    !wcso2oJBNooc629jInnaate/netainee'
                                     .Formervictimofrapeorsexualassault(Automatic                                                                                I
                                                                                                                                                                 ?r
                                                                                                                                                                  qo                                                           --.
                                                                                                                                                                                                                                osoz- .
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                  ...
                                                                                                                                                                                                                                    ...
                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                      .j
                                                                                                                                                                                                                      - - ..... .- .--. ....         ,


                                        jRSe
                                         '
                                           i
                                            xualAssaul
                                           sk
                                                     t 'referraltoCl
                                                                   assi
                                                                      fi
                                                                       cationsandMentalHealth)                                                                   ,
                                                                                                                                                                 '
                                                                                                                                                                                                                     jJuanetta
                                                                                                                                                                                                                     r                              j2020
                                                                                                                                                                                                                                                    j                           7
                                                                                                                                                                                                                                                                                l
                                             Assessment                                                                                                                                                              j
                                                                                                                                                                                                                     4                                   1'51pm
                                                                                                                                                                                                                     I
     WcsO2OJBNOOO629 Inmate/Detainee YoungAge(under21yearsofage)orElderl
                                                                       y(6Oyears No                                                                                                                                    M
                     sexualAssault lofageorolder)                                                                                                                                                                       organ,                        05-07-
                                          Risk                        '
                                                                      .                                                                                                                                              'Juaretta                      $2020                   1 .
                                        lAssessment t
                                                    k                 j
                                                                                                                                                             j
                                                                                                                                                             j
                                                                                                                                                             '
                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                    )
                                                                                                                                                                                                                                                    j1'
                                                                                                                                                                                                                                                      .51pm j
     W CSO20JBN000629 flnnnate/Detainee jSlightbuild5:6inorl
                                                           essand/orlessthan 140 Ibs                                                                         'rk!:l                                                 'Morgan,..,.. j05
                                                                                                                                                                                                                      .  ...       .., .. k
    )                 '                                                                                                                                                                                                              -07- '
                                        .sexualAssaul
                                                    t                                                                                                        i
                                                                                                                                                             i
                                                                                                                                                             l                                                      !
                                                                                                                                                                                                                    'Juanetta      2020   l
                                         Risk                                                                                                                i                                                                                        q..sq pm              1
                                         Assessment                                                                                                          I
    WCSO20JBN000629 I
                    nmate/Detainee Firstincarcerati
                                                  oninjail.                                                                                                      No                                                  Morgan,
                                        SexualAssauit                                                                                                                                                                                                05-07-
                                        Risk                                                                                                                                                                         Juanetta                        2020
                                        Assessment                                                                                                                                                                                                   1..51pm                '

    W CSO20JBNO0O629 Inmate/Detainee Nonvi
                                         olenthistory                                                                                                            N
                     Sexua!Assault                                                                                                                                o                                                  Morgan,                        05-07-
                     Risk           )                                                                                                                        '                                                       Juanetta                       2020
                     Assessment 1   .                                                                                                                        '
                                                                                                                                                             ï                                                     11
                                                                                                                                                                                                                    .                               1:51pm
   WCSO2OJBN000629 lnmate/Detainee Convi
                                       cti
                                         onforsexoffensesagainstanadultorchild
                                                                                                                                                             lNo                                                   11Morgan,                        05-07-
wcso-medi
        cal
          /Modules/chafhistow.php
                                                                                                                                                                                                                                                                     9/70
'

        011Case
           IICUJU        1:20-cv-23783-MGC
                                        UOCEMRDocument   1 Entered
                                              -RADETIC,SEBASTI      onOJ
                                                             AN -#wcso2 FLSD   Docket
                                                                         BNOOO629 (10-24-109/11/2020       Page
                                                                                          976)..FulPatientHi       126
                                                                                                            stofylv5   of 276
             !                                           !s                                                         .
                                                                                                                                                                                                                                 5.0
             j                                             esxkualAssault j
                                                         'Ri              )                                                                                                !
                                                                                                                                                                           '
                                                                                                                                                                           p                                                !Juanetta 22:20                  .
                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                            ù
            '
            4                                            Assessment j                                                                                                   y  g
                                                                                                                                                                           ,
                                                                                                                                                                                                                            k
                                                                                                                                                                                                                            p.
                                                                                                                                                                                                                            j                            -
                                                                                                                                                                                                                                                         '1:51pm
            /lcsO2OJBNOOO629 l
                             nmate/Detainee Sexualorientation cfgayorbisexual                                                                                           :                                                   ,                             !05-07-
            $                SexualAssa                                                                                                                                 !Nc                                               'Mor
                                                                                                                                                                                                                           J gan,
                                                                                      ,

            )                                                           ul
                                                                         ti1                                                                                            ;
            j
            /                                            Risk              j                                                                                            g
                                                                                                                                                                        4                                                 j uanetta                          20
                                                                                                                                                                                                                                                             g;s20
                                                                                                                                                                                                                                                                 jpm
                                                         Assessment j                                                                                                   j                                                 l                              !
            jWCSO20JBN00Q629 Inmate/DetaineepGeindel-noi
                                                       ncoi
                                                          nfof
                                                             -i
                                                              mance(e.g.,transgenderorintersex                                                                          k
                                                                                                                                                                        '
                                                                                                                                                                        jI
                                                                                                                                                                         'ço                                             j
                                                                                                                                                                                                                         - Mor
                                                                                                                                                                                                                             gain,                       '                         6
            1                SexualAssault ide                                                                                                                                                                                                               05-07-
                                               ntity)                                                                                                                  j
                                                                                                                                                                       ;
                                                                                                                                                                       1                                                 #
            j
            -
            j
                             Risk           p                                                                                                                          )                                                 ?Juanetta 2
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                   10s1
                                                                                                                                                                                                                                     20p. .                      .
                                                                                                                                                                                                                                                                 .
                            jAssessmeot j   '       ..                                                                                                                 j                                                 k
                                                                                                                                                                                                                         i
            l
            'Vt/CSO20JBNO0O629 l
                               Sne
                                 ma
                                  zut
                                    el
                                    a/Deta
                                      Assai
                                          n
                                          t eej
                                           lt t
                                              dMental,physical,ordevelopmentaldi
                                                     '
                                                                               sability                                                                                'No
                                                                                                                                                                       ë
                                                                                                                                                                       j                                                 gMorgan,                         05-07-
            #
            j                                            Risl
                                                            t                     j                                                                                    ,                                                 '
                                                                                                                                                                                                                         iJuanetta
                                                                                                                                                                                                                         I                               .2020
                                                                                  y                                                                                    p                                                i                                 1:51pri
                                                                                                                                                                                                                                                                n
                                                         Assessnnent y
                                                                     '                                                                                                 k                                                 j                                                         '
            :
            ,VvcsO2OJBNO0O629                            Inmate/Detainee ;
                                                                         jlnlmate/detairlee'
                                                                                           s ownperception ofvulnerabili
                                                                                                                       ty                                              kNo
                                                                                                                                                                       '                                                k
                                                                                                                                                                                                                        llï
                                                                                                                                                                                                                        '
            l                                            sexgalAssatlli                                                                                                j                                                l
            )                                                           ,
                                                                        I
                                                                        '         .                                                                                    '                                                :-j,
                                                                                                                                                                                                                           -j
                                                                                                                                                                                                                            arlejja                      zcpc
            :
            i                                            Ri
                                                         Ass
                                                           sl
                                                            t
                                                            essment t         h
                                                                                                                                                                                                                        t                                1.
                                                                                                                                                                                                                                                          .51pm
                                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                g
        *                  '
                           ù               f
                                           (
                                           j
        :ï/?csO2OJBNOO0629 lInmate/Deteinea#lnmate/detaineeisdetai
                                                                 ledsolelyforciy
                                                                               zili
                                                                                  mmi
                                                                                            i
                                                                                    graticn y
                                                                                                                                                                                                                        ?                                                         j
        t
                                                   !s:?e
                                                   'r.
                                                        x-ualAssault y
                                                       ,!
                                                                     'purposes                                                                                      1I
                                                                                                                                                                    :
                                                                                                                                                                     9oj
                                                                                                                                                                                                                        )Morgan, 05-07- j
                                                                                                                                                                                                                        èJuanetta j2020 '
                                                                                                                                                                                                                        k               T
        ;                                          r S                        )                                                                                                                                                                       1.5.
                                                                                                                                                                                                                                                         1pna j
                                                                                                                                                                                                                                                         ,
                                                   '#'EsErtlhz--:.
                                                                 2r:'                                                                                                                                                   i                            k'       .
        1
        ---'.                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                     ) ..- ;
        i'r'.
            'v-
              v,SQ2Oul1
                      5l'
                        ''
                         .
                         '0:)r
                             .1 $;
                              32:
                                . !lnri
                                      ngte/:l:1,
                                               !'
                                                :
                                                J(
                                                 ne,
                                                   g,
                                                   ' j
                                                     lr,'z,L.EIg-
                                                                '-
                                                                 pl-     '5-
                                                                   %Jes'': nE.'.
                                                                               ?'
                                                                                ..ra;
                                                                                    -s                                     -
                                                                                                                                                                        Q?':.3.ï..
                                                                                                                                                                        .        :.'I
                                                                                                                                                                                                                     --
                                                                                                                                                                                                                      i
                                                                                                                                                                                                                        1rv$w
                                                                                                                                                                                                                            -'i-- 'a:7.              :05-C:- )
                                                                                                                                                                                                                                r
                                                   / Sa::i!ç
                                                   !'R;    :t
                                                            :alz'
                                                                ssqalil
                                                                      t 'à
                                                                         j                                                                                                                                               ,I.
                                                                                                                                                                                                                           .'.p;,et
                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                     f
                                                                                                                                                                                                                                     .,
                                                                                                                                                                                                                                      9:
                                                                                                                                                                                                                                      .                  i'crc                    )
                                                   i!As
                                                      :sessrneot j       i                                                                                                                                                                               -i'5-;                   -
                                                                              .
                                                                                                                                                                                                                        F                           j                             j
                                                                                                                                                                                                                                                                                  .
        :'',csozc-tBrkoccîzc llornate/nstai
                                          oee?
                                             'sI
                                               'ai
                                                 f
                                                 't'
                                                   -
                                                   s'upspslsoraoclc'
                                                                   .assiscatic
                                                                             -,
                                                                              nsnoti
                                                                                   ced(i
                                                                                       f4                                                                          ,l
                                                                                                                                                                   L-la                                               ir.
        ktk                  ; Zsssaul     t)pgreater 'Y                                                                                                                                                                /l.
                                                                                                                                                                                                                        . -.
                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                           rgac,
                                                                                                                                                                                                                            jo5-c7- y   ?
                                                                                                                                                                                                                                        '
        !
        f
        :
                                                   ,
                                                   :
                                                   Se
                                                   R
                                                   ,
                                                     isxl
                                                        :
                                                        ual..             i
                                                                          ' fiadine
                                                                          Fnoti
                                                                                   s'answers)?(ListShi
                                                                                  notes)
                                                                                                     f'
                                                                                                      tSt
                                                                                                        apervisorwhot
                                                                                                                    h/as                                                                                             )
                                                                                                                                                                                                                     ë
                                                                                                                                                                                                                      Ju
                                                                                                                                                                                                                       ane
                                                                                                                                                                                                                         tt
                                                                                                                                                                                                                          a 3
                                                                                                                                                                                                                            2
                                                                                                                                                                                                                             2 020      #
                                                                                                                                                                                                                            .-i'51r)rn û'                    '
     )                                              A'ssessment
                                                   l'                     ;
                                                                          1
                                                                          .               .   .
                                                                                                                                                                   '
                                                                                                                                                                   r
                                                                                                                                                                                                                     .      l                       .                .
                                                                                                                                                                                                                                                                               .
                                                                                                              ..    .. .                             .                                             ...... . . . . ,. ....-... .. ......... ..-.-.,....
                                                                                                                                                                                                                                                    (t..
     ;
     Ftvcsozc-l
              :soocsz: :Inmate/oetainee1
                                       .priorsi
                                              storkofinstitutionalpredatocy sehavior                                                                                   yts                                           tMorgan                         ' .. -
                                                                                                                                                                                                                                                     os-o-
                                                                                                                                                                                                                                                         ?-
                                                                                                                                                                                                                                                                     .... -.
                                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                           - ..
                                                                                                                                                                                                                                                                              ;
     j  .
                                                   l
                                                   jSextlal
                                                          .Asîal
                                                               altj(Atltometicreferra!toClassl
                                                                                             fi
                                                                                                  .

                                                                                              cationG)                                                                                                               i
                                                                                                                                                                                                                     )
                                                                                                                                                                                                                     k      ,
                                                                                                                                                                                                                      Jblanetta jI9
                                                                                                                                                                                                                                  j2020             j                         (
     :                                             jRi
                                                     sk                  j                                                                                                                                           :
                                                                                                                                                                                                                     '            '1:51pm                                     r
                                                                                                                                                                                                                                                                              j
     -
     .                                             pAss.
                                                   ;   esc.
                                                          rf-
                                                            ie.
                                                              ct         j
     F
     -v                                                                                                                                                                                                              l                             ;                          k
     !s
     C
       /csozo-lBr
                qoooezg InmateI
                       '
                              /oetainee!
                       ësexuaAssault p!
                                       .priorconvictionsforvi
                                       '                    ol
                                                             entoffenses                                                                                       i.i
                                                                                                                                                                '
                                                                                                                                                               5'
                                                                                                                                                                 ko.                                                )lvuio
                                                                                                                                                                                                                    ii   arl
                                                                                                                                                                                                                           g
                                                                                                                                                                                                                           'atp
                                                                                                                                                                                                                           re ta, à0
                                                                                                                                                                                                                                   25-007- j
                                                                                                                                                                                                                                    02
     !                                         !Risk                     i
                                                                         ,.                                                                                                                                         iu            ù                      1.51pm r
    à                 tAssessment r                                                                                                                            I                                                    j
                                                                                                                                                                                                                    .       (.      .
    i
    '             . i .. .. .         P       ... .... ........                                           .... .   . ... . .   ... ...... . .   ... . .        L
                                                                                                                                                               .               .. . .     . . ... . .        .. .
                                                                                                                                                                                                                    :       k       j
                                                                                                                                                                                                                                    F  .     ..     .        ... .. ... . ....
    kVVCSO2OJBNOOO629 jlnmate/Detaineeà
                                      ,Historyofsexualabusetowardothers                                                                                        rl
                                                                                                                                                                hlo                                                 i
                                                                                                                                                                                                                    !Mor    .
                                                                                                                                                                                                                            .       .
    4                 àSexualAssault 1:                                                                                                                                                                                gan, p05-07- )
    k
    ;                                          jRi
                                                 sk                     (
                                                                        j                                                                                      t
                                                                                                                                                               j
                                                                                                                                                               '
                                                                                                                                                               .
                                                                                                                                                               .
                                                                                                                                                                                                                    i
                                                                                                                                                                                                                    t:Juanetta                      2
                                                                                                                                                                                                                                                    y0
                                                                                                                                                                                                                                                     .52j0rm '
    I                                         eAssessment
                                              s                         6                                                                                      ,.
                                                                                                                                                                                                                    j                             j
                                                                                                                                                                                                                                                  ,.                         ,
    (
    ùw.
      v-t
        ,
        .
        -
        ,.
         --o2oJa!
        cs      4ooo629 $               :.
                        -Inmate/oetainee,
                                        '            on .. -
                                         oanqaffiliati                                                             . .                           .. . q
                                                                                                                                                      .
                                                                                                                                                      -x
                                                                                                                                                      ;             . .....--,--..
                                                                                                                                                                                 -.,..
                                                                                                                                                                                     --...---- -..-..-.- ..- -.-.   (
                                                                                                                                                                                                                .-.,.- .      .-.--.,.            j                          k
                                                                                                                                                                        o                                           kMorcan.
                                                                                                                                                                                                                    '
    k
    ë                                        #S
                                             IRe
                                               isx
                                                 kualAssaul
                                                          t'p
                                                            ;
                                                            '                                                                                                 r
                                                                                                                                                              '
                                                                                                                                                              s                                                     j
                                                                                                                                                                                                                    2         1
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                              'os
                                                                                                                                                                                                                                0-
                                                                                                                                                                                                                                 2c
                                                                                                                                                                                                                                  0'
                                                                                                                                                                                                                                   p j
                                                                                                                                                                                                                    tJuaneiia ë2
                                                                                                                                                                                                                    '
    t
    i                 Assessment j
                                                            e                                                                                                 1                                                                   ,pm p
                                                                                                                                                                                                                               1.s.                                         t
    kt&
      ?csO20JBN0O0629 Inmate/Detainec 8Currel                                                                                                                 j                                                     ;                                                       j
    y
    '                                 j     ntorpriorrapeconvi
                                                             cti
                                                               on                                                                                             lH:)                                                  kMorgan,                        05-07- k
                                                                                                                                                                                                                    j
    j                                              sezualAssaul
                                                              t,1                                                                                             y
                                                                                                                                                              l                                                     :
                                                                                                                                                                                                                    9Juanetta 2020
    I                                        IA
                                              Rs
                                               iskessment j
                                                          ,
                                                          '                                                                                                   j
                                                                                                                                                              k                                                     j
                                                                                                                                                                                                                    k
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                  jj,5j;
                                                                                                                                                                                                                                                       )m
     WCSO20J8N000629 I
                     nmat
                     Se Jae1/As
                       XI    Detainee TotalalI''
                                               Yes''answers                                                                                                   Ilblankl
                               sauIt                                                                                                                          'j                 .
                                                                                                                                                                                                                 'Morgan,                         05-07-
                                               RiSk                                                                                                                                                                 >Juanet
                                                                                                                                                                                                                          ta                      2020
                                               ASS0SSm                                                                                                        j                                                  I                                 1:51pm
    1            .. .....- . .... ..... . .. ...     .          ent t1
                                                                     I
                                                                                                                                                          .
                                                                                                                                                              ;
                                                                                                                                                              '
                                                                                                                                                              1                                                  '
                                                                                                                                                                                                                 i
                                                                                                                                                                                                                 1
      W CSO2OJBNO00629 Inma
                       Se   te/DetaineejShiftSupervisorandCl
                          xual                               assificationsnoti
                                                                             fi
                                                                              ed(if3or                                                                        )
                                                                                                                                                              ,No                                                4
                                                                                                                                                                                                                 j
                                                                                                                                                                                                                 .Morgan,                         05-07-
                               Assault j
    r                 jRisk            !not
                                       ;
                                       ;grei
                                           afit
                                              er'Y
                                              edi1
                                                  es'answers)?(ListShiftSupen/i
                                                 nnotas)
                                                                                sorwhowas j                                                                                                                      j
                                                                                                                                                                                                                 k
                                                                                                                                                                                                                  Juanetta k2020
                                                                                                                                                                                                                            1:51pm
                       Assessment j    t                                                  ;                                                                                                                                                                                ç
                                                                                                                                                                                                                                                                           ,
     WCSO2OJBN000629 lnmate/Delainee Thisassessmentis:(1flnitialAssessment, another       !lnitialAssessment                                                                                                    t
                       SexualAssaul  t asses                                             l                                                                                                                      lMorgan,                          05-07-
                                               smentmustbeschedt aledSvithi
                                                                          n30days)       .                                                                                                                      1Juanetta                         2020
                                             Risk                                                                                                                                                                                                 1..51pm
                                             Assessment

    WCSO20JBNOO0629 Sc
                    Corr
                       onni
                       eeanvi
                            ruTsooi Ha
                            g       ( v
                                      eyouhaclclosecontactwi
                                                           thaperscnwi
                                                                     th                                                                                   1No                                                   jMorgan,                        05 O7- '
                                                                        aboratoryconfirmed Coronavi
                                                                                                  rus i
                                                                                                      n the past14 days? i
                                                                                                                         f
                                                                                                                         .                                                                                      iJuanetta                       2020
                                                                                                                                                                                                                                                j.5gpm
    WCSO20JBNOOO629 Coronavirus                                         Havey/ou travel
                                                                                      ed outsi
                                                                                             de ofthe Uni
                                                                                                        tedStatesinth
    )                                        Screeni
                                                   ngTool past14days?IFSO WHERE?                      ,
                                                                                                                                                e k',lko  ;
                                                                                                                                                                                                               àMorgan,
                                                                                                                                                                                                               iJuanetta
                                                                                                                                                                                                                                                05-07-
                                                                                                                                                                                                                                                2020
                                                                                                                                                          1                                                    l                                1:
                                                                                                                                                                                                                                                 S2Rm
                                                                                                                                                          i                                                    I
wcso-medical/Modules/chafhistol.php                                                                                                                                                                                                                                  10/70
*
'

     Q/$Case
        IIZ-UZU 1:20-cv-23783-MGC
                               COCEMEDocument   1 Entered
                                     -RADETIC,SEBASTI      Son
                                                    AN -#WC,    FLSD
                                                             O2OJBNOO0jDocket
                                                                       29(10-24-109/11/2020
                                                                                 976)::Fullpati   Page
                                                                                              entHistow lv127
                                                                                                          5.5.c of 276
            Iwcso2oJBN000629ICoronavirus ('Haveyoutraveledfrom outsi
                                                                   dethestateofFl  oridainanjNo                                                       2Morgan, j0&O7-
            !
            l,              'ScreeningTool ;
                                           .areawi
                                                 thsubstanti
                                                           alcommunityspread, to inctude the !.                                                       'Juanetta -
                                                                                                                                                      *
                                                                                                                                                      1         î2020
            )
            .                                                  jNewYorkTri
                                                                         -stateArea?(connecticut,NewJersey,and;
                                                                                                              '                                       '                     1:52pm
             W CSO20JBN0O0629         1-InitialHealth
                                                                Newyork)
                                                                VisualAcuity:
                                                                                                                          jI20/20                     /
                                                                                                                          .        r20/20 b20/15 yRose,                     05- 16-
            .
            u                         Assessment                                                                                                                            ztlzo           ;
            l                                                                                                             k                      jSarah
                                                               j                                                          '                      ,
                                                                                                                                                 <                          4.j7pna
            j                                                                                                             '                      j                           '
            i
            lW CS()20JBNGo()629       1 lni
                                      A   ti
                                           alHeal
                                                th All
                                                     ergies:                                                              i PGN - unsurecatsand !Rose,                      05-1ô-
            i                          ssessment                                                                       !dogs
                                                                                                                       i                              .Sarah                2020            '
            jtA/CSO2OJBl
                       k0OO629 A1-Initi
                                      alHeal
                                           th DoespatientspealEnglish?+*IFno,pleaseprovide jYes                                                   1Rose,
                                                                                                                                                  ,                     '
                                                                                                                                                                           4.17pm '
                                                                                                                                                                           05-16-
            j                    ssessment j 4translation6ineReferenceff                   3
                                                                                           1                           .
                                                                                                                                                  jSarah
                                                                                                                                                  ,
                                                                                                                                                                           2
                                                                                                                                                                           40
                                                                                                                                                                            .j2
                                                                                                                                                                              z0
                                                                                                                                                                               pm
            !
            ,
             hNCSO20JBN00O629 A
                              1ssessm
                                -lnitialent
                                        Healtl
                                             nj,RecentHospi  talizati
                                                                    olsorSurgeries?**lFyes,provi
                                                                                               de 1I
                                                                                                   N!o                                            ,
                                                                                                                                                  1
                                                                                                                                                  .Rose,                   05-16-
         j
         1,
          !                     i.
                                ,
                                  ,
                                  ,
                                               ïmore inform ation
                                               /
                                                           .9
                                                           1
                                                                                    .
                                                                                                                      1
                                                                                                                      y
                                                                                                                      ';
                                                                                                                      ,
                                                                                                                      !
                                                                                                                      ,
                                                                                                                                                  l
                                                                                                                                                  jS
                                                                                                                                                   arah                    2
                                                                                                                                                                           4020
                                                                                                                                                                            yy pm
                                                                                                                                                                            ,
                                                                                                                                                                            ,
         X
         i
         j*
          //CSO2OJBN000629f1 !nitial1
          -
         :t                         -1ea1th (CurrentV/S                                                               FJ3/&/7U                    1
                                                                                                                                                  )
                                                                                                                                                  :Rose,                   05-16-
                                                                                                                                                                                        .


         1
         -                      )Assessment ?
                                i           ,                                                                         k                           jsarah                   2020
                                l                          r
                                                           .,
                                                                                                                      !
                                                                                                                      .
                                                                                                                                                  $
                                                                                                                                                  '
                                                                                                                                                                           4:17pm !     '
                                                                                                                      '
            W CSO2OJBNOO0629 1
                             !1-lni
                                  ti
                                   alHeal
                                        th !kGeneralAppearance:                                                       y
                                                                                                                      , W NL
                                                                                                                                                  l
                                                                                                                                                  jRcse,
                                                                                                                                                  '                        05-16-
         '
         !
         r
                               j
                               k
                                Assessment                 j
                                                           -
                                                                                                                                                  gsarau
                                                                                                                                                  j                    j2021
                                                                                                                                                                           .
                                                                                                                                                                           )            !
                                                                                                                                                                                        ,
                                                           r                                                                                      .
                                                                                                                                                  (                    ;4.,..j.?.,-,.
                                                                                                                                                                       :
                                                                                                                                                                                        r
                                                                                                                                                                                        .
            ''
             '.
        i ':;f;
        .îk
        .
              -C'23JFN0O:lê;
                           2'9 --1ni
                                   ti
                                    8lH6altA Neck:                                                                        '
                                                                                                                          b'h/'Nll.               1Rose,               (05-16-
      j
                                     .. .
                               rr-.osqssol,i=lIt                                                                                                  ?
                                                                                                                                                  jys,
                                                                                                                                                     .aj.j             'zq.js-(,
      r                        ;                    i
                                                    j.                                                                                                                 1 :
     #                                                                                                                                            :                    i.-<2;.,;-,!
                                                                                                                                                                                  ..'r,,
       ,' '   .
              .
              .-cc '
                   : q
                     ,.
                      'k,
                        -.:'
                           c   ;-g : .
                                     .-.
                                       gt
                                        iz rh!
                                             .
                                             z u')
                                                 .
                                                 :: '
     y..t? -*S-- - . - ..2?                                                                                                                                            1',w-.5-' i(
                                                                                                                                                                                  .
                                                                                                                                                                                  2 i    .
                                                                                                                                                                                         '
                                                    . h.ta-
                                                       '  ...                                                        ''.'..'i...-
           -                                                                                                                    :                 'ncsa
     91                        ?
                               rAsses   sl-
                                          ûeq-l
                                              i     )
                                                    p1                                                               p
                                                                                                                     .                            )           ,        /                 t
     #                         .                    ;                                                                                             ,Sarah               r20.
                                                                                                                                                                          7:0           r
                                                    .                                                                ,                            t                    rg.,
                                                                                                                                                                          :r ;
                                                                                                                                                                             vj ,
     ky't/csozs.  lof
     !
     %
     .
                     x
                     lo of?6zgk
                              kAssessnaeoi 2Epes:
                                q  -ln i
                                       tia! se aft
                                                 h  ?                                                            th/ï/l
                                                                                                                      q!i .     -                 lRcse,           ios-js- )
                                                                                                                 ;
                                                                                                                 )                                k
                                                                                                                 j                                ùsarah           j2c20 ).
                                                                                                                                                                   ,
                              .

     l                         y                       !
     i                         r                       j                                                         )                            g                    ,4.,j.
                                                                                                                                                                        y,pm j
     !
     ;'
      o'csozlE
             lq
              -l
               Br.
                 ktlfll6zg y-
                            ;-lniti
                                  alKeal
                                       ii
                                        n !Ears.                                                                 l'
                                                                                                                  ,,',..;
                                                                                                                     '
                                                                                                                        )
                                                                                                                        -                     rRose,
                                                                                                                                              !                    ,O5-J6- 1
     .
     î                     ;Assossn,
                           i        ent ) k.                                                                     1
                                                                                                                 ,                            psaral
                                                                                                                                              ,    n               yzczo t )
     .
     '                     k              !
                                          .                                                                      J
                                                                                                                 .                            i
                                                                                                                                              .
                                                                                                                                              .
                                                                                                                                              1                    4
                                                                                                                                                                   s4.
                                                                                                                                                                     '17pm t
     t
     ;wcsozolBxoco6zg i
     '                 1-Ini
                      'A   ti
                            alHeal
                                 th ïr
                                     qose/l
                                          qasa!                                                                  i'
                                                                                                                  .
                                                                                                                  /
                                                                                                                  vi.l
                                                                                                                     ;
                                                                                                                     -                        1
                                                                                                                                              ,Rose,
                                                                                                                                                              '
                                                                                                                                                                   .   os-16- t
     j               !! ssess
                            me nt  !!                                                                            )                            1
                                                                                                                                              )sarah
                                                                                                                                              k                    j2c2o                t
     t'           . .... ...i ...    .                             . ..   . . ...         .                      f                    .       .                    .
                                                                                                                                                                       4:-17 pm
     th/h/csozO-?Bsloooezg k1-lniti
                                  a!Heal
                                       th i
                                          ,I
     .
     l                        jAssessment  .
                                                       ,i
                                                       ,ps                                                       '
                                                                                                                 jr
                                                                                                                 .
                                                                                                                  '
                                                                                                                  h-,                         2R
                                                                                                                                              j orsau
                                                                                                                                               sa  e,              .0
                                                                                                                                                                    a5
                                                                                                                                                                     o-16- )p
                                                                                                                                                                      zo    .
                                                                                                                                                                   ,


       /CSO2OJBNO0O629 ;
     tVt               :-
                        1- InitialHealth tGl
                                           rit
                                             '
                                             t                                                                       tkr. appealsi:
                                                                                                                 i7tsè            'y.         'Ftcsa,             #05-,.(
                                                                                                                                                                        t-
     8
     1
                       )Assessment i     )
                                         :
                                                                                                                                              lSary'h             '.
                                                                                                                                                                   30217.
                                                                                                                                                                        ,
                              l                                                                ..
                                                                                                                 J
                                                                                                                 .
                                                                                                                                             I
                                                                                                                                             k
                                                                                                                                             ,.                   'z:-,-.7pca
                                                                                                                                                                  :
                                                                                                                                                                  .
        ï/s
          /csozolBrlcocezg 1-                                                                       ..
                                                                                                     . .>-
     ..                               InitialHealth)ora!screeni
                                                              nc                                             ëhzissingTeeth(ptstates i
                                                                                                             j                       ;Rcse                ,
                                                                                                                                                                  l
                                                                                                                                                                  tos--
                                                                                                                                                                      lC-  (
                               Assessment j                                                                  ythathen
                                                                                                                    .aScu
                                                                                                                        .l
                                                                                                                         :
                                                                                                                         ppeu
                                                                                                                            .                j
                                                                                                                                             y
                                                                                                                                             .o
                                                                                                                                              .aran
                                                                                                                                                  ,.              j
                                                                                                                                                                  :2020    l
    k                                              y
                                                   '                                                         j13C)
                                                                                                                 lh1ffOm ;)l
                                                                                                                           -
                                                                                                                           eViOUS            k                    '4:17j
                                                                                                                                                                       33*
                                                                                                                                                                         :!.
    I                                              q                                                         !accidCrltjar
                                                                                                             .           ldbrokerl j                              j        j
                                                                                                             !jaw.)                          j                             ,
     7$
      /CSO20JBNOO0629 A
                      1s
                       -sl
                         e
                         ns
                          its
                            iamle
                                Hn
                                 etalthjApptiances:                                                          jNone                           1Rose, j05-16-
                                                                                                             d                               /Sarah                4
                                                                                                                                                                   2.
                                                                                                                                                                    0,2,
                                                                                                                                                                       ?0pm
     W CSO2OJBNO00629 1-lni
                          tialHeaI
                                 th Tongue:                                                                      W NL                         R
    j                        jAssessment j                                                                   h
                                                                                                             ;
                                                                                                             .
                                                                                                                                               osaeh,
                                                                                                                                              Sar                  05-1
                                                                                                                                                                   20206-
                                                                                                                                             j                     4.j7pm
     WCSO20JBN000629 1-Ini
                         tialHeal
                                th I
                                   ITonsi
                                        ls:                                                                  i
                                                                                                             jRemoved                         Rose,               05-16-
    1                         Assessment          j
                                                  ,                                                          i                                saraja              cc2c
                                                                                                             )                               i                    4.j7 pm j
     WCSO2OJBN000629 As
                     1sIensit
                            ia
                            slHnt
                             meeaI
                                 th TMJ'
                                       s:                                                                    j
                                                                                                             1Cli
                                                                                                                ckts
                                                                                                              ha:   (pptai
                                                                                                                   mj    sntateom
                                                                                                                             frsthbart
                                                                                                                                     oh
                                                                                                                                      ke
                                                                                                                                       en Rorsah
                                                                                                                                          Sa  e,                  0
                                                                                                                                                                  25
                                                                                                                                                                   0-16-
                                                                                                                                                                    20              ,


                                                                                                             jawthatoccurredwitha                                 4'
                                                                                                                                                                   .17pm
                                                                                                             previ
                                                                                                                 ousaccident.)
    lW CSO2OJBNOO0629 A
                      1-Initi
                            alHeaI
                       ssessment
                                 th                TMJ'
                                                      s:                                                     Painful(ptstatesthathe 'Rose,
                                                                                                             hastmj' pai
                                                                                                                       nfrom broken Sarah
                                                                                                                                                                  05-16-
                                                                                                                                                                  2020
                                                                                                             jaw thatoccurredwitha                                4217pm
                                                                                                             previousaccident.)
    WCSO2OJBN000629 As
                    1-sl
                       nsit
                       e  ia
                          s lHe
                           me ntaI
                                 th Respiratory:                                                             jWNL                            Rose,                05-16-
                                                                                                                                             Sarah                2020
                                                                                                                                                                  4:17 pm
wcso-medi
        cat/Modules/chaëhistow.php                                                                                                                                       11/7
                                                                                                                                                                                    0
 '

           Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 128 of 276                                                                                                                                                               *
             w cso2cJBNOOO629 1-InitialHeaIth Cough              1None
                                                                 '               1Rose,    05-16-
          ,                      ,                               r               j
          j                                                         Assessment                                                                                                                                                                               j                                                                     jSarah
                                                                                                                                                                                                                                                                                                                                   :.
                                                                                                                                                                                                                                                                                                                                                                        2020                 ;
          k                                                                                                                                                                                                                                                  j                                                                     j                                    4:17pm
           W CSO2OJBNOOO629 ,                                                                                                                                                                                     '' '
                                                                                                                                                                                                                     .'                                                                                                            (
          1
          !                   Assessment                            1-l
                                                                      ni
                                                                       t
                                                                       i
                                                                       alHea1
                                                                            thj
                                                                              .C
                                                                               ardi
                                                                                  ovascul
                                                                                        ar
                                                                                         :                                                                                                                                                                   l
                                                                                                                                                                                                                                                             jWNL
                                                                                                                                                                                                                                                             .'
                                                                                                                                                                                                                                                                                                                                   jRose, 05-16-                                            .

         /                                                                                          )                                                                                                                                                        '
                                                                                                                                                                                                                                                             d
                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                                                                   dSa
                                                                                                                                                                                                                                                                                                                                   N
                                                                                                                                                                                                                                                                                                                                   a
                                                                                                                                                                                                                                                                                                                                     rah                               .
                                                                                                                                                                                                                                                                                                                                                                        2020
                                                                                                                                                                                                                                                                                                                                                                         4.'
                                                                                                                                                                                                                                                                                                                                                                           .1-
                                                                                                                                                                                                                                                                                                                                                                             '-pn-' '
          'WCSO20JBNOOO629 1-lni
                               ti
                                alHeal
                                     th 7
                                        'Pulses:                                                                                                                                                                                                             jWNL
                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                   IRose,                                      '
                                                                                                                                                                                                                                                                                                                                                                               u
                                                                                                                                                                                                                                                                                                                                                                        05-16- i
         l                                                          Assessm ent                     j                                                                                                                                                        k                                                                 1                                                        V'
         ,
         r                                                                                          ?                                                                                                                                                        :
                                                                                                                                                                                                                                                             e
                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                                                                               rSarah
                                                                                                                                                                                                                                                                                                                                   ,.                                  k2020
                                                                                                                                                                                                                                                                                                                                                                        4.j7pm            ,
                                                                                                                                                                                                                                                             iptstat
                                                                                                                                                                                                                                                             k                 àRose
         7W CSO2OJBNOOû629 /
         d                 l1 initialHealtln i
                                             'Abdominal.
                                             p         '
                                                                 Assessment
                                                                                                                                                                                                                                                             @
                                                                                                                                                                                                                                                             ' esabdominalpain ë
                                                                                                                                                                                                                                                             k                 ' ,                                             'sarah                                  20O5-
                                                                                                                                                                                                                                                                                                                                                                           21
                                                                                                                                                                                                                                                                                                                                                                            t)6-          t
         1
         #                     i
                                                                l                                1                                                                                                                                                           1                                                                 1
                                                                                                                                                                                                                                                                                                                               kjRose'
                                                                                                                                                                                                                                                                                                                                                                       4.
                                                                                                                                                                                                                                                                                                                                                                        '17pm
         !WCSO2OJBNOO0629 1 lni      tia)l
                                         -leal n #j
                                              tl  .
                                                    Gu/Rectal;                                                                                                                                                                                               d
                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                               Vtzl
                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                  kL                                                                            ,                           $- 6
                                                                                                                                                                                                                                                                                                                                                                        O5-i(
                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                   .
         1
         q                     tAssessment '      4                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                             j                                                                 !
                                                                                                                                                                                                                                                                                                                               'Saral
                                                                                                                                                                                                                                                                                                                                    h                                   20
                                                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                                                           20 p
                                                                                                                                                                                                                                                            p                                                                  j                                       .4.17pl
                                                                                                                                                                                                                                                                                                                                                                             n )
                                                                                                                                                                                                                                                                                                                                                                             '
         pïA?cso20,JBr
         i           '
                     .!(
                       )()o629 '
                               i1-lnitiall
                                         -lealth istool                                                                                                                                                                                                     :q/vë.II
                                                                                                                                                                                                                                                            h                                                                  hRose,
         t                                                      t,6ssessm ent                   ?.                                                                                                                                                          t
                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                               '                                  )
                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                  '05-
                                                                                                                                                                                                                                                                                                                                                                     21
                                                                                                                                                                                                                                                                                                                                                                      o6- j
                                                                                                                                                                                                                                                                                                                                                                          '
         j                                                      :
                                                                d .                        i                                                                                                                                                                j                                                                  ysar'
                                                                                                                                                                                                                                                                                                                                   ah                             .
                                                                                                                                                                                                                                                                                                                                                                  r2O  z,..
                                                                t .-
                                                                   ...
                                                                     ,
                                                                     -.
                                                                      --...................9
                                                                                           1... -..                                                     ...........,...,.
                                                                                                                                                                        -..
                                                                                                                                                                          -.....             .. -.
                                                                                                                                                                               .....-,-.-.....   .......... .............-.-.......... .....-...-...--.
                                                                                                                                                                                                          ,..                                               i-
                                                                                                                                                                                                                                                      ......-...-----.....-. ..-.
                                                                                                                                                                                                                                                                                ....-...                                                                          !
                                                                                                                                                                                                                                                                                                                                                                  '.-
                                                                                                                                                                                                                                                                                                                               l----....-..--.......-...-..-...--..-
                                                                                                                                                                                                                                                                                       -..-.---...,..,..................-...-...                                    .'.j-..
                                                                                                                                                                                                                                                                                                                                                                    --    y
                                                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                                                                          .r
                                                                                                                                                                                                                                                                                                                                                                          -.
                                                                                                                                                                                                                                                                                                                                                                           -n
                                                                                                                                                                                                                                                                                                                                                                            -m...  .
                                                                                                                                                                                                                                                                                                                                                                                   -..
                                                                                                                                                                                                                                                                                                                                                                                -...
         F
         @hYCSO2OJBNOO0629iI1-lnitialHeaIth y
                                            $
                                            'Muscular/Skeletal',                                                                                                                                                                                                                                                               jRose
                                                                                                                                                                                                                                                                                                                               rsarah          ,                  j  -16- !,
                                                                                                                                                                                                                                                                                                                                                                   0520    .
         !                                                      1
                                                                ,Assessment                                                                                                                                                                                                                                                                                       p20      1
         e    . , ,
                                                                9
                                                                k   .
                                                                                                ë
                                                                                                s
                                                                                                                                                                                                                                                                                                                               k
                                                                                                                                                                                                                                                                                                                               ;                                  yF
                                                                                                                                                                                                                                                                                                                                                                   :4.17pm              ?
                                                                                                                                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                                                                                                                  >'                    ''
          ''                                                    :                               7..                                                                                                                                                                                                                                                          -Y .
                                                                                                                                                                                                                                                                                                                                                             .        ,.
                                                                                                                                                                                                                                                                                                                                                                                        :
          b.biC.
               3'w
                 -',;(7uJ:%l
                           -x'
                             .=
                              '-'
                                u
                                *''-
                                   ',
                                    022 'i'-!h
                                             '$i'C
                                                 'l
                                                  'cz;/-itwc'
                                                            lL
                                                             ',
                                                              ''! t!.,1oui?*
                                                                           1i)'.                                                                                                                                                                                                                                                   Rt)t.
                                                                                                                                                                                                                                                                                                                                       cf
                                                                                                                                                                                                                                                                                                                                        :c.                        t05-k
                                                                                                                                                                                                                                                                                                                                                                   '     i
                                                                                                                                                                                                                                                                                                                                                                         lh-            '
                                        rr6osessnqsct             r                                                                                                                                                                                                                                                                5178)7                         '
                                                                                                                                                                                                                                                                                                                                                                  u 222G                ê
         i
         ;
         .                                                      f
                                                                ;
                                                                '                               j                                                                                                                                                           >
                                                                                                                                                                                                                                                            .                                                                  I
                                                                                                                                                                                                                                                                                                                               .                                  i.
                                                                                                                                                                                                                                                                                                                                                                   t
                                                                                                                                                                                                                                                                                                                                                                   $:-i'
                                                                                                                                                                                                                                                                                                                                                                  ..   ;
                                                                                                                                                                                                                                                                                                                                                                       :i:i7-
                                                                                                                                                                                                                                                                                                                                                                            .1 y
          '
         #'
          ;Si
          ( :h2ClJB1
            .
            '
          k'v'l
              '.
                   4OOO62êk
                          y1-il
                              nitialKealtlnlI'
                                             ieuroi
                                                  ogicai'
                                                        .                                                                                                                                                                                                ,Vvr
                                                                                                                                                                                                                                                            iki
                                                                                                                                                                                                                                                              -                                                               #Rose,                              iO5--
                                                                                                                                                                                                                                                                                                                                                                      i6- j
         #                  k.
                             k'ssessn'l
                                      el'
                                        lt ,                                                                                                                                                                                                                                                                                  à.
                                                                                                                                                                                                                                                                                                                               Sa!ar:                             !J.(,J..-.,
                                                                                                                                                                                                                                                                                                                                                                  k         ?
         ,
         t
         j                  ;
                            ;                -                                                                                                                                                                                                           !                                                                    r                                   ka.r.;
                                                                                                                                                                                                                                                                                                                                                                       ,;;. ,
                                                                                                                                                                                                                                                                                                                              :                                   ) '.'                 r
         Q't
           rt
            /csozolnf
                    qoooezg dJ-snitialHealti
                                           ayrspeeci
                                                   a:                                                                                                                                                                                                    ?t'vi
                                                                                                                                                                                                                                                             x!l
                                                                                                                                                                                                                                                               -                                                              k
                                                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                              'Rose,                             1o5-J6- r
                                                                                                                                                                                                                                                                                                                                                                         f
         t
         y                  )As
                            ..  sessmen  t   b
                                             .                                                                                                                                                                                                           .                                                                    !Sarah                             !
                                                                                                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                                                                                                 ,2020                  )
                                                                                                                                                                                                                                                                                                                                                                                        :
         i                                                 I                                   :
                                                                                               ,
                                                                                               .                                                                                                                                                         )                                                                    l                                  1
                                                                                                                                                                                                                                                                                                                                                                 ;4:17pm p
         'vvcsozll-lBslocc6z:i
         6                   j1-InitialHealth liGait:                                                                                                                                                                                                    -steady
                                                                                                                                                                                                                                                         k                                                                    d
                                                                                                                                                                                                                                                                                                                              7Rose,                             #
                                                                                                                                                                                                                                                                                                                                                                 .05-16- :
                                                                                                                                                                                                                                                                                                                                                                         k
         '                                                 'Assessment                        )
                                                                                              1                                                                                                                                                                                                                               ;::'rE'>.                          ?2020 !
         !                                                 t
                                                           b
                                                           -        ............-.......
                                                                                       ..
                                                                                              ;
                                                                                              @-.-.--,-.-,-..-....-...-......-.-..-..-.......,,,..--.......-.....-..........-.-.-..
                                                                                                                                                                                                                                                         r                                                                    !
                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                                                                 j4:17Dn7 ?
                                                                                                                                                                                                                                                                                                                                                                 d
     $vvcsozolBsoooez: i1                                          .. .                         -                                                                                     .....,,-,.-,....-.-.
                                                                                                                                                                                      .                  ....
                                                                                                                                                                                                            #u..--..--....-..-....svxsx.vagvae....--..-.-i;                                            ...-..-.,-...
                                                                                                                                                                                                                                                                                                                   .-.-.-.....v..a:... .....             .vasseg
                                                                                                                                                                                                                                                                                                                                                               v.e-.x.c....x:,          b
     .                                                              -
     f
     i
     q                                                     8
                                                           (ô
                                                            'r
                                                             cla
                                                               ns
                                                                i
                                                                tq
                                                                 i
                                                                 aaa
                                                                   !s
                                                                    l
                                                                    qi
                                                                     e,
                                                                     ral
                                                                       th,
                                                                         g
                                                                         .
                                                                         4Gcs:
                                                                         $                                                                                                                                                                               -
                                                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                          t%?>1L.                                                             i
                                                                                                                                                                                                                                                                                                                              ?
                                                                                                                                                                                                                                                                                                                              1'
                                                                                                                                                                                                                                                                                                                                nh
                                                                                                                                                                                                                                                                                                                                so
                                                                                                                                                                                                                                                                                                                                 -r
                                                                                                                                                                                                                                                                                                                                  ss
                                                                                                                                                                                                                                                                                                                                   oh, g
                                                                                                                                                                                                                                                                                                                                       9'0
                                                                                                                                                                                                                                                                                                                                       11
                                                                                                                                                                                                                                                                                                                                         25-16- j
                                                                                                                                                                                                                                                                                                                                          020 .
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                i
     $                   1              3
                                        .                                                                                                                                                                                                                ù
                                                                                                                                                                                                                                                         .                                                                 p
                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                   1;17 pm '
                                                                                                                                                                                                                                                                                                                                                                           )
       /$
        /csopr
             .
             '.
              !!
               n!-
                 $
                 .opt
                    -
                    .'
                     FJ
                      ov f1 -lni
                               ti
                                alHeaf
                                     th Fpsych/MH                                                                                                                                                                                                        C7'
                                                                                                                                                                                                                                                           /htt-                                                           lRcss.                                '
     2
     ih                                                                                                                                                                                                                                                                                                                                                            05-1t
                                                                                                                                                                                                                                                                                                                                                                       $- t
                                                                                                                                                                                                                                                                                                                                                                       '
     -
     ; ''                I
                         iAssessment i
                         '              1
                                        -                                                                                                                                                                                                                t.                                                                i
                                                                                                                                                                                                                                                                                                                           ,.' ,                                 :         1
                                                                                                                                                                                                                                                                                                                                                                           .
     I                                                     l                                  ,
                                                                                              7                                                                                                                                                                                                                            !r
                                                                                                                                                                                                                                                                                                                            garas-
                                                                                                                                                                                                                                                                                                                            '    ,                               2020 j
     è                                                     i                                  :                                                                                                                                                         r                                                                  è                                     4'1i-r)D'
                                                                                                                                                                                                                                                                                                                                                                         li
     ivk/csozolBqoccez: i1-koi
                             ti
                              astqeal
                                    th L
                                       'Atti
                                           tude.                                                                                                                                                                                                        ,hl
                                                                                                                                                                                                                                                        q vt
                                                                                                                                                                                                                                                           qt-                                                             qRose,                                !05-.
                                                                                                                                                                                                                                                                                                                                                                     1F;- f
     1                                                    jassessment 1
                                                                      .
                                                                      1
                                                                      )                                                                                                                                                                                 ,                                                                  )
                                                                                                                                                                                                                                                                                                                           jsar
                                                                                                                                                                                                                                                                                                                              ah                                 F
                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                 .2
                                                                                                                                                                                                                                                                                                                                                                 r  v
                                                                                                                                                                                                                                                                                                                                                                    -'20
                                                                                                                                                                                                                                                                                                                                                                  ,....--.
                                                                                                                                                                                                                                                                                                                                                                                       ë
     #.--. ......-..---- -.- ...-..----.                  k
                                           --.--...-..-.-.-..                   .             i
                                                                                              ..- --. .. . ..... ..
                                                                                            ..y                                ..        .      - .                            .                                                                        #.           .                   -...              . ..
                                                                                                                                                                                                                                                                                                                          /
                                                                                                                                                                                                                                                                                                                    . . -.- . -..       . . . ....-....--        1     '--' g
                                                                                                                                                                                                                                                                                                                                                                 .%'''t-    p
                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                              --. --



     ;
     >
     -
     twcso
     .
         zo-lBsoooezgjAs
                      1-sIensi
                             tsi
                               amen
                                lHetal
                                     thë
                                       k
                                       kAffect/Moocl                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                        p
                                                                                                                                                                                                                                                        ;WNl
                                                                                                                                                                                                                                                           -                                                              h
                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                          ùRcsaeh, ,
                                                                                                                                                                                                                                                                                                                           Sar     !
                                                                                                                                                                                                                                                                                                                                   :05-1
                                                                                                                                                                                                                                                                                                                                    202 06-ti
                                                                                                                                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                            '
     1
     y
                                       l
                                       p
                                                                                                                                                                                                                                                        k                                                                 !
                                                                                                                                                                                                                                                                                                                          F        k4.
                                                                                                                                                                                                                                                                                                                                     '.
                                                                                                                                                                                                                                                                                                                                      ,''pm i
                                                                                                                                                                                                                                                     ysone                                                                !Rose
                                                                                                                                                                                                                                                                                                                           Sarah, o5
                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                        --
     jwcsO2OJBN0O06291A
     l                1s-sI
                          e
                          ns
                           i
                           ts
                            i
                            amle
                               HnetaI
                                    th Halluci
                                             nati
                                                ons.                                                                                                                                                                                                 i
                                                                                                                                                                                                                                                     /                                                                    j       2020
                                                                                                                                                                                                                                                                                                                                     i6- I
                                                                                                                                                                                                                                                                                                                                         9
     p                              If                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                     u                                                                    ;                                      4,j7pm
     kVCSO2OJB!
              k000629 'i Ini
                           tiaiHeal
                                  th Homicidal/sui
                                                 cidal                                                                                                                                                                                               tPast(ptjustendeda
                                                                                                                                                                                                                                                     j                                                                    iRose,
                                                                                                                                                                                                                                                                                                                          j                                      Q5-16-
                                                            Assessment                                                                                                                                                                               1
                                                                                                                                                                                                                                                     . hungerst
                                                                                                                                                                                                                                                     '         rikethatwas                                                iSarah                                 2020                  i
                                                                                                                                                                                                                                                            15daysaccording to pt.                                                                               4:17 pm
                                                                                                                                                                                                                                                         )                                                               -
     IWCSO2OJBNO0O629 1-initialHealth jEducati
                                             on:                                                                                                                                                                                                     jDiet                                                               lRose,                                  05-16- j
     !                                                   lJ.
                                                           ssessment 1
                                                                     !                                                                                                                                                                               j
                                                                                                                                                                                                                                                     i                                                                   4Sarah
                                                                                                                                                                                                                                                                                                                          .                                      2020 #
                                                                                                                                                                                                                                                                                                                                                                 4.
                                                                                                                                                                                                                                                                                                                                                                  .1--pm i
                                                                                                                                                                                                                                                                                                                                                                         r
  'W CSO2OJBN0O0629 '1-                                                                     j                                                                                                                                                                                                                            .                                                         -A
                     Assessment                                         lni
                                                                          ti
                                                                           alHeaI
                                                                                thj
                                                                                  .Edu
                                                                                     cati
                                                                                        on'
                                                                                          .                                                                                                                                                          i
                                                                                                                                                                                                                                                     4
                                                                                                                                                                                                                                                     1Med
                                                                                                                                                                                                                                                        s                                                                     Rar
                                                                                                                                                                                                                                                                                                                              Sosah
                                                                                                                                                                                                                                                                                                                                 e,                              05-16- '
                                                                                                                                                                                                                                                                                                                                                                 2020
                                                                                                                                                                                                                                                    ,                                                                                                            4,.17pm
     W CSO2OJBN000629 1 InitialHeaIth Receiving Screening Reviewed                                                                                                                                                                                   Yes                                                                   Rose,                                 05-16-
                      Assessment                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                           Sarah                                 2020
                                                                                                                                                                                                                                                                                                                                                                 4.jg j)m
     W CSO2OJBNO00629 1-InitialHealth Posi
                                         ti
                                          ve FindingsDiscussed:                                                                                                                                                                                     ?Yes
                                                                                                                                                                                                                                                    j                                                                      Rose,                                 05-16- i
                                                          Assessment                                                                                                                                                                               rs
                                                                                                                                                                                                                                                   '                                                                       Sarah                                 2020
                                                                                                                                                                                                                                                    k                                                                                                            4.j7pm
                                                                                                                                                                                                                                                   j                                                                                                              '
  jW65020.18N000629 1-InitialHeaIth RPR Drawn:                                                                                                                                                                                                     @No                                                                  ;Rose,                                   05-16-
                                                          Assessment                                                                                                                                                                               '
                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                        jSarah                                   2:
                                                                                                                                                                                                                                                                                                                                                                 401
                                                                                                                                                                                                                                                                                                                                                                   270pm
wcso-medical/Modules/chafhi
                          stol.php                                                                                                                                                                                                                                                                                                                                                12/70
            Case 1:20-cv-23783-MGC     uzulclvlrxDocument
                                                  -r&mutI,k;,ZiI1BAI
                                                               CL   :SEntered    onOJ
                                                                      1IAN -#WCSO2   FLSD
                                                                                        BNOOO6Docket
                                                                                              29(10-24-109/11/2020
                                                                                                        976)::Ful
                                                                                                                lPati  Page
                                                                                                                        stcryl7129
                                                                                                                    entHi      5.50 of 276                                                .

            y
           1.WCSO20JBNO00629  1- l
                                 nit
                                   ialHe alth   jlmmu ni
                                                       zation rec ommen  ded Yes, Explain             j
                             IAssessment j
                              .                                                                       ;No                  's
                                                                                                                           i Rose      05-16- 1
                                                                                                                                                                                ara
           1V.v.
               '
                . . .. '     1 tialHealth 1.
               CSO20JBN000629 1-lni
                                            .. .......... ..
                                           Referto Provider:
                                                                                                             ..... .        ...   ..   1
                                                                                                                                       .   . .. .       ...   .   .., . . . I.        p i
                                                                                                                                                                                  . ...
                                                                                                                                                                                         ao
                                                                                                                                                                                          1a
                                                                                                                                                                                        14:-'o
                                                                                                                                                                                             'pm j
                                                                                                                                                                                              ..    . ,-. ..

                                      Assessment                                                                                       jYes(follow upforhunger Rose.                                     05-16-
                                                                                                                                       /strike,backpain,and kSarah
                                                                                                                                       '
                                                                                                                                       y                                                                 2020
           j                                                 l                                                                         ijawpain)
                                                                                                                                       1            .
                                                                                                                                                                            j                            4:17pm '
                                                                                                                                                                                                                       .




           M edicalForims

           (NoRecords)




        Reiease Form é
        Itxu ,'wcwk'utu'.1l




       Exam Form s,
       F                             4           j                    '                                                     #
       i
       t           zls.
               L,wk.  dhlk Nutfize.
                                  i 4(           p
                                     g Form Name j                               r
                                                                                 -'
                                                                                  oli
                                                                                    uI.tizi-
                                                                                           t
                                                                                           k                                j          Item Response                      1
                                                                                                                                                                          :3                             -9
                                                                                                                                                                          j.il'k'uelvitirt/ï'el.r!
       4                                         :
                                                 ;
                                                                                    .
                                                                                                                            )
                                                                                                                                                                                                 'ntnat
                                                                                                                                                                                                    crt
                                                                                                                                                                                                      e
                                                                                                                                                                                                      ic-
                                                                                                                                                                                                        sr
                                                                                                                                                                                                      o )
                                                                                                                                                                                                         ''
       i'rrcsscczss'ccccrc 'c-:  .,-
                                   .-                     Co                                                           . )...                           .             (:                           *      j
       #t-.                  .-.
                                                          j oestl  nepstieotspeakEogli        sl
                                                                                               h?(if.-
                                                                                                     ,0list                 .
                                                                                                                            'N'Es(croatiai
                                                                                                                                         n)                           /
                                                                                                                                                                      1uorpao,                     ;c&07- k
       ;               :@:tecelh/lot
                                   ?                     1.rnrim applrhrtglt'a,r''e ;rnootesb                               1
   k                  1Scre.  aoing                      (
                                                         .
                                                         ,
                                                                            -
                                                                            '                                         k                                               ru'
                                                                                                                                                                      I tfy1r
                                                                                                                                                                            netE/                  f
                                                                                                                                                                                                   11
                                                                                                                                                                                                     2020        t
                      7                                                                                               ç                                               j                            a1.'46 p;-k-k f'
   !!A/c:020J8N000629 !Sch,  .-                          :
                                                         ll- ant
                                                               yt'aq,
                                                                    el-ioe solk.tiornstrpnslziio.     nse-     a/ices rq!t
                                                                                                                         .:
                                                                                                                          l                                           f         i05-07- !
   !
   i
   .                               l
                                   yRecei
                                   j    ving             f
                                                         j
                                                         .usec! ?*-'lf't
                                                                       'E9, pro''iclc l'cr.-r-e,-.c.e l-'u,rt-lbel' l .                                               lJMorgan, s
                                    screening            j                                                            .
                                                                                                                                                                      . uanetta
                                                                                                                                                                      j                            l
                                                                                                                                                                                                   j2020
                                                                                                                                                                                                   k               l
   jïA/csO2OJBN0O062â 1scv -
                                                         ,
                                                                                                                        g                                             (                            k1,
                                                                                                                                                                                                     .
                                                                                                                                                                                                     46pm E.
           .
                      'Receiving                         ?Anybarri
                                                         j       erstocommuni
                                                                            cation?(!fyes,
                                                                                      explain :NI
                                                                                                O                                                                     )Morgan,                      05-07- l
   l
   '
                                   'screening,        ;
                                                      'innotesandli
                                                      !provided)
                                                                  stwhataccommodationswere f
                                                                                              r
                                                                                                                        y
                                                                                                                                                                      i
                                                                                                                                                                      gJuanetta                     2020pm y.
                                                                                                                                                                                                    y4,
                                                                                                                                                                                                     .
        '                                            i                                                                                                                y                              .
   )
   iï/t
      ?csO2OJBNO6O629 '.SCM:-                        !How doyot
                                                              -li
                                                                denti
                                                                    fyyoursel
                                                                            f?                                          jr
                                                                                                                         ,,
                                                                                                                          :yI(
                                                                                                                             .
                                                                                                                             )                                        ë
                                                                                                                                                                      .h
                                                                                                                                                                                                     os-c-
                                                                                                                                                                                                         ;- i
                                                                                                                                                                                                            j
                                                                                                                                                                        rorg,er!                   j
                      pRecsi vlnp                    l                                                                  1                                                                          .
   i
   '                    screening                    t .                                                                ;                                             !guanatta                      2020 ! :
                                                     t
                                                     r                                                                  :                                             t                             1.
                                                                                                                                                                                                     46pm 4
   3wcso2oJBNooc629 SCM
   '                Recei-
                         ving
                                                     #RecentIncarceration? l
                                                     Kw here.
                                                     :
                                                                           fyes,Whenand                                #
                                                                                                                       1Yes(lransferredfromBCDC)
                                                                                                                       !
                                                                                                                                                                      iMorgan,
                                                                                                                                                                      .                        ,.
                                                                                                                                                                                                   d05-07- j
                                                                                                                       j                                              ,
                                                                                                                                                                      , Juanat
                                                                                                                                                                             ta                    .2020
                                                                                                                                                                                                   '
                    screeoing                        @
                                                     ,                                                                 j                                              r                            1.46pm j
                                                                                                                                                                                                    .
                                                                                                                                                                                                          j
       W CSO2OJBNOO0629 SCM -                        l
                                                     rCurrentPhysician
                                   Recei
                                       ving          j
                                                     .                                                                 jna                                            jMorgan, j05-07-
                                   Screeni
                                         ng                                                                                                                           /Juanetta j2020
                                                                                                                                                                                                   1:46 pm
   W CSO2OJBN00O629 SCM -                                Pharmacy
                                   Recei
                                       ving
                                  Screeni
                                        ng
                                                     )
                                                     j
                                                                                                                        na                                            Mo
                                                                                                                                                                      J  rgan, 05-07-
                                                                                                                                                                       uanetta 2020
                                                                                                                       j                                                                           1'
                                                                                                                                                                                                    .
                                                                                                                                                                                                    46pm
   WCSO2OJBNOOD629 SCM-                              lUrgent/EmergentMedicalReferral                                   !NoIndicati
                                                                                                                                 on                                   Morgan
                                  jSRcerceeei
                                  i
                                            v
                                            ni
                                             n
                                             ng
                                             ig j
                                                7
                                                j
                                                                                                                       !
                                                                                                                       j
                                                                                                                       'k
                                                                                                                                                                    j
                                                                                                                                                                    k
                                                                                                                                                                    P
                                                                                                                                                                     Juanetta j2
                                                                                                                                                                               0542
                                                                                                                                                                                0
                                                                                                                                                                               1:
                                                                                                                                                                                  -0
                                                                                                                                                                                  ,
                                                                                                                                                                                   07- !!
                                                                                                                                                                                   6;)rn ;                     j

   WCSO2OJBNO0O629 S
                   RCM -
                    ecei
                       vi
                        ng                           )
                                                     )Responsi
                                                             veness                                                    l
                                                                                                                       lAl
                                                                                                                         er
                                                                                                                          '
                                                                                                                          t                                           Morgan,                      05-07- l
                                  Screening '
                                            ,                                                                          l                                           .Juanetta 1
                                                                                                                                                                             20
                                                                                                                                                                              :
                                                                                                                                                                              4260pm j
   W CSO2OJBN0O0629 SCM -                            Oriented to Person, Place,and Time?Ifno,                          1Yes
                    Receivi
                          ng                         describe.                                                                                                     jMorgan,                    05-07-
                                  Screenfng                                                                            j
                                                                                                                                                                   jJuanetta
                                                                                                                                                                   !.
                                                                                                                                                                                               204260pm
                                                                                                                                                                                               1'
   WCSO2OJBN000629 SCM -                         1Doesthe pati
                                                             entappeartobeunderthe                                      No                                          Morgan,
                                  Receiving          intluenceofdrugsand/oralcohol?                                                                                 J                          05-07-
                                  Screening                                                                                                                          uanetta                   2020
                                                 j                                                                 ?                                                                           1:
                                                                                                                                                                                                46pm
   W CSO2OJBNO0O629 SCM -                        jAnyotheracutesigns/symptoms suggesti
                                                                                     ng                            'No
                                                                                                                   -
                                                                                                                   j                                              'Morgan
                                                                                                                                                                  j
                                  Receiving      1theneedforimmediatemedicalintervention                           j                                              jJuaneda,                    05-
                                                                                                                                                                                               20207-
                                                                                                                                                                                                  0
                                                 j
                                                 .                                                                 !                                              !
wcso-medi
        cal/Modules/chaY histol.
                               php
                                                                                                                                                                                                          13/70
            Case. 1:20-cv-23783-MGC
                                 wwIu-lvllx-ra'Au,cuI1k-,ocn
                                          Document         1ozAaEntered
                                                                l1
                                                                 /A1
                                                                   :-c.
                                                                      vvl
                                                                        .
                                                                        Jt;t.
                                                                         on );
                                                                             ?(FLSD
                                                                               JJBNOOO6Docket
                                                                                       29(10-24-109/11/2020
                                                                                                 976)::FullPati
                                                                                                              enthPage
                                                                                                                  listoryIv130
                                                                                                                           5.5.0of 276
            j
            r                                 jScreening F
                                                         1
                                                         ;includingsevere
                                                          unaddressedsi
                                                                         pa
                                                                        gni
                                                                            in,unsteadygait, es, (j
                                                                          ficantpre-arresti
                                                                                          njuri
                                                                                                                                                                                                                                                                                                                              l
                                                                                                                                                                                                                                                                                                                              )
                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                                             1:46pm
            /                                                                    precentheadinl
                                                                                 k             .un?withI
                                                                                                       ossofconsci
                                                                                                                 cusness, !
                                                                                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                              ?
                                                                                                                                                                                                                                                                                                                                                            .
            2                                                                    3
                                                                                 'crpregnancpr'eiJtedcomplai
                                                                                                           nts'
                                                                                                              ?           p                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                              -                             .                           '
                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                        '
                WCSO2OJBN00O629 SCM -                                            jDispositi
                                                                                          on                                                                                                                                  !                                                                                                                                                         l
                                                                                                                                                                                                                              ïcontinuelntake                                                                                     M
                                Receivil
                                       ng                                        ,
                                                                                 '                                                                                                                                            à
                                                                                                                                                                                                                              )                                                                                                    crgan,                     05-07-
          i                                   S                                                                                                                                                                                                                                                                                   Juanetta                   2020
                                               creening                          j
                                                                                 .
                                                                                 @
                                                                                                                                                                                                                              !
                                                                                                                                                                                                                              q                                                                                            .'
                                                                                                                                                                                                                                                                                                                           !        d1.'46 pm t
                wcsozolBxoooôzg scu -                                            jvitslsi
                                                                                        gnsRecl
                                                                                              necki
                                                                                                  findicated                                                                                                                  .r/
                                                                                                                                                                                                                              1 n/ac?/
                                                                                                                                                                                                                                     c                                                                                     'Morgan, l05-07- i
          f:                                  Receivino                          2                                                                                                                                            ,
                                                                                                                                                                                                                              ï                                                                                               auanetta                       202c
          j
          dtn/csozclBs(
                             Screeni
                      )ooezg scM
                                   ng                                            9
                                                                                 ,
                                                                                 g                                                                                                                                            j
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                              j                                                                                               .

                                                                                                                                                                                                                                                                                                                           j.. ......           ..
                                                                                                                                                                                                                                                                                                                                                             y.4,
                                                                                                                                                                                                                                                                                                                                                           ,. .
                                                                                                                                                                                                                                                                                                                                                                . ;m 1j
                                                                                                                                                                                                                                                                                                                                                                (yj        ..       .
                                                                                                                                                                                                                                                                                                                                                                                        .




        '
        j                                   jReceiving
                                                       -
                                                                                 txlergi
                                                                                 !
                                                                                 '
                                                                                 !
                                                                                       es                                                                                                                                    jNKDA(pcl
                                                                                                                                                                                                                             ,dogs)
                                                                                                                                                                                                                                     k-unsurecatsand j
                                                                                                                                                                                                                                                     jMor
                                                                                                                                                                                                                                                        gan os-()7- 1
                                                                                                                                                                                                                                                                    .                                                                       ,
                                                                                                                                                                                                                                                                                                                                                                                    .
        d                                   '15
                                              !
                                              ;t
                                               :
                                               tr
                                                '
                                                ef!
                                                  ,r
                                                   -ti
                                                     '-
                                                      '6
                                                       :
                                                       ,                         .                                                                                                                                           i
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                                          R Juanetta                  2020 :
        'ï&CSO2OJBNOOO629 ScM -
        t
                                                                             ..2 -.
                                                                                  -..,
                                                                                     --.--.,...-.
                                                                                                -..,
                                                                                                   .--.........-.,..--...-.....,........,--,.,..-..,.,-..........,...............-....,...,....,....-..............--.,,-........-.-....................-.-.-..--.--,..,,-,..,......-,...-,....,..-.
                                                                              dSurgicalhistory(listyear)                                                                                                                     !No                                                                  ...-..,---..-       ,,,
                                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                                                                        -,, .,-.,.-..
                                                                                                                                                                                                                                                                                                                          ?!Morgan, '05-
                                                                                                                                                                                                                                                                                                                                                    ,..
                                                                                                                                                                                                                                                                                                                               ...,,.------..---,-,,- i 1tirr:)l--l--.!......,'k
                                                                                                                                                                                                                                                                                                                                                      -:t
                                                                                                                                                                                                                                                                                                                                                        r     .. ......... ,.       -
        l                                                                     t                                                                                                                                                                                                                                           .                              07- '
       i
       @'
                         ,               ls
                                          Rc
                                           er
                                            c
                                            eeei
                                               vin
                                               ni :
                                                 ng                           2
                                                                              '
                                                                              ('
                                                                               .                                                                                                                           !
                                                                                                                                                                                                           1
                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                                          rJ
                                                                                                                                                                                                                                                                                                                           uanetta .2
                                                                                                                                                                                                                                                                                                                                    1020pm
                                                                                                                                                                                                                                                                                                                                     :46                                            '
                                         kk                                  J'.                                ... .
                                                                                                                    -.
                                                                             .                                       ..-.-.--.
                                                                                                                             ...-...........-......
                                                                                                                                                  - ..-.-..---...-- -..............,
                                                                                                                                                                                   ..
                                                                                                                                                                                    ,..-...-.---.-.....--..s.- --.-. -..-.-...-.....---..--.-.-..--.........--.--....-.-.....-...
                                                                                                                                                                                                                                                                                -.-..--                                   l
       r$&CSO20JBN000629 q
                         )S
                          Rctvt-                                             lRzcentMedi
                                                                                       calhospitali
                                                                                                  zation(wi
                                                                                                          thin90days)!No                                                                                                                                                                                     .....,.---- -j
                                                                                                                                                                                                                                                                                                                                  5-0.
                                                                                                                                                                                                                                                                                                                                     7v
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                      uu-
                                                                                                                                                                                                                                                                                                                                        v
                                                                                                                                                                                                                                                                                                                                        u
                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                        -a
                                                                                                                                                                                                                                                                                                                                         uxh               ... .


       i                   eceivin:
                                                                             :
                                                                             !
                                                                             ,                                       !
                                                                                                                                                                                                                                                                                                                        rMorgan, 0
                                                                                                                                                                                                                                                                                                                        (Juanetta2020
                                                                                                                                                                                                                                                                                                                                      -
       h
       ,.... . .           ..   - ..... .
                                         #screeninp . ...-l
                                                          )
                                                                                                                                                                                                                             E                                                                                          I
                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                           1..46 pm 4
                                                                                                            .                                                                                                                )-.
       f                                                                                                                                                 .        . ..          .     .       ..         ...-            .         . . . .. . .                                                                         1.                           -... -
       ?vvcsozolBl
                 koooezg scM -                                                                                                                                                                                                                                                                                                                             05-07- ,
                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                          .-. - -. . . .-.-. .. .--                    .-.        .                                               ..
                                                                             jcurrentmedicati
                                                                                            onfororgantransplant?                                                                                                            lNc                                                                                        kMorgan,                                  !
                                                                                                                                                                                                                                                                                                                                                                  '
     k                                   kReceiving                          @
                                                                             ,                                                                                                                                           .                                                                                              $
                                                                                                                                                                                                                                                                                                                        -                                :
                                                                                                                                                                                                                                                                                                                                                         .
     ë                                   ;screenicp                          :
                                                                             '                                                                                                                                           i
                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                         .                                                                                              kJuanetta                        y2:2c                      t
     '-                                                                                                                                                                                                                                                                                                                 l                                ;ù.a!4.5rm r
                  JJ3lht00012: )gSC(k/1-                                     fk
                                                                              'PRE-
                   -   .
     7't''
         h.'CS(-)ZI                                                                    AD2./11SS,'C.2'?qp'iEDIC?       D,T;CJts'S?. 7J:a''..'?c'
                                                                                                                                               .e
                                                                                                                                                                                                                                                                                                                        ;                                :          '
     '                          ,Fr..
                                '   .ewt,. .$.,;1:.                          :
                                                                             ?.,.,a,,lu;. .u.-/tlsqw.rxk,u.          ...                         :'
                                                                                                                                                  . ,None                                                                                                                                                               !
                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                          Morga17,                       ,05-OT'- ;
                                                                                                          k'c, .o                                                                                                                                                                                                       '                                ; ..
    ;i                          .
                                ;                                            L                                                                                                                                                                                                                                         yJua'l
                                                                                                                                                                                                                                                                                                                            eiko                         g
                                                                                                                                                                                                                                                                                                                                                         iz.,
                                                                                                                                                                                                                                                                                                                                                            :2t
                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                              ,                     j
                                                                                                                 .):
                                                                                                                   u r  .o u,o ol1.-...,                                                                                                                                                                                        .                                   '
                                y:):;;-C$t&7-f);3(;                          .                                                                      !
    i
    .,                                                                                                                                              z                                                                                                                                                                  (                                 >r..-î:;;.;.-,' z
      ,.r
        ','J'':-.
              ?'
               - 2r
                  ..'
                  - s,.:n nosc,
                              ? kscr.,                                       4r.: .
                                                                             ! ;,.:.-.-';-',.!!...  k,-:r-:--.f-?                                   '!!
                                                                                                 -
    ï
                        . .
                                        y.-
                                                .                            i                                                                        .c                                                                                                                                                               d
                                                                                                                                                                                                                                                                                                                       y:,.
                                                                                                                                                                                                                                                                                                                          ,qc..zaa.                      @:.r-n
                                                                                                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                                                         .     --.- g    f
                                                                                                                                                                                                                                                                                                                                                                         .
    (                                   r
                                        ,Receivi':                           :                                                                                                                                           ,                                                                                             4Juai
                                                                                                                                                                                                                                                                                                                           ..l
                                                                                                                                                                                                                                                                                                                             etta                        rGOGO    r
                                         Screening                           k                                                                                                                                           ,                                                                                             ç                                 ,q.
                                                                                                                                                                                                                                                                                                                                                           z(.
                                                                                                                                                                                                                                                                                                                                                             ;pm ,
    t1h/C5.
          020J8%1000629 ':SCM -                                                                                                                                                                                                                                                                                       4                                  /.      .)
    i                    #Reoqs.dpil.469                                  ;Exceysivecirinker?                                                                                                                            '!9/,&.                                                                                      l i
                                                                                                                                                                                                                                                                                                                        k/
                                                                                                                                                                                                                                                                                                                         'chcglaj'
                                                                                                                                                                                                                                                                                                                                 n j05-07- :
    l                    (
                         jSulzai1 ;, -1
                                      :
                                                                          j
                                                                          F
                                                                          )                                                                                                                                          F
                                                                                                                                                                                                                         !                                                                                            ;u;uytt
                                                                                                                                                                                                                                                                                                                      I       ety.j,r )jzjaro   p
                                                                                                                                                                                                                                                                                                                                                j
    i.               . - .- - -                                 .,        ..                              .        ,. ,
                                                                                                                                                                                                                     j                                                                                                I                k1:46 om l
                                                                                                                                                                                                                                                                                                                                                .
    k.. -                              k                                  r                                                                       .                                           ,                      i                                                   ,..                            ,             s                              ï . . . .k       .
    ;h''
       ,.
        '.-..
            3.
             320JBf
                  400G629 )
                  '       !SCM -                                           jEverI nadalcoholwithdl-
                                                                                                  awals, tremors,                                                                                                    .rsc..,
                                                                                                                                                                                                                           -,                                                                                         ;. ,                           j        )
    k                     jRecetving                                       kseizures,orDT,sassock ateclkzthstoppiog                                                                                                                                                                                                   ,pt
                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                         //o'tparl'r,                t05-07- ,
                                                                                                                                                                                                                                                                                                                                                     l        :
    :
    i                .       -eenli-rc;
                          iscl                                            kaIcohol?
                                                                          ;                                                                                                                                          r                                                                                                kwuaj..Ietïa
                                                                                                                                                                                                                                                                                                                      i                              j2020
     .                    ;                                                . . . .               .                                                                                                                   .                                                                                                r                              p1.
                                                                                                                                                                                                                                                                                                                                                       .46 pm !
                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                          .             ... .
    'ë&cso2OJBNOO0629 'Scr    ï/
                               i-                                         !'
                                                                           .CIWA Score(7-ype N/A ifnotapplicable)                                                                                                    l                                                                                                  Morpan.                      i05-07- r'
    !                    hReceiving                                                                                                                                                                                  -na                                                                                              f
                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                      7u                                                        ,
    '
    1
    :
    -                             .    lScreening
                                       11
                                        :
                                       . ..       .                      ?
                                                                         !!
                                                                          .                    ...               . . . ... . ...                                                      .           ....
                                                                                                                                                                                                                     t                                                                                                t
                                                                                                                                                                                                                                                                                                                      k'
                                                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                                         lganette k2
                                                                                                                                                                                                                                                                                                                                   10
                                                                                                                                                                                                                                                                                                                                    42
                                                                                                                                                                                                                                                                                                                                    :G-0pra f
                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                           ..
                                                                                                                                                                                                            ..                                                                                                                                       !'
                                                                                                                                                                                                                                                                                                                                                     11
    ?!,,
       'cso2(,
             JBsoo()629 p
                        -sckl-                                           Eoopouusedrucs?                                                                                                                            k                                       .                        .                                                          .
                                                                                                                                                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                                                                                i
    '
    /                                 !rpecei
                                            y/ioz                        r
                                                                         i                                                                                                                                          #dko                                                                                              t
                                                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                      .q,/
                                                                                                                                                                                                                                                                                                                         i-c
                                                                                                                                                                                                                                                                                                                         ,  ga
                                                                                                                                                                                                                                                                                                                          'ao r
                                                                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                                                                             et
                                                                                                                                                                                                                                                                                                                              t  j(
                                                                                                                                                                                                                                                                                                                               , k2)o
                                                                                                                                                                                                                                                                                                                                    s-
                                                                                                                                                                                                                                                                                                                                     2co'7- ?
                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                            )
                                                                                                                                                                                                                                                                                                                                            -        .

   l'?
   ? h
     '               lscreenin:                                          t                                                                                                                                          ),
                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                       . -

                                                                                                                                                                                                                                                                                                                                                     l1.4.
                                                                                                                                                                                                                                                                                                                                                         6pm i
                                                                                                                                                                                                                                                                                                                                                             ù
      -.SO2OJBNO00629l1
   j: =
            '
                      F-
                       'Ci,
                       :  .
                          ?!-                                            yi
                                                                          -l:yr;
                                                                               :,ll
                                                                                  -s.''lf'
                                                                                         %
                                                                                         ./
                                                                                          ES,describeamoujntand l
                                                                                                                ast                                                                                                 ..   i.-
                                                                                                                                                                                                                           -.                                                                                            lg6.-.!
                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                               gan, T05-G7-
   I
   j                                  lFerc
                                      àsc eih
                                          eel/
                                             li
                                              ii
                                               -
                                               lç
                                               ng'                       '
                                                                             tlse.                                                                                                                                  @                                                                                                 ;
                                                                                                                                                                                                                                                                                                                      y.-1'-18'-tette j
                                                                                                                                                                                                                                                                                                                                      ,2020
                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                             .                                  .



   :'ï
     A/CSO2OJBNO006292SCM                                                ;                                                                                                                                          ë
                                                                                                                                                                                                                    p                                                                                                 1
                                                                                                                                                                                                                                                                                                                      ,               )1:
                                                                                                                                                                                                                                                                                                                                        46pm j
                                                                                                                                                                                                                                                                                                                                             l
   )
   1                  Receiving
                                                -
                                                                         )
                                                                         kHxofwithdrawal?                                                                                                                           ê
                                                                                                                                                                                                                    :N/A      .                                                                                    jh/cirqan, 05-07-
   y
   r                  Screeninp
                                                                         ;
                                                                         t
                                                                                                                                                                                                                    j                                                                                              ;Juanetta 2020
                                                                                                                                                                                                                                                                                                                   k                                     (), pra
                                                                                                                                                                                                                                                                                                                                                                                .

                                                                                                                                                                                                                    y                                                                                              y                                 ,y,
                                                                                                                                                                                                                                                                                                                                                       ..,
                                                                                                                                                                                                                                                                                                                                                         ,
   ;!A/CSO20JBNO00629 SCM -                                              khlarcotics
   1                                   Receiving                         /use      .
                                                                                                     **IfYESdescribeamountanclIast 1NO
                                                                                                                              ,                                                                                                                                                                                   lMorgan
                                                                                                                                                                                                                                                                                                                  w                     .            05-07-

    WCSO2OJBN0OO6
                                       Screening k                                                                                                                                                              J
                                                                                                                                                                                                                .
                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                  Juanetta 2
                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                            020 ;
                                                                                                                                                                                                                                                                                                                           1:46pm
                                29 SCM -                              iHxofwithdrawal?                                                                                                                               N/A                                                                                              M
                                       Receiving                      j                                                                                                                                         j                                                                                                     Jorgan?                        05-07-
                                       Screeni
                                             ng                       1                                                                                                                                         j                                                                                                      uanetta 2
                                                                                                                                                                                                                                                                                                                               10 20
                                                                                                                                                                                                                                                                                                                                :46 pm
  lwcso2OJBNOOo629 S
                   RCM-                                              1Benzodi  azepines**lfYES,describeamount ,NO                                                                                                                                                                                                 Morgan, d05-07- !
                                      Seceiving                      !andI astuse.                            I                                                                                                                                                                                                  !Juanetta '2020 1
                                       creening                      !                                        )
                                                                                                              .
                                                                                                              '                                                                                                                                                                                                  j                              '1
                                                                                                                                                                                                                                                                                                                                                 :46pm                         j
                                                                                                                                                                                                                    . .. ... ..           .
  ,!
   ?v'
     (2
      )S(2)2CJr
              -
              )N:)0CC2:               SCM -                          )l
                                                                     . -lxofk'
                                                                             Zthdrawal?                       1$1A                                                                                                                                                                                              ;(Moi-gaih,
                                      Receiving                      @                                        5                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                     05-07- l
                                      Screening                      j
                                                                     j
                                                                                                              1
                                                                                                              ,                                                                                                                                                                                                       Juanetta                       2020 1
                                                                                                                                                                                                                                                                                                                                                     1.46 pm
   WCSO2OJBN00O629 SCM -                                              Methamphetamines? ..IfYES               '
                                      Receiving
                                      S                               amcuntandIastuse            descri
                                                                                                       be     INO
                                                                                                              l                .
                                                                                                                                                             I
                                                                                                                                                                                                                                                                                                                jJMo
                                                                                                                                                                                                                                                                                                                j  uar
                                                                                                                                                                                                                                                                                                                     geatn
                                                                                                                                                                                                                                                                                                                     n    , 205
                                                                                                                                                                                                                                                                                                                         ta    -007-
                                                                                                                                                                                                                                                                                                                              02
                                       creening                                                                                                                                                            1
                                                      . ......-..,.. .,,, ..-                                         .         ,.., .. -             . ,..,.           ..- -- .. .,.. .. . .. .,. ... ... ..........-...- -,- ....- ..-.                                                .- .                   ,..,
                                                                                                                                                                                                                                                                                                                   .-.       146 pm
                                                                                                                                                                                                                                                                                                                              .    . - .-
                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                     . .
   wcso2oJBNO0o629 SCM -                                                 Hxofwithdrawal?                                                                                                                   1N/A                                                                                                 àM                                              ...       ..

                                      Receiving                      ;
                                                                     '                                                                                                                                     I                                                                                                      Jorgan,                        05-07-
                                      screening                                                                                                                                                            )                                                                                                          uanett
                                                                                                                                                                                                                                                                                                                           a 2
                                                                                                                                                                                                                                                                                                                             1:
                                                                                                                                                                                                                                                                                                                              04260pm
   W CSO20JBNO0O629 SCM -                                             Cocaine**lfYES,describeamountand Iast $NO
                    Receiving                                       1
                                                                    '1use                                   1i
                                                                                                             ;'                                                                                                                                                                                                1'.11Morgan,                     05-07-
                                      screeni
                                            ng                                   .                                                                                                                         k
                                                                                                                                                                                                           j                                                                                                   jJuanetta 1
                                                                                                                                                                                                                                                                                                                         2:46
                                                                                                                                                                                                                                                                                                                            20pm                     .
                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                        .                                                                                                  1k
wcso-medi
        cal
          /Modules/chafhi
                        stow .php                                                                                                                                                                                                                                                                              k
                                                                                                                                                                                                                                                                                                                                                                    14/70
                                wuzlu-lvllxDocument
            Case 1:20-cv-23783-MGC         -I'xr'xl..puu11$.a,xpclz
                                                                  1h-o Entered
                                                                       IIzAIN-*VVk.aiDQJ
                                                                                       ZUU
                                                                                      on  DINUUUDZY
                                                                                         FLSD       (lU-ZB-lt#
                                                                                                 Docket       ft7/'
                                                                                                                  .:r'UIIU'allentMPage
                                                                                                             09/11/2020           ISIOW IV5.
                                                                                                                                           3.U of 276
                                                                                                                                          131
        -wcso2oJBN000629ja
        j                Se
                          cc
                           Mei
                             -i
                             vng                                                          iHxofwi
                                                                                          1
                                                                                          .
                                                                                                thdrawal                                                                                                         j
                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                 2N
                                                                                                                                                                                                                  /A                                                                                    jMorgan, j05-07-
        '
        I               I
                        ,scr
                           eeni
                              ng                              ,.              .. . .
                                                                                          2
                                                                                          ,                                                     .                                                                j                                                             .
                                                                                                                                                                                                                                                                                                        4J
                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                        .

                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                          u
                                                                                                                                                                                                                                                                                                          a net
                                                                                                                                                                                                                                                                                                              ta  2
                                                                                                                                                                                                                                                                                                                  1o
                                                                                                                                                                                                                                                                                                                   426opm
                                                                                                                                                                                                                                                                                                                        .. . ..
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                            -   .

       lwcso2oJBsooo629 s
       I                 cMei-
                        Rec  ving                                                      'other:
                                                                                       i                                                                                                                         j
                                                                                                                                                                                                                 ,N/
                                                                                                                                                                                                                   A                                                                                        Muan
                                                                                                                                                                                                                                                                                                            J orgeatnta, 20
                                                                                                                                                                                                                                                                                                                         cs-op
                                                                                                                                                                                                                                                                                                                           20
       ?                                                                               'i                                                                                                                        f
                                                                                                                                                                                                                 ;                                                                                      $
                                                  Screeni
                                                        ng                             !
                                                                                       1                                                                                                                         j                                                                                      j                             1.,46 prn
       4WCSO2OJBNO00629jR
                        Se
                         Cc
                          Mei
                            -ing jDoyouuseinjectabledrugs?**IfYES,speci
                            v                                         fyj
                                                                        JNO                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                        .Morgan, 05-07- j
                                                                                                                                                                                                                                                                                                       1Juai
                                                                                                                                                                                                                                                                                                           netta .,
                                                                                                                                                                                                                                                                                                                  20
                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                   .2
                                                                                                                                                                                                                                                                                                                   460p.
                                                                                                                                                                                                                                                                                                        .
       !                 screening                                                     #
                                                                                       ,
                                                                                       .                                            #                                                                                                                                                                  j           .
       kW CSO2OJBN0OO629 SCM -                                                         j
                                                                                       ,Do youuse tobacco products? **lfYES,specify jNo                                                                                                                                                                 Morgan, j05-07-
       !                  Receiving                                                    jtype,
                                                                                       i
       j                                                                                    howoften,andlastused.                                                                                             ;                                                                                         Juanetta y2020 l
                         lScreening                                                    ;                                                                                                                      j                                                                                        1
                                                                                                                                                                                                                                                                                                       .         j1'
                                                                                                                                                                                                                                                                                                                   .46pm l
                         I                                                             k hnrsscor
                                                                                                .e('rypes!
       6!A/CSO2OJBNO00629 S
       #
       ..                  6M-
                          Receiving.
                                                                                       i
                                                                                       r
                                                                                       T
                                                                                        CO.              /c
                                                                                                            i
                                                                                                            fnotapplicabl
                                                                                                                        e)                      ....
                                                                                                                                                                                                              ?na
                                                                                                                                                                                                              j
                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                       jMo rgan, '05-07- 6
                                                                                                                                                                                                                                                                                                        Juanetta '2020                                .

                                                  Screening                            y                                                                                                                      /
                                                                                                                                                                                                              k                                                                                                                       1.
                                                                                                                                                                                                                                                                                                                                       .,
                                                                                                                                                                                                                                                                                                                                        $6 pm
    'vvcso-?oJor
    !          kooo629;scl
                         u-                                                            fHaveyoueverhatjhepati
                                                                                                            tis? I
                                                                                                                 fyEs,when tt
                                                                                                                            '
                                                                                                                            s!o                                                                                                                                                                        4
                                                                                                                                                                                                                                                                                                       7Morgan, .os-c'7-
    *
    r                                          !Receivii
                                                       '
                                                       hp                              !vpereyoucli
                                                                                       k          agnosed?                                                                                                    2
                                                                                                                                                                                                              )
                                                                                                                                                                                                              ,                                                                                        '
                                                                                                                                                                                                                                                                                                       2Jusl
                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                           nesta. .2020                               r
    )                             '
                                               y
                                               6screening                              p
                                                                                       1
                                                                                       .      .                                                                                  .                      .     ,
                                                                                                                                                                                                              '
                                                                                                                                                                                                                          .-.-                                                                                .                  1.46pm j
                                                                                                                                                                                                                                                                                                                   .-=.....-....--*..--.........uux2
    k
    1
    g
    ï
     wcsozclBr
             'kc006291
                     j
                     t
                      SI
                      ReZ.
                         Mei
                         c -
                           vin
                     jscreeni
                              g ;i
                             ng
                                 lD
                                  s
                                 r,
                                   ToD
                                     yo
                                      duocyu
                                           oru
                                             rehna
                                                 tv
                                                  l
                                                  yeh?aWh
                                                       vee
                                                         anw
                                                           ST
                                                            er
                                                             De?
                                  A hattreatmeotareyou receiv.
                                                                 y*
                                                                  o
                                                                  *u
                                                               ing?
                                                                   I
                                                                   fD
                                                                    Yi
                                                                     E
                                                                     aS
                                                                      gn
                                                                       ,c
                                                                        Wh
                                                                         sea
                                                                           dt?!
                                                                              i
                                                                              ,
                                                                              t
                                                                              ,
                                                                               No                                                                               ,
                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                        Muoarn
                                                                                                                                                                                                                                                                                                        J    ge
                                                                                                                                                                                                                                                                                                              at
                                                                                                                                                                                                                                                                                                               n
                                                                                                                                                                                                                                                                                                               ta
                                                                                                                                                                                                                                                                                                                ,li00
                                                                                                                                                                                                                                                                                                                   252-007- :
                                                                                                                                                                                                                                                                                                                  :y.zz.pm j
                                                                                                                                                                                                                                                                                                                              p.
    '
        $11..e-'CJ$*N-;.
                       -..jjt,1-'..'
                                   *.d
                                     ,7.jng l:rxI1.                                  rr-h.a..az ka'.,z ;-::R.'jr'jJzcJi:)'-'c-$''C-':ï)''5                                                  *''g.àQN 'r''''-Y                                                                                          'î'(::7e'gJ2'-             O= -.-7
                                               (
                                               ?Recei
                                                    virl(
                                                        ?                            ëwherihrerej
                                                                                                /(-'r;c1i8gnllîcet/9.
                                                                                                                    i
                                                                                                                    ''hl;.
                                                                                                                    Jt
                                                                                                                     /   E            ?re '
                                                                                                                         ziire8$rnerki;                                                                                                                                                                k
                                                                                                                                                                                                                                                                                                       )u. 8,rl
                                                                                                                                                                                                                                                                                                         itl  e;1y:       2GJ ii
                                                                                                                                                                                                                                                                                                                              . -;
                                                                                     ,
   r--.-..-- .--....---.-- -- ---- -- .------!-Scr
                                          .
                                                  Rfll'lis-lg                 rj./
                                               - ..- -..-......--..,......--.-.-.
                                                                                  oi.l('QiCI   Hih/lGg.'    .
                                                                                 -...---,--.-.-.-.--,.....--...---,....,....--....
                                                                                                                                                                                                             '
                                                                                                                                                                             .-.-..- -..-......-....-.-.....-.-..- .......--.....-- .-.-..-- ...--....-.-.-.-,...-.-..........- -..-
                                                                                                                                                                                                                                                                                                     !r--.
                                                                                                                                                                                                                                                                                                         -...
                                                                                                                                                                                                                                                                                                            --....        '1.
                                                                                                                                                                                                                                                                                                                 :...-.-1-. .G
                                                                                                                                                                                                                                                                                                                             -.-
                                                                                                                                                                                                                                                                                                                               6-gkl
                                                                                                                                                                                                                                                                                                                                   -k
                                                                                                                                                                                                                                                                                                                                    '.
                                                                                                                                                                                                                                                                                                                                     :.
                                                                                                                                                                                                                                                                                                                                     ---
     .$.d.-'.2...:
   ykuw ,Lh-u        '..
                       %w!F;j.jt)w
                       w         J;t!t'j;:jf:j
                                             ):(;!v$(-                        jDa j,au cL:;'i':
                                                                              r                        ï;'.RJ,'l
                                                                                                               j'j-ia'   %(a !.   I.Fjl
                                                                                                                                      :.!l;
                                                                                                                                          7'
                                                                                                                                          '.
                                                                                                                                           %
                                                                                                                                           .                                                                 jl.
                                                                                                                                                                                                               1t
                                                                                                                                                                                                                )                                                                                    jl'
                                                                                                                                                                                                                                                                                                       z'
                                                                                                                                                                                                                                                                                                        i:)rg
                                                                                                                                                                                                                                                                                                            -ar., j
                                                                                                                                                                                                                                                                                                                  'J
                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                   -5-L
                                                                                                                                                                                                                                                                                                                      QI
                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                       '- t
                                                                                                                                                                                                                                                                                                                          j
                                              qEs-at,
                                                    .,.
                                                      :,
                                                       -,
                                                       ..,
                                                         ..
                                                          -,                         t>
                                                                                      .                                                                                                                      C                                                                                       l
                                                                                                                                                                                                                                                                                                     yjua,
                                                                                                                                                                                                                                                                                                         .-.z.t'              N
                                                                                                                                                                                                                                                                                                                              j.'
                                                                                                                                                                                                                                                                                                                                7.'
                                                                                                                                                                                                                                                                                                                                  u'
                                                                                                                                                                                                                                                                                                                                   'gt'
                                                                                                                                                                                                                                                                                                                                      w-
                                                 ...
   t                                                                                                                                                                                                         :                                                                                                 .z.                             ,
    r                                         !Screer!ir)g                           q                                                                                                                       !
                                                                                                                                                                                                             >
                                                                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                                                                     .                        , .
                                                                                                                                                                                                                                                                                                                                i :4 6  pm .-..,
   1........-.
             -..--.-.- .                      #              .. ...lzzslztor,.........i
                                                                                      .   ...     ..--.-..-..--n...--...--...
                                                                                                                            -.-....-.-..-w..-=-...x..-.--.o-..xy.auu.a...@-.. -...--..-.--xxzz..s.xv,u... .....
                                                                                                                                                                                                              -= -..-...--...-v....- ........xu--x.-.---......--.ooo...-.---.....:t.      x-.-.--.-..
                                                                                                                                                                                                                                                                                   a.-.u-,.          n             .    .     B                d
   tw csclzo-
   :
   t                   l
                       Bl
                        qsoot
                            sz:!
                               I
                               ps
                                RcMei-
                                 ec  ving                                            !
                                                                                     L
                                                                                     jHaveyouhadvari
                                                                                                   cella/chickenpoz?                                                                                         '
                                                                                                                                                                                                             t
                                                                                                                                                                                                             ;h'
                                                                                                                                                                                                               es                                                                                    )
                                                                                                                                                                                                                                                                                                     rMuoarnga
                                                                                                                                                                                                                                                                                                      j      o
                                                                                                                                                                                                                                                                                                             tn
                                                                                                                                                                                                                                                                                                              t
                                                                                                                                                                                                                                                                                                              a,@
                                                                                                                                                                                                                                                                                                                j0
                                                                                                                                                                                                                                                                                                                 a5
                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                  o
                                                                                                                                                                                                                                                                                                                  a0o7- :
                                                                                                                                                                                                                                                                                                                        F
                                                                                                                                                                                                                                                                                                                        r
   :                                          jScreening                             i                                                                                                                       :
                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                     f
                                                                                                                                                                                                                                                                                                     l          s       8     ;1'
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                46pm y
   ;                                          .                                      i)
                                                                                     '                                                                                                                       r                                                                                       'k                       .'                  t
   j
   .WCSO20JBNOO0629j
   ;
                    SCM-
                   qReceiving
                                                                                     rWouldyouliketore
                                                                                     !vaccine?(ifyes,pl
                                                                                                       ceivetheHepati
                                                                                                                    ti
                                                                                                                     sA    !
                                                                                                                           .N/AlCEtetainee
                                                                                                      eaàedocumenttheIot#. i
                                                                                                                                                                                                                                                                                                     dMorgan, j05-07- j
                                                                                                                                                                                                                                                                                                     'Juanetta r2020 d
   '
   t                ;screenin
                    :         :                                                    )
                                                                                   ,.expirati
                                                                                            or,cl
                                                                                                ate, &siteofadrnini
                                                                                                                  strati
                                                                                                                       on)                                                                                   i
                                                                                                                                                                                                             ;                                                                                                                $1:
                                                                                                                                                                                                                                                                                                                                46pm :
                    I       .                                                      (                                                                                                                                                                                                   ....     .... ;        ..              ;      x.
   iwcso2oJBN0O0629 jSCM -                                                         rDoyoulctlrrenilyhaveLice/scabi es?                                                                                         No                                                                                    pldlorgan..              @      7*
   4
   .
                                              i
                                              rReceiving                           j                                                                                                                                                                                                                 )Juanetta i
                                                                                                                                                                                                                                                                                                               ,0
                                                                                                                                                                                                                                                                                                                25-
                                                                                                                                                                                                                                                                                                                 020
                                                                                                                                                                                                                                                                                                                   7- #
                                                                                                                                                                                                                                                                                                                   0   t
                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                       '
   !                                           screening                           f
                                                                                   '                                                                                                                                                                                                                 2         k1:
                                                                                                                                                                                                                                                                                                                 46 pm i                          .
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                  .
   h
   kk/ww ,Ac;èt
      .,-
            .
                .             -
              ).JBI.lï)Oô629 /SCM -                                                rOïf
                                                                                   !  ner'                                                                                                                   7No
                                                                                                                                                                                                             ,                                                                                       ;Morgan, 1
                                                                                                                                                                                                                                                                                                     j        *05-07- d
                                                                                                                                                                                                                                                                                                                      ;
                                              l
                                              , Recei
                                              '      ving                          !'                                                                                                                        l                                                                                       r        .t
                                                                                                                                                                                                                                                                                                       1.!:-.F*
                                                                                                                                                                                                                                                                                                     . - -.     :
                                                                                                                                                                                                                                                                                                                f            i2020
                                                                                                                                                                                                                                                                                                                             f       p
   t
   '                                          1
                                              iscr eening                          j
                                                                                   ,
                                                                                   ty                                                                                                                        j
                                                                                                                                                                                                             i
                                                                                                                                                                                                             .
                                                                                                                                                                                                             t                                                                                       j
                                                                                                                                                                                                                                                                                                     g
                                                                                                                                                                                                                                                                                                     ;                       j
                                                                                                                                                                                                                                                                                                                             y
                                                                                                                                                                                                                                                                                                                             ,'
                                                                                                                                                                                                                                                                                                                              !.46pm j
                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                              .    .

   y
   F
    ï&Icsozo-lBr
               qooo6zgp
                      'sccMei-
                       Re    vi
                              ng                                                  f
                                                                                  '
                                                                                  ùH
                                                                                   .pa
                                                                                     v
                                                                                     fe
                                                                                     I'/youIe
                                                                                        Es   vertestedposi
                                                                                            istdate.
                                                                                                         tivefortubercul
                                                                                                                       osis?h
                                                                                                                            ?I
                                                                                                                             qlo                                                                                                                                                                     )
                                                                                                                                                                                                                                                                                                     jzMorgan, )05-07-
                                                                                                                                                                                                                                                                                                       uanstts- raoao                             ,
                                                                                                                                                                                                                                                                                                                                                  ,
   E                  lscreening                                                  !                           ,

   .
   !
  ,w csozo-
                                              k                                    .

                                                                                  ''
                                                                                                                                                                                                             -
                                                                                                                                                                                                             V
                                                                                                                                                                                                                                                                                              ....   ,
                                                                                                                                                                                                                                                                                                     )                       o
                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                             IJ
                                                                                                                                                                                                                                                                                                                               1.46pm k
                                                                                                                                                                                                                                                                                                                                      s
                                                                                                                                                                                                                                                                                                                                      î
  l                   lBrqoooozgj
                                lR
                                 se
                                  cc
                                   Mei
                                     -
                                     ving                                         j
                                                                                  ,
                                                                                  'xanaeofMedicati
                                                                                  -              on                                                                                                          tN/A
                                                                                                                                                                                                             i                                                                                       .J
                                                                                                                                                                                                                                                                                                      kuioalnaatnta, l,a
                                                                                                                                                                                                                                                                                                                       oo
                                                                                                                                                                                                                                                                                                                        5a-co,7- )'
                                                                                                                                                                                                                                                                                                                                  -
  -                                           iScreeni
                                                     ng                           j
                                                                                  k                                                                                                                          $
                                                                                                                                                                                                             t
                                                                                                                                                                                                             ..-..-.,,- ....,..,.-.-....-.-..........,.....
                                                                                                                                                                                                                                                          ...-,..,..,...- --       -,.--.
                                                                                                                                                                                                                                                                                        ,.,-....
                                                                                                                                                                                                                                                                                                 J'...... ,,., .... ..            1...46 pm -
                                                                                                                                                                                                                                                                                                                                      , .
                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                            r
  j
  iWCS:
      )2OJBNOOO6294
                  jSccf
                   Re ;ei-
                         ving                                                    5Durati
                                                                                 .
                                                                                 '
                                                                                 .     oncfTherapy                                                                                                          tN/A
                                                                                                                                                                                                            '                                                                                    î
                                                                                                                                                                                                                                                                                                 !Mo
                                                                                                                                                                                                                                                                                                  Juar
                                                                                                                                                                                                                                                                                                     get
                                                                                                                                                                                                                                                                                                     nan, k
                                                                                                                                                                                                                                                                                                       ta r05-0
                                                                                                                                                                                                                                                                                                           20207-                                 '
                                              1Screening I                                                                                                                                                  l                                                                                    1                          l1'
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                              46pm j
   W CSO2OJBN00O629 SCM -                                                        jHave you everrecei ved treatmentforacti ve                                                                                  No                                                                                       Morgan,                05-07-
                    Receiving                                                    Ituberculosis? Ifyeslistdate andIocation in                                                                                                                                                                           Juanetta               2020
                    Screening                                                     notes                                                                                                                                                                                                                                       1:46pm

  1
  I
   wcsozolBsoooozg R
                   se
                    ccMei
                        -i
                        v ng
                   Screening
                                                                                     Therapyconnpletsd?                                                                                                     j
                                                                                                                                                                                                            #N/A                                                                                 jJ
                                                                                                                                                                                                                                                                                                 1Mucar
                                                                                                                                                                                                                                                                                                      n
                                                                                                                                                                                                                                                                                                      geat
                                                                                                                                                                                                                                                                                                         n
                                                                                                                                                                                                                                                                                                         ta, 2
                                                                                                                                                                                                                                                                                                             00
                                                                                                                                                                                                                                                                                                              52
                                                                                                                                                                                                                                                                                                               -07- ;
                                                                                 ,                                                                                                                          !                                                                                    i                          (1:
                                                                                                                                                                                                                                                                                                                              46 pm r
                                                                                                                                                                                                                                                                                                                                    j
  lW CSO20JBNO00629 SCM -                                                        !
                                                                                 '
                                                                                  TBSki
                                                                                      nTest(foraIlwhoanswered'no'
                                                                                                                'to//1or1N/A                                                                                                                                                                     1Morgan,                     05-07- .
  ;                                           Receiving                              #2,excepti
                                                                                              fil
                                                                                                -l
                                                                                                 eyI
                                                                                                   laveclocul
                                                                                                            '
                                                                                                            nel
                                                                                                              ntaiioa.                                                                                      t                                                                                    iJuanelia '2020 h
                                              screening                                                                                                                                                     1                                                                                               1.46 pm               .


   WCSO2OJBN0OO629 SCM -                                                             Dateandtimeadmi
                                                                                                   nistered                                                                                                 d08/26/20191200                                                                     lMorgan, 05-07-
                                              Re
                                              S ceiving
                                               creening
                                                                                                                                                                                                            j
                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                     Juanetta 2020
                                                                                                                                                                                                                                                                                                              1:46 pm
  1WCSO2OJBNO0O629 SCM -                                                        !Si
                                                                                  teofadministrati
                                                                                                 or
                                                                                                  l(ppd0.1mI
                                                                                                           )                                                                                             jchestxraypertransfersummary Morgan, 05-07-
                   Receiving                                                    p
                                                                                .                                                                                                                        ,w:snegative
                                                                                                                                                                                                         !                           tJuanetta 12020
                   Screening                                                    j                                                                                                                                                               1.46pm
   WCSO20JBN0O0629 SCM -                                                       jListI
                                                                                    otnumberanclexpiration                                                                                               1pa                                                                                         Morgan,                 05-07-
  j                                           S
                                              Receiving
                                               creening
                                                                               j
                                                                               j
                                                                                                                                                                                                        j
                                                                                                                                                                                                        ï
                                                                                                                                                                                                        j.                                                                                      jJuanetta 20
                                                                                                                                                                                                                                                                                                          1:
                                                                                                                                                                                                                                                                                                            20 j
                                                                                                                                                                                                                                                                                                           46pm j
                                                                                                                                                                                                        1
                                                                               I                                                                                                                        ,                                                                                       I                                               j
wcso-medi
        cal/Modules/chafhistow.php                                                                                                                                                                                                                                                                                                         15/70
      -.,Case
         ,.---- 1:20-cv-23783-MGC
                               owlclwrxDocument
                                       -l
                                        x/it       1j/
                                           ptlIu,ott -ï:jEntered
                                                         ll
                                                          /.        on FLSD
                                                           kfhl-#vvcsO20       Docket
                                                                        JBNOOO629        09/11/2020
                                                                                 (10-24-197                Page
                                                                                           6)::FullPatientHistcryIv132
                                                                                                                   5.5.0 of 276
          jWCsO2OJBNOOO629jSCM-                                                             ph
                                                                                            'Borni
                                                                                                 ntl
                                                                                                   7eUSA?(i
                                                                                                          fnojli
                                                                                                               stcountryofbidhand1No(Croatia)                                                                                                                                                                                                           jMorgan, 05-07- I
          j                                              'S
                                                          Rc
                                                           er
                                                            ceeei
                                                                v
                                                                ning j
                                                                     .owm'anyyearsintheUnitedStatesinnotes))
                                                                     p                                     I
                                                                                                           '                                                                                                                                                                                                                                           ?Jual
                                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                                           netta 2
                                                                                                                                                                                                                                                                                                                                                                 10 20pm
                                                                                                                                                                                                                                                                                                                                                                  :46
           w csozclBNcooezg scI
                              u-                                                            i
                                                           Receiving
                                                                                            1
                                                                                            ,
                                                                                            T
                                                                                            1
                                                                                             BcGvacci
                                                                                                    ne?                                                                                                                                     j
                                                                                                                                                                                                                                            yes
                                                                                                                                                                                                                                            !
                                                                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                                                                       ë
                                                                                                                                                                                                                                                                                                                                                         Morgan, 05-07-
                                                                                                                                                                                                                                                                                                                                                         Juanetta 2020
                         Screening                                                          j                                                                                                                                               j4                                                                                                         91
        k                                                                                                                                                                                                                                   j                                                                                                          j                               46pm .
                                                                                                                                                                                                                                                                                                                                                                                    -j..
        ,
        .WCSO20JBNOoO629 S
        ?
        '
        4
        .
                          cMei-
                         Rec  ving                                                         j
                                                                                           ;
                                                                                           1U
                                                                                           -
                                                                                           ;  nintentionalWefghtloss>10I
                                                                                            niointh?
                                                                                            .
                                                                                                                       bsinone                                                                                                              j
                                                                                                                                                                                                                                            iYes
                                                                                                                                                                                                                                            J
                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                      1Morgan
                                                                                                                                                                                                                                                                                                                                                      ëJuanetta        ,            05 -07- #
                                                                                                                                                                                                                                                                                                                                                                                    2020    k
                                                                                                                                                                                                                                                                                                                                                                                            P
                                                         screening                         1
                                                                                           ,                                                                                                                                                d
                                                                                                                                                                                                                                                                                                                                                                                1:46 pm .
        ;ïNCSO2OJBNOO0629 j
                          .
                          '
                          'Scr'
                              e1-                                                          )Ni
                                                                                             ghtsweats                                                                                                                                      #No                                                                                                       (Morgan,                 '05-07-
                                                       j Re
                                                         S ceiving
                                                          creening
                                                                                          )
                                                                                          1
                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                          4
                                                                                                                                                                                                                                                                                                                                                      kJuanetta 2020 l
                                                                                                                                                                                                                                                                                                                                                      d                         1.
        l                                                                                 1                                                                                                                                               j                                      -                                                                    .
                                                                                                                                                                                                                                                                                                                                                      4
                                                                                                                                                                                                                                                                                                                                                      b
                                                                                                                                                                                                                                                                                                                                                                                    '46pm j
        r
        f
         ïNCsO2OJBNOoO629 Rec
                          Schei
                             l-
                              ving
                                                                                          ?
                                                                                          rFeh
                                                                                             /er                                                                                                                                          k
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                           No                                                                                                         Morgan,
                                                                                                                                                                                                                                                                                                                                                      Juanetta                  05-
                                                                                                                                                                                                                                                                                                                                                                                20  07- '
                                                                                                                                                                                                                                                                                                                                                                                   20
       1                                                 scrasning;                       i
                                                                                          ;                                                                                                                                              '
                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                         )                                                                                                           i                          1.
                                                                                                                                                                                                                                                                                                                                                                                 .46pm
                                                                                                                                                                                                                                                                                                                                                     ,
       (
       k
        t/t
          /CSO20JBN0OO629 SCI/-                                                           jPersi
                                                                                          4
                                                                                          6    stentCough>2weeks                                                                                                                         kNo                                                                                                         j
       t                                              tReceiviiaq                         I
                                                                                          F                                                                                                                                              )                                                                                                           àM organ,                  05-07-
       l
       i.                                             #
                                                      'screening ,.-
                                                                   /
                                                                   '.......
                                                                          -.                                                                     .
                                                                                                                                                                                                                                        )                                                                                                            I
                                                                                                                                                                                                                                                                                                                                                     pJuanetEa                  2
                                                                                                                                                                                                                                                                                                                                                                                10
                                                                                                                                                                                                                                                                                                                                                                                 :4260pm
                                                                                                        ..........-........-.......
                                                                                                                                  .......................................-..-..................-.............................................-..... ....................-..........-.-...............,.,................-...--...0,..-
                                                                                                                                                                                                                                                                                                                                     ........,=.......''.                    t,
       kW CSO2OJBN00O629 t                                7SCIk/I-                       1coughing blood                                                                                                                                kN       o'
                                                                                                                                                                                                                                                                                                                                           ë
                                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                           '.Morg..an,       v .., . ... .
                                                                                                                                                                                                                                                                                                                                                                             1 ... .. ......= ...,........2
                                                                                                                                                                                                                                                                                                                                                                                 05-07- .
       k
       !                                                  k
                                                          4Recsi       ving               :
                                                                                          à                                                                                                                                             k                                                                                                  t  Juanet          'ta                2020
                                                                                                                                                                                                                                        -
       t
       r.. . .. .-- . .-.. .. ...... .                    ,screen                         I                                                                                                                                                                                                                                                ;.
                                                                     . i   ng
                                                                          ..             /. .- . . .. .. ....... .... ... . .. . ... .......-. .-.. ..... ... ..... ........-.........-..-.--- -. -..
                                                                                                                                                                                                                                        ?                                                                                                  !                                j'!j..    46po.        )j
       6                                                                                                                                                                                         . -............-. .--......
             '?ZE.
                 '-
                                                                                                                                                                                                                           -..
                                                                                                                                                                                                                             -. .-.                                                       .. ....- .,-- ..-..-.... -..-..----.
                  -.'z-J--.-'5:i.'..;--,c-'.9,-,@..'.-J:' !:!'.'-'s!.f.                                                                                                                                                                                                                                                                                                                      ;; --.
                                                                                                                                                                                                                                                                                                                             .. ..--.....--..---.---- -.-..
                                                                                                                                                                                                                                                                                                                                                          ----.------...--..- ----....-------.--.-.- .....
       '''.?'.                                                                           l..,',.;::z1...,t.-.....-w.--.                                                                                                                     ;:..                                                                                              '?.---.-.       -              1(;g r.'
                                                                                                                                                                                                                                                                                                                                                                             '
       L                                                 ;
                                                         r Reci
                                                                                                                                                                                                                                            ..-
                                                                                                                                                                                                                                                                                                                                              ......s-.., g -
                                                           Scrthi     iy/i'ngt
                                                                     ellip-fp
                                                                                      E
                                                                                      .F--.-... .--...-..., ......
                                                                                                                                                                                                                                       '                                                                                                   fJ   t!L ?netty. j2020                                         .

      '                        ..       . . 1k ..                                  . .:                                                                                                                                                ..                                                                                                           y                       j):
                                                                                                                                                                                                                                                                                                                                                                              0.
                                                                                                                                                                                                                                                                                                                                                                               6tnn'
                                                                                                                                                                                                                                                                                                                                                                                   i
      rb.
        '.
         .',
         i t.
            .-
             .z.
               . .
               STu'2z.'-!L-!r'k.I
                                -1zy'.t;629 rtiifr
                                                 .                                    7L - .'
                                                                                                                             ,,..                  ..         . . .. ..                          . . ... .                 .
                                                                                                                                                                                                                                       *
                                                                                                                                                                                                                                                            .           .          .
                                                                                                                                                                                                                                                                              .. ....
                                                                                                                                                                                                                                                                                             ...
                                                                                                                                                                                                                                                                                      ').-.j;.....;..j..
                                                                                                                                                                                                                                                                                                       v.
                                                                                                                                                                                                                                                                                                        :.
                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                         j.c.-k.
                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                g.a..
                                                                                                                                                                                                                                                                                                                    a...
                                                                                                                                                                                                                                                                                                                       j.... ...;
                                                                                                                                                                                                                                                                                                                                p..
                                                                                                                                                                                                                                                                                                                                  t...
                                                                                                                                                                                                                                                                                                                                     ;.g....
                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                            O..$'
                                                                                                                                                                                                                                                                                                                                                -. ...- .;
                                                                                                                                                                                                                                                                                                                                                 j..     1
                                            p .,!k'il-                                )JEspu        -F:ttt:)a                                                                                                                          ;
                                                                                                                                                                                                                                       .l.t,,..z,'.-r,o( kp,
                                                                                                                                                                                                                                                           o.        .k .x,
                                                                                                                                                                                                                                                                          zq
                                                                                                                                                                                                                                                                           a:.kk(;a .uj à
                                                                                                                                                                                                                                             .
      ?                                              r .                                                                                                                                                                                                    zz3
                                                                                                                                                                                                                                                              2:;st;
                                                                                                                                                                                                                                                                   u7)a.:                                                               -.- kk
      ,                                     /Rzc:    .
                                                     '
                                                     .'
                                                      ..,
                                                        -.g                          j
                                                                                     .                                                                                                                                                 ,z.zz.      ''z.:'.cw-                                    tJuaiqzw.          uqa ?          -,
                                                                                                                                                                                                                                                                                                                                )owzz
      '                                     :Scl  '
                                                  eenl  rl:                            /                                                                                                                                                                                                                                                            f                       r'
                                                                                                                                                                                                                                                                                                                                                                             i:
                                                                                                                                                                                                                                                                                                                                                                              4.
                                                                                                                                                                                                                                                                                                                                                                               6pm l
      'vt
      /  /csozogBxoco6zg pscv -                                                        IDoyouhaveAsthma?ë
                                                                                                        'wlfhrEs, 'ozlnenwzsyour No
      !               r                                                                @                                                                                                                                                                                                                                                         LMorgan,
                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                 j                          $
                                                                                                                                                                                                                                                                                                                                                                            2'05-07-                )
      :
      l               ;Re
                      J  c
                       Screeeiv
                              nin
                                ing
                                  g                                                  $hastspi
                                                                                     1      sc'deofshortnessofbreath?                                                                                                                 g
                                                                                                                                                                                                                                      à                                                                                                          :Juanetta                  ;2 020                  j
                                                                                                                                                                                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                                                                                                                                 y                            jrzi6 pm
      '
      f
      :WCSO2OJBNOOO629jSCl                                                           t                                                                                                                                                j
                      IReuïe
                           2I-                                                       jHospital
                                                                                             izati
                                                                                                 onrel
                                                                                                     atedtoAsthmaintheI
                                                                                                                      ast                                                                                                               Nc                                                                                                       1
                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                 .Morgan,                   q
                                                                                                                                                                                                                                      .

      @
      2
      i               4
                             ivill:
                        Scceeninp
                                                                                     tyear'
                                                                                          ?                                                                                                                                           ;
                                                                                                                                                                                                                                      '                                                                                                          iJ                         j05-07-                 j
                                                                                                                                                                                                                                                                                                                                                                                                    .
      .;            . .                                                              r'                                                                                                                                               '                                                                                                          ) uanetta p
                                                                                                                                                                                                                                                                                                                                                           d2
                                                                                                                                                                                                                                                                                                                                                           rî02
                                                                                                                                                                                                                                                                                                                                                            ':460Dm !
                                                                                                                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                     .                           ,                                                                                                                   t;                                                                                                         r                '  '
                                                                                     j,
      rWCSO2OJBN0OO629 SCF4-                                                         ;;Historyoflntubation?When?                                                                                                                     2sh!o                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                r.Morgan, ,05-07- ,
                                                                                                                                                                                                                                                                                                                                                 .
      )
      ?               iRe
                       Scrceeen
                              ivi
                                ing
                                 ng                                                  i
                                                                                     l                                                                                                                                               .
                                                                                                                                                                                                                                     :                                                                                                          rJuanetta '2020
      à                    t                                                        %                                                                                                                                                 k                                                                                                         1'                          '1.4.6 pm '
      :h
      r$
       ,,8/
          ':15020,
                 J8N000629 t
                           -t
                           i'gtii
                                bé-                                                ;
                                                                                   ë'l
                                                                                     -listoq/ofCOPD orEmphysema?                                                                                                                     ;.                                                               .                               -.-
                                                                                                                                                                                                                                                                                                                                        .. --   r
                                                                                                                                                                                                                                                                                                                                                . .
                                                                                                                                                                                                                                                                                                                                                t                           x.
                                                                                                                                                                                                                                                                                                                                                                            . J...-... ...p
                                                                                                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                          l
                                                                                                                                                                                                                                     ;No                                                                                                        kMorgan,                     05-07-
      !                                            F
                                                   'Receiving                      r                                                                                                                                                 >                                                                                                          pJuanetta                      2:20               k
    )
    t                !screeninr                                                    j
                                                                                   t                                                                                                                                                 )
                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                     ,                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                ;                              1.
                                                                                                                                                                                                                                                                                                                                                                                46 pm
                                                                                                                                                                                                                                                                                                                                                                                ,


   r.1
     .
     A/CSO20JBNOOO629jSCM-                                                         .
                                                                                   k
                                                                                   t
                                                                                   ,Ozygendependent?                                                                                                                                 i
                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                     ,No                                                                                                        j
                                                                                                                                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                                                                                                                                ,Morgan          ,         .05-07-                j
                                                                                                                                                                                                                                                                                                                                                                                                  ,
   t                                               'S
                                                   j
                                                   4Rec
                                                     creiv
                                                      ee  in
                                                         ning
                                                            g                      i
                                                                                   1                                                                                                                                               y
                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                jultlaaetia 2020                                  )
   )                                                                               .                                                                                                                                                                                                                                                            )        j
                                                                                                                                                                                                                                                                                                                                                         '1:
                                                                                                                                                                                                                                                                                                                                                           46pm tk
   ,, f                          ''                                               !,
                                                                                   'Af
   1ï;.,c;so2C;,JE;1.1&c,()ë;29 r'scM
                                   Recei-ving                                        rqioa(chestpain)                                                                                                                              '
                                                                                                                                                                                                                                   à
                                                                                                                                                                                                                                   iNo                                                                                                          t        t
                                                                                                                                                                                                                                                                                                                                                         l
                                                                                     .
                                                                                  c
                                                                                  '                                                                                                                                                                                                                                                             tMorgan, pû5-07-
                                                                                                                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                              L'Juanetta                   '2020
  d
  ')               1                              1screening C
                                                             t                                                                                                                                                                    j                                                                                                           )                            j.
                                                                                                                                                                                                                                                                                                                                                                            1.
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                              46 pn-' .
                                                                                                                                                                                                                                                                                                                                                                                      4          :
  lWCSO2OJBN0O0629 SCM -                                                          iStents                                                                                                                                         lN:l                                                                                                        kMorgan,
  t
  !
  j
  ,
                                                 jRecsiving y
                                                 lScreening
                                                            '
                                                            ;
                                                            k        .            ..            ..                     .     ,          .            .      .            . .,.. . .... . ..... ...
                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                                                                             lJuanett
                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                    a2  o2o
                                                                                                                                                                                                                                                                                                                                                      05-07-
                                                                                                                                                                                                                                                                                                                                                      -1.46 pm
                                                                                                                                                                                                                           ,.           .      .                        .                .. ,-.                .       . ..            .            ... ..   .   ...
      W CSO2OJBNoO0629 SCM
                        Re -                                                         HearlAttack                                                                                                                                     No                                                                                                      /Morgan,                       05-07-
                          ceiving
                        Screening
                                                                                  l
                                                                                  '
                                                                                                                                                                                                                                                                                                                                                Juanetta                    2020
                                                                                                                                                                                                                                                                                                                                                                            1:46pm
      w csozolBsoooez: .scu -                                                     :nvoass                                                                                                                                       xuo                                                                                                             Moroan,
  l                                              IReceivina                       ! -'                                                                                                                                          1
                                                                                                                                                                                                                                ,                                                                                                           .JuaJ
                                                                                                                                                                                                                                                                                                                                                      .o
                                                                                                                                                                                                                                                                                                                                                'etta l2s-
                                                                                                                                                                                                                                                                                                                                                        02o
                                                                                                                                                                                                                                                                                                                                                          c'
                                                                                                                                                                                                                                                                                                                                                           ?- ,
                                                                                                                                                                                                                                                                                                                                                              1
  !                 screenin-
                            g                                                    )                                                                                                                                              '
                                                                                                                                                                                                                                4.                                                                                                         ;.         l1.46pm
  lt&CSO2OJBNOOO629 SCM  -
                    Receiving                                                    i
                                                                                 j
                                                                                 E
                                                                                 jConpesti
                                                                                 â       veFleartFai
                                                                                                   lure                                                                                                                         'No
                                                                                                                                                                                                                                f
                                                                                                                                                                                                                                p
                                                                                                                                                                                                                                )                                                                                                          '
                                                                                                                                                                                                                                                                                                                                           !Mo r
                                                                                                                                                                                                                                                                                                                                               ga n
                                                                                                                                                                                                                                                                                                                                           jJuanetta, i
  !                                                     .                        ,
                                                                                 J                                                                                                                                                                                                                                                                    '05-07-
                                                                                                                                                                                                                                                                                                                                                       2020                                    1
                    screening                                                                                                                                                                                                                                                                                                              t                               1:46 pm
   VVCSO2OJBN0OO629 SCM -                                                        jDeep Vei
                                                                                         n Thrombosi
                                                                                                   s/pulmonary Emboli
                                                                                                                    sm                                                                                                             No                                                                                                       M
                    Receiving                                                                                                                                                                                                                                                                                                                organ.                        05-07-
                    Screening '                                                  j
                                                                                 ;
                                                                                 R                                                                                                                                                                                                                                                              Juanetta                   2
                                                                                                                                                                                                                                                                                                                                                                           10 20
                                                                                                                                                                                                                                                                                                                                                                            :46 pm
   W CSO2OJBN000629 SCM -                                                        jHead ValveReplacement                                                                                                                        jNo                                                                                                            Morgan,
                                                 Receiving                       l                                                                                                                                             j                                                                                                           !J                              05-07-
  .                  Screenj
                           ng                                                    j                                                                                                                                             j                                                                                                                 uanetta                   2
                                                                                                                                                                                                                                                                                                                                                                           y020
                                                                                                                                                                                                                                                                                                                                                                            .#.N m
                                                                                                                                                                                                                                                                                                                                                                            .    p
  vvcsO2OJBNOt)()629 SCM -                                                       LAtriatFibritlation                                                                                                                           lNo                                                                                                           M organ,                      c5-(47-
                                                                                 t                                                                                                                                             j
  ,                                              Recei
                                                     ving                        j                                                                                                                                             s                                                                                                           4Juanetta                       2c20
  '                                              Screening                                                                                                                                                                     !                                                                                                           4
                                                                                                                                                                                                                                                                                                                                           j                               1:46pm
 !
wcso-medi
        cal
          /Modules/chafhistol.php
                                                                                 .
                                                                                 :                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                         j                             j
                                                                                                                                                                                                                                                                                                                                                                                      16/70
            Case 1:20-cv-23783-MGC   ww.u,v,,xDocument
                                               dx.suzv-,'w.wu-1
                                                              ugmuzEntered
                                                                   It
                                                                    rxlx-ervvwoon
                                                                               kpz-uFLSD
                                                                                    aoINkpt
                                                                                          puoz'$IU-z4-l09/11/2020
                                                                                             Docket    t
                                                                                                       #/UJ::h'UllFatlentl
                                                                                                                         -Page
                                                                                                                          lI
                                                                                                                           StOr# IV133
                                                                                                                                   5.5.0 of 276
           I
           'wcso2oJ
                  BNooo629 iscM -           'Pacemaker
                                            p                                                !No                               qMorgan, h:5-:7- î
           2
           .
           k               'Receiving       ,
                                            2                                                I                                 BJuanetta 92020 t
           '                                               screening                     j                                                                        )                                            ,
                                                                                                                                                                                                                                               1.46 pm
           lwcsozolBNoocezg scM -                                                        lInternaloefibrill
                                                                                                          ator                                                    1No                                              Morgan,
                                                                                                                                                                                                                       05-07-
           I                Receiving                                                    p
                                                                                         ;                                                                        1
                                                                                                                                                                  i
                                                                                                                                                                  j
                                                                                                                                                                                             .                 iJu
                                                                                                                                                                                                                 a n
                                                                                                                                                                                                                   ett
                                                                                                                                                                                                                     a 2
                                                                                                                                                                                                                       g020
           j
           '                                               screening                     j                                                                                                                     j                                    .
                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                     46pm (
       iWCSO20JBNO00629 R
                        Se
                         CcMei
                             -i
                             vng j
                                 'Endocarditis                                                                                                                    j
                                                                                                                                                                  lNo
                                                                                                                                                                  ;
                                                                                                                                                                                                               jMorgan, 2020
                                                                                                                                                                                                               -Juanetta
                                                                                                                                                                                                                         05-07- j
                                                           screening                    1
                                                                                        .                                                                         2
                                                                                                                                                                  j                                                                           1:46 pm
                                                                                        àHistoryofHigh Blood Pressure?                                            1No                                           Morga
       !
       iwcsozolBxoooezg R
                        sc
                         ecMei
                             -
                             vin g j     k                                                                                                                       ;
                                                                                                                                                                 ;                                                   n
                                                                                                                                                                                                                     ta, 10
                                                                                                                                                                                                               lJuanet    25-007- ,
                                                                                                                                                                                                                           02     '
                                                                                                                                                                                                                                  k       -
                       lscreeni
                            .. ng
                                .. .....j, ........                                                                  .  . .   .      .            ..
                                                                                                                                                                 #                                             .
                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                          '1:
                                                                                                                                                                                                                                            46pm 4
                                                                                                                                                                                                                           ...........-.... .--.
                                                                                                                                                                                                                                               ....-.........--............ .
       #
       '
       ?wcso2OJBNOoO629 S
       .
                        RcM -
                         ecei
                            ving                                                        l
                                                                                        FCurrentlytalingmedicationsforhypertension? !
                                                                                                                                    7No                                                                       lMorgan,                        05-07- j
                                                                                                                                                                 1
                                                                                                                                                                 l                                            'Juanetta
                                                                                                                                                                                                              l                               2020 7
       !                                                   screening                    !
                                                                                        .                                                                        ,                                            j.             .
                                                                                                                                                                                                                                              4.45pm i
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                     ?  ...,. . .-

       )
        'ï/csozolBhl.
       '1.          :)oo6zgIscrq-
                           jRecei
                           .    ving
                                                                                     f
                                                                                     'HistorycfHyperlipidemia
                                                                                     5
                                                                                                                                                                 :
                                                                                                                                                                 )
                                                                                                                                                                 ,
                                                                                                                                                                 .
                                                                                                                                                                  lto                                         5Morgan
                                                                                                                                                                                                              ,            ,
                                                                                                                                                                                                                                          '05-07-
                                                                                                                                                                                                                                                    ;
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                           ;.
                                                                                                                                                                                                                                                                           '
       j                 9                             '                             I                                                                           .                                            pJuanetta
                                                                                                                                                                                                              '                           .2 c2c i
                         !'Screening                                                 j                                                                           ,                                            p                             1
                                                                                                                                                                                                                                          .
       ''                                                                            I                .        .                                                                                              9                           '
                                                                                                                                                                                                                                              46.
                                                                                                                                                                                                                                                .pm ;
                                                                                                                                                                                                                                                    ,
       'wcso2QJBN:()0629 ,
       ,                 @ScM -                                                      ;Cui
                                                                                     '  -rentî
                                                                                             ytaking medicaiionsf                                                j         ----..        .       .   ..                .                                . . . . ....       ;.
       k                                                    yR                                                                    or                             kNo                                          kMorpan, k05-07- /
       t                                                    ùsecei   ving           jl
                                                                                     qvoerlipi
                                                                                             denni
                                                                                                 a                                                               :                                            jJuanetta 2020 ji           ,

       '
           'r'''.--.!.-'
                                                            ' c re e
                                .-- ; .t-,.-.;-...-..,c,c - , . . ,k
                                                                     ning           j
                                                                                    $7 I
                                                                                                                                                                 j                                            j         1:46pm ;
                       -2...-!...---- - :.. rS/:!..                                 't'clctc.. ,-. - .
                                                                                             -.,
                                                                                                 -., u . .,
                                                                                                          ., ;.k,:#-c..--s,v..-...uv,
                                                                                                                                    'cc:
                                                                                                                                       .j, --c,...-- --..a       ;..t..
                                                                                                                                                                      -,                                      ;
       '
       :                                                .                           2                             ..
                                                                                                           ,,-hleres-eepe,.s .- .... ...- ---                    ..                                           ,'!
                                                                                                                                                                                                                ,ktar-.-c. ;
                                                                                                                                                                                                                     .-,   ''c5. z-n=.. .
                                                        ;neceiy-i,al?               !ar'.jI-,osq  .-ii?-;-,
                                                                                                                                                                                                                                        $
       p                                                                                                                                                         ,                                            ,Juaoetta. :
                                                                                                                                                                                                              #            r. a.:1r.?c
                                                         screeiaii-ifj              $                   '                                                        T                                            f            l'1'
                                                                                                                                                                                                                           j qfzi,pr,-;
                                                                                                                                                                                                                                 .
                   ' *''
                             J'Jjjj.tt'!L)t'.1$'z''.
                       Zf'-$é(
      '                                              ir
                                                      'j
                                                       Y
                                                       :;
                                                        gC'j
                                                           uj.
                                                           .                        j*
                                                                                     j-j.
                                                                                        L?s                                                                  jj
                                                                                                                                                              '(a                                             jj'
                                                                                                                                                                                                                vl
                                                                                                                                                                                                                 j
                                                                                                                                                                                                                 arga;
                                                                                                                                                                                                                     '
                                                                                                                                                                                                                     ;j j
                                                                                                                                                                                                                        l05.0U- '
      r                jst.
                          ygz:
                             -.,j-
                                 .'
                                  %                                                 ,
                                                                                    y                                                                        '
                                                                                                                                                             j                                                jw'j
                                                                                                                                                                                                                 .i
                                                                                                                                                                                                                  aaaw
                                                                                                                                                                                                                     zu
                                                                                                                                                                                                                      aa               âj jw
                                                                                                                                                                                                                                           .-(gg g
                                                                                                                                                                                                                                            '     .
   ?                   ? creeninp                                                   r                                                                        ,                                                ;                        ;
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                         'i:46pcn .
   ltâ/csozolasl
               oooezg CscM -                                                        '
   i
   à                  l
                      tReceiving,                                                    i.
                                                                                      His,îtc,r
                                                                                      YE.     .
                                                                                              t,c-
                                                                                              now.d
                                                                                                  lci
                                                                                                    a betesorsighbloodsugar?eelf '('tko
                                                                                                    tng?                                      .                                                               ë
                                                                                                                                                                                                              f'
                                                                                                                                                                                                              t.
                                                                                                                                                                                                               êMo rgan
                                                                                                                                                                                                                Juanetta, !
                                                                                                                                                                                                                          105-07- 1
                                                                                                                                                                                                                                  i.
                                                                                    ,                                                                                                                                     h2020   b
   ;
   k
                      2
                      j
                      14
                        screening                                                    :
                                                                                     '
                                                                                    ,'
                                                                                                                                   '                                                                          l           j1,
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            46pm jï
   jWCSO2OJ6NOO0629jSCM-                                                            lAreyoucurrentlytaki
                                                                                    )                  ngmedsfordi
                                                                                                                 abetes                                      .No
                                                                                                                                                             t
                                                                                                                                                             .
                                                                                                                                                                                                           i.Morganj )
                                                                                                                                                                                                                     t
                                                                                                                                                                                                                     l05-07- j
                                                                                                                                                                                                                             b
                                                                                                                                                                                                                             '
   ë
   :                                                   yRerc
                                                       'Sc  ei
                                                           eevin
                                                             ning
                                                                g                   )
                                                                                    à                                                                                                                        Juanetta k:rarg
                                                                                                                                                                                                                       1     j j
   k                 :                                                               .                                                                       .                                              )          r1:46 'pm.. p
                                                                                                                                                                                                                                   .
   lVVCSO2OJBNOOO629 iSCM -                                                         '
                                                                                    kjAreyoucurr
                                                                                               entlytaking iosulin                                           J
                                                                                                                                                             kNo                                            t
   i
   I                  Receiving                                                     '
                                                                                    j.                                                                       2
                                                                                                                                                                                             .              j
                                                                                                                                                                                                            tMo
                                                                                                                                                                                                            '   rgan,
                                                                                                                                                                                                             Juanetta '0 5-07-
                                                                                                                                                                                                                        2020
   l                  screening                                                     )                                                                        y                               .              j              6 pm I
                     M                                                              1.                                                                       ;.   .                                   .    t. .      . j,
                                                                                                                                                                                                                        y.4.       (
   ''
    a csozolBxoooezg 1scrv:-                                                        :
                                                                                    .i
                                                                                     -lospitaliza.iioo rolsieci.Fo ciiabetesinthe Iast                       ,lqo
                                                                                                                                                             7                                             7
   j                                                   I                            .                                                                                                                      ,Morgan, i  '05-07- -   ,
                                                                                                                                                                                                                                   .
   r                                                   kscr.eeoincvo
                                                       j                        j
                                                                                !,. .
                                                                                                     ,y
                                                                                                      .
                                                                                                      -...
                                                                                                         x,.. .
                                                                                                              .                                              j
                                                                                                                                                             k
                                                                                                                                                                                                           j
                                                                                                                                                                                                           kwj....j.j.                jpopr,
                                                                                                                                                                                                                                           x
                                                                                                                                                                                                                                           j jy
                                                                                                                                                                                         .                 r                           1:46pm
       ïA/CSO2GJBN0OO629 ;
                         jSCh/l-                                                pFingerSiicl
                                                                                           tBloodSugar(N/A i
                                                                                                           fnotappl
                                                                                                                  icable)7
                                                                                                                         .na                                                                               1
                                                                                                                                                                                                           fMorgan     ,                05-07-
   '
   ;
   !
                         jRec eiving                                            / ''1'
                                                                                     êi
                                                                                      'esulis7-300,askthefoll
                                                                                                            owing.                                           k                                            1
                                                                                                                                                                                                          .Juanetta 2020 ê                                             .

   tvvcsozo-lBNccot-izg p'Screeni
                          sclvi
                                  r
                                  ng                                            y
                                                                                '
                                                                                                                                                             s                                            t         ?
                                                                                                                                                                                                                     1:46pm j
   ,
   t                                                   !Recei-ving              -Ikousea                                                                  :No
                                                                                                                                                          #                                               :kiorgan, y
                                                                                                                                                                                                          r         r,
                                                                                                                                                                                                                     35-07-
                                                                                ?                                                                                                                         ïJuanatta
  !                                                     screenins               ,
                                                                                $
                                                                                                                                                                                                                                    y2.
                                                                                                                                                                                                                                      15.4269pm )
                                                                                                                                                          L'                                                                        y
  j                                                                                                                                                       t                                               )
                                                                                                                                                                                                          '
  kWCSO20JBN0OO629 R
                   SCM-                                                         jVcmiting                                                                 )NO                                                 Morgan, 05-07- j
  )
  l                                                    Scr
                                                        eceeen
                                                             i
                                                             ving
                                                              ing
                                                                                ,
                                                                                j
                                                                                t
                                                                                                                                                         j
                                                                                                                                                         '
                                                                                                                                                         j
                                                                                                                                                                                                          j
                                                                                                                                                                                                          )
                                                                                                                                                                                                           Juanetta 2020 j
                                                                                                                                                                                                                    1:46pm ;
   W CSO20JBN0OO629 SCM
                    R -                                                         ,ExcessiveThirst                                                         #NO
                                                                                                                                                         '                                                '   Morgan,                 05-07-
                                                        eceiving                j                                                                        j                                                 Juanetta                   2020
                                                       Screening                j                                                                        '                                                                            1:
                                                                                                                                                                                                                                       46pm
   W CSO20JBN000629 SCM -                                                       'Urine Ketones                                                           ,N/A                                              Morgan,
                                                       I
                                                       -
                                                       lRerc
                                                        sc ee
                                                            ei
                                                             v
                                                             ni
                                                              n
                                                              ng
                                                              ig )
                                                                 !              .
                                                                                                                                                         -
                                                                                                                                                         1
                                                                                                                                                         j
                                                                                                                                                         ,
                                                                                                                                                                                                          jJuanetta 2
                                                                                                                                                                                                                    052
                                                                                                                                                                                                                     c -007-
                                                                                                                                                                                                                    j.4,: r;. j       .
                                                                                                                                                                                                                                          ,
   WCSO20JBN00O629 kSCM-                                                    riUr
                                                                               ineGlucose                                                               i
                                                                                                                                                        ;N/A                                              l
                                                                                                                                                                                                          iMorgan                  05-07-
  k                 Receiving                                                                                                                           :                                                 .Juanetta,              i21
                                                                                                                                                                                                                                    320                           #
                                                                                                                                                                                                                                                                  .
                    screening                                               l                                                                           '                                        .                                    1:46pm
   W CSO2OJBN00O629 SCM -                                                       Historyofa seizure orconvulsion?**IfYES,                                     No                                            Morgan,                    05-07-
               '
                                                       Rc
                                                       Ser
                                                         c
                                                         eeei
                                                            v
                                                            ni
                                                             ng                 whenwasI
                                                                                       astseizure?                                                      j
                                                                                                                                                        î
                                                                                                                                                                                                          Juanetta 204260pm
                                                                                                                                                                                                                   1:
   w csO2OJBNOOO629 SCM
                    R -                                                     jFrequencygreaterthan once a month?                                           N/A                                             Morgan,                   05-07-
                                                        eceiving            j                                                                           y
                                                                                                                                                                                                          Juanetta                  2020
                                                                                                                                                                                                                                    1.46pm
  1
  . . ..                   ..     .    ...       .     screening            j
                                                                            14                                                                          '                           ..
                                                                                                                                                                                                                                     .

  W CSO2OJBN000629 SCM
                   R -                                                      jCurrentl
                                                                                    ytaking medi
                                                                                               cationsforSei
                                                                                                           zures?                                      )No
                                                                                                                                                       J                                                  Morgan,                  05-07-
 j                  ecei
                       ving                                                 C
                                                                            1                                                                          ;                                                  Juanetta                 2020
                                                       Screening                                                                                       T
                                                                                                                                                       ,                                              j                             1:46pm
                                                                            .
                                                                                                                                                       !                                                                                                         1
wcso-medi
        cal
          /Modules/chafhi
                        stol.php                                                                                                                                                                                                                          17/70
                ICase
                 wcso21:20-cv-23783-MGC
                      OJBNooo629 scM- wrw,,.-..,k,lxDocument
                                                     -Ixm'
                                                    Hi
                                                          -,t       1ozloEntered
                                                            -Ilo,uacl
                                                      stofy ofvomiti
                                                                              N-FFVVL,4on
                                                                          II/AI        IIJZUFLSD
                                                                                              JNUOUtiDocket
                                                                                            Jt:
                                                                    ng blood? **lfYES whenwas
                                                                                                     J?9(10-24-109/11/2020
                                                                                                                976)::Ful       Page
                                                                                                                                 stofyIv134
                                                                                                                        lPatientHi      5 of 276
                                                                                                                                         5.0                                                                                                                                                .


                '                                          Receiving                        rlastepi   ?How often doesitoccur-
                                                                                                   sode'                     ?                                 ,                             1NO
                                                                                                                                                                                             1
                                                                                                                                                                                             .                                                                                 !Morgan,
                                                                                                                                                                                                                                                                              'Juanetta
                                                                                                                                                                                                                                                                              -                                    j0
                                                                                                                                                                                                                                                                                                                   l 5-07- l
            jW CSO2OJBNO0062 screening ,
                                       4                                                                                                                                                     j
                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                              I                                     2020
                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                    1.46pm
                                                      9SCMei-
                                                       Rec  vi
                                                             ng                          j
                                                                                         'Hi
                                                                                           storyofdarl
                                                                                          YES        t/bl
                                                                                                        ackstoolsfrombleeding'
                                                                                                                             ?**If'
                                                                                                                                  jNo                                                                                                                                         /Morgan,                              05-07- j
                                                                                         (        ,
                                                                                                       when?                                                                                 ë
                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                              lJuanetta
                                                                                                                                                                                                                                                                              k
                                                                                                                                                                                                                                                                                                                    2020                    '
                                                           Screening                     j
                                                                                         ..                                                                                                  j
                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                    j.
                                                                                                                                                                                                                                                                                                                     4:pm j
                                                                                                                                                                                                                                                                                                                        .

                WcsO2OJBN0O0629 Re
                                SCcMei-
                                      vi
                                       og                                                )
                                                                                         jHi
                                                                                         ' storyofcirrhosi
                                                                                                         s                                                                                   (No                                                                              jMorgan,                                     j
                                                                                                                                                                                                                                                                                                                    05-07- j
            1                                              screening                     l
                                                                                         '
                                                                                         k
                                                                                                                                                                                             i
                                                                                                                                                                                             i
                                                                                                                                                                                                                                                                              jJuanetta '2020                                            k
                                                                                                                                                                                                                                                                                                                                         7
                V'
                 sCSO2OJBN00Q629 SCM -     '                                            d
                                                                                        kOtherGIiIsto,
                                                                                                     -
                                                                                                     y     -i                                                                                y
                                                                                                                                                                                             fr
                                                                                                                                                                                             j--lo                                                                            j
                                                                                                                                                                                                                                                                              ,uorgan
                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                    1:
                                                                                                                                                                                                                                                                                                                     46pm j
            j
            q                                             Recei
                                                              ving                      $                                                                                                    k-                                                                                                     ,              ,os-cz-
                                                                                                                                                                                                                                                                                                                   ,                     #
                                                                                                                                                                                                                                                                                                                                         k
            1
            :h
             A/CSO2OJBN000629 SCM -
                                                          jScreening                    t                                                                                                    j
                                                                                                                                                                                             l                                                                                ;
                                                                                                                                                                                                                                                                              $Juanetta j
                                                                                                                                                                                                                                                                                        k1
                                                                                                                                                                                                                                                                                         2:
                                                                                                                                                                                                                                                                                          04260pm ;
                                                                                                                                                                                                                                                                                                  #
                                                                                       i
                                                                                       jDo youcurrentlyhsve Cancer'  ?**l
                                                                                                                        fYES, what #No                                                                                                                                        '
           d
           k
           q                Screening                     Receiving 'typeofCancer?Areycucurrentl
                                                                                       i       ybei
                                                                                       ktreated?  ng                               )
                                                                                                                                                                                          '
                                                                                                                                                                                          f                                                                               ù
                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                              jMorgan, 0
                                                                                                                                                                                                                                                                          HJuanetta     5-07- j
                                                                                                                                                                                                                                                                                       2020
                                                                                                                                                                                                                                                                                       g
  .        3WCSO20JBNOO0629 Scl                                                                                                    j                                                                                                                                      #                                         .
                                                                                                                                                                                                                                                                                                                    .4(.
                                                                                                                                                                                                                                                                                                                       y;am             k
                                                                                                                                                                                                                                                                                                                                        ,
           4                   vi-                                                     ïCul
                                                                                       i    -
                                                                                            rentlyon Dialysi
                                                                                                           s? **IfYES whattype?    êNo                                                                                                                                    kM
           ?               'Rscaiving
                           j                                                           k
                                                                                       c Hcw nnanytinlas 7:1-week and $
                                                                                                                      onwl         j
                                                                                                                          natdays? '                                                                                                                                     y organ,                              ,   Q5-Q7-
           )                                          tScreeni
                                                             ng                        4Wl
                                                                                         aenwereyoulastdialy                       ,
                                                                                                                                                                                                                                                                         jJuai
                                                                                                                                                                                                                                                                             netz l2020                                                 y
           #'.
             ...--...-..-.......,
                                .
                                -..,
                                   .
                                   --...1-..
                                           -....-
                                                ..-....-....
                                                           ! ...-
                                                                ...                                    .   ..... ...       ... . .   zed?  ....    .      ..       ..
                                                                                                                                                                                         l
                                                                                                                                                                                         !                 . .                        ....
                                                                                                                                                                                                                                                                  /
                                                                                                                                                                                                                                                           .. . . .
                                                                                                                                                                                                                                                                                                               !1:46pf
                                                                                                                                                                                                                                                                                                                     ny'
           àkvcsO2OJBNOO0629 tSCM -        1
                                           .Ot     hersiglnificantMedicalconditions:                                                                                                                                                                                     ;                                     o
                                                                                                                                                                                                                                                                          ..........-... .... .. ........-.................. ..
                                                                                                                                                                                                                                                                                                                              .....-.., .
           .
           1                 k
                             !Receiving    j
                                           k                                                                                                                                             lna
                                                                                                                                                                                         r                                                                               ,Mol'pal-l j05-
                                                                                                                                                                                                                                                                         tJuanalla 1,20207
                                                                                                                                                                                                                                                                                        0- i
                                                                                                                                                                                                                                                                                           k
                                                                                                                                                                                                                                                                                           ,    .

           g ..              àScreeni
               -.-.--.. .. . :       ng. . '
                                           T
                                           .,...-......--. .......-...                                                                                                                   .
                                                                                                                                                                                                                                                                         !                 ;                  kj:
                                                                                                                                                                                                                                                                                                                46prn y
            ''                                                                          .         ..        -. . .... .. .... .
                                                                                                                          . .. ... . . - .                                           ..  t .. .. . - . -. . ..-...-..- --......-......... ......-...                     )
                                                                                                                                                                                                                                                                         .
                 ''-Q -'-- ii.F'-ej6J
                                    ?t: 1ï.1
                                           -*'isj-                                     ;!.-;n. s?:nz ;-.:
                                                                                                        c.,.-.a.cr.
                                                                                                                  ztc.-..:;.:
                                                                                                                            ',-.-.-zc-.-!.-m:r.'-'-.                                     C'. n                                                       .--.
                                                                                                                                                                                                                                                        ...--.--.----.
                                                                                                                                                                                                                                                                     -----.
                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                              2         .     ..   ..

           '
           ê.                                         qReceivlng                       lcl
                                                                                         isorcler?                                                                                       :                                                                               C
                                                                                                                                                                                                                                                                          j'a--
                                                                                                                                                                                                                                                                              <-..
                                                                                                                                                                                                                                                                                 -                            f(;C'
                                                                                                                                                                                                                                                                                                                  -'
                                                                                                                                                                                                                                                                                                                   =
                                                      .                  ;
                                           Eùk-
                                              il=ek1ik'i
                                                      ; .,                                                                                                                               2                                                                               '.Jr
                                                                                                                                                                                                                                                                            -h6:n6.tt:                        -20.î0                   ?
                                                        .#               j                                                                                                    r                                                                                                                               '.
         î';:
            '-   - 't-,Jbi. k   '
                                -       '                                                                                                                                                                                                                                I                                    )-1'?zi'po
                                                                                                                                                                                                                                                                                                                      . n 6
          t .
            .-
             t E,
                :s
                 .z        ..()('
                                !pt
                                  '
                                  :à2:
                                     4. a.
                                         $       t
                                                 j-                      '
                                         ,.5C;  !.                       ;   .
                                                                           h.ak.,.e you:)ast;-.ciIt'       i.g.  '1asau '          /./1ul';sc.
                                                                                                                                       '
                                                                                                                                               ');zc'p -.-;.-..
                                                                                                                                                              Jj'
                                                                                                                                                                .):aJ' '1.      1c;                                                                                       l$c;gan,
        !                               # - i..qr:r
        /                              tF.   e'-'E .. .                  r                                                                                                    y                                                                                         yk                                    y:25-:    ;ï'- g
        ?                              tScieetl.   .
                                                     ti
                                                      -4
                                                       ll'v*' b          )                                                                                                    )
                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                        jwvuaastta                            y.,
                                                                                                                                                                                                                                                                                                                :.z-.;:,w-. j:
        ! .                            Z                    .....-.--....(              .........-..............-,--..... .-...-..-.wo -.w.-.wwuxpxysmr.x. .v-.- ..m.......--.. .w .;.w ....--o-
      '
        rhh/csoz    t
                    -l-lEsî
                          xllltlt
                                Elezg tscf      ïd-                      'H'                                                                                                                                         u.w w woo ..m.a-v .$> s.ow =s>>=..w
                                                                                                                                                                                                                                                                        à
                                                                                                                                                                                                                                                                        >-. . .
                                                                                                                                                                                                                                                                              .....-...-        .        œl'
                                                                                                                                                                                                                                                                                                    c-swsv
                                                                                                                                                                                                                                                                                                              y,i,.z, .y)pm ,
                                                                                                                                                                                                                                                                                                                        .. .       v!'
                    .                                                       .s..,s...cz,been diagnosed as bipolar?                                                            ii'z                                                                                      1M
       ).                                         ,Receiving
                                                  j                                s
                                                                                   !                                                                                                 (                                                                                  ! organ, 1'c&07- 2
                                                                                                                                                                                                                                                                                  j       P
       :                                                                           I
                                                  lScreening                       #                                                                                                 E                                                                                  tJuanetta jj
                                                                                                                                                                                                                                                                        ;          2.
                                                                                                                                                                                                                                                                                    0420  2
                                                                                                                                                                                                                                                                                      :pm y
       1.                                         '                                j                                                                                                 )                                                                                  j         )
                                                                                                                                                                                                                                                                                  ;,      j
       $vvt
       !
       j  '
          :;E;t-
               92ûJBNC3Qû629'
                            jRe
                            çSCcMei
                                  -
                                  vi ng                                            yHaveyoubeendiagnosedwi
                                                                                                         tbmalor                                      ,
                                                                                                                                                                                     J
                                                                                                                                                                                     jNo                                                                                1Morgan, j
                                                                                                                                                                                                                                                                        #         k
                                                                                                                                                                                                                                                                                  .05-07- !
                                                                                                                                                                                                                                                                                          j
                                                                                   :depression'
                                                                                   y          ?                                                                                                                                                                         ,
       '
       i                   rfScreeriing                                            '
                                                                                   ?                                                                                                                                                                                 i   Juanetta I2020   2               11:46pm 2
       p .,                                                                                                                                                                          i                                                                               ,
                                                                                                                                                                                                                                                                                                          :.                       ?
       f$?vl
           '
           :;SO2t
                3JBi
                   kûO0629 (Scfki-                                                 i
                                                                                   'Hi
                                                                                     storyofsuicideattempts?=%'ifYES, when                                                           '
                                                                                                                                                                                                                                                                     :
       i
       .                  #'Receivi
                                  ng                                               ;wasIastattempt?
                                                                                   )                                                                                                 lNo                                                                             d
                                                                                                                                                                                                                                                                     'Morgan,
                                                                                                                                                                                                                                                                     i                                    j05-07- ;
                                                                                                                                                                                                                                                                                                                  1
       !                  pscreening                                               .
                                                                                   .
                                                                                   :
                                                                                                                                                                                     j                                                                               )Juanetta                            ..202û
                                                                                                                                                                                                                                                                                                          i                        @
       4vt-lrElsclzo.lshkctloozg gscM -
       .                                                                           7Fee;lnoc/slasso.-laetcless?
                                                                                   j                                                                                                 '
                                                                                                                                                                                     !No                                                                            J
                                                                                                                                                                                                                                                                     .

                                                                                                                                                                                                                                                                    rM
                                                                                                                                                                                                                                                                            rr.z!6pm !
                                                                                                                                                                                                                                                                            :
       k                                          'Vtpcei                                                                                                                          '                                                                                $ or
                                                                                                                                                                                                                                                                       gan, '
                                                                                                                                                                                                                                                                            ,05-07- t
       i                                          'screer
                                                        sz
                                                         ni
                                                          r
                                                          o'
                                                          i:
                                                           c'                      '
                                                                                   )                                                                                              i'                                                                                '
                                                                                                                                                                                                                                                                    ;Jcaneqa .
                                                                                                                                                                                                                                                                             h
                                                                                                                                                                                                                                                                             '2c20 r
       F                  !                       .
                                                                                   i                                                 ..-....-.
                                                                                                                                             - -.-.. .... . . .. ...    .       ..., . .                                                                            ,        t1..46 pm .                  .
                                                                                                                                                                                                 . . . .. ... ..-.                                                  '.        ,.$
      fwcsC)ztl-lI
                 B,.1
                    00062:!SCM-                                                    )Thioki
                                                                                         ngabouthudi
                                                                                                   ngyourself?                                                                    lNo                                                                               b
                                                                                                                                                                                                                       ..... -...-- .-.- ... ......--...--.-..- ....- .. .-          .. .       ..-----        .     . . .-

      ,
      !
      '                   8Receai
                           scr e.,1-,:                                             -
                                                                                   1
                                                                                   .                                                                                              r
                                                                                                                                                                                  !                                                                                 j
                                                                                                                                                                                                                                                                    #Suaastëa j
                                                                                                                                                                                                                                                                    ,Mo r
                                                                                                                                                                                                                                                                        ga n, r 05-07- )
                                                                                                                                                                                                                                                                              jj2020
                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                       ç
                                                                                                                                                                                                                                                                                       j
                                                                1
                                                                -
                                                                1ing?              $
                                                                                   .                                                                                              '                                                                                 '
      j-
       /:/
       ' 35020J8N000629 'Scfd                                                  ?
                                                                               'Tl
                                                                                 nooplltsofsui
                                                                                             ci
                                                                                              denow?**I
                                                                                                      fYES, doyou                                                                                                                                                  1                                    j1'
                                                                                                                                                                                                                                                                                                          .46pm t
                                                                                                                                                                                                                                                                                                                '
      ;
      k                lReceiving      :haveaplan?
                                       l
                                                            -
                                                                                                                                                                                 2
                                                                                                                                                                                 *
                                                                                                                                                                                 jl4o                                                                              jMorgan,
                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                        j05-07- 7
                                                                                                                                                                                                                                                                                                                j
      :vtlcsozolaNoooezg .
                         jscM
                          sci-eeni  og !                                                                                                                                         t                                                                                j
                                                                                                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                  'Juanett
                                                                                                                                                                                                                                                                         a /20
                                                                                                                                                                                                                                                                             42
                                                                                                                                                                                                                                                                            1.
                                                                                                                                                                                                                                                                            .  60
                                                                                                                                                                                                                                                                                pm                                                 ;
                                                                                                                                                                                                                                                                                                                                   )
                          Re            Famflyhistorycfsuicide?
                                                            -
                                                                               .
                                                                                                                                                                                 iNo
                          Scr
                            ceeein
                                 ving j                                        -
                                                                                                                                                                                j
                                                                                                                                                                                '
                                                                                                                                                                                1
                                                                                                                                                                                                                                                                  jJuanetta r2020 ;
                                                                                                                                                                                                                                                                                  '
           /CSO2OJBN0OO629 SCM                                                                .             . ........ .       ..    .            .        .       ..   .        ,                ,.             .      .        ... . . ...,    .       ..       1
                                                                                                                                                                                                                                                                  . .         . . ,... .. ..         !.1,
                                                                                                                                                                                                                                                                                                     .  .
                                                                                                                                                                                                                                                                                                        46pm i
                                                            -
                                                                                   Racentsignificantloss?
                                                  Receiving                    .
                                                                                                                                                                                iYas                                                                              )Morgan, 05-07-
                                                  screeni
                                                        ng                                                                                                                                                                                                       lJuanetta                                2020
      W CSO20JBNO0062                                                                                                                                                                                                                                                                                    1:46 pm
                     9 SCM -                                                   Are youthinking ofharming others? **lfYES, ùNc
                                                                              j
                                                                              'do youhave a plan?                         l                                                                                                                                     jMorgan,                                 05
   #
   !                                          .
                                                  Rec
                                                  Screivin
                                                    eeni  g
                                                         og                  j)                                                                                                 4                                                                               '
                                                                                                                                                                                                                                                                iJuarl
                                                                                                                                                                                                                                                                     etta                                20-207-
                                                                                                                                                                                                                                                                                                             0                 !
                                                                                                                                                                                                                                                                                                                               1
   #W CsO2OJBN0OO629 SCM -                                                                                                                                                      !
                                                                                                                                                                                .                                                                               #                                        1:46 pm 4
   '                i                                                        iHistoryofPsychhospital
                                                                                                   izations?**$fYES,                                                            çNo                                                                             !Morgan,                                05-07-                 '
   l
   '                .Receis
                          ./
                           ii
                            -'
                             g                                               :speci
                                                                                  ffvmeo                                                                                        )
                                               screeni
                                                     ng                      l                                                                                                  .
                                                                                                                                                                                1                                                                               tJuanetta                               2û2:                   t
      W CSO2OJBNO0O629 SCM -                                                                                                                                                    .                                                                               1                                       ,
                                                                                                                                                                                                                                                                                                        146 pm
                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                          .
                                                                              Historyofpsyhchotropicmedicatio
                       Receiving                                            l-
                                                                             .                               nsts)
                                                                                                                 .                                                              1No
                                                                                                                                                                                .                                                                                 Morgan.                             05-07-
                       Screening                                                                                                                                                                                                                                  Juanetta                            2020
      W CSO2OJBN00O629                                                                                                                                                                                                                                                                                1.46 pm
                       SCM -                                                jHistoryofsexualvictimizati
                                                                                                      on? **IfYES,
  1                                           Receiving                    Ispecifvwhen                              (
                                                                                                                     1 NO                                                                                                                                      j
                                                                                                                                                                                                                                                               'Mor
                                                                                                                                                                                                                                                                  gan,                               05-07-
                                                                                                                     ,
                                              Screening                    j                                                                                                                                                                                  jJuanetta                              20
                                                                                                                                                                                                                                                                                                     1:U  '
      W CSO20JBNO0O629                        S                                                                                                                                                                                                                             46 pm                         .
                                               CM -                         Historyofhospi
                                                                                         tali
                                                                                            zationforheadtrauma? **I
                                                                                                                   f 1N
                                              Receiving                    LYES, WhenandwhatHospital?
                                                                           '                                         1
                                                                                                                     jo                                                                                                                                       l
                                                                                                                                                                                                                                                              )Mor gan' 05-07-
                                             Screening                     ,
                                                                           1
                                                                           j                                                                                                j
                                                                                                                                                                            .
                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                Juanetta '2020
                                                                                                                                                                                                                                                                                                     1:46 pm
                                                                           d                                                                                            j                                                                                    i
wcso-medical
           /Modules/chaëhistol .php
                                                                                                                                                                                                                                                                                                                        18/70
          ICase 1:20-cv-23783-MGC
                               ww'u.,v,,xDocument        1 Entered
                                         -ra'xu,cuI1ka,ouoMo4I/<l      on
                                                                M-mvvt;=(
                                                                        .  FLSD
                                                                        J2OJ      Docket
                                                                            6NOOO629(10-24-109/11/2020
                                                                                            976)::Ful4Pati   Page
                                                                                                         entHi       135
                                                                                                              story$v5.5.0 of 276
          1wcso2oJBNooo629jsccMei-
                           Re    vi
                                  ng                                                               p
                                                                                                   '
                                                                                                   !hH'.i
                                                                                                   ê    story
                                                                                                        ES    ofafu
                                                                                                            speci
                                                                                                                   di
                                                                                                                    toryorvi
                                                                                                                  ywhich.
                                                                                                                   ,
                                                                                                                           sualhal
                                                                                                                                 tuci
                                                                                                                                    nations?**If'
                                                                                                                                                ç
                                                                                                                                                !
                                                                                                                                                 No                                                                                                                                                                                      jMorgan j05-07- j
                                                                                                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                                                                         DJ              1,
                                                                                                                                                                                                                                                                                                                                                                    ,


           wcsozclBhloooez: Screening                                                              j                                                                                                                                    '
                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                        4                                                                                                ,
                                                                                                                                                                                                                                                                                                                                         juanetta '
                                                                                                                                                                                                                                                                                                                                                  j2
                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                   10,200p. j                            ,
                                                                                                                                                                                                                                                                                                                                                                                         .

                            scM-
                              -
                                                                                                   1
                                                                                                   'Demonstratingviolentbehavior?                                                                                                       !
                                                          Receiving                   1
                                                                                      l                                                                                                                                           t
                                                                                                                                                                                                                                        kso
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                        !
                                                                                                                                                                                                                                                                                                                                 1zuanetta
                                                                                                                                                                                                                                                                                                                                             Morgan,                                  05
                                                                                                                                                                                                                                                                                                                                                                                      z  -07- '
                                                                                                                                                                                                                                                                                                                                                                                       tlzo
                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                              !
                                                          screel
                                                               ling                   j                                                                                                                                                                                                                                                  .                                            1.46pm j
                                                                                                                                                                                                                                                                                                                                                                                             h
          '.
          iw.cso2OJBNcOc629. ScM -                                                .. .-...- -.,
                                                                                              .... -..
                                                                                                     --.--...
                                                                                                            --.
                                                                                                              -..-.                                                                                                           --
                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                --# .
                                                                                                                                                                                                                                    - . .-..-...                                                                                .4                    . ..      .       ..           . . .. ... g.
          I                                               Recei
                                                              ving                               .
                                                                                                 j
                                                                                                 .Hi
                                                                                                 7 storyofMentalRetardati
                                                                                                                        on?                                                                                                             t
                                                                                                                                                                                                                                        1No                                                                                              lMorgan
                                                                                                                                                                                                                                                                                                                                         .

                                                                                                                                                                                                                                                                                                                                         '                      ,                    05-07- l
                                                          screening                              j                                                                                                                                      j                                                                                                jJuanetta q
                                                                                                                                                                                                                                                                                                                                         y         2.
                                                                                                                                                                                                                                                                                                                                                    04620pm j                            .
          t&CSO2OJBNO0O629 'SCM -                                                                4Developmel
                                                                                                           ntaldi
                                                                                                                sability?                                                                                                               1N
          k
          f
          i                                              Recei
                                                             ving                               ë
                                                                                                ;                                                                                                                                       b
                                                                                                                                                                                                                                        :o                           '                                                               jJMo
                                                                                                                                                                                                                                                                                                                                     j    rgan, 05-07-
                                                                                                                                                                                                                                                                                                                                        uanotta yroagj
                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                                                              j
          p                                              screening                              ;                                                                                                                                       j                                                                                            j          jg.4;pm
                                                                                                                                                                                                                                                                                                                                                j .(.                                                         j
                                                                                                                                                                                                                                                                                                                                                                                             .
          th/csozolBf
                    kcmo6zg #scu -                                                              r
                                                                                                ,Learning di
                                                                                                           sabili
                                                                                                                ty?                                                                                                                   t
                                                                                                                                                                                                                                      ,wo                                                                                            j                                                                        j
       k
       i                      Recei ving        /
                                                g                                                                  l                                                                                                                                                                                                                     àMorpan,
                                                                                                                                                                                                                                                                                                                                         k                                       àos-o7- k
                                                                                                                                                                                                                                                                                                                                                                                         p
       I                      screening         '
                                                -                                                                  ?                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                     -J
                                                                                                                                                                                                                                                                                                                                     k uanetta                                   !2c20 g
       ?tA,(csO2O
             .......... , ... .................01
                   JBNOOO629 1sCM -
                                                :..
                                                  ,
                                                  ..-
                                                    .-.....
                                                          -..
                                                            ,....
                                                                -.,
                                                                  .,
                                                                   -..........
                                                                             -,
                                                                              .-.,
                                                tSAD score(N/A ifnotapplicable)
                                                                                 ...
                                                                                   -..
                                                                                     ,
                                                                                     ..
                                                                                      -..-,
                                                                                          -.....
                                                                                               -..-......
                                                                                                        -.
                                                                                                         ,........
                                                                                                                 -.-
                                                                                                                   f
                                                                                                                   ,
                                                                                                                   j
                                                                                                                                                                                                                                                          . ..             .... .. ..                                    .           2
                                                                                                                                                                                                                                                                                                                                     't........              .. .                '
                                                                                                                                                                                                                                                                                                                                                                                 5
                                                                                                                                                                                                                                                                                                                                                                                  1:46pm j                    .


      '
      $                                                Receiving                b                                                                                                                                                   k
                                                                                                                                                                                                                                    /I7a
                                                                                                                                                                                                                                    y                                        ;Morgan,                       05-07-
                                                                                                                                                                                                                                                                             r  Jtl aoel   la             . 2020
      , --....... .---...-.. .....-..,...............-1screen i
                                                              ng                i
                                                                                1
                                                                 . ..............
                                                                                                                                                                                                                                    l                                        ?                              1:46 pm lt
                                                                                                                                                                                      1. ....................................................--.,...-.......-,..,.....- .-.,-ï
                                                                                r,...............--.....................................,......................,..........--.....,...-.                                                                                                                  à.... -. . .. ....--4
      ivvcso2oJBNoOO629,
      l                                               'ScM-
                                                     jRecei
                                                          vi
                                                           ng                   ;Urgent/EnlergentMentall
                                                                                               4                                                                         -
                                                                                                                                                                            leal
                                                                                                                                                                               tl)Referralfor'
                                                                                                                                                                                             . tN/A
                                                                                                                                                                                                                                                                             .... ....
                                                                                                                                                                                                                                                                                     ... ... .. . -..... .
                                                                                                                                                                                                                                                                                                                             (       tMorgan, /
                                                                                                                                                                                                                                                                                                                                              105-0,
                                                                                                                                                                                                                                                                                                                                                   7- j
                                                                                               ,                                                                                                                                    ,
      ---......-....-.-.-.-................-)l.-s  creei      aing ...,..:1   ,.-....,.--..........,.....                                                                                                                           -                                                                                                i
                                                                                                                                                                                                                                                                                                                                     r Jual
                                                                                                                                                                                                                                                                                                                                          netta k
      !                                         -..-..-.-.-.-.. . .. . . . ..
                                                                      ..    .    ..        .                                        .-......--......-........-. .-                     ..-.-.                                       y.                                                                                               L          i2
                                                                                                                                                                                                                                                                                                                                                7 10
                                                                                                                                                                                                                                                                                                                                                   4260pm l
                                                                                                                                                                                                                                                                                                                                                   :      !                  -

     /. ,'$'.,.-,r...-..'
                        ?,-.:iz.f.;-.ç,
                                      c,,
                                        R&.
                                          ?.7s.
                                              -;
                                               .i
                                                '-                                                                                                                                                     ... ... . ... . ... ..                        , . .                       .               - .             .              ..
                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                 ... .    t
                                                                                                                                                                                                                                                                                                                                                         ...                 6                       -.   .
      .                                                                                        7,7s,
                                                                                                   'xs.r-'..'
                                                                                                            rps---.-c-                                                                                                                  i.:,:.,'
                                                                                                                                                                                                                                               ..---.c---.'------                                                                    i.,c--a-                                'Lj= - -:                        '
     '                                q hlig:2tli  .
                                                    vqcll;                    J.
                                                                              :                                                                                                    I                                                                            ) ;            .         .:...
                                                                                                                                                                                                                                                                                          .:  4.. .
                                                                                                                                                                                                                                                                                                -0.
                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                          :
     i
     '                                e                                                                                                                                            t                                                                            $  .
                                                                                                                                                                                                                                                                   .l
                                                                                                                                                                                                                                                                    L18::3fAk ;y      ;J(
                                                                                                                                                                                                                                                                                      :                   !
               -........... .... ...- S$zlk-i
     ...........
     l                        ....    .-
                                                t,  , ItI $ .
                                                           ,.
                                                            ,,
                                                . . ... ...... .              r
                                               . ......w...a.- .. s.w...w ,-,w..
                                                                                                                                                                                   y
                                                                                 w.....z......x..........,-...w.. .........,m..,........ .. . .-..-.....,. ... . . . .......... ...;...,.gu,....,.....-....-..,.-.,.. ...,.-....-.....-.. ...-. -..-... .......,
                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                j.
                                                                                                                                                                                                                                                                                     l '
                                                                                                                                                                                                                                                                                       1 .
                                                                                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                                                                                          z +  6   pi n   r
     7t:?'
         !i
          --
           'C                                                                                                                                                                                                                                                  y...,..
                                                                                                                                                                                                                                                                     --..-...--..w-
                                                                                                                                                                                                                                                                                  .--.
                                                                                                                                                                                                                                                                                     c
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                     j...pr...
                                                                                                                                                                                                                                                                                          .      r
                                                                                                                                                                                                                                                                                                 m..,..
                                                                                                                                                                                                                                                                                                      -r--v
                                                                                                                                                                                                                                                                                                          .
     i .o.S .kOwiiiî..7-Clt7.
                            l()6.
                                kNa'-tF
                                      iSw 4**j.yi-                            W:-;raf(fjg.                                                                                         ,                                                                                                                       .
                                                                             ;
                                                                             ki-
                                                                                                -s.yja:1i-)g
                                                                                                          .                                                                        'Je't1
     k                                 Re    - e !  .'è -
                                                        .: -                                                                                                 '                     k .. ;     -ker-I    jo'
                                                                                                                                                                                                        '    -i
                                                                                                                                                                                                              a.f   fpacjf   'jcï,(2:),-:)!u        'ai-: j1'      x!
                                                                                                                                                                                                                                                                    )'
                                                                                                                                                                                                                                                                     aFga7., jU        '5-2     *.7-
                                                                                                                                                                                   )tazë!
                                                                                                                                                                                   .
                                                                                                                                                                                                 -.',-,z         .,.
                                                                                                                                                                                                            .la-.vs-     g..s.cë.;    .  ..j
                                                                                                                                                                                                                                         s    z,k
                                                                                                                                                                                                                                                ..aa(t   zt v  .                                          j
     ;                                ,
                                      qScreei       -li,h=g                  h
                                                                             r                                                                                                                                                        .
                                                                                                                                                                                                                                        ,-   -                  yjj.rzj-.
                                                                                                                                                                                                                                                                        ,s. qta r    8,'
                                                                                                                                                                                                                                                                                       jr
                                                                                                                                                                                                                                                                                        ..'  ,(tg         @
                                                                                                                                                                                                                                                                                                          .
     y                                $                                      l                                                                                                     ri -jahp       t
                                                                                                                                                                                                  ?occtlt      'reûi'iq/'       iêr'    ii
                                                                                                                                                                                                                                         'tl   'orniC;    it                         ,'i'
                                                                                                                                                                                                                                                                                        'z k..6 .   7m r
     !
     l,.......a,
               s..
                 -
                 ....---....,-
                             .,
                              ....
                                 ,
                                 ........../
                                           I....,..
                                                  -.
                                                   ...;.......,
                                                              .
                                                              ;.z..
                                                                  n.......-...-
                                                                              .                                                                           ..                                                                      tt
                                                                                                                                                                                                                                  i  i
                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                     aa.spod.a.cci
                                                                                                                                                                                                                                                 .d
                                                                                                                                                                                                                                                  .e
                                                                                                                                                                                                                                                   ....n
                                                                                                                                                                                                                                                       .t
                                                                                                                                                                                                                                                        )                                                                           t
                                                                                                                                                                                                                                                                                                                                    j                                       d
                                                                                                                                                                                                                                                                                                                                                                            j                             ;
     ttn/csc)2OJB!s.I000629 j
                                                                                                                                                                                                                   .. .         . .
                                            SCM               tSki                                                                                                                                                                                                                                          . .. .. . . . . . .. . ....                             . ...
                                                                                                                                                                                                                                                                                                                                                                        :....... ..-.va.uAo---.--;
                                                                                                                                                                                                                                                                                                                                                                            i05-07  - l
                                                                                               :                                                                                                                                    Unr emarkab le                                                                                  t
                                                                                                                                                                                                                                                                                                                                    'Morgan,
     y                                             ;Recei
                                                        vil
                                                          -
                                                           lg                                  )
                                                                                               .                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                    p                                       :                             i
                                                                                                                                                                                                                                                                                                                                                                                                          .
    i                                              LScreening                               !                                                                                                                                     !
                                                                                                                                                                                                                                  i                                                                                              gJuanetta j2020                                                          j
    î..-.-.-.
            ---
              . ......       i                                             ....-....i
                                                                                    ....-... ............-......,.....................-...........-.....,.......-.......................................-........,.,,.......,' ..........-.............. ............................-.........-........-.....-..-...-............-....--.t
                                                                                                                                                                                                                                                                                                                                          6.... . .
                                                                                                                                                                                                                                                                                                                                                                         k 1:46pr;l ;
     'vcsozo-lBr     kcoo6z: k
                             iscu -                                                         'uobili
                                                                                                  h'
                                                                                                   .Restrictions                                                                                                                '                                              ..                                                                                        j....
                                                                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                                                                        ..   -.
                                                                                                                                                                                                                                                                                                                                                                              -.........à
    à
    )
    .
     v                         .                   t
                                                   k
                                                    Racei
                                                        ving                                :
                                                                                            )
                                                                                                                                                                                                                                !
                                                                                                                                                                                                                                yotheouote speci
                                                                                                                                                                                                                                  i-j,-,
                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                       h(,
                                                                                                                                                                                                                                         e,s;
                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                             ''
                                                                                                                                                                                                                                              x
                                                                                                                                                                                                                                              e  - 1 -
                                                                                                                                                                                                                                                     <
                                                                                                                                                                                                                                                      fics(ptstates j
                                                                                                                                                                                                                                                      , c,
                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                         6',
                                                                                                                                                                                                                                                           s
                                                                                                                                                                                                                                                           .  b
                                                                                                                                                                                                                                                              t',
                                                                                                                                                                                                                                                                ('
                                                                                                                                                                                                                                                                 ,J
                                                                                                                                                                                                                                                                  's
                                                                                                                                                                                                                                                                   c,s
                                                                                                                                                                                                                                                                       !Morgan, p
                                                                                                                                                                                                                                                                       pJual
                                                                                                                                                                                                                                                                           net
                                                                                                                                                                                                                                                                             t/   k
                                                                                                                                                                                                                                                                                    c5-c7- '
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                  , 202G   )
    h                                              !Screening                               j                                                                                                                                   ;trotlbleî&,8$l
                                                                                                                                                                                                                                              rlng::,L!etowh /eal.                j.       s
    #wcsozlsBlsqltloll6z: $scM -
                        -                                                                   7pl
                                                                                              np/si
                                                                                                  calAiès                                                                                                                       1                               ûàless)!            1.46pm I
                                                                                                                                                                                                                                . wone                                 !Morgan, l05-
    i                     iRecei
                               vino                                                         i
                                                                                            .
                                                                                            ,                                                                                                                                   1
                                                                                                                                                                                                                                '                                                      07- )
                                                                                                                                                                                                                                                                                           .
    !
    ; . . ....-    .. ...i
                         !scr
                            e.en.i
                                 n'i
                                 . . ..                                             . ..
                                                                                           j                       ..         .                     ..                                         .              .
                                                                                                                                                                                                                               $
                                                                                                                                                                                                                               i'
                                                                                                                                                                                                                                                                                                                                )
                                                                                                                                                                                                                                                                                                                                Fwluanette j
                                                                                                                                                                                                                                                                                                                                           !2
                                                                                                                                                                                                                                                                                                                                           -,1c 20pm ,q
                                                                                                                                                                                                                                                                                                                                              :46
    lï/b
       /csozolBsoooeag scv -                                                               4
                                                                                                                                                                                                                                                                                                   .                            .
                                                                                                                                                                                                                                                                                                                                 ',---:.?- tc'q n'v- 8k,
                                                                                           7Deef                                                                                                                               ù.?-                                                                                             kr                                                               .

    i
    l'                                            iRc
                                                  1Serc
                                                      ee
                                                       ei
                                                        v
                                                        ni
                                                         n
                                                         ng
                                                         i:                                ;
                                                                                           -                                                                                                                                   r                                                           '                                    ..!'
                                                                                                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                                                                                l  .'
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                    ao
                                                                                                                                                                                                                                                                                                                                     -efta
                                                                                                                                                                                                                                                                                                                                         ' 1iiJ
                                                                                                                                                                                                                                                                                                                                              ?'
                                                                                                                                                                                                                                                                                                                                               0 j
                                                                                                                                                                                                                                                                                                                                                                                     -


                                                                                           ,..-- . .......- .- .. -                                                                                                           ).......,-,.. , .... ..
   )
   tl'
     .'
    .tCSO2OJBNOO0629lSCM- '
                           Receiving
                                                                                           -EJ1
                                                                                           '
                                                                                           :
                                                                                              i
                                                                                              r:
                                                                                               c'
                                                                                                ,
                                                                                                :.,
                                                                                                  i
                                                                                                  E
                                                                                                  k
                                                                                                  '
                                                                                                  i:
                                                                                                   .
                                                                                                   r
                                                                                                   4l
                                                                                                    mpzi
                                                                                                       red                                        .                    ..      .     . ,.               .           .,

                                                                                                                                                                                                                              gè
                                                                                                                                                                                                                              j
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                               .
                                                                                                                                                                                                                               1z                .                                   -           .
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                               -......-
                                                                                                                                                                                                                                                                                                                              rMorgan..
                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                       ,-
                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                        4
                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                        .!
                                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                        05
                                                                                                                                                                                                                                                                                                                              l-lt/aneitc
                                                                                                                                                                                                                                                                                                                                          4
                                                                                                                                                                                                                                                                                                                                          ..7-.p
                                                                                                                                                                                                                                                                                                                                           6
                                                                                                                                                                                                                                                                                                                                          -0
                                                                                                                                                                                                                                                                                                                                        2020
                                                                                                                                                                                                                                                                                                                                               .-
                                                                                                                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                                                                                                c,
                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                 --tp
                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                    l
   (                      ,Screeninn                                                    t                                                                                                                                     !                                                                                               y                                         .                                 ;
   i!.r,.J(                                                                                                                                                                                                                                                    y                     .
                                                                                                                                                                                                                                                                                                                                                                        i1.
                                                                                                                                                                                                                                                                                                                                                                          46 pn-i ;
   ? :lso:  .
            ?c.
            : -jB!
                 x!f
                 ' )$0c629 scM -                                                        i
                                                                                        tplacement                                                                                                                            t
                                                                                                                                                                                                                              1other.(willdiscussIaousingwitln ,Morgan,
                                                                                                                                                                                                                                                                                                                                                                                                     we
                                                                                                                                                                                                                                                                                                                                                                            05-07- .
   j
   ,                  Screening                    Receiving                           j
                                                                                       i9
                                                                                        k
                                                                                        .
                                                                                        .
                                                                                                                                     j
                                                                                                                                     d
                                                                                                                                                                                                                              tHSAduetohungerstrike)                                                                          lJuanetta 2020
                                                                                                                                                                                                                                                                                                                              j
    $A.                                                                                                                                                        j                                                                                                                                                                                                        1,
                                                                                                                                                                                                                                                                                                                                                                         '46pra
      /CSO2OJBNO0O629 SCM -                                                            pReferral**Please i
                                                                                                         ndicate reasonforreferralin !Ini
                                                                                                                                        ti
                                                                                                                                         alHeaI
                                                                                                                                              thAss
                                                                                                                                                  essment(
                                                                                                                                                         Wit
                                                                                                                                                           hin  Morgan,
                                                   Receiving                           kbox
                                                                                       y                                             y                                                                                                                                                                                                                                  05-07-
                                                  Screening                            ' .
                                                                                       j                                                                                                                                     l14days)                                                                                            Juanetta                               2020
                                                                                                                                                                                                                             j                                                                                                                                          1.
                                                                                                                                                                                                                                                                                                                                                                         46pm
    W CSO20JBNO00629 SCM -                                                        Referral**Please i
                                                                                                   ndicatereasonforreferralin Provider-Routine                                                                                                                                                                                *Morgan,
                     Receiving                                                  . box                                                                                                                                                                                                                                                                                   05-07-
                     Screening                                                       .                                                                                                                                                                                                                                         Juanetta                                 2020
    WCSO20JBNOO0629 SCM -                                                             1Referral**Pleaseindi
                                                                                                          cater
                                                                                                                                                                                                                                                                                                                             l                                          1,
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         46pm
                                                  neceivfno 'box                                                                                                    easonforreferralin)MentalHeajth-Routine                                                                                                                  jMorgan, 05-07- j
                                               'screenin'
                                                        ;                             à .
                                                                                      -                                              .                                                                                    j
                                                                                                                                                                                                                          '
                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                          ,                                                                                                  !Juanetta 1
                                                                                                                                                                                                                                                                                                                                       2o46
                                                                                                                                                                                                                                                                                                                                          2cpm jl                           .
                                                                                                                                                                                                                                                                                                                                                                            .
  .!!v'
      (:)
        SC)2()JI
               -
               )N000:29 SCM
                        R -                                                           lNotificati
                                                                                                ons                                                                                                                       '                                                                                                               :)7- l
                                                  ercei
                                                      ving                            1
                                                                                                                                                                                                                          ,lillill
                                                                                                                                                                                                                                 ----edi
                                                                                                                                                                                                                                       atesupelvisol
                                                                                                                                                                                                                                                   -                                                                         )Morgan, ios
                                                                                                                                                                                                                                                                                                                              Juanet                                            -

                                                 sc eening                            i                                                                                                                                                                                                                                             ta 2020
                                                                                                                                                                                                                                                                                                                                                                    1.46 pm
   WCSO20JBNOO0629 SCM-
                   Recei
                       vi
                        ng
                                                                                    j
                                                                                    Notificati
                                                                                    j
                                                                                             ons                                                                                                                             OnCatlProvi
                                                                                                                                                                                                                                       der                                                                                jMorgan,                                  Q5-07-
                                                 Screeni
                                                       ng                           j                                                                                                                                                                                                                '                    iJuanetta
                                                                                                                                                                                                                                                                                                                          j                                         2020
   WCSO2()JBN00Q629 SCM -                                                           t'                                                                                                                                    j. ...         ...          .             ''            '
                                                                                                                                                                                                                                                                                ... . .. . .             . ..... ...
                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                                          3     . .          .           .
                                                                                                                                                                                                                                                                                                                                                                    1:46 pm.
                                                                                                                                                                                                                                                                                                                                                                    .

                    Receiving                                                       !
                                                                                    2OrdersGi
                                                                                            ven                                                                                                                          jN/A                                                                                                 Morgan,                               C5-O7-                            '
                                                Screeni
                                                      ng                                                                                                                                                                 1                                                                                                    Juanetta                              2020
   wcs                                                                                                                                                                                                                   j                                                                                                                                          1:46pm
           o2oJBNooo629 scv-                                                       jxurseAppointmentReferral                                                                                                             1xone
                                               Receiviog j'
                                               Screening
                                                          j                                                                                                                                                              '
                                                                                                                                                                                                                         j
                                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                         jJ
                                                                                                                                                                                                                                                                                                                         'Muoar
                                                                                                                                                                                                                                                                                                                              n
                                                                                                                                                                                                                                                                                                                              ge
                                                                                                                                                                                                                                                                                                                               at
                                                                                                                                                                                                                                                                                                                                n
                                                                                                                                                                                                                                                                                                                                ta
                                                                                                                                                                                                                                                                                                                                 ,'12
                                                                                                                                                                                                                                                                                                                                    00
                                                                                                                                                                                                                                                                                                                                     52
                                                                                                                                                                                                                                                                                                                                      -007- j
                                                                                                                                                                                                                         ,                                                  .                                            j                                          1:46pm
wcso-medical/Modules/chafhistol .php
                                                                                                                                                                                                                                                                                                                                                                                             19/70
                 Case OJBN0Oo629jMentalHeww
                 wCsO21:20-cv-23783-MGC
                 j                       alt'h.-'v..yiDocument
                                                      x-.xcnwu-,tw,xoco-.
                                                                     1 'oEntered
                                                                         $I/llu-pvvt;lon
                                                                                      ;f
                                                                                       .
                                                                                       -)kl
                                                      GO:Doesarrestingofficerbelieveindi
                                                                                          (
                                                                                          JJeN0O062
                                                                                          FLSD
                                                                                          vi
                                                                                                   9(10-24-109/11/2020
                                                                                                  Docket
                                                                                            dual lNo
                                                                                                            976)::FullPati
                                                                                                                         entHi
                                                                                                                             storyIv136
                                                                                                                            Page    5.5 of 276
                                                                                                                                1Mo 0
                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                  .


              !
              d                                                            screeni
                                                                                 ng                      'may be asui
                                                                                                         j          cide ri
                                                                                                                          sk?                                                                                      1
                                                                                                                                                                                                                   j                                                                                                  rgan,                         05-07-
                                                                                                                                                                                                                                                                                                                  ,Juanetta                         2020
                 wcso2cJBNoco629 MentalHealth g
                                              , stlaeindividualdirectlycomingfroma j
                                              lG0:I
                                              j                                    1Nlo
                                                                                                                                                                                                                                                                                                                  jMorgan .1:50pm (
              *
              '                                                            Screening                    1
                                                                                                        !l
                                                                                                        '
                                                                                                        bAo
                                                                                                          calcrisisstabili
                                                                                                                         zationhospi
                                                                                                                                   tal?(ie.Baker                               .                                 4                                                                                                 Juanetta
                                                                                                                                                                                                                                                                                                                                      ,          1
                                                                                                                                                                                                                                                                                                                                                 j05-007- ll
                                                                                                                                                                                                                                                                                                                                                  202
                                                                                                             ct 5150 !
                                                                                                                     k12 -;DO i
                                                                                                                              fyes,
              j
              .                                                                                         4disc'harge'pape
                                                                                                        .
                                                                                                        j              'rl
                                                                                                                         .S,provl
                                                                                                                                .u-
                                                                                                                                  edo)
                                                                                                                                     -btainROlifno j
                                                                                                                                                   1                                                                                                                                                            j                               t
                                                                                                                                                                                                                                                                                                                                                31:50pm )
                                                                                                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                 '                              j                               /
             i                                                          Screening                      dsymptomsofacti
                                                                                                       j              vepsychosis?(ie.disoriented 1                       .
                                                                                                                                                  à                                                                                                                                                             ,.Juanetta                          2020
                                                                                                       )totimepersonplace,showssymptomsof         @                                                                                                                                                             j                                   j.5cpm
                                                                                                   iparanoia, unabletofocusattention dueto        .
                                                                                                                                                                                                                :
                                                                                                                                                                                                                j                                                                                               h
                                                                                                                                                                                                                                                                                                                j                                     .

            #
            '                                                          1                        . 1iactivelyrespondingtointernai                :                                                                                                                                                               j                               1
                                                                                                                                                                                                                                                                                                                                                '
            j                                                          j                               ;d
                                                                                                        se
                                                                                                         ti
                                                                                                          m
                                                                                                          tau
                                                                                                            i
                                                                                                            ls
                                                                                                             li
                                                                                                              /hallucinati
                                                                                                              )          onslti
                                                                                                                              fyes,provi
                                                                                                                                       despeci
                                                                                                                                             fi
                                                                                                                                              c )                                                                                                                                                               j                              ;
             7VVCSO2OJBN0OO629 MeatalHealtln                                                           f'
                                                                    yDE.Are youcullentlythinking ofkilling or  .                     ..
                                                                                                                                                                                                               p
                                                                                                                                                                                                               f
                                                                                                                                                                                                                                                                                                               i                               y                                p
                                                                                                                                                                                                          ji.ko                                                                                                l
                                                                                                                                                                                                                                                                                                               jMorgan                         .
             y
             :                              Screeoing               j
                                                                    '
                                                                    tI nurëingyourself?                                                                                                                                                                                                                                  05-07-   ,
             t                             j                        t                                                                                                                                     j
                                                                                                                                                                                                          '                                                                                                   tJuaneiia 2620 ,
            1
            l-u
              ïu
               /.
                :
                3u
                 z
                 /s
                  t.
                   uuz
                     œ
                     .
                     u.
                   D5(u-.
                      k 2
                        ..:
                      720 ..
                           1..
                             u.u
                               :u.
                                 z.sz
                                    ---
                                      .
                                      u:
                                       uu
                                        w.
                                         -.
                                          -
                                          /wJ
                                            .
                                            w...$
                                                .-.-......
                                                         -...-..
                                                               u
                                                               -.
                                                                -...'
                                                                    ..--.--a...--.xu.L.uu- .uu:x.v....-----.--u.--.-.--..-.v.w.w...'>-.......xw.-,...-...-......,.--.....-.......-..-.u0....-..w..,..-...4;. . ....                                                                                           1
                                                                                                                                                                                                                                                                                                       .-.--..Z
                                                                                                                                                                                                                                                                                                                       ' 1:50pm '
                          -)81-.
                               !000629 ?lh   /iel
                                                nfalHeaI    th 7DF;Do you currentlyfeellike giving up onIife 7                                                                                                                    . ..........-...
                                                                                                                                                                                                                                                 .......=..................-......--.- .-....
                                                                                                                                                                                                                                                        .        .                          - .u.....--.       .au:..l.
                                                                                                                                                                                                                                                                                                                      ,.zz..a.x..x-w.., .. .........
                                                                                                                                                                                                                                                                                                                                                   -..... .........-....
                                                                                                                                                                                                                                                                                                                                                                       t
            C'                                                                                                                                                                                           :T qlo                                                                                             l
                                                                                                                                                                                                                                                                                                            jh4orgyrh,                                                       j
                                                                                                                                                                                                                                                                                                                                              05-07-
            ,
            r
            '
                                                                    '
                                                                    t
                                                                    C
                                                                    t
                                                                     scg
                                                                       oeni
                                                                          ng j
                                                                             ,b
                                                                             '
                                                                             (
                                                                             -eea
                                                                               vca
                                                                                 r u
                                                                                   s
                                                                                   b
                                                                                   eeat
                                                                                    I
                                                                                    f
                                                                                      hl
                                                                                      be
                                                                                       r
                                                                                       ee
                                                                                        t
                                                                                        oi
                                                                                         s
                                                                                         d
                                                                                         ono
                                                                                           t
                                                                                           t
                                                                                           ohr
                                                                                             i
                                                                                             na
                                                                                             ngk
                                                                                               p
                                                                                               eot
                                                                                                 u
                                                                                                 hc
                                                                                                  a
                                                                                                  i
                                                                                                  n
                                                                                                  gn
                                                                                                   sc
                                                                                                    l
                                                                                                    o
                                                                                                    t
                                                                                                    a
                                                                                                    en
                                                                                                     t
                                                                                                     to
                                                                                                      wf
                                                                                                      a
                                                                                                      i
                                                                                                      -oo
                                                                                                        rwi
                                                                                                        i
                                                                                                        - l
                                                                                                          .,
                                                                                                           j
                                                                                                           '                                                                                                                                                                                               t
                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                           ,,
                                                                                                                                                                                                                                                                                                               Jzanetsa                       2o2o
                                                                                                                                                                                                                                                                                                                                             ,1:5c pra                      )
                                                                                                                                                                                                                                                                                                                                                                            F
            j                                                       y        )yourse                         orcurrentsituation?            '                                                                                                                                                              '                                 l                              j
                                                                                                                                                                                                                                                                                                                                                                            ï
            '
            iy/csozolBsotloezg '
                               rMiecta!Health k                                                                                             g                                                                                                                                                              ;                                 ,
            :'                                                     ;.:'
                                                                      fc.'-een.;:-.;.                koE.vvi
                                                                                                           thinthel
                                                                                                              .    astaodayshaveyouseri
                                                                                                                                      custy $
                                                                                                                                            i
                                                                                                                                             No                                                                                                                                                            k M
                                                                                                                                                                                                                                                                                                           ; organ.                          dos-cp-
                                                                                                                                                                                                                                                                                                                                             k                              a
                                                                                                                                                                                                                                                                                                                                                                            p
                                                                                                    ; oal
                                                                                                        csiéeref rti!!i'
                                                                                                                       .qqs7:.-.u'nicr'-..'.- u'.      .
                                                                                                                                                -s.a.,...è,                                                                                                                                                :
                                                                                                                                                                                                                                                                                                                        .
         i                                                                                                                                                                                                .                                                                                                . ..juar;. ,.:
                                                                                                                                                                                                                                                                                                                    3:x                      :z
                                                                                                                                                                                                                                                                                                                                              ...-.-,.u-..,.--.
         :                                                         :                                )                                                                                                     7                                                                                                                                   .,..5,
                                                                                                                                                                                                                                                                                                                                                   7r,l-r-t r
        ii.
          /.
           2C;SO2(
                 lJE)hxl
                       ()9:)626
                              - '                                                                                                                                                                                                                                                                          r                          -... j.
                              0 l
                              .    vlcr;ts)h)t
                                   '         .
                                             9.
                                              ';lti
                                                  3 jD(E':AriR'z'
                                                                ci;:a';;rrArit1*
                                                                               ),
                                                                                .Gh'.
                                                                                    q;-
                                                                                      g.
                                                                                       :5:
                                                                                         f'.,
                                                                                            b'
                                                                                             i
                                                                                             th',.
                                                                                                 ,,'h
        ;
        '                       ;
                                '''                                                                 5,F;tk,'.,'c.,;JIc7 t.t-1o                                                                .                                                                                                            ?
                                                                                                                                                                                                                                                                                                           .. p
                                                                                                                                                                                                                                                                                                              ...
                                                                                                                                                                                                                                                                                                                $c,rgyr:                    ;Ot5-07-
                                                                                                                                                                                                                                                                                                                                            i                               7
        .
                                  i
                                  .izc:
                                      -'
                                       s 0
                                         ..
                                          -I
                                           la?
                                             r      ?t
                                                     ';
                                                      a  csnsiday -ac   a zrkazl ti
                                                                                  lng crtc-
                                                                                          ksQ '
                                                                                              .i
                                                                                               .s                                                                                                                                                                                                                               ,                                           i.
        û                       i
                                .l                  ôchild nnotestetion,                      '1 r.q'   o:l-i.:  f.:' '          .                                                 .                                                                                                                       '.Ju
                                                                                                                                                                                                                                                                                                              'ioristt
                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                     a                      -2'
                                                                                                                                                                                                                                                                                                                                              22:
                                                                                                                                                                                                                                                                                                                                              : ?                           '
        i                                                          ?                                2.               reoe,crson..   -'et&7te a ch!!
                                                                                                                                  rr'             -,,                                                                                                                                                      )                                s.
                                                                                                                                                                                                                                                                                                                                             !.j()r,.                       q
        ?                                                          !,                               rcrveltyt,
                                                                                                             aa!
                                                                                                               narlima!''agzravata'
                                                                                                                                  jcïcim ectl
                                                                                                                                            'c      #                                                                                                                                                      '                                '                               '
        .                                                          '                                JvioIence)                                                                                            !
                                                                                                                                                                                                          '
                                                                                                                                                                                                          .                                                                                                !
                                                                                                                                                                                                                                                                                                           w                                i
                                                                                                                                                                                                                                                                                                                                            !                               t
                               ....                      .. j                                                                                                                                             .                                                                                                ;                                j
                                                                                                                                                                                                                                                                                                                                            ,                               !
                                                                                                                                                                                                                                                                                                                                                                            :
         A/CSO2OJBNOOO629r
        it               1i
                          viern
                          gc  et
                               ani
                               elH
                                 ngeal
                                     th l
                                        .Go
                                        1i .  Doestheindividualshcvt,si
                                                                      gcscf        , Nc                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                                                                           )Morgan.                         j :7- l
                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                            '05-
        ;                l              rnteli
                                             ,ectuatdefi
                                                       citsordevel
                                                                 opmentaldi
                                                                          sabili
                                                                               ty? :
                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                           p-iuanetta tzt'
                                                                                                                                                                                                                                                                                                                         zlJ >
                                                                                                                                                                                                                                                                                                                        . ..

        ;                                                          :        .                       i                    .                                                                                                                                                                                 '          k-
                                                                                                                                                                                                                                                                                                                       ;sopm p
         'ï&CSO2OJBN00O629 lhlentap
                                  . Health                                                         p                                                                                                                                                                                                   i                                   1'                           I
                                                                                                                                                                                                                                                                                                                                                                        j
         l                 ï                                                                       1:GO:Isthe i ndipi
                                                                                                                    dualcurrentlyreturningfrcm a bNlo                                                                                                                                                  !rslchrgzn,                          05-07-                      '
        g                  ;Screening                                                              !'statehospitaiorcot
                                                                                                                      artorderedcompetency       .                                                                                                                                                     .      -
                                                                                                                                                                                                                                                                                                                                           !                            (
                                                                                                                                                                                                                                                                                                                                                                        1
        I                  t                                                                       ,restorationoramotionalstabi iizati
                                                                                                                                     on?(if      !                                                                                                                                                     ;-;'
                                                                                                                                                                                                                                                                                                          ..0-'
                                                                                                                                                                                                                                                                                                              'e,'6.                       :2020                        r
        k
        ,                  #                                                                       '
                                                                                                   gobtai nmêdi cati                       yes,
                                                                                                                   onordersforcontinuity()fcare) j                                                                                                                                                     .                                   !..
                                                                                                                                                                                                                                                                                                                                           ( l.yj-,pm                   i
        ' /cso2OJBNOoO629 M                                                                                                                                                                            :                                                                                               t                                   t                            j
                                                                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                                                        .
        ëï.
          A                   entalHealtln                                                          (GO:lndi
                                                                                                    S         vidual'
                                                                                                                    sfirsttimeinjailAND ihe                                                            1
                                                                                                                                                                                                       .
                                                                                                                                                                                                         No                                                                                           1Morgan, i05-07- l
                                                                                                                                                                                                                                                                                                                       f
        j                 1lscreen i
                                   n g                                                              jin
                                                                                                    fiddi
                                                                                                        v idual i
                                                                                                                s presentingastransgenderor                                                            h                                                                                              jJuanetta                       .21-
        C                                                                                                                                                                                                                                                                                                                                1.J50  y-u-                  i,
                                                                                                   .r en tifgn gastranssexual?. .                                                                      ;                                                                                              (
                                                                                                                                                                                                                                                                                                      .                                                               .
        i                                                          '
                                                                                                                                                                                                                                                                                                      l............................-.. .--..:          pm 1
                                                    .                                                        ..                                                                                        -
     iwcs020J51:000629jMentalHeaIth 2DE:indivi
                                             dual'
                                                 sfi
                                                   rsttimei
                                                          njai
                                                             lancl<18or                                                                                                                                -
                                                                                                                                                                                                       ,
                                                                                                                                                                                                              - - ............. ....... ... ................... ....-......-......
                                                                                                                                                                                                                                                                                 .-.....................               ..                   ......-..................
                                                                                                                                                                                                                                                                                                                                                          ..        . (
                                                                                                                                                                                                                                                                                                                                                                    ....
                                                                                                                                                                                                                                                                                                                                                                       ;
     i                sScreening t7,547                                                                                                                                                                'No
                                                                                                                                                                                                       i                                                                                             :Mcrgan,                             j05-07- /
                                                                                                                                                                                                                                                                                                                                                  (
     j                        g              .
                                                                   j                               !                                                                                                  :                                                                                              LJuanetta '2
                                                                                                                                                                                                                                                                                                     t           0
                                                                                                                                                                                                                                                                                                                j.
                                                                                                                                                                                                                                                                                                                  20
                                                                                                                                                                                                                                                                                                                 scpm
     'k/
       :/:5:.
            5/
             326/.18f.1000629 jMentalHeaith )DE:Haveyouevefcommi
             .
                                                               ttedsexualassault                                                                                                                      'No
                                                                                                                                                                                                          owww os                                                                                          . ..      .. . .
                                                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                     1
                                                                                                                                                                                                                                                                                                     :
                                                                                                                                                                                                                                                                                                     'Iïécrpan,
     i
     y                                                         i
                                                               .Scr
                                                                  eening                        i
                                                                                                .towardsanother?
                                                                                                j                                                                                                  !
                                                                                                                                                                                                   .
                                                                                                                                                                                                      .

                                                                                                                                                                                                                                                                                                     9buanetta                            /
                                                                                                                                                                                                                                                                                                                                          ,05-0
                                                                                                                                                                                                                                                                                                                                           20207- '
                                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                                                  i
    .                                i                                                                                                                                                             '                                                                                                ;!
                                                                                                                                                                                                                                                                                                     (                                 t j..
                                                                                                                                                                                                                                                                                                                                           ,(
                                                                                                                                                                                                                                                                                                                                            ;j
                                                                                                                                                                                                                                                                                                                                             py
                                                                                                                                                                                                                                                                                                                                              s                         ;
    1%%,CSO2OJBNO0O629 r
                       lMentalHealth ;                                                                                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                                                                                     .
                                     kDE.                                                                                                                                                          ;
                                        . Have y
                                               ou everbeenidentified to have                                                                                                                       tHo
    )                                                         iScreening
                                                              -.                                #vi
                                                                                                  olentbehaviortoz/ardsothers?                                                                     ?                                                                                                :(
                                                                                                                                                                                                                                                                                                     tf
                                                                                                                                                                                                                                                                                                      iorgan,                            :tis(s.
                                                                                                                                                                                                                                                                                                                                         j                              ;
                                                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                   i Juanetta                            ?2020                          r
    1.
     ,
     .-  .
         ..
          .....     3
                    ..
                     -----. th ki1DE
              ...-....--.-..--....--,.
                                     ..,..
                                         -.-.-.-.....-.--.-.-...
                                                                                  $
                                                                                  ? -..--...-.,---..,,
                                                                                                     , . .. ... ..       ..
                                                                                                                          .. .       ..    .. .
                                                                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                         i'-f'.-,-:':/ -,r-kr.,-, k
    i
    'wcso2oJBNooo629 MentalHeal                                                                                                                            .      ..... .. .       . ,.   .        ;-                      .                                 .. . ......           .,.       . .. ,t . . . . .                      ..          .
                                                                                                                                                                                                                                                                                                                                                     %-' .''
                                                                                                                                                                                                                                                                                                                                                     i-'
                                                                                                                                                                                                                                                                                                                                                    . -....         4
                                                                                                                                                                                                                                                                                                                                                                  ...
                                                                                                                                                                                                                                                                                                                                                                    ,
                     Screening .j
                                /
                                pyou:b
                                     wi
                                      ee
                                       th
                                        nin
                                          at
                                           v
                                           hi
                                            e
                                            ctp
                                              imasotf1s2eOxu
                                                           ha
                                                            ol
                                                             ua
                                                              rss(a
                                                                  5udlays)
                                                                      tor ha
                                                                         phyv
                                                                            se
                                                                             ical )
                                                                                  iNo
                                                                                  k                                                                                                                                                                                                                jMuaor
                                                                                                                                                                                                                                                                                                   jJ   get
                                                                                                                                                                                                                                                                                                        nan
                                                                                                                                                                                                                                                                                                          ta, 0520
                                                                                                                                                                                                                                                                                                              20-07-
                                                                                                   abuse?                                                                                         l                                                                                                j                                      1:5:pm
.    W CSO2OJBN0O0629 MentalFlealth                                                              DE:W ithinthepasttw
                      Screening                                                                 have youexperiencedothweeks,
                                                                                                                       oughtsitncl
                                                                                                                               hatudi
                                                                                                                                   tng
                                                                                                                                   i i
                                                                                                                                     s
                                                                                                                                        today, jNo
                                                                                                                                               9
                                                                                                                                               j
                                                                                                                                                                                                                                                                                                      Morgan
                                                                                                                                                                                                                                                                                                     Juanetta,                            05-0
                                                                                                                                                                                                                                                                                                                                          20207-
                                                                                               runlikelyyouwillexperience realsatisfaction in p
                                                                                               j                                                                                                                                                                                                                                          1'
    l                                                       .1                                 '
                                                                                              .,
                                                                                               5
                                                                                                the futur
                                                                                                        e ?                     .             ,:
                                                                                                                                               i                                                                                                                                                  Ik                                       . pm
                                                                                                                                                                                                                                                                                                                                           50
                                                                                                                                                                                                  it
    l
    iwcso2OJBI
             kôOt)629 Mern
                      Sc et
                          anliH
                          e   ne
                               gal
                                 tln )
                                     )DE
                                       o:
                                      prfiA
                                          ler
                                            e
                                            coy
                                              mouaci ty/countypublicofhcialhigh ;No                                                                                            .
                                                                                                                                                                                                                                                                            ...              .    4- ... .,.--....-..--..-...
                                                                                                                                                                                                                                                                                                  ;Morgan, 05-07-
                                                                                                                                                                                                                                                                                                                                             ....-.-.-- -


    l                '               i          munityleader,orlaw enforcement ë                                                                                                                                                                                                                  ;Juanetta l2020
                                   ,officei.?                                 )                                                                                                                                                                                                                  ;                                    i. .
    .                  ..talHealth jGO'
     W CSO20JBN000629 Men                              ..            ..    . '  ..                                                                                                                                                 .              .                                      .       (
                                                                                                                                                                                                                                                                                                 .       .                            :1.50pln y
                                         .
                                           Doesindi
                                                  vidualshow act
                                                               ives ymptomsof !
                                                                              lNo.
                                                                              ,
                                                                              f                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                 jMorgan                                                           .
                      Screeni
                            ng     'depression?(Ifyes. pr
                                   t                     ovidedetai
                                                                  ls)         1                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                 jJuanetta                             05-
                                                                                                                                                                                                                                                                                                                                       20207
                                                                                                                                                                                                                                                                                                                                          0-
    W CSO2OJBN                                                                                                                                                                                    l                                                                                                                                    1:50 pm
              OOO629 MentalHeaIth                                                              DE:Have you everreceived mentalh
                                                          '
                                                             screeni
                                                                   ng                       !
                                                                                               treatmentforpsychi
                                                                                                                atri
                                                                                                                   cillness
                                                                                                                        ,depression, j  à
                                                                                                                                                                        eal
                                                                                                                                                                          th                      No                                                                                             jMorgan, 20
                                                                                                                                                                                                                                                                                                 1Juanett
                                                                                                                                                                                                                                                                                                        a
                                                                                                                                                                                                                                                                                                          05- 07-
                                                                                                                                                                                                                                                                                                             20
                                                                                             emotionalproblems,oranvthinosimilar?(ifves )                                                                                                                                                        l        1
                                                         lj                                 ;pr
                                                                                            j  cvidedetails.
                                                                                                           .
                                                                                                             whe
                                                                                                               c ,
                                                                                                                 wh'
                                                                                                                   e
                                                                                                                   re ,i
                                                                                                                       c'
                                                                                                                        -
                                                                                                                        '
                                                                                                                        i
                                                                                                                        stor
                                                                                                                           y  ofs*
                                                                                                                                 eif-
                                                                                                                                    '   ?
                                                                                                                                        t
                                                                                                                                        I                                                                                                                                                        l
                                                                                                                                                                                                                                                                                                 ,         :50pm I
                                                            ..      .. .                    ;r
                                                                                            ! epol'
                                                                                                  tdi
                                                                                                    ag no si
                                                                                                           s )                          4
    w cSO2OJBNOO0629 .MentalHeaIth /DE'Are youCURRENTLY  . ....  .     .. .
                                                                                .     ...

                                                            prescribed . ... . . ...iNo
                                                                                               .                     .                  ,                                                                                              ....   .. ., . . . . ,,,,         .- .. ... ,....         j
                                   j   .                                                                                                                                                                                                                                                       lM ....., . ..-                      ..,. ...- .-. ...-. .

                     'Screening    ;psychi  cmedications?(ifyes, provide details;j
                                         atri                                       1                                                                                                                                                                                                          jJuor gan,
                                                                                                                                                                                                                                                                                                  anetta
                                                                                                                                                                                                                                                                                                                                      05-07-
                                                                                                                                                                                                                                                                                                                                      2020
                                                                                            u                                                                                                 j
                                                                                                                                                                                              l
                                                                                                                                                                                                                                                                                                                                      1:50pm
wcso-medical
           /Modules/chafhi
                         stol.php
                                                                                                                                                                                                                                                                                                                                                      20/70
               jCase 1:20-cv-23783-MGC
                              j     ww,=,
                                        x,jDocument
                                          1x
                                           #i-lxmuzuuIlk-,,otu1o/loEntered
                                                                        u-pvvk;=on
                                                                    1l/xj          JFLSD
                                                                                t)2fJBN0006Docket
                                                                                            29(10-24-109/11/2020   entHPage
                                                                                                      976)::FullPati   istorylv137
                                                                                                                                5.0of 276
                                                                                                                               5.
                              I           ;asnt
                                              d/
                                               moe
                                                 rdnia
                                                     cme
                                                      ationos
                                                            f,
                                                             polnb
                                                                 at
                                                                  a
                                                                  rincRyol
                                                                  ma     )nameofpr  escriberj
                                                                                            h
                                                                                            '
                                                                                            '                              j
                                                                                                                           '
                                                                                                                           j         j
                                                                                                                                     -                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                            l
             /î.
               A.
                /CSO2OJBNOOO629 McntalHealth 2DE;Tellusaboutanypastsuici
                                                                       dalthoughtsor !No                                                                                                                            '                              i r
                                                                                                                                                                                                                                                     t
                                                                                                                                                                                                                                                     vqorgan,                        05-07- R
                                                        screening                   Cattempts. (I
                                                                                                fthereisahistoryprovidedetail
                                                                                                                            s                                                                                                                      ,
                                                                                        reviewresponseto//5fo                                                                       ,           1
                                                                                                                                                                                                1                                                  iJuanetta 2020
                 W CSO2OJ9NOO0629 MentalHealth
                                                                                    '                    rconsistency)
                                                                                    1DE.Haveyou everbeenhospitalized fora
                                                                                            .
                                                                                                                            !                                                                                                                      j                                 1,
                                                                                                                                                                                                                                                                                      .50pm
                                                                                                                      fyes, )                                                                                                                      jMorgan,
                                                                                    ,
             (                                          Screening                   jmentalhealthorbehavi
                                                                                                        oralconcefn?(i      )No                                                                                                                                                      05-07-
             .                                                                     Iprovi
                                                                                        dedetai
                                                                                              ls'when,where,why Inow malny ij
                                                                                                           ,
                                                                                                                            r                          ,
                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                   .Juanetta 2
                                                                                                                                                                                                                                                   i          10
                                                                                                                                                                                                                                                               :52
                                                                                                                                                                                                                                                                 00
                                                                                                                                                                                                                                                                  pm
             '
                 W CSO20JBNO00629 MentalHealtl
                                                                                    ti
                                                                                     me
                                                                                   jDE
                                                                                        s
                                                                                        ,mos tr
                                                                                              e cen
                                                                                                  t)                       .                                                                                                                       ?         )       .
                                                                                       . Do you hav
                                                                                                  e othermentalhealthconcerns
                                                                                       .

            i                                        Scceening                     'thatneed tobe addressedbya Behavioral                                                                       jNo                                                )Morgal1, j
                                                                                                                                                                                                                                                             10
                                                                                                                                                                                                                                                              25
                                                                                                                                                                                                                                                               0-07- ,
                                                                                                                                                                                                                                                                20
            i                                                                      ,HeaIthProfessibnaf(ifyes, providedetails)                                                                   $
                                                                                                                                                                                                S
                                                                                                                                                                                                j                                                  ,
                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                   j
                                                                                                                                                                                                                                                     Juanetta                    j   .
            #vvcso2oJBNooo629 MentalHealth                                      sDE.
                                                                                i                                                                                                                                                                  j                             j1.5Opm
           /                                         screening                     .
                                                                                !Healï
                                                                                     /
                                                                                     vopr
                                                                                     t
                                                                                     h ulc
                                                                                         ofyosuioli
                                                                                          fes     ke
                                                                                                  nalt
                                                                                                     o spuetaiakas
                                                                                                     abo         tota B-ehavi
                                                                                                                    ses      oral i>lo                                                                                                             ivoraan                       05-07-                    #
           h                                                                                                            -ualabuse? '                                                                                                            lJuanette,                       .
                                                                                                                                                                                                                                                                                 2020                      t
           !
           '                                        j                           /                                                                                                           #
                                                                                                                                                                                            ,                                                   ,
                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                 1sopm
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                     .                  k
                                                                                                                                                                                                                                                                                                           .




           àvt/csozoaBxoooezg t
           M
           j                   MentalHealth
                              yscreening
                                                                                ;oE.
                                                                                :
                                                                                rt    Hsatv
                                                                                          6ei
                                                                                            y
                                                                                            noou
                                                                                               ote
                                                                                                 nz
                                                                                                  sp
                                                                                                   ?e(r
                                                                                                      si
                                                                                                       esnsce
                                                                                                            od  abmajorlosswi
                                                                                                                            thin ; h'
                                                                                                                                    es(grandfatheraboutayear jMorgan, 05-07-
           )                                        ;                          è rl
                                                                                  ncat
                                                                                  el ta
                                                                                      i
                                                                                      onsh  '
                                                                                            i    l     o      fjo ,s
                                                                                                                   oss of        #8:0)                       yJuanetta 2020 ,                   .

                                                                               C'           p,cleall
                                                                                                   -lofrei  aCive)               4
                                                                                                                                 v
                                                                                                                                                             è
                                                                                                                                                             j         1:50pm '
                                                                                                                   . .. ........ . .. .. ...... ........-......... .... ............. ......-
           !
           ;
                                       n 1jDIZ
                                                                                                                                                                                                     .   .   ....   .   .   ...       .. .           .. .               .                . . . . . - ..
           jACSO2OJBNOO0629 gMentalHeal
                                      tl     -.
                                              'i-lasanyol
                                                        -j
                                                         einyourfanlilyorclosefriend
                                                                                .
                                                                                                                                                                                           i
                                                                                                                                                                                           '
                                                                                                                                                                                           . No
                                                                                                                                                                                                                                                1
                                                                                                                                                                                                                                                qMorgan                                                 '
                                                                                                                                                                                                                                                                                                       r-
                                                                                                                                                                                                                                                                                                        '
           p
           '                           '            4Screening                 1attemptedsuicide?                                                                                         L                                                                        ,         q05-07-
           @
           ;
           t
           '
           ..

           !
           'kz'..-j..-.-f-.Dt.1î*l,-t($;
                                             ;
                                             . .
                                             g
                                                              4
                                                              r
                                                              I
                                                              j
                                                              p                                                                                                                           .

                                                                                                                                                                                          .
                                                                                                                                                                                          .
                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                               t Juanetta 1
                                                                                                                                                                                                                                               !..
                                                                                                                                                                                                                                               2
                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                           2020 l
                                                                                                                                                                                                                                                          lù.5Opn-l j
                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                          !
                                       4.*
                                         fà
                                          ,a .
                                             t$.
                                               ja
                                                zrql
                                                   adxrga.,:.
                                                            : j!
           . . xr-.- -.. - #
                                       .
                                             ,.. -        .   '
                                                              i;.;.
                                                                  . g
                                                                    .k,.-vï,-ew-.:,
                                                                                  -.,...-.',,--.-.-yxem-..-.!.-m,....'..,...t.>.-.-:-,.h.,.sk.e....-.<.-                                  .
                                                                                                                                                                                          '.;..7n-                                             y1. 1
                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                    kI.gy.,
                                                                                                                                                                                                                                                          eo
                                                                                                                                                                                                                                                           c
                                                                                                                                                                                                                                                           pj.
                                                                                                                                                                                                                                                             .-.
                                                                                                                                                                                                                                                               .-
                                                                                                                                                                                                                                                              .;.a -.
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                 I l e
                                                                                                                                                                                                                                                                     -)5.C 7                           S
           :                          .Screening!
                                      L
                                                                               tdEvg Usee?
                                                                               .
                                                                                        -
                                                                                                                                                                                                                                                . ;)       ,
                                                                                                                                                                                                                                                           .(
                                                                                                                                                                                                                                                            a   ;    z(;2-c                            g
                                                                                                                                                                                                                                                                                                       )
          t                          l                                         t
                                                                               '                                                                                                          )
                                                                                                                                                                                          '
                                                                                                                                                                                          l                                                    tu.t
                                                                                                                                                                                                                                               %                   : ..                                .
          ,                          !.                                        .                                                                                                                                                               !                   l 1'bkp:7'.i''                      t
          't.
            't'C.:
                 51
                  ..'
                  - 2r
                     -t-iHFix
                            j(,
                              :
                              -.
                               'r
                                .'
                                 .
                                 Q29 iIv
                                 i      /iock  'aiHsaiïi   n                     LE'
                                                                                   .t
                                                                                    n'a'..,'
                                                                                           e),.
                                                                                              'aul
                                                                                                 z
                                                                                                 -e:atu
                                                                                                      np:-
                                                                                                         ;62of-
                                                                                                              ,'
                                                                                                               f                                                                                                                                .
                                                                                                                                                                                                                                                   '?l:)r:an. --T
          t                          #.57:.!'rr:#r:.
                                                   :.-.g'                      l                                                                                                          iI.1c'                                               )'v
                                                                                                                                                                                                                                                  l                j'
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                     lti-t'7-       4                 p
          :                          t                                         1
                                                                               !                                                                                                          !                                                    t.,us.:-:.   stla i2.  -o
                                                                                                                                                                                                                                                                        .2::        i
                                     :                                         r                                                                                                          r                                                    2                            !
                                                                                                                                                                                                                                                                             j;50pl
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                  n r
          iw csozclBxcoo6z'        l
                                   . lMent     a!Heaj     tî
                                                           n                   lDE.                                                                                                                                                                                         u.
          1
          !                          I
                                     t                                         ( . Lia'.  ,cureceiva spacia)educati
                                                                                          .                       onsewices '!'?c                                                                                                              ?. Morgan, h 0507-                                     /
          à
          k                          t
                                     , Sc r een   i n g                        ttqphi
                                                                                    la inschcol?                                                                                                                                               T.         Cr -                                        !.
                                                                               r                                            .
                                                                                                                            j                                                                                                                  i
                                                                                                                                                                                                                                               ;  Juanett
                                                                                                                                                                                                                                                        a ;2020
                                                                                                                                                                                                                                                          k                                           )
                                                                                                                                                                                                                                               g            ;C
                                                                                                                                                                                                                                                             jg ;
                                                                                                                                                                                                                                                             .  .j,2!                                 (
                                                                                                                                                                                                                                                                                                      l
       vvcsO2oJBNOOO629j
       F
       j
       F
                       Me
                       scrnete
                       4
                             an
                              li
                               He
                               agalth j
                               l      l
                                      r
                                      I
                                       DE:
                                       J hlav:youeverstlffereclfromaserious j     'Yes(inaccidentI
                                      fleauiisIjuryorcerebraltrauma?(ifappiicabie :i!
                                                                                    Es.':
                                                                                        ?h.-
                                                                                           '
                                                                                           :)
                                                                                                 astyearandhit )Morgan j05-  07- d
                                                                                                               )Juanetta ;2020 1
                                                                                                                                 k
                                                                                                                                 '
                                                                                                                                 F
                                                                                                                                 :                                                                                                                             ,
                                                                                                                                                                              ,
       :
       1                                       i
                                               .                              è
                                                                              .p
                                                                              . le/se roake sure a$Ii
                                                                                                    '
                                                                                                    eleàdanttreatrnerlt                                                                 k                                                      à                        l1.
                                                                                                                                                                                                                                                                          '50i
                                                                                                                                                                                                                                                                             pi
                                                                                                                                                                                                                                                                              m l
                                                                                                                                                                                                                                                                                .
       .                                       1.                             )inferîlentions areim olem enteclto enst-lre                                                                                                                                              /)                         :.
                                                                                                                                                                                                                                                                        1
      t                  )               $patiantsnnedicalcar'
                                         i                   e).                      )                                                                                                                                                        !                  '                                u
      pwc                                                                                                                                                                                                                                      h
                                                                                                                                                                                                                                               '        I         !
      I.. so2oJBNoO(
                   )629j,isc
                          Mern
                             et
                              anliH
                                  ne
                                   gal
                                     th t
                                        i:D
                                          the
                                            ssp
                                              si
                                               te
                                                rec
                                                  eo
                                                   nmp
                                                    ingrehensivequestionsansweredon(slo                                                                                                                                                        i
                                                                                                                                                                                                                                               'Morgan ijos-tl7- ùj
                  .

      !                       e             i  c        theindivi
                                                                dua!currentlypresents t                                                                                                                                                        j               ,        -
       j                                       #                              rasanimmedi   a,tesafetyri
                                                                                                       sltandwauldbenefit ,                                                                                                                k
                                                                                                                                                                                                                                           ,Juanetta ,2020 )
      'e
       '
       r
       k                                       '
                                               i                              t -Om &E;afetyprecautioninterventi
                                                                              rfl                              ooancl     )
                                                                                                                          '
                                                                                                                          ,                                                                                                                k
                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                           ;
                                                                                                                                                                                                                                           '         t
                                                                                                                                                                                                                                                     ,1:
                                                                                                                                                                                                                                                     ' 50pm tr
                                                                                                                                                                                                                                                             @
                                                                                                                                                                                                                                                             '
      #                                       k
                                              ù                               jurgentbehavioralheal
                                                                              #                     thservices(ifyes,
      ?
      '                                       1                               ,IMOVidespecifi
                                                                                            cclinicaldetail
                                                                                                          stojusti     n r
                                                                                                                  h?sucl 1                                                                                                                 j
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                           #                            .                          '
      !                                       /                               r
                                                                              idisposi
                                                                                     ti
                                                                                      on.pl ease no t
                                                                                                    e i
                                                                                                      findivi
                                                                                                            duals        '                                                                                                                 l
                                                                                                                                                                                                                                           !
                                                                                                                                                                                                                                           .                            ,
                                                                                                                                                                                                                                                                        '                         ;
      !                                                                       :presentation ispotentiallyrelatedto alcolaolor                                                        è
                                                                                                                                                                                     .                                                     !
                                                                                                                                                                                                                                           '                           )                          y
      j                                                                       ldrug intosication/withdrawalaI(medical                                                                .
                                                                                                                                                                                                                                           f                           .
      :                                       j                            Linterventi
                                                                                     onsorderedin                     r                                                                                                                    j                                                      h
      1                                       r                            f                     conjui
                                                                                                      lctiontoasafety k                                                                                                                    .
                                                                                                                                                                                                                                           )                                                      t
                                                                                                                                                                                                                                                                                                  !
                                              d                            !
                                                                           'precautiontohelpensureasafeenvironment) !                                                                                                                      t
                                                                                                                                                                                                                                           '                                                      ?
      lwcso2oJBNooO629 Menta,Health d
                                    r(blank)                                                                                                                                        )No Referralto Behavioralhealth                        .                                                      ,

                                               screening                   ù
                                                                           j                                                                                                        tN                                                ,    / Morgan, ,05-07- 1
      l
      !
                                                                           ,
                                                                           '
                                                                                                                                                                                    x o Report
                                                                                                                                                                                    1
                                                                                                                                                                                    . con
                                                                                                                                                                                    ,   diti
                                                                                                                                                                                             ed orobsewed
                                                                                                                                                                                           on,Appropri
                                                                                                                                                                                                     atefor      .
                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                           ?duaneta k
                                                                                                                                                                                                                                           .         2020 t
                                                                                                                                                                                                                                                    '1.50pm
                                                                                                                                                                                                                                                            .
                                                                           )                                                                                                        ;Generalpopulati
                                                                                                                                                                                                   on,Educatedon /
                                                                          .
                                                                           1                                                                                                        j
                                                                                                                                                                                    .
                                                                                                                                                                                                                                          ..

                                                                          l
                                                                          )                                                                                                             BehaviorHeaIthinthefuture                         9
                                                                                                                                                                                                                                          4                                                      '
                                                                                                                                                                                        should dispositionchange                          1
      W CSO2OJBN0OO629 Coronavi
                              rus                                             Have you had cl
                                                                                            ose
                                             jScreeningTooi i
                                                            aboratoryconfirmedcCo
                                                                               ontactwithapersonwith No                                                                                                                                   jMorgan, 05-07-
                                             ,              days?                ronavirusinthepast14!l
                                                                                                      ;                                                                                                                                   jJuanetta 2020
                                                                                                                                                                                                                                                                        q..52pm
  à
      wcsozogaxooooa: cor
                      Scre
                         oe
                          nn
                           ai
                            v
                            nig
                              ruT
                                soolj
                                    js
                                     natv
                                     i  heeypoausttr1
                                                    a4
                                                     ve
                                                      dl
                                                       ey
                                                       adso
                                                          ?uI
                                                            t
                                                            Fsid
                                                               Se
                                                                OofU
                                                                 ,ïoe
                                                                    IEu
                                                                   F- R,nEit
                                                                           ?edstatesi
                                                                                    ixo                                                                                                                                                   i
                                                                                                                                                                                                                                          p
                                                                                                                                                                                                                                          ;uo
                                                                                                                                                                                                                                           Juarn
                                                                                                                                                                                                                                               ge
                                                                                                                                                                                                                                                at
                                                                                                                                                                                                                                                 n
                                                                                                                                                                                                                                                 ta jo0
                                                                                                                                                                                                                                                     2s2
                                                                                                                                                                                                                                                       -c
                                                                                                                                                                                                                                                        0-
                                                                                                                                                                                                                                                         ,- j.
                                                                                                                                                                                                                                                           ,

                                                                         #                                                                                                        l
                                                                                                                                                                                  t
                                                                                                                                                                                                                                          j         I                   1..52pm
      WCSO2OJBN0O0629 Coronavi
                             rus 1Haveyoutraveledfromoutsidethestateof 1No                                                                                                                                                                lMorgan
                                             ScreeningToo!1
                                                          js
                                                           Fp
                                                            loreri
                                                                 d
                                                                 a
                                                                 d
                                                                  a,in
                                                                     t
                                                                     o
                                                                      ain
                                                                        n
                                                                         alure
                                                                         c
                                                                             a
                                                                             d
                                                                             e
                                                                               v
                                                                               v
                                                                               t
                                                                               h
                                                                                i
                                                                                thNe
                                                                                e
                                                                                  suwbsYtaon
                                                                                           t
                                                                                           r
                                                                                           k
                                                                                            i
                                                                                            aT!
                                                                                              c
                                                                                              r
                                                                                              i
                                                                                              -
                                                                                               osmtamteuAr
                                                                                                        nit
                                                                                                          y'
                                                                                                          ea?
                                                                                                             j
                                                                                                             (
                                                                                                                                                                                                                                          jJuanetta 0
                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                    252
                                                                                                                                                                                                                                                     0-07- j
                                                                                                                                                                                                                                                    152pm j
                                                                                                                                                                                                                                                           ,


                                                          j(connecti  cut,NewJersey,andNewYork)                                                                                                                                                                         .
                                                                                                                                                                                                                                                                        .


      W CSO2OJBNOOO629 1-Provider                                         Allergies                                                                                                                                           .   .

                                             Examination                                                                                                                         1PCN-unsurecatsanddogs                                   )Jordan,                     05-11-
                                             Sheet                                                                                                                               ;                                                        Hannah                       2020
      W                                                                                                                                                                                                                                                                2:49 pm
  l CSO2OJBNOO0629 E
                   1x
                    -aPmro
                   Sheet
                         invaide
                               or
                              tin j
                                  ,CurrentMedicati
                                                 ons                                                                                                                           lnone
                                                                                                                                                                               J                                                          Jordan
                                                                                                                                                                                                                                      jHannah
                                                                                                                                                                                                                                                       ,               05-11-
                                                                                                                                                                                                                                                                       2020
                                                                                                                                                                                                                                                                       2:49 pm
  .
                                                                                                                                                                               l                                                      d
&cso-medical/Modules/chafhistol .php
                                                                                                                                                                                                                                                       .                                 21/70
     d
     '

                                 wwpx-.,v1jxDocument
             Case 1:20-cv-23783-MGC          ,xr-xuzk-Itw,wu-u
                                                             1prxuaEntered
                                                                   lIM!%-ttvvLZOEJZ.IJFLSD
                                                                                on    JOINUUUOZU (IU-ZG.-'IH
                                                                                              Docket        /b) I
                                                                                                                -ullFatl
                                                                                                           09/11/2020  entHl
                                                                                                                           stor
                                                                                                                              y !V138
                                                                                                                           Page   5.5.0 of 276
         IwcsozolBxoooezgjsxami
         1                1-pronat
                               vidier r
                                   oc '
                                      /Rea
                                      ,  sonforvisit                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                         $
                                                                                                                                                                                                                                                                         1Hu
                                                                                                                                                                                                                                                                           ngecstri
                                                                                                                                                                                                                                                                                  ke                                                                                                       jward,NR 05-11- j
         ;                                                              sh                                                                                                                                                                                               ,                                                                                                             k
                                                                                                                                                                                                                                                                                                                                                                                       ,Regica                           2o2o                        ,
         1                                                                 .eet                       .. - .        -
                                                                                                                    '
                                                                                                                    .
                                                                                                                            .. .                  .. .                . .                     ..                  .                                        .             1
                                                                                                                                                                                                                                                                         1                                                                                                             j    .          .       ... ..
                                                                                                                                                                                                                                                                                                                                                                                                                        ,3:22pm
                                                                                                                                                                                                                                                                                                                                                                                                                         ...               .         !
             WCSO20JBNOO0629 1-Provider                                                                                 HPI                                                                                                                                              1Hungerstrikesince5/7/20but                                                                                        Ward,NP,                    05-11-
                                                                        Examination                              I
                                                                                                                 !
                                                                                                                 1                                                                                                                                                       1stateshehasbeenonhunger , Regina
                                                                                                                                                                                                                                                                         1                                                                                                                                              2020
         i                                                              sheet                                    y
                                                                                                                 :                                                                                                                                                       .
                                                                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                         (sdtrikefor14 days,notconfirmed lj                                                                                                             3:22pm
         l
         !                                                                                                       ?                                                                                                                                                             ates.statedheisbeing                                                                                    )
                                                                                                                 p
                                                                                                                 i                                                                                                                                                       'incarceratedforunjustreasons )
                                                                                                                                                                                                                                                                         )                             i
         j
         l                                                          .                                           111
                                                                                                                ,.
                                                                                                                    '
                                                                                                                                                                                                                                                                         landt
                                                                                                                                                                                                                                                                         i     iai
                                                                                                                                                                                                                                                                                 sistheonlywaytogetthe j                                                                                                            1
         !
         ?
                                                                 4                                              )
                                                                                                                j                                                                                                                                                        )c
                                                                                                                                                                                                                                                                         jao
                                                                                                                                                                                                                                                                           ttn
                                                                                                                                                                                                                                                                             et
                                                                                                                                                                                                                                                                              n
                                                                                                                                                                                                                                                                              atc
                                                                                                                                                                                                                                                                                io
                                                                                                                                                                                                                                                                                 ts
                                                                                                                                                                                                                                                                                  noftheappropri
                                                                                                                                                                                                                                                                                               ate                                                                                     j
                                                                                                                                                                                                                                                                                                                                                                                       k
                                                                                                                                                                                                                                                                                                                                                                                       ,,                           j                            ,
         #ïn'/csoao-lBsooo6zg 1
                              #1-'provider                                                                      l
                                                                                                                Fsurgica!History                                                                                                                                         ;None                                                                                                         lvvard
         I                                                       4Examination ë                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                         I                                                                                                             ,Regin,aNp, 05
                                                                                                                                                                                                                                                                                                                                                                                       1            202-11-
                                                                                                                                                                                                                                                                                                                                                                                                        0
         i                isi
                            heet                                                                                4                                                                                                                                                        ?                                                                                                             d           i3:22pm h                                     ,
                                                                                                                !
                                                                                                                -.                                                                                                                                                       i
                                                                                                                                                                                                                                                                         Ciblank)
         ,WCSO2OJBNO0û629 #E
                           1-Provi
                                 der                                                                            jVitalSigns:                                                                                                                                             j                                                                                                             lJordan, jO5-Jq- j
                                                                                                                                                                                                                                                                                                                                                                                       ,                    i
                                                                                                                                                                                                                                                                         .


                            xami nati
                                    on t
                                       .                                                                                                                                                                                                                                 .                                                                                                             rHannain j2020 ,
      j
      3
      à
                          j
                          '
                          .
                           Sh eet      j
                                       )
                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                       y t jrjj
                                                                                                                                                                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                                                                                                                                                                 E
                                                                                                                                                                                                                                                                                                                                                                                                 '2. 49pn-1j
                                                                                                                                                                                                                                                                                                                                                                                                           C
      i1/t
         /C5020J8N!000629 r1-Provi der /General                                                                                                                                                                                                                          .AppearstA/eI                                                                                                 à
                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                               o #(), -
                                                                                                                                                                                                                                                                                                                                                                                                      jq.                        -

      j                  jE x ami
                           slneet
                                 nati
                                    cn i
                                       r
                                       $
                                                                                                                ,                                                                                                                                                       I
                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                        ë.
                                                                                                                                                                                                                                                                        l
                                                                                                                                                                                                                                                                                                                                                                                       1Ft
                                                                                                                                                                                                                                                                                                                                                                                       'R
                                                                                                                                                                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                                                                                                                                                                         ee
                                                                                                                                                                                                                                                                                                                                                                                          gr
                                                                                                                                                                                                                                                                                                                                                                                           c
                                                                                                                                                                                                                                                                                                                                                                                           in,
                                                                                                                                                                                                                                                                                                                                                                                             a ,!;2302O             .
                                                                1                   ..w............,....-...-..*.-..-..- ..
                                                                        --- --.--.-.-                                                                                                                                                                                                                                                                                                                                    .   22 j
                                                                                                                                                                                                                                                                                                                                                                                                                                anh l
      !ïNCSO                                                                                                              .- -.................             ......... ..- . ......- .,. . ..,                      . ... .. . ...-.....- . . .........
                                                                                                                                                                                                                                                                        t
                                                                                                                                                                                                                                                                        ;.........-.................
                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                   ,...-..............
                                                                                                                                                                                                                                                                                                                     #'-...
                                                                                                                                                                                                                                                                                                                          --.....-                                                                               -
                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                 !--..-
                                                                                                                                                                                                                                                                                                                                                                                                                      .-s
                                                                                                                                                                                                                                                                                                                                                                                                                        ..'
                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                          --
                                                                                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                                                                                            --
                                                                                                                                                                                                                                                                                                                                                                                                                             ...
                                                                                                                                                                                                                                                                                                                                                                                                                               œ1
                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                !
                          20JBN000629 )1-Provicl
                                               er                                                               1Skin
                                                                                                                :                                                                                                                                                       1ï/t/arra                                                                                                      iW/ardj
      '
      i                                                         j
                                                                fExami nati
                                                                          on g                                                                                                                                                                                                                                                                                                     )ReginaNP, 1
                                                                                                                                                                                                                                                                                                                                                                                              )0 5-
                                                                                                                                                                                                                                                                                                                                                                                                  11- .
      :                                                         -Shea),
                                                                      u      ;                                                                                                                                                                                                                                                                                                                 2
                                                                                                                                                                                                                                                                                                                                                                                               ê!020
                                                                                                                                                                                                                                                                                                                                                                                                 22.  !'                 .
                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                 ..


     t
     .'
      $r!JCSQ.
             G0.q1Bl.130,O::):7.2 .1 F-;:î;'  y.5e:'                                                                                                                                                                                                                                                                                                                                              !J7. 7.35-r-,-                                 :
     )                            jE3 .
                                      '1.
                                        1ci
                                          -
                                          t;
                                           .i
                                            -
                                            !yi t.
                                                 i.
                                                  L
                                                  -i
                                                   ,
                                                   n                                                                                                                                                                                                                                                                                                                                Qres
                                                                                                                                                                                                                                                                                                                                                                                       -jii
                                                                                                                                                                                                                                                                                                                                                                                          cy                     )2692C
     )                            k'Sl-
                                      ie.si                                                                     r
                                                                                                                i                                                                                                                                    '
                                                                                                                                                                                                                                          ,...-.-.-.-.'.-.-..,-...-.-..-...---..---.-..-.----..---...-.-..
                                                                                                                                                                                                                                                                                                                                                                                   '                             CZ'22pr7.
     ' - .-.- -. - -.- .- t                                                                                     :
                                                                                                                        .                .               .           ..-.-.-.-.----.----.-.---.......
                                                                                                                                                                                                    -.--..-.---.-..--.....-,....
                                                                                                                                                                                                                               -..--,......                                                                                                           .         . .                j.                            h-.' . ...
                                                                                                                                                                                                                                                                                                                                                                                                                          -....-e
     l
     rkv'w,SlwIztcwii'btwll
                          cla'
                             ai
                              àz: j   d'1-t'
                                           brovsver
                                           .                                                                 yitztsn                                                                                                                                                  !$.w-'ctlarlatlrmal                                                                                        )N.'.
                                                                                                                                                                                                                                                                                                                                                                                     viara hiF.. j$ J5-tl- ,
     >                                1Exarainatioi
                                                  a                                                          *
                                                                                                             i                                                                                                                                                        '
                                                                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                                                                                                                                                                 'Rt
                                                                                                                                                                                                                                                                                                                                                                                 p
                                                                                                                                                                                                                                                                                                                                                                                      agina       ?
                                                                                                                                                                                                                                                                                                                                                                                                  r
                                                                                                                                                                                                                                                                                                                                                                                                    2C2C        '
                                                                                                                                                                                                                                                                                                                                                                                                                q
     r
     '
     . .  . .. .     ...
                                      jSheet
                           . . . .- ..k .    .    .. .
                                                                                                             l
                                                                                                             l                                                                                                                                                       i
                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                 p
                                                                                                                                                                                                                                                                                                                                                                                 w
                                                                                                                                                                                                                                                                                                                                                                                                  ! 3: 22 pn7   1
                                                                                                                                                                                                                                                                                                                                                                                                                4
                                                                                                                     .   .                              .        .                     .. .                                             .                           ..       ..  ..... . . . . . . .                                      .        . .. . .                    -    .. .     . . .1
                                                                                                                                                                                                                                                                                                                                                                                                  .       '. ..
     ilkb
        kcst -
             -.'
               lkto-Jsi -tcoûszg i    ,-i-F'roviuer                                                          t
                                                                                                             .i.
                                                                                                               .
                                                                                                               tEsu-   f
                                                                                                                       '                                                                                                                                             kuorrnscephaîîc
                                                                                                                                                                                                                                                                     :                                                                                                           tvvard, up, kc                 r
     !
     l
     :                                                          ;
                                                                'Examinati
                                                                         on I                                ,                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                   1Regina
                                                                                                                                                                                                                                                                                                                                                                                   t                 's-jj- t    p2020
     1                                                                       isheet
                                               ,...-..................-.,....1
                                                                                                             i
                                                                                                             '  '                                                                                                                                                   )                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                   C                             :3.
                                                                                                                                                                                                                                                                                                                                                                                                                   22pm
                                                                                                                                                                                                                                                                                                                                                                                                .i - ..
     ......,-.........--.
                        -,....,,......,..,......
                          .                                               -.      .-.       --..--...-..-......-.-.     -       .......,
                                                                                                                                       .................-............................................... .... ...........,............................
                                                                                                                                                                                                                                                     ....,........ ..........................,- ........................................................-..................,,.......   .x
                                                                                                                                                                                                                                                                                                                                                                                        .-..- .
     -w csozcgBsoccez: i
     à
     $
     i
                       .1-provider
                       rExaminatiori                                                                         '..'sct-.
                                                                                                             .                                                                                                                                                      isupple                                                                                                        'vvarcl,xe, ?
                                                                                                                                                                                                                                                                                                                                                                                   (
                                                                                                                                                                                                                                                                                                                                                                                   ;negina
                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                 'os-
                                                                                                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                                                                                 / 20  -
                                                                                                                                                                                                                                                                                                                                                                                                      2:il-=7r
     :                 ,                                                                                    i
                                                                                                                                                                                                                                                                    jT                                                                                                                          r- .-
     i                                                        jSheet                                        i                                                                                                                                                                                                                                                                      j            1;.,...2     l
                                                                                                                                                                                                                                                                                                                                                                                                             j
     ;                                                          ,                                           -                                                                                                                                                       ;n.
     ft&CSO2OJBNO0O629 j
                       ?1-ami
                        ExProvid
                             na er
                               ti
                                oa                                                                          .L
                                                                                                            1-ves'
                                                                                                                 :
                                                                                                                 a/Thora)t                                                                                                                                          ,-       !s:&;. to Auscultation                                                                                j
                                                                                                                                                                                                                                                                                                                                                                                   rIA;arj
                                                                                                                                                                                                                                                                                                                                                                                         :r, ujo, j
                                                                                                                                                                                                                                                                                                                                                                                                  jcs-
                                                                                                                                                                                                                                                                                                                                                                                                     jq. à
                                                                                                                                                                                                                                                                                                                                                                                                         à
     '                 ;sA                                                                                  y                                                                                                                                                       à                                                                                                              .negina r2020 k
                                                                                                                                                                                                                                                                                                                                                                                   1
     1                                             .          # --      eet           .    ..               )
                                                                                                            .                          ---................ ... .....- .. .
                                                                                                                              .....-....                                                ...                                    ............ . . ... .-.-.
                                                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                                    '        ... .      -..--............... ....-- ...-. . . .                       ... ..
                                                                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                                                                k
                                                                                                                                                                                                                                                                                                                                                                                '                               j
                                                                                                                                                                                                                                                                                                                                                                                                                -3.
                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                  22pm 1
                                                                                                                                                                                                                                                                                                                                                                                                                       p.
                                                                                                                                                                                                                                                                                                                                                                      . . .....-....---.-...-. .........-.-..--.-- .--...--.-..
                                                                                                                                                                                                                                                                                                                                                                                                                              ...-.-.-.-.-
     :
     lW CSO2OJBrkOO0629 1 1- Provider                                                                       r$'Jza,oiovascular                                                                                                                                      :,
                                                                                                                                                                                                                                                                     F
                                                                                                                                                                                                                                                                     oi                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                                . v'
                                                                                                                                                                                                                                                                                                                                                                                   krôii,1Vi
                                                                                                                                                                                                                                                                                                                                                                                           ', y:z
                                                                                                                                                                                                                                                                                                                                                                                           -    '
                                                                                                                                                                                                                                                                                                                                                                                                fi-'
                                                                                                                                                                                                                                                                                                                                                                                                   s'ï- k
                                                                                                                                                                                                                                                                                                                                                                                                                q

     i                  .
                          Examination                                                                       l
                                                                                                            t                                                                                                                                                       ;                                                                                                           1
                                                                                                                                                                                                                                                                                                                                                                                .                  -                                             p
                                                                                                                                                                                                                                                                                                                                                                                .i
                                                                                                                                                                                                                                                                                                                                                                                 --
                                                                                                                                                                                                                                                                                                                                                                                  tefjii'ta                         2320
     i
     r                  Sheet                                                                               i                                                                                                                                                       !
                                                                                                                                                                                                                                                                    .                                                                                                          j            ):$:22pm
     t7;cSO2OJBN0O0629 )
                       !1-Provi
                       4      der                                                                           I
                                                                                                            i
                                                                                                            .Cardiovascular                                                                                                                                         ,
                                                                                                                                                                                                                                                                    l:2                                                                                                        1'varcl ' k .,,t. j
                                                                                                                                                                                                                                                                                                                                                                               ,v
     r                 '                                                                                                                                                                                                                                                                                                                                                             ,t
                                                                                                                                                                                                                                                                                                                                                                                      '..
                                                                                                                                                                                                                                                                                                                                                                                        'P, jO5-i
                                                             >E                ination                                                                                                                                                                              '                                                                                                           7Ftapi
                                                                                                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                     -'
   ;
   1                                                        lsh
                                                            .
                                                              xe
                                                               ae
                                                                mt                                          ,
                                                                                                            !
                                                                                                            '
                                                                                                            ,                                                                                                                                                    r                            .                                       .            .. . .
                                                                                                                                                                                                                                                                                                                                                                               ; a '3
                                                                                                                                                                                                                                                                                                                                                                               f
                                                                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                                                                                    2:
                                                                                                                                                                                                                                                                                                                                                                                     02220pm '             .        .        .         ...-. .
   kt/t
      /csoaf/gbfkooosag tj- provicier                                                                       Jcardi
                                                                                                            '
                                                                                                            k                                                                                                                                                                                                                                                                  ;kvard
   l                    '
                        ,
                        iE                                                                                  ' ovascular
                                                                                                            #                                                                                                                                                    ;
                                                                                                                                                                                                                                                                 1Rnn                                                                                                          i
                                                                                                                                                                                                                                                                                                                                                                               t , ikp, os-jl-
  l                                                         'Sl
                                                              x
                                                              he
                                                               ae
                                                                mti
                                                                  nation t
                                                                         '                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                 t  ..        ..          .. . ,..
                                                                                                                                                                                                                                                                                                 . ..                      .. , . .,          . .              ... . ,
                                                                                                                                                                                                                                                                                                                                                                               jRegina 2c2o
                                                                                                                                                                                                                                                                                                                                                                               t ........ . 3
                                                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                            ..'
                                                                                                                                                                                                                                                                                                                                                                                              2.2.pm,.                                      .,
  . ..                                                                                                      ,                                                                                                                                                    k                                                                                                             r
  tkvcsO2()JBi
             kO00629 1-Provider 2Abdomen                                                                                                                                                                                                                        2
                                                                                                                                                                                                                                                                ?Soft                                                                                                          )Aard, ikp, O5-i4- #
                                                                                                                                                                                                                                                                                                                                                                                   .                                         .

  p                  s
                     Ex
                      haminatioo l
                       eet       t
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                l
                                                                                                                                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                                               , Regi
                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                                    na     2o2o   l
                                                                                                                                                                                                                                                                                                                                                                                           3:22pm I
     WCSO2OJBNO0O629 1
                     E-Provider                                                                             Abdomen                                                                                                                                                 Non Tender                                                                                                  Ward, NP' 05-11-
                      xamination                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                                                                                                                                              , Regina    2020
                     Sheet                                                                               k                                                                                                                                                                                                                                                                    I           3:22 pm
                                                                                                                                                                                                                                                               'N  Distend
  I
   wcsO2OJBNOOO629 Sh
                   1x
                   E-aPmi
                       ronva
                           id
                            ti
                             e
                             or
                              n '
                                ;
                                i
                                j
                                 Abdomen                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                               !
                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                 o
                                                                                                                                                                                                                                                                 n        ed                                                                                                  l
                                                                                                                                                                                                                                                                                                                                                                              hWardn,aNP, j
                                                                                                                                                                                                                                                                                                                                                                               R
                                                                                                                                                                                                                                                                                                                                                                              i egil
                                                                                                                                                                                                                                                                                                                                                                                           05-11-
                                                                                                                                                                                                                                                                                                                                                                                          j2020
                                                                    eet                                  j                                                                                                                                                     !                                                                                                             j                                 j3'
                                                                                                                                                                                                                                                                                                                                                                                                                 .22pm
                                                                                                         'M                   Ioskele'tal                                                                                                                      1 FreeRange ofMoti
                                                                                                                                                                                                                                                                                on                                                                                           'W ard,
  jWcsO2OJBN00O629 E
                   1x-aPmi
                        ron
                          va
                           id
                            ti
                             e
                             or
                              n                                                                                  uscu                                                                                                                                          1
                                                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                                                                                             j                  NP, 05-11-
  l                                                          Sl
                                                              neet                                       j                                                                                                                                                     .
                                                                                                                                                                                                                                                               I
                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                               l
                                                                                                                                                                                                                                                               j                                                                                                             IRegina 3
                                                                                                                                                                                                                                                                                                                                                                             j       2.
                                                                                                                                                                                                                                                                                                                                                                                      02220pm                       .

     WCSO2OJBN000629 1-Provi
                           der                                                                              Neurol
                                                                                                                 ogi
                                                                                                                   c                                                                                                                                                A/O X 3                                                                                                     Ward, NP, 05-11-
                    Shee
                       .
                         t ..                                Examination .
                                                                         I                                                                                                                                                                                     I
                                                                                                                                                                                                                                                               ,                             .. . ..             ....                     .
                                                                                                                                                                                                                                                                                                                                                                                Regina a
                                                                                                                                                                                                                                                                                                                                                                                       2020w pm
                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                        . .. .
   W CSO20JRN000629 1-Provider                                                                          .   Clinicallmpression                                                                                                                                 al-lur'ltlersfIike, paLientpoii
                                                                                                                                                                                                                                                                                             te but j
                                                                                                                                                                                                                                                                                                    'Ward,NP, 0:-11-
                    Examination                                                                                                                                                                                                                                 adanlantlyrefusing PO intake        8Regina   2020
 .                    .                                     Sheet                                                                                                    ..                                .                                         .             ?'                                                      .                               .
                                                                                                                                                                                                                                                                                                                                                                            p
                                                                                                                                                                                                                                                                                                                                                                            j                                  a.
                                                                                                                                                                                                                                                                                                                                                                                                                .rrj)m
  WCSO20JBNO00629 E
                  1xami
                   -Pronat
                       vide r jPlan'
                          ion      ,                                                                                                                                                                                                                           1Jackson
                                                                                                                                                                                                                                                                Pleaseno tifyrCepor
                                                                                                                                                                                                                                                                        and     omma nderage Wa
                                                                                                                                                                                                                                                                                   tEncour     rdna,NP, 0
                                                                                                                                                                                                                                                                                             Regi        5-11-
                                                                                                                                                                                                                                                                                                        2020
                                                            Sheet                                                                                                                                                                                                                                                                                                                                              3:22pm
wcso-medi
        cal/Modules/chafhi
                         stol.php                                                                                                                                                                                                                                                                                                                                                                                                     22/70
      -..Case
         ,,----w 1:20-cv-23783-MGC  vlrxDocument
                                wulcl   -rx/lt        1 Entered
                                             -?tIIu,bMMAb 1l       onOJ
                                                           AN -#WCSO2 FLSD
                                                                       BN0OO6Docket
                                                                             29(10-24-109/11/2020        Page
                                                                                       976):.FullPatientHistoryIv139
                                                                                                                 5,5.0 of 276
             j               '                  l                                          j
                                                                                           ?                                                                                     j
                                                                                                                                                                                 .M
                                                                                                                                                                                  fl
                                                                                                                                                                                   ueindtsaa
                                                                                                                                                                                           lndeltnhcouragelPOintake 2i                                                                           j                         j
                                                                                                                                                                                 .
             l                                                                                                                                                                              I
                                                                                                                                                                                            nea     ref
                                                                                                                                                                                                      erra                                                                                                                 I
                                                                                                                                                                                                                                       '
             j.
              &cso2oJBNo0o629 Exa
                              1-Provider                                                   9PatientEducati
                                                                                                         on                                                                      ïHydration                                                >                     9Vlaçd,NP, 05-11-                                         l
                                                      mination dj
                                                   sheet                                                                                                                        (
                                                                                                                                                                                j                                                                            j
                                                                                                                                                                                                                                                             i
                                                                                                                                                                                                                                                             .Regina                                 20
                                                                                                                                                                                                                                                                                                     a. 20pm
                                                                                                                                                                                                                                                                                                      ,;r                  :
             iwcsozclEqxtlollezg I1-pr
                                     ovider                                               !patientEducati
                                                                                                        on                                                                      #
                                                                                                                                                                                aiet                                                                                 wardNp, d0s-11.             ,
                                                                                                                                                                                                                                                                                                                           i
             j                                     E
                                                   Sx
                                                    ha
                                                     emi
                                                      etnation j
                                                               j                                                                                                                9
                                                                                                                                                                                l
                                                                                                                                                                                ;                                                                            kR
                                                                                                                                                                                                                                                             ' egina Jj2       r,

             d.. ..       -   -.- -
                                  . ....-                           .   -........-- .                                                                                           ,      . ...      .. - ... ...
                                                                                                                                                                                                                                                                       30
                                                                                                                                                                                                                                                                        .22
                                                                                                                                                                                                                                                                        ' 20pI
                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                             njj
                 W CSO2OJBN000629 . 1-Provider                                         !
                                                                                       :)Follow-up:                                                                             :                                      .

                                                                                                                                                                                                                                                                 W- ard.
                                                                                                                                                                                                                                                                 .           .                                             k
             '                                                                                                                                                                  1oneweek/pRN
                                                                                                                                                                                ,                                                                                      , NP,  05-11-                                   !s
             z                    ,Exami natior!                                       7                                                                                        1
             .
             1                                 Isheet                                  t                                                                                       l
                                                                                                                                                                               k
                                                                                                                                                                                -
                                                                                                                                                                                                                                                             1Regina ,2
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                         a0
                                                                                                                                                                                                                                                                          .2220pm F
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                                                                                  b
             WCs020J8N000629 j1-Provider ' Rel
                                             easeDate.                                                            .                                                            kUnknown
                                                                                                                                                                               /                                                                              W ard
         i
         ?                                     d
                                               1E
                                                ss
                                                 ha
                                                  emi
                                                   etnation !
                                                            1                                                                                                                  k
                                                                                                                                                                               l                                                                             i
                                                                                                                                                                                                                                                             êReginaNP, '05-
                                                                                                                                                                                                                                                                         20 2101- d
                                                                                                                                                                                                                                                                            ,



             W CSO2OJBN00O629 1-Provider                                              i          ... ance
                                                                                      ;PlnysicalAppear
                                                                                       .
                                                                                                      .......-....-..-... .                                                    'Self-care
                                                                                                                                                                                                          .                                                  .
                                                                                                                                                                                                                                                                      .                          3:22pm )
                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                           .       .

                                                                                                                                                                                                                                                             /
                                                                                                                                                                                                                                                             'l/7ard, NP,
         à                                         nation t
                                              iExami                                                                                                                           l
                                                                                                                                                                               r                                                                             rRegina
                                                                                                                                                                                                                                                             '                                   0
                                                                                                                                                                                                                                                                                                 25
                                                                                                                                                                                                                                                                                                  0-
                                                                                                                                                                                                                                                                                                   21
                                                                                                                                                                                                                                                                                                    01- ;
                                                                                                                                                                                                                                                                                                        )
                            -Sheot.-.-. .m ).-..x...                                                                                                                         k                                                                            f
         i
         j                  !*                                                                                                                                                  . ..           .. . -        .         .. ..                                       ;3:
                                                                                                                                                                                                                                                                     22 pm r                                           .
         pW CSO20JBNOO0629 1-Provider fAu     'itudetowardExaminer&lntel
                                                                       wiew                                                                                                  (Fri
                                                                                                                                                                                endly                                                                    49WardNP, 05-11-> -;
                                                                                                                                                                                                                                                                            F
         :
         l                  jsh
                            'Exa mi
                                eetnation k h                                                                                                                                k
                                                                                                                                                                             C                                                                            ,Regina 2020 jy
                                                                                                                                                                                                                                                          1                ,
                                                                                                                                                                                                                                                                            '
         F                  !              )!                                                                                                                                #                                                                           #
                                                                                                                                                                                                                                                         1                                       3.
                                                                                                                                                                                                                                                                                                  22 pnn 1
         ivvcsozo-l
                  art
                    poco6zs ,
                            i.
                             J-                                                                                                                                                                                                                              :                                       -
         k
         '
                                              5&    p.-.r
                                                        .o
                                                         vid er )
                                                           4..x--
                                                          ..-     .
                                                                   zyecoat
                                                                         aci
                                                                           .                                                                                                rves                                                                         )
                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                                          vvarc!I.s!p, ik05 1.:-
                                                                                                                                                                                                                                                                           .                       -           ,r.
         '                                    ,-2:Q......::-.-..                     .                                                                                                                                                                     r?ty....e.a                       l'Nb-kv:.'r
                                                                                                                                                                                                                                                         . . z,...                           ,- -...-
      ..'..':-?':)                            (
                                              .Sbee?                                 l
                                                                                     :                                                                                      '
                                                                                                                                                                            J                                                                            i'                                  r3.22 'n;-,-. ;.
      èb          '-
                  ,;r
                    )éql;
                        ::r.IJ
                             )r)r
                                ô;:e
                                   ;p:
                                     ) lr-;:   ,I
                                                .
                                                (r.%
                                                   ,i
                                                    -:.
                                                      c
                                                      -,.                             ls
                                                                                       ,
                                                                                       $f
                                                                                        -'
                                                                                         4r
                                                                                          -'-.:--,qchs,.:.:.-'t-,;-t.--s.--ç'',:.--.:i.-,:--                                                                                                                                                 L' ' r
      :
      .                                .                                                                                                  .                                 ;.
                                                                                                                                                                             e:L,u-,czukJk. ;
                                                                                                                                                                                            z;'
                                                                                                                                                                                              -.
                                                                                                                                                                                               -
                                                                                                                                                                                               7-:-
                                                                                                                                                                                                  /
                                                                                                                                                                                                  :,
                                                                                                                                                                                                   -T$#
                                                                                                                                                                                                      -.i
                                                                                                                                                                                                        .h.
                                                                                                                                                                                                          '
                                                                                                                                                                                                          k.
                                                                                                                                                                                                           -l
                                                                                                                                                                                                            -::                                          f
      r
                                       .
                                       4
                                         E/ .
                                            -aic-
                                                h.rk
                                                   at '
                                                      .
                                                      :.n                            ê                                                                                     .                                                                             ,b
                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                          v
                                                                                                                                                                                                                                                          tve
                                                                                                                                                                                                                                                            -,r,
                                                                                                                                                                                                                                                           Fves
                                                                                                                                                                                                                                                               -:)x:;:
                                                                                                                                                                                                                                                              -sn:
                                                                                                                                                                                                                                                                     ,                      tt
                                                                                                                                                                                                                                                                                            7.
                                                                                                                                                                                                                                                                                              't:
                                                                                                                                                                                                                                                                                              -.
                                                                                                                                                                                                                                                                                                ck-qc- h
                                                                                                                                                                                                                                                                                                ô-a.,t' à,
                                       .
                                         p ;nzjj.                                    t
                                                                                     .                                                                       .
                                                                                                                                                                           I                                                                             .                                  li .-
      r.                                                                                                                                                                                                                                                                                    yg(g(gy    ....,.. .
      rt/k't-l.(!;O2OviBfMO00629 !
            .E                         r-i-Pros/icier                                à
                                                                                     !Speech/Language                                                                      '
                                                                                                                                                                           ,ï/î/INIi-
                                                                                                                                                                                                                                                         '                                  '                      '
      h                                      'Ezaminatic.
                                                        n                '
                                                                         :                                                                                                 !                                                                             n
                                                                                                                                                                                                                                                         t'
                                                                                                                                                                                                                                                          s
                                                                                                                                                                                                                                                          fvbrd,i
                                                                                                                                                                                                                                                          R     xlP; i05-51-                                       ?
      j.
       '                              r                                                                                                                                    k                                                                                 #2020 Q epina     ;
                -..,.....-......wv.. := .....-..w........v ..= ow ..wmw 2è
      W .*..-v...                 .-
                                   .
                                     f sh
                                       ..
                                       ....
                                          .
                                              e.
                                                et .. .         .              ....... ... ... ..............
                                                                                                                                                                          ,
                                                                                                                                                             ..... ....U X.
                                                                                                                                                                                                                                        /
                                                                                                                                                                                                                                        t                    t
                                                                                                                                                                                                                                                             :3: 2 2   pm      ;
                                                                                                                                                                            =u..=mm..uwx.m.:m=xs= wxv= .-.- .-,sx== .rw..= .............''. ....... .. ---. e-.--.- ..- . .-x a1
      kvb/csozodnsocoeag l1- forovider                                   l
                                                                                                                                  ..     .. ... ....w.....
                                                                                                                                                         .                                         ..                                  .                                                .

      4  -                           ?                                   yr
                                                                          .rcac
                                                                              l                                                                                           icooperati    ve                                             f
                                                                                                                                                                                                                                       i  ï/vard, Np, 05-14- l
      i
      !
      k                              !
                                     !
                                     ',Ex
                                       shami  eetnaticn j                à                                                                                                :
                                                                                                                                                                          t                                                             .                    1
                                                                                                                                                                                                                                                             .                 .
                                                                                                                                                                                                                                                                               '
                                                                         '
                                                                                                                                                                          .
                                                                                                                                                                                                                                       ?
                                                                                                                                                                                                                                       ùRegi      na '      rj2
                                                                                                                                                                                                                                                              302t
                                                                                                                                                                                                                                                                '    ) ;
      t                                                                                                                                                                                                                                t                    y .  2 2  p m      :
                                                                                                                                                                                                                                                                               y
     kkvcsozc-lascooyzcj
     #                 ,1-apmro
                        Ex    inva
                                 ic
                                  tl
                                   e
                                   or
                                   in )
                                      àAxact                                                                                                                              !
                                                                                                                                                                          ,'
                                                                                                                                                                           al
                                                                                                                                                                            -ku                                                                         )ï&/aruI
                                                                                                                                                                                                                                                               kp, (
                                                                                                                                                                                                                                                                   'os-l-
                                                                                                                                                                                                                                                                       ,i- (
                                                                                                                                                                                                                                                                           2
     /
     ,                                   rsI
                                           aeet                                  .
                                                                                 p                                                                                        ;
                                                                                                                                                                          )                                                                             iRegina
                                                                                                                                                                                                                                                        i                                   l2.
                                                                                                                                                                                                                                                                                             302c20pm j
                                                                                                                                                                                                                                                                                                 .    i
     ikVCSO2OJBN00û629 d1-Provider                                               ;Goqten!ofThought                                                                        iIA                                                                                                               .
     :                                   k                                       t                                                                                        ; /I
                                                                                                                                                                             #L                                                                         iVt/ard, l
                                                                                                                                                                                                                                                        ëReginakP  ,;
                                                                                                                                                                                                                                                                    )z
                                                                                                                                                                                                                                                                     0ccc
                                                                                                                                                                                                                                                                      5-11- ;)
                                                                                                                                                                             ..
     C                                   i
                                         /Exami
                                              nation                             ,
                                                                                 l                                                                                        $
     !                                        Sheet                              ;                                                                                        y                                                                             i
                                                                                                                                                                                                                                                        .           p.       k
                                         .                                       .                                                                                                                                                                                  k3,
                                                                                                                                                                                                                                                                      22pr'
                                                                                                                                                                                                                                                                          n
      k$/cSO20JE!NO00629 Ex
                         1-aPmi
                             ronvaide
                                   ti
                                     r jSuicide/Homici
                                    on 2
                                                     de                                                                                                                   j&otSui
                                                                                                                                                                          (
                                                                                                                                                                          ;
                                                                                                                                                                                cidalorHomi
                                                                                                                                                                                          ci
                                                                                                                                                                                           dal                                                          ,vt
                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                        $
                                                                                                                                                                                                                                                          ugtjxp ;
                                                                                                                                                                                                                                                                 '(,5-j:-
     r                                  tSheet                                 '                                                                                                                                                                        .Reg;
                                                                                                                                                                                                                                                        t     , ,j
                                                                                                                                                                                                                                                             na  .rcrc
                                        4                                      1                                                                                         i
                                                                                                                                                                         .
                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                        $!
                                                                                                                                                                                                                                                                                            q:
                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                             ):
                                                                                                                                                                                                                                                                                              22 p;
                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                  .. $
     ik:cso2OJBNO0O629 1-Provider                                              iFlow ofThoughts                                                                          gC-c'aldi           rected                                                      iï/t
                                                                                                                                                                                                                                                            /ard,l
                                                                                                                                                                                                                                                                 <P, 05-11- à
     :
     ?                 Examil
                            aati
                               on                                              f
     1                 shset                                                   r                                                                                         k                                                                               ;
     2 '
     $                                                                         $
                                                                               '
                                                                               .                                                                                         t
                                                                                                                                                                        '..-.'.-......uk--'...--.,.-.'--......--'.-..-.-.
                                                                                                                                                                                                                                                         bRepi oa    20 20 j
                                                                                                                                                                                                                                                                     3:22    t
                                                                                                                                                                                                                                                                          pm '
                                                                                                                                               '                                                                                                        '-
     )ïA/cso2oJBsooo629l1-provider                                            r
                                                                              'Eff
                                                                                 ortstocopewi
                                                                                            thmemoryIoss?                                                               1
                                                                                                                                                                        , s/
                                                                                                                                                                                         .                             . .-----   --.-. .''--'- -                -'
                                                                                                                                                                                                                                                                    1      '-
                                                                                                                                                                                                                                                                             '      '   '

     i                  Examination                                           à                                                                                         tA                                                                              k
                                                                                                                                                                                                                                                        :ward, Np. pos-ll- t .          katvo     k
                        sheet                                                 1
                                                                              -
                                                                                                                                                                        f                                                                               ;
                                                                                                                                                                                                                                                        lRegina                          a..22 pm
     3                                                                                                                                                                  ,
      w csozo-ln
               -xooo(
                    5z: 1-proviàer                                            tAlel
                                                                                  -tness                                                                                iAlert                                                                      '
                        Examination                                           t
                                                                              d                                                                                        l                                                                            1ward, Np,
                                                                                                                                                                                                                                                     aegina                             l
                                                                                                                                                                                                                                                                                        1c
                                                                                                                                                                                                                                                                                         2s
                                                                                                                                                                                                                                                                                          o-
                                                                                                                                                                                                                                                                                           21o1- '
                                         sheet                                                                                                                         j
                                                                                                                                                                       l                                                                            ,                                       3:22 pm            k

     W CSO2OJBN0OO629 1-Provider                                               Oriented to'
                                                                                          .                                                                           1
                                                                                                                                                                      5Time                                                                          W ard, NP, 05-11-
                      Examinatio
                      Sheet n                                                 J
                                                                              I                                                                                       j
                                                                                                                                                                      I
                                                                                                                                                                      .                                                                             IRegina
                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                    j           202
                                                                                                                                                                                                                                                                 220pm
                                                                                                                                                                                                                                                                3.
                                                                                                                                                                                                                                                                                             .
     WCSO2OJBN0O0629 1-Provi
                           der                                                iOrientedto:                                                                            iPface                                                                        IW
                     Examination !                                                                                                                                    !
                     Sheel       t                                                                                                                                                                                .
                                                                                                                                                                                                                                                    !Reagrdin,aNP, 0
                                                                                                                                                                                                                                                                   25
                                                                                                                                                                                                                                                                    0-2101-
                                 /.
                                 :                                                              .
                                                                                                                                                                      '                                                                             '
                                                                                                                                                                                                                                                    #             I3.
                                                                                                                                                                                                                                                                    '22pra j
                                                                                                                                                                                                                                                                        .
     WCSO2OJBNOO0629 1-Provi
                           der Orientedto:                                                                                                                            l
                                                                                                                                                                      1Per
                                                                                                                                                                         son                                                                         Ward, NP, 05-11-
                                       S
                                       Eh
                                        xe
                                         ae
                                          mtination '                                                                                                                '                                                                              yRegina 3.
                                                                                                                                                                                                                                                    '       202220pm l
     wcsO2OJBNoO0629 1-Provider                                               Oriented to.                                                                           '
                                                                                                                                                                     . ci
                                                                                                                                                                        rcumstance                                                                  'ward
                     Examination                                                                      .                                                              i                                                                          lRegin,asp,                             os-tl-
                                                                                                                                                                                                                                                                                        2020               y
                                       Sheet                                j                                                                                        r
                                                                                                                                                                     I                                                                          )
                                                                            1!                                                                                       !                                                                          l                                       3:22 pm
     WCSO2OJBN0O0629 1-Provlder IInsight&Judgement                                                                                                                  IAbil
                                                                                                                                                                    t   itytoperceivecurrent        Ward,NP, 05-11-         .
                     Eh
                     Sxe
                       ae
                        mtination r
                                  )
                                  k
                                  . .
                                                                                                                                                                    t
                                                                                                                                                                    lsi
                                                                                                                                                                      tuationandrespondreal isti
                                                                                                                                                                                               calyj
                                                                                                                                                                                                   z
                                                                                                                                                                                                    Regina 3*202220pm
     W CSO2OJBN                                                                       .        .. .. . .     ..       ..                               .            $
                                                                                                                                                                    .          ... .                ..       ..       . . ..           .        t
                                                                                                                                                                                                                                             . ..                                           '
                        000629 SCM-Medi
                                      calj
                                         i
                                          All
                                            ergies'
                                                  .                                                                                                                   PCN-unsurecatsanddogs jShear, 05-12-
wc                                                                                                                                                                  ,                                                                          !
 so-medical/Modules/chaëhi
                         stow .php                                                                                                                                                                                                                                                                       23/7
                                                                                                                                                                                                                                                                                                             0
                            .- -- -
                                            pt ltu,oeb/                                        w wjculvlla - rxzAl
                                                    1 -kEntered
                                                        '
                                                        ,
                                                        u((
                                                        . AN -#WCSO20JBN000Docket
                                                                           629(10-24-09/11/2020                  -
                   Case
                   j 1:20-cv-23783-MGC
                                 etForm Document
                               jDi      p                        on FLSD                           entPage
                                                                                     1976)::FullPati  HistoryI140
                                                                                                              v5. of 276
                                                                                                                                               .

                       '                                                                                                                                                                                                                                                                                                 5.6
                                                                                                               4
                                                                                                               i                                                                                                                    1
                                                                                                                                                                                                                                    :                                                                     iAmber                        j2.
                                                                                                                                                                                                                                                                                                                                         2020f.p
                   l'
                    a/cso2()JBNO()
                                 O629 SCM -                                                                    P                                                                                                                    i                                                                   y
                                                                                                                                                                                                                                                                                                        j
                                            Medi
                                               cal                                                             .
                                                                                                                   DateerclarBegios:                                                                                                /05/12                                                                                                      ::
                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                 $m
                                      DietForm
                   *                                                                                                                                                                                                                              /2020                                               l
                                                                                                                                                                                                                                                                                                      jShcar                                C5-12-
                  lwcsocozBxoooez: scv -vezica, rL#saieorders                                                                                                                                                                       1
                          .....                                                                                                                                                                                                                                                                         '  ,
                       ....       ... ..... .. ..- .. . .... . ..... .

                                                                                                                                                                                                                                                                                                      'Amber                                2020
                                                                      -.. .. .   .. ...         . .. .-. - ,. ......                                                                                                                                                                                    .

                                                                                                                                                                                                                                   ;j . .                                                             )                                     2
                                                                                                                   ,.        . ...w- - -..s.-- --..         .. . .......-.....,.,,-.......,..,-....
                  '                                                                                                                                                                               ..,..,..
                                                                                                                                                                                                         --...,.....,.....
                                                                                                                                                                                                                         ,.-.........             .. . . ...
                                                                                                                                                                                                                                                                                                      ?- ..........                          :23 Dm
                  j
                  '
                                                                        DietForm                              j
                                                                                                              t                          ods.                                                                                      jos/zt
                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                        wczo
                                                                                                                                                                                                                                                             - -.-.--...-- -.-..-=    ... ..      .r.uu

                                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                      'shear      .. .
                                                                                                                                                                                                                                                                                                                     . ..-
                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                . .,.-- -. '.
                                                                                                                                                                                                                                                                                                                                            - --
                                                                                                                                                                                                                                                                                                                                            os-,o
                   WCSO2OJ8N0OO629 SCM -             ;-.
                                                     -
                                                                           .                              .   ;
                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                   -
                                                                                                                                                                                                                                   1.- .-.-                                                           .
                                                                                                                                                                                                                                                                                                      4Amber                            2:20
                 1
                 1
                                            Medical jSeiecta1Ithalapply
                                              l     ?'
                                                    ç                  Di
                                                                        etForn                                                                                                                                                  d
                                                                                                                                                                                                                                   E(
                                                                                                                                                                                                                                 'Other(Pl
                                                                                                                                                                                                                                              .    .
                                                                                                                                                                                                                                                   ..-

                                                                                                                                                                                                                                         easeaddextrafrui
                                                                                                                                                                                                                                                         - . --.

                                                                                                                                                                                                                                                        ttoallj
                                                                                                                                                                                                                                                               -..-.-..-...
                                                                                                                                                                                                                                                              >Shear,
                                                                                                                                                                                                                                                                                                      b                                 2:23pm
                                                                                                                                                                                                                                                                                                                ------.----...-.-....-.-----.
                                                                                                                                                                                                                                                                                                                                       1;                       -.-..,.-.
                                                                                                                                                                                                                                                                                                                                                                      k
                                                                                                                                                                                                                                                                                                                                                                        ,
                                                   k
                                                   1'                                                                                                                                                                           )trays)                       '                                                                        j05-1O2. t
                                                                                                                                                                                                                                                                                                                                                j
                 ' W CSO2OJBNOOO629 SCM -          '
                                                   i                                                                                                                                                                            j                             jAmbel
                                                                                                                                                                                                                                                              ;     '                                                                  r
                                                                                                                                                                                                                                                                                                                                       j2
                                                                                                                                                                                                                                                                                                                                       y202     :
                                                                                                                                                                                                                                                                                                                                          ,.2a pm à
                                                                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                ,
                ,                                  #Glucose                                                                                                                                                                                                   ;                                                                     d
                                                                                                                                                                                                                                                                                                                                            .

                #                   urinalysis     k
                                                   i                                                                                                                                                                            1negati
                                                                                                                                                                                                                                      ve
                .
                *
                                    Resul ts       r                                                                                                                                                                            k                             j
                                                                                                                                                                                                                                                              .Jor
                                                                                                                                                                                                                                                              ky dan,                                                                   05-14-
                                                     .                                                    t!                                                                                                                    #                                                                  # annaf-t                            2020
               )
               ''ï
                 &CsO2OJBNO0O629 SCM -                                                                    :Bifirubin
                                                                                                          8'                    ....            . ..-.... ...... .. ....                 .. .         .
                                                                                                                                                                                                                               -y
                                                                                                                                                                                                                                '                                    .        .
                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                   .        .. . . . .
                                                                                                                                                                                                                                                                                                                                       7..05 am
                                                                                                                                                                                                                                                                                                                           .
               p
               ï                tjResut
                                  Uri1
                                     3aItyssis                                                            j
                                                                                                          L
                                                                                                                                                                                                                               'negative
                                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                                                  2Jordan
                                                                                                                                                                                                                                                                                                                                       .. .. .  .

                                                                                                                                                                                                                               j
                                                                                                                                                                                                                               ;                                                                  kHann ,                              05-14-
               j.                                                 #                                       r                                                                                                                    k                                                                  2              ah                    2020
              pvVCSO20JBNO00629 4SCM                                                                      ,                                                                                                                                                                                                                             .
              k                       -
                                lUrinal
                                      vsi
                                        s                                                              #Ketones                                                                                                                                                                                   i                                    7.05arn 4
              $                                                                                        ,                                                                                                                    t'
                                                                                                                                                                                                                             Jnegatjve                                                            y
              ?                                                  iResul
                                                                      fs                               )
                                                                                                       '
                                                                                                       .  ....- -...-.
                                                                                                                     ..-,-- .-- .-
                                                                                                                                                                                                                            r
                                                                                                                                                                                                                            '
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                  ;go
                                                                                                                                                                                                                                                                                                  y$- rzala,
                                                                                                                                                                                                                                                                                                      jaat-lal-i                j
                                                                                                                                                                                                                                                                                                                                'c
                                                                                                                                                                                                                                                                                                                                k s-.
                                                                                                                                                                                                                                                                                                                                   ,j4- )
                                                                                                                                                                                                                                                                                                                                 2020   1
               VV'
                 u
                 -,SO2OJBNO0062f ;SCM -                                                                )Specific Gra'-/izy'                                                                                                                                                                     k
                                                                                                                                                                                                                                                                                                                                i7csam 'p
                                                                                                                                       .- ,
                                                                                                                                          .. .-....-   . .,-,--.- .,.. .... .-- ..- -- .
                                                                                                                                                                                             - ...-,.. . .- ,..---- ..
                                                                                                                                                                                        -- - .                                                                                                                                          .
                                                                                                                                                                                                                                                                                  -..-.,- ---.--#
                                                                                                                                                                                   .
                                                                                                                                                                                                   -                  - .-...-.-
                                                                                                                                                                                                                               - - .-....-,..,...,.-.
                                                                                                                                                                                                                                                    -.                                                                                  .
                                  (Ii
                                  .r
                                       p;
                                    rra.v.2:
                                           o                                                                                                                                                                                                                                                                        -..- :-..- . -.--.-.....
                                                                                                                                                                                                                                                                                                      .-- -..- -..--,
                                           -                                                                                                                                                                                    1.O10                                                                                           ,                                j
             ;'                 ê Reszlls                                                                                                                                                                                                                                                         : Jardan,                     dO5-:4              -            k
                                i                                                                                                                                                                                                                                                                  w=.- t
                                                                                                                                                                                                                                                                                                        -h.-.
               t,'i.
               '
                  't'
                    7r.D& %%J'). lQpxl.
                                      7,,1arlTQ >F:lr7rqp'i-
                                                                                                                                                                                                                                                                                                   ..       e..-
                                                                                                                                                                                                                                                                                                      u ., .-                  .  gj-7.-'-a-,-
                                                                                                                                                                                                                                                                                                  ;
                                                                                                                                                                                                                                                                                                  .                             :v.  qcs
             '                                                1tlnnaéysts                                                                                                                                                 r;-$c.-k.$:xIiy'=                                                                                    1.
             r                                                 à                                                                                                                                                                                                                               :.
                                                                                                                                                                                                                                                                                                   lI
                                                                                                                                                                                                                                                                                                    -,;
                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                      c)
                                                                                                                                                                                                                                                                                                       ,:
                                                                                                                                                                                                                                                                                                        ;r'
                                                                                                                                                                                                                                                                                                          ,                    2r)r
                                                                                                                                                                                                                                                                                                                                  5-3.
                                                                                                                                                                                                                                                                                                                                     :-
              #
                                                                Rssa2':
                                                                      u
                                                                      -.                                                                                                                                                 I
                                                                                                                                                                                                                                                                                                                                                .               2'
              4.-
                :8
                 /:7,
                    5020.       J6(.1(   :
                                         )00629 i             #
                                                               SCM -                                                                                                                                                    y                                                                     ?t.-sartnat-.
                                                                                                                                                                                                                                                                                              ;                                i
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                 z'
                                                                                                                                                                                                                                                                                                                                 -:,2u-:
                                                                                                                                                                                                                                                                                                                                      z z.... /
             i                                               :                                                                                                                                                          !                                                                                                      jc...-
                                                                                                                                                                                                                                                                                                                                    -.-
             k-
             1                                               lùUrinalysis
                                                             1                                                                                                                                                          .
                                                                                                                                                                                                                          6.0                                                                 r                             t                                   '
            @:== w-..-,....,-.w.= z:........-.> -- .......w-:  Results                                                                                                                                                  '
                                                                                                                                                                                                                                                                                             rJorcsan,                     505-14,-                             (
                                                            Qw  ,-...v.
                                                                      .-.
                                                                        -....w= ..m ..         g                                                                                                                                                                                             iHannah                       l2020                                r
            2
            ùï
             n-?csozolnfqooo6cg $
                                4                                                         u
                                                                                          ......
                                                                                               j
                                                                                               -qcn-ceasc                       .
                                                                                                                                -u.
                                                                                                                                  zz= ,
                                                                                                                                      a:
                                                                                                                                       ...aw.w -a-......a=.-..                                                                                                                               j
                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                             -                             1
                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                           7
                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                           17.
                                                                                                                                                                                                                                                                                                                             ,.05 em                            ;t
                                                                                                                                                                                                                                                                                                                                                                 ;
                                                                scu -                          .
                                                                                               $
                                                                                                                                                                                  .= w w=.  ..k-. ..-..
                                                                                                                                                                                         ..-;
                                                                                                                                                                                                                   xa
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    j' z u.-w.vw-z
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 -..
                                                                                                                                                                                                                                   =-
                                                                                                                                                                                                                                    .ww=.
                                                                                                                                                                                                                                        ==.
                                                                                                                                                                                                                                          -..ws
                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                              u-zzr-vwuu .                                   y
                                                                                                                                                                                                                                                                                          .,..'                            j
                                                                                                                                                                                                                                                                                                                           ,

        j                                                    jUrsu
                                                             jqei
                                                                nasl
                                                                   ty
                                                                    ssi
                                                                      s                               t                                                                                                               negative                                                               igc-cla-:.
                                                                                                                                                                                                                                                                                                                =.:ux= = u..v.
                                                                                                                                                                                                                                                                                                                             '...m .s===za=a=aL
        k
        !,
                                                                                                      à
                                                                                                                                                                                                                    ?;                                                                      FLHannah
                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                           i
                                                                                                                                                                                                                                                                                                                            o5-ra,- i
                                                                                                                                                                                                                                                                                                                           '2020
                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                                                                                                    k
        iZ/CSCQCJBNOOO6Z6) r  .
                           qSC(
                              .
                              /i-                                                                     ;
                                                                                                      kUrobi
                                                                                                           iinogen                                                                                                  y                                                                       j                             j7..
                                                                                                                                                                                                                                                                                                                             z5ana r
                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                    u                                                                                                     , ,
        ;                                                   $urinalysis                           5.
        i
        t                                                   jResujts                              1
                                                                                                  .                                                                                                                 knegative                                                               g!Jordan,                     r       q
                                                                                                                                                                                                                    i
                                                                                                                                                                                                                    '                                                                                                     r05-$4- #
                                                                                                  é                                                                                                                 '
                                                                                                                                                                                                                                                                                            lre8nnatn                     d2U20   r
        $
        àv
        , t/cso20JBNO0O629 iScf !/i-                                                             rlkilrate                                                                                                                                                                                 (
                                                                                                                                                                                                                                                                                           .          t'705an
                                                                                                                                                                                                                                                                                                       ;
                                                                                                                                                                                                                                                                                                          .. ...w .xn
                                                                                                                                                                                                                                                                                                                    . ...!
                                                                                                                                                                                                                                                                                                                         '
                                                                                                  .                                                                                                                                                                                         ! .                                 .
        ,
        1
        9
        '
        1                 I
                          'b
                           'urjnajysis
                           i
                           ;                                                                     J
                                                                                                 !
                                                                                                 '                                                                                                                                                                                                          .     . ..
                                                                                                                                                                                                                   grnegytik
                                                                                                                                                                                                                           'e                                                             )Jorcloc.. 7j.0.5-5 4 -
                                                                                                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                    .       .
                                                                                                 -
                                                                                                                                                                                                                   )                                                                      lpla
    l:$/(7E;C)20:ErN000629 /
                            4 -
                           tSCM -
                                                              çaeç!,1
                                                                    fg                           l
                                                                                                l,
                                                                                                j                                                                                                                  .
                                                                                                                                                                                                                                                                                          t nl-ial-. l
                                                                                                                                                                                                                                                                                          j           i20.
                                                                                                                                                                                                                                                                                                      t   -20 1         t-
                                                                                                                                                                                                                                                                                                                         .
                                                                                                $
                                                                                                .l-eukocytes                                                                                                       '                                                                     ;                                 7'05ar'rs ;
    r                      . Ur
    k                       Rei
                              soul
                                al
                                 ï/si
                                 ts
                                    s                                                           '
                                                                                                g
                                                                                                f
                                                                                                                                                                                                                   'negative
                                                                                                                                                                                                                   )'
                                                                                                                                                                                                                                                                                         LJord
                                                                                                                                                                                                                                                                                              aal
                                                                                                                                                                                                                                                                                               n,                         '20
                                                                                                                                                                                                                                                                                                                           0520
                                                                                                                                                                                                                                                                                                                             -14- /
                                                                                                ,
                                                                                                                                                                                                                   F                                                                     iHana  -
                                                                                                                                                                                                                                                                                                l                                  1
                                                                                                                                                                                                                                                                                                                                   '
    i:$/c:(7.
    (
            40J6N000629 Scf
            -             g                                                                     $Golor                                                                                                                                                                                   j
                                                                                                                                                                                                                                                                                         k                               E 7:
                                                                                                                                                                                                                                                                                                                            05 am j,
                                                                                                                                                                                                                                                                                                                                  j
                                                                   -                                                                                                                                             ! .                                                                     ..                              y
    1                                                      Ui'iiqalysIs                         1..                                                                                                              'carir'vellow
    #                                                      Rest  aIis                          r,                                                                                                                                                                                       kJordan,
                                                                                                                                                                                                                                                                                        #                                ' 5 j4 !
                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                         @O - .
    '
                                                                                                                                                                                                                 x                                                                      p                                                               j
    ?wcsozolBf
             kooc6zg pscM-                                                                 r
                                                                                           'clari
                                                                                                ty                                                                                                              !
                                                                                                                                                                                                                j.                                                                      àhlannah                         j2020                          g

                                                                                                                                                                                                               laear
                                                                                                                                                                                                                            .                             ..                  .         r
                                                                                                                                                                                                                                                                                        k
                                                                                                                                                                                                                                                                                                                         j7:
                                                                                                                                                                                                                                                                                                                         ' 05a!
                                                                                                                                                                                                                                                                                                                              7't @
    j                jjori
                         nat ysis J                                                                                                                                                                            r
                                                                                                                                                                                                               -
                                                                                                                                                                                                               .                                                                       ,aordan,
                                                                                                                                                                                                                                                                                              05-14.
                                                                                                                                                                                                                                                                                                   - ë               -

    W CSO20JBN0O0629 'Spescuil
                             t
                             s
                             a       4
                                     rHousingReconqmendatioiqs
                              iNeeds l                                                                                                                                                                        /
                                                                                                                                                                                                              j
                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                       j
                                                                                                                                                                                                                                                                                       ë
                                                                                                                                                                                                                                                                                       ;Ha
                                                                                                                                                                                                                                                                                         nna
                                                                                                                                                                                                                                                                                           h  20
                                                                                                                                                                                                                                                                                               O5am j
                                                                                                                                                                                                                                                                                             ,7'
                                                                                                                                                                                                                                                                                               .20                                                      ,



                                                          Communication !                                                                                                                                     kGeneralPopulation(RELOCATE )Jardan,
                                                                                                                                                                                                                                                                                                  14-                305-
                                                                                                                                                                                                              l70GENERALPOP)                                                          jHannah l202:
    WCSO2OJBNOO0629 Speci
                        alNeeds 'Housing Recommendations                                                                                                                                                                                                                              1                                  8:
                                                                                                                                                                                                                                                                                                                          44am
  I                                                       Communication j                                                                                                                                   jBottomBunk(X14days)                                                      )Jordan
                                                                                                                                                                                                            :                                                                         p                                  05-14-
                                 ,                                                                                                                                                                          !                                                                         lHannah,                           2020
    WCSO2OJBNOOO629 SpecialNeeds $Housing Recommendalions                                                                                                                                                                                                                                                            a.5,.am I
                                                      '  Communi
                                                               cation i                                                                                                                                     4LowerTeir(X14days)                                                      !Jordan
                                                                      a
                                                                                                                                                                                                          4                                                                          yH      ,                       05-14- ,
                                                                                          1.                                                                                                              ë                                                                          / annah                        2020     ï
   wcso2ûJ:N00O629 1-                                                                                                                                                                                     à
                                                          lnitialHealth jVi
                                                                          sualAcui
                                                                                 ty:                                                                                                                      i
                                                                                                                                                                                                                                                                                     !                              8.54.ao-
                                                                                                                                                                                                                                                                                                                           l)
                                                                                                                                                                                                          xl20/
                                                                                                                                                                                                              20r20/20 b20/15                                                              -                                 h
                                                       Assessment l     I                                                                                                                                 I
                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                      Sarah
                                                                                                                                                                                                                                                                                      Rose,                         2020 l
                                                                                                                                                                                                                                                                                                                    05-16-
  W CSO20JBN000629 1-
                                                         Ini
                                                           ti
                                                            alHealthjAllergies:                                                                                                                           IPCN                                                                                                     4:17 Pm
                                                      Assessment 1r                                                                                                                                       l unsurecatsanddogs
                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                   jRose,                         05-16-
  W CSO20JBN000629 1- InitialHealth Doespatientsp                                                                                                                                                       2                                                                          !
                                                                                                                                                                                                                                                                                   QSarah                         2020
                                                                                                                                                                                                       ?                                                                           p
                                                                                                                                                                                                                                                                                   j                            j4.y7pm
                   Assessment       provide translatieak Engli
                                                             sh? **IF no please
                                                     online Reference# ,
                                                                                                                                                                                                       jYes
                                                                                                                                                                                                       j                                                                            Roso,                        05-16-
I                                                                                     '                                                                                                                j
                                                                                                                                                                                                                                                                                   Sarah                         2020
  W CSO20JBN000629 1- InitialHealth RecentHospit
                                               ali
                                                 zationsorSurgeries? **lF yes,
                                                                               l                                                                                                                                                                                                  2
                                                                                                                                                                                                                                                                                  *                              4:17 p''
                                                                                                                                                                                                                                                                                                                        n
cso-medical
          /Modules/chafhi
                        stol.php
                                   2
                                                                               l                                                                                                                     jNo                                                                          j
                                                                                                                                                                                                                                                                                  2Rose, 05                        -
                                                                                                                                                                                                                                                                                                                     16-

                                                                                                                                                                                                                                                                                                                                   24/70
                                          - -.-,.,,- .x,x.-r.-...w ,w u-uamw II,.
                                                                                alx - s.vvo ot
                    lCase 1:20-cv-23783-MGC
                                   IAs             Document 1 Entered                       onpzu
                                                                                               -
                                                                                                FLSD
                                                                                                 ult     loDocket
                                                                                                   :jlxuut zri 1U-24-109/11/2020
                                                                                                             /('                       Page
                                                                                                                      t?Iö)::FulPatientHi
                                                                                                                                        storyIv141
                                                                                                                                                5.5.0of 276
                    ,
                    '              j
                                   R  s
                                      ess
                                        ment      4
                                                  rprov i
                                                        d  e  mo re in f
                                                                       o rma ti
                                                                              o n .                        !
                                                                                                           3         .
                                                                                                                                            2Sarah #2020
                    l
                    Jv
                     /C;S(l20JBrkC3()O629 1-lni      th t
                                              tîalHeal  CurrentV/S                                                ?tr'b,/
                                                                                                                                                                                   B                        j4:17pm
                                                                          1
                                                                          .                                       j     a,,
                                                                                                                          y-
                                                                                                                           ky                                                      jnose,
                                                                                                                                                                                   .                        .os--is-                   ;

                    W CSO2OJBN000629
                                                 Asses
                                                 1-Ini
                                                       sme
                                                     tial1
                                                          n
                                                         -1
                                                           tth j
                                                          ea1
                                                               '
                                                               t
                                                                                                                  j                                                                    sar
                                                                                                                                                                                         al
                                                                                                                                                                                          n 2
                                                                                                                                                                                            .
                                                                                                                                                                                            t
                                                                                                                                                                                             0
                                                                                                                                                                                            ),
                                                                                                                                                                                               20 j
                                                                                                                                                                                             .y7pm
                                                 Assessment               qGener
                                                                          J    alAppearance:                     1
                                                                                                                 '
                                                                                                                  W/NL                                                                 Rose,                05-16-
                                                                                                                                                                                   '
                                                                          9
                                                                          )                                      j
                                                                                                                 1
                                                                                                                 .
                                                                                                                                                                                  ,Sarah .                 y202;0pm
                                                                                                                                                                                                             .y.
                                                                                                                                                                              '

                lt&CSO2OJBN0O0629 J1s-sIknasitsmen
                                              ialHealth kNeck:
                                                   t l  j                                                        jWNL                                                             jRose,                   I'
                                                                                                                                                                                                             05-16-
                )                                                         k                                      !
                                                                                                                 j                                                                ;saral
                                                                                                                                                                                       a                     2020
                1vvc5020:8N000629 1 lnitialHeaIth '
                                                  #Head:
                                                     -                                                           ,WNL
                                                                                                                 1                                                                9                        .4..1.
                                                                                                                                                                                                                ïpm
                i                 Assessment l    i                                                                                                                               1
                                                                                                                                                                                  'Rose                     05-16-
                ,
                .                                                     )                                          k                                                                $sarah,
                                                                                                                                                                                  !                         2020
                                                                      i                                          ?.                                                               k
                                                                                                             .   i                                                                p                         4.,47pm
             !WcsO20JBNO00629 1-Ini
                                  ti
                                   alHeal  êEJ
                                        th k 'es                                .                                $w NL
                                                                                                                                 . .                       .             ..       #i
                                                                                                                                                                                  '                          .   .. ..

             ;                                   Assessment l                                                    k                                                            jRose,                        05-16- '
            )i                                        .      @
                                                            lr
                                                                                                             ;                                                           .    j Sarah                     '42020
            3W CSOZOJB
                                             .
                                                                      r                                      y
                                                                                                             h                                                                r                              .

                               1:000629I
                               .        1-Initi
                                              alHeal
                                                   th.Ears.                   .
                                                                                                             i
                                                                                                                                               .                              t
                                                                                                                                                                              ;
                                                                                                                                                                              '-Rose
                                                                                                                                                                                                             .  17pm ;
            k .                        2Assessnaent '                                                        )
                                                                                                             .W NL                                                            )
                                                                                                                                                                              k                            05-16- '
            s
            k                               '
                                            t                         1
                                                                      :                                      k                                                                ksarah           ,           202:
            'z/csozclntqccoc-z'a !': rnitia!F-tealth txese/zasai
                           -
                                            -
                                                 -
                                                                      8                                      r
                                                                                                             !t&NL
                                                                                                                                                                              j                           .
                                                                                                                                                                                                            4.:.!-?pm. ..         k'
.        t
         r
            '
            .                               2
                                            1'
                                             .
                                            yk.
                                              '.t2C'2E'    .
                                                           -,
                                                      S7-:'Z '.
                                                                      j
                                                                                                                             .                                                !
                                                                                                                                                                              7
                                                                                                                                                                                nos
                                                                                                                                                                                  :'
                                                                                                                                                                                    e, yc5-:6- -
                                                                                                                                                                                               ?
         ,
                                                                      J                                      .                                                                 F':f5.
                                                                                                                                                                                    -,                  ';yj.1''.r;
                                                                                                                                                                                                                  ,=.
         '
                                            ;.
                                                                                                                                                                              t                        r, --...                   k.
           'e'c.sazri,li  :;rtrlrlrp
                                   si-r
                                      .
                                      ?#
                                      '   : -;;-;;:.;ad;.:qol.
                                         ..                  ll.k i-
                                                                   .2;a.c                                                                                                     :
                                                                                                                                                                              .                        ;4.,'17r.'      )rc        ).
                                                                                                                                                                                                                                  r
                                         ,,                       . .
                                                                  ,
                                                                                                             i
                                                                                                             ,r.;;
                                                                                                                 n..                                                         i'I-k..-,s.               5.rls-cs-                  t
        !:                              i .
                                          kss'a s 'sa -l
                                                       en' .
                                                                                                             .           .
                                                                                                                                                                             --                        ).2.                       )
        3
                                        ,
                                        t                        #:                                      !                                                                   -  6.a-  .al
                                                                                                                                                                                        -t                  D21    ...
                                                                                                                                                                                                                                  (
                                                                                                                                                                             à                        1                           s
                                                                                                                                                                                                      k!',
                                                                                                         ,                                                                                                        -
        ;                               r                        ?
                                                                 .                                       .                                                                   -
                                                                                                                                                                             f                           :''..'.'-r l'C''.'.'
        i'k/'v'(T;S(32(:;JBl'kO(;G62g 4J-iclitiairieaiil) $                                              u
        '                               tassessment 1'Skin                                               iFtski
                                                                                                              n pppeaj'sciry.                                                :
                                                                                                                                                                             rRose.                   1
                                                                                                                                                                                                      ,05-16- t
                                                                                                                                                                                                              r
        t                               !'-                                                              l                                                                   rSarah                   i2020                       q
        :
        l '                              ,                            l
                                                                      t                                  )
                                                                                                         :                           i                                                                t .17pm u(
                                                                                                                                                                                                      :4'
        q$YCSO20JBN000629 q1-lni
                               tialHeai
                                      th f
                                         jOralScreeni
                                                    ng                                                   @Missi
                                                                                                              ngTeeth(ptstatesthathe #
        l
        j
        k
             .            .
                          j
                          #
                           Ass
                             e ssme n
                                    t   j
                                        q
                                         l
                                         .                                                               .
                                                                                                                                     !Rose,
                                                                                                         jhaschippedt00thfromprevious ;Sarah                                                         j05
                                                                                                                                                                                                     j20-
                                                                                                                                                                                                        21
                                                                                                                                                                                                         06- j
                                                                                                                                                                                                             j
                                                                                                                                                                                                             l
        pvk/csozolBlqocosz: ? q tialHealth j                                                                 accident,andblokel.jah/.) .   .
                                                                                                                                                                         j
                                                                                                                                                                         !                           y  4,
                                                                                                                                                                                                         .
                                                                                                                                                                                                          yg yjm y
        (                   tl - ini       l,-                                                                                                                                                       ..

        :                   !Assessment $4 ppkiaiaces.
                                                     .                                                  ;. istc,.-'s
                                                                                                                                                       .
                                                                                                                                                                         t
                                                                                                                                                                         iRose,
                                                                                                                                                                         l                           ?os-s6- p
                                                                                                                                                                                                     p       y
        ;                                                         j
                                                                  ,
                                                                  '                                     r
                                                                                                        z
                                                                                                        r                                                                (
                                                                                                                                                                         lSar
                                                                                                                                                                         ,
                                                                                                                                                                             ah                      .<2.021 $
                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                '
                                                                                                                                                                                                          17pn) r
      I'
       @:csO2OJBNO0O629 ëJ-InitialHeal
                                     tin iTon                                                                                                                            ,                           :                        .
      7
      :                 !Assessal
                        $        .
                                  enl ?  l gue:                                                         )
                                                                                                        .s/
                                                                                                          '
                                                                                                          h/
                                                                                                           '
                                                                                                           i
                                                                                                           '
                                                                                                           iL.                                                           rRose             k          05-16-
                                                                                                                                                                                                     ..                       1
      !
      .
      ,                                 !
                                        k                         i
                                                                  j
                                                                  .                                     j
                                                                                                        j.                                                               )
                                                                                                                                                                         jsarah                       a.
                                                                                                                                                                                                      4oaopm .'
                                                                                                                                                                                                        ,.
                                                                                                                                                                                                         ?    l
                                                                                                        k                                                            k
      twc502û28N000629 1-lnitialHealth )
                                       'Tonsils:                                                        r
                                                                                                        , Resloveci                                                  /Rose,
                                                                                                                                                                                                     ''                      j
     (                                 Assessment h                                                     t                                                            ksarah                          l
                                                                                                                                                                                                     i0
                                                                                                                                                                                                      25-7
                                                                                                                                                                                                       02:6- )
                                                                                                                                                                                                             !
     :
     j
     .                                 g
                                       j
                                       '
                                       I          -
                                                  .                                                     y
                                                                                                        i
     k                                                  tTMJrs:                                         .
                                                                                                        k                               ;
                                                                                                                                        j                            :                              ;
                                                                                                                                                                                                    .4..
                                                                                                                                                                                                       q7pm
                                                                                                                                                                                                       .
     )t/
       vCSO2OJBNOO0629                  1-initialHeal
                                                    th i                                                '                               J                                                           ' .                    -
     .
     l                                  Assessment !j                                               'pa
                                                                                                    )Cll
                                                                                                       ic
                                                                                                        -q
                                                                                                        ils tn
                                                                                                          frol!st
                                                                                                             hlbi
                                                                                                                -a
                                                                                                                 otk
                                                                                                                   estha
                                                                                                                    ei
                                                                                                                     -
                                                                                                                     l  t'n
                                                                                                                      jaw te
                                                                                                                           lantastmj 9
                                                                                                                           l
                                                                                                                           -             Resael
                                                                                                                                        .Sar  -.t                                                   t
                                                                                                                                                                                                    !O5-
                                                                                                                                                                                                    ,
                                                                                                                                                                                                    '
                                                                                                                                                                                                    y   #6-
                                                                                                                                                                                                     2:20                  j
                                                                                                                                                                                                                           /
     ;                                                  .
                                                       :!                                           @
                                                                                                    :cccurred witha previousacci  dent. j                                                           1
                                                                                                    ;)                                                                                              y4.
                                                                                                                                                                                                      ..
                                                                                                                                                                                                       !7pt-ta
     jtA/csc'2OJ5NO00629 As
                         1-sI
                            nitialHealthjTMl'                                                                                                                       (
                                                                                                                                                                   ...                              ,05-16-
                                                                                                                                                                                                    !
     '                      essment r                                      s'
                                                                            .                  '    jPainful(ptstatesthathehastmj jRosa,
     !                                                            ,                                 lpainfrom brokenjaw that
                                                                                                    l                                tSarah                                                          2020                 '
     t                                                            i                                  occurredwith a previousacciuent.)
                                                                                                                                     i                                                               4.
                                                                                                                                                                                                      .57pm               .
                                                                  l                                 I)
                                                                                                    ,                                              .
                                                                                                                                                                   k.
     W CSO2OJ8NO00629 1-InitialHeal
                                  th Respi
                                         ratow:
                      Assessment                                                                        WNL                                                              Rose,                      05-16-
                                                                  1
                                                                  r                                                                                                  Sarah                          2020
     W CSO2OJBNO00629 1- InitialHealth Cough                                                        None                                                                                            4.
                                                                                                                                                                                                     '17pm
    l                                  Assessment             k                                     1                                                          jRcse,                               05-16-
                                                              #                                     j
                                                                                                    r                                                          jSarah                               2020
    iï?v'GSO20JBN000629'A
                        1-li
                           nitiall
                                 -leal
                         ssessment /
                                     tl- ICafdiovasculai'
                                       l 1                    .                     .
                                                                                                   1
                                                                                                   t'
                                                                                                    VVNL
                                                                                                                                                               i
                                                                                                                                                               .
                                                                                                                                                               ;Rose                   ,
                                                                                                                                                                                                   '4.
                                                                                                                                                                                                     '17pm j
                                                                                                                                                                                                    05-1(5-              ,
                                                                                                                                                                                                                         i
     W CSO20JBN0O0629                  1
                                                        j                                                                                                          Sarah                           2220
                                                                                                                                                                                                   4:q7pm
                                        -
                                          InitiaiHeaIthj
                                       Assessmeot      ..Pul
                                                       !   ses:                                     WNL                                                            Rose,                           05-16-
                                                              )                                                                                                .   Sarah                           2020
    W CSO20JBN000629 1- lnitialHea1th 'Abdominal'                                                                                                          1                                       4,.j7pm
                     Assessmenl '               .                                                   ptstatesabdominalpain                                  ïRose,                                  05-16-
                                                             j                                                                                                 Sarah                               2020
    W CSO2OJBNO0O629 1- lnitialHealtll '
                                       jGu/Rectal:                                                                                                                                                 g.j7 prx
                                   Assessment i                                                    jWNL
                                                                                                   .                                                       jRose,                                  05-16-
                                   k                        l
                                                            ,.                                     tl                                                      i
                                                                                                                                                           jSarah                                  20
                                                                                                                                                                                                   4  20pm
                                                                                                                                                                                                    :17
wcso-medî
        cal/Modul
                es/chafhi
                        stol,php                                                                                                                           .                                                         .
                                                                                                                                                                                                             25/70
                                                                                            w w,v-lvl'x - ,x'xuzt..uI4w,x
                                                                                                                        oco/a.a lI/Asu -1/v$4:Jt:91
                .Case   1:20-cv-23783-MGC Document 1 Entered on)2FLSD            Docket
                                                                         0.
                                                                          J80100062 9(10-24-09/11/2020
                                                                                            1976)::FullPatientPage
                                                                                                              Historyl142
                                                                                                                       :5 of 276                       .

                  j
                  ,
                   wcso2OJBNOOo 6
                                29 j1- lnitialH
                                   Assessment )
                                                e
                                                a lt
                                                   h jStool                        1W NL                   .             5.0                                                                                                                                  .



                 1-                                  i
                                                     -
                                                     )
                                                     .r                           k                                 j Rose
                                                                                                                         , .j
                                                                                                                    ,sarah
                                                                                                                              !2:
                                                                                                                               0520
                                                                                                                                  -16-                                             v
                                                                                  !h
                                                                                   '                               !         j
                  W CSO2OJBNOOO629 1                                              kr
                                                                                  j                                !.;        i4,.
                                                                                                                             kr
                                                                                                                             l     ,pm                                                                                                                                               ,
                                                                                                                                                                                                                                                                                     .

                                   Assle
                                       ns
                                        iti
                                          samle
                                              Hn
                                               et
                                                atthjiMuscular/Skeletal:          1WNL
                                                                                  :
                                                                                -
                 )                                   j                                                               Rose,     05-16-
                                                                                                                                                                                                                                                                                             .



                .                             i
                                                                                                           .

                                                                                                                   ... . ,. .. ..
                                                                                                                                    -,.... ..- .
                                                                                                                                                                               j!
                                                                                                                                                                               !.. .
                                                                                                                                                                                                                                                   jSarah                       2020
                jWCSO20JBN000629 1-lni
                                     tialHeal
                                            thjMobil
                                                   iy                                                                                                                          )None
                                                                                                                                                                               '
                                                                                                                                                                                       - - ... .   .. . -   -   ...-.. . .                 --      )
                                                                                                                                                                                                                                                   1Rose,
                                                                                                                                                                                                                                                                               <..
                                                                                                                                                                                                                                                                               --,y
                                                                                                                                                                                                                                                                                  .y pm                  --'

                '
                '
                p                                                       Assessment ,
                                                                                   j                                                                                           1                                                                   'Sarah
                                                                                                                                                                                                                                                                              j 05-16-
                                                                                                                                                                                                                                                                              P.2020
                ïA/cso2t
                       )JBNooO629 1-                                                                                                                                                                                                                                           4.17 pm
                l                                                    AlnitialHealth lNeurological;                                                                             (WNL
                                                                     ssessment -:   P                                                                                          j                                                               , Rose,                        ;05-16-                     ,
                                                                                                           '                                                                 ï                                                                 jsarah
                                                                                                                                                                                                                                               -                               2020                       .
            hvt
              /csO26JBN000629 i1-                                                                                                                                            j                                                                 '                               4..J7pm
                                                                    Assessment ?InitialHeaI
                                                                                          th jSpeech:                                                                        3ïA/NL
                                                                                                                                                                             f
                                                                   il          j                                                                                             ,                                                                 '
                                                                                                                                                                                                                                               .


            ;
                         .       .       .
                                              ...         .                         .               .
                                                                                                                                                                                                                                                   sarah                      2020
                                                r ..........
                                                           -.... .......................
                                                                                       -.......... .... ....                                                                                                                                                                             ,
            tW CSO2OJBNOO062@ j
                              ih IoitialHealth kGait:                                                                                                                        :
                                                                                                                                                                             -..
                                                                                                                                                                               -....
                                                                                                                                                                                   -......................
                                                                                                                                                                                                         -........................-.
                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                   .                                          ,,,r,p.
                               . .                                                                   .                                                     . ... . .........
                                                                                                                                                                           .
                                                                                                                                                                                                                                                   .. ..   .. . .                   .... ,
                                 '                                                                                                                                          ;Steady                                                           !
            )                 (, s
                                z$
                                   ssessmant )                      -
                                                                                                                                                                            )                                                                 pRcse,                          05-16- .'
                                                                                                                                                                            j                                                                 j
                                                                                                                                                                                                                                              rsarah                          2020       .
           'vvcsozol:tkoooez: k1-
           t                  kAsslensit
                                       i
                                       ame
                                       s lHnt
                                           ealtl
                                               a;
                                                rscs:                                                                                                                       lwN(       -
                                                                                                                                                                                                                                              jRose,                      'c,
                                                                                                                                                                                                                                                                            s--.s- i
'
           !
           )
           1''-Q-':
                  ?,* .
                              ;                 q
                                                5                 f
                                                                  :                                    .
                                                                                                                                                                            r
                                                                                                                                                                            .
                                                                                                                                                                            k
                                                                                                                                                                            -                                                                 y
                                                                                                                                                                                                                                              Lsaras                      ù202: /
                                                                                                                                                                                                                                                                          k
                                                                                                                                                                                                                                                                          y4:'
                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                             ii,pr;
                                                                                                                                                                                                                                                                                  ci
                                     .
                                             F;xC..GG12'?:2 '; 2=.!>.;gqi;-eca;:.- ;:.Fy.'t.kx71                                                                               '
                                                                                                                                                                             .%j'..
                                                                                                                                                                                  .z                                                          '
                                                                  'r-towhhu=SQ;-
                                                                               1I=I.t                                                                                                                                                      , Ras.r
                                                                                                                                                                                                                                                 .j                           J
                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                              -5.Nj
            '
                                                                                                                                                                                                                                           rSlaraln                       '
                                                                                                                                                                                                                                                                          .   2:2c
         .b.pj:w'''.iJ.,1'
                         --;.:
                             .(              (;t;?h-e).'Q,,=e'g; '
                               )w-:-rEid,r'xél                   . i                      .                                '                                                                                                                                                  4.17 H,1: :
                                                                 j ..':-jig;
                                                                           .airieF.i,tl-2(.&''
                                                                                             ..
                                                                                              tL'
                                                                                                itt.lQ'Qp'
                                                                                                         .                                                                                                                                1.                             t,
         y                                                       r'g
                                                                :: .(sfr :s: .-1.-
                                                                              .
                                                                              .   .
                                                                                  ' '
                                                                                 .-                                                                                                                                                       j . .C,
                                                                                                                                                                                                                                            VQS                          jw   :b-*1Y'- '.
                                                                                                                                                                                                                                                                          '-çl'
                                                                                                                                                                                                                                                                          t
         ?                                                      i                        r:
                                                                                          ,
                                                                                                                                                                        l
                                                                                                                                                                                                                                          .  w $
                                                                                                                                                                                                                                          tSa.  ..
                                                                                                                                                                                                                                              a..                        '2:   Ie'h .
                                                                                                                                                                                                                                                                                .:.2
        8h/vcsozolofqlooo6zg i                                                                                                                                          a
                                                                                                                                                                                                                                          r                              1
                                                                                                                                                                                                                                                                         1*
                                                                                                                                                                                                                                                                         r .:  17I  .  !4 tr
                                                                                                                                                                                                                                                                                     Jr'   t
                             rJ-lnitfalHeelttn iz-                                                      m-
                                                                                                         ect Mood                                                       ''
        f'
        :
        .                                                     1
                                                               ;Assessment                         L.
                                                                                                   i'
                                                                                                   ;
                                                                                                                                                                         .   s,
                                                                                                                                                                              '!
                                                                                                                                                                               -.
                                                                                                                                                                                'u                                                        )Rose, à
                                                                                                                                                                                                                                                 11
                                                                                                                                                                                                                                                   05-t6- '
                                                                                                                                                                                                                                                          t:
        )                                                     1                                    J                                                                    ,                                                                 .
                                                                                                                                                                                                                                              Sers'h                    t2020                        .
        è                 ;1-lnitiasHeahh )
                                          .Hallucinati                                                                                                                  :                                                              j
                                                                                                                                                                                                                                       )              1
                                                                                                                                                                                                                                                      /
                                                                                                                                                                                                                                                      ;.V
                                                                                                                                                                                                                                                        .'
                                                                                                                                                                                                                                                         r',
                                                                                                                                                                                                                                                           'f1
                                                                                                                                                                                                                                                           .- 2fî' i
                                                                                                                                                                                                                                                                   t
        ikVCSO2ûJBNOOO629 j                          ons'                                                                                          -

        7
        '                                                     >
                                                              1Ass
                                                              1  essnnenL                          '
                                                                                                   ;               .
                                                                                                                                                                        1lNlol
                                                                                                                                                                             la                                                        kRose, -*m*--v*1
                                                                                                                                                                                                                                       t              j
                                                                                                                                                                                                                                                      '05-- 16
                                                                                                                                                                                                                                                             $- j  ë
        k
        2                    .
                              ;                   l                                                                                                                                                                                    rSarah                           j202:/                       '
                    .         7                   i'
                                                                                                                                                                      ii
       .,                  .
                                                                                                               .                                                                                                                       )                                                             ;
       ,$/!/4
            :;s02:.
                  j81.2000629 à
                              ''
                              ,
                                !- initialHeaIth :hHomicidal/sulcldal                                                                                                                .     .                  ?
                                                                                                                                                                                                          . ..'                                                     f;4:17';:
                                                                                                                                                                                                                                                                     M. .
                                                                                                                                                                                                                                                                            ) nh :
       i
       r                                                      lAssessrnerlt                    l                                                                      !.Pastto       .
                                                                                                                                                                                  . tJ
                                                                                                                                                                                     ustende d ahunge r       tRose
                                                                                                                                                                                                              v                                                     .       -.-..-..-.'
                                                                                                                                                                                                                                                                                      #
       !                                                      j                                )                                                                      '
                                                                                                                                                                       .
                                                                                                                                                                         slri k'e thatwas 15 days according hSarah,                                                 )
                                                                                                                                                                                                                                                                    ' t)t
                                                                                                                                                                                                                                                                        >7t6- 4
      'î
       A
                                                              .                                h                                                                      k
                                                                                                                                                                      Jt. ''
                                                                                                                                                                          .   pt )
                                                                                                                                                                           îr.'
                                                                                                                                                                           .                                  k                                                     22020 l
      l../
                                                                                                                                                                                 ,                            ,                                                     1 z..y7rjm y      '
      F cso2(
            )J:Not)c(
                    529?jAEsessment
                    '    1 InitialHealtl
                                       qjùEclucatlon'                                                                                                                                                                                 i:
                                                    .
                                                                                                                                                                      irlic:                                                                                        t ..             k
      t                                  :                    i                               i                                                                                                                                       ,   Rose,                     -(15-56- ''
       , - .        ..       ...                                                              h                                                                                                                                       ;zv'F'..s
                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                    ;;ooe  ?o
                                             .. ..   .    .   ( .
                                                              '         .           ..- .. . - '                                                                                                                                      r
                                                                                                                                                                                                                                      i                             fz.....
                                                                                                                                                                                                                                                                    r
      fw csozollsNcoo6zg ;1-Ini
                r
                -
                                  tialHeal  th 1/Eclt  lcsti
                                                                                      . . .. .           .            .                         .     . i- .. - .. .. .. .. ..- .......-.. ...- .
                                                                                                                                                                                                  ..-.--..-- -.---.- ..- .-           r                                   1-/'r
                                                                                                                                                                                                                                                                              pco l
                                                                                                                                                                                                                              -.-.
     ;î
      7                   rAssessn   nent                         o  n  .                     ;                                                         ) Me     cl
                                                                                                                                                                  s                                                                   :
                                                                                                                                                                                                                                      F Rose,                       pc5-16- t
                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                    ..      !    .               .


      ,                  4:
                                                                                                                                                                                                                                      y
                                                                                                                                                                                                                                      jSa7a.?)                      1.m
                                                                                                                                                                                                                                                                    .u
     i
     ;'W CSOZDJBNOOOC    '
                     -Z: ,
                         ? Ii  3ilii
                                               'x,..,,
                                               u ....aa.,ura........-.-..-.-.........-- ..--.... .. - - .--- ...œ.-- -.....- -- œ.-.,....--..-..-.,.----' ....-... .-...-. .. . - .. .-.. . .-. . .-                               ;                                J
                                                                                                                                                                                                                                                                    'r.i:G
                                                                                                                                                                                                                                                                     t    .
                                                                                                                                                                                                                                                                          :)!
                                                                                                                                                                                                                                                                         1-
                                                                                                                                                                                                                                                                          ;
                                                                                                                                                                                                                                                                          - :
                                                                                                                                                                                                                                                                            )!-
                                                                                                                                                                                                                                                                              ?
                                                                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                                              !
                                    3lplealtl-
                                             ,:   Recei    vfi    hg Screening Review. ed                                                               ;
                                                                                                                                                        .5es                                                                       i . . . .w.               .
                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                    9                            s
    l,                   t
                         .Assessment :
                         )                     :                                                                                                           ,                                                                       ru.osa,                          ()s.,o
                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                 $
    1                                          !
                                               '                                                                                                        k
                                                                                                                                                        I                                                                          k
                                                                                                                                                                                                                                   k       1)                       20 20
    *
                                                                                                                                                       ??                                                                          rSara
       :$
        /c8020J8N000629 1- Ini   tialHeal  th jCPosi    tive FindingsDi                        scussed:                                                j                                                                          #'
                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                    4.
                                                                                                                                                                                                                                                                     -,7 pm
    l                    :Assessment iL.                                                                                                               -Lyas
                                                                                                                                                       ;                                                                          j
                                                                                                                                                                                                                                  kRose,                            05-16- j,
    l                                         #
                                              tl                                                                                                       2
                                                                                                                                                       j                                                                          rsarah                            2020    $
                                                                                                                                                                                                                                  l                                 4.
                                                                                                                                                                                                                                                                     'j.
                                                                                                                                                                                                                                                                       ;pm ,p
    . W CEO2OJBN0OO629 1 -
                             lnitialHeal  th 1#RPR Drawn                                                                                               i                                                                          r
                                                                                                                                                                                                                                  .f
                                                                                                               :                                                  1
                                                                                                                                                                  .No
                                                          Assessment j                                                                                            j                                                               rRose,                            05-1f'-
    l                                                                                       1                                                                     '
                                                                                                                                                                  1                                                                   Sarah                         2020
     t&CSO2OJBNOO0629 1- InitialHealth :(mmunizationrecommend                                                                                                                                                                                                       4.
                                                                                                                                                                                                                                                                     '17 pm
                                                                     I                                                              edYes,Explai
                                                                                                                                               n                  1
                                                                                                                                                                  $h
                                                                                                                                                                   Jo                                                         iRose,                                05-16-
    j                                                     Assessment ;
                                                                     #
                                                                                                                                                                  ;                                                           isarah                              2020
     W csO20JBNOO0629 1- InitialHeabth ;!')Referto Provider'                                                                                                    )
                                                                                                                                                                t
                                                                                                                                                                                                                                                                  4.
                                                                                                                                                                                                                                                                   .j.
                                                                                                                                                                                                                                                                     rpm
    i                                  i
    ,                 Assessn-' ei
                                 at ;                      .                                                                                                   $
                                                                                                                                                               îbYesk(f
                                                                                                                                                                      ollo
                                                                                                                                                                      pailnw  upforhungerstri
                                                                                                                                                                                            ke, yRose,                                                            05-16- !
                                       f,                                                                                                                      .
                                                                                                                                                               > ac        l andjaw pain.)      .Sai
                                                                                                                                                                                                '  'al
                                                                                                                                                                                                     -!                                                          t2020                       2
                                                                                                                                                                                                                                                                                             .
     W cso2OJBNOO0629 1- Provi der    tAll  ergies                                                                                                            !                                                                                                   4'
                                                                                                                                                                                                                                                                   ,17 pm
                                                         Exami
                                                             nati
                                                                on                       4                                                                    ,
                                                                                                                                                              1PCN -unsurecats and dogs                                           Ward, NP,                       05-18-
                                                         Sheet                           k                                                                    I                                                               '   Regina                          2020
                                                                                         l                                                                    j                                                                                                   12.
                                                                                                                                                                                                                                                                    .42
    WCSO2OJBN000629 1-Provi
                          der                                                           (
                                                                                        'CurrentMedicati
                                                                                                       ons                                                   i                                                               j                                    pm
                                                                                                                                                             jGATORADE 8 OZ. PO BID;                                          Ward
                                                         E
                                                         Sx
                                                          ha
                                                           emi
                                                            etnat
                                                                i
                                                                on ji                                                                                        8
                                                                                                                                                             4Directi
                                                                                                                                                                    ons:1PO (PO)ByMouth                                       Regin,aNP, 20
                                                                                                                                                                                                                                         05-
                                                                                                                                                                                                                                           21
                                                                                                                                                                                                                                            08-                                          l
                                                                                        :
                                                                                        t!                                                                   !
                                                                                                                                                             ' Bl
                                                                                                                                                                D                                                                                                12:42
    W 65020.132:000629 1- Provider                                                                                                                           g
                                                                                                                                                             ',
                                                                                        ;
                                                                                        'ReasonforVisi
                                                                                                     t                                                              -       . ..- ..
                                                                                                                                                                                                                                  .                          .   pm.
                                                         Examinati
                                                                 on                     j                                                                   yPosthungerstrike                                                'Ward, HP, 05-18-.                                          .

                                                                                                                                                            d
                                                                                                                                                            !
wcso-medical/Modules/chafhistol                                                                                                                                                                                               Regi
                                                                                                                                                                                                                                 na     2020
                                                                            php
                                                                            .

                                                                                                                                                                                                                                                                               26/70
        d
        *
        '


        w,,',.w.w                   uertivlek-Ix/-kut l1t;,
             $Case 1:20-cv-23783-MGC
                             Isheet        'DocumentStZ1BASEntered   on0J
                                                            tIAN -#WCSO2 FLSD   Docket
                                                                          6N00062 9(10-24-109/11/2020
                                                                                           976)::Ful       Page
                                                                                                   lPatientHi  rylv143
                                                                                                            sto'   55.0 of 276                                                                                                                                                                                                                       .

             p
             '
             i
             '              iq
                             !             5
                                           1
                                           !                                    )
                                                                                .
                                                                                i
                                                                                r                              '
                                                                                                               k
                                                                                                               :1         j12:42                                                                                                                                                                                                                                                                      j
                 .... . ............-...-.
                                         ..--
                                            ..,,.-.....---..-......
                                              .                    1..
                                                                     -....
                                                                         -
                                                                         ....-
                                                                             .         ..                     #
                                                                                                              '.
                                                                                                               -
                                                                                                                .                                                                                                                                i                                                                                          .
                                                                                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                                                                                            #
                                                                                                                                                                                                                                                                                                                                            '                               1:'1-:-1
                                                                                                                                                                                                                                                                                                                                                                                                      ,-
                                                                                                                                                                                                                                                                                                                                                                                                      4.
                                                                                        ....-.,...,
                                                                                                  ..
                                                                                                   -j.....--------.-.----,-    ---.. ...,.......-.......-.-.,.......-.--.,...,.....-.-..........-.-.........,....................,...,..........-...-.- .. .
                                                                                                                                                                                                                                                               .     . . .. .               . ..         ..           ,,       ..        . ... .. ..... . .. .                                  .lf
             j
             4
             dkVCSO20JBNû00629 sh
                               1-aP
                               Ex  ronv
                                  mi  ai
                                       d
                                       tie
                                         or
                                          n j
                                            çHPl
                                            j                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                 kp
                                                                                                                                                                                                                                                  Hoas
                                                                                                                                                                                                                                                     vthgun
                                                                                                                                                                                                                                                      in  ogwer
                                                                                                                                                                                                                                                          l    st
                                                                                                                                                                                                                                                              erarb
                                                                                                                                                                                                                                                                  ikdepa
                                                                                                                                                                                                                                                                       ni
                                                                                                                                                                                                                                                                        opwaeatinggh.t jk-
                                                                                                                                                                                                                                                                                         v'
                                                                                                                                                                                                                                                                                          ard,NP, 0
                                                                                                                                                                                                                                                                                                ,  5-18- 1
                                                                                                                                                                                                                                                                                                                                                                            . ... .... ... ......



                                 eet        l
                                            q                                                                                                                                                                                                    r                          ndri       4Regina
                                                                                                                                                                                                                                                                                       -          2020
            '
            d
            .
                                                                                                              p
                                                                                                              ,
                                                                                                              '
                                                                                                                                                                                                                                                 y   si
                                                                                                                                                                                                                                                      defl
                                                                                                                                                                                                                                                         ankpain,vari
                                                                                                                                                                                                                                                                    ouspainto j
                                                                                                                                                                                                                                                                              '                                                                                             12.42
                                                                                                           ;
                                                                                                                                                                                  '                                                              jIowerspi
                                                                                                                                                                                                                                                         neandleûfootfrom
                                                                                                                                                                                                                                                 1MVA ncv2019
                                                                                                                                                                                                                                                                                                                                         j                                  j
                                                                                                                                                                                                                                                                                                                                                                            4
                                                                                                                                                                                                                                                                                                                                                                             pm                       '
                                                                                                                                                                                                                                                                                                                                                                                                      ,

              t&cs020J8N000629 1-Provi
                                     der                                                                   jPastMedicalHi                                                                                                                        I
            I
            l
                                                                    Ex
                                                                    S$
                                                                      ami
                                                                     7eet
                                                                         nati
                                                                            on k
                                                                               B
                                                                               t
                                                                                                                                                 story
                                                                                                                                                                                                                                                j
                                                                                                                                                                                                                                                d
                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                 tNochronic                                                                             jWard, NP, 05-18-
                                                                                                                                                                                                                                                                                                                                        .

                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                                        'Regina    2020
                                                                                                                                                                                                                                                                                                                                                                                                      '

                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                           ,
            j                                                    i
                                                                 ,                                        ù                                                                                                                                     j                                                                                       j                               j12:42 .
            vvcso2()JBN0cc629 1 provider 1substanceAbuse                                                                                                                                                                                        :E'
                                                                                                                                                                                                                                                  rol          -
                                                                                                                                                                                                                                                                                                                                     .  j        àp. j                                            .

            i                 Exanaiaatiort '
                                            ,                                                                                                                                                                                                   . l(occasionaluse)                                                                      lward,r
                                                                                                                                                                                                                                                                                                                                              kR 1os-18- l
            !                                                      sheet                                  1                                                                                                                                   ,                                                                                         'r
                                                                                                                                                                                                                                                                                                                                        t4egioa                         B2020
                                                                                                                                                                                                                                                                                                                                                                        ;                         ;
            1                  '                                                                          @
                                                                                                          .
                                                                                                          #                                                                                                                                   i
                                                                                                                                                                                                                                              !                                                                                         i
                                                                                                                                                                                                                                                                                                                                        '                               j12.42
                                                                                                                                                                                                                                                                                                                                                                        '                         #
                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                  '
            k
            ,
            'w csozo-lBNooo6zg                                        .
                                                                                                          jvi                                                                                                                             -4,
                                                                                                                                                                                                                                          '                                                                                          )
                                                                                                                                                                                                                                                                                                                                     )                                  lpm                       4
                                                                                                                                                                                                                                                                                                                                                                                                  !
                                                                 i 1-provi
                                                                         der                              .
                                                                                                          k talsigns:                                                                                                                       ,fblank)                                                                                 ,
            ù
            %
            k
                                                            -'.
                                                              ,Examination t
                                                              '            .                                                                                                                                                                  -                                                                                      1      ward,Np, c5-18- #
                                                                                                                                                                                                                                                                                                                                                            '
        r                 '
                          ësl
                            neet                                                                          2                                                                                                                                  '
                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                             '                                                                                      l
                                                                                                                                                                                                                                                                                                                                    -Regi
                                                                                                                                                                                                                                                                                                                                        na                                  2020                  )
        ,                 4                                                                               !
                                                                                                          f                                                                                                                                  i
                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                             î                                                                                      i
                                                                                                                                                                                                                                                                                                                                    ;                                       12:42                 &
                                                                                                                                                                                                                                                                                                                                                                                                  L
                                                                                                                                                                                                                                                                                                                                                                                                  k
        yw cso2OJBlqoOo62g 1-Provi
                                 der                                                                    j
                                                                                                        ë;General                                                                                                                        -'
                                                                                                                                                                                                                                          2                                                                                         1
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    ?
                                                                                                                                                                                                                                                                                                                                    !                                       l
                                                                                                                                                                                                                                                                                                                                                                            ?m                    p
                                                                                                                                                                                                                                                                                                                                                                                                  .
        l                                                                                                                                                                                                                                   AppearsWell                                                                             iWard, NP, 05-18-
         k
         #                                                      :cx
                                                                'shaset
                                                                     minati
                                                                          on                            '
                                                                                                        )
                                                                                                        ?
                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                          .                                                                                         ' Re
                                                                                                                                                                                                                                                                                                                                    .  gina .2020                          h
                                                                                                                                                                                                                                            !
        >
        ?ë
        '
                                                                !
                                                                i
                                                                                                        .
                                                                                                        ,
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                    j
                                                                                                                                                                                                                                                                                                                                                                    ;.
                                                                                                                                                                                                                                                                                                                                                                    è12
                                                                                                                                                                                                                                                                                                                                                                     rv
                                                                                                                                                                                                                                                                                                                                                                        4
                                                                                                                                                                                                                                                                                                                                                                        .2 t
                                                                                                                                                                                                                                                                                                                                                                           :
                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                            '
*
d
'       ?k,..
            'cx c?r-.e'.,% ,a.,. -
              . .. .:- - . f     ,r-T,.-,c.:k.q.,:.,                      s---..,1,.
                                                                                   4e?-                !c-.f-,.-                                                                                                                           -.
                                                                                                                                                                                                                                                                                                                                                                        .                       é
                                                                             .     .
        5                                                    !i
                                                              E
                                                              qxvirol
                                                                    i-
                                                                     is.
                                                                       :iv
                                                                         on                            l                                                                                                                                    .
                                                                                                                                                                                                                                                 1.i,
                                                                                                                                                                                                                                                    --.
                                                                                                                                                                                                                                                      -                                                                             t./ .fy.,
                                                                                                                                                                                                                                                                                                                                            .,.k:2,
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                                                                                                                                    .'-.ks- -;gr- (
        '                                                    )si-
                                                                ee:                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                                    .. i
                                                                                                                                                                                                                                                                                                                                       azçlack                      l
                                                                                                                                                                                                                                                                                                                                                                    j.c
                                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                      ''t ''
                                                                                                                                                                                                                                                                                                                                                                       ..'
                                                                                                                                                                                                                                                                                                                                                                         k'
                                                                                                                                                                                                                                                                                                                                                                          .v.,,
                                                                                                                                                                                                                                                                                                                                                                           ). ..t
                                                                                                                                                                                                                                                                                                                                                                                .'
                                                                                                                                                                                                                                                                                                                                                                                'v)  !
        i                                                    9' '                                                                                                                                                                                                                                                                   -
                                                                                                      .q                                                                                                                                                                                                                            i
                                                                                                                                                                                                                                                                                                                                    .$                                6
                                                                                                                                                                                                                                                                                                                                                                    ù '
                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                         2.   4 .; .
        ,.k?
        k  k,CS(
              ' :;2(
                   ),
                    JE)Ik0,O62: '
                          :;    r.4-F-rovicler                                                        ?
                                                                                                      ,Skia                                                                                                                               ,                                                                                                      #gv .                                          ?
                                                                                                                                                                                                                                                                                                                                    r.
        I                                                    lExami
                                                                  nation                              1                                                                                                                                       Drp                                                                                   g$&ar6. IkP, iO5-iô-                                        q
        )                                                    )                                        '                                                                                                                                                                                                                           tRegina                        12020                          f
        :
        &                                                    jSheet
                                                             .
                                                                                                      k
                                                                                                      ,                                                                                                                                                                                                                           j                              512:42
                                                                                                                                                                                                                                                                                                                                                                 (
                                                                                                                                                                                                                                                                                                                                                                 k                           7
                                                                                                                                                                                                                                                                                                                                                                                             t
     i'                                                     L
                                                                                                                                                                                                                                                                                                                                  rl                             4                           p
     î
     ;$
     !
     r
       !t?CSO20JBl
                 <OO06.29j'1-Provide
                         pExaminati
                                    r
                                   on
                                                                                                     i
                                                                                                     .Ski
                                                                                                     i
                                                                                                     )
                                                                                                        n                                                                                                                                j
                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                          ccl
                                                                                                                                                                                                                                            orNcrmal                                                                              Jt/va. IMP, .
                                                                                                                                                                                                                                                                                                                                  . rc,
                                                                                                                                                                                                                                                                                                                                  (
                                                                                                                                                                                                                                                                                                                                                                 l
                                                                                                                                                                                                                                                                                                                                                                 j05--
                                                                                                                                                                                                                                                                                                                                                                     18-                    t
                                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                                             j
     :                   :sl-
                            i,yet                                                                      ;                                                                                                                                                                                                                        ;:Rq
                                                                                                                                                                                                                                                                                                                                   ztjlIa                        42:23                      y
     .
     t
     '
     #                   .
                         i                                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                                                                j                                j'
                                                                                                                                                                                                                                                                                                                                                                 ':2.
                                                                                                                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                    42                      ;
                                                                                                                                                                                                                                                                                                                                                                                            !
     !-.---.--.v--.----.......... ....---..---.-.
                                                -.-....->                 ----...........-...-....-...J)
                                                        --.-..-..-.-..--...                            ... ..   .   .. .   .                          .. ......----- -....- -. ..----.. . ..............-....-.-- .........-...                                                                                                 r                                rpf'n                      ù
     ttc/cstE
            li?o-lBNllotl6z: i1- provider ?
                                          ,I-IEENT                                                                                                                                                                                      s            .         -..........-.-............--..-........ .......--..-. ..,.,,.,...-œ---....w,
                                                                                                                                                                                                                                                                                                                                          J.. -..- -. . . .. . . .x8
                                                                                                                                                                                                                                                                                                                                                                   . ....
                                                                                                                                                                                                                                                                                                                                                                        a...- ..,.- ,.. .   ;
     l
     p                      ë
                             hcxami nati
                                       on .                                                                                                                                                                                                Noi
                                                                                                                                                                                                                                             -i
                                                                                                                                                                                                                                              mocephal
                                                                                                                                                                                                                                                     ic                                                                        tward,Np, 9cs-18- $
                                                                                                                                                                                                                                                                                                                                                 '
     ;                      :sheet        #
                                          )                                                                                                                                                                                                                                                                                    !Regina i2020 i
                                                                                                                                                                                                                                                                                                                               f                                '12.42                      1
     :
     1
     -                                                     1                                        :
                                                                                                    r                                                                                                                                   )
                                                                                                                                                                                                                                        .                                                                                      L
                                                                                                                                                                                                                                                                                                                               lE
                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                               j11:::.-'r'':'''             )
     t$A/cso2oJ:Nooo629 11- provider                                                               )sleck                                                                                                                               7s                                                                                      ,-                             --                           .1
                                                                                                                                                                                                                                                                                                                                                                                             -:
                                                                                                                                                                                                                                                                                                                                                                                             :
     '                                                    ?                                        i                                                                                                                                            '
                                                                                                                                                                                                                                                pppl
                                                                                                                                                                                                                                                   e                                                                          1   d,Np, 05-08-                                              !
                                                                                                                                                                                                                                                                                                                                                                                            i
     l                                                    $Examinaticn                             j
                                                                                                   ,
                                                                                                   '                                                                                                                                    :                                                                                     k'
                                                                                                                                                                                                                                                                                                                               :war
     I                                                    lSheet                                   t
                                                                                                   r                                                                                                                                    ?
                                                                                                                                                                                                                                        '                                                                                     jRegina   '2020
     l                                                    ?                                                                                                                                                                             k                                                                                     1
                                                                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                         12:42                                              '
                                                                                                                                                                                                                                                                                                                                                                                            .

    k
    L                                                     i                                        t                                                                       .
                                                                                                                                                                                                                                        :                                                                                     i                               q:1
                                                                                                                                                                                                                                                                                                                                                              ) 33                          t,
    Iwcso2oJBNo0o629j1 Provi
                           der JResp/Thorax                                                                                                                                                                                             !
                                                                                                                                                                                                                                        :Gl
                                                                                                                                                                                                                                          eartoAuscultation                                                                  rWard, NP, 05-18- j
                                                                                                                                                                                                                                                                                                                                                                                            j
    :                                                    IExami
                                                              nation L                                                                                                                                                                  ;                                                                                    i
    ;
    1
    5                                                    Isheet      :                                                                                                                                                                  )                                                                                    t
                                                                                                                                                                                                                                                                                                                             qRegina
                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                 2
                                                                                                                                                                                                                                                                                                                                                                 10
                                                                                                                                                                                                                                                                                                                                                                  22
                                                                                                                                                                                                                                                                                                                                                                   :402 i
                                                                                                                                                                                                                                                                                                                                                                        i
                                                         p
                                                         j
                                                         -
                                                         l           E
                                                                     ;
                                                                     :                                                                                                                                                                .
                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                     1,
                                                                                                                                                                                                                                      -
    'WCSO2OJBN00O629 1-Provider (
                                FCardiovascular                                                                                                                                                                                                                                                                              :
                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                             .         I:,
                                                                                                                                                                                                                                                                                                                                        p'
                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                         r
                                                                                                                                                                                                                                                                                                                                         ',
                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                          !'                                                #
                                                                                                                                                                                                                                                                                                                                                                                            .
    l                                                                                                                                                                                                                               1S1                                                                                      j
                                                                                                                                                                                                                                                                                                                             fWard,NP, 05-18-
    l                                                      Examination                            2                                                                                                                                 )
    ;                                                      Sheet                                 k                                                                                                                                  j
                                                                                                                                                                                                                                    t                                                                                        a
                                                                                                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                             rReg;na   zczc
                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                 j
                                                                                                 .
                                                                                                 !                                                                                                                                  i
                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                    g
                                                                                                                                                                                                                                    j                                          ,                                            l
                                                                                                                                                                                                                                                                                                                            j                                   1
                                                                                                                                                                                                                                                                                                                                                                y:
                                                                                                                                                                                                                                                                                                                                                                jyr
                                                                                                                                                                                                                                                                                                                                                                    2
                                                                                                                                                                                                                                                                                                                                                                  ;jjr
                                                                                                                                                                                                                                                                                                                                                                     ,,
                                                                                                                                                                                                                                                                                                                                                                      .:
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         42
                                                                                                                                                                                                                                                                                                                                                                       j,,
                                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                         :
     w cso2oJBNoOo629 1-provi
                            der                                                                     cardiovascular
                                                                                                                                                                                                                                    js2
                                                          Exa
                                                          shemi
                                                             etnat
                                                                 i
                                                                 on                                                                                                                                                                 I                                                                                      !war
                                                                                                                                                                                                                                                                                                                            Regidn,aNp, 0
                                                                                                                                                                                                                                                                                                                                        25-1
                                                                                                                                                                                                                                                                                                                                         c2c8-
                                                                                                ,
                                                                                                t                                                                                                                                   $                                                                                      4            12:
                                                                                                                                                                                                                                                                                                                                          42
    wcso                                                                                        .
                                                                                                                                                                                                                                    1                                                                                      !                                  pm                       1
                   zolaslotloezg 1-provi
                                       der                                                      #cardiovascular
    j                 Examination y
                                  '                                                                                                                                                                                                 '
                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                    ,RRR                                                                                   !ward Np, 0
                                                                                                                                                                                                                                                                                                                           r           5-18- #  ,
    i                 Sheej       ;                                                                                                                                                                                                 !                                                                                      rRegina   2c20 !
    lW CSO2OJBNOO0629 1           p
                                  '                                                                                                                                                                                              '
                                                                                                                                                                                                                                 -                                                                                         '
                                                                                                                                                                                                                                                                                                                           k        lpm242 s
                                                                                                                                                                                                                                                                                                                                     1                              .
                                                                                                                                                                                                                                                                                                                                                                        '


                                                          - Provider                            Abdomen                                                                                                                              S
                                                        Examinaiion                            R                                                                                                                                         oft(Iowerabdominalpain)                                                             Ward, NP, 05-18-
                                                        Sheet
                                                                                                                                                                                                                                 .                                                                                         jRegina 2
                                                                                                                                                                                                                                                                                                                                   ja
                                                                                                                                                                                                                                                                                                                                   -0.
                                                                                                                                                                                                                                                                                                                                     2402                           ,

    WCSO2ûJBN000629 1                                                                                                                                                                                                                                          j         pm
                                                        CxaPr
                                                            onvaide
                                                                  or                          IAbdomen                                                                                                                              NonDistended(lowerabdomi
                                                                                                                                                                                                                                                           nal jWard,NP, 05-18-
                                                            -

                                                           mi    tin                          '                                                                                                                                 '

                                                        sheet                                 l
                                                                                              j
                                                                                              :                                                                                                                                4
                                                                                                                                                                                                                                    pain)                  i
                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                           FRegina pq
                                                                                                                                                                                                                                                                                                                                    2z
                                                                                                                                                                                                                                                                                                                                     024z0                          .
                                                                                                                                                                                                                                                                                                                                                                    .

    WCSO20JBNOOO629 1- Provi
                           der                                                               iAbdomen                                                                                                                          !Tender-NoteSpecifi                                                                                                             m
                                                                                                                                                                                                                                                 cLocetion iWard,
                                    i
                                                      S
                                                      Ex
                                                       he
                                                        ae
                                                         mti
                                                           nation j                                                                                                                                                            j(I
                                                                                                                                                                                                                                 owerabdominalpain)                                                                        ReginaNP, 2
                                                                                                                                                                                                                                                                                                                                     00
                                                                                                                                                                                                                                                                                                                                      52
                                                                                                                                                                                                                                                                                                                                       -1
                                                                                                                                                                                                                                                                                                                                        08-
wcso-medical/Modules/chafhistow                                                                                                                                                                                               !
                               .php
                                                                                                                                                                                                                                                                                                                                                                                  27/71
                    D/Il/ZUZU                COrEMRDocument
                                                    -RADETIC, SEBASTI
                         Case 1:20-cv-23783-MGC                1 Entered  on FLSD
                                                                    AN-#WCSO2       Docket
                                                                             OJBN000629(10- 09/11/2020 Page 144              of 276
                         d
                         '  .
                                       I          l                                        24-1976) FullPatientHistorylv5.5.0
                        1.
                         :               l
                                         i
                                         r            !
                                                     =,
                                                                                                                                                                                                                                              !
                                                                                                                                                                                                                                              7
                                                                                                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                                                                                                 Th                 l
                                                                                                                                                                                                                                                                                                                                                                    ,'12:         42
                                                                                                                         ...,
                                                                                                                            ...........
                                                                                                                                                                                                                                              !1
                                                                                                                                                                                                                                              1.
                        Iw(2so20JBN0O0629 1-Prcvi
                                                del' 1GU                                                                                                .....
                                                                                                                                                            . ...... . ...   . ..       .      .. ...... ....... ........ .. . ..-
                                                                                                                                                                                                                                 .-
                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                     . . . . ....                                 ..... . .... , ,,..,..
                                                                                                                                                                                                                                                                                                                                     ....,
                                                                                                                                                                                                                                                                                                                                         .,.. .-.
                                                                                                                                                                                                                                                                                                                                            , ,  1
                                                                                                                                                                                                                                                                                                                                                 2
                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                 ..     ..... ......1
                                                                                                                                                                                                                                                                                                                                                      ....
                                                                                                                                                                                                                                                                                                                                                       .,           p  .  -'''l''''
                                                                                                                                                                                                                                                                                                                                                                       p::'
                                                                                                                                                                                                                                                                                                                                                                     ....... ... ..., ....-
                                                                                           EE)C:)rrlirqëstitlln                       ,
                                                                                                                                      q                                                                                                       '
                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                              jGeni
                                                                                                                                                                                                                                                  tal
                                                                                                                                                                                                                                                    ia WNL                                                                                       W ard,IkP, d05-18- -,....
                                                                                           Sheet                                                                                                                                              .                                                                                                                                             5
                                                                                                                                      .
                                                                                                                                      j
                                                                                                                                      !
                                                                                                                                      '

                                                                                                                                      1
                                                                                                                                                                                                                                             q
                                                                                                                                                                                                                                             1
                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                 Regina            .2020
                                                                                                                                                                                                                                                                                                                                                                                ,,,.,.
                                                                                                                                                                                                                                                                                                                                                                                .    ;?
                                                                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                                                                                      f
                       t&CSO2OJBNO0O629 1- Provider                                                                                  ?
                                                                                                                                     4                                                                                                      !                                                                                                                                    Rm                   9
                                                                                                                                     , Rectal
                        '
                                                                                                                                                                                                                                            'i
                      j
                      '
                                        Examination
                                        Sheet
                                                                                                                                    ij
                                                                                                                                    t                                                                                                       iNormaftone
                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                             #Wa
                                                                                                                                                                                                                                                                                                                                             ', rd,NP, (
                                                                                                                                                                                                                                                                                                                                                       105-18-
                                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                                       .                                                  '
                      !
                      ,                                                                                                             j
                                                                                                                                    ,
                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                            j                                                                                                k
                                                                                                                                                                                                                                                                                                                                             jRegina
                                                                                                                                                                                                                                                                                                                                             .                              p2020                     :
                     FïA/G5020J8N000629
                                         1-Provider                                                                               lMuscul
                                                                                                                                        ,osket
                                                                                                                                             etat
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                        )F
                                                                                                                                                                                                                                                                                                                                            ï
                                                                                                                                                                                                                                                                                                                                            -                               j 12:42
                                                                                                                                                                                                                                                                                                                                                                            ,,pm                      '.
                                         Examination                                                                              !
                                                                                                                                  1
                    i
                     k                  tSheei                                                                                    '
                                                                                                                                  ,                                                                                                     dreaRarlgeofMction
                                                                                                                                                                                                                                        !                                                                                                  j Ward, NP,
                                                                                                                                                                                                                                                                                                                                             a
                                                                                                                                                                                                                                                                                                                                           . ogj
                                                                                                                                                                                                                                                                                                                                                                           j'C5-18-
                                                                                                                                 ,                                                                                                      k
                                                                                                                                                                                                                                        4                                                                                                  i oa                            j
                                                                                                                                                                                                                                                                                                                                                                           /rc
                                                                                                                                                                                                                                                                                                                                                                            12zc
                   ;
                    r!A/,
                        csO2OJBNoo0629 .1-                                         k Provi der
                                                                                                                                 t
                                                                                                                                 :Neurologic
                                                                                                                                 g
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                                                                                           ,                           1om:42 j
                                                                                                                                                                                                                                                                                                                                                                       1<
                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                              i
                   ;                                                               ,Examination                                  p                                                                                                      q/3./0 X 3                                                                                        w r(j,xto, f
                                                                                                                                                                                                                                                                                                                                                     ,os-ja- ;
                                                                                                                                                                                                                                                                                                                                                             '
                   t                                                               lsheet                                        ,                                                                                                      )'                                                                                               j
                   î
                   '                                                               (                                        ?r                                                                                                          (
                                                                                                                                                                                                                                        '                                                                                                )Reagi
                                                                                                                                                                                                                                                                                                                                              oa     4
                                                                                                                                                                                                                                                                                                                                                     2
                                                                                                                                                                                                                                                                                                                                                     k20261 v
                                                                                                                            $f                                                                                                      :
                   t.
                   '
                    -.- .. .. .........-,..-..k......
                   <l
                    v'
                     tv'(2.S&20JBNcOO629 !1-                                                  ..       .       .       .. . l .. ... .
                                                                                                                                     -- ...-. ..   .. .
                                                                                                                                                      . .... . ..- ..-. ..
                                                                                                                                                                         ... .. .. ..                                               F
                                                                                                                                                                                        . - .....- -...-............- ...............
                                                                                                                                                                                                                                        8                                                                                               s.                            ,2-!2:zt2                      ,.
                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                   Providel
                                                                                          -                                   fPsych
                                                                                                                              j                                                                                                     -.
                                                                                                                                                                                                                                    r.-......- ..-.....-         . .- ..-..-..- . .                   .. . ...                          1
                                                                                                                                                                                                                                                                                                                                        .          à
                                                                                                                                                                                                                                                                                                                                                   .i
                                                                                                                                                                                                                                                                                                                                                    .P
                                                                                                                                                                                                                                                                                                                                                       m     .
                  j
                  :
                                                                               (Examination j
                                                                               L
                                                                                                                                                                                                                                         Sieap
                                                                                                                                                                                                                                                                                                                        .    .
                                                                                                                                                                                                                                                                                                                                       lkvard,t
                                                                                                                                                                                                                                                                                                                                                 -   ..

                                                                                                                                                                                                                                                                                                                                               kp, 'Q5-1*- 6
                                                                                                                                                                                                                                                                                                                                                             :

                  i
                  ;                                                            ySheet                                         à
                                                                                                                              y                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                                       2
                                                                                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                                                                                         Regina      2020   j
                                                                               !                                              8                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                                       f           k '
                                                                                                                                                                                                                                                                                                                                                     i2 '
                                                                                                                                                                                                                                                                                                                                                        .42 i
                  ;'
                   ..'
                     '.'.--.r:'
                     ,        9,3.
                                 rc-rJ.
                                      -I(Et.9xr'i.-%..q.3.32: :'-,.- .;z,...,...?1o'es                                        r.'---iil-licalij))prsssi(2i'p                                                                                                                                                                           j           tQ
                                                                                                                                                                                                                                                                                                                                                   .m
                                                                                                                                                                                                                                                                                                                                                   '        '
                                                                                                                                                                                                                                                                                                                                                                                                 ,.
                                                                               $c
                                                                                   &..1....L.:.-,
                                                                                ..-,.
                                                                                                                             t. - . . .                                                                                             '
                                                                                                                                                                                                                                        D'..
                                                                                                                                                                                                                                           'Gu7(d '
                                                                                                                                                                                                                                                  ..'s'('.'n 1an(: Dhr.jn, r.
                !
                .
                                                                               ïs1
                                                                               '
                                                                               a
                                                                                 .     ,-,.:,;'                              t
                                                                                                                             .
                                                                                                                             .
                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                        ..&.
                                                                                                                                                                                                                                           .ww$ùu.tuwt.;       ''           3cî
                                                                                                                                                                                                                                                                            : kcal
                                                                                                                                                                                                                                                                                 n..i'
                                                                                                                                                                                                                                                                                     %
                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                     b?Trd                                            1. ''- ' ,
                                                                                                                                                                                                                                                                                                                                                                     >
                                                                                                                                                                                                                                                                                                                                                                     'Cl5--
                                                                                                                                                                                                                                                                                                                                                                     )
                                                                                                                                                                                                                                                                                                                                                                          ;8;-
                                                                                                                                                                                                                                                                                                                                                                      '- '' - -
                                                                               ,                                             ù                                                                                                                                                                                                        q
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                        i-xis.'.ck                   ;lu  l=w
                                                                                                                                                                                                                                                                                                                                                                     ..- -'.
               i''@
                  IC St
                      -'                                                                                                                                                                                                                                                                                                              t.                             7 ..-,      cz
               Ft .
                  '   -'
                       . -,wiBj?u
                        21      -i
                                 L't
                                   n6..g!') @j-F'rab                                                                                                                                                                             )                                                                                        j                                         j
                                                                                                                                                                                                                                                                                                                                                                    :jz
                                                                                                                                                                                                                                                                                                                                                                      yj
                                                                                                                                                                                                                                                                                                                                                                       -,
                                                                                                                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                        4
              i                                                               !
                                                                              diExamin'
                                                                                      ait:
                                                                                         o.
                                                                                        ti-
                                                                                          n
                                                                                                   .                         l
                                                                                                                             ,t
                                                                                                                              r
                                                                                                                              .zta:
                                                                                                                                  c'
                                                                                                                                   .                                                                                             ê                                                                                                                                                               ,
                                                                                                                                                                                                                                 . j. Ut
                                                                                                                                                                                                                                       x2. lL&uc,rof,
                                                                                                                                                                                                                                                    a,
                                                                                                                                                                                                                                                     ihê)3Cri
                                                                                                                                                                                                                                                            7(,13lD
              11                                                              #                                              !
                                                                                                                             i                                                                                                                                                                                            i'
                                                                                                                                                                                                                                                                                                                          t A'ag,
                                                                                                                                                                                                                                                                                                                                :l,l;Py                             )3.
                                                                                                                                                                                                                                                                                                                                                                      5-r$
                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                         )- #
              #                                                               tSheet                                         r                                                                                                     PRN 3.Dentatreferra!                                                                  i;Regi
              .
              1,;=                                                            1.                                          f,                                                                                                     C
                                                                                                                                                                                                                                 .                                                                                       i na                                       ?
                                                                                                                                                                                                                                                                                                                                                                    F2529                        r
              '       :..-..a-zxs--axsu............          ..       ...... .,- .. . .... .
                                                                                                               .         .i.              .
                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                        kt                                          j
                                                                                                                                                                                                                                                                                                                                                                    f12.,,.
                                                                                                                                                                                                                                                                                                                                                                       .z
                                                                                                                                                                                                                                                                                                                                                                          2                      )
                                                                                                                                                                                                                                                                                                                                                                                                 ;
             ,
             jtv,csozozBsfooceaa ï1 -provider                                                                            tieatientEducation
                                                                                                                                                   ..                 ..            . .. . . . ..               ... ..         k .. . ..... .....-..................-..
                                                                                                                                                                                                                           ... .
                                                                                                                                                                                                                                                                      ..........................-.................-..- y  .                                         j
                                                                                                                                                                                                                                                                                                                                                                    .pm
                                                                                                                                                                                                                                                                                                                                                                    :
             k                   'Examination                                                                            I                                                                                                     ''                                                                                       .             .                             r                            g
                                                                                                                                                                                                                              : l  ydration                                                                            1;
                                                                                                                                                                                                                                 -
             !                   l
                                 ,si
                                   neet
                                                                                                                         !
                                                                                                                         ,                                                                                                    i
                                                                                                                                                                                                                                                                                                                         ''r''     '
                                                                                                                                                                                                                                                                                                                       î ,al.u', ..'p,                               ..
                                                                                                                                                                                                                                                                                                                                                                      :-  .:.
                                                                                                                                                                                                                                                                                                                                                                        r.-    k
                                                                                                                                                                                                                                                                                                                                                                               f
             :                                                                                                                                                                                                                ,                                                                                        ;
             !                   :
                                 ;
                                                                                                                         .
                                                                                                                         !                                                                                                    , .                                                                                      kRegi    na                                   ,
                                                                                                                                                                                                                                                                                                                                                                     i2
                                                                                                                                                                                                                                                                                                                                                                    11- 020   (1
                                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                j                                                                                                 $                                 r  1
                                                                                                                                                                                                                                                                                                                                                                       2.
                                                                                                                                                                                                                                                                                                                                                                       m .
                                                                                                                                                                                                                                                                                                                                                                         4.2  1
                                                                                                                                                                                                                                                                                                                                                                              $
              W CSO2OJBNG00629 1- .iDrovl                                                                                                                                                                                                                                                                                         î:                                î.7
                                         cser                                                                           6'PatientEducati
                                                                                                                                       on                                                                                                                                                                                                                                     .

         '                                                                    1Esaminayi
                                                                                       on j
                                                                                          '                                                                                                                                   ( Hygi
                                                                                                                                                                                                                                   ene
                                                                                                                                                                                                                                                                                                                                  ïh.
         iI                  !Sheet                                                                                                                                                                                                                                                                                                           0r ?C.) j
                                                                                                                         ,

        :
                             1
             ............. ..... .......... ........ .... ....
                                                             ...... .......                                            ;
                                                                                                                       !
                                                                                                                       .                                                                                                    g
                                                                                                                                                                                                                            t                                                                                                 t
                                                                                                                                                                                                                                                                                                                              i
                                                                                                                                                                                                                                                                                                                               nacia,s.,, .-
                                                                                                                                                                                                                                                                                                                                           ,2
                                                                                                                                                                                                                                                                                                                                           . -
                                                                                                                                                                                                                                                                                                                                             :u...:r
                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                                       .         -
        '
        r
         h/vcsozc-,:sloocezpl;-
                              1-proyzider                                          .                                   F
                                                                                                                       ;Follow-up:
                                                                                                                       '
                                                                                                                                                    .
                                                                                                                                                        ''    ... .                               .             .      .    tr
                                                                                                                                                                                                                            (.              .-.......-,-..,..
                                                                                                                                                                                                                                                            ,.....,,.......
                                                                                                                                                                                                                                                                          -....
                                                                                                                                                                                                                                                                              ..
                                                                                                                                                                                                                                                                               ,,.,,.,.,,,.,,-...-..........
                                                                                                                                                                                                                                                                                                           ....-.....
                                                                                                                                                                                                                                                                                                                             #
                                                                                                                                                                                                                                                                                                                             u
                                                                                                                                                                                                                                                                                                                   ..,.-,--..-
                                                                                                                                                                                                                                                                                                                                 .        j
                                                                                                                                                                                                                                                                                                                                          ;--
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                           -4:
                                                                                                                                                                                                                                                                                                                                            .hn--
                                                                                                                                                                                                                                                                                                                                             -  j....
                                                                                                                                                                                                                                                                                                                                                    --...j
                                                                                                                                                                                                                                                                                                                                                         $
                                                                                                                                                                                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                                                                                         :
        k
        ,
                                                                          .   Eltaminati
                                                                                       on                                                                                                                                   :'
                                                                                                                                                                                                                             ,n
                                                                                                                                                                                                                              .c.
                                                                                                                                                                                                                               . .h
                                                                                                                                                                                                                                  ?.                                                                                             j
                                                                                                                                                                                                                                                                                                                                 p,rr.,a,a,,                 -.-.

        !'
         '                                                                    Sheet                                  t
                                                                                                                     j'                                                                                                    -
                                                                                                                                                                                                                                                                                                                                 !as  .-tr,a                   /2:za-
                                                                                                                                                                                                                                                                                                                                                                    :?t
                                                                                                                                                                                                                                                                                                                                                                      c.
                                                                                                                                                                                                                                                                                                                                                                       :                   l
        l'                                                                                                                                                                                                                 l                                                                                                     t
        ''
                                                                                                                     )!
                                                                                                                     j
                                                                                                                                                                                                                           i.
                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                        a)                     l
                                                                                                                                                                                                                                                                                                                                                               ï .                         à
                                                                                                                                                                                                                                                                                                                                                                                           ,
         f.
        f'
             t
             A/CSO2OJBNOO0629 û1-Provi
                              1 Examinadtier                                                                         l
                                                                                                                     jRelease Date:                                                                                                                                                                                         ;
                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                               j12.
                                                                                                                                                                                                                                                                                                                                                               . .42 j
                                                                                                                                                                                                                                                                                                                                                                ;.,1
                                                                                                                                                                                                                                                                                                                                                                   4.                      :
                                          on                                                                        ')                                                                                                          L'.'T''-.L-
        7f
                              .
                              (sheet                                                                                !)                                                                                                                                                                                                      ;W ard,NP. F   :05-18-                                         1
                                                                                                                                                                                                                                                                                                                                                                                           .
    1                     .                                                                                         )'                                                                                                                                                                                                      3Ragina        â2c.2()
    .
                         )-                                                                                         2
                                                                                                                    ,
                                                                                                                                                                                                                         -
                                                                                                                                                                                                                         i
                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                            h             L12''42
                                                                                                                                                                                                                                                                                                                                          ,                                               7
                                                                                                                                                                                                                                                                                                                                                                                          :
    'lYA
       /cso2t)-llNat
                   )()629 1-rorovi
                                 dei
                                   -                                                                                !F'l                                                                                                 ,'                                                                                                 '
                                                                                                                                                                                                                                                                                                                            :             Lpl n
                                                                                                                                                                                                                                                                                                                                              '                                           )
                                                                                                                                                                                                                                                                                                                                                                                          $
                                                                                                                    j aysicalAppeacance                                                                                  !s                                                            . .            -...      .-.         1
                                                                                                                                                                                                                                                                                                                            ,. . . . - . ... . .- .                                       k

    l'
    i                                                                lE
                                                                     j
                                                                     j
                                                                     pSx
                                                                      .
                                                                       ha
                                                                        em
                                                                         eti
                                                                           nati
                                                                              on j
                                                                                 )
                                                                                 I:
                                                                                 li'
                                                                                  '
                                                                                                                                                                                                                         tehpcare
                                                                                                                                                                                                                         j
                                                                                                                                                                                                                         r
                                                                                                                                                                                                                         y
                                                                                                                                                                                                                                                                                                                            k
                                                                                                                                                                                                                                                                                                                            lv/ard, ikp, .;clts-'i8-
                                                                                                                                                                                                                                                                                                                            jRegina         2020
                                                                                                                                                                                                                                                                                                                                                              j                          j
                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                         k
                                                                      -                                                                                                                                                /
                                                                                                                                                                                                                       ,,
                                                                                                                                                                                                                       !
                                                                                                                                                                                                                       .!
                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                            1-
                                                                                                                                                                                                                                                                                                                             q
                                                                                                                                                                                                                                                                                                                             é                                '1
                                                                                                                                                                                                                                                                                                                                                                12:
                                                                                                                                                                                                                                                                                                                                                                  42                     ,
                                                                                                                                                                                                                                                                                                                                                                                           jj
    jWCSO2OJBN000629 1-Provi
                           der                                                                                     ëAttitudetoward Examiner& lntelwiew
                                                                                                                   j                                                                                                                                                                                                                                           :::
                                                                                                                                                                                                                                                                                                                                                               ; ,1..-
                                                                                                                                                                                                                                                                                                                                                                     Ir
                                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                                       :l
                                                                                                                                                                                                                                                                                                                                                                        .                j.,
                                                                                                                                                                                                                                                                                                                                                                                         - -.t
                                                                                                                                                                                                                                                                                                                                                                                           ! '
    I                                                                  Examination                                 -
                                                                                                                   p                                                                                                  j
                                                                                                                                                                                                                      'Friendly                                                                                              W
                                                                       Sheet                                                                                                                                                                                                                                                         ard,NP, 05-18-                                      '
                                                                                                                                                                                                                     l
                                                                                                                                                                                                                     J                                                                                                      iRegina
                                                                                                                                                                                                                                                                                                                            0
                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                              2020
                                                                                                                   :
                                                                                                                   .
                                                                                                                                                                                                                     k
                                                                                                                                                                                                                     I                                                                                                      1                                 12.,42
    W CSO2OJ:NOOO629 1-                                                                                                                                                                                              ,.
                                                                                                                                                                                                                                                                                                                                                              pm                      .
                     Exanniination                                             Provider jjEyeContact                                                                                                                 1
                                                                                                                                                                                                                     $
                                                                                                                                                                                                                      Yes                                                                                                   l
                                                                                                                                                                                                                                                                                                                            4Ward,NP,                         05-18- i
   t                                                              j
                                                                   jSheek                                          i
                                                                                                                   z
                                                                                                                                                                                                                     i                                                                                                  yRegina                               2020                   j
                                                                                                                                                                                                                                                                                                                                                                                     1
                                                                  .                                            ,'                                                                                                   i                                                                                                   4
                                                                                                                                                                                                                                                                                                                        '                                     12
                                                                                                                                                                                                                    1                                                                                                   .
                                                                                                                                                                                                                                                                                                                        ;                                     pi:42
                                                                                                                                                                                                                                                                                                                                                               33                    t
    w cso2oJBNooo629 1- Provider                                                                                lMotorDevelopmen                                                                                                                                                                                                                                                     ;
                     Examination                                                                               j1
                                                                                                                .               t1Acti
                                                                                                                                     vity                                                                           jGross&FineMotorwl
                                                                                                                                                                                                                                     ql                                                    -                            jward,NP, 05-18-                                             .

                                                                   sheet                                       .
                                                                                                               J                                                                                                    j
                                                                                                                                                                                                                    ?
                                                                                                                                                                                                                                                                                                                        iRegina   zoco
   wcsozolBxooo6zg 1- pr
                                                                                                               .
                                                                                                               l
                                                                                                               ,                                                                                                                                                                                                        I         12:42 j
                       ovizer                                                                                  lspeech/uanouage                                                                                                                                                                                      I         pm                                                    '
                   nxamination                                                                             !
                                                                                                           ,                                                                                                     wxi
                                                                                                                                                                                                                 . -                                                                                                  ward Ne, 05-18-                                                j
                   Sheet                                                                                                                                                                                        I                                                                                                          ,
                                                                                                           j
                                                                                                           /
                                                                                                           ,
                                                                                                                                                                                                                j                                                                                                       y
                                                                                                                                                                                                                                                                                                                      Regina   2:20
                                                                                                                                                                                                                                                                                                                               ,2..
                                                                                                                                                                                                                                                                                                                                  42
   W CSO20JBN000629 1- Provider                                                                            ëMood
                                                                                                           C                                                                                                    )                                                                                                   '
                                                                                                                                                                                                                                                                                                                    4          7m
  .                 Examination                                                                            :
                                                                                                           .                                                                                                    1
                                                                                                                                                                                                                t
                                                                                                                                                                                                                l
                                                                                                                                                                                                                .
                                                                                                                                                                                                                 pteasant                                                                                           i
                                                                                                                                                                                                                                                                                                                    ward,NP, 05-18-
                                                                Sheet                                                                                                                                          ?
                                                                                                                                                                                                               )                                                                                                   j
                                                                                                                                                                                                                                                                                                                   4Regina 2020
wcsomedical/Modules/chafhistol php .-3
    -
                                                                                       .
                                                                                                                                                                                                             1                                                                                                     '
                                                                                                                                                                                                                                                                                                                   /                                         1m
                                                                                                                                                                                                                                                                                                                                                             p2:42
                                                                                                                                                                                                                                                                                                                                                                            '7q/
                                                                                                                                                                                                                                                                                                                                                                               7n
                                                                                                                                                                                                                                                                                                                                                                            .
                        ....,ow..
                                        w               - RADETIC,SEBASTI                  COrEMR
                         Case 1:20-cv-23783-MGC Document           1 Entered    on FLSD
                                                                        AN -#W CSO2       Docket 09/11/2020 Page 145 of 276
                                                                                   0JBNOOO6
                         q
                         ' w csozoaBNoooezg 1-
                                               pr
                                                ovi
                                                  der àMo od                               29(10-24-1976):.FullPati
                                                                                                                  entHistorylv5.5.0                                                                                                                                                                     .
                         .                                         Examination                              1
                                                                                                            4                                                                                                                                            1
                         i
                         '                                                                                                                                                                                                                               ,cooperative
                                                                                                                                                                                                                                                         .
                                                                   shaet                                    k                                                                                                                                                                                                                                             -ward,Np,                               ,os-l8-
                                                                                                                                                                                                                                                         t!                                                                                               1
                                                                                                                                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                                                                                                                                          j
                                                                                                           j                                                                                                                                                                                                                                               Regioa                                                         j
                                                                                                           j
                                                                                                           '
                                                                                                                                                                                                                                                 ,       2
                                                                                                                                                                                                                                                         :                                                                                                .
                                                                                                                                                                                                                                                                                                                                                          ë                                     .  2020
                         W CSO2OJBNOO0629 1- Provider                                                      i
                                                                                                           #Affect
                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                                                                   12:42
                         f                E                                                                                                                                                                                                                                                                                                                                                       pm
                         '                                             saminatioo j                                                                                                                                                                  .
                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                      ,W NL                                                                                           ;
                        1
                        '                                          sheet          )
                                                                                  t                                                                                                                                                                  1.
                                                                                                                                                                                                                                                     '                                                                                                'W ard,NP,
                                                                                                                                                                                                                                                                                                                                                      v                                         h05-18- .
                                                                                                                                                                                                                                                                                                                                                      'Regi
                                                                                                                                                                                                                                                                                                                                                      k   na                                     2c20
                         W CSO2OJBNO00629 1-                                                            )                                                                                                                                            l                                                                                                #
                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                 12:42
                                                                                                                                                                                                                                                     j
                        l                                           aPmro
                                                                  Er-
                                                                  Sh'
                                                                    eet invaide
                                                                              or
                                                                             tin )j
                                                                                  kCcntentofThought                                                                                                                                                  )
                                                                                                                                                                                                                                                     iWNL                                                                                            )Ward, NP,
                                                                                                                                                                                                                                                                                                                                                                                                pm
                                                                                                                                                                                                                                                                                                                                                                                                05-18- jj
                                                                                                                                                                                                                                                                                                                                                                                                        y
                                                                                                       .                                                         .                                                                                   4
                                                                                                                                                                                                                                                     .                                                                                               fRegina                                '2020
                                                                                                       j                                                                                                                                             .                                                                                               lt
                        it&ClSO20JBN000629 1-                                                                                                                                                                                                        !                                                                                               t                                       12.
                                                                                                                                                                                                                                                                                                                                                                                               .42
                                                                     Provider                        #
                                                                                                     .Suicide/Homicide                                                                                                                           y                                                                                                #  7
                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                                                                            '   1
                                                                                                                                                                                                                                                                                                                                                                                                7m
                                                                  Examination                        ,                                                                                                                                           .
                                                                                                                                                                                                                                                 j
                                                                                                                                                                                                                                                 ,                                                                                                j
                    /                                         lSheet                                 b                                                                                .                                                          jNotSuicidalorHomi
                                                                                                                                                                                                                                                                  cidal                                                                           jWard,NP,
                                                                                                    I
                                                                                                    ,                                                                                                                                            tj                                                                                                                                          05-11   j
                                                                                                                                                                                                                                                                                                                                                                                                  )- j
                                                                                                    ;                                                                                                                                                                                                                                            :,Regiaa                                  '202:     .
                                                                                                      j                                                                                                                                          :                                                                                               j
                    rt/t?():E(
                             l2OJBNO0O629 r1-Rrovider         .                                      tFlcw ofThoughts                                                                                                                            j                                                                                               j
                                                                                                                                                                                                                                                                                                                                                 r                                          'im
                                                                                                                                                                                                                                                                                                                                                                                              2:42   '
                    k
                    '
                    è                     )uxaoasnation                                              h                                                                                                                                           '                                                                                                                                          p
                                                                                                                                                                                                                                                 9Goaldirected
                                                                                                                                                                                                                                                 .
                    !
                    '                    ,psheet                                                    Ir
                                                                                                     '                                                                                                                                                                                                                                           tW ard,NP,                                05-18- jl
                   lt                                         l
                                                              ï
                                                                                                    ;
                                                                                                    1
                                                                                                    l
                                                                                                                                                                                                                                                 l
                                                                                                                                                                                                                                                                                                                                                 tReai
                                                                                                                                                                                                                                                                                                                                                     na                                    2020 j'
                                                                   .   ...   . . . ....        .    .                                                                                                                                         ;
                                                                                                                                                                                                                                              ,                                                                                                  C
                                                                                                                                                                                                                                                                                                                                                 ;
                   ltk(:;s(:)2()Je2-kOoo62: :j- Providar                                           s
                                                                                                   lEl
                                                                                                     ïortst
                                                                                                                 . .
                                                                                                                                                                                                        .                                     )                                                                                                                                           k12:42
                   k                        !
                                                                                                                                                                                                                                                                                                                                                                7m ..-... k;..
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                 k....
                    :
                   :.
                                                rExaminatior-
                                                st
                                                                                                   (      o copekvitt-,memol-l?ioss?
                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                 -.---.---.-.

                                                                                                                                                                                                                                              j4ll.
                                                                                                                                                                                                                                                  b
                                                                                                                                                                                                                                                            -.-..-.--.
                                                                                                                                                                                                                                                                     ......
                                                                                                                                                                                                                                                                              ..------------        -..............
                                                                                                                                                                                                                                                                                                                  -............- ...-.,..--.---.-t
                                                                                                                                                                                                                                                                                                                                             ikv
                                                                                                                                                                                                                                                                                                                                                  ....... ..  l..     ........-.......-    ...............   ..........
                                                  qjjt'gt.lfcft                                    2                                                                                                                                         t                                                                                               j ar     d,NP, j;'05- j8- i
                +
                                                :
                                                )
                                                '                                                  l                                                                                                                                         h                                                                                                :7.     :
                                                                                                                                                                                                                                                                                                                                                      ;;:'
                                                                                                                                                                                                                                                                                                                                                     ..  ,-
                                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                                           :s    - -
                                                                                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                                                                                                     '2'   w2-                       ;
                                                                      .                                                                                                                                                                      ,                                                                                               L
               t'''''C''NC2Co':()7.2:::::$:;G2 i                                                                                                                                                                                             '
                                                                                                                                                                                                                                             :                                                                                               .                                       r,
                                                                                                                                                                                                                                                                                                                                                                                      '''.'7'.4.
                                                                                                                                                                                                                                                                                                                                                                                               .o                    :
                                               . 1 -7    .7'op;û;e!  ).                                                                                                                                                                                                                                                                      '
               .
               ë                                                     .. Lirrr'è,'=oro                                                                                                                                                                                                                                                        ,,                                      ;    ,.s--
                                               i
                                               , Exams        nation y                                                                                                                                                                       ''>'.'ec                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                     (j                              $.
               6                               1Si   -
                                                     leet            J
                                                                     I
                                                                     .
                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                             k                                                                                               'lrt'ar''z *'!2 ''05--6
                                                                                                                                                                                                                                                                                                                                                                                     -                               -'
               ,                               4                                                                                                                                                                                                                                                                                                                                                                  r
               r    .                                                                          r'
                                                                                                                                                                                                                                             1                                                                                               'perinp         62/
                                                                                                                                                                                                                                                                                                                                                             1$2):
                                        ,        .        1
                                                         ..                                    !                                                                                                                                                                                                                                                                ..
                                                                                                                                                                                                                                                                                                                                                                 ?0                                               #
               jVb
                 l65020J8N000629 j6- Provider                                                                                                                                                                                            !                                                                                                   1
                                                                                                                                                                                                                                                                                                                                             '                   '
                                                                                              (  .                                                                               .                                                       i                                                                                                   '
                                                                                                                                                                                                                                                                                                                                             !               t .J2                                                l
                                                                                                                                                                                                                                                                                                                                                                                                                  ?
               t                 b                                                            : Dr
                                                                                                 iented to:                                                                                                                              : '
                                 .Exam i
                                       natia                                                                                                                                                                                                                                                                                             y - - - -..-gP     m..................r
                                                                                                                                                                                                                                                                                      - ..
                                                                                                                                                                                                                                                                                         -- -                  . .- .-.- ..-
               !                                                                                                                                                                                                                         ' -...
                                                                                                                                                                                                                                                 nne
                                                                                                                                                                                                                                                                                                                             ...-....                  ..-..-.
               l
               .
               k                                         ;Sheet
                                                         i
                                                                              n j
                                                                                #                                                                                                                                                        .
                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                         jïhrard,I'
                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                                                                                                  CP. ;
                                                                                                                                                                                                                                                                                                                                                    , ;05-18-                 j
                                                                                                                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                                                                                                                               r
                                                                                                                                                                                                                                                                                                                                                                               ,
                                                         k                                    !.                                                                                                                                         1                                                                                               :Regi
                                                                                                                                                                                                                                                                                                                                             na                                   y2020                          .
                                                                                                                                                                                                                                                                                                                                                                                                                 -
           #                                                                                                                                                                                                                            t                                                                                                t                                        ;'12:
                                                                                                                                                                                                                                                                                                                                                                                      42                         l
           $S
            &CSO20JBN000629 j1-Prcvider 4kOriented tc                                                                          .                                                                                                        y                                                                                                '
                                                                                                                                                                                                                                                                                                                                         f                                        ;'                             ;
           i                                             .Ezamination
                                                         k
                                                         ë                                 :                                   .                                                                                                                                                                                                         :               Rm                                                   ti
                                                          sïaat                            i                                                                                                                                            )    Pl
                                                                                                                                                                                                                                              ace                                                                                                                                                                ;
                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                        iïAtar(j,pçp:  7
                                                                                                                                                                                                                                                                                                                                                       ,os..i8.                                              7
           p
           i
           .
                                                         j'                                y
                                                                                           .
                                                                                           l                                                                                                                                            i.
                                                                                                                                                                                                                                                                                                                                        7
                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                          Regina      ;
                                                                                                                                                                                                                                                                                                                                                      ;2020
                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                                             ;
                                                                                                                                                                                                                                                                                                                                                                                                             '
       j?s
         /csozclBNooo:z:l1x-Proviuer -'tjorientedto.                                                                                                                                                                                    1
                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                        @
                                                                                                                                                                                                                                                                                                                                        ;
                                                                                                                                                                                                                                                                                                                                                      ,12. .
                                                                                                                                                                                                                                                                                                                                                           42                                                i
      j
       ;                                             t
                                                     jE am ination                         '                                 .                                       .                                                              ;
                                                                                                                                                                                                                                    ,per
                                                                                                                                                                                                                                       son                                                                                              -
                                                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                                      , prn                                                  8
                                                                                                                                                                                                                                                                                                                                                                                                             7
      !                                              )Sheet                                ;
                                                                                           ?                                                                                                                                        '
                                                                                                                                                                                                                                    f                                                                                                   #,v,laçn,Np, y0s-1&
      $                                              /                                     .
                                                                                                                                                                                                                                    ;                                                                                                   lRegina        2020                                                  ;
                                                                                                                                                                                                                                                                                                                                                                                                             7
                                                     .                                     k                                                                                                                                        '                                                                                                   I                                                                    1
        wcso2ûJBNooo629j1-provi
                              der 2oriented to:                                                                                                                                                                                     t                                                                                                   j
                                                                                                                                                                                                                                                                                                                                        '            . ,
                                                                                                                                                                                                                                                                                                                                                       pg..grj                                               y
      t'                                             '                                    t                                                                                                                                         k                                                                                                   k(                                    j
                                                                                                                                                                                                                                                                                                                                                                              ipm                            ,
      :.
      j                                              .Exan
                                                     k
                                                     1
                                                     k
                                                          ninatiolâ
                                                      sheet                            1
                                                                                          .                                                                                                                                         .
                                                                                                                                                                                                                                    '   circumstance                                                                                   t
                                                                                                                                                                                                                                                                                                                                       'ward, NP,                                                            j
     i
      :
                                                     i
                                                     .                                 !                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                                                                                                                                            05-18-
     :
                                                     @                                 2                                                                                                                                        ;                                                                                                       1 Regina                          ?,gczc   .
     IsAfcsozclBr
                qlcooeagI1
                                                                                 ..    .                                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                                                                                                   -
                         Ex-pronvat
                                 idie
                                    or j
                                       'lnsi
                                           ght&Judgement                                                                                                                                                                                                                                                                                                                      ..
     1
                                                                                                                    ..        --            . .-            ,.-- .. .       .-                      .          .                t
                                                                                                                                                                                                                                ;                                                                                                                                         l12. 42
     j                     ami                                                                                                                                                                                                  lAbili                   ... .                                                                         1
                                                                                                                                                                                                                                                                                                                                       k.
                                                                                                                                                                                                                                                                                                                                       -                                  jprn     j
     ,                                                                  l
                                                                        n             t                                                                                                                                                                                                                                                                                                                      ?
                                                     Sheet                            y                                                                 .
                                                                                                                                                                                                                                ;    ty
                                                                                                                                                                                                                               ;situatiot
                                                                                                                                                                                                                                        oan
                                                                                                                                                                                                                                        n pedrcreei
                                                                                                                                                                                                                                                  v
                                                                                                                                                                                                                                                  se cudrrreenal
                                                                                                                                                                                                                                                   pon        tisticall j$
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         A.
                                                                                                                                                                                                                                                                          /az-lqp. los-18-                                                                                                                   é
                                                                                                                                                                                                                                                                                                                                                                                                             .
     l .. .
                             .   .. .       ..
                                                                                      ,                                                                              .                                                         ?                                      yl,Ragina     2020                                                                                                                     j
   wcso2()JBNooo629 scM -
     1                                                                                 kGlucose
                                                                                                    . .. .... ..................................
                                                                                                                                              ....................... ....... ....... ...-.
                                                                                                                                                                                            - .............                    ;
                                                                                                                                                                                                                                                                                                                                                                              la.
                                                                                                                                                                                                                                                                                                                                                                              . .4a                          4
                                                                                                                                                                                                            ....--....-....... .- ................-......
                                                                                                                                                                                                                                                             --.-...--.....--.---.....--...-.                                                                                                            j
  j                  Urinalysi
                             s                                                        :
                                                                                      '
                                                                                      j-                                                                                                                                                                                                    -                                      r
                                                                                                                                                                                                                                                                                                    . -.-....-x...xu.w.0--..0eoea-w.
                                                                                                                                                                                                                                                                                                                                   't                                       9m                           3
                    Resul ts                                                          .
                                                                                       .
                                                                                                                                                                                                                            !-                                                                                                    'Rose          .

                                                                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                                                          m.x-u...-       ..-..- .......

                                                                                                                                                                                                                                                                                                                                                                           o5-q8-
                                                                                                                                                                                                                                                                                                                                                                                                         <


   WCSO2OJBN0O0629 SCM                                                                j                                                                                                                                     j
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                                                  'sarah
                                                                                                                                                                                                                                                                                                                                   .                                       2020
                          -                                                           jBilirubi
                                                                                      ?       n                                                                                                                                                                                                                                                                            11:13 pm
                    Urinalysis                                                        j
                                                                                      '                                                                                                                                         -
                    Results'                                                          '                                                                                                                                                                                                                                            Rose,                                  05-18-
  W CSO2OJBNOO0629 SCM -                                                                                                                                                                                                   '                                                                                                       Sarah                                  2020
 i                 Orinalysi                                                      1Ketones                                                                                                                                  > <*r'Mf'= <=Y==== D='ux= o 'w.                                                                    '

 I                 Resu!ts s                                                     j
                                                                                 !                                                                                                                                        j+
                                                                                                                                                                                                                                                          .'-'''''' -**'''*'
                                                                                                                                                                                                                                                                           '> *'-                                *-       '
                                                                                                                                                                                                                                                                                                                              )Rose,
                                                                                                                                                                                                                                                                                                                                  '                               jq1:13pn3
                                                                                                                                                                                                                                                                                                                                                                      .       '                     '
                                                                                 h
                                                                                                                                                                                                                                                                                                                                                                  , 05-18-
                                                                                                                                                                                                                          !à                                                                                                  jSarah                              I
                                                                                                                                                                                                                                                                                                                              .
 #                                                                                                                                                                                                                                                                                                                                                                f
 jWCSO2OJBN0O0629 SCM -                                                       j
                                                                              'S
                                                                                pecificGravity                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                              k
                                                                                                                                                                                                                                                                                                                                                                   2020
                                                                                                                                                                                                                                                                                                                                                                  '11:13pm i
                                                                                                                                                                                                                                                                                                                                                                  k
                                                                                                                                                                                                                        j
                  Urinalysi
                  Results
                          s                                                   p
                                                                              t
                                                                                                                                                                                                                        j1.000
                                                                                                                                                                                                                                                                                                                               Rose,                               05-18-
 w cso2oJBNooo629 scM -                                                                                                                                                                                                                                                                                                        Sarah                               2020
                                                                             ,Bjood                                                                                                                                                                                                                                                                                11:13pm l
                  Results
                                             uri
                                               nal
                                                 ysis                        I                                                                                                                                        .-
                                                                                                                                                                                                                                                                                                                              Rose,                               05-18-
                                                                             4
                                                                             y                                                                                                                                       t
                                                                                                                                                                                                                      1
 l
 .&cso2OJ:Nt
           )o0629 scr                                                                                                                                                                                                ,                                                                                                        sarah                               2020
                    vl-                                                      jpi.s
                                                                             -
                                                                                                                                                                                                                     !                                                                                                                                            11..13pm ..
                                            Ori
                                              nalysis                        i
                                                                             -                                                                                                                                       x5.O
                                                                                                                                                                                                                     j
                                            aesults                          f
                                                                             '                                                                                                                                      k                                                                                                         Rose,                   .          05-18-
 W CSO20JBN0O0629 SCM -                                                                                                                                                                                                                                                                                                       sarah                              2020
                      Uri
                        nalytis
                                  'jProtein                                                                                                                                                                        l
                                                                                                                                                                                                                   I
                                                                                                                                                                                                                                                                                                                                                                 11 '13pm
                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                      -
                      Results      j                                                                                                                                                                                                                                                                                      Rose,                                 Q5-18-
so-medical/Modules/chafhistol.php                                                                                                                                                                                                                                                                                         Sarah                                 2020
                                                                                                                                                                                                                   j                                                                            ,                      ,                                        11:13pm
                                                                                                                                                                                                                                                                                                                                                                                    'Atqr''rh
                         Case 1:20-cv-23783-MGC   tzortlvsx -KADETIC,SEBASTI
                                                          Document         AN #WCSO20
                                                                        1 Entered on FLSD   Docket
                                                                                      JBNOOO629(10-24-09/11/2020
                                                                                                      1976)::FultPati Page 146 of 276
                                                                                                                        -

                         ? w csO2OJBNOO0629 SCM -         '
                                                          !                                                         entHistoryIv5.5.0
                                                          pUcobilinogen
                                       Uri nal
                                             ysis                                             1                                                         gO.2                                                          j
                                       Resul ts                                               4
                                                                                              .
                                                                                              ,                                                         ?                                                             j
                                                                                                                                                                                                                      :Sar
                                                                                                                                                                                                                      j Rose
                                                                                                                                                                                                                          ah,                             05
                                                                                                                                                                                                                                                          2 -0
                                                                                                                                                                                                                                                           0218-
                     IW CSO20JBNtO0629 SCM                                                                                                              j
                                                                                                                                                        !
                                                                                                                                                        t
                                                                                                                                                                                                                      '

                                                                                                                                                                                                                     il
                     1                       -                                                ;Nitrate                                                  j
                                                                                                                                                        .                                                            ?                                411..13pm
                                       zrinalysis                                            (i
                                                                                              -
                     l                                         Resul ts                      i
                                                                                             F
                                                                                                                                                        :-
                                                                                                                                                        -
                                                                                                                                                        i
                                                                                                                                                        i                                                            ..qose,
                                                                                                                                                                                                                 'Sar'
                                                                                                                                                                                                                 r   a1
                                                                                                                                                                                                                      7
                                                                                                                                                                                                                                                          oo--
                                                                                                                                                                                                                                                      ,2020
                                                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                             la-
                     .   W CSO2OJBNOOO629                      SCM     -                     (
                                                                                             ' Leukoo ,tes                                              j                                                        j                                    k
                                                                                                                                                                                                                                                      $11:Japm
                                                                                                                                                        ù                                                                                             ,
                     j                                         Urinalysis                    j
                                                                                             :
                                                                                                                                                        .
                                                                                                                                                        b                                                             Rose
                                                                                                                                                                                                                                                                            .   j
                    j
                    '                 Results                                               j                                                       #                                                            jsar
                                                                                                                                                                                                                    ah,                               2 02-0
                                                                                                                                                                                                                                                       os- !8-                  .


                    j                                                                                                                               j
                    jvvcSo2OJBN(
                               )00629jSCinMal-                                              j
                                                                                            )Col
                                                                                               or                                                   i                                                                                                  11.13pnn
                                                                                                                                                                                                                                                      .

                                      Or     ysis
                                                                                                                                                    jIiglntyellow
                    j                                        jResul
                                                                  ts                        4                                                                                                                   !Rose
                                                                                                                                                                                                                ;Sarah         ,
                                                                                                                                                                                                                                                      2
                                                                                                                                                                                                                                                      0052
                                                                                                                                                                                                                                                         -0
                                                                                                                                                                                                                                                          18- j
                                                                                                                                                    d                                                           #
                tiVkCôO20JBNOO0629 jSci
                                      vi-                                                   tClari
                                                                                                 ty                                                                                                                                               .
                                                                                                                                                                                                                                                      11.
                                                                                                                                                                                                                                                        '13pm j
                $
                p
                /                                             Ur
                                                              Rei
                                                                natl
                                                                   yssis                    h
                                                                                            '
                                                                                                                                                    2clear
                                                                                                                                                    ,
                                                                                                                                                                                                              /
                                                                                                                                                                                                              rsarah
                                                                                                                                                                                                               Rose,                                  2
                                                                                                                                                                                                                                                      05-108 1
                                                                                                                                                                                                                                                       02          -
                                                                SU                          j                                                       '
                                                                                                                                                                                                                                                              ,
                h W CSO20JBN000629                                                                                                                                                                            p                                       11'
                1.
                '                                           . SCh.
                                                                 /l-                        4PregnancyStatus
                                                                                            C                                                       o
                                                                                                                                                    lNo                                                      t                                          .13pm I
                 ;                                          :
                                                            ,'Ori
                                                            .   nalycis                                                                         x                                                             f
                 k                                          jResul                       p                                                       ?                                                           ?  Rose,                            d 05-18- -j
                 L'                                                ts                   '
                                                                                        j                                                        '
                                                                                                                                                 ,
                                                                                                                                                                                                             .. sarai
                                                                                                                                                                                                             ,      ;                            j:
                                                                                                                                                                                                                                                  .2:2:
                /                                                                                                                               E.                                                           r
                                                                                                                                                                                                             '                                            .
                Iwcso2OJBNo0o629 )
                                 8sCM-                                                  ;UrinePregnancy Resuits'.
                ..
                                                                                                                                                ;                                                            ,
                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                  11;13pm '
                                                                                                                                                                                                                                                          #
                )                'urinalysis                                            ;
                                                                                        '                                                       ; ikegafive                                                  y
                !
                m                                        EResul
                                                         lk   ts                        t                                                       !                                                            ,Rose,                              '05-18-
                tth:f :.7.
                                                                                                                                                k
                                                                                                                                                .
                                                                                                                                                                                                             t
                                                                                                                                                                                                             isarah
                                                                                                                                                                                                             ,                              j2021
                                                                                                                                                                                                                                                3                           :
                         ( ).    gtk!j::q!x!$1!!fl%,.(k' K'j..:.:Ir'''.',,;()ge             C.1jg;'                                             .
                                                                                                  ' ja:.
                                                                                                       r                                                                                                     x                              ;
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                              -1$.
                                                                                                                                                                                                                                                 .$3 o'
                                                                                                                                                                                                                                                     . '
                                                                                                                                                                                                                                                       ,n :
                                                        '6>'YR'
                                                              Jir
                                                                nj
                                                                 J71T=                 S                                                            ':SI(.u.:.tjyuIjt:tu..a(ëzat:
                                                                                                                                                                                u..ILà'u.:yys                *Jurr.ja2
                                                                                                                                                                                                                     n                     y
                                                                                                                                                                                                                                           J06.
                                                                                                                                                                                                                                           '  .
                                                                                                                                                                                                                                              O1-
'
d                                                       2Shset                         t
                                                                                       -
                                                                                                                                                                                                                   .
                                                                                                                                                                                                              .-:    ?.,q,.&                     w.
                                                                                                                                                                                                                                                 ua..
                '.
                                                        J
                                                        '                              ;
                                                                                       :                                                                                                                                                    ktz  n'r'c
                ls
                 lt'
                   .
                   ;i02t
                       )Jiïlw
                            lt)U:6/
                                  .1
                                   :/ $1 -t-'ra'k;)cje.i-                              )(ltgi
                                                                                            -rentl$1ec1;f'
                                      !Ellariniriatioa                                 '                 ;ft1;'.'h4ls                                                                                       q                              j,é;.n.h
                                                                                                                                                                                                                                                  .                         j
                                      ySheet                                           )                                                       LbL9i
                                                                                                                                                ..   -i-
                                                                                                                                                       i
                                                                                                                                                       .--CRf
                                                                                                                                                            wnt.f.)
                                                                                                                                                                  .ta
                                                                                                                                                                    -@L #it K
                                                                                                                                                                        '   .tîE!E!!L;
                                                                                                                                                                                     '' 7JJ,-ctari,                                       $:)5 Jd.- ?î
                                      p                                                (                                                      Directions:h(     N!E8 ri  .F
                                                                                                                                                                          il64y       , n:                                                # -'
                                      !
                                      t                                                 :                                                   j$nhalati   cn E!ID PRN1,;,aTYLENOL (        j'bannah .                                       t2020     ?
                                                        4
                                                        ;                               )
                                                                                        %
                                                                                                                                            ,
                                                                                                                                            ;
                                                                                                                                            .                                                                                            j10,.06 rj
                                                                                                                                            %
                                                                                                                                            . EXTRA STR6l
                                                        ;                                                                                                        iCYH 50OI     QG TAB ),                                                 1,
            .   .         .. .
                                                        .                              r'                                                     gjo. ' oj recfons;j7AB -      (PO-1By i   :                                                )an3       .
                                                                                                                                                                                                                                                    :
                                    r
                                    i                                                 T
          ;I/
            ./t-
               ;5:123..J22h1090629 r1-Provide:                                        l7                                                    lMoutfau(:)F'Rtk ,                          j                                                j                              j
            i--
            ?                                                                           1q
                                                                                        .
                                                                                          c
                                                                                          éfsortfor.
                                                                                          .t
                                                                                           '       Visit                                      -
                                                                                                                                                                                        t:
                                                                                                                                                                                        .
                                                                                                                                                                                        1
                                                                                                                                                                                        .                           k
                                                                                                                                                                                                         /k/ard,NP, i       t
                                                                                                                                                                                                                     06-01- k
                                                                                                                                                                                                                            k
          -
                                   rEzaminztiaa                                       i
                                                                                      .                                                      '-.:)u-
                                                                                                                                                   ?i''.::,sz-ca !'.ui-:5
         ?'                        'slaeet
                                   4                                               !
         t                                              k                          )                                                                                                                     !
                                                                                                                                                                                                         .Regina                         jzc''
                                                                                                                                                                                                                                         .   ?o                         t
                                                                                                                                            k                                                            !
                                                                                                                                                                                                         y                               !'-i0.
                                                                                                                                                                                                                                        )afn24 g
        'vvcsozolBl
        )         kooo6zg /1-                                                                                                            k                                                               t                                    .

        i                     provi
                                  der                du
                                                       E                           )Hpt
                                                                                   .                                                                                                                             ,                             -
                                                                                                                                                                                                                                               j          .       ..
        ;                                            l xamination                  9
                                                                                   !
                                                                                   :                                                     cotr gu stsrte: jabau' ttnaz '.'
                                                                                                                                                                        ,a:ar                           /t/vard, btP, 1
                                                                                                                                                                                                                      . o6
                                                                                                                                                                                                                         .-01-                                          i
                                                                                                                                        $                                    -
                                                                                                                                                                            ..
        n
        k                                            tsheet                        r                                                    !aigio, Bt
                                                                                                                                                 k-zé  '=start'
                                                                                                                                                              ad aboz!Ethe                              :
                                                                                                                                                                                                        r
                                                                                                                                                                                                        -Regina       1                                                 k
        i                                            ?                             '                                                                                                                                                 4
                                                                                                                                                                                                                                     j202
                                                                                                                                                                                                                                        .0 2
                                                                                                                                                 ,
        4                                            ,
                                                     :                                                                                  ;sss-ia tiriqs. cougl-iaocl sk,
                                                                                                                                                                      /elling                           j
                                                                                                                                                                                                        .                                  ,
        1                                           ,y
                                                    g
                                                    I                                                                                   k
                                                                                                                                                     .            -
                                                                                                                                        ,'idzo tdlkoat,y i1tlj-?iOviiu.t../61
                                                                                                                                                                            3
                                                                                                                                                                                                        .
                                                                                                                                                                                                                                     ?10.
                                                                                                                                                                                                                                        21 l
                                                                                   r
                                                                                                                                        r'-
                                                                                                                                         ,j
                                                                                                                                        :k .Iayzii
                                                                                                                                                 -
                                                                                                                                                 l:ai,y'l
                                                                                                                                                        -
                                                                                                                                                        evei.ci'
                                                                                                                                                               l
                                                                                                                                                               îlisa   body (
                                                                                                                                                                   .r'd;
                                                                                                                                                                       es   ù.                                                       jam   .
                                                                                                                                                                                                                                           j
        r
        ;
        '
        ù
                                                    ?
                                                    '
                                                    C
                                                    t
                                                                                   '
                                                                                   8
                                                                                                                                    k
                                                                                                                                    k
                                                                                                                                        s
                                                                                                                                        .
                                                                                                                                      aches.DenieseverInsing taste or,k
                                                                                                                                                                   .'të
                                                                                                                                                                      '
                                                                                                                                                                      .
                                                                                                                                                                      rk
                                                                                                                                                                       '      g
                                                                                                                                                                              ..,
                                                                                                                                                                       Eda)and;
                                                                                                                                                                                                                                    à
                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                    r
                                                                                                                                                                                                                                    l                                  ;
                                                                                                                                                                                                                                                                       ,
                                                                                                                                                                                                                                                                        '
        u
        s                                                                                                                             sn.!.
                                                                                                                                          s.l1
                                                                                                                                             ..7'
                                                                                                                                               .f,L;.
                                                                                                                                                    E.1t:
                                                                                                                                                        ''.t.
                                                                                                                                                            az'
                                                                                                                                                              .rs..'
                                                                                                                                                               ..  -
        i                                           j
                                                    '                              y
                                                                                   '                                                i
                                                                                                                                    ! arepenui    ng.
        ;                                           1                              l                                                .                             Diclhaveseveral !                                                )                                   2
                      j           t
                                  ,                                                                                                 'days'o
                                                                                                                                    .
                                                                                                                                    j
                                                                                                                                    gUCCUà
                                                                                                                                           flh
                                                                                                                                          Ii-
                                                                                                                                              ungder
                                                                                                                                             /iirl
                                                                                                                                                    strikepriortothis t
                                                                                                                                                   àilsSi9GsSt8rled jt
                                                                                                                                                   i                  .                                                            p
                                                                                                                                                                                                                                   '                               i
                                                                                                                                                                                                                                                                   :''
      ;Wcso2cJ
             : N00062
                    9  1 -Pr
                           ovider h
                                  kPas
                                     tMedicalHistoqz                                                                              ;aatjrygat
                                                                                                                                           adjrjt
                                                                                                                                                ajtij
                                                                                                                                                    aja(jeguatey j                                                                                                 j
      ù
     ri
                       Examinat
                              ioo l                                                                                              l DeniesalI
                                                                                                                                    .                            j..u.. . . ...
                                                                                                                                                                     o
                                                                                                                                                                                  ..       .., .,                                  j              .

                      lsheet      )
                                  -
                                  u                                                                                              ;'                              1 R egrti
                                                                                                                                                                         n
                                                                                                                                                                         r,a
                                                                                                                                                                         y sro. j
                                                                                                                                                                             .  42 0.2o.
                                                                                                                                                                                 ()o  0j-                                                                          ,,
     l                                                                            '                                              '
                                                                                                                                 j                                                                  '
                                                                                                                                 i                                                                  -
                                                                                                                                                                                                    p                              '1C):21
                                                                                                                                                                                                                                   )
        W CSO20JBN00O629 1- Provider                                              jSubstance Abuse                               /                                                                  p
                                                                                                                                                                                                    11                             'am
                                                                                                                                                                                                                                   11                              '
                                                                                                                                                                                                                                                                  .
                         Examination                                                                                             #Deni
                                                                                                                                     es                                                             . Ward,NP,                     O6
                                                    Sheet                                                                       j
                                                                                                                                5
                                                                                                                                                                                                        Regina                     20-2Oq
                                                                                                                                                                                                                                       0-
                                                                                                                                                                                                    .
     WCSO2OJBNO0O629 1-Provider                                                jVitalSigns:                                     i
                                                                                                                                l
                                                                                                                                i                                                                   -
                                                                                                                                                                                                    )                              10:21
                                                                                                                                                                                                                                   .c
                                                                                                                                                                                                                                   'E!'
                                                                                                                                                                                                                                      l',.)
                                                                                                                                                                                                                                          ,..
                                                                                                                                                                                                                                            l,
    j                                                     on #4j
                                                  Examinati                                                                     1(blank)                                                         xJordan
    i                                            isheet      1                                                                  #                                                                rHannah,
                                                                                                                                                                                                 '
                                                                                                                                                                                                 .                                 06-
                                                                                                                                                                                                                                   20201
                                                                                                                                                                                                                                      0- I
    !
    '
                                                l                              k
                                                                               i                                                j
                                                                                                                                j
                                                                                                                                                                                                i
    w cs()2oJBNo0O629 J-
                                                     provi
                                                         der jGeneral
                                                                                                                                k
                                                                                                                                #
                                                                                                                                A
                                                                                                                                                                                                j
                                                                                                                                                                                                r                                  1o.06 j
                                                                                                                                                                                                                                   am    k
                                                                                                                                                                                                                                                              ,
                                                  îxaminati
                                                          on j                                                                  l ppearsw ell                                                       ward
    ,                                             sheet      i                                                                  t
                                                                                                                                                                                                l
                                                                                                                                                                                                '
                                                                                                                                                                                                 Regin,a&p, 2
                                                                                                                                                                                                            f
                                                                                                                                                                                                            )6-
                                                                                                                                                                                                             0201-
                                                                                                                                                                                                               0
                                                                               .                                                (                                                                                              1c.
                                                                                                                                                                                                                                 .21
    wcsocoaaxoooec: :                               -                                                                       I                                                                                                  am
                                                    prcnvai
                                                 Exami    d
                                                          tie
                                                            or jski
                                                             n j  o                                                         lwarm                                                               ,ward,ue, os-cq-
                                                 Sheet                     1
                                                                           .
                                                                                                                            j
                                                                                                                            l                                                                   jRegina
                                                                                                                                                                                                l                              2020                       !
                                                                           1
                                                                           j                                                j                                                                   f                              10.21 '
    w csO2OJBNOO0629 1- Prcvider                                                                                            ï
                                                                                                                            '
                                                                           #Ski
                                                                              n                                                                                                                 '                              am
                                                                           (                                                j
                                                                                                                            j                                                               j
                                                Eh
                                                sxe
                                                  ae
                                                   mi
                                                    tnation -
                                                            k              .
                                                                                                                            jDry                                                            ru
                                                                                                                                                                                            j egri
                                                                                                                                                                                             Wa  naNP,
                                                                                                                                                                                                 d,                            pcp01-
                                                                                                                                                                                                                               06-o l                     .
                                                                                                                            1
cso-medi
       cal
         /Modul
              es/chafhistol.pbp
                                                                                                                            j                                                                                                  10'
                                                                                                                                                                                                                               am
                                                                                                                                                                                                                                 .21
                                                                                                                                                                                                                                                 9'N'=r%
                  1Case  JBNO0O629 !1-Providewu
                   wcsO2O1:20-cv-23783-MGC    rzpulvlr/xS
                                                        -faMt
                                                         ki vcl1kz,oct
                                                        Document     1l/a.aEntered
                                                                           IIMIM-#VVU1
                                                                                     5on
                                                                                      U2UJBN000629
                                                                                         FLSD     (10-24-19
                                                                                                Docket     76)'
                                                                                                          09/11/2020
                                                                                                              :FulPati   Page
                                                                                                                     entHistorylv147
                                                                                                                                 5.5.0 of 276                                                                                                                                                           .


                  :               'Examination 1      .n                                        j
                                                                                                'CoborNormal                 6
                                                                                                                             : Ward,NR 1  '06-01- j
                                                                                      !
                                                                                      k
                                                                                       sheet                                           ë  t
                                                                                                                                          .                                                                                                                    j
                                                                                                                                                                                                                                                               :
                                                                                                                                                                                                                                                               2                                                                                         /
                                                                                                                                                                                                                                                                                                                                                          .Regi
                                                                                                                                                                                                                                                                                                                                                          !
                                                                                                                                                                                                                                                                                                                                                          (   na am
                                                                                                                                                                                                                                                                                                                                                                 2
                                                                                                                                                                                                                                                                                                                                                                 102
                                                                                                                                                                                                                                                                                                                                                                  0.0
                                                                                                                                                                                                                                                                                                                                                                   .2,                        .

                                                                                                                                       .                                                                                                                       à
                                                                                                                                                                                                                                                               .
                                                                                                                                       1HEENT
                                                                                                                                       :                                                                                                                       !
                                                                                                                                                                                                                                                               .Normocephali
                jwcso20
                      JBI
                        kO00629?
                               4E
                               )
                                1x-aPmro
                                sh ee t
                                       i
                                       ln
                                        va
                                         id
                                          tiera ,
                                            ol                                                                                         j
                                                                                                                                       '
                                                                                                                                       :
                                                                                                                                                                                                                                                               J
                                                                                                                                                                                                                                                               )           c                                                                             )ï/t/ard,NP, 06-01-
                                                                                                                                                                                                                                                                                                                                                         ynegina       2020      i
                l                                                                                                                                                                                                                                              ,
                               4                ?
                                                j                                                                                                                                                                                                              !
                                                                                                                                                                                                                                                               :                                                                                         ,
                                                                                                                                                                                                                                                                                                                                                         (             yo..ry
                                                                                                                                                                                                                                                                                                                                                                                 .
                tvvcso20JBN000629                                                     1-Provi
                                                                                            der                                       .Neck
                                                                                                                                      p                                                                                                                                                                                                                   ' .     . -  arn       ë
                                                                                                                                      y                                                                                                                        7
                                                                                                                                                                                                                                                               ;Supple                                                                                      larc
                                                                                                                                                                                                                                                                                                                                                               g s!
                                                                                                                                                                                                                                                                                                                                                                  p ,  o6 -o1----
                                                                                                                                                                                                                                                                                                                                                                                *1
                j
                t
                                                                                      Examinati
                                                                                      sheet
                                                                                              on !                                                                                                                                                             4                                                                                         1I
                                                                                                                                                                                                                                                                                                                                                          A ,
                                                                                                                                                                                                                                                                                                                                                         ,.
                                                                                                                                                                                                                                                                                                                                                           Regina      2020
                                                                                                                                                                                                                                                                                                                                                                             -


                d              j             ,                                                                                        j
                                                                                                                                      i
                                                                                                                                      ,                                                                                                                        -
                                                                                                                                                                                                                                                               )                                                                                         l'
                                                                                                                                                                                                                                                                                                                                                          ,           '1O:21     ,
                                                                                                                                                                                                                                                                                                                                                                                 .
                 l..
                jNCS
                   O20JBN000629j1 -Provider ll
                                             tR
                                              esp/Thopax                                                                                                                                                                                                    r
                                                                                                                                                                                                                                                            'Cl
                                                                                                                                                                                                                                                              eartoAuscultalion                                                                          j
                                                                                                                                                                                                                                                                                                                                                         F             4am                    .. -. . . .
                                                                                                                                                                                                                                                                                                                                                                                                                     k
                                                                                                                                                                                                                                                                                                                                                                                                                     ,
                                Examination j                                     '
                                                                                                                                                                                                                                                            9        ,                                                                                   j?'.
                                                                                                                                                                                                                                                                                                                                                            Ja.i-c!,NP k06-01- .                                     j
              $
              l                                                                       S1
                                                                                       3eei                                           t
                                                                                                                                      M
                                                                                                                                      i                                                                                                                    )
                                                                                                                                                                                                                                                           $                                                                                         j
                                                                                                                                                                                                                                                                                                                                                     iRegi  na '   ,
                                                                                                                                                                                                                                                                                                                                                                     2
                                                                                                                                                                                                                                                                                                                                                                     102
                                                                                                                                                                                                                                                                                                                                                                      O; 20'
                                                                                                                                                                                                                                                                                                                                                                           i                                         j
                                                                                                                                                                                                                                                                                                                                                                                                                     k
                                                                                                                                      :
                                                                                                                                      1                                                                                                                    f
                                                                                                                                                                                                                                                           j                                                                                        lè                                                              )
             lvï/csozotrnr
                         pooo6zg#J-provi
                                       der                                                                                           ècardi
                                                                                                                                          o                                                                                                                                                                                                         j             jam                                               .
              t                                                                !                                                                          vascular                                                                                         isl(woeuemaatthistime)                                                                   (kvh/gcci i
              )                                                                4c
                                                                                -vcoai
                                                                                     nati
                                                                                        on !
                                                                                           -                                                                                                                                                               -
                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                                                                                                                    @R  egi o
                                                                                                                                                                                                                                                                                                                                                            .as
                                                                                                                                                                                                                                                                                                                                                              sp, k20
                                                                                                                                                                                                                                                                                                                                                                  q 0620-0'J-                                       à
                                                                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                                                    I
             lF                                                                ?
                                                                               i
                                                                               !shes t     t                                                                                                                                                               ;                                                                                        j;            ;                                                 j
             ;                                                                 j           (
             t---.........-..........-..-.,..,......-...................-.......-,.--............,...,..--....-.......--....-....-.,'                                                                                                                      t
                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                           .                                                                                        i
                                                                                                                                                                                                                                                                                                                                                    y             ;10 ..
                                                                                                                                                                                                                                                                                                                                                                       j21
                                                                                                                                                                                                                                                                                                                                                                       .                                            l
                                                                                                                                                                                                                                                                                                                                                                                                                    t
             tt&/cso2().3Bh1cmo629 l$ - Provider                                                                                    .........,.........-..,.,..
                                                                                                                                                            ..
                                                                                                                                                             -.........,... .,........
                                                                                                                                                                                     .-....
                                                                                                                                                                                          -. .. ... - .
                                                                                                                                                                                                      .,....                                              (
                                                                                                                                                                                                            ... ......-.. ..- . ... . .- .........,...... ......... . .... ... ....
                                                                                                                                                                                                           ..                                                                                                                                                                          .1!kiI
             )                     j                                                                                              ,
                                                                                                                                  7cardicvgscul                                                                                                        .                            .... .. .... .., . .. .... .. ... .. . ... . .                  j.     .......-...- .- .....-.--...t.-.-.-.--...-.......-..--....;
                                                                                                                                                                                                                                                                                                                                                                                                                     :
                                                                                                                                              ar                                                                                                          !6.)2(Noetiem88tthisti
                                                                                                                                                                                                                                                                               me)                                                                  C
            f                                                                  yEllamination                                      )                                                                                                                       ?                                                                                         .vh/gry, Ne l
                                                                                                                                                                                                                                                                                                                                                    (           i06-0,
                                                                                                                                                                                                                                                                                                                                                                p    1- p
'           4                                                                  ;vf2i
                                                                                   -a.z'                                          .                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                    .'   Regina
                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                       p
                                                                                                                                                                                                                                                                                                                                                                                       H
                                                                                                                                                                                                                                                                                                                                                                                         202r0                   #
                                                                                                                                                                                                                                                                                                                                                                                                                 F'
                                                                                                                                                                                                                                                                                                                                                                            'j()J.  rl'.
                                                                                                                                                                                                                                                                                                                                                     ;                            .                              F
                                                                                                                                                                                                                                                                                                                                                     ,                      jan,                                 j
                                                                                                                                                                                                                                                           ;:::!:::r:1'.
                                                                                                                                                                                                                                                                       '1..;.-'.,
                                                                                                                                                                                                                                                                                cz.-'J
                                                                                                                                                                                                                                                                                     ..c
                                                                                                                                                                                                                                                                                       z--.-,;z.;;L()t-.icL:i7-,-k.-
                                                                                                                                                                                                                                                                                                                   .'.'
                                                                                                                                                                                                                                                                                                                      t                             1'iI'if;:.;-,-lt'xt7:7 ë(Jù(i)..:(:-:-                      $
                                                                                                                                                                                                                                                                                                                                                    s'TE:('7r:ê,           t'202L?O4.                           r
            @                                                                 t                                                 r                                                                                                                                                                                                                   !7                     ?t(.:.                               #
            y                                                                ,                                                  !
                                                                                                                                ,                                                                                                                       ?                                                                                        2                                 t
        jWCSO2OJBNO0O629 #1-Provicler                                                                                           )Abdom                                                                                                                  r
                                                                                                                                                                                                                                                                                                                                                 ,                                 yana                         1
                                                                                                                                                                                                                                                                                                                                                                                                                ,
        p
        t                g
                         ;Examination                                                                                           g
                                                                                                                                ,:
                                                                                                                                                       en                                                                                               JSof't                                                                                   fWard,NP,                         j06-01-                      ?
                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                x'
        i
        1
                         ;
                         '
                          shest                                                                                                 i
                                                                                                                                1.
                                                                                                                                                                                                                                                                                                                                                 â
                                                                                                                                                                                                                                                                                                                                                 TRegi
                                                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                                                     na                            r
                                                                                                                                                                                                                                                                                                                                                                                   )2020
                                                                                                                                                                                                                                                                                                                                                                                   s
                                                                                                                                                                                                                                                                                                                                                                                   ;d1-,.T-i
                                                                                                                                                                                                                                                                                                                                                                                                                i
                                                                                                                                                                                                                                                                                                                                                                                                                2
        ,                                                                  ,                                                    T
        '  .... .1000629..
                         h1-Prov-    . !.... .                                                                                                                              ..--..                                                                     ,                                                                                         I
                                                                                                                                                                                                                                                                                                                                                 ,                     p           i
                                                                                                                                                                                                                                                                                                                                                                                   ya''m
                                                                                                                                                                                                                                                                                                                                                                                       ''''''
                                                                                                                                                                                                                                                                                                                                                                                            -''                 .
                                                                                                                                                                                       ..............,.-..,,.... .-.......-................ ...............-'
                                                                                                                                                                                                                                                            '
        dtA/CSO20wlBN           ider 'At''                                                                                                                                                                                                                  . ..........-. -..-.. ..                                                            %
                                                                                                                                                                                                                                                                                   -...--..-. -.......-....--..- --....-.---........-.-...-..-.--
                                                                                                                                                                                                                                                                                                                                                                       i           '

                                       : jcm :-)k.-.                                                                                                                                                                                                   'blt                                                                                                          .                                 .
        r
        i
        ;
        !
        .
                         j
                         t
                         .Examinetion t
                                                                                                                                          .
                                                                                                                                                                                                                                                          an Tender                                                                             1rftfa-4 14
                                                                                                                                                                                                                                                                                                                                                ' .
                                                                                                                                                                                                                                                                                                                                                l.
                                                                                                                                                                                                                                                                                                                                                r.L: f..
                                                                                                                                                                                                                                                                                                                                                       -.r8
                                                                                                                                                                                                                                                                                                                                                            t
                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                            D
                                                                                                                                                                                                                                                                                                                                                           .-, g,
                                                                                                                                                                                                                                                                                                                                                                06-
                                                                                                                                                                                                                                                                                                                                                                  %0
                                                                                                                                                                                                                                                                                                                                                               î2020
                                                                                                                                                                                                                                                                                                                                                                 ,,
                                                                                                                                                                                                                                                                                                                                                                    1- '
                                                                                                                                                                                                                                                                                                                                                                       r                                        i!
        f
        '                                                                  F,
                                                                            SIneat                                              ?
                                                                                                                                j                                                                                                                                                                                                               .
        !
        .                                                                                                                       1
                                                                                                                                .                                                                                                                                                                                                                                                r
                                                                                                                                                                                                                                                                                                                                                                                 k!10:21                      ;
                                                                                                                                                                                                                                                                                                                                                                                                              j
                                                                                                                                k
        ; ..,- .
               -                                                           !                                                                                                                                                                                                                                                                                                     i
                                                                                                                                                                                                                                                                                                                                                                                 ,am                          k
        ?td'
           $''Yt:;$'.
                    l'
                     ;;1(-#Jè'91xi0()Q629 j1-Pt.ovider
                                                   '                                                                         t
                                                                                                                             'Abdomen                                                                                                                  ?H                                                                                    1
        !                                 (Examination                                                                       i                                                                                                                              onDistended                                                                      rt't/.arcj, I/P, 06-0q- j
                                                                                                                                                                                                                                                                                                                                                                     1

        :
        ;
                                                                           1sheet                                           j
                                                                                                                             à
                                                                                                                             r                                                                                                                                                                                                               tesz.
                                                                                                                                                                                                                                                                                                                                                 ico                               2020                      ,

        :                                                                                                                   r
                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                             !                                   .,.
                                                                                                                                                                                                                                                                                                                                                                                   J0
                                                                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                                                                     2J ?1
                                                                                                                                                                                                                                                                                                                                                                                         ,
                                                                                                                                                                                                                                                                                                                                                                                k                           j
        j7y/:25020-181:000629j1-Provider 1
                                         .GU
                                         #
                                                                                                                                                                                                                                                     ï
                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                      NotExamined                                                                           t
                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                         C
                                                                                                                                                                                                                                                                                                                                                                   ;
        !
        '

        )'
                                                                        rE.x
                                                                        ë3 :1a
                                                                           '-bmi
                                                                             taênat
                                                                                  ion ;
                                                                                      i
                                                                                      i                                                                                                                                                             l,                                                                                     !
                                                                                                                                                                                                                                                                                                                                            :kh
                                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                                            ,  /ar
                                                                                                                                                                                                                                                                                                                                              Re gd,     l02C0
                                                                                                                                                                                                                                                                                                                                                  inaNP, q   o2
                                                                                                                                                                                                                                                                                                                                                              -01
                                                                                                                                                                                                                                                                                                                                                               0- !j
     k                                                                  l                                                  (                                                                                                                        i                                                                                       .                                      r'o.-J'
                                                                                                                                                                                                                                                                                                                                                                                         .2.l               ,
     f-                                                                                                                     .                                                                                                                       ,                                                                                      l                                       am                       !
                    3G:29 #                                                                                                i     ..       . .                .    .     .
                                                                                                                                                                                                                                                    i ....                                                                                                                                                  '
     ''/k
        /CSC;2OJ31kO.     '1-Providef                                                                                                                                                                                                               ,
                                                                                                                                                                                                                                                                 .    .    .        . ... .              .    ... .      ... ..      ..    1
                                                                                                                                                                                                                                                                                                                                           '                                   :...
                                                                                                                                                                                                                                                                                                                                                                               ,
     ;
     .k
      .                                                                j           )lkeurologic                                                                                                                                                     '
                                                                                                                                                                                                                                                   2A/G X 3
                                                                                                                                                                                                                                                                                                                                                                   ..                     .                 j
    )
    '
    r
                                                                       Exee
                                                                       Shami
                                                                           tnat
                                                                              i
                                                                              on t!k
                                                                                   ï
                                                                                   '
                                                                                                                                                                                                                                                   k
                                                                                                                                                                                                                                                   .                                                                                       j'vR't'egi
                                                                                                                                                                                                                                                                                                                                           :      arciikP, -06-01-
                                                                                                                                                                                                                                                                                                                                                     na    j2020
                                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                                                                            r

    )                 '                                                                                                   k                                                                                                                        t
                                                                                                                                                                                                                                                   t                                                                                       t
                                                                                                                                                                                                                                                                                                                                           ,                                    10                          .
                                                                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                                                                  21
    *'
     W CSO2OJBN00O629 1- Provi
                             der                                                                                         L'Psych                                                                                                                   #
                                                                                                                                                                                                                                                   d                                                                                       )                                    ZC
                                                                                                                                                                                                                                                                                                                                                                                 X
    j                                                                 .Exami
                                                                           nation :)
                                                                                   .                                                                                                                                                               1NoS1/F1l                                                                               ;Ward,h1R
                                                                                                                                                                                                                                                                                                                                           j                                    06-01-
    j
    ;                                                                 dSbeet                                             l
                                                                                                                         L
                                                                                                                         j
                                                                                                                         -
                                                                                                                         .                                                                                                                        t                                                                                        yRegina
                                                                                                                                                                                                                                                                                                                                           l                                    202
                                                                                                                                                                                                                                                                                                                                                                                10:20
                                                                                                                                                                                                                                                                                                                                                                                    1
        WcSO20JBN0O0629 1- Provider                                                                                     i                                                                                                                         ,                                                                                        #            'am
                                                                                                                        jClinicatSmpression                                                                                                       $                                                                                         y
                                                                                                                                                                                                                                                  ,Cough andswel
                                                                                                                                                                                                                                                               li
                                                                                                                                                                                                                                                                ngresolved                                                                  î ar(j, xp, c6-()j-
    j                                                               jE
                                                                     Sx
                                                                      ha
                                                                       em
                                                                       .
                                                                        eti
                                                                          nation j
                                                                                 j
                                                                                 r                                                                                                                                                                j
                                                                                                                                                                                                                                                  j                                                                                         Regina 2020
                                  ,
                                  @                                                                                                                                                                                                               1                                                                                       t                                j1o:21 j
                                                                                                                                                                                                                                                                                                                                                                           1
    l
    ;wcsoz
         oaBxooo6zgj4-anpni
                         ronat
                           vizie  ;
                                r kpl
                                    an:                                                                                                                                                                                                           lNcneworders                                                                          jw                                    am                           p
    j
                   ,Ex         on
                                                                                                                      ;                                                                                                                           ;
                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                  k                                                                                      ard,
                                                                                                                                                                                                                                                                                                                                       kRegilaNp, !
                                                                                                                                                                                                                                                                                                                                            -S    ;(
                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                    )6-c1- i
                                                                                                                                                                                                                                                                                                                                                   zoac ;
                                                                      Slneet                                          i                                                                                                                                                                                                                                    ;
                                                                                                                      j                                                                                                                           :                                                                                    l          .y(;..z.
                                                                                                                                                                                                                                                                                                                                                         y .
                                                                                                                      i                                                                                                                           ,                                                                                    l
    l.A
      */
       CSO20J9hJ0OO629                                            i1-Prcvider                                         i PatientEd                                                                                                                 4                                                                                                am
                                                                                                                      #                                ucation                                                                                 kHydration                                                                                  War
                                                                                                                                                                                                                                                                                                                                                                                                  ..

                                                                     Exa
                                                                     Shemi
                                                                        etn
                                                                          ation                                      j
                                                                                                                     d                                                                                                                         j                                                                                       .
                                                                                                                                                                                                                                                                                                                                           Regidn1aNP,
                                                                                                                                                                                                                                                                                                                                                  06-01-
                                                                                                                                                                                                                                                                                                                                                 2020
                                                                                                                     t                                                                                                                         l                                                                                                  10. 21
                                                                                                                     j                                                                                                                        l
                                                                                                                                                                                                                                              j                                                                                                      .

    W CSOPOJBN
             .1
              .000629 1-Pr
                         ovi
                           der                                                                                      rPatientCducati
                                                                                                                                  on                                                                                                                                                                                                             am
                                                                                                                    t                                                                                                                         !Dlet
                                                                                                                                                                                                                                              j                                                                                      .î
                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                       //ard,NP, 06-01-
                                                                    Exam ination                                    p
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              4                                                                                      , na 202:
                                                                                                                                                                                                                                                                                                                                       Regi      ,0..2,
    W CSO2OJBN0OO629 1-Provi
                           der                                                                                         Foll
                                                                                                                          ow-
                                                                   Examination                                                             up:                                                                                               1
                                                                                                                                                                                                                                             1PRN                                                                                      Ward, NP, 06-01-
                                                                                                                   2                                                                                                                         i                                                                                         Regina                              2020
wcso-medical
           /Modul
                es/chafhistow.php
                                                                                                                                                                                                                                                                                                                                                                                              31/70
                   Case 1:20-cv-23783-MGC Document 1                   ww.w-lv',x-1xrxupuullo,ocozloEntered
                                                                                                     II/AI     on FLSD
                                                                                                         M-#VVUYU2OJ6N0OO6Docket
                                                                                                                          29(10-24-109/11/2020       Page
                                                                                                                                    976)::FullPatientHi     148
                                                                                                                                                      storyjv5, of 276
                   '
                   l
                   ,
                   -             j
                                 ,sheet   j
                                          .                                                                                                                                                 I                                                                           r 5.0 j1o:21
                   .
                                                                                     ,                                                                                                     @                                                                            j
                    W 6502028N000629 1-Provider                                      '
                                                                                     @
                                                                                     !Rel
                                                                                        eascD
                                                                                             ate'
                                                                                                ,                                                                                          1Probable NoteSpecific(June                                                      War
                                                                                                                                                                                                                                                                            R d,NP,
                                                                                                                                                                                                            -
                                                    Exa
                                                    Sh mination j
                                                      eet       ?                                                                                                                          l
                                                                                                                                                                                           'g
                                                                                                                                                                                            th)                                                                             egina              0
                                                                                                                                                                                                                                                                                               26-0
                                                                                                                                                                                                                                                                                                0201
                                                                                                                                                                                                                                                                                                   -
                .                                   j                                /
                                                                                     l
                                                                                     t ..- ..- -. . . ... -                                                                              ,
                                                                                                                                                                                         .
                                                                                                                                                                                         /                                                                             k
                                                                                                                                                                                                                                                                       r
                                                                                                                                                                                                                                                                       ;                   '   10:21
                IwcSo2OJBNO00629 :1 Provider          -                              j   ' nity Foll
                                                                                     tCommu
                                                                                                                   .
                                                                                                         ow-up with:
                                                                                                                                             .                                           1
                                                                                                                                                                                         j
                                                                                                                                                                                                -   .                .-              .       -.       .       -        !          ana
                                                                                                                                                                                                                                                                                      .- ---...                  -.
               l                                    Examination l                                                                                                                       .:PCP                                                                          jWard, &P, 06-01-
               5
               ''                                   sheet                           i                                                                                                   ;
                                                                                                                                                                                        i
                                                                                                                                                                                        '                                                                              ?Regicka             2020
                                                                                    j
                                                                                    .                                                                                                                                                                                                       10:21
                                                                                    1                  .               ..            ...            .
                                                                                                                                                                                        1
                                                                                                                                                                                        ,
                                                                                                                                                                                        i
                                                                                                                                                                                                                                                                                                                      .

               'Z/CSO20JBNOO0629
               è                                    1-Provider                     1Pl
                                                                                     nysicalAppearance                                                    . .         .       .             .           .   .   .                .       .        . ..                 .... .               am
                                                                                   j                                                                                  '                 l Sel
                                                                                                                                                                                            f-care                                                                                  ..                       .
               i
               i
               '                                 j
                                                 'Ex
                                                   na
                                                  slemi
                                                      nation                       r                                                                                                    y
                                                                                                                                                                                        ?
                                                                                                                                                                                                                                                                      Ward
                                                                                                                                                                                                                                                                    iRegin,aNP, .
                                                                                                                                                                                                                                                                                106- 01-
                                                                                                                                                                                                                                                                                 2020
               J                                          et                     '                                                                                                      1                                                                           .
               l                                                                 t
                                                                                 j
                                                                                 .         .
                                                                                                                                                                                        j                                                                          j'            1:.
                                                                                                                                                                                                                                                                                   '21
                                                                                                   .       ..      .        ..                                                         ,.
               l1A/..
               t. . :1:/.320-18N000629 1-Provider
                                                 Examination
                                                                                4
                                                                                jAt
                                                                                x
                                                                                '
                                                                                  titude toward Examiner& lntsrview
                                                                                                                                     .
                                                                                                                                                                                       I
                                                                                                                                                                                       gFriendly
                                                                                                                                                                                                            -'                                        ..   ... .    i
                                                                                                                                                                                                                                                                    l l
                                                                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                                                                '' ,r-'-,. ---.-.-...-1
                                                                                                                                                                                                                                                                                 .-.      .. ....

           r                                                                                                                                                                                                                                                       'th
                                                                                                                                                                                                                                                                     /tard,NP, Q6-01-
           )
           !
                                                !
                                                t
                                                #
                                                 sheet                          1
                                                                                ;
                                                                                f
                                                                                                                                                                                       :
                                                                                                                                                                                                                                                                   jRegina                2020                    '
           t                                                                                                                                                                                                                                                       ;                       10:
                                                                                                                                                                                                                                                                                             21
           ivvcsozoaaxooo6ag î1- provider
                                                .                               >
                                                                                                                                                                                      2
                                                                                                                                                                                      ,                                                                            l
                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                   .
           l                                                                    kEye contae                                                                                                                                                                                               am
           i                 f,                                                 l                                                                                                     ,ves                                                                         ê
           ;                ;Examination                                        ,                                                                                                                                                                                  ,'w arc!, ue. 06-01- 'i
                                                                                                                                                                                                                                                                   pRegi  na            :d
           ë
           !                                    ,
                                                jsh
                                                  eet                           ;
                                                                                i
                                                                                !                                                                                                                                                                                  i
                                                                                                                                                                                                                                                                   s
                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                  10:
                                                                                                                                                                                                                                                                                    21    2020 y
               ..- -;..- ...-:.. i..                                           :                                                                                                                                                                                   l            j
                                                                                                                                                                                                                                                                                tsm     l
                                                                                                                                                                                                                                                                                        y
           î,
            '!-t.Jn:.. ..f'
           .
                          ....?Bf.',
                                   -./ult!:..'..
                                               r::rt'.
                                                     !I-ë.rt?$?Ioe!.           .Itz''
                                                                                    .:
                                                                                     )tclrk.)t'..j?.k,f::
                                                                               T                        !!L'b,..:a!era'
                                                                                                            '         ,'.u..:1l..
                                                                                                                                '?1..z
                                                                                                                                 ,
                                                                                                                                                                                        .
                                                                                                                                                                                      .'..-l'r..
                                                                                                                                                                                      :                                                                            ;                  f
                                 ,rExan-.iinatfc.-.
                                   '                                                                                                     .                                                     ss'.
                                                                                                                                                                                                  :.-           '.-,#r.')!'
                                                                                                                                                                                                                          s'r $'-?:sbu.
                                                                               .                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                  'h,hl:
                                                                                                                                                                                                                                                                  9 ,
                                                                                                                                                                                                                                                                        j''t',. '..'2-. ;
                                                                                                                                                                                                                                                                       ..               -()è-(,''-
                                                                                                                                                                                                                                                                                        .
                                 ;6)ri
                                     et
                                      :lt                                                                                                                                                                                                                          Repiny            ,2:;
                                                                                                                                                                                                                                                                                     ,   G:'
                                 .                                                                                                                                                :.
                                                                                                                                                                                                                                                                  q                  8hC):7.':
                                                                                                                                                                                                                                                                                     .                           9
        .                        )                                                                                                                                                :                                                                               (                  .am                         .
        )'
         ti
          .ib
          b -'bl
               -.1éd
               '   --
                    ,
                    JF!
                      N1I
                        --
                         I
                         ,-,
                           l-
                            162é j'
                                  !-;                                          )
                                                                               .î
            w...
               .         .--        .7?
                                      gos
                                        ./t
                                          cer                                  '
                                                                               ; pegt)rl,1l
                                                                                          -angtlat;e                                                                                                                                                           ;                    i           :
                                                                                                                                                                                                                                                                                                .
        t!                                    '
                                              $.
                                                Eytaminati
                                                         cn                 r                                                                                                     ;
                                                                                                                                                                                  'Jk.l!x1t.                                                                   ;tlsfaf'lj, i'
                                                                                                                                                                                                                                                                            Q.;Z', tC-16-tll'!-
                                                                            rh
        p
        â'
                                              )
                                             1!
                                                She et                      (
                                                                            d                                                                                                     .                                                                            !
                                                                                                                                                                                                                                                               !Reg    ina          '2 0
                                                                                                                                                                                                                                                                                   lt .20
                                                                                                                                                                                  5                                                                           ;                      (10.21
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                             ï
                                                                                                                                                                                  2                                                                           )                      )
                                                                                                                                                                                                                                                                                     :       r
                                                                                                                                                                                                                                                                                             '
        ?                                                                  ;                     .                                                                                 .-..                                                                       t                      tam     t
        -v7(
        é  :
           1s02:).
                 J8N00:,629 !1-Provi
                           k
                                    der
                            'Examination
                                                                           !Mood
                                                                           i                                                                                                      1
                                                                                                                                                                                  9Cooperative                                                                !Ward, NP,
                                                                                                                                                                                                                                                              ;                       06-01- (
                                                                                                                                                                                                                                                                                             y
        k
        '
        ,                                    p
                                             jsheet                        !l
                                                                            1                                                                                                     1
                                                                                                                                                                                  .                                                                           j
                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                Ragina               '2020                   q
                                                                                                                                                                                                                                                                                                             k
       L                        S                                          l                                                                                                  j                                                                               7
                                                                                                                                                                                                                                                              j                     j1cp.
                                                                                                                                                                                                                                                                                        2J                   t
       ?k'r1'                                                                                                                                                                 k
       ;    w--
             ..ew :)
                   2oJl
                      RNat)ot
                            -
                            )2: ?,
                                 1- Providar                               lArec.t
                                                                           t                                                                                                                                                                                  .                     7:m                      :
                                                                                                                                                                                                                                                                                                             jr
                                                                                                                                                                              '$:/1-.
       l                                    lExaminatioc I                 .
                                                                                                                                                                              t 1    u.                                                                    )
                                                                                                                                                                                                                                                           . var
                                                                                                                                                                                                                                                               zj,l
                                                                                                                                                                                                                                                                  kro, 6
                                                                                                                                                                                                                                                                       506-0-
                                                                                                                                                                                                                                                                            1-                           '
       ô
       !                                    1
                                            -sheet
                                            !                               1
                                                                            .
                                                                                                                                                                              '
                                                                                                                                                                              ,
                                                                                                                                                                              2
                                                                                                                                                                                                                                                           )Regi
                                                                                                                                                                                                                                                               na                   t2 020               q
                                                                                                                                                                                                                                                                                                         j
       :                                    $                              )5                                                                                                 .                                                                                                         ,
                                                                                                                                                                              t                                                                            !                        k
                                                                                                                                                                                                                                                                                    i
                                                                                                                                                                                                                                                                                      1O.25              i
                                                                                                                                                                                                                                                                                                         ,
       i                ;1-Provider
       )WCSO2OJBNOOO629 #                                                  i
                                                                           ,ContentofThought
                                                                           #                                                                                                  (                                                                            1
                                                                                                                                                                                                                                                           (.
                                                                                                                                                                                                                                                           p                        yarl
                                                                                                                                                                                                                                                                                    g  n    !
                                                                                                                                                                                                                                                                                            ;
       l                iExamination                                       j                                                                                                  8ï&l
                                                                                                                                                                                 &L.                                                                       )Vvard, NP,               06-01-
       #                                   j
                                           iSheet                          $                                                                                               ;                                                                               ;Regina                  '2020 4
                                                                                                                                                                                                                                                                                    )
       t
       ;vt
         /csozc
                                           l                               )
                                                                           ;
                                                                           .                                                                                               i
                                                                                                                                                                           ;
                                                                                                                                                                           t
                                                                                                                                                                           -
                                                                                                                                                                              ,                                                                            t
                                                                                                                                                                                                                                                           ,
                                                                                                                                                                                                                                                           9
                                                                                                                                                                                                                                                           F
                                                                                                                                                                                                                                                                                    !10
                                                                                                                                                                                                                                                                                     ana
                                                                                                                                                                                                                                                                                          :21 j(
                                                                                                                                                                                                                                                                                               .
      i
      i
                       -
                        laxoooizgp1 provide
                                 iExaminati
                                           r '
                                             ysuiciue/Homicide
                                          on i
                                                                                                                                                                          :IqotsuicidalorHomicidal
                                                                                                                                                                          '                                                                                '
                                                                                                                                                                                                                                                           l tn/ard,f
                                                                                                                                                                                                                                                                    qe, !06-01-                         r
                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                           .
      1
      ,                                    ,sheet                       k                                                                                                 '
                                                                                                                                                                          t                                                                                rRegina                  2020                j
                                                                                                                                                                                                                                                                                                        ..

      t                                   !                             g                                                                                                 :                                                                                ;                        10..21              '


    ?t/t/CSO20J8NO00629 1
    t
    1
                         -Provider l
                        El
                                    Fl
                                   k ow ofThcught
                                                s
                                                                                                                                                                          t
                                                                                                                                                                          .
                                                                                                                                                                          $Goaldirected
                                                                                                                                                                                                                                                           j                        am                  .
                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                          p
                                                                                                                                                                                                                                                          LVt
                                                                                                                                                                                                                                                            /
                                                                                                                                                                                                                                                            ard, NP, ,06-01- '
    ,
    !                                       shka
                                               emi
                                                etnation                l
                                                                        I                                                                                                 (..
                                                                                                                                                                          x                                                                               tRegi
                                                                                                                                                                                                                                                              na      2020
    l
    )                                                                  j
                                                                       '                                                                                                  ?
                                                                                                                                                                          j                                                                               r
                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                          b           10:21 '
       W CSO20JBN00G629 1- Provider                                    kEffodsto copewith memory loss?                                                                t                                                                                   r                         am
                                                                                                                                                                      rN/A
                                           Exa
                                           Sb mi
                                             eetnat
                                                  ion                  j                                                                                              )
                                                                                                                                                                      I
                                                                                                                                                                                                                                                      k    Wagi
                                                                                                                                                                                                                                                           Rerdn,
                                                                                                                                                                                                                                                                aNR                 06-
                                                                                                                                                                                                                                                                                    20 01-
                                                                                                                                                                                                                                                                                      20
                                                                                                                                                                      l                                                                                                             10:21
    W CSO2QJBNO00629 1-Provider                                         Al                                                                                                                                                                                                          am
                                         I
                                         ks
                                          Ex                           1 ertness                                                                                      1Aler't                                                                         IWard,NP, 06-01-
   t                                       hamination                  j
                                                                                                                                                                      i                                                                           'Regina    2c2c
   i
   i                                    1
                                        ,
                                          eet                          ,
                                                                       l
                                                                       I
                                                                       '
                                                                                                                                                                      ?
                                                                                                                                                                      ,                                                                           t
                                                                                                                                                                                                                                                  !           10.
                                                                                                                                                                                                                                                                .21
    WCSO22JBN0O0629 1- Pr
                        ovi
                          der                                          1Orientedto:                                                                                   ?Ti
                                                                                                                                                                      1                                                                           j
                                                                                                                                                                                                                                                  '          ann                                    i
                                                                       ,
                                                                       j                                                                                                me                                                                         Ward, NP, 06-01-
  l                                      jj
                                          Xy
                                           s
                                           am
                                            sjiI1atiOl
                                                     e
                                                     lj                                                                                                              j
                                                                                                                                                                     ,
                                                                                                                                                                     :î
                                                                                                                                                                                                                                                  jssgjaa zcztj
                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                  .                              .
                                                                                                                                                                                                                                                                                 jtj.
                                                                                                                                                                                                                                                                                    gy
   W CSO20JBN000629 1 - Provider                                   )
                                                                   1Orientedto:
                                                                   1                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                am
                                         Exam ination                                                                                                                 Place                                                                        W ard NP, 06-01-
                                                                                                                                                                 3                                                                                      ,
                                         sheet                                                                                                                                                                                                    ,Regi
                                                                                                                                                                                                                                                      na     2020
                                                                   .
                                                                                                                                                                 #
                                                                                                                                                                 ;                                                                                .
                                                                                                                                                                                                                                                                                                    .

                                j
                                '....-                                      ....- ..-- .-- - .-.-- -            - .-    - -.--- ..- .- - .       -- - -
                                                                                                                                                                 '
                                                                                                                                                                 ,
                                                                                                                                                           -...- .-
                                                                                                                                                                                                                                                             jo.
                                                                                                                                                                                                                                                               ,aj


  j
  JWGS
     O2QJBN0O0629 Ex
                  1-aPronvat
                     mi   idie
                             or
                              n j
                                dOr  i
                                     entedto;                                                                                                                   jPerson                                                                           ,
                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                  .       am   .
                                                                                                                                                                                                                                                  'W ard,NP, Q6-û1-
                                                                                                                                                                                                                                                                       ..




                                        Sheet                    j
                                                                 '                                                                                              k
                                                                                                                                                                /                                                                                 )Regica 1
                                                                                                                                                                                                                                                          2O
                                                                                                                                                                                                                                                           020
wcso-medical
           /Modul
                es/chafhistol.php                                ç
                                                                 1
                                                                 .
                                                                 !                                                                                              !
                                                                                                                                                                ..                                                                                        am:21
                                                                                                                                                                                                                                                                                            32/70
                .. . ..- - - -
                                         ww,cc,vlrx - rxzluptu 11o ,
                     Case
                     WCSO21:20-cv-23783-MGC
                          0JBN000629 1-           Documentbtb/       1 xt:Entered
                                                                          i,1AN -#vv(Jon FLSD
                                                                                      sO20      Docket
                                                                                          JBNOOO62        09/11/2020
                                                                                                  9(10-24-1                 Page
                                                                                                                             sto 149 of 276
                                                                                                           976)::FullPatientHi
                                                                                                                                rylv5.5.0
                     l                                             ExaPmi
                                                                       ronva
                                                                           id
                                                                            te
                                                                             or
                                                                             in j
                                                                                !Orientedto;                                                                                                      ëCircumstance                                                              )Ward,NP, 06-01-
                                                                   Sheet                             j
                                                                                                     '
                                                                                                     @                                                                                            1
                                                                                                                                                                                                  t                                                                          jRegina
                                                                                                                                                                                                                                                                             i                                 j
                                                                                                                                                                                                                                                                                                               '2020
                                                                                                                                                                                                  1                                                                          )
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                             t      4a10:21 $
                 lWCSO20JBN00O629 E
                                  1x
                                   -a
                                    Pm
                                     ro
                                      va
                                      i
                                      nid
                                        t
                                        ie
                                         orn j
                                             4lnsight&Judgement                                                                                                                                  1
                                                                                                                                                                                                 jAbili
                                                                                                                                                                                                      tytoperceivecurrent
                                                                                                                                                                                                                                                                             'w dNl
                                                                                                                                                                                                                                                                                  o 20
                                                                                                                                                                                                                                                                            j ar , , .
                                                                                                                                                                                                                                                                                       6
                                                                                                                                                                                                                                                                                       m-01- 1
                                                                                                                                                                                                                                                                                                                                        .
                 j
                 '
                 ç    ..     ......   . .            .      .
                                                                 Sbeet
                                                                i.        .. . .                .
                                                                                                    )
                                                                                                    t .....-.... ..
                                                                                                                                                                                                 jsituationandrespondrealisticals
                                                                                                                                                                                                 -
                                                                                                                                                                                                 )
                                                                                                                                                                                                 #
                                                                                                                                                                                                                                yy
                                                                                                                                                                                                                                 )Repina j
                                                                                                                                                                                                                                 #
                                                                                                                                                                                                                                          2020 )
                                                                                                                                                                                                                                         j1O:21                             .
                 '
                     W CSO2OJBNOOO629 1 - Provider                                                  .Notes:
                                                                                                                         . . ..       ....-.
                                                                                                                                           . ... . ... -       . .     . .-.
                                                                                                                                                                           ... .....   ..        i. . .... .       ..
                                                                                                                                                                                                                    -   .-.
                                                                                                                                                                                                                          -...- -.-    ..- ...-.--.- -- ...------- ...-     @-...... .....,                   !am                       k
                                                                                                                                                                                                                                                                                              ...- .. ..- ..  1..           ... .. .. )

                                                                l
                                                                 Exami
                                                                 Sheet
                                                                      nation )
                                                                             )
                                                                             '
                                                                                                                                                                                                 j
                                                                                                                                                                                                 ?Patientrequestingmedioalnen j
                                                                                                                                                                                                 jrecordstotaketohisPCPwl
                                                                                                                                                                                                                               Warcl,1kP,j0
                                                                                                                                                                                                                              ;Regina
                                                                                                                                                                                                                                           6-01- j
                                                                                                                                                                                                                                          aoao   ,
                ,
                1
                .                                               /
                                                                l            #
                                                                             1
                                                                             7                                                                                                                  1
                                                                                                                                                                                                7he leaves                                                                 p                            l
                                                                                                                                                                                                                                                                                                        r
                                                                                                                                                                                                                                                                                                        '1O:21                        b
                                                                                                      .
                                                                                                                                                                                                t                                                                          ,
                                                                                                                                                                                                                                                                          oi                                                          ù
                                                                                                                                                                                                                                                                           ....-.....-..       ..,...,..l
                                                                                                                                                                                                                                                                                       ,.-.-.-..
                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                               .        $
                                                                                                                                                                                                                                                                                                        .-
                                                                                                                                                                                                                                                                                                         i
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                         5
                                                                                                                                                                                                                                                                                                         ''
                                                                                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                          -'
                                                                                                                                                                                                                                                                                                           -
                                                                                                                                                                                                                                                                                                           '    --.-.                 I



*
'               PatëentHistory Form s

            k                   !
                                M                                                                                  t
            ( 7cci
                 ringfNruk
                         miaekr k                                          (
                                                                           -crrriHarr.e                                                                                                                                                    l
                                                                                                                                                               Fc.rl                                                                       è j       tem C1f                 #à
            .
                                                        ).0--. r-                                                                                                  m rtenc
            3                     u..=x...r>-u-=
                                 o.            . .
                                                 .... ...
                                                        *
                                                                 --=-
                                                                    - - -.......--..-...-.
                                                                                                                                                                                                                                          !    ReFpc     ins !
                                                                                                                                                                                                                                                             s ?  otsrt  q'erk nterview'!
                                                                                                                                                                                                                                                                      risk
            .
            '
                t'$'t...ow z tpk?::7Is'..1
                                         t
                                         .,:.
                                            162r?jtIl4'11
                                                        :!e/Det/'l
                                                                 -
                                                                 iee                        ,                                                                                                                              - .- .-     - .k-- .--.-.-=--- -.   ï'            : Date à
                                                                                                                                                                                                                                                                     - . ...-.. . ..          .         *- ..       ou..J=-... .-t
                                                                                                                                                                                                                                                                                                                                 '
                                :,J:
                                   .'                                                      se 1:'!;.
                                                                                                   'ct                    'z
                                     ZS&L?.
                                     :
                                     E
                                     .      Jtr-
                                               R.
                                                @s.1:            C1gs&(tC  5- (.a;ns
                                                                          .. gf                                            n.e'::.
                                                                                                                                 -'                                                                                                                                        'b'fi
                                                                                                                                                                                                                                                                               ta
                                                                                                                                                                                                                                                                                pli
                                                                                                                                                                                                                                                                                  L,e
                                                                                                                                                                                                                                                                                  n èt
                                                                                                                                                                                                                                                                                     .t
                                                                                                                                                                                                                                                                                      EF
                                                                                                                                                                                                                                                                                       ,                r2
                                                                                                                                                                                                                                                                                                        SlJil.2
                                                                                                                                                                                                                                                                                                           :1 -tO
                                                                                                                                                                                                                                                                                                                ,'7-
           7
           :                    )Assissmiy13$
                                .                             E
                                                              ,             ..                                                                                                                                                                                              1;
                                                                                                                                                                                                                                                                           --
                                                                                                                                     .
          ù
          :''W CSO2OJBIkOôO629 itinnnai    e/Detainee Sexuai !Youlw Aoe ('under2'iveafsofa                                           -.                                                                                                                                                                 lùr5f i.3r;
                                                                                                                                                                                                                                                                                                        -         q h
          y                     rAssauttRisk.                 '     ''' '-' %
                                                                                         v            oe   '
                                                                                                           )
                                                                                                      '''' ' oril
                                                                                                                deri
                                                                                                                   v f
                                                                                                                   e à
                                                                                                                      6ûv
                                                                                                                        u
                                                                                                                          ea r
                                                                                                                             s o f   à i'
                                                                                                                                        io                                                                                                                            ùi/lor'oao,                       k:05-   07- ô
          '                     pp                ,.         .age clgolct  er?                                                       .                                                                                                                                       '''
                                                                                                                                                                                                                                                                                                          . .. -
          )                    k 'zC
                                   .
                                      .7,es%n3ent            ''
                                                             :                                                                       y                                                                                                                                pJuanetta                         kzi-i -ik?  p
         '  Vt
             /CSO2OJBN0OO629 l 1 dnm                                                                                                it                                                                                                                                '                                 ' 1'5r::7- @'
                               ,' ate/Deteinee Se     'zuai j                                                                                                                                                                                                                                           !. ' ' : h
                                                                                                                                                                                                                                                                      y
         );                                                  . Si
                                                                ight  bui îd 5:  6in criessand/orIess than 1i,0 1                   qI%ir                                                                                                                            ykiorgan                       q                             t
         t                       Assaui     tRi sk           .
                                                             -                                                        bs            ;
         ;                    lAssessment
                              j                             ;                                                                       :                                                                                                                                ;Juanet.ëa,                    (û5-07-                       r
                                                            t
                                                            !.                                                                      C
                                                                                                                                    k                                                                                                                                l
                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                    k202,
                                                                                                                                                                                                                                                                                                        3                         :
                                                                                                                                                                                                                                                                                                                                  :
                                                                                                                                                                                                                                                                                                                                  .
        'tA/csO20JBN000629Ilnmate/Detai
        )
        k
                                      neeSevuallEi
                                                 rstincarce                                                                                                                                                                                                          '                     r
                                                                                                                                                                                                                                                                                           ,        jj.
                                                                                                                                                                                                                                                                                                      .g.
                                                                                                                                                                                                                                                                                                        jpm
        j                                                'AssaultRisk                                           i                           rationinjail.                                                                               INo                          l
                                                                                                                                                                                                                                                                     ' Mor
                                                                                                                                                                                                                                                                         ga n  l205 -0
                                                                                                                                                                                                                                                                                     07-n )i
        1,                  2                                                                                   ,                                                                                                                       :                            ;Juanetta ! !02       k
                                                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                                             .
                            ,Assessment
                                  .   .-. -. ..
                                              .. .       C. ..sx...............,.ox.....                        i.,. .                                                                                                                  2                            )         r ..5: or
        i'ryrcsozclBxoooezg it                                                                                              ,     .      . ..              .             ..rn
                                                                                                                                                                            uxzuzepynwgtv=r-..-........ .      .                       ). .
                                                                                                                                                                                                                                       J
                                                                                                                                                                                                                                      ...                           èa,.....,..a. ..                        .       '          (
        '
        j
        ,t
        9.                                                 rirsy
                                                           cs na'-tJaI:/o
                                                                        . esta
                                                                        rai  lck
                                                                               asesexual!
                                                                                        'N
                                                                                         onvi
                                                                                            clentI
                                                                                                 afstory                                                                                                                               j
                                                                                                                                                                                                                                       ?.
                                                                                                                                                                                                                                        po                          )u o  r
                                                                                                                                                                                                                                                                          fj
                                                                                                                                                                                                                                                                           a o  jcs-c-
                                                                                                                                                                                                                                                                                q2aupaguyuw.
                                                                                                                                                                                                                                                                                            ?- j
                                                                                                                                                                                                                                                                                              .u..z<.            .a
                                                                                                                                                                                                                                                                                                                  o.oa.u....m.

      t
      ?
      h
                          jAssessment                     :y                                                                                                                                                                           y,
                                                                                                                                                                                                                                                                    )
                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                     -,
                                                                                                                                                                                                                                                                      -'E,'
                                                                                                                                                                                                                                                                          nett:
                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                              q j2020 y ,
                                                                                                                                                                                                                                                                                               f
                                                                                                                                                                                                                                                                                               .
                          ,                                                                                                                                                                                                            ,
      'Fr
        $'
         CEO20JBN0O O629. '
                          .lncnaft
                                 :l/lElettcl,'            -                                                                                                                                                                            j                            à.          j:.)..5jj.am                                  ,
     ; ..                 j                  qzhz Scltual j
                                                          'Csnhv'ictisn2
                                                                       .:
                                                                        :),
                                                                          '3z):offel
                                                                                   -
                                                                                   lsesagainstan aduttorchild                                                                                                                          #No
                                                                                                                                                                                                                                       $                            j.          k
                                                                                                                                                                                                                                                                                n
     t                   j As sau lt Ri s k               '
                                                          T                                                                                                                                                                            p                          ;('.
                                                                                                                                                                                                                                                                  j  /1=7g.ar., '05-07-                                       .
                                                                                                                                                                                                                                                                                                                              !
     k                   jAssessment                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                j2020                                         !
                                                                                                                                                                                                                                                                                                                              -
                                                          i                                                                                                                                                                           t
                                                                                                                                                                                                                                      ,                           j
                                                                                                                                                                                                                                                                  ; al
                                                                                                                                                                                                                                                                   uu    -
                                                                                                                                                                                                                                                                         letïa j  j, sç                                       1
     F W csO20JBNOo()62g Ionaale/Defyi     i a
                                             ee  se xu al '
                                                          'Sexuatcrientati  on ofgay orbi
                                                                                        seyual                                                                                                                                         j                        .p              j , pjm                                       (
                                                                                                                                                                                                                                                                                                                              ,
     '
     i                   L
                         'Assaui  tRi  sk                                                                                                                                                                                             lNo                        r
                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                   Mor  ga  n   c0. 5-07-                                    k
                                                          y                                                                                                                                                                           $                          !           ,

     1
     !
                                                     j
                                                     %
                                                      Assessment
                                                          j                                                 t
                                                                                                            ù                                      .
                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                 . Juanet
                                                                                                                                                                                                                                                                 r
                                                                                                                                                                                                                                                                            ta '2020
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                  j  n..
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                             C
      WCSO2OJBN0OO629jAs
                      Inmate/DetaineeSexual(
                                           kGendernonconformance(eg.,transgenderorintersex                                                                                                                          .                 ,                          j              ! .-   ,                                     )
     ,
     k                  sauitRisk                                                                                                                              .
                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                      l No                          ,Morgan,                       L0
                                                                                                                                                                                                                                                                                                   j 5-07- ,î(
                                                                                                                                                                                                                                                                                                             ,
     1                                                                                                      k   i
                                                                                                                dentity)                                                                                                              ,.                            t
     ,
                         Assessment            j                                                                                                                                                                                                                kJuanetta                          2020                     ;
     t
     J
      W CSO2OJBN0OO629 'lnmate/Detai
                                   nee Sexual j4Mentaà                                                                                                                                                                                                          )                                  1.51pm )
                                                                                                                                                                                                                                                                                                          '
                                              jt     ,D
                                                      'hv
                                                        'si
                                                          cal.ordeveiopmen
                                                                      '   taldisabil
                                                                                   itv                                                                                                                                            )
                                                                                                                                                                                                                                  4N                            p
     j                                               AssaultRisk                     ''                    ,                                                                                                                      > o                           )
                                                                                                                                                                                                                                                                ï
                                                                                                                                                                                                                                                                 Morgan,                           05-07-                   .
     K                                               Assessment                                            )                                                                                                                                                    (Juanetta                          2620
                                                                                                                                                                                                                                                                '
    .W CSO2OJBl   kOO0629 inmate/Detainee Sexuai lnmate/detainee'sownperce                                                                                                                                                                                      F                                  1:51pm
                          AssaultRisk                                     ption ofvbllnerabili
                                                                                             ty                                                                                                                                       No                        iM crgan,                         @05-07- '
                          Assessment            .
                                                                                                                                                                                                                                                                 Juanetta                          2020
     :VC2102:0.
              1F$H000629 lnmate/Detainee S                                                                                                                                                                                                                                                         1:51pm
    I                                              Ass                                     ezuall
                                                                                                )Inmate/detaineeisdetailedsolelyforcivi
                                                                                                                                      limmigrati
                                                                                                                                               on                                                                                N
    !                                              Assauslt
                                                      es  Ris
                                                          menk
                                                             t                                  'purposes                                                                                                                        jo                             .Mo
                                                                                                                                                                                                                                                                !   rgeatn
                                                                                                                                                                                                                                                                 Juan     , j0
                                                                                                                                                                                                                                                                         ta   5-07- @
                                                                                                                                                                                                                                                                             2020
                                               j                                                                                                                                                                                 1                              '
     'tAlCSO20JBNO0O622 lnmate/Detainee Sed                                                                                                                        .          .              .         ..      ..       .. ..    i                 . . .. . x   i                             . 17 51.pm. .. .
                        AssaultRisk        uall'Totalal'Yes'answsrs                                                                                                                                                             jf'
                                                                                                                                                                                                                                  blankl       .
                                                                                                                                                                                                                                                             fMorgan,
                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                       .         .. . . .

                                                                                                                                                                                                                                                                                              <05-07- ,
                                                                                                                                                                                                                                                                                              d
    '
    :W
     .
       CSO2OJBNO0O629 l
                      nmate/DetaineeSexual Shi
                                                  Assessment
                                             ftSuperviserand Ct
                                                                                                                                                                                                                                                                Juanetta 2
                                                                                                                                                                                                                                                                         1020 j                   :51pm
                                                  AssaultRisk                                              'Yes'answersl?(Li  as
                                                                                                                           stShfs
                                                                                                                               i'
                                                                                                                                  ificati
                                                                                                                                        onsnoti
                                                                                                                                              fi
                                                                                                                                               ed(if4orgreater No                                                                                               Mergan,                        05-07-
                                                                                                                                tSupervi  sorwhow
    wcsozopBslooo6zg
                                                  A
                                                  I
                                                   ssessmentneesexual notes)
                                                  omate/oetai
                                                                                                                                                                                            asnoti
                                                                                                                                                                                            .
                                                                                                                                                                                                 fiedin                                                     j
                                                                                                                                                                                                                                                            'Juanetta 2
                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                        020
                                                                                                                                                                                                                                                                      1:51pm
                                                 AssaudtRisk
                                                                                                       .   pr
                                                                                                           efi
                                                                                                           r orrsl
                                                                                                             er l
                                                                                                                nis
                                                                                                                  tt
                                                                                                                   ooryas
                                                                                                                     clofsi
                                                                                                                         infs
                                                                                                                            iti
                                                                                                                              tuti
                                                                                                                                 onalpredatory behavi                                                                                                                                          05-07-
                                                                                                                                                    or(Automati
                                                                                                                                                              c                                                                  No                         ;Morgan,
                                                                                                                                              uations)                                                                                                      1
                                                 Assessmect
    W CSO2OJBN000629 lnmate/oetaineeSexual jPriorconvictionsforviolentoffenses
                                                                                                                                                                                                                                                            jJuanetta 2
                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                       020 )
                                                                                                                                                                                                                                                                      1:51pm
                     AssaultRisk           $                                                                                                                                                                                     No                        jMorgan,                           05-07- l
                     Assessment                                                                                                                                                                                                                            jJuanetta                          2020   t
                                                                                                                                                                                                                                                                                                     4
                                                                                                                                                                                                                                                           d                                  1'
                                                                                                                                                                                                                                                                                               .51pm

wcso-medical/Modul
                 es/chafhistol,php                                                                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                                                                                                               33/70
           . .- - - -
                                   w w!v-lvTlx - j'x- tpc Ilk
         Case 1:20-cv-23783-MGC Document                     z.ocoz:olIMIN-BVVt'3kJ2UJBN000629(10-24-1976)::FullPati
                                                                                                                   entHi
                                                                                                                       storyIv5 of 276
          wcsozolBsooo6zg Inmate/oetaineesexual3History1ofsEntered on FLSD Docket 09/11/2020 Page 150
                                                                                                                                                               -

         j                                                                                                                     5.0                                                                                                                                                                            .

         ;                Assaultaisk                   l           exualabusetowardothers                    jNo         .Morgan, j05-07- 1
                                                                                                                          )
         l                AS7eSsm ent     .             ;.
                                                        J -..
                                                            ---.. .-...-                                      ,           rJuanetta 2oco
                                                                                       .- ...- - .- s . . .                     . .....- ......
                                                                                                                                                                                                                                                                        (
        l
        :WcSO20JBN0O0629l
                        An
                         sm
                          sa
                           at
                            ue
                             l/
                              tD
                               Ret
                                 a
                                 ki
                                  neeSexual'p1
                                             .
                                             1G
                                              angaff
                                                   i
                                                   l
                                                   i
                                                   ati
                                                     on                                                                                                                                                                                                                     No 4jJuan.et.  01
                                                                                                                                                                                                                                                                                            ;s17p
                                                                                                                                                                                                                                                                                                -m.
                                                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                         .. . ... - .- ..- ....-- . ... -
                                                                                                                                                                                                                          ..-       . ...-   . .     .- .   .           .....-...- - .... ..- .-......

        j                       is                                                                                                                  y                                                                                                                                       5-0   !   jMorgan,
                        Assessment                                                                                                                                                                                                                                                      ta 2020 )
         !WC5020.1
                 8N000629 Inmate/Detai
                                     neeSezuajl
                                              j Currentorpr
                                                          iorrapeconviction                                                                                                                                                                                                                        1           1:51pm j
                                                                                                                                                                                                                                                                                                                      )
         '
         R
         1
        #.                A s
                            sa
                          Asseu l
                                tRisk         I                                                                                                                                                                                                                         'No                        l Morga n, j05-0
                                                                                                                                                                                                                                                                                                   ,Jgalaeita '2020
                                                                                                                                                                                                                                                                                                   7               7- '
                                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                      i
                              ssment          j
       ;
        '$&CSO20JBN00062: As
        j                 lnmate/DetaineeSexualk
                            saultRisk          yTotaiall'Yes''answers
                                                                                                                                                    ,
                                                                                                                                                                                                                                                                        j     .      .        .    j              1:51pm .
       #
       '                                                                                                                                                                                                                                                                jLblankl                   lMo
                                                                                                                                                                                                                                                                                                   jJu rga
                                                                                                                                                                                                                                                                                                      an etn,
                                                                                                                                                                                                                                                                                                           ta     05-
                                                                                                                                                                                                                                                                                                                  2020
                                                                                                                                                                                                                                                                                                                     07-     .

                           .-ssfE,ï!;i5;l-'-1(!,r-11!
                         l.>
        ....-............... .......                  ob
                                   --...-...-.,-........
                                                       .-..
                                                         ....,............ ....
                                                                                                             '
                                                                                                             j
                                                                             .................... ...,.. ..........-..
                                                                                                                                                                                           '                                                                                                       l                         .
                                                                                                                     ..................-.
       Uh&csct20JBN0CO629 lnmate/DetaineeSexualjShi                                                          1
                                                         ftSupervisorandClassificationsnotified(if3orgreater -.-. -.,..,---.-..-
                                                                                                                                       -.....
                                                                                                                                            ....    - -.
                                                                                                                                                       -----       .. ....   .   ..   ... ..   .   .   .. .. .    ...   . ...   .   ..   .. ..   .   .. ... .. ......
                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                  1:f
                                                                                                                                                                                                                                                                                                                    i-11:
                                                                                                                                                                                                                                                                                                                        ,r
                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                                         l
       !
       <                                                                  Assaul
                                                                               tRisk                                                               7'Yes'a                                                                                                          1
                                                                                                                                                                                                                                                                    . No                          tMorgan, 05-07- '
       /                                                                  ,
                                                                          '.
                                                                           ssessment                                                               !
                                                                                                                                                   ,notss)n
                                                                                                                                                          swers)?(Li
                                                                                                                                                                   stShiftSupervisorwhowasnoti
                                                                                                                                                                                             fi
                                                                                                                                                                                              edi
                                                                                                                                                                                                nj                                                                                                C
                                                                                                                                                                                                                                                                                                  /
                                                                                                                                                                                                                                                                                                   Juanetta 2
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                             020
       ùvt/cso20JBN0o0629 tl
                           nmate/DetaineeSexual tThisassessmenti
                                                               s:(I
                                                                  flni
                                                                     ti
                                                                      alAss                                                                                                                                                                                         ,                             y      ..
                                                                                                                                                                                                                                                                                                                   :s1pm j
       ;
       l                                                              !AssaultRisk                                                                 ia                                                            essment,another                                    Ilni
                                                                                                                                                                                                                                                                       ti
                                                                                                                                                                                                                                                                        al                        jMorgan, 05-07-
       h                                                              4
                                                                      ;Assessment                                                                  y ssessmentmustbescheduledwithin30days)                                                                         (Assessment 7Juanetta                          2020
                                                                                                                                                   r,                                                                                                              j          t
                                                                                                                                                                                                                                                                              ;,.                                 1;51pm ,j




     PatientRequestFcrm s
     (N0 Records)




    Educatùon Fcrm s

    (l
     ûo Records)




    Custom Flows

   (NoRecords)




   M edications

     MedicationName GATORADE (GAYORADE)
       (Brand Name)
    Dosing Frequency BID
                       Doctor's 1PO !PO)ByMouthBlD
            dnstructions
          OrderDate 05-12-2020
   Dosing Begin Date 05-12-2020
    Dosing End Date 05-18-2020
wcsœ medi
        cal
          /Modules/chafhistol.php
                                                                                                                                                                                                                                                                                                                  34/70
                 - , . ,.- - - .
                                          ua!.,iculvlrx - rv/ll
                      Case 1:20-cv-23783-MGC          Document ptzIlc,' 1s/xuEntered
                                                                      ote     II
                                                                               /4N -#!   on
                                                                                     /vt;s( FLSD
                                                                                          J2e
                                                                                          -
                                                                                                    Docket
                                                                                             JBNOOO629(10-24-109/11/2020
                                                                                                              976)::FullPati  Page
                                                                                                                               sto 151 of 276
                                                                                                                           entHi
                      l     Medicationjiblank)                                                                                                                                                                         ryIv5.5.0
                      : ExpirationDaiej
                      j                                                                                                                                                                                                                                                                  :
                   l        Pharm a
                                        cyDrug Jb/an/
                                                    f./
                                 Code
                        Dosc-Strength B 0Z.
                   j
                   j. Num berofDoses 14
                   .                                                                                                                                             '

                  l                    Generic 1
                  1
                  k           Substitutions '
                  ;             Permitted>  j
                                          . -

                  i
                  .

                 l w
                   specificp/s
                             ato
                               iecnktlttt
                                        '
                                        aiï-
                                           'q
                 '
                 ,.                Medlcatlon 4
                 l                    Keeponj  '1
                 ?
                 $            Pmrson/staffr
                 (
                 ,                 Distributecik
                                               1
                 ).        Currc-ntStatus 'Discaatinuecl
                ?
                . r
                  k.
                   x!
                    ..
                     ..r..!
                      .7  2u-t.gr
                                .c  ..t.ls 4
                                 .wemr      ru:; .-/.7                                                                                                                                                                                                                               :
                                           p( dj.
                                                ji,',(j
                l                                                                                                                                                                                                                                                                    û
                !
                .
                !
                            RecordedBy1I
                                       kiorgal),Jual
                                                   netta                                                                                                                                                                                                                             y
             k G
               . F'cesc:r;
                         ,ber1   le sh
                             .1an'   .Lenle.ff ND Tracbl
                                                                                                                                                                                                                                                                                  hi
                                                                                                                                                                                                                                                                                  '
             .r'
               rG:zrtt:crLtc?nz.aJ                                                                                                                                                                                                                                                w
             .
                          .  r
                                 :
                                 ;
                                   1.
                                    :/1:z'-tit'h1t)
                                                  .'
                                                   2*9
            !                        î
                                     ,'
                                      ku '
                                         .-
                                          flkb(vtr
    *
    '       '
                      1-E,
                         .f.
                           :rr-L&lket
                                    -o(f-c.s.ru-'
                                                .- 1x'-                                                                                                                                                                                                                          r
                                                    :kcsi!!r:
                                                            jr':at'
                                                                  !afs1-1(.1'
                                                                            Jcl.-:s
            7O rlt'.lii-ial/
                           ..
                            ku''
                               M ber    of t r
                                             /l?
                                               '
                                               c'
                                                ?/1,
                                                   -
                                                   )                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                 .
            y    w          '              ,-      -
            ;                   ;l'(h-
                                     ;IiI())                                                                                                                                                                                                                                     ?
            t                              l
                                           tlbl                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                                                 j
            k VotetcPharmacyt
            hI
                                               ankl
            h                                       .                                                     '                                                                                                                                                                      !
                                                                                                                                                                                                                                                                                 k
            j              System NotesjOrderedbyJuanettaMorganon05-12-2020 at9:55am as PO2O                                                                                                                                                                                     &
            k
            j                          y
                                       lCancelledbywoystem,CorEMR onO5/j9/2020 0000                                                                                                                                                                                            ;
                                                                                                                                                                                                                                                                               ;
                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                               '
                                                                                                 Reason'
         3
         C                               ;
                                         'Stattlsautol
                                         t                 maticalychangedtoDisconti ntl
                                                                                       eclbySyst  em onb.e'Dc'
                                                                                                           halfdoaffCor
                                                                                                              .     tercutdateattranscriber'srequestQQ
                                                                                                                       EhlR System on05- 19-2020 at12:01
                                                                                                                                                       w- 9 -2fQ0',                                                                                                           j:
         q
         ?                               9
                                        !' De ni  e d by Sy  st
                                                              em . COrEMR cn 05/
                                                                               ,19/2020 00 00. Reason:Di
                                                                                                                                                          0 am .                                                                                                              j
         1 . .. .. . . ... .. .-. .... .hbecause StatuEb%'zzchangei è      .c
                                                                            lan inacti
                                                                                     ve                  s ao
                                                                                                            ' pi
                                                                                                               .oved by. CorEMR  Sys
                                                                                                                                  . tem  on 05 -
                                                                                                                                                 19-2020 at12..00al.-,,                                                                                                       r
         L-                                                                             state byC.:)rî!
                                                                                                      '
                                                                                                      7iR System andApprova!wasltil!pendi     ng.
                                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                                              y
         i
         ;
         !      sentorderto'            1  L
                                           bta n  kj.       -- -
                                        '-
         .                               .                                                                                                                                                                                                                                  ld
         1 Puyarmacy on Dat?t          .
         1                             :.'l71C.w-..f, -J                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                              (
                                                                                                                                                                                                                                                                              .
        i:          PUiaCITS8CV    *j  1-         .7..
                                                     rm L..a                                                                                                                                                                                                               ,
        ;
        '          confirmed 4                                                                                                                                                                                                                                             /.
                                                                                                                                                                                                                                                                           l
        I.
                     Receipf?j         '                                                                                                                                                                                                                                   !
        t N
        k                                                        --- -                                                                                                                                                                                                     p
        ;    umberof   of Dos
                           f    es1(blank.l                                                                                                                                                                                                                               )
                                                                                                                                                                                                                                                                          :
        '
        i
                             ered!              j                                                                                                                                                                                                                          '

       T.    $uî......e..-.j:Q.d,w.-Lpgs(:s9-'2.g -
       i
       -
                                                                                                                                                                                                                                                                          t
      *.. .... ... . . . .. Recei                veK e...... .                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                          .
                                  ..........-......... . ..@
      t                        .                           t $
                                                               .. . . ...        ..                                                                                                                                                                                       #
      . lçui
           -
           nbeiofDoses.Lbtatàl
                             fj
                              ;                                                                                           .--a......
                                                                                                                                   -....w....................-- .....-.-....u.- ...-,.....0,.
                                                                                                                                                                                            ....--.--..-...
                                                                                                                                                                                                          ..-.-.....o....
                                                                                                                                                                                                                        ....
                                                                                                                                                                                                                           ..--..-.---..-....- ..---...a.-..--.            1
                                                                                                                                                                                                                                                                           iI.
      l Refused/Absent1                                                                                                                                                                                                                                               .nw-..
                                                                                                                                                                                                                                                                          '
     1                                          j
    - PercentofDoses Lblank)
    p
    j        Received                                                                                                                                                                                                                                                   !
                                                                                                                                                                                                                                                                      A




   MAR (Medication Adm inistration Record)
        Adm inistration                    Adm inistration Ad
          Date/-rime                          Result                        j mx
                                                                               inoit
                                                                                   se
                                                                                    ts
                                                                                     ration RecBoy
                                                                                                 rdedj
                                                                                                     1                  MedicationName(BrandName)
   Lblank)                                JD/8r?k7                              Iblankl
   fblankl                                J/                                                  ,         ALBUTEROL(PROVENTIL)0.083% 1NE8 gIH)BylnhalationBlD PRN
                                           7/ankq
                                            .                                   fblankl                 TYLENOLEXTFIA ST
   .... .-...          .
                                                                            .
                                                                                                        PRN             RENGTH (GENAPAP)50OMG 1TAB(PQ ByMouth640
                                                                                          '
   05-12-20206:23                         Recei
                                              ved                            (blsnkl          K                                                                                                                                                                   j
                                                                                              Jeeann
                                                                                                 ver,   GATORADE(GATORADE)8OZ. 1PO (PO)ByMouthBID                                                                                                                 '
   pm                                                                                               e                                                                                                                                                             $

   05-13-20206:19                        Received                           Ifblankl      Godbol
                                                                                               t. 1GATORADE(GATORADE)8OZ. 1PO (POJByMouthBlD
   am                                                                                     Amber
                                                                        l                         t
wcso-medical/Modules/chafhistow.php
                                                                                                                                                                                                                                                            35/70
                                                               .-.w ..- .... w . ., .w.u-
                                         ..w $ w u-u.,r.xw IIrnIv- rrvvw xoq.
             ,Case
              :5-  1:20-cv-23783-MGC Document      1 Entered on               kFLSD
                                                                            zz.z%
                                                                                Jtz      JIJDocket
                                                                                  lINt7kl$  z:N$1t?*zf6-I09/11/2020
                                                                                                         t#/O)''r'UIlP'3(IerlMPage
                                                                                                              ..              lS(0% IV152
                                                                                                                                        7.U of 276*
                                                                                                                                      3.1
             4  13-20206:42 j
                            .Received                                     )
                                                                          Iblank)                               jRose,                               1GATORADE(GATORADE)8oz 1po(pq ByMouthBID
             .pm                                                          !
                                                                          .                                     Jsarat
                                                                                                                     a                               k
                                                                                                                                                     k                                                                         .
                                                                                                                                                                                                                                                                                                                                    I
                                                                                                                                                                                                                                                                                                                                    j
                 os-qx-aoaoe.
                            ,qe          Recei
                                             vad                      éfblank)                                                                                                                                                                                                                                                 .

               am                                                     j
                                                                      J                                        lcA-mb
                                                                                                                   odbolt, k
                                                                                                                     er 4s-von-
                                                                                                                              c-ns(s-
                                                                                                                                    voa-
                                                                                                                                       qos)aoz.,pogpo!ByMouti
                                                                                                                                                            n:Io                                                                                                                                                                    .
               05-14-2020 6..
                            38           Received                                                                                                    JGATORADE(GATORADE)8OZ.1PO (
                                                                                                                                                     '
                                                                                                                                                                                                                   .                             , . .. , .                     .                                                   .
                                                                      .fblank.
                                                                             l                                    Kever,                                                        POIB5/MouthBID                                                                                                                                      j
                                                                                                                                                                                                                                                                                                                                    1
               Pl'rl                                                  1
                                                                      i
                                                                                                                  Jea1
                                                                                                                     3ne                             1
                                                                                                                                                     f
                                                                                                                                                     k
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    1'
            l05-15-20205'
                        .56 1
                            .Receivecl                                #Lblank)
                                                                      .                                          Morgan, !GATORADF(
                                                                                                                                  GATORADE)8OZ.1POfPOJByhlouthBlD
                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                    k
                                                                                                                                                                                                                                                                                                                                    l
             am                        j                              1                                          Juanetta 1                                                                                                                                                                                                         1
                                                                                                                                                                                                                                                                                                                                 ,
             05-15-20205:32            Received                        (blank'l                                  Kever,                                                                                                                                                                           -                             -1
            lpm                                                       1                                                                             ïGATOP-ADC
                                                                                                                                                             -(GATORADE)8OZ.1PO (PO)ByMotlth3!D                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                 ?
            e.
            k-.,
               x
               .....
                   -,.,
                      ...
                        -.,
                          .........x.
                                    x
                                    ou
                                     v..z
                                        .
                                        u:
                                         g
                                         1
                                         .0
                                          -
                                          ..
                                           ,
                                           :
                                           .
                                           zu
                                            a.
                                            .x
                                             r
                                             a=
                                              ,
                                              .l
                                               a....
                                                   -
                                                   ..
                                                    -
                                                    ...
                                                      -.
                                                       -..
                                                         -.
                                                          :
                                                          1
                                                          cz
                                                           .
                                                           ux
                                                            o
                                                            .r
                                                             s
                                                             -
                                                             u.
                                                              u..
                                                                a..xxo.. .
                                                                :     ,                     .                    Jeanne
                                                                                                               .axaa;.oTuxu oo..t
                                                                                                                                ..v                 t
                                                                                                                                                    '
                                                                                                                                                  bc..v.z..- ..
                                                                                                                                                ..z
                                                                                                                                                  j               u..j..z;
                                                                                                                                                                         .a....         .z,...v.n...s..x:......r...a
                                                                                                                                                                                                                                                                                                                                   j
          j05-16-20206.04 jj
          iam              '
                            Recei
                                ved                                   j
                                                                      à
                                                                       fbiankj                                  K
                                                                                                                J
                                                                                                                 eveq                               jGATORADE(GATORADE)8OZjPO (POIByMouth3ID                              .....z:=ayuweaozu,uu.x..a..-... ..v.u...w.
                                                                                                                                                                                                                       .z.N

                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                   g.tzs..w..as.y.. u
                                                                                                                                                                                                                                                                                    ov= ...œ;..           .z.z....-..(..aa uu..z....
                                                                                                                                                                                                                                                                                                                                   l
                                                                                                                 eal
                                                                                                                   alle                          k
             05-10-2020 6..58 'Recei
                                   ved                             jLblankj                                     Keveq                            1GATORADE(GATORADE)8OZ.                                                                                                                                                           ,
          ?psm . .-.
                   ,-..---....&
                              j..-.-
                                   w;
                                    .w w-,..-..w.-->..!
                                             t...-.:.
                                             .        k......v..               .....- ..
                                                                                       -.       .   .        Jeanoe
                                                                                                           ;.....                                 j                                    PO (POJByI/ouël       nBlD                                            j
                                                                                                                                                                                                                                                             y
                                                                                                                         . ..= .....- ..
                                                                                                                                       - ....    ,, .        .. .. .. . -
          Y
          !0 5
             -
          karo
          r   17-
                2020 6 :0 4   !
                              f iva:
                              lR  ece                71fblenkj                                             rgt.1a:r
                                                                                                            Mo    gal  a                         t
                                                                                                                                                            =.- u..x .. . =- .- -. . ..--                 .
                                                                                                                                                                                                - - ......--...- .w - ...= .-zr.=a.-:..       . ..      ..
                                                                                                                                                                                                                                      =...=.->.owx.xvum,.z=.1,                                        .
                                                                                                                                                                                                                                                                                                      .

                                                                                                                                                 !GAS -ORAD6-t '
                                                                                                                                                               GATORAD6)8OZ 1PC)(PQ Bj/Vt            7!ptlB1D
                                                                                                                                   .
                                                                                                                  n(3.?t.e                       t
                                                                                                                                                 k
          l05-17-20206:32 FReceived                               if/s/gp/rf                                                                     1                  '                                                  '
                                                                                                           ,   Kever,                            '('R/-,
                                                                                                                                                       -(-)9?Af76 (G û.TORArèFh9OZ.1PO (PQ ByMouthB!D
         t
         kpm                         k                            '                                       pJeanne                               ;
                                                                                                                                                '                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                                                               2
                                                                  E:
         t : 18-2020e.                                                                                                                          .                                                                                                                                                                              ..
'        rD -        .2a r7Receivez                               )Isaniq'
                                                                  (                                       jsoàbolt,
                                                                                                          t                                     lGATORADE IGA'
                                                                                                                                                             rORADEIi
                                                                                                                                                                    sc'
                                                                                                                                                                      z. po (pojBykjouttl:11
                                                                                                                                                                                           2,
                                                                                                                                                                                            .                                                                                          . ..       .                 . .
                                                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                                                               5
         tem                       !                              .                                       ;f
                                                                                                          .,y.m t
                                                                                                                zay
                                                                                                                  .                             l
                                                                                                                                                                                                                                                             j
         !05-18-2020 (  5:30 q     Retceg' b/
                                            'et-
                                               v:                :IbX/:7,7                                Fj:losie&                                GJ,-
         ;jaii.
                                 :
                                 r                                )                                       :
                                                                                                                                                        ,
                                                                                                                                                         C)R,L.DF-q(G: .'x
                                                                                                                                                                         T:)RADF)8.    37 122,  7)(P.
                                                                                                                                                                                                    ,3*
                                                                                                                                                                                                      :Bj?r  l
                                                                                                                                                                                                             Jocl   fl -.FJ'.7 7
                                                                                                          ;f';ai
                                                                                                               .so                              (
         ,$
         !95-- f8-202.3 '
                        5::
                          i;.'
                             -Z. 1             .                 ,;k-                                        .                                          .                                                                                                    :
         i-
         . -....                 r!2'
                                    'efu17.lc                    .
                                                                 :
                                                                      t.,la.c.
                                                                      -      h;                           7Ft'
                                                                                                             ase
                                                                                                          ,c:,... 'a.                           5:tE:s$
                                                                                                                                                      w'PFLtu
                                                                                                                                                            -'Fi
                                                                                                                                                               ':
                                                                                                                                                                i'
                                                                                                                                                                 ;'
                                                                                                                                                                  .!f:
                                                                                                                                                                     l0':)l
                                                                                                                                                                          k/tk
                                                                                                                                                                             Q
                                                                                                                                                                             ;-fFv!j(F.
                                                                                                                                                                                      l
                                                                                                                                                                                      '
                                                                                                                                                                                      w'
                                                                                                                                                                                       ii:
                                                                                                                                                                                         itk:;-k
                                                                                                                                                                                         '     'i
                                                                                                                                                                                                '-
                                                                                                                                                                                                 t'
                                                                                                                                                                                                  w
                                                                                                                                                                                                  Q-trt'
                                                                                                                                                                                                       ,t
                                                                                                                                                                                                        x:ijtlf
                                                                                                                                                                                                              -Jtkl.''
                                                                                                                                                                                                                     .,f k..i-i.
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                             v
          r' :..                  j                              j                                                                                 ,.x !J
                                                                                                                                                        .-..
                                                                                                                                                           :t
                                                                                                                                                           . r.
                                                                                                                                                              rw..a
                                                                                                                                                                  '><j-
                                                                                                                                                                      u.4,$
                                                                                                                                                                          r.
                                                                                                                                                                           r.v
                                                                                                                                                                             ..,w                                              J:-'t=.:'
                                                                                                                                                                                                                                       w-'
                                                                                                                                                                                                                                         .tnl'-k;@JL,:-t-,s
                                                                                                                                                                                                                                         k                '-
                                                                                                          jw.J...Qi,                              T..-x.
                                                                                                                                                j..                             ;;.
                                                                                                                                                                                  >.
                                                                                                                                                                                   xkw
                                                                                                                                                                                     n'
                                                                                                                                                                                      .;
                                                                                                                                                                                      .,.
                                                                                                                                                                                       .m.
                                                                                                                                                                                         ..zt
                                                                                                                                                                                            r.<.v
                                                                                                                                                                                             ..                                                                                                                                t
         2 19-20.
          ;5- 206:48 g
         kt
        rarc
                     'Oiher
                         '
                         '
                         t                                      )
                                                                 7PRi.i                                   t
                                                                                                          'Godbol
                                                                                                                î              ,                ri
                                                                                                                                                 BUPROFEN 800i;G TAB (/xiv/
                                                                                                                                                                          iERi'
                                                                                                                                                                              k
                                                                                                                                                                              ''$
                                                                                                                                                                                'i
                                                                                                                                                                                 v'
                                                                                                                                                                                  l(:)TRis'
                                                                                                                                                                                          iF'                                                               OCS
                                                                                                                                                                                                                                                              VIGTABUpqiôl
                                                                                                                                                                                                                                                                         -ixi'
                                                                                                                                                                                                                                                                             i8'
                                                                                                                                                                                                                                                                               tlt-   i))
                                                                                                                                                                                                                                                                                  ôrnp'
                                                                '                                        t
                                                                                                         @Amber                             !iablet(POJByMouthBIDP' RN ' %                            '       '
        l05-'i9-2020 6:
                      4.
                       1 ;Ref
                            .us
                              ed                                ii,''.L
                                                                      bf.
                                                                        ?n#,
                                                                           ?                             !P.ose,                            ii.
                                                                                                                                              BUp.ROg'                                                        j
        ,cm
        '                         ?                             C                                        1                                            EN 8t
                                                                                                                                                          )f
                                                                                                                                                          ')MG T#.
                                                                                                                                                                 B (#.
                                                                                                                                                                     iqER!)*f
                                                                                                                                                                      ,     qloT.AiN:(!Qf
                                                                                                                                                                             vi
                                                                                                                                                                              .         v1G '
                                                                                                                                                                                            F,
                                                                                                                                                                                             L%
                                                                                                                                                                                              .
                                                                                                                                                                                              DUPJf
                                                                                                                                                                                                  3Hh!)80'
                                                                                                                                                                                                  w      amg5,;
                                                                                                                                                                                                         -                                       ,
          .                       k                             )                                        i
                                                                                                         .sarch                             'tablett
                                                                                                                                            $      rpozayMouthBIDpRx         '                                $
                                                                                                                                                                                                              '
        hO5-20-20206::
                     #?' iRefused                               lr?
                                                                  :
                                                                  '/s'a1
                                                                       .J                                jRcse,                             ''!BUIDr
                                                                                                                                                   p.f.'                                                                  j
                                                                                                                                                                                                                          ,
        j
        jam              &                                              .                                y
                                                                                                         :Sara1
                                                                                                              3                               'F:h
                                                                                                                                                 '
                                                                                                                                                 f''                    .lT
                                                                                                                                                       lF:-rh!80?J!î?.f.'
                                                                                                                                                                        y,,.
                                                                                                                                                                           j6
                                                                                                                                                                            .
                                                                                                                                                                            (
                                                                                                                                                                            yB
                                                                                                                                                                             j (Aç
                                                                                                                                                                              paj.
                                                                                                                                                                                 '
                                                                                                                                                                                 .
                                                                                                                                                                                 y
                                                                                                                                                                                 ,
                                                                                                                                                                                 yqER!)'tf
                                                                                                                                                                                         t4
                                                                                                                                                                                          .OTR!hl8007
                                                                                                                                                                                                    .
                                                                                                                                                                                                    ï.
                                                                                                                                                                                                     1t
                                                                                                                                                                                                      .
                                                                                                                                                                                                      :.
                                                                                                                                                                                                       1'
                                                                                                                                                                                                        TABUPJOHhl)8O0mg1 j
                                                                                                                                                                                                                          y
        %                         ?.                            '                                        '                                    ' k   .s,-.ày.*
                                                                                                                                                         '   ,,yy,;syy,.
        r55-20-20206:33 iRefused                               '
                                                               .r
        $
        ,                         k                            ,1J;d',s,:/(J'                            l'l'
                                                                                                         j  xev
                                                                                                              e,,                           k'
                                                                                                                                            lj3'
                                                                                                                                               J;
                                                                                                                                                -'-
                                                                                                                                                  ,.JFE
                                                                                                                                                      E;L(
                                                                                                                                                      -  lzow
                                                                                                                                                            e-rvs'
                                                                                                                                                              ,  k-
                                                                                                                                                                  - TABIAMERi)*(MCTRII
                                                                                                                                                                                     '.
                                                                                                                                                                                      J;CDMG 7ABUPJOHN)8DDrJ1g 1 6
        )p
        i m
         05                      j                             )                                         )Jeanna                            rtablatgPOIByM011
                                                                                                                                                            thBlDPRN                        -
                                                                                                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                                                                                                            2
                                                                                                                                                                                                                                                                                                                            j
             -
               21-20206:07 jOther                              iprk
                                                                  -l                                     ;r'
                                                                                                           JoGak'', jiBt;'FDR' upFflx tE;'
                                                                                                                                         CltlfvkG TABI/.MZREI'(kiOTRlH 8O0MG 7ABUPJOHN)80Omg j
        laf-i
            3             ;                                    -
                                                               '                                         ) Juanet
                                                                                                                ta )
        #. . . . -.. -....3-... .                              r                                         %
                                                                                                         .
                                                                                                                    #t stziet',
                                                                                                                              -;
                                                                                                                               L-,
                                                                                                                                 .
                                                                                                                                 37* 3h
                                                                                                                                      *.R
                                                                                                                                       .
                                                                                                                                          Jouèl
                                                                                                                                            .   )B1D PRN            '                                k
           --21-2020 6.
                      34 j!Refused                             !'f-u'p'                                                                                                                                       .                       .          .      .
        r:,0          .                                        y        .ltk.l                           j
                                                                                                         !
                                                                                                         'Kever,    j'$bt.;FFtw-F:-fi%ézùGivl.''g
                                                                                                                                                a7rk2
                                                                                                                                                    ns/
                                                                                                                                                      .
                                                                                                                                                      kIvli
                                                                                                                                                          EFxk'
                                                                                                                                                          .   l'(MOTRIN 8OOMG 7AB UPJOFIN)ichDrl
                                                                                                                                                                                               -lgr sk
                                                                                                                                                                                                     '
                                                                                                                    '                                                                                                                                         .
           -.
                                                                       d'
                                                                                                                                                                                                .
        'p,il                    j                             f                                          Jeanne                           )ëasii;tgpk
                                                                                                                                                     '  2,ykioati'akks pnik
                                                                                                                                                     l;k:
                                                                                                                                                        -                                       -
                                                                                                                                                                                                        r
                                                                                                                                                                                         .
                                                               7     ;7N                                  G
     .05
     ,
     )  -22-2c206.
      anl         .27 p.ollei
                            .                                  r
                                                               jp                                        j odbolt,                         1
                                                                                                                                           ;IBI
                                                                                                                                              -JF
                                                                                                                                                CQOV
                                                                                                                                                   'FN 8(
                                                                                                                                                        )0MG TAB I
                                                                                                                                                                 Af$
                                                                                                                                                                   47J
                                                                                                                                                                 , . .N1
                                                                                                                                                                       )*fî
                                                                                                                                                                          ïô
                                                                                                                                                                           C,7
                                                                                                                                                                             -os
                                                                                                                                                                               l
                                                                                                                                                                               xlr
                                                                                                                                                                                 looh
                                                                                                                                                                                    éG 7
                                                                                                                                                                                       ABUPJOHN)800mg 1 1
                                                                                                                                                                                                        ;
                      .j                                                                                ?Amber                             :tabi:
                                                                                                                                                -
                                                                                                                                                lIfPr
                                                                                                                                                    S)jE;j.
                                                                                                                                                          'I
                                                                                                                                                           vi
                                                                                                                                                            outhE)iDPRhi
    l
    ,,05-22-20206:20 jOther                                 2prp.                                       #/ckrgark, -)7IBUPRC)FEQ FICIOCMIG 7A8(AMEFti)., (ïkiC)7R$H t?,()()ï,vl':2.7ABUPJOHN)80Omg 1 igj
                                                                                                        tr
                                                                                                         '
     pm            (                                       $
                                                           ,                                            .Juanetta è
                                                                                                        d           !tabIet(PO1ByrS
                                                                                                                                  Jot
                                                                                                                                    ?thBIDPRN                              r                                                                                                                                               '

    j05
    fa
    e m-
       23-20206.16 Other                                   jPRN
                                                           :                                             Godbol
                                                                                                         A      t, kjIBUPROFEN800MGTAB(AMERII*(MOTRIN800MG7ABUPJOHN)800mg1 j
                                                                                                          mbcr (tablatgPO1ByMoathBID PRN
    j
    4m
                '
                26
    -05-23-20206.                 Refused                  l
                                                           1
                                                            fblartk)                                     Rose,                             dIBUPROFEN 800MG TAB I#.
                                                                                                                                                                  NIERIIW(MOTRII
                                                                                                                                                                               '
                                                                                                                                                                               .                         k
                                                                                                                                                                               I80OMG TAB UPJOHN)8Oûmg 1 1
    ;17                                                    1                                             Sarah                             l
                                                                                                                                           k
                                                                                                                                            tabl
                                                                                                                                               et(
                                                                                                                                                 POiBy Mout
                                                                                                                                                          h Bl
                                                                                                                                                             D PRN
        05-24-2020 6,
                    .22          Other                    .PRN                                           Godbolt,
        am                                                                                                                                 jIBUPROFEN 800MG TAB (AMERII*(MOTRIN 8O0MG 7ABUPJOHN)800m91
                                                                                                         Amber                               tablet(PO!ByMouthBIDPRN
        05
        pm-24-20205:53           Refused                       fblenkl                                   Rose,                               IBUPROFEN 8O0MG TAB(AMERII*(MOTRIN 8OOMG TABUPJOHN)8ODmg1
                                                          '
    '                                                                                                    Sarah                              tablet(PO!ByMouthBlD PRN
    05-25-26206.
               .
                21 ;Refuse:                              i
                                                         ,fbtankl                                       j
                                                                                                        iRosah
                                                                                                             e,                        jjt#BUP
                                                                                                                                             etR OFEBN8t  )()MGTAoBp(R
                                                                                                                                                                     AME
                                                                                                                                                                      x RII.(MOTRIN8ooMG7'       >.BUPJOHN)8oomg1j
                                                                                                                                                      v# M outh BI
    am ..                                                I                                               Sar                              abl  fPOI
                 . q. .                                 . .'
                                                           '          .         .   .           . ..
                                                                                                   '                       '            .'
                                                                                                                                           '
                                                                                                                                               '' * '
                                                                                                                                                                                                                         j
                                                                                                                                                                                                                         !1
    '05-26-20206:'
                 i0 i
                    'Refuseci                            iJtl/erpk/        .                            iKeveq                         1#BUPROFEH 800!       MGTAB(>.h.4ER#)*tlvioTRi$ 800K/IG7-./AB LipwifDHlkl8OOmg 1 j
                                                         i                                          'Jean                                                                                                               j!
    pl
     -I
      '                                                  1                                          1    ne                            jtablet(PO)ByMouthBlDPRN                                                         j
    05-26-20206:18              Refused                    (bl
                                                             ankl                                       Kever,
    am                                                                                                                                IBUPROFEN 800MG TAB (AMERII*(MOTRIN 8O0MG TABUPJOHN)8O0mg1
                                                                                                        Jeanne                     jtablet(PO)ByMouthBIDPRN
    05-26-20206:22              Refused                 j(blankl                                        Kever,
    pm                                                  '                                                                            IBUPROFEN 800MG TAB(AMERII*(MOTRIN 80OMG TAB UPJOHN)80Omg1
                                                                                                        Jeanne                      tablet(PO1ByMouthBlD PRN
                       '
    05-27-20207.O1
    arn
                                Other
                                                        j
                                                        #
                                                          PRN!
                                                                                                    ç
                                                                                                        Godbo6t,                   1
                                                                                                                                   jI BUPROFEN 8C0MG TAB(AMERII*(! vIOTRIN 8OOrv1G TAB UPJOHN)8O0mg1 j
                                                                                                    jAmber                         ltablet(POJByMouthBlD PRN
    05-27-2020 6:07            Refused                  1
                                                        !(blankl                                        Rose,
                                              '                                                         Sarah                      jt
                                                                                                                                    IB
    pm                                      . 1                                     .       .                                      1
                                                                                                                                   ' abUle
                                                                                                                                         PtR(P
                                                                                                                                             OOFj
                                                                                                                                                C
                                                                                                                                                -B
                                                                                                                                                 Ny8M
                                                                                                                                                 .
                                                                                                                                                    00
                                                                                                                                                     oM
                                                                                                                                                      utGTl
                                                                                                                                                        hB
                                                                                                                                                         .
                                                                                                                                                          A
                                                                                                                                                          DBP(R
                                                                                                                                                              AME
                                                                                                                                                               N RII*(MOTRSN800MGTABUPJOHN)8O0mg1l
                                                                                                                                                                       ..         .
    05-28-20206.
               .35             Refused                  1(blankl                                        Godbol
                                                                                                             t,                        AZI
                                                                                                                                         THROMYCIN (ZI
                                                                                                                                                     THROMAX)500MG TAKE 1TABLETIS)BY MOUTH
                                                                                                    1                              ?
                                                                                                                                   .
wcso-medical
           /Modul
                es/chafhi
                        stol.php
                                                                                                                                                                                                                                                                                                             36/70
                       - -- -
                 Case 1:20-cv-23783-MGC
                                     wwlclwrDocument     ot1
                                            x-rxzAtpeI1u,l  s/ktEntered
                                                           zt              on FLSD
                                                                sIl/kN -#WCSO2       Docket
                                                                              0JBN00O62        09/11/2020
                                                                                       9(10-24 1976):.       entPage
                                                                                                     'FullPati   story(153
                                                                                                                Hi     75. of 276                                                                                                                 -
                 Iam                                           j                                  j                                       jAmber                          1DAILY                                                                                                                                       5.0
                j05-28-20206.35 other                                                             ;I
                                                                                                  joarq                                   jGodbol
                                                                                                                                                t            ,
                                                                                                                                                                          1
                                                                                                                                                                          hAI
                                                                                                                                                                            -BUITEROL(pRovENTIL
                ,am                                            '                                  d                                      jAmber                           j                                                                   )o.oaaozo1NEBr1H)BylnhalationBlDPRN
                                                                                                                                                                                                                                              .

                  05-28-2020 6:35                               Other                             jPRN                                       Gcdboit,                                                                                                                                                                                                           i
                                                                                                                                                                          1TYLENOLEXTRA STRENGTH(GEI
                                                                                                                                                                                                   AJAPAP)500MG 1TAB(PO)B
                'am
               j:5-28-202c6.
                           27 ,'Refused
                                                                                                  j                                     'Amber jPRN                                                          yMouthBlD )
                           .                                                                      (tblankl
                                                                                                  '                                      hq                                                                            r
                 pm                                          )
                                                             j                                  !                                       'sose, lTyt
                                                                                                                                        k          -Exot-EXTRASTREXGTH(GENAPAP)sooMG1'          r/4:rpolByMouthBlD L
                 os-28-2o2o 6..                                                                 !ssnkl                                    arah ?PRN                                                                    l
                                                27 !Refused                                     y
                                                                                                jJ               .                      p
                                                                                                                                        ,aose
                                                                                                                                        !      lAI
                                                                                                                                                 -BLI
                                                                                                                                                  ,  TEROL(pRovEsTst):..083c/o1ikEB!11.-1)aylnlqalation(-)IEIpr-'tlq   j
                                                                                                                                                                                                                      f'                  .

                0
                f
                l5
                 m-29-20204:55 1
                               yOther                      .
                                                                                                j
                                                                                                1prn                                     sar
                                                                                                                                        lMora
                                                                                                                                            gh  !ALBUTEROLIPROVENT#L
                                                                                                                                             an 4                                                                                                                                                                                                           t
             $a!
               m                                           l                                   !
                                                                                               j                                        'Juanetta I
                                                                                                                                        j
                                                                                                                                                        ,
                                                                                                                                                                                                        '                                 '
                                                                                                                                                                                                                                          .   b0.083% 1h$
                                                                                                                                                                                                                                                        .                 EB-
                                                                                                                                                                                                                                                                            fIH)B-
                                                                                                                                                                                                                                                                                 !/inhal
                                                                                                                                                                                                                                                                                       ationB1DPRINI                                                        0
                                                                                                                                                                                                                                                                                                                                                            l
             j05-29-2020 (
                         $.
                          .
                           32 iRefused                                                         !
                                                                                              !Lblaîikl      .                          ?
                                                                                                                                        jf
                                                                                                                                         vloi
                                                                                                                                            -gan                      ,
             :am                                           ,                                  .
                                                                                                                                       .-               ,             ,AZITI
                                                                                                                                                                      .     YROM-ïC;5
                                                                                                                                                                                    .
                                                                                                                                                                                    4(ZITFIROMAX) 5O0i
                                                                                                                                                                                                     ï/
                                                                                                                                                                                                      iG 7ARE 1TABLE- -
                                                           j                                  j                                        j Juanetta                     j DAILY                   ,
                                                                                                                                                                                                                    I
                                                                                                                                                                                                                    -IS)B/MC)U7h1                                                                                                                           .
               05-29-2020 6.
                           .32 :Cotlne?.                                                      Lpna                                     1                              '
            l3r73                                         à
                                                          >                                   i                                        ïMorgan,                       ..'
                                                                                                                                                                        ryl-Efgot-    EII-  I-RA s'   rREs  qo'    '
                                                                                                                                                                                                                   f
                                                                                                                                                                                                                   -!.
                                                                                                                                                                                                                     plGEwApAplsol              liïéo 17-    ABEeo)F        3yuoui
                                                                                              à                                     3.-I'-faoetta                    kpelst                                                                                                             oBlo -     1:
            -05-29-2020 6..40                            jRefused
                                                         k                                    îisaniq
                                                                                                                                       .
                                                                                                                                    4Keveq
                                                                                                                                    7
                                                                                                                                             . ...     - .- --       J ......... .. .-.... .- .. .-...- -.., ,.....- .. .= - . .--....- ..-.- -- ..- . .--...                                      k
           l
           *Pm                                           !
                                                         h
                                                                                              J
                                                                                              r
                                                                                                                                    kleanoo                          iTvuEl
                                                                                                                                                                      Ec-cpr
                                                                                                                                                                           s'
                                                                                                                                                                               dot-
                                                                                                                                                                              EXTRASTREEIqG-i
                                                                                                                                                                                            -I
                                                                                                                                                                                             -iI'GEikAF             iTABipo)Bypiou
                                                                                                                                                                                                      J/xPIscicivho '            thr
                                                                                                                                                                                                                                   oTD i                    .- . .
                                                                                                                                                                                                                                                                 - .
                                                                                                                                                                                                                                                                   ...
                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                       ...
                                                                                                                                                                                                                                                                         .-  .- - -- .. ..- - ---=

                                                                                                  .
           k1)5-29-20206.
           k                                    j                                                                                                        .            7
                                                                                                                                                                                                                                       r
           !
           :pm           .40                    #
                                                i',Refused            ykI'
                                                                         blank)                                                     L
                                                                                                                                    #Kever.                          iAI
                                                                                                                                                                       -Bt
                                                                                                                                                                         J-I-
                                                                                                                                                                                                        .                 .
                                                                                                                                                                            EROLlpRovErkTlulo.oeso/o1UEB (IHJByInhalationBlD pRN       P
                                                                                                                                                                                                                                                       ..      .     . - ..      .               .

           P -. . -..... .      . . . ... ..--.                       ,
                                                ! .... . ........... ..
                                                                      i'      . .
                                                                                                                                    t
                                                                                                                                    j.
                                                                                                                                     ;e.a.
                                                                                                                                         -
                                                                                                                                         ,...
                                                                                                                                            s     .. ... . ..7
                                                                                                                                                                     ,
                                                                                                                                                                     .                                                                 j
           tc.s -ar.z      '-.-,z-...
                                    z.-.z. !c.'-x,--                  :---
                                                                                                                     .
                                                                                                                                    -
                                                                                                                                                             .-.. ... .        .. . ...       .. ....   . ......       . . .. .... ..- . .                  ......   .. ....- . .. . .- . .                                                             ï
           l                                                                                                                       .    !./.c.sc
                                                                                                                                               . s
                                                                                                                                                 ..-                 ï /.,,                                                                                                                          ... . .. .. ...    .. .. ..
           raiq-i
           '                                            ;                                 j
                                                                                          i                                                                               0..-i.cr.oc-,; .-.o.
                                                                                                                                                                                             - ,;u,.v..,.-. r..                                       o.:oz - ..;se .',.-':                   ..
                                                                                                                                                                                                                                                                                               -.-n:-...-syzJrxt
                                                                                                                                                                                                                                                                                                                                   ...........-........ .

                                                                                                                                   7uli-lacle;ir.i                   .                                                                                                                                         ':-:
                                                                                                                                                                                                                                                                                                                  c;.-.
            crk-arl--
                    zryra 7,..
                             :w
                              t érn:1
                                    -
                                    #ai
                                      .                                                                                            )r,,$,-/I.,
                                                                                                                                         .),F$,.
                                                                                                                                               ,                 .
                                                                                                                                                                 rrv;;FaJ,    .-7tm--zmnz 'arp;u:x:.=m;.c,',-c.rlx:z,a,c;z.qastxlr'
              ..
         jai
           c;                                           j                                                                          J
                                                                                                                                   j:Juat-latta                                                                                   z&               p .,;.n.
                                                                                                                                                                                                                                                          -'i,jt-,;z.:r-. ,
                                                                                                                                                                 ji zRt'k
                                                                                                                                                                    '
         l
         !
          O5-30-202()6'J() 177efq!t
                                  c'
                                   er4                                                    lf-bp,cl'
                                                                                                  r'1,
                                                                                                     1/                            /5?!rprc:.'
                                                                                                                                                                                                                                                                          .

                                                                                                                                             ?'c                 ''''7rê- 'uPr-hF:''
                                                                                                                                                                                   .''/-'?p.i(
                                                                                                                                                                                             '
                                                                                                                                                                                             -.
                                                                                                                                                                                              7i'
                                                                                                                                                                                                '
                                                                                                                                                                                                i-
                                                                                                                                                                                                 i.
                                                                                                                                                                                                  .
                                                                                                                                                                                                  lP''
                                                                                                                                                                                                     >R/
                                                                                                                                                                                                       1.
                                                                                                                                                                                                        '
                                                                                                                                                                                                        -
                                                                                                                                                                                                        t
                                                                                                                                                                                                        ''
                                                                                                                                                                                                         F !
                                                                                                                                                                                                           '6, -
                                                                                                                                                                                                               ',
                                                                                                                                                                                                                -,
                                                                                                                                                                                                                 h ,
                                                                                                                                                                                                                   7G  7-
                                                                                                                                                                                                                        /:
                                                                                                                                                                                                                         v;
                                                                                                                                                                                                                          <-
                                                                                                                                                                                                                           F '
                                                                                                                                                                                                                             ' T'3l!
                                                                                                                                                                                                                                   S!
                                                                                                                                                                                                                                    i T-
                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                       r'
                                                                                                                                                                                                                                        q'
         tam                                           r                                  t                                       rJuanette                       i-pt-',' '.                                                            .
                                                                                                                                                                                                                                         .:J''q!'f F?
                                                                                                                                                                                                                                         7          il-%4iTF..j           r
         )
         :05-30-20206:
                     40 t
                        tRefuiec
                               l                                                          )
                                                                                          'l
                                                                                           blenkl                                 iKever,                                                                        NIAPAP)SCOMG 1TAB @PO)ByMouth3iD j
                                                                                                                                                                                                          -TFt(GEI
                                                                                                                                                                                                          i                                       C
                                                                                                                                                                          -U     -2 :S..7F..-..L/.F.''
                                                                                                                                                                                                     -Z7u..
        'àpm                                                    e                         :              .                                                                 - .x -
                                                                I                         ;                                       .v'ieanne                      kgRt't                                                '
                                                                                                                                                                                                                                                                                                                                                     !
                                                                                                                                                                                                                                                                                                                                                     '
         t   ot    j   z
                       -   u -  z c  zz     6.  ,4c             i
                                                                :                                                                                                :
                                                                                                                                                                 ,                                                                                                                                                                                   '
                                                                lstsfusau                i
                                                                                         !,
                                                                                          -r
                                                                                           ô,
                                                                                            '
                                                                                            ar7/û'                               .
                                                                                                                                 1
                                                                                                                                 ,l
                                                                                                                                  -tovai
                                                                                                                                       -
         t ,-                                                   .

        !'pm                                                                             -                                       1             i
                                                                                                                                               qALBZ-     I-EROL-                                                                                                                                                                                   c
        11.........-.-....-.....-......-.-...,........,.,.....-.k. . . . . . .                                                   Jcan n
                                                                                                                                       ,
                                                                                                                                        a      1
                                                                                                                                               i                   lpRo'   .
                                                                                                                                                                           /Es'   rlulc.083?4 1NEB(jHJE;ylnhasationBlD pRt.            k
                                                                                         ?                                                                                                                                                                                                                                                         -g
                                                                                 .
        )os-a,-2c2c 0..-.0 2                                                                  .... .   ...       ... .   .     $ .. ....
                                                                                                                               :
                                                                                                                             . .         . . . ,.  .   .. . .    ..
     ) -.-                                           ;         )Refused                  ,tr
                                                                                         F
                                                                                         ' tls,nk.l                            ;kre.,ee.
                                                                                                                               ?              .tô
                                                                                                                                                ,,!
                                                                                                                                                  -!n.''vcr - r-,
                                                                                                                                                                .'
                                                                                                                                                                 . -pc,,
                                                                                                                                                                        ..           . .. . . - ..
                                                                                                                                                                       c...?=.-.'-,'' '.. --
                                                                                                                                                                                                   .
                                                                                                                                                                                                   . .
                                                                                                                                                                                                     .. . . .
                                                                                                                                                                                                            . . . . .. ..
                                                                                                                                                                                                                              .
                                                                                                                                                                                                                          . .. .... ,-..                       .                     .                      ..                         . . ..-.    r
                                                                                                                                                                                                                                                                                                                                                   (:
     t&.1,                                           ;                                                                           ,    . ..
                                                                                                                                                    .                                                                             .
                                                                                                                                                                                                                                              osanzo,
                                                                                                                                                                                                                                                    :uSBgl(
                                                                                                                                                                                                                                                          A)Bylnl
                                                                                                                                                                                                                                                                nalatior,BID.pnu                                                                   ?
     lcco x-zozo 6 'io                                                                   j                                     jo=olutw                       y
                                                                                                                                                                                                                                                                                                                                                   t:
               --                      .                                                  '
     iaS-1'I                           .
                                                     )nerurc.
                                                            s-
                                                             -p
                                                                                         1,r'
                                                                                            ,.
                                                                                             v-.;;-
                                                                                                  ,                           t
                                                                                                                              ''re,z.
                                                                                                                                   .eJ.,                      )
                                                                                                                                                              'c.
                                                                                                                                                                ,-us;1sës)-.-.c.-:.0.--.ncr'cr!-'..'.c=,-!ApAp)soclus .1TAs (po!ByuouthBlo
                                                                                                                                                                                    .                                         .
                                                    j
                                                    &                                    ;                                    ;J,t
                                                                                                                                 -
                                                                                                                                 z&9-1
                                                                                                                                     l-
                                                                                                                                      l(
                                                                                                                                       -
                                                                                                                                       5                       --
                                                                                                                                                              qt
                                                                                                                                                               '
                                                                                                                                                               -'rkI
                                                                                                                                                                   *
                                                                                                                                                                   t      .                                                                            - ,
                                                                                                                                                                                                                                                                                                                                                   ..

     !05-21.2222 t
                 q'                                                                                                                                                                                                                                                                                                                              #
     ,
     jann         R2 j'/
                       2)t1
                          7,
                           :,
                           ''                       i-                                   jczicpj
                                                                                         )     ëacl                           llru!
                                                                                                                                  ,q
                                                                                                                                   ol,w
                                                                                                                               aesi,.ii'
                                                                                                                                                                 ;.
                                                                                                                                                                  'I7l
                                                                                                                                                                  Q  -JFtt
                                                                                                                                                                         31$
                                                                                                                                                             :u--irasli. '
                                                                                                                                                                           ,
                                                                                                                                                                           $L'CIl.!Lt
                                                                                                                                                                                    -JTHROMAXISt
                                                                                                                                                                                               )OMG TAKE 1TABLETIS)BY MOUTH
                                                                                                                                                                                                            -                                                                                                                                    ê
     ;05-31-20206:08 '
                     kRefused                                                            i;b1
                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                 y
                                                                                                                                                                                                                                                                                                                                                 j
     jpf
       n-l                                         r                                     ! &nk)                                  Kever,                      t
                                                                                                                                                             7'
                                                                                                                                                              I      -IITPvASTRENGTH(GENAPAP)500MG 1TAB(
                                                                                                                                                              W LENOLE                                 PO)ByMouthBID
    '                                                                                  r                                      jJeanne                        ,rlotlql
    )05-3.-!-2(,2i>(.
    ,               5.-.
                   ,-8
                     8 p:efusef
                              .j                                                        ry/
                                                                                          's.,a/
                                                                                               'r?                            'Kever,                        1'L,t.;.qp-p-i-6pl--hi- t                                                                                                                                                          jt
    :pm                q
                       '.                                                              t- '                                   !Jaanne                                                'pnc'h''ENTIL.                               I0.083% 1I
                                                                                                                                                                                                                                           :EB I4!
                                                                                                                                                                                                                                                 .1JBy(nhalati
                                                                                                                                                                                                                                                             onBlD PRR                                                                          ,
                                                                                      .y
                                                                                       .                                                                     t
                                                                                                                                                             .
     os-or-acao 6..14 ëoiher                                                           '                                                                                                                                                                                                                                                        d
    I                l                                                                lozereoclscl                           tc-odbolt,
                                                                                                                             $                              t'cafzHaor
                                                                                                                                                                     .
                                                                                                                                                                     -
                                                                                                                                                                     lyclf
                                                                                                                                                                         -l(zIzHRoM,
                                                                                                                                                                                   Ax)soovo TAKE 1T>.B!-ET(s)Bv Motf'
                                                                                                                                                                                                                                                                                                                                                h
     am              i                                                                i                                      jAmber                         l
                                                                                                                                                            ;DAILY                                                  ri-
                                                                                                                                                                                                                      l                                                                                                                        t
    .06-01-2:20 6:14 0Other                                                           1PR
                                                 ,
                                                 1                                    ! N                                    ipGo
                                                                                                                             5   db
                                                                                                                                my olt' i
                                                                                                                                  er    kALBUTEROI(PROVENTI
                                                                                                                                                          L)0.083% NEB(lHjByInhatati
                                                                                                                                                                                   onBlDPRN
                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                               '
     06-01-2020 6:14 fOthe;r
     3m                                                                               j
                                                                                      rPRN
                                                                                      '
                                                                                      I                                      tGodb
                                                                                                                             'Amb olt' )
                                                                                                                                 er    lTYLENOLEXTRASTRENGTH(GENAPAP)5O0MG1TAB(PO!ByMouthBID
                                                                                                                                        PRN
    06-01-20206:58 Refused                                                           .fblank)                                R
    pm                                                                               1
                                                                                     j
                                                                                     ,                                        os
                                                                                                                             Sare,
                                                                                                                               aln                           TYL
                                                                                                                                                             PRNENOLEXTRA STRENGTH (GENAPAP)5O0MG 1TAB (POJ6y MouthBID
    06-01-20206:58 Refused                                                           jIblsnk)                                R
    17m                                         4                                    i                                           ose,                   lALBUTEROL(PROVENTIL)0083% 1NEB(IHiBylnhalati
                                                '                                    d                                   ySar
                                                                                                                            ah                          l                                           onBtD PRN                         .
                                                                                                                                                                                                                                                                                                                                             l
                                                                                                                                                        #                                                                                                                                                                                    l
   ,06-02-20206'.31 i'Other
   jam                                        ;
                                                                                     y
                                                                                     'PRN
                                                                                     j
                                                                                                                             G
                                                                                                                                   'ALBUTEROL(PROVENTIL)0.083% 1NEB(
                                                                                                                           odbolt, 4
                                                                                                                         4Amb                                      lHiByl
                                                                                                                                                                        nl
                                                                                                                                                                         qalationB1DPRN                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                             l
                                                                                                                                er                     :
    06-02-2020 6.'31                             Other                               lPRN                                    G                                                                                                                                                                                                               ;
    am                                                                               1                                        odbolt,
                                                                                                                             Amber                       TYLENOLEXTRA STRENGTH (GENAPAP)5O0MG 1TAB (PO
                                                                                                                                                         pRN                                          JByMouthBID
    06-02-2020 6'.28                            Other                                lPRN                                    Godbolt                    ALBUTEROL(PROVE                                                                                                                                                                    j
    pm                                                                               !
                                                                                     j                                       Amber ,                                                                            NTIL)0.083% 1NEB(IHJBylnhalationBlD PRN
   06-02-2020 6:28                              Other                                jPRN                                    Godboit,
   Pnn                                                                               '
                                                                                     j                                       Amber                 j
                                                                                                                                                   #TYL
                                                                                                                                                    PRNENOLEXTRA STRENGTH (GENAPAP)
                                                                                                                                                                                  '50OMG 1TAB (POJBy h
                                                                                                                                                                                                     ..
                                                                                                                                                                                                      louthBlD
   06-                                                                                                                                             j
   am
      03-20206:15 'Other                                                         I
                                                                                 d
                                                                                  prn                                    Mo rgan, jALBUTEROL(PROVENTIL)0083% 1NEB (lH)BylnlnalationBID PRN
                                                                                                                         Juanetta I                                                                                               .
                                                                                 11
                                                                                  . .    ..                                                        --
   06-03-2020 6.',i5                                                             !                                                                                                          . ... .                                                                                                                                      '
                                              Other                              jprn                                    Morgan!                  j
                                                                                                                                                   .
                                                                                                                                                   TYLEI
                                                                                                                                                       kOLEXTRA STREI
                                                                                                                                                                    MGTH (GEI
                                                                                                                                                                            MAPAP)50OMG 1TA9 (POjByMouthBlD
                                                                                                                                                                                                                   .          .

   am                                                                            1                                       Juanetta                 jPRN
wcso-medi
        cal
          /Modubes/chafhi
                        stol.php
                                                                                                                                                                                                                                                                                                                                   37/70
                              Case 1:20-cv-23783-MGC           ovIcIvlrDocument
                                                                       q-txmutjj(
                                                                                .;,au1syjsEntered
                                                                                          y.
                                                                                           jaN .#w (
                                                                                                   a,on FLSD
                                                                                                     sog(
                                                                                                        )           g (y(;. 09/11/2020
                                                                                                         zax()(;()oDocket             . s s Page    yy 154 of 276
                              !pm
                               06-03-2 02:6.a   -..
                                                     a jpefused j ,
                                                                   yyagj jsjjaw, j.yyjrxoj-yxym yyarsoys                   gy.yyyyssx
                                                                                                                                  ,j'..asao
                                                                                                                                       gjjg(yaoyt
                                                                                                                                            xt  jj
                                                                                                                                                 .
                                                                                                                                                 oj
                                                                                                                                                yjyy
                                                                                                                                                   yo
                                                                                                                                                    mj,v
                                                                                                                                                       5soy
                                                                                                                                                       j
                                                                                                                                                         .,
                                                                                                                                                          .(
                                                                                                                                                           yyysjoztjjajs                        -
                                     -- . .-........
                                                   ..             j                 jorsn   .   )ssu
                                                                                                .    ..     - . .. .      a
                                O6-()3-gcac 6..a
                                               ,
                                               jjjsussty jf         jjcjjjy......,
                                                                                 .........,. ...
                                                                                               ,........
                                                                                                       ) ...           . . ..,
                                                                                                                             .,
                                                                                                                              ....                                                                                                                           ,.......

                               P
                               0m
                                '
                                6c4.'
                                    ér'       j
                                      t;5.yg 'j-
                                       .       =o-tj
                                                   -y
                                                    u
                                                    -v
                                                    s-
                                                     j             ,t
                                                                    w.
                                                                     e
                                                     .u----= ''..1.w.a.
                                                                      v.,
                                                                      --..
                                                                         ,v
                                                                         --- .,        ja
                                                                                  ...JRdrer)
                                                                                           a$,
                                                                                             .
                                                                                             ,
                                                                                             ,
                                                                                            .n ' y'%   ;nj
                                                                                                         .
                                                                                                         , t
                                                                                                           .
                                                                                                           yyraoj
                                                                                                                .y
                                                                                                                 p
                                                                                                                 'j:
                                                                                                                   j
                                                                                                                   o j
                                                                                                                     yyr
                                                                                                                       $
                                                                                                                       yyj
                                                                                                                         j.
                                                                                                                          ;(
                                                                                                                           ;,
                                                                                                                            (;
                                                                                                                             ,tysyyty
                                                                                                                                   ...
                                                                                                                                     j..
                                                                                                                                       j...
                                                                                                                                          y
                                                                                                                                          .
                                                                                                                                          j
                                                                                                                                          .
                                                                                                                                          L
                                                                                                                                          ,s
                                                                                                                                           ..
                                                                                                                                           ,.
                                                                                                                                            y,
                                                                                                                                            ,
                                                                                                                                            jj
                                                                                                                                             o.
                                                                                                                                              -.
                                                                                                                                               y,
                                                                                                                                                .,
                                                                                                                                                 j
                                                                                                                                                 .
                                                                                                                                                 ,,
                                                                                                                                                 .
                                                                                                                                                 j
                                                                                                                                                 ,.
                                                                                                                                                  u
                                                                                                                                                  ,
                                                                                                                                                  ..
                                                                                                                                                  f
                                                                                                                                                  ,
                                                                                                                                                  u .
                                                                                                                                                    ,
                                                                                                                                                    j
                                                                                                                                                    .
                                                                                                                                                    s,
                                                                                                                                                   cf
                                                                                                                                                    p
                                                                                                                                                    jt,
                                                                                                                                                      .j;
                                                                                                                                                      ro.
                                                                                                                                                        .,
                                                                                                                                                        y .,
                                                                                                                                                         jy.,
                                                                                                                                                           j.,..
                                                                                                                                                            o  .a
                                                                                                                                                               j
                                                                                                                                                               o..
                                                                                                                                                                 ,
                                                                                                                                                                 u..........
                               am                                    rn                                                     p                         uorgal), )
                                                                                                                                                               ,
                                                                                                                                                               ,gjjatyyyaot--
                                                                                                                                                                            .-                      .      .
                                                                                        .
                             '
                             . . . .. ... . ..... . . . . .
                                                                                    .
                                                                                        l
                                                                                        #                   ... ..
                                                                                                                          4
                                                                                                                          a                          'juaug(ts j            (paosrtqyjj.;ti,tjy,
                                                                                                                                                                                            .
                                                                                                                                                                                               ,
                                                                                                                                                                                               yo,()yjyjyjyjjj      -jyajajyoy.,js ryyyy.j .,.,..
                                                                                                                                                                                                             -jy,yyjy                                                                                               ,..,...
                                                                                                                                                                                                                                                                                                                              .
                              (;;.(;y..yj;.aj
                                            yy,yg                                       ysjjoy                            y,
                                                                                                                              $rS . y...a Jyyomm
                                                                                                                                              ssyyym y
                                                                                                                                                     x .
                                                                                                                                                     yyax
                                                                                                                                                        ymssam....ommxm x a.m ..xm xxm x x.x x x mxx xyymm
                          v
                              Z&                                                        y
                                                                                        l
                                                                                        i                                                 yj                  ssyssgyyyyyys ysssyym ayyyyyyso.ym yyxaoy    m   .. .
                                                                                                                                                                                                             yayy
                                                                                                                                                                                                                               .                  .
                                                                                                                                                                                                                                                                                                                , .
                             06-                                                                                                                                                                                                                                                                        ssyyyysx.xy
                                       04-20206.
                                               .2a                                      Refusecf                          Ijvanf
                           pm                         !J cj
                                                      k                                                                  ,.
                                                                                                                                                     sj
                                                                                                                                                      naw
                                                                                                                                                         '    )         yi
                                                                                                                                                                         .tyj   iyvgrsjoj
                                                                                                                                                                            m syarssyj  yLfygyyyypjytsyysym.jsoyy sojyyyyyyyj
                                                                                                                                                                                                            -

                         1t)6-04-2c206.
                         jpm
                                      ca jRefustd '
                                                  -- )IJblal
                                                          ''' '''
                                                            ,kj
                                                                                                                                                    -.
                                                                                                                                                    -K
                                                                                                                                                     --
                                                                                                                                                      B
                                                                                                                                                      '
                                                                                                                                                     sj
                                                                                                                                                       -
                                                                                                                                                       .
                                                                                                                                                       *'
                                                                                                                                                        .
                                                                                                                                                        -
                                                                                                                                                        *
                                                                                                                                                        '*
                                                                                                                                                         .
                                                                                                                                                         '
                                                                                                                                                      law,
                                                                                                                                                          ''
                                                                                                                                                           -
                                                                                                                                                           ''
                                                                                                                                                            =*1
                                                                                                                                                              '
                                                                                                                                                              iPR
                                                                                                                                                                V'
                                                                                                                                                                 C
                                                                                                                                                                 'U
                                                                                                                                                                  X'
                                                                                                                                                             S pjau'
                                                                                                                                                                   ya'
                                                                                                                                                                     & <
                                                                                                                                                                       oG%    1
                                                                                                                                                                              -   .'
                                                                                                                                                                                   <    <     .<  j
                                                                                                                                                                                                  x.
                                                                                                                                                                                                   w  .
                                                                                                                                                                                                      <
                                                                                                                                                                                                                             '              '
                                                                                                                                                                                                                                            t
                                                                                                                                                                                                               . ,
                                                                                                                                                                                                                 ,.x ..a.us
                                                                                                                                                                                                                          q. u
                                                    ..     .... .....      ..       9                                    ;                          ,         j-         j
                                                                                                                                                                         -(pqovrxyjj
                                                                                                                                                                                   .)().(;,
                                                                                                                                                                                          sa(
                                                                                                                                                                                            yg.
                                                                                                                                                                                              jfqua jjj-jyayjsjqajajjooaj    -o----
                                                                                                                                                                                                                                pax -'-- -'
                                                                                                                                                                                                                                                                                                .


                         l06-05-2:20 627 ot
                                          hsr                      .
                                                                   .                                                     rpax                 -a-
                                                                                                                                                7Go
                                                                                                                                                  ------ 'Atayygao--
                                                                                                                                                                  j s- -'------                                                                                                                                '
                                                                                                                                                                                                                                                                                                                        ;
                         ?QDR
                         . ..
                                                                                                                         1                  j      dboll
                                                                                                                                                      j y
                                                                                                                                                        .                           -                           -    ( aoyauyyy.)(;.(
                                                                                                                                                                                                                                    ytytys .
                                                                                                                                                                                                                                           jyjjy
                                                                                                                                                                                                                                               jyjjjjyyjy.yyyyj,jyoj.yy.ys.,sy
                                                                                                                                                                                                                                                   y.                                                       .. j
                         0               .                                                                               j
                                                                                                                         s                  jAjpjyoj.
                                     ,27
                          6-05-2020 6.     jothvj
                                                -
                                                                                                            .
                                                                                                                         jp'oxt'Q-'
                                                                                                                                  =*'
                                                                                                                                    =-'--'
                                                                                                                                         <' j
                                                                                                                                            '       .-- J                                                                                                                                           y
                        1anl   .                                                .
                                                                                    j                                ..'x.,                        ,
                                                                                                                                                   yooc
                                                                                                                                                      ;j
                                                                                                                                                       aol
                                                                                                                                                         (,U.-y
                                                                                                                                                              -='
                                                                                                                                                                '=
                                                                                                                                                               sy'
                                                                                                                                                                 <'*
                                                                                                                                                                 yyy=
                                                                                                                                                                    y'
                                                                                                                                                                     -<--j-
                                                                                                                                                                     oj   'y-y'
                                                                                                                                                                          y   --j.=
                                                                                                                                                                              yy  s<w<.uu
                                                                                                                                                                                        ..
                                                                                                                                                                                    yypyy
                                                                                                                                                                                        y
                                                                                                                                                                                        -
                                                                                                                                                                                         y..
                                                                                                                                                                                          oy=..j.ygyyy
                                                                                                                                                                                            .s    .......w..
                                                                                                                                                                                                        .   ..gjyyyso ym , ja
                                                                                                                                                                                                          yyj
                        '06-05-2020 6.aa j'qefss'
                        !yjm                                       .                            ecj '''''),yypjg ......Jao
                                                                                                                        S'
                                                                                                                         lnsb                                                                                                                                                             oyyysoojj
                                                                                                                                                                                                                                                                                                  yyjs y
                        j                                                                                                   ser J
                                                                                                                                '
                                                                                                                                .?
                                                                                                                                .
                                                                                                                                tD
                                                                                                                                 yl
                                                                                                                                  Rjl
                                                                                                                                 -y Noj
                                                                                                                                     f,joj
                                                                                l                                    1
                                                                                                                     )
                                                                                                                     2                             ;Saraln-
                                                                                                                                                   '                        .       -                   -   yyzyjm yyayyoyj
                                                                                                                                                                                                                          .jyoyypysyjyyjyjyj
                                                                                                                                                                                                                                           yyo y
                        !J:. +-,5-.1.+2c 6.
                                          .aa r.aojusecl                                                             .
                                                                                                                     .                                                      .g'eehl
                                                                                                                                                                                  '                             ' '                                   .                 '        m ,q
                                                                                                                                                                                                                                                                                    .yy ,y,soyy
                                                                                                                                                                                                                                                                                              s yys
                                                                                                                                                                                                                                                                                                                      i
                        ,sm                   !                                                                      ytk'
                                                                                                                        s/ayo
                                                                                                                            ,
                                                                                                                            jfl                     yj
                                                                                                                                                     qosa,                  jy,y
                                                                                                                                                                               .;j.;y,yy'
                                                                                                                                                                                        c(sa')j,
                                                                                                                                                                                               ygyy
                                                                                                                                                                                                  .(
                                                                                                                                                                                                                                             -

                          .... ......         r'                                                                     :                             y!                                                                                        .   ;ty.(;yty
                                                                                                                                                                                                                                                         ,s.y.js
                                                                                                                                                                                                                                                               yy
                                                                                                                                                                                                                                                                ,s.
                                                                                                                                                                                                                                                                  jj.
                                                                                                                                                                                                                                                                    s
                                                                                                                                                                                                                                                                    -.
                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                     ..j...
                                                                                                                                                                                                                                                                          yu.
                                                                                                                                                                                                                                                                            yy.
                                                                                                                                                                                                                                                                              s.
                                                                                                                                                                                                                                                                               j.
                                                                                                                                                                                                                                                                                ,.(y
                                                                                                                                                                                                                                                                                s  .o.s ,ys ysjsy .
                                                                                                                                                                                                                                                                                      .   ...
                                                                                                                                                                                                                                                                                                            ......y


                                                      '-       '
                    l
                    jy--             j                       j              (w .                (..yu-j,,jyjzj.      g.j;jj.
                                                                                                                           ,(                  r .                          .
                                                                                                                .          y.,.;t.  j,.g..; j,y .y....yy.y   t
                                                                                                                                                             ,y.  ypjjj,   yy
                                                                                                                                                                            s.y.    .s.y ,ojjy,.c.ya     y,,yy).ys.y...ys...à.1ï'..,.............. . ..
                                                                                                                                                                                                                                                        .m        . .. . .....j
                     (/6 (; -        j1*''
                                         <<'
                                           n.v.
                                              ,.---x,w
                                                     -wwm-wxz..x..,
                                                                  .-                            .  .:
                                                                                                    5  J.- î.              !n .:
                                                                                                                               7.r  ,                                                                    '          - -. :        iw
                                                                                                                                                                                                                                   -  :-
                                                                                                                                                                                                                                      '   ...v..
                                                                                                                                                                                                                                               1H g>..'j
                                                                                                                                                                                                                                                       'yy (..q.-,,
                    r   - 6-2:.
                              /:
                               G g.
                                  '
                                  :f
                                   g t
                                     ,otfn
                                         sr                 ?          -a x-'-.''-- .-...--.-,J.
                                                                   '-- -
                                                                                               ,
                                                                                               -.  a.. -..
                                                                                                             '
                                                                                                          -..a-,--..,.....,
                                                                                                                           .    ..
                                                                                                                                  ) ....
                                                                                                                                       -                                                                                                                          uk,,.,j;,a ,
                    jnm           ' j                       &pp.I. $;                         .o (     jj; j
                                                                                                       .
                                                                                                                          ,
                                                                                                                          ...-.-.,.      . .,
                                                                                                                                            .,.,..    ,......,...u..... . -,..,..,,.-,.,.u.......,.,.,-.
                                                                                                                                                        -,
                                                                                                                                                                                                         .-.. ..,,,..
                                                                                                                                                                                                                                                                              ;
                                                                                                                                                                                                                                                                              .



                    06-:;7-20206.s#                                         o--
                                                                             tj                                 ;---              ' . lXmber                            .   DRN                                                        '' ' (             ... .
                i                                                        k                                      )                             ;            )
            t
            i0t
            .
              s07 oppo s rr        -            ..
                                                           .             ù
                                                                         j,.
                                                                           ''
                                                                            ,,
                                                                         , ..,,
                                                                              t
                                                                              .r,
                                                                             . -
                                                                                  -             - - -.
                                                                                                     -          t
                                                                                                                ..
                                                                                                                 -joy
                                                                                                                 r  ..--.
                                                                                                                      , .
                                                                                                                        ....
                                                                                                                           -..-1
                                                                                                                               .Amb
                                                                                                                               j  -er
                                                                                                                                    ......
                                                                                                                                         ,y..                              . .
               ;D)
                '                                   a..x                                                                                       Gaj,
                                                                                                                                                  jgo,
                                                                                                                                                     jj             !syt-,jjoj. ,;
                                                                                                                                                                                 (yys
                                                                                                                                                                                    .-..-..
                                                                                                                                                                             .. ..... ........ ......... .               t
                                                                                                                                                                                                                         j
                                                                                                                                                                                                                         ,
                            a,   s.s6 t  -.
                                          :
                                            -.. . g
                                                  I                                                                                           k
                                                                                                                                              yAmb
                                                                                                                                              #
                                                                                                                                              ,    er , ieqx
                                                                                                                                                        ;             STRENGTH ttzEhcApAplsoous ,:.  ,,
             !pn
              o6n-clr-x . , !ct;-,o,.             .PRN
                                                  ,                                                                                   .       ?         .'        . .                                 4:so;a y
                                                                                                                                                                                                             ga
                                                                                                                                                                                                              - o-
                                                                                                                                                                                                                 u,
                                                                                                                                                                                                                  g
                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                  .'
                                                                                                                                                                                                                   7--
                                                                                                                                                                                                                    ay
                                                                                                                                                                                                                     s'-
                                                                                                                                                                                                                       = ,
            j-...--.-.- ,- . --..- . ... -
            /                                     )                                                                                           ,Go d
                                                                                                                                               yt sbol
                                                                                                                                                     t, ;A
                                                                                                                                                         ,uat
                                                                                                                                                            p,
                                                                                                                                                             .
                                                                                                                                                             rsqo!(paovsxpt)c-oyar,
                                                                                                                                                                                  gyusa jjsyay,royyajatj
                                                                                                                                                                                                       on:;ogaptx
                                                                                                                                                                                                        .               j'
          7q.&
            '
        ypvr*/
               -.r
                .
              ut.
                  ..
                   nm
                    .oc...
                 û.u.
                    uw(;.aw
                            -
                            ;..
                          - lu.
                              't
                               '
                               j
                               $.5.
                                    '''''
                                        --
                                         '.. '
                                             j
                                                  .............. j.
                                                                  om  wor'.-..-- ;
                                                                         . ..
                                                                                                                                                                                                                                       .
        t n                       '          j
                                             .PR-I'
                                                  C              ..
                                                                  c...-
                                                                   joy -oj
                                                                       j
                                                                       i--t j    >y.,z.
                                                                                      j.
                                                                                       r-
                                                                                        jçol                                                   .
                                                                                                                                                                                        -'          '-' '-- -       ......- .. ... . - . -       . .. .                                                         t
        l                                                                                                                                                                       -
                                                                                                                                                                                    .
                                                                                                                                                                                                -   glt.     qzxsys toztjggjzyjj.z)
                                                                                                                                                                                                       yax szj                    .yo  jyo.yrys-) ,.
                                                                                                                                                                                                                                    ,tyj
                                                                                                                                                                                                                                       -                                                  .u,.:I. j
        # 0($-08-2c2: 5..:c rchys                                                                            r.-..--. ..-
                                                                                                                                               -
                                                                                                                                    ... -,. . ..- ,.,.;. ,.                                                                                                                       g ojay.uoujj  o
        i                   B -- .. ..                                                                                                                                      . .,
                                                                                                                                                  k,r,j.(y;r;.r.ryyr;y(-.;2 -)--                                                                                                                                j
                                                                                                                                                                                                                                                                                                                ,;
        07ibt,-,.?
        ;'-=x'-=---....
                      ,<                        ,- .u -. .u.
                                                                       i: ''
                                                                           ''qw'                             -;
                                                                                                              :'i
                                                                                                                '
                                                                                                                I
                                                                                                                h                         j;
                                                                                                                                           y,
                                                                                                                                          ljç
                                                                                                                                            t
                                                                                                                                            g(;
                                                                                                                                              a;
                                                                                                                                               .
                                                                                                                                               ()ëy
                                                                                                                                               nz I
                                                                                                                                                  g
                                                                                                                                                  tya  .
                                                                                                                                                            -
                                                                                                                                                                               y-
                                                                                                                                                                                :,---.
                                                                                                                                                                          - ROL?Er
                                                                                                                                                                                       . . .. .. ......
                                                                                                                                                                                       çT;t.)c.
                                                                                                                                                                                       '      ()8:$% yyg::gjj
                                                                                                                                                                                                            y nj
                                                                                                                                                                                                               ',jj
                                                                                                                                                                                                                  njls'j
                                                                                                                                                                                                                        '

        s06
        r                                                  .,-...-.....
                                                                      ,.....- ....-. ...                                             j                                                                                 sjjoo njo sax
           - 08-
               2020 s..jo lotjj
        #                     er                                                                            y                 ' '' ' '
                                                                                                                                     ---.--.... ..
                                                                                                                                                 4--...- .....- ... -....                                                                                                                                       g
       1-am
        .
                                                                    -,
                                                                    .
                                                                    j..,
                                                                       .. ......jip-r,l).......-                                          lr
                                                                                                                                          .
                                                                                                                                           jo
                                                                                                                                           t
                                                                                                                                           'rpan,               ;Tysslql
                                                                                                                                                                       ossl-ra,,sresxsys(osxapas)sooa
                                                                                                                                                                                                    'sïyxsso)ayao
                                                                                                                                                                                                                .utsajaj
                                                                                                                                                                                                                       ('
                                                                                ,.
          - .-,.---                ........,.--,.,,,-.
                                                     ,..
            o6-o8-cczo (s.a2                                        ,aefssa:                                .        ,                      -3.-n...eda
                                                                                                                                    .-.- /.-.
                                                                                                                                           -.
                                                                                                                                                                ;PRN



                                                                        - - -..                           r                               k-orom                j
        06-09-2:20 s.
                    .
                     -jp                                               otjj
                                                                          er                              j                    ...'.....-'
                                                                                                                                         -''=''  1                                                                                                                                        ax
       sm                                                                                                 yyym                          stjo asî j
                                                                                                                                                 ly:j-yjyyypoy-
                                                                                                                                                 j                                                                                                                                                          j
       o6-o:-2oao s.tp                                              oze,                                '                                 'uanetta              '         yyyyjosrsyjy
                                                                                                                                                                                     . yj
                                                                                                                                                                                        y.t
                                                                                                                                                                                          yyt
                                                                                                                                                                                            yyyyyyr,jyjy ayysys.yzjyzyyays sps
                                                .
                                                                                                                                                                !                                                                                                                                           '

       am                                                                                                prj
                                                                                                           y                              sor0ss,              yyyjryoy ryyyy
                                                                       .. ... .                                                           Juaj
                                                                                                                                             netta             jr)j
                                                                                                                                                               ,
                                                                                                                                                               1  qjj        s ggyyvyj.y jygyyyyp)gy   ytjy
                                                                                                                                                                                                          jyo ym ,jsoy,
      l06-09-2020 6.
                                                '                                                                                                                                                                         Y sojyjjjyys
        MC1
                                                    15 j
                                                       j
                                                        Reftjsed                                      )
                                                                                                      y
                                                                                                       yjan'kj                          ,j
                                                                                                                                         .
                                                                                                                                          yjya'
                                                                                                                                               wy              4yyarsoyyyysy ,ys,ysys jsysssssya
      I
        06-0S-20JO 6
                    .jg ;qsfusec;               .                                                     1 ,
                                                                                                                                      1K3U*R           . .
                                                                                                                                                            IPRN                                      yyss )ysa ysoyyyysoss yya y
                                                                                                                                                                                                                                j
       pm               ,                                                                            yjya pgj                         .sj-
                                                                                                                                         jspy                sj
                                                                                                                                                              -jj
                                                                                                                                                                yyyj
                                                                                                                                                                   ysoy y
                                                                                                                                                                        s
                                                                                                                                                                        . soy
                                                                                                                                                                            ysy
                    .    .                 .,                                                        j
                                                                                                     '      *                               1               (                  jyj
                                                                                                                                                                                 jjyj.jyyjs yyjj
                                                                                                                                                                                               yjyyjjyjyjy
                                                                                                                                                                                                         ,jsysysyy                                                             oyy,jo oss

                                                                                                                                       Amber                                                                                           .
      06-10-2c20 6..2:                                             otjler                                                                                                                                                                                               y
      a
      06m                                                                                            jsax                             a
                                                                                                                                      smj
                                                                                                                                       oyx,
                                                                                                                                         yojt, ,
                                                                                                                                               jv -rNot-rxyaasyarNo'ys(orjyupyys)stsasyms jsojayyuoutjjajo 1
                                                                                                                                                 yt
                                                                                                                                                sax
      )m:0-702c#.s:?
      r -                                                      Refused                              'I/
                                                                                                      ,j,ag
                                                                                                        1
                                                                                                        , .
                                                                                                          )ày                         ;:
                                                                                                                                       jose, .-.
                                                                                                                                               'w.-)
                                                                                                                                                   = ..
                                                                                                                                                      w.
                                                                                                                                                       w,..-.....-
                                                                                                                                                   4yvlsslot
                                                                                                                                                                 .-. ..
  .
  06- 1O-2oJc 4.                                                                                                                      sa ra:       !paN -gxyayjsya:Nsy'u-y
                                                                                                                                                                    -
                                                                                                                                                                         fwu
                                                                                                                                                                          n csj
                                                                                                                                                                             ..t
                                                                                                                                                                               jo
                                                                                                                                                                               ,
                                                                                                                                                                               n'a
                                                                                                                                                                                ..l
                                                                                                                                                                                 ,o,c
                                                                                                                                                                                  ayom
                                                                                                                                                                                     oox
                                                                                                                                                                                       wmw.j.
                                                                                                                                                                                      sus   ,
                                                                                                                                                                                            mw.
                                                                                                                                                                                              ..soy
                                                                                                                                                                                              , ..
                                                                                                                                                                                                 -. .
                                                                                                                                                                                                    aysoss ,gs .
               .52                                             aefused                              ! jva
  pm                                                                                                )J
                                                                                                    /
                                                                                                                ngj                   aose
                                                                                                                                    Jsaraf
                                                                                                                                         a'
                                                                                                                                                           1
                                                                                                                                                           aj
                                                                                                                                                           : atyyraoj ppovzgpvjtyoytyjygyur, jjsyjyyj
                                                                                                                                                                -                           -
   06-11-2020 6.2-1 otser            '                                                                                              '                      p                                                                       '                                    sjyajsyj
                                                                                                                                                                                                                                                                               ou,js yjj
                                                                                                                                                                                                                                                                                       qs
  l             '                     pRn                                                                                            jgocjjpojtj
lcso-medj cal/vodules/cyaljfgtoy pjp '                                                                                                                  j
                                                                                                                                                        1
                                                                                                                                                         uj
                                                                                                                                                          -a(
                                                                                                                                                            .jyryjo((yjjosyuyjyj(;yjytys ys,s jjsyayyyyjy,jsjyoyy,jjyyyyjy .       ,
                                o


                                                                                                                                                                                                                                                                                                    38/70
                ..,,,owow               kaortlvlld-HADETIC, SEBASTIAN-#WCSO2OJBNO0O629(10
                    Case 1:20-cv-23783-MGC       Document 1 Entered on FLSD Docket           09/11/2020
                                                                                          24-1             entPage
                                                                                              976)::FullPati  HistoryI155
                                                                                                                      v5 of 276                                                           -
                    jam           j                                                            l
                                                                                               j                iAmbe                                               5.0                                                                          .

                    j0611-20206'
                          -                                                                                           r !
                    /am
                    l          22 jOther    .
                                                                                               1
                                                                                               1PRN             j
                                                                                                                'Gmod
                                                                                                                 A  bb
                                                                                                                     eo
                                                                                                                      rl
                                                                                                                       t, #JT
                                                                                                                            PY
                                                                                                                             RL
                                                                                                                              NENOLEXTRASTRENGTH(GENAPAP)5O0MG1TAB(PO)ByMouthBID )
                                                                                              ,                 4         ,                                         .                                                                                                                   '
                                                                                                                                                                                          .   .. .     .         . .. ... .      ..- .- .-...- - ...- -          - .- ..- - .- ..- ..
                                                                                                                                                                                                                                                                                    -   j


       '            Tasks

                '
                j
                l Appo'
                      lntmentScheduled Date!
                                           j05-08-2020
                l         d r.
                j ,ve'e-'cintm (3ntCrc-atac'Datcj
                                                'C5-07 20201:
                                                            46pm                  -                -

                l              AppointmentDescrîpt'
                                                  pon4Referralfrom Receivin                                     g Screening
               ;
               #
               1                 AppointmentL'ategory j4                  .        .
                                                                        -M eotal1-$ealth
               i.
               -               Dz'i;C)('t)veyjfj/'.y=y!
                               :                      jj
                                                       'g.G
                                                          j,r gmr
                                                                u.g;vej
               h.                                              . .    , Jj            b                                                                                                                                                                      j
            9
            ; ,                                 Currante
                                                       wtatusà
                                                             ..cnhzzcassul
                                                                     , ' lz-
                                                                           -'                                                                                                                                                                             p
                                                                                                                                                                                                                                                          1
            1                   RequestedbyPatient? 1.N1()                                                                                                                                                                                                î
                                                                                                                                                                                                                                                          ,.

            ù
            )-v . ..
            !
                      ..
                           .
                                    L'&
                                      -.r
                                        zc.;.
                                            e!tmenf'w
                                                  .
                                                    Q.etB!':r
                                                            ,r
                                                             !er'
                                                                pz'n J'panetfe    '.      .                 -
                                                                                                                                                                                                                                                         )
            )A D.;
            '    :.
                  c.
                   1r7trri
                         .
                         e,ntLastl
                                 vtodtz
                                      -l
                                       '
                                       ed e..'t:L!l'
                                                   qclxx!lJrt. (D.
                                                                 x:)
                                                                   bl                                                                                                                                                                                    L
                                      l      *rv                   '.
            !  l ;v,J e
            . u-aGl.icw;d
                        ;t
                         $*'
                           ;C..
                                    '
                              J graga aaV                                         :
                                                                                                                                                                                                                                                         1
                                           .a                  uxV
                                                                 /;'m G fUQ
                                                                          va.UjawX
                                                                                 zyt)'
                                                                                     s'.Jk;Jk,,xs
                                                                                                '4 p.,rp
                                                                                                       '-I                                                                                                                                               :
                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                         .
           d                                                                                                                                                                                                                                             :
           .

           p
                    AooointmentComnjetedev;
                                          ''NS/A                                                                                                                                                                                                         1
                                                                 p
        r
        p              f
                       crmpleted Dct:andT?mc                  -( dh?/J'                                                                                                                                   r'
        j                                                       .'
                                                                                                                                                                                                          P
        :            .Aripo?rptmentChanoe        u
                                                     Rroie Scl          neduled inerrorfort                  'o
                                                                                                               -
                                                                                                               da  hr as$yeh a6 -
                                                                                                                                1es* œ ' *                                                                '
                                                                                                                                                                                                          ,
        :                                                       k                                                  v,    . ,      eps yc h cl
                                                                                                                                            ini
                                                                                                                                              c t
                                                                                                                                                '
                                                                                                                                                o c
                                                                                                                                                  iay  ROyocot'
                                                                                                                                                              t'
                                                                                                                                                               lt/lcl          -                          t
        .                      d- .. . . . ,4 # v
                               wtto)tôc                  y.'zû.:.r'''xx6SG,p.16:0,..
                                                                                                                                                     .    w
                                                                                                                                                                    .N-l
                                                                                                                                                                       uf't','
                                                                                                                                                                             u.1/1HC'.C#
                                                                                                                                                                                      -''.-
                                                                                                                                                                                          tq'b'
                                                                                                                                                                                              --'
                                                                                                                                                                                                'OJ
                                                                                                                                                                                                 u .Z!
                                                                                                                                                                                                     -t-
                                                                                                                                                                                                       -' '
                                                                                                                                                                                                          2
                                        M-;
                                          ..
                                             tvfzttp /*h''
                                                  ..
                                                   ..-.                 :.--.3.
                                                      .........-...-......
                                                                                  i.ll1i.k.uu mk
                                                                                              /1- ..- 2-z-.-- ,
                                                                                                 lkltllrlti-fIeFltss
                                                                                                           ''
        )                            unanpexoteulateimt?
                                     h                 .w .= w x
                                                        t                                     ..                         ...    .       .          - -- -    .-...
                                                                                                                                                                 w. .--.-..-.--.- - - --...- .- .-..-œ--....,
                                                                                                                                                                                                                                                     k
       1
                                                        a-(Jts--ozo : .                                                                                                                                     ..
                                                                                                                                                                                                                        .-. v.v=.vw. ... .!j
                                                      '
                                                      t
       #
       *.             .
                                       Chano
                                           . e Not
                                           -     e Bv
                                                    - 4Mcriutt, Rov
                                           .                      -          -#                        *
                                                                                                                                                                                                                          .. .
                                                                                                                                                                                                                                                     q1
                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                     .               t
            AppointmentScheduled Date 05-)0-2020
       )      Atzpoi
                 - .i-ytr-ffetrfCreaied Daie :O5--!!:-                                                                                                                               è
       .)
        .                                 .  . .     b      2020 7..u!êar'rt                                                                                                         :
                                                                                                                                                                                     .
                                                                                                                                                                                     ''
                 '                                   ?
     )           *ppokkkt('vxiwi'k'tDùsizkxpkkok'd2vI.'3 Q oltll
                '-                                             Ztpxi/i                                                                                                  -............'.
                                                                                                                                                                                    i
     k
     d             A17i   oi nt  men    t  Gategol y t              --- '''                                                                                                        t
                        3                            'VitalSi
                                                            gns                                                                                                                    l
    .L           FI-2:7rEt-v' q'1=i-;Ia  I-:                                                                                                                                       ,
    t          .               %.     *-* s 5=L,
                                       .         .
                                                 '
                                                 t'
                                                  azku
                                                     '7                  ' ,'

    #                                  CurrentStatuslC                                                             ...     ..       .   .                   .       .             j-
                                                                                  ompletetj
    .                                     ent?!
                          Requested by Pati   jNo                                                                                                                                g
                                                                                                                                                                                 $
                            Appointm entSetBy Jordan                                                                                                                             ë
                                                                                          ,
                                                                                              Hannah                                                                            )
       AppointmentLastModifiedByjJordan, Hannah                                                                                                                                 '
                                                                                                                                                                                .:

           LastModified Date and Time 05-10-2220 7:50 am                                                                                                                        1
                                                                                                                                                                                t
                                                                                                                                                                                j
            AppolntmontCompleted By Jordal n, Hannah
                                                                                                                                                                               j
             Completed Date and Time 05-10-2020 7:50 am                                                                                                                        t
               AppointmentchangeNote Sickcallcompseted5-10-20at750ambyHannahJordan1
                           .                                      .               .
                                                                                                                   .
                                                                                                                   .

                                GhangeNoteType CompietedAppointments                                                                                              ..
                                                                                                                                                                             j
                                                                                                                                .           .v..      .......... ...        i
   k                            ChangeNoteDatej05-10-202012:00am                                                                                                   ,......w!
                                                                                                                                                                            j
   j                                Change;
                                          4oieBv.
                                                jJordan, Hannah
                                                                                                                                                                            ;

    AppointmentScheduled Date 05-10-2020
      AppointmentCreated Date 05-10-2020 7:49am
       AppointmentDescription4V/S O sbiftPM
                                                                                                                                                                ?
         AppointmentCategory VitalSigns
                Priority(1=High,5=Low) 1                                                                                                                        ;
                                    CurrentStatus Completed

wcso-medical
           /Modules/chafhistol.php
                                                                                                                                                                                                                                                                 39/70
                       .- - - -
                                       kzolclvlrDocument
                   Case 1:20-cv-23783-MGC       l-l
                                                  x/Al
                                                     wltcllU,Y/6ASTI
                                                                   AN-#WCSO20
                                                              1 Entered      J6NOOO6
                                                                         on FLSD    29(10- 09/11/2020 Page 156
                                                                                   Docket
                   1    Requested b                                                       24-1976)::FullPatientHistory1v5.5.0of 276
                  .
                  ë                                              pPatient?!No                                                                                                                        j
                  '                      Appointmentsetsy Jordan,aannah
                                               .                                    .                                                                                                                j.
                                                                                         .          .                ..     .
                   AppointmentLastModifiedByRoseSarah                                          ,
                                                                                                                                            .       .   ...         .   .           . . ..,. . . .
                                                                                                                                                                                                  j
                        LastModified Date and Time 05-
                                                                                             10-202:3:59pm                                                                                       ;
                  1 AppointmentCompleted By Rose Sarah                                                                                                                                           j
                                                                                                                                                                                                 t
                                                ,

                  '           -kpI
                           Col-
                              i  etedDateandTime'05-10-2020 3:59 pm                                                                                                                              $
                                                                                                                                                                                                 1
                  j AppointmentChangeNote4Si
                                           ckcalfcompl
                                                     eted5                          y
                  ;        (cj,.
                               l u f v. !(c I f a A i
                                                          10-20at3:59pm bySarahRose (                                           -



                  )                        Chang                      j. t                                                                                                                       j
              i                             CI eNot
                                                  eDate 05-10-202012:
                                                                    00am                                                                                                                         1
     '        j                                      nangeNoteZyg
                                                                .Rose,SaraI
                                                                          -
                                                                          1                                                                                                                      î
                                                                                                                                                                                                 j
              t
              d
              y
                    /-h'pp()t
                            'ntm entSchedu!ed OG- -4
                                                   .1- r)O2O
                                                       u
              ?                          Datey
                                             .
                                             '                                                                                                                                                                                                                                                                                jli
              t' ,                           L.                                                                                                                                                                                                                                                                               t
              r . .7tr.s(7i
                          .nf
                            w ene
                            .   .crsatedDate'nG
                                              --- n-
                                                  - .z
                                                     - gnoci;. zw j'
                                                      - -.-w ....q a
                                                                   .wm                                                                                                                                                                                      -....
                                                                                                                                                                                                                                                                                                                          t
                                                                                                                                                                                                                                                                                                                              p
              j AppolntmentDescrlpaon,Ptciasm s he has been onhtlngerstr                                                                             1
             1.                      '                                 lkeTor10 days, BCDC dld notconrlrm thl
                                                                                                            s,dlclreruse I
                                                                                                                         unch u/hen he a
                                                                                                                                                     j
                                     .Pe1'0
                                     !    'fr
                                            f1cers.                                                                                    w otl
                                                                                                                                           neretodgv
                                                                                                                                                   a k                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                          t
             Lr         m.j.
                           l>.*ulk<fvjIt=;1kt.V#'ç-vcH(Ul)': ikI1k.z''c.k'Jtc 1%.4l1JtIv.'
                                                                            e
                                                                                                                                                                                                                                                                                                                          r
                                                                                                                                                                                                                                                                                                                          '
                        .. .. .. . . .                                                                     -- ... .. .. .       -   -                                               .
                                                   r...L. r'
                      l llh..ItuJ k&= .ilzj.irw.r'''i...= bkj p !               A                                                               .                                            .                . .. -.                          .   . .          ..        .                                               t
                                                                                                                                                                                                                                                                                u...u. . .     . ..      . ..             u
          '
          )!                             keZ'1'1'C'r(-1tw-t;tL1C'l:.-2Ui-i-$$
                                                                            '3)
                                                                              EkGU                                                                                                                                                                                                                                        .

                     thluueBteu =$,ratperit, kI.(              :)
          r............. ..!....., ...... . .*.            '
          t
         k,
         l                Xxppol  . .
                                   ntm ent       .
                                                   Set.
                                                        By il .orcjan .
                                                             t/
                                                              l  %'? ,xluanelta
                                                                                ..                                                                                                                                                                                                                                       /
         hE
         1             ..
                                                                                                                                                                                                                                                                                                                      >
         *Xo
         :     .r
                :o;ri-    i.rn&;-;tLgq'       krv/;odl=
                                                     .
                                                      b)ed tJo;-G'aI3 r-13In(h3'
                                                      . .
                                                        .                                                                                                                                                                                                                                                             e
         '
         .                                                 j         ')        i3                                                                                                                                                                                                                                     #
                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                                                                                                      .
         1
         .
                                                                 By;                                                                                                                                                                                                                                                 1;
                                                                                                                                                                                                                                                                                                                      *''
                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                      .
         JF
          ,           Last!.4ot!if;
                                  .ed !:
                                       hatean'
                                             J. C05-13-                                                                                                                                                                                                                                                              )
         1                                                '1'         h                 202O 5:1.
                                                                                                Q,am                                                                                                      '
                                                                                                                                                                                                                                                                                                                      )
         1
         9                                            .
                                                               i.';''
                                                                    ,i.
                                                                      r.
                                                                       ).
                                                                        t
                                                                                                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                                                                                                     u
         .                 .   .
      ) AppotntmenvGompdexec Jordan, Hannan.              . ,       #, 1
                                                                                     .
                                                                                                                                        '                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                     ?'
                                                                                                                                                                                                                                                                                                                      .
      t
      '
      l                                          B                                                                                                                                                                                                                                                         ' ''e
      k                                           y  1y'
     i                                                                                                                                                                                                                                                                                                               j'
                                                                                                                                                                                                                                                                                                                      .
     r Comrleted Dare8nd. )..lme10:-- '                           ..                  .
                                                                                      ,                                                                                                                                                                                                                              p
                                                             !.
                                                              R-2020 5'
                                                              '                  .7J    am                                                                                                                                                                                                                           li
                                                                                                                                                                                                                                                                                                                      '
     )  /' '
           -'
            '
            -h:7'
     ' '-*e-* ' u
                  n*   rac- nt C F
                                 .
                                 --
                                  an  thwc-  :
                                             Q
                                             A 'c'
                                                 tc
                                                  -  -
                                                     * '-omm     anc     ar                                                                                                                                                                                                                                          .

     1
     7  .    . . .w...... - ..   . .. ....-. .  ....kw--- = .- ...- ..--a....-.-nj
                                             a.=.      - '
                                                                                   acl  rsonwi     th (CE noti         fied andpt. recordssentover                                                                                                                                                                y
     '                                                                           ,..ww ..... - .u...... - - ---.......---......-......
                                                                                                                                     --........---......                                       . Fl     ui   dswereo#ered to pt.                                                                                  '
                       Gi-tange dtote t#pe ti          laod'fli
                                                              pùeted Appoll-ltnlerlLs
                                                                                                                                                       .-.,....--.....
                                                                                                                                                                     ,......--....-.-...- .- -.
                                                                                                                                                                                              ..--..........-.-......--- .-..--,----
                                                                                                                                                                                                                                    ----- ----,..- .- -.
                                                                                                                                                                 .
                                                                                                                                                                                                                                                       .-..- -,
                                                                                                                                                                                                                                                              --..-   .-.----.
                                                                                                                                                                                                                                                                             -..- .---- .- -.-- .- .-.- .
                                                                                                                                                                                                                                                                                                        - -- .-  1
                                                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                                                 b
                       Change Note Date 05-11-2020 12:00 am
'    j                         C-hangeNotsByjJordan, Hannah                                                                                                                                                                                                                                                  '




                                                                                                                                                                                                                                                                                                                 t
                                                                                                                                                                                                                                                                                                                 .
                                              ,.,- . ..-

    i Appointmentschedui  naed
                             tet
                                tOs- '
                                p    i '
                                       i
                                       -2.
                                         -
                                         92
                                          2 0                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                 :
    #
    t
      AppointmentCreated Date 05-07-2020 1:46 pm
                                                          .
                                                                                                                                                                                                                                                                                                             )
       Appointm entDescription Ptcl  ai
                                       ms he hasbeenonhungerstrikefor10days,BCDC did notconfirm this
    l                          l;efOff icers.                                                       , di
                                                                                                       d refuse lunchwhen he gotheretod
                  AppointmentCategory Mid-l                                                                                                                                                                                                                                                          ay
                                          -evelClinic
             Prfori
                  tytl=High,5=Low) 1
                CurrentStatus Completed
        Requested by Patient? No
           Appointment5etBy Morgan, Juanetta
                                                                                                                                                                                                                                                                                                         1
    Appointm/ntLastModi  fied Jordan.Hannah                                                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                                                                                         j
                           By
       LastModified Dateand 05-13-2020 5:13 am
                        Time
      AppointmentCompleted Jordan Hannah
                                    ,
                          By
     Completed Dateand Time 65- 13-20205:13 am
    AppointmentChange Note Sickcalicompseted 5-13-20 at5:13 am byHa
                                                                   nnah Jordan
           Change Note Type Completed Appointments

vcso-medi
        cal
          /Modules/chafhistol.php
                                                                                                                                                                                                                                                                                                40/70
                                                                            w w $= svçsx- ixrxw t-
                                                 l$w ,o co/-so jl/+isl-pvvk-zlluztlli
                     Case 1:20-cv-23783-MGC Document    1 Entered on FLSD           :sh'sll.l
                                                                                            i    Docket
                                                                                                 z:(10-24-109/11/2020
                                                                                            -l-ltg                          Page
                                                                                                                             storylv157
                                                                                                           976)::FullPatientHi      5. of 276
                     )               ChangeNoteDate!05-13-202012:00am                                                                             5.0
                     j                    ChangeNoteBypJordan,Hannah                                                                                                         )
         '
                                                                                                                                                                             )
                       AppointmentSchedulc-d Datej05- 11-2020                                                                                ''
                                                 w                                                                                           1
                         AppointmentCre3ted Date 05-07-2020 1,46 pm                                                                       l
                                                                                                                                          1
                   k         Appointmentoescripti
                   ,
                   /            .                                     on.
                                                                        jNeedsoentalvisualscreencompletedbyMid-leveti
                                                                                                                    oroviderk
                                 Appointm entCategory DentalVisualScreening-Mid-levelProviéer                                            'a'
                 #             Pi
                                -iority(1=gligh,5=Low) 1
                 1                       CurrentStatt!s1Rescheduled                                                                      #
                                                                                                                                         1
                 #              Requested by Patient? à
                                                      ''
                                                      . No
                                                                                                                                         j
                                                                                                                                         .
                 t
                 k                  ApgointmentSetByjNlorgan, Juanetta
                                     ..       .                                                                                          '
                 7fgpclntnaentLattM cdf
                 #2>                  fied B'y''kîMargal-l                                                                     '         .
                                                                                      ,   Juanetta                                       j
                                                                                                                                         .
              l LastModisedDateandTimej05-02-20206:
                                                  4.
                                                   6am                                                                                  i
             j ArpointmentCompietedB!''
             C
                                      kiglh.                                                                                         !'
                          compieted Date snd '
                                             ràme iFI/A
             y''                                                                                                                     ir
             .           L:
                          -.>-.t'q;nfrk-#rAntLTk-;.qn(3c-.!lr''6.. ï
                                                     -.                                                                              j
                                                                   ,F    3r:.,'.+,%.t,9
                                                                     Er-'.            , . . ''
                                                                                       6.c:,-.     .l',.-,;I-;,'.'.+ ',
                                                                                                           .           .            .


              .s          ..      ..
                                     Chpr!oct!Fétnf''(-:
                                                       <'Lr
                                                          ..n
                                                            Z1
                                                             2p
                                                              -; ?7!:
                                                                    -y=
                                                                    ' ''e
                                                                        *h
                                                                         'h,J=
                                                                             :è*
                                                                               ci'
                                                                                               .
                                                                                 )'''!(q-''8- zzr'7o''r'-';i'ntra,.
                                                                                                                  j.nist            (
                                                     .         '
                                                               .. .    .                          ..
             t                                                         '       . .

             '
             t'
                                     t-,hen'ge vcre ..kel'
                                                         e?jt
                                                            '-,
                                                              iF-!;:-kl..3.cr(.! $z'.k'!-'.:.?-'n                          .   -   -3'
                                                                                                                                    .
             l                            w ikJ1i'.'.. :1          y ylvt ti
                                                                           ;.
                                                                            j
                                                                            ,        ,                                              !'
'                                                                     .
                                                                                                                                   )

          !Appolntment;         -:-
          : Schêduled ;
          f            !O5-'i-
                       .     i-2U2
                       ,                                                                                                                                                $.
          l
          I       Datol'                                                                                                                                                ?
                                                                                                                                                                        t
                                                                                                                                                                        j
                                                                                                                                                                        ?
         1A ointmenty
         l             ' 05-.
                            :i-'
                               Q21
                                 :;20'
                                     i.zi5 p:);                                                                                                                         4
          Jreated Date i
                       .
                                                                                                                                                                        i
                                                                                                                                                                        '
                                     )
                                     .

         jAppalntnnentlReferralfronnRecei
                                        vingScl
                                              -
                                              eeningURGENT HUNGER STRIKE                                           -
                                                                                                                                                                    t
                                                                                                                                                                    :
         !T:D'.le
         '         sc
                --.û*i
                       r.
                        F7tfc.nr
                     .i:tla-q(hgè(i
                                                                                                                                                                    j
         1.''1'          ;!k4(#r)t1j1/16)épltln
         i      catugorz./
         j                                                                                                                                                          j
         t
         C
                         r:r;r?rF
                                ,),2j                                                                                                                               k
                                                                                                                                                                    '
         k
         ù             (,
                        1
                        5=High.r
                               ;
         à                =Low1
                              at
                               .                                                                                                                                    .
                                                                                                                                                                    '
        !
        k              cuhrrenttcompleted                                                                                                                       j
                        status,t
     L
     . RequestedI
     '           jh
                  ..
                   lo                                                                                                                                           j
       byPatient?)                                                                                                                                              '

     IAppointmentiMorgan,
     l
     .
            setBy 1          Juanetta
                                                                                                                                                                .
     lAppointmLant M clkutt, Roy
                                                                                                                                                                .

                             ast
          Modified By                                                                                                                                       .

                 Last 05-11-2020 10:38 am
            Modified
            Date and
                         Time                                                                                                                               l
    $Appoi
      ' ntmentiMcNatt, Roh'/
    p Completed.
              By                                                                                                                                           )
       Completed 05-11-2020 10:38 am
        Date and
            Time
     Appointment Detainee evaluated by LMHC in medicalobservation celtre'
     Change Note Nursing Assessmentre;Hu                                  hun
                                                                            tegW
                                                                               ers
                                                                                 L-t
                                                                                   rike@9:20a.m.thi
                                                                                                  sdate. SeeDocument(Inforecordedusing
                                                                        .

    '            ScottMcNutt,LMHC.CAP, CCJngerStrikefcrmhcompletedthisde           MHC, andscannad i
                                                                                                   nto chartby HSA Ar
                                              AP                                                                    TlberShear,RN. Roy                     j
    Ghange Note Completed Appointments
    I                  Type
   Change Note 05-11-2020 12:00 am
  ,
  !        oaje
wcso-medica4/Modules/chaf histol .php
                                                                                                                                                        41/70
                   - . . .,.-. .-w,
                        Case 1:20-cv-23783-MGC    oorel
                                                      vll
                                                        x -HALJIXllC,SEB
                                                        Document      1 ASTI
                                                                           AN -#WCSO2
                                                                          Entered on OJBNOOO6Docket
                                                                                     FLSD    29(10- 09/11/2020 Page 158 of 276
                        ChanqeNcte R                                                               24-1976)::Fu(IPati
                                                                                                                    entHi
                                                                                                                        stor./Iv5.5.0
                     h      w     -,vlcl
                                       >x
                                        tutt, Roy
                     j                     Byp
                                             :
                                             '                                                                                                                                        '




                                  .
                     ;AppolntmentScheduiedDate405-11-2020                                                                                                                         t
                    $        AppointmentC                                                                                                                                        2
                                                                                                                                                                                 g
                                                        reated Date 05-10-2020 7:
                                                                                49am                                                                                             '
                    )            AppointmentDescriptionjV/sQ shi
                                                               ftPM                                                                                                              ?
                                      AppointmentCategory Vi
                                                           talSigns                                                                                                              j
                                                                                                                                                                                 '
                                                                                                                                                                                 /
                    $
                    !                                                                                                                                                            ;
                                 Priofity(1:
                                           zzl
                                             -.
                                              1igh,5=Low) 1                                                                                                                      '
                                                                                                                                                                                 't
                    l
                   i'                      CprrentStatus Completpd                                                                                                               ï
                                                                             :                                                                                                i
                   3              Requested by Pdtient? .NO                                                                                                                   .
                                                                                                                                                                              '
                                                                                                                                                                              r
                             .
                    AppointmentLastModl
                                      .f
                                       .ed By Kever
                                       l            , Jeanne                                                                                                                 '
                                                                                                                                                                             â
                   4 LastMcdifiedDateand't
                                         -jm ej05-11-2020.8:44 pm                                                                                                            ,

                   !
                   '
                     AppointmentCompleted B# Kever                                                                                                                        !
                                                                                                                                                                          '
                                                                                                                                                                          #
                                                 , Jeanne
                                                                                                                                                                          j
               L
                         L r:,ct
                               uintraiwn(C t-.ar''cik 7Ic.ier,
                                                   :.        ''S;c.
                                                                  'lx'LJ.F'
                                                                          ,'t
                                                                            --ort
                                                                                -,c7'
                                                                                    ,.F
               1,                                                                                ;iF2c',9;-'
                                                                                                 ;         .'.-R:
                                                                                                                -;::'R J..'r..-.:-,'.;'','..'JL.
                                                                                                                                               J..7.'.,'
                                                                                                                                                       .'
                                                                                                                                                        z '''
                                                                                                                                                            .'= ,,'
                                      .          .                      j                                                                                         :z.:
                                          Ch ..artre FJctïe -R'c;ep      kat
                                                                           -zt /rrnr-li
                                                                                      ,6i.e8 J.rpomicin-'er.iîz                                                          t
               >
                                           .-       .
               s                          t-*F1Krf:t:lt:'iNqC7Li,L.:éh)QQrt.
                                                           .     -       ; ? Zi    ;
                                                                           . ww* l,-  .y
                                                                                       -'
                                                                                        (- ;
                                                                                           .j
                                                                                         .1. .
                                                                                             -j j
                                                                                                 5o,j-yj-yyjj,j                                                          F
               ,                                                                                 0. . -
               r                            wee'v&
                                                 %NLZGQ Lv
                                                     - .s
                                                         :ck,
                                                            ùc
                                                            '          ' . ..
                                                              w,t,y jizx
                                                                       û v$-
                                                                           :1.wd
                                                                               ':   $)..1$.1$
                                                                                i,4-;       ,:
                                                                                             y                                                                           ;,
   '
                                                                                                                                                                         r
           !                           <Y
           t
           . Appoi
                 ntmentScineduled Dater05-11-2020                                                               k
                                      j                                                                         :
           ;            AppointmentCreatedDateî:)5-:J'-(Lkw-J2u-7'iio-&;-,',                                    !
           ;             AppointmentDescription j%1
                                                  ,& G shi   ftAM                                               4
           '
                                                                                                               y
           i     t'
                  l.ppC;.Cktmik-1Lw1:'
                                     .Cgj2.7j'k h.
                                                 'i
                                                  t3k5,igl71G                                                  j
           U
           k U t
               -zr l
                   ority  ,
                          $6=H i
                               gh   5=Low1    ,-i
                                              )
                                                                                                 .             .
                                                                                                               4'
           !
           .                      T          ,                                                                 !
           j
           ,
           j
           -
           !
                   currentstatusj(2$
                                   -,5
                                     -,lp
                                        'le?ou
                                             -'                                                               i
                                                                                                              p
           -                                                                                                  ,.
                                                                                                               -
           ..R
             equestedbypasent?2!?s                                                                            ,
                                                                        ,-
        ,.
       '..    AppointmentSetByr'ulortjao,eannah                                                               ;
                                                                                                              i
           AppointmentLastModified By Jordao Flannah                                                   ' 1
                                                                                                         r.
                                                                                 ,
       $.                                                          i;
                   LastModi
                          fiedDateandTimetfJ5-.i:-2020 8 46 ann
       j Appoi
       '      ntmentComoi  eted Bv   Jorcian i-lannah    2
             .           *       '@'#       .
       ,                                           .     #
          CompieiedDaieandTimej05-14-20208.45am          q
                                                         g
       ! A RPointmcntChange Note 'Completecf             '
                                                         j
                 Change Note Type Completed Appointments I .
                 Change Ncte Date 05- 11-2020 12:00 am
                                      Change Note By Godbos
                                                          t, Amber


     AppointmentScheduled Date 05-
                                   11-2020
       AppointmentCreated Datg 05-10-20207:49am
                                                                                                                                                                   l
                                                                                                                                                                  !
   j    AppointmentDescription#VI& Q slniftAM
                                                                                                                                                                  4
          APPOintmentCategôry VitalSigns                                                                                                                          $
                                                                                                                                                                  1
          Prior
             .itv
                ''(
                  %1=High, 5=Low) 1
                    CurrentStatus Completed
           Requested by Patient? No
             Appoiiltlnent5etBy Jordan, Hannah
   AppointmentLastModified By Jordan Hannah
                                       ,
     LastModified Date and Time 05-14-20208:45 am                                                                                                             '
                                                                                                                                                              GI
     AppointmentCompleted By Jordan                                                                                                                            j
                                      , Hannah

ycso-medical/Modules/chafhi stol .php
                                                                                                                                                                                          42/70
                   -. . vlw w m.w
                       Case 1:20-cv-23783-MGC DocumentL;I                                       taurclvlri -p- ut IltJ,
                                                          45am 1UTBAYTI
                                                                    Entered  on FLSD   Docket   09/11/2020
                                                                                                 976)::FullPatientPage
                                                                                                                  HistoryI1590of 276
                                                                      AN -#WCSO2OJBN00O629(1024-1                         v55.                                                                                                            -
                       j  CompletedDateandTimej05-14-20208:                                                                                                                                                                                   .

                       j AppointmentChangeNote Sickcallcompleted 5-14-20 at8:45am b                                                                                                                                                   j
                       1
                       ,                                   ChangeNoteTypejCompletedAppointments                                                                                         yHannahJordan)
                                                                                                                                                                                                     1
                       fl        .               .
                                                           Change
                                                           .
                                                                  NoteDate 05- 14-2020 12:00 an1
                       t                                                  ï
                                                                                                                                                                                                                                      q
           '                                                ChangeNateey'jJocdan,Hannah                                                                                                                                               1
                     $     .
                    $? AppofntmentScheduled Date 05-12-2020                                                                                                                   1
                                                                                                                                                                              b1
                    r                                                                                                                                                        ,l
                    '            AppointmentCreated Date 0a                                                                                                                  j
                                                                   r-10-2020 7:
                                                                              49 arn
                   j                   .                                                                                                                                     #
                   r
                   .
                                  Appol  mentDescr.lpt.lon,.W S Q sh.yftPM
                                       ntl                                                                                                                                   j
                                                                 1
                   !
                   .
                                   AppointmentCateoon/  =
                                                                (
                                                                '
                                                                FVitalSigns                                                                                                  .r
                                                                                                                                                                             h
                   )                . .     .
                                                                                                                                                                             <
                   /
                   k              Prl
                                    orlty /
                                          N1=HIc
                                                .I
                                                *''h, 5=Lot&.z
                                                             ).;1
                                                                                                                                                                             j
                                                                                                                                                                             1
                                                                                                                                                                             !
                   7
                   k                                                                                                                                                         ,
                   ?                        C                                                                                                                             >.
                                            - urr e.ntStatt!Ejj,lComr  eted'
                                                                     lal                                                                                                  à;
                                                                                                                                                                          /
                                                                                                                                                                          t

                k
                l
                f                   AppolntmentSetByk      ;.a'o
                (                                          :
                                                           ' fo'yr)''  r1al
                                                                          nnain                                                                                          /
                ) ,
                uè.'        .  . .
                                 .    ( .  ( jr  r*
                                                  jr       j
                   uj.ijwk'=I(ik1;IC!Ft LZî l.iOQ'ljog gj.p;jjgg ... . .. --....... .                                                                                .   y
                                                                                                                                                                         j
                                                           y      (
                                                                  w;ar
                                                                     ;Ig uaj;
                                                                            a t
                                                                              l
                                                                              ta                                                                                         '
                                                                                                                                                                         k
                                 '.
                              It
                        u-as: ...
                                jc.:.
                                    2;
                                     !..
                                       fà
                                        tc-c.
                                            'I
                                             r.xo?!u
                                                   Zfl .
                                                       1;-e.$*k''(*n.rvcrq'.' '%
                                                         tu
                                                          k.f:l-b7. -7.$                         *               r5
               y
                                                                       77k$R.''.Nuo'N ;?,r'.-                                                                            .
                                                        ,
               .        iir 'mt;
                               r!f
                                 'I
                                  '
                                  n en9C
                          thD-..u .--'rpr,nc'
                                            .leier!Z:l!?iC:/J::)roa'r: Jt.
                                                                         rgtr)e'  :'Ly'
                                                                      .     - =                       ..     u            .
               :             k-.tzrrrpteteti-=-:.
                                                rl.e irr,t<. 'tt-rte -k?r)-!z-2vztlt:'
               q                                                                                                         .ot    h;    .!r,0,!                        .
                             / .......7
               ï                                                                w-7.x'(J.:wC-.j
                            rwp.!.a.........av.....-.C..4..&.v.'wN k4.k&.K-;.v..C             ! -
                                                                                              ,.w- ..-.
                                                                                                      ,IkC-,Sû;W ZiI-I&b.,..t.'..hu.-y..kiï;c-...- -: .!'     .-..
                                                                                                                                                                     $:
                                                                                                                                               a#Iu Iht' )v>,J
                                                                                                                                                             3I1okbt y
           :
           i                                   f-h c
                                                   .%.:
                                                      .e hlote 'R.pzpe'
                                                                      fr'' nnnr
                                                                              -
                                                                              qp
                                                                               zor'E
                                                                                   ?'-ftt'nrpr-,.
                                                                                                -.1*-znts                                                           i
           7!'
           t                                                          i
           ;                                   Chanc.e.Note Date>     l
                                                                      '9                                                                                 ' ' ''''
                                                                                                                                                                x
           y
           .                                                @+        #oor--l2-2020 12:
                                                                                      *
                                                                                            00am                                                                    )b.
           ?
           .                                                                                                                                                        ..
           0
           ..                                                     iMor
                                                     ChanaeNote Bvj  oan
  '                                                           <'                  *.j           w'      .
                                                                                                        '   Juanetta                                               E!.
                                                                                                                                                                   ;
           j
         :
         k J'vp:clntmeatScheduiod Date 155--12-2020
         2                                                            r
         k AppointmentCl'eated Date1;:05-J0-2020 7'                                                                                                                                                                               k
                                                                      j               .49 am                                                                                                                                   !
        h       .r
                 .-  -';i-,(ti2-:tEr:'             ..i'?k.1,(:2(:,i-.
                                     t'ë.(:72,hrihq'
                                     .                              tt'                                                                                                                                                        )
        j
        :
                . t.
                   k:
                    /
                    - .                                              k -
                                                                       z'
                                                                        i'
                                                                         ë
                                                                         !yt:
                                                                            ;EEë
                                                                               :-
                                                                                $,
                                                                                 '
                                                                                 (
                                                                                 'L
                                                                                  :,:
                                                                                    L-:
                                                                                      -
                                                                                      .
                                                                                      -ô                                                                                                                                      t
        k          AppointmentCategaryj                              jVita!Signs     -                                                                                                                                        w
                                                                                                                                                                                                                               .


       6                    Priority(1=Hi
                                        gh                                                                                                                                                                                    :
       '
                            ..         ...........-.. ..     .
                                                                 ,   5=Loh')l1                                                                                                                                                '
       à                                             cu                                                                        .       .    ..               ...                   ..     ..        .
                                                                                                                                                                                                                              .

       !                              .                    rrentstatustoeleted                                                                                                                            .
                                                                                                                                                                                                                              )
                                                                                                                                                                                                                              '
                                                                                                                                                                                                                              '


       p
       t
                                 RequestedbyPatient?ê
                                                    (
                                                    'lgc                                                                                                                                                                      .

                                                                                                                                                                                                                              i'
                                                                                                                         -
       '
       ;                      AppointmentSetByFJortjgn s-lannah
                                                                          .
      f.
              -oeniLasiModified Sy ;7
      lAppoioii
                                                                                                                                                                                                                              i'
                                                                                                                                                                                                                              k
        .-.. . .                                       . ...     : Jorcian,Han
                                                                 . .
                                                                               nah
      $ LastMcdi               fi d Datc and Nr                              .   . . .                                             .                                                                                      :
      k-.,....... .......... . . - e                          ae
                                                               .  O 5.1 3-2020 5:
                                                                                09 am                                                                                                                                     r
      t                            ....... ....., . .. .   . .   t.       .        . .                                                                                                                                    t
      3 AppointmentCompleted By' h1/A                                                                                          -.--        .     - ..
                                                                                                                                                    .                ....... -.-...-. .., -..
                                                                                                                                                                                    .,-     -.
                                                                                                                                                                                             ,...........
                                                                                                                                                                                                        ...........,      b
                                                                                                                                                                                                                   .......-

      l                                                                                                                                                                                                                  /
                                                                                                                                                                                                                        a:
      j                CompletodDateandTime N/A                                                                                                                                                                          e
      ï            Appoinime                                                                                                                                                                                             ,
                                             ntchangeNotejunsureiftaskswerecompl
                                                                               etedancltheyarenowdupl
                                                                                                    icatesj                                                                                                         .
                                                                                                                                                                                                                         '
                                      ChangeNoteType DeletedAppointments                                                                                                                                                !
      I                               Ci
                                       nangeRoteDatej05-13-202012:0ûam
                                                        iJordan, Hannah
                                          Change Note By!                                                                                                                                                               j
                                                                                                                                                                                                                        1
                                                                                                                                                                                                                        !

         Appointment 05-12-2020
     Schmduled Date
   ?
        Appointment 05-12-20209.  .
                                   42 am
        Created Date
        Appointment lnmate refusing water,
          Description                      as weelas food.
        Appoi
            Cantment   MH ConfinementCheck
  )           tegoq?
  ? prtorityt'
             :=ldigpi,j1
                       ' s=uow)j
                               j
wcso-medical/Modules/chafhistow.php
                                                                                                                                                                                                                                                  43/70
                                                                                 w w ,w-lv'lx - ,xz-xw t-
                            CaseCu
                            j      1:20-cv-23783-MGC
                                   rrentStatusjCompseted                                      Document  1 Entered
                                                                                                   I,w,oco-o ll
                                                                                                              Mlç-#vVt;on
                                                                                                                '          FLSD
                                                                                                                       btJ2U      Docket
                                                                                                                            J6NO0O62        09/11/2020
                                                                                                                                    9(10-24-1976)::FullPati Page 160 of 276
                                                                                                                                                          entHistoryIv5,5.0
                            juow.w
                            j
                            k
                                             Requestedby'No
                                                 patient? '
                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                 )
                                                 2. . . . .. . . . . .,...,.                            ,....-. c.-........ ... .
                                Appointment5et Mchlutt, Roy                                                                             .          .        . .. .. .    ....                 ... . .- . .   .   .   . . ..   .   .... .. ......
                                                                                                                                                                                                                                               ..-..- ........
                                                                                                                                                                                                                                                             ...
                                                                                                                                                                                                                                                               --.-- ...
                            ,
                                             By                                                                                                                                                                                                                            . .. .. . ----
                                                                                                                                                                                                                                                                                                            p
                                                                                                                                                                                                                                                                                            ....---- ---...--.
                                                                                                                                                                                                                                                                                                             .


                               AppoinimentLast Mclqluttj ROy
                                    Mfdified B# ,
                                                                                                                                                                                                                                                                                                            !
                              LastModified Date 05- 12-20206:12 pnl                                                                                                                                                                                                                                        j
                                      and Time
                                  cAppoiniment McNutt Roy               ,
                                         ompretedsyj                                                                                                                                                                                                                                                     i
                        !           Cancpretad Data 05-12-2020 6,
                                                                .12 pm                                                                                                                                                                                                                                   I
                        s.                        and I-
                                                       ime                                                                                                                                                                                                                                               b
                        '  A
                        t    PPointment inmateseen by LMl  -
                                                             lc,whow/asthen presentfordiscussionand resolutionofInmate'sis                                                                                                                                                                               j
                        )  Changê lqote .cl
                                          nal
                                            '
                                            lnote ednteredthi scjaie. Roy ScotlMcNutt
                                                                                                                                                                                                                                                                                                         j
                     ; ChangeN         P                                            , Lr
                                                                                       S/
                                                                                        IHC. CAP,CCJAP                    sue thatinitiated hungerstrike. See
                                                  oteType1Compl
                                                              etedAppointments
                     i CnangeRoteElatej05-122020 12:00 am          -

                     1 ChengeHeteBy(McNutt,Roy
        '                                                                                                                                                                                                                                                                                              p
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                       $
                    : f ...e-..$.- .' ,
                                      -- ..2.Q...;- '-7 reen z .
                                                               à
                                                               sr.Q >'Tt es*'&'
                                                                              .AN
                    P
                    b           zr
                                 -xN
                                   S
                                   '.ç
                                      .. ' 5
                                     '.GI7
                                                  ë.
                                         .tkm Q;Ctkw C%CQ;&N    r7C*uB ;
                                                           &C-Q1w      /t
                                                                       1Dzo-
                                                                          JL-e1t
                                                                               eg
                                                                                h-;r hj-)/
                                                                                         k3
                                                                                          p=;...Z
                                                                      k           ..u.          HQ
                                                                                                 w JEG.-I                                                                                 R
                                                                                                                    .
                    k               Aipnrinlmenti-4rscri-'
                                                         rêorl/
                                                              :b/,'wo '-'srll'
                                                                             l'tL'lk';                                                                           .         -x......       j
                 ù,                   Aprz  oi.nksmGntCaï     regoi    /,jjï'
                                                                            :.t
                                                                              ,alen, .                                                                                                    k
                 1:
                 F
                        .       -
                                       . .
                                           ..     .                .. . r l.     a'gà.Is
                                                                                      ..
                 >                  F>r::)rl
                                           tt
                                            ..'$I         lTt;cr:.()lrb'lI)1
                                                                         '                              .       .       .                                                             y
                                                .tzr#1
                                                     :1
                                                      ,t
                                                       ..:
                                                         .t
                                    .                                                                                                            .. . . .
                 ;                                                                                                                                                                    .

                i                                                       .4                                                                                                            @i
                k                                 Currentowtattls Completod                                                                                                           :
                                                                                                                                                                                     '
                1
                '
                ,                     Reqaested by Patl                                                                                                                              )
                                                                                                                                                                                     .

                                                               .ent> No.1'
                ;
                .               .                   .                                                                       .                                                        j.
                j.w ... -..... App
                               ... ..ol ntmentSe.
                                                r.By '
                .                                    !.-,
                                                        ..                                                                                  ..
                                                         -,
                                                          ......' .. ...                                                                                                             $
                                      .. .
                                                     l        -.y... .y.y.-:y,.,                                                                                                     ..
                ;               ..                                      .... -     . ..                                                                                              ;
             jAppolnkraentLask
                             -Qt
                               zap
                                 ..l
                                   ct
                                    .Ga
                                      .t      .
                                        ,... 1.r.
                                                n                                                        w ...- ..-.= .=a-a..
                                                                                                                            =.wmw ... .-.... ... ,. . ...
                                                                                                                                                        ... . ..w a-,y
                                           1#jr'kose,Sarah                                                                                                                          k.
             1
             .
             , I
               - 2S+
                   -.hu/
                       l
                       .T49
                         .-.4:
                             1M FA f
                            &.eu.w aw
                                    .I
                                     :a:7e
                                     '   'l''
                                            r
                                            ..:
                                              e
                                              .w
                                               .,
                                                p.t.y.$wr7l
                                                          ; 'wQ--0/                                                                                                                 j
                                         w.               w- d    w796
                                                                    .-w1w
                                                                        f:$.QJ cr.a           .w
            F           r            .                                                             .k                                                                            l
                                         .                                                                                                                                       i
            r
            '
              ngpolntmentCompjetey sy pose. gyi  .
                                                 arn
            !  Compl eted Dateand Ti
                                   mê
                                      .
                                        05- 13-
                                              2020 6:54 pm
                                                                                                                                                                                 ,

                                                                                                                                                                                 2
            y
            .
                         AppointmentChangeKtotejSickcai
                                                      lcompleted513-20at6 51 pm byEar
                                                                                   ...,..s    jt
                                                                                       ahPose i
                                                                                              ,             -                   .
                                                                                                                                .
                                                                                                                                                   .

            *                                                                                                                                                        x
            6                                Chanv    z,
                                                       5tv'ote T#-peë
                                                       .             l                             a
            F                                                        tC:oimp(eted A'ppc1i3tr'3,E.ints                                                                           2
                                                                                                                                                                                *
            1,                               '
                                             v'
                                              -er
                                                -,ariwoat.
                                                t             'crDate'
                                                          '!o*'      t
                                                                      05-1J'-z
                                                                             '
                                                                             h.02().
                                                                                   12.'Ou
                                                                                        r'a1-,
                                                                                             -,                                                                                 t
'
            ,                                   Change hiote Ey Pxosa,Q      warah             .
                                                                                          .
                                                                                                                                    .                                           ''
                                                                                                                                                                                h
                                                                                                                                                                                1

                AppoinimentScheduledDate 05- 13-2020                                                                            '
                                                                                                                                            j
                        AppointmentCreated Date 05-10-2020 7:49 am                                                                          j
                         Appoint                                                                                                            '
                                                                                                                                            j
                                    m entDescription V/S Q shiftAM
                             AppointmentCategory Vi    talSi
        l                                                   gns
                            Priority (1=High, 5=Low) 1                                                                                      f
                                                      ..   -  .. .
                                                                                                                            .
                                       currentstatus compfetad                                                                              b
                                                                                                                                            !
      i                      Requested by Patgent? No
                                                                                                                                        i
                               AppointmentsetBy lJor    dan, Hannah         '
                                                                            4
        AppointmentLastModified By Jordan,Hannah
         LastModified D                                                    j
                         ateand Time 05-13-2020 6:29 pm
          Appointm entCompleted By Jordan.Hannah
            Com pleted Date and Timê 05-13-20206:29pm
                                                                           /
           AppointmentChangeNote pl   eas
                                          e see v/s flow sheetforAM vitals
    1                                ChangeNoteT                                                                                    w   j
                                                ype CompsetedAppointments                                                               1
                                     ChangeNoteDate 05-
                                                                       13-202012:00am                                                   I
    cso-medical
              /Modul
                   es/chafhistol,php                                                                                                    i
                                                                                                                                                                                                                                                                                      44/70
                                                                          ww,u-svlrx - n zltpcljIL',
                      Case 1:20-cv-23783-MGC
                      (         ChangeNoteByjJordanDocument 1:/-
                                                           ott :bEntered  on FLSD
                                                                  )IAN-#wCSO2       Docket
                                                                             OJBNOOO6         09/11/2020
                                                                                     29(10-24 1             entPage
                                                                                               976)::FullPati          161 of 276
                                                                                                               HistoryIv5                            -

                                                    Hannah               #        ,                                      5.0                             .




                        AppointmentScheduied Date 05-                                                                                       J
                                                      14-2020
                          AppointmentCreated Date 05-07-2020 1. .                                                                  .
                                                                                                                                            q
                                                                                                                                            jx
                                                                                                                                             j
                                                                .46pm                                                                       y
                  '
                                                                                                                                            6
                                                                                                                                            ,
                              AppointmentDescriptionjNeedsInitialHeal
                                                                    thAssessmentj
                                                                                t
                  j             ApplintmentCategoryjRNAssessmant                1                                                           .

                  1 Priority(1=High,5=Low)j                                                                                                 .
                 1
                 i                           Curi
                                                -ontStatus Rescheduled                                                                      ;
                                Requested!
                                         :
                                         >yPatient?1
                                                   .No                                                                                  1
                                                                                                                                        .
                                   AppointmentSetBy/
                                                   'Morgan, Joanetta                                                                    '
                  ,AppolntmentLastModlfied By4Rose,Sarah
                                               y
                    LattMcdtfled Dateand Tlrne#:05-                                                                                    q
                 y;                                 15-2029 1:34 am                                                                    a
                                         k
                 y AppointmentCompletedBy:INI
                                            /A                                                                                         ..

              t          CompietedD                                                                                                    4
             2
                                   aieandTimeël
                        AppofntmentGhange Kt
                                              xi
                                               /A                                                                                      '
             ,
             r=                                                ots jRescheduled Appoi           ntrnent                                1
             ;                       t7U'ë.rhg..r.-.bSCr.r+ 7-$/rz+ '
                                                                    ?R' f
                                                                        :
                                                                        5c:-1
                                                                            ' ;
                                                                              F.
                                                                               1
                                                                               ,-
                                                                                '
                                                                                ,1
                                                                          k. , - .Jl p.
                                                                                      r 'e (7r.
                                                                                              f'
                                                                                               'I
                                                                                                17'
                                                                                                  ..-,-,+.7fq
                                                                      .                . -.
             '
             ,
             k                      'TL'hcrq.g/.F Fkicl't.yDafs l&   -t5-'5-@r lalt'))'i2':3.7y'm
             '.                         (...hanre iiote Bp r'      .FhTse. Jnary'er
    '



             $
             j AppointmentScheduled Dat $.                                                                                    98
             t                                               ej05-74-2020                                                  #
             .
             #
                      J71
                       ':8f7intmeniCreafedDate!j05-10-20207:z29am                                                         i
                                                                                                                          ;,
             ;          AppointmentDescriptionj,WS Q shi
                                                       ftPM                                                               ;
                                                                                                                          ;
             /            AppointmentCaiegor'y;VitalSi
             j                                       gns                                                                 ,
                                              h
         ;
         )
                         :
                         rl
                          -;o;.
                              ;t;.
                                 '('=i-
                                      ;jêi
                                         -.
                                          ):
                                           5=Lck.'
                                           '     / '.                                                                    'F

         i                                 CurrentSt             C-
         t            ..-.-.-...---...-... .           atust
                                                           ,'Rescheciuled                                                )>)
         l                p               .j ;
                                                            .---... ... . .... .. . .
                                             ,.rs p j,; ja ,;;                           . ....... ...                    '
                                                                                                             ..-..........i
                                                                                                                         tt
         #
                                              r'
        j
        '
                              AppointmentSetEy1
                                              .Js' a,F'zankcall
                                              j 'cla'                 .
                                                                                                                       g'
        p.5p
           .p6.4.
                7r!fme''!tLaSt?t4         . .o(.f?.ed By.
                                              'i        iQose. 6aral
                                                        ..
                                                              x    .             n                                     1'
        ..            fied Date end Time t,Cls-l5-2020 5 34am
              t-astModi                                                                                               ;
                                                                                                                      j
                                                                                                                      #
                                                             r                       .

        ) AppointmentCompleted8yk!N!/./2                     .        .
                                                                                         . .. ..         -    ........

                                                                                                                     C
                                                                                                                      j
                                                                                                                     j
        i'
        e-'-
                    t'Com pieted Date and Tirr;et$b/,k
              ....... - ...   ..   ..         . .. . .. . ..- !
                                                                                                                     '
        .
        ;     AppoinimentChange i                       :oie.Rescheciuleu
                                                                               .      .           .        '!
                                                                                                 ntment 4
                                                                                                           .
                                                                                          Appoi
                                                                                                          ,
                             ChangcHoteTypc'Reschedul                              adA                    .
                                                                                                          ,1
                                                                                                          .

                                                              t.
                                                              .         .                . .
                                                                                              ppoi
                                                                                                 at mc
                                                                                                     -ct
                                                                                                       s  .
                                                                                                          ;
                             changeNote Date 05-15-2020 12:00 ar'                                 n       l
                                                                                                         jE
    1....--.                    Cha
           ..-.-.- --.- .- --- --     nge Note By Rose, Sarah                                            fl
                                   - - - -- -..-.- -..-
                                   .
                                  -.                         -t
                                                              .-.-..- .-..- ...-- .- ...- .....-         t

     AppointmentScheduled Date 05-14-2020
       AppointmentCreated Date 05-
   4                               10-20207;49am                                                                                                 1
        AppointmentDescription V/S Q
                                      shi
                                        f
                                        lAM
   k               AqpcirptmentCategol '
                                       y:VitalSigcls                                                                                             j
                  Priority(1=High,5=Low) 1                                                                                                       1
                  CurrentStatus Completed
          Requested by Patient? No
            Appointment$etBy Jordan, Hannah
   AppointmentLastModified By ' Godbolt,Arrlber
    LastMcdified Date and Time 05-14-2020 7:01am
     AppointmentGompleted By G
             CompletedDate and Time 05-
                                     od
                                      1bo2lt
                                       4-  ,20
                                           0Am7'
                                               ber
                                                01am                         .
                                                                                                                                                 1
Acso-medical/Modules/chafhistol .php
                                                                                                                                                             45/70
                        .- - - -
                                        wuucu,vlrx -rx/lule IIu ,
                    Case 1:20-cv-23783-MGC       Documentote      1mzEntered   on FLSD
                                                                      lIAN -#wcsO2O       Docket
                                                                                   JBNOO0629(10-24-109/11/2020
                                                                                                    976)::Ful
                                                                                                            lPati  Page
                                                                                                                    st 162 of 276
                                                                                                                entHi
                    j AppointmentchangeNotejSickcalcompleted5-14                                                                                     -                                                                                    ow lv5.5.0
                    !
                    . .. .....
                                               t::'1:11îl'-1.912h1'.!t:)1:t2h-FVP$5: $:
                             . . .. -... .. ....- .-.                                            5:t:'l-1-'3:'1tE'ted A9- -R...-0il-'l:l-1-1çïtntS    20at7:01arnbyAmberGodboltj
                    '                           Ch                                         k
                                                    ...--..--..-.--.--.-.......-...-- ....... ..
                                                                                               .-
                                                                                                -..--...--.....-...----..-----..
                                                                                                                              ---...-,.,,-....-.......-..-....-..., ......-...................-.............. ...
                                                                                                                                                                                                                ..,........,
                                                                                                                                                                                                                          .-
                                                                                                                                                                                                                           ...---,-
                                                                                                                                                                                                                                      1
                    I                                  anjeNot
                                                             eDatej05-14-202012:00am
                                                              .

                                                    change Note By Godbol
                                                                        t,Amber
        d
                                                                  y                                                                                                                                                                   y
                                                                                        e
                tAppointmentSchedul
                                  edDatej05-15-2020                                                                                            jt
                                                                                                                                               .


                             AppointmentCreated Date 05- 10-2020 7.
                                                                  .49 am

                )
                ,.              AppointmentDescription V/S Q shiftPM        .
                                                                                                                                              1
                j
                .           .
                                                      j
                                                      .
                                  Appointm entCategory VitalSigns
                                                                                                                     ..        . . . .
                                                                                                                                      .       j
                                                                                                                                              y
                                                                                                                                              .
                ,                                                                      :                                                      .
                                    Prfority(1=High,5=Low)t1                                                                                  j
                                                                                                                                              !
                                           CurrentStatus Deleted                                                                            t
                                                                                                                                            k
                                                                                                                                            .
                ;                   Requested !
                                              2yPatient? No                                                                                 :
                                                                                                                                            /
                                                                                      !
             l                           AppointmentSetByjJordan,Hannal
                                                                      n                                                                     C
                                                                                                                                            T
            i
            .APPointmentLastM odified By lMorgan,Juanetta                                                                                   ,
            ? Lagtf                                                                                                                        k
                   s
                   cl
                    odi
                      cn
                       ed sate anr   rimll ,.-
                                   .
            ;                      .'    t'05-.î5-202û 6.
                                         E              .36am                                                                             à(
            : L.c.oa',7fi'nt.
                            'k-@k                        il                                                                               1
                                'u's-cra7;IG'i'fqo'5.$.- l1x'
                                                            .t
                                                             ',-
                                                               ''                                                                         .

            7
            .               t.e.C)r,Aci(e,:.'e.c-.r?asie a:rn,
                                                             .f '
                                                                i-lrr:e-
                                                                '      :;x:/.'
                                                                             -T.                                                          '
                                                                                                                                          '
                                                                                                                                          '
                                                                                                                                          ,
            L           .            .                                     .        ;; .
            r           :o.rzrytzrnt$rtef'?iC.f-lr:re'
                                                     tj'!e h-ol'
                                                               .e.rc'ur''icete
                                                                                              .
                                                                                                      t                                  .'
            '
            ;.                            '-:
                                          -
                                          w .-.ak
                                                -.
                                                 ga ku,czk,'
                                                           b-'
                                                             bypc-,.,rueaij
                                                                          i
                                                                          i;
                                                                           -'
                                                                            fq
                                                                             b:z Ak  T
                                                                                     ,-'
                                                                                      ôl
                                                                                       :,ii
                                                                                          -it
                                                                                            jh
                                                                                             -v-
                                                                                               i
                                                                                               l-
                                                                                                pk
                                                                                                 ô   )
                                                                                                     '1
                                                                     . .            ., . . l         j
                                                                                                     .
            i
            l .         .       .
                                           -hange Note.Dater
                                          fr                        '05-15-2020 12.00ana i
                                                                                          .
                                                                   jl
                                                                    ;r      .. . . .             . j
                                             Ckkanga NoteBy;Morgan, Juanetta                         '
                                                                                                   ;:.

        dA                   i
        7 rzrzontmentScl-
                        deduledDate:05-15-2020                                                                                                 j
        p
        !            Appointmentcreated rtcto: 05-10-2020 7.49arn                                                                              ;
                                                                                                                                               >
        ;                                    f.
                                                                                :
        )
        l
                        AppointmentDescriptionj
                                              ,
                                               V/SQshiftAM                                                                                    t
                                                                                                                                              4
        ;                    AppointmentCategory jVitalSigns                                                                                  1
        T                   PriorI                                                                                                            j
                                                                                                                                              '
        ;                        ty(1=High,5=Lcvk'
                                                 )l
                                                  jt                                                                                          h
                                                                                                                                              )
    t                                         currentstatusk
    '                        .                             , con
                                                               ,plete:                                                                        t
    t
    j                        Requested by Patient? No                                                                                         #
                                                                                                                                              $
    i                                                                                                                                       l
              Appoirltn-lentSetE!y5
                                  ,I
                                    Jordal),hannah
    tAppoictmentLastModifiecfb5.->hàorggn Jëlsnetta
                                                                                                                                            j
                                                                                                  ,                                        ù
             LasiMouifieuDaieandYime(05-15-2020 8'.J9 am                                                                                  :
                Appointm cntCompleted DyjMorgan,Juanetta                                                                                  k,
                    CompletedDateandTime 05-15-2020819am                                                    .
                                                                                                            .
                                                                                                                                         6
    ?
                AppcintraentChange Note done andrecorded                                                                                 d
                                     Change NoteType Compl  eted Appointm ents
                                     Change Note Data 05-15-2020 12:00 am
                                         ChangeNoteByjMorgan,Juanetta                                                                  j

     AppointmentScheduled Date 05-15-2020
   . AppointmentCreatedDate 05-07-20201:
                                       46pm                                                                                                                                                                                     j
                                                                                                                                                                                                                                1
                AppointmentDescription Needs DentaiVisualScreen completed by Mid
                                                                                -l
                                                                                 evelPrmvider
                  AppointmentCategory DentalVisualScreening-Mid-ievelProvider
                    Priority(1=High,5=Low) 1
                            CurrantStatus Corrlpieted
                                                                                                                                                                                                                               '
                     Reqnested by Patient? No
                            AppointmentSetBy Morgan,Juanetta                                                                                                                                                                   1
   AppointmentLastModified By Shear                                                                                                           .G                                                                               j
                                    , Amber

wcso-medical
           /Modules/chafhistol .php
                                                                                                                                                                                                                                                       46/70
                                                                                                          ww,u-lvl.x- rx-u?c IIo,ocozAaEntered
                                                                                                                                       II><IN -PVVUbt
             !Case
               LastM1:20-cv-23783-MGC
                    odifiedDateandTim/j05 Document 1                                                               -
                                                                                                                                                   on
                                                                                                                                                    .
                                                                                                                                                                                                      JZtFLSD )U6Docket
                                                                                                                                                                                                         JJ:NUt  Z:(10-24-109/11/2020      Page
                                                                                                                                                                                                                                            storyIv163
                                                                                                                                                                                                                           976) FullPatientHi      5.5.0of 276
             j                           15-202012:48pm                                                                                                                                                               j
                        ApqointmentCompletedBy Shear, Amber
                          Co                                                                                                                                                                                         :
                            'p-pleted oate andl
                              -.-
                                              .imejcs-!5-2c2c12:
                                                   - .-       .48pm                  .                                                                                                                               j
                                                                                                                                                                                                                     .
                         AppointmentChangeNofajSeeScannedDocuments
             !                                    ClnangeNoteTypejCompl
                                                                      etedAppointments                                                                                                                              j
                                                                                                                                                                                                                    j
             '

             '
                                                  ChangeI
                                                        çoteDsteà05-15-202012:00am                                                                                                                                  ,
                                                       ChangeNoteByjSheaqAmbel
                                                                             '                                                                                                                                      j

             !#.ppo'
             '     !ntmentScheduledDate10515-2020                                                             -

            i
            k           AP?ointnnentCreated Datei
                                                t05-07-2020 1:46 pl
                                                                  m
           .
           i: . Appoi
                 . ntmen   . t. D escription'NeedsIni    tialHeal  thAssessm mnt
           (                    .   .          1
                                               ?                                 ''
           2      .Xv
                    m-efqU7
                          .ntlMQntCatf/        JRr
           t                           o'
                                        NC'1%/r'
                                               N k1.h2St
                                                       :SSl-llerlt               '
                                                                                 ,
                                                                                  '

           *
           r    9rioritv f1=Hiub. 5=Low),q                                       l
                                                                                 f
         ;
         '
                                                        CurrentStatusjResrheduled                                                                                                                 i
                                                                                                                                                                                                  '
         j                       Reoue
                                    . sted 6y .
                                              :
                                              9atiente
                                                     ?j
                                                      !I
                                                       %1o
         r
         '
                                                                                                  .
                                                                                                  .                                                                                  ''' ' '.  k
                                                                                                                                                                                               u
         .             L.rkrbo)ri.î-rl'è(:zq'
                                       , ..  t&(r.$-Fxv  -Q ..k't/'.o;'c
                                                       .b ...          C,.6,'
                                                                            n .;'
                                                                                .'8'-'e:';%                                                                                                    .

        rf:rt:icfrltrr
        '            n6.r'tLg.sthJ     ?c' :jpfiecf. Q '
                                                     ..î
                                                          ;
                                                        r:Poçe!. C..y.rch                                      .       .                                                                      .
        :                                .              .
        , LesEiim6pl7ied.r-zat'e artct-,im e!               kl
        :                                                   't-'l!       .- '.1.2t-rs:zb :Rm
                                                                 .ïi-''6->t                                                                                                                   '
        '                                                                                                                                                                                     .
                      t            ew .                                                                                                                                                       .k
        ) A .;
             .;.
               .k-#G,;-ikl;&E;i.t w(>it-i7.i
                                            :.ff;kûrû'
                                                     1TL-y'''
                                                            ..
                                                            , I%'t'e.
                                                                    ..
                                                                     a
                                                            .
        1    r.<'..%r-op.s!n #m r# n .-fn< r.p-t'J =';,..-                                                                                                                                    j
                                                                                  .....r                                                                                                      M
        !                       LJ .t
                           w..j-.= '..$I.l?
                                          .-&.
                                    J w'.- v;..J Q .....
       l
       , - .- . ,   . .-. .. ...--:' .. ... . ..                                                                                                   =                   .           = :1
                                                                                                                                                                           = w'.'ar:   1
                                  1.Rescheou
       t AooolnkmeritChgnoe Not.e ?            4 leq,A                             .ntmelnt                                                                                           ..
                                                                                                                                                                                              r
                                                                                                                                                                                              .
                                                                              papo
                                                                                 ,oi                                                                                                          .
       t                                                             .......                                                                                                                  1
     l
     #                                     ianoeigotev.
                                          cl
                                           -            .r,
                                                      .5, e;,pescheclul  es -
                                                                              Appojotment s                                                                                                   ;
                                                                                                                                                                                              .
                                                                   .                            ; -z
     p
     .
     :
     >
      ...-                                Chano
                                              -ei
                                                koteDated..0o-I6--
                                                          .v
             .............. .....- .......-.....--......--.      702t
                                                                    7,ld
                                                                       ,-
                                                                          Ot
                                                                           n;
                                                                            ?r).
                                                                            .
                                                           .....-.......-.. ...l
                                                                              .-...-.... .-.... . ....... -.......
                                                                                                                                         .
                                                                                                                                                                                          j
                                                                                                                                                                                          Jt
                                                                                                                 - ... ..... .............. .-... -..... .-- . ..................... ,..-..
                                                       .ote ev t:Rose                                                                                                                     f'
                                                   .
     x                                         Cnance Ki                                                          , Sarah                                                                 y


     i ..%ppo?ntn-Jiri-:tS$:;:ttpd=;e-.G7)ae
                                           uf
                                            :
                                            zjiO5-'
                                                  i5-J
                                                     E
                                                     iO2l
                                                        o                                                                                                              d
    j AppoictmentGreatedDatel05.10-20207./12a;-.n                                                                                   .                                 .
                                                                                                                                                                      '
    l AppointmentDescriptionjV/G /.3 slnifi;3F;                                                    .                          .                                      ''
                                                                                                                                                                      .


    1
    .                     AppointmêntCptegory$Uital
                                                  'Signs                                                                                                            )
    t                 F!'
                        iol'
                           lty('
                               f=High 5=Loh');1                                                                                                                     '
    l                                           ()grrsntSt
                                                                                                                                                                    j
                                                                              att.
                                                                                 !st?Czmpieted                                                                      ;
    '
    l                    Requested by Patient'
                                             i*hlo                                                                                                                  '
    '                           Appointm antSetSy kJordan
                                       , Hannah                                                                                                                    ;
     AppointmentLastModified By Shaw, htaren                                                                                                                       i
      LastModified Date and T'
                             ime 05-
                                                                                                       15-202011:15pm                                             j
            AppointmentCompletedByjShaw,Karen
                 Completed Date and Time 05- 15-2020 11:15 pm
   j AppointmentChangeNote Seefs
                               owsheet                                                                                                                           j
                                   Change Note Type CompletedAppointments
                                   Change Note Date 05-15-2020 12:00am    j
                                                                          '
   j                                   cuarmeNoteByjshaw,Karen                                                                                                 j
                                                                                                                                                               '
    AppointmentScheduled Date 05-16-2020
      Appointm entCrgated Datg 05-10-2020 7:
                                           49am
             AppointmcntDescriptionj'
                                    v'/S Q sl
                                            -
                                            li
                                             ftPr
                                                vl
                   AppointmentC                                                                                                                                                                            j
                                                             ategoryVi
                                                                     talSigns                                                                                                                              1
                 Priority(1cu
                           =Hrig h,5=Low)11
                               rentstatusjcompleted
                                                                                                                                                                                                           .
                                                                                                                                                                                                           1
wcso-medical/Modules/chafhistol .php
             Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 164 of 276
            j
            >                RequestedbyPatient?jNo                                                                                                         j
            j                    AppointmentSetByj
                                                 KJordan,Hannah                                                                                             )
             AppointmentLastModifiedByjKever,Jeanne                                                                 -                                       l
                                                                                                                                                            2
                  LastModified Date altd Timej05-16-2020 8.
                                                          46 ps
                                                              Al
                                                                                                                                                            j
                   AppuintmentCompteted By Kever, Jeanne                                                                                                    4
                                                                                                                                           '
                    Com plsted Dateand Time 05-16-20208:46 pm                               j
            *      AppointmentChange Note Sickcallcompleted5-16-20 at8.
                                                                                            j
                                                                      .46 pm byJeanne Kever I
                                                                                            j
           ,                        ChangeNoteType CompletedAgpointments                                                                                )
           j
           l                        ChangeRoteDatgj05-16-202012:00ann                                                                              %j
           l                           Charkgalloto:4yll
                                                       laveri
                                                            -
                                                            ,Jeanne     .                                                                               j
                                                                                                                                                        f
   X
   '



           ?.
            h.r
              gC-1'Jt
                    ,ntmer!tRc
                            .. hedt.!.
                                     1er
                                       J.Date O5-1cn-r-p-
                                                        rhT
                                                          - O                                                                                           t
                                                                                                                                                        .

                   AppointmentCreatedDatej05-'
                                             i()-2
                                                 r02O-
                                                     /.
                                                      ,4'
                                                        .
                                                        9am                                                                                    '?
        C           r
        #           nppolijtrrleù.lk' Desci.'!pt
                        :..e                  .
                                                'i
                                                 'on'.'$//'S.(y.
                                                               '!sl'.1'I1
                                                                        :.t
                                                                        , .Aj
                                                                            s'ï/i                                                                       .
        j.
         m                                          ;
        î
        !             ADI
                        a
                       ** o 1n t
                               m   e  n-
                                       kCaic  -
                                              u  ore
                                                   '
                                              ** e #v
                                                    C Vi  ta l S 1
                                                                 (7
                                                                 h'ln   S                                                                               ;
                                                                                                                                                        '
                                                                                                                                                        :
        #                                                                                                                                               #
        g            lrl.t
                     :   h0
                          t:2.I
                              :(.s. .-.*y=;
                                          l-'!t
                                              ,C(d
                                                 $..;. .T..= $I.-G.,d:.%lr
                                                                  v.     .''
                                                                           d                                                                            >
       :                                   -
       .                                   ke                  &r8i.UEtl
                                               tl!#1-er!rl,>'<*'       tt.
                                                                         .x -.
                                                                                    . , .
                                                                                L)CO,-
                                                                                t    *7'e(:   .
                                                                                          1-:7C.                                                        '


       *               rttrf.'         .  çk.'ï#r'lrT
                             ttztzzïi.tQrt.
                                          k         rtrt:rl.r''.'C
                                                                 -.;.N!:?                                                                           ,
       .                      < a.
                                 ..C..
                                     ;>
                                      ..K'
                                         w..
                                           .-.dL-k-kâ
                                                    uwP S'
                                                         S.
                                                          uCk..w.
       j                     zkr
                               -p                        :      j...
                                                                .  jw.K..
                                                                        ..
                                                                         a.
                                                                          '.%.C Ql.-j.j'-l
                                                                              .tN        Ic...
                                                                                             lt.-i.I-.b&l
                                                                                                        2-i                                         ?
       z                                                                                                                                            j
       ,A ppo?ntmentLasf
       j                  -hfqodi
                                .f-ea-. Fyj
                                 .l        hKever, leenne                                                                                           :
                                                                                                                                                    f
       11
       ?
       !  Lastl'lodlfled Date anc. Tk
               f    -.                .
                                       rriek
                                           i05-1t
                                                .s2020 6:30am
                                                0-                                                                                                  '
                                                                                                                                                    ;
       k               .                                               '
       p
       '.
       f
       .         AppolntmentCompl
                               . eted Bv  qKever Jeanne
                                       .. .
                                       '
                                                                                                                                                   $
                                                                                                                                                   t'
                                                                                                                                                   j;
       /
             .    CompletedD'ateandTI
                                    'mêl
                                       dO
                                       j a
                                         '
                                         --'
                                           po
                                            --'
                                              za
                                               .
                                               O2Oo
                                                  '-:30am                                       .
                                                                                                                                                   t
                                                                                                                                                   *
                         .                                  e
       !
       .         Aopoq
                  . ntmentChano <e '
                                   .4ei  et;Slckcalicomplele'-iw-           .
                                                                                     -wieanne .Kever .
                                                               '7 'to-zo ato:Jk)am tnv              ' ,
                                                                                                     )
                                                                                                              ,..$ ,.x... . .., r...   .

       '                                                                                             j.
       l               Change NoteTv w. pe !
                                           j
                                            Co mp.
                                                 l
                                                 e ted
                                                     - Appoi
                                                           nt ment   s                               ?                                             ..

       t                        tanange Note uale rUt)-IU-ZUZU 12'
                                                                 .UU am                                                                            '
                                                                  '
       '
       r                           (-
                                    .-'
                                      .;
                                       iwvftnc   k.2              :kze .. r (
                                                     ':C .r..e.J!.ï
                                                   'C'                                                                                             f
       :                                     w*
                                              ,r ;                  i'
                                                                     USh'El,o6anne                                                                 t.
                                                                                                                                                   !

           AppointmentSchedtiled Date 05-16-2020
                                                                                                                               $
   k AppointmentCl'
   h              eatedDatej05-07-20201:
                                       46pm                                                                                    I
                                                                                                                               1
                                                                                                                               :'

   p              AppoinimenfDescripiion:NeedslnitialHeaIthAssessmente
                                                                     l
   !                Appolrrll
                            TpesliCaie:oi
                                        yjr
                                        . xl
                                        -Y77
                                           qlAssesspne'l(                                           .



                   Priority(1=l-
                               tigh,6=Law);1                                                                                   (
                  CurrentStatus Completed                                                                                      p
           Requested by Patient? No
             AppointmentSetBy Morgan, Juanetta
    AppointmentLastModi  fied By Rose, Sarah
     LastModified Date and Tim e 05-16-2020 4:58 pm
  j AppointmentCom pleted By Rose, Sarah
     Gompleted Date and Tim e 05-16-2020 4:58 pm
             AppointmentChangeNote CompletedAppointment                                                                      j
                           Change Note Type CompletedAppointm ents
                           Change NoteDate 05-16-2020 12:
                                                        00arn
                            ChangeNote By Rose, Sarah


       AppointmentSchedul
                        ed Date 05-17-2020
            AppointmentCreatedDate 05-10-20207:49am                                                                                            1
                                                                                                                                               ,
                 AppointmentDescription V/SQshiftPM                                                                                            j
wcso-medical/Modules/chafhi
                          stol .php
                                                                                                                                                                48/70
                 Case 1:20-cv-23783-MGC
                 j                               Document
                      AppointmentCategoryjVitalSig
                                                 ns       1                                                                           Entered on FLSD Docket    09/11/2020
                                                                                                                                                        (1(7-24--
                                                                                                                                                                1H/6)::HulPati  Page
                                                                                                                                                                             entHi
                                                                                                                                                                                 stol' 165
                                                                                                                                                                                     yIv5.5.0of 276
                                                                                                                                                                                               '
                                                                                                                                                                                               !
                                 Priority(1=High,5=Low) 1
                                    .                                                                                                                                                          )
                                                                                                                                            ,           x..   a .     -v      .v .            .
                 '                               CtlrrentStatusjComgieted                                                                                                                      ;
                                                                                                                                                                                               l
                                    RequestedbyPatient?jNc                                                                                                                                    @
                                                                                                                                                                                              .
                                                                                                                                                                                              ,
                          AgpointmantSetDyjJordan                          1                                                                                                                  ,
                                                                                                                                                                                              i
                1-Appointmen
                r
                ''
                                                     Hannah
                            tLastI/odified By Keveq Jeann
                                                                                           ,                                                                                                  .
                                                                                                                                                                                              ,
                                                                                                                                                                                              .


                                                                                                        e
                i LastModified Date and Timei05-17-2020 8:05pm                                                                                                                                !
                                                                          p                                                           -                                                    !
                                                                                                                                                                                           '
                '      Ap
                       . .poi
                            ntmentCompletedByj
                                             : Ke
                                                ver,Jearlne
                                                         .           .    . .
                                                                                                                                                                                          tki.
                                                                                                                                                                                          '



                I
                l           completedDaieandTime105-XX-XXXXXXX pm                                       .
                                                                                                        .
                                                                                                                                                                                          .y
                                                                                                                                                                                          j
                                                                                                                                  -
                V          .o'#.i:l.
                                   (:h.Z-vxl
                                          n..â'Z%w.h3UI.@. f.i
                                             .. . .
                                                               Ix0çG'jwICnC31I COi'
                                                             . . . . .... u       Tl)'  itou s.z-Ip-r-u
                                                                                     )Ii'             zéi10J05;)
                                                                                                               11-
                                                                                                                 11
                                                                                                                  2#SC)9
                                                                                                                       3I
                                                                                                                        -
                                                                                                                        1i-
                                                                                                                          1t   3r-j
                                                                                                                           fReVt
                                                                                                                           -
                                                                          ..w .... .....m..,......... ..................w...u .
                                                                                                                             ..w ...
                                                                                                                                   .......... .. ... ...... ...
                j                         changeNoteTypel
                                                        jCompletedAppointrnents                                                                                   -x . .... ....w p...''
                                                                                                                                                                                          1
                )
                t
                                          ChangeNoteDate@
                                                        '05-13-20201.2:00art
                                                                           n                                   . .       .   .        .                 ..v
                                                                                                                                                                                          t
                                                                                                                                                .         wm .    .....wsw w mw wxw
                                           cl-
                                             .ai-
                                                kçje l
                                                     çot
                                                       ,eap;kI
                                                             .
                                                             (ey
                                                               ,e,.. Jeaiaf-,e
   '                                                                                                                                                                                      :

            I #-
            ,  ur
                -,pointm entSciledu1ed Date l
                                            :()5- 217-2Q
                                                       u20
            )
                                      'kr.t1*j2çqà'..zliz,c;.-'p$t:Fa?'
                       X r$r:c;;rjz'nnb                               .
                                                                      ;rl=,-',r%-7ï
                                                                                  ''j717-./.2''
                                                                                              -;b''                                                                               .
                                                                                                                                                                                      r
            '
            7              L c:7c;ci.'m .er.6 Ih
                                               .. esc'
                                                     .-
                                                      i':;Y-C.(t.n k'''://..
                                                                           Q. Cw .îsh.lh.-iu't(../'
            i                                                                                                                                                                     .
                                .
            .                 r.ar7.opcfnae,41. o...pt.erac-rlz'u..h'.rta?!. .Q.il?rns                                                                                            ''
            .                                                                                                                                                                     >
            q               1 td%œiik3
                                     '/'1d=d*ù1'Gt1.QQlu.
                                                       'G:N
                                                          '''l54 '1                                                                                                               ;
            i                             0.                                                                                                                                      4
           j
           g
                                             %
                                             *'tzrrentQ
                                                      wtatuej
                                                            'Del
                                                               eted
           .                  Reouested bvPatient'?j
                                                   jNo                                                                                                                   '        .
                                                                                                                                                                                  .
        ?                                                                                                                                                                         a
       .
       !            Appol .
                          ntmentSetBvjJordan, Hannah                                                                                                                              '
                                                                                                                                                                                  '
                                                                                                                                                                                  (
       h
       .      .
       #
       t
       ' Anool
          '*  nt ment   LasfModl  ned Bv
                                 ....
                                             ''j!Jordan, Hannah                                                                                                                !
       p .
       . LastE  tioclfied Date anJ trme ir
                    ..              . . ,.      ' - .
                                                 Ob-:8-20205:00am                                                                                                             t
                                                                                                                                                                              :
       )   **
       ! .xpr>
             >-
              'rzfntm  sntC'
                           a r
                             n pl
                                c-t eHu.=k.-J'j'iN!IhN                                                                                                                        !'
       K              Uorrlot
                           . eted Date and )-im e?I tN!''',?A                                                                                                                 n
                                                                                                                                                                              .
       y
       t
       -                                                             1.
                     .Bx
                       p1.
       !
       :...              '-
                          :$
                           '01ntmentCh'  angecLvlc'te '(.un::u!rs if:ta:fh?kL%';s
                                                            .                   ?t;t;tlrr)t
                                                                                          r;1c-Ic-c. i,ri
                                                                                                        's no!
                                                                                                             'A
                                                                                                              ''a '
                                                                                                                  '-'
                                                                                                                    'u(r
                                                                                                                   ',  ia           e- .'..
                                                                                                                        ',l!cata tac!
        p                       o-iàarlge iMote','),p'er 1peleteeAppolrltnelerlis
                                                       , .-
       !,                                                                                                                              ''
                                                                                                                                                                             ..
       l                                ChangeHoteDate;z
                                                       ,
                                                        05-18-2O20 12.00 am                                                                                                  a
                                                                                                                                                                             '
                                                                                                                                                                             x
       Ii                                                           i
       ,                                 Ciyange Note Bygu,i
                                                           3'.
                                                             $.si-t,I-1ëhiqi
                                                                    .     .
                                                                           ay.A                                                                                              ?
                                                                                                                                                                             ;

       :                   Appointment.O5-'
                                          i8-2020

   l
       ) scheduledDate
           Appoiniment 05-16-2020 4:'i9 pm
                                                                                                                                                                                                        ë
                       Creaied Daie
   8                                                                                                                                                                                                    '
   l                   Appointment foIlow up afterhungerstrike.
   ;                    Description 'hungerstrike,anda chipped p tst
                                                                t00that
                                                                      testha
                                                                       hathetwoui
                                                                             heha
                                                                                dsIsj
                                                                                    ka
                                                                                     ewtopa
                                                                                          hinfrom previousl
                                                                                                          ybrokenjaw, backpainthathefeels isrelatedto
                                                                                           aveaddressed.
                       Appointment Mid-l-evelClinic
                          Gategory

   l Prîority(1
              5=Higb,1
               =Low)
   j             CurrentStatus Completed
            Requested by No
                 Patient?
         AppointmentSei Rose, Sarah
                      By
        AppointmentLast Jordan, Hannah
             Modified By
       LastModified Date 05-18-2020 1:11pm
               and Time
            Appoiniment Jordan, Hannah
           Compketed By

wcso-medi
        cal
          /Modul
               es/chafhistol.php
                                                                                                                                                                                                   49/70
                 iCase 1:20-cv-23783-MGC
                    Completed Date 05-18-2020 1:11pmDocument
                                                     '       1 Entered on FLSD Docket 09/11/2020 Page 166 of 276
                 i                  andTime                                                                                                                                                   j
                      Appcintment Si ckcallcompl eted 5-18-20 at:*
                                                                 .11pm by HannahJordan
                      Change Note
                                                                                                                                                                                              .
                  Change Note Type Completed Appointm ents
                  Change Note Date 05-18-2020 12:00am
                      Change Note By Jordan, Hannah
     d
     *
     '

                                                                                                                                                                                              j
              f
              f     .ntmentScheduled Date j
              4 Apprl                     !06- 18-2020                                                                                                                           j'
                                                                                                                                                                                  f
                                                                                                                                                                                 /
                      Appc'
                          i
                          pntn-tentCl-
                                     eatea'Da(e'O5-:8-2020 1..05 ptl-t
                       AppoI'
                            rttmentDescription 1Dipstl
                                                     'cl
                                                       sOA                                                                                                                       '
             d              .          .
                          nppojnt     .
                                                      yi
                                       nlent. Cat.egol- kNu1.se                                                                                                                  .
                                                                                                                                                                                 1
                                                                                                                                                                              ;
          ,
          r
          @             r'8!(::.1h'
                                  tjl(1=t71'D'.. )w.    j
          j
          '                            CurrentStatus Ccmpletc-cl                                                                                                              j
                                                                                                                                                                              k
                                                                                                                                                                              l
          *
          '                                                                                                                                                                  .
                                                                                                                                                                              1
                           Reqaested byPatient? Nlc                                                                                                                          1.
          k                                                                                                                                                                  :
          1
         l,
          r
          t
          .
          ...                Appoi'
                                  nt mentSetByi.''i,-'''lt.-i,..?!t i-ï.b!.,6a!.                                                                                             k'.
                                   .
         r #k.....mv: z.e..m ..& ) 4.Lr..
                                                                1
                                                                r
                                                                p                                                                                                            7:
                                                                                                                                                                             1
         .e-.?-.l.a,
                   .,.;:....i:'
                              2..wu.a;:w4k:wd..).z.Z',w..QR$
                                                           & v.j
                                                           ..,z >f
                                                                 ,:n
                                                                   xw.
                                                                     -v. C'.... î-
                                                                      wL,...rwi&t,                                                                                           7
         l
         ' . x '..J rr ..                                                                                                                                                    .
         .'
         j
                             ..
              u-$-..--;:.w'w.1kr)
                               s<,' e'NKr.-
                                  i.u,    .&T
                                            .-w
                                              .
                                                 ;.v..
                                                I'
          i-- '-zvn-=mow-vxv rnwwr-m 'ro=a-.= =.s.-;
                                                       .-.%e.,C,;..è
                                                     . ..
                                                                   :        .,.. n e
                                                                   '.'wn.rw'j..,-.-..,,,-..wn .,.ai..a..w e.....
                                                                                                             I'.                                                             :
         -                                                    '                                                                                                              ;
         e:
          -.-
               '-p
              >. x
                 !. .Z-'c
                   -'
                         ..
                          7rk(:ri
                                cc.-i:tw
                                       r-orri'>
                                              -.4lts..ueea':4v.1.*        1.oss .1 w:D'araIh                                                                                 '
                        - .- .-- - - -- .-             .-- ......-.-.*
                                                                     - .4
                                              .
                                                                         -..---.---- .-..-.---..- --.-...-....-..........--....- - - .--.-
         2        k''e
                     kcm p.    iztrf Jaç
                                       e +r and vy kcbb                     '.z uzr rr rt . r
                                                          ..m O rww lka-zfklatw 71.13 'pm
                                                                                                                                              . .. .- ..-.-...---        3
                                                                                                                                                                ...-.--..-
         i'-e--
         '                   ' ''                                    k w%vu= g-M-- =t-==w                                                                                    !
                                                                                                                                                                             .
         r                  *                                        x.
                                                                      t=':$.:'                      ma- 'n-u''u'
                                                                                                               w4''< 'su'':'w:.
                                                                             J='JJ.uz;'';= - =.= '''' 'z auitrzzJ zt'                  - ''
                                                                                                                     ..'...=.=J= '
         '
         11
          .              nentChanueHoiej)Sl
                  Appointk
                         -                .c.
                                            i
                                            tcailcoi
                                                   mpiet
                                                       'eo.5-,1zo-zu0,at, zIzl:zlo
                                                                h v.                     o.pr
                                                                                            noy . oar  .> an    .l  xos
                                                                                                                    ...- e i     $            .
                                                                                                                                                  -     .

         L
         t                       Chanue  KSotcTJ'ere Completed Xpool                                                                                                     .
                                                                 . l
         '                                                         .ntrl
                                                                     *
                                     .,- ..     t. j                   -lelnts                                                                                           :
                                                                                                                                                                        1.:
     k                           Chance
                                     - Note Date 05-18-   2020 12:00 2771                                                                                               l
                                                                                                                                                                        i
     j                              Chan          '                                                                                                                     j
     r                                  ge Nctc-ByjPxase,Earah.
                                                                                                                                                                        ..
                                                                                                                                                                        .



     FA              ointn-
     g qbp
     j AppointmentCreai
                            ie.
                            . ntSoheduledDate)
                                             j
                                               05-28-2020                                                         ....
                                                                                                                           i
                                                                                                                           ,
                                                                                                                           j
                                                                                                                           .
     j
                 .                                 edDaiej
                                                         #
                                                          05-27-202012:31pm k
                                                                            t                               . --- .
     !            AppoinimentDescription/dantis'   k                                                                   p
                                                                                                                           i
                                                                                                                           l
     k
                   Ap;';olntnki-ntCateusryrjDcoi
                                               -
                                               tList                                                                   i?
                                                                                                                       '

                                                                  .                                                    j
                     Priopity(1=HIgh,5=Low))1                                                                          ,
                                                                                                                       1
                                   '
                                    CurrentStatus Reftlsecl                                                          j
                                                                                                                     !
                                                                        u.
                                                                         omx x-ozav.xav'ut:..w<.a.w= .x,
                                                                                                       uk'
                                                                                                         .-.'''.. =:..
    i .     Rociuosteclby Patient?iNo                                                                            #
                                                                                                                 *
    l         A                       .    .                                                         .        - <j
                                                                                                                 ;
                                                                                                                 !
    i . . ... npoi
                '' ntment   SetBv
                          . ..
                                   1Jordall, HanI3a13
                                .* :
                                   .    .
                                                .                                      .                         .
                                                                                                                     j
    k                                                                                                                  d
    .Appointme
            . niLastModified By Godbolt, Amber
                                                                                                                     :
                                                                                                                     ,


    jLastModifiedDaieandTimej05               j                        -
                                                                            . .            . ..       ... . ... .. .


    )A                         28-202012:09pm j
       ppointmentCompletedBFlH/A              /
                                              j
       completedoateandvimex/A                j
              AppointmentChange Note Patientrefused
                            ChangeNoteType RefusedAppointments 1
                            Change Note Date 05-28-2020 12:00 am
                                                                                                                 i
                                changeNote By pGodboltAmber                                                      k


   AppointmentScheduled Date 05-28-2c2c                                .
      ppointmentCreated Date 05-28-2020 1:04 am

  1. .AppointmentDeseription VitalsfgnsQdayperaegjn'awartjltjp-c-
        Appoiottnentcaiegory vitalsigns          ''''''''''''' '' ' '''k
                 Priority('
                          l=High saf
                                   -ow) :                                                            ' '' '                       '      .
                                CurrentStatus compl
                                                  eted                                                                                ' -p
                                                                                                                                         l
          Requested by patient? No                                                                                                        9
Wcso-medical
           /Modules/chaœhi stowsphp                                                                            '            '- ''--'---
                                                                                                                                                                                      50/70
                                              w uuu-lvlla - rxzll-gc IIt-,,
                          Case 1:20-cv-23783-MGC        DocumentotM         1/lbEntered  on 0J
                                                                                IIAN -#WCSO2FLSD    Docket
                                                                                              BNOOO629(10-24-109/11/2020       Page
                                                                                                                                storyIv167
                                                                                                              976)::FullPatientHi      5.5.0 of 276
                       K
                       j
                      = =>r rn'   AppointmentSetB#jRose,Sarah                                     = *==.%m'''*''*.-'==='=N= ='=-=LY''L. '='-2X
                                                                                                                                                         - % '1'
                                                                                                                                                               -.M''
                                                                                                                                                                   *'M%&''*''* *
                                                                                                                                                                               '-*e*
                                                                                                                                                                                                    j
                      11'
                        /
                        '
                        C
                        -l
                         :
                         'p
                         L-
                          a.
                           0 i
                             ''
                              '
                              ''t
                                m .ntl
                                  t
                                  i  L..;E.ï!.'Lu odifi4:,d:jIIE
                           stModified Date and Time            !k5/,
                                                                   !
                                                                   I..
                                                                     9
                              ..,- ......-- ..---.--..,....,-.....--.,
                                                                      :
                                                                      .
                                                                      :(:,ï:;fE, s;Etra1-.
                                                                     - .-.......-....,.... ,.,... ....
                                                                                                     ....
                                                                                                              ,
                                                                                                        . ......-...
                                                                                                                   ., -.....,-.....,-...... ,......,......,
                                                                                                                                                                                              ''*-'
                                                                                                                                                                                                  ,
                                                                                                                                                                                                  *Y
                                                                                                                                                                                                   '
                                                                                                                                                                                                   *J
                                                                                                                                                                                                    1
                                                                                                                                                                                                    '
                                                                                                                                                                                                    j
                                                                                                                                                          . ,.... .. .,.,.. . . .,................-.-.
                                                                     05-29-2020 3:21am                                                                                                              '
                            AppolntmentCompleted By Rose,
                                                                                                                 Sarah                                                                                 1
                                                                                                                                                                                                       j
                                                                                                                                                                                                       '
                      t       CompletedDateandTime405-
                                                                                                         29-20203:21am                                                                                 )
                             AppointmentChangeNote completed                                                                                                                                           1
                                                                                                                                                                                                       '
                      '                                                                                                                                                                                11
                                       C
                                       Ch
                                        ha
                                         an
                                          ngeNoteTypejCompletedAppointments                                                                                                                        )
                                                                                                                                                                                                  ..
                   .
                   1                 . . geNoteDat. ej05-29-202012:00am                                    .                                                                                       j
          d
          '
          *
                  1
                  ..                .
                                                    t:ll'ange Note sypRose, sarah
                                                        .-      ..     .- - - -               .. - - .
                                                                                                     - .. .--        - -- ...-.-- -.. .. ...- -.. ...- . . .... ... - .. .
                                                                                                                                                                                    '--)           ...




                  '' A ppo1ntmantSchc-dusmd Date 7
                  L-                                         j05-28-2020                                                                                                                      ;
                                                                                                                                                                                              l
                  : .                                                                                                                                                                         j
                  g.     A .
                           -,
                            .                                2s
                  k     e'h-t
                           '.Au/jl1tI*1791:.k.itzoteu u/cwk= Kc
                              ..:. z.
                                    ,
                                    - -..
                                        - z r%.-
                                               - .
                                                 .z,
                                                   -r
                                                    z r
                                                      n . r.
                                                           ,
                                                           - .
                                                             -QJc
                                                                U-',
                                                                   <7.to rjc!e
                                                                             nn dclc.>alF
                                                                       J-AVILiJ laUu)ç ....i
                                                                                           .  1
                                                                                                                                                                                              n
                                                                                                                                                                                              )
                                                                                                                                                                                              >
                  '
                  v              -                                                                                                                                ... .                       h
                  .          Appol
                                 ntmentDescrlptlonécMporder
                                            ' '
                                                          eclperReginawardFqlp-c fc
              $                                                                            !d
              i,
              !
                                  AppointmentCategoryjLabDraw
                              pw ' v'' d t' Q
                                                                                                                                                                                          F
                                                                                                                                                                                          !
                                                                                                                                                                                          k
              ,               mrkclktytl=!-.lgh,w=Low)ij
                                                       k.''
                                                         I                                                                                                                                '
                                                                                                                                                                                              '

                                                                                                                                                                                          ,
                                                     C'rIe'rc e%ç:CcM-.p..4:cw. !;
                                                                                 '-'o..rsn.n1.nxhrzA
                                 =nC':r 4.'
                                     -es- Fm
                                          .-ê>
                                             -.vzD
                                                 . zL
                                                    -7
                                                     .'J'.
                                                         .-.$
                                                            -Q..'' r.'l.-ew                                                                                                               '
              .
              '                                                                           1
                                                                                          $                                                                     *
                                        5x'
                                        ,
                                        . ;-
                                           -'
                                            ;-
                                             Jclàr:trrler:f'wo-
                                                              .c
                                                               .:&
                                                                 -.;
                                                                   >
                                                                   -.'
                                                                     '
                                                                     J-.'
                                                                        'r
                                                                         i'
                                                                          L- ;C;Q'
                                                                           -CF  w:2'
                                                                                   .-
                                                                                    ;JJ
                                                                                      .7                                                                                                  .
                                                                                                                                                                                          '

             L.r''olnklmentLasi'Riociifieci;k'jQose .Saran                                                                                                                             4
           *   p -
                      v rr.--': .rt
                                 kdu-'p.u.rm.
                                           u-i.zu.w J
           ;. K''K'&av.kkw.u.                                                .z e'l rqehzx o .'q.  4                                                                                   6
                                                          ' .''-'.- . ' (
                                                    a-.k-w,...t   ikk
                                                                    -
                                                                    pj Ow     -
                                                                              i-a.i-zwz.p.    -),= i3m                                                                                ,
          '                                                                                                                                                                           y
          é Ap      -pointmentr            completed e.             p ;Rose woerah                                                                                                    2
                                                                                                                                                                                      :
          î         C.'.7rr!!:!!ete4  - Da'tcrg!r.H-. r. ;.m.. T'O5-2Q            w-2O203:218m                                                                                        f
                            -.
          1 Appol            ntmentr        --hange Not              1j
                                                                      4
                                                                      1
                                                                   eycompleted                                                                                                        1-
                                                                                                                                                                                      :.
                                                                                                                                                                                      1
          r
                                                                     i
          r
          k                      Chtande    w iN,'cte Tvoe           ,Connpleted ADpoi
                                                                     ?                              lntments                                                                          ë
                                                                                                                                                                                      *
                                                              . . j.                          .
          p                      0                                                                                                                                                   .
                                 wr.
                                   (*kL(RCwLG h2#C.z  iG u r:ZwùQ:y  )rkJ
                                                                        h.r.J-.e-p9-.
                                                                                    p-().
                                                                                        n$tg q.
                                                                                              r)..
                                                                                                 .
                                                                                                  g()ac-1                                                                            %'
                                                                                                                                                                                     ''
                                                                                                                                                                                     e
          1                         Change Note By FRose, Sareh                                                                                                                     t
  '



       t AppointmentScheduqed Patcp05                -29-2220                                                                                                                                                              1,
       t                                          k
                          AppcintmentCreated Date (05-28-2020 1..04 am                                                                                                                                                    j
                                                                                                                                                                                                                          i
                                                                                                                                                                                                                          :
       ?
                                                                                                                                                                                                                          j
       k                   AppointmsntDescriptfor, ?
                                                   . vi    pns oday perReginaw ard FNp-c
                                                       taisi                                                                                                                                                              t
                                                                                                                                                                                                                          ;
       Ir                                          .
                                                   l
                                                   ' .
                                                     ,
                             AppointmentCategcryjt/italSigns                                                                                                                                                               .




      '
       t                   Priority(1=High,5=Low).1                                                                                                                                                                     j
      )                                        CurrentStatus 'Coll-lpleëed
                                                                                                                                                                                                                        ;
      j                     RequestedbyPatient? No                                                                                                                                                                       :
                                                                                                                                                                                                                         t
                                                                                                                                                                                                                         .1
                                                                                                                                                                                                                          I
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                          '

               AppointmentSetBy)Rose, Sarah                                                                                                                                                                              i
                                                                                                                                                                                                                         p
       AppointmentLastModified By Morgan. Juanetta                                                                                                                                                          =.= r
                                                                                                                                                                                                                -   - .--1

              LastModified Date and Time 65-29-20208:38 am
              AppointmentCompleted By Morgan, Juanetta                                                                                                                                                                 j
      , CompsetedDateandTime 05-29-20208.38am                                                                      '
                                                                                                                                                                                                                       1
      4 #ppointmentChangeNotejSicltcallcompleted 5-29-20 gt8:38 am byJtla
                      *                                                                                                                                                                           netteMorgan i
                                   Change NoteType CompletedAppointments                                                                                                                                               ;
                                   Change Note Date 05-29-2020 12:00am                                                                                                                                                 j
                                    Change Note B# Morgan                                                                                                                                                             j
                                                           , Juanet
                                                                  ta


    AppointniefllScheduied Date 05-30-2U20
      AppointmentCreated Date 05-28-2020 1:04am
  .    AppointmentDescription 1!VitalSignsQdayperRegi
                                                    naW ard FNP-C
                          AppointmentCategory Vi
                                               talSi
                                                   gns
wcso-medical/Modules/chafhistol.php
                                                                                                                                                                                                                                51/70
                  Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 168 of 276
              j Priorit:(1=High,5=Low)11                                                                                                                                          j
              1
              $
              F= =
                       ' currentstatus completed                                                                   =
                                                                                                                                                                                  j
                                                                                                                                                                                  $
              j                   RequestedbyPatient?jNo                                                            -.-                                                           j
                                     AppointmentSetBy Rose,Sarah                                                                                                                  1
                                                                                                                                                                                  .
              lAppGintm entLastModifiedBy MOrgan,Juanetta                                                                                                                         1
                                                                                                                                                                                  y
              j LastModified DateandTin-
                                       ie 05-30-202010:08ann

              ' CompletedDateandTimej05-30-202010:08am
              j                                                                                                                                                                   l
              i          AppointmentChange H
          i                                          oie1Sickcalcompleted5-30-20at10:08ar'
                                                                                         nbyJuanettaMorganI
          l                            Cl
                                        -
                                        tai
                                          -tger
                                              tctk-
                                                  iTypGigCoi-apletedAppoii
                                                                         -
                                                                         strcents                         ;
          1                            ChangeNc.teDate105-30-2020 12:00am                                                                                                         1
                                                       ,                                                                                                                          y
          .
          j                             Change Note By )
                                                       FMorgan,Juanetta                                                                                                           r
     '



          1
          . Ar
                                       '
             apointrnentScheduied bate d
                                       .1
                                        36-31-2020                                                                                                                           :'
          3              AppointmentCrmated Datej
                                                g05-28.
                                                .     -2020 1:04.am                                                                                                          1
                                                                                                                                                                             )*
          '
          .               5.,
                            -.g'Fzr.n.fr;-tc=rkr$
                                                '-).(F:I:Li-;r.
                                                              !r'.6.2(-k
                                                                       .r,:
                                                                          ''s,?;t;!(;tQ
                                                                                      .iL-î
                                                                                          %-'t!t-w.;f1.Fk:i'ï;o'
                                                                                                     .:        I- .eC%'l-':.
                                                                                                                --'        El:
                                                                                                                             ..'
                                                                                                                               h.'  .i'
                                                                                                                                 T;:' '-'7-'
                                                                                                                                           vx'
                                                                                                                                             .-
                                                                                                                                              k-'--
                                                                                                                                                  .                          '
          '
                              L7rchpntmenft.atqgc.rn.'f'
                              .                                   .zF1?!Fll7ns                                                                                               r
          ;                                                     ..                                                 -'
          -                F7l-icrr-it).t''r
                                           '=1.-1igi!1c.=r..ot
                                                             q-).
                                                                7' ,                                                                                                         .
                                                                                                                                                                             .
                                                                                                                                                                             '
                                                                                                                                                                             :
         ..                                  xw            r. .. j       .                                                                                                   pl
         !                           wùi.ii-i,.v.kCt&tui.jua               :z.
                                                             czs-isfprdkif;!                                                                                                 r
                                                                                                                                                                             .
         '
         :
         '
                              Requested 1:':,Pctlc  -:
                                                     1t? û
                                                         j
                                                          Na                                                                                                                 i
                                                                                                                                                                             )
         t
         t                         AppokntmentSetBy ;Rose,Sarah                                                                                                              :.
         l
         :ADDointmentLastModifi
                              edBvjMorqan. Juanetta
         j *                                                                                                                                                                 l
                   ''
                  ....
                                 *1 ' u'' '
                                         .          .. . .
                                                                                                                                                                             ;
                                                                                                                                                                             ;;
         ! LastModised Date and Time 05-31-20209:27 an1                                                                                                                      k
                                                                                                                                                                             '
         ! Appointm entCompieted By riviorgan, Juanetta                                                                                                                      i
                                                                       j1
                                                                        I:                      ..
         j CompietedDateandTime 05-31-20209.
                                           27am                                                                                                                              !
                                                                                                                                                                             ?
         k           AppointmentChange Note1
                                           .Sickcallcomol
                                                       'eted 5-31-20at9.
         .                                                                                       i
                                           i                           .27 am bv
                                                                               ' Jt
                                                                                  -l
                                                                                   ynetfahlorgan ù
         :
         j                           ChangeRoteTypeè)CamplstedAppoir
                                                                   -
                                                                   Itl
                                                                     .l
                                                                      -
                                                                      lel
                                                                        -:Ls
         ;'-F                                                          @                                                                                                     #
         k
         D                           Ghang'
                                          eléoteûatej
                                                    'û5-31-202012.
                                                                 .00am                                                                                                       .
                                                                                                                                                                             1
                                        Ghange Note By Morgan,Juaneda                                                                                                        k
 '


         r AppointmentScheduled Date10$-01-2020                                                                                                                          '
                   AppoinimentCreaied Cieie 05-28-20201:04am                                                                                                             k
                                                                                                                                                                         -
                                                                                                                                                                         J
                                                                                                                                                                         j
                         Appoi
                           .  .
                               ntment Dzscription1:Vi
                                    . . . .. .
                                                    talSi
                                                    .   .
                                                         gn.s Qdaype:ReginaW ard FNP-C
                                                                                                                                                      . ... .   ..   .   l
                                                                                                                                                                         j
                           #.7pointmentCdtegory Vi  talSignE                                                                                                             2
     d                   Priori
                              ty(1=High,5=Low)1                                                                                                                          j
                                          CurrentStatus Completed                                                                                                    j
                           Requested by Patient? No
                                  AppointmentSetByjRose,Sarah                                                                                                        t
                                                                                                                                                                     T
     lAppointmentLastModifiedBy Godbol
                                     t, Am ber                                                                          .                                            1
              UZ
              . .
                  V Zodi
                     .
                       fi
                        .
                         PdCZ  tCZ.Rd
                            . -.- .....-.
                                               Yimp U6     . .w-
                                         -.....-....-...-4g-
                                                       .
                                                               01 -2020
                                                               w .> ..
                                                                            6: 39.a
                                                                      ..srauepgwemv.q
                                                                                      m
                                                                                    m=v..w.. .
                                                                                    x
                                                                                                                                                                     i
                                                                                                                                                                     -
                                                                     #                                                                                               ;
              AppointmentCompletedBy Godbol
                                          t,Amber                                                                                                                    )
                   Completed Dateand Time 06-01-20206:39 am
                  AppointmentChange Note Sickcallcompleted 6-1-20at6:39am byAmberGodbolt
                         Change Note Type Completed Appointments
                                   ChangeNote,Date 06-01-202012:00am                                                                                                 1
                                                                                                                                                                     %
                                                                                                                                                                     '


                                      ChangeNoteBy Godbolt,Amber                                                                                                     1
         AppointmentScheduled Date 06-01-2020
wcso-medicat/Modules/chafhistow.php                                                                                                                                                   52/70
             w., , .ze- w ..
                                    w           -z
                                                 ,o cts/'N,                                                       wczluutvll'x - CN/-NUJ:L lIk
                    Case 1:20-cv-23783-MGC Document  1 '.oEntered
                                                            $I/AIN -BVVSZ
                                                                         Ion
                                                                          D
                                                                          '    FLSD
                                                                           LIZUJ        Docket
                                                                                bINUUCJbZH(1U-24-109/11/2020
                                                                                                  9Tö)::FtllPati  Page
                                                                                                               entHi  y 1v169
                                                                                                                   stof   5 of 276                                   -

                  j AppointmsntCreatedDatej06-01-20203'18am                                                                                                                                                      5.0
                                                                                                                                                                                                                 .


                  t                 Appointme                                                                 2
                                                                                                              ,
                                             ntDescriptionjSICKCALLREQUESTINGTO'SEEIF$STCLLHAVEWATERINMYLUNGS''
                                           AppointmentCategory4
                                                              jSickCallNurse                                                                                                                                j
                                                                                                                                                                                                            )r
                                      Priori
                                           ty(1=Hi
                                                 gh,5=Low);'
                                                           !                                                                                                                                                4
                                                                                                                                                                                                            q
                 '                                                CurrantStatusjRescheduled                                                                                                                j
                                                                                                                                                                                                           i
                '                         RequestedbyPatient?jYes                                                                                                                                          i
                #..-,......--........--..........-...A....-p..-p--o..-.i-n-...t.-l-.-'r.'..(,-E,--n,-t....s,....e,,.-t,.i,E.!.;..)k.r...
                                         j
                                         (..
                                           !
                                           -
                                           (
                                           :f
                                           .E
                                            .
                                            ,
                                            .h
                                             .
                                             ,
                                             -
                                             .t
                                              E.
                                              .,;
                                                ,...
                                                .  ,
                                                   ..
                                                   '(
                                                    E
                                                    ,ë
                                                    .5!
                                                      .
                                                      r
                                                      ,
                                                      -
                                                      .,
                                                       .
                                                       r-
                                                        ,t.
                                                          i
                                                          , ..--                                                                                                                                           2
                1A ointmentLastM odified By1Godbolt   .                                                                                                 .     ..         .   .-... .   .   .       .       -
                                                                                                                                                                                                           j
                L..
                  PP                     2           Am ber                                                                          ,
                                                                                                                                                                                                           1
                                                                                                                                                                                                           i
                                                                                                                                                                                                           /
                l
                î
                  LastModifiedDateandTimej
                                         0
                                          06-01-20205:16am                                                                                                                                                 k
                                                                                                                                                                                                           j
                , AppokntmentCorfipletet
                                       sBy:i4/A                                                                                                                                            '' -            '
                                                                                                                                                                                                           #
                j            Ccm pletedDateandTime1
                                                  jN-/..t5-                                                                                                                                                1
                                                                                                                                                                                                           1
                )
                :
                j           AppointmentChangeRote!j
                                                  't
                                                   askcategorychanged                                                                                                                                      j
                                                                                                                                                                                                           7;

             :
                t                                  ChangeNoteTypejResclneduledAppointmenls                                                                                                                 l
                                                                                                                                                                                                           t
             ;                                      Chai
                                                       -/ge Note Date;06-01-2020 12:
                                                                                   00ai
                                                                                      h-
                                                                                       l
             (-                                                                                                                                                                                         :
             h                                       cnange Note ey )Gocfbolt, Amber                                                                                                                    if
             p'                                                                                              :                                                                                          !'
   *
   '



            ' .f
               -'
                .rxm,
                    npmï'e.rs(z.m.
                                 FQ r7P;%rtrri0.6                                         C$IrT'I
                                                                                                Z- i'GG-Cl-:-'7.f1'Jtt
            e                                                                       .
                                                                i'
            ?
            .             F-'-Lc-r-orrrzrrrer!-tl-
                                                 .reare':lLhete''t,G-'''''-z',,.tr!?J'',tlam
                                                               ''                          '                                                                                                           .
            .                                                                                                                                                                                          '
                                                                                                         ,1
            l . n.
                 uok
                   4.
                    z.i'p'k.k-l-.ai1kK.aii
                                         s:rxisi.l-d,ukko k'.1<%Ivwrk't.#xI1 rxct-tt';1-'o I,Ix,ku
                                                                                                 ' tt'p qpc'1
                                                                                                            --
                                                                                                             - lr
                                                                                                                - ,o .It.u rn,.nb.t!                                   :
                                                                                                                                   :: vvm !u-.f-
                                                                                                                                               k' l!.!lblt1 I
                                                                                                                                                            --lz!
                                                                                                                                                                $!Ka.
                                                                                                                                                                '    0 j
            g     6-.r-..q;1-Aro.(  y:-..j'''ezz 'vew,ex,éj#itj.(                                                                                             -    -
                                                                                                                                                                   '
            i                      ' '1'l                                                                               .   gjygj6Nj;g;g                                                               /
            k                  ;';ri
                                   ,
                                    c!ritjl(-
                                            !ztF1ia(3811 i$nzk-(h!kf)k1                                  .
            )                                                                                            J'                                                                                            i
                                                                                                                                                                                                       .
            i                                              t---t)rrer.,tw
                                                                        tteft.fs;Colmol
                                                                                      eterf                                                                                                           ?d
        l                         Reouestecibv
                                             . Fat
                                                 iel
                                                   -
                                                   it
                                                    '7.i' Y'
                                                           es                                                                                                                                         d
        y
        '
        i
        '                           &                  ir
                                                                                                                                                                                                      '
                                                                                                                                                                                                      q
         p
         ç
         :            ArwpointmentSetBy #btezb'or1 !           sce--,o                                                                                                                             t'
                                                                                                                                                                                                    l
                                                                                                                                                                                                   ''
        )  A *
             7  c;nç'
                    m ent Last!t
                               5 o 8                C                                                                                                                                              (
        j'Yttw(:8t o            1 .+i4k-
                                       1eK
                                         ex1u
                                            r-'J
                                               ',,.,xJortjanj Hannah.                                                                                                                              1
                                                                                                                                                                                                   E,
        p LastModlfled Date and Tlm/ l06-01-2020 10.                  .2.0 art
                                                                             7
       :,                                         1
                                                                                                                                                                                                   k
        ) AppointmentCompieted Byr                '
                                                  .  Jorr
                                                        a'a n  i
                                                               -'
                                                             , , .annan                                                                                                                            !
                                                                                                                                                                                                  l
       j               CompletedDaieandTimei
                                           't
                                           /
                                            '6-t))-2'
                                            J       t)2U)Q
                                                         ':4L)am                                                                                                                                  r
                                                                                                                                                                                                  i
                                                                                                                                                                                                  '
                                                                                                                                                                                                  1
       2             AppointmentChange Note Sick callcompleled 6-'
                                                                 d-2O at,10.
                                                                                                                                                                                                  .

       1                                                                                                                                                40ann'
                                                                                                                                                        .    ()yHlannal
                                                                                                                                                                      nJordan                  $'
       !                                    Change p4ote T'
                                                          $Jpe r
                                                               --'
                                                                 .'
                                                                  -
                                                                  -?'f
                                                                     -
                                                                     ti
                                                                      ,atetec1r
                                                                        1     hc
                                                                               pp-ott
                                                                                   '-
                                                                                    ss.
                                                                                      thaei-ï'.s                                                                                               '
                                                                                                                                                                                               '
                                                                                                                                                                                               I
       :
       r                                    ChangeNoteDate(l
                                                           r
                                                             OC
                                                              n-01-2O2012'O0 a.177                                                         .                                                   '
       jt
       '                                                                                             '                                                                                         .
       I                                          Chanae Note By Jorcl -lannah
                                                                    . 8n,I
                                                                                                                                                                                               j.


   t J# ointmentS()heduled Dat
       ...*.
           l.
            7.
             1
             .
             7........                                   . . .           ., . .             ej05-02-2020 ..         .. . .. .                                      1
   d A9PointmentCreatedDatej0528-2020 1:04 ann w .                                               .
                                                                                                              -
                                                                                                                                                    .
                                                                                                                                                                 j
                                                                                                                                                                 '
   j AppointmentDescription VitalSigns QdayperRegi                                                                                                               ç
                                                                                                                                                                 ï
                                                                                                                                                                 '
                                                                                                                                                 na Ward FNP-C
                            AppointmentCategory Vita)Signs                                                                                                       '
   I
   j                    Priority(1=High,5=Low) 1                                                                                                                 j
                                                   currentstatus1oeleteci                                                                                        )
   ;                        Requested by eatient? N                                                                                                              ,
                                                   o                                                                                                             J
                                                                                                                                                                 '
  j                               AppointmentSetByJRose,Sarah                                                                                                    j
   Appointm entLastModified By Jcrdan, Hannah
    L                                                                                                                                                            1
      astModified Date and Timg 06-02-2020 5:10 am
     AppointmentCompleted By N/A
       Completed Date and Ti me . N/A
                           . .
                                                                                                                                                              j
                                                                                                                                                              '
                                     .
      Appoi                              . . .    .
                                                                                                                                                              1
                               ntmentChangeNote patientwasseenbyprovideron6/1/2020j
                                 Change Note Type DeletedAppointments
                                                                                           '
                                                                                           u
                                      ChangeNoteDatej06-02-202012:00am                                                                                       j
                                                                                                                                                             d
wcso-medical
           /Modules/chafhistol.php
                                                                                                                                                                                                                       53/70
       wzII/awmkz                                                       oortnlvlrt-s nu t IItJ, btb/.tilI
                                                                                                        AN -#VVC,
                                                                                                                SO2UJ6N00O629(10-24-1976)7:FullPatientHistoryIv5
               lCase 1:20-cv-23783-MGC
                         ChangeNoteByjJordanDocument 1                                                        Entered on FLSD Docket 09/11/2020 Page 170
                                                                                                                                                      5.0of 276
                                                                                                                                                      .

                                            Hannah                                   ,
                                                                                                                                 :
                                                                                                                                 j
                   AppointmentSchedul
                                    ed Date 06-03-2020                                                                           ;
                                                                                                                                 J
                     AppointmentCreated DateI 05-28-2020 1:04 am                                                                 1
                                                                                                                                 .
               ?                            1
                                            .                           .   .        .                                           1
                         AppointmentDescriptionjVi
                                                 talSignsQdayperRegi
                                                                   naWardFNP-C !
                                                                               '
                           AppointmentCategoryjVitalSigns                     j
                         Priority(1=High,5=Low) 1
                                       CurrantStatus'Deleted
                           Requeeted byPatientn
                                              . po
                                                 .                                                                               1
                 AppointmentSetBy Rose, Sarah
         AppolntmentLastModifled By !Jordan. Hannah                                                                          1
                                     hl                                                                                      1
                                     l05-02-2020 5.
          L-aetMadifled Datz and Tima;            ,
                                                   19am                                                                      t
                                                                                                                             i
                                                                                                                             2
                                '
        i AppointmentCompieted By j
        7                            0N/A                                                                                    /
        1,
           .
                     ()om pieted Date an6 T.im e!kiAl
                                                    ./A                                                                      .
                     .                                          #
       j AppointmentCharigeftotetL.'
           .
                                   v.
                                    '
                                    z,'
                                      .
                                      '.7                                                                                    F
       !
       v                       ..ur          .. - ....        !                                                              ;
       $                       t.k
                                 3.F.
                                    ïriw
                                       65.
                                         (
                                         7.f:I
                                             *
                                             7lb
                                               jzkt
                                                  'frk6....-:2
                                                             .3
                                                              t,
                                                               Gi'
                                                                 J*:
                                                                   -F                                                        '
                                                                                                                             .
       I
       i'                      ,''tF')gr$ s Fv;:76.1.4.C)p    :;                                                             '
                                                         y'jlt
                                                             .v:t-.
                                                                  i-/'tFr:1.@                            '                   .
                                                                                                                             .

       j                                                       J
       f                          k,r?a!
                                       r!G'e rt
                                              'c!
                                              . '
                                                e EF
                                                   '
                                                   )*s;                                                                      .
                                                                                                                             >
  '


       F'                                        '            r                                -                         -           '       -
       )
       .AppointmentScheduled Datej06-08-2020                                                                                                 q
       t
       ,            AppoinimentCreaied Date/
                                           'O6-()g-aczo y.ûcam
                                           ?                                           -
                                                         .                             i
       j             Appoi
                      *@  ntmeniDesc r
                                     io
                                      *tî
                                        on k1ne ed to have n
                                                           q v
                                                            'f vi
                                                                tal
                                                                  s and mv l
                                                                           unnschacked.(
                                                                                       k                     *'   *'''                       '
       ,                 AppointmentCaiegorypSi
                                              cllCaliNurse                                                                                   i
       !                                    h:
                                                                                                                                             r
                                                                                                                                             '
       I             Priority($=l
                                -ligl-
                                     i,5=Low)j1
                                             .                                                                                               #
                                                                                                                                             .


       j                              CurrentStatusjCompl
                                                        eted.                                                                                ;
       p                                                     j                                                                           )
      !
      *                  Requested byPatieni'?*  jNo
      î                                                                                                                                  y
      j                    Ai
                            :lFG I
                                 iqtk
                                    -.
                                     3(2
                                       .ntEl
                                           .t
                                            .
                                            :tZy 7
                                                 ;r'vl;
                                                      2,i
                                                        'g3Z
                                                           R,u)L;a71ztt;                                                                 6
      jAp
        .pointmentLastModified By k
                                  9h/orgar!                                              ,
                                                                                         :           .                                   ;
                                                                                                                                         j
                                                            k                   ,   Jranett?                                             !
                                                                    .                                                                    i.
                                   t06-
      ' LastModified Daie artd Time:  08-2020 8:55 am                                                                                    '
                                                                                                                                         pi
      ; AppointmentCompieted Syj   ;Morgan, Juanetta                                                                                     ;:
                                                                                                                                          ''
                                                                                                                                           .
                   Corapleted Date and Time 06-08-2020 8'55 Fm                                                                           2
                                                                                                                                         j
                   AppointmentChangeNotejdoneandéocamenteci                                                                          i
                            Changq Note Type Complcted Appointments                                                                  $
                            changeNote Date 06-08-2020 12:00 am                                                                          '
                                                                                                                                     j
                               Change NoteBy Morgan, Juanetta                                                                        t
                                                                                                                                     j




  C hartNotes

      Noie                                                                                                                                       l
      Date                                                                                         NoteText                                          Note ByNote      Note
                                                                                                                                                           Access     Type
       05-         Duringintake ptstatesthathe hasbeenona hungerstrikefor10 daysnothingto eatortodrink
      O7-          informed, SCDC calledand spoke wi                                                            . HSA was                         Morgan, Medi cal   Medical
      2020         documentation ofthi                   th Bri
                                                              ttany nurse intheirmedicaldepadrnent,she statesthey
      2:04         been noti         tuas
                             fied ofsi  tii
                                          onnmed
                                             andic
                                                 toalorfrom security. Ptwilbe placed ingeneralpopulationatthistimehaOf
                                                                                                                     ve no                       'Juanetta Stas      Note
                                                                                                                   , f i
                                                                                                                       cershave
                                                    contactmedicali  fptrefusesmeal  s and/orfluids
      pm                                                                                           .
      05-          LateEntry:On 5/9/2020around 1500 pati     entwasaccidentallybroughttoclinicforasickcalltaskthatwasfor        Godbolt, Medi
      11-          anotherinmate. W hil e walking patientbackto A si  dehe informedOfficerBarksdale thath                                   cal Medical
      2020         strike. Of
                            ficerBarksdale i m mediatelybrouqhtpatientbackto cli                         ewas on ahunger
                                                                                  nicand asked usifwe knew                      Amber Staff Note
                                                                                                           , unf
                                                                                                               cdunatelvwe did
wcso-medical
           /Modul
                es/chafhistol.php
                                                                                                                                                                        54/70
        -. ,,--.-w               qaufclvlm -lx/-ïtptuIlu ,
             Case 1:20-cv-23783-MGC Document               ote/
                                                             1 A:pEntered
                                                                  ll/4lN1-#vv6,
                                                                              ton
                                                                               5(.)20FLSD
                                                                                     J8N000629(10-24-109/11/2020
                                                                                            Docket    976)::FullPati
                                                                                                                   entHistorylv5
                                                                                                                       Page    171 of 276
            j9:
              47 jnot.Pati
                         entgaveusaquickbreakdownofever
                                                      ythingthathasbeen                                                         .
                                                                                                                                                                                                                              5.0
                 :h
            Iam lhiunger s
                         tri
                           ke.Ir
                               e
                   shungerstriketr
                                 i
                                 evedp a
                                       tf
                                        entsvi
                                             tal
                                               sandinf
                                                     ormedsecuritythatwegnoe
                                                                           in
                                                                            eg
                                                                             ije
                                                                               odnt
                                                                                  a
                                                                                  onm
                                                                                    dohvisreasoningbehindthe j  '
                                                                                         epatientupfronttoasses l
                                                                                                                7
                                                                                                                                                                                                                              1
                                                                                                                                                                                                                              1
                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                               !                       j
                                                                                                                                                                                                                                                                       7
                                                                                                                                                                                                                                                                       '
                                                    .   Patientstated hewasonhi
                                                                              s Tth missed mealwhileatthi                                                                                                                                        .

            ' jC
               Nnteo#
                    e
                    t
                    ep.hPoante
                             i
                             ec
                              a
                              n
                              tll.
                               s A
                                 b
                                 /Ilwof
                                  p   t
                                      a
                                      shi
                                        s2w
                                        1 7
                                          /a8s4a
                                               d
                                               ,
                                               wdeeigdht
                                                       owth
                                                       t  e
                                                          a
                                                          s s
                                                            h
                                                            2
                                                            Oi
                                                             ftrepodhowever,Igotsi
                                                             6                   detr
                                                                                    sac
                                                                                      fakc
                                                                                         ei
                                                                                          lita
                                                                                          d  y.
                                                                                              nH
                                                                                               dSfo
                                                                                                  Arg
                                                                                                    Aomtt
                                                                                                        boed
                                                                                                           ro
                                                                                                            wcausmne
                                                                                                                   on
                                                                                                                    tt
                                                                                                                     i
                                                                                                                     fi
                                                                                                                      eh
                                                                                                                      cdavdi
                                                                                                                           a1!
                                                                                                                             t
                                                                                                                             k
                                                                                                                             j
                                                                                                                             ;                                                                       -.
                                                                                                                                                                                                                              )                j                       '
              j
            O5- yPatfentbl
                         .oughtupt
                                 omedicaldepadmentforweightcheckandVS                                                        j                                                                                                                 .

           !11- .
                'Willcontinuetooffer/encouraceintake                               .
                                                                                                                          ,   Food andfluid offered, butpatientdeclined. iSheal.,  Medical(vjedicalS
           I2020)                                                 -                                                                                                      yAnnber 'jStaff 'Note j
           i1mo,28/
           !a     !                                                                                                                                                                                  r
                                                                                                                                                                                                     i
                                                                                                                                                                                                     .                      k
                                                                                                                                                                                                                            p                  .                   t
                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                   i
                 '                                                                                                                       1       !                                                   '
                                                                                                                                                                                                     i
                                                                                                                                                                                                     '
           I05- .Patientcame to medicaltobeseenin cl-tronic car
           k11- waterwasprovi                                    ect
                                                                   inic byNP. Atthe  t
                                                                                     ime VS werebei
                                                                                                  ng taken   a
                                   cledtothepatienttotakebacktothe cell.Patientdeclinedwaterandfood atthis,timebott
                                                                                                                  le of  /Shear )Medi caiiMecii
                                                                                                                                              cal
           12o2o  'I'
                    m nothungry''   .Thisnurseaskedi fthepatientwoul
                                                                   dbewill ingtoiaket he bo
                                                                                          ttl
                                                                                            e o
                                                                                              f wat
                                                                                                  er back t
                                                                                                          o  the,h
                                                                                                                 so
                                                                                                                  tau
                                                                                                                    ts
                                                                                                                     ni
                                                                                                                     ing
                                                                                                                      g, jAmber
                                                                                                                         j
                                                                                                                         '
                                                                                                                         #
                                                                                                                              ,
                                                                                                                                j
                                                                                                                                kSteff j
                                                                                                                                '
                                                                                                                                j        kNote )
                                                                                                                                         l       s
                                                                                                                                                 )
           j2;51 iu13itwitl)I
                            )inn,justl                                                                                                           j
                                      I)caseInewaintsit,a1
                                                         -
                                                         1dl
                                                           '
                                                           leagreedInewoul d.
            pm j                                                                                                                                                                                     '
                                                                                                                                                                                                     j                     j
                                                                                                                                                                                                                           !                  t                    ,
           r05- hlwasasked tostand byand witnesswhen ptwasoff                                                                                                                                        2                    #                   p                    ?
            11- 1,waterbottlenotedonbenchinsi
            -                               decell          ereddinnertray.Ptrefus
                                                                                 'edtrayandcupofjui
                                                                                                  ce. Empty                             Kever !ki
        i20 2
            0
        L5:46
                -
                Ines  ta t
                         c d 'lpoured i
                                      t d
                                        o w n t
                                              he si
                                                  nk''    W henIaskedptwlnathe haddone withthe waterfrom the waterbottle ;
                                                      W iloffecfoodai
                                                                               .

                                                                          nd flui
                                                                           .    dswl
                                                                                                        .
                                                                                    nen IcheckhisVS Iaterin tl  3e shi                r.Jeali nei)Steald;
                                                                                                                                                        icair Me
                                                                                                                                                              N d
                                                                                                                                                                eical'
                                                                                                                                                               ot                            ,
                                                                                                                                                                                                              ,



        t                                                                                                             ft.             L
                                                                                                                                      .
                                                                                                                                      '           ,
                                                                                                                                                  S         li
                                                                                                                                                             ;       y
        t0
        #g5
          m j'1.We13ttocheckonptMS done and weightchecked
             -
                                                        ,
                                                                                                                                      l
                                                                                                                                      h           3 ) j
                                                                                                                                                  :
                                                                                                                                                  h
                                                                        ptdiU notUrinkwaterprovided yesterday
        t
        r12- 'ùtd
        /2020   cc'l
                 lo.
                   p
                   vlnlvth
                   uc     eine
                         ur sinkPt
                                ,vt
                                  /eight'
                                        n
                                        .z
                                         a s 202'gest
                                                    e r
                                                      d a y an d2 0 0 t
                                                                      o dayskin tugori:inciiaelastic Ine (nad 5O0s
                                  refused cfferofsonletlning to drinl:clidnoteatb
                                           .
                                                                                                ,
                                                                                                        ,
                                                                                                                   tat
                                                                                                                  cc'se sh
                                                                                                                        of epkoor
                                                                                                                          dar  ureditz
                                                                                                                                 ange 'M  or
                                                                                                                                        fuageatn
                                                                                                                                           n,  ta,(
                                                                                                                                                  fM
                                                                                                                                                   Ste
                                                                                                                                                     ad
                                                                                                                                                      ffi
                                                                                                                                                      ; calj Metd
                                                                                                                                                             ,
                                                                                                                                                            kNo ei
                                                                                                                                                                 calf
                                                                                                                                                                    t
                                                                                                                                                                    ,                                w
                                                                                                                   reakfasttl
                                                                                                                            nislaorlnlnp.                                                                                 p
        -j..
           yz:L
        :&m :
                                                                                                                                                                                                                          e
                                                                                                                                                                                                                          '                  r
                                                                                                                                                                                                                                             '                     t
'
        @as-     F
                 'l..l,3s ;r$,
                 .             $,7i. .,.           -,c.Jz:s $.-,k,.,,.r;.!-.ti,.:nzs oo s 1-,;lno..?:rctrîpmc'rnft
                                       q;-,s rraoc:'                                                                                                                                                                      t                                        t
                                                                                                                    -a
                                                                                                                     .;-k'Dx.t.
                                                                                                                              -,ca,-:..a. a.;;n,
                                                                                                                                               -...
          ' ...
        lg='- ts
                    ,.              .
                   ?k,lri-lel-,v/i'':n-lentair'  ;enlt'.'-;sea nlm :''..:...-acgLanlaf                                                                                          -,k.s
                                                                                                                                                  a.:,r-,'c:ara 7 c:;z'.-;m ap,m,           ;z :'tï, .
                                                                                                                                                                                                   st-,rt)x2
                                                                                                                                                                                                           -, 0. :
                                                                                                                                                                                                                 .,
                                                                                                                                                                                                                  t$
                                                                                                                                                                                                                   :
                                                                                                                                                                                                                   c
                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                    qi,
                                                                                                                                                                                                                      -..
                                                                                                                                                                                                                        zz:!
                                                                                                                                                                                                                           .).
                                                                                                                                                                                                                           ' ,
                                                                                                                                                                                                                             '
                                                                                                                                                                                                                             ,m.
                                                                                                                                                                                                                               si.
                                                                                                                                                                                                                                 n.
                                                                                                                                                                                                                                  c)6
                                                                                               t:Fr-x'F$-:u... Ftesponae!    :. .:                                                                        .                         .

        ë2020 k                                                                                                                     i; .-
                                                                                                                                        ,
                                                                                                                                        -.
                                                                                                                                         z.
                                                                                                                                          :.
                                                                                                                                           '                                                             îc!à
                                                                                                                                                                                                 jJuaafftk  '
                                                                                                                                                                                                             t'
                                                                                                                                                                                                              lia'
                                                                                                                                                                                                              .  i
                                                                                                                                                                                                                 h:.                          1
                                                                                                                                                                                                                                              '      ...

       ;::   51 k                                                                                                                                                                                                                         j .:a-'
                                                                                                                                                                                                                                                z               g
       l'4                                                                                                                                                                                       ?                    t
         3n,  -$ r
                 l
                 .
                 j                                                                                                                                                                               r
                                                                                                                                                                                                 T
                                                                                                                                                                                                                      r
                                                                                                                                                                                                                      t
                                                                                                                                                                                                                      ;
                                                                                                                                                                                                                                          ,
                                                                                                                                                                                                                                          )
                                                                                                                                                                                                                                          fj
                                                                                                                                                                                                                                                               !,k
                                                                                                                                                                                                                                                               t
                                                                                                                                                                                                                                                               o
       !o5- 2'     cEofficeroeckercametospeak                                                                                                                                                    j                    ,   .. ... .,... ..,
                                                                                                                                                                                                                                          j                    y
                                                                                                                                                                                                                                                               ,.

       212- );
              .     pgaioradewasconsumedwhwi
              .8o2.o'                           ti
                                              ilea
                                                 thqla
                                                     stnu
                                                       i
                                                       enrt
                                                          s.
                                                           eAfter
                                                             wa ssiome
                                                                   n ùh p erstlasi on, thepatienthas agree:to eatan: :rink fshear, rkéeciical:Medicaly
       ;
       ;2020 koranges and a banana. Patientconsumed whole bananaeand    i-roldirlg ceilPaiientwasprovideda Iunci  )lraywiih 2 îAmbeà
                                                                                                                                   . ?    - :
                                                                                                                                                                                        .

                                                                                                                                             jjçote y
                                                                                                                              .
                                                                             iscurrentlyfini                                         $Stafj
                                                                                                                  * zcupof $
                                                                                                                                                                                                                                                               .
       110:42ù gatoradewa s I
                            eftinth
                                  e holdingcell wi
                                                 th  the pa t
                                                            ient                           s hing up an orangc /$2.
                                                                                                               ,              à                                  . .                                                                      .        .
                                                                                                                                             #       (                                                                ,
       ram ; uthroughootthe cley.                               ,
                                                                  andpatientwasadvisedthatvuewi       llprovidehimwi  tl
                                                                                                                       nfl
                                                                                                                         ui
                                                                                                                          ds 1i
                                                                                                                                             )       /                                                                                                         .

       ;os- ieetientconsumed2smal    loranges,,banana                                                                         ,      r
                                                                                                                                     .       y       j                                                                .
                                                                                       ,   ancla pieceofcake. Hedranrçtheur
                                                                                                                          lnolez4oz ofpatorade. 24
      i12- ir.  horsouncesofgatoradeprovided                          .                                                                                                                                j
                                                                                                                                                                                                       .Medicaliph/
                                                                                                                                                                                                 ishear,          lec,r
                                                                                                                                                                                                                      cali
      j
      '2
      î- 02 0 i
              t
              '
        i1:39 !                                                                                                                                                                                  )
                                                                                                                                                                                                 #
                                                                                                                                                                                                  An
                                                                                                                                                                                                   abe
                                                                                                                                                                                                     r t
                                                                                                                                                                                                       '
                                                                                                                                                                                                       !st
                                                                                                                                                                                                         aff   jr'
                                                                                                                                                                                                                 to f
                                                                                                                                                                                                                    o    t
                                                                                                                                                                                                                         '
                                                                                                                                                                                                                         r              -
      ?ar'n ,
      t      7
             -   .. ..    . . .. . .       ... ..       .                              .
                                                                                                                                                                                                 )
                                                                                                                                                                                                 -                2
                                                                                                                                                                                                                  !
                                                                                                                                                                                                                  ?                    l
                                                                                                                                                                                                                                       l
                                                                                                                                                                                                                                       i                       !
                                                                                                                                                                                                                                                               ë
      ?35- j
           ' tientrequestedr-
                            ilore'jui
                                    ce''. 24 oz gatoi-ade pl'ovided. T1-Iisnurse'                                                    l'      )       1                                           1
           'Fa                                                                                                                               ,                                                   .                .
      '                                                                         loidpati enttoIetnqedicai/correcêiorlaistaf; jslnear
      j'
       !2- jkl
             -)
              owwheni-lewouldiike more. Patientvoiced understandi     ng, andsai  d,''thanllyouu.                            (
                                                                                                                             Amb  er
                                                                                                                                   ,  Sta
                                                                                                                                        f
                                                                                                                                      Medf
                                                                                                                                         ical'
                                                                                                                                             r
                                                                                                                                             j Ho
                                                                                                                                                t
                                                                                                                                               Mee
                                                                                                                                                 di
                                                                                                                                                  c g
                                                                                                                                                   alj
      t
      !.2020j
         :0                                                                                                                                                                                   i
                                                                                                                                                                                              j                   -
                                                                                                                                                                                                                  '                   (
      ;'4 6;
      ,pm j
                                                                                                                                                                                              1
                                                                                                                                                                                              t                   -
                                                                                                                                                                                                                                      $
                                                                                                                                                                                                                                      t
                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                           p
                                                                                                                                                                                                                                                               j
      j
      .                                                                                '                                                                                                      j                   f.
      k05- LMHC metbrieflyw/inmate in Observation celplnmatehad been ableto walktomedicalforvitals                                                                                            Et '
                                                                                                                                                                                                                  ,                   #                    ,
                                                                                                                                                                                              ''McNutt, l
                                                                                                                                                                                                        .Medi
                                                                                                                                                                                                            cal;Mental
                                                                                       .
      C12-       underhiscoverscompsaini
                                       ngofcramping. W ediscussed his mctivaticnforthe hungerstrike     btltncw was                                              ,                            (
      '2020 .outcomes.I
                      -t
                       ewasopenandrespectful,while atthe sametim e standingbyhisdecision tofol,loawndthpotential                                                                              jRoy             jStaff )HeaI
                                                                                                                                                                                                                          th
     l6.08.p
     'pm ,
     ;
            l
            anetrovf
           obs     eo
                    rr
                     coeleIcwh
                     r      E'
                             silehand.bNewerestiltalk
                                  theytalked.Eventual
                                       ,
                                                     ingwhen(CEOfficerD
                                                    ly Ofc.Declterhad suf
                                                                          eckerarrivedLMHC
                                                                        ficientdataaboutfnmamove
                                                                                            tes dsin
                                                                                               ca  eto
                                                                                                       rougehowas
                                                                                                       mor
                                                                                                     thathe
                                                                                                               w
                                                                                                               fi
                                                                                                                thabhi
                                                                                                                an   s  2
                                                                                                                     be j
                                                                                                                                     .                                                                                                jNote
         )
         kto offeraplanofaction acceptable to Inmat,e;Inmaterespondedbydrinking the Gatorad
     ' I l'                                                                                        eofferedto hi m . LMHC i
     )   .ct
           heuc
              mbkesdinw
                    up' i
                        th
                      'si hi
                         gns
                            mre:larter;hehadcleanedhi    splate,anddranka1otofGatorade, aswella
                                    esolution ofthe issues, andhisnow acting in a self-carsmode     swater.Wee   xchangedpl                                                                                    t
                                                                                                                                                                                                               '                     !
                                                                                                                                                                                                                                     /                     f
                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                           r
     1 'cAp    , cca Ap                                                                        . RoyScot   tMcNutt,
                                                                                                                          -
                                                                                                                                                                           LMHC,l                              '                     j                     j'
     o5-                                                                                                                  k
          patientconsumed looo: of2 suppertrays provi        ded tohi
     12- gatorade atmedpass. Patientinstructedto requestmorem.       gaSup
                                                                       torape
                                                                           deri
                                                                              finddu
                                                                                  esde
                                                                                    i d16ozofjui  ce. Patientgiven 8oz     Kever,                                                                                 Medi
                                                                                                                                                                                                                     cal Medical
      2020'
      9:58
                                                                                                                           red.                                                             )
                                                                                                                                                                                            ,Jcanne Staff Note
                                                                                                                                                                                            j
     .Pm                                                                                                                                                                                    l
                                                                                                                                                                                            j
                                                                                                                                                                                            '                                                              .
    j0
    l15-1
      4- 'Ptlayingonthefloorresting.BreathingevenandnotI
                                                       abored                                               .
                                                                                                                                                                                            1Rose, 'Medi
                                                                                                                                                                                                       calMedi
                                                                                                                                                                                                             cal
                                                                                                                                                                                            iSarah             Staff                 Note                  '
    Iam.
     2
     ,20:
        2,0
          4.                                                                                                                                                                                I
                                                                                                                                                                                            .
                                                                                                                                                                                            ,
     O5- PT ATE 10O% OF SUPPER TRAYS 5/15/16AND 17
     17-                                          .                                                                                                                                          Keveq              Medicat Medical
     2020                                                                                                                                                                                    Jeanne             Staff Note
                                                                                                                                                                                                              '

     p
     8m
      :
      06'
        1                                                                                                                                                                                   I
                                                                                                                                                                                            $                                  z

     O5- j8tpresentedto nblrse with +3 pittingedema tolowerIim bs
    I27- '
         .more apparenton loweriefthand de.Ptstatesthathe is,havi nurse auscultated pleuralrub bilaterallyanditwas  Rose,                                                                                     Medical Medical
     2020 thistwodaysago. Ptstates miltsssi                          ng paininlagsand tingli
                                            poradicdrycough. Oncallprovideremailed fororder  ngandthathejustnoticed Sarah                                                                                     Staff                 Note
                                                                                             s.
wcso-medical
           /Moduses/chafhistol .php
                                                                                                                                                                                                                                               55/70
             Case 1:20-cv-23783-MGC -lvllxDocument
                                 ww't     -rxmt           1 Entered
                                              -,cuiIua,oc.ono II          on
                                                               /llu-f/vvoot     FLSD
                                                                           -pztlq
                                                                                lt
                                                                                 rsl     Docket
                                                                                   Nt/uuozg 1U-z4.-zH09/11/2020
                                                                                           ('         /i                Page
                                                                                                       j)::i-ullHatlentHl      172
                                                                                                                                5.0 of 276
                                                                                                                        storyI75.
          I1o:o2j                                                                                                                                                                                                                                                                                 j                             !
                                                                                                                                                                                                                                                                                                                                ,               j
                                                                                                                                                                                                                                                                                                                                                .
             Pm I                                                                                                                                                                                                                                                                                 )
                           i
         jO5- Nurseencouragedpttotakcmadi
                                        cationprescri
                                                    bed.Ptstatedthathewasnotgoingtotakei
                                                                                       tbecause,,medical 9Rose, 2Medi
                                                                                                                    cajr
                                                                                                                       )jvjotjkcajl
                                                                                                                                  j
         j29- ,
              'staffi
                    su
          2020 cidervi
                      nsureofinfecti
                                   otnandhi
                     negarIwilltake i
                                            si mmunesystemisweakand antibiotics willdamage it.lfyou cangivemeappleqSarah Staff INote 1        .                                                                                                      .                                                                                          .


         ,a
          3m
           :
              tconsequencesfromrefus'
           24 k
                                      i
                                      'N
                                      ngume
                                         rsedi
                                             acdav
                                                 ti
                                                  o
                                                  sn
                                                   es
                                                    dthatthiswizaesdnhot
                                                      Ptverbal         i
                                                                        goi
                                                                          ngtosclvepotenti
                                                                                     .

                                                                       sunderstanding.
                                                                                         aiinfectionandthepotenti
                                                                                                                al j
                                                                                                                   :
                                                                                                                   7
                                                                                                                         ;
                                                                                                                         j .
                                                                                                                               j .
                                                                                                                               j     j
               ;                                                                                                                                                                                                  .                        .                                                      j      j      j                     .

           O5- ;
               'Ptl
                  abédrawn,andvktalsweretaken.Ptinnoapparel
                                                          ntdistress.                                                                                                                                                                                                                             'Rose, Medical'Medicali'
                                                                                                                                                                                                                                                                                                  i
           29- i
               t                                                                                                                                                                                                                                                                                  3sarah staff
        j202cj
        j3:25 j
                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                  j
                                                                                                                                                                                                                                                                                                                          Note j
                                                                                                                                                                                                                                                                                                                           )
                                                                                                                                                                                                                                                                                                                            .

                                                                                                                                                                                                                                                                                                                               k
                                                                                                                                                                                                                                                                                                  j                       r j
        I
        -0(
          s-             .                                                                          stration'smailbox.
                         dpati
                             entwrotesickcallrequestsnghis4abvvorkandrnedicalchaq.GaverequesttoAdmi
                                                                                                  ni                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                  jshaw, .Medi
                                                                                                                                                                                                                                                                                                             catjMedica!;
           c4.
             -!                                                                                                                                                                                                                                                                                   1
                                                                                                                                                                                                                                                                                                  !xaren ;
                                                                                                                                                                                                                                                                                                         jsta.
                                                                                                                                                                                                                                                                                                             hc jIqote j
         202
        y-i:E
            4:
              0j
             E9 ;
                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                             !
                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                         -
                                                                                                                                                                                                                                                                                                         t
                                                                                                                                                                                                                                                                                                         î            J
                                                                                                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                                                                                                                          y
        'aI-'-'                                                                                                                                                                                                                                                                                          .
        t.-. .. -.-k
        r06- t
                   )-.---,
                         -.
                          -.
                           ---
                             .----
                                 .--
                                   .-...
                                       ,
                                       .
                                       ,-.
                                         --...
                                             -
                                             ..
                                              --
                                               .,
                                                ..
                                                 --...,
                                                      .
                                                      -....-...
                                                              ,..
                                                                -.
                                                                 ,
                                                                 --...............,-.-...-
                                                                                         ....
                                                                                            ..............,
                                                                                                          ..--....---......--..-.
                                                                                                                                .....-.......,........-..-...
                                                                                                                                                            - ...
                                                                                                                                                                .-.........................-....-..-...-...............................-..-.-...--...-...................                    ;
                                                                                                                                                                                                                                                                                             t
                                                                                                                                                                                                                                                                                             r
                                                                                                                                                                                                                                                                        ...-..-....-...-.-.----         ...)
                                                                                                                                                                                                                                                                                                           :   :
                                                                                                                                                                                                                                                                                                         . . ..-   .........-       ... .   ,

             /etwrotesickcallrequestingvitalsignsandIungstobechecked. Hadptbrougl
                                                                                ntup,vi
                                                                                      talsignsdoneand                                                                                                                                                                                         gF/oE
                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                  gsn,7l
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                       decpical7Medi
                                                                                                                                                                                                                                                                                                                   cal1
     jO
      280-20l1
             !recorded.pthadnocomplai
                                    ntswithhisIungsatthisti
                                                          me,aIIquadrantsoflungsfrontandbackcleac                                                                                                                                                                                             yJual
                                                                                                                                                                                                                                                                                              ,         ,Staff ;
                                                                                                                                                                                                                                                                                                  natta.j
                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                               jNote ;
                                                                                                                                                                                                                                                                                                                     (
                                                                                                                                                                                                                                                                                                                     j
     /8                                                                                                                                                                                                                                                                                                        j     ;
    tjamrs4 ,
            :
            j.                                                                                                                                                                                                                                                                               1
                                                                                                                                                                                                                                                                                             ,.        j j j
                                                                                                                                                                                                                                                                                             ,           k                2                 k



    r- ru..rrzr=..frr
                    .;r.


    (2N10Records)




   Scanned Docum onts

   5
   ,Dat
   f
      escanned/saved)
                    .
                      û5-t
                         )?-2t
                             :?2z
                                '4.2t;
                                     ,pm                                                                                                                                                   i
   j                DocumentTypejGefleraiHatientChart.f'
                                                       ransiershee:/covfcicnecl
                                                                              tl
                                                                               istj
                                                                                  :
   j KtlmbpfOfPages 2                                                                                                                                                                      7
   l
   ;
   u
                .                               LinktEh
                                                      f:i
                                                        tf
                                                         t
                                                         '!
                                                          '1
                                                           Ioa!e    .,.. ....
                                                                            ....         . . ..;u.w z.......,
                                                                                                            .x.w...-...... ...                                                       ...
                                                                                                                                                                                         '
                                                                                                                                                                                         ë
   r                                  FlleSlze 1803KB                                                                                                                                    q
                                                                                                                                                                                         .
   ''
  1 Scanned/saved By Anagnost,Pamely                                                                                                                                                     .
                                                                                                                                                                                         @
  '                                        Notes 05/07/20                                                                                                                                1


    Date Scanned/saved 05-11-2020 2:38 pn3                                                                                                                                                                     !
                DocumentType GeneralPatientChartMentalHeaIthAssessment/hungerstrike
               NumberofPages 1
                                              Link Downioad                                                                                                                                                   j
                   File Size 772 KB                                                                                                                                                                           4
          Scanned/saved By Anagnost, Pamel
                                         a                                                                                                                                                                    !
                      Notes 05/11/20


   Date Scanned/saved                                      05-15-20202:30pm
        DocumentType                                       GeneralPatientChad DentalVisualScreening
      NumberofPages                                        1
                 Link                                      Download
                                  Filesize 492KB                                                                                                                        1
                                                                                                                                                                        ,

         Scanned/saved By Anagnost,Pamela
wcso-medical/Modules/chaëhistol.
                               php                                                                                                                                                                                                                                                                                              56/70
              -..Case w 1:20-cv-23783-MGC
                 ,'uw..                       /Document
                                       kaortlvl -HAI       1 Entered
                                                   JHTIC,SEBASTI      onOJ
                                                               AN -#WCSO2FLSD
                                                                          BN0OO6Docket
                                                                                29(10-24-109/11/2020
                                                                                          976)::Ful
                                                                                                  lPati  Page
                                                                                                          stolyIv173
                                                                                                      entHi      5. of 276
                  j                                      Notes)05/15/20                                                                                        /   5.0

                  MateScanned/saved05-26-20203:36pm
                  1l
                   .v....v   .. - ... ..... ...... .-. ... .++......- . ..   . . - ... .. ..... ., . ....,. . .. ... ... ..
                                                                                                                          . ..
                                                                                                                                                           1
                                                                                                                                     . .vv. ..... . ...&w...
                  1
                  ,     ....DOCI
                               J133e'
                                    ntTkp)e,1GeneralPatie1tChartlnmateRequest/
                               -.- . .          .. .       . . ..
                                                                             y
                                                                             û     .. .                                                    .

                  j Numborofpagesja                                                                                                                       1
                                                                                                                                                          j
                                                           Link1Download                                                                                  j
                  k                             FileSize 1215 KB
                                                        ?a ...                                                                                            rt
                  , Scanned/savedBy1Anagnost, Pamela                                                                                   '                  j
                                                                                                                                                          g
                                                       XOtes                                                                                              i
                                                       --- - - ,        1,
                                                                         -
                                                                         m,e
                                                                           .-d
                                                                             .ic
                                                                               ..
                                                                                a.Irecords05/15/20                                                        -
               h                             )               o .        '                               ------;                                -
              k.Date S. .canned/
                          .  .
                                  saved      ,05-9
                                   .. . . . .d
                                                   .- 7-  20,-0 3.13.pm .........,..............
                                                             .                                                 tt,
              *                              :                                                 ....... ....... '
                                                                                                               !;
              j      Docunnc-ntType '        i
                                             , Gc-nei    '8lPatieniChartPriorApproval :                        !
              #     ' ' ofpages )o
              ! sumuer                                                                                         4
                                                                                                               1
                                             j
                                   Link'      Dos /k/rr.losd                                                   h
                                                                                                               .
              ;
              @                Fél
                                 l SE-
                                      zs    i
                                            r -'
                                               .c!
                                                 ë!r z ! :
                                                         ,.p                                                  i
              g
              .
                                                - .. -                  .                                     t.                                     .
                                                                        q
              ç tkca!nr-er??iep3'ectCJ.hz: . .
                                    w.                                                    t Oeqne!6                                                 '
              k                                      $N'oves l                                                                                      :
                                                                                                                                                    s.
                                                                                                                                                    .

      '
      *



           iP.'aAeScanned/wca&zed *
           r                       /''-.'.'''?.','',,7f)9'KQ '  n'm                ?
                                  !                            '                   9,
           7
           t      Document  Type  l
                                  rC.
                                    ae. ',=i 'r,l .'r;
                                                    -  .'.
                                                        r.
                                                         c.,
                                                           '.
                                                            '.
                                                             *   )ad Inmaie Refusal1
                                                              .. '                 ù.
          il                                                        /                                                                                .

          %
          r            P%
                       '.
                        bU;
                          '
                          l
                          -i(
                            .
                            jePCh'
                            >    .
                                 Jgç
                                   ,
                                   a
                                   .gms/
                                       !.
                                        6
                                        t                                                                                                           a
                                                                                                                                                    r
                                                                                                                                                    j
          I                                           LlnkjDovt
                                                              pll
                                                                'oaci
           )                                   ..         ,.
                                                          .         '
           '
          h.
          ,             .
                             FIIe Si   ze;  'o3n
                                           'w
                                                 :
                                                 ',,'
                                                    xc
                                                     '-
                                                       ..                                                                                           11
                                                                                                                                                     ..
                                                                                                                                                    fs
          i
          l D mc ..-.-(4.-Flc s.-G..g r:bA,* (ir.pms r.pz r.                                                                                          4
                                                                                                                                 - .-.............-.-..
          1.                               j               :Ag!e.a.
                                                                  pLrn                                                                              l.
          )
          !
          .                                      qr'ates'
                                                 .
                                                        vo
                                                         -5/2q
                                                             wy
                                                              ntl                                                                                   #
          i:.. .                                    .. . j                                                                       .     ,
                                                                                                                                                    k
  '




           DateScarineufsaveoj03-.fz-2k
                                      310z..z.o pt$.             .
          k
          j DocumentTypek    .GeneralPatlentCl   lad Labylt-qays 7
      t                                        >                                                                                           4
                      ('.(ann.L-.c-:c-:'F&gc-s 'i                                                                                          -
                                                                                                                                            '
      r                                        7
      à
      :                                  Link f,Downloal                                                                                    '
                                                                                                                                           *'
      l
      ,                                                         :                 '
      t                                  FiieSi
                                              zeI1076KB                                                                                    1
                                                                                                                                           )
      (
      t Sca
          nned/savedBy AnagnostPam ela                     *'
                                                                '
                                                                                     ,
                                                                                                                                 .

                                               xotes105/29/20                                                                              j
                                                                                                                                           !
  '



          Date Scanned/saved 05-29-2020 2:48pm
              DocumentType GeneralPati  entChartInmate Refusal
                  NumberofPages 1                                                                                                               j
                                                 Link Download                                                                                 1
                                                                                                                                               j
                                      Fiiesize 582KB                                                                                           k
      k
              Scannedfsaved By Anagnost, Pamela
                                            Notes 05/29/20


      Date Scanned/saved 05-29-2020 3:18 pm
                   Docum entType GeneralPatielltCklartlnmate Refusal
                  NumberofPages 1
                                               Link Download
                                    File Size 541 KB

wcso-medi
        cal
          /Modules/chaf histol.php
                                                                                                                                                                         57/70
           t)/11/2t120 1:20-cv-23783-MGC
               Case                   COrEMRDocument
                                            -RADETIC, SEBASTI
                                                        1 Entered  on FLSD
                                                            AN -#WCSO2OJBN00O6Docket
                                                                              29(10-24-109/11/2020
                                                                                        976)       Page 174 of 276
                                                                                                                                                          FullPati
                                                                                                                                                                 entHistoryI75.5.0
                 j BloodPressureSittlngj
                                       3115/72                                                                                                        j
                 BloodPressureStanding!(blankl                                                                                                        ,
                                               Pulse Sitting 92
                                        PuiseStandingjLblal
                                                          ,kl                                                                                         1
                                                Respiration 18                                                                                       t
                                               Temperaiure'97.7

                                                          Wei
                                                            ghtjlblankl
                                                             spoz198
                !                                                            !
                                                                             j0   .
                                                                                                                                                     ''
                                                                                                                                                     j
                j                                           NotesjEnteredonasickcallcreated05-31-2020 0927 u;
                                                                                                            l
                                                                                                            ,
       '



            t                       Date ofReadina
                                                 uil05-30-2020 10:0O
                                                                   u)ann                                                                             q1
                                                                            k
            g                              DatcEntc-rc-d,'Ous-3()-m
                                                                  z.0z()qt
                                                                         n
                                                                         p'O8 ai
                                                                               -
                                                                               1
                                                                               -1                                                                 F'
                                                                                                                                                  '
                                                                                                                                                  -
            !z*                                                                               w             --
                                                                                                            '
            t BioodPresstlreSitting(
            ''
                                   t1
                                    '18/76
                                        r
                 Biood Pressure Standl
                                     .
                                      ngi
                                        j
                                        .'f
                                          'b/
                                            an/r
                                               .'/
                                                                                                                                                  !
                                                                                                                                                  !
                                                                                                                                                  '
            '                                                                                                                                    ,
           #;
           r
            :
            '
                                          l
                                          'eulse Siît-
                                          -          !
                                                     ng(
                                                       .
                                                         98                                                                                      r'
            y                       -      #       -
           I                                 .1.*YC%C.zYS.fex* *;
                                    $*71êC'Q'Y                  'r*'OJm
                                                                      .'r .r;
                                                                        'Ol                                                                      '
           f
           !                                                                                                                         ' '-
           '
                                            ;:rt-r
                                                 w
                                                         *.?-.:;,31*:
                                                   krpf'i.                                                                                  --


           t                                                             y                                                                       '
                                                                         r
           w                              'y(!r7
                                               . .r:
                                                   G rr.t'r-e'g bta1.
                                                                    t .r
                                                                       7                                                                         x


           $                                           d%k?tu
                                                            i/ftte:1@Dt'
                                                                       it??h:Ji                                                                  1
                                                                                                    M          = .
                                                                                                                 = = = r= > '. r .
           h                                                 n.,.
                                                         oPC .   oo n                                                                            2
           ;
           !                                             w     t ,o.ta
                                                               .                                                                                 .
                                                                                                                                                 y
           ;'                                                           l
           8
           k                                            Note:i
                                                             ic
                                                              -ln'e'
                                                                   'c
                                                                    -s/
                                                                      -
                                                                      wi/
                                                                        ->'
                                                                          n.'
                                                                            .o
                                                                             v*
                                                                              -*;
                                                                                .,
                                                                                 >
                                                                                 .,
                                                                                  .-
                                                                                   .z
                                                                                    w-al
                                                                                       .i
                                                                                        .'
                                                                                         -
                                                                                         .-v
                                                                                           .aal
                                                                                              use
                                                                                                ..ö
                                                                                                  a'
                                                                                                   wn=
                                                                                                     u/''*
                                                                                                         w73-=          ?â
                                                                                                             ,4020 1006 ;
   '



        j                                                               4
       t. .    Date ofReading '''' ;
                                   1tls-.d'o'-adt.lk
                                                   ,r'(Jt;'..'ù!.:8'
                                                                   .c-.                                                                      j
                                                                                                                                             .,
                                                                                                                                              ,
                                                                                                                                              .
       t          DatG Entsr%d ,   7&:'
                                      5-73 t:-,
                                              Lk:l2& 3.a   -8 aro                                                                            '
                                                                                                                                             i
       .
       1 Biood Pressure Sitting'  t 122/77
       !BloodFressure:ianding7
                             yi
                              '
                              olanlq                                                                                                         i
                                                                                                                                             y
       '.                                                            2.                                                                      1
       .
       ?                                        4fyjyspy;
                                 pulse standing ,
                .                                                    F,               u                                                     t
       I                                RespirasontJ:               .
                                                                    i'                                                                      ,
                                                                            yy                                                              ;
       h                   '                       Weightjl
                                                          k
                                                          à;,
                                                            '.)t,e:..'',.,.,;
                                                                            ,                                                               i
       W
       ' ='
                                                            .'
                                                             .7     '.                                                                      .i
       &                                                           :
                                                     SPO2 98.0.--..----.-..-. -. .-. --                  $
                                                                                                         kt
                                                                                       .... . . . .
                                                                                                         #
                                                     Notes )Enkered ot-laïsickcallcleated05-29-2020 0837 C
                                                                                                         p


    j                        DateofReading105-28-202011:30pm 1                                                         ,

                                   Date Entered 05-29-2020 3:22 am
                BloodPressureSitting 113/74
       BloodPressureStanding fblank)
                                                                                                                       j
                                   Puise Sitting . 67
                                                                                . .       .                            1
   '                         pulsestanuing'fbi
                                             ankj                                                                      k
                                                                                                                       r
                                   Respiration 17
                                  Temperature 99.1

 .                                             weightjftfank)
                                                   SPO2 99.0
  L.
   -.
    -.
     -.
      --
       ..-.....-...-.......... ..-.....-.-...-..-N...-o-.-.tt.'-E.,,-'-!.;...
                                                               LJ-
                                                                 b..
                                                                   1.
                                                                    i
                                                                    '
                                                                    ..
                                                                     '
                                                                     -.
                                                                      ï
                                                                      ,-
                                                                       $
                                                                       :
                                                                       -
                                                                       .
                                                                       ?
                                                                       -
                                                                       ,
                                                                       ............. .
                                                                                     !1           .,.,....-...
                                                                                                             ...
                                                                                                               ---..



                         DateofRmading l05-27-2020 10:G2 pnn h
                                                             1
              DateEntered 05-27-2020 10:03 pm j
vcso-medical
           /Modules/chafhi
                         stol.php
              6/1Case
                 1/2020 1:20-cv-23783-MGC
                                       COCEMRDocument     1 Entered
                                              -RADETIC. SEBASTI       on FLSD Docket 09/11/2020 Page 175 of 276
                                                              AN - #WCSO2OJBNOOO629(10-24-1976):JFullPatientHistoryl.
                                                                                                                    ./
                                                                                                                     5.5.0
                   j Blood PressureSittingr116/81                                                                                                ,
                   1
                    Bl
                     oodPressu reStanding tblankl
                                                -                                  -..                                                           !
                                                                                             .       .. ..           ..
                                               Pulse Si
                                                      tting 67
                   ;                    PulseStanding Jö/a/yk./                                                                                  '
                                                                                                                                                 ,

                   L.
                    ---      - - --
                                               Respirationj17
                                           - .- -- .- - ...-......                                 .        ..      ..     ... -. ..,
                                                                                                                                    ..           ,
                                                                                                                                                 '
                                                                                                                                                 .
                                                                                                                                                 4
                                               vemperatureI98.7                                                                                 j
                                                                                                                                                .
                                                                                                                                                l
                                                                                                                                                .

                                                           Weight 224                                                                           ï
                  j                                           5P02 99,0                                                                         J
                                                                                                                                                j
                                                              Notesj
                                                                   lJbl&nkl                                                                     '
         '


                  :
                  i
                  1
                  1                 DRte ofPeadi
                                            . .ng 1
                                                  !,05-16-2020 12*
                                                                 42 prrh1.'
                  t,                                                           i                                       .
                                                                                                                                             1
                  $                                                                                                                          ,
                  '
                  )          Date uriaï.el'ed J:
                                               '05-18-.z020
                                                       .x   -1
                                                             .ze.x.'4z
                                                                     n.cln-l.'.
                                                                              !
                  )...--                .... . ..        .
                  k zkooc eressure sbtKlncl,O/0                              j
                                                                             '
              %              .                                 -            jy                                                              .j
              ;o
               '
               -lcioor
                     '-ressureStanding.
                                      jJ/
                                        7/a??/
                                             r./
                                             '                                                                                              ,
                                                                                                                                            1
                                                                                                                                            .d
              t
              *                           P'7!se'Sittlnc   :
                                                           .s
                                                       *.# ? r-''''a''''o-'
                                                             .                                                                             R,
                                                                                                                                            .
              .                       kJ'!f'a:> .h;*.>.n rtrrtr.
                                                               er JHt:ftpo1.!
              w
              .
                                                              Q )t         -                                                               J
                                                                           t
              ,
              :
              :                             V Q!FC;rrat.iOr!(l.h/
                                                                :9O?ai                                                                    1.
              .                    r-
              k
              F%>=rm'r'==-re.u= = 'kC-.
                                      '
                                      1Tk
                                        -p
                                      'v-.-C
                                           -
                                           e; awt
                                             ;'
                                            --  .
                                                l
                                                . ii'  p r'f '.
                                                     eijjI71&f
                                                 ''' ' ' '
                                                             i%7                                                                          '
                                                                                                                                          4
                                                                                                                                          .
              *                                       ikl
                                                        -/Zi,''
                                                              .r.
                                                                'w4.i
                                                                    p f?,
             .r                                            .= .x..tl,  .a.
                                                                         ,' '$.
                                                                          x'; s
                                                                              .
                                                                              %k/:),
                                                                                .'                                                       1
                                                                                                                                         p1
             j . ..                                                        .
             .
             '
             r                                          SPO2j
                                                            'Iblank)                                                                 <j
             k                                                            t                                                             :
                                                                                                                                        )
             ;                                         K                  i                                                             i
             >                                         '1o*
                                                          1
                                                          .
                                                          Gs*
                                                            '/'
                                                            ?-
                                                              I-
                                                               ,
                                                               Ia/'
                                                                  i
                                                                  k*l                                                                   ë
                                                                                                                                        '
                                                                                                                                        1
                                                                                                                                        r
   '


             22
          F                       Bate ofPkead.!r,c
                                                  wi
                                                      -
                                                    l.'--- -' ---.---. -- .-='
                                                                             x vl
                                                                            .'
                                                                             J  1..58a7:
                                                                                       n                                                                                                                     kf
                                                                                                                                                                                                              !
         .'                                                                                                                                                                                                   .
                                                    n
                                                    .
         i!                          Datc
                                        -Entc-rc-.d $
                                                    rOw r-ïwO-.m.wr'2:)d,1'J       g8aaa                                                                                                                     14
                                                                                                                                                                                                             t
         l
         k
           BloodPressureSl
                         -
                         ttl
                           .na
                             -
                               :,s1o ,=o
                                   u.', -
                                                                                                                                                                                                             i
                                                                                                                                                                                                             .

         i                                                            J                                                                                .                                                    j
         f
         . C
           2!aow
               d Prc.as;.Jr+ StakKi1z,;.ii/
                                   .'
                                   ,        ;t
                                          .%-.?
                                              , .a/'.'h,'o/
                                              .?/
         ,
         $
         ,
         '
         ,
                                       p..îq-o =;4.
                                                  4
                                                  .1oc 9
                                                       k-
                                                        /;?                                                                                                                                                 j
                                                                                                                                                                                                            .
                                                                   *a J v
                                                                                                                                                                                                            1$
                                  t-*t.l
                                  '    ise5tand1ngiJ1)/
                                                      3r'f
                                                         (.
         t
         ''
                                                                      T
                                                                      h                   /                                                                                                                 L
                                                                                                                                                                                                            '
         p
         '                               ,.C-:F'17.',r*&,(.,I,u-..n .:
                                         C                           -eI'r
                                                                         wx                                                                                                                                 !
                      .. . ...            ..                    . .L                                                                                                                                        ..
         t'                           *'
                                                  .    .
                                                                      t                                                                    ..          .                ..             .       ..           l
         1.                            &u.;.
                                           w-k.K.
                                                j.
                                                 .pk.
                                                    llù.'
                                                        ek.sks'
                                                        u     Jju
                                                                &''t
                                                                   -.M
                                                                     .'
                                                                      -.                                                                                                                                    i
                                                                                                                                                                                                            .
         k                                       t'
                                                  lleigh(''
                                                          #221
       )                                              spoz'
                                                          i99.0
                                                                     k
                                                    Klotes)
                                                          .Enteredonasi
                                                                      clcallcreated05-18-20201157 j
                                                                                                  l
                                                                                                  '
                                                                                                  h
                                                                    :
                                 DateofReading 05-17-20208:05pm                                                                                                                                         -j
                    Date Entered 05-17-2020 8:05 pm
           Blood PressureSitting 126/72
         Bl                                                                                                                                                                                             j
              oodPressurestanding fblankj
                                   pursesitting 84                                                                                                                                                      2
   I                             puisestanding'tsank)                                                                                                                                                   5

                                                                                                                                                                                                        j
                                  Tem perature 97.7
                                               Weight fblankl
  1.-.                                            SPO2 I99
              ... .. .. ..... .. ..- ,........ ...- . . ...            .0                                                                                          j
                                                          .        .. - ......,.
                                                                               ..... .. .... . ...... ........ ... -.... .-. ..... .. ..
                                                1.11t:)'tt.i,'!' iii:'-,                                                            . . . .. . ... . -.... ..- . -
                                                                                                                                                                   q
                                                  .,.-.....
                                                          ,,... I
                                                                .
                                                           ..-. .,-.
                                                                       1:
                                                                        fi
                                                                         ' '
                                                                           - (E
                                                                              ,4:i
                                                                   .-w ..... ....,
                                                                                   (:
                                                                                 ....
                                                                                      ,
                                                                                      r-
                                                                                       I :., :.;if:;I
                                                                                                    4:f:;1ë.l(creater:5(:)ti;1à''-.:E2c:E!(
                                                                                      -.....,....-...,,
                                                                                    .,.               ...........,.-.....,....
                                                                                                                             ...
                                                                                                                                     -
                                                                                                                                                 :)2c(:)-rr
                                                                                                                                  .. ... ............
                                                                                                                               - .,                 .-...-,..-.-.-.....
                                                                                                                                                                      ,..-....--.....-.             j
                                                                                                                                                                                      .-...,....-....


                                                                                                       ..


                           DateofReading 05-16-20208:46pm                                                                                                                                   ..,
                                                                                                                                                                                              j
vcso-medi
        cal/Modules/cbaf histol .php
                                                                                                                                                                                                  I
         Case
      6/11/2020 1:20-cv-23783-MGC
                               COrEM;Document    1 Entered
                                     -RADETIC, SEBASTI      on FLSD
                                                     AN -#WCSO2O       Docket
                                                                JBNOOO629(10-24-109/11/2020       Page
                                                                                                   storyIv176
                                                                                 976)::FullPatientHi      5.5.0 of 276
               !                               DateEnteredI05-16-20208:
                                                                      46pm                                                                                                                                r
               l
               j Bl
                  oodPressureSittingj119/83                                                                                                                                                               j
                  BloodPressureStanding (bl
                                          ank)                                                                                                                                                            1
                                                                                                                                                                                                          4
                                                  pulsesittingls6                                                                                                                                         4
              '
                                         pulsestanding'(blank.
                                                Respirationj16
                                                                                   j l                                                                                                                  j
                                                                                                                                                                                                        '
                                                                                                                                                                                                       j.
                                               Temperaturej
                                                  .   ..   !975 ..
                                                                                            .
                                                                                                                .
                                                                                                                                                                   -           ..                       11
              k                                               ïveigl
                                                                   atj
                                                                     .22a                                                                                                                              ù
           #  '        .                      .
                                                                 spoz1
                                                                    . i'9:
                                                                         .0
           j
           .
           ç                                                     NotesjEnteredonasickcalcreated05-16-20202046 !
                                                                                                              4
      '
           j
           ..                                                                     y                                                 --
                                    Date o:. Readl.ng '  . .
          à
          ?                                           .$Ob- !6-,d0,
                                                                . df
                                                                  .J-4...i
                                                                         ..
                                                                          -pm g
                                                                          (     '
                                                                                .
          h
          ;                            Dat.e Entered 1j00-
                                                         c 1rax-zcgc.4.  y7 pm j.
                                                                       .       r,
          ( BtoodPressureSitting;14
                                  .QIo
                                     *7                                                                                                    k
                                                                                                                                           '
           '                                                                          i
           r':DtLXCJQ rereSSLIli,atanol        ng ï..  w.E./.
          ja= .= m=== .==m==        . .. ,-u                .1= z....s..umomm-jxamm m j.
                                                                                       ,
           :                 a
          i                  r'tzr,o'6 wCr)...
                                           r.ttilCr!so*'w-
                                                                               .*
          n
                                      -. r
          ).                          cuk:.ï>.o..:
                                                 e&p
                                                   .kw.....ii.1:.pl;;t-t.v ,. . .-
                                                                         ..?
                                                                           cz.ltt.t                                                       r.I
          ,                                                    n..                                                                         L
          j
          :                                   F.es1 0'
                                                     Ci'at(of-t;                                                                          .
                                                                                                                                          r
          7
          .                                 *(mri-ipsra't'ure;rat   ka2                                                                   p
                                                                                                                                          M
          1'
          j                                         Vt.ie.pght9t.-u:lb..                                                                  t
                                                                                                                                          !
                                                                                                                                          k
                                                                                                                                          a
          ;                                                                                                                              /
      yu
                                                              SPCea.,ji
                                                                      k2.-,r.)
                                                                                                                                         j
                                                                                                                                         1
                                                                w )' 'p ''      ?                                                        '
                                                                                                                                         '
      /'                                                      VOLOS, ;.
                                                                        j
                                                                        %
                                                                        .
                                                                        '.
                                                                         h:Zf'
                                                                             -
                                                                             ti.
                                                                               '
                                                                               j
                                                                               .                                                         .t
  '

      '
      I
      ;                              Dsf.e otReJ)t'f;nz                              'O5-7t    :3-20?O rn'..r.()a!m                                                                                '
                                                                                                                                                                                                   #'
                                                    -..- -.-.- --...-...- ......*
      ...---.....----....-..-.....-........--.-.-....
      r                                                                                ........ .....-..--..........-..$
                                                                                .-...t..                               .........-- ..
                                                                                                                                    - --- ... .......
                                                                                                                                                   --.. -. .....            - -----...---..-..--.-...-,
                                                                                                                                                                       ......                         1
      .
                                                                               .
                                                                               ,           .
      '                                   DateEnfered.05-I6-20206.
                                                                 30al
                                                                    nn                                               .
                                                                                                                                                                                                   j
                                                                                                                                                                                                   $
      j
      !
      ; Biood Pressure Siiting $
                               ; -i,73479                                                                                                                                                          '
      s                        T                                                                                                                                                                    '
      ?
      -                                                                        '                                                                                                                   I
      ;Lkood Prlssur/Stariding 9Ibianlll                                                                                                                                                            !
                  PuIse;Sittir.g;
                                )r:;J                                                                                                                                                              .1
                                                                                                                                                                                                   r
      i
      $
      .                             Pulse Sianding 1
                                                   :r.
                                                     /
                                                     )?ao4œ
                                                     '    /                                                                                                                                         2
                                                                                                                                                                                                    $
                                                                                                                                                                                                    '
      @                                Respiration i
                                                   .$r.t                                                                                                                                           .'


                                          T'
                                           emperatul'    e ,9:.2                                                                                                                                   !
      '
      ,.           .       .    .            .
                                               v
                                               .
                                                 veio   l
                                                        at!
                                                          '(biank'l
                                                    ''''' #@'     '                                        .
                                                                                                                                                                                                   4
                                                                                                                                                                                                   :
                                                                                                                                                                           .        .          .
      $                                          SP0 2i'99.0                                                                                                           '         .
      j                                                     Notes Enteredonasickcailcreaied05-16-20200629j

                               DateofReading 05-15-2020 9:16 pm
                                 Date Entered 05-15-2020 9:17 pm
        Blood Pressure Sitting j126/90
      BlocdPressureStanding fblank)                                                                                                   X
                 Pulse Sitting j73                                                                                                    '
                                                                                                                                      (
                                 PulseStanding lblankl
                                        Respiration 16
                                       Temperature 97.0
                                           weight. 222
                                                   A                                                                                t
                                                                                                                                    ,
                                                           SPO2I98.0.                                           .

                                                           Notes (bl
                                                                   ankl

            DateofReading 05-15-2020 8:19 am
wcso-medical/Modules/chafhistol.php                                                                                                                                                                           62/70
        Case
     6/11/2020          1:20-cv-23783-MGC
                                       COFEMRDocument    1 Entered
                                             -RADETIC, SEBASTI      on0J
                                                             AN -#WCSO2FLSD
                                                                        BNOOO6Docket
                                                                              29(10-24-109/11/2020
                                                                                        976)'
                                                                                            .'
                                                                                             .Ful       Page
                                                                                                         stol lv177
                                                                                                lPatientHi      5.5.0 of 276
              j                     Date Entered,05-15-2020 8:19am 1
                                                                   .

              1 Elood PressureSittingI0/0
              ,                                                      .. ...   -        ..
                                                                                            2
                                                                                            !
                  BloodPressureStanding'112/71                                              1
                                                                                            -
                                                                                            1
             l
             j.
                                    PulseSitti 'Lblankl
                                             ngj                                            1
                                                                                            -
                                                                                            j
                           puksestandingI7o                                                 l
                                         Respirationlla                                     .
                                                                                            1
             .                      Tem perature 97.8                                       )

             ,
                                               sr-c2.kg9.()
          ;
          .                                   r
                                              kotes,!fblank.
                                                           l                                l
                                                                                            i
          #               ...     c e,..p .. !
          t               Llate ol  xeaolrl<o' >tO5-..1Z!-2020../v..0.I.am                              1
                                                                                                        r
                                                                                                        1
                                                                                                        p
          l
          '                   DaEe Enï.ere'
                                .           J. .205-14-2Oz  ...O -(
                                                                  ..:O1 am                              .

          >
          ;        BloodPressurec
                                paittingi1O7
                                           ,/7O
          ! -.Eood Prezs:r-:re q
          ;E'                  wtand..
                                     Ino r
                                         i.t-uu.:S...,,..7                                           y
                                                                                                     ,
          '
          '                         ..
         r.                     FI.Jk
                                    ,E;C-.w(:.
                                             hi
                                              ;u
                                               z.,q.i
                                                    ;.
                                                     en.wt:jL'w
                                                              c.w
                                                                c:                                   ..
                                                                                                     .

         i                 t!hulc-;z c>anelina.,.. tI'*lar'feï                                       .
                                                                                                     '
         .                                         r1        -                                          .

         l                           Respiratiok
                                               'Iù
                                                 :.-
                                                   1o
                                                    -                                                r
                                                                                                     .
         ï                      v .         ,      lch= .-,                                         k
         ?                      ,kii'idpei-aftii-e dx,/.l                                           .
         l                                  t6fe!Uh!',.9G: --1                                       F
         .
         ,                                    --   ol
                                              >v0 z#Rj.Q ..n'                                        @
                                                                                                     C
                                                                                                     s
         k
         2                                    KIOteS j
                                                     ;u
                                                      ;:
                                                       -:rla
                                                           freC'Orla Sl
                                                                      '()j
                                                                         çCajj(;
                                                                               reatedO6-14-2O2O OR   '
                                                                                                 w59 t
                                                                                                     '

     '


         j               t.ao
                            htqkoib-vipc'!ià1t
                                             'kk
                                               -:kwu-I..
                                                       :-r-w=w w.o.v h'ljI                          n
                                a z r:..' . '' ;r <'n rap'pcïz:.rg ...                              !
                                                                                                    '
         y                                              d                         r'                 ;
         à -
           -  ;w'--'-h..tr
           ...k          ka-.
                            (z
                             -3::Su:        t'n)r.;;r-. 1, exr'm n
                                   ere.w !ww..:c ' !zs...
                                                        'ts.a                                       ''
                                                                                                    k
         ;r.*'- -* TPr-.zc.(
                           rrep.r R*.rr-el;.ee-d
                                               drn'r..%(rF                                          '
                                                                                                    l#
                                                    c q.              ..                            j
                                puIsesittin*
                                           o
                                           '9;1()
                                                8         .                       ..            .   i
                                                                                                    L
                         p..t.'r
                         r         (:y1e
                               .EU u.    !.ht.
                                       -*L   x.,
                                               ''riC', j
                                                .      .
                                                       L,%1,z
                                                            w.ut.9/-.,'                             Li
     x                                              ...       1       .                             1.

     1
     1
                                    rktei
                                        -i'ii
                                            àklk'
                                                hl'1
                                                   .
                                                   ;
                                                     Ikp                                            j'
                                -                                                                   I
                                1em perature 1
                                             t99.7                                                  ?t
     8                                     Vk'elght1
                                                   .Iblank.
                                                          l
                                            SPO2io7
                                                 w .c

                                            Notes Entered ona sickcallcreated 05-13-2020 1850


                       Date ofReading 05-13-2020 6:28 pm
                         Date Entered 05-13-20206:29 pm
                  BloodPressureSitting O/0                                              ,
                                                                                        j
         Blood PressureStanding$
                               j122/80                                                 --
                                                                                        8
                                                                                        j
                            Pulsesl
                                  ttingdtblanlkl                                        1
                        PulseStanding 91
 .                         Respiration 18
                            Temperature 98.2
                                W eiglat 211
                                            SPO2 98.0
                                           NotesjLblankl

                                                     1                                 l
wcso-medi
        cal
          /Modul
               es/chafhistolophp                                                                                           63/70
        6/Case
          11/2020 1:20-cv-23783-MGC
                                 COrEMRDocument    1 Entered on FLSD Docket 09/11/2020 Page 178 of 276
                                        -RADETIC, SEBASTI
                                                        AN -#WCSO2OJBNOOO629(10-24-1976)::FullPatientHistoryIv5.5.0
             I                       DateofReading105-12-20209:34am 1
             !                          DateEntered 05-12-20209:35am j
                                                        .

                     Blood Pressure Sitting 0/O
                 Blood PressureStanding 120/105                                                                    1
                                                                                                                   2
                                          PuiseSitting fbl
                                                         ankl
             -
                                     pulsestandin
                                                . g1
                                                   9104
                                           Respiration 20                                                      j
                                          Temperature 97.2                                                     1
                 .                                weiqht
                                                     ''' ? 200
                                                         '  .       .       .    .
                                                                                                               d
                                                                                                               .'
                                                                                                               .
           j                                       sPo2 98.0                                                   j
    d
    '
    X



                    .,.
                    , 1,
                       .          .'   k
                                       !
                                       ;'
                  Dot   e ofReadl  ng j!'05-11-  20m08. 8...,'
                                                   /.:
                                                   .
                                                         .. v.
                                                             $.4 pn..i
        ,
                                       y                                                                            -'
                        Date Entered.'#
                                         0 w
                                           Q-1 1-202  0 i
                                                        ):wd   4.
                                                                  prci
                                                                                                                                                                .
                                                                                                                                                                '
         )                            1'           .                                                                        .     .                     . -..-
                                                                                                                                                              .

        !' Biood'IDressure Sitting .it   -
                                      . --!L'
                                            T
                                            . l
                                              '
                                              cho                                                                                                             ' :
                                                                                                                                                                i
                                                                                                                                                                -
        ..                                                      i-      .        xwm-       lv r=w       waav .= .
                                                                                                                 '= .rszz:tuxarz-'eiu---carxo--= zga > 2u--1rr


                                      T''rrrk.% Cw?/L'..-e. ;M'Q-
        ;                             : vG*w - w kwu.:by.).!up                                                                                              .
                                                                                                                                                            '.
        7                       C
                                t' .r
                                  w;LSt3 C
                                         w'
                                          ';E<#
                                              c'.Ct=.
                                                   V?
                                                    v:*tG !
                                                          ' '-.                                                                                             7
       4
       r                                  O
                                          :*%ne
                                             >o%ve%:ie-*'
                                                        )#
                                                     rou?u*-
                                                           .:!:'1i6
                                                                  kt
                                                                   z
       t                        '         >**= '= '
                                    *r.M '.                 >!'                 = J rtJ                                                                     0:
       8                              -                         '                                                               - . .. ... .. . '   '     '''9
     k                                 kemperature '      .r- ,.o      -                                                       R,
                                                                                                                               ,
                                                          3
     :
     y
     #.. . . .          .       .
                                           L%lGjw.
                                                c;Ujt
                                                    &.rr..#1/u'.1.p,.;/o''-?.'I'I;:.',l3                                      1
                                                                                                                              ,%
                                                                                                                              ql
     4                                       spcc'j!      $0c.n
                                                            . .,...,                                                          j
                                                                                                                              (
                                                                                                                              '
                                                                                                                              .I
                                                                                                                               j
                                                                                                                               '
                                                        i
                                                        $' . .                                                                ,
                                                                                                                              .
                                             Nl *a. t
    ,
    #                                         cv sJ     Fu c-,  !   .>pkLwcs    -w
                                                                                 ow    4cml
                                                                                          .l
                                                                                           no-gjo
                                                                                                e.j
                                                                                                  v
                                                                                                  -um,
                                                                                                     .
                                                                                                     r
                                                                                                     -
                                                                                                     zju
                                                                                                       -p
                                                                                                        .'
                                                                                                         --*->.
                                                                                                              #C;78d2MD(;e
                                                                                                                         h/
                                                                                                                          5#O
                                                                                                              ,dorztmul .0- 11- we- zt/-rz. 1
                                                                                                                                                            .




    1
    p                       DateofReadino   l05-11-20202:49pm
                                        --' '                               .        ..          .
    1                               Daie Eniered )
                                                 !
                                                 rO5-'i'i-2020 2:49 pm
                                                                     - '
                                                                       :;
    l BloodPressureSittingr
                          :.
                           122/84.                                                                        '
                                                                                                          ;
       BloodPressureStanding Lbl
                               aak.l                                                                      4
                                                                                                          ;
                              PulseSitting)96                                                         .
                                                                                                      i
    1'                      pulsestanding!pa/eo/
                                               z,                                                    -7
    t                                ReSPirationj-
                                                 1E;                                                     :
   '                 -. .. ..
                                    T
                                    -
                                      emperatureI
                                                #
                                                 98.6                                                    ;
                                                                                        .

   I                                        W eightj2O2                                                  j
                                              SPO2 98.0                                                  j
                                              Notesjftvank.
                                                          l                                              '
                                                                                                         j
                        Date ofReading 05-11-2020 5:37 am
                 Date Entered 05-11-2020 5:37am
        Blood Pressure Sitting 100/68
    BloodPressureStanding tblank)                                                                                                                       t
                                PulseSitting 127
                         PulseStanding Lblank)
                            Respirati
                                    on lblank)
                           Temperature (blankl                                                                                                       ,

                               Weight Lblank)
                                           SPO2 98.0
                                           Notes Enteredon a sick callcreated 05-11-2020 0536


wcso-medical
           /Modul
                es/chafhfstol.php                                                                    '
       Case
       /2020 1:20-cv-23783-MGC
    6/11                    COrEMRDocument    1 Entered
                                  -RADETIC, SEBASTI       onOJBN0
                                                  AN -#WCSO2 FLSD   Docket
                                                                 OO62         09/11/2020
                                                                     9(10-24-1976).             Page
                                                                                  ';FullPatientHi      179
                                                                                                storylv5.5.0 of 276
                          DateofReadingl05-10-20203:59pm
                                                                                                        r
                                  DaieEnteredu05-10-20203:59pm                                          1
                Blood Pressure sitting. 98/68
            BloodPressureStandingèLblankl                                                            ;
                                  Pulse Sitting )80                                                  '



        j                  PulseStandinjj(bl
                                           ank)                                                      ;
                                      Respiration 18                                                 $
                              Temperaturel99.
                                            3                                      .   .    .
                                                                                                     1
                                                                                                     !
                                      .
                                              weightr.fbl
                                                        ank)                                         1
       j                                       sPo2j96.0                                             !
       '
       ;                                       Notes#Enteredonasl
                                                                ckcallcreatecl05-90-20201555y
   '


       #                    - i,.%c. .- rs 'o .
       l       Da
                .
                  te ofReadl ng ;t
                                 po-IO-zOzO 7.50 an-l                                               'f
                                                                                                     ;
                                i ,
                                  -
       .
       !.
                   Date Entered iOa -d,O-.z'
                                           02O -(.:50 acj
                                                        n                                           4
                                                                                                    ,
       t
       I  Bi
           ood Pr
                es  sure h
                         Q
                         an
                          1
                          -tt
                            ina
                              w''.
                                 1-
                                  '
                                  w/'
                                    t
                                    n/'>
                                       u'
                                        ;(l                                                         p
                                                                                                    ;
                                                                                                    '
       '
       )
       .                                                      $.
       !.r;r-'iztzftr fett:vufi:rty-Lizb'ri.i$pII;Ti'//.p/t
                                                          r!,?> l
       r                              .- . .        ' .
                                                    i                                               '
       t
       >                    r'utx.o o ïkkttI*'  th'yk. DJ                                           '
                                                                                                    r
       >'                                                     b
                         7.';ise.Q.tan6 ;n()ri-h/'a'271,1'                                          !'
    k                             -  r/*1;'*!.!F
                                          .    k ,:a:h
    .
    y                         > .99r
                                   k.
                                    >,  -,t    : (                                                  4
                                                                                                    :
                                                                                                    %
    j
    i                                          j                                           ''       j
    r
    :
    i
                             '
                             i-
                              e'
                               m perature)     ..
                                               1
                                                 9-/.?                             '                 d
                                                                                                     '
                                                                                                     .'
                                                                                                     ''
    j.,
    #'                                                        )
    .                                     i.â.f.
                                          '    .4f
                                               k
                                               , .:i
                                                   .t:yjiq
                                                         .dE.1
                                                             ,.:
                                                               .7
                                                                .)
                                                                 ,.-
                                                                   l'
                                                                    -h
                                                                     -i
                                                                      ,t.
                                                                        :.
                                                                         r-
                                                                          :                         ;'
                                                                                                     -'
                                                                                                     ;'
    t                                         Q'F/*l7h:);:T                                         j
                                                                                                    .



    j                                         i
                                              Motes jcf1tirl
                                                           't
                                                            '
                                                            :i
                                                             :iOr)a SICKC&l
                                                                          lCFCCFIL6Q Ua-1U-zt/zt
                                                                                               ptpIVL
                                                                                                    Jf


   /                   DateofReading'
                                    r05-07
                                         . -2020 1:
                                                  46 pm !
                                                        l'
   l
   F          Dmte Entermd k
                           . 05-
                           -
                               07.2020 1:46 pm t
                                               ;
   k Llood Prossure sittiog)129/83             $1
       Biood PressureStanding'
                             jLbisnkj                                         ;
   t                       pU!se sitting '
                                         t8a                                  ;
   )                   r>,; 's/
                       . ..CFQ uac
                                 .n
                                  .,
                                   w-
                                    '
                                    .;
                                     .r
                                      cg l'rbnp
                                           '...
                                                :p'
                                                  -.
                                                   p-7
                                                    '.
                                                     '    .
                                                                              :
            .                 .                 .              .              $1
   i                          Respiration,'
                                          i8                                  r
                           Temperature,97.'i                                  p
   i                                      weight 2o8                          ,
                                                                              1
                                           SPO2 98.0                          j
   j                                      Notes fblankl                       1




  Blood G lucose Levels
  (140Records)




  M edicalSick Calls

                   Ca11Date os-1o-2o2o 7:50 am                                                              1
                                                                                                            ,
wcso-medical/Modules/chafhistol.php                                                                              65/70
        Q/Il/ZUZU                  COrEMRDocument
                                         -RADETIC. SEB
               Case 1:20-cv-23783-MGC                1ASTI
                                                        Entered on0J
                                                         AN-#WCSO2 FLSD
                                                                    BNOO06Docket
                                                                          29(10-24-109/11/2020
                                                                                    976.
                                                                                       )::Ful       Page
                                                                                                     storyIv180
                                                                                            lPatientHi      5.5.0 of 276
                                       Clinician Name HannahJordan                                                                                                              !
                                                                                                                                                                                y
                   RequestedbyPatient? No                                                                                                                                       1
                                                                                                                                                                                $
                                              Subjecti
                                                     ve 05-10-20207:50am -Jordan,Hannah:V/SQ shi
                                                                                               ftAM 1
                                              Objective (blankl                                                                                                                #
                                                                                                                                                                               t
                                                                                                                                                                               ;
                      -..----. .- -.       Ass
                                           -. essme
                                                  .
                                                  .
                                                     nt tbl
                                                          .
                                                           ankl                              .          .
                                                                                                                                                                               1
                                                                                                                                                        . . ..    -      .
                                                        Pi                                                                                                                     j
                                                            an (blank)                                                                                                         j
                                                                                                                                                                               è
                                             Education (blank)                                                                                                                )
                                           Recorded By Jordan, Hannah                                                                                                         @
               NotesRegarding NoteOff (bl
                                        ankl                                                                                                                                  1
   '




                  Ca11Datel05-10-20203:59pm
           !      '.'
                  t h;in1c1anhkSarah Rosm
                    e
                                                                                                                                                                                                                                                                               '
                 Name- '
                       i                                                                                                                                 .
           i Requested k
                       /a,
                        $
           l bypatient?:uo                                                                                  -
           d
           '  .
        ? Stlb/   .
               ectl
                                       t
                                       1
                                       >
                  ve 05-10-2020 3:59 pm -Rsse, Sarah :V/S Q shi                                                                                                                            .                                                                                ;
                                                                                                                                                                                                                                                                            J
        ;                                                     ftPM                                                                                                                                                                                         '                2
                                                                                                                                                                                                                                                                            :
        >
                t' 'n! rri
                 -).- iF'-...Nc
                              r-z.'t>l.
                                      G-'.,-'1--'J4.'-'
                                                      kf-p-q.'w.
                                                              .2.utJer'.rin.- ,k.x.z-t>,wc'.z-:zv .Q..w.
                                                                                                      :>.
                                                                                                        r.
                                                                                                         r-..
                                                                                                            rn..
                                                                                                               ...
                                                                                                                 Q..r
                                                                                                                                                                                                                                                               .            J
                                                                                                                    pn./
                                                                                                                       w'n1
                                                                                                                          1-kr
                                                                                                                             .o
                                                                                                                              .e5?.di
                                                                                                                                    .f
                                                                                                                                     vl
                                                                                                                                      .nI'
                                                                                                                                         r'A,<'
                                                                                                                                              n
                                                                                                                                              ;.#.;
                                                                                                                                                  ;t
                                                                                                                                                   o
                                                                                                                                                   wr
                                                                                                                                                    .nI*
                                                                                                                                                       u.k
                                                                                                                                                         ,-i'c.... rwm*.cw.fvcw%c.
                                                                                                                                                                                w ''
                                                                                                                                                                                   ;
                                                                                                                                                                                   iG
                                                                                                                                                                                    v=  D.w'D 7
                                                                                                                                                                                     'Iv,      -.cwt
                                                                                                                                                                                                   z-- 6Q .4'-..,.
                                                                                                                                                                                                                 .7 ...
                                                                                                                                                                                                               u8 t. 'r'4'-e%'''Ce'''h'-'11>! '-
                                                                                                                                                                                                                     r<
                                                                                                                                                                                                                      xSft-
                                                                                                                                                                                                                          NCQ
                                                                                                                                                                                                                            vl'
                                                                                                                                                                                                                              j-
                                                                                                                                                                                                                               4&u;
                                                                                                                                                                                                                                  lfhN
                                                                                                                                                                                                                                     l'lm'h k'v''t'%pla.'I*s,,
                                                                                                                                                                                                                                                             tt
                                                                                                                                                                                                                                                              :r
                                                                                                                                                                                                                                                               tq
                                                                                                                                                                                                                                                                'm
                                                                                                                                                                                                                                                                 -'         '
        t                              xerrlv rtejft.
                                                    e''.
                                                       r:?:J!Jkr'ls :$1,/)rz
                                                                           'tuJ!tat:n: ...r.7pnID.n . .nni
                                                                                                        . r .7#1m zz.c ;:.8cf= p n :'. r.=,-,r-'cz :''.-=Llk/'l'.  Iw u.c.zw vr'vliwukIwwul. l%u
                                                                                                                                                                :rhrh1'c:it.r.
                                                                                                                                                                                              .-.w          ''FQ                                                           -
        ,
        ..                             J'o .        : , ,          .        .
                                                                                                                             . .e                                            'rn '
                                                                                                                                                                                 -.-'fz'-'csi'x exSr.t-1DJ.
                                                                                                                                                                                                          '',î- e-.'-a cexe-ov'a.rè -''' airvn'z.e.r
       :                               ko u<.pr.au'tQ kl':.
                                                          e%P- Ja'lle!-t11E ,e- af.-):s;';'Nl>êrlr1a)':rka .%%'aIerVr(7m fB>C ?()l1w'Nl,
                                                                                                                 .                ..                                                           1                        l  :                                               j
                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                           '
       'Assessment#
       d          'fbiankl                                                                                                                                                                                                                                                 .
       k
       ?                 ...e  l ..
                                       '                                                                                                                                                                                                                                   p
                                              .. .. .. ..                        ....
       :
       .
       $                 kelarl#
                               :?t.x-,4p-#1'7#I q'wat.  lrnm                 -   Fn/oq'sa Qorpin 'f-vnrsAy
                                                                                                         .r
                                                                                                          !llo ''w rvdmnitzxr esro'.l mer
                                                                                                                                        .avl'ui'
                                                                                                                                               4c/z'x,-8                                                                                                                   r
                                                                                                                                                                                                                                                                           j
       jà Educ.
              otl-
                 or)) r
                      u,
                      . w.,.
                           -
                           ,,/
                             k.7
       .'
        .           .
                    jtw,      -.                                            .               .                                                                                                                                                                               i
                                                                                                                                                                                                                                                                            .
       %            ?                                                                                                                                                            s wu       wxv .- -.          -                                   .   .                    j
                                                                                                                                                                                                                                                                            N
       ' Weccrde'l**0'    -* *-1---.
                                   %                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                                                                           jl
       $
       i         Bv
                  ..l
                                                                                                                                                                                                                                 .                                         j
                Q.mtet
                     a ji:QG.
                            ;r''
                               n6
                                ..'i
       : F
         >Ysc
            ..,ard? n
                    'r
                     >rf
                       .
       '
                       j
       .
       l jv;ow  to '
                   wxN
                     I,k
                       y
                       t                                                                                                                                                                                                                                                  P
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                          j
                                                                                                                                                                                                                                                                          .




       i                                    cat!Datol05-
                                                             g 11-20205:37anh                                                                                             )
       '       ()#;
                  .r!F
                     .c'
                       .an K.l
                             ame AmberGodbcl            t                             1.
                                     v
                                     !                                                j.
         Requested Dy Patient? lko                                                    i
                                                                                      l
                      Sutkigctfh'e:  l05-11-202C 5'37 am -GodboltAmber:VIS Q shiftAk1 C
                                                                                      '
      !
      .2               -.- 7 z.j.u.7
                       -
                       w buaa.     j-'t-j..-z,a,it's.j-
                                                                ,                     (
                                                                                      '
                                                                                      '
                                                                                      j
                                  Assessment (blankl                                                                                                                    ;
                                                                                                                                                                        t
   '
                                         Plan lblank)                                                                                                                   '
                                                                                                                                                                        ,
                                    Education tblankl                                                                                                                   j
   I           Recorded By Godbol
                                t,
    Notes Regarding Note 0/ C
                                   Amber                                                         .                  .                                                   l
                                                                                                                                                                        3
                                                                ompl
                                                                   eted.                                                                                               I

                                        CallDate 05-11-2020 8:
                                                             44 pm
                 ClinicianName JeanneKever                                                                                                                                                                                                                            I
  j
           Requestedbypatient?.No                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                      ;
                                  Subjective 05-11-20208: 44pm -Kever,Jeanne:V/SQ shiitPM                                                                                                                                                                             9
                                   Objective 05-
                                             dr  11-20208:44pm -Kever,Jeanne:Oralmucosai
                                               ink                                      spi
                                                                                          nkandmoi
                                                                                                 st. Offeredfoodand fluids, Ptrefused both food and
                                                                   .


                             Assessment fblankl
                                    Plan fblartkl
                               Education fblank)
                           Recorded By Kever, Jeanne
           NotesRegarding Note (blankl
                                                 0f17

wcso-medi
        cal
          /Modul
               es/chafhistol.php
                                                                                                                                                                                                                                                                   66/70
            b/)7/ZU2U                   COrEMRDocument
                                              -RADETIC, SEBASTI
                    Case 1:20-cv-23783-MGC                1 Entered on FLSD
                                                              AN-#WCSO2O       Docket
                                                                        JBN000629(10-24-109/11/2020       Page
                                                                                                           storylv181
                                                                                         976)::Ful!PatientHi      5.5.0 of 276

                                  CallDate I05-13-2020 5:13 am
                            Clini
                                cian Name HannahJordan
                             Requested by No
                                 eatient?
                                                                                                                                                                                                                                                        I
                                   SuWective 05-11-20202:4:pI
                                                            ))-Jordan, Hannah '.PtclaimsI3e hasbeen on hungerstrike fo                                                                                                                                  j
                                                                 refuse lunchwhen he gothere today perofficers.                                                            rj0 days,BCDC did notconfirm this, di
                                                                                                                                                                                                               ci
                                  Objective iblanlf
                                Asslsslmont lblalîkl                       .                                                                                                                                                                          (
                                       2:I;irljrI)/é)/
                                                     n/t
                                                       y                                                                                                                                                                                              ,
                j                  Euucason fblank)                                                                                                                                                                                                   F
                1
                r
                ;
                             Recoî'
                                  dedBy JordanHannah                       ,
                                                                                                                                                                                                                                                    j'
                                                                                                                                                                                                                                                    ;
            h tta--cssoNgot
            k
            l
                         aredi
                             ngf!'
                             Of  s
                                 f;
                                  uani
                                     q                                                                                                                                                                                                              j
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                    !
   '                                                       '..
                                 .. ... . .. ... . . .. .... .    .   ..       . . ... . . ..
                                                                                            ......,. . ....   ,... ..   .   .   .   .        .        .   .   - ..- - --..- ...--.- - . .   ....-.....-- - - .- ....- .                             t
                                                                                                                                                                                                                          .-   .               2
                                                                                                                                                                                                                                    .......- - ..


            ;                                2
            i          t
                       caIiDatejO5-1o
                                    '
                                    --z
                                      '
                                      sO2O6;54 pm
            !                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                    t
                       up:Ktç.wtû.ti)
                                    r,-..a1..
                                            ::,
                                              fie
                                                j.
                                                 '-
                       ,..,t . . -                   .                                                                                                                                                                                              .
            :
            .                        wr           xklo o
            '
            t                     ; ne:,
                                luar   ''                                                                                                                                                                                                         f
                                                                                                                                                                                                                                                    t
                                                                                                                                                                                                                                                  '
            w
            :
                    ;.r.
                       .'
                        .Z'.
                         '....
                           v   --.
                             YC.
                               .w.ewA l
                                  ..  >lvi,.x
                                          .j.v..e
                                                                                                                                                                                                                                                  1
         h 2../, .                                                                                                                                                                                                                                :
                 t.
                  *-
                   1art,  .it.
                       lfr;  kg.
                               .k
                                j                                                                                                                                                                                                                 ''
         l
         ) SUDz     ;    &p.
                     G-Cw.*'C -Ibn
                                 w=
                                  %  ,#,7 e)/%eln p.                                                                                                                                                                                           r,
                                  .è-'o -z.wz        r:
                                               .w u .w 4
                                                      '.
                                                       rt.g
                                                          .i.j-
                                                              4-I=xOS6.w
                                                                       Ci3(&I
                                                                            1
                                                                            -I.
                                                                              .h
                                                                               A??
                                                                                 t/
                                                                                  gke
                                                                                    .>
                                                                                     .tSq
                                                                                        t-i:
                                                                                           t.
                                                                                            e
                                                                                            çt>
                                                                                              ch
                                                                                               Iîpè
                                                                                                  t                                                                                                                                            P
         1
         .            Obl
                        -eGt*
                            Eh/e $05-13-202O 6'
                                              .54 nm -Ros   e, Sarah :PtacceDted 8 ouncesc'f                                                                      '
                                                                                                                                                                  !
         ï
         k
         k              '
                        -         ana1made nomedl '.caireou es t
                                                               s  Appears.
                                                                         In '
                                                                            no apparentH
                                                                                           . Gat
                                                                                               ora(:1e'.anc!d
                                                                                                   . . .
                                                                                                            wranItboth1nfrontofthenurse. DEn1ad a.
                                                                                                                                                 l
                                                                                                                                                 nv  cC,
                                                                                                                                                       r
                                                                                                                                                       nD  1
                                                                                                                                                           a 1
                                                                                                                                                             ntS
                                                                                                                                                               :  2
                                                                                                                                                                  .
                                                                                       -i
                                                                                        stress,h1
                                                          '     .                                             ,  I       .      .                 ''     '      ,
                                                                                                .0 Inyzrles notec!,andtMlllcontlnue to monl.tor                   '
                                                                                                                                                                  f
                                                                                                                                                                                                              .                                ,
        pAssessmentlfblankj                                                                                                                                                                                                                    k
                                Pian lblankl                                                                                                                                                                                                  $
        $7          ... .        ..       1!-.           -                                                                                                                                                                                    F
        t toucatlon 2tblankj                                                                                                                                                                                                                  .

        l                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                              .?
        i..F  wecerde  J. B
                       r                                                                                                                                                                                                                       .
           . .. ..  .-    .
                            y1
                             p,Rose, Sarah
                                         .           . .          .   .                  -
        t
                        N'Otes lkI'                                                                                                                                                                                                           ;
                            .                          .
       p                          tl8l-lI;'l                                                                                                                                                                                                  ,
       k            Reo
                      =
                       ar dlng                                                                                                                                                                                                                i
                                                                                                                                                                                                                                              6
                     NoteOff


       p
       (.-.-.-.
              - ..z.
                                              CallDate 05-14-20207:01am
                                                                                                                                    '            :
       1                         CliniclartName AmberGodbctt                                                                                 '
                                                                                                                                                 l
                                              .
                                                                                                                                                 ''
       j RequestedbyPatient? lko                                                                                                                 j
                                                                                                                                                 :

                                          Subjective 05-14-20207:01am -Godboi
                                                                            t, Amber:V/S Q shihAM i
   j                                         Objective Jb/a/
                                                           lk/                    .                                                              k
                                      Assessment Jbfanky                                                                                         ï
                                                                                                                                                 t
                                               Plan fblank)                                                                                      !
                                                                                                                                                 l
                                          Education (blank)
                                   Recorded By Godbol
                                                    t, Amber
       NotesRegardingNoteOffCompl
                                eted                                                                                                         1
                          CasjDafe 05-16-20206:30 am                                                                                    )
                   Clinician Name Jeanne Kever
             Requested by Patient? No
                                    Subjective Q5-16-20206:30am -Kever, Jeanne:V/S Q shiftAM
                                     Objective fblnnkl                                                                                  ..
                                  Assessment Iblank)
                                         Plan Lblankl
                                   Education fblankl
              Recorded By Kever, Jeanne
wcso-medical
           /Modules/chafhistol.php
                                                                                                                                                                                                                                   67/70
      6/1Case
         1/2020 1:20-cv-23783-MGC
                               COCEMRDocument
                                     -RADETIC, SEBASTI
                                                 1 Entered  on FLSD
                                                     AN-#WCSO2O       Docket
                                                               JBN0O0629        09/11/2020
                                                                        (10-24-197                Page
                                                                                                  storylv182
                                                                                  6)::FullPatientHi      5.5.0 of 276
             INotesRegardingNoteox
                                 A(b..,l-a.-nk)..--..--..-  .-                         -.. . ... -.
                                                                                                  -. .. - ... ,..... --.-             ... .,- -.       .. - ., .      )
                                                        CallDate 05-16-2020 8:46 pm
             1                            clinician Name Jeanne Kever
                      ':':t''(:1k.'t!'is;$tt,,( :I i:,jp. 1:'-1..L
                                                 -- . t    ... .Iie,.
                                                                    !
                          ---..--.-.
                                   .. -..-........

                                       Subj
                                                      #:
                                                       -
                                                       ?'l
                                                         -1(
                                                           :
                                                           ,        .
                                                                                                                                                                      j
             '.                           -ective 05-16-2020 8:46 p'm -Kever'
                                                                            ,J
                                                                             eanne'
                                                                                  .V/SQshif
                                                                                          lPM 1                                                      ..         .- .. 1'
                                         Objective Jb/a.
                                                       nky                                                                                                            ?
                                     Assessment tblankl                                                                                                              #
                                                                                                                                                                     f
                                                                                                                                                                     l
                                                                                                                                                                     j
                                           PIankIbl&nkl                                                                                                              d
                                                                             M*                                                                                      j
                 .     ..
                                      QdUCztiOR Xxmkl                                                                                                                j
                                                                         ..= . -....- . . .        ..-...- ...-..... .- ...         .- - -.... ..-     . .a..        1
                                    RGCt7Cded By'KeV31-, Jt
                                                          :a1
                                                            3rl$
                                                               9                                                                                                     1
        JNatasRegardil
                     '
                     ;gNoteC.
                            ;
                            '
                            C4
                             I(bl
                                aok)                                                                                                                              .
                                                                                                                                                                  j
        !
        j
        ;
                                         CallDate'.05-17-20208:05pm
        !
        k                      Clj
                                 .nl
                                   .cl
                                     .an Hame Jeanne Kevc
                                                        -r                                                                                                       *
                                                                                                                                                                 j
                                                                                                                                                                 .
                                                                                                                                                                 s
                                                                                                                                                                 '
                                                                                                                                                                 s
                                                  .    *2        .-        ..                                 -- m
        ï
        t            KJerrug6fNc-,* 6 rOa/pz(:>#)'N1C.                                                                                                           :'
                                                                                                                                                                 ..
         ;                                          t                                                                                                             .
        );                      .     Q.ubi
                                      %   /eckl:.ze.1
                                             wK     t.
                                                     lr
                                                      wl
                                                       'G-
                                                        w,1-t7-.'-.
                                                          .       ?w&-''
                                                                       JQ 'Q-..'OwQ 'r)m      -Ilz.'(?).*z:.l.''w,Jca;nrlc..$.1z/wQNwC'
                                                                                                                                      < aI
                                                                                                                                         1-I.lIR1L $7.7''#'Jt 't''
                                                                                                                                                                 ''

        j2                             'e!.* @ ê:- r rk-! :.!
                                       wLjecki%Gjjvtaiàla./                                                                                                      .
                                                                                                                                                                 j
        i'                                             :                                             .-                                                         ..
        :                           XSS(;&G.
                                           ;
                                           11(.
                                              121:
                                                 &,
                                                  r
                                                  lt
                                                   ro
                                                    Gd
                                                     !
                                                     ;t.
                                                       1t
                                                        ;;t
                                                          1                                                                                                      '
                                                                                                                                                                 :
                                                                                                                                         .
                                                       y'                                                                                                       )
        l                                      Plan,lblank.l                                                                                                    k
                                                                                                                                                                ,
      t
      a                               F.Z
                                      : -o'
                                          kjca*
                                              t'
                                               .$
                                                Io;-@J'
                                                      ifi'
                                                         /l
                                                          Jf?<9fsr'.I'                                                                                          ;
                                                       'î
    k
    q              Recor'w c.
                            led ..
                                ;Rj
                                  ',k'ù,'.'ever,w1i,anl-l(.
                                                          ?                                                                                                     j.
                                                                                                                                                                 ç
    ;;                              y
                                    rf
    r K'
       o :c
          -s k
             l
             'e:;
               ..
               , ard1nc2
                      u. N
                         ' o te (
                                4
                                : A
                                  1+
                                   ?  tEt
                                        '
                                        v- '
                                           ?83
                                             /?J,
                                                '                                                                                                               p
    j                                 ''       ''                                                                                                               i.


    .
                     Cal.'Datc O5-18-202f) d.:C.q l-;n-.
    $                 n':-
    ;                 uedrii.
                            iclanlRew
                                    ciii
                                       nah
                                         ,
                                         /1
                                         ..
                                          /si
                                            'd,1
                                               ,
                                               '
                                               .
                                               3P                                                                                                                                 '
    '
    j                       N1ame'
                                 r                                                                                                                                                j
   lReouestedby)No
                 ,
                                                                                                                                                                                  p
   1                  patientg.                                                                                                                                                   '
   '             Q
                 .- ubjectlver
                             jO5-$
                                 .:-2r a:'.
                                     J2r  ,1:5.
                                              4arn-J'
                                                    ai
                                                     'a.aa h,i
                                    rpain thathe fselsi      a.
                                                              '-
                                                               ina7
                                                                  -
                                                                  ..fciii
                                                                        clkk
                                                                           'apa,
                                                                               .
                                                                                tali
                                                                                   ',uik
                                                                                       't
                                                                                        aesl.          -s;.ri                tknehasJ.ayt?pal
                                                                                                            Jki9.ptstatesth,a'              . -           .
                                                                                                                                            nl'rom previouslybrokenJ.aw. , back
                                                      s ra'
                                                          .ateo'to '
                                                                   hunoerstri l
                                                                            ..l    ,-1achiurn,peclt-
                                                                               e,an.               osth
                                                                                                      .
                                                                                                         thathe ïvoula w I
                                                                                                                         ike ta h
                                                                                                                                .aveaddressed.                                    p
             Objective Lbl
                         alîk1
          Assessment iblankl
                 Plan Lblank)
            Eduoaiion fb/ankl
        Recorded By Jordan,Hannah
                        Notes fblankl
              Regarding
                Note0/



  i
                                     Cal!Date 05-18-202011:13pm '
                   Ciinician Rame Sarah Rose
                                                                                                                                                   1
                                                                                                                                                   j
             Requested by Patient? No
                                    Subjective 05-18-202011:13pm -Rose,Sarah:Di
                                                                              pstickUA
                                    objecti
                                          ve (blank.
                                                   l                                                                                              j
                              Assessment Lblankï
                                     Plan fblankl
                                Education fblank.
                                                l                                                                                                l
                                                                                                                                                 t
                             Recorded By Rose, Saral)                                                                                            #
   NotesRegardingNoteOff Lblankl
wcso-medi
        cal
          /Modules/chafhistol.php                                                                                                                                          68/70
        6/1:/:U2U
           Case                          COrEMRDocument
                          1:20-cv-23783-MGC    -RADETIC, SEBASTI
                                                           1 Entered   on0J
                                                                          FLSD   Docket    09/11/2020       Page   183
                                                               AN -#WCSO2  BNO0O629(10-24-1976)::FullPati
                                                                                                        entHi
                                                                                                            storyIv5  0 of 276
                                                                                                                    .5.




                                        CaflDatek05-29-20208:38am                                                                                                                                         t
                                                                                                                                                                                                          !
                                                                                                                                                   .

                             Clinician Name Juarnetta L Morgan

                  Requesuduypati
                               ent? xo                                                                                                                                                                    j
                                   Subjective 05-29-20208:38am -Morgan,Juaoetta:Vi
                                                                                 talSignsQdayperReginaWardFNP-C !
                                    ()t)jt!frti
                                              N'fl Lt$Iarp/f
                                                           y                                                    '                                                                                         '

                                 Assessment IblanlLl
                                            Plan l' blank)
                                                                                                                j
                                                                                                                .
                                                                                                                !
                                                                                                                !
                                                                                                                4
                           c
                           -ducatiorijiblank)                                                                 .
                                                                                                                                                                                                         4
                        RecordedLy Morgjn, Juanetta                                                                                                           -v
                                                                                                                                                               ' .                                       t
                                                                                                                                                                                                         k
                                                                                                                                                                                                         j
             lkotesRegardil
                          ngNoteOf' fëLblankl                                                                                                                                                            d
    '                                                                                                                                                                                                    j

         #
         r                            0.=91n'
                                            A o nrl-on-gngn <O'OQam                                                                                                                                       j
                                                                                                                                                                                                          1'
                                                                                                                                                                                                           ,
                                                                                                                                                                                                          9
         k                 #.*.. . .          ,           k              .a       r                                                                                                                       #
                           wisnùckanNamcyvluarheT'a
                                                  .LAlborgan                                                                                                                                              '
                                                                                                                                                                                                          '
                                                                                                                                                                                                          .
         '
         , Reck
         '    àuE
                jsteo$ h
                       -v
                        'ê Pa
                             e$
                             tE;nt*?j
                              p
                                    k$(
                                      'v'
                                        .
                                        n.,
                                        v    .                                                                                                                                                            !
                                                                                                                                                                                                          i
                                                                                                                                                                                                          ,

                                  w ...))ee
                                          w-.t.ve .1ww..au-zs..Q
                                                            wou                   el,.a,.I,Q ,
                                                                                         ww  r'
                                                                                              xhr
                                                                                                ,.e
                                                                                                  1h$- 1
                                                                                                       A>I'
                                                                                                          k>
                                                                                                           ar'n'-.
                                                                                                             sc  i1R wt'
                                                                                                                       u;'
                                                                                                                         c-N=
                                                                                                                            rxw.-t.
                                                                                                                                  c'-
                                                                                                                                    z'
                                                                                                                                     .hvt.
                                                                                                                                         d>
                                                                                                                                          te.'i
                                                                                                                                           cl l
                                                                                                                                              u.i'
                                                                                                                                                 !z
                                                                                                                                                  w--,
                                                                                                                                                     l-.,w
                                                                                                                                                         .c :
                                                                                                                                                          .w-N:uc
                                                                                                                                                               -.nk,.u
                                                                                                                                                                     r.'-. 7-
                                                                                                                                                                      zor   :76J3i,.-Io
                                                                                                                                                                                      - k't.-
                                                                                                                                                                                          lcxro ,,%., -w f
        >
        t                           (
                                    .n  'lecklN:e yClxa.-.
                                        r
                                     ... z w.. ?x, I,'J  ql                                                                                                                                               '
        .                                                           '                                                                                                                                     ,
                                                         '.
                                                                                                                                                                                                         '
        ,                     Assessment)I
                                         blan'çl                                                                                                                                                         '
                                                                                                                                                                                                         ,.
        d                                    WiX*7jl
                                                  @ftll*m1*u1                                                                    '                                                                       b
        i
        H                                         j                                                                                                                                                      l
        k
        *
        .                        Eo'ucat-
                                        ione
                                           t'
                                              f
                                              ô/e
                                            !*'
                                                 -l
                                                  nka/
                                                     ;                                                                                                                                                   ;
                                                                                                                                                                                                           ?
        e                                  jl                                                                                                                                                            1..
        %
        i                    Rc-'
                                evorded E
                                w        '
                                         $y M ' J'
                                                 cga',
                                                     n,Juc
                                                         qi
                                                          -,etta                                                                                                                                         -
                                                                                                                                                                                                         '
                                                                                                                                                                                                         '.
        lj,rrjt(j r:         .. jg j -.--;r.' '-                                                                                                                                                         ;


                                                      .
    y.       ..    .. .
                                   t;aiIDate t'Uf:l-3el-2UQ(Jt9'2-(a'rln
                                           . F
                                                                                                                                                                                                    t1
                                                                                                                                                                                                    ;
                                                                                                                                                                                                    .
                                                                              .
        .                                             kl                                                                                                 .                         .                p'
    j
    k.w                   oiiitlciai-imai'f'
                                           le twfLlaitetk1 L. 6V$Olgf
                                                                    zlrl                                                                                                                            j.
                                                                                                                                                                                                    j
    '
    1         ''PlouGst
              i x '    rxc'L-.'?'r'
                                 '-'a' t.i
                                         enï.*w
                                              ;'v
                                                '
                                                H
                                                  ''
                                                  (q'o                                                                                                                                              ;
                                                                                                                                                                                                    ?
                          .        . ...
                                                                                                                                                .. . .          .                                   ''
    '
    j                           u<.kLiu.
                                       7jûGtk'vi
                                               D-/klh
                                                    .J-w (-nwzt.klrz.zuI oki$- kViuigèzti,uiUi;zk1;f;ttb .
                                                                                                                               vîk;a,,
                                                                                                                                     :)hg1','
                                                                                                                                     '      akatd
                                                                                                                                                :aEiykzilrIrNiH9!i)ii?'t'*1fCI1--iN!r-k.a '
                                       -
    $
    g
                                  ObJectivek
                                           $
                                           1fblankl
                                           .
                                                                                                                                                                                                    0
                                                                                                                                                                                                    d
                                                                                                                                                                                                    .
    t                       ?L-$26$(è6:2CLL
                                          -d't$-b(
                                                 -t-
                                                   fn
                                                    ''!r-
                                                        /-'/62J-ff'.
                                                                   rJD                                                                                                                             7
                                                                                                                                                                                                    '

   9                                       Pian ît
                                                 '
                                                 otanK/
                                                      '                                                                                                                                            b
                                                                                                                                                                                                   t
   i
   R
                                Educationkp/ank./    .                                                                                                                                             t
                                                                                                                                                                                                   ,.
                           Recorded By Morgan,
                                                                         Juanetta                                                                                                                  )
   jNotesRegardingNoteOff (bt
                            ank)                                                                                                                                                                   j

                          CallDate 06-01-20206:39am
                   Clinician Name AmberGodbol  t
             Requested by Patlent? No
                                                                                                                                                                                               j
                             Subjectivej06-01-20206239am-Godbol
                                                              t,Anqber:Vi
                                                                        ta!Si
                                                                            gnsQdayperRegi
                                                                                         naWardFNP-C'
                                                                                                    !
                             Objective Lblankl                                                                                                                                                 !
                           Assessment lblankl                                                                                                                                                  )
                                  Plan Lblankl
                             Education Lblankl
                          Recorded By Godbolt, Amber
   NotesRegardinghloteOff L
                          f
                          blank)                                                                                                                                                              j

                               GallDate 06-01-2020 10:40 arn
                     ClinicianName RejinaWard,NP
wcso-medical/Modules/chafhistol.php
                                                                                                                                                                                                               69/70
        l3/ICase
            I/ZUZU     1:20-cv-23783-MGC    -RADETIC, SEBASTI
                                      CDrEMRDocument    1 Entered   on J
                                                                       FLSD
                                                                        BNOOO62Docket
                                                                               9(10-24-1909/11/2020      Page
                                                                                                         storyIv5184
                R                                           AN -#WCSO2O                  76)::Ful
                                                                                                lPatientHi         0 of 276
                                                                                                                 .5,

                  equestedbyPati
                               ent?jYes                                                                                                                  i
                               Subjective 06-01-202010:06am -Jordan, Hannah 'SICK CALL REOUESTING TO ''SEE IF ISTILL HAVE W ATER IN MY LUNGS'' ,
                                objectivej(sank.
                                        -       l
                             Assessment (bl ank.i
                                    Pjan (blank)
                               Education Iblank)
                      Recorded By Jordan, Hannah                                                          '
           Noies Regarding Note 01 Pt. seen byR,Ward,NP.No new orders.




         Denta!Slck Calls
         (NoRecords)



        r* .m,...r
                 ....5 r
                       . r....
                             v.SzSe r-.7-.r- ''= - rr
        b*$%.:kb..G b 9*V. O-Ct1.
                                %.lï W .
                                       %b< .
                                           #*w V -
                                                 W*bgYv%'

        (NoRecordsL




   '
        #'Iei
            '
            -t
             -s

                  Aiad                  !         C reaied By#       :
                                                                     j         ()'reatsDazz   '
                                                                                              ..
                                                                                                     Ftenncved By               Rem ol'e Dafe        '
        MedicalTsclation                     . tai
                                            oai  h, '1k              @                        '
                                                                                                                    à                                ,
                                                                                                                                                     ;
                                                      zal
                                                        nal
                                                          n          jLb&
                                                                        '-l(
                                                                           ,
                                                                           $-2C1
                                                                               .
                                                                               Et
                                                                                '
                                                                                )o-.
                                                                                   't
                                                                                    -
                                                                                    ?'
                                                                                     tal
                                                                                       '
                                                                                       l'
                                                                                        h     yJcroan, Mannah           05-14-2020 8:
                                                                                                                                    46 am
                                                                                                                                                     '

                                                                 .

       'HungerStrike
        Boi
          l3nnBunk
                                        jJordan,Hannah
                                        ï!-'r.
                                             e'ai-., l
                                                                     j05-10-20208:C1am        1JordanHannah
                                                                                              j      ,              i05-14-20206:43am               i
                                                                                                                                                    r
                                                                                                                                                    :
                                        ,            -'
                                                      .aocal'.       ;05-22-2020 8:46 arri    iSystem ,
       '     Tier
              .                         'aorcian sannata
                                        t                            'os-22-2c2o 8.46 am
                                                                     ,
                                                                                                          COrEMR    r05-28-2020 12:00am             j
       jl
        -klv/el                                    ,                                          $system , cor
                                                                                                          EuR       !o5-28-2ozo12.00am              s



   Lab Resuits
   (No Records)




  Radioiogy Resuits
  (NoRecords)




  Sm oking Notes
  (NoRecords)
wcso-medical
           /Modul
                es/chafhistol,php
                                                                                                                                                70/70
           Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 185 of 276


                                                           W AKULLA COUNTY DETENTION FACILITY
                                                                                   INM ATE REQUEST FORM
                                          j!- .- ;'z       -

        INM ATE'S NAM E * ê' 'VzXb'r/.v*,/y''          ,                               y'
                                                                                        ;p.
                                                                                        =.*4v
                                                                                            9tp..D (7
                                                                                              '                                                     -- yz,o. w                 ,
                                                                                                                                   DATE:wY . /, ct'z;..y
                                                                                                    -                                                       .
                                                                                                                                                       - (
                                                                                                                                                         :)
        INM ATE,s Io#2oJ'
                        Jg''
                           J,5Jx V'
                                  J /4..                                                 CELLBLOCK :                      O
                                                                                                                          D        CELL
                                                                                                                                        NUM BER: t/
       REQUEST TO:                        ShiftSupervisor                                                           M                                                                                      l
                                                                                                                      edicalDepartment
                                          Cl                                                                                                                                             Avv
                                            assification                                                            Program sOfficer
                                          M aintenpm ce                                                         JailSupervisor                                                                             !
                                                                                                                                                                                                           k


                                          ChiefCorrectionalOfficer                                              C
                                                                                                                  om m issary
                                          Sheriff                                                               Oth
                                      '
                                                                                                                         er
                                                                                   .
      D.
       T) ,
          fmtT''
               F'YQ V :27,
                         -1+TV Q'C'.                                                                                                   '
                                                                                                                                                                   .
                                                                                                                                                                           .w wwo u= = M.... .....
  I                                                                                                                                                                                                    '
  1
  j                                                                                                                                                                                                    ;
 !                                                                                                                                                                                        --
                                                                                                                                                                                                       '
 (
 ,                 ..
                    x
                    -.                                     z''fj u-                                                                                                                                    1
                                                               :u.    ..       .                      .                                                  ,                                           t
 1 '-                                     '                                                                    .     .
                                                                                                                                                ,                 ( .....                            j
           .                                                                                                                                                                                    - ..
                                                                                                                                                                                                .
      t
      'n'zLj tw-   w.t.   z   m'           -r-?...J                                                                                                                                                  !
                              .            .   j   ,  <gZ.
                                                   7Q .                                (..z.     C
                                                                                                .V
                                                                                                                                                                                                   (
                                  .
                                                                           .
                                                                                                u.-
                                                                                               ..
                                                                                                           ..e..;
                                                                                                          ..
                                                                                                                     ;
                                                                                                                        , .;.x.    .,.
                                                                                                                                  ,J
                                                                                                                                  .. .
                                                                                                                                       .g        yv,. ....-
                                                                                                                                            .,y$...k...u.         ,    y
                                                                                                                                                                  y. .o ...g,. J.
                                                                                                                                                                  .
                                                                                                                                                                .. .
                                                                                                                                                                           x                       l
                                                                                                                                                                               ;'
                                                                                                                                                                                '
                          %
                                                                                   p
                                                                                                          -


                                                                                                                                                                                                  )


                                                                                                                                                                                                 l
                                                                                                                                                                                                i
                                                                                                                                                                                                i

                                                                                                                                                                                                I


 REPLY TO REQUEST:




RESPONDIN G OFFICER 'S SIGNATURE
                                                                                   :                                                                    DATE:
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 186 of 276




                        FILE B
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 187 of 276
                                            DEPARTMENT OF HOMELAND SECURIW
                                            U.S.Im migrationand Customs Enforcement

          DETAINEE RIGHTS AT THE INSTITUTION DISCIPLINARY PANEL HEARINGIIDP)

                               Detainee RightsatThe Institution Disciplinary PanelHearing (lDP)
Asa detaineechargedwitha prohibitedactts),you have been referredtothe Institution DisciplinaryPanelfordispositi
                                                                                                              on.W hile atthe
IDP hearing,you have the fo4lowing ri
                                    ghts:

1. The rightto have awritten copyofthe chargets)againstyouatleast24 hourspriorto appearing beforethe IDP.

2. The rightto have a ful
                        ltime mem berofstaffw ho is reasonably available to assistyou before the IDP.

3. The righttocallwitnessesand presentdocumentaryevidence inyourbehalf,provided insti
                                                                                    tutionalsafetywouldnotbejeopardi
                                                                                                                   zed.

   The rightto remain silent.Yoursilence m ay be used to draw an adverse inference againstyou.However,yoursilence al
                                                                                                                   one m ay
   notbe used to supporta finding thatyou com mitted a prohibited act.
   The rightto be presentthroughoutthe IDP decision,exceptduring comm ittee deliberations and where insti
                                                                                                        tutionalsafety would be
    injeopardy.
6. The rightto be advised ofthe IDP decision in wri
                                                  ting and the facts suppoding the panel'
                                                                                        s decision,exceptwhere insti
                                                                                                                   tutionalsafety
   woul
      d bejeopardized.
   The rightto appealthe deci sion ofthe IDP by means ofthe Detai
                                                                nee Grievance Procedure to the Offi
                                                                                                  cerin Charge,within 15 days
   ofthe notice ofthe panel's decision and disposi
                                                 tion.

jhereby acknowledge thatIhave been advised ofthe rights afforded m e atthe lnstitution Disciplinary Panelhearing.

signed:                               .           A-Number:           -I. - Vl           Date: )t!û 2,
                                                                                                     9
Noti
   ceofRi
        ghtsgi
             ventothedet
                       ai
                        neeby                   bt. %                       9pçz,
                                                                                j
                                                                    staffMember& Date
                                                                                                        g
                                                                                                        smlaxyyw)
                                                                                                        X


Refusalto Sign
Ihave personally advised                                   ofthe ri
                                                                  ghts a#orded detainees atthe Insti
                                                                                                   tution Disciplinary Panelhearing.
The detainee refused to sign the acknowledgment.

Sta# mem berand date:



W aiverof24 hours Notice:
Ihave been advised thatIhave atIeasta 24 hournoti
                                                ce pri
                                                     orto before the IDP.At this time,1wish to waive this rightand proceed with
the lDP hearing.

Detainee Signature,Date and Time:




                                                                                                               ICE Form 1-892(09/09)
      Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 188 of 276
                                              DEPARTM ENT OF HOM ELAND SECURITY
                                              U.S.Immigration and Customs Enforcement

             DETAINEE RIGHTS AT THE INSTITUTION DISCIPLINARY PANEL HEARINGIIDP)

                                 Detainee Rights atThe Institution Disciplinae PanelHearing (IDP)
 Asadetaineecharged witha prohibi
                                ted adts),youhave beenreferred to the lnstitutionDisci
                                                                                     pli
                                                                                       naryPanelfordisposi
                                                                                                         tion.Vvhileatthe
 IDP hearing,you have the following rights:

     The ri
          ghtto have awritten copyofthe chargets)againstyou atleast24hourspriortoappeari
                                                                                       ng before the IDP.

     The rightto have a fulltime mem berofstaffwho i
                                                   s reasonabl
                                                             y available to assistyou before the IDP .

     The rightto callwi
                      tnesses and presentdocum entary evidence in yourbehalf, provi
                                                                                  ded i
                                                                                      nstitutionalsafetywouldnotbejeopardi
                                                                                                                         zed.
     The rightto remain siient.Yoursilence may be used to draw an adverse inference againstyou. However,yoursilence alone may
     notbe used to supporta finding thatyou comm itted a prohibi
                                                               ted act.
 5. The rightto be presentthroughoutthe IDP decision, exceptduring com m i
                                                                         ttee deliberations and where insti
                                                                                                          tutionalsafety would be
     injeopardy.
 6. The ri
         ghtto be advised ofthe IDP decisi
                                         on in writing and the facts suppoding the panel's decision, exceptwhere insti
                                                                                                                     tutionalsafety
     woul
        d bejeopardized.
 7. The rightto appealthe decision ofthe IDP by means ofthe Detainee Gri
                                                                       evance Procedure to the Officerin Charge,within 15 days
    ofthe notice ofthe panel'sdecisi
                                   on and disposition.

 Ihereby acknowledge thatIhave been advised ofthe rights afforded m e atthe Institution Disciplinary Panelhearing.

Si
 gned:                                             A-Number:2.oî-2,v,
                                                                    -vwo oate, qh/zn
Noti
   ceofRightsgiventothedetaineeby                               q.    .                      / 9 Zô                  glp q-
                                                                                                                          .

                                                                     StaffMem ber& Date

Refusalto Sign

Ihave personally advised                                    ofthe rights a#brded detainees atthe Institution Di
                                                                                                              sciplinary Panelhearing.
The detainee refused to sign the acknowl
                                       edgm ent.

Staffmemberand date:



W aiverof24 hours Notice:

Ihave been advised thatIhave atleasta 24 hournotice priorto before the IDP . At this ti
                                                                                      m e,lwish to waive this ri
                                                                                                               ghtand proceed with
the IDP hearing.

Detainee Signature,Date and Time:




                                                                                                                ICE Form 1-892 (09/09)
        Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 189 of 276
                                         DEPARTM ENT OF HOMELAND SECURIW
                                         U.S.Immigration and Customs Enforcement

                  UNIT DISCIPLINARY CO M M ITTEE REPO RT OF FINDINGS & ACTIO NS

  Radetic, Sebastian                           209-214-150
          Name ofDetainee                                                                  ()4/07/202O
                                                          A-Number                         Date ofIncident


  Place oflncident:Building 11                 Prohi
                                                   bitedActls)Code:398, 399


  Com mitteeActi
               on:Commentsto Comm i
                                  ttee from Detainee Regarding the above Incident:Detainee Radetic
                                                                                                   , Sebastian
  admitted to interfering with staff .




 ItIsthe Finding ofthe Uni
                         te DisciplinaryComm i
                                             ttee that:
             YouCommittedthe Prohibi tedActasCharged:Codets) 298,J99
             You Committedthe Following Prohibi
                                              tedAd:Codets)
             You DidNotCom mi
                            ta ProhibitedActasCharged:
 Com mittee Findings AreBased onthe Followi
                                          ng lnformation:The Unit Discipiinary Cornmittee finds Radetic
 Sebastian guilty of the prohibited act as charged based on the detainees own admission,
 Detainee was advised he should not interfere with staff duties                                         .
                                                                                   .




Com mittee Acti
              on:
 Fql    WaivesIDPHearingandAcceptstheUDCSSancti  on:Radetic, Sebastian
 glll   RefertolDP             Date&Time:        N/A     /'
                                                          JBA           NameofDetainee
 LZ     LossofPrivileges       ((()Lossofjob                  Z QuarterChanges
(4()    Restri
             d toDorm          ((q) Removefrom Program        FJ Reprimand
(((()   Warning                (Z Confiso teContraband       Z ImpoundPersonalPropedy
Comm ents: Detainee Radetic, SebasLian was advised of his rights in English
                                                                          . r language he
understands . Detainee Radetic , Sebastian reaeived his copy of the detainee right
the Unit Disaiplinacy Committee Report of Findir                                   s and
detainee received a reprimand and remains in M zgs and Actions '  yICE Form 1-891'
                                                                                 7. The
                                                edical Housing Ts
                                                                'nit                   .




UDC ChairpersonsSignature:

UDC M ember's Si
               gnature:      .




                                                                                               lCE Form 1-891(09/09)
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 190 of 276


                                     DEPARTMENT OF HOMELAND SECURI
                                                                 TY
                                     U.S.Immi
                                            gration and Customs Enforcement Inci
                                                                               dentRepod # KRO-20-151 (J)
                     INCIDENT O F PRO HIBITED A CTS A ND NO TICE O F C HA RG ES

     Detainee Name:Radetic , Sebastian                                       A-Number: 20S- 214-450
     Nati
        onali
            ty:croatian                                          Date & Ti
                                                                         meofIncident: 04/07/20 1900
     Inci
        dentLocati
                 on:Bldg . 11 I
                              lay Room                           w ork Assignment:N ,
                                                                                    /A
    Classificati
               on Level:Medium Lcw                               Quaders:Bldg . 11 A - Bed 28

    PROHIBITED ACTS:
                  1. Interfering with staff in the               Code: 39J
                   2.performance cf their duties                 code:///
                   3.Conduct whlch disrupts the                  Code: 3S9
                   4.orderly operation of facility               Code:///


    Descri
         pti
           on oflnci
                   dent' On Wednesday, April 8th, 2020 at approximately 1C00 hours
                                                                                  , a video
    review was conducted regarding the inciden? that cccurred in Building l1. In the
    video at apprcximately 1900 hours, Detainee Radetic, Sebastian A209-214-156 Croatia
    was viewed interfering with Captain Maszak in the attempt to apprehend Detainee
    Jossaint, Frerct AXXX-XXX-4O; Haiti due tc his actions in Building l1
                                                                             . Detainee
    Radetic was viewed blocking the path of Captain Maszak and responding staff
                                                                                   . Videa
    showed Detainee Radetic not using fcrce cr aggression , but would nct allcw stafR
                                                                                       - Lo
    get ppst him. Detainee Radetic eventually ccmplied and exited the a r ea .



'


    staffWitnesses? (XIYes ((7 No                               EvidenceAttached? Z Yes Q No X N/A
    SupportingMemoranda X Yes Z No Z N/A                                                   '
                                                                                           d
T . Licht - Captain                         C4 '08 '20 l- - 0                 -   '
Name ofRepoding Officer                         Date & Time                              Si
                                                                                          gna ure
                                                      V                                              ,


Reviewedforaccuracypriortoinvestigati
                                    onby:         :
                                                  I
                                                  ;  j       ,                                  'x    .. gx
                                                                                                 l tt)#
                                                                                                      .   j
                                                                                                          ..u C
                                                                                                              jj
                                                                                                               ;:
                                                                                                                '
                                                                                                                '!
                                                                                                                 #.
                                                                                                                 -j
                                                                                                                  r
                                                                                                                  .
                                                                                                                  ,
                                                                                                                  >
                                                  J. Supervi
                                                           s
    copywasservedtoDetainee /A& T           71A> jl b
                                                      y: Ly. j                     oate&Time a Qej(&ll iI
                                                                                                        me
                                                                                                        bZ.V
lncidentReccrd                                    )              )
              edcnDC S7 (((qYes (71No             1
                                                  t              7 Cl
                                                                    assi
                                                                       scationLevelChange? Z Yes Z No
Levelchange from               To




                                                                                                    ICEForm 1
                                                                                                            -884 (09/09)
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 191 of 276




                         FILE C
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 192 of 276
 U.s.DepartmentofHomelandSecurity                                              Notice ofAction- voluntary Depadure

                                                                                                     Please referto thisfile num ber:
 To:(Enterfullname and mailing addressalien)
   SEBASTIAN QADETIC
                                                                                                     File: 209 2l4 450
                                                                                                     Event No: MIA19G:QQQt44
    710 Washington Ave Apt 301 Miami Beach FLORIDA: 33139                                            Date:




 Please note: The blocks checked below relate to action taken in yourcase.
 Q Youhaveviolatedthetermsofyouradmissionasanonimmigrant. Consequently,the perm ission previousdy granted you to rem ain in
 the United Statesisrescinded.Youare required to depad from the United Statesatyourownexpense onorbefore
                                                                                                                                        .



 EZJlnaccordancewithadecisi
                          onmadeinyourcase,you are required todepartfrom the United statesatyourownexpenseonor
 before                    .




 ZX Yourrequestforanextensionofti
                                mei
                                  nwhichtodepartfromtheUni
                                                         tedStateshasbeen                          GRANTED .           You are
 required to depad on orbefore 2020-06-27
                                                                                              (Granted/Denied)
 Z Theamountoftimethatyouhavebeengrantedtodepadvoluntarilyisthemaximum allowableundertheI
                                                                                        aw i
                                                                                           nyoursituation                     .
 You are, therefore,prohibi
                          ted from applying fororbeing granted any fudhervoluntarydepadure.

 Z Yourrequestforvoluntarydeparturehasbeendeniedsinceyouwereprevi
                                                                ouslygrantedvoluntarydepadureandfai
                                                                                                  ledtodepart                     .



Z Youareineligibleforvoluntarydepadurebecauseyouwerepreviouslypermi
                                                                  ttedtodepadvoluntari
                                                                                     lyafteryouwerefound
 Inadm i
       ssi
         ble as an ali
                     en who was presentwi
                                        thouthaving been adm i
                                                             tted orparoled.

Z Youmustnoti
            fythisoffi
                     ceonorbefore                                        ofthearrangementsyouhavemadetoeffectyour
depadure,including the date, place and manner. Use the enclosed self-addressed card to noti
                                                                                          fy the Departmentregarding departure
arrangements. Postage is notrequired. Atthe ti m e ofyourdenarture. vou mustsurrenderForm 1-94.ARRIVAL-DEPARTURE
RECORD.in accordance wi   th instructi
                                     ons on thatform .

NOTICE: Failure to depad on orbefore the specified date may resul
                                                                tin the withdrawalofvoluntaw d
                                                                                                 epadure and acti
                                                                                                                on being
taken to eff
           ectyourrem oval. Failuretodepafton orbeforethespecifi  ed date mayalso subjectyoutoa possible civilpenalty ofnotIess
than $1,000 and notmorethan$5,000,and renderyou ineligibse fora period of10 yearsforany furtherauthorization forvoluntary
depadure orforreliefundersections 240A , 245,248,and 249 ofthe lmmigrati  on and Nationality Act.

Ifthere is a bond outstanding in yourcase, you are warned that,to expedite canceslation ofthe bond and return ofthe collateralposted
youm ustmake advancearrangem ents withthi     sofficeto haveyourdeparture witnessedbyanofficerofthisService.                        ,


                                                                               Sincerely,




                                     FO R DEPARTM ENT OF HOM ELAND SECURITY USE O NLY

oeparteu: port      -                      -
                                                                  oate                       u 1-94stamped En I-saosubmitted
          To                                        -
                                                                  Via                        Z DACSUpdated
                                                                                                           Form 1-210(Rev.08/01/07)
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 193 of 276




                         FILE D
Case 1:20-cv-23783-MGC Document 1 E-Entered
                                    ticket on FLSD Docket 09/11/2020 Page 194 of 276

 J&kî
    9!
     11h
       j
       y):c'.c
        .r   /r'
               s. ù
                  a
                  .'c.
                     o
                     .k.ê
                        x)
                         .
                         n.'i7j'
                               r
                               .:
                                .1
                                 .
                                 .a;k
                                    u'
                                     l
                                     .n.
                                       J.
                                        ?
                                        a'j
                                          -i
                                          '.1' :x.
                                                 -
                                                 .v
                                                  .'è
                                                    .-
                                                     ..9d-7''
                                                            x .a.'
                                                                 .
Rpservationnumber(PNR):UJH4X3
                                                                                                                   K IW I*CO M
Eœcketnum- r: 1057521302693

          Flightinformation                    Miami-MiamilntemationalMIA                                 2020 Jun 16 16:50 Localtime
                                               Madrid-Adol
                                                         fo Suére,
                                                                 zMadrio arajasMAD                        2020 Jun 17 07:45 Localtime
                                               Fl
                                                thtno:AY5646 Ai
                                                              rli
                                                                ne:Fi
                                                                    nnair                                                     Economy
                                               Opem ljrlg aidine:/:e#a Airfines


          Passengeo                            Sebastian O deti
                                                              c                                                      PNR:UJH4X3
                                                                                                    E-ticketnumber:1057521302693
                                               J'
                                                . Checki natt/l
                                                              e at
                                                                 à odforrree
                                               lxCbecked baggage                                             78 x 52 x 28cm - 23 kg
                                               lxCabin baggage                                               56 x45 x25cm - 10 kg
                                               lxPeraonalitem                                                 40 x 30 x 15 cm - 3 kg

                                               lt,'
                                                  susuallymuchcheapertoordsrcheckedbaggage withusinadvance thantopayforitatt/leairport.


            Check-in                            'C* kIn atthe alrpod forf-
                                               The aidine i
                                                          s notoff
                                                                 ering online Y eck-inforthisroute.Look forthe airli
                                                                                                                   ne check-incounter
                                               orkioskatthe aimort.


      . Edicketnotice                          i
                                               sI
                                               Alavai
                                                    l
                                                    vab
                                                  ser  le
                                                        qopnrotvi
                                                     inA.      heirwebs
                                                                ded    it
                                                                    byFie.
                                                                        nnairaresubjed totheirTermsandConditions.Moreinformati
                                                                                                                             on




       ) Creditcae used to                     Thisi
                                                   s a copy ofthecomx ny (
                                                                         X XI
                                                                            R card used to purchase yourMp:some carriers may
         purchase the trip                     requi
                                                   re i
                                                      tforvere ati
                                                                 on.Pri
                                                                      ntm ure-tia etand carryRwith you onyourM p.




  K# K
  1            .                                                                                               & MiamiMIA-++:MadridMAo
                                                                                         insurance confirmation
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 195 of 276
  '   M SISTANCE-           lf7Cooperationwith
  ,x-     ,..,.'
               ,.           Kiwi.com                                                                                                                                                  InsuranceNumber5KY,tm 7277327




Proofoftravelinsurance
Insurance policy num ber
Thisgroup contr'
               actis made foranindefinitegeriod.
UnderstoodastheinsurerisIN'FERPARTNERAK ISTANCKS.A.amemberoftheAXAgroup,withitsRegisteredOffîceatAvenueLouise166,1050,Brussels,Belgium,
registered in theCommercialRegisteradministered bytheGreffe deTribunalde commercedeBruxelles undertheregistration number0415591055,aming bymeansof
the INTER PARTNER ASSISTANCE.branch office,with registered oëce atHvizdova 1689/2a, 140 62.Prague 4,CzechRepubl      ic.Identi
                                                                                                                             hcat
                                                                                                                                ionNo.(1C):28225619,
registeredintheCommercialRegisteradministered bytheMunicigalCourtinPrague underthefilereferenceSectionA,entry59647.


  Policyholder
  Kiwi.
      com s-r-o.,wi
                  thRegi
                       steredOfficeatPaj
                                       achovonémèst
                                                  l797/4,SlariLlskovec.Brno,62500,tlzecilRepubl
                                                                                              ic,Identi
                                                                                                      fi
                                                                                                       cationNo.(lC):29352836,regi
                                                                                                                                 sleredin
  theCommercialRegiste.radministeredby the MunicipajCourtin Prague underthefilereferenceSectionC.entry125031

  Insured person

                                  Radetic,Sebastian                                                                                                                                                       24/10/1976


  Information concem ing the i
                             nsurance
                                                                                                                                                      -
               nc:a 9t-.c.af
        lrhsurai           '
                           ;
                           wI
                            a    TravelBaSI
                                          'C                                   E'egics',;-.g 16/06/2020                                               ..
                                                                                                                                                      .;.
                                                                                                                                                        j
                                                                                                                                                        $
                                                                                                                                                        .;
                                                                                                                                                        s-..z
                                                                                                                                                          , .
                                                                                                                                                            ;,
                                                                                                                                                             wr
                                                                                                                                                             .:
                                                                                                                                                              .i
                                                                                                                                                              x!
                                                                                                                                                               J
                                                                                                                                                               ..
                                                                                                                                                               u 7l
                                                                                                                                                                  .
                                                                                                                                                                  tu
                                                                                                                                                                   .u
                                                                                                                                                                    o g.
                                                                                                                                                                       g6 gga(
          ''                                                                                                                           'r't
            i?rrl*.r,E'.:tsccll
            (                 pc Woddwide                                             Ecd 30/06/2020                                      ata'                    wr
                                                                                                                                                                   q- 50 45z(
                                                                                                                                             )tr-stlrar'ce ;)r,Jrt-'-lt



  Insurance indem nifio tion limitfortravelc'
                                            ancellation
  Uptothevaiueoftheflightand subsm uentservicespaidfor,btrtno morethan2000E,with20% participation.


  lnsured person's statem enl
  This insuranceisgovernedinparticularbyAd No.89/2012Col1.,theCivilCode,asamended;byotherrelevarftlegislation.theinsuranceContractand provlsionsof
  theKiwi.com GeneralInsuranceTermsand Conditions forTravelInsurancedated9 May2016and1heKiwi.cornGeneralInsuranceTefmsandConditionsfor
  CancellingTraveldated9 May2016.Bytaking otltthe insurance,theInsured PartyrepresentsthattheyhaveobtainedtheInsufanceConditionsandthatthey have
  beenacquaimedwtththeircontent andtheyalsoconsentto processingtheirpersonalinformalion pursuanttoActNo.101/2000Coll.on personalinformation
  protection,asamended.tol'heextendspecified intheInsurance Conditions.Bytakingotlttheinsurance,theinsured Partyfurtherrepru entsthattheyhavebeen
  acquaintedwith informationforpersons andentitiesinterestedininsuonce pursuanttoSection27* ofActNo.89/2012COII..the CivllCode.asamended.This
  informalion iscontainedin:heKiwi-com GeneralConddionsdated9 May2016andthe Kiwi-com CancellationCcnditionsdated 9May2016-Thisproofoftravel
  insurance also conmittltesaninsurance policywilhinthemeaningofSection2775 ofActNo.89/2012CoII.,1heCivilCode.

                                                                                                                                                                   J;''';-h.Ai.k''
                                                                                                                                                                   .             'VJ.'1î .kFJD ''.                .           '

Thei
   nsuranceisconluded l
                      -'S
                        -E'
                          H 02/06/2020                                   17:
                                                                           43
                                                                                                                                                                                    KIW I.<œ
                                                                                                                                                                                    - - *.x.*.p
                                                                                                                                                                                 d>   11
Agreed electronically



             R.  AjNjrJ.
                       Ax(yjg                                                   f,
                                                                                 .    w
                                                                                 I<!w #.cov
                                                                                                      jjow vomakeadaim
                                                                                                      -
                                                                                 0.          .        w'
                                                                                                       E2ilA-ézS:5;02iî2:2/1'1Jz(;.!2;'4J! '
                                                                                                                                           i''
                                                                                                                                             7$5'J;;6:rS1'$:1j'''
                                                                                                                                                                .'itl!16;J7.'.
                                                                                                                                                                             î:'-tl'.
                                                                                                                                                                                    3f()(tf;t'.
                                                                                                                                                                                              :j'-..rl.!3't
                                                                                                                                                                                                          :ç'
                                                                                                                                                                                                            ?;'f)-(,1yf?rl:
              < e* % ''!'                                                             -a--
                                                                                                      @ IEISUOIIC9numbef.
               t.: ?q$.,zr.tj$w:... ge r 7Xn zA7
             ch,.I'7.
                    -.
                     '4.'l-e ';arr.z: R *. e'*'' --.    '..-                                          inadent.
              -''afc
              '     2 -Fkp5'.7. ': 24/30/1976                                                         * TYX Ofinsurancegurchased.
               7 Déi-'Zr     c.1-'.Lct-tt'9 TOVPIR'z:œ. '-.     :@
                                                            :.icF..êo.  .a 2.
                                                                     .!Q.   .ï..ut5.F
                                                                                    2,..
                                                                                       ..:
                                                                                         9 ves        * Travelcancellation insurance.
                                                                                                       * Telepbonenumberthatyoucan becalled backon.
             .r.s'':.',?.''f'
                            :?q'y,'
                                  1ic ''h .i7?-n-L1I' leluzrhfon - 3IVI<'JOZQ
                                                                                                       * A briefdescriptionofthe issue.
                                 ..-   t..nI:.F 2 %=.
                                                    7a 5'1.a'.vl :
                                                                 .s -:! ' .    '
Case 1:20-cv-23783-MGC Document 1 Insur
                                      ancecontirmaîion
                                     Entered      on FLSD Docket 09/11/2020 Page 196 of 276
 '*    M SSTANCS                 IR QOOPYYXSORWitb
. -..... .z.
           ;'.'''., '             ujW j.COm



Kl
 *w l
    e-com
Overview ofinsurance i
                     ndem nification
                                                                                                   .k-7'3.-!$
                                                                                                            :tiBast':               'v';
                                                                                                                                       ''.av'r.
                                                                                                                                              ?të:7
                                                                                                                                                  ;it.is
              ':
               Tzaf!
                   r4e 7j''..  'œ
                                *t
                                 4à./Gj
                                      ''8Cy
                                          .+
                                           :.
                                            )   '/1Su.)7'!kl%%.Cï:
                                                i                'q:.
                                                                    *AQH;.
                                                                         s'çf(
                                                                             3.k7r2                        I
                                                                                                           nsuranceindemnifiemtionlim it
           '
           L.zr
           i   --eu-'
                    :.t-t::,l
                            -ih)rn('r:::( :s     -rtltl,lIirïlit                                    60000 f                           100000f
                                                 - Repat    rialionandm edicaltransports                    realcostsuptothetotalIimit
                                                 -
                                                   Dentaltreatment                                    200 f                                320 E
           ,Dr)r
               .'
                scnak
                    . acc,
                         t'
                          ?rc
                            -n.
                              t                  Acci   den'  taldeath
           .
           ,              .
                                                                                                                                        7 000E
                                                 Permanenteffects                                                                      :4000f
      '
      7'
       -'
        pyr'
           ajc'ersoni
                    a/îbalCCttv                  PersonalI      iabili
                                                                     ty- health                                                        30 000E
                                                 Personall      iabili
                                                                     ty-property                                                       15000f
                                                 Deductible                                                                                100f
                           Baggoge               TotalIi   m it                                                                           800f
                                                 Limitperitem                                                                             36Of:
                                                 Lossofpersonaldocuments                              200tl                               200f
         éssistanc:esofvices                     Touristinformation                                                   Yes
                                                 Medicalinformation                                                    Yes
                                                 Telephonehelp                                                         Yes
                                                Translations                                                          Yes
               DatEgaged'alay
               i                                 Baggagedelay                                                                             10Of
                  7
                  .lïghi'tdeiahl                 Flightdelayandcancellation                                                  20fperhour,max.100f
                t'
                 vl!h
                    '
                    lsr
                      cfctfïight                 Mi  ssed flight                                                                          100f
            '
            I-rk
               p carjceifatïon                  Cancellati      onoffsightticketand         uptothepaidvalueoftheflightandsubsequentsemicespaidfor,
                                                 subsequentseaices-totaàIimtt                                 butnomorethan2000tz
                                                Deductibleforfli      ghtcancellati
                                                                                  on
                                                causesreferredto intheGeneral                                           10%
                                                Conditions
                                                Deductible forflightdownstream
                                                servi   cecancellati   oncausesreferredto                               20%
                                                intheGeneralConditions




                                                                                                                                               14lW l CO1
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 197 of 276



Séles invoice
                                                                                                  eDream s
  Invoife num ber                       2020- ED1-ca)0022202               M DETIC SEBM TI
                                                                                         AN
  Dateofea- -uion                       6/3/2020                           1416 SW 6thAve
  Date ofixue                           6/3/2020                           FortLauderdale FL,
                                                                           33315
                                                                           United States


 Note                                                                    Tax Regie e on num ber




D- ri
    o -on                                                                                                               Amoun'
Mediationserviceof1hefoljowingtraveiservice
BSP flights                                                                                 t''                              224.38
  PNR Ticket *E8750 (6603340210)
  Passengec M deticSebastian
  Itinecary:MAD -DBV
  Issueddate:03/06/2020

Medi
   ation Fee                                                                                                                  7.78

VAT                                                VAT %             T=u ble am ount                     Tax                 Total
NOVAT                                                  0                        7.78                     0.00                 7.78



Toe linœ rm ediation fees invoiced by eDm am s LLC                          USD 7.78              USD 0.00           USD 7.78



                                                                          Totalam ount                            USD 232.16
AseDreamsLLCaxsasadkerAe agenttheprtecglhetravà serve issh- co fœ k#tvrnate rmr-   .   Fœ rntve(- 1 r-    re ourselpCentre
(1),Amountcolle e byeDreamsLLC arl d passed-ontometravelsuppli
                                                             er
(2),Amountpaiddire ytothetrw elsuppl
                                   ier




                                                                                                                   Page 1of1
                                                       eDreams LLC

                 Taxaddress:160 GreenkeeDri
                                          veSui
                                              te 101(Ci
                                                      tyofDoverlDel
                                                                  aware-19801Delaware-Uni
                                                                                        tedStates
                                              Tax Registfution num> 27..0833859
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 198 of 276




   Checked baggage


      M adrid to Dubrovnik

      Sebastian Radetic       1bag (20 kg)

                Add abag




   Seatselection


      Madrid to Isu nbul

      Sebastian Radetic


             Chooseyourseat



      Istanbulto Dubrovnik

      Sebastian Radetic


            Chooseyourseat




   A dditionalinform ation


   Insurance for yourtravel
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 199 of 276




      Madrid to Dubrovnik

               Turkish AirlinesTK 1860

                                                                        'E
                                                                           ..y'
                                                                       2s-.:  '...,y -.y(..'.yg.t..j. :,...yj
                                                                                                 .
                                                                                                  .
                                                                                                            .
                                                                                                            jljj
                                                                                                               :
                                                                                                               yj;
                                                                                                                 ljjj'
                                                                                                                     1
                                                                                                                     )rj
                                                                                                                       !ijjj


      r-1 18:20W ed,17junMadrid(Spain),AdolfoSuérezMadrid-Barajas(MAD),Terminal1
      l    .


               --'
                :'.;'Ejlëfk''i-t(,(
                                  .(..r))ë:y''.q4 ï')'-..E:
                                                          ...

               23:30W ed,17junlstanbul(Turkey),IsunbulAirport(IST)




               Connection:Change plane
               Transferduration:7 hours20 m in. Checkwith airline forboarding tim e and gate.


               Turkish AirlinesTK 437

                                                                       -. :
                                                                          â- .j-.   a .'.J2k
                                                                                           ,'':
                                                                                              .'y-z.    -. !
                                                                                                   zu';.u  u
                                                                                                           .1<E8750


      F
      1--I
         l 06:50Thu,18 Junlstanbul(Turkey), IsmnbulAirport(IS'FJ
                                            ..         .. . .
       .                        t, . ..'.. ,''.
                              ...                 :... ',;
                                                       .
                                                            ':
                                                           .1



               07:50Thu,18JunDubrovnik(Croatia),Dubrovnik(DBVI




     Sebastian Radetic

     Age:                                                  Adult
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 200 of 276


  '
  Youfolw ardedthismessageonwed 6/3/20203:04PM


  no-reply@ m ailer.edreamsacom
  Wed6/3/20202:09PM




  To:




  d
  '




                          *
      '                   > ::                 @   .    *'.


      r
      1
      .                                                                                                                                                              .

      ;1
      .
      4.                                                                                                                                                             ''
                                                                                                                                                                     ;
                                                                                                                                                                     ,
      1(     q  11
                :2/                                                                                                                                                   '1
                                                                                                                                                                      .
             . .
               ,()J
                  'C
      '
      .1    .'     ...          11
                              ...    ,.Iz
                                        '':!
                                           '                                                                                                                          '
                                                                                                                                                                      Z
      1         ...             ii                                                                                                                                    k
      k
      ';        .                                                                                                                                                    'f
                                                                                                                                                                      (i
                                                                                                                                                                      .
                                                                                                                                                                      '
      j
      '
      (
      .                                                                                                                                                               c
                                                                                                                                                                      j
                                                                                                                                                                      '
      j
      J                                                                                                                                                               1
                                                                                                                                                                      1
      ?
      '
      i
      ,
                         x                                           e                                                                                               7
                                                                                                                                                                     J
      a
      f
      ;          a rl                                       ro       1                                                                                               )
                                                                                                                                                                     .



      ;
      '
                                                                                                                                                                     j
                                                                                                                                                                     '
      i'
      .
      j
      .                                                                                                                                      .-. j.a...
                                                                                                                                                      jaa....,,..
                                                                                                                                                                ..
                                                                                                                                                                 t   '
                                                                                                                                                                     ;
      '
      iy                                                                                                                                                           t.
      kA   <. ' = L&'œQuc= crtrrs
                                nc'zq.= m
                                        .7%>v <T==w m=ào= > w   a =u wv2<> w=   =.
                                                                                 '=   ==> =   = =   = x wrxxwAua ra cerxacaac.=' zqp-wxxxuxrm wrrzxuwrow xw zivxmlof




      W hat's the plan?


      èw
      .,
                         Depadure                                                                                                  13 hours 30 m in
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 201 of 276




  Yourbookingisconnrmed!(reference:6603340210)


  Flightto Istanbul
  Turkish AirlinesTK l86x onfirm ation code:Kfr sosebastian Radetic
  W ed6/17/20206:20 PM (4hrs10min)
  M AD

  lST
  6:20 PM
  k7ed6/17/2020
  Madrid
                                                                                                   11:30 PM
                                                                                              Wed6/17/2020
  i                                                                                                    Istanbul
    view event:



  Flightto D ubrovnik
  Turkish AirlinesTK 437confirm ation code:KE87sosebastian Radetic
  Thu6/18/20206:50AM (2hrs)
  lST

  DBV
 6:50 AM
 Thu6/18/2020
 Istanbul
                                                                                                   7:50 AM
                                                                                              Thu 6/18/2020
 Zvi                                                                                                Dubrovnik
      ew event:

 TellOutlook whatyou think aboutthisfeature.
 Useful

 Notuseful

                                                                                                                ..1



 MichaelJ.Serpico
 W ed6/3/20203:04PM
 M
 f r.Decker,Attached isSebastian Radedc'
                                       sitnerary from Madrid toDubrovnik- Please contactmeifyou need anything
 urther.Thank you foryourtim eand consideration in thtsm atter.Respectfttlly,MichaelJ.Serpico,M.S.
  8/6/2020                                    Michaelon
                                                     J.SemiMail-
                                                          co -Ou:œ k
         Case 1:20-cv-23783-MGC Document 1 Entered      FLSD   Docket 09/11/2020 Page 202 of 276

         Fw :Sebastian Radetic #209214450 lnquiry forVoluntary Departure
         M ic
            'haelJ Serpico <m serpico3os@ hotm ail.com >
                   -

        Thu 7/23/2020 1:21PM
        To: christina.martyak@ usdoj.gov ichri
                                             stina-martyak@usdojgovl
                                                              .




        Respectfully,



        From :M ichaelJ.Serpico <mserpico3os@ hotm ailwcom l
        Sent:Tuesday,June 23,2020 5:42 PM
        To:Martin,Aldo <aldo.martin@ ice.dhs.goo
        Subject:Re;SebastianRadetic#209214450InquiryforVoluntaryDeparture

        OfficerM artin,

        Iam inquiringasto thestatusofSebastian Radetic'scase. Iw ould Iike to purchase a ticketforhim for
        June 30th,from M iam ito lstanbul, w ith a Iayoverin Zurich.lcannotfind outiflstanbulorZurich is
        allowing non-citizens into the countw during thistim e. Please inquire w ith the appropriate channels
        d                                                                                                    ,1
         o notwantthesam ethingto happen asitdid withthe previousflight. Please let m e know hisstatus
        hisfam ily sent m e m oney to purchase a ticket. Thank you foryourtim e and consideration in thism att,
                                                                                                              er.

        Respectfully,



       From :M ichaelJ.Serpico <mserpico3os@ hotmail.com >
       Sent:Thursday,June 18,2020 5:17 PM
       To:M artin,Aldo <aldo.martin@ ice.dhs.govl
       Subject:Re:Sebastian Radetic#209214450lnquiryforVoluntaryDeparture

       OfficerM artin,

       Thank you forthe prom ptreply, please keep m e posted tom orrow asto how to m ove forw ard. Thanks
       again.

       Respectfully,

       M ichaelJ.Serpico,M .S.

       From :M artin,Aldo <Aldo.M artin@ ice.dhs.govl
       sent:Thursday,June 18, 2020 5:16 PM
       To:MichaelJ.Serpico<mserpico3os@ hotmail.com >
       Cc:Decker,Thomas<Thomas.Decker@ ice.dhs.gov>;M olina,Andre KAndre.
                                                                         M olina@ ice.dhs.govl
       Subject:RE:SebastjanRadetic#209214450 InquiryforVoluntaryDeparture

       GOOd QSCFROOR:
MRPSE//OUUOOM.IW6.O m/YZiI
                         /O/M rCYid/AQQG DAwAW OMDABLW Y NW EtNmNiZSM G ItMDAO BM NZkn8M Ua%ZF    OFw%3D%3D         1/2
 8/6/2020
        Case 1:20-cv-23783-MGC Document 1 Mai
                                            l-Michaelon
                                           Entered   J.SeFLSD
                                                         fpe -Oue k
                                                               Docket 09/11/2020 Page 203 of 276

       Yourfriendscase isbeing moved permanently down here to M iam i. There is no longera need to em ail
       M r.Decker,you can contactofficerM olina and lfrom now on. W e have to review ifit'seven possible
       to extend hisvoluntarydeparture pass27th or28th oftbismonth. There is no use in you buying a
       ticketatthism om entifit's notgoing to be avoluntarydeparture. W e can buy theticketsourselfsat
       thatpoint.W e willbe reviewing the casetom orrow once moreto see whatwe can do. Even ifhe can
       geta flightby the 28th ofthismonth Itwould also stillbe hisresponsibilityto send a $32 m oney order
       to the Consulete to acquiring new traveldocum entAnd another$28 forovernightshipping ofthe
       traveldocum ent.

       Aldo M artin


       Sentw i
             th BlackBerry W ork
       (www.blackberY com)


       From :M ichaelJ.Serpico <m serpico3os@ hotm ail-co m >
       Date:Thursday,Jun 18,2020,4:49 PM
       To:M artin,Aldo <Aldo.M artin@ ice.dhs.gA l
       Cc:Decker,ThomasB <Thom as.B.Decker@ ice.dhs.gA l
                               -- -           -


       Subject SebastianRadetic#209214450InquiryforVoluntaryDeparture
       CAUTION:Thisemailoriginatedfrom outsideofDHS. DO NOTcl  ickIinksoropenattachmentsunlessyourecognizeand/or
               trustthe sender.ContactICESOC SPAM w ith questionsorconcerns.

       OfficerM artin,

      Iam inquiring asto the status on Sebastian Radetic returning to Croatia. Please let m e know ifhe can fly
      through Istanbulfrom M iam i, Iw illbook the ticket im m ediately and forw ard the itinerary to you assoon
      as Ireceive consrm ation from you.

      Thankyou foryourtim e and considerution in this m atter.

      Respectfully,

      M ichaelJ.Serpico,M .S.




hhps://outlook.lke.œ m/mai
                         l/0/= rch/i
                                   + AQQG DAwAW 0MDABLW QwNW EtNmNi
                                                                  ZSM MAl
                                                                        > DAG BM N
                                                                                 z% 8* Ua0
                                                                                         A2F*   G OFw@
                                                                                                     43DTo3D
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 204 of 276




                        FILE E
     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 205 of 276




       'H onorable Judge M arcia G .C ooke
        W ilkie D .Ferguson Jr.U nited States CourtH ouse
        400 N .M iam iA ve.R oom 11-2
        M iam i,FL .33128
        A ugust3,2020

       D earJudge Cook,
                M y nam e is Sebastian Radetic A -209 2 14 450,l am currently detained at
       G lade County D etention C enterin M oore H aven,Florida.1w as transferred from
       K R O M E D etention Centeron June 29,2020.Priorto m y transfer Iw as ask to sign
       a paper saying lw astested for CO V 1D -19, Ithen asked the A G S detention officer
       how can lsign som ething w hen lw asnottested for CO V 1D -19,then the A G S
       (AkimaGlobalServicesL.L.C.)officertoldmejustsignthepaperand youwillbe
        tested before you transfer.1then signed the paperthatsays Iw as tested for
        CO V lD -19,because lsaw them taking aw ay anotherdetainee thatrefused to sign
        and putting him in differentholding cell,and because Iw as scared. W hen lw as
        here forthe firsttim e atG lades County D etention Center, around A pril29thor30th,
        betw een tw elve and fifteen detainees w here pepper sprayed w ith m aze,because
       they didn'tw antto getin the busto be transferred to BakersC ounty D etention
        Center in Jacksonville,during the peak ofthe CO V lD -19 pandem ic.
              Thatshow s how lCE treatsdetainees.1know thatfor factbecause detainees
        from B dorm w here lw ashoused,w here atm edicalfor sick call,w hen ofticers
        from G lades County D etention Center cam e running to w ash their eyes from m aze.
       The detaineesthatgotpepper sprayed did notgetany m edicalattention or
       opportunity to clean their eyes and face,and they w ere driven in thatcondition all
       the w ay to B akers C ounty D etention Centerin Jacksonville.A fter1 signed the
       paperthatstated lw as tested for CO V 1D -19,1w as taken to the bus and transferred
       to the G lades County D etention Center.U pon arrivalG lades County D etention
       C enterw e w ere never tested for CO V 1D -19 w e w ere putto the generalpopulation
       w ith no quarantine.
                ICE forced m e and other detainee's sign thatw e are tested forCO V ID -19
       priorto the transferto anotherfacility,because ofthe CD C guidelines and lCE
       ow n Pandem ic R esponse R equirem entthey im plem enton A pril 10,2020.ICE
       refusalto follow ing theirPRR show s how 1CE totally disrespectthe detainees and
       treatthem in an uncivilized m anner.A m anner in w hich no living orbreathing
       person should be treated.
                                           ...
                                             :4y;.
                                                 t
                                                 .
                                                 ,:r
                                                   ,.      clNoyActpj
                                                                    taR
St                                      f
                                        ,
                                        +.
                                         kJ)p 'm.. gi-
                                                     -
                                                     .
                                                     '
                                                     î MYCQMMISSION#GG 970151 ours R espectfully
Coaute
     nto
       yfof       ---'.                                  !F.
                                                          .
                                                          y . .g.  j EXPIRESTZU:15,2024        .    .-.       .
S                                                          4s?.rS?p.Kmdd nxN> Rld*% *
 udscrl  dedandswcrnto(craffi
                            fmed)befcremethi
                                           s
              daynf A&Gu.   s''
                              =X- L OJYO
9y 6       :.
            % 7-j4W      4en.       $,
                                     z.--                                                       .         .
PBrsonalyjnown      ORpr
                       odtredidenffcaùonz...,ea-tisz?z,v,ocyzzg
                                       .
                                                .
                                                                                          Sebastlan Radetlc
Typ Y dùcatonproduced '         '           o       ou       zesy;w ' s
                                                                       ..
                                                                        scyw >
                                    NokrvPtlbl
                                             i
                                             c
              J
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 206 of 276




  I--
    lonorable Judge M arcia Cl.C ooke
  'J ilkie D .F erguson Jr.U nited States CourtH ouse
  400 N .M iam iA ve.Roem 11-2
  lh4iam i,FL.33128
  A ugust3:2020




                                                                       w. - 'm - ! c
                                                                       Jttaâlt.TalCza. jnOiq-us
                                                                                -         .




                                                 '



                                                     . .%. y!lj
                                                           '   kt
                                                                ;
                                                              ....l
                                                                  tq
                                                                   ..
                                                                    ..,
                                                                    ,
                                                          ;h. . ,jëv.
                                                                           CI
                                                                            NDYAGUILAR
                                                      ?.:$
                                                       .
                                                         ? . :,L VYCOMMI      SSION#GG 079052
                                                      t
                                                      -.lv-
                                                          g-        '
                                                                    .
                                                                    '
                                                                    q?
                                                                     IL
                                                                      -
                                                                      .
                                                                       i Expl
                                                                            REs'
                                                                               .Jul
                                                                                  y15;2024
                                                        -'
                                                         --
                                                            $1
                                                             %4
                                                              '
                                                              rt
                                                               '
                                                               i
                                                               ld
                                                                è
                                                                i
                                                                &
                                                                l,.
                                                                  -
                                                                  'BcndetrhruNotarypubl
                                                                                      ictlndsr
                                                                                             wrl
                                                                                               teal
            Case 1:20-cv-23783-MGC Document        1 Entered
                                   = = == = = == == = == ==
                                                            = = = = = = on
                                                                        = = =FLSD
                                                                          .
                                                                                      Docket 09/11/2020 Page 207 of 276
                                                                             = = == == = =                     = == = == = == == = == =
                                                                                       Krome Service P                                  =7
                                                                                                      rocessing Center
                                                                                           Resident Account S
                                                                                                             ummary
                                                                                        Tuesday, June l6, 2020                                                                                   j jt?.'
                                                                                                                                                                                                 .              'p   yy'
                                       = = = = == = == = = == = == =                                            @20                                                                      #;
                                                                                                                                                                                          ' ''jj'
                                                                                                                                                                                                ).             .
                                                                                                                                                                                                               '$r
           For AL!EN #: 2O92l44                                               == == = == == = == = == =                                      :10                                          .f w'h '
                                                                                                        = == = == ==                                                                       !
                               50                                     RADETIC , SEBASTIAN                                       = == == = == = == = == == =
                                                                                                                                                              = = == = == == = = == == =
                 Date             Transa
                                               ction Description
           06J/16/2020 KIOSK cA                                                                                                Amount       Bala
                                                                                                                                                nce                 Owed                 Held
           06/16/2020 ZERO SOOsH (BOX                            O NI   NG       KI    OS    K   CA  - SH       D  EPOS I                                                                                   Refez
          06/15/2020 WDRAWAL C                     KIH IINITIAL DEPOSIT                                                  ' 251 , 00          251 . 00
                                                                                OR CLOSE REINSTAr                                  0. 00                          0 . 00               0 . 00
               ,
          06/15/2020 z
                                SECUREDE AS :RELEASE                 eo...- ...w ..
                                                                                  o...- -*'-          OUT         TRANSZ , - 251.04             0. 00             0 . 00                                   06/16/
          06/15/2020 DEPOSIT CH                   POS              82119           Ser        '*.
                                                                                              . *-*'*- -<...''
                                                                                                             :u-n ''                           0 . 00                                 0 . 00               06/16/
                                                                                            plco MIc ae -w .                                                     0 . 00               0. 00
          06/12/2020 ZERO BOOK D WAKDLLA/ 20300/ 4811512 , 200.00                                                                51. 04
                                                                                                                                            251 .
                                                                                                                                                    04           0. 00                0. 00
                                                                                                                                                                                                           06/15/.
         04/22/2020 WDRAWAL CIN INITIAL DEPOSIT - REINSTA'                                                                        0 . 00      51. 01             0 . 00              0 . 00
                                                                                                                                                                                                           06.g15/,
                                                                                                                                                                                                                  .
         04/22,    72020 PHONE POR                 HD     RELEASE              GLADES             A#2                                          0 . 00           0 . 00                                06/15/7
                                                   CH.    PHONE         TIME            PURCH             0921415( -19. 22                     0 . 00                                0 . 00           06,/12/;
         04/07/2020 PHONE PUR                                                                        ASE                                                        0 . 00
         04/06/2020 PHONE P CH. PHONB TIME PURCHASE                                                                         -
                                                                                                                               10.00         19 . 22                                 0 . 00           04/22/2
                                              URCH       PHONE         TIME            PUR                                                                      0. 00                0. 00
        04/05/2020 PHONE P                                                                   CHASE
                                                                                                                               -
                                                                                                                                 0.26        29 . 22            0. 00                                 04/22/2
        C)4,/02 /2020 PHONE URCH. PHONE TIME PURCHASE                                                                         -
                                                                                                                                 0.86       29. 48             0 . 00
                                                                                                                                                                                    0 . 00           04/07z'2
       02/2F72020 EP;                      PUBCH PHONF TTME P                                                                 -
                                                                                                                                 0.35       30. 31                                  0 . 00           04/06/21
                                                                                        UPCHASE                                                                0 . 00               0 . 00
                 .   jI .4. k:inJ/ 1I.t;. K7.Ciï-l4 i-  O7D:1OO59772l                      -
                                                                                             Comisar3             z Pur
                                                                                                                              -
                                                                                                                                 0.52       30 . 69            0 . 00                                04/05/26
      t-t72,'T7z1?'Z
                   MIeh,7r-) J774ï
                                                      i ili-ïIdi
                                                               As2-4
                                                                   - 'F-(Ik/p;'' f-                                    (    -5.25           3h . 21                                 0. 00            O1/02A?f
             .
                                 <h,).174 ;;7q;)p>-)k ;rJ;                             /i1k::r q.ï.b 77                                                        0 . 00
      -
      '
       'J:'z al.z -'' ''                                     4'-r)N4>m.                                                 --/ ; .,J>                                                  0 . 00           :13,,'26,,/,2(
      -
                         '$9 !;'H:)1-
                                    èE, 9'  JRCR y'H()!.2E TrrvZ-rtTv   '
                                                                         777 ;D'F);èr--J-è7).Clr!
                                                                        1E) F'UR'   JH1LîE                           -- t
                                                                                                                        et -7Jk
                                                                                                                                          -161: zl.13
                                                                                                                                         :)p
                                                                                                                                                               1p 1;fI
                                                                                                                                                                                    '1 i.tI
     9é!,'.'':2.
               ',-
                 .-'f'7'öf7 FJH.  :
                                  3l2(
                                     C .r'rl(7.''>l-                                                                                        f -F';'            k-h ï
                                                                                                                                                                   -bLA1            -1
                                                                                                                                                                                    r
                                                                                                                                                                                                     '.     , 'l . ,41
     l
     t-lR,''
           nJ'''-'
           -        l
                    n'  hl'
                          R r' PQ1'7F%             1 1n.1-
                                                         10111   2' TIt.:D FSURCJlAS7:2                             - ( ).Jj;           .37 N   tO             fl Ot-    l             t-h!-)       t-'rq.'-.;t!/'- ;
                                                                                                                                                                                                                    -'
                   .                  . T 7!7R
                                             ' C  :4  7
     O3,  '2ê).'$2( 2'i-G F.(.iOiçE; PUR(:R 1:4.      .7  ,.7$1
                                                              .7.F! T TJ
                                                                       %
                                                                       .q'
                                                                         ft
                                                                          !' S
                                                                             'ST:r'CHRC     .
                                                                                              1F                       -1: 2.2         (ilC S:.' !,            I
                                                                                                                                                               Jt
                                                                                                                                                               -    ElC             -l r)C'
                                                                                                                                                                                    t
                                                                                                                                                                                   0 ()13   ?      t-.':: /-'.$ ''vt-'
                                                    . k
                                                      7ii(31$TE 755L.  JE 17(JRc;.iAsE
                                                                       /                                            -
                                                                                                                       -1r ?r-
                                                                                                                             l         D   Q .r.O                                                  -' -
     03z?23,'2()2L) F'H0NE                                                                                                   .         . .                    () r'bf/                             . ' ''  -'(1 '-i-'
    O3z/25./2t                          LDURChl Fil:m E TIIvjE PURCFIAS                                            -f  ;.l7            40. 7t                          .          p? Of   h :   m'.n ''-
                   !l20 PHONE PURCH.. P'               HONE TIME PZRCH E                                                                         ;           t'J. t'lt-                  .         . L.'J. /'nr:'
    ().1:d
         Z22/2:-'z    -O ilH1                                                                                     -
                                                                                                                      O  .S (
                                                                                                                            L          t
                                                                                                                                       iO . 9i                        .'          1
                                                                                                                                                                                  7.
                                                                                                                                                                                   ,.t -
                                                                                                                                                                                       i(t (    -iL'('?5 .,'.-s..' v-);-
                                -
                                ..)
                                  15
                                   1E  !7 URCH                                         ASE                                             (l . 57'  s          Q . O0                O. (                            .
              '2O2O PHONE PURCI- . PHONE ?                         l'IME PURCHASE                                     0 .l7
                                                                                                                  -
    O3?' ?20,pz                                                                                                                                             O. OO                     àG
                                                                                                                                                                                      '         O3/2 .3/2tlz-.
    03/2t   )/2020 PHONE PU I, PHOND- T IME PURCHASE                                                              -
                                                                                                                     O ./ 1.3         zll. 7f)                                    0 . OO       O3/23/2. 02
                                           RCH, PHONE TIME PURC                                                                                             O. Ot-   )           O . OO
   O3/72.9/2O2O EPR                                                                                              -
                                                                                                                    1   . 38)         1 2 . l7              C . 00                             O3,i22,'2O)
   3J./18/2O2O EPF'
   t                                                 O1D:100595J.30-CHASE           o m  i  s  ar yP ur
                                                                                                                 -.
                                                                                                                    O.17             .13 .55                O. 00
                                                                                                                                                                                 O . 00        O3/2Oz.'202
   O3/).6/20z       -1
                                .
                       ) PHOHE PUR O 1D :lOO59553l- Comi.'                                              (       -5.25               43 . 72                                      O . 00        03/20:J202l
                                            CH. PHONE TIMEl PU                              5arj' -i
                                                                                                   '?ur(                                                   0. O0                 O . OO
   O3,/ :l5/2O20 PHONE PDRC                                                    RCHASE
                                                                                                                -
                                                                                                                   l .75            t)@ . 97               O . OO                             O3/'19/2O?          e(
  03.  1l5,'?2()2Cl EPR                       H. PHOHE TIME PURCH                                               - O .l7             ï,O .7                                      0 . OO        O:3/2.9z'2Oa-'
                                                                                     ASE                                                       2           O . O0               O , 0O                               .(
  O3/:   L5/202O EPR                               OID :lOO5911l1- Comj                  . sary
                                                                                                               -
                                                                                                                  5 .00            5O . 89                O . 00                              O3/l6/'202Q
  03/13/2020 EPR                                   01D -10059t).1l3-comisarypur                   -
                                                                                                  17u r(       -  l   .- /5        55 , 89                                      0. O0         O3/15/2020
                                                                                                                                                          O . OO               O. 0O
  03/07/2020 EPR                                   O5D:l0O593579- ComisarjrPur(t                               -5.2E               57 . 64'               0 . OO                             03/'l5,Z2O2,            0
 03/07/2020 EPR                                   O1D.   'l0O59l967- ComisaryP7                               -
                                                                                                                 6.90              62 . 89                                     O . O0        03/J-5/'202O
                                                  OID:lOO59l862                                     Jrt                                                   0. 00               0 . 00
 03/06/2020 EPR                                                             -
                                                                                                              -
                                                                                                                 1.75             69    . 79             0 . 00                              03/13/2020
 03/06/2020 PHONE PDR                             OID'  .lO059l375- ComisaryPurt
                                                                               ComisaràJPul-(
                                                                                                             -
                                                                                                                3.50              71 . 51                0 . 00
                                                                                                                                                                              0 . 00         03/07/2020
 03/05/2020 PHONE P                       CH.    PHONE         TI  ME   PURCH                                -
                                                                                                                5.15              75 . 04                                     0 . 00        03/07/2020
                                      URCH. PHONE TIME PDRC ASE                                           -
                                                                                                             10.00               80 . 19                 0 . 00               0 . 00
03/04/2020 PHONE PO                                                             HASE                                                                     0. 00                              03/06/2026            )
03/03/2020 DEPOSIT C                   RCH PHOHE TIME PUR                                                   - 5.00               90 . 19                                     0 . 00         03/06/2020
                                         HD      4948354/107306/M0:R         CRASE                                                                      0. 00                0 . 00
03/02/2020 ZERO BOOK                                                                                        -
                                                                                                               5.00              95. 19                 0 . 00                              03/05/2020
                                         IN INITJAL DEPOSIT                               0E              100 . 19              100. 19                                      0. 00         03/04/2020
                                                                                                              0.00                0. 00                 0 . 00               0. 00
                                                                                                                                                        0. 00                              03/03/2020
                                                                                                                                                                             0 . 00        03/02/2020
  Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 208 of 276



                                                  Nv/kltrwy        ..
                                                   *-
                                                 .
                                              o#4x
                                                  .;u
                                                   .
                                                   -
                                                    .
                                                    -.    .V..
                                                        .:X   .. rG .Ct
                                                             7c        :
                                                                       .:a f- ..x ........ . .... .... ..
                                                                           '
                                                                          -.-k-lza-z.ukcl   & =.uz:714.
                                              '   u r'
                                                     r
                                                     .e
                                                      =
                                              2.u'v.- .
                                              o           '-
                                                           A ,w  a m
                                                                   - . ctC  ..u. q .to.     m,,s
                                               s?,<:'nsçGopt. y2'. l,
                                                                    .v
                                                                     1..
                                                                       1c
                                                                        .
                                                                        uCl.
                                                                           vL ..eys1.e -
                                                                              -x
                                                                              ,              j.
                                                                                              .a
                                                                                               .t




                                         DETAiNEE TRARSFER HOTIFIGATIO N
     This Form ToBe CompletedAnd Gi
                                   ven To The Detainee
     DETAINEE NAME: RADETIC
                                , SEBASTI AN
    (kATIONALSTY:      CROAT                                                                                         M        A 209 2j445O




                                                  kpl #d4..:< i.y-+rz krv:> (.àjz+ ivà3/$'kki
                                                                                            ''kj
                                                                                               pv
                                                                                       ..        .l




   ICAME C,F i.
              1E'
                t'
                 %/FACl
                      .Ll
                        7h'.     GLD -GLADES CJRRECTSC
                                                        :f4t.NSTITUTùOt'
                                                                       tr.C-
                                                                           )LDI
  ADDRESS QF NEtht!F.A.CIL.ITNJ: 1297 EAST STATE RORD 79N
                                 MOOREH                    ïh/
                                         AVEN,FL 33471

  TELEPHO NE RUMBER
  O F NEW FACILITY'                 863-
                                        946-1600


 lherebyacknowledge thatIhave
                              received thetransferinformation. 4hatze also been notifi
                                                                                     edthatitjsmy responsibility
 to noti
       fyfamilymembersorcthers iflso desire
                                r             .


 Detainee Signature:
                                                                                            A#        A 2O92q4 45O        D
                                                                                                                              ate: 04/22/20



OfficerSignature:
                                                                                                                         Date: 04/22/20




KRO/O5-38.1
Detainee Transfer
                                                                                                             Revi
                                                                                                                sed September13, 2004
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 209 of 276



                                  z4lwkiz,'
                                  c

                             ,;;.
                                LNN . r-
                                       i:n IJ.S* Im m y.graty
                                                            .on
                             ;.
                              -0, * m& s
                                                             .
                             '                  .


                              :
                              è
                              *
                              'r
                               .- .
                               w   < 1,- z an d C u stom s
                                          . .
                                                    ..             .,

                                 oqwo@>>yr;:: Enjkorcem ent
                                          ,




                                 DETAINEE TRANSFER NOTiFiCATiO N

    This Form To Be Completed and Gi
                                   ven To The Dela/rnee
   DETAINEE NAME:
                                                                 RAIIETiC SEBASTiAN           A#       A2092
                                                                                                            14450



                                      -(RA /APS FER' ;p4F'(I
                                                           )A pkiA) p(7ié
  NAM E OF NE$/
              k'FACftàT'
                       ''
                        ..
                        ?'
                         .
                                                                        Krome Service Processing Center
  A DDRESS OF NE%
                /V FAC ILITb': 18201 SV
                                            t/1,
                                               '?th St
                               1t
                                /liam i
                                      .
                                      ., F !
                                           .
                                           -33194        .




 TELEPHONE NUM BER
 O F NE'
       /v'FAC1LlTY:                                                            305-207-2001


   Ihereby acknow gedge that5h
                                  ave received the transferinform ation.
   been nctified thatitis m y res                                           (have aiso
                                 ponsibility to notify fam iëy m em be
   desire.                                                            rs c'rothers,ifso

Detainee Signature'
                  .
                                                                          A#: AXXXXXXXX Date:                6/12/2020

OfficerSignature:                         A
                                                BU/M/AN
                                                .
                                                                                              Date:
                                                                                                          -   6/12/2020




                                                                                               RevisedSeptember19, 2004
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 210 of 276



                                                    skvA-.
                                                         lt-rd$y..
                                                Rr-
                                                  '---<4+o
                                                       (
                                                       - - . -        .     .
                                               7.A X Q, l*y-.ër,l1l'tzlc'
                                                .                    .
                                               .                       <
                                                                     ...
                                                                        argtlcn
                                                                        '  -                 -

                                               N
                                               %
                                               ;.'%=
                                                   -éy'
                                                      = anG'Custcm s
                                                e
                                                ..
                                                 e
                                                 oxosycig. p
                                                           wn j-      .17ty
                                                              - orcem e                  .




                                          DETAINEE TRANSFER NOTIFICATION
     Fh/sForm ro 8e Com pletedA
                        nd Ghzen To The Detainee
    DETAINEE NAME; RADETIC
                           , SEBASTI
                                   AN
                                                                                                                A#     A 209214 4.50
    NATIONALITY:             CROAT   '




                                               %*Aro # 4 f#> re M r% r% l
                                                kM M ,;*4w.
                                                          '**.r -           P*K'
                                                                .-..-.v k,+4r  o M
                                                                               = M Y# # N'=le% @.I
                                                                                   .,t
                                                                                     tr/rkll=.
                                                                                             ')=


   N.
    z%ME OF NEt/'
                t/F.A.C!LITY:
                                     GLD -GLADES CORRECJTjON il
                                                              ksTiTu'
                                                                                         Tioit (GLD)
   ,.
   * >J>
    .L DQ  r:
         .x:-:
             SwQz
                -p
                l
                vkr
                  - Fv
                     jg
                      ..-j.jy
                            j'g7A .(
                            ï ,..C.
                                  .l'
                                    L.
                                     :
                                     t'
                                      r
                                      l'
                                       1;.
                         .
                                         . 12:7EAST STATE RQRD 78I
                                                                 k7v'
                                           MOOREHAVEN,FL 33471

  TELEPHONE NUMBER
  OF NEW FACILITY:
                                     863-946-1600


 #herebyacknowledgeihatihave
       fyfam ilym em bers oroth received thetransferinformation. Ihave alsobeennotified thatitis
 to notj
                               ers.i
                                   fisc desire.                                                 myresponsibility
 Detainee Signature'.

                                                                         A# A 209214 45O             D
                                                                                                       ate'
                                                                                                          . 06/29/20



OfficerSignature:
                                                                                                                     Date: 06/29/20




KRO/05-38.1
Detainee Transfer
                                                                                                       Revised September13, 2004
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 211 of 276




                                   W AKULLA COUNTYJAIL

      FO RUM IN FO RM ATIO N

  E
        REç (.jEs'j-jj:jFo
            Titi                Com m issary/M ail                           RADETIC
                 e              Questions            Created By              SEBASTIA N
            inm ate ResidentID 20001332              Created O n             06/07/2020 5247PM
            k %> >   < .uru w




                                                                                  V c tr'Ylrk k
                                                                                  ...2'
                                                                                      w       @..z?.De:)uow
                                                                                                   t.
      r''
        t  ..%% r-u,...4-
      ?
      M-f
        uG
         w t
           '-1b.;
                .2e
                  w.
                   .-.
                     ..
                      .xk                                9
                                                         '
                                                         X-C'(
                                                             7F
                                                              ue
                                                               o (3Fr
                                                                    O-1'N?
                                                                                  il
                                                                                  1)t
                                                                                    rv
                                                                                     lju
                                                                                       j
                                                                                       a

        en.'
        =  .
           '
           .                                                                      06/08/2020
           .                                             CapoerSusan              9:40AM
       œ r                                ,,                                           ,     .
       r- cAN iPLEASE GET 3 LEGAL i
                                  kIAIL ENVELO PES P RADETIC SEBASTIAN           06/0772020 5,4s
                                                                                               ,
      LEASE THAN K 'fO U.                                                        PM
          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 212 of 276
              6%be '*t4
                      o*.
                                                     ,     A K U L LA C O SH ER JFF O FFICE
             *+ #ëKy1
                    . #e Pe   .x
              *           *
                      !
                  œousx                                                    D E T IC ,SE B A ST IA N                                                                             'k-
                                                                                                                                                                                 wolg
                                                                                                                                                                                    s
                                                                                                                                                                                    ,'
                                                                                                                                                                                    y:'r
                                                                                                                                                                                       z:,
                                                                                                                                                                                         )e
                                                                                                                                                                                          s;
                                                                            Property R eport                                                                                         .,,.
    Book No:W CSO20JBN000629 h4N 1N o:W CSO20M NI001332 CellNo:
                                                                                                                                                                          DO B :10/24/19
                                                                                j)
                                                                                 -
                                                                                 è
                                                                                 '
                                                                                 ,
                                                                                 t.j
                                                                                 N
                                                                                 '
                                                                                 . l'
                                                                                    j
                                                                                    :j
                                                                                     I,
                                                                                     ';
                                                                                      '
                                                                                      I
                                                                                      j'.j
                                                                                         ..
                                                                                          j
                                                                                          )jj,
                                                                                             j)
                                                                                              ;q
                                                                                               ;?
                                                                                                :)
                                                                                                 ,$xr
                                                                                                    j
                                                                                                    l .s.
                                                                                                      t
                                                                                                    jyi rt$
                                                                                                        j%
                                                                                                        ' , ;u,i,
                                                                                                          ytj   y.y
                                                                                                                  .
                                                                                                                  j
                                                                                                                  .j
                                                                                                                  !
                                                                                                                  .q
                                                                                                                   ..      o
                                                                                                                               .
                                                                                n;                                     i.t, .. .
                                                                                                             -    .
                                                                                                                   ,       kt
                                                                                                                          '.;
                                                                                                                            )
                                                                                                                            ..
                                                                                                                            s u.
                                                                                                                               .
                                                                                 .               )
                                                                                                 ;               y,t.. ..xtjs
                                                                                                                            ,
                                                                                s                                          é
                                                                                                     .   k.6.'          '. ''h.
                                                                                ..                       .                  , ;t
                                                                                                                       .  . .ry..

                                                                                                                   .           7r%

                                                                                         .   .   YP  t
                                                                                                     !
                                                                                                     r.
                                                                                                      ;'                   .' t
                                                                                                                              :
                                                                                                                              .


                                                                                                                            y,

  zo<eCC)
        '. '
         VU:Cz.
              '

 PR-ES
     iA G -i
           y05'
              z'
               ,
  Q
  rhirtf.
  k     s)
         .           Ot
                     hlv:
                     .. . 1                              t-
                                                          .aR AY
                                                         x.
  Rece1N?ed: 5/7/202O 14:53              B5
                                          .'
                                           :-F-
                                              I'
                                               fJC,HES, 1.l1
                                                           - CK -
                                                                1E J                                                                        Pp
 Q-kvt                                                                                                                                        zx-n  /,()-0w
                                                                                                                                                 ,..z     f;-
                                                                                                                                                            52
                                                                                                                                                             '
                                                                                                                                                             -
 </ atPa17ts        '
                    k'
                     Nty
                     d -': 1                       z-'
                                                   w xIN
                                                       X.
                                                        AT'
 Q o/-.oi1?or@. 'q/71''
                      ?/3Of) Iz!'<C?     D 1?. lJ1 I('-tLJC Q YlI''-NQ'II.D !
Otl                                                                                                                                  =. rn. 77''
                                                                                                                                               ----Q L S''R.,3r;>
                                                                                                                                                                -'7
   nei'                       Qt)
                                '':                   BAG CONT TIEM S
Rece1!'ed: 5/7/202f
                  w)1J
                     .:53               Q
                                        -)?: Ll
                                             z a-
                                                t;C-HES,VlC.K IE J                                                                   T
S1                                                                                                                                    o:PR-BA G-0O5'-
                                                                                                                                                    ?
  1oes                        Qty:1                  1)LACF:AIMD YblHVTE
R ece1ved'
         , 5/7/2O20 14:53               Bv;FRJG1-
                                                I8S, V JC KIE .1                                                                     To: PP.-BAG -0052




                               Inm ateSignature
                                                                                                                                                   Svitness Signature



                                                                                 OfficerSignature




tted On :5/7/20 14:54
                                                                          UserN am e;VI-
                                                                                       lUGHES                                                                         '
                                                                                                                                                                             Pagelofl
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 213 of 276




              Fram :                              Heas, NancvJ.(USAFLNI
              To:                                 USAFLN-AIICn'minalAIJSM
              su
              Dabjm-
                te                                Stattl
                                                       sofCorrectionalFacil
                                                                          itie/lail
                                                                                  swoi
                                                                                     ntheNorthernDi
                                                                                                  stri
                                                                                                     d ofFl
                                                                                                          ori
                                                                                                            da
                        :                         Tue ay,May5,20209:31:37AM

             Foryou.rsituationalaw areness, seebelow theU SM S'srepot regarding prisoneroperationsin
             theN DFL'Slocal,state, an.dfederalcorzectionalfacilities.
        '



            Frcm:Ladner,Dcn(USMS)IDl
                                   -adner@usmsdoj.govl                         -

            Sent:Tuesday,May 05, 20207:21AM
            subj-eco:Fh&:StatusofCorrectionaiFaciii
                                                  lies/jaiiswkhinrhef'
                                                                     icrthernDistrictofUiarida
            c- .-....-...-.0.1....r.-:
            .                        ..:.-ij;.
                              :u             î,




        -
            1h.
              3nks,
        o'-c'f-1


        Frcm;Ladner,Dcn(
                       'USMS)
       Sent:hdonciay, 8/18î,:4, 2020 3.
                                      .13 Pi
                                           ïl
       To:MarkW/alker<M ark E W alkera flnd,uscourts.çov>
       fubject:StatusofCorrectionalFacilities/lailswithîntheNorthernDistrictofFlorida



       Asrequested,below i
                         sthe Iarestinformation olnpri
                                                     soneroperation
                                                                   sandL
                                                                       -L
                                                                       -.'k?
                                                                           'iD î.9 exposureswithin
       thecountyjailsand correctionsfacili
                                         tiesofthe Nor
                                                     lhern DistrictofFlorida:

       pensacolaarea:

       santa RosaCountyJai!

                 Stillaccepting new arrestsandfederalprisoners.
              * Stillallowing releaseofprisonersto appearin courtandth
                                                                      en acceptthem backintofacilityz
                afterscreening.
              e Hashad onejailstas m em bertestpèsitive, no inmateshavetested positive.

      W alton counw lai!

             *          Accepting new arrestsand federalprisoners.
                        Allowingrelease ofprisonersto appearin court and acceptthem backintofacility
                                                                                                                 ,   after
                       screening.
                        No stafforprisonershavetested positiveforCOVID 19.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 214 of 276




          Jackson Counw Jai!

                 e W illnotacceptany new federalprisoners.
                 e w illallow release ofprisonersforcourl. butw lt.
                                                                  tNOT acceptthem backinto facility once
                   removed.
                    No COVID 19 caseswith stafforprisaners.

         '
         A ashing oncounlvlaël




        r%.-
        kle:rc#:eMw e...evH   r.:4
                                !e:,,:
                                    ;F
                 .K
                  au'àkt.e


                      iéI'I9*...,-..;-.-.,
                                         e.,-........;- ,-...x.. ..x..s,a. v'-. '  :     '
                      $1V IlIlItlL & L.t.= I..JL & 9Iï         / !4c ?%/ 1C QJ= l(71 k.zl1.
                                                                                          >L.l1$= #.
                                                                                                   3.
                      $r$/s
                          ;.
                           1.
                            ùc
                             -tl1
                                ./
                                 n
                                 .ek
                                 x y,
                                    y
                                    v,
                                     'f-w
                                        g:
                                         z.
                                          'nzise v
                                           ww    -rt
                                                   rJr',
                                                       lsci,
                                                           r,
                                                            ,w
                                                             '
                                                             -.'rc
                                                                 .:
                                                                .. -
                                                                   l'
                                                                    -
                                                                    . 'l-c
                                                                    ..e  w-
                                                                          %
                                                                          -i
                                                                          J wl
                                                                             ,l=L w
                                                                                  :<
                                                                                   .,r
                                                                                     1Ln'
                                                                                        q
                                                                                        c'ki
                                                                                          .l(.
                                                                                             ;
                                                                                             :
                                                                                             kt
                                                                                             .
                                                                                             . -c
                                                                                               w w'.
                                                                                                   rarn'
                                                                                                  .w     c'i
                                                                                                           -'
                                                                                                            -,.....-k.r-
                                                                                                       . w wl1        ,11r
                                                                                                                         .2-
                                                                                                                           di
                                                                                                                            w-x
                                                                                                                              .-
                                                                                                                               x;
                                                                                                                                .;
                                                                                                                                 '-lt
                                                                                                                                    wck,;
                                                                                                                                      .
                                                                                                                                     w. .r
                                                                                                                                         -a
                                                                                                                                          .cj!
                                                                                                                                             ,$
                                                                                                                                              ..
                                                                                                                                               1
                                                                                                                                               w-.
                                                                                                                                                 :/a-!ter
                                                                                                                                                        .
                     screening.
                      1.w
                        .m r ?& I:dJtI
                                     - &e;(
                                          eJw r.a &.ewe.%s.?
                                                           .Wl
                                                             'w >v.. *'**'n v
                                                                   >.c               .
                      I2=?k-L2Q1L.# 2-.J k.(QDc3 QVkQllJL(:àl1Q21ImJ1
                                                                    vt
                                                                     1.>
                                                                       o.k
                                                                         e.-/l
                                                                             >tc-I*-J
                                                                                    0..

        G-ainesville area:

       Dixie count
                 'yJaii

            1       Stiilacceptlng nevk/federalprisoners.
            G       t&IIIallow releaseofprisonerforcourtand acceptthem backinto facilit
                                                                                      y afterscreening.
                    No COVID 19casesamongstafforpri       soners.

       Levy Counw lail

                   W illnotacceptany new federalprisoners.
           *       W illallow release ofprisonersforcourt butW ILLNOT acceptthem back intothefacility.
                   No COVID 19 casesamongstafforprisoners.

      Aiachua CountyJail

      Did notrespond to inquiries. W e currentlydo nothave anyprisonershoused atthislocation
                                                                                                                                                      .



      Tallahasseearea:

      FederalDetention Center
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 215 of 276




                           4)
                            .
                          W illacceptnew federal
                                                  arrestsand prisoners. Currently the
                         areathatwillacceptnew federalprisoners                    ,    onlyfacility intheTallahassee
                                                                    .
                         ?/ilIaIIoï& releaseofprîsonersforcourt
                         HashadoneCOVID 19casewlth
                                                                  ând willacceptthem backafterscreenfng.
                                                           astaf'
                                                                fm em ber. No casesam ong prisoners
                        FederalCorrectionaltnstitute                                                   . NOTE:the
                                                      , aseparate facîllty, hashad severalreported case
                        FDC isrequiring aM ANDATORY 14 d                                                  s.
                                                              ayguarantineforALLnew prisonerint
                       anyinm ate w:o fall-  ;n th-
                                                  s categ                                             akes.Asa regult-
                                                          oG willNôT be avaigabge forErr?l
                       courthearinœs-etc.- for:.4 davs.fThisw il!imoactIA                  rtransferor-m ovem ent-                                                         -

                                                                               and netention HearlnEsl.
               Add-
                  rtiona!.3ssusknz!th'FDC akrailablebed saace
                                                                                                        :




              Leon- cctfntlr-fefi
                       -




                           tf
                            ï/i$$notacceptanh'n0
                                               -.
                                                w f0
                                                   -.
                                                    dera1
                                                        .pr;        ,                       ,sar.
                                                                                                erc
                                                                                                  w
                           iy/î/
                               ''
                                !i
                                 .i=. t
                                  l.  'i,
                                        ...x:t..-.=$*'= .-.S.-. ?..''c .m.-'.                            .
                                    ..lw <k .w .w c c wl4 j.zi t=C.
                                                                  N. -r..
                                                                        w.,
                                                                   ..e.iG t.-.
                                                                             ;
                                                                             !:'
                                                                               . ,
                                                                               x-
                                                                                ..t-..-.J
                                                                                    ..  n  ..
                                                                                    .       '.
                                                                                        ...=.
                                                                                              .4. .-..-'r'- C-r-= = = .
                                                                                             Lk t:L).   a aw.           ;'-.
                                                                                                               w..-t.-L w  >'.1w
                                                                                                                               nrr   r'Jc.:
                                                                                                                                 ;:1 .    -tw '' i
                                                                                                                                            r-e
                                                                                                                                              l  ''-'*'= .---s*'
                                                                                                                                                               '''
                                                                                                                                                                 ''
                                                                                                                                                                  '-   -
                  e        f
                           k'o COVID 19C-
                                        ases reported.                                                                                       xd4lu.w lraw:lti'.,G
                                                                                                                                                            .y  -'.5-
                                                                                                                                                                    t2t
                                                                                                                                                                      -
                                                                                                                                                                      -=k.t
                                                                                                                                                                          eJ**
                                                                                                                                                                             k.**
                                                                                                                                                                               IcQ-:
                                                                                                                                                                                   t
                                                                                                                                                                                   -$$$tF>.
                                                                                                                                                                                     '- *
                                                                                                                                                                                     '

    z                                   -'--x-...- .

             W êk/lla Coiznp ;aF
                               -ë                                       -''''
                                          -                   ..H


                o       w illno-t - aclaptnew federalprisoners
                       $tjq..              .....- ...7
                                                     p.-:.Lrzf
                                                             z..                 .. ..
                       ,
                          /1ltallovv/release of              s'o''
                                                                 n
                                                                 '
                                                                 -'
                                                                  -
                                                                  e--'-'
                                                                       é*-4--- -'
                                                                    rs I(;rccu1Q.an0 4't/t
                                                                                         /.ilIacceatback,
                       fklo ù-ovlD .19 cases reported.                                            m     into t:he fack
                                                                                                                     ;If
                                                                                                                       '
                                                                                                                       tyy af4erscreen1ng.

            TaylorCoun@ Jail

                      W ilsnotacceptanyneW fede
                                                   ralprisoners.
              *       W illallow release ofprisone
                                                  rsforcourt butW ILLN9T acceptthem backintothefacitity
              .       No COVID 19 casesrepoled.                                                        .




        Screenin:CriteriaforCovn@ Faeilitiesin theTallahasseeArea:
        AIlfacilitiesaccepting new fed
        .
                                      eralprfsonersorreceiving prf
        requfrjngthefollowing;                                   sonersbackinto facilftyaftercourtare

               Tem perature checksand medic
                                           alscreening
            * A questionnaire answered b              .
                                        yUSM Spersonneland priso
              exposedto anyone withCOVID 19                     ner,astow hetherinmate was
                                            .
            * UsMs personnelm ust'Vouchf
                                          orcustodyand non-exposure''ofth
                                                                         e prisoner.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 216 of 276




                     ifany question isansw
                                           ered contraryto facilil accept
                    possible COVID 19 sympto                              ance policyorscreening detects
                                              m s, USM S willbe requiredtom
                    and houseelsewhereand/orseekmedicaltreatment              aintain custodyofthe prisoner
                                                                        .

          Florida Depa/m en'ofC
                               orrertions

                   W iilHOT acceptorreleas
                                              e any prisoners. Theyhavesuspendedall
                   Thàsi.scausing a bedspa                                                       movementofinmates.
                                            ce issue forFDC and USM S
                  ona W RIT previously,                                      , aspr   isonersvt/ho havebeen taken out
                                         are notallowed to return.
                  There have been numer
                                           ousCOVID 19 casesreport
                 state.Ses x.
                            'era!ofthe impactedf                            ed amongprisonersandstaf'       facrosstha
                                                   acilitias.
                                                            3f-p
                                                               ak'
                                                                 vrîtl-
                                                                      'irir
                                                                         ..'
                                                                           x,or:-.FEsrn DistrictafFlci-ida
                                                                                                          .




       Sincereiv,
       (2
        ;(:,r
            -,

       7:
        .Dcn <
       .k
        i      iaAkQnc- rj'J'r*
                             .

      U n-kted Statesrvr    tarsn-ai.
      Lforth'errc,
                 .D'-
                    lstricto'fçporso'alU np
                                                -ted State:-rvvlarsl
      f
      Al                                                           nz!
                                                                     ss, ..
                                                                         Cz-rvr'
      w.kfjcu.t:r*.,.
             .@uu    $&
                      w'-#.r  #rfJ'
                            u-u   ./
                                   'u   k;e&g&..*55 jo;x-
                                     z-e,
                                       . o = z?   ..
                                                       d'y                     l,cc
                                                                                  -
                          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 217 of 276




     '   '
......:..:.6;'E;j
                'T(E.:).......
 L
 .
.@:
iDETIC,
DBASTIAN
aked: 05/01/2620237
                  35
N :200016201024
         BCSO20M NI002161
11111111t
        111
          1.
           11111
               (1
                1
                y1
                )
                 .
                  11111111111111
                          ..,
                           y            '

                      i
                      1
                      j
                      $
                      ,
                      .k
                       ' '-
                       .  (/
                           )
                           .      .-
                                   ..
                                   .


             (''-
             )  '
                -:
                 -
                 r
                 j
                 :
                 '
                 y.
                  r
                  '
                  j
                  ,
                  t
                  :
                  - y
                    g
                    .
                   ;)
                    .
                    .             y

             y
                                  '
                                  ?
                                  '
                                   -
                     :        '
                 ..       . ..     J ::'::.:
                                  ..
BaKt,wx
      luntyjj1er
               ''
                kjjs'ùsx    ,
          Case 1:20-cv-23783-MGC  Document 1 Entered on FLSD Docket 09/11/2020 Page 218 of 276
                        bater County
                                    = = = = = = = == = = = = = == == = = = = = == = == = = = = = = = = == = = = = == = = = == =

                                    Resident Transaction Receipt
                                    Saturday, May 02, 2020 @01:39



  Officer

 Transaction #: 101738336
 Inmate# :                                     InmaReference:
   20002161                                      RADETIC, SEBASTIAN

 Description : INTAKE CK# 33827
 Block :                                                            Cell :
   N0N E                                                              NONE



 .xi
   . =e <a
        Ut.x11
        .    xw'
               ..   ..p
                      uNv;I -1-
                          r.. w *
                                .

      s
      r
      -
      lz1
        -.ic
           l
           e'
            -
            <
            àC'
              j'
              -.
               <
               x
               *



Re szaen
    '3 = u. Siv
             'Aw
               .                                                                                                       rl m
                                                                                                                       oa oe
                                                                                                                          .




Authorized




          Page 2
         Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 219 of 276




                                                 *
                                                           ztd ).;
                                                          r
                                                          1
                                                          x9
                                                          '
                                                          t
                                                          z3

                                                              .
                                                          l@ J

                                                          $%..:
                                                         ç.
                                                       h.4         *TN
                                                 .,      &             )
                                                 j*               ..
                                                                       .,
                                                                                   (11/60)68çtulo:lSI
                                                                                                    -!G                                               c
                                                                                                                                                      O%t
                                                                                                                                                        -
                                                                                                                                                        .ee
                                                                                                                                                        w,'u
                                                                                                                                                           p,g p
                                                                                                                                                               k-
                                                                                                                                                                /.z.
                                                                                                                                                                   1ç
                                                                                                                                                                    za *O'N              .

%                           *2
                             cm                  #t4*:.NJ !
                                                                                                                                                       .nrc...
                                                                                                                                                             '1::0:;101)1
                                                                                                                                                                        :'

                                !                  >. &
                            t
                            N                    e
                                                 '
                                                 ki
                                                  TWX4'
                                                      .
                                                      *U
                                                       4
                                                 >'.. +
                                                      -
                            ''''j;q
                            .
                            .o.o.
                                                     >U'w1D                                                     o vo-                        .        q! e>.0.
                                                                                                                                                             1                   0931
                                                                                                                                                                                    .
                                                                                                                                                                                    40 GHC
                                                           .v
                                                       . ''2-...n
                            >                            .1.. !
                                                          ,,
                                                            < .
                                                          (.*
                                                            , j                                                                         12'
                                                                                                                                          D.-
                                                                                                                                            %tAp -n.
                                                                                                                                                   ,
                                                                                                                                                   .
                                                                                                                                                   xk 2231-140 SFIc '
                                                                                                                                                                    ..
                                                                                                                                                                     /.
                                                                                                                                                                      C      .
                                                          Y<
                            K'                   rN           5                                                   -u
                                                                                                                   ;%'JI
                                                                                                                      .k,z
                                                                                                                         ...
                                                                                                                           1o.
                                                                                                                             -.c-%l.
                                                                                                                                   ,,c-y.
                                                                                                                                        f5.
                                                                                                                                          9*apw
                                                                                                                                              .,y.
                                                                                                                                                -fk,zec
                                                                                                                                                      .e,ev,.
                                                                                                                                                            ,Q.
                                                                                                                                                              s/'
                            M                    .   => m                   '
                                                                                                                                                                 .r=
                                                                                                                                                                uL -u
                                                                                                                                                                    .ui'
                                                                                                                                                                       .-'
                                                                                                                                                                       u u.w
                                                                                                                                                                           .4.J7c
                                                                                                                                                                                '.
                                                                                                                                                                                 x.k
                                                                                                                                                                                   .
                                                                                                                                                                                   .
                                                                                                                                                                                   't
                                                                                                                                                                                   z
                                                                                                                                                                                   .ra.u
                                                                                                                                                                                       .1c
                                                                                                                                                                                         u'
                                                                                                                                                                                          n,/
                                                                                                                                                                                          e r
                                                                                                                                                                                            %
                                                                                                                                                                                            .
                                                                                                                                                                                            zo'w.rI
                                                                                                                                                                                              .   ,7w
                                                                                                                                                                                                  u ''
                                                                                                                                                                                                     .=
                                                                                                                                                                                                     , '
                                                                                                                                                                                                      t.
                      =     X           W                     >.                Mv                                                                                                   4
                       :3
                                        Q                 &                       Nw
                                                                                   Nv                                                                                                '
                                                                                                                                                                                     :            j
                            =
    W                 1) c                                r
    N                                                     C)
                                                          >                                                                                                                          I
                                                                                                                                                                                     I
    (
    *                                                     CD                                                                                                                      j
    11                                                                                                                                                                               '
;                                                         C)                                                                                                                         '
                                                                                                                                                                                                  /
:= rxé                                                    C.
                                                           1
                                                           *                                                                                                                         l            ;
:D i2=                                                                                                                                                                            1
                                                                                                                                                                                  l               )
:x = .                                                                                                                                                                            i
                                                                                                                                                                                  I
                                                                                                                                                                                                  k
 Q m
 >>                                                                                                                                                                               1
 Qr <                                                                                                             Nx                                                              1               I
    x                                                                                                                                                                             I
                                                                                                                                                                                  .               à
                                                                                                                                                                                  l               l
                                                                                                                                                                                  I
                                                                                                                                                                                  4
                                                                                                                                                                                                  j
                                                                                                                                                                                                  l
    r
    S
    -                                                                                                                                                                             :
                                                                                                                                                                                  1               '
                                                                                                                                                                                                  j
                                                                                                                                                                         '        l               l
                                                                                                                                                                         N       1.               ;
                                                                                                                                              - - - n                            1            1
                                                                                                                                                                                 N'           rI
                                                                                                                                                                                 j
                                                                                                                                                                                 '
                                                                                                                                                                                 j.
                                                                                                                                                                                    NsN jJ
                                                                                                                                                                                 j           -*
                                                                                                                                                           l                     1'
                                                                                                   !..z.1.%. 6 .v'
                                                                                                .. ;             vt *.<cx '
                                                                                                                          - ww
                                                                                                                            k w A.       = kw <.-:(            %: ' r- w...#
                                                                                                                                                                           ' $
                                                                                                                                                                             i                :.
                                                                            '
                                                                                            .....                       . . . ..                                                 1.
                                                                                                           t2ol
                                                                                                              ').
                                                                                                                d'
                                                                                                                 l2açP(
                                                                                                                      '
                                                                                                                      7
                                                                                                                      '                                                           i
                                                                                                                                                                                  J &.
                                                                                                                                                                                     !).
                                                                                                                                                                                       i
                                                                                                                                                                                       aenU
                                                                                                                        *p !.#.
                                                                                                                              tY t!g.s 'ea 1
                                                                                                                                           .A-.pu '
                                                                                                                                                  2J '
                                                                                                                                                     .mt.
                                                                                                                                                        ues
                                r)      n. x
                            G           a:
                                        q) o                                       & )J)1j%Q '
                                                                                             .meu                           'Dc)                                             * %.J           .&!I!
                                                                                                                                                                                             '   3ed
                            V              c
                                           o
                                o Y          >                                                                 %â'î-i-xxîq,-% Q L
                            X           v)
                                        o   .e
                             R          '-
                                         o. (7                                  J.d1773: âldRdoxd
                            .m           o E                                                                            l1l8n33S ONU IA O H dO lNRl
                                                                                                                                                  N18Vd90
                            z           tl S
                            a)
                            %. o o
                                    k
                     Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 220 of 276



*
'




''' 1',
Ltz
tJ    !1
       :
       r
       -
       .1$ 19
            .
            3
                      ----
                                                                                      l
                                                                                      i
                                                                                      p
                                                                                      (
=,                                                                                                                                                                               .----
                                                                                                                                                                                     '
                                                                                                                                                                                     '-
                                                                                                                                                                                     .''
                                                                                                                                                                                       -'-
                                                                                                                                                                                         '''''
                                                                                                                                                                                                                 1                  ' '.'.'.'''''.'
=
>
    4 l                                                                                                                                                           s./'
                                                                                                                                                                         e
                                                                                                                                                                                     .

                                                                                                                                                                                                                1
                                                                                                                                                                                                                ,                          -,
                                                                                                                                                                                                                                           '-.
                                                                                                                                                                                                                                          t7.
                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                             '...'
                                                                                                                                                                                                                                                 ..

>                                                         q
                                                         Nx                                                                                                    ,                                                                         sr'
                                                                                                                                                                                                                                           o.
                      .                                          xu                                                                                      -
x
D                     à
                      ço                                                                                                                                                                                                                Z
=                     c7
u                                ,                                                                                                                                                      ,
                              t <: N1                                                                                                                                                            q                                      uy
                                                                                                                                                                                                                                         -
                             wh .
                                '
                                K
                                2 j                                                                                Gh y '                                                                                                              K
                -
                              :.y                                                                                                                                                                                                     O'L
                           , t)
                           =                                 .
                                                                                                                   -
                                                                                                                       n2 $                                                      $                              i
          0                q2 z . N,
                                                                                                                         .
                                                                                                                                                                              r,j    j
                                  w x4                                                                     t'                                                                iR     I!
                                                                                                                   , .                                                       .
          -
                                                                                                                                                                                  .
                                                                                                         , z                                                                 z '--7h #
         -ï-
           t ,!
           '
           '

              -11
              '
              ? -I
                 L1-Ch-
                 v.   j -
                        '!,,        I ;  t
                                         z
                                         r
                                         ai
                                          là   /' )
                                                  ',
                                                   l t
                                                     t
                                                     '    I                                              -
                                                                                                         ,--
                                                                                                                             l                                                             '

 %
 o' 4.
    l.
    1N x   ,
           j fc'ar
                 h
                 '
                 --
                .-x
                  'j ' zj-
                         A4'j l ' i t f
                         A1
                      l.- )
                           .-
                            ;
                                      I
                                        >.-;j
                                         .

                                         .  ;..
                                              l
                                              jl
                                              ?  ,
                                                 q-
                                                 w
                                                 à
                                                 I
                                                 , '
                                                   , '
                                                   1 $t
                                                     ,
                                                     : ;-.
                                                       l
                                                       d. l
                                                          1               ,
                                                                                           -
                                                                                                    m
                                                                                                    .
                                                                                                    s
                                                                                                     z-I
                                                                                                     ,
                                                                                                         .
                                                                                                                             $                  l                                                                         -


l'
 > itlt,:h4. l;tyk
                 w-       ,
                          ..  r   l )   g
                        ;.l l I l l '% î:$'ll.'hv.                                                                                                                               .


lt
 ::
  !,... !-     o '
                 -
               -..'l -
                  .   -
                        1  $4-
                                        -
                                        s
                                                j,
                                                 L!1
                                                   . y..
                                                       j
                                                       y
                                                                                                                                                                                       ,,
                                                                                                                                                                                       .
                                                                                                                                                                                                                     ,,

                                                                          l       - l                    l 1                                                                  ll
                                                                                                                                                                               -t
                                                                                                                                                                                lh-
                                                                                                                                                                                  1
                                                                                                                                                                                  $--
                                                                  c                                                                                               ,                              -                              --- -
!k
 ::,::
 .   i
     :
     )l r
     %  k
        h
        '
        --tt -
        '
        '    ;
             .t
              -;'
                '-,
                  .i'I 1 i )             *
                                                         '
                                                                                                               .
                                                                                                                                  j l
                                                                                                                                  1 #                                    6
                                                                                                                                                                         70q
                                                                                                                                                                         .
                                                                                                                                                                  ' tiri 'l
                                                                                                                                                                    ..    tr
                                                                                                                                                                           '%q
                                                                                                                                                                             j
                                                                                                                                                                             s
                                                                                                                                                                             -l
                                                                                                                                                                             .
                                                                                                                                                                                  .'
                                                                                                                                                                                   l
                                                                                                                                                                                   k.
                                                                                                                                                                                    .  .
                                                                                                                                                                                                                                .




                     à< ,                                                              I l                                                                                            ..,            l
                                                                                                                                                                                                     j!t
                                                                                                                                                                                                       .,jr - F'

            ..l5:$Ii;I
           ;1
                     1
                     ,
                     i'
                     !.
                      è-!
                      x
                      y ,-'
                        1 w1 vj , t
                                  ji '1 I p- a
                                             toujSos'
                                             g   ..
                                                    .
                                                    ,
                                                    u.
                                                     -'
                                                      l
                                                       1
                                                       .'y:
                                                           -?,x
                                                            j
                                                            i;l
                                                                                  .
                                                                                                         - -
                                                                                                               q1
                                                                                                               l                 .
                                                                                                                                                                                                        ,
                                                                                                                                                                                                            , :

                                                                                                                                                                                                            v.
                                                                                                                                                                                                               -
                                                                                                                                                                                                               -

                                                                                                                                                                                                                     ,         ,.



          IF
                .
                     lg1
                      ; : j l # t
                        t
                           !
                           -
                           ,
                           ..-
                                        l ,1t-
                                             .
                                             tk-
                                             ' -
                                               v
                                                                      .
                                                                          x                              . y                     j...-...
                                                                                                                                            ,
           arl
             jIoj
                l j j
                    I
                    x.,
                      i 1--i   i 1 I ( j
                                     $  j ?
                                          jlt
                                            n
                                            t
                                            j:
                                             '
                                             1
                                             ,Ns, $
                                                  jj  !. : sj! -.,                                                                          , .- ......w.
                                                                                                                                                     ..
                                                                                                                                                         .,
          1I, .. - . , ! 1 -1IlI                s;
                                                 xj ;.t
                                                      1.g:j j ;a
                                                               r
                                                               z
                                                               u
                                                               o.                                                                                    .  .   ,

                                                                                                                                                                                 oo
                                                                                                                                                                                                                .

                                                                                                                                                                                                                     ;



                                                                                                                                 /
                      j                                                                                            '
                                                                                                                   ;                                                                              l
                                                                                                                                                                                                  f
                                                                                                                                                                                                  11.
                                                                                                                                                                                                                 /:
                                                                                                                                                                                                                  j; y..
       . '
                      ;'                                                                                           7                                                                              t              j . ac
           E!
           q7
                      '
                      !.         .           .
                                                                                                                   1                                                                             l              '1,
                                                                                                                                                                                                                         'F'
                                         ,                                                                                                                                                       /'          ?i:
       ?,
        .
        0 j /
            ; c..
            '   '
                y?
                .J j
          I i j, .
                   ? j
                     ' ..I j , t
                        xp           .
                                                                                                                             ;       r
                                                                                                                                                                                                 1                p
                                                                                                                                                                                                              j. a .
                    f2c/,      xwj                                            J   k.
                                                                                   #           l          i
                                                                                                          ,        I         )       '           l        r                  !                 !p
                                                                                                                                                                                                '.           jjg, ..
                               '
                               -?                                                     '
                                                                                      t                                      .
                                                                                                                                     l           1
                                                                                                                                                 '        /
                                                                                                                                                          '                  @ ;
                                                                                                                                                                             ' if                            1
                                                                                                                                                                                                             /
                                                                                                                                                                                                             5:
                                                                                                                                                                                                             ! -
                                                                                                                                                                                                               i
                                                                                                                                                                                                               E.
                                                                                                                                                                                                               '-
--                  .
                      w . C, x'                                                       '
                                                                                      ,.
  t.                  9.    '  -.                                                      .&
..;
r,             o
                t-
                ..'- '(
                      u
                  ...I m v
                  R
                          q
                           .), kp    .
                                                             .
                                                             ..
                                                                                        :  .
                                                                                                                                                                             .
                                                                                                                                                                                                 /
                                                                                                                                                                                                 @
                                                                                                                                                                                                             '.
                                                                                                                                                                                                             /
                                                                                                                                                                                                             1
                                                                                                                                                                                                               t,
                                                                                                                                                                                                               =..
                                                                                                                                                                                                                 7
               -. u
                  .
                  !ul Mu,
                   t                                 .  I                                      .q                                                             ej,
t              ..w.
                 .                                    j J                                       x
                                                                                                >                                                                                                /
.
l
.y             V                     p.y             tJ '
                                                        F                                          %w
                                                                                                    a                                                        ç
                                                                                                                                                             ,
                                                                                                                                                             Q.                                  J
-               A'                                           j                                                                                             q;
j                .               -               .
                                                     .                                                   N                                                 qa
                                                                                                                                                          .u
'              h.
                                      * '                                                                                                                 %u O
               wà                                                                                                                                         e        ç: e
                                                                                                                                                                   a L
                                  <                                                                            X                                         %<        kl '5'                                   /
           D                      '
                                  Q                                                                                                                       G 3 '
          ..x                     I!                                                                                                                        A kuw9-N
                                                                                                                                                         >k ee                                          $
                                                                                                                                                                                                        '
                                 <                                                                                                                       *o o
                                                                                                                                                            *                                           k
     F
     .8                          U                                                                                                                       / c ev                                         j Q'
                                                                                                                                                                                                           A4
     c                                                                                                                                                   o ru *'                                        t v mm'
    t.z    t                                                                                                                                .
                                                                                                                                                         eq
                                                                                                                                                          .
                                                                                                                                                                                                 g. kuyJ
*         >                                                                                                                                  2        Q.
           x         >w                                                                                                                              'k           u. u                                      srj-
                                                                                                                                                        o uo
                                                                                                                                                         q;                                    s'
                                                                                                                                                                                                ,
                                                                                                                                                                                                .           '
                                                                                                                                                                                                            Ny
k.. .. +
       C=                                                                                                                                            Q t2      .
F3                                                                                                                                                   o (7 t
                                                                                                                                                          '   =    G.
                                                                                                                                                                    n
    ta : (:
          D#                                                                                                                                         'ql t o uo & w.
t? ru                                                                                                                                                 o Xo on
                                                                                                                                                           X =o : m .'
                                                                                                                                                                  .
a. c                  .
                                                                                                                                                      œ
                                                                                                                                                      >  c c
                                                                                                                                                           z  = t
                                                                                                                                                                r
                                                                                                                                                     Q                                      œ a                  *
                                                                                                                                                     *
                                                                                                                                                     <        %
                                                                                                                                                              =                          *>                 a
            Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 221 of 276




                                                                       83           X
                                                                       t
                                                                       rn           X
                                                                       inI          tD
                                                                           T

                                                                       -   A
                                                                           sj
                                                               -.x-            zI
                                                                   -
                                                                       x%s
                                                                         .     jl
                                                                   N
        i t:                                                       Uk
                                                                    J j.

                                                                           Pv
                                                                           )
                                                                       Di
                                                                       .
                                                                      V)l
                                                                        ?
  kë                                                               .  V+
                                                                               !
 XC                                              <.
                                                 % u                       Y
                                                                           <
 :=
 œ                                                                             .
                                    Q
                                (*                                     r
 4*                                              <
 *#        r                                                           >
.e
 Tr        r;
           rl                                                          *;
                                                                       w' e
=
%*      W =F
        a>>'
>=. g' &'
tf
        ex '
        O  K''
             ,
h...-   ka.
         ' >
           r*w
             .

+       *<k
wrw t>.
      u Wn
fvp - L LA.
=
r'         =ù           !
*.
u                                                              i
                                                               l
*         Q                                                *
=         X
Q
<                               X
O                           S
                            S

                                                                                             Z
                                                                                             S
                   O                                                                         œ
                                                                                             <
                                             u
                   &                    c)
                                             O
                                             c. >*                                       & œ
                                             *                                           m *
                                        I    œ  œ
                                                =                                        &
                            *           L=             o                                 œ   c-
                            e           o Y >
                                        O                                                œ   o
                            a           m    m         t
                                                       .                                     œ
                            W $o
                               p .o
                                  . E
                                    ço                                                   d   c
                   k;                                                                    c   <
                   %
                   c        71 o o
                            O    s                                                       <   X
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 222 of 276




                                 A rm orCorrectionalHeaIth Services,Inc.

                                SPECIALNEEDSCOMM UNICATION /RELOCATION

CurrentHousingLocation:                                            DateofRequest: 04/23/2020



RELOCATIO N TO :

Low Bunk/t-ow Tierx30days



SPECIALNEEDS/HOUSING CONSIDERATION:




ElectronicSignature:                 .                      -
                                                            4
                                                            .




PATIENT NAM E:                        No.              D.O.B.                   SEX:     LOCATION:
SEBASTIAN RADETIC                     GCSO20M Nl001620 10-24-1976               M




PATIENT NAM E:                           No.                       D.O.B.         SEX:    LOCATION:
SEBASTIAN RADETIC                        GCSO20M NI001620          10-24-1976     M
    Armor;PT-023 tRev.2/2013)                  Copy- HousingUnit                            Copy-Cl
                                                                                                  assi
                                                                                                     ficati
                                                                                                          on
       Case
5/2/2020      1:20-cv-23783-MGC
                    COCEMR -SEBASTIAN Document    1 Entered :on
                                      RADETIC #BCSO2OJBN00162O    FLSD
                                                               :Speci    Docket
                                                                    alNeeds       09/11/2020
                                                                            Communi                  Page
                                                                                   cation, Location:NotAssign223 of5.0276
                                                                                                             ed$v5.


     SpecialNeeds                                           JMS ID:             BCSO20MNIO02161      Location:       NotAssigned
                                                            DOB:                10/24/1976           Ethnicity:
     C om m unication                                       Age:                43                   Race:
                                                            Height:             6: 2in               Date Created:   05/02/2020 0507
                                                            Weight:             215                  LastSaved:      05/02/2020 0507
     SEBASTIA N RADETIC
     #BCSO20JBN001620

                                                                       vi   GeneralPopulation
                                                                            Medi calHousing
                                                                        '
                                                                        .   Negative Pressure Cell
   Housing Recommendations                                                  Suicide Watch                              x 14 days
                                                                      u/ Bot    tom Bunk
                                                                      ....'
                                                                          ' LowerTeir
                                                                            Other-Note Specifics
                                                                            Extra M attress
                                                                            Extra Blanket
   MedicalProfi
              les                                                           SoftShoe
                                                                            Other-Note Specifics
                                                                          W alker
                                                                          Cane
                                                                        '
                                                                          Dentures
   Aidsto Impairment                                                      ContactLenses
                                                                      '
                                                                          Glasses
                                                                        r Other-Note Specifics
                                                                      '' Frail/Elderly
                                                                          PhysicallyHandicapped
                                                                       '
                                                                          Developmentally Di sabled
                                                                      ' '
                                                                          Alcohol/DrugW ithdrawal
   Individualfound to be:                                                 SpecialMentalHeaI   th Needs
                                                                        ' Suicidal
                                                                      ' History ofSeizures
                                                                          Other-Note Specifics




coremr/Modules/Forms/form record.php?form record 1d=45125
       Case 1:20-cv-23783-MGC
5/14/2020          COrEMR -SEBASTI
                                 ANDocument   1 Entered
                                    RADETIC #WCSO2OJBNO0062on FLSD
                                                           9::SpecialNeDocket 09/11/2020
                                                                       edsCommunication,Locaticn:Page
                                                                                                 PODS:224  of
                                                                                                      A5Iv5.5.0276
  Successfullysaved successfully


     b specialNeeds                                       JMS ID:           W CSO20MNIO01332   Location:       PODS :A5
                                                          DOB:              10/24/1976         Ethnicity:      -
     cùm m unication                                      Age:
                                                          Height:
                                                                            43
                                                                            6: 2in
                                                                                               Race:
                                                                                               Date Created:
                                                                                                               -
                                                                                                               05/14/2020 0854
     SEBASTIAN RADETIC                                    Weight:           210                LastSaved:      05/14/2020 0854
     #W CSO20JBN000629

                                                                     (7)
                                                                      7 GeneralPopulati
                                                                                      on
                                                                     I
                                                                     -
                                                                     r-l
                                                                      ' MedicalHousing
                                                                     rl
                                                                      .l)xegasvepressurecell
    Housi
        n:Recommendasons                                             r.-
                                                                       '
                                                                       )lsuicidewatcu                             x14days
                                                                     rv-lsottom sunk
                                                                     Lv uowerveir
                                                                     ('
                                                                      - other-Notespecifics
                                                                     lr-lExtraMattress
                                                                     j'
                                                                      -' Extra Blanket
    MedicalProfil
                es                                                   I.
                                                                      D SoftShoe
                                                                     F Other-NoteSpecifics
                                                                     I-
                                                                      r' lwalker
                                                                     C1 Cane
                                                                     1)
                                                                      7)
                                                                      ! (qDentures
   AidstoImpai
             rment                                                   rraq ContactLenses
                                                                     (7 Glasses
                                                                     (r
                                                                      =-1other-Notespecifics
                                                                     1-
                                                                      ,-1Frail
                                                                             /Elderly
                                                                     IQ PhysicalyHandicapped
                                                                     r'
                                                                      j Devel
                                                                            opmentall
                                                                                    yDi
                                                                                      sabl
                                                                                         ed
                                                                     F-lAlcohol
                                                                              /DrugWithdrawal
   Indi
      vidualfoundtobe:                                               t)
                                                                      -(
                                                                       )lspeci
                                                                             alMentalHealthNeeds
                                                                     F
                                                                     r-7 sui
                                                                           ci
                                                                            daI
                                                                     1
                                                                     4
                                                                     .S HistoryofSei
                                                                                   zures
                                                                     L7 other-NoteSpecifics

  Signatures




             .   User              Jordan,Hannah
             .   Category          Nurse
                 Date              05/14/2020 08:55




wcso-medi
        cal/Modul
                es/Forms/form record.php?form record i
                                                     dzz3N 7#si
                                                              gnatures
 Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 225 of 276




                                Arm orCorrectionalHeaIth Services,Inc.

                               SPECIALNEEDSCOMM UNICATION /RELOCATION

                               I*DORM 1*A*093 I*DORM
CurrentHousingLocation: 1*A*093                                  DateofRequest: 07/06/2020



RELOCATION TO:




SPECIALNEEDS/HOUSING CONSIDERATION:
Please change m attressforone with m ore cushion




El
 ectronicSignature: S ParnellLPN CCHP




PATIENT NAM E:                        No.                   jD.o.B.            sEx:   LocA-rloN:            I
                                                            I10-24-1976    'M         I'DORM 1*A*093
SEBASTIANRADETIC                      GcsozouNlool6zo i                                                     j
                                                                           f          1.DORM 1.A.o,a        ,
   Armor:PT-023 (Rev.2/2013)                 Copy- HousingUnit                         Copy-Classi
                                                                                                 fication
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 226 of 276




                         FILE F
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 227 of 276




                        UNITED STATES DEPARTMENT OF JUSTTCE
                      EXECUTIVE OFFICE FOR IMMJGRATION REVIEW
                                TMMIGRATION COURT
                                MIAMI, FL

              A209-214-450

        IN THE MATTER OF :

                 SEBASTIAN

        RESPONDENT

        IN REMOVAL PROCEEDINGS


                             ORDER OF THE IMMIGRATION JUDGE
                                 WTTR RESPECT TC CUSTODY


        Request having been made for a change in the custody status of
        respondent pursuant tc 8 CFR 236.è(c), and full consideration
        having been given to the representacions of the Department of
        Homeland Security and the respondent, it is hereby

              ORDERED that the request
              denied .



               released         custody

              released          custody under bond of




                 waived -- reserved

                 KROME NORTH SERVICE PROCESSING CENTER



                                                  LAKSHMI HERMAN
                                                  Irmigration Judge
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 228 of 276




                        FILE G
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 229 of 276


                        lC E M A L E S L A W L IB R A R Y
                              T H U R SD A Y 8/13/20

  0630-0730
  0800-0900
  LoxooN .RODNEV-A 1
  DEVEAUk,CHRISTIAN-Al
  PI'fTER.cùRlsTopuER-A1
  lu ocTic,SEBASTIAN-Alx
  clu vEz,M IGUEL-A 1

  0905-1005
  VALM YRE,SCHNIGHDIR-D1
  Pospoy,SAM UEL-D l

  1010-1110
  DEROSIER,ALY-B1

  1100-1200
  LUNCH

  1200-1300
  AUPLON,OLDEN-CI

  1305-1405
  C2
  1410-1510
  E2

  1515-1615


                             YOU M UST W EAR YOUR FACE M ASK TO THE LIBM RY
    THE TIM E ISPOSTED THE DAY BEFORE,IT IS YOUR JO B TO BE DRESSED AND READY,IF NOT YO U W ILL BE LEFT

                                YOU M UST PUT IN A NEW REQUEST EVERY DAY
              IFYOU W ISH SOM EONE TO HELP YOU,PUT THEIR NAME ON YOUR REQUEST AS HELPER
    YOU M AY ONLY BRING A REASONABLE AMOUNT OF PAPERSTO THE LAW LIBILARY NO FOLDERSOR ENVELOPES
                                     ALLOW ED.LOOSE PAPERS ONLY
   YOU M AY NOT W ORK ON SOM EONE ELSE'S PAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIBM RY W ITH YOU
   IF YOU WISH COPIESOF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBM RY AND GIVE IT TO THE LIBRARY
                 OFFICER,YOU M AY NOT GIVE YOUR PAPERSTO SOMEONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 230 of 276

                          lC E M A L E S LA W L IB M R Y
                                FR ID A Y 8/14/20
   0630-0730
   0800-0900
   CAMPBELu TEvIN-cl
   slM EoN ,M ARc-c lx
   JoxEs,ooAxE-cl
   EccnEs' ro N,cHEz-cl
   M olu lox,.Tunlo-cl

   0905-1005
  clu vEz.M IGUEL-A l
  oEvsAuk.culus-nAx-A1(Taylor)
  DELICE.Làvxr
             rox-Al
  RADETI'
        C. SEBASTIAN-Alx
  DORELIEk COLINER-Al
  Loxoox.kooxEv-A1
  Bl-No RtouEs'rs
  1010-1110
  1100-1200
  LUNCH

  1200-1300
  Aupt,oN ,ontm x-c l
  D1-No REQUESTS

  1305-1405
  C2
  1410-1510
  E2

  1515-1615


                            Y OIJM IJST W EAR YOUR FACE M ASK TO THE LIBM RY
   THE TIM E IS POSTED THE DAY BEFORE,IT IS YOUR JOB TO BE DRESSED AND READY
                                                                               ,IFNOT   YOU W ILL BE LEFT
                               YOU M UST PUT IN A NEW REQUEST EVERY DAY
             IF YOU W ISH SOMEONE TO HELP YOIJ,PUT THEIRNAM EON YOURREQUEST ASHELPER
   YOU M AY ONLY BRING A REASONABLE AM OUNT OF PAPERS TO THE LAW LIBM RY NO FOLDER
                                    ALLOW ED,LOOSE PAPERSONLY                     S OR ENVELOPES

   YOU MAY NOT W ORK ON SOM EONE ELSE'S PAPERW ORK UNLESS THEY ARE PRESENT IN THE LIB
                                                                                       RARY WITH YOU
  IF YOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBRARY AND GIVE
                 OFFICER YOU M AY NOT GIVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR YOU
                                                                                    IT TO THE LIBRARY
                         ,
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 231 of 276

                       lC E M A L E S L A W L IB R A R Y
                             M O N D A Y 8/17/20

  0630-0730
  0800-0900
  LONDON,RODNEY-A 1
  RADETIC,SEBASTIAN-A 1
  DEVEAUX,CHRISTIAN-A1
  B1-NO REQUESTS

  0905-1005
  soLsOL-Cl
  JONEs,ODANE-C 1X
  D1-NO REQUESTS

  1010-1110
  AUPLON,OLDEN-CI

  1100-1200
  LUNCH

  1200-1300

   1305-1405

   1410-1510

   1515-1615


                            YO U M UST W EAR YOUR FACE M ASK TO THE LIBM RY
    THE TIM E ISPOSTED THE DAY BEFORE,IT IS YOUR JOBTO BE DRESSED AND READY,IF NOT YOU W ILL BE LEFT

                               YOU M UST PUT IN A NEW REQUEST EVERY DAY
              IFYOU W ISH SOMEONETO HELPYOU.PUT THEIRNAME ON YOURREQUEST ASHELPER
    YOU M AY ONLY BRING A REASONABLE AMOUNT OF PAPERSTO THE LAW LIBM RY NO FOLDERS OR ENVELOPES
                                     ALLOW ED,LOOSE PAPERS ONLY
   YOU M AY NOT W O RK ON SOM EONE ELSE'SPAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIBRARY W ITH YO U
   IFYOU W ISH COPIESOF YOUR LEGAL PAPERWORK BRING IT TO THE LAW LIBM RY AND GIVE IT TO THE LIBRARY
                 OFFICER,YOU M AY NOT GIVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 232 of 276

                         IC E M A L E S L A W L IB R A R Y
                               T U E SD A Y 8/18/20
   0630-0730
  0800-0900
  POSPOY,SAM UEL-D l

  0905-1005
  DELICE.Lvxzo x-A1
  Loxook RODNEV-Alx
  ToMAs.kEBASTIAX-Al
  sl-No kEouEs'
              rs
  1010-1110
  E2

  1100-1200
  LUNCH

  1200-1300
  CAMPBELL,TEvIN-cl(sIMEoN)
  Eccll srroN,cHEz-cl

  1305-1405
  C2

  1410-1510
  1515-1615

                            YOU MIJST W EAR YOUR FACE M ASK TO THE LIBRARY
   THE TIM E IS POSTED THE DAY BEFORE,IT ISYOUR JOB TO BE DRESSED AND READY IFNOT YOU W ILL BE LEFT
                                                                           ,

                               YOUM UST PUT INA NEW REQUESTEVERY DAY
             IF YOU W ISH SOM EONE TO HELP YOU,PUT THEIR NAM E ON YOUR REQUEST ASHELPER
   YOU M AY ONLY BRING A REASONABLE AMOUNT OF PAPERSTO THE LAW LIBM RY NO FOLDER
                                                                                 SO R ENVELOPES
                                    ALLOW ED,LOOSE PAPERS ONLY
   YOU MAY NOT W ORK ON SOMEONE ELSE'S PAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIB
                                                                                      M RY W ITH YOU
  IFYOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBM RY AND G
                OFFICER YOU M AY NOT GIVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR
                                                                                IVEYOU
                                                                                   IT TO THE LIBM RY
                        ,
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 233 of 276

                        lC E M A L E S L A W L IB M R Y
                              FR ID A Y 8/21/20
  0630-0730
  C2

  0800-0900
  RADETIc,SEBASTIAN-A1X
  GARCIA-M ENDOZA, JUAN-A1
  B1-NO REQUESTS

  0905-1005
  LORENZO,W ILM ER-C1
  CAM PBELL,TEVIN-C1
  DIXON,M ONTEL-Cl
  JONES,ODANE-C1
  D1-NO REQUESTS

  1010-1110
  E2

  1100-1200
  LUNCH

  1200-1300
  1305-1405
  1410-1510

 1515-1615

                           YOU MUST W EAR YOUR FACE MASK TO THE LIBM RY
   THE TIM E IS POSTED THE DAY BEFORE,IT ISYOUR JOB TO BE DRESSED AND READY IFNOT YOU W ILL BE LEFT
                                                                           ,

                              YOU M UST PUT IN A NEW REQUEST EVERY DAY
             IF YOU W ISH SOMEONE TO HELP YOU, PUTTHEIRNAM EON YOUR REQUEST ASHELPER
  YOU MAY ONLY BRING A REASONABLE AMOUNT OF PAPERSTO THE LAW LIBM RY NO FOLDERS OR ENVELOPES
                                  ALLOW ED,LOOSE PAPERS ONLY
  YOU MAY NOT W ORK ON SOMEONE ELSE'SPAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIBM RY W ITH YOU
 IFYOU W ISH COPIESOF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBM RY AND GIVE
               O FFICER                                                            IT TO THE LIBM RY
                        ,YOU MAY NOT GIVE YOUR PAPERS TO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 234 of 276

                        lC E M A L E S L A W L IB R A R Y
                              M O N D A Y 8/24/20
  0630-0730
  0800-0900
  JoN Es,ODANE-C 1X
  VENTUIW ADAN-Cl
  D1-NO REQUESTS

  0905-1005
  Lor oN ,RODNEY-A lx
  DELICE,LYNTON-A 1
  RADETIc,SEBASTIAN-A lx
  Bl-No REQUESTS

  1010-1110
  E2

  1100-1200
  LU NCH

  1200-1300
  C2

  1305-1405
  1410-1510

  1515-1615

                            YOU M UST W EAR YOUR FACE MASK TO THE LIBIU RY
   THE TIM E IS POSTED THE DAY BEFORE,IT ISYOUR JOB TO BE DRESSED AND READY,IF NOT YOU WILL BE LEFT

                               YOU MUST PUT IN A NEW REQUEST EVERY DAY
             IF YOU W ISH SOM EONE TO HELPYOU,PUT THEIR NAM E ON YOUR REQUEST AS HELPER
   YOU M AY ONLY BRING A REASONABLE AM OUNT OF PAPERSTO THE LAW LIBRARY NO FOLDERS OR ENVELOPES
                                    ALLOW ED,LOOSE PAPERS ONLY
  YO U M AY NOT W ORK O N SO M EONE ELSE'S PAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIBM RY W ITH YO tJ
  IFYOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBM RY AND GIVE IT TO THE LIBRARY
                OFFICER,YOU MAY NOT GIVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 235 of 276

                        IC E M A L E S L A W L IB M R Y
                              T U E SD A Y 8/25/20

  0630-0730
  0800-0900
  SANCHEZ,EDUARDO-B1
  sHA W ,GIOVANNI-B 1
  LANGHORNE,NKANSA-A1
  FOX,CHARLES-A 1

  0905-1005
  pRoxlx ,DM ITRY-D1
  RlJla AEBERTO-Dl
  GAvtE,KExRov-ol

  1010-1110
  JOASSAINT,FREROT-CONF

   1100-1200
  LUNCH

   1200-1300
  M on ll s,DAvID-A 1
  RADETIc,SEBASTIAN-A lx
  DELICE,LyxTox-Al
  Loxoox,Rooxsv-A 1

   1305-1405
  (22
   E2-NO REQUESTS

   1410-1510
  HAM ILTON.IAAtm -cl
   Fn xcls,PXul,-cl
   Joxss,obAxiwcl

   1515-1615
   JsAx .s'
          rsvs-A l
   osvliAux.cuRlsTlAx-A1
   clu vEz,kIGuEL-A1

                              YOU M UST W EAR YO UR FACE M ASK T()THE LIBM RY
     THE TIM E ISPOSTED THE DAY BEFORE,IT IS YOUR JO B TO BE DRESSED AND READY,IF NOT YO U W ILL BE LEFT

                                 YOUM UST PUT IN ANEW REQUEST EVERY DAY
               IF YOU W ISH SOM EONE TO HELP YOU,PUT THEIR NAM E ON YOUR REQUEST AS HELPER
    YOU M AY ONLY BRING A REASONABLE AM OUNT OF PAPERSTO THE LAW LIBRARY NO FOLDERSOR ENVELOPES
                                     ALLOW ED,LOOSE PAPERS ONLY
    YOU M AY NOT W ORK ON SOM EONE ELSE'S PAPERWORK UNLESS THEY ARE PRESENT IN THE LIBRARY WITH YOU
    IF YOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBRARY AND GIVE IT TO THE LIBM RY
                   OFFICER,YOU M AY NOT GIVE YOUR PAPERS TO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 236 of 276


                         lC E M A L E S L A W L IB R A R Y
                               W E D N E SD A Y 8/26/20

  0630-0730
  0800-0900
  slv sox.M ARc-clx
  HAMILTUx.pAuL-cl
  JoxEs ookxs-clx
  Fn xéls.pAuI,-c1
  wII-I-IE,ltxsfox-clx
  0905-1005
  Loxoox,Roox'Ev-A1x
  RADETIC,SEBASTIAN-A1x
  ALTINER,cLEEvENs-Al
  DEVEAUx ,CHRISTIAN-A1
  DELICE,LYNTON-A 1x
  DEROSIER,ALY-A1

  1010-1110
  JOASSAINT,FREROT-CONF

  1100-1200
  LUNCH

  1200-1300
  scorr.ZERM AINE-o 1
  MAXAjSEH.sTAxLsv-ol
  pRoxlx,oklTRv-D1
  1305-1405
  C2
  E2-N0 REQUESTS

  1410-1510
  ST.LOUIS,HERAUD-B IBI

  1515-1615

                             YO U M UST W EAR YOUR FACE M ASK TO THE LIBM RY
    THE TIME ISPOSTED THE DAY BEFORE,IT IS YOUR JOB TO BE DRESSED AND READY,IF NOT YOU W ILL BE LEFT

                               YOU M UST PUT IN A NEW REQUEST EVERY DAY
              IFYOU W ISH SOMEONETO HELPYOU,PUT THEIR NAME ON YOURREQUEST ASHELPER
    YOU M AY ONLY BRING A REASONABLE AM OUNT OF PAPERSTO THE LAW LIBRARY NO FOLDERS OR ENVELOPES
                                     ALLOW ED,LOOSE PAPERSONLY
   YOU MAY NOT W ORK ON SOMEONE ELSE'SPAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIBRARY W ITH YOU
   IF Y0U W ISH COPIESOF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBRARY AND GIVE IT TO THE LIBM RY
                OFFICER YOU M AY NOT GIVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 237 of 276

                       lC E M A L E S L A W L IB R A R Y
                             T H U R SD A Y 8/27/20

  0630-0730
  0800-0900
  RADETIC,SEBASTIAN-A1X
  LONDON,RODNEY-A1X
  DEVEAUX,CHRISTIAN-A1(kitchen-pm)
  DELICE,LYNTON-A 1X
  HENRY,GOLDBOURNE-A l

  0905-1005
  slM Eox,M ARc-c lx
  m LLIE,koMAx-clx
  HAM ILTON,PAut,-cl
  FltAx cls,PAUL-cl
  JoxEs,obAxE-clx

  1010-1110
  PROM N,DM ITRY-D 1

  1100-1200
  LUNCH

  1200-1300
  Fox,CHARLES-B l
  sAxcHEz,EDUARDO-Bl

  1305-1405
  C2
  E2-NO REQUESTS

  1410-1510
  DEROSIER,ALY-A1(kitchen-am)

  1515-1615

                             YOU M UST W EAR YOUR FACE M ASK TO THE LIBR ARY
    THE TIM E IS POSTED THE DAY BEFORE,IT ISYOUR JOB TO BE DRESSED AND READY,IF NOT YOU WILL BE LEFT

                                YOUM UST PUT IN ANEW REQUESTEVERYDAY
              IFYOUW ISH SOM EONETO HELPYOU,PUTTHEIR NAM EONYOUR REQUEST ASHELPER
    YOU M AY ONLY BRING A REASONABLE AMOUNT OF PAPERSTO THE LAW LIBM RY NO FOLDERSOR ENVELOPES
                                     ALLOW ED,LOOSE PAPERSONLY
   YOU M AY NOT W ORK ON SO M EONE ELSE'S PAPERW ORK UNLESSTH EY ARE PRESENT IN THE LIBM RY W ITH YOU
   IF YOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBM RY AND GIVE IT TO THE LIBM RY
                  OFFICER,YOU M AY NOT GIVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 238 of 276

                        lC E M A L E S L A W L IB R A R Y
                              FR ID A Y 8/28/20

  0630-0730
  0800-0900
  SCOTT,JERM AINE-D 1

  0905-1005
  clu vEz,IRvlxG-B1
  SANCHEh.EDUARDO-B1
  Fox,cHAi4LEs-Bl

  1010-1110
  JOASSAINT,FREROT-CONF
  1100-1200
  LUNCH

  1200-1300
  JONES,ODANE-C1X

  1305-1405
  (22
  E2-NO REQUESTS

  1410-1510
  LONDON ,RODNEY-A lX
  DELICE,LYNTON-A1X
  RADTIC,SEBASTIAN-A 1X
  GARCIA,JUAN-A1

  1515-1615

                             YOU M UST W EAR YOUR FACE MASK TO THE LIBRARY
    THE TIM E IS POSTED THE DAY BEFORL IT ISYOUR JOB TO BE DRESSED AND READY,IF NOT YOU W ILL BE LEFT
                                YOU M UST PUT IN A NEW REQUEST EVERY DAY
              IF YOU W ISH SOM EONE TO HELP YOU,PUT THEIR NAM E ON YOUR REQUEST ASHELPER
    YOU MAY ONLY BRING A REASONABLE AM OUNT OF PAPERSTO THE LAW LIBM RY NO FOLDERS OR ENVELOPES
                                    ALLOW ED,LOOSE PAPERSONLY
   YOU M AY NOT W ORK ON SOM EONE ELSE'S PAPERW O RK UNLESSTHEY ARE PRESENT IN THE LIBM RY W ITH YO U
   IF YOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBM RY AND GIVE IT TO THE LIBRARY
                  OFFICER,YOU M AY NOT GIVE YOUR PAPERSTO SOMEONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 239 of 276

                        lC E M A L E S L A W L IB R A R Y
                              T U E SD A Y 9/1/20

  0630-0730
  0800-0900
  RUIZ,ALBERTO-D1

  0905-1005
  LANGHORNE,NKANSA-B1
  M ATTHIAS,w ESLEY.B1

  1010-1110
  E2

  1100-1200
  LUNCH

  1200-1300
  JOASSAINT,FREROT-C1

  1305-1405
  C2
  E2-NO REQUESTS

  1410-1510
  GARCIA ,JUAN-A l
  RADETIC,SEBASTIAN-A 1X
  DELICE,LYNTON-A 1
  LONDON,RODNEY-A l

  1515-1615


          IFYOUNEED 5HOURSNEXTW EEK SEND M EA REQUEST FOR MONDAYTO BE RECEIVED ONFRIDAY
                              YOU M UST W EAR YO UR FACE M ASK TO THE LIBM RY
    THE TIM E ISPO STED TH E DAY BEFO RE,IT IS YOUR JOB TO BE DRESSED AND READY,IF NOT YO U W ILL BE LEFT

                                 YOU M UST PUT IN A NEW REQUEST EVERY DAY
              IF YOU W ISH SOM EONE TO HELP YOU,PUT THEIR NAM E ON YOUR REQUEST AS HELPER
    YOU M AY ONLY BRING A REASONABLE AM OUNT O F PAPERSTO THE LAW LIBM RY NO FOLDERSO R ENVELOPES
                                     ALLOW ED,LO OSE PAPERSO NLY
   YOU M AY NOT W ORK ON SOM EONE ELSE'S PAPERW ORK UNLESSTHEY ARE PRESENT IN THE LIBRARY W ITH YOU
   IF YOU W ISH COPIES OF YOUR LEGAL PAPERW ORK BRING IT TO THE LAW LIBRARY AND GIVE IT TO THE LIBM RY
                  O FFICER,YO U M AY NOT G IVE YOUR PAPERSTO SOM EONE ELSE TO COPY FOR YOU
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 240 of 276




                         FILE H
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 241 of 276
              p**Nrç
             +%     tp
         7.
         ?        -
                   è   -  lSm y clientsubl.ectto m andatory detestion?
           *.k :sw+
        H oW advancesin ICE hold pohcieswillreducethosesujjjectto mandatljrydfteRtitm
         =    = m= = =               r=       >       'a = == =        r= > = = =     = ==   1=-   -   -x- o- *    ==   I;== - '
                                                                                                                               m               =       '        '=%=' 'Z'''' '==''N'''''
                                                                                                                                                                                        j$t
  1y.
    '
                                                                                                                                                                                        .1
   z

                                                                                                                                                                                        :;
  ;                                                                                                                                                                                     f!
  à?
   .
   '
                                                                                                                                                                                        .1
  I                                                                                                                                                                                      .1
                                                                                                                                                                                         i
  /é

                                                                                                                                                                                         7
  ,i

                                                                                                                                                                                        .1


                         =       =        =       =    =.=        =.= = = = e== = =    =     >=         n=h= * =    * - . ..       .'= = = '       .   ''   =   ..'.. -'.
                                                                                                                                                                        ''.
                                                                                                                                                                          '''.
                                                                                                                                                                             '''*
                                                                                                                                                                                .='''.'.
                                                                                                                                                                                       ''''
   *r
   6.         .w-   -


   W hatis an ICE bold?
   AnTmmigrationandC'ustomsEnforcement(ICE)holdisarequest9om ICEto1aw enforcement,asking
   thelocality to hold som eoneforan additional48hours,plusweekendjand federalholidays,so tàatICE
    cantakecustody oftheindividual.W hilevariouspropwmqsuch asSecm eCommunidesfaciliàiethe
    identhcadonofnoncitizens,thelCEholdfacilitatesICE'Sabilitytotakecustok ofanindividual
    directly9om jail.ltisimportanttonptethatâ!i1CEholdismerelyaretuestandisnotcommensmate
    toawarrant1 H creasingly, stateandlocaljudsdictiohsaredecie gtosayRno''tothisrequestandnot
                             .

    detain theperson fortheextra time.

    How and whyhavelCE holdpùlicieschanged?
                                                                                 y,2coupled with
    A recentFederalOregon Districtcourtdecision,M iranda-olivaresv.Clackamas Count
   yearsoforganizing,hasspurmdawaveofchangein1CE holdpolicies.InApdl2014,Miranda-
   Olivaresfoundthatdetaininginividualsbasedon1CEholdsi unconsétutionalbecausetheydonot
   provideprobablecause.Thus,alocality can befotmd legallyliableil
                                                                 ftbçydetqinsomeonebàsedsimply
      (?n an ICE bold. Asa result m pny localitiesh:ve changed theirpolicy to limitoraltogetherelim inate,
      compliancewith ICE h6lds.

      How doIlœ ow whattheICE hpldpolicyisin agiven jurisdiction?
      n eILRCmaimtainàamapz policiesthatlimitcompliancewith1CEholdsat
      w ww.ilrc.org/enforcem ent
        However,evenifyourclientisnotinajurisdictionthatlimitsICEholds,rememberthattheycouldhave
      been transferred 9om onethatdoes.




        1Galarzav.Szalczyk,745F.3d634(3dCir.2014)(concludingthatlCEholdsarevoltmtaryandnotmandatory);Moralesv.
        Chadbourne,2014WL554478,*16(D.    R.
                                           I.CtWarrantsareverydiferentâom (ICE)detninersn);Buquerv,Cityof
        Indianapolis,797F.Supp.2d905,911(S.D.lnd-2011)CA detqinerisnotacri  nûnalwarrant,butratheravoluntaryrequest
        thatthe1aw enforcementagencyadvise;CEJSpdortoreleaseoftbealien,in orderfor(ICEJtoarrangeto assnmecugtody.'').
        2Miranda-olivaresv.ClackamasCn@.,3:12-CV-02317-ST,2014WL14143050 .Or.Apr.11,2014).
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 242 of 276
     '
           .1**::
         #N      e.


      k*:c,t;.+S     Ismy clientsubjecttom andatorydetention?              '
     How advancesinICE hold policieswillreducéthosesubjectto m andatorydetention
   W hatis m andatory detention?
   M andatory detention refersto aprovision oftlw W A thatstatestlzatnon-citizenswith certain crim inal
   convicéonsmustbedetainedbyICE.Peoplewhoaresubjecttomandatorydetentionarenotentitledto
   abondhenring and mustrem ain in detention whilerem ovalproceedingsarepending againstthem .

   n erulesformnndatorydetenionarecontainedinINA j236(c)whichsàtesthatlttheAttorney
   Generalshalltake into custody any alien who''isinadm issibility ordeportabletm derselectgrotm ds ...
   L%whenthealienisAe/etz.
                         çel.''(emphasisadded).
   W hoissublecttomandatorydetention?3
   Forapersontobesubjecttomandatorydetenuon,al1thefollowingcriteriamustbemet:
   First,theperson m lzstcom e within ceenin cri
                                               m esp oundsofdepprtability orZadm issibility. See
   INA 236(c)(1)(A)-(D)
         A.PersonswhoareinqdmlssibleforhavzgcommittedatkoFensedescribedinIN'
                                                                           A j212(a)(2)(
             e.g.Crl
                   'mesOfmoralturpitudeICIMTIanddrugofensejq/
         B.PersonswhoaredeportableforhavingcommittedanyofenseinIN'      A j237(a)(2)(A)(ii)
           gmulépleCN Ts),237(a)(2)(A)(iii)gaggravatedfelonyq,237(a)(2)(B)gdp1goffenseq
           237(a)(2)(C)(& earmsoffenses),or237(a)(2)(D)gcrimesrelatedioespionagelis
         C.Personswhoaredeportabletmderm A j237(a)(2)(A)(i)Ehasbeenconvictedofacrimeofmoral
           turpitubethatwascommittedwithin5veyearsofadmission)andhasbeensentèncedtoaterm of
                                      '    . .
             imprisonm entofatleastoneyear;and6

         D.PersonswhoareinadmisslblelmderINA j212(a)(3)@)ordeportablelmderINA j23)(a)(4)(B)
           ghwolvedinterroristactivities)
  Second,1CE musttxkethe person into custody wheh theperson igreldased âom c
                                                                           'rim inaléustody. W A
  236/)statesiatfçtlleAttorneyGeneralshallàkeintocustodyanyalienwho''comeswithinthese
    otmdsL&when the alien isreleased.''                            '

   3AnadditionalcategorybfpeoplesubjecttomandatorydetenEonthoughlessapplicablehere,arenrrivingaliensinremoval
  proceedings.Thisincludesanapplicantforndmissioncomingorattemptingtocom eintoU .S.ataPointofEntry.8.C.F.R.
  1001.14ë.r fhisalsoincludesaretllrninglawfulpermanentresidentwhoisseekingadmission.8C.F.R.1003.19(h)(2)(i)(B).
  4AnexceptiontothisisthePettyOsenseException.lftheindividualhasonenrimeofmoralturpitud     .
                                                                                              e(CN T):theymay
  qualifyfortheeçpettyoffenseexception''andthereforenotbemlhjed tomandatorydetention.Toqualtfy,1)themdividual
  musthaveonlyoneCIMT?2)theincl
                         .          .ivi
                                       dualmus
                                            . tnothavebeensentencedt oaterm ofimprisonmentinexcessofsixmonths,
  and3)tbeofenseorconvlction cam edamtm mum possiblestntenceofoneyearorless.SeeW A j212(a)(2)(A)(H),8
  U.S.C.91182(a)(2)(A)(E).                                                                  ,
  5n ereisaspecialexcepdonforthedrngofenseground-Lookoutforapossessionofmari        jnrmatbatislessthan30gmmq
  orless.Yourclientwillnotbesubjecttomandatorydetentionandv411notbedeportable.
  6 Thedateof'ndmission'm ay requireitsownintlividualized analysis.D onotasgnm ethatthe adm ission date iswhen your
  clientbecamealawfulpermanentresident.SeeMarlcrofAbtzzjis251&N Dec.397I'  BIA2011);Il.RcpracticeAdvisory:
  W4jkçflncn/ofstatusFollowingJnAdmissionDoesNot''Ae-z&f/rf''theFive-YearClockforPumosesoftheMoralTurpitude
  Dcporfcfftm Ground,availableathttp://www.ilrc.orfcrimes              '
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 243 of 276
         owwar:                                                                                                    '
        #*     *.                                                                                              .       '


       V' '
       ?        @
                *
                n        ISmy Client Slbjecttomanda tory detent
                                                              O n?           : .'
        op   x+
      HoW' 'a
            '
              dvancesinICE hold policieswillreducethosesubjecttomandatorydetention
     Third,becaùsethem u datory detention 1aw wentinto effectOctober9,1998,the releasem ustbe 1om
     crim inalcustody afterOctober9,1998.
     Fourth theperson mustbe in custody foran ofensethatG ggersm andatory detenéon,atthe tim e of
     release.ù
     % atdoes Ewhen released'm ean?
     W A Secdop236/)statesthstthegovemmentçGshalltqkeintocustody''Zdividualsawhenthealien.
                                                                                         is
     released....'' The applicadon oftlle Rwhen released''languagehasbeen a pointofi spute.The question
     iswheierICE musttalcesomeoneintocustod# immediatelywhen theyarereleased9om crjminal
     custody,menningwhentheyarereleasedgomjailorpdson.
     n eGovernmenthasarggedthatinordertosubjectspmqonetomandatprydetentionoICE doesnUthave
     tp taketheperson into custody im m ediately upon relemqe 1om crim inalcpstody. Rathçr,1CE argtzes
     thatmandatorydetentionappliesevenifitpicksthepersonupdays,monis,oryearsa#errelease.
 '   Underthisreasoningssomeonecouldbesubjecttomandatorydetentiondespitehae gbeenoutintlle
     com munity foryearsalerthei: rc'Hm inalrelease.TheBoard oflmm l
                                                                   'p ation Appealsap eed w ith this
                                           '                g                                       .
     reasoning in M attero-/WWaz,23l&N Dec.117IBIA 2001).
                                     '
     However,a growing nAlmberoffederaldistrictcourts9haveheld thltççwhen released,,requireslCE to
     detain theperson immediately attlletim e oftheizrelease from crim inalcustody.n us,tllerelease m ust
     befrom actual10crl
                      eml
                        .nalcustody,andICEcnnnotsubjectsomeonetom=datorydetenéonwhenthey
     pick tbem up in the comm unity aftertheizcrim inalrelease.'
                                                               N otbly,inPreap v.Holden afederal
     districtcourtm aated am odon reqlliring the governm entto providebondhenringsin tbiscontext
     H oughoutCalifornia;11

     H ow isthe çw hen released'provision alected by cbangesin ICE hold policles?

     Becàuseofnew 1CE hold policies,itm ay becom em ore comm on for1CE to take custody ofsom eone
     aAertheyhàvebeenieleasedintothecomnumity,ifICE apprehendshim/heratall.Tims,fewerpeople
     willbestzbjecttomandatorydetention.                   '
     ICE holdsgreatly facilitateICE'Sability to takecustody ofsom eone imm ediatel
                                                                                 y upon cn'm inalrelease.
     lCEholdsareèequestsforajailtodetninthepersonforuptotwoexàadays,sothat1CE caamore

     7 MatterofGarcia-Arreola,25I&N Dec.267( '
                                             BIA 2010).
     8Cerfnimfedemlcourts,includingtheCourtsofAppealfortbeThirdandFollrthCircuits:havealsoagreed.Sylvainv.
     dfforaeyGcn.ofU.S.,714F. 3d150(3dCir.2013)9Hoshv.Lucero,680F.3d375(4thCm 2012).
     9Seee.g.,Castanedav.Souza,952F.Supp.2d307(D.Mass.2013)9Nimakov.Shanahan,2012WL4121102(D.N.J.2012);
     Khoury v.Asher,2014W L 954920 (W .D.W ash.2014);seealso,ChallengingMàfferofRojas.doesmandatory detention
     applyfICEdoesnottakeczlafo# ''  whenthealienf.
                                                  çreleased''from criminalcwlfoé?? availableat
     he z//-    .lezalactioncenter.orn/cleo nchousem ésaéon-isx e-pacekchallenzes-unlae l-detenéon.
                                                                                                  'butsee,e.g.,s.kîvtzjnv.
     AttorneyGca.ofUS.,714F.3d150(3dCir.2013);Hoshv.Lucero,680F.3d375(4thCir.2012).
     10Pormandatorydetentiontoapply,thereleuemus' tbefrom actual,physicalcustodyofthestate.MatterofWestn22I&N
     Dec.1405(BIA 2000)(wherepersonwassentencetoprobation,hewasnotsubjecttomandatorydetendonbecausehewas
     notreleased*om thephysicalcustodyofthestate).
     11Preapv.Holder,N0.13-cv-05754-YGR (N.D.Cal.May15a2014),availableat
     he s://-       .acl= c.ore/sites/defal vfies/o48lzoordeeAzoGrD e eoAzopreliminm % zoH ic céon.pdf
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 244 of 276
    '
             ow*Nê:
            +%    'o
        !
        .          '
                   i
        &-
            C'
             p4 qt*.t
                   -                  Ismy clientsubjecttom andatorydetention?
                                                          .
    H ow'advancesin IC E hold policieswillreduce thos: sublectto m andatory detention

   easilypickuptheZdividualdirectlygom jail.SincefewerjurisdictionsareenforcinglCEholds,fewer
  peoplew111be transferred directly 9om crim inalcustody to lCE custody. n us,few erpeople shouldbe
   subjecttomandatorydetentionbecausefewerpeoplewillhavebeenfreleased'immediately9om
   criminalcustody atthetim e 1CE takesthem into custody.

   H ow should tM schangetheway thatIlook atm y cases?

   First,advocates should alw aysarguethatthe Eswhen released''languageappliesto release immediatel
                                                                                                  y
   afercriminalcustody.Owiagtothisgrowingbodyofcaselaw,wenow havemoreauthoritytociteto,
   notably ittCalifornia duetoPreap v.H older.Thatsid,advocatesshould research the 1aw in their
   currentjudsdiction.
   Secondacarefully queséon yourdetained clientregarding how they ended up in detenion,to seeifthey
                                                                                             '
                                                                          o
   aresubjecttomandatorydetehdon.DidICE jickthem uplmmediatelyatthejàil? Or,did1CEpick
   tllem upattheirhomeorelsewherea'crtheywerereleased9om criminalcustody? W asthereanygap
   i.
    n tim e beY een ciim inalcustody and ICE custody?

   M so,ifICE apprehendedyourclientimmediatelyfrom jail,weretheyinjailforaconvictionthatwould
   triggerm andatory detention,orforanotherconvicfon? lftheperson had apdorconvicéon - for
   example,adnlgolense-thatcouldhaveMggeredmnndatorydetention,butnow theyareinjailfora
   conviction thatdoesnotdo that- forexample?a California dnm k-driving conviction - then the person
   shouldnotbesubjecttomandatorydetention.z
   Are there any other waysto challengem andatory detention?M

   Yes. W ttile tbisisbeyond the scope ofthisadvisory,advocatesshould lcnow i atthere areotherbases
   upon which to contestm andatory orprolonged detenéon.

   Someexnmplesinclude,Rodriguezv.Robbins,715F.3d1127(9t.
                                                        hCir.2013),acaseoutofthe
   California CentralDisd ct,which statesthata bond hearing should bem ade available aftersix monl s
   ofdetenéon,evenifsubjecttomnndatory detendon.Casas-castrillonv.DHS,535F.3d942 (9th Cir.
   2008),aNint.
              hCirctlitcase,sàtesthatabondhe-aringisavailablewhentheNintllCircuitgrantsreview
   ofaBIA orderofremoval.Franco-GocalezvHolder,767F.Supp.2d1034(C.D.Cal.2010),a
   Califoraia CentralDisG ctcase,providesbond henri
                                                  ngsatd cotmselforpersonswith m entaldisabilities.
   Finally,JosephhealingspursuanttotheBIA caseMauerofloseph,22l&N Dec.799(BIA 1999),
   providebond hearingswhen itissubstantially unlikely i atthe governm entw 111prevailon a charge of
   removabilityspecG edtmderINA section236(c)(1).




   12SeeMàffcrofGarcia-Arreola,25I&N Dec.267IBIA 2010).
   13Foram orecom plete discussion regarding how to ohallengemandatory and prolonged detenéon,seeACLU lmm igrants'
   RightsProjectChallengingMandatoryandprolongedDetentionPendingaFinalDecisionofRemoval,availableat
   ho s://-            .aclu.ore/o es/assets/manAtoa detention tips -itme 2013 fmalmdf
                                                                                                                 4
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 245 of 276




#    %




                               FILE I
          Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 246 of 276



                                 COVID-19:FACT SHEET FOR DqTAINED INDIVIDUALSI
                                 '       '
    AccissTö IN/Eu/lk#t
                  71 Lï
                      .lb: '
                           ..:
                             )
                             .
                             f).:
                                .... C
                                     ..
                                      C..
                                        (. ..,.'
                                               ...'.... .. ...
                                                             ''':''L
                                                                   '
                                                                   1
                                                                   -'-. 't
                                                                         '.'':'
                                                                              .''
                                                                                . ''''''' ' r
                                                                                            ''
                                                                                             r''''' ' 'L'
                                                                                                        f
                                                                                                                                                           ,                                                                                                        . , (.: ,
    Detaineesshould getregularinform ation aboutwhatis beingdone, and whatthey can do to protectthemselves.
    Easy-to -read signsshould be posted in m ultiple Ianguagesexplaining:
                                                                      i
          *COVlD-19 sym ptoms                                                           * How to properly wash hands                                       l* W hatto do ifyou ifsomeone may have COVID-19
          * M ore safety tips:Cough into yourelbow , don'ttouchyourfaceorshare utensi
                                                                                    lspplates,keepdistancefrom others

    pkèliiiikkàu ir
                  <wtùkib                                                 ,             ,

            V Detaineesshould be offeredfIu shots. This preventssym ptom ssim ilarto COVID-19 to help identify actualcases.
            V AIIdet                                                   1
                    aineesshould getfree soap - enough to washtheirhqnds   frequently. Liquid soap is best.
            V A1Idetaineesshould havefreeaceesstotissuesandtopaper
                                                                 htowels(orhand-dryingmachines)                                                                                                                                                                       .
            V Transferdetaineesoniyifnecessary. Screen new detaineesforCOVID-19,includinga tem perature check.
            V ''High-touch''objectslikedoorknobs,phones,faucets,tojletl, etc.shousd be disinfected severaltim eseach day.
            V Hygienesupplies(soap& waterpfhandsanitizer)availableipbathrooms,diningareas,commonareas,etc.
                                                                                                        ..
            V Protective workequipmentforw ashing dishes, doingI
                                                               aunàry,etc-:Gloves,gown/coveralls
            V Detaineesshouldbeallowedtoremain6feet(-2meters)apartwheneverpossible Thiscan involve:                                                                                                                                   .

              *M ovingbeds                               *Staggerinë,mealtimes.recreation time,andsickcall
              *Moving chairstzrlc/tablesindiningareas    *Providingfoodinsidehousing unitsorcells
'             *timitinggroupactivities(theseshouldbereplacedbyotherlnctivitiesthatallowspeoplesimilarbenefits)
      '
                .
                                                                    1                                                                                       .

'!
 I
 !
 E
 j<#'
    iI
     1
     j
     '
     )
     h
     :
     .
     i
     !
     j'
      1
      g
      d
      lt
       !
       '
       s
       -
       l
       y.!
         .
         j
         F
         :ô.
          '':
            q(
             ..
              -
              t
              ;
              p
              ..
               t
               i:
                -.
                0:
                 r;
                  kI
                  -kj
                    z
                    p
                    k
                    I
                    .
                    :
                    )
                    j;
                     !
                     F
                     :
                     )
                     3
                     jt
                      l
                      ,
                      j
                      .
                      g
                      l
                      (-
                       7
                       k
                       ;
                       l
                       i.
                        k
                        l
                        ,
                        .
                        1
                        'h
                         jv
                          r
                          I
                          y
                          .
                          p
                         :7
                           k
                           g
                           pL
                            j
                            ï
                            -
                            ;
                            ?.
                             g
                             :
                             è
                             j
                             ,
                             I'
                              .
                              :.
                               :.
                                r
                                0..
                                : '
                                  -t
                                   .
                                   '
                                   q.
                                    t
                                    )
                                    4'
                                    b
                                    b
                                    L
                                    ,1(.
                                       ;(
                                       ,
                                       o)
                                        '-
                                        .?
                                         j
                                         .
                                         '
                                         k
                                         :
                                         -%
                                          .
                                          '
                                          :
                                          4
                                          -'
                                           y
                                          1:
                                           .
                                           ,
                                           !v
                                            .
                                            '
                                            E
                                            )'
                                            kl
                                            ,p
                                             r
                                             rk$
                                              .:
                                               ,
                                               -
                                               .
                                               a
                                               ).
                                                )
                                                ;
                                                -L
                                                 l
                                                 t
                                                 1*
                                                 s
                                                 't''
                                                  ï s!.
                                                      ('
                                                       y.
                                                        '
                                                        :-.
                                                          t?f!
                                                            .'
                                                             '
                                                             )
                                                             .:'t
                                                                ':k.'1
                                                                     )'.'..' .'
                                                                ''--. '       :,
                                                                               z
                                                                               )
                                                                               è
                                                                               .-.)'.lk'7
                                                                                        -'
                                                                                         ;
                                                                                         ' '
                                                                                           :*
                                                                                            ;
                                                                                            :
                                                                                            )'j7
                                                                                               ''''2'.'
                                                                                                      q k$.
                                                                                                          'yt'(j
                                                                                                               ?-.j''
                                                                                                                    ..
                                                                                                                     r'.
                                                                                                                      '
                                                                                                                       t2
                                                                                                                        tJ:
                                                                                                                          .'
                                                                                                                           .
                                                                                                                           2
                                                                                                                           .
                                                                                                                           J.
                                                                                                                            2.jr
                                                                                                                               )
                                                                                                                               '''
                                                                                                                                 ).
                                                                                                                                  pj
                                                                                                                                   ..;
                                                                                                                               . .'-
                                                                                                                                     s)j
                                                                                                                                       y'
                                                                                                                                        .)
                                                                                                                                         .'   '
                                                                                                                                              .

    '
    1
    .
    I
    r
    '.
     !:
      ';.:
         1
         ... - $ L
                 . .t
                    ..:2
                       .
                       k.
                        i. . ;'.
                               j
                               ..
                                '
                                :...
                                   ' ..
                                      -
                                      ',
                                       .
                                       :
                                       s
                                       -
                                       .f
                                        )
                                        .
                                        y
                                        -
                                        .
                                        j'
                                         i
                                         .
                                         )
                                         ï
                                         '
                                         q
                                          .
                                          t
                                          7
                                          F
                                          1
                                          :
                                          )
                                          .(
                                           s
                                           -
                                           .
                                           y
                                           :
                                           '
                                           .
                                           r-
                                            '
                                            :
                                            k
                                            (
                                            r
                                            g
                                            -
                                            .
                                            ?L
                                             ,
                                             .
                                             -
                                             k
                                             :
                                             )
                                             !
                                             .
                                             :)
                                              ;
                                              .
                                              '
                                              g
                                              q
                                              r
                                              .
                                              '
                                              ,
                                              ?q
                                               g
                                               L
                                               -
                                               :
                                               '
                                               .
                                               t
                                               '.
                                               .$
                                                :
                                                '
                                                ;
                                                -
                                                i
                                                j
                                                '
                                                t:
                                                 .
                                                 s
                                                 !
                                                 '
                                                 l
                                                 .
                                                 i
                                                 '
                                                 7
                                                 ,
                                                 -.
                                                  i
                                                  -
                                                  .
                                                  k
                                                  )
                                                  '
                                                  -?
                                                   .
                                                   :
                                                   ,
                                                   .
                                                   1
                                                   9
                                                   .k
                                                    è
                                                    .
                                                    :
                                                    '
                                                    .J
                                                     -
                                                     '
                                                     .
                                                     :
                                                     s
                                                     .
                                                     '
                                                     :,
                                                      t
                                                      .
                                                      (
                                                      q
                                                      )
                                                      ;
                                                      .,
                                                       '
                                                       .
                                                       E
                                                       -
                                                       :
                                                       .!
                                                        .
                                                        -
                                                        .'
                                                         -
                                                         '.
                                                          '
                                                          .?
                                                           (
                                                           .
                                                           :
                                                           .'..,
                                                               '
                                                               L
                                                               k
                                                               ..
                                                                2
                                                                ,
                                                                .
                                                                t
                                                                è
                                                                .
                                                                'r
                                                                 :..
                                                                 . '
                                                                   ,
                                                                   è
                                                                   :
                                                                   .
                                                                   -
                                                                   :'
                                                                    .
                                                                    r
                                                                    i
                                                                    g
                                                                    è
                                                                    )
                                                                    ...
                                                                      '
                                                                      :
                                                                      t.
                                                                      ,
                                                                       :
                                                                       ,
                                                                       -.                                          -
                                                                                                                   . ..   ,.     ..           .   ..



    People with COVID-19 sym ptom sshould be evaluated im m ediately, ineluding a tem perature checkand asking:
          *Todayorinthepast24 hours,haveyouhadunyofthefollowingSymptoms?
              Fever,feltfeverish,orchills? Cough? - Dl
                -
                                                     m cultybreuthing?
    *ln thepast14 days, have you had contuctwith a person known to have
                                                                    ! COVID-19?
    *PotentialCOVlD-19 casessbould be evaluated in room sneareach housi
                                                                    ! ng unitto minim i
                                                                                      ze exposureto others.
                                                                                                                                '       ' . ''
        j   .       '''')
                        .'..-'.'''r'r(:yt..'..):'.:'t.'r'
                                    (
                                    t;
                                     '
                                     :k
                                      y
                                      .)
                                       t'
                                        t-' (
                                            ..'J'
                                                r
                                                ;
                                                :''
                                                  )(
                                                   .
                                                   7
                                                   t)
                                                    t
                                                    ;)
                                                     y
                                                     j'
                                                      7.q',,' .
                                                        '
                                                        )
                                                        t;yt
                                                        j  .
                                                           )i
                                                            $'
                                                             i
                                                             ;'')'.
                                                              p.'.jë'
                                                                  :  t
                                                                     *J:?
                                                                        .
                                                                        'y
                                                                         '),
                                                                           .?a
                                                                             b
                                                                             ''
                                                                              :'.
                                                                                'l:
                                                                                  '.2q)
                                                                                      .'.t. .                                               L
                                                                                                                                            y'
                                                                                                                                             .
                                                                                                                                             .
                                                                                                                                              '-(.r(
                                                                                                                                                   y)
                                                                                                                                                    j,
                                                                                                                                                     (  '
                                                                                                                                                        .
                                                                                                                                                        ;j
                                                                                                                                                         g
                                                                                                                                                         l
                                                                                                                                                         jj j'y  '..'
                                                                                                                                                                      j
                                                                                                                                                                      .'
                                                                                                                                                                       g
                                                                                                                                                                       .
                                                                                                                                                                       l..        j '    '
                                                                                                                                                                                          jj: )'-r-b''.N.:    ,.                            ' '.'.'
                                                                                                                                                                                                                                                        'e' ''';).'''' . '''
                                                                                                                                                                                                                                                       '2                                    '     '     '       . ''
    .udl
    5  'I
       1
       r
       11iù
          d
          I
          ::
           .
           1I ?r
              i
             '2
             1
            r-E
              ::
               1')
                I(
                 6-:l1F;i)C
                 -        ' ?'
                          1:::1
                             -:ip
                                :
                                i
                                k
                                ';
                                 i
                                 I
                                 l#11
                                    I
                                    F
                                    !l
                                     2
                                     1,
                                      1
                                      .1i1:1
                                       1
                                       .   ,
                                           k'
                                            C'-M ti
                                                  !
                                                  C1
                                                   !
                                                   E;
                                                    k-
                                                     $1
                                                      4
                                                      . //
                                                      :1h  1:-
                                                             :
                                                             .
                                                             11
                                                             - ::14!1
                                                                    ii
                                                                     I'111::1.
                                                                             t
                                                                             :
                                                                             .-
                                                                              .
                                                                              ï:
                                                                               .
                                                                               11
                                                                               ':,
                                                                                 !12.
                                                                                   1/.'-'
                                                                                        ït:g'       '          '
                                                                                                                                .           ..
                                                                                                                                     ' ''. . .
                                                                                                                                                ..- ;            jy
                                                                                                                                                     .k-) ytjj.j,)'
                                                                                                                                                                  (j
                                                                                                                                                                   t
                                                                                                                                                                   '
                                                                                                                                                                   j
                                                                                                                                                                   4j'
                                                                                                                                                                     y
                                                                                                                                                                     t
                                                                                                                                                                     '
                                                                                                                                                                     y
                                                                                                                                                                     k
                                                                                                                                                                     y ;
                                                                                                                                                                      .  ',
                                                                                                                                                                          t
                                                                                                                                                                          j
                                                                                                                                                                          J
                                                                                                                                                                          t
                                                                                                                                                                          g.
                                                                                                                                                                           (
                                                                                                                                                                           '
                                                                                                                                                                           .;
                                                                                                                                                                            j
                                                                                                                                                                            -.
                                                                                                                                                                             j
                                                                                                                                                                             ').
                                                                                                                                                                               y)
                                                                                                                                                                               ,,
                                                                                                                                                                                )
                                                                                                                                                                                .% '
                                                                                                                                                                                   :
                                                                                                                                                                                  .y
                                                                                                                                                                                   j2
                                                                                                                                                                                    :
                                                                                                                                                                                    tj
                                                                                                                                                                                     ly)
                                                                                                                                                                                       '(?y
                                                                                                                                                                                     z t
                                                                                                                                                                                                               .     .             .. .           ..                       (...
                                                                                                                                                                                                                                                                              ' ''.                .
     .    . .. .         ... .       .          .-
                                             . .. ., ..,.
                                                          '
                                                                  .. ... - ..
                                                                                .
                                                                                .           ... .            . .               ..         .  !:
                                                                                                                               . ... . . . . .
                                                                                                                                           .. .   .,:
                                                                                                                                                     '
                                                                                                                                                    ..
                                                                                                                                                     ..
                                                                                                                                                         -.,?..
                                                                                                                                                     .. .j
                                                                                                                                                         2
                                                                                                                                                         1
                                                                                                                                                         )
                                                                                                                                                         .  l -yq
                                                                                                                                                                g
                                                                                                                                                                :
                                                                                                                                                                .
                                                                                                                                                                :.jEi
                                                                                                                                                                 ;  ..
                                                                                                                                                                     -
                                                                                                                                                                     t
                                                                                                                                                                     .
                                                                                                                                                                     t
                                                                                                                                                                     -q
                                                                                                                                                                      :
                                                                                                                                                                      .
                                                                                                                                                                      k
                                                                                                                                                                      .t .l.h..ï.:....y-..-;p... .,......:y--bï-..r:t... .,:è..':.. ....,,--.;.-. -.-..,...-..-..àk.')-)-;..'..--.-;--.t.;..:'....t''.'..;.'.)': . '.:'
                                                                                                                                                                       $-)       yy                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                      ..'. .
    lfsom eone show ssym ptomsofC0VID-19:                                                                                                                   ;
          *Anyplacewheretheyspenttimeshouldbeeleaned anddisinfecied.
          * They should be quarantined in a separate area, with solid wallsai
                                                                            nd asolid door,ifpossible.
          *Theyshould wearafatemask wheneveroutsidethe isolatedarep, ornearothers.
          * M asksshould:be changed daily,orwhen dirtyorwet, AND notrvs     1 trictbreathing.
          *Tissues,soap,and watershould be freelyavailable.                 i
                                                                            ,



    lftherearemultiplepeoplewithCOVlD-19symptomsandtheymu/ bekepttogether:
         * People who are old,orwho have otherm edicalproblems, should be separated from the group.
                                                                                                                                                            i
Peoplew ho have had tlose rontactw ith asusped ed case should b:,quarantined for14 days.
  * Close contact= coughed on, contactedbodi lyfluids,orspentsighificanttimewithin6feet/zmetersoftheperson
  * People in quarantine should wearface maskswheneverin close prIoximityt                                      .
                                                                           o others,including othersin quarantine.
  * M ealsshould be broughtto the quarantine area.               '

  *IfaquarantinedpersonispositiveforCOVID-19:AlIpeoplequarintinedwiththem need another14- day quarantine.
                                                                                                                                                            :
ProAetlive Equipm en:forcleaning areaswhere a COVlD-19 case has;spenttim e:
  * N-95 respirator,face mask,eye protection, gl
                                               oves,gown/coveralld.Eachworkershould befittedtotheirrespirator                                                                                                                                                                                                    .



1https://www ocdc.gov/coronavirus/zolg-ncov/communi
                                                  ty/correction-detention/guidance-correctional-detention                                                                                                                                                            .htm l
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 247 of 276




                        F IL E J




                                       28
   Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 248 of 276



      H onorable Judge M arcia G Cooke               .

      W ilkie D .Ferguson Jr.U nited StatesCourtHouse
      400 N .M iam iA ve.R oom 11-2
      M iam i,FL.33128
      08/25/20

      D earJudge C ooke,

                   M y nam e is Steve Jean Baptiste,1am currently detained atG lades County   .

      Detention Centerin M oore Haven,FL.Iwork in food service and the conditiohs
      thereare deplorable.The sink w herethe detaineesfood isprepared have black
      w orm s in it,thatsink should notbe used for anything especially peoples food The                      .

      kitchen isso filthy they had to bring in an outside cleaning service twiceto try and
      clean it.Thereisthisgreen w aterin thekettleused to m ake the detaineesfood                                .

      There is a sink w ith dirty sitting w aterand the bacteria filled w ateris producing the
      black w orm s and fliesthattraveloutofthe K itchen There isalso black and yellow
                                                                       .

      centipede like bug that flies in the food thatis being prepared foralldetainee
      population.
      On the day ofthe supposed inspection they putbucketsunderthetablewhere the                         w

      cleaning supplies are.W e haveneverseen those bucketsbefore and we neversaw
     them again.The sign thatw asposted in the kitchen leftw hen the people leftand
     w eneversaw itagain either.On inspection day they leftthe m orning shiftgo early
      so no one w ould be presentw hen they com e to inspect, so w e don'tknow w hat
     they saw ordid notsee,and no one w as able to inform them or ask a question
     because w e w ere notpresent.
            N o one should have to endure thatkind ofinhum ane treatm entand blatant
     disregard forour health and w ellbeing in the U nited States O fA m erica A tleast              .

     notthe A m erica lknow and love.lpray thatyou help us elim inate thiskind of
     treatm entand setus free.

                                                                           Y ours R espectfully
                  wr


                                                                           Steve Jean B aptiste
       /'                   .              /


                                                                             q.$:99#%.#
O t.d +..4&,mm.                                                            ??
                                                                            .
                                                                            +
                                                                            %%+%.....
                                                                                    %.        CINDYAQUI
GX:Ny s/-a.p0-%                                                            !
                                                                           Xt.        x:.:!MYCDMMI
                                                                                                 D IQN#* 97*/
Subscri
      b:dan;-emtetera&rm:tlbefôr:me*is                                     q-
                                                                            :% ..
                                                                           *%   :a? EXPIRE::Ju#15,2924
                                                                                J
     1-5--da cf                  a s'r- 1. L o                              .#<
                                                                              .*.
                                                                                $6%
                                                                                 4%%v5< aa-.
                                                                                           â--
                                                                                             .yujj           ju..
                                                                                                                z...-..--
By s-       ? ,-,
           c.  n-
                .az                              -
PerKnalyknpwnvv - œ pe uc
                        atidenti
                               e tbnA z-.ezt-; 7.p* ztz',QQ I9.
Ty> i*                                                        *0
      nde tl
           onprcduced K&& +..5 cabuze,    in/ ' zbN G kz.ztc-.m    j

                       /
                            z'         Not
                                         aryPubll
                                                c
                       .1
                   I
                   t.
    Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 249 of 276



*




                        E X H IB IT A
Case 1:
Case 1:20-cv-23783-MGC
      20.cv.2:568.K* O=Document  1 Xn
                        IrTVPR*AMQ. Entered
                                     IGA CFnonBVC
                                               FLSD Docket
                                                SDCRI
                                                    O X#G  09/11/2020
                                                              P'NTJD FY Page
                                                                         lcâft250
                                                                              # of 276
                                              446


                           UNITED STATES D ISTRICT CO URT
                           SO UTH ERN DISTRICT OF FLO RIDA



   bOYD CAMBPELL;                                      Case No:1:20-cv-20768-KM W
                           Petitioner,



   CHAD F.W OLF;
                           Respondent.



                    DECLAM TIO N O F ACTING O FFICER IN CH ARG E
                                LIANA J.CASTANO
    1,LianaJ.Castano,Acting OfscerinCharge(O1C),makethefollowing statementsunderoath
    andsubjecttothepenaltyofperjury:
       I. lam employed by U-S.DepartmentofHomeland Security (DHS),Immigrationand
          CustomsEnforcement(lCE),andcurrcntlyserveastheActing OIC oftheKromeServicc
           ProcessingCenter(Krome). lam alsoanAssistantFieldOfficeDirector(AFOD)at
          Krome.Ihavehcld thisposition since Seplember2,2018.
          Iprovide thisdeclaration based on my personalknowledge,belief,reasonable inquiry,
          and inform ation '
                           obtained f-
                                     rom varioujrecords,system s,databu es.otherDHS
          employeèsaemployeesofDHS conlractfacilitiesandinfbrmation portalsmaintainedand
          relied uponby DHS in theregularcourseofbusiness.
           In my currenlposition,Iworkclosely with ICE HealtkServiceComs(IHSC)atKrome.
           IHSC providesdirectm edical,dental,and m cntalhealth patientcareto approximately
            13,500detainees housed at20 Il-lsc-staffed facilitiesthroughoutthe nation.
           IHSC comprises a multidisciplinary workfbrcethatconsistsof-U .S.PublicHca1th Servicc
           Commissioned Corps(USPHS)oj-
                                      ficers,tbderalcivilservants,andcontracthealth
           professionals. Krome em ploysa m ultidisciplinary m edicalworkforce thatconsistsof
           Registered N urses,Physiciana sistantssPhysicians,m edicalassistants,Dental
           Hygienisi,Dentists,Psychologists,Psychiatrists,and N ursc Practitioners.
            SincetheonsetofreportsofCoronavirusDisease2019(COVID-!9).iCE
            epidem iologistshave been tracking thcoutbreak.regularly updating infection prcvention
            and controlprotocolsyand issuing guidance to field stafron screening and m anagementof
            potentialexposure am ong dctainees.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 251 of 276
      Case l:20.cv.2:@68-X>        f- drrnm tM        D
                                                          GY cgnGISIIDre         G O O          FFe lz8ft/
                                                       446

            6. ln testing forCO VID - l9am edicalstaffatthe Krom e is al
               theCenlersforDisea                                      so follow ing guidanccissued by
                                    seControl(CDC)tosafeguardthose in it
                                                                            scustody and care
              Each detainee isscreened fordisabilities upon adm ission by IHSC                 .
              disabilitiesare furtherevaluated                                  staff-Identified
                                               and reasonableaccom modations are
              m edically appropriate.                                              provided as
           8. AtKrom ea during intakem edicq!screenings
                                                            . det
                                                                aineesareassessed forfeverand
              respiratory illness, are msked to confirm ifthey havehad close
              iaboratorp confirm ed COV ID-                                  conlaclwith a person with
              from orthrough                   l9 in thcpast14 days, andwhetbertbeyhavttraveled
                               areats)withsustainedcommunitytransmissionintb
              A1Inew arrivaldetaineesarc thenplaced in isolation from thegeneral e pasttwo weeks.
              closely observtd for 14 days, regardlessoftheirtravclorhealth hislo population and
                                                                                  ry.
               The detainee's responsesand the
                                                rcsul? oftheseassessm entswilldictate whethcrto
               monitororisolatethe detainee. Thos   e detaineeswho prcsentsym pto
              COV ID-I9 w illbe placed in isolatio                                 m scom patiblew ith
                                                   n,wherethey willbe tested. Iftesting ispositive
              they willrtmain isolatcd and treated. Incase ofany clinîcaldeterioration            ,
              referred to a Iocalhospital-                                             ,t hey willbe
          l0.In casesofknow n exposureto a
                                             pcrson withconfirmed covfo-j9s a ymptom atic
             detaineesare placed in cohorts with restricted movementforlhe duratio
             recentincubationperiod (14daysaft                                nofthemost
             monitored daily forfeverand symptom
                                              ermo st
                                                 sof repi
                                                    rescernt
                                                          atoexposurel
                                                                     o anilldelainee)andare
             prevention slm tegy which involveshousing delainecr  y jllness. cohorting isao fnfection-
                                                                 s togetherwho wereexposed to a
             Personwith aninfecliousorganfsm butareasympt
             duration ofthe incubation period oj-I4 days       om atic. This practice lasts forthe
                                                        , becausc individuals with theseand olher
             com m unicable diseasescan be contagiotlsberorc thcy develop symptomsand can serve
            as u
                 ndelected source patienls. Thosethatshow onsetoffeverand/orres
            are referred to a m edicalproviderforevaluation. Cohorting isdiscontinued piralory illness
             14                                                                            wllen the
               -
                day incubalion period com pletcswith no new cases.PerICE policy
            diagnosed with any co                                                  , detainees
                                    mm unicabledisease who requfre isolation are placed
            appropriate setting in accor                                                 in an
                                        dance with CDC orstalc and localh
            guidelines.                                                   ealthdepapmem
         l1.d
            Krome hasthe following m edicalcapabilities;A clinic staffwhich manages male
             etatin
            heal  he
                   sesvi
                    erances
                         dpand
                            rovid
                                thesdailjaccesstosickcallsinaclinicalsetting, aswellasm ental
            m entalhealth care.    eabi
                                      l lty to adm itpatientsatthelocalhospitalform edicaland

         12.As0f-8:00 AM on April8. 2020,Krome medicalstaffprovided the follow in
            inform ation:                                                        g
                   a. K
                      There is ldetainee with a léboratory confirm ed cmseofCOV lD-19 housedat
                        rome who ison m edicalisolation perCDC guidelines.

                                                                                                             &
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020
                                                                 * Page
                                                                    W 4fM252 of 276
Case 1:20-cv-2:%68-X>                          446


                b. n ereare 2 security contractofticerswith a laboratory confirmed case of
                   COVID-I9.Theom cershavebeen rcmovcd from thescheduleand are
                   follow ingC DC quarantineguidelincs.
                c. There arean additional23s dctainees who are currently cohorted and undcr
                   daily observationduetoexposuretoaconfirmedcaseofCOVID-I9.

       13.Krome hasa population within itsapproved capacity and isnolovercrowded.

       14.Krome has increased saniution frcquency and providessanitation suppliesas follows:


                 Kromeprovidesdisinfectantstostaffandcleaningcrewsand CDC recommended
                 cleaning and disinfectionabove and beyond normalactivity have been
                  im plemented.
                  Krom ecleansand disinfectseach hotsing unitbetween shiftsand entirehousing
                  unitson a rotationalschedule.
                  Krome providesevery housing unilin thedetention centcrwith disinfectant
                  wipcs,anti-bacterialsoap,and hotwaler.Krom estaffand thc generalpopulation
                  aredirected (o use thesecleaning toolsoftenand liberally.

          15.AtKrom e,noncontactprofessionalvisits archighly encouraged butifan attom ey must
             m eetwith a detaineein person-theattorney is required to wearpersonalprotective
             equipmenl(PPE)to includemask,glovesand cyeprotection.Novisilorsarcperm itted
             to enlerwithoutthe PPE.In person socialvisitation and facility tours are suspended.

          16.
            .Krome isutilizing securily staffmedically trained to conducttem peraturescreening and
             health history questionnairesofallstafl-and vendors when thcy enterthe facilities
              including body tcm peratures.
           l7.K rome medicalstaffare screening alidelainee intakeswhen they enterthe facilitics
               including travelhistories,medicalhistoriesand checking body tem peraturesand have
               proceduresto continue m onitoring the populations'health.
           18.The IHSC Krom e medicalstaF provide education on COV ID-19 to staffand detainees
              to include the im portancc ofhand washing and hand hygiene,covering coughs with the
              elbow instcad ofwith hands,and rtqucsting to seek mcdicalcare ifthey feelill.The
               f-
                acilitiesprovide detaineesdaily accessto sickcall.
            l9.Krome m cdicalstaffhasidentified housing unilsforthequarantineofpaticnlswho are
               suspected of-ortestpositive forCOVID-19 infcction to be addressed asselfortb in

               paragraphs7,8,and 9,supra.
Case 1:20-cv-23783-MGC
      Case 1:20.cv.2:568.K*Document
                               r- m-1 Entered
                                       3gt r on FLSD Docket 09/11/2020 Page 253 of 276
                                                             lrtG œ KœnG lqWlfshz*Atffzdm ;plv,
                                                             446                                       fo FY      se fc/


                 ltleclarc. underpcqlalty (1f-perit
                                                   lla.
                                                   .               ,.S-I- ,ï 1746.thaltlle f-
                                                      'ttlltler28 l-   ..                   t3reglping istrtlttalld
        correclttètl'jtlbcskof1-,-
                                 1).
                                   ,knoïvletlgc êtntlbltsetlol'li1
                                                                 )I-
                                                                   o rl
                                                                      llatil
                                                                           tlloth
                                                                                tly
                                                                                  inet
                                                                                     l f
                                                                                       i kl
                                                                                          lt!otllcrisldivitltlals
        en'
          l1-
            3Ioyttd by IC 1
                          .-
                           ..



        I)-
          ,ï.
            -!-
              EI):zïJ31-1
                    .   -l8.-
                            20.2(1
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 254 of 276




                    E X H IB IT B
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 255 of 276




                             DECLARATIO N 01.
                                            -I)R.JO SEPH SIIIN INID,M Sc.)

                1-JosejlllS11inaN'1L)-a  '.
                                         N1S(;..11-
                                                  1:.
                                                    1ke tl'
                                                          le 1-ol1t-'Ns'1
                                                                        -l'
                                                                          lg tleclaratit-
                                                                                        )1)basekl(
                                                                                                 311I1)y Ilel'soilal
      kl-ko'
           u-ledge fll-l(.
                         ltleclal'e ulldertlle lpel-
                                                   lalt)-t)1-ller'ltlry I' ltlrsuCtnttl'
                                                                                       )2t!trS.f-.jl746 tl:attllc  .. .

      fo11ovy-il'
                lg is true al-ltlcon-ect:

          I:11:1 lï1-k- A ssistantPr()fesstll-ofs'        le:lici)' 1klaty.'h'cil1(.'()rl1cllh' 1etlicine.l-     ottlltl1ng 1- 1-1en'lbe1-
          o(-tlle C-orlèelIC'enter1-         (11-Healtl1Eqtlity'-     ,alptlllttstl'nedicaldireclor tkll        'tl)e ï. 'y'
                                                                                                                           /ci1l
          C-ol-llellC'ellter l-     (lrl-Itlll-lan Ilights. Ia1.    1);1tli1)1(ll,
                                                                                 nftte t1f-tlle r'
                                                                                          ,       j.l'
                                                                                                     llel-1
                                                                                                          'can Bt'   tal-tlof
          l11tel-l:tl5.   ,1edikziIle a1-1(.
                                           1coTnpletel.    l171),.17)etl1caltr;  .
                                                                                 l1l'
                                                                                    k1l.
                                                                                       1g atN h-l.1Sc...   l1k'
                                                                                                              1()1of'  h.?Ietliuri1)kl.
          Pl-itlrto 1.   n/-eurrel:t1-('   11e atC-ornelI-IAvasa C-l11.        11ealll- istl-uctoratN'h'U!Scl)(-           ,
                                                                                                                           ()1o1-
          N
          ''letlit?1l-
          .            le ëtatlitttentl1  )ng 171.1ysic.ial1atBelIevktc 14ospital'          u'1'
                                                                                               lel-e Iserved attl'       le        .


          )ç''ft.
          '       1/'B uplleï-ue Pl-ogral-    l.
                                               lI-
                                                 t)1-Stlry'iN-(>l-s ofTol-tul'e.tlle BelIev-       uc , -
                                                                                                        '
                                                                                                        XdtlltPrin::).1     -),C-are
          f-lilèic aIltlalst)careull-        ol'l'
                                                 ltlslpitalizetlplttielèts 11.  'ttl'
                                                                                  , le Nlex' s's-tlrk-C-ity Illelnlll4l'    nelltt .'
                                                                                                                                    )f-
          f-tll-l-ectl-olls cttstotl)-  '.

          l1.1aN'e ()verflfteel)(I5)yeklrs o1-t-xperitnlu-c ct7ll(ltlct1I-                lg as ïs'elI:ls trail'     11ng ot1-  1er1)c;.tltl)
          lnraetiti()I'lel-s tt'llpel'1-
                                       (71-1-
                                            )-
                                             1I' tll-
                                                 -  ellsic l'
                                                            llet. liu-.
                                                                      ;
                                                                      a1ev-altlatit 'nl-
                                                                                       ls 1-t-)rstl1-:-1&,(7I-s()f11tl1.
                                                                                                               .         1-1a1-.1-1gl7ts
          atntlscs-as).   -1tll'
                               l'
                                la.171711cal' ltsal1(l1ntl1.  $.
                                                               '1t'1tlals leltl11. 111-1-
                                                                                        11-
                                                                                          1-
                                                                                           11gl-at1(.)11tlt?tcl- ltit3!'1. l11ay'  e
          ct7nt.ltltlted reseitl'tzl) 1 -c1ated tt'tratlnla allt.      lI'
                                                                         lealtlètltltctpllles al-    ntll'1g asl  yltl .
                                                                                                                       l3'
                                                                                                                         1seelkersalltl    .


          traff-1cltiI7g A-icti1- ns a1- k(.11-1.
                                                1ed1callleglectant-       ll7a).j-iel-stt)tzitl- c i1.111A-11.
                                                                                                           .  1.
                                                                                                               '
                                                                                                               i1gl-ati(-11-
                                                                                                                           1tletelèt1t-l1.
                                                                                                                                         '
                                                                                                                                         ï
         cellters.




     The Expalldillg Coronavil-lls Pantlclllic

          ?
          A,s t'f>ïI'  l!-il I(-).202().tl'  tc tlate oft111*s (1eclartttitll-i.1'1)e C-C)N? '113-Ig 17:11.1tlel'
                                                                                                                nic llas
         expol'   1ent1allô.  'spread-Ax-itl) I.t    $1t.
                                                        ).4i
                                                         . ,)5 tzo1)li1-111etlcltses a11d t    .
                                                                                               ?7-2(.'
                                                                                                     )()(Ieatl)s globally.1
         ./ï.eetll-tll
                     'i'
                       lg tt')tl' lc C-enters forI'   lisease (-tllltrola1.  1(.113I-eventi01-1(C-,   ()(-'
                                                                                                          )tllel-e l-laNzutIneel:
                                                                                                                           .


         4'27..46(   '
                     .
                     )tltdnIi1  -1-
                                  1-1e(lcftsesantlI4.6$    96 tleallàsnat1t   al)a.1l37as t' bfz'N.pl'ilk. 2()2(
                                                                                                 -       )       .)(t1)t'
                                                                                                                        l1atesl
                                                                                                                          ..

         as-a)1able data)..,2E'q'el-y LT.S.stflte and teln'.lltlry hasbeel            -
                                                                                          1fl?.ectet
                                                                                                   -
                                                                                                    l-and (.,(.    .'        .
                              .
                                                                                        '
                                                                                        l:.                     )'k l13-1i?ls  .

         l-apidly spl-eat.     liT'lg fi-ol'
                                           1'
                                            ltll-
                                                bal'1cellters to l-ttl-ttlal-eCts.

          r
          :
          t stt.
               t(I).
                   -(i-01-
                         1,
                          1tl-
                             le t.
                                 J1.
                                   11N-el-s1ty tlfTcxas at-    A tlst1'11estiI1-1ated tlpataso1'z-'41)1-1l3.2()2t) :1
         sveeIkEtgo --720,k    -)(
                               ' .
                                 )1-L!S ctltl1- 1t1
                                                  *es ï5
                                                       ..1
                                                         't1)t
                                                             .
                                                             )4f!.i
                                                                  '
                                                                  )(-,f-t1)e 11atio1,
                                                                            .       1I
                                                                                     R11)optl1at1
                                                                                                -t'l'
                                                                                                    llta.ï'e (.
                                                                                                              )y'era                   *
         $('
          '
           )''
             .
             $c'
             ' l-k'
                  ,
                  :
                  .
                  '
                  lncco1-ong't)11.
                                 1g('
                                    -()'
                                       h'
                                        JI()-19tI-tIllsn-
                                                        l)
                                                         'ssion.--3-I-l1efttlthorscl'
                                                                                    n1)1)as1
                                                                                           -zckltlèat--1aj                             .

         s113g
             'le l
                 -elltlI-ted case stlgttests tl'
                                               latcol-
                                                     nl'
                                                       nu111ty tl-alèslniss1
                                                                           -()1)1s l1kely.-'alltltllate'
                                                                                                       î-tnl'
                                                                                                            l11*
                                                                                                               1     ,
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 256 of 276




               places tllatdid nothaN'e eolltinned COVID- I9 casesasot'Al-nil3
                                                                              . 2020.t
                                                                                     he sittlation
               lvasnotIikely to last.4

               D tleto the l'tighly illfectiousnature ofC*0'  V ID-19.. illfectious(lisease specialistsalld
               publicllealtllexperts l'  lavestrollg)),-recol
                                                            nl-
                                                              nended Iuillinlizing i
                                                                                     ntcl-
                                                                                         personalkxlntacttt3                             .
               nnitigate trallsluission antlI'nillilnizediscase-sTheU S govenllncntlike luany around
               the yvol-ld havetaken unprcceclented stepsto tbllouzexpertrecolnl-nendationsby
               ordering the closttre ofal1btttesscntialbusinessesand putting into plaee strictsocial
              tl.
                istaneing polieiessuch asttshelterin plaie,'' gatlleringsofno nnoretllan ten perstpns
              and
              lik avoiding congregatc enN'irollnlentsstlch assehoolsand placesofîvorship.ltis ,
               l9
                  e1y thatourenlire nlap u'i11be brightred svitl'  li1-
                                                                      1:1ïveck ortu' ().given thatC0Y-ID-
                  sprcadsvery quick1y alld oftel)silcntly The fateofoutbl-ellksi11coulltiesacross
                                                                          .

              tlle US very l' nuch l'linges(11.
                                              1thcspeed oflocalillterventions.Eal-ly antlextensive
              socialdislanciI)g can block colnlntlllity translnission. avcl'trises in llospitalizatiolls
              thatovelavheln'   llocalcapacity, and save liï'es-r'

              The novelcoronas-irus is1)1      -c
                                                $,
                                                 t
                                                 'hlw q?1
                                                        -1.
                                                          1l'
                                                            ectiotlsal1(1isthlltlghttopass thotightto Iltlssfi-ol'
                                                                                  .                                      n
              persollto persolltllrougllrespiratory (11-         (71
                                                                   .
                                                                   )1ctsreleased bJ.
                                                                   -  .               ,coug11illg orsneezing as
                                                                                               .
              '
              tvellasalso through contact'        $'
                                                   $'it1.
                                                        111.1fectcd 1ndividuals ancl1   -1.
                                                                                          1tcractiollsu-itl'   l
              coyltal'nilzatetlsurfaces. There isalso increasing conccrn forthepo
                                                                                                    ssibility of
             aerosolizati01-   1and ail- bornetransl-    nission u'l' 1icl)n-1ig.htalIt)u-11
                                                                              .             -1Ibctious&.  'il-alparticles
             to rel-nai11i1. 1tl)e:1-
                                    11-and trallsn'  liti1.
                                                          1fl
                                                            ection tt)otlpersu'itlloutclos
             t                                                                                  e colltaet. Inacldition
               o trallsl-nission by sylnptoluati(2illclivi(1tlals. there isa l-     tigh leveloftransnèission
             al
             E' l
                -longstasylllpttln'   laticcarricrsasu'el1aspre-sy'         l-
                                                                             nptol-natic infetrted intiivitluktls.
               st1nna .tu-sstlggestthatl8-57'     '
                                                  !'
                                                    k
                                                    '1t)f11-tfcete(lpeo1
                                                       ,                  7le nlay notl  have s: y,3
              . .     ,
             ()ttestlng .  7.
                            $                                                                      -:7ptol-nsalthet11))e
                          .




            Ftlrtllernnore. li11-
                                :1tetlSvitle-spreatltesting 1n addition to Ipal -roïv screening criteri1
            f                                                                                              .l'lah'e
             ailetlto effeetively itlenti1- /,allintlividualsatrisk ofinfection alld tl-allsn'     lissiol'
                                                                                                          l
            Basicscreening questionsrelated to travel11is1o1-        )'. sick contactsalld synlptolns.     fai1to
            aeknoAvledge'   uride-spreatleon-   lll-
                                                   lunity transnpissiolland asy
            t                                                                     l-njltolnaticsprcad already
             aking 1a01d 1:-
                           1Ina .J1y col-
                                        nl'nuniticsacrossthectnuntry. ashvellasy'        k'ithin institutionalor
            congregantsettillgs,

      9. Forindividtlalsvvho flo beconleSylnptonlatic, lna  .11),ïvi1lexperiencerelatively l'   ni1(1
         synAptolns.butan estilnatcd l00/0-200z$ ufindiAzitlualsu'ho arc i11fected 1-
                                                           .                           1-
                                                                                        1:13.necd
         hospitalization Avith a significantportion ofthese l-ctluirillg care in the illteTlsive care
         unit.Severe connplicationsincluding acuterespiratory failtlre, sepsis-lnultiorgal)

       4y(/.
       51)ttps:'
       G         .,N
                   l.-u'h&'.k-dc.go&'.'
                                      coronaN' il-us.
                                                    .'
                                                     2()lt
                                                         p-rlctn'
                                                                k.
                                                                 '.illdex.I1tl
                                                                             11l
         hl.(citatikljlst7lllitled).
       7h,1izullll- ltoKeqji.KagayaKalstlslli. ZarebskizWlexallder. L-lltpu.        'ellGerardo. EstiTllatillg tltcasj'llplonpatic
       proportîon ofvorona&'inksdiscase2(.119 (Ct            3'VlD-19)caseson b(    )al'tll11e Dialllolld Pl  'illcesscnlise sllip.
       N-okohltlna.Japan. 202().Eul'         o Surveilt. 202(3. '25(l0)
      liK il'
            lltnal)z  A.. Ilatlield Kh'  !-.w
                                            trol).sK-
                                                    1.
                                                     -etal.a  Xsylnpttllklatiuand 13rtsy'l nptoluatit SARS- '.
      Rtrsidel  ltsofaLollg--l-      enn C-al'e Skillt-d Nuy- silg Facilîtlr Kil'  tg (-'-otlllts.'lraslliltgtonC't'-$N.
                                                                                                                       -2 l11t
                                                                                                                             kctionsin
                                                                                                 .                . Klarch 2(1
                                                                                                                             2(.
                                                                                                                               ).
      Nzlh.
          fSN'R h'   Itarb N.  1ortal5:$,
                                        'kly'Rep 2020:6C)*  .377-381.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 257 of 276




            failuresblood clotsand deatl). Thcrisksofthese colnplications islnuch l'       ligllertbr
            (-ONflD-19 paticnts ïvitl'
                                     l:1casc-fatality rate t)fapproxiluately 3.9t)'
                                                                                  ()yvl-
                                                                                       licl.lisnearly
            4()tilneshighertllan thatofseasollalinlltlcnza (-0.l%)).B

        l0.Itisoften ovcrlooked thathal1-ofllospitalizationsare in patientsless than 5()yellrsc)1(1.
           i
           Rllfl11Rany ),-Otlng' I1C.illthy people l'
                                                    lave died 11.011-1C.
                                                                       '(.
                                                                         )'
                                                                          :/117-19
                                                                                 ..l0

        11.There 1 -s no N'accilhe to prcventCON,
                                                'ID -1t
                                                      .
                                                      ). Tllere a
                                                                .re also I'
                                                                          lt7clearly eftkctiA'e
           treatlllcntsfbrtlàistlisease.

        12.Theon13,cffective strategies to liluithvit.    Ic-spreatlil
                                                                     npactofC-O N/ID-l9 cre public
           ILealth strategies. These inultldecontainlnenteffortslike early identitication,colhtact
           tracing,isolation antlquarantine lneasures.and intetlsiveuseofpersonalproteetive
           equiplnent. L1  .nfbl-ttlnatelyatlueto Iiluited testing capacity and public health resotlrces
           col'nbilled uzitl)vvide-spread colnl-  ntlllity spread,Iuitigation effbl-tslike social
           clistancing and scrtlpulousl'   laT'
                                              ld and personalllygienc are criticalto linaitthe sprcacl(1f
           CO N'ID-19.

       Detcntion Facilities
        13-The risks('f-lvid'e-spread tlndetected tralpslnission il!detention fikciI1
                                                                                    -ties.asvvellas
            iailsal'ld prisons.1ssignilica.ntlyhigllerthan il'
                                                             ltlpecolnnlunity.Thisrepresents81
            tlll-ealnotjustto peojllebcingdetainedo1-illcarcel-ated butalsoto thehtllldreklsltnd
            thotlsulldso1
                        -staj
                            -fNvorkillg 1n tlpese facilitics.tl'
                                                               Iei1
                                                                  -fa
                                                                    .l-
                                                                      ni1iesal'
                                                                              ld tlle broader
            t
            ztnlllll-
                    ttlllity.

        I4.'Fl'
              1e 1-1sks t)1*tllltletected antlucidespreatltnlnsll-    lission u-iLi
                                                                                  1il'
                                                                                     ttletelltitll'
                                                                                                  llitcilities
           iIlcreases tl' le l-isk to botl' 1the people u'   llo urork in and are detail'ietli)1these faci1ities.
           These risksi1)settings0f'        -detention :11-1(2
                                                             1incarcerntion havebeen denlonstrazed if1
           1-
            11ullip1e pastepidenzics illcluding intluenza restlltillg il'       lstaffand inlnatetleatlls.
           FLll4helnntli- eailnll-  ligration detention facilitiesl'  lnve also reeelltly been sitesofother
            Areventableexposuresand outbreaksineluding nlulnpsand chicken pox.ll'i2 These
           are 1111facilitateil1    7).
                                      /relativetlh,'el-c.
                                                        rt
                                                         ly.
                                                           N-dillg.p110rl-lygielpe l'
                                                                                    neasurcs,asM'ellas
           l'nedicalneglectand lilnited aceessto nledicalcaredespite policiesorbestpraetices
           saiclto beestablished in these faci1ities.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 258 of 276




          l5.The laek 0'1-uzide-spreatltesting- transpareney and datain conannttnitiesin the LJS and
             allacrosstl'!evvorld alloqved untletecteklspreatlil'lthe
             f                                                       colnl'ntlnity asule)1asuzithi1-
                                                                                                   t
              acilitiesand illstittltionsthatftleled the ctln-
                                                             entpandeluitr.

          l6.C ol-lgregatesettingsallovv f(11-the rapi(1spread ofi1-1fkctiousdi
             passed bytlropletstllrough couglling alltlsneezing itnd also eos       ease,espeeially those
                                                                                   lhtactNvith
             eolltal'nina.ted sbtrfaces. Shared dining llalls, bathroonèsp shoNvcrs,conllnon areas
             sleepillg qual-tcrs. alhd sharcd equipluentstlch astelephones                            .
             f                                                                  - al
                                                                                   lpreselltolAporttlnities
              or gr eattv  transln i
                                   ss
             by standard criteria.l' ion.  Ant luzhi1
                                                    e  facik
                                                           iti
                                                             es ln ightnot  be cons  idered  b
                                                                                             .overeroNvded''
                                      nany (.1
                                             ftllese shartxlI-
                                                             aciliticsin tlle gclleralpoptllation tlo not
             allt
             b
                7Av forthesafe socialclistallcil' lg orregularllancllygicnepracticegreconllnended
              y public health exl   7cl4s.

         17.'
            fhe lacltofNvide-sprektd testing, transparcncy and data in connnàunitiesin the t
            allacrossth                                                                       JS aIRII               .         .
                         eNsrorld alIoNved tlndetectcd spread in theconll-ntlnily aslvell
            fa                                                                           asïvithin
              ciIities and institutionsthatfuelcd tlle eun'el'
                                                             ltpalldclnic                     .



        l8.Detention centers,jailsandprisons.despitew'      llatIuightbeconsideretl--safk capacity-'
           are Iargely incalpitbltlofestablislèing the recolnnnentlcd lexqel
           i                                                               sofsocialdistallcing that
            sesscntlalto luitigatethe spread oftllisdiseasc.

        19.In preparati(     4y)oftl- lisDeclaratiol). 1l'    ll
                                                               xN,cbeen provided Nvith the '      D eeîaration ofliana
           J.C' -astanoedatcd zNpril8. 2020 (--castano Deelaration'-J
                                                                                         Thefolloyvillg are 1-
                                                                                          .                     nly
           respollsesto the C-astano Devlaration. -             1-l)e language used in the tleclaration
           denlollstratesk-lètès&.    'ledge ol'  -thcappropl-iatepl-ecatltit)Ips. btltpresents1
           t '                                                                                          1!)lal'
                                                                                                        .     1e1ailmiI'
                                                                                                                       lg
            tè'
              ll'l'
                  llnlel'llellt'
                               sl'l'
                                   1atare i2ltl:tl-ly illatleqtlale l-
                                                                     lleastll' es l11:11violateti'
                                                                                 -
                                                                                                    leCNDCXguidalpce -
           alld k-llovvijlgly expose allyolle 111tel-        act1l1g u l
                                                                      .'
                                                                        'tl-
                                                                           ltlle t'
                                                                                  acLllty t()ètl)ey.el)l'
                                                                                  -                     llort.
                                                                                                             televated
           deatlly I-  isk ofcontraetil'    lg C()N'ID .

       lkrorne

                           Screening sleasures atItron'
                                                      lc

       20.Tlèe Castant' Declaralion tlescribes screelling
                                                           Ineasures tllat are not effectih.
                                                                                           'e in
          prevelltîllg the spread ofCO '
                                       VID-lç
                                            ). s-
                                                ct'Castallo Dcclal-atiol).                        !!7-t
                                                                                                      ).l6-l7.
      21.The Castano Declal-     ation disctlsscsscreel)il1g Ineastlre
         Io                                                           stllathavcl7eellil'
                                                                                        nplelnellted at
            l-()n'
                 1e-Hovl.
                        eN'
                          el-. thc screelllncasuresare nolsufticient Newrdata Ilasdenltlllstl-aled
                                                                                      .
         tllatasylnptolnltticpersollsinlkcted u?itI)the novclcorona
                                                                virusSARS-COï/-Z (the
           virusti-tatcv
                       ausesCO'
                              k'lD-l9)can be contagiousand spread infection.l3Thisnew'tlata




      l'Settl.tnt
                -
                .
                ytàl
                   '
                   nn-delàdtltiol!Regartting tlle Use ofC-kiplh FarcCox'erillgs.Especiallyin .
      C                                                                                          àrcasofSigllificant
        oluluunity-Based 'I'  ralïsnlission
      face-cov'er-htlultstudies(Apr . l'lttps'    .''
                                                    hvv
                                                      a-hv-cdcagov'coronax'irus',
                                                                                -3
                                                                                 (.
                                                                                  )lg-nc'
                                                                                        ()x''pl
                                                                                              'dy'
                                                                                                 cll-getl-
                                                                                                         llzg-sick-'cllptll-
                                        . 3.2f
                                             .
                                             ).
                                              2(4'
                                                 1.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 259 of 276




              pronlpted the CDC to recolnlnenclasof-   AI)riI3,2020 thateveryolpe ïvearlnasks in
                                                                        .

              public to help lnitigatc spread ofdisease.14

         22.Itpresently believed thatCO%?1D-19's incubation period, thetinle betvveen illfectioll
            alld appearance ofsylnptolns is 2-14 (IaJ.
                                                     '
                                                     p
                                                     s. l-lout
                                                             ever,astlbstalltialpercelptagco1-
            infected pcrsonsInay nevershou,sylllptonls(i.e.asynlptolnatic)(71.be lniIdly            .

            infected.Tlleevidence tllntisavailable points to ahigl'llikelihooklofbotl Ascenarios.

        23.z *tthe urriting (11-thisdeclaration tllere is notconclusiq-eevidellce Nvhetherthe
                                  .

            infection ca11be spreatlduring thc inctlbation pcl   iotlorlvhetherviruscan beslled in
           I-l-
              lildly sylnptonlaticorasylnptolnatic person (i.e.bc contagious).Hoyvever, the
           evidencc thatisavailable pointsto a high likelihoocloflltptl'   1scenarios. A recent
           I
           -
             -evieu? of thc l
                            iterature r
                                      elated to C- OX/I D- 1t
                                                            .)appearsin thehighly respccted scientific
           1ounlal-N ature.l5Based on variousepidel-niologieall'nodels- S.kyovertcases''(i.e.
             asyl
                -
                nptoluatictolni1:11ysynlptolnaticpersons)lnny representtlpto 600,
                                                                                4 ofall
             CO' k'1D-l9 infections.lt'People u,itl1lnild orno synzptolusw'otlld typically notseek
             naediuutlcare(and notbetestcd)and nrotlld tllerefore notbe cletected during screelling
             prottpcols.EpidenèiologistsbeIieve tllattlpesecoNzertcasesthalhaA.   'e eontrîbtlted to tl'
                                                                                                       le
             spread ofCOV ID-19 in aglobalpopulation Avl-    lere no one is in-
                                                                              llutule. 11


        24.Tllearticle in Nattlre revievvsthl-     ee sttltliesthatstlpporttllclikelihood tllat
                                                                    ,

           asynyptonaaticorn-       lildly syluptolnatic indivitlualsccn spreatlthe illtkction- These
           stktdiestook plaee in China,.       1apan and onestutly includetlpassengersfron-        ithe
           Dialuond Pl     -incess.el-llese sttldies fbund tlèati1.1C-OVlD illfected l'
                                                                            .            lersolps.5(?
                                                                                                    .f!,
                                                                                                       k1,31ç,z
                                                                                                       .      ;
                                                                                                              '
                                                                                                              )
           allcl1)?0-'
                     û,.l'esllectix'ely,u'el-ellsyl-
                                                   l-tpttènlatic(41
                                                                  -!.
                                                                    1-        lllltoluatic.iS
                                                                     1ildlysyl-

        35.Nloreover.l'   leNv studiesoftheability o1-11)t'    eetetlpersonsto shetlv1rusaiso po1l1t
           stl-ongly to thcJtbil1ty to spread diseasepliol'to sylllptolnsdeveloping. Thesestudies
           sllouzetlhigllviral10ad in tlle phal-ynx atthe ol       psetofsylnptonlsand cvel'    l1)1i'
                                                                                                     ll'
                                                                                                       l
           asyl' npton-latic int't
                                 zcletlperson.' -
                                                f-l-tearticlc qtlotes ID1'. l
                                                                            klicllaclClslcrllolnl-directorof
           the University ofNzlinnesota-s Cellterf-       ()
                                                           lr!l1('
                                                                 -
                                                                 ectiousIliseases IleseaI-cllalld Policy in
           N.z
             Iillneapt3lis u-ho statesthat5$. ,
                                              141le l-nore -.TI1e tla.tacolltin-n Nvhatnlallyscielltists l-
                                                                                                        , kaN-
                                                                                                             e
           suspectcd:thatst'    )ll'
                                   1einlkcted people '  -can be lligllly contagiotlshvhen tllcy llay-c Inild
           orno syi- npttll-ns-altlltlttgl)thescaleoftl'    leprobleln isstilltlnelear.--t9

       26.Evidence thatdelllonstrated tllatabi1ity ofasynuptolnatic infectetlpersonstk-
                                                                                      )spread
          the T'
               iruslnakes itilnpossible fbrscrccning pl-otocolsto idcntify allthose ïvho
          infcctetland contagious.A recentlypublished study by the CDCNhasslloïvn strong
          evidence suggesting the spread ofinfection by asylnptonnatic CO VID-lï)  .infectioll.             .




        141(1.(--1,1Iigilt01-tllisIleB,eq.idellce. (.*1.
                                                       )û-recoi
                                                              lllnelldsu' eltrillg clolllfacecos-erillgsinptlblicsetlillgs
       îvllel'e othersocfaldistancing llleasul'   esltrc dirticultt()luaintaill(e.g-.grocery storesalld pharlnacies)
       especiallJ'11  ,
                      1areztsofsigllil'icalltcv'nllllullity-based tl
                                                                   'anslllissit72.
                                                                                 1.--)(enlpllasisin origillal).
        IFNattlre.colll- 'doi:I().I031. /d415:6-020-00822-x).
       I1,ibi(j,
       l7ibid
       1X1 -bjqj.
       Ik;jbjq1.
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 260 of 276




                Thc authorsconclutlethatthc t'       intlingsllave inlplication iI1ktcontainl-     nel'
                                                                                                      lt
                n1'1(1tllat&.to ctllltl-
                                       olthe palldeluic itI'niglltnotbeenough '     fbr01-   11)/person l'neastlres'h
                synllAtolns to lin'  lîttlleirco
                                                ntactwrith otllersbecause persollsvvithoutsy w-ith       s'
                translnitinfection-'-The atlthorsspecil'     ically statc, -kthese t'                 n-iptolns luiglèt
                i                                                                    illclillgstlnderscore tllc
                 ll-
                   lportance t)f-soeialdistancing in the public healtll
                      lclnic ineludillg thc avoiklanceofcongregat response to tlpe CON?ID -l9
                pal'!c      .                                           e settings-f'zt'

           27.-l-l-
                  le lack oi
                           '
                           -u'ide-spreacltesting,
                                                  transparcncy ancldala il' lconan- 1unitiesin tllc L;S
              allacrossthc Nvorlt!alloNved undet                                                          11-t41
                                                                                                         8'                                      .
                                                    ected spread in tlle colulntlnity asvvellas
              facilitiesand institutionstllatfueletlthecun-cntpantlelnie                          vvitllin
                                                                             .


          28,The screening lneasul-esdisctlssed i
             '
             wrilIcontinue to l-esultin the s
                                                  n the Castano Declal-atitln arc notsttt-
                                                                                         lieientand
                                             pread 0f'C-O-
                                                         k'lD-l9 atIoronle anclin the
                                                                                      cillnn-lLII)ity.
                 B.     f-
                         -o-horting atIkronze

         29.The f''astano Declaration discuss
            Declarationr ,'                  es the use of coholling at K rotue. Sec Castallo                    -
                     .
                          Il0mI2.c-.
              Ct  nllol4ing isKktllcpraetice ofisolatin
              cascstogetheras :            1group-
                                                                      g nlultip1e Ik1tA(31-2kttA1-y-ct)11t517A)etlC ()N?  'l17- l9
                                                      01-qual-antinil'g closecontactsofapal-ticularcas
              as :1group-'-'I-he C-E)C'-slntelilll(;'
                                          .                        ?(it
                                                                      lancc ('  )/?àlallag                                 c together
              20I9 f'    t'''f.lf'
                                 /J.             -
                                     )-/9)/31(');n-                                           t
                                                                                              n n cl l
                                                                                                     l'f
                                                                                                       ?/'C'o l-
                                                                                                               ol1f
                                                                                                                  l
                                                                                                                  '3 '
                                                                                                                     il-lt.
                                                                                                                          % J--lf-sct'fs'c
                          ltle'*)21at3. ltisf        t-c'//'t))?(?/aélcl/.)(.'
                                                                             z/tN1/iolt/7'f?(?//?
                                                                                                '?'
                                                                                                  j(zJ(the --lnterin)
                                                .
              Citliklal-                         nottl'  le sal-
                                                                           .

                                                                  ne asquarant!
                                                                                                     .
                                                                                    'neornAedicalisolation
             tlsetl(  -)11l( T'as:  )1:4stresol-t11)tllose --ctln-ectitpnillfaciIities            alld d           ,a  l-
                                                                                                                        ltlist()be
             l'lavc enough                                                                               etentiol'teentersk10 1.        14.
                                                                                                                                          )1
                                    'nt
                                    1  :
                                       i1Nr1
                                           '(1ualeells--fo1-t!uural'      1t1l)e (è1'1'
                                                                                      1-
                                                                                       1ctlie:t1istllati('11-
                                                                                                            1
             col'  tort1I' tg 1s                                                                             . Tlle Ilnlctice t't'
                                                                                                                 '
                                  ttailgerotïsi1.  1tl1atit:-1sks --tl':   âi.
                                                                             k
             i1,1l-
                  ectetlto tl'    tl'lse:.                                    slll1titi1'
                                                                                   .
                                                                                        lglt-(3k'lD-)9 i-
                                                                                            .                 1'
                                                                                                               ol'
                                                                                                                 lètlloseï'   tllt)al'    e
                                  .      vht):. 1re ttl'
                                                       tillfectecl. /t   ?.at l9       .


       3l.Tlle C'astano Declaration thattliscussesthe tlse ofcohol-ting (
          guitlallce i                                                      1irectly contradictsCDC      .
                        l'
                         lsevcralNvaysincluding. lnostcritically.that1û>E off-  icialsdescribe
          col-lol4ing'asthe plal-  lned respollse to 1.
                                                      )knouên C'ONJID-l9 exposure.
          lastresof'  t.                                                             nota practicc t7f
          iildivid Notably.IC E laasno plansto placcsuspeeted COVID-19 cases iT'            l
          thcil-(- u
                   $.all
                 1::     neclicalisolationinvvhieh--gelachisolatedindividualsllould be assiglled
                    .1-
                      1housing spaceand batllrool-
                         .                           nf'as recoluluendeclby C DC'
          Guidance at15.                                                          . Sec l
                                                                                        nterinA

      32.The C-astano Declaration statcsth
                                          at::238 fletainees''arc etlrrently cohtlllecl
          no indication thataeohorted                                                   tllereis                             .
                                      group
         reconxlnelldetlbyCDC (lcl- atl6)-orsvillbeperl
                                            '           nitteclto practice soeialdistancing as
                                              thatzteollorted group vvillbcprovided qfith
                                                                               .
         l'
          naskst()prcventtranslnission ()fCONTID -
                                                                               19 fld.at20).
      2''!N-'),
              c1if-
              -   fe E.ïNrei.tl'
                               t111.-IJl.
                                        çt.
                                          b..
                                            j.
                                             -
                                             l12;,:()lllfttt'
                                                            z'Fl-
                                                                fll?.$:?.?,l'.NsJ
       /tf 2()3f) hllps:''NNal'
                              qv.ctlc.gox-.n1I)1&4-                              '
                                                                                 o?lfz./S-
                                                                                        '..
                                                                                          L.RS-CC.IlLJ .Sitîg'fl .J)t
                                                                                                                    J3-
                                                                                                                      (-
                                                                                                                       ...
                                                                                                                         l
                                                                                                                         '
                                                                                                                         (llll(
                                                                                                                              t'
                                                                                                                               ll?'23-31t'
                                                                                                                                         (l'
                                                                                                                                           cll
                                                      r.'
                                                        !'oitllles:'6I
      -'C'entel' sforDisease (-'ontrol,llïteril'n Guidance:ol            l.'u'  l'
                                                                                 /lzu'
                                                                                     nf,914el.l1t)11(z
                                                                             lNlanagesucllloi
                                                                                                       4pr.1. .:
                                                                                                               20 2 (
                                                                                                                    -
                                                                                                                    .
                                                                                                                    ;1
      lt))i))C-orrectionalant   jDctentiollFacililies(hzlar.2,                                    -CortlllaN-
                                                                                                  '
                                                                                                            irusDiscase 24)19 (C(3VID-
                                                                              3-2020). llttps' -, h.l
                                                                                                    r
                                                                                                    .'
                                                                                                     $
                                                                                                     .s
                                                                                                      ru'
                                                                                                        -cd
                                                                                                          'c.gtAx'.coronav'irus/zl l19-
     Ilu-tlh'fdouzllloadsguitlïllce-cel-l  'ectitdllal-çletelTtitxlT-pdt-      .

                                                                        ti
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 261 of 276




       33.Finally,collol-ting in a selective lnanllerMritllouttlle ilnpleluentation ()fvvide-spreatl
          testing putsevel-yone atvery l'  ligl)risk o17contractillg alltlspreading CCINJID-I9-

                           SocialDistancing
       34.Tl'
            leC'astano Declaration tliscussesvarioussocialdistancing lneastu-
                                                                            es.The nxeasures
          detailed in thc Castano Deelaration are notsut'
                                                        -
                                                        l5ci
                                                         ' entto addresstheCO' V lD-l9
               pant
                  '
                  lelnic.
       35.The C-DC reeolnlllentlsthe tb'lloNving vvaysto protectoneself:socialdistancing
          (keeping atleast6 feelbetNveen persons).freqtlenthand vvitslzing wzitl)soap and Tvater
          1-
           01-lninilutun of20 secondsafterbcing in ptlblic placesoraftersncczing orcoughing,
          orbloNving onesnose-  ,use oflpand sanitizcrsyvith atlcast6Os. $alcolloiand avoid
          totlching unsvashed lèalldsto t7lle nosc.eyesand luotlth- Furthennore-the CDC-
          reconxlnends cleaning a1lsurfacesvvitl' lEPA-registel-ed disinl-
                                                                         ectantsthattypical1),
                                                                                             '
          coy!tain bleaeh oraleohol.:2

        36.lndivJ
                -dualasu,el1aspublishedaccountsby jourl:al1stsquestiontheeffbctivellcssof
               pul-
                  ported containnaentaylclTnitigation effol-
                                                           1sNvithin jai1s-prisonsanddetention
               ccntel-s. Shared facilities.-ûslltnblltlel--to-slltltklclel-'lseating tluring l'neals.standar(1
               dellsit)zand tlistallces betNN-ccl'
                                                 lbedsand buTlks11        -1sleeping qtlal-tersasvvellasshovvers
               al-
                 ld loiletsi)1congl-egate unitsal1suggestthatnlany routine pra             .ctikycshttvc not
               cl-
                 langetl111ligl'lttlftl'
                                       )ecun-en!l  '
                                                   layètlel'k)3
                                                              -tl-

        -
        1-/ (3ctent1ol-
         . .
                      ltrclèlers.j:t1
                                    'isantiprisolls.tieslliter
                                                             A-llatl'
                                                                    l'
                                                                     i1gièt13cct)ns1(1ered--s:
                                                                                             .
                                                                                             ).
                                                                                              fccapac11
                                                                                                      2y---
               are largely 1llcttlnablc ofestabl1sllil)g ti'
                                                           lerecon)l'
                                                                    llelltletllevels o1*sotl1itlti1stalltri11g that
               ls essentialtt)ln1tigate tllcspread oftllis(11sease.
               '




        38.Congregate se'ttil'
                             lgsal1tA!&.
                                       'fbrtl'
                                             le rapitlspreaclofilqfeclitltlsdisease.cspecially those
           passed by dropletsthrough eoklghing antlsneezing alltlalso colltactvvitl-   k
           contanainated surfaces. Sharcd dining hails-bathrtnolus,shoîverssconnl-non areas-
           sleeping quarters,and shared equiplncntsuch astelephones.al1prestuptopportunities
           tbrgreatertrallsl'n1ssion. And vvhile facil1ticsl'nightnotbe considcred -kovercroNvded''
           b)?standard criteria,nlany ofthese sharetlfaciIitiesin the generalpoptllation do not
           allourf0rthesafe soeialdistancing orregtllarhand hygienepractieesreeoluluended
               by publit:health expells-
        39.ln conclusion,tl-le C'DC guidelinesreqklire tlpat*Kcohol-ting'-shotlld 0n1y be thsed asa
           lastresol-t. There isno Nvay fbriluluigration tlctentiollfacilitiesto coluply Nvith C-DC
           guidclincs on socialdistancing and qtlarantining ulllessResponclentsrelease detained
           l'
            nen anklqvonnen on a largescale.MVhen release tkolu adetainetlsetting isan option
           and there islack oftesting ability and an inability to enèploy socialdistancing.itis
           l'
            ny professionalopinion thatfailktreto release tltlring theC%O%'  rID-l9 pandelnic isa


        22llttps:''u'u'
                      u'-cdc,g'(
                               Jv.
                                 '
                                 corollavints2019-l1ct3v'pl
                                                          vllare pl
                                                                  '
                                                                  eq'
                                                                    entiol:.l
                                                                            '
                                                                            ltlnl
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 262 of 276




             &'
              iolation of-the (-1
                                ()C.
                                  --gttidelincsand urilIrestllti!'
                                                                 1conti
             infection.                                                nued and B-ide-spread

        40.Tlle allall ysis tllat1provicle aboveregal-      tling screejqillg, tccojloj-tkjlg.-anr
           distallcillg jsnol.!I1e(.),.etfu-ak. Iu faet. t-
                                                                                                   .js oejaj
                                                          jley-eal-ea g.alyvjj.
                                                                              )g nuyutnej.(  ;j-j-
                                                                                                 jjq;jjjyye
           tl1roughou!the coui.   ltr),T,srhel-e tlpe fute of-f1)jkactfon fsgj-
                                                                              oNvjn                        ,s

           both people detained as u,ellasstaff. In tj-                              g exptxlentjajjy uulojygst
           thotlsands()j- eo                                    jesesettfjlgs. htllldl-
                                                                                      eds, and potentialJy
                           P p)e :viIIbeconle fnjycted- and n1any js,j!!(jfe yjyjs ksa (jjj-ectresult
           of11lhiItlreto ilnplenlentthe I-     ecolujuended pmenstll-esatan ea-
          pl-es.'elltillnessand save Iives. A 1l                                      I.l),enough t()stage to
                                                     -eady
          COk-ID - I9 intbctiollsaregl-ourîng atal)expone   , solue  Jca: ja
                                                                           -cjj
                                                                              j jjes t
                                                                                     .l
                                                                                      y(.?nuulyj  u-sof-q-  jetected
          rccognizethfskind ofexllonentialgrou,tllin detnt              iajraje. ay,t))e jipuy
                                                                       ected cascs i!T:          .
                                                                                                 y jujz jjjtfes
          Thel-efbre, illdfvîtltlalsshould be released fi-                               $.
                                                                                          ,il
                                                                                            l alz-
                                                                                                 e ady    y:  too Iate.
                                                                 olu detentfon. '
       4 l-Itshoultlalso be understood thatnllindividualsaresuspectable to infection
            serious Iife-tllreatening coluplicationsthatcanl-estt)tin death                  and
                                                                             . As i
                                                                                  sstated above- Ialn
           1.1treating plzysician atMveillCornelI
           palldelllic 1llavebeen a                  and sineethe beginning ofthc CO'   NJID-l9     .


           treating patients. 1l-      cti
                                         vely i
                                              nvol  ved i
                                                        n  otk
                                                             r hospi t
                                                                     al'
                                                                       s respons e antlin directly
           yotlng antldid not     lat-
                                     e personally treated patients l-
                                 have any pre-existillg nledienlconditions, h/lany ofvi
                                                                    nany ofthes e i
                                                                                  ndi   dualsare
                                                                         -


           ctlrrentl                                                                   the patientsare
                     y inoktrlntensiveCareUnit(ICTU)in respil'iltory'failurealld on lifk stlppol-t
                                                                                                                 .

        Ikleclareunderpenaltyofl      nel-iurl'untlcrthe1asvsoftlletjnited States()1-Alz
                                                                                       nerica thattllt'
        foregoing istrtlc al3d correct, bascf.lon 13-k,/                                              t
                                                        personalknosvledge. Executed in N evvs't'1
                                                                                                 rk
        N 5.
           *(,17A pl-il 2()2('     ).                                                               .

             .. A
                Q
             , ? . . ..
             t  g'
                 v.7  .
                       e..
                           z
                     .-
                                       ......-      -..-.
       .fose ' !Sl1iI'
                     l-hdD- i  vlSc
      AssistantProIkssor0fh/ledicine
      qvei11C-onlclls'     '
                           le(licinc
                           .

      D ivzisi011of1-Iospita1NleclieiI1e
      525 E.68thST Box 331
      N'ew'seork'e N5'l0065
      2l2-746-407l
     -1 0s9223/1kjlned-conlell-edu
                 .
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 263 of 276




                     E X H IB IT C
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 264 of 276
 I' -N.
      ,-k,.. J
             ;
             -.7;*
               ' tie
                   -
                   .v-*
                      7,!.7
                          .a-I
                             .C,
                               u7-%.
                                   %
                                   K
                                   kYhf.
                                       Nz
                                        -*
                                         h.
                                          #  o..vly
                                                  w#)&-.)
                                                        '
                                                        1+L'
                                                           ?
                                                           L-'
                                                             0a
  S.-ACI.QNC .
             I.=--ky  u .
                        1     0,   ,
                                   '.  A.,. Dk ut '        ,
                                                           .




                                            Declaration ofD r.Pedro J.Greer,Jn
                  1,Dr.Pedro J.Greer,Jr.,m aketbe following declaration based on m y petsonal
       H owledgeanddeclarelmderthepenaltyofperjurypursuantto28U.S.C.j1746thatthe
        follow ing istrue and correct:

             1.       BackgroundandQllzlilcations
                       M ypapeisPe&oJ.Greer,ProfessofofM edicine,FotmdihgChairofHumaaities,
                       H8a1th,and Socizty andAsiociateDeànforCommunityEngagem entétFlorida
                       hternadpnalUniversityHerbertW çrtheim UollegeofM edicine(FI'  U HW COM)in
                       M inmi,Florida.O oughoutmycareer,Ihavebeenazladvocatefoihealthequityby
                                      unitiestocreateeffectiveheali andsocialpollciesarldaccessible
                       engaging comm
                       health caresystem s.
                       Ihaveworkedforthepast36yearsasaphysiciu ,frckm ResidenttèInternist,
                       GastrùenterologisiandHepatplogis't,Depa- entChèirandAssoiiateDean.
                       V ybio,attachedàsExhibitA,includesabriefdescription ofiny eduèation and
                     relevu texperienqe.
                   4 M y C.V.includes>futllistofmyhonors,experience,andpublications,and itis
                        attached asExhibitB.
                                                                          '
                        Iam donating my tl.m er eviewing m atedalsand prdpnring thisreport.Any live
                        testim ony Iprovidew illalso beprovidedrro bono.
                    6. 1have testised asan expertattrialorby deposifon in thepastfouryears,in a federal
                       case involvinghom el:sssex offenders.
                    7. Itism y undetstanding thatim m igration detaineesin South Flodda arecurrently held
                         atthreefacilitiej,GladesCountyDetentionCenter(GladeslsKromeService
                         ProcessigCenter(Krome),aid BrowardTransitbnalCenter(BTC).Gladesi.  sa
                         couutyjail,whichhousesimmigrationdçtaineespursuanttoaninter-governmental
                         serdceapeementw1t11lmmipationandCustomsEnforcement(ICE).Kromeis
                         owned by ICE,although daily operafonsareconkacted outto aprivatecom pany,
                         AkimaGlobalServices.BTC isaprivatefacility operatedbythcGEO poup ptlrsuant
                         toanICE contract.Thesefacilifesaregenerallyirdistinguishable9om olerjails
                          ançlprisons.




                                                                  1
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 265 of 276
    Case -
         ,
         1:20-cv-2'tSN
          .          wQ
                      --X,
                         XX')( Doculm
                          -.        . eylt 1..3 Ek
                                                 ntered on FLSD Dl
                                                                  cket04/'-
                                                                          *:3/'
                                                                              2020 Page 2 of28


              II.        H eightened Risk ofEpidemicsin Detention Centers,Jailsand Prisons

                        As1willdiscussbelow , the risk posed by infecdousdiseasesin lm migration
                        detention centers,jailsandprisons(togetherE   çdetentionfacitiées'')issignilcantly
                        higherthan i'athecornm zznity, '
                                                       both in term sofm lzltiplerisksoftansm ission and
                        exposureto individualswho becom e infected.
                         Globatly,outbrenkqofcontagiousdiseasesarea11too com m on iu closed detention
                         seftingsand are m ore com mon th= in the com mlmity
                        faciliuesare notisolated 9om com nmnities             atlarge.D dention centers
                                                                   . Staf
                                                                        t  vis
                                                                             ltors,co'nlactors, and vendors
                        passbetween c
                        facilities     om ml m  i
                                                tiesand f
                                                        aci
                                                          life sand  can bring infectiou!discasesiuto
                                .   Moreover,tuinoverofjailanddetendoncenterpopulationsmeansthat
                        people8ften cyclebetween facilitiesand com mlmities
                        t                                                     . Peopl
                                                                                    e often need to be
                        beaa
                           ns
                            ltpo
                              h ir
                                 jtpù
                                   edbl
                                      toiu dfz'ol f>cilitiesioattend courtandmovebétweenfacilities.Prison
                                         chealth.
                10.Conp
                    di egatesettingssuch asdetention faciliéesallow forrapid spread ofinfectious
                   thseasesthatarekansmitted person toperson, especially thosepassed by dm plets
                     rough coughing and sneezing W hen pçoplem ustshare dining halls
                   showèrs# and oihercommon are.as                                        , bao ooms
                                                       ,the opporflm itiesfortnnqm ission ar e greater. ,
                   W heninfecéousdiseasesaretansmittedâom persont
                   iaitialst                                                operson by droplets,tlle best
                   ofan oprategy isto pracéce socialdistnncing. W hen detxined, peoplelmvem uch less
                  com numport
                            ity.tm ity to protectthem selvesby socialdisàtming tha
                                 Spaceswithin detention faciliéesaze often alsopo a they would iu the
                  prom otesbigbly efficientspread ofdiseasestk ough droplet orly vendlated,which
                  such                                                          s.Placing som eone in
                  b a setting therefore dram atically reducestbeirability to protectthem selvesfrom
                                                                         .
                    eing exposed to and acquiring infectiousdiseases.

               11.Dur
                  h ing atll'nfecdousdisease outbrtako people canprotectthem selvesby w ashing
                    ands.Detention faciliéesdo notprovideadequate o
                  necessary hygienem easures                          pportlm itiesto exercise
                                             , such asFequenthandwashi     ng oruse ofalcohol-based
                  sanitizerswhen handw ashing   istmavailable. Detention facilidesare oRen lm der
                  resourced and im equipped with suo cienthand soap aad alcohol-based sanidzers  - for
                  people detained in and working in these settings
                    lightswitches,                              Hil -touchsurfaces(doorknobs,
                                                                     .
                                   etc.
                                      )shouldalsobecleanedaaddisinfectedregalarlywithbleachto
                    preventvirttsspread;buttllisisoftennotdoneinjailsandprisonsbecauseofalack of
                    clenning suppliesand lack ofpeople availableto perform necessary clenning
                    .


                    procedures.


              12.De
                 ditention facilitiesare often poorly equipped to diagnose and m anage infectious
                   sease outbrenkx.Som elack onsitem edicalfacilitiesor24-hourm edicalcare
                 me
                 t
                    dicalfacilitiesatjailsanddetentioncenters are almostneversllfficiently equi. The
                                                                                                 pped
                  o handle large outbrenkqofinfectious diseases. To preventkansmission ofdroplet
                 borneinfecdousdiseases, peoplewho are infected and il1need to beisolated in -
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 266 of 276
                                                                 %'tnte.re-Clt
                                                                             nz,k-
                                                                                 )I. :-.wl
                                                                                   U.;c L- tU,lt-J
                                                                                                 .wc'.lq
                                                                                                       re
                                                                                                        z
                                                                                                        '-
                                                                                                        -'
                                                                                                         I   kx0.
                                                                                                         -O4/J   J='
                                                                                                                :, -0.9
                                                                                                                   )  .ut.
                                                                                                                        S1 ,(-Sîsx4l-â;%1ï..--..,b.v''u-''Ihj(42jZ1 #z*..Y-r-M#,.'4)
                                                                                                                                                    .
u,
O.&-r
    o wo j
    -wr  -'.'.
             =
             ,
             ).
              t
              -
              e
              gz-ob
               '
               !  ',-z
                     9-.
                       a'.1
                       1  .
                          7pu.
                           :1  o
                               )-2k
                            21'.
                               ' N..
                                   Zr.'
                                  'N  zk-*
                                      ha Ar D ucàcun.
                                                    -
                                                    l.
                                                     .:
                                                      ?
                                                      -l
                                                       ntœ-i-=Q h-


                         specialized airbornenegativepressureroom s.M ostdetention facilitieshavefew
                         negativepressureroom sifany,and these m ay be already in use by peoplewit.h othez
                         conditions(hcludingtuberculosisorinfluenza).Resourceswillbecomeexhausted
                         rapidly and any bedsavailablewillsoon be atcapacity.n ismakesboth contnining
                         the illnessand cnring forthoseWho havebecom eiafected m uch moredifâcult.

                    13.D etent.
                              ion faciliieslack accessto vitalcomm llnity resourcesto diagnose and m anage
                       infectiousdiseases.D etenéon facilitiesdo nothave accessto com munity health
                       resourcesthatcan becm cialin identz  'fyingand m anaging widespread outbrenlcqof
                       infectiousdiseases.Thisincludesaccessto testingequipment,laboratodes,and
                          m edicadons.
                     14.Detentionfacilitiesoftenneedtorelyonoutsidefacitities(hospitals,emergency
                        depnrtments)toprovideintensivemedicalcaregiventhattllelevelofcaretheycan
                          providein the facility itselfistypically relaévely lim ited.Dllring an epidemic,this
                          willnotbe possible,asthose outsidefacilitieswilllikely beatorovercapacity
                         i emselves.
                      15.Asalloutbreak spreadsdetention facitiéesandcommllnides,medicalpersonnel
                         becom e sick and do notshow up to work.Absenteeism m eaastbatfacilitiescan
                         becom eHnngerously lm derstafeclw ith healthcareproviders.Thisincreasesanllrnber
                         ofrisksand can dram atically reducethelevelofcareprovided.A shealth system s
                         inside facilitiesm'etaxed,peoplewith chronictm derlyl g physicalacd m enàlhealth
                         conditionsand sedousm edicalneedsm ay notbeabletoreceivethe care they need
                         forthese conditions.Assupply chainsbecom edisrtzpted dlznn' g a globalpandem ic,
                         the availability ofm edich esand food may be lim ited.

                       16.These rijkshave al1been borneoutdllrihg pastepidemics in detehtion facilities.ln
                              2019 amlzmpsoutbreak across57 U.S.imrnigraton detention facilitiesresulted i.
                                                                                                          n
                              almost 900 infections inside the facilidesl before sprending to surrolm dirtg,            -           -'          '


                          .
                              comnulnities.zTmmigrationfaciliéeshavebeensitesofotheroutbreaksinjustthepast
                              .



                              coupICyearS-3                          '

                                                          theField:MNF/T'
                                                                        Vin DetentionFacilitiesthatHouseDetained
            1 Leung J  El
                        s on D   Sa
                                  nders K.etal.Notes.#-
                                                      tl
                                                       ??
                                                        J
            Migrants-unitedstates,s'
                     #         >    eptemberzol8-xugustzolg,        MorbMortalWkly,749-50(Aug.30,2019),
            https:                .cdc.gov1m< #ol11mes58*r#Xs1m6834a4-H.pX                                          .
            2 SerTerreaceMcDonal; Bergen Ctxfnfy lFbn'ts'
                                                        (z
                                                         .pf Mumpsœ tbreakAfectst?nl# ImmigrantDctaineeh
            Northjersey.com (Jun.13, 2019),https:/m .noe T
                                                         'ersev.coe stow/news+eraeK 019/06:3/bereen-colmw-ni-
             wont-sav-l-l
                        'aG-mmnos-outbreA -hit-olv-ice-l
                                                       'nmateslM 8;08001.lnaddiéon,ixl2019,thousandsofindividualsin
             39 immiration detention centersactossthecountr.ywereexposed to chickenpox.SeeEmmaOckerman,Migrant
             Detention Centers Are Getting Slamnted with Mumps and Chickenpox, Vice News (Jtm. 14, 2020),
             httms:
                  /wwwM ce.com/en us/m icl&mb8lö n/mir= t-detenkon-centers-re-teY'nc-slamm ed-e th-mumos-and-

             c
             3hich
               (Rkr
                  ei
                   n-pox.
                   qti
                     naPotter,Outbreak Obsenratory supran.34,(describing outbreaksofamzterespiratory illnesseslike
             lnfluenzavandotherdiseaseslikescabiesaadchickenpox).
                                                                                        3
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 267 of 276
      '


      C#aSe 1.
             w20-1v-2.I.G-.53-XX )x''
                                    XI Docum ent-0-3 Eritered on FLSD Dot2
                                                                          'fet04/13/2020 Page 4 (7f28
                                                                          p                 .




                    17.ln 2012, the CDC reported alloutbreak ofi
                       M aàe,resulting in two inm atedeaths.4Subs nfluenzain N o correctionalfacilitiesin
                                                                    equentCDC investigati
                       and 235 staffm em bersacrossthe2 f                                     on of995 inm ates
                       influenzavaccheandardviraldrugsaf   cilitiesdiscoveredinsul cientsuppliesof
                                                            ortrea% entofptoplewho we
                       prophylaxisforpeoplewho were                                           re111and
                                                       expos ed, Dl lri
                                                                      ng theH lN
                       2009(1œ0% asthextswitlef1u''), jailsandpzisonsexperiences l
                                                                                    dtza'
                                                                                        ai
                                                                                         dnisSu
                                                                                             prooutbtreaki!l
                                                                                  -


                       high nxlmberofcases.sEven faciEtieson ttquara                            por  ionately
                      intakes, rendeling thequaraatine Zcomplet ntine''contkmed to acceptnew
                      case''ofinfluenza, aviralitdbcûonforwhice.    These scenadosoccurred in the çç
                                                                  htherewa
                                                                                                        best
                      vaccine and anévh'alm edi                             san effective and available
                      neitber.                 cations,unlike COV1D -19, forwhich there iscurrently

             m .      ProfdeofC OVD -19 asan InfectiousDisease6
                  18.Thenovelcoronavirus oo cially lclèwn as SARS
                                        ,
                     COW D-19. 'l'hevh'
                                      usisthoughtto pagsfrom
                                                                 -
                                                                   COV-Z,causesadisease known as
                     respiratorydroplets(bycoughi                 persontopersgnprimarilythrough
                     surfacesPeopleseem tobem on
                                 .               sg
                                                  taor
                                                     bls
                                                       ene
                                                         toetzing)butmayalsosurviveoni  nnnimate
                      sickestbutrecentdataâom Cbina h            rnnqm itthevirusto others when they are
                      occuis9om asym ptom aéc h dividualsb onstated thatalm osf13% offm nsmission
                                                           as dem
                      possiblethattnnqm ission can occurf efore they startto show symptom s, and itis
                      Cbina,where COW D - 19 originàted orweek.     saftertheizsym ptom sresolve.;ln
                     to 2-3 oi erpeople;lo sm ission a      t
                                                            he aver age infectedperson passed the virtlson
                     vinzsvery eo cientatbeing t occurred ata distance of3-6 fed ,N otonly isthe
                     infection because ourimrnunransnnr 'tted through œ oplets, everyoneisatrisk of
                                                 e system shaveneverbeen exposedto ord
                     protectiveresponsesagaz stthisvinls. A vaccine iscurrently in developm  eveloped
                    likely notbe ableforoveraye                                                 entbutw ill
                    currently in testing butnotyeta
                             .
                                                    rto the generalpublic. Antiviralm edicationsare
                                                  FDA         -
                    likely hav                            appm yed.People in detention facilitieswill
                              e even lessaccessto thesenovelhealth strategiesasth
                                            .
                                                                                     ey becom e available.
               19.Mostpeople(80% Whobecomeinfededw'
                                                  ithCOV1D
                   respiratoryO ectionbutemergingdataâom Chinasugge
                                                                  19stwi
                                                                      ssl
                                                                        lddevelopaznildupper
                                                                        e
                                                                                   -


                                                                           ousiM essoccttrsin


      4InjluccaOutbreaksatFwoCorrectionalFacilities- M aine                            .

      Prevenion(2012),he s://m cdc                         , M arch 2011, CentersforDiseaseControland
      5David- M .Reutter, S'      .Rov/mm- /preWew/mmwrhe
                                     .
                                                                        mm 6l13a3.h% .
                           wineFIu VidespreadinPrison
      2010),he s://- .odso/eMahews.orA ews/zolo/fs         andlails,butDctzl/l.çareFc'w,Pt
                                                         eb/ls/- le-su-q4despread-in-pdsi    sonLegalNews(Feb. 15,
      are-few/.                                                                             oc - O d-l
                                                                                                     'ails-btlt-dO ths-
      6Tbiswholesection drawsâom BroksJ
                                           . Gl obalEpidemioior andPreventionofCOW D 19 COVD -IO
      Symposium Conference(m Ret
                                   rovirustsand OpportlmisticInfectio                           ,
      Coronavirus(COVm -19), CehtersforDiseaseControl                  ns(CR01),vinzal(March10, 2020);
     BrentGibson, COVm -19(Coronavi                         he s:/
                                                                 /-
                                       rusl:Fr       tm Ne,edtoXn/w in.cC/r
                                               /ltzfIr                   dc.Rov/coronavl
                                                                            recf/onâ'
                                                                                        'nlA/zolg-r ov/index.hM l'
     CorrectionalHeal? Care(February28,                                             , NationalCommissionon v
     know-îm coneotions                   2020),hes://- .      ncchc.orcYlofcodd-lg-coronae s-what-vou-need-to-
     ?DuZ7Xu X,W u Y.   1W a ngL, Cowli
     confrmed cases. Em ergInfectDis. ngBJ5   .AncelVeyersL. Serialittew alofCOW D-19 am on'        gpublicly reported
                                      2020JunLdatecitedj. l1* s://doi.ore/lO.3201/ei& 6û6
                                                            4                               .200357
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 268 of 276
                              D oL-*
                                   el
                                    <f
                                     .rcent
                                         zu-
                                           1-Q
                                             w F.
                                                -ntel
                                               ..   -e'a'c''
                                                           .nfr:
                                                              #1
                                                               .-Sr
                                                                  .7
                                                                  i''
                                                                   .1-,/
                                                                     L h'
                                                                        J
                                                                        azf
                                                                        .
                                                                        w x
                                                                          zk
                                                                          k
                                                                          .:-
                                                                            .etLjâ,
                                                                                  l1
                                                                                   =.e
                                                                                     '?r
                                                                                     01 '''
                                                                                       Zt Dh.
                                                                                            2
                                                                                            -
                                                                                            -.f
                                                                                            4 u)
                                                                                               1P
                                                                                               . CD'
                                                                                                   nae s
                                                                                                   GV  rnb
                                                                                                         -t
                                                                                                          -'
                                                                                                           L-
                                                                                                            ).O
                                                                                                              V.
                                                                                                               I
Cao  r-J
       '
   e 1-..
  -,
         O-(
           -
           .%/
             -'J
               -,
                17:
                  1-'
                    Q X%J%'
                          ''
                           %
        - w> =-os7w-- zuzkzk'             '




                    up to 16% ofcases,h cluding deatlk'Seriousilh essand death ism ostCOnMnOn
                    am ong peoplewith Im derlying chronichealth conditions,likeheartdisease,llmg
                    disease,liverdisease,and diabetes,and olderage.9Am ong thoseindividuals,therisk
                    ofpooroutcomes,includedtheneedformeche calintervendon isover20% .Deatà
                    in COW D-19 infection isusually due to pneumonia,and sepsis,and would occur
                    between approxim ately 1-4% ofthepopulation.'   rhe em ergenceofC0W D -19 d'lring
                     influenzm season m eansthatpeople are also atrisk from seriottsl
                                                                                    'llness and death due
                     toird uenza,especially when they havenotreceived theinfluenza vaccine orthe
                    pneum oniavacckz .
                                                                    cOV1I%19dependsonhow seriouslythey
              20.n e care.ofpeoplewho areinfected with
                 areil1.10Peoplew 1t.
                                    11znild sm ptom sm ay notrequirehospitalization butm ay
                 continueto beclosely m onitored athom e.Peoplewitb m oderate sym ptom sm ay
                 requirehospitalivmtion for supportivecare,including intavenousfuidsand
                 supplem entaloxygen.Peoplewitb severe symptom sm ay requirevenélaéon and
                 inkavenousantibiotics.Public health oo cialsanticipatethathospitalsettingswill
                 likely be ovenvhelm ed and beyond capacity to providethistypeofintensivecare as
                  COV& -19 becomesm orewidespread in comnumities.
                                                            localhealth System s,aggressive contminm ent
               21.1.11orderto preventoverwhelmimg the
                  and C0W D -19 prevention isofue ostimportance.To thisend,m eststates,
                  including Floridw havem andated COV1D -19prevention skategies,such asçKshelter
                  in place''orGGst' zy athom e''orders,which havegonebeyond contninm entand
                   mitigation.Detention facilitiesalready have difficulty w 1t.11containm entbecause it
                   requiresl tensivehand w ashing pracéces,deconom ination and agp essive clenning
                   ofsurfaces,and identz   'fying and isolae g peoplewho arei11orwho have had contact
                   with peoplèwho are ill,including the useofpersonalprotecfveequipm ent.
                    However,even with these efforts,itisimpossiblefordetention facilitiesto provide
                    the au osphere oftçshelterin place''or'Kstay athom e''socialdistnncing,given the
                    nnmberofindividualsthatw ork in and arehoused in tbesefacilitiesin the current
                     system .'I'hetim e to actisnow.Da> 9om othersettingsdem onstatewhathappens
                     when ddention facilitiesare lmprepared forCOVD -19.Newsoutletsreported that
                     lrantempormily released70,000pdsonerswhenCOW D-19startedtosweepits

                          facilities.li
        8CoronavirusDisease2019(COVm -19):s'             ifl
                                                           zcfforlSm mary,CentersforDiseaseandPrevention(March14,
        2
        u020t),
         pda  eh
               s/c  s:
                     //-arv.h.
                 sllmna      tcdc?.e
                              ml   oovc
                                      /co.AtoAnareeN s
                                                     /z=h%
                                                     al olg-n
                                                            sc ok/cadeE%2F-
                                                             %3A%2    s-    ..cdc.aov%2Fcoronae s%2F2019-
         9Cl
         nc in
           ov /ic
              t  zaFlsl
                   l  clourseanhd%rilç.ky
                        mmaw-            .a
                                          -ctorsjm plorftzlffyofadultinpatientswithCOk1D-19inFh/ltzm.China:arcrrox     pccfive
                        p,'rheEancel(publishedonh'neMax'        oh11,2020),
         h
         ceho
         1o
          0Cosri
               //
               t
               r -
                o,</?z# .
                  naviri
                      .
                          useDi
                             lMc
                               vce
                                 tzt
                                   a.c
                                     eo2e01l
                                           '
                                           9ol
                                             lma
                                             (COVlsian1
                                                   1D-c9
                                                       e)
                                                        F:aIic
                                                             ntel
                                                                rei
                                                                  /Hs
                                                                  m Cl01
                                                                      ini4
                                                                         c0-6
                                                                          al 73i
                                                                            Gu 6d4
                                                                                 a1n0c
                                                                                     130o
                                                                                      ef5r
                                                                                         6613/
                                                                                          Ma nMag1
                                                                                                 te
                                                                                                 e xtntofpatientswithConsrmed
                                                                                                  me
         CbmamzïrlzçDisem e,CentersforDiseaseContolaudPrevention(March7,2002),
         bttns:/www.cdc.zov/coronavirusz Olg-ncovicn/cllical-m 'dance-ln=azement-paéenl.hM l.
         11Irantemporaril
                        kreleoes70,oooprisonerstz  .
                                                   çcoronavirustw e, vsurge,Reuters(March9,2020),
               www. l'euters.coY alicle/us-health-coronae s-H iH n-tempore lv-releases-7oooo-pdsoners-as-
         htl
           asl/ -
         ooronaviM -cases-sklrce-idusu NzoW lEs.
                                                              5
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 269 of 276
      Case 1'
            .20-c'
                 .3-2l553-XXXX Doc
                                  um entl-3 Entereclon FLSD Dclct
                                                                ,çet04/2.
                                                                        3/2020 Page 6 of28



              IV . Rlsk ofCO Vm - 19 atGlades
                                             , K rom e,and BTC

                 22.1n prepnring tlzisrepo
                                      rtlhaverevieweddeclaraéohsofindividualsdetainedat
                     Gladcs, KromeandBTC .


                 23.Based on m y review oftherelevantliterature
                    iudividualsdeuined atGlades Krom e aads '  ,and m y review ofthedeclarationsof
                                                  ,            rc jtj
                     SouthFlorida'sinamj 'grauonde  tenu                 y  smyprofessionaljudm entthat
                    preventand m anage acovm                o n  cent
                                                                    e rsar
                                                                         etmder-equypedaudjgpx pared to
                                                                                                -

                    detained iudividuals detenti l:outbreak wuchwouldzesultin severeharm to
                                                   -



                    forthisconclusionaledetailoendcaesnftoelrlosw
                                                              .
                                                                tas
                                                                  ft aadtzeyroaderqommuais a :xasons
                                                                                            .



               24.Detaineesatal1three fa
                    G ladesand Krom e repoc
                                          ritl
                                             ihtiesareheld# dormitorpstylecellsor room s Plainfiffsat
                                             t
                    and in m any casesfarm oret ahti ereare atleast65 ini viduals shnring a l.iving unit
                    afew feetof(listancebetweenrmthe  thatlrlmber. DeGineessleep on bnnk bed
                                                       m. BTC                                    swithjust
                   rooms.Fnrtber,plahtiffsreportthattAt   h        , ahandf ttlofdetah eesshare small
                   whilethey takem ealssinceVbl             ey are forced to eii ersitcloseto one another
                                                    es and
                   linetogei erform eals. Given thislayou   chairsare ft
                                                                       -xed to the Soororforced to waitin
                                                             tandcrowd
                  individualsarehel; itisimpossibletoprovidean enevi       denvironmentinwhich
                  distancingcantakeplace depriving individualsofbei ronmentwheresùcial
                  importantCD c-recomm e,nded m easuresto protecttheng     m ableto use one ofthem ost
                                                                              selves.
              25.Even beforetheCOVID- 19 crisis
                                      .

                 waitseveraldaysto have acce , detainôesata1lthreefacilitiesreported having to
                 Glades,forexample, hasonly ss      to a m edicaldoctorforserious
                                                  one doctorwho c                    m edicalconcem s.lz
                 Nowswith the threatcifthevi                        o mes in o nly f
                                                                                   om  daysaweek.l3
                whetberthem edicalAlnitsat rus'm readthroug,h thejai        lpopulation, ltisllnlikely
                tmderlying chronicconditions  any ofthe three facilitiesisequipped to addressboth
                                                 ofindividualsatd apotentialoutbreak ofCOW D
                inthejail.                                                                           -19
             26.Fothdividualsinthesef
                whileefectivelykappedac
                                      cain
                                         litii
                                             tes,the expedence ofan epidemicandthelack ofcare
                detenéon.                     selfbelaum ntizing, compotm ding the tralxm a of

            27.'I'heneglectofh dividualswith acutepai
                ckcum stancesisalso skongly indicativen      and serioushealth needslmderordinary
                                                           thattlle faciliti
                idenéfy, m onitor,and treata COW D -                       eswillbeill-equipped to
                oftheirsedousm edicalcondif             19 epidem ic. Detnineeshaveatested to neglect
               thatwhen tlle m edical'lnit ons even tm dertypicalcircum qtances.l4Itislmlikely
                                              saresiainedlmth duetopotentialtmderstaY ng or
    12Southem Pove1$ Law Ce
    FloridaDaentionFacf/ïff nEr& Ameécansforlm mja tJlz    si(29Prison#yXn
                          e.
                           ç                                                .y Ot
                                                                                herName:.4ReportonSouth
    h>s://www.splcenbrois  i:t'
                              D
                              s/e
                                decefm be9,2019),
                                     aul/ft
                                          '
                                          ès/o'
                                              rfb detnio
    lg.1vv
        a.                                 '           n ep ofinal1.p df
    14u .
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 270 of 276
  C RSe .
        jw-o
           z.0-Cks-z
                   v
                   7..
                   - 4
                     z-r a
                       w,u:o
                         .za
                           .k-X
                              xr
                               -,
                                yz.2
                                   x'
                                    cz
                                    k'
                                     wx
                                      ' j
                                        o.u
                                        - ,
                                          -.,
                                            --
                                           $'
                                            w,w
                                              j!.
                                                q'a
                                                  te1
                                                    .-!
                                                      ':
                                                       a.-
                                                         j-3 L.
                                                             '.
                                                              -'k
                                                                mk
                                                                 lue
                                                                   .l
                                                                    ,-p
                                                                      -o
                                                                       ='(
                                                                         -
                                                                         -1-1-
                                                                         J
                                                                         .   >-L
                                                                               7o
                                                                                Q'
                                                                                 *L
                                                                                  -)-.
                                                                                    L' '
                                                                                       x,
                                                                                     1O(
                                                                                       -
                                                                                       .kfrzR
                                                                                        ,sw -0.
                                                                                            t 4/.
                                                                                              -.' e
                                                                                                  Jz
                                                                                                l.a
                                                                                                  -./z
                                                                                                     OuU
                                                                                                       'Xu.
                                                                                                         'e
                                                                                                          -
                                                                                                          'u
                                                                                                           f.
                                                                                                            1'D'
                                                                                                               -I
                                                                                                               S
                                                                                                               o ->
                                                                                                                 u
                                                                                                                 g.f2 7
                                                                                                                      -!nf
                                                                                                                        w %.
                                                                                                                         ,.
                                                                                                                          d'Q
                                                                                                                           -''
                                                                                                                            Y-
  w




                     additionalburden 9om potentialCOW D -19patientsthatthey willbeable to provide
                     the carenecesgary forthosew ith m edicalneedscaused by conditionsol erthan
                     COV1D-19.

                        The Practice ofCohorting
                 28.In preparatibn ofthisD eclaration,1havebeen provided with the Declaration ofLiana
                        J.Case o,dàtedApril8,2020CcastanoDeclaraéon').
                 29.The Castano D eclaration discusses tbe use of cohortm
                                                                        ' g at Krom e. See Castano
                        Dçclaration,!10,12.c..
                 30 Cohoe.ng isK(thepracticeofisolatingm uliplelaboratorp conGrmedCOW D-19
                    .
                        casestogetherasar oup,orquarantining closecontactsofaparticularcase together
                        asagroup.''n eCDC'SInterim Ozf#caceonManagementofcoronaviruaDisease
                        2019(COV1D-19)in CorrectionalandDetentionFacilities(theRlnterim
                        Guidance'llsat3.Itisnotthesameasquarantineormedicalisolaéon,andistobe
                        used only asa lastresortin those tçcorrecuonalfacilitiesand detention centers do not
                        haveenough irdividualcells''forquarantineorm edicalisolafon.Thepractice of
                        cohortmgisdangerousinthatitdskstçtranqznitgtiny)C0Vm 219from thosewhoare
                        infected to thosewho are tm infected.''Id.at19.
                 31.TheCastano D eclaration thatdiscussestheuse ofcohortingdirectly contadictsCD C
                    guidnnce in severalw aysincluding,m ostcriticatly,thatlCE oo cialsdescribe
                    cohorting astheplnnned responseto aknown COVlD -19 exposure,notapractice of
                    lastresort.N otably,1CE hasno plansto place suspected C0W D -19 casesin
                        individualmedicalisolationillwhichçtgelachisolatedindividualshouldbeassigned
                        thei.
                            rown housing space and bathroom ''asrecom m ended by CD C.SeeInterim
                        Gtkidnnce at 15.
                 32.The Cast= o D eclaration sttesthatç:238 detah ees''arecurrently cohorted.there is
                    no indication thata cohorted poup willbeperrnitted to practice socialdistnnclg as
                        recommendedbyCDC (f#.at1O,orthatacohortedg' roupwillbeprovidedwith
                        maskstopreventtransmissionofCOW D-19(f#.at20).
                 33.Finally,cohorting in a selectivem annerwithouttheim plem entation ofwide-spread
                    testingputeveryone atvery high risk ofconkacting and spreadîng COVID-19.

                        VI.        Conclusion
                  34.ln conclusion,the CDC guidelinesrequirethatticohorting''should only beused asa
                     lastresort. There isno way forimm ip ation detention facititiesto comply with CDC

          15CentersforDiseaseControl,Interim GuidanceonManagementofCoronavirusDisease2019(COW D-19)in
          CorreotionalandDeten*onFacilides(Mar.23,2020),ho s://- .cdc.
                                                                     gov/coronae s/zolg-
          noov/doe oads/o dnnce-coaecéonal-detenéon. pv
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 271 of 276
   C@
    'ase 1*2Ow
             z-ekz-2i
             e      ''5
                      .5r
                      v o'-)()tK
                               )('
                                 XN Docut
                                        -f).
                                           '
                                           ::
                                            .13t1-O
                                                  o 2
                                                    '-l
                                                     7.n:el'
                                                           e.
                                                            u'o.'
                                                                iFLSD Docket
                                                                           uf
                                                                            kM /1
                                                                                wQ
                                                                                 u'
                                                                                  l/
                                                                                   sm
                                                                                    d'
                                                                                     -09O
                                           .
                                                                             ?.t      wê
                                                                                       -. '
                                                                                          DaC'e 8 o;F2Cr7
                                                                                            .)
                                                                                                        3


                   guidelleson social
                   m en and wom en distnncing and quaranfining unlessRespondentsrelease detained
                   and the            on alargescale.W hen release 9om a detained sefting isan o ion
                            re islack oftesting ability aad an inability to employ socialdistancing,ptitis
                  my professionalopinion thatfailm eto release dnring theCOVD - 19 pandem ic isa
                  vi
                  i olation ofthe CDC guidee esaad willresultin continued and widecspread
                  fnf ecéon. Continued aad wide-spread infection willnotonl occurin the detention
                    acilitiesbutalso in thecomm lmity. Health itldetention facy    itiéesiscomm lm ity
                  he
                  f   alth. Pro t
                                ecting tl
                                        le heal
                                              th of  indivi
                                                          d uals who  are ,detained in and work in these
                    aciliéesisvitalto protecting thehealth ofthesvidercom m lm ity.

       1,Dr.Pedro J.Greer, Jr.,m akethe follow ing declazation based on m y personalu
       declaretmderthepenaltyofper
              .                     jurypursuantto28U                                 owledge and
       Correct:                                 '
                                                            .S.C.91746thatthefollowlgistrueand
                                  ..z -'




      Pedro GreerJr.,M D, FACP,FA CG
      ProfessorofM edicjne
      A ssociate Dean forCom mllnity Engagement
      Chairofthe Depsrtm entofHl'm anities, Health & Society
      Florida lnternationalUniversity
      H erbertW ertheim Conege ofM edicine
      l1200 SW 81 Sleet, HLSII685
      M iam i,Florida 33199
      T:305-348-4554lD2305-348-0619
      greerp@fiu.edu
      Dated:April14,2020
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 272 of 276


%




                     E X H IB IT D
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 273 of 276



         The declaration ofLiana J.C astano,acting officer in charge ofthe K R O M E
         ServiceProcessing center(dscastano declaration''ECF No.33-1),shouldnot
        be used asa officialstatem ent.Ifaperson like acting officerin charge ofthe
        IQROM E service Processing CenterM rs.LianaJ. Castano,w asor isgiving
        sw ol.n statem entsthatthatshould be from herow n personalexperience and
        notfrom he said,she said it.1know from personalexperience, because lw as
        in theIQROM E D etention CenterM iam ifacility tirsttim e from M arch 2,
        2020,tmtilApril22,2020,and back again from June 12, 2020,untilJune
        29,2020.Iwasnevertested forCOVlD-19,orforany respiratory illness, or
        respiratory tested forCOVID-19,in the KROM E D etention CenterM iam i. 1
        w as only screened fora tem perature and forblood pressure,and Iw asnot
        onceputin isolation forquarantine for 14 days.Since COV ID -19 started the
        K RO M E D etention C enterM iam i,m edicalstaff,IC E offcers,and A kim a
        GlobalServicesL.L.C.(AGS)Detaineeofticers,AGSkitchen staff,AGS
        m aintaince staff,and cleaning staffdid notw earany protectivegear,like
        m asksorgloves.A GS Detention Officersdid notwearm ask orgloveswhile
        they w erew ith us24/7,in the housing unit.W e wasnotprovided w ith
        m asks,and when w e asked form asks,them edicalstaffand A GS Detainee
        Officersw ould say thatthey don'thaveitand thatifwe would w earit,then
        the other detainees from otherhousing units w ould be in panic thatw e are
        sick.M rhousingunitbuilding 11,wastheGrstonethatwasquarantinedfor
        14 daysm theKROM E Detention CenterM iam i.Even when they putour
        w hole housing unitin the quarantine w e w asnotgiven m asks,no soaps,
        w ipes,and w ew asovercrowded in ourbuilding 11.A GS Detainee Officers
        had to bring and serveusin the housing unitbreakfast,lunch,and dinner.
        W edetaineeshadtoeatonourbedseverymeal,becausethereareonly
        around 25-30 seats w ith tables,and there w asm ore then 110-115 detalnees,
        and ourhousing unithad bedsforonly 100 detainees.On the wallofour
        housing unitbuilding 11there is a sign thatsays m axim um 80 detainees,and
        there are 100 beds,plusAGS D etainee Ofticersw ould bring green fold up
        cam ping bedsso they could accom m odatem ore detainees.Atonetim ethere
        wasm orethan 120 ofdetaineesin ourhousing tmit,and we could not
        breathe becausethe airventilation and AC arenotm ade forthatbig
        capacity.A sw ew ere eating on ourbeds,the food w ould drop a1lover,and
        atthe IQROM E D etention CenterM iam i,the blanketsare only w ashing on
        Sunday,and with thatsaid w ewould sleep on dirty bedsfor7 days.M y
        housing unitbuilding 11 w enttw o tim es back to back in the 14 days
        quarantine,and while we wasunderthe quarantineA GsDetainee Officers
        would bring m ore detaineesin ourhousing unit,and w hen wew ould ask



                                        1                      *%*q
                                                                  e:#
                                                                    e'
                                                                     :e*%
                                                           * @ #.e. ###
                                                          r              *
                                                          e#*
                                                          .
                                                          -.           .*
                                                                       *1.
                                                                       @ **.
                                                           e*.W   .   *@ *%
                                                                          *
                                                                          .
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 274 of 276



        why,they w ould say lCE told them and thatthey need to do by the 1CE
        orders.W hen Icam e back second time to the KROM E Detention Center
        M iam ion June29,2020,1w asonly screened foratem peratureand blood
        pressure.Thatsam e day 1wasputin thehousing unitPot3, and w ith that
        saidlwasnotgutintheisolationfor14daysbeforeenteringthegeneral
        population (asltcan beseen from mytransferdatesandhousingunitintake
        FILE E).W hile1wasbeing bookednotoneperson,AGS DetaineeOfûcers,
        orm edicalstaffdid notask m ew asIputin the isolation for 14 dayspriorto
        thetransfer,w as1tested forCOV1D-19, orwaslin thecontactw ith
        som eone w ho w as positive w ith CO V lD -19. W hen lw asbeing transferred
        on the June 29,2020.AG S D etainee Ofscerm adem e sign paperthatIwas
        being tested forCOVlD -19 priorto thetransferand thatneverhappened and
        can be verified by video recording.Every detaineew ho w asbeing
        transferred thatday with m e had to sign thatCOVID-19 testw asbeing done
        onthedetainee(Ihaveattachednotarizedstatementwith FILE E0 A11this
        can easily be verifed by checking thevideo recordingsoftheKROM E
        D etention CenterM iam i,and detaineesintake, housing,and m edical
        paperwork.High ranking offcialsshould notgive so im portantstatem ents,
        thatcan harm people-in thiscasedetainees,withoutfrstchecking a11the
        facts.,because attheend they give falsestatem entsand doing big harm to
       theyeople-detaineesnotevenbeingawareofthat.1cansaya11thisbecause1
       feltlton m y own skin and from my ow n experience, andstlllfellinjitgoing
       throughhell,esgeciallybecauseoftheCOVID-19,andunsafecondltionsin
       a11detention facllitiesthatlwasand stillnm Every day being afraid to
                                                   .

       contractCOV ID -19,because staffatdetention centersdon'tw ork by the
       CD C regulations and guidelines,and w ith thatputting m y life and life of
       otherdetainees in danger. H ere in G lades C ounty D etention Centerofficers
       and m edicalstaffaretaking offm asksand gloves.GladesC .D .C.offcers
       and m edicalstaffdon'tw earprotective suitswhen they go to B 1dorm that
       isa quarantineunit,and then in the sam e uniform s,w ith no gloves, or
       protective m asks,and w ith no cleaning m edicalunitchart,com eto ourdorm
       B 1and give usm edications,orserve food.Thatway lam every day in
       constantfearofcontracting COVlD-19,and dyingofit,justlikeso far5
       detaineesdied ofCOVID-19 in lCE custody,and one detainee died from
       GladesCounty Detention Center.Thisthingscould beprevented ifthere are
       notgiven false statem entsofoffcialsthatare working forICE,ordetention
       centersO'ails),hiding thingswhen inspectionsarecom ing,m oving detainees
       to otherfacilitieslike BakersCounty Jailin Jacksonville,and W akulla
       CountyJailinTallahassee(thatlknow because1wasmovedtothose
       facilities),and thereareotherfacilitieslikeLouisiana,andin Atlanta.
                                                           œ
                                                           .
                                                        .: .

                                                         lT:
                                                           1
                                       2
                                                         ?1
                                                          -:o
                                                         Ik.o
                                                            I.
                                                             1
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 275 of 276



                   Before inspection in the KROM E Detention CenterM inm ihousing unitsare
                   atm axim um capacity orovercrowded, and when inspection iscom ing then
                   there isin each dorm only around 35-40% ofdetained perhousing unit.That
                   can easily be verified by checking theirlogbooks, computerentriesabout
                   d
                    etainees,and by checking video recording, and by checking bustransports
                   and transferlogbooks.




                                                                                     Yoursrespectfully
                                                                                          '
                                                                                                      ..   .   j

                                                                                                  '
                                                                                              .                D
                                                                                     Sebastian Radetic




   st- uf FLCA I'fW              3 /'dG t:
   Ccuetycf1).
             *''
               7A1U
                  7-
                   *5                    -c..5
   Subscri
         bpdandswnrntn(nralfi
                            rmed)befe/ malhi:
   B     Zj   tayof .6         '',
                                 ')&X 74-% t:7-   -
  Py +zY x:      G '?
                    'r/4 #     f-- r rwcrn c-c
   er
    so nai
         lyk
  Typ Idanlino wn
           ùcatinnpmdu 09 pr
                           cducedldanju den --4;
                                               ,..
                                                 +,D 4.ég<w iqzolgz ?
                                                      .
                                                                    J
                         cedJ&4'-o>tJG zrroz,'f!z..
                                                  pf.z w zrte4z r.rw g
                       '        V                                     ,.cw.w
                                         NntarvPubl
                                                  i
                                                  c




    &..#e ..
   %.
 .%+.....;
         ....
            .
            -.
             ..       cjNnyAqu
E.::           :.,!MYCQMMI
                         O IQN#GG:701
11
 v...
    .    ;-*:i      EXPIRE::?uIy1!,2ë4
  z*
  '#
   o
   .y
    ê.q
      :.a
        %e  -                 xj. t).

                                                                               .
                                                                                   .y.,
                                                                                     j,
                                                                                     ï#.
                                                                                       ;8
                                                                                        o
                                                                                          '
                                                                                          i
                                                                                          .
                                                                                          '.
                                                                                     -g
                                                                                          *
Case 1:20-cv-23783-MGC Document 1 Entered on FLSD Docket 09/11/2020 Page 276 of 276


                             -
                                                                          TX 41*p----=-'
                                                                                       J*I:'
                                           PR IO RITY MA IL I-DA Y@
                                                                               1 Lb e.K Oz '
                                                                                    1006                                  4
                                                                                                                          l
                                 EXPEGTED DELIVERY DAY: :9/11/20                               X
                                                                                               % 9 rpxfy-
                                                                                                                 Lo
                                                                                                                          !
                                                                                                                          .



                                                                                                            t vz
                             l21p                                             r---
                                                                              c075i               sa >r %
       ue 2
       O   /                                                                                   % ( % % %).
          œ
      C1
       .a
     77 m
     C. =           1 h!1
                        ''
                         7L
                          '
                          A3
                           M3
                            '1
                             '
                             2
                             '8%
                               -1810                                                                        C%   ,

     tD O
     L
      7 =
     &.; =- .
    O cJ>
    C'' a
                    .
                                           USPS TM CK ING @ NU M B ER                          A
                                                                                               Q       up Qè .
    ..
     : <œ'
    <..é
    ,<-
    M - Lk
                                                                                                C7q?   k.o:
                                                                                                          JNC
                                                                                                            -
     w ..+.
                                                                                               'N1      N
    gs -.
    =   L.
         L2
          f
          '         '
                                 11111111111111111111111111111111
                                       9505 5161 3972 0254 0439 28                              D
                                                                                                            MX
                                                                                                             C>
                                                                                                             <
                                                                                                             t/ F
                                                                                                                      ,




                R
                Q                N W
                                 %
                                                                                               'xp kt
                                                                                                xzo
                                                                                                    4-
                                                                                                             Go
                                                                                                             .
                è                                                                              .
     %N                          -
                                 .-1w                O                                          '
                                                                                                A
                                                                                                #
                                                                                               -k
                                                                                                 7
                                                                                                 q % k
                                                                                                     m
                1                H% x
                                    v
                                                     &>
                F
                QNJ N f
                        R
                                                     Of                                            .                 %'
       %               'à                   N


       F            '
                    ,=
                        p'A ( =                      /4
                             &J
       *            .-
                                             M       m/
       +            >
                    =             o         ?C
                                  ç)            i&
                                                         C
                                                         I                   -ç %
                    Y Fp /
                    -
                                   C                 4                          .   **   .
                    V U                              '
                                                             <       c

           *pz kr     <  k        '
                                            N x
                                                                     tf'
                                                                     #*
                                                                                 lx #a
                                   o                                 A

                        R%        Q             J
                                  J' I
                                  ivh L
                N .
                        &6             -
                                                .                j
                                                                 !
                         *                                       t
                                                         R '!
                        M                                 V( l
                                                                 t
                                                                 t
                                                                 i
                                                                 t
                         %                                       !
